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                                                 Shidler Portfolio

                                            October Receivers Report

                                           Prepared by: Jeffrey Kolessar



I.     Executive Summary
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                                                                                                            Executive Summary
                                                                                                   Shidler Portfolio – October 2021
October Income & Expense - Consolidated
                                                                                                                                     Consolidated
                                                                                                                         Consolidated Statement of Operations
                                                                                                                        For the Month Ending October 31, 2021
                                                           Current Month                                                                                                                                 Year to Date
                                 Actual                        Budget                         Actual                                                                          Actual                        Budget                          Actual
                              October 2021                  October 2021                   October 2020                                                                    October 2021                  October 2021                    October 2020

                             89,373                         89,373                         89,373                               Total Available Rooms                     876,432                        876,432                        879,315
                             52,899                         54,768                         36,362                                     Rooms Sold                          490,547                        431,467                        289,221
                             59.19%                         61.28%                         40.69%                                     Occupancy                            55.97%                         49.23%                         32.89%
                            $116.92                        $113.59                         $98.17                             Average Daily Rate (ADR)                    $111.19                        $107.01                        $144.07
                             $69.21                         $69.61                         $39.94                        Revenue Per Available Room (ReVPAR)               $62.24                         $52.68                         $47.39
                                                                                                                                        Revenue
                        6,185,197.06          96.14%   6,221,327.90         95.59%   3,569,837.26          96.00%                         Rooms                      54,544,981.42         96.57%   46,171,792.94        95.83%   41,668,261.65          95.69%
                          115,100.14           1.79%     179,485.96          2.76%      56,694.41           1.52%                   Food and Beverage                   655,727.24          1.16%    1,119,653.22         2.32%      787,421.33           1.81%
                          133,032.95           2.07%     107,227.29          1.65%      92,204.25           2.48%           Total Other Operated Departments          1,279,340.74          2.27%      889,593.71         1.85%    1,089,636.17           2.50%
                                 -             0.00%            -            0.00%            -             0.00%                     Lease Income                             -            0.00%             -           0.00%             -             0.00%
                                 -             0.00%            -            0.00%            -             0.00%               Rentals and Other Income                       -            0.00%             -           0.00%             -             0.00%
                        6,433,330.15         100.00%   6,508,041.15        100.00%   3,718,735.92         100.00%                      Total Revenue                 56,480,049.40        100.00%   48,181,039.87       100.00%   43,545,319.15         100.00%
                                                                                                                               Departmental Expenses
                        1,587,119.68          24.67%   1,608,788.36         24.72%     883,256.46          23.75%                       Rooms                        13,566,362.33         24.02%   13,597,694.50        28.22%   10,359,200.27          23.79%
                          106,074.08           1.65%     139,608.58          2.15%      37,494.07           1.01%                 Food and Beverage                     789,466.75          1.40%      997,187.64         2.07%      677,468.85           1.56%
                           78,694.47           1.22%      62,548.09          0.96%      63,867.39           1.72%             Other Operated Departments                733,064.25          1.30%      587,358.33         1.22%      598,170.00           1.37%
                        1,771,888.23          27.54%   1,810,945.03        27.83%      984,617.92         26.48%               Total Departmental Expenses           15,088,893.33        26.72%    15,182,240.47       31.51%    11,634,839.12         26.72%
                        4,661,441.92          72.46%   4,697,096.12        72.17%    2,734,118.00         73.52%                Total Departmental Income            41,391,156.07        73.28%    32,998,799.40       68.49%    31,910,480.03         73.28%
                                                                                                                           Undistributed Operating Expenses
                          651,972.30          10.13%    586,308.94          9.01%      408,482.36         10.98%                Administrative and General            5,979,343.24        10.59%     5,399,255.37       11.21%     5,788,867.12         13.29%
                           66,292.76           1.03%     45,926.00          0.71%       36,399.06          0.98%            Information & Telecommunications            424,129.43         0.75%       403,094.00        0.84%       414,638.90          0.95%
                        1,017,623.10          15.82%    968,270.95         14.88%      574,056.30         15.44%                   Sales and Marketing                8,620,142.10        15.26%     7,887,099.95       16.37%     6,507,864.20         14.95%
                          368,857.07           5.73%    381,916.90          5.87%      261,348.23          7.03%           Property Operation and Maintenance         3,593,018.18         6.36%     3,583,817.89        7.44%     2,717,101.10          6.24%
                          346,923.39           5.39%    316,422.16          4.86%      250,825.31          6.74%                         Utilities                    3,137,682.14         5.56%     2,722,907.84        5.65%     2,581,857.22          5.93%
                        2,451,668.62          38.11%   2,298,844.95        35.32%    1,531,111.26         41.17%               Total Undistributed Expenses          21,754,315.09        38.52%    19,996,175.05       41.50%    18,010,328.54         41.36%
                        2,209,773.30          34.35%   2,398,251.17        36.85%    1,203,006.74         32.35%                  Gross Operating Profit             19,636,840.98        34.77%    13,002,624.35       26.99%    13,900,151.49         31.92%
                         202,533.15            3.15%    195,506.24          3.00%      163,197.41          4.39%                 Total Management Fees                1,814,224.10         3.21%     1,512,031.53        3.14%     1,354,841.92          3.11%
                        2,007,240.15          31.20%   2,202,744.93        33.85%    1,039,809.33         27.96%    Income Before Non Operating Income And Expense   17,822,616.88         31.56%   11,490,592.82        23.85%    12,545,309.57         28.81%
                                 -             0.00%            -           0.00%              -           0.00%               Total Non Operating Income                      -           0.00%              -          0.00%               -           0.00%
                                                                                                                                Non Operating Expense
                         951,820.54           14.80%    932,763.31         14.33%      914,780.43         24.60%                           Rent                       9,209,293.25        16.31%     9,217,905.18       19.13%     9,024,660.93         20.72%
                         445,352.01            6.92%    461,391.30          7.09%      401,085.53         10.79%                Property and Other Taxes              4,351,970.92         7.71%     4,569,492.61        9.48%     4,932,587.33         11.33%
                         214,465.20            3.33%    174,399.02          2.68%      155,502.24          4.18%                        Insurance                     1,505,799.68         2.67%     1,743,990.20        3.62%     1,446,830.17          3.32%
                         300,652.16            4.67%      6,591.96          0.10%    1,111,477.41         29.89%                    Owner's Expense                   1,361,903.10         2.41%        41,751.73        0.09%    11,474,811.01         26.35%
                                -              0.00%           -            0.00%             -            0.00%                 Extraordinary Gain/Loss                       -           0.00%              -          0.00%              -            0.00%
                        1,912,289.91          29.72%   1,575,145.59        24.20%    2,582,845.61         69.45%              Total Non Operating Expenses           16,428,966.95        29.09%    15,573,139.72       32.32%    26,878,889.44         61.73%
                          94,950.24            1.48%    627,599.34          9.64%    (1,543,036.28)       -41.49%                Net Operating Income                 1,393,649.93         2.47%    (4,082,546.90)       -8.47%   (14,333,579.87)       -32.92%
                                -              0.00%           -            0.00%       54,645.00          1.47%             Depreciation and Amortization                     -           0.00%              -          0.00%       546,450.00          1.25%
                                -              0.00%    472,902.00          7.27%    1,060,730.05         28.52%                        Interest                      3,723,104.40         6.59%     4,731,250.00        9.82%    10,595,867.95         24.33%
                                -              0.00%           -            0.00%             -            0.00%                  Benefit Allocation                           -           0.00%              -          0.00%              -            0.00%
                                               0.00%           -            0.00%             -            0.00%                   Lease Proceeds                              -           0.00%              -          0.00%              -            0.00%
                                -              0.00%           -            0.00%             -            0.00%                         Other                                 -           0.00%              -          0.00%              -            0.00%

                          94,950.24            1.48%    154,697.34          2.38%    (2,658,411.33)       -71.49%           Adjusted Net Operating Income            (2,329,454.47)        -4.12%   (8,813,796.90)      -18.29%   (25,475,897.82)       -58.50%




Summary

October results reflected a strong rebound from the recent declines attributed to the Delta variant and the return to in-person schooling, as October
revenues were up 14% from September. Unfortunately, Budgets had been more optimistic at the end of the year and the portfolio missed total
revenues by 1.1%. Year over year improvement rose from 68% last month to 73% this month and exceeded US Industry average. The GOP dropped
from $2.2M budgeted (33.8%) to $2.0M (31.2%) but did increase $371K month to month and finished at a higher percentage of revenues. Net Operating
Income was $95K, under Budget ($155K) but also improved from the loss experienced in September.
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Industry Outlook

October represented a bit of a turnaround, albeit a modest one, after US Occupancies had been in decline since July due to a series of external factors.
October finished at 62.9%, up from October’s 61.6% and close to September’s 63.2%, but still well under the summer peak of 69.6%. Occupancy within
the Top 25 Markets helped to move the needle back upward, as Occupancy in that sub-segment lifted from 60.1% to 62.6% (versus All Other Markets
63.0%), a healthy sign of recovery beginning to reach gateway and corporate markets. ADR decline also ended in October, with the $134.78 achieved a
bit better than September’s $133.11 but still below summer peak of $143.30. This lift was driven entirely by Top 25 Markets, up from $147.21 last month
to $152.38 while All Other Markets remained stable ($126.51 Oct vs $126.75 Sep). Recovery still weighs heavily in weekend travel, and as October had
five full weekends some of the growth can be attributed to the day of week patterns, but anecdotal evidence points to modest gains in city centers and
business parks – certainly nowhere near 2019 levels, but possibly inching back. RevPAR finished at $84.75, up more than 50% from a year ago, up 3% from
last month, but still down 20% from October of 2019. Once again, no Chain Scale, Region or Location was able to surpass 70% Occupancy, though New
England Region hit 69.1%. Upper Midscale was the top Class and Chain Scale performer, and Airport was the strongest Location. Urban locations finally
surpassed 60% Occupancy (60.2%). ADR remains a promising metric, down only 6.5% from the same month of 2019.




                                  US Industry STR-TRI                   Q3 2021                    YTD 2021
                                  Supply                                 +5.9%                      +5.5%
                                  Demand                                +42.9%                      +35.6%
                                  Occupancy                             +34.9%                      +28.8%
                                  ADR                                   +36.2%                      +14.6%
                                  RevPAR                                +83.8%                      +47.3%
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October STR Performance - Consolidated

                                                                                                        Comp Set                                                       Comp Set                                           Hotel %         Comp Set                RevPar
                                                                     Hotel   Hotel % Occ Comp Set         % Occ  Occupancy Occ Index %            Hotel % ADR Comp Set  % ADR        ADR       ADR Index %     Hotel      RevPar Comp Set % RevPar     RevPar    Index %
                                                                   Occupancy   Change Occupancy          Change    Index     Change    Hotel ADR.   Change      ADR.    Change      Index.       Change       RevPar.     Change RevPar. Change        Index.    Change
                                                MONTH PORTFOLIO 59.2%              45.2%      60.6%     33.3%       97.7%     8.9%       $116.40    19.7%      $112.07    28.7%     103.9%       -7.0%        $68.86      73.8%      $67.88 71.6% 101.4%          1.3%
                                                   T3 PORTFOLIO 56.1%              49.1%      56.7%     40.8%       98.8%     5.8%       $111.98    16.8%      $105.73    25.0%     105.9%       -6.6%        $62.76      74.1%      $59.98 76.1% 104.6%         -1.1%
                                                  YTD PORTFOLIO 56.3%              36.7%      57.7%     38.8%       97.6%     -1.5%      $110.30    17.4%      $105.25    -4.3%     104.8%       22.7%        $62.13      60.5%      $60.72 32.8% 102.3%         20.9%
                                                  T12 PORTFOLIO 54.1%              15.9%      57.3%     19.6%       94.6%     -3.0%      $110.02    -6.6%      $106.54    -9.3%     103.3%        3.0%        $59.57       8.3%      $61.01 8.4% 97.7%           -0.1%

                                                                   Values

                                                                                                        Comp Set                                                       Comp Set                                           Hotel %          Comp Set               RevPar
                                                                     Hotel   Hotel % Occ Comp Set                Occupancy Occ Index %            Hotel % ADR Comp Set               ADR       ADR Index %     Hotel              Comp Set             RevPar
                             MONTH                                 Occupancy   Change Occupancy
                                                                                                          % Occ
                                                                                                                   Index     Change
                                                                                                                                       Hotel ADR.
                                                                                                                                                    Change      ADR.
                                                                                                                                                                        % ADR
                                                                                                                                                                                    Index.       Change       RevPar.
                                                                                                                                                                                                                          RevPar
                                                                                                                                                                                                                                   RevPar.
                                                                                                                                                                                                                                           % RevPar
                                                                                                                                                                                                                                                       Index.
                                                                                                                                                                                                                                                                 Index %
                                                                                                         Change                                                         Change                                            Change            Change               Change

Comfort Inn Near Ft Bragg - Fayetteville                                    34.6      -20.9      44.6       -27.4      77.7        9.0      79.55       11.7      76.53       5.6      103.9            5.8       27.54      -11.7     34.11   -23.4      80.8        15.3
Courtyard Alexandria Pentagon South                                         37.8       97.8      54.6        70.7      69.2       15.9      97.15       30.0     122.80      48.4       79.1          -12.4       36.71      157.3     67.06   153.4      54.7         1.5
Courtyard Chicago St Charles                                                70.7       51.0      61.8        62.9     114.5       -7.3     107.17       22.7     108.89      23.9       98.4           -1.0       75.80       85.3     67.27   101.9     112.7        -8.3
Courtyard Houston Brookhollow                                               35.1       25.5      47.1        21.5      74.5        3.3      89.70       24.6      94.78      24.9       94.6           -0.2       31.48       56.4     44.65    51.6      70.5         3.1
Fairfield Inn & Suites Naples                                               54.4       -2.8      55.5        34.1      97.9      -27.5     100.95       22.5      97.01      25.1      104.1           -2.0       54.88       19.2     53.88    67.7     101.9       -28.9
Fairfield Inn & Suites Orlando Near Universal Orlando Resort                48.8       34.1      66.2        28.9      73.7        4.0      98.43       51.5     102.41      52.9       96.1           -0.9       48.04      103.1     67.84    97.0      70.8         3.1
Hampton by Hilton Inn & Suites Clermont                                     77.9        9.8      63.7         9.5     122.3        0.3     148.24       43.6     116.26      23.7      127.5           16.1      115.48       57.7     74.05    35.4     155.9        16.4
Hampton by Hilton Inn & Suites Fort Myers Estero/FGCU                       48.2       15.7      65.7        18.5      73.4       -2.4     109.46       21.7     109.95      12.9       99.6            7.8       52.82       40.8     72.28    33.7      73.1         5.3
Hampton by Hilton Inn & Suites Stuart-North                                 83.2       49.0      65.2        20.6     127.5       23.5     114.16       32.3     107.54      29.4      106.2            2.3       94.99       97.1     70.16    56.1     135.4        26.3
Hampton by Hilton Inn Atlanta-Perimeter Center                              43.0       39.3      63.7         6.1      67.5       31.3     103.71       49.7      99.94      43.2      103.8            4.5       44.62      108.5     63.69    51.9      70.0        37.3
Hampton by Hilton Inn Charlotte-University Place                            70.3      227.3      60.3        54.8     116.6      111.4      98.97       22.8      85.86      18.5      115.3            3.7       69.58      302.0     51.79    83.4     134.4       119.2
Hampton by Hilton Inn Raleigh/Cary                                          54.2       51.1      66.3        25.6      81.7       20.3     103.95       32.8     102.44      33.7      101.5           -0.6       56.36      100.7     67.95    67.9      82.9        19.5
Hilton Garden Inn Atlanta North Alpharetta                                  59.2       78.7      56.3        53.5     105.2       16.5     110.36       40.0      96.31      43.7      114.6           -2.6       65.34      150.2     54.20   120.4     120.5        13.5
Hilton Garden Inn San Antonio Airport                                       75.9       71.1      64.9        59.3     116.9        7.5      96.93       31.8      98.81      38.6       98.1           -4.9       73.54      125.6     64.16   120.7     114.6         2.2
Homewood Suites by Hilton Houston Clearlake                                 65.1        0.3      64.1        -8.9     101.6       10.1     109.30       26.9      92.19      16.3      118.6            9.2       71.13       27.3     59.05     5.9     120.5        20.2
Homewood Suites by Hilton Phoenix Metro Center                              86.4       96.1      79.0        75.8     109.4       11.5      96.00        3.7      91.98      17.5      104.4          -11.8       82.95      103.4     72.67   106.6     114.2        -1.6
Homewood Suites by Hilton Raleigh Crabtree Valley                           74.4       57.8      68.7        47.9     108.4        6.7     103.09       12.3     109.23      16.1       94.4           -3.3       76.73       77.3     75.01    71.7     102.3         3.2
Hyatt House Pleasant Hill                                                   78.7       44.3      55.2        61.8     142.4      -10.8     168.92       -0.4     149.12      16.3      113.3          -14.4      132.87       43.7     82.35    88.1     161.3       -23.6
Hyatt House Pleasanton                                                      60.5       54.9      53.3        48.8     113.6        4.1     150.79       -0.5     130.20      22.2      115.8          -18.6       91.24       54.2     69.35    81.8     131.6       -15.2
Hyatt House Scottsdale Old Town                                             74.6       46.3      80.1        45.1      93.2        0.8     167.74       21.6     154.61      38.4      108.5          -12.1      125.18       78.0    123.81   100.8     101.1       -11.4
Residence Inn Greenbelt                                                     48.2      -19.9      39.0        10.6     123.6      -27.6     150.83       20.6      98.82      26.7      152.6           -4.8       72.70       -3.4     38.53    40.1     188.7       -31.1
SpringHill Suites Naples                                                    57.3     1828.7      55.1        37.5     104.0     1302.5     103.99       78.6     102.83      26.5      101.1           41.2       59.62     3345.3     56.71    74.0     105.1      1880.0



Summary

The portfolio gained market share of rooms sold in October with growth above that of the Competitive Set – Occupancy grew from 55.0% to 59.2%, and
Occupancy Index improved by 2 percentage points. Year over year change was relatively steady month to month, though the competitors gained less
year over year than the portfolio. Nine properties within the portfolio exceeded 70% Occupancy for the month, compared to six a month ago, and two
(Hampton Inn Stuart, Homewood Suites Phoenix) were able to exceed 80% Occupancy. Six properties performed at under 50% Occupancy. ADR was up
over $4 from September, closely aligned with the comp set change though the portfolio continues to hold a premium. RevPAR Index returned to above
fair share after the challenging October and remains over fair share in the Trailing 3 and Year to Date metrics. Florida Occupancy was 61% this month, in
a slower season for that region; California was 70.1%; Arizona 79.7%. Urban and corporate hotels continue to lag.
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Comfort Inn Fayetteville
       35.2% Occupancy; $77.85 ADR; $27.44 RevPAR (+5% vs September); $152,562 Total Revenues; $35,592 GOP; $5,074 NOI
       Budget: 47.5% Occupancy; $73.60 ADR; $34.99 RevPAR; $192,984 Total Revenues; $52,502 GOP; $31,272 NOI
       Significant number of out of order rooms due to the remediation efforts holds back occupancy potential. HVAC’s ordered to provide long-term
        solution for the asset.

Courtyard Alexandria Pentagon South
       37.8% Occupancy; $96.95 ADR; $36.64 RevPAR (+18% vs September); $262,390 Total Revenues; $14,707 GOP; -$87,001 NOI
       Budget: 65.9% Occupancy; $122.09 ADR; $80.43 RevPAR; $606,976 Total Revenues; $239,025 GOP; $64,626 NOI
       There is still virtually no demand for government group or educational tour & travel, segments that are key to this property.
       Garage door repaired.

Courtyard Chicago St Charles
       70.7% Occupancy; $106.56 ADR; $75.37 RevPAR (-3% vs September); $302,370 Revenues; $119,119 GOP; $66,254 NOI
       Budget: 56.8% Occupancy; $103.00 ADR; $58.46 RevPAR; $243,666 Total Revenues; $83,813 GOP; $35,132 NOI
       Bistro continues to operate limited hours in the evenings, based on Occupancy. Group rooms sold improved 39% month to month.

Courtyard Houston Brookhollow
       35.1% Occupancy; $89.53 ADR; $31.45 RevPAR (-20% vs September); $203,547 Total Revenues; $49,929 GOP; -$43,957 NOI
       Budget: 44.8% Occupancy; $87.40 ADR; $39.16 RevPAR; $251,231 Total Revenues; $69,009 GOP; -$20,141 NOI
       No corporate demand to backfill the loss of Hurricane Ida evacuees. Texas mandates widely relaxed.

Fairfield Inn & Suites Naples
       54.6% Occupancy; $100.57 ADR; $36.32 RevPAR (+51% vs September); $188,106 Total Revenues; $30,353 GOP; -$29,630 NOI
       Budget: 50.1% Occupancy; $83.68 ADR; $41.90 RevPAR; $143,805 Total Revenues; $7,732 GOP; -$42,424 NOI
       Seasonal rebound started, with a big lift in ADR. New credit card reader ordered; Mobile Key is down, working with vendors to restore.

Fairfield Inn & Suites Orlando Universal
       49.2% Occupancy; $97.90 ADR; $48.13 RevPAR (+13% vs September); $176,628 Total Revenues; $13,406 GOP; -$45,331 NOI
       Budget: 73.0% Occupancy; $102.00 ADR; $74.49 RevPAR; $269,458 Total Revenues; $113,000 GOP; $53,129 NOI
       Only weekends are seeing significant demand; no international travel; typical October citywide (Microsoft) cancelled.
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Hampton Inn & Suites Clermont
      77.9% Occupancy; $148.24 ADR; $115.48 RevPAR (+22% vs September); $319,647 Total Revenues; $179,410 GOP; $129,089 NOI
      Budget: 71.0% Occupancy; $115.17 ADR; $81.78 RevPAR; $222,709 Total Revenues; $102,119 GOP; $55,266 NOI
      A record year for sports tourism in Lake Co – over 10,000 room nights and $8M in economic impact. Sports is a major segment for this hotel.
      All interior repairs from the earlier roof leaks have now been fully completed.

Hampton Inn & Suites Fort Myers Estero FGCU
      48.3% Occupancy; $110.39 ADR; $53.26 RevPAR (+3% vs September); $162,129 Total Revenues; $17,596 GOP; -$29,503 NOI
      Budget: 61.8% Occupancy; $101.77 ADR; $62.90 RevPAR; $185,670 Total Revenues; $40,802 GOP; $3,673 NOI
      Solid ADR gain month over month, still mostly weekend demand in the market. Meeting room utilized for vaccinations, added $7K revenues.

Hampton Inn & Suites Stuart North
      82.2% Occupancy; $115.53 ADR; $94.99 RevPAR (+9% vs September); $303,386 Total Revenues; $134,684 GOP; $70,375K
      Budget: 63.1% Occupancy; $108.59 ADR; $68.51 RevPAR; $218,081 Total Revenues; $75,755 GOP; $22,079 NOI
      Construction in the market is producing strong base. Two weekends of swim meets in October.

Hampton Inn Atlanta Perimeter Center
      42.0% Occupancy; $106.18 ADR; $44.63 RevPAR (+14% vs September); $187,172 Total Revenues; $7,749 GOP; -$36,245 NOI
      Budget: 53.9% Occupancy; $89.00 ADR; $48.00 RevPAR; $196,772 Total Revenues; $34,001 GOP; -$27,253 NOI
      World Series brought a boost to the market. The renovation previously agreed to with Hilton has not begun, nor is it planned at this time.

Hampton Inn Charlotte University Place
      70.3% Occupancy; $99.10 ADR; $69.67 RevPAR (+21% vs September); $276,780 Total Revenues; $108,246 GOP; $41,083 NOI
      Budget: 60.0% Occupancy; $90.01 ADR; $54.01 RevPAR; $214,294 Total Revenues; $61,660 GOP; -$840 NOI
      Second straight month of double-digit RevPAR growth month to month, with full inventory available and UNCC back in session.

Hampton Inn Raleigh Cary
      54.1% Occupancy; $104.26 ADR; $56.37 RevPAR (+30% vs September); $228,329 Total Revenues; $77,583 GOP; $28,135 NOI
      Budget: 59.0% Occupancy; $97.51 ADR; $57.52 RevPAR; $231,561 Total Revenues; $79,853 GOP; $28,649 NOI
      Mix of business still heavily construction and crew, instead of the pre-pandemic corporate transient.
      Kitchen HVAC being addressed in Q4.
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Hilton Garden Inn Atlanta North/Alpharetta
      60.5% Occupancy; $108.12 ADR; $65.45 RevPAR (+28% vs September); $376,269 Total Revenues; $115,250 GOP; $997 NOI
      Budget: 54.9% Occupancy; $81.11 ADR; $44.53 RevPAR; $262,485 Total Revenues; $70,456 GOP; -$38,493 NOI
      Market starting to come back (Market & Sub-Market Demand both up 30% +/-) but still heavily weekend oriented.

Hilton Garden Inn San Antonio Airport
      75.5% Occupancy; $97.39 ADR; $73.54 RevPAR (+16% vs September); $302,494 Total Revenues; $98,610 GOP; $28,542 NOI
      Budget: 62.0% Occupancy; $82.03 ADR; $50.84 RevPAR; $203,944 Total Revenues; $32,687 GOP; -$27,820 NOI
      Roof repairs nearing completion. Final engineering report not yet submitted.

Homewood Suites Houston Clear Lake NASA
      65.4% Occupancy; $108.72 ADR; $71.13 RevPAR (-12% vs September); $204,941 Total Revenues; $34,688 GOP; -$37,717 NOI
      Budget: 60.5% Occupancy; $92.91 ADR; $56.19 RevPAR; $161,165 Total Revenues; $43,353 GOP; -$19,217 NOI
      Long-term stay displaced residents volume is declining.
      Additional HVAC issues, as well as outdoor lighting, to be tackled in Q4.

Homewood Suites Phoenix Metro Center
      86.4% Occupancy; $95.89 ADR; $82.85 RevPAR (+5% vs September); $331,092 Total Revenues; $144,492 GOP; $95,953 NOI
      Budget: 56.9% Occupancy; $109.76 ADR; $62.50 RevPAR; $247,862 Total Revenues; $75,719 GOP; $32,861 NOI
      Extended Stay (ALE) and project work (Zone 4) along with youth sports and traveling nurses provided very solid base.

Homewood Suites Raleigh Crabtree Valley
      74.3% Occupancy; $103.31 ADR; $76.80 RevPAR (+2% vs September); $338,916 Total Revenues; $42,036 GOP; -$54,652 NOI
      Budget: 69.0% Occupancy; $104.00 ADR; $71.76 RevPAR; $315,359 Total Revenues; $119,354 GOP; $41,764 NOI
      Dry sprinkler system compressor replacement ordered; temporary compressor in place.

Hyatt House Pleasant Hill
      78.8% Occupancy; $178.83 ADR; $141.01 RevPAR (+11% vs September); $629,741 Total Revenues; $375,026 GOP; $33,066 NOI
      Budget: 84.0% Occupancy; $175.66 ADR; $147.57 RevPAR; $670,327 Total Revenues; $324,482 GOP; $8,987 NOI
      Kitchen equipment and PTAC’s ordered will allow the 7 rooms that were long-term OOO to return to inventory.
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Hyatt House Pleasanton
       60.3% Occupancy; $151.62 ADR; $91.40 RevPAR (-2% vs September); $368,082 Total Revenues; $162,438 GOP; -$96,117 NOI
       Budget: 76.0% Occupancy; $190.38 ADR; $144.70 RevPAR; $588,629 Total Revenues; $299,646 GOP; -$3,504 NOI
       F&B open only Thursday – Saturday due to occupancy trends. Parking lot lighting and new fitness equipment to be addressed in Q4.

Hyatt House Scottsdale Old Town
       74.8% Occupancy; $166.07 ADR; $124.26 RevPAR (+41% vs September); $652,715 Total Revenues; $346,180 GOP; $214,672 NOI
       Budget: 66.0% Occupancy; $155.48 ADR; $102.60 RevPAR; $542,306 Total Revenues; $262,264 GOP; $32,446 NOI
       Golf wholesale business beginning to return, up $20K over the same month of 2019.
       VTAC issues being addressed as they arise. Seeking bids for roof repairs.
Residence Inn Greenbelt
       47.7% Occupancy; $152.34 ADR; $72.60 RevPAR (+2% vs September); $272,476 Total Revenues; $57,682 GOP; -$145,457 NOI
       Budget: 70.3% Occupancy; $150.59 ADR; $105.94 RevPAR; $396,173 Total Revenues; $206,920 GOP; -$32,658 NOI
       The property renovation that had been on hold - 55 of 120 rooms completed – is being restarted for completion in Q1 of 2022 to alleviate both
        GSS issues and displacement due to Out of Order rooms and deliver a fully renovated asset.

Springhill Suites Naples
       57.4% Occupancy; $103.93 ADR; $59.62 RevPAR (+10% vs September); $193,560 Total Revenues; $44,997 GOP; -$12,685 NOI
       Budget: 51.8% Occupancy; $85.89 ADR; $44.46 RevPAR; $142,584 Total Revenues; $4,100 GOP; -$42,836 NOI
       Continued volume from construction crews, contractors, and sports groups.
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Property Taxes

Property Tax Appeals are active at the following properties:

       Hyatt House Pleasant Hill – Valuation $45.7M for 2021, Settlement Offer carrying back to 2017 is being finalized with 14% reduction to 2021.
       Hyatt House Pleasanton – Valuation $47.5M for 2021, Target value TBD; prior appeals remain open
       SpringHill Suites Naples – Valuation $8.57M for 2021, down $1.5M from 2020; a settlement offer at $7,767,373 upon appeal under review
       Fairfield Orlando – Valuation $8.0M, not yet reviewed for appeal
       Hampton Clermont – Valuation $4.96M, models suggest value that is higher, no appeal
       Hampton Inn Estero – Valuation $9.05M, not yet reviewed for appeal
       Hampton Stuart – Valuation $8.61M, appeal filed
       Hilton Garden Alpharetta – Valuation $14.2M, a settlement offer at $11,956,500 from informal negotiations under review
       Hampton Atlanta Perimeter – Valuation $10.84M, not yet reviewed for appeal
       Residence Inn Greenbelt – Protective appeal to be filed for new tax year
       Hampton Inn Charlotte University – Valuation $11.1M, not yet reviewed for appeal
       Homewood Suites Houston Clear Lake – Valuation $6.03M, down from $7.14M, Target $5.25M, filed additional appeal
       Courtyard Brookhollow – Valuation $6.21M, down from $6.47M ($18,540 savings), Target $5.3M, filed additional appeal
       Hilton Garden Inn San Antonio – Valuation $7.46M, achieved reduction only to $7.3M ($4,131 savings), continuing appeal & litigation
       Courtyard Alexandria – Valuation $9.68M, not yet reviewed for appeal

Taxes are once again being funded directly by Wells, with the Receiver no longer required to make direct payments to the taxing authorities. Wells will
not be paying Personal Property Taxes, even if provided the data.



Legal

Hilton Garden Inn San Antonio: Counsel has engaged an engineering firm to complete the study at the Hilton Garden Inn San Antonio Airport.

Marketing

All parties have agreed to the Receiver recommendation of JLL to market the assets for sale. A final agreement is being negotiated, with the portfolio
marketing materials expecting to be released in Q1 of 2022.
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Distribution

No distribution of excess cash was made to Wells in the month of November based on the end of October cash position. A distribution is anticipated in
December based on end of November available cash.



Capital Expense

Comfort Inn Fayetteville remediation work continues.

Small projects are being addressed as necessary to protect the assets or to enhance guest experience with a short-term ROI using Operational cash. No
request for Capital adjustment was made in association with the distribution this month.
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                                                                                                              Consolidated
                                                                                                  Consolidated Statement of Operations
                                                                                                 For the Month Ending October 31, 2021
                                   Current Month                                                                                                                                 Year to Date
         Actual                         Budget                        Actual                                                                          Actual                        Budget                          Actual
      October 2021                  October 2021                   October 2020                                                                    October 2021                  October 2021                    October 2020

     89,373                         89,373                         89,373                               Total Available Rooms                     876,432                        876,432                        879,315
     52,899                         54,768                         36,362                                    Rooms Sold                           490,547                        431,467                        289,221
     59.19%                         61.28%                         40.69%                                     Occupancy                            55.97%                         49.23%                         32.89%
    $116.92                        $113.59                         $98.17                              Average Daily Rate (ADR)                   $111.19                        $107.01                        $144.07
     $69.21                         $69.61                         $39.94                        Revenue Per Available Room (ReVPAR)               $62.24                         $52.68                         $47.39
                                                                                                                Revenue
6,185,197.06          96.14%   6,221,327.90         95.59%   3,569,837.26          96.00%                         Rooms                      54,544,981.42         96.57%   46,171,792.94        95.83%   41,668,261.65          95.69%
  115,100.14           1.79%     179,485.96          2.76%      56,694.41           1.52%                   Food and Beverage                   655,727.24          1.16%    1,119,653.22         2.32%      787,421.33           1.81%
  133,032.95           2.07%     107,227.29          1.65%      92,204.25           2.48%           Total Other Operated Departments          1,279,340.74          2.27%      889,593.71         1.85%    1,089,636.17           2.50%
         -             0.00%            -            0.00%            -             0.00%                     Lease Income                             -            0.00%             -           0.00%             -             0.00%
         -             0.00%            -            0.00%            -             0.00%               Rentals and Other Income                       -            0.00%             -           0.00%             -             0.00%
6,433,330.15         100.00%   6,508,041.15        100.00%   3,718,735.92         100.00%                      Total Revenue                 56,480,049.40        100.00%   48,181,039.87       100.00%   43,545,319.15         100.00%
                                                                                                        Departmental Expenses
1,587,119.68          24.67%   1,608,788.36         24.72%     883,256.46          23.75%                       Rooms                        13,566,362.33         24.02%   13,597,694.50        28.22%   10,359,200.27          23.79%
  106,074.08           1.65%     139,608.58          2.15%      37,494.07           1.01%                 Food and Beverage                     789,466.75          1.40%      997,187.64         2.07%      677,468.85           1.56%
   78,694.47           1.22%      62,548.09          0.96%      63,867.39           1.72%             Other Operated Departments                733,064.25          1.30%      587,358.33         1.22%      598,170.00           1.37%
1,771,888.23          27.54%   1,810,945.03         27.83%     984,617.92          26.48%              Total Departmental Expenses           15,088,893.33         26.72%   15,182,240.47        31.51%   11,634,839.12          26.72%
4,661,441.92          72.46%   4,697,096.12         72.17%   2,734,118.00          73.52%               Total Departmental Income            41,391,156.07         73.28%   32,998,799.40        68.49%   31,910,480.03          73.28%
                                                                                                    Undistributed Operating Expenses
  651,972.30          10.13%    586,308.94           9.01%     408,482.36          10.98%               Administrative and General            5,979,343.24         10.59%    5,399,255.37        11.21%    5,788,867.12          13.29%
   66,292.76           1.03%     45,926.00           0.71%      36,399.06           0.98%           Information & Telecommunications            424,129.43          0.75%      403,094.00         0.84%      414,638.90           0.95%
1,017,623.10          15.82%    968,270.95          14.88%     574,056.30          15.44%                   Sales and Marketing               8,620,142.10         15.26%    7,887,099.95        16.37%    6,507,864.20          14.95%
  368,857.07           5.73%    381,916.90           5.87%     261,348.23           7.03%          Property Operation and Maintenance         3,593,018.18          6.36%    3,583,817.89         7.44%    2,717,101.10           6.24%
  346,923.39           5.39%    316,422.16           4.86%     250,825.31           6.74%                          Utilities                  3,137,682.14          5.56%    2,722,907.84         5.65%    2,581,857.22           5.93%
2,451,668.62          38.11%   2,298,844.95         35.32%   1,531,111.26          41.17%              Total Undistributed Expenses          21,754,315.09         38.52%   19,996,175.05        41.50%   18,010,328.54          41.36%
2,209,773.30          34.35%   2,398,251.17         36.85%   1,203,006.74          32.35%                 Gross Operating Profit             19,636,840.98         34.77%   13,002,624.35        26.99%   13,900,151.49          31.92%
 202,533.15            3.15%    195,506.24           3.00%     163,197.41           4.39%                Total Management Fees                1,814,224.10          3.21%    1,512,031.53         3.14%    1,354,841.92           3.11%
2,007,240.15          31.20%   2,202,744.93         33.85%   1,039,809.33          27.96%   Income Before Non Operating Income And Expense   17,822,616.88         31.56%   11,490,592.82        23.85%   12,545,309.57          28.81%
         -             0.00%            -            0.00%             -            0.00%               Total Non Operating Income                     -            0.00%             -           0.00%              -            0.00%
                                                                                                        Non Operating Expense
 951,820.54           14.80%    932,763.31          14.33%     914,780.43          24.60%                          Rent                       9,209,293.25         16.31%    9,217,905.18        19.13%    9,024,660.93          20.72%
 445,352.01            6.92%    461,391.30           7.09%     401,085.53          10.79%               Property and Other Taxes              4,351,970.92          7.71%    4,569,492.61         9.48%    4,932,587.33          11.33%
 214,465.20            3.33%    174,399.02           2.68%     155,502.24           4.18%                       Insurance                     1,505,799.68          2.67%    1,743,990.20         3.62%    1,446,830.17           3.32%
 300,652.16            4.67%      6,591.96           0.10%   1,111,477.41          29.89%                   Owner's Expense                   1,361,903.10          2.41%       41,751.73         0.09%   11,474,811.01          26.35%
        -              0.00%           -             0.00%            -             0.00%                Extraordinary Gain/Loss                       -            0.00%             -           0.00%             -             0.00%
1,912,289.91          29.72%   1,575,145.59         24.20%   2,582,845.61          69.45%              Total Non Operating Expenses          16,428,966.95         29.09%   15,573,139.72        32.32%   26,878,889.44          61.73%
  94,950.24            1.48%    627,599.34           9.64%   (1,543,036.28)       -41.49%                Net Operating Income                 1,393,649.93          2.47%   (4,082,546.90)       -8.47%   (14,333,579.87)       -32.92%
         -             0.00%           -             0.00%      54,645.00           1.47%            Depreciation and Amortization                     -            0.00%             -           0.00%      546,450.00           1.25%
         -             0.00%    472,902.00           7.27%   1,060,730.05          28.52%                       Interest                      3,723,104.40          6.59%    4,731,250.00         9.82%   10,595,867.95          24.33%
         -             0.00%           -             0.00%            -             0.00%                  Benefit Allocation                          -            0.00%             -           0.00%             -             0.00%
                       0.00%           -             0.00%            -             0.00%                   Lease Proceeds                             -            0.00%             -           0.00%             -             0.00%
         -             0.00%           -             0.00%            -             0.00%                        Other                                 -            0.00%             -           0.00%             -             0.00%

  94,950.24            1.48%    154,697.34           2.38%   (2,658,411.33)       -71.49%            Adjusted Net Operating Income           (2,329,454.47)        -4.12%   (8,813,796.90)      -18.29%   (25,475,897.82)       -58.50%
                                                                       Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 12 of 756
                                                                                           Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                             P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %             Variance                                                        YTD     %          YTD Budget %               Variance   YTD Last Year     %           Variance

                                                                                                                Statistics
           176.00                   176.00                    0.00         176.00                       0.00    # Rooms                                            176.00                   176.00                    0.00          176.00                      0.00
         5,456.00                 5,456.00                    0.00       5,456.00                       0.00    Available Rooms                                 53,504.00                53,504.00                    0.00       53,680.00                   -176.00
         1,923.00                 2,594.00                 -671.00       2,324.00                    -401.00    Room Nights Sold                                21,838.00                21,492.00                  346.00       22,518.00                   -680.00
          35.25%                   47.54%                 -12.30%         42.60%                     -7.35%     Occupancy %                                       40.82%                   40.17%                   0.65%          41.95%                    -1.13%
            77.85                    73.60                    4.25          73.19                       4.66    ADR                                                 74.34                    71.88                    2.45           71.86                      2.47
            27.44                    34.99                   -7.55          31.18                      -3.74    RevPar                                              30.34                    28.88                    1.47           30.15                      0.20

                                                                                                                Summary V.11
                                                                                                                Revenue
       149,714.83    98.13%    190,928.00     98.93%   -41,213.17      170,094.73     98.59%       -20,379.90   Rooms                                        1,623,402.26    98.61%    1,544,950.00    98.91%    78,452.26     1,618,230.05    98.48%       5,172.21
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%             0.00   F&B                                                  0.02     0.00%            0.00     0.00%         0.02             0.00     0.00%           0.02
         2,847.59     1.87%      2,056.40      1.07%       791.19        2,438.47      1.41%           409.12   Other Departments                               22,925.03     1.39%       16,995.20     1.09%     5,929.83        24,933.13     1.52%      -2,008.10

      152,562.42    100.00%    192,984.40    100.00%   -40,421.98     172,533.20     100.00%      -19,970.78    Total Operating Revenue                     1,646,327.31    100.00%   1,561,945.20 100.00%      84,382.11     1,643,163.18 100.00%         3,164.13

                                                                                                                Departmental Expenses
        45,679.51    30.51%     54,188.21     28.38%     -8,508.70      33,576.32     19.74%       12,103.19    Rooms                                         460,493.22     28.37%     491,066.34     31.79%   -30,573.12      391,529.73     24.19%     68,963.49
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%            0.00    F&B                                                43.87219,350.00%           0.00      0.00%        43.87            0.00      0.00%         43.87
         3,485.63   122.41%        781.00     37.98%      2,704.63       2,518.88    103.30%          966.75    Other Departments                              29,536.16    128.84%       7,810.00     45.95%    21,726.16       31,214.33    125.19%     -1,678.17

       49,165.14     32.23%     54,969.21    28.48%     -5,804.07      36,095.20     20.92%        13,069.94    Total Departmental Expenses                  490,073.25     29.77%     498,876.34     31.94%     -8,803.09     422,744.06     25.73%      67,329.19

      103,397.28     67.77%    138,015.19    71.52%    -34,617.91     136,438.00     79.08%       -33,040.72    Total Departmental Profit                   1,156,254.06    70.23%    1,063,068.86    68.06%    93,185.20     1,220,419.12    74.27%     -64,165.06

                                                                                                                Undistributed Operating Expenses
        15,680.53    10.28%     21,813.09     11.30%     -6,132.56      19,463.27     11.28%        -3,782.74   A&G                                           233,095.23     14.16%     203,805.83     13.05%    29,289.40      232,764.11     14.17%        331.12
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%             0.00   IT                                                  0.00      0.00%           0.00      0.00%         0.00            0.00      0.00%          0.00
         5,355.21     3.51%      8,474.56      4.39%     -3,119.35       1,880.33      1.09%         3,474.88   S&M                                            80,589.04      4.90%      94,327.46      6.04%   -13,738.42       40,924.99      2.49%     39,664.05
        20,849.75    13.67%     25,696.84     13.32%     -4,847.09      19,984.39     11.58%           865.36   Franchise Fees                                238,372.77     14.48%     213,111.12     13.64%    25,261.65      199,090.67     12.12%     39,282.10
        18,177.31    11.91%     18,062.73      9.36%        114.58      14,945.21      8.66%         3,232.10   R&M                                           142,837.63      8.68%     173,817.77     11.13%   -30,980.14       93,924.42      5.72%     48,913.21
         7,742.21     5.07%     11,465.48      5.94%     -3,723.27       4,675.67      2.71%         3,066.54   Utilities                                     110,884.05      6.74%      96,794.64      6.20%    14,089.41       91,940.68      5.60%     18,943.37

       67,805.01     44.44%     85,512.70    44.31%    -17,707.69      60,948.87     35.33%         6,856.14    Total Undistributed Expenses                 805,778.72     48.94%     781,856.82     50.06%    23,921.90      658,644.87     40.08%    147,133.85

       35,592.27     23.33%     52,502.49    27.21%    -16,910.22      75,489.13     43.75%       -39,896.86    Gross Operating Profit                    350,475.34        21.29%     281,212.04     18.00%    69,263.30      561,774.25     34.19%    -211,298.91
           500.00      0.33%      5,789.53     3.00%     -5,289.53       8,011.55      4.64%        -7,511.55   Management Fees                             52,241.57         3.17%      49,564.26      3.17%     2,677.31       52,049.00      3.17%         192.57
       35,092.27     23.00%     46,712.96    24.21%    -11,620.69      67,477.58     39.11%       -32,385.31    Income Before Non-Operating Income and Expenses
                                                                                                                                                          298,233.77        18.12%     231,647.78     14.83%    66,585.99      509,725.25     31.02%    -211,491.48

                                                                                                                Non-Operating Income and Expenses
         2,083.41      1.37%      6,802.34     3.52%    -4,718.93        5,919.89      3.43%        -3,836.48   Insurance                                       7,858.49      0.48%      68,023.40      4.36%   -60,164.91       58,932.38      3.59%     -51,073.89
             0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%             0.00   Leases & Rent                                       0.00      0.00%           0.00      0.00%         0.00            0.00      0.00%           0.00
        19,761.50     12.95%          0.00     0.00%    19,761.50       55,168.36     31.98%       -35,406.86   Other                                         151,479.81      9.20%           0.00      0.00%   151,479.81      575,318.83     35.01%    -423,839.02
       21,844.91     14.32%      6,802.34     3.52%    15,042.57       61,088.25     35.41%       -39,243.34    Total Non-Operating Income and Expenses      159,338.30      9.68%      68,023.40      4.36%    91,314.90      634,251.21     38.60%    -474,912.91

       13,247.36      8.68%     39,910.62    20.68%    -26,663.26       6,389.33      3.70%         6,858.03    EBITDA                                        138,895.47     8.44%     163,624.38     10.48%    -24,728.91    -124,525.96     -7.58%     263,421.43
             0.00      0.00%          0.00     0.00%          0.00      41,472.00     24.04%       -41,472.00   Interest                                             0.00     0.00%           0.00      0.00%          0.00     414,108.28     25.20%    -414,108.28
         8,173.10      5.36%      8,638.52     4.48%       -465.42       8,644.22      5.01%          -471.12   Taxes                                           80,302.69     4.88%      86,385.20      5.53%     -6,082.51      86,442.20      5.26%      -6,139.51
             0.00      0.00%          0.00     0.00%          0.00       3,458.00      2.00%        -3,458.00   Amortization                                         0.00     0.00%           0.00      0.00%          0.00      34,580.00      2.10%     -34,580.00
        8,173.10      5.36%      8,638.52     4.48%       -465.42      53,574.22     31.05%       -45,401.12    Interest, Taxes, Depreciation and Amortization 80,302.69     4.88%      86,385.20      5.53%     -6,082.51     535,130.48     32.57%    -454,827.79

        5,074.26      3.33%     31,272.10    16.20%    -26,197.84     -47,184.89     -27.35%       52,259.15    Net Income                                     58,592.78     3.56%      77,239.18      4.95%    -18,646.40    -659,656.44     -40.15%   718,249.22




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                                                                                       Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                         P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %       PTD Budget    %          Variance   PTD Last Year    %             Variance                                           YTD     %         YTD Budget %              Variance   YTD Last Year     %          Variance

                                                                                                            Statistics
           176.00                 176.00                  0.00          176.00                      0.00    # Rooms                              176.00                   176.00                   0.00          176.00                    0.00
         5,456.00               5,456.00                  0.00        5,456.00                      0.00    Available Rooms                   53,504.00                53,504.00                   0.00       53,680.00                 -176.00
         1,923.00               2,594.00               -671.00        2,324.00                   -401.00    Room Nights Sold                  21,838.00                21,492.00                 346.00       22,518.00                 -680.00
             0.35                   0.48                 -0.12            0.43                     -0.07    Occupancy %                            0.41                     0.40                   0.01            0.42                   -0.01
            77.85                  73.60                  4.25           73.19                      4.66    ADR                                   74.34                    71.88                   2.45           71.86                    2.47
            27.44                  34.99                 -7.55           31.18                     -3.74    RevPar                                30.34                    28.88                   1.47           30.15                    0.20

                                                                                                            Summary
                                                                                                            Revenue:
       149,714.83    98.13%   190,928.00   98.93%    -41,213.17     170,094.73    98.59%       -20,379.90   Rooms                           1,623,402.26    98.61%   1,544,950.00    98.91%   78,452.26    1,618,230.05    98.48%       5,172.21
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%             0.00   Food                                    0.02     0.00%           0.00     0.00%        0.02            0.00     0.00%           0.02
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%             0.00   Beverage                                0.00     0.00%           0.00     0.00%        0.00            0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%             0.00   Other F&B Revenue                       0.00     0.00%           0.00     0.00%        0.00            0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%             0.00   Telephone                               0.00     0.00%           0.00     0.00%        0.00            0.00     0.00%           0.00
         2,847.59     1.87%     2,056.40    1.07%        791.19       2,438.47     1.41%           409.12   Other                              22,925.03     1.39%      16,995.20     1.09%    5,929.83       24,933.13     1.52%      -2,008.10

       152,562.42   100.00%   192,984.40   100.00%   -40,421.98     172,533.20    100.00%      -19,970.78   Total Revenue                   1,646,327.31   100.00%   1,561,945.20   100.00%   84,382.11    1,643,163.18    100.00%      3,164.13



                                                                                                            Cost of Sales:
             0.00     0.00%        0.00     0.00%         0.00            0.00     0.00%            0.00    Food                                   0.00      0.00%           0.00     0.00%        0.00            0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%         0.00            0.00     0.00%            0.00    Beverage                               0.00      0.00%           0.00     0.00%        0.00            0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%         0.00            0.00     0.00%            0.00    Other F&B                              0.00      0.00%           0.00     0.00%        0.00            0.00     0.00%          0.00
           821.36    28.84%      681.00    33.12%       140.36          761.27    31.22%           60.09    Telephone                         19,214.02     83.81%       6,810.00    40.07%   12,404.02        7,378.03    29.59%     11,835.99
           531.30    18.66%        0.00     0.00%       531.30          272.61    11.18%          258.69    Other                              4,390.20     19.15%           0.00     0.00%    4,390.20        4,386.32    17.59%          3.88

         1,352.66    47.50%      681.00    33.12%       671.66        1,033.88    42.40%          318.78    Total Cost of Sales               23,604.22    102.96%       6,810.00    40.07%   16,794.22       11,764.35    47.18%     11,839.87



                                                                                                            Payroll:
        25,788.93    17.23%    30,609.10   16.03%     -4,820.17      20,181.45    11.86%        5,607.48    Rooms                            250,269.87     15.42%    284,211.16     18.40%   -33,941.29     198,003.88    12.24%     52,265.99
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00    F&B                                    0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00    Other                                  0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         8,618.07     5.65%     7,916.22    4.10%        701.85       8,241.09     4.78%          376.98    A&G                               83,152.76      5.05%     77,473.01      4.96%     5,679.75      79,137.32     4.82%      4,015.44
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00    IT                                     0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         3,230.82     2.12%     3,269.06    1.69%        -38.24        -264.00    -0.15%        3,494.82    S&M                               32,768.60      1.99%     31,961.26      2.05%       807.34      15,114.25     0.92%     17,654.35
         8,712.03     5.71%     8,231.84    4.27%        480.19       2,695.20     1.56%        6,016.83    R&M                               52,649.52      3.20%     80,542.80      5.16%   -27,893.28      38,623.56     2.35%     14,025.96
        46,349.85    30.38%    50,026.22   25.92%     -3,676.37      30,853.74    17.88%       15,496.11    Total Salaries and Wages         418,840.75     25.44%    474,188.23     30.36%   -55,347.48     330,879.01    20.14%     87,961.74

        10,594.48     6.94%    11,681.68    6.05%     -1,087.20       4,549.32     2.64%        6,045.16    Total Taxes and Benefits          95,009.13      5.77%    117,388.21      7.52%   -22,379.08     105,289.36     6.41%     -10,280.23
        56,944.33    37.33%    61,707.90   31.98%     -4,763.57      35,403.06    20.52%       21,541.27    Total Labor Costs                513,849.88     31.21%    591,576.44     37.87%   -77,726.56     436,168.37    26.54%      77,681.51



                                                                                                            Direct Expenses:
        13,999.90     9.35%    17,326.48    9.07%     -3,326.58      11,079.09     6.51%         2,920.81   Rooms                            157,767.04      9.72%    143,842.36      9.31%   13,924.68      139,358.72     8.61%      18,408.32
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%             0.00   F&B                                   43.87219,350.00%          0.00      0.00%       43.87            0.00     0.00%          43.87
         2,132.97    74.90%       100.00    4.86%      2,032.97       1,485.00    60.90%           647.97   Telephone                          5,931.94     25.88%      1,000.00      5.88%    4,931.94       19,449.98    78.01%     -13,518.04
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%             0.00   Other                                  0.00      0.00%          0.00      0.00%        0.00            0.00     0.00%           0.00
        20,849.75    13.67%    25,696.84   13.32%     -4,847.09      19,984.39    11.58%           865.36   Franchise Fees                   238,372.77     14.48%    213,111.12     13.64%   25,261.65      199,090.67    12.12%      39,282.10
         4,618.00     3.03%    11,604.73    6.01%     -6,986.73       9,844.67     5.71%        -5,226.67   A&G                              125,688.01      7.63%    103,387.21      6.62%   22,300.80      118,331.27     7.20%       7,356.74
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%             0.00   IT                                     0.00      0.00%          0.00      0.00%        0.00            0.00     0.00%           0.00
         1,603.14     1.05%     4,120.00    2.13%     -2,516.86       1,620.48     0.94%           -17.34   S&M                               41,961.76      2.55%     51,506.75      3.30%   -9,544.99       15,385.15     0.94%      26,576.61
         7,727.19     5.06%     7,779.48    4.03%        -52.29      11,917.83     6.91%        -4,190.64   R&M                               77,748.43      4.72%     72,704.64      4.65%    5,043.79       49,899.74     3.04%      27,848.69
         7,742.21     5.07%    11,465.48    5.94%     -3,723.27       4,675.67     2.71%         3,066.54   Utilities                        110,884.05      6.74%     96,794.64      6.20%   14,089.41       91,940.68     5.60%      18,943.37

        58,673.16    38.46%    78,093.01   40.47%    -19,419.85      60,607.13    35.13%        -1,933.97   Total Direct Expense             758,397.87     46.07%    682,346.72     43.69%   76,051.15      633,456.21    38.55%    124,941.66

        35,592.27    23.33%    52,502.49   27.21%    -16,910.22      75,489.13    43.75%       -39,896.86   Gross Operating Profit           350,475.34     21.29%    281,212.04     18.00%   69,263.30      561,774.25    34.19%    -211,298.91

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                                                                                      Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                        P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %       PTD Budget   %          Variance   PTD Last Year    %             Variance                                          YTD      %        YTD Budget %              Variance   YTD Last Year    %           Variance




                                                                                                           Fixed Costs
         8,173.10     5.36%     8,638.52   4.48%       -465.42       8,644.22     5.01%          -471.12   Taxes                             80,302.69     4.88%     86,385.20     5.53%     -6,082.51      86,442.20     5.26%      -6,139.51
         2,083.41     1.37%     6,802.34   3.52%     -4,718.93       5,919.89     3.43%        -3,836.48   Insurance                          7,858.49     0.48%     68,023.40     4.36%    -60,164.91      58,932.38     3.59%     -51,073.89
             0.00     0.00%         0.00   0.00%          0.00           0.00     0.00%             0.00   Leases & Rent                          0.00     0.00%          0.00     0.00%          0.00           0.00     0.00%           0.00
           500.00     0.33%     5,789.53   3.00%     -5,289.53       8,011.55     4.64%        -7,511.55   Management Fees                   52,241.57     3.17%     49,564.26     3.17%      2,677.31      52,049.00     3.17%         192.57

        10,756.51     7.05%    21,230.39   11.00%   -10,473.88      22,575.66    13.08%       -11,819.15   Total Fixed Expenses             140,402.75     8.53%    203,972.86     13.06%   -63,570.11     197,423.58    12.01%     -57,020.83

        24,835.76    16.28%    31,272.10   16.20%    -6,436.34      52,913.47    30.67%       -28,077.71   Net Operating Profit             210,072.59     12.76%    77,239.18     4.95%    132,833.41     364,350.67    22.17%    -154,278.08



             0.00     0.00%         0.00   0.00%         0.00       41,472.00    24.04%       -41,472.00   Interest Expense - Other               0.00     0.00%          0.00     0.00%          0.00     414,108.28    25.20%    -414,108.28
             0.00     0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Owner's Expense                        0.00     0.00%          0.00     0.00%          0.00      16,942.96     1.03%     -16,942.96
             0.00     0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Extraordinary Expense                  0.00     0.00%          0.00     0.00%          0.00       6,692.27     0.41%      -6,692.27
         3,180.00     2.08%         0.00   0.00%     3,180.00            0.00     0.00%         3,180.00   Non Recurring Cost                15,040.00     0.91%          0.00     0.00%     15,040.00           0.00     0.00%      15,040.00



        21,655.76    14.19%    31,272.10   16.20%    -9,616.34      11,441.47     6.63%       10,214.29    Net Operating Income             195,032.59     11.85%    77,239.18     4.95%    117,793.41     -73,392.84     -4.47%   268,425.43

        16,581.50    10.87%         0.00   0.00%    16,581.50       11,406.36     6.61%         5,175.14   Capital Reserve                  136,439.81     8.29%          0.00     0.00%    136,439.81     114,063.60     6.94%      22,376.21
             0.00     0.00%         0.00   0.00%         0.00       43,762.00    25.36%       -43,762.00   (Gain)/Loss-Insurance                  0.00     0.00%          0.00     0.00%          0.00     437,620.00    26.63%    -437,620.00

         5,074.26     3.33%    31,272.10   16.20%   -26,197.84     -43,726.89    -25.34%      48,801.15    Adjusted NOI                      58,592.78     3.56%     77,239.18     4.95%    -18,646.40    -625,076.44    -38.04%   683,669.22



             0.00     0.00%         0.00   0.00%         0.00        3,458.00     2.00%        -3,458.00   Amortization                           0.00     0.00%          0.00     0.00%          0.00      34,580.00     2.10%     -34,580.00



         5,074.26     3.33%    31,272.10   16.20%   -26,197.84     -47,184.89    -27.35%      52,259.15    Net Profit/(Loss)                 58,592.78     3.56%     77,239.18     4.95%    -18,646.40    -659,656.44    -40.15%   718,249.22




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                                                                                         Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                           P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %       PTD Budget     %          Variance   PTD Last Year     %             Variance                                           YTD      %         YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
         4,496.28     3.00%     4,030.00     2.11%       466.28        4,292.96      2.52%           203.32   Corporate Transient                48,839.53     3.01%      35,956.00      2.33%     12,883.53      19,556.28     1.21%     29,283.25
        29,800.59    19.90%         0.00     0.00%    29,800.59            0.00      0.00%        29,800.59   Advanced Purchase                 181,045.77    11.15%           0.00      0.00%    181,045.77           0.00     0.00%    181,045.77
        11,679.66     7.80%    11,625.00     6.09%        54.66            0.00      0.00%        11,679.66   AAA/AARP Transient                139,096.90     8.57%      91,485.00      5.92%     47,611.90           0.00     0.00%    139,096.90
           732.46     0.49%         0.00     0.00%       732.46            0.00      0.00%           732.46   Consortia Transient                16,429.14     1.01%           0.00      0.00%     16,429.14           0.00     0.00%     16,429.14
           840.00     0.56%         0.00     0.00%       840.00            0.00      0.00%           840.00   Employee                           11,374.00     0.70%           0.00      0.00%     11,374.00           0.00     0.00%     11,374.00
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%             0.00   Leisure Transient                   8,546.75     0.53%           0.00      0.00%      8,546.75           0.00     0.00%      8,546.75
           564.00     0.38%         0.00     0.00%       564.00            0.00      0.00%           564.00   Travel Agent/Friends & Family       4,254.00     0.26%           0.00      0.00%      4,254.00           0.00     0.00%      4,254.00
            98.86     0.07%         0.00     0.00%        98.86            0.00      0.00%            98.86   Leisure Package Transient           4,766.58     0.29%           0.00      0.00%      4,766.58           0.00     0.00%      4,766.58
         1,578.65     1.05%         0.00     0.00%     1,578.65            0.00      0.00%         1,578.65   Member Reward Stay                 14,925.26     0.92%           0.00      0.00%     14,925.26           0.00     0.00%     14,925.26
             0.00     0.00%    63,829.00    33.43%   -63,829.00       90,641.69     53.29%       -90,641.69   Extended Stay Transient              -172.52    -0.01%     462,918.00     29.96%   -463,090.52     753,289.92    46.55%   -753,462.44
        18,279.69    12.21%    15,996.00     8.38%     2,283.69            0.00      0.00%        18,279.69   Internet/E-Commerce               337,417.57    20.78%     134,040.00      8.68%    203,377.57           0.00     0.00%    337,417.57
           156.00     0.10%         0.00     0.00%       156.00            0.00      0.00%           156.00   E-Commerce Opaque                  18,583.38     1.14%           0.00      0.00%     18,583.38           0.00     0.00%     18,583.38
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%             0.00   Other Transient                     8,925.45     0.55%           0.00      0.00%      8,925.45           0.00     0.00%      8,925.45
        12,132.17     8.10%    21,700.00    11.37%    -9,567.83            0.00      0.00%        12,132.17   Government Transient              131,055.92     8.07%     238,483.00     15.44%   -107,427.08           0.00     0.00%    131,055.92
        28,130.91    18.79%    38,285.00    20.05%   -10,154.09       31,359.71     18.44%        -3,228.80   Rack Transient                    205,562.47    12.66%     229,233.00     14.84%    -23,670.53     393,651.60    24.33%   -188,089.13
        26,871.32    17.95%    21,318.00    11.17%     5,553.32       10,040.88      5.90%        16,830.44   Local Negotiated Transient        373,000.28    22.98%     181,538.00     11.75%    191,462.28     198,959.27    12.29%    174,041.01

      135,360.59     90.41%   176,783.00   92.59%    -41,422.41     136,335.24     80.15%          -974.65    Total Transient Room Revenue    1,503,650.48    92.62%   1,373,653.00   88.91%     129,997.48    1,365,457.07    84.38%   138,193.41

                                                                                                              Group Room Revenue
           534.00     0.36%    10,695.00     5.60%   -10,161.00          428.00      0.25%           106.00   Corporate Group                    41,599.95     2.56%     137,452.00     8.90%     -95,852.05      78,010.00     4.82%    -36,410.05
         1,500.00     1.00%     3,450.00     1.81%    -1,950.00       32,619.30     19.18%       -31,119.30   Government Group                   30,704.42     1.89%      17,785.00     1.15%      12,919.42     161,265.60     9.97%   -130,561.18
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%             0.00   Tour & Travel Group                 1,575.00     0.10%           0.00     0.00%       1,575.00           0.00     0.00%      1,575.00
        11,084.90     7.40%         0.00     0.00%    11,084.90            0.00      0.00%        11,084.90   SMERF Group                        18,046.05     1.11%      16,060.00     1.04%       1,986.05           0.00     0.00%     18,046.05
             0.00     0.00%         0.00     0.00%         0.00            0.00      0.00%             0.00   Sports Group                        5,411.00     0.33%           0.00     0.00%       5,411.00           0.00     0.00%      5,411.00

       13,118.90      8.76%    14,145.00    7.41%     -1,026.10      33,047.30     19.43%       -19,928.40    Total Group Room Revenue          97,336.42     6.00%     171,297.00    11.09%     -73,960.58     239,275.60     14.79%   -141,939.18

                                                                                                              Contract Room Revenue

             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%             0.00    Total Contract Room Revenue             0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%           0.00

                                                                                                              Other Room Revenue
           846.34     0.57%         0.00     0.00%       846.34          712.19      0.42%          134.15    No-Show Rooms                      14,222.96     0.88%           0.00     0.00%     14,222.96       13,497.38     0.83%        725.58
           300.00     0.20%         0.00     0.00%       300.00            0.00      0.00%          300.00    Pet/Smoking/Damage Fees             8,298.53     0.51%           0.00     0.00%      8,298.53            0.00     0.00%      8,298.53

        1,146.34      0.77%         0.00    0.00%     1,146.34          712.19      0.42%           434.15    Total Other Room Revenue          22,521.49     1.39%            0.00     0.00%     22,521.49      13,497.38     0.83%       9,024.11

            89.00     0.06%         0.00     0.00%        89.00            0.00      0.00%           89.00    Less: Allowances                     -106.13    -0.01%           0.00     0.00%       -106.13            0.00     0.00%       -106.13

      149,714.83    100.00%   190,928.00   100.00%   -41,213.17     170,094.73     100.00%      -20,379.90    Total Room Revenue              1,623,402.26   100.00%   1,544,950.00 100.00%       78,452.26    1,618,230.05 100.00%        5,172.21

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00     0.00%     2,906.84     1.52%     -2,906.84       3,741.64      2.20%        -3,741.64   Front Office Management            21,067.20     1.30%      28,419.90      1.84%     -7,352.70       3,741.64     0.23%     17,325.56
             0.00     0.00%         0.00     0.00%          0.00         375.13      0.22%          -375.13   Revenue Management                      0.00     0.00%           0.00      0.00%          0.00       5,488.48     0.34%     -5,488.48
         2,812.92     1.88%     2,906.84     1.52%        -93.92         300.00      0.18%         2,512.92   Housekeeping Management            28,937.34     1.78%      28,419.90      1.84%        517.44      23,207.02     1.43%      5,730.32
        2,812.92     1.88%     5,813.68     3.04%     -3,000.76       4,416.77      2.60%        -1,603.85    Total Rooms Management            50,004.54     3.08%      56,839.80      3.68%     -6,835.26      32,437.14     2.00%     17,567.40
         6,604.45     4.41%     3,365.71     1.76%      3,238.74       4,355.44      2.56%         2,249.01   Front Office Agents                61,432.56     3.78%      33,005.68      2.14%     28,426.88      45,698.88     2.82%     15,733.68
             0.00     0.00%     2,728.00     1.43%     -2,728.00       2,214.66      1.30%        -2,214.66   Night Auditors                     12,073.55     0.74%      26,752.00      1.73%    -14,678.45      23,815.00     1.47%    -11,741.45
             0.00     0.00%     1,860.00     0.97%     -1,860.00          -0.14      0.00%             0.14   Breakfast Attendant                   527.07     0.03%      18,240.00      1.18%    -17,712.93       4,843.40     0.30%     -4,316.33
        6,604.45     4.41%     7,953.71     4.17%     -1,349.26       6,569.96      3.86%             34.49   Total Rooms Front Office          74,033.18     4.56%      77,997.68      5.05%     -3,964.50      74,357.28     4.59%       -324.10
             0.00     0.00%     1,381.71     0.72%     -1,381.71           0.00      0.00%             0.00   Housekeeping Supervisors            6,825.35     0.42%      13,549.68      0.88%     -6,724.33       3,005.09     0.19%      3,820.26
        16,371.56    10.94%    10,376.00     5.43%      5,995.56       6,524.06      3.84%         9,847.50   Room Attendants                    98,919.98     6.09%      85,968.00      5.56%     12,951.98      63,604.70     3.93%     35,315.28
             0.00     0.00%     2,480.00     1.30%     -2,480.00         626.65      0.37%          -626.65   Housepersons                        9,950.00     0.61%      24,320.00      1.57%    -14,370.00       9,687.59     0.60%        262.41
             0.00     0.00%     2,604.00     1.36%     -2,604.00       2,044.01      1.20%        -2,044.01   Laundry Attendants                 10,536.82     0.65%      25,536.00      1.65%    -14,999.18      14,912.08     0.92%     -4,375.26
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                                                                                        Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                          P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget     %         Variance   PTD Last Year    %             Variance                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

       16,371.56     10.94%     16,841.71    8.82%      -470.15       9,194.72     5.41%         7,176.84    Total Rooms Housekeeping               126,232.15    7.78%     149,373.68      9.67%    -23,141.53      91,209.46     5.64%    35,022.69

       25,788.93     17.23%     30,609.10    16.03%    -4,820.17     20,181.45     11.86%        5,607.48    Total Rooms Salary and Wages           250,269.87    15.42%    284,211.16    18.40%     -33,941.29     198,003.88     12.24%   52,265.99

                                                                                                             PR Taxes and Benefits
         1,674.35      1.12%      2,359.49    1.24%      -685.14       1,827.13      1.07%         -152.78   FICA                                     18,527.96    1.14%      22,083.14      1.43%     -3,555.18      18,426.64     1.14%        101.32
            30.95      0.02%         12.95    0.01%        18.00           0.00      0.00%           30.95   Federal Unemployment Tax                    755.85    0.05%         442.17      0.03%        313.68           0.00     0.00%        755.85
           187.71      0.13%         30.84    0.02%       156.87           0.00      0.00%          187.71   State Unemployment Tax                    2,346.24    0.14%       1,346.62      0.09%        999.62           0.00     0.00%      2,346.24
        1,893.01      1.26%      2,403.28    1.26%      -510.27       1,827.13      1.07%            65.88   Total Payroll Taxes                     21,630.05    1.33%      23,871.93      1.55%     -2,241.88      18,426.64     1.14%      3,203.41
           373.53      0.25%          0.00    0.00%       373.53           0.00      0.00%          373.53   Holiday                                   5,401.13    0.33%       2,000.00      0.13%      3,401.13       4,160.40     0.26%      1,240.73
             0.00      0.00%        228.00    0.12%      -228.00         778.93      0.46%         -778.93   Vacation                                  2,372.00    0.15%       2,407.68      0.16%        -35.68      15,750.02     0.97%    -13,378.02
             0.00      0.00%          0.00    0.00%         0.00           0.00      0.00%            0.00   Sick Pay                                     80.00    0.00%           0.00      0.00%         80.00           0.00     0.00%         80.00
          373.53      0.25%        228.00    0.12%       145.53         778.93      0.46%         -405.40    Total Supplemental Pay                   7,853.13    0.48%       4,407.68      0.29%      3,445.45      19,910.42     1.23%    -12,057.29
         1,825.84      1.22%      1,521.35    0.80%       304.49           0.00      0.00%        1,825.84   Worker's Compensation                     9,416.19    0.58%      14,433.21      0.93%     -5,017.02       5,772.07     0.36%      3,644.12
         1,798.30      1.20%      2,100.00    1.10%      -301.70        -290.28     -0.17%        2,088.58   Group Insurance                          13,556.94    0.84%      20,300.00      1.31%     -6,743.06      10,058.00     0.62%      3,498.94
        3,624.14      2.42%      3,621.35    1.90%          2.79       -290.28     -0.17%        3,914.42    Total Other Benefits                    22,973.13    1.42%      34,733.21      2.25%    -11,760.08      15,830.07     0.98%      7,143.06

        5,890.68      3.93%      6,252.63    3.27%      -361.95       2,315.78     1.36%         3,574.90    Total Rooms PR Taxes and Benefits       52,456.31    3.23%      63,012.82      4.08%    -10,556.51      54,167.13     3.35%     -1,710.82

       31,679.61     21.16%     36,861.73    19.31%    -5,182.12     22,497.23     13.23%        9,182.38    Total Rooms Labor Costs                302,726.18    18.65%    347,223.98    22.47%     -44,497.80     252,171.01     15.58%   50,555.17

                                                                                                             Other Expenses
         3,233.47     2.16%      4,689.50     2.46%    -1,456.03       1,738.37     1.02%        1,495.10    Breakfast /Comp Cost                     31,973.14    1.97%      39,061.00     2.53%      -7,087.86      26,931.22     1.66%     5,041.92
           495.46     0.33%      1,686.10     0.88%    -1,190.64         230.11     0.14%          265.35    Cleaning Supplies                         6,349.05    0.39%      13,969.80     0.90%      -7,620.75       5,901.17     0.36%       447.88
            54.76     0.04%          0.00     0.00%        54.76           0.00     0.00%           54.76    Decorations & Plants                         54.76    0.00%           0.00     0.00%          54.76           0.00     0.00%        54.76
            43.87     0.03%         44.00     0.02%        -0.13           0.00     0.00%           43.87    Dues and Subscriptions                    1,319.61    0.08%         440.00     0.03%         879.61           0.00     0.00%     1,319.61
             0.00     0.00%        181.00     0.09%      -181.00           0.00     0.00%            0.00    Equipment Rental                              0.00    0.00%       1,810.00     0.12%      -1,810.00           0.00     0.00%         0.00
           657.50     0.44%      1,556.40     0.82%      -898.90       1,085.65     0.64%         -428.15    Guest Supplies                           18,995.90    1.17%      12,895.20     0.83%       6,100.70      12,425.48     0.77%     6,570.42
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%            0.00    In-House Entertainment                      219.35    0.01%           0.00     0.00%         219.35           0.00     0.00%       219.35
           996.16     0.67%          0.00     0.00%       996.16         498.08     0.29%          498.08    Internet/Web Expense                     16,512.27    1.02%           0.00     0.00%      16,512.27       4,607.24     0.28%    11,905.03
         1,050.85     0.70%        544.74     0.29%       506.11       1,034.07     0.61%           16.78    Laundry                                   6,240.44    0.38%       4,513.32     0.29%       1,727.12       1,602.64     0.10%     4,637.80
         1,199.47     0.80%      1,426.70     0.75%      -227.23         260.45     0.15%          939.02    Linen                                     7,615.17    0.47%      11,820.60     0.77%      -4,205.43       5,872.89     0.36%     1,742.28
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%            0.00    Newspaper                                     0.00    0.00%           0.00     0.00%           0.00         329.88     0.02%      -329.88
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%            0.00    Office Equipment                            910.32    0.06%           0.00     0.00%         910.32           0.00     0.00%       910.32
             0.00     0.00%          0.00     0.00%         0.00         132.50     0.08%         -132.50    Operating Supplies                            0.00    0.00%           0.00     0.00%           0.00       1,383.90     0.09%    -1,383.90
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%            0.00    Printing and Stationery                       0.00    0.00%         150.00     0.01%        -150.00           0.00     0.00%         0.00
             0.00     0.00%        830.08     0.43%      -830.08         795.18     0.47%         -795.18    Reservation Expense                       4,252.94    0.26%       6,877.44     0.45%      -2,624.50       8,794.39     0.54%    -4,541.45
         2,463.96     1.65%          0.00     0.00%     2,463.96       2,392.00     1.41%           71.96    Television Cable                         22,148.66    1.36%           0.00     0.00%      22,148.66      22,164.94     1.37%       -16.28
             0.00     0.00%        282.90     0.15%      -282.90           0.00     0.00%            0.00    Travel Agent Comm - Group Rooms           3,102.99    0.19%       3,425.94     0.22%        -322.95           0.00     0.00%     3,102.99
         3,804.40     2.54%      5,935.06     3.11%    -2,130.66       2,912.68     1.71%          891.72    Travel Agent Comm - Transient Rooms      37,373.91    2.30%      47,579.06     3.08%     -10,205.15      49,056.36     3.03%   -11,682.45
             0.00     0.00%        150.00     0.08%      -150.00           0.00     0.00%            0.00    Uniforms                                    698.53    0.04%       1,300.00     0.08%        -601.47         288.61     0.02%       409.92

       13,999.90      9.35%     17,326.48    9.07%     -3,326.58     11,079.09     6.51%         2,920.81    Total Rooms Other Expenses             157,767.04    9.72%     143,842.36      9.31%     13,924.68     139,358.72     8.61%    18,408.32

       45,679.51     30.51%     54,188.21    28.38%    -8,508.70     33,576.32     19.74%       12,103.19    Total Rooms Expenses                   460,493.22    28.37%    491,066.34    31.79%     -30,573.12     391,529.73     24.19%   68,963.49

      104,035.32     69.49%    136,739.79    71.62%   -32,704.47    136,518.41     80.26%      -32,483.09    Total Rooms Profit (Loss)             1,162,909.04   71.63%   1,053,883.66   68.21%     109,025.38    1,226,700.32    75.81%   -63,791.28




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                                                                           Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                             P&L - Dual Summary Pages
                                                                                                   As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year   %             Variance                                                     YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                                Room Sale Stats
                                                                                                Tranisent Rooms
            56.00               62.00          -6.00          74.00                    -18.00   Room Stat - Corporate Transient                 632.00           572.00         60.00          324.00            308.00
           343.00                0.00         343.00           0.00                    343.00   Room Stat - Advanced Purchase                 2,231.00             0.00      2,231.00            0.00          2,231.00
           149.00              155.00          -6.00           0.00                    149.00   Room Stat - AAA/AARP Transient                1,644.00         1,307.00        337.00            0.00          1,644.00
            13.00                0.00          13.00           0.00                     13.00   Room Stat - Consortia Rate Transient            201.00             0.00        201.00            0.00            201.00
            21.00                0.00          21.00           0.00                     21.00   Room Stat - Employee                            282.00             0.00        282.00            0.00            282.00
            11.00                0.00          11.00           0.00                     11.00   Room Stat - Leisure Transient                   115.00             0.00        115.00            0.00            115.00
             0.00                0.00           0.00           0.00                      0.00   Room Stat - Package Transient                    12.00             0.00         12.00            0.00             12.00
             9.00                0.00           9.00           0.00                      9.00   Room Stat - Travel Agent/Friends & Family       103.00             0.00        103.00            0.00            103.00
            46.00                0.00          46.00           0.00                     46.00   Room Stat - Member Reward Stay                  467.00             0.00        467.00            0.00            467.00
             0.00              899.00        -899.00       1,234.00                 -1,234.00   Room Stat - Extended Stay Transient               2.00         6,694.00     -6,692.00       10,833.00        -10,831.00
           224.00              186.00          38.00           0.00                    224.00   Room Stat - Internet                          4,265.00         1,669.00      2,596.00            0.00          4,265.00
             0.00                0.00           0.00           0.00                      0.00   Room Stat - Other Transient                     132.00             0.00        132.00            0.00            132.00
             1.00                0.00           1.00           0.00                      1.00   Room Stat - E-Commerce Opaque                   328.00             0.00        328.00            0.00            328.00
           139.00              310.00        -171.00         403.00                   -264.00   Room Stat - Government Rate Transient         1,518.00         3,286.00     -1,768.00        1,914.00           -396.00
           324.00              403.00         -79.00         392.00                    -68.00   Room Stat - Rack Rate Transient               2,283.00         2,475.00       -192.00        4,803.00         -2,520.00
           425.00              374.00          51.00         211.00                    214.00   Room Stat - Local Negotiated Transient        6,146.00         2,970.00      3,176.00        3,340.00          2,806.00
        1,761.00            2,389.00        -628.00       2,314.00                   -553.00    Total Transient Rooms Sold                  20,361.00        18,973.00      1,388.00       21,214.00           -853.00

                                                                                                Group Rooms
             4.00              155.00       -151.00           10.00                    -6.00    Room Stat - Corporate Group Rooms               717.00         2,014.00      -1,297.00       1,304.00          -587.00
             0.00                0.00           0.00           0.00                     0.00    Room Stat - Leisure Group                        13.00             0.00          13.00           0.00            13.00
            19.00               50.00         -31.00           0.00                    19.00    Room Stat - Government Group                    461.00           265.00         196.00           0.00           461.00
             0.00                0.00           0.00           0.00                     0.00    Room Stat - Tour & Travel Group                  28.00             0.00          28.00           0.00            28.00
           139.00                0.00        139.00            0.00                   139.00    Room Stat - SMERF Group                         224.00           240.00         -16.00           0.00           224.00
             0.00                0.00           0.00           0.00                     0.00    Room Stat - Sports Group                         34.00             0.00          34.00           0.00            34.00
          162.00              205.00         -43.00           10.00                  152.00     Total Group Rooms Sold                       1,477.00         2,519.00      -1,042.00       1,304.00           173.00

                                                                                                Contract Rooms
             0.00               0.00           0.00            0.00                     0.00    Total Contract Rooms Sold                        0.00             0.00           0.00            0.00             0.00

        1,923.00            2,594.00        -671.00       2,324.00                  -401.00     Total Rooms Sold                            21,838.00        21,492.00        346.00       22,518.00          -680.00
            50.00               0.00           50.00          35.00                    15.00    Room Stat-Comp Rooms                            153.00            0.00         153.00           54.00            99.00
        1,973.00            2,594.00        -621.00       2,359.00                  -386.00     Total Rooms Occupied                        21,991.00        21,492.00        499.00       22,572.00          -581.00
         2,992.00               0.00        2,992.00         876.00                 2,116.00    Room Stat-Out of Order                       25,832.00            0.00      25,832.00        6,589.00        19,243.00

                                                                                                ADR
            80.29              65.00          15.29           58.01                    22.28    Corporate Transient ADR                          77.28           62.86          14.42           60.36            16.92
            86.88               0.00          86.88            0.00                    86.88    Advanced Purchase ADR                            81.15            0.00          81.15            0.00            81.15
            78.39              75.00           3.39            0.00                    78.39    AAA/AARP ADR                                     84.61           70.00          14.61            0.00            84.61
             0.00               0.00           0.00            0.00                     0.00    FIT ADR                                           0.00            0.00           0.00            0.00             0.00
            56.34               0.00          56.34            0.00                    56.34    Consortia ADR                                    81.74            0.00          81.74            0.00            81.74
            40.00               0.00          40.00            0.00                    40.00    Employee ADR                                     40.33            0.00          40.33            0.00            40.33
             0.00               0.00           0.00            0.00                     0.00    Leisure ADR                                      74.32            0.00          74.32            0.00            74.32
            62.67               0.00          62.67            0.00                    62.67    Travel Agent/Friends & Family ADR                41.30            0.00          41.30            0.00            41.30
             8.99               0.00           8.99            0.00                     8.99    Leisure Package ADR                              41.45            0.00          41.45            0.00            41.45
            34.32               0.00          34.32            0.00                    34.32    Member Reward Stay ADR                           31.96            0.00          31.96            0.00            31.96
             0.00               0.00           0.00            0.00                     0.00    Golf Pkg ADR                                      0.00            0.00           0.00            0.00             0.00
             0.00              71.00         -71.00           73.45                   -73.45    Extended Stay ADR                               -86.26           69.15        -155.41           69.54          -155.80
            81.61              86.00          -4.39            0.00                    81.61    Internet ADR                                     79.11           80.31          -1.20            0.00            79.11
           156.00               0.00         156.00            0.00                   156.00    E-Commerce Opaque ADR                            56.66            0.00          56.66            0.00            56.66
             0.00               0.00           0.00            0.00                     0.00    Other Transient ADR                              67.62            0.00          67.62            0.00            67.62
             0.00               0.00           0.00            0.00                     0.00    Airline Distressed Passenger ADR                  0.00            0.00           0.00            0.00             0.00
            87.28              70.00          17.28            0.00                    87.28    Government ADR                                   86.33           72.58          13.76            0.00            86.33
            86.82              95.00          -8.18           80.00                     6.82    Rack ADR                                         90.04           92.62          -2.58           81.96             8.08
            63.23              57.00           6.23           47.59                    15.64    Local Negotiated ADR                             60.69           61.12          -0.43           59.57             1.12
            76.87              74.00           2.87           58.92                    17.95    Total Transient ADR                             73.85            72.40           1.45           64.37             9.48

           133.50               69.00         64.50           42.80                    90.70    Corporate Group ADR                             58.02             68.25        -10.23           59.82             -1.80
             0.00                0.00          0.00            0.00                     0.00    Leisure Group ADR                                0.00              0.00          0.00            0.00              0.00
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                                                                           Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                             P&L - Dual Summary Pages
                                                                                                   As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year   %            Variance                                           YTD      %   YTD Budget %   Variance   YTD Last Year   %   Variance

           78.95               69.00           9.95           0.00                     78.95   Government Group ADR                   66.60             67.11         -0.51          0.00            66.60
            0.00                0.00           0.00           0.00                      0.00   Tour & Travel Group ADR                56.25              0.00        56.25           0.00            56.25
            0.00                0.00           0.00           0.00                      0.00   Association Group ADR                   0.00              0.00          0.00          0.00             0.00
            0.00                0.00           0.00           0.00                      0.00   City Wide Group ADR                     0.00              0.00          0.00          0.00             0.00
           79.75                0.00          79.75           0.00                     79.75   SMERF Group ADR                        80.56             66.92        13.65           0.00            80.56
            0.00                0.00           0.00           0.00                      0.00   Sports Group ADR                      159.15              0.00       159.15           0.00           159.15
            0.00                0.00           0.00           0.00                      0.00   Other Group ADR                         0.00              0.00          0.00          0.00             0.00
           80.98               69.00          11.98       3,304.73                 -3,223.75   Total Group ADR                        65.90             68.00        -2.10         183.49         -117.59

             0.00               0.00           0.00            0.00                    0.00    Airline Crew ADR                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Other Contract ADR                     0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Contract ADR                     0.00               0.00         0.00            0.00           0.00

           77.85               73.60           4.25           73.19                    4.66    Total ADR                             74.34              71.88         2.45           71.86           2.47




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                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                      P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                           YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        F&B Summary
                                                                                                        Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Outlet Food Revenue                     0.02    100.00%        0.00       0.00%      0.02            0.00     0.00%      0.02
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Banquet and Catering Food Revenue       0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Outlet Beverage Revenue                 0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Banquet and Catering Beverage Revenue   0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Outlet Other Revenue                    0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Banquet and Catering Other Revenue      0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Revenue                       0.02   100.00%         0.00      0.00%       0.02            0.00    0.00%       0.02

                                                                                                        Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Food Purchases                          0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Beverage Purchases                      0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Cedit Employee Meals                    0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Credit House Charges                    0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Credit In-House Promotions              0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Audio Visual Cost of Sales              0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Other Cost of Sales                     0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Cost of Sales                 0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    F&B Gross Profit                        0.02   100.00%         0.00      0.00%       0.02            0.00    0.00%       0.02

                                                                                                        Expenses
                                                                                                        Payroll
                                                                                                        Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Management                              0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Non-Management                          0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Salaries and Wages            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                        PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Payroll Taxes                           0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Supplemental Pay                        0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Other Benefits                          0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B PR Taxes and Benefits         0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Payroll                       0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Audio Visual Supplies                   0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Banquet Expense                         0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Bar Expense/Promos                      0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Bar Supplies                            0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    China                                   0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Cleaning Supplies                       0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Communication Expense                   0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Contract Cleaning                       0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Contract Labor                          0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Decorations & Plants                    0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Dues and Subscriptions                  0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Equipment Rental                        0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Food and Beverage Advertising           0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Glassware                               0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Guest Loss/Damage                       0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Guest Supplies                          0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    In-House Entertainment                  0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Kitchen/Cooking Fuel                    0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Kitchen Equipment                       0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Laundry - Outside Expense               0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Laundry Allocation                      0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Licenses/Permits                        0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Linen                                   0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Linen Rental                            0.00     0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                           YTD      %       YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Maintenance Contracts                  0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Meals and Entertainment                0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Menus                                  0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Miscellaneous Expense                  0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Music and Entertainment               43.87219,350.00%        0.00       0.00%     43.87            0.00     0.00%     43.87
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Office Equipment                       0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Office Supplies                        0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Operating Supplies                     0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Paper/Plastic Supplies                 0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Printing and Stationery                0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Silverware                             0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Software Expense/Maintenance           0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Television Cable                       0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Training                               0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Travel                                 0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Uniforms                               0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Utensils                               0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Other Expenses              43.87
                                                                                                                                                  219,350.00%         0.00      0.00%      43.87            0.00    0.00%      43.87

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Expenses                    43.87
                                                                                                                                                  219,350.00%         0.00      0.00%      43.87            0.00    0.00%      43.87

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Profit (Loss)              -43.85
                                                                                                                                                 -219,250.00%         0.00      0.00%     -43.85            0.00    0.00%     -43.85




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                                                                           Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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             PTD      %    PTD Budget   %   Variance   PTD Last Year   %            Variance                                           YTD      %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                               F&B Stats
                                                                                               Restaurant 1
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 1 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 1 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Restaurant 2
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 2 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 2 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Room Service
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Room Service Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Room Service Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Banquets
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Banquets Covers                  0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Banquets Avg Check                     0.00               0.00         0.00            0.00           0.00

                                                                                               Catering
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Catering Covers                  0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Catering Avg Check                     0.00               0.00         0.00            0.00           0.00

                                                                                               Restaurant 3
             0.00                0.00          0.00            0.00                    0.00    Breakfast Avg Check                    0.00                0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00    Lunch Avg Check                        0.00                0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00    Dinner Avg Check                       0.00                0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00    Brunch Avg Check                       0.00                0.00        0.00            0.00           0.00
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                                                                           Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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             PTD      %    PTD Budget   %   Variance   PTD Last Year   %            Variance                                           YTD      %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 3 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 3 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Restaurant 4
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 4 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 4 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Restaurant 5
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 5 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 5 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Bar 1
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Bar 1 Covers                     0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Bar 1 Avg Check                        0.00               0.00         0.00            0.00           0.00

                                                                                               Bar 2
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Bar 2 Covers                     0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Bar 2 Avg Check                        0.00               0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                    0.00    Total Covers                           0.00               0.00         0.00            0.00           0.00




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                                                                                  Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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                                                                                                          As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %            Variance                                             YTD     %         YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Food Admin
                                                                                                      Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Food Admin Cost of Sales            0.00    0.00%          0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Food Admin Management               0.00    0.00%          0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Food Admin Non-Management           0.00    0.00%          0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Food Admin Salaries and Wages       0.00    0.00%          0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Payroll Taxes                       0.00    0.00%          0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Supplemental Pay                    0.00    0.00%          0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Other Benefits                      0.00    0.00%          0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Food Admin PR Taxes and Benefits    0.00    0.00%          0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Food Admin Payroll                  0.00    0.00%          0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%           0.00    Music and Entertainment                  43.87219,350.00%         0.00     0.00%     43.87            0.00    0.00%     43.87

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Food Admin Other Expenses          43.87
                                                                                                                                                   219,350.00%         0.00      0.00%     43.87            0.00    0.00%     43.87

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Food Admin Expenses                43.87
                                                                                                                                                   219,350.00%         0.00      0.00%     43.87            0.00    0.00%     43.87

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Departmental Costs                       43.87
                                                                                                                                                   219,350.00%         0.00      0.00%     43.87            0.00    0.00%     43.87




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                                                                                  Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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                                                                                                          As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %            Variance                                           YTD      %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%           0.00    Less Adjustments                       0.00      0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Beverage Admin Revenue           0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Beverage Admin Cost of Sales     0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Beverage Admin Other Expenses    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Beverage Admin Expenses          0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Departmental Costs                     0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 1
                                                                                                        Food Revenue
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Food-Breakfast                             0.02   100.00%          0.00     0.00%       0.02            0.00    0.00%       0.02

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 1 Food Revenue                  0.02   100.00%         0.00      0.00%       0.02            0.00    0.00%       0.02
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Food Revenue            0.02   100.00%         0.00      0.00%       0.02            0.00    0.00%       0.02

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 1 Beverage Revenue              0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Beverage Revenue        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Revenue                 0.02   100.00%         0.00      0.00%       0.02            0.00    0.00%       0.02

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Cost of Sales           0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 1 Gross Profit                  0.02   100.00%         0.00      0.00%       0.02            0.00    0.00%       0.02

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Management              0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Non-Management          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Salaries and Wages      0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 PR Taxes and Benefits   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Payroll                 0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Other Expenses          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Expenses                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Profit (Loss)           0.02   100.00%         0.00      0.00%       0.02            0.00    0.00%       0.02




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 2
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                      P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Room Service
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                      P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                           YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Banquets
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Banquets Food Revenue                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Food Revenue            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Banquets Beverage Revenue              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Beverage Revenue        0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Other Revenue           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Revenue                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Cost of Sales           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Gross Profit                           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Management              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Non-Management          0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                    0.00    Total Banquets Salaries and Wages      0.00                    0.00                  0.00            0.00                0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                    0.00    Total Banquet Benefits                 0.00                    0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Payroll                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Other Expenses          0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Expenses                0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Profit (Loss)           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                           YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Catering
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Catering Food Revenue                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                      0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Food Revenue            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Catering Beverage Revenue              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                      0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Beverage Revenue        0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Other Revenue           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Revenue                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Cost of Sales           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Catering Gross Profit                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Management              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Non-Management          0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Salaries and Wages      0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering PR Taxes and Benefits   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Payroll                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Other Expenses          0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Expenses                0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Profit (Loss)           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 3
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                      P&L - Dual Summary Pages
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 4
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 5
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                           YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Bar 1
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Bar 1 Food Revenue                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                      0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Food Revenue               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Bar 1 Beverage Revenue                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                      0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Beverage Revenue           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Other Revenue              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Revenue                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Cost of Sales              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Gross Profit                           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Non-Management             0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Salaries and Wages         0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 PR Taxes and Benefits      0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Payroll                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Other Expenses             0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Expenses                   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Profit (Loss)              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                           YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Bar 2
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Bar 2 Food Revenue                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                      0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Food Revenue               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Bar 2 Beverage Revenue                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                      0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Beverage Revenue           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Other Revenue              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Revenue                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Cost of Sales              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Gross Profit                           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expenses
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Non-Management             0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Salaries and Wages         0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 PR Taxes and Benefits      0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Payroll                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Other Expenses             0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Expenses                   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Profit (Loss)              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                     Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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             PTD      %        PTD Budget   %         Variance   PTD Last Year   %            Variance                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %           Variance

                                                                                                         Telephone

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Telephone Revenue                          0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Less: Adjustments                          0.00     0.00%        0.00       0.00%        0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Telephone Revenue                    0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00

                                                                                                         Cost of Sales
           821.36      0.00%       195.00    0.00%      626.36         260.11     0.00%         561.25   Cost of Sales - Local Calls             7,104.16    0.00%     1,950.00      0.00%     5,154.16       2,575.11     0.00%     4,529.05
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%           0.00   Cost of Sales - Commissions - Other     6,169.87    0.00%         0.00      0.00%     6,169.87           0.00     0.00%     6,169.87
             0.00      0.00%       486.00    0.00%     -486.00         501.16     0.00%        -501.16   Cost of Sales - Long Distance           5,939.99    0.00%     4,860.00      0.00%     1,079.99       4,802.92     0.00%     1,137.07
          821.36      0.00%       681.00    0.00%      140.36         761.27     0.00%           60.09   Total Telephone Cost of Sales         19,214.02    0.00%     6,810.00      0.00%    12,404.02       7,378.03     0.00%    11,835.99

         -821.36      0.00%      -681.00    0.00%     -140.36        -761.27     0.00%         -60.09    Gross Profit                          -19,214.02   0.00%    -6,810.00      0.00%    -12,404.02     -7,378.03     0.00%    -11,835.99

                                                                                                         Other Expenses
         2,132.97      0.00%         0.00    0.00%    2,132.97       1,485.00     0.00%         647.97   Internet/Web Expense                    5,095.01    0.00%         0.00      0.00%     5,095.01      17,669.25     0.00%    -12,574.24
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%           0.00   Miscellaneous Expense                      90.00    0.00%         0.00      0.00%        90.00       1,457.04     0.00%     -1,367.04
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%           0.00   Operating Supplies                        161.92    0.00%         0.00      0.00%       161.92         323.69     0.00%       -161.77
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%           0.00   Software Expense/Maintenance               72.23    0.00%         0.00      0.00%        72.23           0.00     0.00%         72.23
             0.00      0.00%       100.00    0.00%     -100.00           0.00     0.00%           0.00   Telephone Equipment                       512.78    0.00%     1,000.00      0.00%      -487.22           0.00     0.00%        512.78
        2,132.97      0.00%       100.00    0.00%    2,032.97       1,485.00     0.00%         647.97    Total Telephone Other Expenses         5,931.94    0.00%     1,000.00      0.00%     4,931.94      19,449.98     0.00%    -13,518.04

       -2,954.33      0.00%      -781.00    0.00%    -2,173.33     -2,246.27     0.00%        -708.06    Total Telephone Profit (Loss)         -25,145.96   0.00%    -7,810.00      0.00%    -17,335.96    -26,828.01     0.00%      1,682.05




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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %            Variance                                                      YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                              Minor Operating
                                                                                                              Income
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%             0.00   Total Rental Income                               0.00    0.00%          0.00  0.00%             0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%            0.00   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00   0.00%            0.00       1,044.88      4.19%    -1,044.88
            37.64      1.32%         0.00      0.00%       37.64           0.00       0.00%          37.64    Vending Commissions Other                       323.12     1.41%         0.00   0.00%          323.12           0.00      0.00%       323.12
            37.64     1.32%          0.00     0.00%        37.64           0.00      0.00%           37.64    Total Vending Commission Income                323.12     1.41%          0.00  0.00%          323.12       1,044.88      4.19%      -721.76
           280.12      9.84%         0.00      0.00%      280.12           0.00       0.00%         280.12    Cancellation Fee - Rooms                      1,326.19     5.78%         0.00   0.00%        1,326.19           0.00      0.00%     1,326.19
          280.12      9.84%          0.00     0.00%      280.12            0.00      0.00%         280.12     Total Cancellation Fee Income                1,326.19     5.78%          0.00  0.00%        1,326.19            0.00     0.00%     1,326.19
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%            0.00   Guest Laundry                                     2.00     0.01%         0.00   0.00%            2.00           0.00      0.00%         2.00
             0.00      0.00%         0.00      0.00%        0.00           0.00       0.00%            0.00   Cots/Cribs/Rollaways                              0.00     0.00%         0.00   0.00%            0.00          10.00      0.04%       -10.00
           565.53     19.86%         0.00      0.00%      565.53           0.00       0.00%         565.53    Other Revenue 2                               4,403.20    19.21%         0.00   0.00%        4,403.20         183.54      0.74%     4,219.66
             0.00      0.00%         0.00      0.00%        0.00         200.00       8.20%        -200.00    Other Revenue 3                                   0.00     0.00%         0.00   0.00%            0.00       2,150.00      8.62%    -2,150.00
           788.50     27.69%         0.00      0.00%      788.50       1,062.47      43.57%        -273.97    Gift Shop Sales                               7,832.59    34.17%         0.00   0.00%        7,832.59      11,695.71     46.91%    -3,863.12
             0.00      0.00%     1,556.40     75.69%   -1,556.40           0.00       0.00%            0.00   Other Revenue 6                                   0.00     0.00%    12,895.20  75.88%      -12,895.20           0.00      0.00%         0.00
         1,175.80     41.29%       500.00     24.31%      675.80       1,176.00      48.23%           -0.20   Pet Fees                                      9,037.93    39.42%     4,100.00  24.12%        4,937.93       9,849.00     39.50%      -811.07
        2,529.83     88.84%     2,056.40    100.00%      473.43       2,438.47     100.00%           91.36    Total Other Income                          21,275.72    92.81%    16,995.20 100.00%        4,280.52      23,888.25     95.81%    -2,612.53

        2,847.59    100.00%     2,056.40    100.00%     791.19        2,438.47     100.00%         409.12     Total Minor Operating Income                22,925.03    100.00%   16,995.20 100.00%        5,929.83      24,933.13 100.00%       -2,008.10

                                                                                                              Cost of Sales
           531.30     18.66%        0.00       0.00%     531.30          272.61      11.18%         258.69    Cost of Sales - Gift Shop                     4,390.20    19.15%        0.00       0.00%     4,390.20       4,386.32     17.59%        3.88
          531.30     18.66%         0.00      0.00%     531.30          272.61      11.18%         258.69     Total Minor Operated Cost of Sales           4,390.20    19.15%         0.00      0.00%     4,390.20       4,386.32     17.59%         3.88

        2,316.29     81.34%     2,056.40    100.00%     259.89        2,165.86      88.82%         150.43     Total Minor Operated Profit (Loss)          18,534.83    80.85%    16,995.20 100.00%        1,539.63      20,546.81     82.41%    -2,011.98




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %            Variance                                           YTD      %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Arcade
                                                                                                      Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Arcade Revenue                   0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Arcade Non-Management            0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Arcade Salaries and Wages        0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Payroll Taxes                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Supplemental Pay                 0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Other Benefits                   0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Arcade PR Taxes and Benefits     0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Arcade Payroll                   0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Arcade Other Expenses            0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Arcade Expenses                  0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Arcade Profit (Loss)             0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %            Variance                                           YTD      %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Waterpark
                                                                                                      Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Waterpark Revenue                 0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Waterpark Management                    0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Waterpark Non-Management                0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Waterpark Salaries and Wages      0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Payroll Taxes                     0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Supplemental Pay                  0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Other Benefits                    0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Waterpark PR Taxes and Benefits   0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Waterpark Payroll                 0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Waterpark Other Expenses          0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Waterpark Expenses                0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Waterpark Profit (Loss)           0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %        Variance   PTD Last Year    %             Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                          Franchise Fees
            64.19     0.04%         0.00    0.00%       64.19           0.00     0.00%            64.19   Franchise Fees - IT Fees                       641.99    0.04%         0.00     0.00%       641.99           0.00     0.00%      641.99
         8,490.35     5.57%    11,257.96    5.83%   -2,767.61       8,765.93     5.08%          -275.58   Franchise Fees - Royalty & Licenses         99,166.37    6.02%    93,275.28     5.97%     5,891.09      91,684.74     5.58%    7,481.63
           625.00     0.41%       570.68    0.30%       54.32         540.00     0.31%            85.00   Franchise Fees - Other                       7,902.45    0.48%     4,728.24     0.30%     3,174.21       3,485.00     0.21%    4,417.45
         3,052.74     2.00%     1,297.00    0.67%    1,755.74           0.00     0.00%         3,052.74   Franchise Fees - Reservations-GDS           17,330.16    1.05%    10,746.00     0.69%     6,584.16           0.00     0.00%   17,330.16
         2,681.56     1.76%     4,772.96    2.47%   -2,091.40       4,705.21     2.73%        -2,023.65   Franchise Fees - Frequent Guest             45,459.17    2.76%    39,545.28     2.53%     5,913.89      41,445.47     2.52%    4,013.70
         5,935.91     3.89%     7,678.24    3.98%   -1,742.33       5,973.25     3.46%           -37.34   Franchise Fees - Marketing Contributions    67,872.63    4.12%    63,616.32     4.07%     4,256.31      62,475.46     3.80%    5,397.17
             0.00     0.00%       120.00    0.06%     -120.00           0.00     0.00%             0.00   Franchise Fees - Reservations-Central            0.00    0.00%     1,200.00     0.08%    -1,200.00           0.00     0.00%        0.00

       20,849.75     13.67%   25,696.84    13.32%   -4,847.09     19,984.39     11.58%         865.36     Total Franchise Fees                       238,372.77   14.48%   213,111.12   13.64%    25,261.65     199,090.67     12.12%   39,282.10




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                                                                                        Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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             PTD      %        PTD Budget    %          Variance   PTD Last Year    %             Variance                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                             A&G
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         4,750.00      3.11%     5,312.22     2.75%     -562.22        5,900.23      3.42%       -1,150.23   Management- A&G                      55,676.28     3.38%     51,937.01     3.33%     3,739.27      55,594.86      3.38%         81.42
        4,750.00      3.11%     5,312.22     2.75%     -562.22        5,900.23      3.42%       -1,150.23    Total A&G Management                55,676.28     3.38%     51,937.01     3.33%     3,739.27      55,594.86      3.38%          81.42
         3,868.07      2.54%     2,604.00     1.35%    1,264.07        2,340.86      1.36%        1,527.21   Security Agents                      27,476.48     1.67%     25,536.00     1.63%     1,940.48      23,542.46      1.43%      3,934.02
        3,868.07      2.54%     2,604.00     1.35%    1,264.07        2,340.86      1.36%        1,527.21    Total A&G Non-Management            27,476.48     1.67%     25,536.00     1.63%     1,940.48      23,542.46      1.43%      3,934.02
        8,618.07      5.65%     7,916.22     4.10%      701.85        8,241.09      4.78%          376.98    Total A&G Salaries and Wages        83,152.76     5.05%     77,473.01     4.96%     5,679.75      79,137.32      4.82%      4,015.44
                                                                                                             PR Taxes and Benefits
           576.79      0.38%       621.53     0.32%      -44.74          742.30      0.43%         -165.51   FICA                                  6,229.02     0.38%      6,095.00     0.39%       134.02       7,631.84      0.46%     -1,402.82
            10.81      0.01%         3.41     0.00%        7.40            0.00      0.00%           10.81   Federal Unemployment Tax                245.54     0.01%        126.98     0.01%       118.56           0.00      0.00%        245.54
            64.62      0.04%         8.12     0.00%       56.50            0.00      0.00%           64.62   State Unemployment Tax                  786.00     0.05%        386.63     0.02%       399.37           0.00      0.00%        786.00
          652.22      0.43%       633.06     0.33%        19.16         742.30      0.43%           -90.08   Total Payroll Taxes                  7,260.56     0.44%      6,608.61     0.42%       651.95       7,631.84      0.46%       -371.28
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%            0.00   Holiday                               1,137.12     0.07%          0.00     0.00%     1,137.12       1,209.32      0.07%        -72.20
             0.00      0.00%       208.33     0.11%     -208.33          100.00      0.06%         -100.00   Vacation                              1,176.32     0.07%      2,199.98     0.14%    -1,023.66       4,011.21      0.24%     -2,834.89
             0.00     0.00%       208.33     0.11%     -208.33          100.00      0.06%         -100.00    Total Supplemental Pay               2,313.44     0.14%      2,199.98     0.14%       113.46       5,220.53      0.32%     -2,907.09
           696.14      0.46%       400.75     0.21%      295.39          645.00      0.37%           51.14   Worker's Compensation                 3,517.88     0.21%      3,987.02     0.26%      -469.14       9,375.59      0.57%     -5,857.71
         1,096.10      0.72%     1,050.00     0.54%       46.10         -109.79     -0.06%        1,205.89   Group Insurance                      11,162.58     0.68%     10,150.00     0.65%     1,012.58      10,692.56      0.65%        470.02
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%            0.00   Bonus and Incentive Pay                   0.00     0.00%          0.00     0.00%         0.00       2,375.00      0.14%     -2,375.00
        1,792.24      1.17%     1,450.75     0.75%      341.49          535.21      0.31%        1,257.03    Total Other Benefits                14,680.46     0.89%     14,137.02     0.91%       543.44      22,443.15      1.37%     -7,762.69
        2,444.46      1.60%     2,292.14     1.19%      152.32        1,377.51      0.80%        1,066.95    Total A&G PR Taxes and Benefits     24,254.46     1.47%     22,945.61     1.47%     1,308.85      35,295.52      2.15%    -11,041.06
       11,062.53      7.25%    10,208.36     5.29%      854.17        9,618.60      5.57%        1,443.93    Total A&G Payroll                  107,407.22     6.52%    100,418.62     6.43%     6,988.60     114,432.84      6.96%     -7,025.62
                                                                                                             Other Expenses
             0.00      0.00%     1,000.00     0.52%    -1,000.00       2,000.00      1.16%       -2,000.00   Accounting/Audit Fees                 9,000.00     0.55%     10,000.00     0.64%    -1,000.00      20,000.00      1.22%   -11,000.00
             0.00      0.00%         0.00     0.00%         0.00        -118.50     -0.07%          118.50   Bad Debt Provision                      510.75     0.03%          0.00     0.00%       510.75       4,468.15      0.27%    -3,957.40
           713.42      0.47%     1,075.00     0.56%      -361.58       1,026.80      0.60%         -313.38   Bank Charges                          7,220.60     0.44%     10,750.00     0.69%    -3,529.40      12,436.11      0.76%    -5,215.51
        -3,882.57     -2.54%         0.00     0.00%    -3,882.57           0.00      0.00%       -3,882.57   Cash Over/Short                       7,439.34     0.45%          0.00     0.00%     7,439.34        -938.69     -0.06%     8,378.03
           176.00      0.12%         0.00     0.00%       176.00           0.00      0.00%          176.00   Central Office - Accounting Fees        945.69     0.06%          0.00     0.00%       945.69           0.00      0.00%       945.69
           260.00      0.17%       160.00     0.08%       100.00           0.00      0.00%          260.00   Central Office - IT Fees              2,922.00     0.18%      1,600.00     0.10%     1,322.00           0.00      0.00%     2,922.00
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Communication Expense                   207.96     0.01%          0.00     0.00%       207.96          37.81      0.00%       170.15
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Contract Labor                        2,875.00     0.17%          0.00     0.00%     2,875.00           0.00      0.00%     2,875.00
         3,643.55      2.39%     4,824.61     2.50%    -1,181.06       3,275.88      1.90%          367.67   Credit Card Commission               33,190.83     2.02%     39,048.65     2.50%    -5,857.82      40,232.73      2.45%    -7,041.90
         1,302.73      0.85%       778.00     0.40%       524.73       1,750.01      1.01%         -447.28   Data Processing                       9,606.73     0.58%      7,780.00     0.50%     1,826.73      18,899.15      1.15%    -9,292.42
             0.00      0.00%       165.00     0.09%      -165.00         120.00      0.07%         -120.00   Dues and Subscriptions                1,809.95     0.11%      1,650.00     0.11%       159.95       2,864.45      0.17%    -1,054.50
           136.55      0.09%       389.10     0.20%      -252.55          41.02      0.02%           95.53   Employee Relations                      931.01     0.06%      3,223.80     0.21%    -2,292.79       1,160.98      0.07%      -229.97
             0.00      0.00%       181.00     0.09%      -181.00         563.29      0.33%         -563.29   Equipment Rental                          0.00     0.00%      1,810.00     0.12%    -1,810.00       2,642.98      0.16%    -2,642.98
           708.80      0.46%         0.00     0.00%       708.80           0.00      0.00%          708.80   Internet/Web Expense                    708.80     0.04%          0.00     0.00%       708.80           0.00      0.00%       708.80
             0.00      0.00%       350.00     0.18%      -350.00          -6.13      0.00%            6.13   Licenses/Permits                        240.00     0.01%      1,900.00     0.12%    -1,660.00       1,977.85      0.12%    -1,737.85
           170.95      0.11%         0.00     0.00%       170.95           0.00      0.00%          170.95   Miscellaneous Expense                 2,814.63     0.17%          0.00     0.00%     2,814.63           0.00      0.00%     2,814.63
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Office Equipment                      1,630.92     0.10%          0.00     0.00%     1,630.92           0.00      0.00%     1,630.92
             0.00      0.00%       726.32     0.38%      -726.32         345.84      0.20%         -345.84   Office Supplies                       2,553.11     0.16%      6,017.76     0.39%    -3,464.65       1,985.65      0.12%       567.46
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Operating Supplies                      319.90     0.02%          0.00     0.00%       319.90           0.00      0.00%       319.90
           217.17      0.14%       360.00     0.19%      -142.83         333.25      0.19%         -116.08   Payroll Service Fees                  1,623.02     0.10%      3,600.00     0.23%    -1,976.98       4,793.85      0.29%    -3,170.83
             0.00      0.00%        25.00     0.01%       -25.00          18.03      0.01%          -18.03   Postage                                  94.76     0.01%        250.00     0.02%      -155.24         446.12      0.03%      -351.36
             0.00      0.00%       150.00     0.08%      -150.00           0.00      0.00%            0.00   Professional Fees - Legal             7,153.23     0.43%      1,500.00     0.10%     5,653.23           0.00      0.00%     7,153.23
           307.63      0.20%       500.00     0.26%      -192.37           0.00      0.00%          307.63   Professional Fees - Other             8,049.36     0.49%      5,000.00     0.32%     3,049.36       3,825.00      0.23%     4,224.36
           340.00      0.22%       250.00     0.13%        90.00           0.00      0.00%          340.00   Recruitment Advertising               6,290.00     0.38%      2,500.00     0.16%     3,790.00       1,257.53      0.08%     5,032.47
             0.00      0.00%         0.00     0.00%         0.00         495.18      0.29%         -495.18   Recruitment - Other                     988.90     0.06%          0.00     0.00%       988.90       1,468.12      0.09%      -479.22
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Security - In-house Expense              17.10     0.00%          0.00     0.00%        17.10           0.00      0.00%        17.10
           442.69      0.29%       520.70     0.27%       -78.01           0.00      0.00%          442.69   Software Expense/Maintenance          9,084.16     0.55%      6,157.00     0.39%     2,927.16           0.00      0.00%     9,084.16
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Training                              3,585.25     0.22%          0.00     0.00%     3,585.25         387.00      0.02%     3,198.25
            81.08      0.05%       150.00     0.08%       -68.92           0.00      0.00%           81.08   Travel                                3,875.01     0.24%        600.00     0.04%     3,275.01         386.48      0.02%     3,488.53
        4,618.00      3.03%    11,604.73     6.01%    -6,986.73       9,844.67      5.71%       -5,226.67    Total A&G Other Expenses           125,688.01     7.63%    103,387.21     6.62%    22,300.80     118,331.27      7.20%     7,356.74
       15,680.53     10.28%    21,813.09    11.30%    -6,132.56      19,463.27     11.28%       -3,782.74    Total A&G Expenses                 233,095.23    14.16%    203,805.83    13.05%    29,289.40     232,764.11     14.17%       331.12




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                                                                                  Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                    P&L - Dual Summary Pages
                                                                                                          As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %            Variance                                           YTD      %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      IT
                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wags
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total IT Management                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total IT Non-Management                0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total IT Salaries and Wages            0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Payroll Taxes                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Supplemental Pay                 0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total Other Benefits                   0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total IT PR Taxes and Benefits         0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total IT Payroll                       0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Cost of Services
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total IT Cost of Services              0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      System Costs
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total IT Systems                       0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total IT Other Expenses                0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%           0.00    Total IT Expenses                      0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                       Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                         P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year    %             Variance                                            YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00      0.00%         0.00    0.00%         0.00        -264.00     -0.15%          264.00    Division Management                     0.00    0.00%         0.00      0.00%         0.00       15,096.00     0.92%   -15,096.00
         3,230.82      2.12%     3,269.06    1.69%       -38.24           0.00      0.00%        3,230.82    Sales Managers                     31,999.36    1.94%    31,961.26      2.05%        38.10           18.25     0.00%    31,981.11
        3,230.82      2.12%     3,269.06    1.69%       -38.24        -264.00     -0.15%        3,494.82     Total S&M Management              31,999.36    1.94%    31,961.26      2.05%         38.10      15,114.25     0.92%    16,885.11
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00    Administrative Assistant              769.24    0.05%         0.00      0.00%       769.24            0.00     0.00%       769.24
             0.00     0.00%          0.00   0.00%          0.00           0.00     0.00%             0.00    Total S&M Non-Management             769.24    0.05%          0.00     0.00%       769.24             0.00    0.00%       769.24

        3,230.82      2.12%     3,269.06    1.69%       -38.24        -264.00     -0.15%        3,494.82     Total S&M Salaries and Wages      32,768.60    1.99%    31,961.26      2.05%       807.34       15,114.25     0.92%    17,654.35

                                                                                                             PR Taxes and Benefits
           237.50      0.16%       259.89    0.13%      -22.39          -28.94     -0.02%          266.44    FICA                                2,408.58    0.15%     2,548.61      0.16%       -140.03       1,498.76     0.09%       909.82
             4.44      0.00%         1.43    0.00%        3.01            0.00      0.00%             4.44   Federal Unemployment Tax              100.45    0.01%        53.12      0.00%         47.33           0.00     0.00%       100.45
            26.61      0.02%         3.40    0.00%       23.21            0.00      0.00%           26.61    State Unemployment Tax                304.95    0.02%       161.68      0.01%        143.27           0.00     0.00%       304.95
          268.55      0.18%       264.72    0.14%         3.83         -28.94     -0.02%          297.49     Total Payroll Taxes                2,813.98    0.17%     2,763.41      0.18%          50.57      1,498.76     0.09%     1,315.22
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00   Holiday                               769.20    0.05%         0.00      0.00%        769.20         168.00     0.01%       601.20
             0.00      0.00%       128.21    0.07%     -128.21          542.85      0.31%         -542.85    Vacation                              461.54    0.03%     1,353.89      0.09%       -892.35       2,021.69     0.12%    -1,560.15
             0.00     0.00%       128.21    0.07%     -128.21          542.85      0.31%         -542.85     Total Supplemental Pay             1,230.74    0.07%     1,353.89      0.09%       -123.15       2,189.69     0.13%      -958.95
           252.70      0.17%       167.57    0.09%       85.13            0.00      0.00%          252.70    Worker's Compensation               1,188.63    0.07%     1,667.15      0.11%       -478.52         872.67     0.05%       315.96
             0.00      0.00%       525.00    0.27%     -525.00            9.94      0.01%            -9.94   Group Insurance                       625.33    0.04%     5,075.00      0.32%     -4,449.67       4,714.59     0.29%    -4,089.26
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%             0.00   Bonus and Incentive Pay                 0.00    0.00%         0.00      0.00%          0.00       1,149.88     0.07%    -1,149.88
          252.70      0.17%       692.57    0.36%     -439.87             9.94     0.01%          242.76     Total Other Benefits               1,813.96    0.11%     6,742.15      0.43%     -4,928.19       6,737.14     0.41%    -4,923.18
          521.25      0.34%     1,085.50    0.56%     -564.25          523.85      0.30%            -2.60    Total S&M PR Taxes and Benefits    5,858.68    0.36%    10,859.45      0.70%     -5,000.77      10,425.59     0.63%    -4,566.91

        3,752.07      2.46%     4,354.56    2.26%     -602.49          259.85     0.15%         3,492.22     Total S&M Payroll                 38,627.28    2.35%    42,820.71      2.74%     -4,193.43      25,539.84     1.55%    13,087.44

                                                                                                             Other Expenses
             0.00      0.00%       690.00    0.36%      -690.00         425.48     0.25%         -425.48     Advertising-Web/Internet                0.00    0.00%     7,935.00      0.51%     -7,935.00       6,711.61     0.41%    -6,711.61
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00     Billboards                              0.00    0.00%       900.00      0.06%       -900.00           0.00     0.00%         0.00
            48.40      0.03%       100.00    0.05%       -51.60           0.00     0.00%           48.40     Communication Expense                 145.20    0.01%     1,000.00      0.06%       -854.80         100.00     0.01%        45.20
         1,088.00      0.71%     2,408.00    1.25%    -1,320.00       1,195.00     0.69%         -107.00     Dues and Subscriptions             24,190.00    1.47%    25,580.00      1.64%     -1,390.00       7,426.74     0.45%    16,763.26
           440.00      0.29%         0.00    0.00%       440.00           0.00     0.00%          440.00     GDS Marketing Advert & Sales        4,210.00    0.26%         0.00      0.00%      4,210.00           0.00     0.00%     4,210.00
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00     Magazine - Advertising                  0.00    0.00%         0.00      0.00%          0.00         850.00     0.05%      -850.00
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00     Meals and Entertainment                 0.00    0.00%         0.00      0.00%          0.00          36.86     0.00%       -36.86
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00     Office Equipment                        0.00    0.00%       300.00      0.02%       -300.00           0.00     0.00%         0.00
             0.00      0.00%        12.00    0.01%       -12.00           0.00     0.00%            0.00     Office Supplies                       394.25    0.02%       120.00      0.01%        274.25           0.00     0.00%       394.25
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00     Operating Supplies                     26.74    0.00%         0.00      0.00%         26.74           0.00     0.00%        26.74
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00     Postage                                81.95    0.00%         0.00      0.00%         81.95           0.00     0.00%        81.95
             0.00      0.00%        30.00    0.02%       -30.00           0.00     0.00%            0.00     Printing and Stationery                45.39    0.00%        90.00      0.01%        -44.61           0.00     0.00%        45.39
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00     Promotions - In-house                   0.00    0.00%       300.00      0.02%       -300.00           0.00     0.00%         0.00
             0.00      0.00%        25.00    0.01%       -25.00           0.00     0.00%            0.00     Promotion - Outside                     0.00    0.00%       250.00      0.02%       -250.00           0.00     0.00%         0.00
            26.74      0.02%        55.00    0.03%       -28.26           0.00     0.00%           26.74     Software Expense/Maintenance       12,040.38    0.73%    12,281.75      0.79%       -241.37           0.00     0.00%    12,040.38
             0.00      0.00%       750.00    0.39%      -750.00           0.00     0.00%            0.00     Training                              750.00    0.05%     2,250.00      0.14%     -1,500.00          37.27     0.00%       712.73
             0.00      0.00%        50.00    0.03%       -50.00           0.00     0.00%            0.00     Travel                                 77.85    0.00%       500.00      0.03%       -422.15         222.67     0.01%      -144.82
        1,603.14      1.05%     4,120.00    2.13%    -2,516.86       1,620.48     0.94%           -17.34     Total S&M Other Expenses          41,961.76    2.55%    51,506.75      3.30%     -9,544.99      15,385.15     0.94%    26,576.61

        5,355.21      3.51%     8,474.56    4.39%    -3,119.35       1,880.33     1.09%         3,474.88     Total S&M Expenses                80,589.04    4.90%    94,327.46      6.04%    -13,738.42      40,924.99     2.49%    39,664.05




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                                                                                       Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
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                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %         Variance    PTD Last Year    %             Variance                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                            R&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         3,615.38      2.37%     3,714.70    1.92%       -99.32           0.00     0.00%         3,615.38   Division Management                    8,857.96    0.54%     36,245.67     2.32%    -27,387.71      10,109.36     0.62%    -1,251.40
        3,615.38      2.37%     3,714.70    1.92%       -99.32            0.00    0.00%         3,615.38    Total R&M Management                  8,857.96    0.54%     36,245.67     2.32%    -27,387.71      10,109.36     0.62%    -1,251.40
             0.00      0.00%     2,391.43    1.24%   -2,391.43            0.00     0.00%             0.00   Engineering Supervisor                10,639.53    0.65%     23,451.45     1.50%    -12,811.92           0.00     0.00%    10,639.53
         5,096.65      3.34%     2,125.71    1.10%    2,970.94        2,695.20     1.56%         2,401.45   Engineers 1                           33,152.03    2.01%     20,845.68     1.33%     12,306.35      28,514.20     1.74%     4,637.83
        5,096.65      3.34%     4,517.14    2.34%      579.51        2,695.20     1.56%         2,401.45    Total R&M Non-Management             43,791.56    2.66%     44,297.13     2.84%       -505.57      28,514.20     1.74%    15,277.36

        8,712.03      5.71%     8,231.84    4.27%      480.19        2,695.20     1.56%         6,016.83    Total R&M Salaries and Wages         52,649.52    3.20%     80,542.80     5.16%    -27,893.28      38,623.56     2.35%    14,025.96

                                                                                                            PR Taxes and Benefits
           604.27      0.40%       640.86    0.33%      -36.59          242.85      0.14%          361.42   FICA                                   3,812.71    0.23%      6,279.01     0.40%     -2,466.30       3,544.27     0.22%       268.44
            11.38      0.01%         3.52    0.00%        7.86            0.00      0.00%           11.38   Federal Unemployment Tax                 132.21    0.01%        130.58     0.01%          1.63           0.00     0.00%       132.21
            67.66      0.04%         8.38    0.00%       59.28            0.00      0.00%           67.66   State Unemployment Tax                   476.91    0.03%        397.73     0.03%         79.18           0.00     0.00%       476.91
          683.31      0.45%       652.76    0.34%        30.55         242.85      0.14%          440.46    Total Payroll Taxes                   4,421.83    0.27%      6,807.32     0.44%     -2,385.49       3,544.27     0.22%       877.56
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00   Holiday                                1,080.00    0.07%          0.00     0.00%      1,080.00         216.00     0.01%       864.00
             0.00      0.00%       145.44    0.08%     -145.44          100.00      0.06%         -100.00   Vacation                                   0.00    0.00%      1,535.84     0.10%     -1,535.84         554.00     0.03%      -554.00
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00   Sick Pay                                 192.08    0.01%          0.00     0.00%        192.08           0.00     0.00%       192.08
             0.00     0.00%       145.44    0.08%     -145.44          100.00      0.06%         -100.00    Total Supplemental Pay                1,272.08    0.08%      1,535.84     0.10%       -263.76         770.00     0.05%       502.08
           578.99      0.38%       413.21    0.21%      165.78            0.00      0.00%          578.99   Worker's Compensation                  2,328.73    0.14%      4,107.17     0.26%     -1,778.44         872.20     0.05%     1,456.53
           475.79      0.31%       840.00    0.44%     -364.21          -10.67     -0.01%          486.46   Group Insurance                        4,417.04    0.27%      8,120.00     0.52%     -3,702.96         214.65     0.01%     4,202.39
        1,054.78      0.69%     1,253.21    0.65%     -198.43          -10.67     -0.01%        1,065.45    Total Other Benefits                  6,745.77    0.41%     12,227.17     0.78%     -5,481.40       1,086.85     0.07%     5,658.92
        1,738.09      1.14%     2,051.41    1.06%     -313.32          332.18      0.19%        1,405.91    Total R&M PR Taxes and Benefits      12,439.68    0.76%     20,570.33     1.32%     -8,130.65       5,401.12     0.33%     7,038.56

       10,450.12      6.85%    10,283.25    5.33%      166.87        3,027.38     1.75%         7,422.74    Total R&M Payroll                    65,089.20    3.95%    101,113.13     6.47%    -36,023.93      44,024.68     2.68%    21,064.52

                                                                                                            Other Expenses
           192.60      0.13%       778.20   0.40%      -585.60            0.00     0.00%           192.60   Air Conditioning and Refrigeration    4,804.29    0.29%       6,447.60    0.41%      -1,643.31         230.00     0.01%    4,574.29
         1,087.13      0.71%     1,089.48   0.56%        -2.35        1,515.45     0.88%          -428.32   Building                             10,441.29    0.63%       9,026.64    0.58%       1,414.65       5,424.59     0.33%    5,016.70
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Communication Expense                   135.00    0.01%           0.00    0.00%         135.00           0.00     0.00%      135.00
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Contract Labor                            0.00    0.00%       3,000.00    0.19%      -3,000.00         930.74     0.06%     -930.74
           943.82      0.62%       181.58   0.09%       762.24          101.54     0.06%           842.28   Electric Bulbs                        4,476.70    0.27%       1,504.44    0.10%       2,972.26         516.03     0.03%    3,960.67
             0.00      0.00%       311.28   0.16%      -311.28        2,930.13     1.70%        -2,930.13   Electrical and Mechanical             7,841.32    0.48%       7,079.04    0.45%         762.28       5,083.98     0.31%    2,757.34
           826.86      0.54%       400.00   0.21%       426.86            0.00     0.00%           826.86   Elevator Maintenance Contracts       12,068.98    0.73%       4,000.00    0.26%       8,068.98           0.00     0.00%   12,068.98
            14.96      0.01%         0.00   0.00%        14.96          413.43     0.24%          -398.47   Equipment Maintenance                 1,647.54    0.10%           0.00    0.00%       1,647.54       6,515.19     0.40%   -4,867.65
            20.00      0.01%         0.00   0.00%        20.00            0.00     0.00%            20.00   Equipment Rental                         20.00    0.00%           0.00    0.00%          20.00           0.00     0.00%       20.00
             0.00      0.00%     1,000.00   0.52%    -1,000.00           50.00     0.03%           -50.00   Fire Safety Equipment                 3,477.91    0.21%       2,050.00    0.13%       1,427.91       1,845.64     0.11%    1,632.27
             0.00      0.00%       466.92   0.24%      -466.92            0.00     0.00%             0.00   Floor and Carpet Maintenance            323.34    0.02%       3,868.56    0.25%      -3,545.22         115.15     0.01%      208.19
             0.00      0.00%       389.10   0.20%      -389.10            0.00     0.00%             0.00   Furniture                                23.97    0.00%       3,223.80    0.21%      -3,199.83        -964.51    -0.06%      988.48
         2,162.00      1.42%     1,000.00   0.52%     1,162.00          528.00     0.31%         1,634.00   Grounds and Landscaping               7,476.87    0.45%       7,620.00    0.49%        -143.13       2,780.63     0.17%    4,696.24
           491.28      0.32%         0.00   0.00%       491.28           14.25     0.01%           477.03   Laundry Equipment Repairs             2,715.20    0.16%           0.00    0.00%       2,715.20       1,070.19     0.07%    1,645.01
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Licenses/Permits                        140.00    0.01%           0.00    0.00%         140.00           0.00     0.00%      140.00
            85.05      0.06%       250.00   0.13%      -164.95            0.00     0.00%            85.05   Locks and Keys                        3,947.46    0.24%       2,500.00    0.16%       1,447.46       1,198.12     0.07%    2,749.34
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Miscellaneous Expense                    72.99    0.00%           0.00    0.00%          72.99           0.00     0.00%       72.99
            14.44      0.01%         0.00   0.00%        14.44            0.00     0.00%            14.44   Office Supplies                         847.11    0.05%           0.00    0.00%         847.11           0.00     0.00%      847.11
           -86.05     -0.06%         0.00   0.00%       -86.05            0.00     0.00%           -86.05   Operating Supplies                      341.98    0.02%           0.00    0.00%         341.98           0.00     0.00%      341.98
           496.57      0.33%       100.00   0.05%       396.57            0.00     0.00%           496.57   Painting and Decorating                 593.76    0.04%       1,000.00    0.06%        -406.24       1,052.39     0.06%     -458.63
           325.00      0.21%       250.00   0.13%        75.00        2,842.89     1.65%        -2,517.89   Pest Control                          5,430.11    0.33%       2,500.00    0.16%       2,930.11      11,456.97     0.70%   -6,026.86
           165.85      0.11%       389.10   0.20%      -223.25        3,147.24     1.82%        -2,981.39   Plumbing and Heating                  4,176.01    0.25%       3,223.80    0.21%         952.21       7,850.84     0.48%   -3,674.83
             0.00      0.00%       200.00   0.10%      -200.00            0.00     0.00%             0.00   Pool Chemicals                        1,298.35    0.08%       5,056.00    0.32%      -3,757.65           0.00     0.00%    1,298.35
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Pool Service- Contract                    0.00    0.00%           0.00    0.00%           0.00       1,057.79     0.06%   -1,057.79
             0.00      0.00%       333.00   0.17%      -333.00            0.00     0.00%             0.00   Radio and Television Repair             480.00    0.03%       3,330.00    0.21%      -2,850.00           0.00     0.00%      480.00
             0.00      0.00%        77.82   0.04%       -77.82            0.00     0.00%             0.00   Signage                                   0.00    0.00%         644.76    0.04%        -644.76           0.00     0.00%        0.00
             0.00      0.00%       176.00   0.09%      -176.00            0.00     0.00%             0.00   Software Expense/Maintenance              0.00    0.00%       2,260.00    0.14%      -2,260.00           0.00     0.00%        0.00
           596.13      0.39%         0.00   0.00%       596.13            0.00     0.00%           596.13   Tools                                   656.72    0.04%           0.00    0.00%         656.72           0.00     0.00%      656.72
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Training                                300.00    0.02%           0.00    0.00%         300.00           0.00     0.00%      300.00
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Travel                                    0.00    0.00%         500.00    0.03%        -500.00           0.00     0.00%        0.00
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%             0.00   Uniforms                                106.83    0.01%           0.00    0.00%         106.83           0.00     0.00%      106.83
           391.55      0.26%       387.00   0.20%         4.55          374.90     0.22%            16.65   Waste Removal                         3,904.70    0.24%       3,870.00    0.25%          34.70       3,736.00     0.23%      168.70
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                                                                                  Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                    P&L - Dual Summary Pages
                                                                                                          As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                          YTD      %       YTD Budget %             Variance   YTD Last Year   %         Variance

        7,727.19      5.06%    7,779.48    4.03%    -52.29      11,917.83     6.91%       -4,190.64    Total R&M Other Expenses          77,748.43     4.72%    72,704.64     4.65%    5,043.79      49,899.74     3.04%   27,848.69

       18,177.31     11.91%   18,062.73    9.36%   114.58       14,945.21     8.66%        3,232.10    Total R&M Expenses               142,837.63     8.68%   173,817.77   11.13%    -30,980.14     93,924.42     5.72%   48,913.21




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                                                                                      Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                        P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year   %             Variance                                           YTD     %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           Utilities
         3,257.95      2.14%     4,150.40    2.15%      -892.45        -574.41    -0.33%        3,832.36   Water                              27,292.30     1.66%    34,387.20      2.20%    -7,094.90      31,871.05     1.94%    -4,578.75
         3,440.31      2.26%     6,796.28    3.52%    -3,355.97       4,816.91     2.79%       -1,376.60   Electricity                        62,497.50     3.80%    56,309.04      3.61%     6,188.46      55,531.16     3.38%     6,966.34
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Fuel Oil                                0.00     0.00%     1,800.00      0.12%    -1,800.00           0.00     0.00%         0.00
         1,060.54      0.70%       518.80    0.27%       541.74         433.17     0.25%          627.37   Gas - Natural HLP                  10,051.05     0.61%     4,298.40      0.28%     5,752.65       4,538.47     0.28%     5,512.58
           -16.59     -0.01%         0.00    0.00%       -16.59           0.00     0.00%          -16.59   Sewer                              11,043.20     0.67%         0.00      0.00%    11,043.20           0.00     0.00%    11,043.20
        7,742.21      5.07%    11,465.48    5.94%    -3,723.27       4,675.67     2.71%        3,066.54    Total Utilities                  110,884.05     6.74%    96,794.64      6.20%    14,089.41      91,940.68     5.60%    18,943.37




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                                                                                       Company: FBNC Associates LLC Property: Comfort Inn Near Fort Bragg
                                                                                                         P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year    %             Variance                                           YTD     %        YTD Budget %               Variance    YTD Last Year    %            Variance

                                                                                                            Fixed
             0.00      0.00%       638.52    0.33%      -638.52         638.52      0.37%         -638.52   Personal Property Taxes                 0.00     0.00%     6,385.20      0.41%      -6,385.20       6,385.20      0.39%       -6,385.20
         8,173.10      5.36%     8,000.00    4.15%       173.10       8,005.70      4.64%          167.40   Real Estate Taxes                  80,302.69     4.88%    80,000.00      5.12%         302.69      80,057.00      4.87%          245.69
        8,173.10      5.36%     8,638.52    4.48%      -465.42       8,644.22      5.01%         -471.12    Total Taxes                       80,302.69     4.88%    86,385.20      5.53%      -6,082.51      86,442.20      5.26%       -6,139.51
             0.00      0.00%         0.00    0.00%         0.00       5,919.89      3.43%       -5,919.89   Insurance                             416.66     0.03%         0.00      0.00%         416.66      58,932.38      3.59%     -58,515.72
           705.67      0.46%         0.00    0.00%       705.67           0.00      0.00%          705.67   Insurance - Crime                   1,960.34     0.12%         0.00      0.00%       1,960.34           0.00      0.00%        1,960.34
             0.00      0.00%       125.00    0.06%      -125.00           0.00      0.00%            0.00   Insurance - Employment                705.67     0.04%     1,250.00      0.08%        -544.33           0.00      0.00%          705.67
         1,076.33      0.71%     1,848.00    0.96%      -771.67           0.00      0.00%        1,076.33   Insurance - General Liability       2,898.08     0.18%    18,480.00      1.18%    -15,581.92            0.00      0.00%        2,898.08
           208.33      0.14%     1,631.17    0.85%    -1,422.84           0.00      0.00%          208.33   Insurance - Property                1,598.50     0.10%    16,311.70      1.04%    -14,713.20            0.00      0.00%        1,598.50
            93.08      0.06%     3,198.17    1.66%    -3,105.09           0.00      0.00%           93.08   Insurance - Umbrella                  279.24     0.02%    31,981.70      2.05%    -31,702.46            0.00      0.00%          279.24
        2,083.41      1.37%     6,802.34    3.52%    -4,718.93       5,919.89      3.43%       -3,836.48    Total Insurance                    7,858.49     0.48%    68,023.40      4.36%    -60,164.91       58,932.38      3.59%     -51,073.89
             0.00     0.00%          0.00   0.00%          0.00           0.00     0.00%             0.00   Total Leases & Rent                     0.00    0.00%          0.00     0.00%            0.00           0.00     0.00%             0.00
           500.00      0.33%     5,789.53    3.00%    -5,289.53       4,313.00      2.50%       -3,813.00   Management Fee - Base              52,241.57     3.17%    49,564.26      3.17%       2,677.31      41,080.00      2.50%       11,161.57
             0.00      0.00%         0.00    0.00%         0.00       3,698.55      2.14%       -3,698.55   Management Fee - Incentive              0.00     0.00%         0.00      0.00%           0.00      10,969.00      0.67%     -10,969.00
          500.00      0.33%     5,789.53    3.00%    -5,289.53       8,011.55      4.64%       -7,511.55    Total Management Fees             52,241.57     3.17%    49,564.26      3.17%       2,677.31      52,049.00      3.17%          192.57
        16,581.50     10.87%         0.00    0.00%    16,581.50      11,406.36      6.61%        5,175.14   Capital Reserve                   136,439.81     8.29%         0.00      0.00%    136,439.81      114,063.60      6.94%       22,376.21
             0.00      0.00%         0.00    0.00%         0.00      43,762.00     25.36%      -43,762.00   (Gain)/Loss-Insurance                   0.00     0.00%         0.00      0.00%           0.00     437,620.00     26.63%    -437,620.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Owner's Expense                         0.00     0.00%         0.00      0.00%           0.00      16,942.96      1.03%     -16,942.96
         3,180.00      2.08%         0.00    0.00%     3,180.00           0.00      0.00%        3,180.00   Non Recurring Cost                 15,040.00     0.91%         0.00      0.00%      15,040.00           0.00      0.00%       15,040.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Extraordinary Expense                   0.00     0.00%         0.00      0.00%           0.00       6,692.27      0.41%       -6,692.27
       19,761.50     12.95%          0.00   0.00%    19,761.50      55,168.36     31.98%      -35,406.86    Total Other Non-Operating        151,479.81     9.20%          0.00     0.00%    151,479.81      575,318.83     35.01%    -423,839.02




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                                                                                          Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                              P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %             Variance                                                        YTD     %          YTD Budget %               Variance    YTD Last Year     %             Variance

                                                                                                               Statistics
           121.00                   121.00                   0.00         121.00                        0.00   # Rooms                                            121.00                   121.00                     0.00          121.00                       0.00
         3,751.00                 3,751.00                   0.00       3,751.00                        0.00   Available Rooms                                 36,784.00                36,784.00                     0.00       36,905.00                    -121.00
         2,653.00                 2,129.00                 524.00       1,761.00                      892.00   Room Nights Sold                                21,658.00                16,324.00                 5,334.00       13,633.00                   8,025.00
          70.73%                   56.76%                 13.97%         46.95%                      23.78%    Occupancy %                                       58.88%                   44.38%                   14.50%          36.94%                     21.94%
           106.56                   103.00                   3.57          96.41                       10.16   ADR                                                100.85                    96.80                     4.05           95.66                       5.19
            75.37                    58.46                  16.91          45.26                       30.11   RevPar                                              59.38                    42.96                    16.42           35.34                      24.04

                                                                                                               Summary V.11
                                                                                                               Revenue
       282,709.45    93.50%    219,279.89     89.99%   63,429.56      169,773.03     97.64%       112,936.42   Rooms                                        2,184,200.23    95.06%    1,580,112.51    91.19%    604,087.72    1,304,087.05     95.77%      880,113.18
        12,575.76     4.16%     20,366.80      8.36%   -7,791.04          518.00      0.30%        12,057.76   F&B                                             47,759.71     2.08%      119,356.60     6.89%    -71,596.89       26,189.76      1.92%       21,569.95
         7,084.38     2.34%      4,019.00      1.65%    3,065.38        3,585.53      2.06%         3,498.85   Other Departments                               65,770.60     2.86%       33,389.00     1.93%     32,381.60       31,450.52      2.31%       34,320.08

      302,369.59    100.00%    243,665.69    100.00%   58,703.90     173,876.56     100.00%      128,493.03    Total Operating Revenue                     2,297,730.54    100.00%   1,732,858.11 100.00%      564,872.43    1,361,727.33 100.00%         936,003.21

                                                                                                               Departmental Expenses
        65,980.04    23.34%     58,214.47     26.55%     7,765.57      33,230.61     19.57%        32,749.43   Rooms                                         502,952.64     23.03%     490,773.09     31.06%     12,179.55      313,281.90     24.02%      189,670.74
        14,571.62   115.87%     15,963.74     78.38%    -1,392.12         -10.67     -2.06%        14,582.29   F&B                                            93,731.11    196.26%     101,720.98     85.22%     -7,989.87       53,149.35    202.94%       40,581.76
         5,144.33    72.62%      4,347.65    108.18%       796.68       3,771.07    105.17%         1,373.26   Other Departments                              44,553.25     67.74%      40,625.00    121.67%      3,928.25       38,059.49    121.01%        6,493.76

       85,695.99    28.34%      78,525.86    32.23%     7,170.13      36,991.01     21.27%        48,704.98    Total Departmental Expenses                  641,237.00     27.91%     633,119.07     36.54%      8,117.93      404,490.74     29.70%      236,746.26

      216,673.60    71.66%     165,139.83    67.77%    51,533.77     136,885.55     78.73%        79,788.05    Total Departmental Profit                   1,656,493.54    72.09%    1,099,739.04    63.46%    556,754.50      957,236.59     70.30%      699,256.95

                                                                                                               Undistributed Operating Expenses
        28,626.64     9.47%     21,219.18      8.71%     7,407.46      20,345.78     11.70%         8,280.86   A&G                                           249,915.26     10.88%     202,627.35     11.69%     47,287.91      239,304.87     17.57%       10,610.39
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%             0.00   IT                                                  0.00      0.00%           0.00      0.00%          0.00            0.00      0.00%            0.00
        11,003.48     3.64%     10,934.17      4.49%        69.31       4,354.77      2.50%         6,648.71   S&M                                           113,277.18      4.93%     108,564.50      6.27%      4,712.68       52,094.28      3.83%       61,182.90
        29,037.61     9.60%     27,062.21     11.11%     1,975.40      29,763.65     17.12%          -726.04   Franchise Fees                                239,104.21     10.41%     195,077.88     11.26%     44,026.33      171,410.37     12.59%       67,693.84
        19,004.42     6.29%     14,375.47      5.90%     4,628.95      10,741.22      6.18%         8,263.20   R&M                                           182,359.15      7.94%     146,666.16      8.46%     35,692.99      122,284.63      8.98%       60,074.52
         9,881.87     3.27%      7,736.00      3.17%     2,145.87       6,915.39      3.98%         2,966.48   Utilities                                     118,507.19      5.16%      90,133.50      5.20%     28,373.69       89,395.12      6.56%       29,112.07

       97,554.02    32.26%      81,327.03    33.38%    16,226.99      72,120.81     41.48%        25,433.21    Total Undistributed Expenses                 903,162.99     39.31%     743,069.39     42.88%    160,093.60      674,489.27     49.53%      228,673.72

      119,119.58    39.40%      83,812.80    34.40%    35,306.78      64,764.74     37.25%        54,354.84    Gross Operating Profit                    753,330.55        32.79%     356,669.65     20.58%    396,660.90      282,747.32     20.76%      470,583.23
         9,571.09     3.17%       7,309.97     3.00%     2,261.12       8,073.05      4.64%         1,498.04   Management Fees                             78,578.90         3.42%      58,253.78      3.36%     20,325.12       45,017.50      3.31%       33,561.40
      109,548.49    36.23%      76,502.83    31.40%    33,045.66      56,691.69     32.60%        52,856.80    Income Before Non-Operating Income and Expenses
                                                                                                                                                         674,751.65        29.37%     298,415.87     17.22%    376,335.78      237,729.82     17.46%      437,021.83

                                                                                                               Non-Operating Income and Expenses
         7,419.17      2.45%      6,307.92     2.59%     1,111.25       5,003.72      2.88%         2,415.45   Insurance                                      67,207.91      2.92%      63,079.20      3.64%      4,128.71       49,053.07      3.60%       18,154.84
        19,587.23      6.48%     19,565.50     8.03%        21.73      19,154.66     11.02%           432.57   Leases & Rent                                 194,529.90      8.47%     194,011.36     11.20%        518.54      187,705.36     13.78%        6,824.54
           790.56      0.26%          0.00     0.00%       790.56      41,906.27     24.10%       -41,115.71   Other                                           8,370.93      0.36%           0.00      0.00%      8,370.93      457,277.30     33.58%     -448,906.37
       27,796.96      9.19%     25,873.42    10.62%     1,923.54      66,064.65     38.00%       -38,267.69    Total Non-Operating Income and Expenses      270,108.74     11.76%     257,090.56     14.84%     13,018.18      694,035.73     50.97%     -423,926.99

       81,751.53    27.04%      50,629.41    20.78%    31,122.12      -9,372.96     -5.39%        91,124.49    EBITDA                                        404,642.91    17.61%      41,325.31      2.38%    363,317.60     -456,305.91     -33.51%     860,948.82
             0.00     0.00%           0.00     0.00%         0.00      36,500.00     20.99%       -36,500.00   Interest                                             0.00     0.00%           0.00      0.00%          0.00      366,964.46      26.95%    -366,964.46
        15,497.00     5.13%      15,497.33     6.36%        -0.33       7,469.62      4.30%         8,027.38   Taxes                                          150,825.80     6.56%     154,973.30      8.94%     -4,147.50      146,945.59      10.79%       3,880.21
             0.00     0.00%           0.00     0.00%         0.00       3,334.00      1.92%        -3,334.00   Amortization                                         0.00     0.00%           0.00      0.00%          0.00       33,340.00       2.45%     -33,340.00
       15,497.00     5.13%      15,497.33     6.36%        -0.33      47,303.62     27.21%       -31,806.62    Interest, Taxes, Depreciation and Amortization150,825.80     6.56%     154,973.30      8.94%     -4,147.50      547,250.05      40.19%    -396,424.25

       66,254.53    21.91%      35,132.08    14.42%    31,122.45     -56,676.58     -32.60%      122,931.11    Net Income                                   253,817.11     11.05%    -113,647.99      -6.56%   367,465.10    -1,003,555.96    -73.70%    1,257,373.07




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                                                                                       Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %       PTD Budget     %         Variance   PTD Last Year    %             Variance                                            YTD      %         YTD Budget %              Variance   YTD Last Year     %         Variance

                                                                                                            Statistics
           121.00                 121.00                  0.00          121.00                      0.00    # Rooms                                121.00                   121.00                    0.00         121.00                    0.00
         3,751.00               3,751.00                  0.00        3,751.00                      0.00    Available Rooms                     36,784.00                36,784.00                    0.00      36,905.00                 -121.00
         2,653.00               2,129.00                524.00        1,761.00                    892.00    Room Nights Sold                    21,658.00                16,324.00                5,334.00      13,633.00                8,025.00
             0.71                   0.57                  0.14            0.47                      0.24    Occupancy %                              0.59                     0.44                    0.15           0.37                    0.22
           106.56                 103.00                  3.57           96.41                     10.16    ADR                                    100.85                    96.80                    4.05          95.66                    5.19
            75.37                  58.46                 16.91           45.26                     30.11    RevPar                                  59.38                    42.96                   16.42          35.34                   24.04

                                                                                                            Summary
                                                                                                            Revenue:
       282,709.45    93.50%   219,279.89    89.99%    63,429.56     169,773.03    97.64%       112,936.42   Rooms                            2,184,200.23     95.06%   1,580,112.51    91.19%   604,087.72   1,304,087.05    95.77%    880,113.18
         9,203.66     3.04%    13,436.80     5.51%    -4,233.14          18.00     0.01%         9,185.66   Food                                35,112.61      1.53%      89,009.60     5.14%   -53,896.99      23,872.76     1.75%     11,239.85
         2,372.10     0.78%     5,330.00     2.19%    -2,957.90           0.00     0.00%         2,372.10   Beverage                             2,372.10      0.10%      21,497.00     1.24%   -19,124.90           0.00     0.00%      2,372.10
         1,000.00     0.33%     1,600.00     0.66%      -600.00         500.00     0.29%           500.00   Other F&B Revenue                   10,275.00      0.45%       8,850.00     0.51%     1,425.00       2,317.00     0.17%      7,958.00
           140.92     0.05%         0.00     0.00%       140.92         -58.09    -0.03%           199.01   Telephone                              715.59      0.03%           0.00     0.00%       715.59        -494.81    -0.04%      1,210.40
         6,943.46     2.30%     4,019.00     1.65%     2,924.46       3,643.62     2.10%         3,299.84   Other                               65,055.01      2.83%      33,389.00     1.93%    31,666.01      31,945.33     2.35%     33,109.68

       302,369.59   100.00%   243,665.69   100.00%    58,703.90     173,876.56    100.00%      128,493.03   Total Revenue                    2,297,730.54   100.00%    1,732,858.11   100.00%   564,872.43   1,361,727.33    100.00%   936,003.21



                                                                                                            Cost of Sales:
         4,467.84    48.54%     6,354.56     47.29%   -1,886.72           0.00     0.00%         4,467.84   Food                                29,793.49     84.85%      41,830.93   47.00%    -12,037.44      17,944.67    75.17%     11,848.82
          -756.82   -31.91%     1,492.40     28.00%   -2,249.22           0.00     0.00%          -756.82   Beverage                               481.52     20.30%       6,019.16   28.00%     -5,537.64           0.00     0.00%        481.52
             0.00     0.00%    -2,192.87   -137.05%    2,192.87           0.00     0.00%             0.00   Other F&B                                0.00      0.00%     -14,978.26 -169.25%     14,978.26           0.00     0.00%          0.00
         1,124.78    15.88%       833.00     20.73%      291.78       1,020.94    28.47%           103.84   Telephone                           11,199.59     17.03%       8,330.00   24.95%      2,869.59       7,591.68    24.14%      3,607.91
         1,962.95    27.71%     1,424.65     35.45%      538.30         684.14    19.08%         1,278.81   Other                               15,332.56     23.31%      11,395.00   34.13%      3,937.56       9,388.47    29.85%      5,944.09

         6,798.75    95.97%     7,911.74   196.86%    -1,112.99       1,705.08    47.55%         5,093.67   Total Cost of Sales                 56,807.16     86.37%     52,596.83    157.53%     4,210.33      34,924.82    111.05%    21,882.34



                                                                                                            Payroll:
        37,442.80    13.24%    35,575.10    16.22%     1,867.70      18,717.04    11.02%        18,725.76   Rooms                              295,259.98     13.52%    304,032.05     19.24%    -8,772.07     161,333.89    12.37%    133,926.09
         7,268.60    57.80%     6,907.00    33.91%       361.60           0.00     0.00%         7,268.60   F&B                                 36,248.11     75.90%     41,457.00     34.73%    -5,208.89      21,595.90    82.46%     14,652.21
             0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%             0.00   Other                                    0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
        12,073.37     3.99%     7,822.72     3.21%     4,250.65       8,330.57     4.79%         3,742.80   A&G                                 97,072.11      4.22%     76,329.17      4.40%    20,742.94      89,160.03     6.55%      7,912.08
             0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%             0.00   IT                                       0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         6,602.94     2.18%     6,092.30     2.50%       510.64       2,281.95     1.31%         4,320.99   S&M                                 57,049.48      2.48%     59,521.59      3.43%    -2,472.11      33,517.21     2.46%     23,532.27
         7,397.49     2.45%     6,911.69     2.84%       485.80       7,171.96     4.12%           225.53   R&M                                 70,223.37      3.06%     67,556.26      3.90%     2,667.11      56,739.87     4.17%     13,483.50
        70,785.20    23.41%    63,308.81    25.98%     7,476.39      36,501.52    20.99%        34,283.68   Total Salaries and Wages           555,853.05     24.19%    548,896.07     31.68%     6,956.98     362,346.90    26.61%    193,506.15

        15,373.31     5.08%    12,014.01     4.93%     3,359.30       8,455.93     4.86%         6,917.38   Total Taxes and Benefits           125,204.15      5.45%    121,319.93      7.00%     3,884.22     121,524.09     8.92%      3,680.06
        86,158.51    28.49%    75,322.82    30.91%    10,835.69      44,957.45    25.86%        41,201.06   Total Labor Costs                  681,057.20     29.64%    670,216.00     38.68%    10,841.20     483,870.99    35.53%    197,186.21



                                                                                                            Direct Expenses:
        21,344.44     7.55%    16,857.20     7.69%     4,487.24      11,504.85     6.78%         9,839.59   Rooms                              154,010.49      7.05%    130,209.76      8.24%    23,800.73     115,840.20     8.88%     38,170.29
         2,144.39    17.05%     2,005.10     9.84%       139.29           0.00     0.00%         2,144.39   F&B                                 20,122.24     42.13%     16,969.93     14.22%     3,152.31       5,444.71    20.79%     14,677.53
         2,056.60    29.03%     2,090.00    52.00%       -33.40       2,065.99    57.62%            -9.39   Telephone                           18,021.10     27.40%     20,900.00     62.60%    -2,878.90      21,079.34    67.02%     -3,058.24
             0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%             0.00   Other                                    0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
        29,037.61     9.60%    27,062.21    11.11%     1,975.40      29,763.65    17.12%          -726.04   Franchise Fees                     239,104.21     10.41%    195,077.88     11.26%    44,026.33     171,410.37    12.59%     67,693.84
        14,239.30     4.71%    11,483.05     4.71%     2,756.25       8,909.31     5.12%         5,329.99   A&G                                127,619.65      5.55%    105,655.44      6.10%    21,964.21     100,267.62     7.36%     27,352.03
             0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%             0.00   IT                                       0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         1,715.25     0.57%     3,305.00     1.36%    -1,589.75       1,037.26     0.60%           677.99   S&M                                 37,341.77      1.63%     31,423.00      1.81%     5,918.77      10,232.71     0.75%     27,109.06
         9,873.29     3.27%     6,079.77     2.50%     3,793.52       2,252.84     1.30%         7,620.45   R&M                                 91,808.98      4.00%     63,006.12      3.64%    28,802.86      46,514.13     3.42%     45,294.85
         9,881.87     3.27%     7,736.00     3.17%     2,145.87       6,915.39     3.98%         2,966.48   Utilities                          118,507.19      5.16%     90,133.50      5.20%    28,373.69      89,395.12     6.56%     29,112.07

        90,292.75    29.86%    76,618.33    31.44%    13,674.42      62,449.29    35.92%        27,843.46   Total Direct Expense               806,535.63     35.10%    653,375.63     37.71%   153,160.00     560,184.20    41.14%    246,351.43

       119,119.58    39.40%    83,812.80    34.40%    35,306.78      64,764.74    37.25%        54,354.84   Gross Operating Profit             753,330.55     32.79%    356,669.65     20.58%   396,660.90     282,747.32    20.76%    470,583.23

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                                                                                     Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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                                                                                                              As of 10/31/2021
             PTD      %       PTD Budget   %         Variance   PTD Last Year    %             Variance                                            YTD      %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                          Fixed Costs
        15,497.00     5.13%    15,497.33   6.36%        -0.33       7,469.62     4.30%         8,027.38   Taxes                              150,825.80     6.56%    154,973.30      8.94%    -4,147.50     146,945.59    10.79%       3,880.21
         7,419.17     2.45%     6,307.92   2.59%     1,111.25       5,003.72     2.88%         2,415.45   Insurance                           67,207.91     2.92%     63,079.20      3.64%     4,128.71      49,053.07     3.60%      18,154.84
        19,587.23     6.48%    19,565.50   8.03%        21.73      19,154.66    11.02%           432.57   Leases & Rent                      194,529.90     8.47%    194,011.36     11.20%       518.54     187,705.36    13.78%       6,824.54
         9,571.09     3.17%     7,309.97   3.00%     2,261.12       8,073.05     4.64%         1,498.04   Management Fees                     78,578.90     3.42%     58,253.78      3.36%    20,325.12      45,017.50     3.31%      33,561.40

        52,074.49    17.22%    48,680.72   19.98%    3,393.77      39,701.05    22.83%        12,373.44   Total Fixed Expenses               491,142.51     21.38%   470,317.64     27.14%    20,824.87     428,721.52    31.48%      62,420.99

        67,045.09    22.17%    35,132.08   14.42%   31,913.01      25,063.69    14.41%        41,981.40   Net Operating Profit               262,188.04     11.41%   -113,647.99    -6.56%   375,836.03    -145,974.20    -10.72%    408,162.24



             0.00     0.00%         0.00   0.00%        0.00       36,500.00    20.99%       -36,500.00   Interest Expense - Other                 0.00     0.00%           0.00    0.00%          0.00     366,964.46    26.95%    -366,964.46
           790.56     0.26%         0.00   0.00%      790.56          109.00     0.06%           681.56   Owner's Expense                      1,739.73     0.08%           0.00    0.00%      1,739.73      12,559.41     0.92%     -10,819.68
             0.00     0.00%         0.00   0.00%        0.00            0.00     0.00%             0.00   Extraordinary Expense                    0.00     0.00%           0.00    0.00%          0.00      27,031.17     1.99%     -27,031.17
             0.00     0.00%         0.00   0.00%        0.00            0.00     0.00%             0.00   Non Recurring Cost                       0.00     0.00%           0.00    0.00%          0.00        -285.98    -0.02%         285.98



        66,254.53    21.91%    35,132.08   14.42%   31,122.45     -11,545.31     -6.64%       77,799.84   Net Operating Income               260,448.31     11.34%   -113,647.99    -6.56%   374,096.30    -552,243.26    -40.55%    812,691.57

             0.00     0.00%         0.00   0.00%         0.00      14,989.27     8.62%       -14,989.27   Capital Reserve                      6,631.20     0.29%           0.00    0.00%      6,631.20     149,892.70    11.01%    -143,261.50
             0.00     0.00%         0.00   0.00%         0.00      26,808.00    15.42%       -26,808.00   (Gain)/Loss-Insurance                    0.00     0.00%           0.00    0.00%          0.00     268,080.00    19.69%    -268,080.00

        66,254.53    21.91%    35,132.08   14.42%   31,122.45     -53,342.58    -30.68%      119,597.11   Adjusted NOI                       253,817.11     11.05%   -113,647.99    -6.56%   367,465.10    -970,215.96    -71.25%   1,224,033.07



             0.00     0.00%         0.00   0.00%         0.00       3,334.00     1.92%        -3,334.00   Amortization                             0.00     0.00%           0.00    0.00%          0.00      33,340.00     2.45%      -33,340.00



        66,254.53    21.91%    35,132.08   14.42%   31,122.45     -56,676.58    -32.60%      122,931.11   Net Profit/(Loss)                  253,817.11     11.05%   -113,647.99    -6.56%   367,465.10   -1,003,555.96   -73.70%   1,257,373.07




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                                                                                         Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                             P&L - Dual Summary Pages
                                                                                                                  As of 10/31/2021
             PTD      %        PTD Budget     %         Variance   PTD Last Year     %             Variance                                            YTD      %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
             0.00     0.00%     16,461.60     7.51%   -16,461.60           0.00      0.00%             0.00   Corporate Transient                 16,793.84      0.77%     108,310.11      6.85%    -91,516.27           0.00     0.00%    16,793.84
         4,396.24     1.56%     40,674.87    18.55%   -36,278.63           0.00      0.00%         4,396.24   Advanced Purchase                   18,629.38      0.85%     258,363.16     16.35%   -239,733.78           0.00     0.00%    18,629.38
        18,583.60     6.57%     10,593.00     4.83%     7,990.60           0.00      0.00%        18,583.60   AAA/AARP Transient                 145,627.24      6.67%      87,220.42      5.52%     58,406.82           0.00     0.00%   145,627.24
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%             0.00   Consortia Transient                    791.90      0.04%           0.00      0.00%        791.90           0.00     0.00%       791.90
         1,199.10     0.42%      9,477.09     4.32%    -8,277.99           0.00      0.00%         1,199.10   Employee                            10,744.20      0.49%      67,684.71      4.28%    -56,940.51           0.00     0.00%    10,744.20
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%             0.00   Leisure Transient                      470.75      0.02%           0.00      0.00%        470.75           0.00     0.00%       470.75
             0.00     0.00%      6,003.33     2.74%    -6,003.33           0.00      0.00%             0.00   Travel Agent/Friends & Family            0.00      0.00%      50,858.35      3.22%    -50,858.35           0.00     0.00%         0.00
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%             0.00   Leisure Package Transient            1,018.00      0.05%           0.00      0.00%      1,018.00           0.00     0.00%     1,018.00
         4,795.00     1.70%      2,114.78     0.96%     2,680.22       4,576.00      2.70%           219.00   Member Reward Stay                  42,986.20      1.97%      23,333.21      1.48%     19,652.99      31,571.49     2.42%    11,414.71
        37,836.00    13.38%          0.00     0.00%    37,836.00      42,215.74     24.87%        -4,379.74   Extended Stay Transient            195,359.07      8.94%           0.00      0.00%    195,359.07     279,569.57    21.44%   -84,210.50
        28,651.52    10.13%     17,222.40     7.85%    11,429.12           0.00      0.00%        28,651.52   Internet/E-Commerce                280,898.13     12.86%     138,851.45      8.79%    142,046.68           0.00     0.00%   280,898.13
             0.00     0.00%     10,459.41     4.77%   -10,459.41           0.00      0.00%             0.00   E-Commerce Opaque                        0.00      0.00%      85,345.98      5.40%    -85,345.98           0.00     0.00%         0.00
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%             0.00   Other Transient                      2,832.07      0.13%           0.00      0.00%      2,832.07           0.00     0.00%     2,832.07
         4,992.00     1.77%      4,229.56     1.93%       762.44           0.00      0.00%         4,992.00   Government Transient                33,012.00      1.51%      38,183.13      2.42%     -5,171.13           0.00     0.00%    33,012.00
        99,569.15    35.22%     70,324.20    32.07%    29,244.95      86,546.33     50.98%        13,022.82   Rack Transient                     878,989.81     40.24%     477,325.67     30.21%    401,664.14     678,214.47    52.01%   200,775.34
        22,062.17     7.80%          0.00     0.00%    22,062.17      19,357.86     11.40%         2,704.31   Local Negotiated Transient         263,400.85     12.06%           0.00      0.00%    263,400.85     204,748.12    15.70%    58,652.73

      222,084.78    78.56%     187,560.24   85.53%    34,524.54     152,695.93     89.94%        69,388.85    Total Transient Room Revenue     1,891,553.44   86.60%     1,335,476.19   84.52%     556,077.25    1,194,103.65    91.57%   697,449.79

                                                                                                              Group Room Revenue
        34,886.00    12.34%     13,745.25     6.27%   21,140.75       12,733.00      7.50%        22,153.00   Corporate Group                    257,249.83     11.78%     102,422.94     6.48%     154,826.89      74,214.00     5.69%   183,035.83
             0.00     0.00%          0.00     0.00%        0.00        3,972.00      2.34%        -3,972.00   Government Group                         0.00      0.00%           0.00     0.00%           0.00      27,038.00     2.07%   -27,038.00
        24,723.00     8.75%     17,974.40     8.20%    6,748.60            0.00      0.00%        24,723.00   SMERF Group                         33,905.20      1.55%     142,213.38     9.00%    -108,308.18           0.00     0.00%    33,905.20

       59,609.00    21.08%      31,719.65   14.47%    27,889.35      16,705.00      9.84%        42,904.00    Total Group Room Revenue          291,155.03    13.33%      244,636.32    15.48%      46,518.71     101,252.00     7.76%    189,903.03

                                                                                                              Contract Room Revenue

            0.00      0.00%          0.00    0.00%         0.00            0.00     0.00%             0.00    Total Contract Room Revenue              0.00     0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                              Other Room Revenue
         1,210.00     0.43%          0.00     0.00%    1,210.00          372.10      0.22%          837.90    No-Show Rooms                        5,855.68     0.27%            0.00     0.00%       5,855.68       8,614.40     0.66%     -2,758.72
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%            0.00    Pet/Smoking/Damage Fees                 75.00     0.00%            0.00     0.00%          75.00           0.00     0.00%         75.00

        1,210.00      0.43%          0.00    0.00%     1,210.00         372.10      0.22%           837.90    Total Other Room Revenue             5,930.68     0.27%            0.00     0.00%      5,930.68        8,614.40    0.66%     -2,683.72

          -194.33     -0.07%         0.00     0.00%     -194.33            0.00      0.00%          -194.33   Less: Allowances                    -4,438.92     -0.20%           0.00     0.00%      -4,438.92         117.00     0.01%     -4,555.92

      282,709.45    100.00%    219,279.89   100.00%   63,429.56     169,773.03     100.00%      112,936.42    Total Room Revenue               2,184,200.23   100.00%    1,580,112.51 100.00%      604,087.72    1,304,087.05 100.00%     880,113.18

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00      0.00%     3,200.28     1.46%    -3,200.28       2,818.68      1.66%        -2,818.68   Front Office Management              6,577.44      0.30%      30,818.40      1.95%    -24,240.96       2,818.68     0.22%      3,758.76
             0.00      0.00%         0.00     0.00%         0.00         391.20      0.23%          -391.20   Revenue Management                       0.00      0.00%           0.00      0.00%          0.00       5,701.48     0.44%     -5,701.48
         3,662.10      1.30%     3,548.22     1.62%       113.88          -0.20      0.00%         3,662.30   Housekeeping Management             21,500.05      0.98%      24,114.44      1.53%     -2,614.39      11,030.32     0.85%     10,469.73
        3,662.10      1.30%     6,748.50     3.08%    -3,086.40       3,209.68      1.89%           452.42    Total Rooms Management             28,077.49      1.29%      54,932.84      3.48%    -26,855.35      19,550.48     1.50%      8,527.01
         7,868.08      2.78%     4,878.51     2.22%     2,989.57       2,736.13      1.61%         5,131.95   Front Office Agents                 71,516.47      3.27%      47,840.88      3.03%     23,675.59      32,200.60     2.47%     39,315.87
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%             0.00   Front Office Agents Overtime             0.00      0.00%      -2,400.00     -0.15%      2,400.00           0.00     0.00%          0.00
         3,612.77      1.28%     3,596.00     1.64%        16.77       4,381.55      2.58%          -768.78   Night Auditors                      29,560.00      1.35%      35,264.00      2.23%     -5,704.00      34,466.65     2.64%     -4,906.65
       11,480.85      4.06%     8,474.51     3.86%     3,006.34       7,117.68      4.19%         4,363.17    Total Rooms Front Office          101,076.47      4.63%      80,704.88      5.11%     20,371.59      66,667.25     5.11%     34,409.22
         2,566.62      0.91%     2,657.14     1.21%       -90.52       2,821.00      1.66%          -254.38   Housekeeping Supervisors            15,329.59      0.70%      26,057.13      1.65%    -10,727.54      22,781.42     1.75%     -7,451.83
        12,833.59      4.54%    11,283.70     5.15%     1,549.89       5,568.68      3.28%         7,264.91   Room Attendants                    112,720.92      5.16%      86,517.20      5.48%     26,203.72      38,039.02     2.92%     74,681.90
         4,499.16      1.59%         0.00     0.00%     4,499.16           0.00      0.00%         4,499.16   Housepersons                        24,007.57      1.10%           0.00      0.00%     24,007.57       9,666.88     0.74%     14,340.69
             0.00      0.00%     3,750.00     1.71%    -3,750.00           0.00      0.00%             0.00   Housepersons Overtime                    0.00      0.00%      38,526.00      2.44%    -38,526.00           0.00     0.00%          0.00
         2,400.48      0.85%     2,661.25     1.21%      -260.77           0.00      0.00%         2,400.48   Laundry Attendants                  14,047.94      0.64%      20,405.00      1.29%     -6,357.06       4,628.84     0.35%      9,419.10
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%             0.00   Laundry Attendants Overtime              0.00      0.00%      -3,111.00     -0.20%      3,111.00           0.00     0.00%          0.00
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                                                                     Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 51 of 756
                                                                                        Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget     %         Variance   PTD Last Year    %             Variance                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

       22,299.85      7.89%     20,352.09    9.28%     1,947.76       8,389.68     4.94%        13,910.17    Total Rooms Housekeeping               166,106.02    7.60%     168,394.33    10.66%      -2,288.31      75,116.16     5.76%     90,989.86

       37,442.80    13.24%      35,575.10    16.22%    1,867.70      18,717.04     11.02%       18,725.76    Total Rooms Salary and Wages           295,259.98    13.52%    304,032.05    19.24%      -8,772.07     161,333.89     12.37%   133,926.09

                                                                                                             PR Taxes and Benefits
         2,524.60      0.89%      2,739.38    1.25%      -214.78       1,981.25     1.17%           543.35   FICA                                     21,110.86    0.97%      23,522.54      1.49%     -2,411.68      17,028.83     1.31%      4,082.03
            49.02      0.02%         15.04    0.01%        33.98           0.00     0.00%            49.02   Federal Unemployment Tax                    647.41    0.03%         373.40      0.02%        274.01           0.00     0.00%        647.41
           387.72      0.14%        122.65    0.06%       265.07           0.00     0.00%           387.72   State Unemployment Tax                    4,920.37    0.23%       3,905.04      0.25%      1,015.33           0.00     0.00%      4,920.37
        2,961.34      1.05%      2,877.07    1.31%         84.27      1,981.25     1.17%           980.09    Total Payroll Taxes                     26,678.64    1.22%      27,800.98      1.76%     -1,122.34      17,028.83     1.31%      9,649.81
             0.00      0.00%          0.00    0.00%         0.00           0.00     0.00%             0.00   Holiday                                       0.00    0.00%       1,000.00      0.06%     -1,000.00       2,145.68     0.16%     -2,145.68
             0.00      0.00%        227.77    0.10%      -227.77         821.52     0.48%          -821.52   Vacation                                      0.00    0.00%       2,405.29      0.15%     -2,405.29      10,275.77     0.79%    -10,275.77
             0.00     0.00%        227.77    0.10%      -227.77         821.52     0.48%          -821.52    Total Supplemental Pay                        0.00   0.00%       3,405.29      0.22%     -3,405.29      12,421.45     0.95%    -12,421.45
         1,449.25      0.51%      1,889.83    0.86%      -440.58           0.00     0.00%         1,449.25   Worker's Compensation                    12,299.77    0.56%      17,712.51      1.12%     -5,412.74           0.00     0.00%     12,299.77
             0.00      0.00%          0.00    0.00%         0.00           0.00     0.00%             0.00   Payroll Tax/Benefit Allocation             -178.75   -0.01%           0.00      0.00%       -178.75           0.00     0.00%       -178.75
         2,762.21      0.98%        787.50    0.36%     1,974.71         205.95     0.12%         2,556.26   Group Insurance                          14,862.51    0.68%       7,612.50      0.48%      7,250.01       6,407.53     0.49%      8,454.98
            20.00      0.01%          0.00    0.00%        20.00           0.00     0.00%            20.00   Bonus and Incentive Pay                      20.00    0.00%           0.00      0.00%         20.00         250.00     0.02%       -230.00
        4,231.46      1.50%      2,677.33    1.22%     1,554.13         205.95     0.12%         4,025.51    Total Other Benefits                    27,003.53    1.24%      25,325.01      1.60%      1,678.52       6,657.53     0.51%     20,346.00

        7,192.80      2.54%      5,782.17    2.64%     1,410.63       3,008.72     1.77%         4,184.08    Total Rooms PR Taxes and Benefits       53,682.17    2.46%      56,531.28      3.58%     -2,849.11      36,107.81     2.77%     17,574.36

       44,635.60    15.79%      41,357.27    18.86%    3,278.33      21,725.76     12.80%       22,909.84    Total Rooms Labor Costs                348,942.15    15.98%    360,563.33    22.82%     -11,621.18     197,441.70     15.14%   151,500.45

                                                                                                             Other Expenses
           919.68     0.33%      2,192.87     1.00%    -1,273.19           0.00     0.00%           919.68   Breakfast /Comp Cost                     11,890.85    0.54%      13,742.26     0.87%      -1,851.41       6,831.47     0.52%      5,059.38
           983.35     0.35%      1,064.50     0.49%       -81.15         828.00     0.49%           155.35   Cleaning Supplies                        13,956.60    0.64%       8,162.00     0.52%       5,794.60       6,823.87     0.52%      7,132.73
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Contract Labor                               32.72    0.00%           0.00     0.00%          32.72      20,213.96     1.55%    -20,181.24
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Dues and Subscriptions                      495.00    0.02%           0.00     0.00%         495.00           0.00     0.00%        495.00
         5,045.09     1.78%      2,874.15     1.31%     2,170.94       2,471.07     1.46%         2,574.02   Guest Supplies                           29,580.99    1.35%      22,037.40     1.39%       7,543.59      20,117.08     1.54%      9,463.91
           393.25     0.14%        395.00     0.18%        -1.75         393.25     0.23%             0.00   Internet/Web Expense                      3,539.25    0.16%       3,950.00     0.25%        -410.75       3,932.50     0.30%       -393.25
           552.83     0.20%        532.25     0.24%        20.58           0.00     0.00%           552.83   Laundry                                   6,743.32    0.31%       4,081.00     0.26%       2,662.32         153.88     0.01%      6,589.44
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Laundry Allocation                          487.19    0.02%           0.00     0.00%         487.19           0.00     0.00%        487.19
           600.01     0.21%      1,064.50     0.49%      -464.49           0.00     0.00%           600.01   Linen                                     9,244.65    0.42%       8,162.00     0.52%       1,082.65       3,022.71     0.23%      6,221.94
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Newspaper                                     0.00    0.00%           0.00     0.00%           0.00         291.40     0.02%       -291.40
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Office Equipment                            121.73    0.01%           0.00     0.00%         121.73           0.00     0.00%        121.73
             8.49     0.00%          0.00     0.00%         8.49          30.52     0.02%           -22.03   Operating Supplies                          450.82    0.02%           0.00     0.00%         450.82       1,536.90     0.12%     -1,086.08
            73.50     0.03%          0.00     0.00%        73.50           0.00     0.00%            73.50   Printing and Stationery                      95.28    0.00%           0.00     0.00%          95.28           0.00     0.00%         95.28
             0.00     0.00%        998.82     0.46%      -998.82       1,584.86     0.93%        -1,584.86   Reservation Expense                           0.00    0.00%       7,197.41     0.46%      -7,197.41       5,808.82     0.45%     -5,808.82
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Rooms Promotion                              36.20    0.00%           0.00     0.00%          36.20         412.34     0.03%       -376.14
         2,286.88     0.81%      1,838.00     0.84%       448.88       1,837.99     1.08%           448.89   Television Cable                         19,998.98    0.92%      18,380.00     1.16%       1,618.98      16,833.55     1.29%      3,165.43
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Training                                    219.00    0.01%           0.00     0.00%         219.00           0.00     0.00%        219.00
             0.00     0.00%        400.00     0.18%      -400.00           0.00     0.00%             0.00   Transportation                                0.00    0.00%       2,800.00     0.18%      -2,800.00           0.00     0.00%          0.00
             0.00     0.00%        634.39     0.29%      -634.39           0.00     0.00%             0.00   Travel Agent Comm - Group Rooms           7,865.00    0.36%       4,892.73     0.31%       2,972.27           0.00     0.00%      7,865.00
         5,688.76     2.01%      4,612.72     2.10%     1,076.04       4,359.16     2.57%         1,329.60   Travel Agent Comm - Transient Rooms      39,387.68    1.80%      34,604.96     2.19%       4,782.72      28,759.30     2.21%     10,628.38
           240.92     0.09%        250.00     0.11%        -9.08           0.00     0.00%           240.92   Uniforms                                  3,400.19    0.16%       2,200.00     0.14%       1,200.19       1,102.42     0.08%      2,297.77
         4,551.68     1.61%          0.00     0.00%     4,551.68           0.00     0.00%         4,551.68   Walked Guests                             6,465.04    0.30%           0.00     0.00%       6,465.04           0.00     0.00%      6,465.04

       21,344.44      7.55%     16,857.20    7.69%     4,487.24      11,504.85     6.78%         9,839.59    Total Rooms Other Expenses             154,010.49    7.05%     130,209.76      8.24%     23,800.73     115,840.20     8.88%     38,170.29

       65,980.04    23.34%      58,214.47    26.55%    7,765.57      33,230.61     19.57%       32,749.43    Total Rooms Expenses                   502,952.64    23.03%    490,773.09    31.06%      12,179.55     313,281.90     24.02%   189,670.74

      216,729.41    76.66%     161,065.42    73.45%   55,663.99     136,542.42     80.43%       80,186.99    Total Rooms Profit (Loss)             1,681,247.59   76.97%   1,089,339.42   68.94%     591,908.17     990,805.15     75.98%   690,442.44




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                                                                            Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                P&L - Dual Summary Pages
                                                                                                     As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year   %             Variance                                                     YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                                 Room Sale Stats
                                                                                                 Tranisent Rooms
             0.00               152.00       -152.00            0.00                      0.00   Room Stat - Corporate Transient                 243.00         1,008.00       -765.00           0.00           243.00
            39.00               369.00       -330.00            0.00                     39.00   Room Stat - Advanced Purchase                   195.00         2,621.00     -2,426.00           0.00           195.00
           158.00               107.00         51.00            0.00                    158.00   Room Stat - AAA/AARP Transient                1,296.00           970.00        326.00           0.00         1,296.00
             0.00                 0.00          0.00            0.00                      0.00   Room Stat - Consortia Rate Transient              1.00             0.00          1.00           0.00             1.00
            20.00               147.00       -127.00            0.00                     20.00   Room Stat - Employee                            190.00         1,077.00       -887.00           0.00           190.00
             0.00                 0.00          0.00            0.00                      0.00   Room Stat - Leisure Transient                     4.00             0.00          4.00           0.00             4.00
             0.00                 0.00          0.00            0.00                      0.00   Room Stat - Package Transient                     7.00             0.00          7.00           0.00             7.00
             0.00                97.00        -97.00            0.00                      0.00   Room Stat - Travel Agent/Friends & Family         0.00           802.00       -802.00           0.00             0.00
           137.00                41.00         96.00            0.00                    137.00   Room Stat - Member Reward Stay                1,155.00           461.00        694.00           0.00         1,155.00
           484.00                 0.00        484.00          576.00                    -92.00   Room Stat - Extended Stay Transient           2,429.00             0.00      2,429.00       4,015.00        -1,586.00
           240.00               192.00         48.00            0.00                    240.00   Room Stat - Internet                          2,832.00         1,484.00      1,348.00           0.00         2,832.00
             0.00                 0.00          0.00            0.00                      0.00   Room Stat - Other Transient                       1.00             0.00          1.00           0.00             1.00
             0.00               169.00       -169.00            0.00                      0.00   Room Stat - E-Commerce Opaque                     0.00         1,352.00     -1,352.00           0.00             0.00
            52.00                41.00         11.00           38.00                     14.00   Room Stat - Government Rate Transient           350.00           360.00        -10.00         283.00            67.00
           780.00               486.00        294.00          823.00                    -43.00   Room Stat - Rack Rate Transient               7,643.00         3,731.00      3,912.00       6,474.00         1,169.00
           234.00                 0.00        234.00          219.00                     15.00   Room Stat - Local Negotiated Transient        2,903.00             0.00      2,903.00       2,248.00           655.00
        2,144.00             1,801.00        343.00        1,656.00                    488.00    Total Transient Rooms Sold                  19,249.00        13,866.00      5,383.00      13,020.00         6,229.00

                                                                                                 Group Rooms
           380.00               123.00        257.00          105.00                    275.00   Room Stat - Corporate Group Rooms             2,233.00           888.00      1,345.00         613.00         1,620.00
           129.00               205.00        -76.00            0.00                    129.00   Room Stat - SMERF Group                         176.00         1,570.00     -1,394.00           0.00           176.00
          509.00               328.00        181.00          105.00                    404.00    Total Group Rooms Sold                       2,409.00         2,458.00         -49.00        613.00         1,796.00

                                                                                                 Contract Rooms
            0.00                 0.00           0.00            0.00                     0.00    Total Contract Rooms Sold                        0.00             0.00          0.00            0.00            0.00

        2,653.00             2,129.00        524.00        1,761.00                    892.00    Total Rooms Sold                            21,658.00        16,324.00      5,334.00      13,633.00         8,025.00
            5.00                 0.00          5.00             5.00                      0.00   Room Stat-Comp Rooms                            146.00            0.00         146.00         237.00           -91.00
        2,658.00             2,129.00        529.00        1,766.00                    892.00    Total Rooms Occupied                        21,804.00        16,324.00      5,480.00      13,870.00         7,934.00
           31.00                 0.00         31.00           166.00                   -135.00   Room Stat-Out of Order                        1,193.00            0.00       1,193.00       1,155.00            38.00

                                                                                                 ADR
             0.00               108.30       -108.30            0.00                     0.00    Corporate Transient ADR                          69.11          107.45        -38.34            0.00           69.11
           112.72               110.23           2.49           0.00                   112.72    Advanced Purchase ADR                            95.54           98.57         -3.04            0.00           95.54
           117.62                99.00         18.62            0.00                   117.62    AAA/AARP ADR                                    112.37           89.92         22.45            0.00          112.37
             0.00                 0.00           0.00           0.00                     0.00    FIT ADR                                           0.00            0.00          0.00            0.00            0.00
             0.00                 0.00           0.00           0.00                     0.00    Consortia ADR                                   791.90            0.00        791.90            0.00          791.90
            59.96                64.47          -4.52           0.00                    59.96    Employee ADR                                     56.55           62.85         -6.30            0.00           56.55
             0.00                 0.00           0.00           0.00                     0.00    Leisure ADR                                     117.69            0.00        117.69            0.00          117.69
             0.00                61.89        -61.89            0.00                     0.00    Travel Agent/Friends & Family ADR                 0.00           63.41        -63.41            0.00            0.00
             0.00                 0.00           0.00           0.00                     0.00    Leisure Package ADR                             254.50            0.00        254.50            0.00          254.50
            35.00                51.58        -16.58            0.00                    35.00    Member Reward Stay ADR                           37.22           50.61        -13.40            0.00           37.22
             0.00                 0.00           0.00           0.00                     0.00    Golf Pkg ADR                                      0.00            0.00          0.00            0.00            0.00
            78.17                 0.00         78.17           73.29                     4.88    Extended Stay ADR                                80.43            0.00         80.43           69.63           10.80
           119.38                89.70         29.68            0.00                   119.38    Internet ADR                                     99.19           93.57          5.62            0.00           99.19
             0.00                61.89        -61.89            0.00                     0.00    E-Commerce Opaque ADR                             0.00           63.13        -63.13            0.00            0.00
             0.00                 0.00           0.00           0.00                     0.00    Other Transient ADR                           2,832.07            0.00      2,832.07            0.00        2,832.07
             0.00                 0.00           0.00           0.00                     0.00    Airline Distressed Passenger ADR                  0.00            0.00          0.00            0.00            0.00
            96.00               103.16          -7.16           0.00                    96.00    Government ADR                                   94.32          106.06        -11.74            0.00           94.32
           127.65               144.70        -17.05          105.16                    22.49    Rack ADR                                        115.01          127.94        -12.93          104.76           10.25
            94.28                 0.00         94.28           88.39                     5.89    Local Negotiated ADR                             90.73            0.00         90.73           91.08           -0.35
          103.58               104.14          -0.56           92.21                    11.38    Total Transient ADR                              98.27           96.31          1.95           91.71            6.55

            91.81              111.75         -19.94          121.27                    -29.46   Corporate Group ADR                            115.20           115.34          -0.14         121.07            -5.86
             0.00                0.00           0.00            0.00                      0.00   Leisure Group ADR                                0.00             0.00           0.00           0.00             0.00
             0.00                0.00           0.00            0.00                      0.00   Government Group ADR                             0.00             0.00           0.00           0.00             0.00
             0.00                0.00           0.00            0.00                      0.00   Tour & Travel Group ADR                          0.00             0.00           0.00           0.00             0.00
             0.00                0.00           0.00            0.00                      0.00   Association Group ADR                            0.00             0.00           0.00           0.00             0.00
             0.00                0.00           0.00            0.00                      0.00   City Wide Group ADR                              0.00             0.00           0.00           0.00             0.00
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                                                                            Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                P&L - Dual Summary Pages
                                                                                                     As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year   %             Variance                                            YTD      %   YTD Budget %   Variance   YTD Last Year   %   Variance

           191.65               87.68         103.97           0.00                    191.65    SMERF Group ADR                        192.64             90.58       102.06           0.00          192.64
             0.00                0.00           0.00           0.00                      0.00    Sports Group ADR                         0.00              0.00         0.00           0.00            0.00
             0.00                0.00           0.00           0.00                      0.00    Other Group ADR                          0.00              0.00         0.00           0.00            0.00
          117.11                96.71          20.40         159.10                    -41.99    Total Group ADR                       120.86              99.53        21.33         165.17          -44.31

            0.00                 0.00           0.00            0.00                     0.00    Airline Crew ADR                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Other Contract ADR                      0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Contract ADR                      0.00               0.00         0.00            0.00           0.00

          106.56               103.00           3.57           96.41                    10.16    Total ADR                             100.85              96.80         4.05           95.66           5.19




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                                                                                          Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                              P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget     %          Variance   PTD Last Year     %             Variance                                                 YTD      %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                               F&B Summary
                                                                                                               Revenue
         7,663.66     60.94%    12,336.80     60.57%    -4,673.14           0.00       0.00%        7,663.66   Outlet Food Revenue                      32,078.37     67.17%     82,664.60  69.26%      -50,586.23      23,281.76  88.90%        8,796.61
         1,540.00     12.25%     1,100.00      5.40%       440.00          18.00       3.47%        1,522.00   Banquet and Catering Food Revenue         3,034.24      6.35%      6,345.00   5.32%       -3,310.76         591.00   2.26%        2,443.24
         2,372.10     18.86%     5,330.00     26.17%    -2,957.90           0.00       0.00%        2,372.10   Outlet Beverage Revenue                   2,372.10      4.97%     21,497.00  18.01%      -19,124.90           0.00   0.00%        2,372.10
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%            0.00   Banquet and Catering Beverage Revenue         0.00      0.00%          0.00   0.00%            0.00           0.00   0.00%            0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%            0.00   Outlet Other Revenue                          0.00      0.00%          0.00   0.00%            0.00           0.00   0.00%            0.00
         1,000.00      7.95%     1,600.00      7.86%      -600.00         500.00      96.53%          500.00   Banquet and Catering Other Revenue       10,275.00     21.51%      8,850.00   7.41%        1,425.00       2,317.00   8.85%        7,958.00
       12,575.76    100.00%    20,366.80    100.00%    -7,791.04         518.00     100.00%       12,057.76    Total F&B Revenue                       47,759.71    100.00%    119,356.60 100.00%      -71,596.89      26,189.76 100.00%       21,569.95

                                                                                                               Cost of Sales
         4,467.84     35.53%     6,354.56     31.20%    -1,886.72           0.00       0.00%        4,467.84   Food Purchases                           29,793.49     62.38%     41,830.93    35.05%   -12,037.44       17,944.67     68.52%    11,848.82
          -756.82     -6.02%     1,492.40      7.33%    -2,249.22           0.00       0.00%         -756.82   Beverage Purchases                          481.52      1.01%      6,019.16     5.04%    -5,537.64            0.00      0.00%       481.52
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%            0.00   Cedit Employee Meals                          0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%            0.00   Credit House Charges                          0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00      0.00%    -2,192.87    -10.77%     2,192.87           0.00       0.00%            0.00   Credit In-House Promotions                    0.00      0.00%    -14,978.26   -12.55%    14,978.26            0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%            0.00   Audio Visual Cost of Sales                    0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%            0.00   Other Cost of Sales                           0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
        3,711.02     29.51%     5,654.09     27.76%    -1,943.07            0.00      0.00%        3,711.02    Total F&B Cost of Sales                 30,275.01     63.39%     32,871.83    27.54%    -2,596.82       17,944.67     68.52%    12,330.34

        8,864.74     70.49%    14,712.71     72.24%    -5,847.97         518.00     100.00%        8,346.74    F&B Gross Profit                        17,484.70     36.61%     86,484.77    72.46%    -69,000.07       8,245.09     31.48%     9,239.61

                                                                                                               Expenses
                                                                                                               Payroll
                                                                                                               Salaries and Wages
             0.00      0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Management                                    0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%         0.00
         7,268.60     57.80%     6,907.00     33.91%      361.60            0.00       0.00%        7,268.60   Non-Management                           36,248.11     75.90%     41,457.00    34.73%     -5,208.89      21,595.90     82.46%    14,652.21
        7,268.60     57.80%     6,907.00     33.91%      361.60             0.00      0.00%        7,268.60    Total F&B Salaries and Wages            36,248.11     75.90%     41,457.00    34.73%     -5,208.89      21,595.90     82.46%    14,652.21
                                                                                                               PR Taxes and Benefits
           984.80      7.83%       744.95      3.66%      239.85             0.00      0.00%          984.80   Payroll Taxes                             5,006.89     10.48%      4,745.91     3.98%        260.98       3,213.48     12.27%     1,793.41
             0.00      0.00%         0.00      0.00%        0.00             0.00      0.00%            0.00   Supplemental Pay                              0.00      0.00%        800.00     0.67%       -800.00       4,250.78     16.23%    -4,250.78
           462.81      3.68%       652.60      3.20%     -189.79           -10.67     -2.06%          473.48   Other Benefits                            2,078.86      4.35%      4,876.31     4.09%     -2,797.45         699.81      2.67%     1,379.05
        1,447.61     11.51%     1,397.55      6.86%        50.06          -10.67     -2.06%        1,458.28    Total F&B PR Taxes and Benefits          7,085.75     14.84%     10,422.22     8.73%     -3,336.47       8,164.07     31.17%    -1,078.32

        8,716.21     69.31%     8,304.55     40.77%      411.66           -10.67     -2.06%        8,726.88    Total F&B Payroll                       43,333.86     90.73%     51,879.22    43.47%     -8,545.36      29,759.97 113.63%       13,573.89

                                                                                                               Other Expenses
             0.00     0.00%       370.10      1.82%      -370.10            0.00      0.00%            0.00    Audio Visual Supplies                         0.00     0.00%       2,479.93    2.08%      -2,479.93           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Banquet Expense                             349.67     0.73%           0.00    0.00%         349.67           0.00     0.00%        349.67
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Bar Expense/Promos                            0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Bar Supplies                                  0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%        40.00      0.20%       -40.00            0.00      0.00%            0.00    China                                       284.93     0.60%         430.00    0.36%        -145.07           0.00     0.00%        284.93
            65.43     0.52%       170.00      0.83%      -104.57            0.00      0.00%           65.43    Cleaning Supplies                         1,408.08     2.95%       1,410.00    1.18%          -1.92         786.24     3.00%        621.84
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Communication Expense                         0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Contract Cleaning                             0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Contract Labor                                0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Decorations & Plants                          0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Dues and Subscriptions                        0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Equipment Rental                              0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Food and Beverage Advertising                 0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
            64.33     0.51%        25.00      0.12%        39.33            0.00      0.00%           64.33    Glassware                                   206.47     0.43%         525.00    0.44%        -318.53           0.00     0.00%        206.47
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Guest Loss/Damage                             0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Guest Supplies                              267.74     0.56%           0.00    0.00%         267.74           0.00     0.00%        267.74
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    In-House Entertainment                        0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Kitchen/Cooking Fuel                          0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Kitchen Equipment                             0.00     0.00%           0.00    0.00%           0.00       1,497.77     5.72%     -1,497.77
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Laundry - Outside Expense                     0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Laundry Allocation                            0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%       500.00      2.45%      -500.00            0.00      0.00%            0.00    Licenses/Permits                          4,550.00     9.53%       3,495.00    2.93%       1,055.00           0.00     0.00%      4,550.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Linen                                         0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00    Linen Rental                                  0.00     0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
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                                                                                      Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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             PTD      %       PTD Budget    %        Variance   PTD Last Year     %             Variance                                            YTD      %       YTD Budget %             Variance   YTD Last Year    %          Variance

             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Maintenance Contracts                    0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Meals and Entertainment                  0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00     0.00%        90.00    0.44%      -90.00           0.00      0.00%             0.00   Menus                                  253.90     0.53%     1,080.00     0.90%      -826.10         250.87      0.96%         3.03
            37.13     0.30%         0.00    0.00%       37.13           0.00      0.00%            37.13   Miscellaneous Expense                4,949.04    10.36%         0.00     0.00%     4,949.04          50.94      0.19%     4,898.10
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Music and Entertainment                  0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Office Equipment                         0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Office Supplies                          0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Operating Supplies                       0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
         1,361.21    10.82%       750.00    3.68%      611.21           0.00      0.00%         1,361.21   Paper/Plastic Supplies               6,107.41    12.79%     6,550.00     5.49%      -442.59       2,502.56      9.56%     3,604.85
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Printing and Stationery                  0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00     0.00%        15.00    0.07%      -15.00           0.00      0.00%             0.00   Silverware                             244.38     0.51%       205.00     0.17%        39.38         254.68      0.97%       -10.30
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Software Expense/Maintenance             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Television Cable                         0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Training                                86.40     0.18%         0.00     0.00%        86.40           0.00      0.00%        86.40
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%             0.00   Travel                                   0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%         0.00
           132.72     1.06%         0.00    0.00%      132.72           0.00      0.00%           132.72   Uniforms                               428.27     0.90%         0.00     0.00%       428.27           0.00      0.00%       428.27
           483.57     3.85%        45.00    0.22%      438.57           0.00      0.00%           483.57   Utensils                               985.95     2.06%       795.00     0.67%       190.95         101.65      0.39%       884.30
        2,144.39    17.05%     2,005.10    9.84%      139.29            0.00     0.00%         2,144.39    Total F&B Other Expenses           20,122.24    42.13%    16,969.93    14.22%     3,152.31       5,444.71     20.79%    14,677.53

       10,860.60    86.36%    10,309.65    50.62%     550.95          -10.67     -2.06%       10,871.27    Total F&B Expenses                 63,456.10    132.87%   68,849.15    57.68%     -5,393.05     35,204.68 134.42%       28,251.42

       -1,995.86    -15.87%    4,403.06    21.62%   -6,398.92        528.67     102.06%       -2,524.53    Total F&B Profit (Loss)           -45,971.40    -96.26%   17,635.62    14.78%    -63,607.02    -26,959.59 -102.94%      -19,011.81




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                                                                            Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                P&L - Dual Summary Pages
                                                                                                     As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year   %             Variance                                           YTD       %   YTD Budget %   Variance   YTD Last Year   %     Variance

                                                                                                 F&B Stats
                                                                                                 Restaurant 1
            0.00                 0.00           0.00            0.00                     0.00    Food Stat- Food-Breakfast              0.00                0.00         0.00        1,341.00         -1,341.00
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00              0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00              0.00
            0.00                 0.00           0.00            0.00                     0.00    Food Stat- Food-Dinner                 0.00                0.00         0.00          374.00           -374.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00              0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00              0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00              0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00              0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00              0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 1 Covers              0.00                0.00         0.00       1,715.00         -1,715.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 1 Avg Check                 0.00                0.00         0.00            0.00              0.00

                                                                                                 Restaurant 2
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 2 Covers              0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 2 Avg Check                 0.00                0.00         0.00            0.00             0.00

                                                                                                 Room Service
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Room Service Covers              0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Room Service Avg Check                 0.00                0.00         0.00            0.00             0.00

                                                                                                 Banquets
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Banquets Covers                  0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Banquets Avg Check                     0.00                0.00         0.00            0.00             0.00

                                                                                                 Catering
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Catering Covers                  0.00                0.00         0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                     0.00    Catering Avg Check                     0.00                0.00         0.00            0.00             0.00

                                                                                                 Restaurant 3
             0.00                 0.00          0.00            0.00                     0.00    Breakfast Avg Check                     0.00                0.00        0.00            0.00             0.00
             0.00                 0.00          0.00            0.00                     0.00    Lunch Avg Check                         0.00                0.00        0.00            0.00             0.00
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                                                                            Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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                                                                                                     As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year   %             Variance                                           YTD       %   YTD Budget %   Variance   YTD Last Year   %    Variance

            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 3 Covers              0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 3 Avg Check                 0.00                0.00         0.00            0.00            0.00

                                                                                                 Restaurant 4
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 4 Covers              0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 4 Avg Check                 0.00                0.00         0.00            0.00            0.00

                                                                                                 Restaurant 5
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 5 Covers              0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 5 Avg Check                 0.00                0.00         0.00            0.00            0.00

                                                                                                 Bar 1
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Bar 1 Covers                     0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Bar 1 Avg Check                        0.00                0.00         0.00            0.00            0.00

                                                                                                 Bar 2
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                    0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Bar 2 Covers                     0.00                0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                     0.00    Bar 2 Avg Check                        0.00                0.00         0.00            0.00            0.00

            0.00                 0.00           0.00            0.00                     0.00    Total Covers                           0.00                0.00         0.00       1,715.00         -1,715.00




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                                                                                       Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget    %         Variance   PTD Last Year    %             Variance                                                  YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                            Food Admin
                                                                                                            Cost of Sales
         4,467.84    35.53%      6,046.56    29.69%   -1,578.72           0.00     0.00%         4,467.84   Food Purchases                           29,501.45     61.77%    40,054.33    33.56%    -10,552.88      17,944.67    68.52%    11,556.78
             0.00     0.00%     -2,192.87   -10.77%    2,192.87           0.00     0.00%             0.00   Credit In-House Promotions Food Dept          0.00      0.00%   -14,978.26   -12.55%     14,978.26           0.00     0.00%         0.00

        4,467.84    35.53%      3,853.69    18.92%     614.15             0.00    0.00%         4,467.84    Total Food Admin Cost of Sales           29,501.45    61.77%    25,076.07    21.01%      4,425.38      17,944.67     68.52%    11,556.78

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00    0.00%           0.00    0.00%         0.00           0.00    0.00%              0.00   Total Food Admin Management                    0.00    0.00%          0.00    0.00%           0.00           0.00     0.00%          0.00
         2,792.52    22.21%          0.00     0.00%    2,792.52           0.00     0.00%         2,792.52   Cooks-Line Cooks                          17,706.41    37.07%         0.00     0.00%     17,706.41       5,198.11     19.85%    12,508.30
             0.00     0.00%      2,100.00    10.31%   -2,100.00           0.00     0.00%             0.00   Cooks-1 Overtime                               0.00     0.00%    13,400.00    11.23%    -13,400.00           0.00      0.00%         0.00
        2,792.52    22.21%      2,100.00    10.31%      692.52            0.00    0.00%         2,792.52    Total Food Admin Non-Management          17,706.41    37.07%    13,400.00    11.23%      4,306.41       5,198.11     19.85%    12,508.30

        2,792.52    22.21%      2,100.00    10.31%     692.52             0.00    0.00%         2,792.52    Total Food Admin Salaries and Wages      17,706.41    37.07%    13,400.00    11.23%      4,306.41       5,198.11     19.85%    12,508.30

                                                                                                            PR Taxes and Benefits

            0.00       0.00%       160.65     0.79%     -160.65            0.00     0.00%           0.00    FICA                                          0.00      0.00%     1,086.30      0.91%    -1,086.30       3,213.48     12.27%    -3,213.48
            0.00       0.00%         0.88     0.00%       -0.88            0.00     0.00%           0.00    Federal Unemployment Tax                      0.00      0.00%         9.32      0.01%        -9.32           0.00      0.00%         0.00
            0.00       0.00%         7.19     0.04%       -7.19            0.00     0.00%           0.00    State Unemployment Tax                        0.00      0.00%        86.29      0.07%       -86.29           0.00      0.00%         0.00
            0.00      0.00%       168.72     0.83%     -168.72             0.00    0.00%            0.00    Total Payroll Taxes                           0.00     0.00%     1,181.91      0.99%    -1,181.91       3,213.48     12.27%    -3,213.48
            0.00       0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Holiday                                       0.00      0.00%       800.00      0.67%      -800.00         369.44      1.41%      -369.44
            0.00       0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Vacation                                      0.00      0.00%         0.00      0.00%         0.00       3,881.34     14.82%    -3,881.34
            0.00      0.00%          0.00    0.00%         0.00            0.00    0.00%            0.00    Total Supplemental Pay                        0.00     0.00%       800.00      0.67%      -800.00       4,250.78     16.23%    -4,250.78
            0.00       0.00%       110.83     0.54%     -110.83            0.00     0.00%           0.00    Worker's Compensation                         0.00      0.00%       748.13      0.63%      -748.13           0.00      0.00%         0.00
            0.00       0.00%       262.50     1.29%     -262.50          -10.67    -2.06%          10.67    Group Insurance                               0.00      0.00%     2,537.50      2.13%    -2,537.50         699.81      2.67%      -699.81
            0.00      0.00%       373.33     1.83%     -373.33          -10.67    -2.06%           10.67    Total Other Benefits                          0.00     0.00%     3,285.63      2.75%    -3,285.63         699.81      2.67%      -699.81

        2,792.52    22.21%      2,642.05    12.97%     150.47           -10.67    -2.06%        2,803.19    Total Food Admin PR Taxes and Benefits   17,706.41    37.07%    18,667.54    15.64%       -961.13      13,362.18     51.02%     4,344.23

        5,585.04    44.41%      4,742.05    23.28%     842.99           -10.67    -2.06%        5,595.71    Total Food Admin Payroll                 35,412.82    74.15%    32,067.54    26.87%      3,345.28      18,560.29     70.87%    16,852.53

                                                                                                            Other Expenses
             0.00     0.00%        40.00     0.20%      -40.00            0.00     0.00%             0.00   China                                        284.93     0.60%       430.00     0.36%      -145.07            0.00     0.00%        284.93
             0.00     0.00%       170.00     0.83%     -170.00            0.00     0.00%             0.00   Cleaning Supplies                          1,186.27     2.48%     1,410.00     1.18%      -223.73          786.24     3.00%        400.03
             0.00     0.00%        25.00     0.12%      -25.00            0.00     0.00%             0.00   Glassware                                    142.14     0.30%       525.00     0.44%      -382.86            0.00     0.00%        142.14
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%             0.00   Kitchen Equipment                              0.00     0.00%         0.00     0.00%         0.00        1,497.77     5.72%     -1,497.77
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%             0.00   Licenses/Permits                               0.00     0.00%       495.00     0.41%      -495.00            0.00     0.00%          0.00
             0.00     0.00%        90.00     0.44%      -90.00            0.00     0.00%             0.00   Menus                                        253.90     0.53%     1,080.00     0.90%      -826.10          250.87     0.96%          3.03
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%             0.00   Miscellaneous Expense                          0.00     0.00%         0.00     0.00%         0.00           50.94     0.19%        -50.94
         1,280.18    10.18%       750.00     3.68%      530.18            0.00     0.00%         1,280.18   Paper/Plastic Supplies                     6,026.38    12.62%     6,550.00     5.49%      -523.62        2,502.56     9.56%      3,523.82
             0.00     0.00%        15.00     0.07%      -15.00            0.00     0.00%             0.00   Silverware                                   178.33     0.37%       205.00     0.17%       -26.67          254.68     0.97%        -76.35
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%             0.00   Training                                      86.40     0.18%         0.00     0.00%        86.40            0.00     0.00%         86.40
           132.72     1.06%         0.00     0.00%      132.72            0.00     0.00%           132.72   Uniforms                                     428.27     0.90%         0.00     0.00%       428.27            0.00     0.00%        428.27
           365.92     2.91%        45.00     0.22%      320.92            0.00     0.00%           365.92   Utensils                                     620.46     1.30%       795.00     0.67%      -174.54          101.65     0.39%        518.81

        1,778.82    14.14%      1,135.00     5.57%     643.82             0.00    0.00%         1,778.82    Total Food Admin Other Expenses           9,207.08    19.28%    11,490.00      9.63%    -2,282.92       5,444.71     20.79%     3,762.37

        7,363.86    58.56%      5,877.05    28.86%    1,486.81          -10.67    -2.06%        7,374.53    Total Food Admin Expenses                44,619.90    93.43%    43,557.54    36.49%      1,062.36      24,005.00     91.66%    20,614.90

       11,831.70    94.08%      9,730.74    47.78%    2,100.96          -10.67    -2.06%       11,842.37    Departmental Costs                       74,121.35    155.20%   68,633.61    57.50%      5,487.74      41,949.67 160.18%       32,171.68




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                              YTD    %       YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%             0.00   Less Adjustments                           0.00   0.00%         0.00     0.00%        0.00           0.00    0.00%        0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Beverage Admin Revenue              0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales
          -756.82     0.00%         0.00   0.00%   -756.82            0.00    0.00%          -756.82   Beverage Purchases                       481.52   0.00%         0.00     0.00%      481.52           0.00    0.00%      481.52

         -756.82      0.00%        0.00    0.00%   -756.82            0.00    0.00%         -756.82    Total Beverage Admin Cost of Sales      481.52    0.00%        0.00      0.00%     481.52            0.00    0.00%     481.52

                                                                                                       Expenses
                                                                                                       Other Expenses
             0.00     0.00%      500.00    0.00%   -500.00            0.00    0.00%            0.00    Licenses/Permits                       4,550.00   0.00%     3,000.00     0.00%    1,550.00           0.00    0.00%    4,550.00
            37.13     0.00%        0.00    0.00%     37.13            0.00    0.00%           37.13    Miscellaneous Expense                  4,949.04   0.00%         0.00     0.00%    4,949.04           0.00    0.00%    4,949.04

           37.13      0.00%      500.00    0.00%   -462.87            0.00    0.00%           37.13    Total Beverage Admin Other Expenses   9,499.04    0.00%    3,000.00      0.00%   6,499.04            0.00    0.00%   9,499.04

           37.13      0.00%      500.00    0.00%   -462.87            0.00    0.00%           37.13    Total Beverage Admin Expenses         9,499.04    0.00%    3,000.00      0.00%   6,499.04            0.00    0.00%   9,499.04

          -37.13      0.00%     -500.00    0.00%   462.87             0.00    0.00%          -37.13    Departmental Costs                    -9,499.04   0.00%   -3,000.00      0.00%   -6,499.04           0.00    0.00%   -9,499.04




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             PTD      %       PTD Budget     %          Variance   PTD Last Year   %             Variance                                                    YTD     %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                            Restaurant 1
                                                                                                            Food Revenue
         4,921.58    64.72%     7,180.80    58.21%    -2,259.22            0.00    0.00%         4,921.58   Food-Breakfast                             23,440.04     92.67%    48,427.60     58.58%   -24,987.56            0.00    0.00%    23,440.04
             0.00     0.00%         0.00     0.00%         0.00            0.00    0.00%             0.00   Food-Lunch                                     27.00      0.11%         0.00      0.00%        27.00            0.00    0.00%        27.00
           439.10     5.77%     2,545.00    20.63%    -2,105.90            0.00    0.00%           439.10   Food-Dinner                                   439.10      1.74%    16,457.00     19.91%   -16,017.90            0.00    0.00%       439.10
             0.00     0.00%     2,611.00    21.16%    -2,611.00            0.00    0.00%             0.00   Food-Late Night                                 0.00      0.00%    17,780.00     21.51%   -17,780.00            0.00    0.00%         0.00

        5,360.68    70.49%    12,336.80    100.00%    -6,976.12            0.00    0.00%        5,360.68    Restaurant 1 Food Revenue                  23,906.14    94.51%    82,664.60 100.00%       -58,758.46            0.00    0.00%    23,906.14
           -33.15    -0.44%        0.00       0.00%       -33.15           0.00     0.00%          -33.15   Food-Adjustments-A&G                          -654.67    -2.59%        0.00    0.00%          -654.67           0.00     0.00%      -654.67
           -95.02    -1.25%        0.00       0.00%       -95.02           0.00     0.00%          -95.02   Food-Adjustments-A&P                          -328.75    -1.30%        0.00    0.00%          -328.75           0.00     0.00%      -328.75
          -128.17    -1.69%        0.00       0.00%      -128.17           0.00     0.00%         -128.17   Less: Allowances                              -983.42    -3.89%        0.00    0.00%          -983.42           0.00     0.00%      -983.42

        5,232.51    68.81%    12,336.80    100.00%    -7,104.29            0.00    0.00%        5,232.51    Total Restaurant 1 Food Revenue            22,922.72    90.62%    82,664.60 100.00%       -59,741.88            0.00    0.00%    22,922.72

                                                                                                            Beverage Revenue
         1,337.25    17.58%         0.00     0.00%     1,337.25            0.00    0.00%         1,337.25   Liquor                                       1,337.25     5.29%         0.00     0.00%      1,337.25            0.00    0.00%      1,337.25
           567.75     7.47%         0.00     0.00%       567.75            0.00    0.00%           567.75   Beer                                           567.75     2.24%         0.00     0.00%        567.75            0.00    0.00%        567.75
           471.50     6.20%         0.00     0.00%       471.50            0.00    0.00%           471.50   Wine                                           471.50     1.86%         0.00     0.00%        471.50            0.00    0.00%        471.50

        2,376.50    31.25%         0.00      0.00%    2,376.50             0.00    0.00%        2,376.50    Restaurant 1 Beverage Revenue               2,376.50     9.40%         0.00      0.00%      2,376.50            0.00    0.00%     2,376.50
            -4.40    -0.06%        0.00       0.00%       -4.40            0.00     0.00%           -4.40   Beverage-Adjustments-A&G                        -4.40    -0.02%        0.00       0.00%         -4.40           0.00     0.00%        -4.40
            -4.40    -0.06%        0.00       0.00%       -4.40            0.00     0.00%           -4.40   Less: Allowances                                -4.40    -0.02%        0.00       0.00%         -4.40           0.00     0.00%        -4.40

        2,372.10    31.19%         0.00      0.00%    2,372.10             0.00    0.00%        2,372.10    Total Restaurant 1 Beverage Revenue         2,372.10     9.38%         0.00      0.00%      2,372.10            0.00    0.00%     2,372.10

        7,604.61    100.00%   12,336.80    100.00%    -4,732.19            0.00    0.00%        7,604.61    Total Restaurant 1 Revenue                 25,294.82    100.00%   82,664.60 100.00%       -57,369.78            0.00    0.00%    25,294.82

                                                                                                            Cost of Sales

            0.00      0.00%        0.00      0.00%         0.00            0.00    0.00%            0.00    Total Restaurant 1 Cost of Sales                0.00     0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

        7,604.61    100.00%   12,336.80    100.00%    -4,732.19            0.00    0.00%        7,604.61    Restaurant 1 Gross Profit                  25,294.82    100.00%   82,664.60 100.00%       -57,369.78            0.00    0.00%    25,294.82

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00    0.00%          0.00     0.00%         0.00            0.00    0.00%             0.00   Total Restaurant 1 Management                    0.00    0.00%          0.00    0.00%           0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%            0.00   Hosts/Greeters/Captains/Order Takers             0.00     0.00%         0.00     0.00%          0.00       16,397.79     0.00%   -16,397.79
         4,476.08    58.86%         0.00      0.00%    4,476.08            0.00     0.00%        4,476.08   Servers                                     18,541.70    73.30%         0.00     0.00%     18,541.70            0.00     0.00%    18,541.70
             0.00     0.00%     4,807.00     38.96%   -4,807.00            0.00     0.00%            0.00   Servers Overtime - Rest. 1                       0.00     0.00%    28,057.00    33.94%    -28,057.00            0.00     0.00%         0.00
        4,476.08    58.86%     4,807.00     38.96%     -330.92             0.00    0.00%        4,476.08    Total Restaurant 1 Non-Management          18,541.70    73.30%    28,057.00    33.94%     -9,515.30       16,397.79     0.00%     2,143.91

        4,476.08    58.86%     4,807.00     38.96%     -330.92             0.00    0.00%        4,476.08    Total Restaurant 1 Salaries and Wages      18,541.70    73.30%    28,057.00    33.94%      -9,515.30      16,397.79     0.00%     2,143.91

                                                                                                            PR Taxes and Benefits
           839.21    11.04%       509.30      4.13%      329.91            0.00     0.00%          839.21   FICA                                         4,156.50    16.43%     3,094.93      3.74%      1,061.57           0.00     0.00%     4,156.50
            16.32     0.21%         2.80      0.02%       13.52            0.00     0.00%           16.32   Federal Unemployment Tax                        96.71     0.38%        24.96      0.03%         71.75           0.00     0.00%        96.71
           129.27     1.70%        22.80      0.18%      106.47            0.00     0.00%          129.27   State Unemployment Tax                         753.68     2.98%       263.72      0.32%        489.96           0.00     0.00%       753.68
          984.80    12.95%       534.90      4.34%      449.90             0.00    0.00%          984.80    Total Payroll Taxes                         5,006.89    19.79%     3,383.61      4.09%      1,623.28            0.00    0.00%     5,006.89
             0.00    0.00%          0.00     0.00%         0.00            0.00    0.00%             0.00   Total Supplemental Pay                           0.00    0.00%          0.00     0.00%           0.00           0.00    0.00%          0.00
           462.81     6.09%       253.69      2.06%      209.12            0.00     0.00%          462.81   Worker's Compensation                        2,078.86     8.22%     1,487.50      1.80%        591.36           0.00     0.00%     2,078.86
          462.81     6.09%       253.69      2.06%      209.12             0.00    0.00%          462.81    Total Other Benefits                        2,078.86     8.22%     1,487.50      1.80%        591.36            0.00    0.00%     2,078.86

        1,447.61    19.04%       788.59      6.39%      659.02             0.00    0.00%        1,447.61    Total Restaurant 1 PR Taxes and Benefits    7,085.75    28.01%     4,871.11      5.89%      2,214.64            0.00    0.00%     7,085.75

        5,923.69    77.90%     5,595.59     45.36%      328.10             0.00    0.00%        5,923.69    Total Restaurant 1 Payroll                 25,627.45    101.32%   32,928.11    39.83%      -7,300.66      16,397.79     0.00%     9,229.66

                                                                                                            Other Expenses
             0.00     0.00%      370.10      3.00%      -370.10            0.00    0.00%             0.00   Audio Visual Supplies                            0.00     0.00%     2,479.93     3.00%      -2,479.93           0.00    0.00%          0.00
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             PTD      %        PTD Budget    %        Variance   PTD Last Year   %             Variance                                             YTD     %        YTD Budget %               Variance   YTD Last Year   %          Variance

             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%            0.00   Banquet Expense                         349.67     1.38%        0.00       0.00%        349.67           0.00     0.00%       349.67
            65.43      0.86%        0.00     0.00%      65.43            0.00     0.00%           65.43   Cleaning Supplies                       221.81     0.88%        0.00       0.00%        221.81           0.00     0.00%       221.81
            64.33      0.85%        0.00     0.00%      64.33            0.00     0.00%           64.33   Glassware                                64.33     0.25%        0.00       0.00%         64.33           0.00     0.00%        64.33
            81.03      1.07%        0.00     0.00%      81.03            0.00     0.00%           81.03   Paper/Plastic Supplies                   81.03     0.32%        0.00       0.00%         81.03           0.00     0.00%        81.03
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%            0.00   Silverware                               66.05     0.26%        0.00       0.00%         66.05           0.00     0.00%        66.05
           117.65      1.55%        0.00     0.00%     117.65            0.00     0.00%          117.65   Utensils                                365.49     1.44%        0.00       0.00%        365.49           0.00     0.00%       365.49
          328.44      4.32%       370.10    3.00%      -41.66            0.00    0.00%          328.44    Total Restaurant 1 Other Expenses    1,148.38     4.54%     2,479.93      3.00%     -1,331.55            0.00    0.00%     1,148.38

        6,252.13    82.21%      5,965.69    48.36%     286.44            0.00    0.00%        6,252.13    Total Restaurant 1 Expenses         26,775.83    105.85%   35,408.04   42.83%       -8,632.21      16,397.79     0.00%    10,378.04

        1,352.48    17.79%      6,371.11    51.64%   -5,018.63           0.00    0.00%        1,352.48    Total Restaurant 1 Profit (Loss)    -1,481.01     -5.85%   47,256.56   57.17%      -48,737.57     -16,397.79     0.00%    14,916.78




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             PTD      %        PTD Budget   %         Variance   PTD Last Year   %             Variance                                                  YTD      %        YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                          Restaurant 2
                                                                                                          Food Revenue
         2,431.15   100.00%          0.00   0.00%    2,431.15            0.00    0.00%         2,431.15   Food-Breakfast                             9,155.65   100.00%          0.00     0.00%    9,155.65       15,542.75    76.26%    -6,387.10
             0.00     0.00%          0.00   0.00%        0.00            0.00    0.00%             0.00   Food-Dinner                                    0.00     0.00%          0.00     0.00%        0.00        4,838.67    23.74%    -4,838.67

        2,431.15    100.00%         0.00    0.00%    2,431.15            0.00    0.00%        2,431.15    Restaurant 2 Food Revenue                  9,155.65   100.00%         0.00      0.00%    9,155.65      20,381.42 100.00%      -11,225.77
            0.00       0.00%        0.00     0.00%       0.00            0.00     0.00%           0.00    Less: Allowances                               0.00      0.00%        0.00       0.00%       0.00           0.00    0.00%           0.00

        2,431.15    100.00%         0.00    0.00%    2,431.15            0.00    0.00%        2,431.15    Total Restaurant 2 Food Revenue            9,155.65   100.00%         0.00      0.00%    9,155.65      20,381.42 100.00%      -11,225.77

                                                                                                          Beverage Revemue

            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Restaurant 2 Beverage Revenue                  0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00     0.00%           0.00    Less: Allowances                               0.00      0.00%        0.00       0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Restaurant 2 Beverage Revenue            0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

        2,431.15    100.00%         0.00    0.00%    2,431.15            0.00    0.00%        2,431.15    Total Restaurant 2 Revenue                 9,155.65   100.00%         0.00      0.00%    9,155.65      20,381.42 100.00%      -11,225.77

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Restaurant 2 Cost of Sales               0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

        2,431.15    100.00%         0.00    0.00%    2,431.15            0.00    0.00%        2,431.15    Restaurant 2 Gross Profit                  9,155.65   100.00%         0.00      0.00%    9,155.65      20,381.42 100.00%      -11,225.77

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Restaurant 2 Management                  0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Restaurant 2 Non-Management              0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Restaurant 2 Salaries and Wages          0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Payroll Taxes                            0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Supplemental Pay                         0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00
            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Other Benefits                           0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Restaurant 2 PR Taxes and Benefits       0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Restaurant 2 Payroll                     0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Restaurant 2 Other Expenses              0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

            0.00      0.00%         0.00    0.00%        0.00            0.00    0.00%            0.00    Total Restaurant 2 Expenses                    0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

        2,431.15    100.00%         0.00    0.00%    2,431.15            0.00    0.00%        2,431.15    Total Restaurant 2 Profit (Loss)           9,155.65   100.00%         0.00      0.00%    9,155.65      20,381.42 100.00%      -11,225.77




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                                                                                                             As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Room Service
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget     %       Variance   PTD Last Year     %             Variance                                            YTD      %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                            Banquets
                                                                                                            Food Revenue
         1,260.00    49.61%       600.00     22.22%    660.00            0.00      0.00%         1,260.00   Food-Breakfast                       2,649.24     19.91%     3,550.00     23.36%     -900.76         450.00    15.47%     2,199.24
             0.00     0.00%       250.00      9.26%   -250.00            0.00      0.00%             0.00   Food-Lunch                               0.00      0.00%     1,400.00      9.21%   -1,400.00           0.00     0.00%         0.00
             0.00     0.00%       250.00      9.26%   -250.00            0.00      0.00%             0.00   Food-Brunch                              0.00      0.00%     1,395.00      9.18%   -1,395.00           0.00     0.00%         0.00
           280.00    11.02%         0.00      0.00%    280.00           18.00      3.47%           262.00   Food-Breaks                            385.00      2.89%         0.00      0.00%      385.00         141.00     4.85%       244.00

        1,540.00    60.63%      1,100.00    40.74%    440.00            18.00     3.47%         1,522.00    Banquets Food Revenue                3,034.24   22.80%      6,345.00    41.76%     -3,310.76        591.00     20.32%     2,443.24
            0.00      0.00%         0.00      0.00%     0.00             0.00      0.00%            0.00    Less: Allowances                         0.00     0.00%         0.00      0.00%         0.00          0.00       0.00%        0.00

        1,540.00    60.63%      1,100.00    40.74%    440.00            18.00     3.47%         1,522.00    Total Banquets Food Revenue          3,034.24   22.80%      6,345.00    41.76%     -3,310.76        591.00     20.32%     2,443.24

                                                                                                            Beverage Revenue

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%             0.00    Banquets Beverage Revenue                0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00
            0.00       0.00%        0.00      0.00%      0.00            0.00      0.00%            0.00    Less: Allowances                         0.00      0.00%        0.00       0.00%       0.00            0.00      0.00%        0.00

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%             0.00    Total Banquets Beverage Revenue          0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

                                                                                                            Other Revenue
           100.00     3.94%          0.00     0.00%    100.00            0.00      0.00%          100.00    Audio/Visual Income                    800.00      6.01%         0.00      0.00%      800.00           0.00     0.00%       800.00
             0.00     0.00%        500.00    18.52%   -500.00            0.00      0.00%            0.00    Setup Fee                                0.00      0.00%     2,500.00     16.45%   -2,500.00          92.00     3.16%       -92.00
           900.00    35.43%      1,100.00    40.74%   -200.00          500.00     96.53%          400.00    Public Room Rental                   9,475.00     71.19%     6,350.00     41.79%    3,125.00       2,225.00    76.51%     7,250.00

        1,000.00    39.37%      1,600.00    59.26%    -600.00         500.00     96.53%           500.00    Total Banquets Other Revenue        10,275.00   77.20%      8,850.00    58.24%     1,425.00       2,317.00     79.68%     7,958.00

        2,540.00    100.00%     2,700.00    100.00%   -160.00         518.00     100.00%        2,022.00    Total Banquets Revenue              13,309.24   100.00%    15,195.00 100.00%       -1,885.76      2,908.00 100.00%       10,401.24

                                                                                                            Cost of Sales
             0.00     0.00%       308.00     11.41%   -308.00            0.00      0.00%             0.00   Food Purchases                         292.04     2.19%      1,776.60     11.69%   -1,484.56           0.00     0.00%       292.04

            0.00      0.00%       308.00    11.41%    -308.00            0.00     0.00%             0.00    Total Banquets Cost of Sales          292.04      2.19%     1,776.60    11.69%     -1,484.56           0.00     0.00%      292.04

        2,540.00    100.00%     2,392.00    88.59%    148.00          518.00     100.00%        2,022.00    Gross Profit                        13,017.20   97.81%     13,418.40    88.31%      -401.20       2,908.00 100.00%       10,109.20

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%             0.00    Total Banquets Management                0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%             0.00    Total Banquets Non-Management            0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

            0.00                    0.00                 0.00            0.00                       0.00    Total Banquets Salaries and Wages        0.00                   0.00                   0.00            0.00                   0.00

                                                                                                            PR Taxes and Benefits
            0.00       0.00%        6.73      0.25%      -6.73           0.00      0.00%            0.00    FICA                                     0.00      0.00%       38.82       0.26%      -38.82           0.00      0.00%        0.00
            0.00       0.00%        0.04      0.00%      -0.04           0.00      0.00%            0.00    Federal Unemployment Tax                 0.00      0.00%        0.28       0.00%       -0.28           0.00      0.00%        0.00
            0.00       0.00%        0.30      0.01%      -0.30           0.00      0.00%            0.00    State Unemployment Tax                   0.00      0.00%        2.63       0.02%       -2.63           0.00      0.00%        0.00
            0.00      0.00%         7.07     0.26%      -7.07            0.00     0.00%             0.00    Total Payroll Taxes                      0.00     0.00%        41.73      0.27%      -41.73            0.00     0.00%         0.00
            0.00      0.00%         0.00     0.00%        0.00           0.00     0.00%             0.00    Total Supplemental Pay                   0.00     0.00%         0.00      0.00%         0.00           0.00     0.00%         0.00
            0.00      0.00%         0.00     0.00%        0.00           0.00     0.00%             0.00    Total Other Benefits                     0.00     0.00%         0.00      0.00%         0.00           0.00     0.00%         0.00

            0.00                    7.07                -7.07            0.00                       0.00    Total Banquet Benefits                   0.00                  41.73                 -41.73            0.00                   0.00

            0.00      0.00%         7.07     0.26%      -7.07            0.00     0.00%             0.00    Total Banquets Payroll                   0.00     0.00%        41.73      0.27%      -41.73            0.00     0.00%         0.00

                                                                                                            Other Expenses
            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%             0.00    Total Banquets Other Expenses            0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%         0.00

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             PTD      %       PTD Budget    %       Variance   PTD Last Year     %             Variance                                           YTD       %       YTD Budget %           Variance   YTD Last Year   %         Variance


            0.00      0.00%        7.07    0.26%      -7.07            0.00     0.00%             0.00    Total Banquets Expenses                 0.00      0.00%       41.73      0.27%    -41.73            0.00    0.00%        0.00

        2,540.00   100.00%     2,384.93    88.33%   155.07          518.00     100.00%        2,022.00    Total Banquets Profit (Loss)       13,017.20   97.81%     13,376.67   88.03%     -359.47       2,908.00 100.00%     10,109.20




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                           YTD       %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Catering
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Catering Food Revenue                  0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                      0.00        0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Food Revenue            0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Catering Beverage Revenue              0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                      0.00        0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Beverage Revenue        0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Other Revenue           0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Revenue                 0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Cost of Sales           0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Catering Gross Profit                  0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Management              0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Non-Management          0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Salaries and Wages      0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                    0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                 0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                   0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering PR Taxes and Benefits   0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Payroll                 0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Other Expenses          0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Expenses                0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Profit (Loss)           0.00       0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year     %        Variance

                                                                                                         Restaurant 3
                                                                                                         Food Revenue
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Food-Breakfast                                  0.00   0.00%          0.00     0.00%       0.00        2,900.34    100.00%   -2,900.34

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00       2,900.34 100.00%       -2,900.34
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00           0.00    0.00%           0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00       2,900.34 100.00%       -2,900.34

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00       2,900.34 100.00%       -2,900.34

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00       2,900.34 100.00%       -2,900.34

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00       2,900.34 100.00%       -2,900.34




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                                                                                    Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 4
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 5
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget     %         Variance   PTD Last Year   %             Variance                                           YTD       %        YTD Budget %              Variance   YTD Last Year   %        Variance

                                                                                                            Bar 1
                                                                                                            Food Revenue

            0.00      0.00%         0.00      0.00%        0.00            0.00    0.00%            0.00    Bar 1 Food Revenue                     0.00       0.00%         0.00      0.00%         0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%           0.00    Less: Adjustments                      0.00        0.00%        0.00       0.00%        0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00      0.00%        0.00            0.00    0.00%            0.00    Total Bar 1 Food Revenue               0.00       0.00%         0.00      0.00%         0.00            0.00    0.00%       0.00

                                                                                                            Beverage Revenue
             0.00     0.00%      2,045.00    38.37%    -2,045.00           0.00    0.00%            0.00    Liquor                                  0.00      0.00%      8,248.00     38.37%    -8,248.00           0.00    0.00%       0.00
             0.00     0.00%      1,392.00    26.12%    -1,392.00           0.00    0.00%            0.00    Beer                                    0.00      0.00%      5,615.00     26.12%    -5,615.00           0.00    0.00%       0.00
             0.00     0.00%      1,893.00    35.52%    -1,893.00           0.00    0.00%            0.00    Wine                                    0.00      0.00%      7,634.00     35.51%    -7,634.00           0.00    0.00%       0.00

            0.00      0.00%     5,330.00    100.00%    -5,330.00           0.00    0.00%            0.00    Bar 1 Beverage Revenue                 0.00       0.00%    21,497.00 100.00%       -21,497.00           0.00    0.00%       0.00
            0.00       0.00%        0.00       0.00%        0.00           0.00     0.00%           0.00    Less: Adjustments                      0.00        0.00%        0.00    0.00%            0.00           0.00     0.00%      0.00

            0.00      0.00%     5,330.00    100.00%    -5,330.00           0.00    0.00%            0.00    Total Bar 1 Beverage Revenue           0.00       0.00%    21,497.00 100.00%       -21,497.00           0.00    0.00%       0.00

                                                                                                            Other Revenue

            0.00      0.00%         0.00      0.00%        0.00            0.00    0.00%            0.00    Total Bar 1 Other Revenue              0.00       0.00%         0.00      0.00%         0.00            0.00    0.00%       0.00

            0.00      0.00%     5,330.00    100.00%    -5,330.00           0.00    0.00%            0.00    Total Bar 1 Revenue                    0.00       0.00%    21,497.00 100.00%       -21,497.00           0.00    0.00%       0.00

                                                                                                            Cost of Sales
             0.00     0.00%      1,492.40    28.00%    -1,492.40           0.00    0.00%            0.00    Beverage Purchases                      0.00      0.00%      6,019.16     28.00%    -6,019.16           0.00    0.00%       0.00

            0.00      0.00%     1,492.40     28.00%    -1,492.40           0.00    0.00%            0.00    Total Bar 1 Cost of Sales              0.00       0.00%     6,019.16    28.00%      -6,019.16           0.00    0.00%       0.00

            0.00      0.00%     3,837.60     72.00%    -3,837.60           0.00    0.00%            0.00    Gross Profit                           0.00       0.00%    15,477.84    72.00%     -15,477.84           0.00    0.00%       0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
            0.00      0.00%         0.00      0.00%        0.00            0.00    0.00%            0.00    Total Bar 1 Non-Management             0.00       0.00%         0.00      0.00%         0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00      0.00%        0.00            0.00    0.00%            0.00    Total Bar 1 Salaries and Wages         0.00       0.00%         0.00      0.00%         0.00            0.00    0.00%       0.00

                                                                                                            PR Taxes and Benefits
            0.00       0.00%       32.62       0.61%      -32.62           0.00     0.00%           0.00    FICA                                   0.00        0.00%       131.57      0.61%      -131.57           0.00     0.00%      0.00
            0.00       0.00%        0.18       0.00%       -0.18           0.00     0.00%           0.00    Federal Unemployment Tax               0.00        0.00%         0.72      0.00%        -0.72           0.00     0.00%      0.00
            0.00       0.00%        1.46       0.03%       -1.46           0.00     0.00%           0.00    State Unemployment Tax                 0.00        0.00%         6.37      0.03%        -6.37           0.00     0.00%      0.00
            0.00      0.00%        34.26      0.64%      -34.26            0.00    0.00%            0.00    Total Payroll Taxes                    0.00       0.00%       138.66      0.65%      -138.66            0.00    0.00%       0.00
            0.00      0.00%         0.00      0.00%         0.00           0.00    0.00%            0.00    Total Supplemental Pay                 0.00       0.00%          0.00     0.00%          0.00           0.00    0.00%       0.00
            0.00       0.00%       12.79       0.24%      -12.79           0.00     0.00%           0.00    401k Contribution                      0.00        0.00%        51.59      0.24%       -51.59           0.00     0.00%      0.00
            0.00       0.00%       12.79       0.24%      -12.79           0.00     0.00%           0.00    Union Benefits                         0.00        0.00%        51.59      0.24%       -51.59           0.00     0.00%      0.00
            0.00      0.00%        25.58      0.48%      -25.58            0.00    0.00%            0.00    Total Other Benefits                   0.00       0.00%       103.18      0.48%      -103.18            0.00    0.00%       0.00

            0.00      0.00%        59.84      1.12%      -59.84            0.00    0.00%            0.00    Total Bar 1 PR Taxes and Benefits      0.00       0.00%       241.84      1.12%      -241.84            0.00    0.00%       0.00

            0.00      0.00%        59.84      1.12%      -59.84            0.00    0.00%            0.00    Total Bar 1 Payroll                    0.00       0.00%       241.84      1.12%      -241.84            0.00    0.00%       0.00

                                                                                                            Other Expenses
            0.00      0.00%         0.00      0.00%        0.00            0.00    0.00%            0.00    Total Bar 1 Other Expenses             0.00       0.00%         0.00      0.00%         0.00            0.00    0.00%       0.00

            0.00      0.00%        59.84      1.12%      -59.84            0.00    0.00%            0.00    Total Bar 1 Expenses                   0.00       0.00%       241.84      1.12%      -241.84            0.00    0.00%       0.00

            0.00      0.00%     3,777.76     70.88%    -3,777.76           0.00    0.00%            0.00    Total Bar 1 Profit (Loss)              0.00       0.00%    15,236.00    70.88%     -15,236.00           0.00    0.00%       0.00

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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 2
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Bar 2 Food Revenue                      0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Food Revenue                0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Bar 2 Beverage Revenue                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Beverage Revenue            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Other Revenue               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Revenue                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Cost of Sales               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Gross Profit                            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expenses
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Non-Management              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Salaries and Wages          0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 PR Taxes and Benefits       0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Payroll                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Guest Supplies                         267.74      0.00%        0.00       0.00%    267.74            0.00     0.00%    267.74
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Other Expenses            267.74      0.00%         0.00      0.00%    267.74             0.00    0.00%    267.74

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Expenses                  267.74      0.00%         0.00      0.00%    267.74             0.00    0.00%    267.74

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Profit (Loss)            -267.74      0.00%         0.00      0.00%    -267.74            0.00    0.00%    -267.74




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %             Variance                                               YTD      %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           Telephone
           115.84    82.20%          0.00   0.00%     115.84            0.00      0.00%          115.84    Local and Long Distance Revenue           620.91    86.77%          0.00     0.00%       620.91            0.00    0.00%       620.91
            25.08    17.80%          0.00   0.00%      25.08            0.00      0.00%           25.08    Other Telephone Revenue                    94.68    13.23%          0.00     0.00%        94.68            0.00    0.00%        94.68

          140.92    100.00%         0.00    0.00%    140.92              0.00     0.00%          140.92    Telephone Revenue                        715.59    100.00%         0.00      0.00%      715.59             0.00  0.00%        715.59
            0.00       0.00%        0.00     0.00%     0.00            -58.09    100.00%          58.09    Adjustments Long Distance                  0.00       0.00%        0.00       0.00%       0.00          -494.81 100.00%        494.81
            0.00       0.00%        0.00     0.00%     0.00            -58.09    100.00%          58.09    Less: Adjustments                          0.00       0.00%        0.00       0.00%       0.00          -494.81 100.00%        494.81
          140.92    100.00%         0.00    0.00%    140.92           -58.09    100.00%          199.01    Total Telephone Revenue                  715.59    100.00%         0.00      0.00%      715.59         -494.81 100.00%      1,210.40

                                                                                                           Cost of Sales
           639.39    453.73%       785.00    0.00%   -145.61        1,020.94 -1,757.51%          -381.55   Cost of Sales - Local Calls             6,277.57   877.26%      7,850.00      0.00%   -1,572.43        7,591.68-1,534.26%   -1,314.11
             0.00      0.00%        48.00    0.00%    -48.00            0.00      0.00%             0.00   Cost of Sales - Commissions - Other         0.00     0.00%        480.00      0.00%     -480.00            0.00     0.00%        0.00
           485.39    344.44%         0.00    0.00%    485.39            0.00      0.00%           485.39   Cost of Sales - Long Distance           4,922.02   687.83%          0.00      0.00%    4,922.02            0.00     0.00%    4,922.02
        1,124.78    798.17%       833.00    0.00%    291.78        1,020.94-1,757.51%            103.84    Total Telephone Cost of Sales         11,199.59 1,565.08%      8,330.00      0.00%    2,869.59        7,591.68-1,534.26%    3,607.91

         -983.86 -698.17%        -833.00    0.00%    -150.86      -1,079.031,857.51%              95.17    Gross Profit                          -10,484.00 -1,465.08%    -8,330.00     0.00%    -2,154.00      -8,086.491,634.26%     -2,397.51

                                                                                                           Other Expenses
         1,698.00 1,204.94%      1,950.00    0.00%   -252.00        1,965.99 -3,384.39%          -267.99   Internet/Web Expense                   17,662.50 2,468.24%     19,500.00      0.00%    -1,837.50      19,859.34-4,013.53%    -2,196.84
             0.00     0.00%          0.00    0.00%      0.00          100.00 -172.15%            -100.00   Miscellaneous Expense                       0.00     0.00%          0.00      0.00%         0.00         960.00 -194.01%       -960.00
             0.00     0.00%          0.00    0.00%      0.00            0.00      0.00%             0.00   Operating Supplies                          0.00     0.00%          0.00      0.00%         0.00         260.00   -52.55%      -260.00
           358.60   254.47%        140.00    0.00%    218.60            0.00      0.00%           358.60   Telephone Equipment                       358.60    50.11%      1,400.00      0.00%    -1,041.40           0.00     0.00%       358.60
        2,056.60 1,459.41%      2,090.00    0.00%     -33.40       2,065.99-3,556.53%              -9.39   Total Telephone Other Expenses        18,021.10 2,518.36%     20,900.00      0.00%    -2,878.90      21,079.34-4,260.09%    -3,058.24

       -3,040.46-2,157.58%     -2,923.00    0.00%    -117.46      -3,145.025,414.05%             104.56    Total Telephone Profit (Loss)         -28,505.10 -3,983.44%   -29,230.00     0.00%      724.90      -29,165.835,894.35%       660.73




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             PTD      %       PTD Budget     %        Variance    PTD Last Year     %             Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                             Minor Operating
                                                                                                             Income
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%             0.00   Rental Income - Gift Shop                      -166.00    -0.26%         0.00     0.00%      -166.00           0.00      0.00%      -166.00
             0.00    0.00%          0.00    0.00%          0.00           0.00     0.00%              0.00   Total Rental Income                           -166.00    -0.26%          0.00    0.00%      -166.00            0.00     0.00%      -166.00
            54.11     0.78%       131.00     3.26%       -76.89         309.96      8.51%          -255.85   Vending Commissions-Soda & Snack Machines       483.04     0.74%     1,044.00     3.13%      -560.96         806.72      2.53%      -323.68
            54.11    0.78%       131.00     3.26%       -76.89         309.96      8.51%          -255.85    Total Vending Commission Income                483.04     0.74%     1,044.00     3.13%      -560.96         806.72      2.53%      -323.68
         1,635.09    23.55%       475.00    11.82%    1,160.09         -102.48     -2.81%         1,737.57   Cancellation Fee - Rooms                      6,650.00    10.22%     4,750.00    14.23%     1,900.00       4,466.77     13.98%     2,183.23
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%             0.00   Cancellation Fee - Other                       -270.00    -0.42%         0.00     0.00%      -270.00           0.00      0.00%      -270.00
        1,635.09    23.55%       475.00    11.82%    1,160.09         -102.48     -2.81%         1,737.57    Total Cancellation Fee Income                6,380.00     9.81%     4,750.00    14.23%     1,630.00       4,466.77     13.98%     1,913.23
            12.00     0.17%       152.00     3.78%     -140.00            0.00      0.00%            12.00   Guest Laundry                                   472.34     0.73%     1,218.00     3.65%      -745.66         874.11      2.74%      -401.77
           109.94     1.58%        65.00     1.62%        44.94           0.00      0.00%           109.94   In-Room Movie Revenue                           369.81     0.57%       522.00     1.56%      -152.19         399.80      1.25%       -29.99
             0.00     0.00%       150.00     3.73%     -150.00          178.57      4.90%          -178.57   Cash Discounts                                    0.00     0.00%     1,500.00     4.49%    -1,500.00         748.23      2.34%      -748.23
             0.00     0.00%       174.00     4.33%     -174.00           27.80      0.76%           -27.80   Internet Access                                   0.00     0.00%     1,392.00     4.17%    -1,392.00       1,396.95      4.37%    -1,396.95
           264.56     3.81%         0.00     0.00%      264.56            0.00      0.00%           264.56   Other Revenue 2                               9,208.44    14.15%         0.00     0.00%     9,208.44          21.71      0.07%     9,186.73
             0.00     0.00%         0.00     0.00%         0.00         200.00      5.49%          -200.00   Other Revenue 3                                 260.00     0.40%         0.00     0.00%       260.00         350.00      1.10%       -90.00
         3,702.76    53.33%     2,437.00    60.64%    1,265.76        2,129.77     58.45%         1,572.99   Gift Shop Sales                              37,402.38    57.49%    19,484.00    58.35%    17,918.38      16,416.58     51.39%    20,985.80
         1,165.00    16.78%       435.00    10.82%      730.00          900.00     24.70%           265.00   Pet Fees                                     10,645.00    16.36%     3,479.00    10.42%     7,166.00       6,464.46     20.24%     4,180.54
        5,254.26    75.67%     3,413.00    84.92%    1,841.26        3,436.14     94.31%         1,818.12    Total Other Income                          58,357.97    89.71%    27,595.00    82.65%    30,762.97      26,671.84     83.49%    31,686.13

        6,943.46    100.00%    4,019.00    100.00%   2,924.46        3,643.62     100.00%        3,299.84    Total Minor Operating Income                65,055.01    100.00%   33,389.00 100.00%      31,666.01      31,945.33 100.00%       33,109.68

                                                                                                             Cost of Sales
            12.86     0.19%       144.40     3.59%    -131.54             0.00      0.00%            12.86   Cost of Sales - Guest Laundry                   137.74     0.21%     1,157.10     3.47%    -1,019.36         843.86      2.64%      -706.12
            17.99     0.26%        61.75     1.54%     -43.76            17.99      0.49%             0.00   Cost of Sales - In-Room Movie Revenue           456.05     0.70%       495.90     1.49%       -39.85         323.83      1.01%       132.22
         1,932.10    27.83%     1,218.50    30.32%     713.60           666.15     18.28%         1,265.95   Cost of Sales - Gift Shop                    14,738.77    22.66%     9,742.00    29.18%     4,996.77       8,220.78     25.73%     6,517.99
        1,962.95    28.27%     1,424.65    35.45%     538.30           684.14     18.78%         1,278.81    Total Minor Operated Cost of Sales          15,332.56    23.57%    11,395.00    34.13%     3,937.56       9,388.47     29.39%     5,944.09

        4,980.51    71.73%     2,594.35    64.55%    2,386.16        2,959.48     81.22%         2,021.03    Total Minor Operated Profit (Loss)          49,722.45    76.43%    21,994.00    65.87%    27,728.45      22,556.86     70.61%    27,165.59




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                           YTD       %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Arcade
                                                                                                       Revenue

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Revenue                   0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Non-Management            0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Salaries and Wages        0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Payroll Taxes                    0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Supplemental Pay                 0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Other Benefits                   0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade PR Taxes and Benefits     0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Payroll                   0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Other Expenses            0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Expenses                  0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Profit (Loss)             0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                           YTD       %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Waterpark
                                                                                                       Revenue
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Revenue                 0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Waterpark Management                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Waterpark Non-Management                0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Salaries and Wages      0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Payroll Taxes                     0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Supplemental Pay                  0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Other Benefits                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark PR Taxes and Benefits   0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Payroll                 0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Other Expenses          0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Expenses                0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Profit (Loss)           0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget    %        Variance   PTD Last Year    %             Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                           Franchise Fees
           243.91      0.08%         0.00    0.00%      243.91           0.00     0.00%           243.91   Franchise Fees - IT Fees                     2,276.61    0.10%         0.00     0.00%     2,276.61           0.00     0.00%     2,276.61
        17,074.49      5.65%    12,104.25    4.97%    4,970.24       9,569.35     5.50%         7,505.14   Franchise Fees - Royalty & Licenses        133,748.81    5.82%    87,222.22     5.03%    46,526.59      72,630.86     5.33%    61,117.95
             6.50      0.00%        25.00    0.01%      -18.50         205.70     0.12%          -199.20   Franchise Fees - Other                       3,811.00    0.17%       250.00     0.01%     3,561.00         980.10     0.07%     2,830.90
           134.40      0.04%         0.00    0.00%      134.40           0.00     0.00%           134.40   Franchise Fees - Reservations-GDS            1,659.73    0.07%         0.00     0.00%     1,659.73           0.00     0.00%     1,659.73
        -1,006.20     -0.33%     4,385.60    1.80%   -5,391.80       2,954.14     1.70%        -3,960.34   Franchise Fees - Frequent Guest               -441.12   -0.02%    31,602.25     1.82%   -32,043.37      28,852.29     2.12%   -29,293.41
        12,584.51      4.16%    10,547.36    4.33%    2,037.15      17,034.46     9.80%        -4,449.95   Franchise Fees - Marketing Contributions    95,003.07    4.13%    76,003.41     4.39%    18,999.66      68,947.12     5.06%    26,055.95
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00   Franchise Fees - Reservations-Central        3,046.11    0.13%         0.00     0.00%     3,046.11           0.00     0.00%     3,046.11

       29,037.61      9.60%    27,062.21    11.11%   1,975.40      29,763.65     17.12%         -726.04    Total Franchise Fees                       239,104.21   10.41%   195,077.88   11.26%    44,026.33     171,410.37     12.59%   67,693.84




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                                                                                      Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year    %             Variance                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
        12,073.37      3.99%     7,822.72    3.21%    4,250.65       8,330.57      4.79%        3,742.80   Management- A&G                      97,072.11     4.22%     76,329.17     4.40%    20,742.94      89,160.03      6.55%      7,912.08
       12,073.37      3.99%     7,822.72    3.21%    4,250.65       8,330.57      4.79%        3,742.80    Total A&G Management                97,072.11     4.22%     76,329.17     4.40%    20,742.94      89,160.03      6.55%      7,912.08
             0.00     0.00%          0.00   0.00%         0.00           0.00     0.00%             0.00   Total A&G Non-Management                  0.00    0.00%           0.00    0.00%          0.00           0.00     0.00%           0.00
       12,073.37      3.99%     7,822.72    3.21%    4,250.65       8,330.57      4.79%        3,742.80    Total A&G Salaries and Wages        97,072.11     4.22%     76,329.17     4.40%    20,742.94      89,160.03      6.55%      7,912.08
                                                                                                           PR Taxes and Benefits
           900.95      0.30%       621.87    0.26%      279.08         554.68      0.32%          346.27   FICA                                  6,473.82     0.28%      6,086.62     0.35%       387.20       7,261.60      0.53%       -787.78
            17.49      0.01%         3.41    0.00%       14.08           0.00      0.00%           17.49   Federal Unemployment Tax                225.95     0.01%        126.28     0.01%        99.67           0.00      0.00%        225.95
           138.29      0.05%        27.84    0.01%      110.45           0.00      0.00%          138.29   State Unemployment Tax                1,744.96     0.08%      1,318.09     0.08%       426.87           0.00      0.00%      1,744.96
        1,056.73      0.35%       653.12    0.27%      403.61         554.68      0.32%          502.05    Total Payroll Taxes                  8,444.73     0.37%      7,530.99     0.43%       913.74       7,261.60      0.53%      1,183.13
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Holiday                                   0.00     0.00%          0.00     0.00%         0.00       1,915.84      0.14%     -1,915.84
             0.00      0.00%       306.28    0.13%     -306.28           0.00      0.00%            0.00   Vacation                                  0.00     0.00%      3,234.31     0.19%    -3,234.31      11,499.55      0.84%    -11,499.55
             0.00     0.00%       306.28    0.13%     -306.28            0.00     0.00%             0.00   Total Supplemental Pay                    0.00    0.00%      3,234.31     0.19%    -3,234.31      13,415.39      0.99%    -13,415.39
           518.24      0.17%       429.01    0.18%       89.23       1,315.00      0.76%         -796.76   Worker's Compensation                 4,334.43     0.19%      4,802.44     0.28%      -468.01      14,340.25      1.05%    -10,005.82
           739.00      0.24%       525.00    0.22%      214.00       1,236.22      0.71%         -497.22   Group Insurance                      12,444.34     0.54%      5,075.00     0.29%     7,369.34      12,605.98      0.93%       -161.64
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Bonus and Incentive Pay                   0.00     0.00%          0.00     0.00%         0.00       2,254.00      0.17%     -2,254.00
        1,257.24      0.42%       954.01    0.39%      303.23       2,551.22      1.47%       -1,293.98    Total Other Benefits                16,778.77     0.73%      9,877.44     0.57%     6,901.33      29,200.23      2.14%    -12,421.46
        2,313.97      0.77%     1,913.41    0.79%      400.56       3,105.90      1.79%         -791.93    Total A&G PR Taxes and Benefits     25,223.50     1.10%     20,642.74     1.19%     4,580.76      49,877.22      3.66%    -24,653.72
       14,387.34      4.76%     9,736.13    4.00%    4,651.21      11,436.47      6.58%        2,950.87    Total A&G Payroll                  122,295.61     5.32%     96,971.91     5.60%    25,323.70     139,037.25     10.21%    -16,741.64
                                                                                                           Other Expenses
         1,000.00      0.33%     1,000.00    0.41%        0.00       2,000.00      1.15%       -1,000.00   Accounting/Audit Fees                10,000.00     0.44%     10,000.00     0.58%         0.00      20,000.00      1.47%   -10,000.00
            95.26      0.03%         0.00    0.00%       95.26         510.40      0.29%         -415.14   Bad Debt Provision                   13,790.12     0.60%          0.00     0.00%    13,790.12       1,372.96      0.10%    12,417.16
           602.42      0.20%     1,150.00    0.47%     -547.58         725.77      0.42%         -123.35   Bank Charges                          6,260.13     0.27%     11,500.00     0.66%    -5,239.87       7,573.51      0.56%    -1,313.38
             0.70      0.00%         0.00    0.00%        0.70           0.00      0.00%            0.70   Cash Over/Short                      -2,125.90    -0.09%          0.00     0.00%    -2,125.90       1,189.77      0.09%    -3,315.67
           171.26      0.06%         0.00    0.00%      171.26           0.00      0.00%          171.26   Central Office - Travel Rebilled        377.18     0.02%          0.00     0.00%       377.18           0.00      0.00%       377.18
           360.00      0.12%       160.00    0.07%      200.00           0.00      0.00%          360.00   Central Office - IT Fees              4,150.00     0.18%      1,600.00     0.09%     2,550.00           0.00      0.00%     4,150.00
             0.00      0.00%        75.00    0.03%      -75.00           0.00      0.00%            0.00   Communication Expense                     0.00     0.00%        750.00     0.04%      -750.00         187.81      0.01%      -187.81
         8,415.69      2.78%     6,578.97    2.70%    1,836.72       3,792.87      2.18%        4,622.82   Credit Card Commission               52,890.87     2.30%     46,787.16     2.70%     6,103.71      34,007.98      2.50%    18,882.89
             0.00      0.00%         0.00    0.00%        0.00       1,113.11      0.64%       -1,113.11   Data Processing                           0.00     0.00%          0.00     0.00%         0.00      10,696.43      0.79%   -10,696.43
           218.56      0.07%       200.00    0.08%       18.56         120.00      0.07%           98.56   Dues and Subscriptions                4,355.60     0.19%      3,500.00     0.20%       855.60       1,700.35      0.12%     2,655.25
           358.79      0.12%       100.00    0.04%      258.79           0.00      0.00%          358.79   Employee Relations                    1,609.08     0.07%      1,000.00     0.06%       609.08       1,114.45      0.08%       494.63
             0.00      0.00%         0.00    0.00%        0.00          43.56      0.03%          -43.56   Licenses/Permits                      2,195.54     0.10%      2,470.00     0.14%      -274.46       2,843.43      0.21%      -647.89
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Meals and Entertainment                  27.46     0.00%          0.00     0.00%        27.46         173.90      0.01%      -146.44
          -141.71     -0.05%         0.00    0.00%     -141.71           0.00      0.00%         -141.71   Miscellaneous Expense                  -569.39    -0.02%          0.00     0.00%      -569.39           0.00      0.00%      -569.39
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Office Equipment                        317.69     0.01%          0.00     0.00%       317.69           0.00      0.00%       317.69
           431.74      0.14%       404.51    0.17%       27.23         102.82      0.06%          328.92   Office Supplies                       4,689.32     0.20%      3,101.56     0.18%     1,587.76       2,414.81      0.18%     2,274.51
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Operating Supplies                      187.89     0.01%          0.00     0.00%       187.89           0.00      0.00%       187.89
           229.57      0.08%       400.00    0.16%     -170.43         278.65      0.16%          -49.08   Payroll Service Fees                  1,459.60     0.06%      4,000.00     0.23%    -2,540.40       4,486.85      0.33%    -3,027.25
            62.20      0.02%        63.87    0.03%       -1.67          -8.75     -0.01%           70.95   Postage                                 242.13     0.01%        489.72     0.03%      -247.59         501.91      0.04%      -259.78
         1,613.00      0.53%       150.00    0.06%    1,463.00           0.00      0.00%        1,613.00   Professional Fees - Legal             8,135.14     0.35%      1,500.00     0.09%     6,635.14           0.00      0.00%     8,135.14
           379.13      0.13%       500.00    0.21%     -120.87           0.00      0.00%          379.13   Professional Fees - Other            10,015.63     0.44%      5,000.00     0.29%     5,015.63       3,738.00      0.27%     6,277.63
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Recruitment Advertising                 380.00     0.02%      3,750.00     0.22%    -3,370.00       1,061.38      0.08%      -681.38
             0.00      0.00%       180.00    0.07%     -180.00         183.28      0.11%         -183.28   Recruitment - Other                     913.62     0.04%      1,800.00     0.10%      -886.38       1,034.06      0.08%      -120.44
           442.69      0.15%       520.70    0.21%      -78.01           0.00      0.00%          442.69   Software Expense/Maintenance          7,126.90     0.31%      6,157.00     0.36%       969.90           0.00      0.00%     7,126.90
             0.00      0.00%         0.00    0.00%        0.00          47.60      0.03%          -47.60   Training                                539.00     0.02%      1,500.00     0.09%      -961.00       3,130.01      0.23%    -2,591.01
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Travel                                  586.98     0.03%        750.00     0.04%      -163.02       3,040.01      0.22%    -2,453.03
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Uniforms                                 65.06     0.00%          0.00     0.00%        65.06           0.00      0.00%        65.06
       14,239.30      4.71%    11,483.05    4.71%    2,756.25       8,909.31      5.12%        5,329.99    Total A&G Other Expenses           127,619.65     5.55%    105,655.44     6.10%    21,964.21     100,267.62      7.36%    27,352.03
       28,626.64      9.47%    21,219.18    8.71%    7,407.46      20,345.78     11.70%        8,280.86    Total A&G Expenses                 249,915.26    10.88%    202,627.35    11.69%    47,287.91     239,304.87     17.57%    10,610.39




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                                                                                  Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                           YTD       %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       IT
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wags
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Management                    0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Non-Management                0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Salaries and Wages            0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Payroll Taxes                    0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Supplemental Pay                 0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Other Benefits                   0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT PR Taxes and Benefits         0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Payroll                       0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Cost of Services
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Cost of Services              0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       System Costs
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Systems                       0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Other Expenses                0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Expenses                      0.00       0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                      Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           S&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         4,671.26      1.54%     4,527.77    1.86%      143.49            0.00     0.00%        4,671.26   Division Management                 45,567.36      1.98%     44,179.11     2.55%     1,388.25       5,469.81     0.40%    40,097.55
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Sales Managers                           0.00      0.00%          0.00     0.00%         0.00      13,697.35     1.01%   -13,697.35
        4,671.26      1.54%     4,527.77    1.86%      143.49             0.00    0.00%        4,671.26    Total S&M Management               45,567.36      1.98%     44,179.11     2.55%     1,388.25      19,167.16     1.41%    26,400.20
         1,931.68      0.64%     1,564.53    0.64%      367.15        2,281.95     1.31%         -350.27   Administrative Assistant            11,482.12      0.50%     15,342.48     0.89%    -3,860.36      14,350.05     1.05%    -2,867.93
        1,931.68      0.64%     1,564.53    0.64%      367.15        2,281.95     1.31%         -350.27    Total S&M Non-Management           11,482.12      0.50%     15,342.48     0.89%    -3,860.36      14,350.05     1.05%    -2,867.93

        6,602.94      2.18%     6,092.30    2.50%      510.64        2,281.95     1.31%        4,320.99    Total S&M Salaries and Wages       57,049.48      2.48%     59,521.59     3.43%    -2,472.11      33,517.21     2.46%    23,532.27

                                                                                                           PR Taxes and Benefits
           532.66      0.18%       479.62    0.20%       53.04          220.66     0.13%          312.00   FICA                                 3,916.02      0.17%      4,773.11     0.28%      -857.09       3,741.64     0.27%       174.38
            10.39      0.00%         2.63    0.00%        7.76            0.00     0.00%           10.39   Federal Unemployment Tax               121.25      0.01%         99.49     0.01%        21.76           0.00     0.00%       121.25
            79.82      0.03%        21.47    0.01%       58.35            0.00     0.00%           79.82   State Unemployment Tax                 950.84      0.04%      1,035.30     0.06%       -84.46           0.00     0.00%       950.84
          622.87      0.21%       503.72    0.21%      119.15          220.66     0.13%          402.21    Total Payroll Taxes                 4,988.11      0.22%      5,907.90     0.34%      -919.79       3,741.64     0.27%     1,246.47
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Holiday                                  0.00      0.00%      1,000.00     0.06%    -1,000.00         797.60     0.06%      -797.60
             0.00      0.00%       177.27    0.07%     -177.27          751.80     0.43%         -751.80   Vacation                                 0.00      0.00%      1,871.98     0.11%    -1,871.98       2,715.06     0.20%    -2,715.06
             0.00     0.00%       177.27    0.07%     -177.27          751.80     0.43%         -751.80    Total Supplemental Pay                   0.00     0.00%      2,871.98     0.17%    -2,871.98       3,512.66     0.26%    -3,512.66
           297.68      0.10%       330.88    0.14%      -33.20            0.00     0.00%          297.68   Worker's Compensation                2,336.99      0.10%      3,765.03     0.22%    -1,428.04           0.00     0.00%     2,336.99
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Payroll Tax/Benefit Allocation         178.75      0.01%          0.00     0.00%       178.75           0.00     0.00%       178.75
           393.49      0.13%       525.00    0.22%     -131.51           63.10     0.04%          330.39   Group Insurance                      5,211.47      0.23%      5,075.00     0.29%       136.47         876.40     0.06%     4,335.07
         1,371.25      0.45%         0.00    0.00%    1,371.25            0.00     0.00%        1,371.25   Bonus and Incentive Pay              6,170.61      0.27%          0.00     0.00%     6,170.61         213.66     0.02%     5,956.95
        2,062.42      0.68%       855.88    0.35%    1,206.54            63.10    0.04%        1,999.32    Total Other Benefits               13,897.82      0.60%      8,840.03     0.51%     5,057.79       1,090.06     0.08%    12,807.76
        2,685.29      0.89%     1,536.87    0.63%    1,148.42        1,035.56     0.60%        1,649.73    Total S&M PR Taxes and Benefits    18,885.93      0.82%     17,619.91     1.02%     1,266.02       8,344.36     0.61%    10,541.57

        9,288.23      3.07%     7,629.17    3.13%    1,659.06        3,317.51     1.91%        5,970.72    Total S&M Payroll                  75,935.41      3.30%     77,141.50     4.45%    -1,206.09      41,861.57     3.07%    34,073.84

                                                                                                           Other Expenses
           440.00      0.15%         0.00    0.00%       440.00           0.00     0.00%          440.00   Advertising General                  3,965.00      0.17%          0.00     0.00%    3,965.00            0.00     0.00%     3,965.00
             0.00      0.00%       690.00    0.28%      -690.00       1,152.93     0.66%       -1,152.93   Advertising-Web/Internet                 0.00      0.00%      7,935.00     0.46%   -7,935.00        4,810.99     0.35%    -4,810.99
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Brochures                              170.24      0.01%          0.00     0.00%      170.24            0.00     0.00%       170.24
             0.00      0.00%        60.00    0.02%       -60.00           0.00     0.00%            0.00   Communication Expense                    0.00      0.00%        600.00     0.03%     -600.00            0.00     0.00%         0.00
         1,240.25      0.41%     1,270.00    0.52%       -29.75        -325.00    -0.19%        1,565.25   Dues and Subscriptions              27,246.65      1.19%     15,640.00     0.90%   11,606.65        1,876.54     0.14%    25,370.11
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   GDS Marketing Advert & Sales           669.00      0.03%      1,750.00     0.10%   -1,081.00            0.00     0.00%       669.00
             0.00      0.00%        25.00    0.01%       -25.00           0.00     0.00%            0.00   Meals and Entertainment                 79.98      0.00%        250.00     0.01%     -170.02          278.35     0.02%      -198.37
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Office Supplies                        734.70      0.03%          0.00     0.00%      734.70            0.00     0.00%       734.70
             0.00      0.00%        10.00    0.00%       -10.00           0.00     0.00%            0.00   Printing and Stationery                  0.00      0.00%        100.00     0.01%     -100.00           84.58     0.01%       -84.58
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Promotions - In-house                  495.24      0.02%          0.00     0.00%      495.24        1,674.89     0.12%    -1,179.65
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Promotion - Outside                    406.96      0.02%          0.00     0.00%      406.96            0.00     0.00%       406.96
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Software Expense/Maintenance             0.00      0.00%      2,248.00     0.13%   -2,248.00            0.00     0.00%         0.00
            35.00      0.01%       750.00    0.31%      -715.00         209.33     0.12%         -174.33   Training                             3,574.00      0.16%      1,500.00     0.09%    2,074.00          302.36     0.02%     3,271.64
             0.00      0.00%       500.00    0.21%      -500.00           0.00     0.00%            0.00   Travel                                   0.00      0.00%      1,400.00     0.08%   -1,400.00        1,205.00     0.09%    -1,205.00
        1,715.25      0.57%     3,305.00    1.36%    -1,589.75       1,037.26     0.60%          677.99    Total S&M Other Expenses           37,341.77      1.63%     31,423.00     1.81%    5,918.77       10,232.71     0.75%    27,109.06

       11,003.48      3.64%    10,934.17    4.49%        69.31       4,354.77     2.50%        6,648.71    Total S&M Expenses                113,277.18      4.93%    108,564.50     6.27%    4,712.68       52,094.28     3.83%    61,182.90




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                                                                                     Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year   %             Variance                                              YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          R&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
         4,683.66      1.55%     4,540.19    1.86%     143.47        4,427.19     2.55%          256.47   Division Management                   45,688.32    1.99%    44,300.26      2.56%     1,388.06      41,314.74     3.03%     4,373.58
        4,683.66      1.55%     4,540.19    1.86%     143.47        4,427.19     2.55%          256.47    Total R&M Management                 45,688.32    1.99%    44,300.26      2.56%     1,388.06      41,314.74     3.03%     4,373.58
         2,713.83      0.90%     2,371.50    0.97%     342.33        2,744.77     1.58%          -30.94   Engineers 1                           24,535.05    1.07%    23,256.00      1.34%     1,279.05      15,425.13     1.13%     9,109.92
        2,713.83      0.90%     2,371.50    0.97%     342.33        2,744.77     1.58%          -30.94    Total R&M Non-Management             24,535.05    1.07%    23,256.00      1.34%     1,279.05      15,425.13     1.13%     9,109.92

        7,397.49      2.45%     6,911.69    2.84%     485.80        7,171.96     4.12%          225.53    Total R&M Salaries and Wages         70,223.37    3.06%    67,556.26      3.90%     2,667.11      56,739.87     4.17%    13,483.50

                                                                                                          PR Taxes and Benefits
           551.99      0.18%       542.34    0.22%        9.65         550.86     0.32%            1.13   FICA                                   5,135.26    0.22%     5,372.85      0.31%      -237.59       5,255.78     0.39%      -120.52
            10.71      0.00%         2.98    0.00%        7.73           0.00     0.00%           10.71   Federal Unemployment Tax                 175.36    0.01%       111.93      0.01%        63.43           0.00     0.00%       175.36
            84.74      0.03%        24.28    0.01%       60.46           0.00     0.00%           84.74   State Unemployment Tax                 1,358.51    0.06%     1,165.45      0.07%       193.06           0.00     0.00%     1,358.51
          647.44      0.21%       569.60    0.23%        77.84        550.86     0.32%            96.58   Total Payroll Taxes                   6,669.13    0.29%     6,650.23      0.38%         18.90      5,255.78     0.39%     1,413.35
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Holiday                                    0.00    0.00%       800.00      0.05%      -800.00       1,139.12     0.08%    -1,139.12
             0.00      0.00%       177.76    0.07%     -177.76         211.54     0.12%         -211.54   Vacation                                   0.00    0.00%     1,877.13      0.11%    -1,877.13       6,939.75     0.51%    -6,939.75
             0.00     0.00%       177.76    0.07%     -177.76         211.54     0.12%         -211.54    Total Supplemental Pay                     0.00   0.00%     2,677.13      0.15%    -2,677.13       8,078.87     0.59%    -8,078.87
           317.10      0.10%       374.15    0.15%      -57.05           0.00     0.00%          317.10   Worker's Compensation                  3,124.16    0.14%     4,238.92      0.24%    -1,114.76           0.00     0.00%     3,124.16
           769.10      0.25%       262.50    0.11%      506.60         554.02     0.32%          215.08   Group Insurance                       10,533.51    0.46%     2,537.50      0.15%     7,996.01       5,695.98     0.42%     4,837.53
        1,086.20      0.36%       636.65    0.26%      449.55         554.02     0.32%          532.18    Total Other Benefits                 13,657.67    0.59%     6,776.42      0.39%     6,881.25       5,695.98     0.42%     7,961.69
        1,733.64      0.57%     1,384.01    0.57%      349.63       1,316.42     0.76%          417.22    Total R&M PR Taxes and Benefits      20,326.80    0.88%    16,103.78      0.93%     4,223.02      19,030.63     1.40%     1,296.17

        9,131.13      3.02%     8,295.70    3.40%     835.43        8,488.38     4.88%          642.75    Total R&M Payroll                    90,550.17    3.94%    83,660.04      4.83%     6,890.13      75,770.50     5.56%    14,779.67

                                                                                                          Other Expenses
           522.66      0.17%       383.22    0.16%      139.44          45.27     0.03%          477.39   Air Conditioning and Refrigeration     2,480.77    0.11%     2,938.32      0.17%      -457.55       1,858.52     0.14%       622.25
             0.00      0.00%       319.35    0.13%     -319.35          49.18     0.03%          -49.18   Building                               8,215.20    0.36%     2,448.60      0.14%     5,766.60       1,096.43     0.08%     7,118.77
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Communication Expense                      0.00    0.00%         0.00      0.00%         0.00           7.83     0.00%        -7.83
            63.60      0.02%       212.90    0.09%     -149.30          34.00     0.02%           29.60   Electric Bulbs                         1,946.04    0.08%     1,632.40      0.09%       313.64       1,199.56     0.09%       746.48
           266.68      0.09%       298.06    0.12%      -31.38         203.64     0.12%           63.04   Electrical and Mechanical              3,318.95    0.14%     2,285.36      0.13%     1,033.59       1,520.19     0.11%     1,798.76
             0.00      0.00%       275.00    0.11%     -275.00           0.00     0.00%            0.00   Elevator Maintenance Contracts         5,988.07    0.26%     6,950.00      0.40%      -961.93           0.00     0.00%     5,988.07
           212.50      0.07%         0.00    0.00%      212.50           0.00     0.00%          212.50   Equipment Maintenance                  2,181.58    0.09%         0.00      0.00%     2,181.58       6,816.52     0.50%    -4,634.94
         1,529.00      0.51%       500.00    0.21%    1,029.00         174.00     0.10%        1,355.00   Fire Safety Equipment                 15,470.47    0.67%     5,950.00      0.34%     9,520.47       9,328.92     0.69%     6,141.55
           141.17      0.05%       300.00    0.12%     -158.83           0.00     0.00%          141.17   Floor and Carpet Maintenance             220.44    0.01%     1,250.00      0.07%    -1,029.56         945.18     0.07%      -724.74
           586.87      0.19%       425.80    0.17%      161.07         137.28     0.08%          449.59   Furniture                              1,570.02    0.07%     3,264.80      0.19%    -1,694.78       2,787.73     0.20%    -1,217.71
         1,562.96      0.52%       950.00    0.39%      612.96         510.00     0.29%        1,052.96   Grounds and Landscaping               12,733.60    0.55%    13,850.00      0.80%    -1,116.40       5,840.27     0.43%     6,893.33
           228.55      0.08%         0.00    0.00%      228.55           0.00     0.00%          228.55   Kitchen Equipment Repairs              4,548.91    0.20%       450.00      0.03%     4,098.91           0.00     0.00%     4,548.91
             0.00      0.00%        85.16    0.03%      -85.16           0.00     0.00%            0.00   Laundry Equipment Repairs              1,521.46    0.07%       652.96      0.04%       868.50         736.20     0.05%       785.26
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Licenses/Permits                         150.00    0.01%         0.00      0.00%       150.00         463.38     0.03%      -313.38
             0.00      0.00%        85.16    0.03%      -85.16           0.00     0.00%            0.00   Locks and Keys                           378.65    0.02%       652.96      0.04%      -274.31       1,711.47     0.13%    -1,332.82
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Office Equipment                           0.00    0.00%         0.00      0.00%         0.00         194.20     0.01%      -194.20
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Office Supplies                           32.52    0.00%         0.00      0.00%        32.52           0.00     0.00%        32.52
           408.60      0.14%         0.00    0.00%      408.60           0.00     0.00%          408.60   Operating Supplies                     2,130.20    0.09%         0.00      0.00%     2,130.20           0.00     0.00%     2,130.20
            11.00      0.00%        63.87    0.03%      -52.87          15.00     0.01%           -4.00   Painting and Decorating                  125.88    0.01%       489.72      0.03%      -363.84          55.90     0.00%        69.98
           490.00      0.16%       192.00    0.08%      298.00           0.00     0.00%          490.00   Pest Control                           2,341.75    0.10%     1,920.00      0.11%       421.75         686.01     0.05%     1,655.74
         1,625.61      0.54%       489.67    0.20%    1,135.94          81.19     0.05%        1,544.42   Plumbing and Heating                   7,372.93    0.32%     3,754.52      0.22%     3,618.41       2,159.07     0.16%     5,213.86
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Pool Chemicals                         2,299.78    0.10%         0.00      0.00%     2,299.78           0.00     0.00%     2,299.78
           548.77      0.18%       650.00    0.27%     -101.23         812.28     0.47%         -263.51   Pool Service- Contract                 5,739.99    0.25%     6,500.00      0.38%      -760.01       5,674.34     0.42%        65.65
           301.31      0.10%        21.29    0.01%      280.02           0.00     0.00%          301.31   Radio and Television Repair            3,286.31    0.14%       163.24      0.01%     3,123.07          78.84     0.01%     3,207.47
           186.44      0.06%        21.29    0.01%      165.15           0.00     0.00%          186.44   Signage                                  478.78    0.02%       163.24      0.01%       315.54          43.85     0.00%       434.93
           170.78      0.06%         0.00    0.00%      170.78           0.00     0.00%          170.78   Snow Removal                           1,730.78    0.08%         0.00      0.00%     1,730.78           0.00     0.00%     1,730.78
           121.00      0.04%       121.00    0.05%        0.00           0.00     0.00%          121.00   Software Expense/Maintenance             605.00    0.03%     1,710.00      0.10%    -1,105.00           0.00     0.00%       605.00
           291.44      0.10%         0.00    0.00%      291.44           0.00     0.00%          291.44   Tools                                    821.45    0.04%         0.00      0.00%       821.45           0.00     0.00%       821.45
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Travel                                   582.88    0.03%       500.00      0.03%        82.88           0.00     0.00%       582.88
             0.00      0.00%        35.00    0.01%      -35.00           0.00     0.00%            0.00   Uniforms                                   0.00    0.00%       350.00      0.02%      -350.00           0.00     0.00%         0.00
           222.91      0.07%       325.00    0.13%     -102.09           0.00     0.00%          222.91   Vehicle Maintenance & Repairs            222.91    0.01%     2,275.00      0.13%    -2,052.09         495.42     0.04%      -272.51
           381.44      0.13%       326.00    0.13%       55.44         191.00     0.11%          190.44   Waste Removal                          3,313.66    0.14%     2,855.00      0.16%       458.66       2,814.30     0.21%       499.36
        9,873.29      3.27%     6,079.77    2.50%    3,793.52       2,252.84     1.30%        7,620.45    Total R&M Other Expenses             91,808.98    4.00%    63,006.12      3.64%    28,802.86      46,514.13     3.42%    45,294.85


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                                                                                   Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget   %        Variance   PTD Last Year   %             Variance                                           YTD       %       YTD Budget %             Variance   YTD Last Year   %         Variance

       19,004.42      6.29%   14,375.47    5.90%   4,628.95      10,741.22     6.18%        8,263.20    Total R&M Expenses                182,359.15      7.94%   146,666.16     8.46%   35,692.99     122,284.63     8.98%   60,074.52




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                                                                                     Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
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             PTD      %        PTD Budget   %         Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          Utilities
           805.69      0.27%     1,911.00    0.78%   -1,105.31       1,266.17     0.73%         -460.48   Water                                8,350.17      0.36%    17,410.00      1.00%    -9,059.83      11,962.66     0.88%    -3,612.49
         6,963.75      2.30%     5,250.00    2.15%    1,713.75       5,222.63     3.00%        1,741.12   Electricity                         90,095.67      3.92%    66,185.50      3.82%    23,910.17      72,468.77     5.32%    17,626.90
         1,072.30      0.35%       575.00    0.24%      497.30         426.59     0.25%          645.71   Gas - Natural HLP                    9,047.81      0.39%     6,538.00      0.38%     2,509.81       4,963.69     0.36%     4,084.12
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Propane Tanks/Fuel                      21.06      0.00%         0.00      0.00%        21.06           0.00     0.00%        21.06
         1,040.13      0.34%         0.00    0.00%    1,040.13           0.00     0.00%        1,040.13   Sewer                               10,992.48      0.48%         0.00      0.00%    10,992.48           0.00     0.00%    10,992.48
        9,881.87      3.27%     7,736.00    3.17%    2,145.87       6,915.39     3.98%        2,966.48    Total Utilities                   118,507.19      5.16%    90,133.50      5.20%    28,373.69      89,395.12     6.56%    29,112.07




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                                                                                       Company: CCIL Associates LLC Property: Courtyard Chicago St. Charles
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget   %         Variance    PTD Last Year    %             Variance                                            YTD      %        YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                            Fixed
        15,497.00      5.13%    15,497.33    6.36%        -0.33       7,469.62      4.30%        8,027.38   Real Estate Taxes                  150,825.80      6.56%    154,973.30     8.94%    -4,147.50     146,945.59     10.79%       3,880.21
       15,497.00      5.13%    15,497.33    6.36%        -0.33       7,469.62      4.30%        8,027.38    Total Taxes                       150,825.80      6.56%    154,973.30     8.94%    -4,147.50     146,945.59     10.79%       3,880.21
           414.67      0.14%         0.00    0.00%      414.67        5,003.72      2.88%       -4,589.05   Insurance                            1,244.01      0.05%          0.00     0.00%     1,244.01      49,053.07      3.60%     -47,809.06
           400.25      0.13%       400.25    0.16%         0.00           0.00      0.00%          400.25   Insurance - Automobile               4,002.50      0.17%      4,002.50     0.23%         0.00           0.00      0.00%       4,002.50
            46.00      0.02%         0.00    0.00%       46.00            0.00      0.00%           46.00   Insurance - Crime                      138.00      0.01%          0.00     0.00%       138.00           0.00      0.00%         138.00
           526.50      0.17%       125.00    0.05%      401.50            0.00      0.00%          526.50   Insurance - Employment               1,997.48      0.09%      1,250.00     0.07%       747.48           0.00      0.00%       1,997.48
         1,455.58      0.48%     1,270.50    0.52%      185.08            0.00      0.00%        1,455.58   Insurance - General Liability       14,512.25      0.63%     12,705.00     0.73%     1,807.25           0.00      0.00%      14,512.25
         2,313.42      0.77%     2,313.42    0.95%         0.00           0.00      0.00%        2,313.42   Insurance - Property                23,134.17      1.01%     23,134.20     1.34%        -0.03           0.00      0.00%      23,134.17
         2,262.75      0.75%     2,198.75    0.90%       64.00            0.00      0.00%        2,262.75   Insurance - Umbrella                22,179.50      0.97%     21,987.50     1.27%       192.00           0.00      0.00%      22,179.50
        7,419.17      2.45%     6,307.92    2.59%    1,111.25        5,003.72      2.88%        2,415.45    Total Insurance                    67,207.91      2.92%     63,079.20     3.64%     4,128.71      49,053.07      3.60%      18,154.84
        18,674.00      6.18%    18,673.50    7.66%         0.50      18,262.60     10.50%          411.40   Ground Lease Expense               185,096.00      8.06%    185,091.36    10.68%         4.64     181,420.38     13.32%       3,675.62
           913.23      0.30%       892.00    0.37%       21.23          892.06      0.51%           21.17   Vehicle Leases                       9,433.90      0.41%      8,920.00     0.51%       513.90       6,284.98      0.46%       3,148.92
       19,587.23      6.48%    19,565.50    8.03%        21.73      19,154.66     11.02%          432.57    Total Leases & Rent               194,529.90      8.47%    194,011.36    11.20%       518.54     187,705.36     13.78%       6,824.54
         9,571.09      3.17%     7,309.97    3.00%    2,261.12        4,347.00      2.50%        5,224.09   Management Fee - Base               78,578.90      3.42%     58,253.78     3.36%    20,325.12      34,021.00      2.50%      44,557.90
             0.00      0.00%         0.00    0.00%         0.00       3,726.05      2.14%       -3,726.05   Management Fee - Incentive               0.00      0.00%          0.00     0.00%         0.00      10,996.50      0.81%     -10,996.50
        9,571.09      3.17%     7,309.97    3.00%    2,261.12        8,073.05      4.64%        1,498.04    Total Management Fees              78,578.90      3.42%     58,253.78     3.36%    20,325.12      45,017.50      3.31%      33,561.40
             0.00      0.00%         0.00    0.00%         0.00      14,989.27      8.62%      -14,989.27   Capital Reserve                      6,631.20      0.29%          0.00     0.00%     6,631.20     149,892.70     11.01%    -143,261.50
             0.00      0.00%         0.00    0.00%         0.00      26,808.00     15.42%      -26,808.00   (Gain)/Loss-Insurance                    0.00      0.00%          0.00     0.00%         0.00     268,080.00     19.69%    -268,080.00
           790.56      0.26%         0.00    0.00%      790.56          109.00      0.06%          681.56   Owner's Expense                      1,739.73      0.08%          0.00     0.00%     1,739.73      12,559.41      0.92%     -10,819.68
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Non Recurring Cost                       0.00      0.00%          0.00     0.00%         0.00        -285.98     -0.02%         285.98
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Extraordinary Expense                    0.00      0.00%          0.00     0.00%         0.00      27,031.17      1.99%     -27,031.17
          790.56      0.26%          0.00   0.00%      790.56       41,906.27     24.10%      -41,115.71    Total Other Non-Operating           8,370.93      0.36%           0.00    0.00%     8,370.93     457,277.30     33.58%    -448,906.37




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                                                                                         Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                             P&L - Dual Summary Pages
                                                                                                                  As of 10/31/2021
             PTD      %        PTD Budget      %           Variance   PTD Last Year     %           Variance                                                        YTD      %          YTD Budget %                Variance    YTD Last Year    %             Variance

                                                                                                               Statistics
           197.00                   197.00                    0.00          197.00                     0.00    # Rooms                                            197.00                    197.00                      0.00          197.00                       0.00
         6,107.00                 6,107.00                    0.00        6,107.00                     0.00    Available Rooms                                 59,888.00                 59,888.00                      0.00       60,085.00                    -197.00
         2,145.00                 2,736.00                 -591.00        1,709.00                   436.00    Room Nights Sold                                23,350.00                 17,182.00                  6,168.00       13,869.00                   9,481.00
          35.12%                   44.80%                  -9.68%          27.98%                    7.14%     Occupancy %                                       38.99%                    28.69%                    10.30%          23.08%                     15.91%
            89.53                    87.40                    2.13           71.68                    17.85    ADR                                                 79.67                     83.15                     -3.48           79.72                      -0.06
            31.45                    39.16                   -7.71           20.06                    11.39    RevPar                                              31.06                     23.86                      7.21           18.40                      12.66

                                                                                                               Summary V.11
                                                                                                               Revenue
       192,038.40    94.35%    239,125.00     95.18%    -47,086.60      122,497.57     96.81%      69,540.83   Rooms                                        1,860,267.03    94.42%     1,428,660.13    94.07%     431,606.90    1,105,695.02    91.77%      754,572.01
         5,069.36     2.49%     10,500.00      4.18%     -5,430.64          574.55      0.45%       4,494.81   F&B                                             33,802.00     1.72%        78,650.00     5.18%     -44,848.00       60,212.60     5.00%      -26,410.60
         6,439.43     3.16%      1,606.20      0.64%      4,833.23        3,455.37      2.73%       2,984.06   Other Departments                               76,168.93     3.87%        11,481.90     0.76%      64,687.03       38,948.71     3.23%       37,220.22

      203,547.19    100.00%    251,231.20    100.00%    -47,684.01     126,527.49     100.00%     77,019.70    Total Operating Revenue                     1,970,237.96    100.00%    1,518,792.03 100.00%       451,445.93    1,204,856.33 100.00%        765,381.63

                                                                                                               Departmental Expenses
        45,585.83    23.74%     65,088.58     27.22%    -19,502.75       36,665.40     29.93%       8,920.43   Rooms                                         463,781.63     24.93%      499,888.08     34.99%     -36,106.45      379,827.19    34.35%        83,954.44
         6,995.54   138.00%     11,757.64    111.98%     -4,762.10          248.30     43.22%       6,747.24   F&B                                            65,201.55    192.89%      113,656.55    144.51%     -48,455.00       58,869.83    97.77%         6,331.72
         3,955.00    61.42%      3,698.78    230.28%        256.22        4,362.97    126.27%        -407.97   Other Departments                              38,629.45     50.72%       34,010.75    296.21%       4,618.70       37,109.12    95.28%         1,520.33

       56,536.37    27.78%      80,545.00    32.06%     -24,008.63      41,276.67      32.62%     15,259.70    Total Departmental Expenses                  567,612.63     28.81%      647,555.38     42.64%     -79,942.75      475,806.14     39.49%       91,806.49

      147,010.82    72.22%     170,686.20    67.94%     -23,675.38      85,250.82      67.38%     61,760.00    Total Departmental Profit                   1,402,625.33    71.19%      871,236.65     57.36%     531,388.68      729,050.19     60.51%     673,575.14

                                                                                                               Undistributed Operating Expenses
        33,904.60    16.66%     28,480.71     11.34%       5,423.89      16,035.90     12.67%      17,868.70   A&G                                           286,210.90     14.53%      257,204.17     16.93%      29,006.73      260,676.41    21.64%        25,534.49
             0.00     0.00%          0.00      0.00%           0.00           0.00      0.00%           0.00   IT                                                  0.00      0.00%            0.00      0.00%           0.00            0.00     0.00%             0.00
         8,941.76     4.39%      8,525.89      3.39%         415.87         884.23      0.70%       8,057.53   S&M                                           117,472.83      5.96%      106,003.46      6.98%      11,469.37       47,426.45     3.94%        70,046.38
        27,290.39    13.41%     33,050.73     13.16%      -5,760.34      19,747.27     15.61%       7,543.12   Franchise Fees                                257,393.80     13.06%      200,750.13     13.22%      56,643.67      159,406.61    13.23%        97,987.19
        12,419.36     6.10%     14,711.53      5.86%      -2,292.17       8,188.98      6.47%       4,230.38   R&M                                           123,531.10      6.27%      155,671.08     10.25%     -32,139.98      135,620.85    11.26%       -12,089.75
        14,525.37     7.14%     16,908.48      6.73%      -2,383.11      16,649.06     13.16%      -2,123.69   Utilities                                     148,339.23      7.53%      106,184.76      6.99%      42,154.47      132,200.52    10.97%        16,138.71

       97,081.48    47.69%     101,677.34    40.47%      -4,595.86      61,505.44      48.61%     35,576.04    Total Undistributed Expenses                 932,947.86     47.35%      825,813.60     54.37%     107,134.26      735,330.84     61.03%     197,617.02

       49,929.34    24.53%      69,008.86    27.47%     -19,079.52      23,745.38      18.77%     26,183.96    Gross Operating Profit                    469,677.47        23.84%       45,423.05       2.99%    424,254.42       -6,280.65     -0.52%     475,958.12
         6,606.42     3.25%       7,536.94     3.00%        -930.52       6,861.55       5.42%       -255.13   Management Fees                             68,686.43         3.49%       50,974.27       3.36%     17,712.16       41,060.00      3.41%      27,626.43
       43,322.92    21.28%      61,471.92    24.47%     -18,149.00      16,883.83      13.34%     26,439.09    Income Before Non-Operating Income and Expenses
                                                                                                                                                         400,991.04        20.35%       -5,551.22      -0.37%    406,542.26      -47,340.65     -3.93%     448,331.69

                                                                                                               Non-Operating Income and Expenses
        10,629.09     5.22%       9,605.00     3.82%       1,024.09       7,045.10       5.57%      3,583.99   Insurance                                     100,965.26      5.12%       96,050.00      6.32%       4,915.26       69,599.01   5.78%          31,366.25
        53,873.00    26.47%      53,873.00    21.44%           0.00      52,431.49      41.44%      1,441.51   Leases & Rent                                 532,962.00     27.05%      532,962.00     35.09%           0.00      520,105.09  43.17%          12,856.91
         4,642.46     2.28%           0.00     0.00%       4,642.46     103,918.43      82.13%    -99,275.97   Other                                          43,692.77      2.22%            0.00      0.00%      43,692.77    1,061,989.43  88.14%      -1,018,296.66
       69,144.55    33.97%      63,478.00    25.27%       5,666.55     163,395.02     129.14%    -94,250.47    Total Non-Operating Income and Expenses      677,620.03     34.39%      629,012.00     41.42%      48,608.03    1,651,693.53 137.09%        -974,073.50

      -25,821.63    -12.69%     -2,006.08     -0.80%    -23,815.55    -146,511.19 -115.79%       120,689.56    EBITDA                                       -276,628.99    -14.04%    -634,563.22 -41.78%        357,934.23    -1,699,034.18 -141.02%     1,422,405.19
             0.00      0.00%          0.00      0.00%         0.00       36,500.00   28.85%       -36,500.00   Interest                                             0.00      0.00%           0.00   0.00%             0.00        363,496.04   30.17%      -363,496.04
        18,135.00      8.91%     18,135.00      7.22%         0.00       17,507.75   13.84%           627.25   Taxes                                          181,350.00      9.20%     181,350.00  11.94%             0.00        213,000.42   17.68%       -31,650.42
             0.00      0.00%          0.00      0.00%         0.00        3,267.00    2.58%        -3,267.00   Amortization                                         0.00      0.00%           0.00   0.00%             0.00         32,670.00    2.71%       -32,670.00
       18,135.00      8.91%     18,135.00      7.22%          0.00      57,274.75   45.27%       -39,139.75    Interest, Taxes, Depreciation and Amortization181,350.00      9.20%     181,350.00 11.94%               0.00       609,166.46   50.56%      -427,816.46

      -43,956.63    -21.60%    -20,141.08     -8.02%    -23,815.55    -203,785.94 -161.06%       159,829.31    Net Income                                   -457,978.99    -23.24%    -815,913.22 -53.72%        357,934.23    -2,308,200.64 -191.57%     1,850,221.65




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                                                                                    Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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             PTD      %       PTD Budget    %          Variance   PTD Last Year    %           Variance                                           YTD     %         YTD Budget %               Variance   YTD Last Year     %         Variance

                                                                                                          Statistics
           197.00                 197.00                  0.00          197.00                    0.00    # Rooms                              197.00                   197.00                     0.00         197.00                    0.00
         6,107.00               6,107.00                  0.00        6,107.00                    0.00    Available Rooms                   59,888.00                59,888.00                     0.00      60,085.00                 -197.00
         2,145.00               2,736.00               -591.00        1,709.00                  436.00    Room Nights Sold                  23,350.00                17,182.00                 6,168.00      13,869.00                9,481.00
             0.35                   0.45                 -0.10            0.28                    0.07    Occupancy %                            0.39                     0.29                     0.10           0.23                    0.16
            89.53                  87.40                  2.13           71.68                   17.85    ADR                                   79.67                    83.15                    -3.48          79.72                   -0.06
            31.45                  39.16                 -7.71           20.06                   11.39    RevPar                                31.06                    23.86                     7.21          18.40                   12.66

                                                                                                          Summary
                                                                                                          Revenue:
       192,038.40    94.35%   239,125.00   95.18%    -47,086.60     122,497.57    96.81%      69,540.83   Rooms                           1,860,267.03   94.42%    1,428,660.13    94.07%   431,606.90    1,105,695.02    91.77%    754,572.01
         3,657.89     1.80%     6,200.00    2.47%     -2,542.11           8.30     0.01%       3,649.59   Food                               17,584.36    0.89%       49,450.00     3.26%   -31,865.64       39,048.60     3.24%    -21,464.24
         1,411.47     0.69%     3,850.00    1.53%     -2,438.53         366.25     0.29%       1,045.22   Beverage                           10,004.42    0.51%       26,050.00     1.72%   -16,045.58       16,729.46     1.39%     -6,725.04
             0.00     0.00%       450.00    0.18%       -450.00         200.00     0.16%        -200.00   Other F&B Revenue                   6,213.22    0.32%        3,150.00     0.21%     3,063.22        4,434.54     0.37%      1,778.68
          -302.77    -0.15%         0.00    0.00%       -302.77           0.50     0.00%        -303.27   Telephone                             559.86    0.03%            0.00     0.00%       559.86           48.80     0.00%        511.06
         6,742.20     3.31%     1,606.20    0.64%      5,136.00       3,454.87     2.73%       3,287.33   Other                              75,609.07    3.84%       11,481.90     0.76%    64,127.17       38,899.91     3.23%     36,709.16

       203,547.19   100.00%   251,231.20   100.00%   -47,684.01     126,527.49    100.00%     77,019.70   Total Revenue                   1,970,237.96   100.00%   1,518,792.03   100.00%   451,445.93    1,204,856.33    100.00%   765,381.63



                                                                                                          Cost of Sales:
         2,950.47    80.66%     1,674.00   27.00%     1,276.47            0.00     0.00%       2,950.47   Food                              14,733.73    83.79%      13,351.50     27.00%     1,382.23       18,861.30    48.30%     -4,127.57
           276.09    19.56%       924.00   24.00%      -647.91          111.00    30.31%         165.09   Beverage                           8,305.40    83.02%       6,252.00     24.00%     2,053.40        6,148.45    36.75%      2,156.95
             0.00     0.00%         0.00    0.00%         0.00            0.00     0.00%           0.00   Other F&B                            559.40     9.00%           0.00      0.00%       559.40            0.00     0.00%        559.40
         1,556.87    24.18%     1,495.00   93.08%        61.87        1,495.39    43.28%          61.48   Telephone                         16,364.01    21.48%      14,950.00    130.20%     1,414.01       14,572.78    37.42%      1,791.23
         1,905.63    29.59%       832.78   51.85%     1,072.85          304.27     8.81%       1,601.36   Other                             17,489.54    22.96%       5,350.75     46.60%    12,138.79        7,248.03    18.61%     10,241.51

         6,689.06   103.88%     4,925.78   306.67%    1,763.28        1,910.66    55.30%       4,778.40   Total Cost of Sales               57,452.08    75.43%      39,904.25    347.54%    17,547.83       46,830.56    120.24%    10,621.52



                                                                                                          Payroll:
        27,091.57    14.11%    35,513.37   14.85%     -8,421.80      21,988.22    17.95%       5,103.35   Rooms                            265,941.43    14.30%     290,266.80     20.32%    -24,325.37     214,433.86    19.39%     51,507.57
         1,953.86    38.54%     6,820.00   64.95%     -4,866.14           0.00     0.00%       1,953.86   F&B                               17,420.96    51.54%      66,880.00     85.03%    -49,459.04      22,515.33    37.39%     -5,094.37
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%           0.00   Other                                  0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        10,219.77     5.02%    10,731.35    4.27%       -511.58       4,025.36     3.18%       6,194.41   A&G                               99,881.33     5.07%     104,709.70      6.89%     -4,828.37      90,141.30     7.48%      9,740.03
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%           0.00   IT                                     0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         5,535.71     2.72%     5,365.67    2.14%        170.04           0.00     0.00%       5,535.71   S&M                               53,750.00     2.73%      52,354.84      3.45%      1,395.16      22,992.48     1.91%     30,757.52
         6,313.95     3.10%     6,726.13    2.68%       -412.18       4,703.17     3.72%       1,610.78   R&M                               40,670.85     2.06%      65,777.12      4.33%    -25,106.27      54,249.20     4.50%    -13,578.35
        51,114.86    25.11%    65,156.52   25.93%    -14,041.66      30,716.75    24.28%      20,398.11   Total Salaries and Wages         477,664.57    24.24%     579,988.46     38.19%   -102,323.89     404,332.17    33.56%     73,332.40

        11,463.34     5.63%     9,548.94    3.80%      1,914.40       8,709.84     6.88%       2,753.50   Total Taxes and Benefits         115,001.73     5.84%      92,564.22      6.09%     22,437.51     148,287.77    12.31%    -33,286.04
        62,578.20    30.74%    74,705.46   29.74%    -12,127.26      39,426.59    31.16%      23,151.61   Total Labor Costs                592,666.30    30.08%     672,552.68     44.28%    -79,886.38     552,619.94    45.87%     40,046.36



                                                                                                          Direct Expenses:
        12,841.39     6.69%    24,603.45   10.29%    -11,762.06      10,673.86     8.71%       2,167.53   Rooms                            138,679.51     7.45%     164,908.03     11.54%    -26,228.52      97,912.93     8.86%     40,766.58
         1,084.33    21.39%     1,412.50   13.45%       -328.17         137.30    23.90%         947.03   F&B                               18,474.16    54.65%      17,673.75     22.47%        800.41       5,807.19     9.64%     12,666.97
           492.50     7.65%     1,371.00   85.36%       -878.50       2,563.31    74.18%      -2,070.81   Telephone                          4,775.90     6.27%      13,710.00    119.41%     -8,934.10      15,288.31    39.25%    -10,512.41
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%           0.00   Other                                  0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        27,290.39    13.41%    33,050.73   13.16%     -5,760.34      19,747.27    15.61%       7,543.12   Franchise Fees                   257,393.80    13.06%     200,750.13     13.22%     56,643.67     159,406.61    13.23%     97,987.19
        21,374.88    10.50%    15,970.94    6.36%      5,403.94       8,370.49     6.62%      13,004.39   A&G                              163,656.68     8.31%     133,809.38      8.81%     29,847.30     119,133.49     9.89%     44,523.19
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%           0.00   IT                                     0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         2,202.68     1.08%     2,271.00    0.90%        -68.32         884.23     0.70%       1,318.45   S&M                               46,429.34     2.36%      44,306.00      2.92%      2,123.34      16,303.71     1.35%     30,125.63
         4,539.05     2.23%     7,003.00    2.79%     -2,463.95       2,419.34     1.91%       2,119.71   R&M                               72,693.49     3.69%      79,570.00      5.24%     -6,876.51      65,633.72     5.45%      7,059.77
        14,525.37     7.14%    16,908.48    6.73%     -2,383.11      16,649.06    13.16%      -2,123.69   Utilities                        148,339.23     7.53%     106,184.76      6.99%     42,154.47     132,200.52    10.97%     16,138.71

        84,350.59    41.44%   102,591.10   40.84%    -18,240.51      61,444.86    48.56%      22,905.73   Total Direct Expense             850,442.11    43.16%     760,912.05     50.10%    89,530.06      611,686.48    50.77%    238,755.63

        49,929.34    24.53%    69,008.86   27.47%    -19,079.52      23,745.38    18.77%      26,183.96   Gross Operating Profit           469,677.47    23.84%      45,423.05     2.99%    424,254.42       -6,280.65     -0.52%   475,958.12

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                                                                                                             As of 10/31/2021
             PTD      %       PTD Budget   %          Variance   PTD Last Year     %           Variance                                           YTD     %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                          Fixed Costs
        18,135.00     8.91%    18,135.00    7.22%        0.00       17,507.75     13.84%         627.25   Taxes                            181,350.00     9.20%    181,350.00     11.94%         0.00     213,000.42    17.68%      -31,650.42
        10,629.09     5.22%     9,605.00    3.82%    1,024.09        7,045.10      5.57%       3,583.99   Insurance                        100,965.26     5.12%     96,050.00      6.32%     4,915.26      69,599.01     5.78%       31,366.25
        53,873.00    26.47%    53,873.00   21.44%        0.00       52,431.49     41.44%       1,441.51   Leases & Rent                    532,962.00    27.05%    532,962.00     35.09%         0.00     520,105.09    43.17%       12,856.91
         6,606.42     3.25%     7,536.94    3.00%     -930.52        6,861.55      5.42%        -255.13   Management Fees                   68,686.43     3.49%     50,974.27      3.36%    17,712.16      41,060.00     3.41%       27,626.43

        89,243.51    43.84%    89,149.94   35.49%       93.57       83,845.89     66.27%       5,397.62   Total Fixed Expenses             883,963.69    44.87%    861,336.27     56.71%    22,627.42     843,764.52    70.03%      40,199.17

       -39,314.17   -19.31%   -20,141.08   -8.02%   -19,173.09     -60,100.51     -47.50%     20,786.34   Net Operating Profit             -414,286.22   -21.03%   -815,913.22   -53.72%   401,627.00    -850,045.17    -70.55%    435,758.95



             0.00     0.00%         0.00   0.00%         0.00       36,500.00     28.85%     -36,500.00   Interest Expense - Other                0.00     0.00%          0.00    0.00%          0.00     363,496.04    30.17%    -363,496.04
             0.00     0.00%         0.00   0.00%         0.00            0.00      0.00%           0.00   Owner's Expense                     5,584.08     0.28%          0.00    0.00%      5,584.08      18,599.63     1.54%     -13,015.55
             0.00     0.00%         0.00   0.00%         0.00            0.00      0.00%           0.00   Extraordinary Expense                   0.00     0.00%          0.00    0.00%          0.00       4,205.50     0.35%      -4,205.50
             0.00     0.00%         0.00   0.00%         0.00            0.00      0.00%           0.00   Prior Owner's Expense                 317.20     0.02%          0.00    0.00%        317.20           0.00     0.00%         317.20



       -39,314.17   -19.31%   -20,141.08   -8.02%   -19,173.09     -96,600.51     -76.35%     57,286.34   Net Operating Income             -420,187.50   -21.33%   -815,913.22   -53.72%   395,725.72   -1,236,346.34 -102.61%     816,158.84

         4,642.46     2.28%         0.00   0.00%     4,642.46       10,942.43      8.65%      -6,299.97   Capital Reserve                   37,791.49      1.92%          0.00    0.00%     37,791.49     109,424.30     9.08%     -71,632.81
             0.00     0.00%         0.00   0.00%         0.00       92,976.00     73.48%     -92,976.00   (Gain)/Loss-Insurance                  0.00      0.00%          0.00    0.00%          0.00     929,760.00    77.17%    -929,760.00

       -43,956.63   -21.60%   -20,141.08   -8.02%   -23,815.55    -200,518.94    -158.48%    156,562.31   Adjusted NOI                     -457,978.99   -23.24%   -815,913.22   -53.72%   357,934.23   -2,275,530.64 -188.86%    1,817,551.65



             0.00     0.00%         0.00   0.00%         0.00        3,267.00      2.58%      -3,267.00   Amortization                            0.00     0.00%          0.00    0.00%          0.00      32,670.00     2.71%      -32,670.00



       -43,956.63   -21.60%   -20,141.08   -8.02%   -23,815.55    -203,785.94    -161.06%    159,829.31   Net Profit/(Loss)                -457,978.99   -23.24%   -815,913.22   -53.72%   357,934.23   -2,308,200.64 -191.57%    1,850,221.65




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                                                                                      Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget     %         Variance   PTD Last Year     %           Variance                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                            Rooms
                                                                                                            Room Revenue
                                                                                                            Transient Room Revenue
         9,567.22     4.98%          0.00     0.00%     9,567.22           0.00      0.00%       9,567.22   Corporate Transient                  171,562.32     9.22%           0.00      0.00%    171,562.32           0.00     0.00%    171,562.32
         8,018.04     4.18%     21,700.00     9.07%   -13,681.96           0.00      0.00%       8,018.04   Advanced Purchase                    146,187.60     7.86%      95,933.00      6.71%     50,254.60           0.00     0.00%    146,187.60
         6,509.35     3.39%     21,700.00     9.07%   -15,190.65           0.00      0.00%       6,509.35   AAA/AARP Transient                   111,908.56     6.02%      88,040.40      6.16%     23,868.16           0.00     0.00%    111,908.56
             0.00     0.00%     16,443.00     6.88%   -16,443.00           0.00      0.00%           0.00   FIT(Flexible Independent Travel)           0.00     0.00%      34,996.00      2.45%    -34,996.00           0.00     0.00%          0.00
         2,451.00     1.28%      3,675.00     1.54%    -1,224.00           0.00      0.00%       2,451.00   Employee                              39,059.60     2.10%      35,244.00      2.47%      3,815.60           0.00     0.00%     39,059.60
        27,817.78    14.49%          0.00     0.00%    27,817.78           0.00      0.00%      27,817.78   Leisure Transient                     36,387.46     1.96%           0.00      0.00%     36,387.46           0.00     0.00%     36,387.46
           254.70     0.13%          0.00     0.00%       254.70           0.00      0.00%         254.70   Travel Agent/Friends & Family         22,563.80     1.21%           0.00      0.00%     22,563.80           0.00     0.00%     22,563.80
         2,553.00     1.33%          0.00     0.00%     2,553.00           0.00      0.00%       2,553.00   Leisure Package Transient             46,153.00     2.48%         252.00      0.02%     45,901.00           0.00     0.00%     46,153.00
         2,588.80     1.35%      2,714.00     1.13%      -125.20       2,652.00      2.16%         -63.20   Member Reward Stay                    28,783.00     1.55%      16,046.00      1.12%     12,737.00      14,870.74     1.34%     13,912.26
             0.00     0.00%     26,350.00    11.02%   -26,350.00      38,824.00     31.69%     -38,824.00   Extended Stay Transient                    0.00     0.00%     115,526.00      8.09%   -115,526.00     253,040.42    22.89%   -253,040.42
             0.00     0.00%     27,965.00    11.69%   -27,965.00           0.00      0.00%           0.00   Internet/E-Commerce                        0.00     0.00%     148,483.00     10.39%   -148,483.00           0.00     0.00%          0.00
        10,336.72     5.38%     13,020.00     5.44%    -2,683.28           0.00      0.00%      10,336.72   E-Commerce Opaque                    279,622.03    15.03%      82,963.20      5.81%    196,658.83           0.00     0.00%    279,622.03
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%           0.00   Other Transient                       21,429.54     1.15%           0.00      0.00%     21,429.54           0.00     0.00%     21,429.54
           584.00     0.30%          0.00     0.00%       584.00           0.00      0.00%         584.00   Government Transient                   9,377.00     0.50%       7,014.00      0.49%      2,363.00           0.00     0.00%      9,377.00
       110,013.35    57.29%     61,938.00    25.90%    48,075.35      58,496.97     47.75%      51,516.38   Rack Transient                       815,926.88    43.86%     580,067.00     40.60%    235,859.88     635,347.26    57.46%    180,579.62
         2,861.45     1.49%     43,620.00    18.24%   -40,758.55      16,414.00     13.40%     -13,552.55   Local Negotiated Transient             2,930.45     0.16%     218,306.00     15.28%   -215,375.55     136,691.26    12.36%   -133,760.81

      183,555.41    95.58%     239,125.00   100.00%   -55,569.59    116,386.97     95.01%      67,168.44    Total Transient Room Revenue       1,731,891.24   93.10%    1,422,870.60   99.59%     309,020.64    1,039,949.68    94.05%   691,941.56

                                                                                                            Group Room Revenue
         6,685.00     3.48%          0.00     0.00%     6,685.00       4,819.00      3.93%      1,866.00    Corporate Group                      120,489.94     6.48%           0.00     0.00%    120,489.94       49,289.00     4.46%     71,200.94
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00    Leisure Group                            158.00     0.01%           0.00     0.00%        158.00            0.00     0.00%        158.00
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00    Government Group                           0.00     0.00%           0.00     0.00%          0.00       10,924.00     0.99%    -10,924.00
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00    SMERF Group                                0.00     0.00%       2,270.00     0.16%     -2,270.00            0.00     0.00%          0.00
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00    Sports Group                               0.00     0.00%       3,110.00     0.22%     -3,110.00            0.00     0.00%          0.00

        6,685.00      3.48%          0.00    0.00%     6,685.00       4,819.00      3.93%       1,866.00    Total Group Room Revenue            120,647.94     6.49%        5,380.00     0.38%    115,267.94      60,213.00     5.45%     60,434.94

                                                                                                            Contract Room Revenue
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%          0.00    Other Contract                         4,736.10     0.25%         409.53     0.03%       4,326.57           0.00     0.00%      4,736.10

            0.00      0.00%          0.00    0.00%         0.00            0.00     0.00%           0.00    Total Contract Room Revenue            4,736.10    0.25%         409.53      0.03%      4,326.57            0.00    0.00%      4,736.10

                                                                                                            Other Room Revenue
         2,649.20     1.38%          0.00     0.00%     2,649.20       1,291.60      1.05%      1,357.60    No-Show Rooms                         11,393.33     0.61%           0.00     0.00%     11,393.33        6,281.73     0.57%      5,111.60
           250.00     0.13%          0.00     0.00%       250.00           0.00      0.00%        250.00    Pet/Smoking/Damage Fees                1,500.00     0.08%           0.00     0.00%      1,500.00            0.00     0.00%      1,500.00

        2,899.20      1.51%          0.00    0.00%     2,899.20       1,291.60      1.05%       1,607.60    Total Other Room Revenue             12,893.33     0.69%            0.00     0.00%     12,893.33        6,281.73    0.57%      6,611.60

        -1,101.21     -0.57%         0.00     0.00%    -1,101.21           0.00      0.00%      -1,101.21   Less: Allowances                      -9,901.58    -0.53%           0.00     0.00%      -9,901.58        -749.39    -0.07%     -9,152.19

      192,038.40    100.00%    239,125.00   100.00%   -47,086.60    122,497.57     100.00%     69,540.83    Total Room Revenue                 1,860,267.03   100.00%   1,428,660.13 100.00%      431,606.90    1,105,695.02 100.00%     754,572.01

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         3,406.63      1.77%         0.00     0.00%     3,406.63           0.00      0.00%       3,406.63   Front Office Management               16,923.28     0.91%           0.00      0.00%     16,923.28           0.00     0.00%     16,923.28
             0.00      0.00%         0.00     0.00%         0.00         358.73      0.29%        -358.73   Revenue Management                         0.00     0.00%           0.00      0.00%          0.00       5,271.11     0.48%     -5,271.11
             0.00      0.00%     3,473.37     1.45%    -3,473.37       5,631.55      4.60%      -5,631.55   Housekeeping Management                6,153.84     0.33%      33,958.80      2.38%    -27,804.96      49,606.76     4.49%    -43,452.92
        3,406.63      1.77%     3,473.37     1.45%        -66.74      5,990.28      4.89%      -2,583.65    Total Rooms Management               23,077.12     1.24%      33,958.80      2.38%    -10,881.68      54,877.87     4.96%    -31,800.75
         9,983.76      5.20%     3,826.29     1.60%     6,157.47       2,311.89      1.89%       7,671.87   Front Office Agents                   91,010.03     4.89%      37,522.32      2.63%     53,487.71      18,977.83     1.72%     72,032.20
             0.00      0.00%     2,480.00     1.04%    -2,480.00       2,407.34      1.97%      -2,407.34   Front Office Supervisors                   0.00     0.00%      24,320.00      1.70%    -24,320.00      22,454.89     2.03%    -22,454.89
             0.00      0.00%     3,224.00     1.35%    -3,224.00       2,817.83      2.30%      -2,817.83   Night Auditors                             0.00     0.00%      31,616.00      2.21%    -31,616.00      29,729.64     2.69%    -29,729.64
        9,983.76      5.20%     9,530.29     3.99%       453.47       7,537.06      6.15%       2,446.70    Total Rooms Front Office             91,010.03     4.89%      93,458.32      6.54%     -2,448.29      71,162.36     6.44%     19,847.67
             0.00      0.00%       992.00     0.41%      -992.00       1,999.69      1.63%      -1,999.69   Housekeeping Supervisors                   0.00     0.00%       9,728.00      0.68%     -9,728.00       9,783.94     0.88%     -9,783.94
        13,701.18      7.13%    16,416.00     6.87%    -2,714.82       4,473.03      3.65%       9,228.15   Room Attendants                      151,854.28     8.16%     103,092.00      7.22%     48,762.28      48,473.41     4.38%    103,380.87
             0.00      0.00%     2,125.71     0.89%    -2,125.71       1,882.72      1.54%      -1,882.72   Housepersons                               0.00     0.00%      20,845.68      1.46%    -20,845.68      21,181.61     1.92%    -21,181.61
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             PTD      %        PTD Budget     %          Variance   PTD Last Year    %           Variance                                                 YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance

            0.00       0.00%      2,976.00    1.24%     -2,976.00         105.44     0.09%        -105.44   Laundry Attendants                           0.00     0.00%     29,184.00     2.04%    -29,184.00       8,954.67     0.81%     -8,954.67
       13,701.18      7.13%     22,509.71    9.41%     -8,808.53       8,460.88     6.91%       5,240.30    Total Rooms Housekeeping               151,854.28    8.16%    162,849.68    11.40%    -10,995.40      88,393.63     7.99%     63,460.65

       27,091.57    14.11%      35,513.37    14.85%    -8,421.80      21,988.22     17.95%      5,103.35    Total Rooms Salary and Wages           265,941.43    14.30%   290,266.80    20.32%    -24,325.37     214,433.86     19.39%    51,507.57

                                                                                                            PR Taxes and Benefits
         2,032.27      1.06%      2,727.78    1.14%      -695.51        1,646.20     1.34%         386.07   FICA                                     18,895.00    1.02%     22,365.11     1.57%     -3,470.11      17,824.02     1.61%      1,070.98
            28.48      0.01%         14.98    0.01%        13.50            0.00     0.00%          28.48   Federal Unemployment Tax                    614.25    0.03%        417.66     0.03%        196.59           0.00     0.00%        614.25
           161.22      0.08%         35.66    0.01%       125.56            0.00     0.00%         161.22   State Unemployment Tax                    3,309.84    0.18%      1,290.41     0.09%      2,019.43           0.00     0.00%      3,309.84
        2,221.97      1.16%      2,778.42    1.16%      -556.45        1,646.20     1.34%         575.77    Total Payroll Taxes                     22,819.09    1.23%     24,073.18     1.69%     -1,254.09      17,824.02     1.61%      4,995.07
             0.00      0.00%          0.00    0.00%         0.00            0.00     0.00%           0.00   Holiday                                       0.00    0.00%        600.00     0.04%       -600.00       3,952.48     0.36%     -3,952.48
             0.00      0.00%        136.22    0.06%      -136.22        1,894.34     1.55%      -1,894.34   Vacation                                      0.00    0.00%      1,438.46     0.10%     -1,438.46      29,113.21     2.63%    -29,113.21
             0.00     0.00%        136.22    0.06%      -136.22        1,894.34     1.55%      -1,894.34    Total Supplemental Pay                        0.00   0.00%      2,038.46     0.14%     -2,038.46      33,065.69     2.99%    -33,065.69
         1,827.00      0.95%      1,564.67    0.65%       262.33            0.00     0.00%       1,827.00   Worker's Compensation                    15,780.74    0.85%     13,841.26     0.97%      1,939.48           0.00     0.00%     15,780.74
         1,603.90      0.84%        492.45    0.21%     1,111.45          462.78     0.38%       1,141.12   Group Insurance                          20,560.86    1.11%      4,760.35     0.33%     15,800.51      16,238.37     1.47%      4,322.49
             0.00      0.00%          0.00    0.00%         0.00            0.00     0.00%           0.00   Bonus and Incentive Pay                       0.00    0.00%          0.00     0.00%          0.00         352.32     0.03%       -352.32
        3,430.90      1.79%      2,057.12    0.86%     1,373.78          462.78     0.38%       2,968.12    Total Other Benefits                    36,341.60    1.95%     18,601.61     1.30%     17,739.99      16,590.69     1.50%     19,750.91

        5,652.87      2.94%      4,971.76    2.08%       681.11        4,003.32     3.27%       1,649.55    Total Rooms PR Taxes and Benefits       59,160.69    3.18%     44,713.25     3.13%     14,447.44      67,480.40     6.10%     -8,319.71

       32,744.44    17.05%      40,485.13    16.93%    -7,740.69      25,991.54     21.22%      6,752.90    Total Rooms Labor Costs                325,102.12    17.48%   334,980.05    23.45%     -9,877.93     281,914.26     25.50%    43,187.86

                                                                                                            Other Expenses
            35.92     0.02%        957.60     0.40%      -921.68            0.00     0.00%          35.92   Breakfast /Comp Cost                      5,769.59    0.31%      6,013.70    0.42%        -244.11           0.00     0.00%     5,769.59
           193.93     0.10%      1,778.40     0.74%    -1,584.47          122.91     0.10%          71.02   Cleaning Supplies                         5,542.64    0.30%     11,168.30    0.78%      -5,625.66       5,582.39     0.50%       -39.75
             0.00     0.00%         44.00     0.02%       -44.00            0.00     0.00%           0.00   Dues and Subscriptions                        0.00    0.00%        440.00    0.03%        -440.00           0.00     0.00%         0.00
         2,124.35     1.11%      3,283.20     1.37%    -1,158.85        1,128.56     0.92%         995.79   Guest Supplies                           19,293.64    1.04%     20,618.40    1.44%      -1,324.76      11,080.60     1.00%     8,213.04
         1,208.55     0.63%        493.00     0.21%       715.55        2,581.50     2.11%      -1,372.95   Internet/Web Expense                     12,103.63    0.65%      4,930.00    0.35%       7,173.63       7,014.00     0.63%     5,089.63
           509.39     0.27%      1,368.00     0.57%      -858.61           35.91     0.03%         473.48   Laundry                                   7,878.41    0.42%      8,591.00    0.60%        -712.59       1,533.72     0.14%     6,344.69
         1,086.35     0.57%      1,504.80     0.63%      -418.45            0.00     0.00%       1,086.35   Linen                                    15,145.26    0.81%      9,450.10    0.66%       5,695.16       2,824.15     0.26%    12,321.11
             0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%           0.00   Newspaper                                     0.00    0.00%          0.00    0.00%           0.00         400.80     0.04%      -400.80
             0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%           0.00   Office Equipment                          2,987.69    0.16%          0.00    0.00%       2,987.69           0.00     0.00%     2,987.69
             0.00     0.00%        100.00     0.04%      -100.00          688.26     0.56%        -688.26   Operating Supplies                            0.00    0.00%      1,000.00    0.07%      -1,000.00       2,196.15     0.20%    -2,196.15
             0.00     0.00%         50.00     0.02%       -50.00            0.00     0.00%           0.00   Printing and Stationery                       0.00    0.00%        500.00    0.03%        -500.00           0.00     0.00%         0.00
             0.00     0.00%          0.00     0.00%         0.00          452.06     0.37%        -452.06   Reservation Expense                           0.00    0.00%          0.00    0.00%           0.00       4,698.53     0.42%    -4,698.53
             0.00     0.00%        547.20     0.23%      -547.20            0.00     0.00%           0.00   Rooms Promotion                              90.74    0.00%      3,436.40    0.24%      -3,345.66       6,113.02     0.55%    -6,022.28
         3,399.29     1.77%      3,347.00     1.40%        52.29        3,346.54     2.73%          52.75   Television Cable                         33,570.90    1.80%     33,470.00    2.34%         100.90      31,971.12     2.89%     1,599.78
         1,697.40     0.88%          0.00     0.00%     1,697.40            0.00     0.00%       1,697.40   Transportation                            1,697.40    0.09%          0.00    0.00%       1,697.40           0.00     0.00%     1,697.40
         1,128.83     0.59%          0.00     0.00%     1,128.83            0.00     0.00%       1,128.83   Travel Agent Comm - Group Rooms           3,573.62    0.19%        115.79    0.01%       3,457.83           0.00     0.00%     3,573.62
         1,414.39     0.74%     10,930.25     4.57%    -9,515.86        2,318.12     1.89%        -903.73   Travel Agent Comm - Transient Rooms      29,776.77    1.60%     63,174.34    4.42%     -33,397.57      24,126.16     2.18%     5,650.61
            42.99     0.02%        200.00     0.08%      -157.01            0.00     0.00%          42.99   Uniforms                                  1,249.22    0.07%      2,000.00    0.14%        -750.78         372.29     0.03%       876.93

       12,841.39      6.69%     24,603.45    10.29%   -11,762.06      10,673.86     8.71%       2,167.53    Total Rooms Other Expenses             138,679.51    7.45%    164,908.03    11.54%    -26,228.52      97,912.93     8.86%     40,766.58

       45,585.83    23.74%      65,088.58    27.22%   -19,502.75      36,665.40     29.93%      8,920.43    Total Rooms Expenses                   463,781.63    24.93%   499,888.08    34.99%    -36,106.45     379,827.19     34.35%    83,954.44

      146,452.57    76.26%     174,036.42    72.78%   -27,583.85      85,832.17     70.07%     60,620.40    Total Rooms Profit (Loss)             1,396,485.40   75.07%   928,772.05    65.01%    467,713.35     725,867.83     65.65%   670,617.57




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                                                                                                 As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                                        YTD    %   YTD Budget %    Variance   YTD Last Year   %     Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
           806.00                 0.00         806.00           0.00                806.00    Room Stat - Corporate Transient                  3,054.00             0.00      3,054.00           0.00          3,054.00
            81.00               217.00        -136.00           0.00                 81.00    Room Stat - Advanced Purchase                    1,906.00         1,158.00        748.00           0.00          1,906.00
            70.00               217.00        -147.00           0.00                 70.00    Room Stat - AAA/AARP Transient                   1,398.00         1,036.00        362.00           0.00          1,398.00
             0.00               261.00        -261.00           0.00                  0.00    Room Stat - FIT(Flexible Independent Travel)         0.00           560.00       -560.00           0.00              0.00
            43.00                75.00         -32.00           0.00                 43.00    Room Stat - Employee                               698.00           718.00        -20.00           0.00            698.00
           328.00                 0.00         328.00           0.00                328.00    Room Stat - Leisure Transient                    1,208.00             0.00      1,208.00           0.00          1,208.00
             0.00                 0.00           0.00           0.00                  0.00    Room Stat - Package Transient                        0.00             4.00         -4.00           0.00              0.00
             3.00                 0.00           3.00           0.00                  3.00    Room Stat - Travel Agent/Friends & Family          338.00             0.00        338.00           0.00            338.00
            87.00               118.00         -31.00           0.00                 87.00    Room Stat - Member Reward Stay                     944.00           723.00        221.00           0.00            944.00
             0.00               310.00        -310.00         729.00               -729.00    Room Stat - Extended Stay Transient                  0.00         1,442.00     -1,442.00       4,356.00         -4,356.00
             0.00               329.00        -329.00           0.00                  0.00    Room Stat - Internet                                 0.00         1,833.00     -1,833.00           0.00              0.00
             0.00                 0.00           0.00           0.00                  0.00    Room Stat - Other Transient                         38.00             0.00         38.00           0.00             38.00
           108.00               186.00         -78.00           0.00                108.00    Room Stat - E-Commerce Opaque                    3,672.00         1,248.00      2,424.00           0.00          3,672.00
             5.00                 0.00           5.00           0.00                  5.00    Room Stat - Government Rate Transient               94.00            85.00          9.00          76.00             18.00
           604.00               558.00          46.00         701.00                -97.00    Room Stat - Rack Rate Transient                  8,228.00         5,809.00      2,419.00       7,197.00          1,031.00
             0.00               465.00        -465.00         214.00               -214.00    Room Stat - Local Negotiated Transient               0.00         2,489.00     -2,489.00       1,607.00         -1,607.00
        2,135.00             2,736.00        -601.00       1,644.00                491.00     Total Transient Rooms Sold                     21,578.00        17,105.00      4,473.00      13,236.00          8,342.00

                                                                                              Group Rooms
           10.00                 0.00          10.00           65.00                 -55.00   Room Stat - Corporate Group Rooms                1,699.00            0.00       1,699.00         633.00          1,066.00
            0.00                 0.00           0.00            0.00                   0.00   Room Stat - Leisure Group                            2.00            0.00           2.00           0.00              2.00
            0.00                 0.00           0.00            0.00                   0.00   Room Stat - SMERF Group                              0.00           30.00         -30.00           0.00              0.00
            0.00                 0.00           0.00            0.00                   0.00   Room Stat - Sports Group                             0.00           40.00         -40.00           0.00              0.00
           10.00                 0.00          10.00           65.00                -55.00    Total Group Rooms Sold                          1,701.00            70.00      1,631.00         633.00          1,068.00

                                                                                              Contract Rooms
            0.00                 0.00           0.00            0.00                  0.00    Room Stat - Other Contract                         71.00             7.00         64.00            0.00            71.00
            0.00                 0.00           0.00            0.00                  0.00    Total Contract Rooms Sold                          71.00             7.00         64.00            0.00            71.00

        2,145.00             2,736.00        -591.00       1,709.00                 436.00    Total Rooms Sold                               23,350.00        17,182.00      6,168.00      13,869.00          9,481.00
             0.00                0.00            0.00           0.00                   0.00   Room Stat-Comp Rooms                               114.00            0.00         114.00          34.00             80.00
        2,145.00             2,736.00        -591.00       1,709.00                 436.00    Total Rooms Occupied                           23,464.00        17,182.00      6,282.00      13,903.00          9,561.00
           820.00                0.00          820.00       2,401.00              -1,581.00   Room Stat-Out of Order                          13,704.00            0.00      13,704.00      30,613.00        -16,909.00

                                                                                              ADR
            11.87                0.00          11.87            0.00                 11.87    Corporate Transient ADR                            56.18             0.00         56.18            0.00            56.18
            98.99              100.00           -1.01           0.00                 98.99    Advanced Purchase ADR                              76.70            82.84          -6.15           0.00            76.70
            92.99              100.00           -7.01           0.00                 92.99    AAA/AARP ADR                                       80.05            84.98          -4.93           0.00            80.05
             0.00               63.00         -63.00            0.00                  0.00    FIT ADR                                             0.00            62.49        -62.49            0.00             0.00
             0.00                0.00            0.00           0.00                  0.00    Consortia ADR                                       0.00             0.00           0.00           0.00             0.00
            57.00               49.00            8.00           0.00                 57.00    Employee ADR                                       55.96            49.09           6.87           0.00            55.96
            84.81                0.00          84.81            0.00                 84.81    Leisure ADR                                        30.12             0.00         30.12            0.00            30.12
            84.90                0.00          84.90            0.00                 84.90    Travel Agent/Friends & Family ADR                  66.76             0.00         66.76            0.00            66.76
             7.78                0.00            7.78           0.00                  7.78    Leisure Package ADR                                38.21             0.00         38.21            0.00            38.21
            29.76               23.00            6.76           0.00                 29.76    Member Reward Stay ADR                             30.49            22.19           8.30           0.00            30.49
             0.00                0.00            0.00           0.00                  0.00    Golf Pkg ADR                                        0.00             0.00           0.00           0.00             0.00
             0.00               85.00         -85.00           53.26                -53.26    Extended Stay ADR                                   0.00            80.12        -80.12           58.09           -58.09
             0.00               85.00         -85.00            0.00                  0.00    Internet ADR                                        0.00            81.01        -81.01            0.00             0.00
            95.71               70.00          25.71            0.00                 95.71    E-Commerce Opaque ADR                              76.15            66.48           9.67           0.00            76.15
             0.00                0.00            0.00           0.00                  0.00    Other Transient ADR                               563.94             0.00        563.94            0.00           563.94
             0.00                0.00            0.00           0.00                  0.00    Airline Distressed Passenger ADR                    0.00             0.00           0.00           0.00             0.00
           116.80                0.00         116.80            0.00                116.80    Government ADR                                     99.76            82.52         17.24            0.00            99.76
           182.14              111.00          71.14           83.45                 98.69    Rack ADR                                           99.16            99.86          -0.69          88.28            10.89
             0.00               93.81         -93.81           76.70                -76.70    Local Negotiated ADR                                0.00            87.71        -87.71           85.06           -85.06
            85.97               87.40          -1.43           70.79                 15.18    Total Transient ADR                                80.26            83.18         -2.92           78.57             1.69

           668.50                 0.00        668.50           74.14                594.36    Corporate Group ADR                                70.92              0.00        70.92           77.87            -6.95
             0.00                 0.00          0.00            0.00                  0.00    Leisure Group ADR                                  79.00              0.00        79.00            0.00            79.00
             0.00                 0.00          0.00            0.00                  0.00    Government Group ADR                                0.00              0.00         0.00            0.00             0.00
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                         YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00                 0.00          0.00             0.00                 0.00     Tour & Travel Group ADR               0.00            0.00         0.00            0.00           0.00
            0.00                 0.00          0.00             0.00                 0.00     Association Group ADR                 0.00            0.00         0.00            0.00           0.00
            0.00                 0.00          0.00             0.00                 0.00     City Wide Group ADR                   0.00            0.00         0.00            0.00           0.00
            0.00                 0.00          0.00             0.00                 0.00     SMERF Group ADR                       0.00           75.67       -75.67            0.00           0.00
            0.00                 0.00          0.00             0.00                 0.00     Sports Group ADR                      0.00           77.75       -77.75            0.00           0.00
            0.00                 0.00          0.00             0.00                 0.00     Other Group ADR                       0.00            0.00         0.00            0.00           0.00
          668.50                 0.00        668.50            74.14               594.36     Total Group ADR                      70.93           76.86        -5.93           95.12         -24.20

            0.00                 0.00           0.00            0.00                  0.00    Airline Crew ADR                      0.00            0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Other Contract ADR                   66.71           58.50         8.20            0.00          66.71
            0.00                 0.00           0.00            0.00                  0.00    Total Contract ADR                   66.71           58.50         8.20            0.00          66.71

           89.53                87.40           2.13           71.68                 17.85    Total ADR                            79.67           83.15        -3.48           79.72          -0.06




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             PTD      %        PTD Budget     %          Variance   PTD Last Year     %           Variance                                                 YTD      %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                             F&B Summary
                                                                                                             Revenue
         3,657.89     72.16%     6,200.00     59.05%    -2,542.11           8.30       1.44%      3,649.59   Outlet Food Revenue                      16,865.81     49.90%    49,450.00  62.87%      -32,584.19      36,353.45  60.38%       -19,487.64
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Banquet and Catering Food Revenue           718.55      2.13%         0.00   0.00%          718.55       2,695.15   4.48%        -1,976.60
         1,411.47     27.84%     3,850.00     36.67%    -2,438.53         366.25      63.75%      1,045.22   Outlet Beverage Revenue                  10,004.42     29.60%    26,050.00  33.12%      -16,045.58      16,729.46  27.78%        -6,725.04
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Banquet and Catering Beverage Revenue         0.00      0.00%         0.00   0.00%            0.00           0.00   0.00%             0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Outlet Other Revenue                          0.00      0.00%         0.00   0.00%            0.00           0.00   0.00%             0.00
             0.00      0.00%       450.00      4.29%      -450.00         200.00      34.81%       -200.00   Banquet and Catering Other Revenue        6,213.22     18.38%     3,150.00   4.01%        3,063.22       4,434.54   7.36%         1,778.68
        5,069.36    100.00%    10,500.00    100.00%    -5,430.64         574.55     100.00%      4,494.81    Total F&B Revenue                       33,802.00    100.00%    78,650.00 100.00%      -44,848.00      60,212.60 100.00%       -26,410.60

                                                                                                             Cost of Sales
         2,950.47     58.20%     1,674.00     15.94%    1,276.47            0.00       0.00%      2,950.47   Food Purchases                           14,733.73     43.59%    13,351.50    16.98%      1,382.23      18,861.30     31.32%     -4,127.57
           276.09      5.45%       924.00      8.80%     -647.91          111.00      19.32%        165.09   Beverage Purchases                        8,305.40     24.57%     6,252.00     7.95%      2,053.40       6,148.45     10.21%      2,156.95
             0.00      0.00%         0.00      0.00%        0.00            0.00       0.00%          0.00   Cedit Employee Meals                          0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%        0.00            0.00       0.00%          0.00   Credit House Charges                          0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%        0.00            0.00       0.00%          0.00   Credit In-House Promotions                    0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%        0.00            0.00       0.00%          0.00   Audio Visual Cost of Sales                    0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%        0.00            0.00       0.00%          0.00   Other Cost of Sales                         559.40      1.65%         0.00     0.00%        559.40           0.00      0.00%        559.40
        3,226.56     63.65%     2,598.00     24.74%      628.56          111.00      19.32%      3,115.56    Total F&B Cost of Sales                 23,598.53     69.81%    19,603.50    24.92%      3,995.03      25,009.75     41.54%     -1,411.22

        1,842.80     36.35%     7,902.00     75.26%    -6,059.20         463.55      80.68%      1,379.25    F&B Gross Profit                        10,203.47     30.19%    59,046.50    75.08%    -48,843.03      35,202.85     58.46%    -24,999.38

                                                                                                             Expenses
                                                                                                             Payroll
                                                                                                             Salaries and Wages
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Management                                    0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00
         1,953.86     38.54%     6,820.00     64.95%    -4,866.14           0.00       0.00%      1,953.86   Non-Management                           17,420.96     51.54%    66,880.00    85.03%    -49,459.04      22,515.33     37.39%     -5,094.37
        1,953.86     38.54%     6,820.00     64.95%    -4,866.14            0.00      0.00%      1,953.86    Total F&B Salaries and Wages            17,420.96     51.54%    66,880.00    85.03%    -49,459.04      22,515.33     37.39%     -5,094.37
                                                                                                             PR Taxes and Benefits
           198.35      3.91%       627.88      5.98%     -429.53            0.00       0.00%       198.35    Payroll Taxes                             1,904.11      5.63%     6,313.90     8.03%     -4,409.79       2,569.85      4.27%       -665.74
             0.00      0.00%         0.00      0.00%        0.00            0.00       0.00%         0.00    Supplemental Pay                              0.00      0.00%         0.00     0.00%          0.00       2,188.36      3.63%     -2,188.36
           532.44     10.50%       299.26      2.85%      233.18            0.00       0.00%       532.44    Other Benefits                            3,803.79     11.25%     3,185.40     4.05%        618.39         779.35      1.29%      3,024.44
          730.79     14.42%       927.14      8.83%     -196.35             0.00      0.00%       730.79     Total F&B PR Taxes and Benefits          5,707.90     16.89%     9,499.30    12.08%     -3,791.40       5,537.56      9.20%        170.34

        2,684.65     52.96%     7,747.14     73.78%    -5,062.49            0.00      0.00%      2,684.65    Total F&B Payroll                       23,128.86     68.42%    76,379.30    97.11%    -53,250.44      28,052.89     46.59%     -4,924.03

                                                                                                             Other Expenses
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Audio Visual Supplies                         0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Banquet Expense                               0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Bar Expense/Promos                            0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%        50.00      0.48%       -50.00            0.00      0.00%          0.00    Bar Supplies                                  0.00     0.00%        450.00     0.57%      -450.00            0.00     0.00%          0.00
             0.00     0.00%        50.00      0.48%       -50.00            0.00      0.00%          0.00    China                                         0.00     0.00%        500.00     0.64%      -500.00            0.00     0.00%          0.00
             0.00     0.00%       150.00      1.43%      -150.00            0.00      0.00%          0.00    Cleaning Supplies                         1,113.09     3.29%      1,500.00     1.91%      -386.91          654.61     1.09%        458.48
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Communication Expense                         0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Contract Cleaning                             0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Contract Labor                                0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Decorations & Plants                          0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Dues and Subscriptions                      463.61     1.37%          0.00     0.00%       463.61            0.00     0.00%        463.61
           110.76     2.18%         0.00      0.00%       110.76          111.58     19.42%         -0.82    Equipment Rental                            443.04     1.31%          0.00     0.00%       443.04        1,166.58     1.94%       -723.54
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Food and Beverage Advertising                 0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%       100.00      0.95%      -100.00            0.00      0.00%          0.00    Glassware                                     0.00     0.00%        950.00     1.21%      -950.00           29.91     0.05%        -29.91
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Guest Loss/Damage                             0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%        50.00      0.48%       -50.00            0.00      0.00%          0.00    Guest Supplies                              908.72     2.69%        500.00     0.64%       408.72            0.00     0.00%        908.72
             0.00     0.00%         0.00      0.00%         0.00           25.72      4.48%        -25.72    In-House Entertainment                        0.00     0.00%          0.00     0.00%         0.00           25.72     0.04%        -25.72
             0.00     0.00%        75.00      0.71%       -75.00            0.00      0.00%          0.00    Kitchen/Cooking Fuel                          0.00     0.00%        750.00     0.95%      -750.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Kitchen Equipment                           541.84     1.60%          0.00     0.00%       541.84          196.77     0.33%        345.07
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Laundry - Outside Expense                     0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Laundry Allocation                            0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Licenses/Permits                          7,010.00    20.74%      4,500.00     5.72%     2,510.00          770.00     1.28%      6,240.00
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Linen                                         0.00     0.00%          0.00     0.00%         0.00           13.12     0.02%        -13.12
             0.00     0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Linen Rental                                  0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%          0.00
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                                                                                   Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget    %         Variance   PTD Last Year    %           Variance                                          YTD     %        YTD Budget %             Variance   YTD Last Year    %         Variance

             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Maintenance Contracts                  0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Meals and Entertainment                0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
           599.73    11.83%         0.00     0.00%      599.73          0.00       0.00%       599.73    Menus                                599.73     1.77%     1,125.00     1.43%      -525.27           0.00     0.00%       599.73
            37.13     0.73%         0.00     0.00%       37.13          0.00       0.00%        37.13    Miscellaneous Expense              4,282.04    12.67%         0.00     0.00%     4,282.04           0.00     0.00%     4,282.04
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Music and Entertainment                0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Office Equipment                      53.33     0.16%         0.00     0.00%        53.33           0.00     0.00%        53.33
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Office Supplies                        0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Operating Supplies                     0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
           336.71     6.64%       787.50     7.50%     -450.79          0.00       0.00%       336.71    Paper/Plastic Supplies             2,865.07     8.48%     5,898.75     7.50%    -3,033.68       2,615.75     4.34%       249.32
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Printing and Stationery                0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Silverware                             0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Software Expense/Maintenance           0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Television Cable                       0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Training                               6.30     0.02%         0.00     0.00%         6.30           0.00     0.00%         6.30
             0.00     0.00%         0.00     0.00%        0.00          0.00       0.00%         0.00    Travel                                 0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%       100.00     0.95%     -100.00          0.00       0.00%         0.00    Uniforms                             187.39     0.55%     1,000.00     1.27%      -812.61           0.00     0.00%       187.39
             0.00     0.00%        50.00     0.48%      -50.00          0.00       0.00%         0.00    Utensils                               0.00     0.00%       500.00     0.64%      -500.00         334.73     0.56%      -334.73
        1,084.33    21.39%     1,412.50    13.45%     -328.17         137.30     23.90%       947.03     Total F&B Other Expenses         18,474.16    54.65%    17,673.75    22.47%       800.41       5,807.19     9.64%    12,666.97

        3,768.98    74.35%     9,159.64    87.23%    -5,390.66        137.30     23.90%      3,631.68    Total F&B Expenses               41,603.02    123.08%   94,053.05 119.58%      -52,450.03     33,860.08     56.23%    7,742.94

       -1,926.18    -38.00%   -1,257.64    -11.98%    -668.54         326.25     56.78%     -2,252.43    Total F&B Profit (Loss)          -31,399.55   -92.89%   -35,006.55 -44.51%      3,607.00       1,342.77     2.23%    -32,742.32




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                                                                        Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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                                                                                                 As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                          YTD    %   YTD Budget %    Variance   YTD Last Year   %     Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
            14.00                0.00          14.00            0.00                 14.00    Food Stat- Food-Breakfast             14.00            0.00          14.00       1,622.00         -1,608.00
           196.82                0.00         196.82            0.00                196.82    Breakfast Avg Check                  781.51            0.00         781.51           0.00            781.51
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                        0.00            0.00           0.00           0.00              0.00
             0.00                0.00           0.00            0.00                  0.00    Food Stat- Food-Dinner                 0.00            0.00           0.00         720.00           -720.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                       0.00            0.00           0.00           0.00              0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                       0.00            0.00           0.00           0.00              0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                   0.00            0.00           0.00           0.00              0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                       0.00            0.00           0.00           0.00              0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                    0.00            0.00           0.00           0.00              0.00
            14.00                0.00          14.00            0.00                 14.00    Total Restaurant 1 Covers             14.00            0.00          14.00      2,342.00         -2,328.00
          250.34                 0.00        250.34             0.00               250.34     Restaurant 1 Avg Check            1,174.78             0.00      1,174.78            0.00         1,174.78

                                                                                              Restaurant 2
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers             0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                0.00             0.00          0.00            0.00             0.00

                                                                                              Room Service
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Room Service Covers             0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Room Service Avg Check                0.00             0.00          0.00            0.00             0.00

                                                                                              Banquets
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Banquets Covers                 0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Banquets Avg Check                    0.00             0.00          0.00            0.00             0.00

                                                                                              Catering
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Catering Covers                 0.00             0.00          0.00            0.00             0.00
            0.00                 0.00           0.00            0.00                  0.00    Catering Avg Check                    0.00             0.00          0.00            0.00             0.00

                                                                                              Restaurant 3
             0.00                 0.00          0.00            0.00                  0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00             0.00
             0.00                 0.00          0.00            0.00                  0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00             0.00
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                                                                        Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                         YTD    %   YTD Budget %   Variance   YTD Last Year   %    Variance

            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers             0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                0.00            0.00         0.00            0.00            0.00

                                                                                              Restaurant 4
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers             0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                0.00            0.00         0.00            0.00            0.00

                                                                                              Restaurant 5
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers             0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                0.00            0.00         0.00            0.00            0.00

                                                                                              Bar 1
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Bar 1 Covers                    0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Bar 1 Avg Check                       0.00            0.00         0.00            0.00            0.00

                                                                                              Bar 2
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Bar 2 Covers                    0.00            0.00         0.00            0.00            0.00
            0.00                 0.00           0.00            0.00                  0.00    Bar 2 Avg Check                       0.00            0.00         0.00            0.00            0.00

           14.00                 0.00          14.00            0.00                 14.00    Total Covers                         14.00            0.00        14.00       2,342.00         -2,328.00




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                                                                                   Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget    %         Variance   PTD Last Year    %           Variance                                                  YTD     %        YTD Budget %               Variance   YTD Last Year    %         Variance

                                                                                                         Food Admin
                                                                                                         Cost of Sales
         2,950.47    58.20%     1,674.00   15.94%    1,276.47            0.00     0.00%      2,950.47    Food Purchases                           14,733.73     43.59%    13,351.50     16.98%     1,382.23       18,861.30    31.32%    -4,127.57
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00    Other Cost of Sales                         559.40      1.65%         0.00      0.00%       559.40            0.00     0.00%       559.40

        2,950.47    58.20%     1,674.00    15.94%    1,276.47            0.00    0.00%       2,950.47    Total Food Admin Cost of Sales           15,293.13    45.24%    13,351.50    16.98%      1,941.63       18,861.30     31.32%   -3,568.17

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00    0.00%          0.00    0.00%        0.00            0.00    0.00%            0.00   Total Food Admin Management                    0.00    0.00%          0.00    0.00%            0.00           0.00    0.00%          0.00
         1,919.72    37.87%     1,860.00    17.71%      59.72            0.00     0.00%       1,919.72   Cooks-Line Cooks                          12,980.39    38.40%    18,240.00    23.19%      -5,259.61       3,628.99     6.03%     9,351.40
        1,919.72    37.87%     1,860.00    17.71%       59.72            0.00    0.00%       1,919.72    Total Food Admin Non-Management          12,980.39    38.40%    18,240.00    23.19%      -5,259.61       3,628.99     6.03%     9,351.40

        1,919.72    37.87%     1,860.00    17.71%       59.72            0.00    0.00%       1,919.72    Total Food Admin Salaries and Wages      12,980.39    38.40%    18,240.00    23.19%      -5,259.61       3,628.99     6.03%     9,351.40

                                                                                                         PR Taxes and Benefits

             0.00     0.00%       142.29     1.36%    -142.29            0.00     0.00%          0.00    FICA                                           0.00     0.00%     1,395.36      1.77%     -1,395.36       2,569.85     4.27%    -2,569.85
             0.00     0.00%         0.78     0.01%      -0.78            0.00     0.00%          0.00    Federal Unemployment Tax                       0.00     0.00%        29.07      0.04%        -29.07           0.00     0.00%         0.00
             0.00     0.00%         1.86     0.02%      -1.86            0.00     0.00%          0.00    State Unemployment Tax                         0.00     0.00%        88.52      0.11%        -88.52           0.00     0.00%         0.00
             0.00    0.00%       144.93     1.38%    -144.93             0.00    0.00%           0.00    Total Payroll Taxes                            0.00    0.00%     1,512.95      1.92%     -1,512.95       2,569.85     4.27%    -2,569.85
             0.00     0.00%         0.00     0.00%       0.00            0.00     0.00%          0.00    Holiday                                        0.00     0.00%         0.00      0.00%          0.00         344.48     0.57%      -344.48
             0.00     0.00%         0.00     0.00%       0.00            0.00     0.00%          0.00    Vacation                                       0.00     0.00%         0.00      0.00%          0.00       1,843.88     3.06%    -1,843.88
             0.00    0.00%          0.00    0.00%        0.00            0.00    0.00%           0.00    Total Supplemental Pay                         0.00    0.00%          0.00     0.00%           0.00      2,188.36     3.63%    -2,188.36
             0.00     0.00%        81.62     0.78%     -81.62            0.00     0.00%          0.00    Worker's Compensation                          0.00     0.00%       868.74      1.10%       -868.74           0.00     0.00%         0.00
           625.33    12.34%         0.00     0.00%     625.33            0.00     0.00%        625.33    Group Insurance                              674.31     1.99%         0.00      0.00%        674.31         779.35     1.29%      -105.04
          625.33    12.34%         81.62    0.78%     543.71             0.00    0.00%        625.33     Total Other Benefits                        674.31     1.99%       868.74      1.10%       -194.43         779.35     1.29%      -105.04

        2,545.05    50.20%     2,086.55    19.87%     458.50             0.00    0.00%       2,545.05    Total Food Admin PR Taxes and Benefits   13,654.70    40.40%    20,621.69    26.22%      -6,966.99       9,166.55     15.22%    4,488.15

        4,464.77    88.07%     3,946.55    37.59%     518.22             0.00    0.00%       4,464.77    Total Food Admin Payroll                 26,635.09    78.80%    38,861.69    49.41%     -12,226.60      12,795.54     21.25%   13,839.55

                                                                                                         Other Expenses
             0.00     0.00%       50.00     0.48%      -50.00            0.00     0.00%          0.00    China                                          0.00     0.00%       500.00     0.64%       -500.00            0.00     0.00%        0.00
             0.00     0.00%      150.00     1.43%     -150.00            0.00     0.00%          0.00    Cleaning Supplies                          1,113.09     3.29%     1,500.00     1.91%       -386.91          654.61     1.09%      458.48
             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%          0.00    Dues and Subscriptions                       463.61     1.37%         0.00     0.00%        463.61            0.00     0.00%      463.61
           110.76     2.18%        0.00     0.00%      110.76          111.58    19.42%         -0.82    Equipment Rental                             443.04     1.31%         0.00     0.00%        443.04        1,166.58     1.94%     -723.54
             0.00     0.00%       50.00     0.48%      -50.00            0.00     0.00%          0.00    Glassware                                      0.00     0.00%       500.00     0.64%       -500.00           29.91     0.05%      -29.91
             0.00     0.00%       50.00     0.48%      -50.00            0.00     0.00%          0.00    Guest Supplies                               908.72     2.69%       500.00     0.64%        408.72            0.00     0.00%      908.72
             0.00     0.00%        0.00     0.00%        0.00           25.72     4.48%        -25.72    In-House Entertainment                         0.00     0.00%         0.00     0.00%          0.00           25.72     0.04%      -25.72
             0.00     0.00%       75.00     0.71%      -75.00            0.00     0.00%          0.00    Kitchen/Cooking Fuel                           0.00     0.00%       750.00     0.95%       -750.00            0.00     0.00%        0.00
             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%          0.00    Kitchen Equipment                            541.84     1.60%         0.00     0.00%        541.84          196.77     0.33%      345.07
             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%          0.00    Licenses/Permits                              17.00     0.05%     4,500.00     5.72%     -4,483.00            0.00     0.00%       17.00
             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%          0.00    Linen                                          0.00     0.00%         0.00     0.00%          0.00           13.12     0.02%      -13.12
           599.73    11.83%        0.00     0.00%      599.73            0.00     0.00%        599.73    Menus                                        599.73     1.77%     1,125.00     1.43%       -525.27            0.00     0.00%      599.73
             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%          0.00    Office Equipment                              53.33     0.16%         0.00     0.00%         53.33            0.00     0.00%       53.33
           336.71     6.64%      787.50     7.50%     -450.79            0.00     0.00%        336.71    Paper/Plastic Supplies                     2,865.07     8.48%     5,898.75     7.50%     -3,033.68        2,615.75     4.34%      249.32
             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%          0.00    Training                                       6.30     0.02%         0.00     0.00%          6.30            0.00     0.00%        6.30
             0.00     0.00%      100.00     0.95%     -100.00            0.00     0.00%          0.00    Uniforms                                     187.39     0.55%     1,000.00     1.27%       -812.61            0.00     0.00%      187.39
             0.00     0.00%       50.00     0.48%      -50.00            0.00     0.00%          0.00    Utensils                                       0.00     0.00%       500.00     0.64%       -500.00          334.73     0.56%     -334.73

        1,047.20    20.66%     1,312.50    12.50%    -265.30          137.30     23.90%       909.90     Total Food Admin Other Expenses           7,199.12    21.30%    16,773.75    21.33%      -9,574.63       5,037.19     8.37%     2,161.93

        5,511.97    108.73%    5,259.05    50.09%     252.92          137.30     23.90%      5,374.67    Total Food Admin Expenses                33,834.21    100.10%   55,635.44    70.74%     -21,801.23      17,832.73     29.62%   16,001.48

        8,462.44    166.93%    6,933.05    66.03%    1,529.39         137.30     23.90%      8,325.14    Departmental Costs                       49,127.34    145.34%   68,986.94    87.71%     -19,859.60      36,694.03     60.94%   12,433.31




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                               YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                     Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%          0.00    Less Adjustments                            0.00   0.00%         0.00     0.00%         0.00           0.00    0.00%         0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Revenue               0.00    0.00%        0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                     Cost of Sales
           276.09     0.00%         0.00   0.00%    276.09          111.00    0.00%        165.09    Beverage Purchases                      8,305.40   0.00%         0.00     0.00%     8,305.40       6,148.45    0.00%     2,156.95

          276.09      0.00%        0.00    0.00%   276.09          111.00     0.00%       165.09     Total Beverage Admin Cost of Sales     8,305.40    0.00%        0.00      0.00%    8,305.40       6,148.45     0.00%    2,156.95

                                                                                                     Expenses
                                                                                                     Other Expenses
             0.00     0.00%        50.00   0.00%    -50.00            0.00    0.00%          0.00    Bar Supplies                                0.00   0.00%      450.00      0.00%      -450.00           0.00    0.00%         0.00
             0.00     0.00%        50.00   0.00%    -50.00            0.00    0.00%          0.00    Glassware                                   0.00   0.00%      450.00      0.00%      -450.00           0.00    0.00%         0.00
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%          0.00    Licenses/Permits                        6,993.00   0.00%        0.00      0.00%     6,993.00           0.00    0.00%     6,993.00
            37.13     0.00%         0.00   0.00%     37.13            0.00    0.00%         37.13    Miscellaneous Expense                   4,282.04   0.00%        0.00      0.00%     4,282.04           0.00    0.00%     4,282.04

           37.13      0.00%      100.00    0.00%    -62.87            0.00    0.00%         37.13    Total Beverage Admin Other Expenses   11,275.04    0.00%      900.00      0.00%   10,375.04            0.00    0.00%   11,275.04

           37.13      0.00%      100.00    0.00%    -62.87            0.00    0.00%         37.13    Total Beverage Admin Expenses         11,275.04    0.00%      900.00      0.00%   10,375.04            0.00    0.00%   11,275.04

          -37.13      0.00%     -100.00    0.00%     62.87            0.00    0.00%        -37.13    Departmental Costs                    -11,275.04   0.00%     -900.00      0.00%   -10,375.04           0.00    0.00%   -11,275.04




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             PTD      %        PTD Budget     %          Variance   PTD Last Year   %           Variance                                                    YTD     %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                           Restaurant 1
                                                                                                           Food Revenue
         2,755.49    56.89%      4,000.00    64.52%    -1,244.51            0.00    0.00%      2,755.49    Food-Breakfast                             10,941.19     41.60%    32,100.00     64.91%   -21,158.81            0.00    0.00%     10,941.19
             0.00     0.00%          0.00     0.00%         0.00            0.00    0.00%          0.00    Food-Lunch                                     34.00      0.13%         0.00      0.00%        34.00            0.00    0.00%         34.00
           880.60    18.18%      2,200.00    35.48%    -1,319.40            0.00    0.00%        880.60    Food-Dinner                                 6,199.85     23.57%    17,350.00     35.09%   -11,150.15            0.00    0.00%      6,199.85
             0.00     0.00%          0.00     0.00%         0.00            0.00    0.00%          0.00    Food-Breaks                                    50.00      0.19%         0.00      0.00%        50.00            0.00    0.00%         50.00

        3,636.09    75.07%      6,200.00    100.00%    -2,563.91            0.00    0.00%      3,636.09    Restaurant 1 Food Revenue                  17,225.04    65.50%    49,450.00 100.00%       -32,224.96            0.00    0.00%    17,225.04
          -131.34    -2.71%         0.00       0.00%      -131.34           0.00     0.00%       -131.34   Food-Adjustments-A&G                          -759.70    -2.89%        0.00    0.00%          -759.70           0.00     0.00%      -759.70
             0.00     0.00%         0.00       0.00%         0.00           0.00     0.00%          0.00   Food-Adjustments-A&P                           -18.45    -0.07%        0.00    0.00%           -18.45           0.00     0.00%       -18.45
          -131.34    -2.71%         0.00       0.00%      -131.34           0.00     0.00%       -131.34   Less: Allowances                              -778.15    -2.96%        0.00    0.00%          -778.15           0.00     0.00%      -778.15

        3,504.75    72.36%      6,200.00    100.00%    -2,695.25            0.00    0.00%      3,504.75    Total Restaurant 1 Food Revenue            16,446.89    62.54%    49,450.00 100.00%       -33,003.11            0.00    0.00%    16,446.89

                                                                                                           Beverage Revenue
           677.12    13.98%          0.00     0.00%       677.12            0.00    0.00%        677.12    Liquor                                       5,796.86    22.04%         0.00     0.00%      5,796.86            0.00    0.00%      5,796.86
           449.50     9.28%          0.00     0.00%       449.50            0.00    0.00%        449.50    Beer                                         2,328.31     8.85%         0.00     0.00%      2,328.31            0.00    0.00%      2,328.31
           212.05     4.38%          0.00     0.00%       212.05            0.00    0.00%        212.05    Wine                                         1,727.45     6.57%         0.00     0.00%      1,727.45            0.00    0.00%      1,727.45

        1,338.67    27.64%          0.00      0.00%    1,338.67             0.00    0.00%      1,338.67    Restaurant 1 Beverage Revenue               9,852.62    37.46%         0.00      0.00%      9,852.62            0.00    0.00%      9,852.62
            0.00      0.00%         0.00       0.00%       0.00             0.00     0.00%         0.00    Less: Allowances                                0.00      0.00%        0.00       0.00%         0.00            0.00     0.00%         0.00

        1,338.67    27.64%          0.00      0.00%    1,338.67             0.00    0.00%      1,338.67    Total Restaurant 1 Beverage Revenue         9,852.62    37.46%         0.00      0.00%      9,852.62            0.00    0.00%      9,852.62

        4,843.42    100.00%     6,200.00    100.00%    -1,356.58            0.00    0.00%      4,843.42    Total Restaurant 1 Revenue                 26,299.51    100.00%   49,450.00 100.00%       -23,150.49            0.00    0.00%    26,299.51

                                                                                                           Cost of Sales

            0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00    Total Restaurant 1 Cost of Sales                0.00     0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00

        4,843.42    100.00%     6,200.00    100.00%    -1,356.58            0.00    0.00%      4,843.42    Restaurant 1 Gross Profit                  26,299.51    100.00%   49,450.00 100.00%       -23,150.49            0.00    0.00%    26,299.51

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%          0.00     0.00%          0.00           0.00    0.00%          0.00    Total Restaurant 1 Management                    0.00    0.00%          0.00    0.00%            0.00           0.00    0.00%           0.00
            0.00       0.00%         0.00      0.00%         0.00           0.00     0.00%         0.00    Hosts/Greeters/Captains/Order Takers             0.00     0.00%         0.00     0.00%           0.00      18,410.76     0.00%    -18,410.76
           34.14       0.70%     2,480.00     40.00%    -2,445.86           0.00     0.00%        34.14    Servers                                      4,440.57    16.88%    24,320.00    49.18%     -19,879.43           0.00     0.00%      4,440.57
           34.14      0.70%     2,480.00     40.00%    -2,445.86            0.00    0.00%         34.14    Total Restaurant 1 Non-Management           4,440.57    16.88%    24,320.00    49.18%     -19,879.43      18,410.76     0.00%    -13,970.19

           34.14      0.70%     2,480.00     40.00%    -2,445.86            0.00    0.00%         34.14    Total Restaurant 1 Salaries and Wages       4,440.57    16.88%    24,320.00    49.18%     -19,879.43      18,410.76     0.00%    -13,970.19

                                                                                                           PR Taxes and Benefits
           181.46      3.75%       260.87      4.21%       -79.41           0.00     0.00%       181.46    FICA                                         1,657.60     6.30%     2,427.94      4.91%       -770.34           0.00     0.00%      1,657.60
             2.54      0.05%         1.43      0.02%         1.11           0.00     0.00%         2.54    Federal Unemployment Tax                        37.54     0.14%        46.07      0.09%         -8.53           0.00     0.00%         37.54
            14.35      0.30%         3.41      0.06%        10.94           0.00     0.00%        14.35    State Unemployment Tax                         208.97     0.79%       141.68      0.29%         67.29           0.00     0.00%        208.97
          198.35      4.10%       265.71      4.29%       -67.36            0.00    0.00%       198.35     Total Payroll Taxes                         1,904.11     7.24%     2,615.69      5.29%       -711.58            0.00    0.00%      1,904.11
             0.00     0.00%          0.00     0.00%          0.00           0.00    0.00%          0.00    Total Supplemental Pay                           0.00    0.00%          0.00     0.00%           0.00           0.00    0.00%           0.00
           143.18      2.96%       108.82      1.76%        34.36           0.00     0.00%       143.18    Worker's Compensation                        1,320.45     5.02%     1,158.33      2.34%        162.12           0.00     0.00%      1,320.45
          -236.07     -4.87%         0.00      0.00%     -236.07            0.00     0.00%      -236.07    Group Insurance                              1,809.03     6.88%         0.00      0.00%      1,809.03           0.00     0.00%      1,809.03
           -92.89    -1.92%       108.82      1.76%     -201.71             0.00    0.00%        -92.89    Total Other Benefits                        3,129.48    11.90%     1,158.33      2.34%      1,971.15            0.00    0.00%      3,129.48

          105.46      2.18%       374.53      6.04%     -269.07             0.00    0.00%       105.46     Total Restaurant 1 PR Taxes and Benefits    5,033.59    19.14%     3,774.02      7.63%      1,259.57            0.00    0.00%      5,033.59

          139.60      2.88%     2,854.53     46.04%    -2,714.93            0.00    0.00%       139.60     Total Restaurant 1 Payroll                  9,474.16    36.02%    28,094.02    56.81%     -18,619.86      18,410.76     0.00%     -8,936.60

                                                                                                           Other Expenses
            0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00    Total Restaurant 1 Other Expenses               0.00     0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00


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             PTD      %       PTD Budget    %        Variance   PTD Last Year   %           Variance                                           YTD     %       YTD Budget %           Variance   YTD Last Year   %         Variance

          139.60      2.88%    2,854.53    46.04%   -2,714.93           0.00    0.00%       139.60     Total Restaurant 1 Expenses         9,474.16   36.02%   28,094.02   56.81%   -18,619.86     18,410.76     0.00%   -8,936.60

        4,703.82    97.12%     3,345.47    53.96%   1,358.35            0.00    0.00%      4,703.82    Total Restaurant 1 Profit (Loss)   16,825.35   63.98%   21,355.98   43.19%    -4,530.63    -18,410.76     0.00%   35,236.11




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             PTD      %       PTD Budget   %        Variance   PTD Last Year   %           Variance                                                YTD     %        YTD Budget %            Variance   YTD Last Year    %         Variance

                                                                                                      Restaurant 2
                                                                                                      Food Revenue
             0.00     0.00%         0.00   0.00%       0.00            0.00    0.00%          0.00    Food-Breakfast                               0.00     0.00%         0.00     0.00%       0.00       17,724.67    61.16%   -17,724.67
           258.67    78.04%         0.00   0.00%     258.67            0.00    0.00%        258.67    Food-Dinner                                111.96    42.45%         0.00     0.00%     111.96       11,256.93    38.84%   -11,144.97

          258.67    78.04%         0.00    0.00%    258.67             0.00    0.00%       258.67     Restaurant 2 Food Revenue                  111.96   42.45%         0.00      0.00%    111.96       28,981.60 100.00%      -28,869.64
            0.00      0.00%        0.00     0.00%     0.00             0.00     0.00%        0.00     Less: Allowances                             0.00     0.00%        0.00       0.00%     0.00            0.00    0.00%           0.00

          258.67    78.04%         0.00    0.00%    258.67             0.00    0.00%       258.67     Total Restaurant 2 Food Revenue            111.96   42.45%         0.00      0.00%    111.96       28,981.60 100.00%      -28,869.64

                                                                                                      Beverage Revemue
            38.00    11.46%         0.00   0.00%      38.00            0.00    0.00%         38.00    Liquor                                      74.00    28.06%         0.00     0.00%      74.00            0.00    0.00%         74.00
            14.80     4.46%         0.00   0.00%      14.80            0.00    0.00%         14.80    Beer                                        57.80    21.91%         0.00     0.00%      57.80            0.00    0.00%         57.80
            20.00     6.03%         0.00   0.00%      20.00            0.00    0.00%         20.00    Wine                                        20.00     7.58%         0.00     0.00%      20.00            0.00    0.00%         20.00

           72.80    21.96%         0.00    0.00%      72.80            0.00    0.00%         72.80    Restaurant 2 Beverage Revenue              151.80   57.55%         0.00      0.00%    151.80             0.00    0.00%       151.80
            0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                             0.00     0.00%        0.00       0.00%     0.00             0.00     0.00%        0.00

           72.80    21.96%         0.00    0.00%      72.80            0.00    0.00%         72.80    Total Restaurant 2 Beverage Revenue        151.80   57.55%         0.00      0.00%    151.80             0.00    0.00%       151.80

          331.47    100.00%        0.00    0.00%    331.47             0.00    0.00%       331.47     Total Restaurant 2 Revenue                 263.76   100.00%        0.00      0.00%    263.76       28,981.60 100.00%      -28,717.84

                                                                                                      Cost of Sales

            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Cost of Sales             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

          331.47    100.00%        0.00    0.00%    331.47             0.00    0.00%       331.47     Restaurant 2 Gross Profit                  263.76   100.00%        0.00      0.00%    263.76       28,981.60 100.00%      -28,717.84

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Management                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00
            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Non-Management            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Salaries and Wages        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

                                                                                                      PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00
            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00
            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 PR Taxes and Benefits     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Payroll                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

                                                                                                      Other Expenses
            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Other Expenses            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

            0.00      0.00%        0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Expenses                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%         0.00

          331.47    100.00%        0.00    0.00%    331.47             0.00    0.00%       331.47     Total Restaurant 2 Profit (Loss)           263.76   100.00%        0.00      0.00%    263.76       28,981.60 100.00%      -28,717.84




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                                YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Room Service
                                                                                                       Food Revenue
          -105.53   100.00%          0.00   0.00%    -105.53            0.00    0.00%       -105.53    Food-Dinner                                306.96   100.00%          0.00     0.00%     306.96            0.00    0.00%     306.96

         -105.53    100.00%         0.00    0.00%    -105.53            0.00    0.00%       -105.53    Room Service Food Revenue                  306.96   100.00%         0.00      0.00%    306.96             0.00    0.00%    306.96
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                             0.00      0.00%        0.00       0.00%     0.00             0.00     0.00%     0.00

         -105.53    100.00%         0.00    0.00%    -105.53            0.00    0.00%       -105.53    Total Room Service Food Revenue            306.96   100.00%         0.00      0.00%    306.96             0.00    0.00%    306.96

                                                                                                       Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Beverage Revenue                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                             0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Beverage Revenue          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Other Revenue             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

         -105.53    100.00%         0.00    0.00%    -105.53            0.00    0.00%       -105.53    Total Room Service Revenue                 306.96   100.00%         0.00      0.00%    306.96             0.00    0.00%    306.96

                                                                                                       Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Cost of Sales             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

         -105.53    100.00%         0.00    0.00%    -105.53            0.00    0.00%       -105.53    Room Service Gross Profit                  306.96   100.00%         0.00      0.00%    306.96             0.00    0.00%    306.96

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Management                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Non-Management            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Salaries and Wages        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                       0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                         0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service PR Taxes and Benefits     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Payroll                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Other Expenses            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Expenses                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

         -105.53    100.00%         0.00    0.00%    -105.53            0.00    0.00%       -105.53    Total Room Service Profit (Loss)           306.96   100.00%         0.00      0.00%    306.96             0.00    0.00%    306.96




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             PTD      %        PTD Budget     %       Variance   PTD Last Year     %           Variance                                           YTD     %        YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                          Banquets
                                                                                                          Food Revenue
             0.00     0.00%          0.00     0.00%      0.00            0.00      0.00%          0.00    Food-Breakfast                        281.85     4.07%         0.00     0.00%      281.85          180.00     2.52%       101.85
             0.00     0.00%          0.00     0.00%      0.00            0.00      0.00%          0.00    Food-Lunch                            287.20     4.14%         0.00     0.00%      287.20        2,410.30    33.81%    -2,123.10
             0.00     0.00%          0.00     0.00%      0.00            0.00      0.00%          0.00    Food-Brunch                            99.50     1.44%         0.00     0.00%       99.50            0.00     0.00%        99.50
             0.00     0.00%          0.00     0.00%      0.00            0.00      0.00%          0.00    Food-Breaks                            50.00     0.72%         0.00     0.00%       50.00          104.85     1.47%       -54.85

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Banquets Food Revenue                718.55    10.37%         0.00      0.00%     718.55        2,695.15     37.80%    -1,976.60
            0.00       0.00%        0.00      0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                       0.00      0.00%        0.00       0.00%      0.00            0.00       0.00%        0.00

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Banquets Food Revenue          718.55    10.37%         0.00      0.00%     718.55        2,695.15     37.80%    -1,976.60

                                                                                                          Beverage Revenue

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Banquets Beverage Revenue               0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%        0.00
            0.00       0.00%        0.00      0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                        0.00     0.00%        0.00       0.00%       0.00            0.00      0.00%       0.00

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Banquets Beverage Revenue         0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%        0.00

                                                                                                          Other Revenue
             0.00     0.00%         0.00      0.00%      0.00            0.00      0.00%          0.00    Audio/Visual Income                   225.00     3.25%         0.00     0.00%      225.00           37.50     0.53%       187.50
             0.00     0.00%         0.00      0.00%      0.00            0.00      0.00%          0.00    Other Revenue                         770.98    11.12%         0.00     0.00%      770.98            0.00     0.00%       770.98
             0.00     0.00%         0.00      0.00%      0.00            0.00      0.00%          0.00    Setup Fee                             249.24     3.60%         0.00     0.00%      249.24          997.04    13.98%      -747.80
             0.00     0.00%       450.00    100.00%   -450.00          200.00    100.00%       -200.00    Public Room Rental                  4,968.00    71.67%     3,150.00   100.00%    1,818.00        3,400.00    47.69%     1,568.00

            0.00      0.00%       450.00    100.00%   -450.00         200.00     100.00%       -200.00    Total Banquets Other Revenue        6,213.22   89.63%     3,150.00 100.00%       3,063.22       4,434.54     62.20%    1,778.68

            0.00      0.00%       450.00    100.00%   -450.00         200.00     100.00%       -200.00    Total Banquets Revenue              6,931.77   100.00%    3,150.00 100.00%       3,781.77       7,129.69 100.00%        -197.92

                                                                                                          Cost of Sales

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Banquets Cost of Sales            0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%        0.00

            0.00      0.00%       450.00    100.00%   -450.00         200.00     100.00%       -200.00    Gross Profit                        6,931.77   100.00%    3,150.00 100.00%       3,781.77       7,129.69 100.00%        -197.92

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Banquets Management               0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%        0.00

            0.00       0.00%        0.00      0.00%      0.00            0.00      0.00%          0.00    Servers                                 0.00     0.00%        0.00       0.00%       0.00          475.58      6.67%     -475.58
            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Banquets Non-Management           0.00    0.00%         0.00      0.00%        0.00         475.58      6.67%     -475.58

            0.00                    0.00                 0.00            0.00                     0.00    Total Banquets Salaries and Wages       0.00                  0.00                   0.00         475.58                -475.58

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%        0.00
            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%        0.00
            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%        0.00

            0.00                    0.00                 0.00            0.00                     0.00    Total Banquet Benefits                  0.00                  0.00                   0.00            0.00                  0.00

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Banquets Payroll                  0.00    0.00%         0.00      0.00%        0.00         475.58      6.67%     -475.58

                                                                                                          Other Expenses
            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Banquets Other Expenses           0.00    0.00%         0.00      0.00%        0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00     0.00%       0.00            0.00     0.00%           0.00    Total Banquets Expenses                 0.00    0.00%         0.00      0.00%        0.00         475.58      6.67%     -475.58

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             PTD      %       PTD Budget     %       Variance   PTD Last Year     %           Variance                                         YTD     %        YTD Budget %         Variance   YTD Last Year    %       Variance


            0.00      0.00%      450.00    100.00%   -450.00         200.00     100.00%       -200.00    Total Banquets Profit (Loss)      6,931.77   100.00%    3,150.00 100.00%   3,781.77       6,654.11     93.33%   277.66




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Catering
                                                                                                       Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year     %        Variance

                                                                                                         Restaurant 3
                                                                                                         Food Revenue
             0.00     0.00%          0.00   0.00%       0.00            8.30    100.00%         -8.30    Food-Breakfast                                  0.00   0.00%          0.00     0.00%       0.00        7,371.85    100.00%   -7,371.85

            0.00      0.00%         0.00    0.00%       0.00            8.30    100.00%         -8.30    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00       7,371.85 100.00%       -7,371.85
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00           0.00    0.00%           0.00

            0.00      0.00%         0.00    0.00%       0.00            8.30    100.00%         -8.30    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00       7,371.85 100.00%       -7,371.85

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00      0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            8.30    100.00%         -8.30    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00       7,371.85 100.00%       -7,371.85

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            8.30    100.00%         -8.30    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00       7,371.85 100.00%       -7,371.85

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%          0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00    0.00%       0.00            8.30    100.00%         -8.30    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00       7,371.85 100.00%       -7,371.85




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 4
                                                                                                       Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 5
                                                                                                       Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget     %          Variance   PTD Last Year     %           Variance                                         YTD    %           YTD Budget %               Variance   YTD Last Year    %         Variance

                                                                                                             Bar 1
                                                                                                             Food Revenue

            0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Bar 1 Food Revenue                    0.00   0.00%            0.00      0.00%          0.00            0.00    0.00%         0.00
            0.00       0.00%        0.00       0.00%        0.00            0.00       0.00%         0.00    Less: Adjustments                     0.00    0.00%           0.00       0.00%         0.00            0.00     0.00%        0.00

            0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Total Bar 1 Food Revenue              0.00   0.00%            0.00      0.00%          0.00            0.00    0.00%         0.00

                                                                                                             Beverage Revenue
             0.00     0.00%      2,500.00    64.94%    -2,500.00            0.00      0.00%          0.00    Liquor                                0.00       0.00%    17,250.00     66.22%   -17,250.00        5,507.25    32.92%    -5,507.25
             0.00     0.00%      1,000.00    25.97%    -1,000.00          244.25     66.69%       -244.25    Beer                                  0.00       0.00%     6,250.00     23.99%    -6,250.00        5,802.56    34.68%    -5,802.56
             0.00     0.00%        350.00     9.09%      -350.00          122.00     33.31%       -122.00    Wine                                  0.00       0.00%     2,550.00      9.79%    -2,550.00        5,419.65    32.40%    -5,419.65

            0.00      0.00%     3,850.00    100.00%    -3,850.00         366.25     100.00%       -366.25    Bar 1 Beverage Revenue                0.00   0.00%       26,050.00 100.00%       -26,050.00      16,729.46 100.00%      -16,729.46
            0.00       0.00%        0.00       0.00%        0.00           0.00        0.00%         0.00    Less: Adjustments                     0.00    0.00%           0.00    0.00%            0.00           0.00    0.00%           0.00

            0.00      0.00%     3,850.00    100.00%    -3,850.00         366.25     100.00%       -366.25    Total Bar 1 Beverage Revenue          0.00   0.00%       26,050.00 100.00%       -26,050.00      16,729.46 100.00%      -16,729.46

                                                                                                             Other Revenue

            0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Total Bar 1 Other Revenue             0.00   0.00%            0.00      0.00%          0.00            0.00    0.00%         0.00

            0.00      0.00%     3,850.00    100.00%    -3,850.00         366.25     100.00%       -366.25    Total Bar 1 Revenue                   0.00   0.00%       26,050.00 100.00%       -26,050.00      16,729.46 100.00%      -16,729.46

                                                                                                             Cost of Sales
             0.00     0.00%       924.00     24.00%      -924.00            0.00      0.00%          0.00    Beverage Purchases                    0.00       0.00%     6,252.00     24.00%     -6,252.00           0.00    0.00%          0.00

            0.00      0.00%       924.00     24.00%     -924.00             0.00      0.00%          0.00    Total Bar 1 Cost of Sales             0.00   0.00%        6,252.00    24.00%      -6,252.00            0.00    0.00%         0.00

            0.00      0.00%     2,926.00     76.00%    -2,926.00         366.25     100.00%       -366.25    Gross Profit                          0.00   0.00%       19,798.00    76.00%     -19,798.00      16,729.46 100.00%      -16,729.46

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
            0.00       0.00%     2,480.00     64.42%    -2,480.00           0.00       0.00%         0.00    Bartenders                            0.00    0.00%       24,320.00    93.36%     -24,320.00           0.00     0.00%        0.00
            0.00      0.00%     2,480.00     64.42%    -2,480.00            0.00      0.00%          0.00    Total Bar 1 Non-Management            0.00   0.00%       24,320.00    93.36%     -24,320.00            0.00    0.00%         0.00

            0.00      0.00%     2,480.00     64.42%    -2,480.00            0.00      0.00%          0.00    Total Bar 1 Salaries and Wages        0.00   0.00%       24,320.00    93.36%     -24,320.00            0.00    0.00%         0.00

                                                                                                             PR Taxes and Benefits
            0.00       0.00%       213.28      5.54%     -213.28            0.00       0.00%         0.00    FICA                                  0.00    0.00%        2,019.92      7.75%     -2,019.92           0.00     0.00%        0.00
            0.00       0.00%         1.17      0.03%       -1.17            0.00       0.00%         0.00    Federal Unemployment Tax              0.00    0.00%           40.82      0.16%        -40.82           0.00     0.00%        0.00
            0.00       0.00%         2.79      0.07%       -2.79            0.00       0.00%         0.00    State Unemployment Tax                0.00    0.00%          124.52      0.48%       -124.52           0.00     0.00%        0.00
            0.00      0.00%       217.24      5.64%     -217.24             0.00      0.00%          0.00    Total Payroll Taxes                   0.00   0.00%        2,185.26      8.39%     -2,185.26            0.00    0.00%         0.00
            0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%          0.00    Total Supplemental Pay                0.00   0.00%             0.00     0.00%           0.00           0.00    0.00%         0.00
            0.00       0.00%       108.82      2.83%     -108.82            0.00       0.00%         0.00    Worker's Compensation                 0.00    0.00%        1,158.33      4.45%     -1,158.33           0.00     0.00%        0.00
            0.00      0.00%       108.82      2.83%     -108.82             0.00      0.00%          0.00    Total Other Benefits                  0.00   0.00%        1,158.33      4.45%     -1,158.33            0.00    0.00%         0.00

            0.00      0.00%       326.06      8.47%     -326.06             0.00      0.00%          0.00    Total Bar 1 PR Taxes and Benefits     0.00   0.00%        3,343.59    12.84%      -3,343.59            0.00    0.00%         0.00

            0.00      0.00%     2,806.06     72.88%    -2,806.06            0.00      0.00%          0.00    Total Bar 1 Payroll                   0.00   0.00%       27,663.59 106.19%       -27,663.59            0.00    0.00%         0.00

                                                                                                             Other Expenses
            0.00       0.00%        0.00       0.00%        0.00            0.00       0.00%         0.00    Licenses/Permits                      0.00    0.00%           0.00       0.00%         0.00          770.00     4.60%      -770.00
            0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    Total Bar 1 Other Expenses            0.00   0.00%            0.00      0.00%          0.00         770.00     4.60%      -770.00

            0.00      0.00%     2,806.06     72.88%    -2,806.06            0.00      0.00%          0.00    Total Bar 1 Expenses                  0.00   0.00%       27,663.59 106.19%       -27,663.59         770.00     4.60%      -770.00


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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %           Variance                                         YTD    %       YTD Budget %         Variance   YTD Last Year    %         Variance

            0.00      0.00%      119.94    3.12%   -119.94         366.25     100.00%       -366.25    Total Bar 1 Profit (Loss)             0.00   0.00%   -7,865.59 -30.19%   7,865.59      15,959.46     95.40%   -15,959.46




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                         YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 2
                                                                                                       Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 2 Food Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Food Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 2 Beverage Revenue                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Beverage Revenue          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Other Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Cost of Sales             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expenses
                                                                                                       Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Non-Management            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Salaries and Wages        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 PR Taxes and Benefits     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Payroll                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Other Expenses            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Expenses                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Profit (Loss)             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                               YTD      %        YTD Budget %              Variance   YTD Last Year     %          Variance

                                                                                                         Telephone
           100.35   -33.14%          0.00   0.00%     100.35            0.50    100.00%         99.85    Local and Long Distance Revenue           537.16    95.95%          0.00     0.00%       537.16           48.80    100.00%       488.36
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%          0.00    Commissions - Other                         2.00     0.36%          0.00     0.00%         2.00            0.00      0.00%         2.00
          -399.12   131.82%          0.00   0.00%    -399.12            0.00      0.00%       -399.12    Other Telephone Revenue                    24.70     4.41%          0.00     0.00%        24.70            0.00      0.00%        24.70

         -298.77     98.68%         0.00    0.00%    -298.77            0.50    100.00%       -299.27    Telephone Revenue                        563.86    100.71%         0.00      0.00%      563.86            48.80 100.00%          515.06
            -4.00      1.32%        0.00     0.00%      -4.00           0.00       0.00%         -4.00   Adjustments Long Distance                  -4.00     -0.71%        0.00       0.00%       -4.00            0.00    0.00%           -4.00
            -4.00      1.32%        0.00     0.00%      -4.00           0.00       0.00%         -4.00   Less: Adjustments                          -4.00     -0.71%        0.00       0.00%       -4.00            0.00    0.00%           -4.00
         -302.77    100.00%         0.00    0.00%    -302.77            0.50    100.00%       -303.27    Total Telephone Revenue                  559.86    100.00%         0.00      0.00%      559.86            48.80 100.00%          511.06

                                                                                                         Cost of Sales
         1,556.87 -514.21%       1,495.00    0.00%     61.87        1,495.39
                                                                           299,078.00%          61.48    Cost of Sales - Local Calls            16,330.97 2,916.97%     14,950.00      0.00%    1,380.97       14,391.3729,490.51%       1,939.60
             0.00    0.00%           0.00    0.00%      0.00            0.00     0.00%           0.00    Cost of Sales - Commissions - Other        33.04     5.90%          0.00      0.00%       33.04            0.00     0.00%          33.04
             0.00    0.00%           0.00    0.00%      0.00            0.00     0.00%           0.00    Cost of Sales - Long Distance               0.00     0.00%          0.00      0.00%        0.00          181.41 371.74%          -181.41
        1,556.87 -514.21%       1,495.00    0.00%      61.87       1,495.39
                                                                          299,078.00%           61.48    Total Telephone Cost of Sales         16,364.01 2,922.88%     14,950.00      0.00%    1,414.01       14,572.78
                                                                                                                                                                                                                      29,862.25%        1,791.23

       -1,859.64    614.21%    -1,495.00    0.00%    -364.64      -1,494.89
                                                                        -298,978.00%          -364.75    Gross Profit                          -15,804.15 -2,822.88%   -14,950.00     0.00%     -854.15      -14,523.98
                                                                                                                                                                                                                     -29,762.25%       -1,280.17

                                                                                                         Other Expenses
           492.50 -162.66%       1,371.00    0.00%    -878.50       2,463.31
                                                                           492,662.00%       -1,970.81   Internet/Web Expense                    4,425.39    790.45%    13,710.00      0.00%    -9,284.61      13,832.6528,345.59%      -9,407.26
             0.00    0.00%           0.00    0.00%       0.00         100.0020,000.00%         -100.00   Miscellaneous Expense                       7.52      1.34%         0.00      0.00%         7.52       1,050.00 2,151.64%      -1,042.48
             0.00    0.00%           0.00    0.00%       0.00           0.00     0.00%            0.00   Operating Supplies                          0.00      0.00%         0.00      0.00%         0.00         405.66 831.27%          -405.66
             0.00    0.00%           0.00    0.00%       0.00           0.00     0.00%            0.00   Telephone Equipment                       342.99     61.26%         0.00      0.00%       342.99           0.00     0.00%         342.99
          492.50 -162.66%       1,371.00    0.00%    -878.50       2,563.31
                                                                          512,662.00%       -2,070.81    Total Telephone Other Expenses         4,775.90    853.05%    13,710.00      0.00%    -8,934.10      15,288.31
                                                                                                                                                                                                                      31,328.50%      -10,512.41

       -2,352.14    776.87%    -2,866.00    0.00%    513.86       -4,058.20
                                                                        -811,640.00%         1,706.06    Total Telephone Profit (Loss)         -20,580.05 -3,675.93%   -28,660.00     0.00%    8,079.95      -29,812.29
                                                                                                                                                                                                                     -61,090.76%        9,232.24




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             PTD      %       PTD Budget     %        Variance    PTD Last Year     %           Variance                                                      YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                            Minor Operating
                                                                                                            Income
             0.00    0.00%          0.00    0.00%          0.00           0.00     0.00%             0.00   Total Rental Income                               0.00    0.00%          0.00    0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%        75.00     4.67%       -75.00          34.66      1.00%          -34.66   Vending Commissions-Soda & Snack Machines     1,331.10     1.76%       750.00     6.53%       581.10         425.38      1.09%       905.72
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Vending Commissions Other                        66.00     0.09%         0.00     0.00%        66.00           0.00      0.00%        66.00
             0.00    0.00%         75.00    4.67%       -75.00           34.66     1.00%          -34.66    Total Vending Commission Income              1,397.10     1.85%       750.00     6.53%       647.10         425.38      1.09%       971.72
           764.54    11.34%         0.00     0.00%      764.54          916.52     26.53%        -151.98    Cancellation Fee - Rooms                     15,383.20    20.35%         0.00     0.00%    15,383.20      13,146.58     33.80%     2,236.62
          764.54    11.34%          0.00    0.00%      764.54          916.52     26.53%        -151.98     Total Cancellation Fee Income               15,383.20    20.35%          0.00    0.00%    15,383.20      13,146.58     33.80%     2,236.62
            63.03     0.93%        50.00     3.11%        13.03           0.00      0.00%           63.03   Guest Laundry                                   421.74     0.56%       500.00     4.35%       -78.26          98.05      0.25%       323.69
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Cash Discounts                                    0.00     0.00%         0.00     0.00%         0.00         819.38      2.11%      -819.38
           237.51     3.52%         0.00     0.00%      237.51          190.40      5.51%           47.11   Internet Access                               3,298.40     4.36%         0.00     0.00%     3,298.40       1,320.90      3.40%     1,977.50
           997.26    14.79%       250.00    15.56%      747.26            0.00      0.00%         997.26    Other Revenue 2                              10,342.95    13.68%     2,500.00    21.77%     7,842.95           0.00      0.00%    10,342.95
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Other Revenue 3                                 -50.87    -0.07%         0.00     0.00%       -50.87       4,313.70     11.09%    -4,364.57
         4,679.86    69.41%     1,231.20    76.65%    3,448.66        2,313.29     66.96%       2,366.57    Gift Shop Sales                              41,444.73    54.81%     7,731.90    67.34%    33,712.83      18,675.92     48.01%    22,768.81
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Other Revenue 6                               2,471.82     3.27%         0.00     0.00%     2,471.82           0.00      0.00%     2,471.82
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Pet Fees                                        500.00     0.66%         0.00     0.00%       500.00         100.00      0.26%       400.00
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Other Revenue 7                                 400.00     0.53%         0.00     0.00%       400.00           0.00      0.00%       400.00
        5,977.66    88.66%     1,531.20    95.33%    4,446.46        2,503.69     72.47%       3,473.97     Total Other Income                          58,828.77    77.81%    10,731.90    93.47%    48,096.87      25,327.95     65.11%    33,500.82

        6,742.20    100.00%    1,606.20    100.00%   5,136.00        3,454.87     100.00%      3,287.33     Total Minor Operating Income                75,609.07    100.00%   11,481.90 100.00%      64,127.17      38,899.91 100.00%       36,709.16

                                                                                                            Cost of Sales
             0.00     0.00%        32.50     2.02%      -32.50            0.00      0.00%           0.00    Cost of Sales - Guest Laundry                     0.00     0.00%       325.00     2.83%      -325.00          75.89      0.20%       -75.89
         1,905.63    28.26%       800.28    49.82%    1,105.35          304.27      8.81%       1,601.36    Cost of Sales - Gift Shop                    17,489.54    23.13%     5,025.75    43.77%    12,463.79       7,172.14     18.44%    10,317.40
        1,905.63    28.26%       832.78    51.85%    1,072.85          304.27      8.81%       1,601.36     Total Minor Operated Cost of Sales          17,489.54    23.13%     5,350.75    46.60%    12,138.79       7,248.03     18.63%    10,241.51

        4,836.57    71.74%       773.42    48.15%    4,063.15        3,150.60     91.19%       1,685.97     Total Minor Operated Profit (Loss)          58,119.53    76.87%     6,131.15    53.40%    51,988.38      31,651.88     81.37%    26,467.65




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                         YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Arcade
                                                                                                     Revenue

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Revenue                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Non-Management           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Salaries and Wages       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade PR Taxes and Benefits    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Payroll                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Other Expenses           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Expenses                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Profit (Loss)            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Waterpark
                                                                                                     Revenue
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                  Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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                                                                                                           As of 10/31/2021
             PTD      %       PTD Budget    %        Variance   PTD Last Year    %           Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                        Franchise Fees
           220.84     0.11%         0.00    0.00%      220.84           0.00     0.00%        220.84    Franchise Fees - IT Fees                     2,333.24    0.12%         0.00     0.00%    2,333.24            0.00     0.00%    2,333.24
        11,561.34     5.68%    13,271.44    5.28%   -1,710.10       6,787.97     5.36%      4,773.37    Franchise Fees - Royalty & Licenses        112,881.14    5.73%    79,290.64     5.22%   33,590.50       61,779.24     5.13%   51,101.90
           618.56     0.30%         0.00    0.00%      618.56         102.85     0.08%        515.71    Franchise Fees - Other                       7,322.97    0.37%         0.00     0.00%    7,322.97          635.25     0.05%    6,687.72
           404.50     0.20%         0.00    0.00%      404.50           0.00     0.00%        404.50    Franchise Fees - Reservations-GDS            2,837.50    0.14%         0.00     0.00%    2,837.50            0.00     0.00%    2,837.50
         3,585.80     1.76%     5,308.58    2.11%   -1,722.78       1,309.12     1.03%      2,276.68    Franchise Fees - Frequent Guest             28,706.54    1.46%    31,716.28     2.09%   -3,009.74       23,026.21     1.91%    5,680.33
        10,899.35     5.35%    13,654.04    5.43%   -2,754.69      11,547.33     9.13%       -647.98    Franchise Fees - Marketing Contributions   103,312.41    5.24%    81,576.51     5.37%   21,735.90       73,965.91     6.14%   29,346.50
             0.00     0.00%       816.67    0.33%     -816.67           0.00     0.00%          0.00    Franchise Fees - Reservations-Central            0.00    0.00%     8,166.70     0.54%   -8,166.70            0.00     0.00%        0.00

       27,290.39    13.41%    33,050.73    13.16%   -5,760.34     19,747.27     15.61%      7,543.12    Total Franchise Fees                       257,393.80   13.06%   200,750.13   13.22%    56,643.67     159,406.61     13.23%   97,987.19




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                                                                                     Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget    %         Variance    PTD Last Year    %           Variance                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
        10,219.77      5.02%    10,731.35     4.27%     -511.58        4,025.36      3.18%      6,194.41   Management- A&G                      99,881.33     5.07%    104,709.70     6.89%    -4,828.37      90,141.30      7.48%      9,740.03
       10,219.77      5.02%    10,731.35     4.27%     -511.58        4,025.36      3.18%      6,194.41    Total A&G Management                99,881.33     5.07%    104,709.70     6.89%    -4,828.37      90,141.30      7.48%      9,740.03
             0.00     0.00%          0.00    0.00%         0.00            0.00     0.00%           0.00   Total A&G Non-Management                  0.00    0.00%           0.00    0.00%          0.00           0.00     0.00%           0.00
       10,219.77      5.02%    10,731.35     4.27%     -511.58        4,025.36      3.18%      6,194.41    Total A&G Salaries and Wages        99,881.33     5.07%    104,709.70     6.89%    -4,828.37      90,141.30      7.48%      9,740.03
                                                                                                           PR Taxes and Benefits
           761.48      0.37%       853.09     0.34%       -91.61         625.24      0.49%        136.24   FICA                                  7,480.88     0.38%      8,349.70     0.55%      -868.82       7,274.30      0.60%        206.58
            10.70      0.01%         4.68     0.00%         6.02           0.00      0.00%         10.70   Federal Unemployment Tax                267.82     0.01%        173.25     0.01%        94.57           0.00      0.00%        267.82
            60.48      0.03%        11.15     0.00%        49.33           0.00      0.00%         60.48   State Unemployment Tax                1,432.24     0.07%        527.95     0.03%       904.29           0.00      0.00%      1,432.24
          832.66      0.41%       868.92     0.35%       -36.26         625.24      0.49%        207.42    Total Payroll Taxes                  9,180.94     0.47%      9,050.90     0.60%       130.04       7,274.30      0.60%      1,906.64
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%          0.00   Holiday                                   0.00     0.00%          0.00     0.00%         0.00       2,368.88      0.20%     -2,368.88
             0.00      0.00%       420.16     0.17%     -420.16          649.03      0.51%       -649.03   Vacation                                  0.00     0.00%      4,436.89     0.29%    -4,436.89      16,275.24      1.35%    -16,275.24
             0.00     0.00%       420.16     0.17%     -420.16          649.03      0.51%       -649.03    Total Supplemental Pay                    0.00    0.00%      4,436.89     0.29%    -4,436.89      18,644.12      1.55%    -18,644.12
           691.60      0.34%       489.34     0.19%      202.26          720.00      0.57%        -28.40   Worker's Compensation                 6,249.79     0.32%      5,197.30     0.34%     1,052.49       8,936.00      0.74%     -2,686.21
           785.69      0.39%         0.00     0.00%      785.69        1,645.78      1.30%       -860.09   Group Insurance                       7,242.16     0.37%          0.00     0.00%     7,242.16      14,989.92      1.24%     -7,747.76
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%          0.00   Bonus and Incentive Pay                   0.00     0.00%          0.00     0.00%         0.00       1,557.28      0.13%     -1,557.28
        1,477.29      0.73%       489.34     0.19%      987.95        2,365.78      1.87%       -888.49    Total Other Benefits                13,491.95     0.68%      5,197.30     0.34%     8,294.65      25,483.20      2.12%    -11,991.25
        2,309.95      1.13%     1,778.42     0.71%      531.53        3,640.05      2.88%     -1,330.10    Total A&G PR Taxes and Benefits     22,672.89     1.15%     18,685.09     1.23%     3,987.80      51,401.62      4.27%    -28,728.73
       12,529.72      6.16%    12,509.77     4.98%        19.95       7,665.41      6.06%      4,864.31    Total A&G Payroll                  122,554.22     6.22%    123,394.79     8.12%      -840.57     141,542.92     11.75%    -18,988.70
                                                                                                           Other Expenses
         1,000.00     0.49%      1,000.00     0.40%        0.00        2,000.00      1.58%     -1,000.00   Accounting/Audit Fees                12,000.00     0.61%     10,000.00     0.66%     2,000.00      20,000.00      1.66%    -8,000.00
         5,315.89     2.61%          0.00     0.00%    5,315.89          192.00      0.15%      5,123.89   Bad Debt Provision                   26,106.10     1.33%          0.00     0.00%    26,106.10       6,803.48      0.56%    19,302.62
           757.60     0.37%      1,150.00     0.46%     -392.40        1,015.65      0.80%       -258.05   Bank Charges                          7,478.41     0.38%     11,500.00     0.76%    -4,021.59      12,305.97      1.02%    -4,827.56
           -26.27    -0.01%          0.00     0.00%      -26.27            0.00      0.00%        -26.27   Cash Over/Short                         -73.41     0.00%          0.00     0.00%       -73.41         247.22      0.02%      -320.63
             0.00     0.00%         75.00     0.03%      -75.00            0.00      0.00%          0.00   Central Office - Travel Rebilled         81.25     0.00%        725.00     0.05%      -643.75           0.00      0.00%        81.25
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%          0.00   Central Office - Accounting Fees        160.00     0.01%          0.00     0.00%       160.00           0.00      0.00%       160.00
           475.00     0.23%        160.00     0.06%      315.00            0.00      0.00%        475.00   Central Office - IT Fees              3,605.00     0.18%      1,600.00     0.11%     2,005.00           0.00      0.00%     3,605.00
            60.00     0.03%         60.00     0.02%        0.00            0.00      0.00%         60.00   Communication Expense                   420.00     0.02%        600.00     0.04%      -180.00         262.81      0.02%       157.19
         4,730.39     2.32%      6,783.24     2.70%   -2,052.85        3,158.79      2.50%      1,571.60   Credit Card Commission               42,762.76     2.17%     41,007.38     2.70%     1,755.38      31,767.73      2.64%    10,995.03
             0.00     0.00%      1,015.00     0.40%   -1,015.00          959.98      0.76%       -959.98   Data Processing                       2,500.00     0.13%     10,150.00     0.67%    -7,650.00      11,010.47      0.91%    -8,510.47
            44.38     0.02%          0.00     0.00%       44.38          127.92      0.10%        -83.54   Dues and Subscriptions                  579.42     0.03%          0.00     0.00%       579.42       1,316.89      0.11%      -737.47
            46.46     0.02%        200.00     0.08%     -153.54            0.00      0.00%         46.46   Employee Relations                    1,330.35     0.07%      2,000.00     0.13%      -669.65       1,351.24      0.11%       -20.89
             0.00     0.00%          0.00     0.00%        0.00          166.28      0.13%       -166.28   Equipment Rental                          0.00     0.00%          0.00     0.00%         0.00       1,559.87      0.13%    -1,559.87
             0.00     0.00%          0.00     0.00%        0.00           44.38      0.04%        -44.38   Licenses/Permits                        728.04     0.04%          0.00     0.00%       728.04       3,376.24      0.28%    -2,648.20
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%          0.00   Meals and Entertainment                 268.79     0.01%          0.00     0.00%       268.79           0.00      0.00%       268.79
            65.17     0.03%          0.00     0.00%       65.17            0.00      0.00%         65.17   Miscellaneous Expense                -1,389.27    -0.07%          0.00     0.00%    -1,389.27           0.00      0.00%    -1,389.27
           152.83     0.08%        104.00     0.04%       48.83            0.00      0.00%        152.83   Office Equipment                      1,599.69     0.08%      1,040.00     0.07%       559.69           0.00      0.00%     1,599.69
           365.04     0.18%        250.00     0.10%      115.04          256.70      0.20%        108.34   Office Supplies                       2,503.40     0.13%      2,500.00     0.16%         3.40       1,554.00      0.13%       949.40
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%          0.00   Operating Supplies                      354.96     0.02%          0.00     0.00%       354.96           0.00      0.00%       354.96
           215.61     0.11%        378.00     0.15%     -162.39          247.45      0.20%        -31.84   Payroll Service Fees                  1,445.03     0.07%      3,780.00     0.25%    -2,334.97       4,541.44      0.38%    -3,096.41
            42.90     0.02%         50.00     0.02%       -7.10           18.06      0.01%         24.84   Postage                                 150.53     0.01%        500.00     0.03%      -349.47         293.49      0.02%      -142.96
         6,000.00     2.95%        150.00     0.06%    5,850.00            0.00      0.00%      6,000.00   Professional Fees - Legal            16,174.96     0.82%      1,500.00     0.10%    14,674.96           0.00      0.00%    16,174.96
            90.00     0.04%        500.00     0.20%     -410.00            0.00      0.00%         90.00   Professional Fees - Other            13,136.56     0.67%      5,000.00     0.33%     8,136.56       5,136.00      0.43%     8,000.56
             0.00     0.00%         75.00     0.03%      -75.00            0.00      0.00%          0.00   Recruitment Advertising                   0.00     0.00%        750.00     0.05%      -750.00       1,407.57      0.12%    -1,407.57
            57.90     0.03%          0.00     0.00%       57.90          183.28      0.14%       -125.38   Recruitment - Other                   1,051.50     0.05%          0.00     0.00%     1,051.50       1,070.71      0.09%       -19.21
         1,521.30     0.75%      3,500.00     1.39%   -1,978.70            0.00      0.00%      1,521.30   Security - Outside                   20,883.30     1.06%     35,000.00     2.30%   -14,116.70      14,277.34      1.18%     6,605.96
           417.69     0.21%        520.70     0.21%     -103.01            0.00      0.00%        417.69   Software Expense/Maintenance          7,876.90     0.40%      6,157.00     0.41%     1,719.90           0.00      0.00%     7,876.90
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%          0.00   Training                                175.33     0.01%          0.00     0.00%       175.33         851.02      0.07%      -675.69
             0.00     0.00%          0.00     0.00%        0.00            0.00      0.00%          0.00   Travel                                  911.27     0.05%          0.00     0.00%       911.27           0.00      0.00%       911.27
            42.99     0.02%          0.00     0.00%       42.99            0.00      0.00%         42.99   Uniforms                                835.81     0.04%          0.00     0.00%       835.81           0.00      0.00%       835.81
       21,374.88    10.50%     15,970.94     6.36%    5,403.94        8,370.49      6.62%     13,004.39    Total A&G Other Expenses           163,656.68     8.31%    133,809.38     8.81%    29,847.30     119,133.49      9.89%    44,523.19
       33,904.60    16.66%     28,480.71    11.34%    5,423.89       16,035.90     12.67%     17,868.70    Total A&G Expenses                 286,210.90    14.53%    257,204.17    16.93%    29,006.73     260,676.41     21.64%    25,534.49




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                                                                               Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                         YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     IT
                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wags
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Management                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Non-Management               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Salaries and Wages           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT PR Taxes and Benefits        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Payroll                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Cost of Services
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Cost of Services             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     System Costs
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Systems                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Other Expenses               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Expenses                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                 Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                            YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                       S&M
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
         5,535.71      2.72%     5,365.67    2.14%    170.04            0.00     0.00%      5,535.71   Division Management                 53,750.00    2.73%     52,354.84     3.45%     1,395.16      14,642.86     1.22%    39,107.14
             0.00      0.00%         0.00    0.00%      0.00            0.00     0.00%          0.00   Sales Managers                           0.00    0.00%          0.00     0.00%         0.00       8,349.62     0.69%    -8,349.62
        5,535.71      2.72%     5,365.67    2.14%    170.04             0.00    0.00%      5,535.71    Total S&M Management               53,750.00    2.73%     52,354.84     3.45%     1,395.16      22,992.48     1.91%    30,757.52
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00   Total S&M Non-Management                 0.00   0.00%           0.00    0.00%          0.00           0.00    0.00%          0.00

        5,535.71      2.72%     5,365.67    2.14%    170.04             0.00    0.00%      5,535.71    Total S&M Salaries and Wages       53,750.00    2.73%     52,354.84     3.45%     1,395.16      22,992.48     1.91%    30,757.52

                                                                                                       PR Taxes and Benefits
           412.48      0.20%       426.55    0.17%     -14.07           0.00     0.00%        412.48   FICA                                 3,987.74    0.20%      4,174.89     0.27%      -187.15       1,862.09     0.15%     2,125.65
             5.80      0.00%         2.34    0.00%       3.46           0.00     0.00%          5.80   Federal Unemployment Tax               139.56    0.01%         86.64     0.01%        52.92           0.00     0.00%       139.56
            32.76      0.02%         5.58    0.00%      27.18           0.00     0.00%         32.76   State Unemployment Tax                 741.53    0.04%        263.98     0.02%       477.55           0.00     0.00%       741.53
          451.04      0.22%       434.47    0.17%       16.57           0.00    0.00%        451.04    Total Payroll Taxes                 4,868.83    0.25%      4,525.51     0.30%       343.32       1,862.09     0.15%     3,006.74
             0.00      0.00%         0.00    0.00%       0.00           0.00     0.00%          0.00   Holiday                                  0.00    0.00%          0.00     0.00%         0.00         153.84     0.01%      -153.84
             0.00      0.00%       210.08    0.08%    -210.08           0.00     0.00%          0.00   Vacation                                 0.00    0.00%      2,218.46     0.15%    -2,218.46       1,449.08     0.12%    -1,449.08
             0.00     0.00%       210.08    0.08%    -210.08            0.00    0.00%           0.00   Total Supplemental Pay                   0.00   0.00%      2,218.46     0.15%    -2,218.46       1,602.92     0.13%    -1,602.92
           374.62      0.18%       244.67    0.10%     129.95           0.00     0.00%        374.62   Worker's Compensation                3,523.46    0.18%      2,598.65     0.17%       924.81           0.00     0.00%     3,523.46
           377.71      0.19%         0.00    0.00%     377.71           0.00     0.00%        377.71   Group Insurance                      4,838.70    0.25%          0.00     0.00%     4,838.70       4,469.32     0.37%       369.38
             0.00      0.00%         0.00    0.00%       0.00           0.00     0.00%          0.00   Bonus and Incentive Pay              4,062.50    0.21%          0.00     0.00%     4,062.50         195.93     0.02%     3,866.57
          752.33      0.37%       244.67    0.10%     507.66            0.00    0.00%        752.33    Total Other Benefits               12,424.66    0.63%      2,598.65     0.17%     9,826.01       4,665.25     0.39%     7,759.41
        1,203.37      0.59%       889.22    0.35%     314.15            0.00    0.00%      1,203.37    Total S&M PR Taxes and Benefits    17,293.49    0.88%      9,342.62     0.62%     7,950.87       8,130.26     0.67%     9,163.23

        6,739.08      3.31%     6,254.89    2.49%    484.19             0.00    0.00%      6,739.08    Total S&M Payroll                  71,043.49    3.61%     61,697.46     4.06%     9,346.03      31,122.74     2.58%    39,920.75

                                                                                                       Other Expenses
           440.00      0.22%         0.00    0.00%    440.00            0.00     0.00%        440.00   Advertising General                  3,965.00    0.20%          0.00     0.00%     3,965.00           0.00     0.00%     3,965.00
             0.00      0.00%       690.00    0.27%   -690.00          226.46     0.18%       -226.46   Advertising-Web/Internet               250.00    0.01%      7,935.00     0.52%    -7,685.00       2,752.26     0.23%    -2,502.26
             0.00      0.00%        50.00    0.02%     -50.00           0.00     0.00%          0.00   Communication Expense                  540.00    0.03%        500.00     0.03%        40.00         200.00     0.02%       340.00
         1,626.50      0.80%     1,381.00    0.55%    245.50          284.32     0.22%      1,342.18   Dues and Subscriptions              27,840.50    1.41%     18,399.00     1.21%     9,441.50       9,640.01     0.80%    18,200.49
            30.00      0.01%        50.00    0.02%     -20.00           0.00     0.00%         30.00   Meals and Entertainment                256.69    0.01%        500.00     0.03%      -243.31          31.01     0.00%       225.68
             0.00      0.00%         0.00    0.00%       0.00           0.00     0.00%          0.00   Office Supplies                        394.00    0.02%          0.00     0.00%       394.00          25.00     0.00%       369.00
             0.00      0.00%         0.00    0.00%       0.00           0.00     0.00%          0.00   Postage                                166.51    0.01%          0.00     0.00%       166.51           0.00     0.00%       166.51
             0.00      0.00%        25.00    0.01%     -25.00           0.00     0.00%          0.00   Printing and Stationery                125.57    0.01%        250.00     0.02%      -124.43           0.00     0.00%       125.57
             0.00      0.00%        75.00    0.03%     -75.00           0.00     0.00%          0.00   Promotions - In-house                  153.99    0.01%        750.00     0.05%      -596.01       2,180.70     0.18%    -2,026.71
            10.33      0.01%         0.00    0.00%      10.33           0.00     0.00%         10.33   Promotion - Outside                    312.73    0.02%          0.00     0.00%       312.73           0.00     0.00%       312.73
             0.00      0.00%         0.00    0.00%       0.00           0.00     0.00%          0.00   Software Expense/Maintenance         7,021.41    0.36%     14,472.00     0.95%    -7,450.59           0.00     0.00%     7,021.41
             0.00      0.00%         0.00    0.00%       0.00           0.00     0.00%          0.00   Trade Shows                          1,195.00    0.06%          0.00     0.00%     1,195.00           0.00     0.00%     1,195.00
            87.00      0.04%         0.00    0.00%      87.00         373.45     0.30%       -286.45   Training                             2,930.00    0.15%      1,500.00     0.10%     1,430.00       1,173.37     0.10%     1,756.63
             8.85      0.00%         0.00    0.00%       8.85           0.00     0.00%          8.85   Travel                               1,277.94    0.06%          0.00     0.00%     1,277.94         301.36     0.03%       976.58
        2,202.68      1.08%     2,271.00    0.90%     -68.32         884.23     0.70%      1,318.45    Total S&M Other Expenses           46,429.34    2.36%     44,306.00     2.92%     2,123.34      16,303.71     1.35%    30,125.63

        8,941.76      4.39%     8,525.89    3.39%    415.87          884.23     0.70%      8,057.53    Total S&M Expenses                117,472.83    5.96%    106,003.46     6.98%    11,469.37      47,426.45     3.94%    70,046.38




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                                                                                   Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %         Variance    PTD Last Year   %           Variance                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                         R&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         3,832.40      1.88%     3,714.70    1.48%      117.70        2,241.76     1.77%      1,590.64   Division Management                   14,019.39    0.71%    36,245.67      2.39%    -22,226.28      18,857.31     1.57%     -4,837.92
        3,832.40      1.88%     3,714.70    1.48%      117.70        2,241.76     1.77%      1,590.64    Total R&M Management                 14,019.39    0.71%    36,245.67      2.39%    -22,226.28      18,857.31     1.57%     -4,837.92
         2,481.55      1.22%     3,011.43    1.20%     -529.88        2,461.41     1.95%         20.14   Engineers 1                           26,651.46    1.35%    29,531.45      1.94%     -2,879.99      35,391.89     2.94%     -8,740.43
        2,481.55      1.22%     3,011.43    1.20%     -529.88        2,461.41     1.95%          20.14   Total R&M Non-Management             26,651.46    1.35%    29,531.45      1.94%     -2,879.99      35,391.89     2.94%     -8,740.43

        6,313.95      3.10%     6,726.13    2.68%     -412.18        4,703.17     3.72%      1,610.78    Total R&M Salaries and Wages         40,670.85    2.06%    65,777.12      4.33%    -25,106.27      54,249.20     4.50%    -13,578.35

                                                                                                         PR Taxes and Benefits
           470.46      0.23%       525.67    0.21%       -55.21         290.82     0.23%        179.64   FICA                                   2,907.41    0.15%     5,149.42      0.34%     -2,242.01       4,192.31     0.35%     -1,284.90
             6.60      0.00%         2.89    0.00%         3.71           0.00     0.00%          6.60   Federal Unemployment Tax                  95.87    0.00%       107.05      0.01%        -11.18           0.00     0.00%         95.87
            37.37      0.02%         6.87    0.00%        30.50           0.00     0.00%         37.37   State Unemployment Tax                   556.14    0.03%       326.05      0.02%        230.09           0.00     0.00%        556.14
          514.43      0.25%       535.43    0.21%       -21.00         290.82     0.23%        223.61    Total Payroll Taxes                   3,559.42    0.18%     5,582.52      0.37%     -2,023.10       4,192.31     0.35%       -632.89
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00   Holiday                                    0.00    0.00%         0.00      0.00%          0.00         905.28     0.08%       -905.28
             0.00      0.00%       145.44    0.06%     -145.44          676.76     0.53%       -676.76   Vacation                                   0.00    0.00%     1,535.84      0.10%     -1,535.84       5,846.12     0.49%     -5,846.12
             0.00     0.00%       145.44    0.06%     -145.44          676.76     0.53%       -676.76    Total Supplemental Pay                     0.00   0.00%     1,535.84      0.10%     -1,535.84       6,751.40     0.56%     -6,751.40
           426.60      0.21%       301.53    0.12%      125.07            0.00     0.00%        426.60   Worker's Compensation                  2,718.56    0.14%     3,205.60      0.21%       -487.04           0.00     0.00%      2,718.56
           625.33      0.31%         0.00    0.00%      625.33           98.89     0.08%        526.44   Group Insurance                        3,888.78    0.20%         0.00      0.00%      3,888.78       4,794.22     0.40%       -905.44
        1,051.93      0.52%       301.53    0.12%      750.40            98.89    0.08%        953.04    Total Other Benefits                  6,607.34    0.34%     3,205.60      0.21%      3,401.74       4,794.22     0.40%      1,813.12
        1,566.36      0.77%       982.40    0.39%      583.96        1,066.47     0.84%        499.89    Total R&M PR Taxes and Benefits      10,166.76    0.52%    10,323.96      0.68%       -157.20      15,737.93     1.31%     -5,571.17

        7,880.31      3.87%     7,708.53    3.07%     171.78         5,769.64     4.56%      2,110.67    Total R&M Payroll                    50,837.61    2.58%    76,101.08      5.01%    -25,263.47      69,987.13     5.81%    -19,149.52

                                                                                                         Other Expenses
             0.00     0.00%        300.00   0.12%      -300.00            0.00    0.00%          0.00    Air Conditioning and Refrigeration    3,007.63    0.15%      3,000.00     0.20%          7.63        4,367.22    0.36%     -1,359.59
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Audio Visual Repair                     216.50    0.01%          0.00     0.00%        216.50            0.00    0.00%        216.50
             0.00     0.00%        500.00   0.20%      -500.00          241.73    0.19%       -241.73    Building                              7,012.93    0.36%      5,000.00     0.33%      2,012.93        3,104.53    0.26%      3,908.40
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Communication Expense                   343.71    0.02%          0.00     0.00%        343.71           60.00    0.00%        283.71
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Contract Labor                            0.00    0.00%      5,500.00     0.36%     -5,500.00            0.00    0.00%          0.00
           239.94     0.12%        150.00   0.06%        89.94            0.00    0.00%        239.94    Electric Bulbs                        5,032.70    0.26%      1,500.00     0.10%      3,532.70        1,435.88    0.12%      3,596.82
             0.00     0.00%        150.00   0.06%      -150.00            0.00    0.00%          0.00    EcoSave                                   0.00    0.00%      1,500.00     0.10%     -1,500.00            0.00    0.00%          0.00
           213.42     0.10%        150.00   0.06%        63.42            0.00    0.00%        213.42    Electrical and Mechanical             3,109.71    0.16%      1,500.00     0.10%      1,609.71        1,391.16    0.12%      1,718.55
             0.00     0.00%      1,307.00   0.52%    -1,307.00            0.00    0.00%          0.00    Elevator Maintenance Contracts            8.39    0.00%     13,070.00     0.86%    -13,061.61            0.00    0.00%          8.39
           132.09     0.06%          0.00   0.00%       132.09            0.00    0.00%        132.09    Equipment Maintenance                   325.24    0.02%          0.00     0.00%        325.24        9,512.32    0.79%     -9,187.08
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Equipment Rental                        110.76    0.01%          0.00     0.00%        110.76            0.00    0.00%        110.76
             0.00     0.00%        250.00   0.10%      -250.00            0.00    0.00%          0.00    Fire Safety Equipment                 6,047.18    0.31%      4,490.00     0.30%      1,557.18        7,944.35    0.66%     -1,897.17
            35.39     0.02%          0.00   0.00%        35.39            0.00    0.00%         35.39    Floor and Carpet Maintenance            339.56    0.02%          0.00     0.00%        339.56          555.50    0.05%       -215.94
           121.72     0.06%          0.00   0.00%       121.72            0.00    0.00%        121.72    Furniture                               121.72    0.01%      1,950.00     0.13%     -1,828.28          -30.90    0.00%        152.62
             0.00     0.00%      1,300.00   0.52%    -1,300.00            0.00    0.00%          0.00    Grounds and Landscaping              11,442.27    0.58%     13,000.00     0.86%     -1,557.73        7,141.43    0.59%      4,300.84
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Indoor Plant Maintenance                  0.00    0.00%          0.00     0.00%          0.00          156.06    0.01%       -156.06
             0.00     0.00%        100.00   0.04%      -100.00            0.00    0.00%          0.00    Kitchen Equipment Repairs                 0.00    0.00%      1,000.00     0.07%     -1,000.00          830.20    0.07%       -830.20
             0.00     0.00%        100.00   0.04%      -100.00            0.00    0.00%          0.00    Laundry Equipment Repairs               574.90    0.03%      1,000.00     0.07%       -425.10          806.38    0.07%       -231.48
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Licenses/Permits                      1,730.72    0.09%          0.00     0.00%      1,730.72          317.86    0.03%      1,412.86
           233.70     0.11%         75.00   0.03%       158.70            0.00    0.00%        233.70    Locks and Keys                        1,716.28    0.09%        750.00     0.05%        966.28          292.27    0.02%      1,424.01
             0.00     0.00%        100.00   0.04%      -100.00            0.00    0.00%          0.00    Miscellaneous Expense                     6.00    0.00%      1,000.00     0.07%       -994.00            0.00    0.00%          6.00
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Office Supplies                         616.73    0.03%          0.00     0.00%        616.73            0.00    0.00%        616.73
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Operating Supplies                        7.01    0.00%          0.00     0.00%          7.01            0.00    0.00%          7.01
             0.00     0.00%        125.00   0.05%      -125.00            0.00    0.00%          0.00    Painting and Decorating                 258.62    0.01%      1,250.00     0.08%       -991.38          919.45    0.08%       -660.83
             0.00     0.00%        794.00   0.32%      -794.00          668.85    0.53%       -668.85    Pest Control                          4,989.29    0.25%      7,940.00     0.52%     -2,950.71        5,133.01    0.43%       -143.72
         2,716.42     1.33%        350.00   0.14%     2,366.42        1,203.92    0.95%      1,512.50    Plumbing and Heating                 16,179.13    0.82%      3,500.00     0.23%     12,679.13       14,624.90    1.21%      1,554.23
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Pool Chemicals                        1,441.45    0.07%          0.00     0.00%      1,441.45            0.00    0.00%      1,441.45
             0.00     0.00%        450.00   0.18%      -450.00            0.00    0.00%          0.00    Pool Service- Contract                  765.34    0.04%      4,500.00     0.30%     -3,734.66        2,807.29    0.23%     -2,041.95
             0.00     0.00%        100.00   0.04%      -100.00            0.00    0.00%          0.00    Radio and Television Repair               0.00    0.00%      1,000.00     0.07%     -1,000.00           29.90    0.00%        -29.90
           197.00     0.10%        197.00   0.08%         0.00            0.00    0.00%        197.00    Software Expense/Maintenance            985.00    0.05%      2,470.00     0.16%     -1,485.00            0.00    0.00%        985.00
            49.48     0.02%         50.00   0.02%        -0.52            0.00    0.00%         49.48    Tools                                   410.92    0.02%        500.00     0.03%        -89.08            0.00    0.00%        410.92
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%          0.00    Travel                                    0.00    0.00%        500.00     0.03%       -500.00            0.00    0.00%          0.00
            42.99     0.02%        150.00   0.06%      -107.01            0.00    0.00%         42.99    Uniforms                                184.05    0.01%        600.00     0.04%       -415.95            0.00    0.00%        184.05
           556.90     0.27%        305.00   0.12%       251.90          304.84    0.24%        252.06    Waste Removal                         5,709.75    0.29%      3,050.00     0.20%      2,659.75        4,234.91    0.35%      1,474.84
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                                                                                Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                    P&L - Dual Summary Pages
                                                                                                         As of 10/31/2021
             PTD      %       PTD Budget   %        Variance   PTD Last Year   %           Variance                                         YTD    %       YTD Budget %             Variance   YTD Last Year    %         Variance

        4,539.05      2.23%    7,003.00    2.79%   -2,463.95      2,419.34     1.91%      2,119.71    Total R&M Other Expenses         72,693.49   3.69%    79,570.00     5.24%    -6,876.51     65,633.72     5.45%     7,059.77

       12,419.36      6.10%   14,711.53    5.86%   -2,292.17      8,188.98     6.47%      4,230.38    Total R&M Expenses              123,531.10   6.27%   155,671.08   10.25%    -32,139.98    135,620.85     11.26%   -12,089.75




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                                                                                    Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year    %           Variance                                          YTD    %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                          Utilities
         3,649.69      1.79%     4,678.56    1.86%    -1,028.87       6,609.43      5.22%     -2,959.74   Water                             35,317.12    1.79%     29,381.22     1.93%     5,935.90      35,605.03      2.96%      -287.91
        10,351.14      5.09%    10,916.64    4.35%      -565.50       9,167.15      7.25%      1,183.99   Electricity                      104,370.21    5.30%     68,556.18     4.51%    35,814.03      89,183.98      7.40%    15,186.23
           524.54      0.26%     1,313.28    0.52%      -788.74         872.48      0.69%       -347.94   Gas - Natural HLP                  8,649.90    0.44%      8,247.36     0.54%       402.54       7,411.51      0.62%     1,238.39
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Propane Tanks/Fuel                     2.00    0.00%          0.00     0.00%         2.00           0.00      0.00%         2.00
       14,525.37      7.14%    16,908.48    6.73%    -2,383.11      16,649.06     13.16%     -2,123.69    Total Utilities                 148,339.23    7.53%    106,184.76     6.99%    42,154.47     132,200.52     10.97%    16,138.71




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                                                                                   Company: HBTX Associates LLC Property: Courtyard Houston Brookhollow
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget    %         Variance   PTD Last Year    %           Variance                                          YTD     %        YTD Budget %              Variance   YTD Last Year    %              Variance

                                                                                                         Fixed
        18,135.00     8.91%    18,135.00     7.22%        0.00      18,134.92     14.33%          0.08   Real Estate Taxes                181,350.00     9.20%    181,350.00    11.94%         0.00      163,506.31    13.57%        17,843.69
             0.00     0.00%         0.00     0.00%        0.00        -627.17     -0.50%        627.17   Other Business Taxes                   0.00     0.00%          0.00     0.00%         0.00       49,494.11     4.11%       -49,494.11
       18,135.00     8.91%    18,135.00     7.22%         0.00     17,507.75     13.84%        627.25    Total Taxes                     181,350.00     9.20%    181,350.00    11.94%          0.00     213,000.42    17.68%       -31,650.42
           350.08     0.17%         0.00     0.00%      350.08       7,045.10      5.57%     -6,695.02   Insurance                          1,050.24     0.05%          0.00     0.00%     1,050.24       69,599.01     5.78%       -68,548.77
            31.67     0.02%         0.00     0.00%       31.67           0.00      0.00%         31.67   Insurance - Crime                     95.01     0.00%          0.00     0.00%        95.01            0.00     0.00%            95.01
           361.92     0.18%       125.00     0.05%      236.92           0.00      0.00%        361.92   Insurance - Employment             1,765.75     0.09%      1,250.00     0.08%       515.75            0.00     0.00%         1,765.75
         2,369.75     1.16%     2,068.50     0.82%      301.25           0.00      0.00%      2,369.75   Insurance - General Liability     23,626.75     1.20%     20,685.00     1.36%     2,941.75            0.00     0.00%        23,626.75
         3,831.67     1.88%     3,831.67     1.53%        0.00           0.00      0.00%      3,831.67   Insurance - Property              38,316.67     1.94%     38,316.70     2.52%        -0.03            0.00     0.00%        38,316.67
         3,684.00     1.81%     3,579.83     1.42%      104.17           0.00      0.00%      3,684.00   Insurance - Umbrella              36,110.84     1.83%     35,798.30     2.36%       312.54            0.00     0.00%        36,110.84
       10,629.09     5.22%     9,605.00     3.82%    1,024.09       7,045.10      5.57%      3,583.99    Total Insurance                 100,965.26     5.12%     96,050.00     6.32%     4,915.26       69,599.01     5.78%        31,366.25
        53,873.00    26.47%    53,873.00    21.44%        0.00      52,431.49     41.44%      1,441.51   Ground Lease Expense             532,962.00    27.05%    532,962.00    35.09%         0.00      520,105.09    43.17%        12,856.91
       53,873.00    26.47%    53,873.00    21.44%         0.00     52,431.49     41.44%      1,441.51    Total Leases & Rent             532,962.00    27.05%    532,962.00    35.09%          0.00     520,105.09    43.17%        12,856.91
         6,606.42     3.25%     7,536.94     3.00%     -930.52       3,158.00      2.50%      3,448.42   Management Fee - Base             68,686.43     3.49%     50,974.27     3.36%    17,712.16       30,086.00     2.50%        38,600.43
             0.00     0.00%         0.00     0.00%        0.00       3,703.55      2.93%     -3,703.55   Management Fee - Incentive             0.00     0.00%          0.00     0.00%         0.00       10,974.00     0.91%       -10,974.00
        6,606.42     3.25%     7,536.94     3.00%     -930.52       6,861.55      5.42%       -255.13    Total Management Fees            68,686.43     3.49%     50,974.27     3.36%    17,712.16       41,060.00     3.41%        27,626.43
         4,642.46     2.28%         0.00     0.00%    4,642.46      10,942.43      8.65%     -6,299.97   Capital Reserve                   37,791.49     1.92%          0.00     0.00%    37,791.49      109,424.30     9.08%       -71,632.81
             0.00     0.00%         0.00     0.00%        0.00      92,976.00     73.48%    -92,976.00   (Gain)/Loss-Insurance                  0.00     0.00%          0.00     0.00%         0.00      929,760.00    77.17%      -929,760.00
             0.00     0.00%         0.00     0.00%        0.00           0.00      0.00%          0.00   Owner's Expense                    5,584.08     0.28%          0.00     0.00%     5,584.08       18,599.63     1.54%       -13,015.55
             0.00     0.00%         0.00     0.00%        0.00           0.00      0.00%          0.00   Extraordinary Expense                  0.00     0.00%          0.00     0.00%         0.00        4,205.50     0.35%        -4,205.50
             0.00     0.00%         0.00     0.00%        0.00           0.00      0.00%          0.00   Prior Owner's Expense                317.20     0.02%          0.00     0.00%       317.20            0.00     0.00%           317.20
        4,642.46     2.28%          0.00    0.00%    4,642.46     103,918.43     82.13%    -99,275.97    Total Other Non-Operating        43,692.77     2.22%           0.00    0.00%    43,692.77    1,061,989.43    88.14%    -1,018,296.66




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                                                                                           Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                             P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %             Variance                                                        YTD     %          YTD Budget %               Variance   YTD Last Year     %           Variance

                                                                                                                Statistics
           109.00                   109.00                   0.00          109.00                        0.00   # Rooms                                            109.00                   109.00                     0.00         109.00                      0.00
         3,379.00                 3,379.00                   0.00        3,379.00                        0.00   Available Rooms                                 33,136.00                33,136.00                     0.00      33,245.00                   -109.00
         1,844.00                 1,692.00                 152.00        1,891.00                      -47.00   Room Nights Sold                                18,367.00                15,256.00                 3,111.00      19,282.00                   -915.00
          54.57%                   50.07%                  4.50%          55.96%                      -1.39%    Occupancy %                                       55.43%                   46.04%                    9.39%         58.00%                    -2.57%
           100.57                    83.68                  16.89           82.28                       18.29   ADR                                                119.02                    94.32                    24.70         110.54                      8.48
            54.88                    41.90                  12.98           46.05                        8.84   RevPar                                              65.97                    43.42                    22.55          64.11                      1.86

                                                                                                                Summary V.11
                                                                                                                Revenue
       185,452.65    98.59%    141,588.00     98.46%    43,864.65      155,594.47     98.25%       29,858.18    Rooms                                        2,186,023.81    98.03%    1,438,926.23    98.59%    747,097.58    2,131,499.83    98.38%     54,523.98
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00    F&B                                                  0.00     0.00%            0.00     0.00%          0.00            0.00     0.00%          0.00
         2,652.90     1.41%      2,217.00      1.54%       435.90        2,769.59      1.75%         -116.69    Other Departments                               43,923.93     1.97%       20,520.00     1.41%     23,403.93       35,116.30     1.62%      8,807.63

      188,105.55    100.00%    143,805.00    100.00%    44,300.55     158,364.06     100.00%       29,741.49    Total Operating Revenue                     2,229,947.74    100.00%   1,459,446.23 100.00%      770,501.51    2,166,616.13 100.00%        63,331.61

                                                                                                                Departmental Expenses
        67,420.36    36.35%     57,947.25     40.93%      9,473.11      41,686.74     26.79%       25,733.62    Rooms                                         602,972.89     27.58%     548,733.00     38.13%     54,239.89     454,877.40     21.34%    148,095.49
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%            0.00    F&B                                                 0.00      0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
         5,617.80   211.76%      3,107.80    140.18%      2,510.00       2,579.02     93.12%        3,038.78    Other Departments                              34,625.01     78.83%      30,005.50    146.23%      4,619.51      27,366.68     77.93%      7,258.33

       73,038.16    38.83%      61,055.05    42.46%     11,983.11      44,265.76     27.95%        28,772.40    Total Departmental Expenses                  637,597.90     28.59%     578,738.50     39.65%     58,859.40     482,244.08     22.26%    155,353.82

      115,067.39    61.17%      82,749.95    57.54%     32,317.44     114,098.30     72.05%           969.09    Total Departmental Profit                   1,592,349.84    71.41%     880,707.73     60.35%    711,642.11    1,684,372.05    77.74%     -92,022.21

                                                                                                                Undistributed Operating Expenses
        19,704.36    10.48%     16,635.81     11.57%      3,068.55      15,079.85      9.52%        4,624.51    A&G                                           262,754.36     11.78%     164,154.67     11.25%     98,599.69     232,887.21     10.75%     29,867.15
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%            0.00    IT                                                  0.00      0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
        16,256.04     8.64%     14,882.65     10.35%      1,373.39       6,188.85      3.91%       10,067.19    S&M                                            78,201.70      3.51%     116,783.00      8.00%    -38,581.30      55,987.80      2.58%     22,213.90
        20,623.50    10.96%     17,769.29     12.36%      2,854.21      16,845.74     10.64%        3,777.76    Franchise Fees                                253,098.89     11.35%     180,585.27     12.37%     72,513.62     229,526.21     10.59%     23,572.68
        15,195.48     8.08%     14,681.76     10.21%        513.72      10,434.45      6.59%        4,761.03    R&M                                           175,128.54      7.85%     112,009.65      7.67%     63,118.89      90,450.81      4.17%     84,677.73
        12,934.54     6.88%     11,048.76      7.68%      1,885.78      11,633.64      7.35%        1,300.90    Utilities                                     122,000.74      5.47%      99,713.10      6.83%     22,287.64     106,845.89      4.93%     15,154.85

       84,713.92    45.04%      75,018.27    52.17%      9,695.65      60,182.53     38.00%        24,531.39    Total Undistributed Expenses                 891,184.23     39.96%     673,245.69     46.13%    217,938.54     715,697.92     33.03%    175,486.31

       30,353.47    16.14%       7,731.68     5.38%     22,621.79      53,915.77     34.05%       -23,562.30    Gross Operating Profit                    701,165.61        31.44%     207,462.04     14.22%    493,703.57     968,674.13     44.71%    -267,508.52
         6,143.17     3.27%       4,500.00     3.13%      1,643.17       7,671.55      4.84%        -1,528.38   Management Fees                             73,043.77         3.28%      49,612.81      3.40%     23,430.96      65,140.00      3.01%       7,903.77
       24,210.30    12.87%       3,231.68     2.25%     20,978.62      46,244.22     29.20%       -22,033.92    Income Before Non-Operating Income and Expenses
                                                                                                                                                          628,121.84        28.17%     157,849.23     10.82%    470,272.61     903,534.13     41.70%    -275,412.29

                                                                                                                Non-Operating Income and Expenses
         7,237.67     3.85%       6,248.50     4.35%        989.17       4,712.72      2.98%         2,524.95   Insurance                                      66,542.35      2.98%      62,485.00      4.28%      4,057.35      45,166.37      2.08%      21,375.98
        37,203.44    19.78%      30,008.00    20.87%      7,195.44      33,680.43     21.27%         3,523.01   Leases & Rent                                 300,039.44     13.45%     292,844.00     20.07%      7,195.44     301,352.66     13.91%      -1,313.22
             0.00     0.00%           0.00     0.00%          0.00      45,397.77     28.67%       -45,397.77   Other                                             949.17      0.04%           0.00      0.00%        949.17     471,226.51     21.75%    -470,277.34
       44,441.11    23.63%      36,256.50    25.21%      8,184.61      83,790.92     52.91%       -39,349.81    Total Non-Operating Income and Expenses      367,530.96     16.48%     355,329.00     24.35%     12,201.96     817,745.54     37.74%    -450,214.58

      -20,230.81    -10.76%    -33,024.82    -22.97%    12,794.01     -37,546.70     -23.71%       17,315.89    EBITDA                                        260,590.88    11.69%    -197,479.77 -13.53%       458,070.65      85,788.59      3.96%     174,802.29
             0.00      0.00%          0.00      0.00%         0.00      21,100.00      13.32%      -21,100.00   Interest                                             0.00     0.00%           0.00   0.00%             0.00     210,688.35      9.72%    -210,688.35
         9,399.00      5.00%      9,399.42      6.54%        -0.42       9,207.36       5.81%          191.64   Taxes                                           95,684.84     4.29%      93,994.20   6.44%         1,690.64      92,073.60      4.25%       3,611.24
             0.00      0.00%          0.00      0.00%         0.00       2,282.00       1.44%       -2,282.00   Amortization                                         0.00     0.00%           0.00   0.00%             0.00      22,820.00      1.05%     -22,820.00
        9,399.00      5.00%      9,399.42      6.54%        -0.42      32,589.36      20.58%      -23,190.36    Interest, Taxes, Depreciation and Amortization 95,684.84     4.29%      93,994.20   6.44%         1,690.64     325,581.95     15.03%    -229,897.11

      -29,629.81    -15.75%    -42,424.24    -29.50%    12,794.43     -70,136.06     -44.29%       40,506.25    Net Income                                   164,906.04      7.40%    -291,473.97 -19.97%       456,380.01    -239,793.36     -11.07%   404,699.40




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                                                                                      Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                        P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %       PTD Budget    %         Variance   PTD Last Year    %             Variance                                             YTD      %         YTD Budget %              Variance   YTD Last Year     %          Variance

                                                                                                           Statistics
           109.00                 109.00                 0.00          109.00                       0.00   # Rooms                                109.00                    109.00                    0.00         109.00                    0.00
         3,379.00               3,379.00                 0.00        3,379.00                       0.00   Available Rooms                     33,136.00                 33,136.00                    0.00      33,245.00                 -109.00
         1,844.00               1,692.00               152.00        1,891.00                     -47.00   Room Nights Sold                    18,367.00                 15,256.00                3,111.00      19,282.00                 -915.00
             0.55                   0.50                 0.04            0.56                      -0.01   Occupancy %                              0.55                      0.46                    0.09           0.58                   -0.03
           100.57                  83.68                16.89           82.28                      18.29   ADR                                    119.02                     94.32                   24.70         110.54                    8.48
            54.88                  41.90                12.98           46.05                       8.84   RevPar                                  65.97                     43.42                   22.55          64.11                    1.86

                                                                                                           Summary
                                                                                                           Revenue:
       185,452.65    98.59%   141,588.00   98.46%    43,864.65     155,594.47    98.25%       29,858.18    Rooms                             2,186,023.81    98.03%    1,438,926.23    98.59%   747,097.58   2,131,499.83    98.38%     54,523.98
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    Food                                      0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    Beverage                                  0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    Other F&B Revenue                         0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    Telephone                                 0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         2,652.90     1.41%     2,217.00    1.54%       435.90       2,769.59     1.75%         -116.69    Other                                43,923.93     1.97%       20,520.00     1.41%    23,403.93      35,116.30     1.62%      8,807.63

       188,105.55   100.00%   143,805.00   100.00%   44,300.55     158,364.06    100.00%      29,741.49    Total Revenue                     2,229,947.74    100.00%   1,459,446.23   100.00%   770,501.51   2,166,616.13    100.00%    63,331.61



                                                                                                           Cost of Sales:
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    Food                                     0.00      0.00%            0.00     0.00%         0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    Beverage                                 0.00      0.00%            0.00     0.00%         0.00           0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    Other F&B                                0.00      0.00%            0.00     0.00%         0.00           0.00     0.00%           0.00
           778.72    29.35%       800.00   36.08%       -21.28         898.43    32.44%         -119.71    Telephone                            7,735.68     17.61%        8,000.00    38.99%      -264.32       7,974.22    22.71%        -238.54
         2,647.91    99.81%     1,104.80   49.83%     1,543.11         600.91    21.70%        2,047.00    Other                               15,310.96     34.86%        9,975.50    48.61%     5,335.46       8,899.42    25.34%       6,411.54

         3,426.63   129.17%     1,904.80   85.92%     1,521.83       1,499.34    54.14%        1,927.29    Total Cost of Sales                 23,046.64     52.47%      17,975.50     87.60%     5,071.14      16,873.64    48.05%       6,173.00



                                                                                                           Payroll:
        37,101.81    20.01%    29,461.09   20.81%     7,640.72      23,262.63    14.95%       13,839.18    Rooms                              316,336.58     14.47%     280,704.75     19.51%    35,631.83     241,726.62    11.34%     74,609.96
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    F&B                                      0.00      0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    Other                                    0.00      0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         9,921.70     5.27%     7,298.45    5.08%     2,623.25       5,356.52     3.38%        4,565.18    A&G                                 88,505.25      3.97%      70,957.04      4.86%    17,548.21      70,226.71     3.24%     18,278.54
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00    IT                                       0.00      0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         4,848.16     2.58%     4,587.81    3.19%       260.35       2,740.90     1.73%        2,107.26    S&M                                 39,414.00      1.77%      44,526.01      3.05%    -5,112.01      29,072.35     1.34%     10,341.65
         6,185.54     3.29%     5,329.88    3.71%       855.66       3,285.47     2.07%        2,900.07    R&M                                 59,838.19      2.68%      52,194.39      3.58%     7,643.80      40,102.53     1.85%     19,735.66
        58,057.21    30.86%    46,677.23   32.46%    11,379.98      34,645.52    21.88%       23,411.69    Total Salaries and Wages           504,094.02     22.61%     448,382.19     30.72%    55,711.83     381,128.21    17.59%    122,965.81

        12,474.53     6.63%     8,128.75    5.65%     4,345.78       6,287.34     3.97%        6,187.19    Total Taxes and Benefits           120,327.77      5.40%      77,934.33      5.34%    42,393.44     113,433.78     5.24%      6,893.99
        70,531.74    37.50%    54,805.98   38.11%    15,725.76      40,932.86    25.85%       29,598.88    Total Labor Costs                  624,421.79     28.00%     526,316.52     36.06%    98,105.27     494,561.99    22.83%    129,859.80



                                                                                                           Direct Expenses:
        23,005.23    12.40%    24,048.06   16.98%    -1,042.83      14,647.55     9.41%         8,357.68   Rooms                              219,558.29     10.04%     221,245.64     15.38%    -1,687.35     159,926.73     7.50%     59,631.56
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%             0.00   F&B                                      0.00      0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         2,191.17    82.60%     1,203.00   54.26%       988.17       1,079.68    38.98%         1,111.49   Telephone                           11,578.37     26.36%      12,030.00     58.63%      -451.63      10,493.04    29.88%      1,085.33
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%             0.00   Other                                    0.00      0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        20,623.50    10.96%    17,769.29   12.36%     2,854.21      16,845.74    10.64%         3,777.76   Franchise Fees                     253,098.89     11.35%     180,585.27     12.37%    72,513.62     229,526.21    10.59%     23,572.68
         6,916.78     3.68%     8,052.02    5.60%    -1,135.24       8,785.47     5.55%        -1,868.69   A&G                                150,045.40      6.73%      79,508.71      5.45%    70,536.69     124,708.68     5.76%     25,336.72
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%             0.00   IT                                       0.00      0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        10,223.81     5.44%     9,550.57    6.64%       673.24       2,204.37     1.39%         8,019.44   S&M                                 30,718.43      1.38%      64,346.55      4.41%   -33,628.12      11,768.31     0.54%     18,950.12
         7,898.68     4.20%     7,690.84    5.35%       207.84       6,819.64     4.31%         1,079.04   R&M                                 94,313.58      4.23%      50,262.90      3.44%    44,050.68      43,237.51     2.00%     51,076.07
        12,934.54     6.88%    11,048.76    7.68%     1,885.78      11,633.64     7.35%         1,300.90   Utilities                          122,000.74      5.47%      99,713.10      6.83%    22,287.64     106,845.89     4.93%     15,154.85

        83,793.71    44.55%    79,362.54   55.19%     4,431.17      62,016.09    39.16%       21,777.62    Total Direct Expense               881,313.70     39.52%     707,692.17     48.49%   173,621.53     686,506.37    31.69%    194,807.33

        30,353.47    16.14%     7,731.68    5.38%    22,621.79      53,915.77    34.05%       -23,562.30   Gross Operating Profit             701,165.61     31.44%     207,462.04     14.22%   493,703.57     968,674.13    44.71%    -267,508.52

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                                                                                      Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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             PTD      %       PTD Budget    %         Variance   PTD Last Year    %             Variance                                            YTD      %        YTD Budget %              Variance   YTD Last Year    %           Variance




                                                                                                           Fixed Costs
         9,399.00     5.00%     9,399.42    6.54%        -0.42       9,207.36     5.81%           191.64   Taxes                               95,684.84      4.29%    93,994.20      6.44%     1,690.64      92,073.60     4.25%      3,611.24
         7,237.67     3.85%     6,248.50    4.35%       989.17       4,712.72     2.98%         2,524.95   Insurance                           66,542.35      2.98%    62,485.00      4.28%     4,057.35      45,166.37     2.08%     21,375.98
        37,203.44    19.78%    30,008.00   20.87%     7,195.44      33,680.43    21.27%         3,523.01   Leases & Rent                      300,039.44     13.45%   292,844.00     20.07%     7,195.44     301,352.66    13.91%     -1,313.22
         6,143.17     3.27%     4,500.00    3.13%     1,643.17       7,671.55     4.84%        -1,528.38   Management Fees                     73,043.77      3.28%    49,612.81      3.40%    23,430.96      65,140.00     3.01%      7,903.77

        59,983.28    31.89%    50,155.92   34.88%     9,827.36      55,272.06    34.90%        4,711.22    Total Fixed Expenses               535,310.40     24.01%   498,936.01     34.19%    36,374.39     503,732.63    23.25%     31,577.77

       -29,629.81   -15.75%   -42,424.24   -29.50%   12,794.43      -1,356.29     -0.86%      -28,273.52   Net Operating Profit               165,855.21     7.44%    -291,473.97   -19.97%   457,329.18     464,941.50    21.46%    -299,086.29



             0.00     0.00%         0.00    0.00%         0.00      21,100.00    13.32%       -21,100.00   Interest Expense - Other                 0.00     0.00%           0.00    0.00%         0.00      210,688.35     9.72%    -210,688.35
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%             0.00   Owner's Expense                        949.17     0.04%           0.00    0.00%       949.17       27,092.54     1.25%     -26,143.37
             0.00     0.00%         0.00    0.00%         0.00       2,082.60     1.32%        -2,082.60   Extraordinary Expense                    0.00     0.00%           0.00    0.00%         0.00       10,982.27     0.51%     -10,982.27



       -29,629.81   -15.75%   -42,424.24   -29.50%   12,794.43     -24,538.89    -15.50%       -5,090.92   Net Operating Income               164,906.04     7.40%    -291,473.97   -19.97%   456,380.01     216,178.34     9.98%     -51,272.30

             0.00     0.00%         0.00    0.00%         0.00       5,708.17     3.60%        -5,708.17   Capital Reserve                          0.00     0.00%           0.00    0.00%          0.00      57,081.70     2.63%     -57,081.70
             0.00     0.00%         0.00    0.00%         0.00      37,607.00    23.75%       -37,607.00   (Gain)/Loss-Insurance                    0.00     0.00%           0.00    0.00%          0.00     376,070.00    17.36%    -376,070.00

       -29,629.81   -15.75%   -42,424.24   -29.50%   12,794.43     -67,854.06    -42.85%      38,224.25    Adjusted NOI                       164,906.04     7.40%    -291,473.97   -19.97%   456,380.01    -216,973.36    -10.01%   381,879.40



             0.00     0.00%         0.00    0.00%         0.00       2,282.00     1.44%        -2,282.00   Amortization                             0.00     0.00%           0.00    0.00%          0.00      22,820.00     1.05%     -22,820.00



       -29,629.81   -15.75%   -42,424.24   -29.50%   12,794.43     -70,136.06    -44.29%      40,506.25    Net Profit/(Loss)                  164,906.04     7.40%    -291,473.97   -19.97%   456,380.01    -239,793.36    -11.07%   404,699.40




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             PTD      %        PTD Budget      %          Variance   PTD Last Year     %             Variance                                             YTD      %         YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                Rooms
                                                                                                                Room Revenue
                                                                                                                Transient Room Revenue
        25,144.11    13.56%     29,946.00     21.15%    -4,801.89            0.00      0.00%        25,144.11   Corporate Transient                280,290.54     12.82%     346,648.77     24.09%   -66,358.23            0.00     0.00%    280,290.54
        23,282.30    12.55%      9,114.00      6.44%    14,168.30            0.00      0.00%        23,282.30   Advanced Purchase                  247,138.62     11.31%     124,945.75      8.68%   122,192.87            0.00     0.00%    247,138.62
        21,868.92    11.79%     12,152.00      8.58%     9,716.92            0.00      0.00%        21,868.92   AAA/AARP Transient                 231,152.81     10.57%     236,652.29     16.45%    -5,499.48            0.00     0.00%    231,152.81
         2,655.00     1.43%      4,836.00      3.42%    -2,181.00            0.00      0.00%         2,655.00   Employee                            37,721.65      1.73%      42,653.80      2.96%    -4,932.15            0.00     0.00%     37,721.65
         2,500.30     1.35%          0.00      0.00%     2,500.30            0.00      0.00%         2,500.30   Travel Agent/Friends & Family       48,769.65      2.23%       5,718.00      0.40%    43,051.65            0.00     0.00%     48,769.65
         2,797.00     1.51%          0.00      0.00%     2,797.00            0.00      0.00%         2,797.00   Leisure Package Transient           70,754.89      3.24%           0.00      0.00%    70,754.89            0.00     0.00%     70,754.89
         2,652.00     1.43%      2,480.00      1.75%       172.00           27.30      0.02%         2,624.70   Member Reward Stay                  51,471.17      2.35%      36,480.00      2.54%    14,991.17       38,233.45     1.79%     13,237.72
             0.00     0.00%          0.00      0.00%         0.00       43,186.98     27.76%       -43,186.98   Extended Stay Transient                  0.00      0.00%           0.00      0.00%         0.00      694,020.16    32.56%   -694,020.16
        35,268.46    19.02%      3,038.00      2.15%    32,230.46            0.00      0.00%        35,268.46   Internet/E-Commerce                317,882.52     14.54%      71,092.33      4.94%   246,790.19            0.00     0.00%    317,882.52
         1,881.10     1.01%          0.00      0.00%     1,881.10            0.00      0.00%         1,881.10   E-Commerce Opaque                   16,315.56      0.75%      15,766.80      1.10%       548.76            0.00     0.00%     16,315.56
          -118.00    -0.06%          0.00      0.00%      -118.00            0.00      0.00%          -118.00   Other Transient                      2,821.67      0.13%           0.00      0.00%     2,821.67            0.00     0.00%      2,821.67
         4,306.10     2.32%          0.00      0.00%     4,306.10            0.00      0.00%         4,306.10   Government Transient                76,959.60      3.52%       5,330.00      0.37%    71,629.60            0.00     0.00%     76,959.60
        49,904.69    26.91%     46,872.00     33.10%     3,032.69       53,910.35     34.65%        -4,005.66   Rack Transient                     649,773.34     29.72%     356,549.49     24.78%   293,223.85      666,765.01    31.28%    -16,991.67
             0.00     0.00%          0.00      0.00%         0.00       30,546.45     19.63%       -30,546.45   Local Negotiated Transient               0.00      0.00%           0.00      0.00%         0.00      492,676.37    23.11%   -492,676.37

      172,141.98    92.82%     108,438.00    76.59%    63,703.98      127,671.08     82.05%        44,470.90    Total Transient Room Revenue     2,031,052.02     92.91%   1,241,837.23   86.30%     789,214.79    1,891,694.99    88.75%   139,357.03

                                                                                                                Group Room Revenue
           257.00     0.14%          0.00      0.00%       257.00       27,546.00     17.70%       -27,289.00   Corporate Group                      3,571.00      0.16%           0.00      0.00%      3,571.00     213,987.04    10.04%   -210,416.04
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%             0.00   Government Group                         0.00      0.00%           0.00      0.00%          0.00      36,738.00     1.72%    -36,738.00
         9,413.00     5.08%     33,150.00     23.41%   -23,737.00            0.00      0.00%         9,413.00   Sports Group                       139,998.88      6.40%     197,089.00     13.70%    -57,090.12           0.00     0.00%    139,998.88
         3,053.00     1.65%          0.00      0.00%     3,053.00            0.00      0.00%         3,053.00   Other Group                          9,337.01      0.43%           0.00      0.00%      9,337.01           0.00     0.00%      9,337.01

       12,723.00      6.86%     33,150.00    23.41%    -20,427.00      27,546.00     17.70%       -14,823.00    Total Group Room Revenue          152,906.89      6.99%     197,089.00    13.70%     -44,182.11     250,725.04     11.76%   -97,818.15

                                                                                                                Contract Room Revenue
             0.00     0.00%           0.00     0.00%         0.00            0.00      0.00%            0.00    Other Contract                        -358.00     -0.02%           0.00     0.00%       -358.00            0.00     0.00%      -358.00

            0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%             0.00    Total Contract Room Revenue           -358.00     -0.02%           0.00     0.00%       -358.00            0.00    0.00%       -358.00

                                                                                                                Other Room Revenue
         2,395.83     1.29%           0.00     0.00%     2,395.83        1,257.00      0.81%        1,138.83    No-Show Rooms                       19,010.19      0.87%           0.00     0.00%     19,010.19       12,226.89     0.57%      6,783.30
             0.00     0.00%           0.00     0.00%         0.00            0.00      0.00%            0.00    Pet/Smoking/Damage Fees                240.00      0.01%           0.00     0.00%        240.00            0.00     0.00%        240.00
             0.00     0.00%           0.00     0.00%         0.00            0.00      0.00%            0.00    Cot/Rollaway Revenue                    10.00      0.00%           0.00     0.00%         10.00            0.00     0.00%         10.00

        2,395.83      1.29%          0.00     0.00%     2,395.83        1,257.00      0.81%         1,138.83    Total Other Room Revenue           19,260.19      0.88%            0.00     0.00%     19,260.19      12,226.89     0.57%      7,033.30

        -1,808.16     -0.97%          0.00     0.00%    -1,808.16         -879.61     -0.57%         -928.55    Less: Allowances                    -16,837.29    -0.77%           0.00     0.00%     -16,837.29     -23,147.09    -1.09%      6,309.80

      185,452.65    100.00%    141,588.00    100.00%   43,864.65      155,594.47     100.00%       29,858.18    Total Room Revenue               2,186,023.81    100.00%   1,438,926.23 100.00%      747,097.58    2,131,499.83 100.00%      54,523.98

                                                                                                                Expenses
                                                                                                                Payroll Expense
                                                                                                                Salaries and Wages
             0.00     0.00%       1,838.48     1.30%     -1,838.48           0.00      0.00%            0.00    Front Office Management                  0.00      0.00%      17,974.36      1.25%    -17,974.36           0.00     0.00%          0.00
             0.00     0.00%           0.00     0.00%          0.00         336.66      0.22%         -336.66    Revenue Management                       0.00      0.00%           0.00      0.00%          0.00       4,978.62     0.23%     -4,978.62
         2,129.12     1.15%       2,329.20     1.65%       -200.08       2,120.84      1.36%            8.28    Housekeeping Management             16,826.53      0.77%      22,772.37      1.58%     -5,945.84      21,554.50     1.01%     -4,727.97
        2,129.12     1.15%       4,167.68     2.94%     -2,038.56       2,457.50      1.58%         -328.38     Total Rooms Management             16,826.53      0.77%      40,746.73      2.83%    -23,920.20      26,533.12     1.24%     -9,706.59
        14,329.57     7.73%       4,960.00     3.50%      9,369.57       4,328.89      2.78%       10,000.68    Front Office Agents                118,491.05      5.42%      48,640.00      3.38%     69,851.05      45,057.55     2.11%     73,433.50
             0.00     0.00%       2,976.00     2.10%     -2,976.00       3,602.70      2.32%       -3,602.70    Night Auditors                           0.00      0.00%      29,184.00      2.03%    -29,184.00      36,218.74     1.70%    -36,218.74
             0.00     0.00%       2,387.00     1.69%     -2,387.00           0.00      0.00%            0.00    Breakfast Attendant                      0.00      0.00%      23,408.00      1.63%    -23,408.00       5,576.64     0.26%     -5,576.64
       14,329.57     7.73%      10,323.00     7.29%      4,006.57       7,931.59      5.10%        6,397.98     Total Rooms Front Office          118,491.05      5.42%     101,232.00      7.04%     17,259.05      86,852.93     4.07%     31,638.12
             0.00     0.00%       2,115.00     1.49%     -2,115.00         952.81      0.61%         -952.81    Housekeeping Supervisors             2,527.00      0.12%      19,087.50      1.33%    -16,560.50       9,733.52     0.46%     -7,206.52
        20,643.12    11.13%       8,223.12     5.81%     12,420.00      10,134.88      6.51%       10,508.24    Room Attendants                    178,492.00      8.17%      74,212.20      5.16%    104,279.80      96,119.58     4.51%     82,372.42
             0.00     0.00%       2,152.29     1.52%     -2,152.29         539.41      0.35%         -539.41    Housepersons                             0.00      0.00%      21,106.32      1.47%    -21,106.32       7,888.54     0.37%     -7,888.54
             0.00     0.00%       2,480.00     1.75%     -2,480.00       1,246.44      0.80%       -1,246.44    Laundry Attendants                       0.00      0.00%      24,320.00      1.69%    -24,320.00      14,598.93     0.68%    -14,598.93
       20,643.12    11.13%      14,970.41    10.57%      5,672.71      12,873.54      8.27%        7,769.58     Total Rooms Housekeeping          181,019.00      8.28%     138,726.02      9.64%     42,292.98     128,340.57     6.02%     52,678.43
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             PTD      %        PTD Budget    %         Variance   PTD Last Year    %             Variance                                                 YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance


       37,101.81    20.01%     29,461.09    20.81%    7,640.72      23,262.63     14.95%       13,839.18    Total Rooms Salary and Wages           316,336.58    14.47%   280,704.75    19.51%     35,631.83     241,726.62     11.34%    74,609.96

                                                                                                            PR Taxes and Benefits
         2,382.57      1.28%     2,266.66    1.60%       115.91       1,621.09      1.04%          761.48   FICA                                     22,072.66    1.01%     21,655.42     1.50%        417.24      18,084.56     0.85%      3,988.10
            29.86      0.02%        12.44    0.01%        17.42           0.00      0.00%           29.86   Federal Unemployment Tax                    682.62    0.03%        452.47     0.03%        230.15           0.00     0.00%        682.62
           134.34      0.07%        80.00    0.06%        54.34           0.00      0.00%          134.34   State Unemployment Tax                    3,071.75    0.14%      3,744.91     0.26%       -673.16           0.00     0.00%      3,071.75
        2,546.77      1.37%     2,359.10    1.67%       187.67       1,621.09      1.04%          925.68    Total Payroll Taxes                     25,827.03    1.18%     25,852.80     1.80%         -25.77     18,084.56     0.85%      7,742.47
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Holiday                                       0.00    0.00%        600.00     0.04%       -600.00       3,152.60     0.15%     -3,152.60
             0.00      0.00%       163.82    0.12%      -163.82      -1,008.11     -0.65%        1,008.11   Vacation                                      0.00    0.00%      1,729.97     0.12%     -1,729.97      23,881.00     1.12%    -23,881.00
             0.00     0.00%       163.82    0.12%      -163.82      -1,008.11     -0.65%        1,008.11    Total Supplemental Pay                        0.00   0.00%      2,329.97     0.16%     -2,329.97      27,033.60     1.27%    -27,033.60
         1,944.16      1.05%     1,547.68    1.09%       396.48           0.00      0.00%        1,944.16   Worker's Compensation                    20,761.25    0.95%     15,047.34     1.05%      5,713.91           0.00     0.00%     20,761.25
           375.18      0.20%         0.00    0.00%       375.18           0.00      0.00%          375.18   Payroll Tax/Benefit Allocation            8,116.33    0.37%          0.00     0.00%      8,116.33           0.00     0.00%      8,116.33
         2,447.21      1.32%       367.50    0.26%     2,079.71       3,163.58      2.03%         -716.37   Group Insurance                          12,373.41    0.57%      3,552.50     0.25%      8,820.91       8,105.89     0.38%      4,267.52
        4,766.55      2.57%     1,915.18    1.35%     2,851.37       3,163.58      2.03%        1,602.97    Total Other Benefits                    41,250.99    1.89%     18,599.84     1.29%     22,651.15       8,105.89     0.38%     33,145.10

        7,313.32      3.94%     4,438.10    3.13%     2,875.22       3,776.56     2.43%         3,536.76    Total Rooms PR Taxes and Benefits       67,078.02    3.07%     46,782.61     3.25%     20,295.41      53,224.05     2.50%     13,853.97

       44,415.13    23.95%     33,899.19    23.94%   10,515.94      27,039.19     17.38%       17,375.94    Total Rooms Labor Costs                383,414.60    17.54%   327,487.36    22.76%     55,927.24     294,950.67     13.84%    88,463.93

                                                                                                            Other Expenses
        10,473.90     5.65%      8,460.00    5.98%     2,013.90       4,197.25     2.70%         6,276.65   Breakfast /Comp Cost                     95,044.77    4.35%    68,318.25     4.75%      26,726.52      50,706.47     2.38%    44,338.30
           430.31     0.23%      1,099.80    0.78%      -669.49         582.24     0.37%          -151.93   Cleaning Supplies                        10,291.48    0.47%     9,925.50     0.69%         365.98      10,219.23     0.48%        72.25
             0.00     0.00%          0.00    0.00%         0.00           0.00     0.00%             0.00   Contract Labor                                0.00    0.00%         0.00     0.00%           0.00       7,715.27     0.36%    -7,715.27
             0.00     0.00%         76.00    0.05%       -76.00           0.00     0.00%             0.00   Dues and Subscriptions                        0.00    0.00%     1,734.00     0.12%      -1,734.00           0.00     0.00%         0.00
             0.00     0.00%         31.00    0.02%       -31.00           0.00     0.00%             0.00   Equipment Rental                              0.00    0.00%       310.00     0.02%        -310.00           0.00     0.00%         0.00
         4,398.22     2.37%      2,030.40    1.43%     2,367.82       1,146.08     0.74%         3,252.14   Guest Supplies                           25,641.16    1.17%    18,324.00     1.27%       7,317.16      15,288.24     0.72%    10,352.92
             0.00     0.00%          0.00    0.00%         0.00           0.00     0.00%             0.00   In-House Entertainment                      283.55    0.01%         0.00     0.00%         283.55           0.00     0.00%       283.55
             0.00     0.00%        765.00    0.54%      -765.00         817.50     0.53%          -817.50   Internet/Web Expense                          0.00    0.00%     3,060.00     0.21%      -3,060.00       3,255.64     0.15%    -3,255.64
           529.91     0.29%        592.20    0.42%       -62.29           0.00     0.00%           529.91   Laundry                                   7,017.69    0.32%     5,344.50     0.37%       1,673.19         478.01     0.02%     6,539.68
           195.20     0.11%      1,015.20    0.72%      -820.00         138.03     0.09%            57.17   Linen                                    16,045.81    0.73%     9,162.00     0.64%       6,883.81      10,873.38     0.51%     5,172.43
             0.00     0.00%          0.00    0.00%         0.00           0.00     0.00%             0.00   Newspaper                                     0.00    0.00%         0.00     0.00%           0.00         237.79     0.01%      -237.79
             0.00     0.00%          0.00    0.00%         0.00           0.00     0.00%             0.00   Office Equipment                             53.26    0.00%         0.00     0.00%          53.26           0.00     0.00%        53.26
         1,254.83     0.68%          0.00    0.00%     1,254.83         515.22     0.33%           739.61   Operating Supplies                        1,254.83    0.06%     1,200.00     0.08%          54.83       1,809.50     0.08%      -554.67
             0.00     0.00%        135.36    0.10%      -135.36           0.00     0.00%             0.00   Printing and Stationery                       0.00    0.00%     1,221.60     0.08%      -1,221.60           0.00     0.00%         0.00
             0.00     0.00%        287.64    0.20%      -287.64         699.71     0.45%          -699.71   Reservation Expense                           0.00    0.00%     2,595.90     0.18%      -2,595.90       4,134.64     0.19%    -4,134.64
             0.00     0.00%         50.00    0.04%       -50.00           0.00     0.00%             0.00   Rooms Promotion                               0.00    0.00%       500.00     0.03%        -500.00           0.00     0.00%         0.00
         1,471.14     0.79%      1,440.00    1.02%        31.14       1,440.65     0.93%            30.49   Television Cable                         13,026.83    0.60%    14,400.00     1.00%      -1,373.17      13,542.62     0.64%      -515.79
             0.00     0.00%          0.00    0.00%         0.00           0.00     0.00%             0.00   Training                                    158.00    0.01%       100.00     0.01%          58.00           0.00     0.00%       158.00
           990.00     0.53%        663.00    0.47%       327.00           0.00     0.00%           990.00   Travel Agent Comm - Group Rooms           9,224.00    0.42%     3,941.78     0.27%       5,282.22           0.00     0.00%     9,224.00
         2,552.29     1.38%      7,277.46    5.14%    -4,725.17       5,110.87     3.28%        -2,558.58   Travel Agent Comm - Transient Rooms      39,504.55    1.81%    79,858.11     5.55%     -40,353.56      37,831.94     1.77%     1,672.61
           709.43     0.38%        125.00    0.09%       584.43           0.00     0.00%           709.43   Uniforms                                  1,704.37    0.08%     1,250.00     0.09%         454.37       2,978.33     0.14%    -1,273.96
             0.00     0.00%          0.00    0.00%         0.00           0.00     0.00%             0.00   Walked Guests                               307.99    0.01%         0.00     0.00%         307.99         855.67     0.04%      -547.68

       23,005.23    12.40%     24,048.06    16.98%   -1,042.83      14,647.55     9.41%         8,357.68    Total Rooms Other Expenses             219,558.29    10.04%   221,245.64    15.38%     -1,687.35     159,926.73     7.50%     59,631.56

       67,420.36    36.35%     57,947.25    40.93%    9,473.11      41,686.74     26.79%       25,733.62    Total Rooms Expenses                   602,972.89    27.58%   548,733.00    38.13%     54,239.89     454,877.40     21.34%   148,095.49

      118,032.29    63.65%     83,640.75    59.07%   34,391.54     113,907.73     73.21%        4,124.56    Total Rooms Profit (Loss)             1,583,050.92   72.42%   890,193.23    61.87%    692,857.69    1,676,622.43    78.66%   -93,571.51




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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %             Variance                                                     YTD    %   YTD Budget %    Variance   YTD Last Year   %     Variance

                                                                                                 Room Sale Stats
                                                                                                 Tranisent Rooms
           320.00               434.00       -114.00            0.00                   320.00    Room Stat - Corporate Transient               2,744.00         3,855.00     -1,111.00           0.00         2,744.00
           213.00                93.00        120.00            0.00                   213.00    Room Stat - Advanced Purchase                 1,841.00         1,105.00        736.00           0.00         1,841.00
           214.00               124.00         90.00            0.00                   214.00    Room Stat - AAA/AARP Transient                1,752.00         2,331.00       -579.00           0.00         1,752.00
            58.00               124.00        -66.00            0.00                    58.00    Room Stat - Employee                            843.00         1,095.00       -252.00           0.00           843.00
            24.00                 0.00         24.00            0.00                    24.00    Room Stat - Package Transient                   670.00             0.00        670.00           0.00           670.00
            25.00                 0.00         25.00            0.00                    25.00    Room Stat - Travel Agent/Friends & Family       486.00            82.00        404.00           0.00           486.00
            75.00                62.00         13.00            0.00                    75.00    Room Stat - Member Reward Stay                1,193.00           912.00        281.00           0.00         1,193.00
             3.00                 0.00          3.00            0.00                     3.00    Room Stat - Golf Pkg Transient                    3.00             0.00          3.00           0.00             3.00
             0.00                 0.00          0.00          600.00                  -600.00    Room Stat - Extended Stay Transient               0.00             0.00          0.00       6,880.00        -6,880.00
           320.00                31.00        289.00            0.00                   320.00    Room Stat - Internet                          2,416.00           660.00      1,756.00           0.00         2,416.00
             3.00                 0.00          3.00            0.00                     3.00    Room Stat - Other Transient                       3.00             0.00          3.00           0.00             3.00
            26.00                 0.00         26.00            0.00                    26.00    Room Stat - E-Commerce Opaque                   186.00           214.00        -28.00           0.00           186.00
            37.00                 0.00         37.00            0.00                    37.00    Room Stat - Government Rate Transient           636.00            91.00        545.00         307.00           329.00
           418.00               434.00        -16.00          540.00                  -122.00    Room Stat - Rack Rate Transient               4,380.00         2,956.00      1,424.00       4,557.00          -177.00
             0.00                 0.00          0.00          440.00                  -440.00    Room Stat - Local Negotiated Transient            0.00             0.00          0.00       5,697.00        -5,697.00
        1,736.00             1,302.00        434.00        1,580.00                   156.00     Total Transient Rooms Sold                  17,153.00        13,301.00      3,852.00      17,441.00          -288.00

                                                                                                 Group Rooms
            0.00                  0.00           0.00         311.00                  -311.00    Room Stat - Corporate Group Rooms               105.00             0.00        105.00       1,841.00        -1,736.00
           88.00                390.00        -302.00           0.00                    88.00    Room Stat - Sports Group                      1,077.00         1,955.00       -878.00           0.00         1,077.00
           20.00                  0.00          20.00           0.00                    20.00    Room Stat - Other Group                          34.00             0.00         34.00           0.00            34.00
          108.00               390.00        -282.00         311.00                  -203.00     Total Group Rooms Sold                       1,216.00         1,955.00       -739.00       1,841.00          -625.00

                                                                                                 Contract Rooms
            0.00                 0.00           0.00            0.00                     0.00    Room Stat - Other Contract                       -2.00            0.00          -2.00           0.00             -2.00
            0.00                 0.00           0.00            0.00                     0.00    Total Contract Rooms Sold                       -2.00             0.00         -2.00            0.00            -2.00

        1,844.00             1,692.00        152.00        1,891.00                   -47.00     Total Rooms Sold                            18,367.00        15,256.00      3,111.00      19,282.00           -915.00
           11.00                 0.00         11.00           76.00                    -65.00    Room Stat-Comp Rooms                            206.00           14.00         192.00         523.00           -317.00
        1,855.00             1,692.00        163.00        1,967.00                  -112.00     Total Rooms Occupied                        18,573.00        15,270.00      3,303.00      19,805.00         -1,232.00
           34.00                 0.00         34.00           66.00                    -32.00    Room Stat-Out of Order                          757.00            0.00         757.00       2,770.00         -2,013.00

                                                                                                 ADR
            78.58               69.00            9.58           0.00                    78.58    Corporate Transient ADR                         102.15           89.92         12.22            0.00           102.15
           109.31               98.00          11.31            0.00                   109.31    Advanced Purchase ADR                           134.24          113.07         21.17            0.00           134.24
           102.19               98.00            4.19           0.00                   102.19    AAA/AARP ADR                                    131.94          101.52         30.41            0.00           131.94
             0.00                0.00            0.00           0.00                     0.00    FIT ADR                                           0.00            0.00          0.00            0.00             0.00
             0.00                0.00            0.00           0.00                     0.00    Consortia ADR                                     0.00            0.00          0.00            0.00             0.00
            45.78               39.00            6.78           0.00                    45.78    Employee ADR                                     44.75           38.95          5.79            0.00            44.75
             0.00                0.00            0.00           0.00                     0.00    Leisure ADR                                       0.00            0.00          0.00            0.00             0.00
           100.01                0.00         100.01            0.00                   100.01    Travel Agent/Friends & Family ADR               100.35           69.73         30.62            0.00           100.35
             0.00                0.00            0.00           0.00                     0.00    Leisure Package ADR                               0.00            0.00          0.00            0.00             0.00
            35.36               40.00           -4.64           0.00                    35.36    Member Reward Stay ADR                           43.14           40.00          3.14            0.00            43.14
             0.00                0.00            0.00           0.00                     0.00    Golf Pkg ADR                                      0.00            0.00          0.00            0.00             0.00
             0.00                0.00            0.00          71.98                   -71.98    Extended Stay ADR                                 0.00            0.00          0.00          100.88          -100.88
           110.21               98.00          12.21            0.00                   110.21    Internet ADR                                    131.57          107.72         23.86            0.00           131.57
            72.35                0.00          72.35            0.00                    72.35    E-Commerce Opaque ADR                            87.72           73.68         14.04            0.00            87.72
           -39.33                0.00         -39.33            0.00                   -39.33    Other Transient ADR                             940.56            0.00        940.56            0.00           940.56
             0.00                0.00            0.00           0.00                     0.00    Airline Distressed Passenger ADR                  0.00            0.00          0.00            0.00             0.00
           116.38                0.00         116.38            0.00                   116.38    Government ADR                                  121.01           58.57         62.43            0.00           121.01
           119.39              108.00          11.39           99.83                    19.56    Rack ADR                                        148.35          120.62         27.73          146.32             2.03
             0.00                0.00            0.00          69.42                   -69.42    Local Negotiated ADR                              0.00            0.00          0.00           86.48           -86.48
            99.16               83.29          15.87           80.80                    18.36    Total Transient ADR                            118.41            93.36         25.04         108.46              9.95

             0.00                 0.00          0.00           88.57                   -88.57    Corporate Group ADR                             34.01              0.00        34.01          116.23           -82.22
             0.00                 0.00          0.00            0.00                     0.00    Leisure Group ADR                                0.00              0.00         0.00            0.00             0.00
             0.00                 0.00          0.00            0.00                     0.00    Government Group ADR                             0.00              0.00         0.00            0.00             0.00
             0.00                 0.00          0.00            0.00                     0.00    Tour & Travel Group ADR                          0.00              0.00         0.00            0.00             0.00
             0.00                 0.00          0.00            0.00                     0.00    Association Group ADR                            0.00              0.00         0.00            0.00             0.00
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %             Variance                                            YTD      %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                0.00           0.00            0.00                     0.00    City Wide Group ADR                      0.00               0.00        0.00           0.00            0.00
             0.00                0.00           0.00            0.00                     0.00    SMERF Group ADR                          0.00               0.00        0.00           0.00            0.00
           106.97               85.00          21.97            0.00                   106.97    Sports Group ADR                       129.99             100.81       29.18           0.00          129.99
           152.65                0.00         152.65            0.00                   152.65    Other Group ADR                        274.62               0.00      274.62           0.00          274.62
          117.81                85.00          32.81           88.57                    29.23    Total Group ADR                       125.75             100.81        24.93         136.19          -10.44

            0.00                 0.00           0.00            0.00                     0.00    Airline Crew ADR                         0.00              0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Other Contract ADR                     179.00              0.00       179.00            0.00         179.00
            0.00                 0.00           0.00            0.00                     0.00    Total Contract ADR                    179.00               0.00      179.00             0.00        179.00

          100.57                83.68          16.89           82.28                    18.29    Total ADR                             119.02              94.32        24.70         110.54            8.48




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                                                                                    Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         F&B Summary
                                                                                                         Revenue
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Outlet Food Revenue                     0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Banquet and Catering Food Revenue       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Outlet Beverage Revenue                 0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Banquet and Catering Beverage Revenue   0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Outlet Other Revenue                    0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Banquet and Catering Other Revenue      0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total F&B Revenue                       0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Food Purchases                          0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Beverage Purchases                      0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Cedit Employee Meals                    0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Credit House Charges                    0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Credit In-House Promotions              0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Audio Visual Cost of Sales              0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Other Cost of Sales                     0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total F&B Cost of Sales                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    F&B Gross Profit                        0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll
                                                                                                         Salaries and Wages
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Management                              0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Non-Management                          0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total F&B Salaries and Wages            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         PR Taxes and Benefits
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Payroll Taxes                           0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Supplemental Pay                        0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Other Benefits                          0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total F&B PR Taxes and Benefits         0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total F&B Payroll                       0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Audio Visual Supplies                   0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Banquet Expense                         0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Bar Expense/Promos                      0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Bar Supplies                            0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    China                                   0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Cleaning Supplies                       0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Communication Expense                   0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Contract Cleaning                       0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Contract Labor                          0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Decorations & Plants                    0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Dues and Subscriptions                  0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Equipment Rental                        0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Food and Beverage Advertising           0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Glassware                               0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Guest Loss/Damage                       0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Guest Supplies                          0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    In-House Entertainment                  0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Kitchen/Cooking Fuel                    0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Kitchen Equipment                       0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Laundry - Outside Expense               0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Laundry Allocation                      0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Licenses/Permits                        0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Linen                                   0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%            0.00    Linen Rental                            0.00      0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                    Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Maintenance Contracts                   0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Meals and Entertainment                 0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Menus                                   0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Miscellaneous Expense                   0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Music and Entertainment                 0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Office Equipment                        0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Office Supplies                         0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Operating Supplies                      0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Paper/Plastic Supplies                  0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Printing and Stationery                 0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Silverware                              0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Software Expense/Maintenance            0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Television Cable                        0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Training                                0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Travel                                  0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Uniforms                                0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Utensils                                0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total F&B Other Expenses                0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total F&B Expenses                      0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total F&B Profit (Loss)                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                            Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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                                                                                                    As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year   %             Variance                                            YTD      %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                                 F&B Stats
                                                                                                 Restaurant 1
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 1 Covers               0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 1 Avg Check                  0.00               0.00         0.00            0.00           0.00

                                                                                                 Restaurant 2
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 2 Covers               0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 2 Avg Check                  0.00               0.00         0.00            0.00           0.00

                                                                                                 Room Service
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Room Service Covers               0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Room Service Avg Check                  0.00               0.00         0.00            0.00           0.00

                                                                                                 Banquets
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Banquets Covers                   0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Banquets Avg Check                      0.00               0.00         0.00            0.00           0.00

                                                                                                 Catering
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Catering Covers                   0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Catering Avg Check                      0.00               0.00         0.00            0.00           0.00

                                                                                                 Restaurant 3
             0.00                 0.00          0.00            0.00                     0.00    Breakfast Avg Check                     0.00                0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                     0.00    Lunch Avg Check                         0.00                0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                     0.00    Dinner Avg Check                        0.00                0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                     0.00    Brunch Avg Check                        0.00                0.00        0.00            0.00           0.00
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                                                                            Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                              P&L - Dual Summary Pages
                                                                                                    As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year   %             Variance                                            YTD      %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 3 Covers               0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 3 Avg Check                  0.00               0.00         0.00            0.00           0.00

                                                                                                 Restaurant 4
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 4 Covers               0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 4 Avg Check                  0.00               0.00         0.00            0.00           0.00

                                                                                                 Restaurant 5
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Restaurant 5 Covers               0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Restaurant 5 Avg Check                  0.00               0.00         0.00            0.00           0.00

                                                                                                 Bar 1
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Bar 1 Covers                      0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Bar 1 Avg Check                         0.00               0.00         0.00            0.00           0.00

                                                                                                 Bar 2
            0.00                 0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Total Bar 2 Covers                      0.00               0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                     0.00    Bar 2 Avg Check                         0.00               0.00         0.00            0.00           0.00

            0.00                 0.00           0.00            0.00                     0.00    Total Covers                            0.00               0.00         0.00            0.00           0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                            YTD      %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Food Admin
                                                                                                       Cost of Sales

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Food Admin Cost of Sales           0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Food Admin Management              0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Food Admin Non-Management          0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Food Admin Salaries and Wages      0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Payroll Taxes                      0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Supplemental Pay                   0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Other Benefits                     0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Food Admin PR Taxes and Benefits   0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Food Admin Payroll                 0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Food Admin Other Expenses          0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Food Admin Expenses                0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Departmental Costs                       0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                            YTD      %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%            0.00    Less Adjustments                        0.00      0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Beverage Admin Revenue            0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Cost of Sales

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Beverage Admin Cost of Sales      0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Other Expenses

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Beverage Admin Other Expenses     0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Beverage Admin Expenses           0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Departmental Costs                      0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 1
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 2
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revemue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Room Service
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Banquets
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Banquets Food Revenue                   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                        0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Food Revenue             0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Banquets Beverage Revenue               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                        0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Beverage Revenue         0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Other Revenue            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Revenue                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Cost of Sales            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Gross Profit                            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Management               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Non-Management           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00                    0.00                0.00            0.00                     0.00    Total Banquets Salaries and Wages       0.00                    0.00                  0.00            0.00                0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00                    0.00                0.00            0.00                     0.00    Total Banquet Benefits                  0.00                    0.00                  0.00            0.00                0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Payroll                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Other Expenses           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Expenses                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Banquets Profit (Loss)            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Catering
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Catering Food Revenue                   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Food Revenue             0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Catering Beverage Revenue               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Beverage Revenue         0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Other Revenue            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Revenue                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Cost of Sales            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Catering Gross Profit                   0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Management               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Non-Management           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Salaries and Wages       0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering PR Taxes and Benefits    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Payroll                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Other Expenses           0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Expenses                 0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Catering Profit (Loss)            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 3
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 4
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 5
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 1
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Bar 1 Food Revenue                      0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Food Revenue                0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Bar 1 Beverage Revenue                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Beverage Revenue            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Other Revenue               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Revenue                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Cost of Sales               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Gross Profit                            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Non-Management              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Salaries and Wages          0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 PR Taxes and Benefits       0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Payroll                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Other Expenses              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Expenses                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 1 Profit (Loss)               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 2
                                                                                                         Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Bar 2 Food Revenue                      0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Food Revenue                0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Bar 2 Beverage Revenue                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                       0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Beverage Revenue            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Other Revenue               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Revenue                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Cost of Sales               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Gross Profit                            0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expenses
                                                                                                         Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Non-Management              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Salaries and Wages          0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Payroll Taxes                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Supplemental Pay                  0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Other Benefits                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 PR Taxes and Benefits       0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Payroll                     0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Other Expenses              0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Expenses                    0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Bar 2 Profit (Loss)               0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                         Telephone

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Telephone Revenue                       0.00      0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%           0.00    Less: Adjustments                       0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%            0.00    Total Telephone Revenue                 0.00      0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                         Cost of Sales
           778.72      0.00%       800.00    0.00%     -21.28         898.43     0.00%         -119.71   Cost of Sales - Local Calls          7,735.68      0.00%     8,000.00      0.00%     -264.32       7,974.22     0.00%     -238.54
          778.72      0.00%       800.00    0.00%     -21.28         898.43     0.00%         -119.71    Total Telephone Cost of Sales       7,735.68      0.00%     8,000.00      0.00%     -264.32       7,974.22     0.00%     -238.54

         -778.72      0.00%      -800.00    0.00%      21.28        -898.43     0.00%         119.71     Gross Profit                        -7,735.68     0.00%     -8,000.00     0.00%     264.32       -7,974.22     0.00%     238.54

                                                                                                         Other Expenses
         1,128.12      0.00%       953.00    0.00%    175.12          979.68     0.00%          148.44   Internet/Web Expense                10,335.32      0.00%     9,530.00      0.00%      805.32       9,533.04     0.00%      802.28
             0.00      0.00%         0.00    0.00%      0.00          100.00     0.00%         -100.00   Miscellaneous Expense                  180.00      0.00%         0.00      0.00%      180.00         960.00     0.00%     -780.00
         1,063.05      0.00%       250.00    0.00%    813.05            0.00     0.00%        1,063.05   Telephone Equipment                  1,063.05      0.00%     2,500.00      0.00%   -1,436.95           0.00     0.00%    1,063.05
        2,191.17      0.00%     1,203.00    0.00%    988.17        1,079.68     0.00%        1,111.49    Total Telephone Other Expenses     11,578.37      0.00%    12,030.00      0.00%     -451.63      10,493.04     0.00%    1,085.33

       -2,969.89      0.00%    -2,003.00    0.00%    -966.89      -1,978.11     0.00%         -991.78    Total Telephone Profit (Loss)      -19,314.05     0.00%    -20,030.00     0.00%     715.95      -18,467.26     0.00%     -846.79




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             PTD      %       PTD Budget     %        Variance    PTD Last Year     %             Variance                                                      YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                              Minor Operating
                                                                                                              Income
             0.00     0.00%       200.00     9.02%     -200.00            0.00      0.00%              0.00   Rental Income - Other                         1,100.00     2.50%     2,000.00     9.75%      -900.00       3,350.00      9.54%    -2,250.00
             0.00    0.00%       200.00     9.02%     -200.00             0.00     0.00%               0.00   Total Rental Income                          1,100.00     2.50%     2,000.00     9.75%      -900.00       3,350.00      9.54%    -2,250.00
             0.00     0.00%         0.00     0.00%         0.00          35.60      1.29%            -35.60   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00     0.00%         0.00       1,551.20      4.42%    -1,551.20
             0.00     0.00%        50.00     2.26%       -50.00           0.00      0.00%              0.00   Vending Commissions Other                       654.00     1.49%       500.00     2.44%       154.00           0.00      0.00%       654.00
             0.00    0.00%         50.00    2.26%       -50.00           35.60     1.29%            -35.60    Total Vending Commission Income                654.00     1.49%       500.00     2.44%       154.00       1,551.20      4.42%      -897.20
           747.72    28.19%         0.00     0.00%      747.72          420.48     15.18%           327.24    Cancellation Fee - Rooms                     17,051.27    38.82%         0.00     0.00%    17,051.27       7,468.75     21.27%     9,582.52
             0.00     0.00%       250.00    11.28%     -250.00            0.00      0.00%              0.00   Cancellation Fee - Other                          0.00     0.00%     2,500.00    12.18%    -2,500.00           0.00      0.00%         0.00
          747.72    28.19%       250.00    11.28%      497.72          420.48     15.18%           327.24     Total Cancellation Fee Income               17,051.27    38.82%     2,500.00    12.18%    14,551.27       7,468.75     21.27%     9,582.52
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%              0.00   Guest Laundry                                     6.00     0.01%         0.00     0.00%         6.00           0.00      0.00%         6.00
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%              0.00   Interest Earned                                 282.30     0.64%         0.00     0.00%       282.30           0.00      0.00%       282.30
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%              0.00   Cash Discounts                                    0.00     0.00%         0.00     0.00%         0.00         300.05      0.85%      -300.05
             0.00     0.00%        25.00     1.13%       -25.00          64.87      2.34%            -64.87   Internet Access                                 329.34     0.75%       250.00     1.22%        79.34         364.27      1.04%       -34.93
             0.00     0.00%         0.00     0.00%         0.00          20.00      0.72%            -20.00   Cots/Cribs/Rollaways                             20.00     0.05%         0.00     0.00%        20.00          40.00      0.11%       -20.00
           100.00     3.77%         0.00     0.00%      100.00            0.00      0.00%           100.00    Other Revenue 2                               1,450.00     3.30%         0.00     0.00%     1,450.00         106.10      0.30%     1,343.90
             0.00     0.00%         0.00     0.00%         0.00         200.00      7.22%          -200.00    Other Revenue 3                                   0.00     0.00%         0.00     0.00%         0.00         689.24      1.96%      -689.24
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%              0.00   Parking Revenue                                 150.00     0.34%         0.00     0.00%       150.00           0.00      0.00%       150.00
         1,805.18    68.05%     1,692.00    76.32%      113.18        2,028.64     73.25%          -223.46    Gift Shop Sales                              22,631.02    51.52%    15,270.00    74.42%     7,361.02      21,196.69     60.36%     1,434.33
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%              0.00   Pet Fees                                        250.00     0.57%         0.00     0.00%       250.00          50.00      0.14%       200.00
        1,905.18    71.81%     1,717.00    77.45%      188.18        2,313.51     83.53%          -408.33     Total Other Income                          25,118.66    57.19%    15,520.00    75.63%     9,598.66      22,746.35     64.77%     2,372.31

        2,652.90    100.00%    2,217.00    100.00%     435.90        2,769.59     100.00%         -116.69     Total Minor Operating Income                43,923.93    100.00%   20,520.00 100.00%      23,403.93      35,116.30 100.00%       8,807.63

                                                                                                              Cost of Sales
             0.00     0.00%         5.00     0.23%       -5.00            0.00      0.00%             0.00    Cost of Sales - Internet Access                   0.00     0.00%        50.00     0.24%       -50.00           0.00      0.00%        0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%             0.00    Cost of Sales - Guest Laundry                    36.97     0.08%         0.00     0.00%        36.97           0.00      0.00%       36.97
             0.00     0.00%         0.00     0.00%        0.00            0.00      0.00%             0.00    Cost of Sales - Cots & Cribs                      0.00     0.00%         0.00     0.00%         0.00          80.32      0.23%      -80.32
         2,647.91    99.81%     1,099.80    49.61%    1,548.11          600.91     21.70%         2,047.00    Cost of Sales - Gift Shop                    15,273.99    34.77%     9,925.50    48.37%     5,348.49       8,819.10     25.11%    6,454.89
        2,647.91    99.81%     1,104.80    49.83%    1,543.11          600.91     21.70%         2,047.00     Total Minor Operated Cost of Sales          15,310.96    34.86%     9,975.50    48.61%     5,335.46       8,899.42     25.34%    6,411.54

            4.99      0.19%    1,112.20    50.17%    -1,107.21       2,168.68     78.30%        -2,163.69     Total Minor Operated Profit (Loss)          28,612.97    65.14%    10,544.50    51.39%    18,068.47      26,216.88     74.66%    2,396.09




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                            YTD      %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Arcade
                                                                                                       Revenue

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Revenue                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Non-Management             0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Salaries and Wages         0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Payroll Taxes                     0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Supplemental Pay                  0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Other Benefits                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade PR Taxes and Benefits      0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Payroll                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Other Expenses             0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Expenses                   0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Arcade Profit (Loss)              0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                            YTD      %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Waterpark
                                                                                                       Revenue
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Revenue                 0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Waterpark Management                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Waterpark Non-Management                0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Salaries and Wages      0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Payroll Taxes                     0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Supplemental Pay                  0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Other Benefits                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark PR Taxes and Benefits   0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Payroll                 0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Other Expenses          0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Expenses                0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Waterpark Profit (Loss)           0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget    %        Variance   PTD Last Year    %             Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                           Franchise Fees
           194.75      0.10%         0.00    0.00%      194.75           0.00     0.00%          194.75    Franchise Fees - IT Fees                       928.36    0.04%         0.00     0.00%       928.36           0.00     0.00%      928.36
        10,199.97      5.42%     7,079.40    4.92%    3,120.57       8,459.99     5.34%        1,739.98    Franchise Fees - Royalty & Licenses        117,140.94    5.25%    71,946.31     4.93%    45,194.63     107,503.12     4.96%    9,637.82
          -246.31     -0.13%     3,539.70    2.46%   -3,786.01           0.00     0.00%         -246.31    Franchise Fees - Other                       7,301.66    0.33%    35,973.17     2.46%   -28,671.51       3,425.67     0.16%    3,875.99
           176.80      0.09%         0.00    0.00%      176.80           0.00     0.00%          176.80    Franchise Fees - Reservations-GDS            3,987.75    0.18%         0.00     0.00%     3,987.75           0.00     0.00%    3,987.75
         1,348.72      0.72%     1,982.23    1.38%     -633.51         585.77     0.37%          762.95    Franchise Fees - Frequent Guest             23,672.59    1.06%    20,144.97     1.38%     3,527.62      21,163.17     0.98%    2,509.42
         8,949.57      4.76%     3,539.70    2.46%    5,409.87       7,799.98     4.93%        1,149.59    Franchise Fees - Marketing Contributions   100,067.59    4.49%    35,973.17     2.46%    64,094.42      97,434.25     4.50%    2,633.34
             0.00      0.00%     1,628.26    1.13%   -1,628.26           0.00     0.00%            0.00    Franchise Fees - Reservations-Central            0.00    0.00%    16,547.65     1.13%   -16,547.65           0.00     0.00%        0.00

       20,623.50    10.96%     17,769.29    12.36%   2,854.21      16,845.74     10.64%        3,777.76    Total Franchise Fees                       253,098.89   11.35%   180,585.27   12.37%    72,513.62     229,526.21     10.59%   23,572.68




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             PTD      %        PTD Budget    %          Variance   PTD Last Year    %             Variance                                             YTD      %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                             A&G
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         9,921.70      5.27%     7,298.45     5.08%    2,623.25        5,356.52     3.38%         4,565.18   Management- A&G                      88,505.25      3.97%     70,957.04     4.86%    17,548.21      70,226.71      3.24%    18,278.54
        9,921.70      5.27%     7,298.45     5.08%    2,623.25        5,356.52     3.38%         4,565.18    Total A&G Management                88,505.25      3.97%     70,957.04     4.86%    17,548.21      70,226.71      3.24%    18,278.54
             0.00     0.00%          0.00    0.00%         0.00            0.00    0.00%              0.00   Total A&G Non-Management                  0.00     0.00%           0.00    0.00%          0.00           0.00     0.00%          0.00
        9,921.70      5.27%     7,298.45     5.08%    2,623.25        5,356.52     3.38%         4,565.18    Total A&G Salaries and Wages        88,505.25      3.97%     70,957.04     4.86%    17,548.21      70,226.71      3.24%    18,278.54
                                                                                                             PR Taxes and Benefits
         1,481.15      0.79%       580.16     0.40%      900.99          283.90      0.18%        1,197.25   FICA                                 12,772.50      0.57%      5,658.74     0.39%     7,113.76       6,392.03      0.30%      6,380.47
            18.60      0.01%         3.19     0.00%       15.41            0.00      0.00%           18.60   Federal Unemployment Tax                412.18      0.02%        117.45     0.01%       294.73           0.00      0.00%        412.18
            83.66      0.04%        20.48     0.01%       63.18            0.00      0.00%           83.66   State Unemployment Tax                1,854.85      0.08%        965.22     0.07%       889.63           0.00      0.00%      1,854.85
        1,583.41      0.84%       603.83     0.42%      979.58          283.90      0.18%        1,299.51    Total Payroll Taxes                 15,039.53      0.67%      6,741.41     0.46%     8,298.12       6,392.03      0.30%      8,647.50
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%            0.00   Holiday                                   0.00      0.00%          0.00     0.00%         0.00       2,008.78      0.09%     -2,008.78
             0.00      0.00%       285.37     0.20%     -285.37          -67.50     -0.04%           67.50   Vacation                                  0.00      0.00%      3,013.53     0.21%    -3,013.53       9,540.69      0.44%     -9,540.69
             0.00     0.00%       285.37     0.20%     -285.37          -67.50     -0.04%            67.50   Total Supplemental Pay                    0.00     0.00%      3,013.53     0.21%    -3,013.53      11,549.47      0.53%    -11,549.47
         1,681.86      0.89%       396.14     0.28%    1,285.72          670.00      0.42%        1,011.86   Worker's Compensation                13,081.01      0.59%      3,933.98     0.27%     9,147.03      10,368.00      0.48%      2,713.01
          -558.70     -0.30%         0.00     0.00%     -558.70            0.00      0.00%         -558.70   Payroll Tax/Benefit Allocation       -8,459.45     -0.38%          0.00     0.00%    -8,459.45           0.00      0.00%     -8,459.45
           159.31      0.08%         0.00     0.00%      159.31           51.46      0.03%          107.85   Group Insurance                       4,542.62      0.20%          0.00     0.00%     4,542.62       5,626.09      0.26%     -1,083.47
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%            0.00   Bonus and Incentive Pay                   0.00      0.00%          0.00     0.00%         0.00       4,016.23      0.19%     -4,016.23
        1,282.47      0.68%       396.14     0.28%      886.33          721.46      0.46%          561.01    Total Other Benefits                 9,164.18      0.41%      3,933.98     0.27%     5,230.20      20,010.32      0.92%    -10,846.14
        2,865.88      1.52%     1,285.34     0.89%    1,580.54          937.86      0.59%        1,928.02    Total A&G PR Taxes and Benefits     24,203.71      1.09%     13,688.92     0.94%    10,514.79      37,951.82      1.75%    -13,748.11
       12,787.58      6.80%     8,583.79     5.97%    4,203.79        6,294.38      3.97%        6,493.20    Total A&G Payroll                  112,708.96      5.05%     84,645.96     5.80%    28,063.00     108,178.53      4.99%      4,530.43
                                                                                                             Other Expenses
         1,000.00     0.53%      1,000.00     0.70%         0.00       2,000.00     1.26%        -1,000.00   Accounting/Audit Fees                12,000.00      0.54%     10,000.00     0.69%     2,000.00      20,000.00      0.92%    -8,000.00
         2,407.21     1.28%          0.00     0.00%     2,407.21         136.64     0.09%         2,270.57   Bad Debt Provision                   11,680.09      0.52%          0.00     0.00%    11,680.09         344.36      0.02%    11,335.73
           605.82     0.32%      1,075.00     0.75%      -469.18         894.93     0.57%          -289.11   Bank Charges                          7,438.23      0.33%     10,750.00     0.74%    -3,311.77      10,038.68      0.46%    -2,600.45
             0.00     0.00%          0.00     0.00%         0.00          -1.00     0.00%             1.00   Cash Over/Short                          75.59      0.00%          0.00     0.00%        75.59         -33.50      0.00%       109.09
           171.93     0.09%          0.00     0.00%       171.93           0.00     0.00%           171.93   Central Office - Travel Rebilled        702.39      0.03%        625.00     0.04%        77.39           0.00      0.00%       702.39
           475.00     0.25%        160.00     0.11%       315.00           0.00     0.00%           475.00   Central Office - IT Fees              3,915.00      0.18%      1,600.00     0.11%     2,315.00           0.00      0.00%     3,915.00
             0.00     0.00%         60.00     0.04%       -60.00           0.00     0.00%             0.00   Communication Expense                   300.00      0.01%        600.00     0.04%      -300.00         147.02      0.01%       152.98
         3,040.09     1.62%      3,451.32     2.40%      -411.23       3,618.64     2.29%          -578.55   Credit Card Commission               56,637.32      2.54%     35,026.71     2.40%    21,610.61      55,226.10      2.55%     1,411.22
             0.00     0.00%          0.00     0.00%         0.00         870.93     0.55%          -870.93   Data Processing                         206.49      0.01%          0.00     0.00%       206.49       8,435.05      0.39%    -8,228.56
        -4,720.71    -2.51%          0.00     0.00%    -4,720.71         120.00     0.08%        -4,840.71   Dues and Subscriptions                3,326.29      0.15%          0.00     0.00%     3,326.29       1,246.60      0.06%     2,079.69
           808.87     0.43%        100.00     0.07%       708.87          65.97     0.04%           742.90   Employee Relations                    4,440.43      0.20%      1,800.00     0.12%     2,640.43       1,271.30      0.06%     3,169.13
            76.12     0.04%          0.00     0.00%        76.12          34.10     0.02%            42.02   Equipment Rental                        299.92      0.01%          0.00     0.00%       299.92         337.24      0.02%       -37.32
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Internet/Web Expense                    305.00      0.01%          0.00     0.00%       305.00           0.00      0.00%       305.00
             0.00     0.00%          0.00     0.00%         0.00         262.01     0.17%          -262.01   Licenses/Permits                        790.00      0.04%          0.00     0.00%       790.00       4,248.40      0.20%    -3,458.40
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Meals and Entertainment                 152.86      0.01%          0.00     0.00%       152.86           0.00      0.00%       152.86
           420.36     0.22%          0.00     0.00%       420.36           0.00     0.00%           420.36   Miscellaneous Expense                -1,195.22     -0.05%          0.00     0.00%    -1,195.22           0.00      0.00%    -1,195.22
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Office Equipment                      2,199.61      0.10%          0.00     0.00%     2,199.61           0.00      0.00%     2,199.61
           508.82     0.27%          0.00     0.00%       508.82          18.55     0.01%           490.27   Office Supplies                       5,624.04      0.25%          0.00     0.00%     5,624.04       3,073.38      0.14%     2,550.66
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Operating Supplies                      104.47      0.00%          0.00     0.00%       104.47           0.00      0.00%       104.47
           235.79     0.13%        360.00     0.25%      -124.21         372.91     0.24%          -137.12   Payroll Service Fees                  1,568.26      0.07%      3,600.00     0.25%    -2,031.74       5,250.96      0.24%    -3,682.70
            51.75     0.03%         75.00     0.05%       -23.25          62.56     0.04%           -10.81   Postage                                 493.16      0.02%        750.00     0.05%      -256.84         524.48      0.02%       -31.32
            50.00     0.03%        150.00     0.10%      -100.00           0.00     0.00%            50.00   Professional Fees - Legal             3,788.57      0.17%      1,500.00     0.10%     2,288.57           0.00      0.00%     3,788.57
           705.00     0.37%        500.00     0.35%       205.00           0.00     0.00%           705.00   Professional Fees - Other            12,957.57      0.58%      5,000.00     0.34%     7,957.57       9,487.90      0.44%     3,469.67
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Recruitment Advertising               1,240.00      0.06%          0.00     0.00%     1,240.00         778.81      0.04%       461.19
            86.85     0.05%          0.00     0.00%        86.85         122.98     0.08%           -36.13   Recruitment - Other                   1,275.10      0.06%          0.00     0.00%     1,275.10         827.41      0.04%       447.69
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Security - In-house Expense             395.00      0.02%          0.00     0.00%       395.00           0.00      0.00%       395.00
             0.00     0.00%        600.00     0.42%      -600.00           0.00     0.00%             0.00   Security - Outside                        0.00      0.00%      2,100.00     0.14%    -2,100.00         802.75      0.04%      -802.75
           792.88     0.42%        520.70     0.36%       272.18           0.00     0.00%           792.88   Software Expense/Maintenance         16,470.73      0.74%      6,157.00     0.42%    10,313.73           0.00      0.00%    16,470.73
           188.57     0.10%          0.00     0.00%       188.57         206.25     0.13%           -17.68   Training                              1,383.58      0.06%          0.00     0.00%     1,383.58       1,302.28      0.06%        81.30
            12.43     0.01%          0.00     0.00%        12.43           0.00     0.00%            12.43   Travel                                  905.11      0.04%          0.00     0.00%       905.11       1,399.46      0.06%      -494.35
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00   Uniforms                                565.81      0.03%          0.00     0.00%       565.81           0.00      0.00%       565.81
        6,916.78     3.68%      8,052.02     5.60%    -1,135.24       8,785.47     5.55%        -1,868.69    Total A&G Other Expenses           150,045.40      6.73%     79,508.71     5.45%    70,536.69     124,708.68      5.76%    25,336.72
       19,704.36    10.48%     16,635.81    11.57%     3,068.55      15,079.85     9.52%         4,624.51    Total A&G Expenses                 262,754.36     11.78%    164,154.67    11.25%    98,599.69     232,887.21     10.75%    29,867.15




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %             Variance                                            YTD      %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       IT
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wags
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Management                     0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Non-Management                 0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Salaries and Wages             0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Payroll Taxes                     0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Supplemental Pay                  0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total Other Benefits                    0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT PR Taxes and Benefits          0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Payroll                        0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Cost of Services
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Cost of Services               0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       System Costs
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Systems                        0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Other Expenses                 0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%            0.00    Total IT Expenses                       0.00      0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                     Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                       P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %        PTD Budget    %        Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                          S&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00      0.00%         0.00    0.00%       0.00        2,740.90     1.73%       -2,740.90   Division Management                 13,718.11      0.62%          0.00     0.00%    13,718.11       25,019.60     1.15%   -11,301.49
         3,193.69      1.70%     3,170.67    2.20%      23.02            0.00     0.00%        3,193.69   Sales Managers                      15,917.48      0.71%     30,628.88     2.10%   -14,711.40           33.25     0.00%    15,884.23
        3,193.69      1.70%     3,170.67    2.20%       23.02       2,740.90     1.73%          452.79    Total S&M Management               29,635.59      1.33%     30,628.88     2.10%      -993.29       25,052.85     1.16%     4,582.74
         1,654.47      0.88%     1,417.14    0.99%     237.33            0.00     0.00%        1,654.47   Administrative Assistant             9,778.41      0.44%     13,897.13     0.95%    -4,118.72        4,019.50     0.19%     5,758.91
        1,654.47      0.88%     1,417.14    0.99%     237.33             0.00    0.00%        1,654.47    Total S&M Non-Management            9,778.41      0.44%     13,897.13     0.95%    -4,118.72        4,019.50     0.19%     5,758.91

        4,848.16      2.58%     4,587.81    3.19%     260.35        2,740.90     1.73%        2,107.26    Total S&M Salaries and Wages       39,414.00      1.77%     44,526.01     3.05%     -5,112.01      29,072.35     1.34%    10,341.65

                                                                                                          PR Taxes and Benefits
             0.00      0.00%       360.39    0.25%     -360.39         328.48     0.21%         -328.48   FICA                                   165.47      0.01%      3,505.72     0.24%     -3,340.25       2,489.81     0.11%    -2,324.34
             0.00      0.00%         1.98    0.00%       -1.98           0.00     0.00%            0.00   Federal Unemployment Tax                 0.00      0.00%         72.45     0.00%        -72.45           0.00     0.00%         0.00
             0.00      0.00%        12.72    0.01%      -12.72           0.00     0.00%            0.00   State Unemployment Tax                   0.00      0.00%        595.00     0.04%       -595.00           0.00     0.00%         0.00
             0.00     0.00%       375.09    0.26%     -375.09         328.48     0.21%         -328.48    Total Payroll Taxes                   165.47      0.01%      4,173.17     0.29%     -4,007.70       2,489.81     0.11%    -2,324.34
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Holiday                                  0.00      0.00%          0.00     0.00%          0.00         908.96     0.04%      -908.96
             0.00      0.00%       123.11    0.09%     -123.11         443.60     0.28%         -443.60   Vacation                                 0.00      0.00%      1,300.05     0.09%     -1,300.05       5,320.00     0.25%    -5,320.00
             0.00     0.00%       123.11    0.09%     -123.11         443.60     0.28%         -443.60    Total Supplemental Pay                   0.00     0.00%      1,300.05     0.09%     -1,300.05       6,228.96     0.29%    -6,228.96
             0.00      0.00%       246.07    0.17%     -246.07           0.00     0.00%            0.00   Worker's Compensation                    0.00      0.00%      2,437.22     0.17%     -2,437.22           0.00     0.00%         0.00
           246.57      0.13%         0.00    0.00%      246.57           0.00     0.00%          246.57   Payroll Tax/Benefit Allocation       6,966.30      0.31%          0.00     0.00%      6,966.30           0.00     0.00%     6,966.30
             0.00      0.00%         0.00    0.00%        0.00         471.50     0.30%         -471.50   Group Insurance                          0.00      0.00%          0.00     0.00%          0.00       4,872.00     0.22%    -4,872.00
           937.50      0.50%         0.00    0.00%      937.50           0.00     0.00%          937.50   Bonus and Incentive Pay                937.50      0.04%          0.00     0.00%        937.50       1,556.37     0.07%      -618.87
        1,184.07      0.63%       246.07    0.17%      938.00         471.50     0.30%          712.57    Total Other Benefits                7,903.80      0.35%      2,437.22     0.17%      5,466.58       6,428.37     0.30%     1,475.43
        1,184.07      0.63%       744.27    0.52%      439.80       1,243.58     0.79%           -59.51   Total S&M PR Taxes and Benefits     8,069.27      0.36%      7,910.44     0.54%        158.83      15,147.14     0.70%    -7,077.87

        6,032.23      3.21%     5,332.08    3.71%     700.15        3,984.48     2.52%        2,047.75    Total S&M Payroll                  47,483.27      2.13%     52,436.45     3.59%     -4,953.18      44,219.49     2.04%     3,263.78

                                                                                                          Other Expenses
           440.00      0.23%         0.00    0.00%      440.00           0.00     0.00%          440.00   Advertising General                  3,965.00      0.18%        300.00     0.02%      3,665.00           0.00     0.00%     3,965.00
             0.00      0.00%       940.00    0.65%     -940.00         391.76     0.25%         -391.76   Advertising-Web/Internet                 0.00      0.00%     10,435.00     0.71%    -10,435.00       5,805.67     0.27%    -5,805.67
             0.00      0.00%     1,800.00    1.25%   -1,800.00       1,800.00     1.14%       -1,800.00   Billboards                               0.00      0.00%      1,800.00     0.12%     -1,800.00       1,800.00     0.08%    -1,800.00
             0.00      0.00%       100.00    0.07%     -100.00           0.00     0.00%            0.00   Brochures                                0.00      0.00%        300.00     0.02%       -300.00           0.00     0.00%         0.00
           -50.00     -0.03%        25.00    0.02%      -75.00           0.00     0.00%          -50.00   Communication Expense                    0.00      0.00%        250.00     0.02%       -250.00          25.00     0.00%       -25.00
         1,088.00      0.58%     1,360.57    0.95%     -272.57           0.00     0.00%        1,088.00   Dues and Subscriptions              13,155.00      0.59%     19,620.55     1.34%     -6,465.55       2,768.47     0.13%    10,386.53
             0.00      0.00%       500.00    0.35%     -500.00           0.00     0.00%            0.00   GDS Marketing Advert & Sales             0.00      0.00%      5,000.00     0.34%     -5,000.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Magazine - Advertising                   0.00      0.00%        500.00     0.03%       -500.00           0.00     0.00%         0.00
             0.00      0.00%        50.00    0.03%      -50.00           0.00     0.00%            0.00   Meals and Entertainment                  0.00      0.00%        500.00     0.03%       -500.00           7.88     0.00%        -7.88
             0.00      0.00%        25.00    0.02%      -25.00           0.00     0.00%            0.00   Miscellaneous Expense                    0.00      0.00%        250.00     0.02%       -250.00           0.00     0.00%         0.00
             0.00      0.00%        50.00    0.03%      -50.00           0.00     0.00%            0.00   Office Supplies                         53.75      0.00%        500.00     0.03%       -446.25           0.00     0.00%        53.75
             0.00      0.00%        25.00    0.02%      -25.00           0.00     0.00%            0.00   Printing and Stationery                  0.00      0.00%        250.00     0.02%       -250.00           0.00     0.00%         0.00
           275.00      0.15%       125.00    0.09%      150.00          12.61     0.01%          262.39   Promotions - In-house                  777.42      0.03%      1,250.00     0.09%       -472.58       1,040.57     0.05%      -263.15
         1,712.73      0.91%     3,750.00    2.61%   -2,037.27           0.00     0.00%        1,712.73   Promotion - Outside                  1,996.26      0.09%     11,000.00     0.75%     -9,003.74           0.00     0.00%     1,996.26
         6,743.24      3.58%         0.00    0.00%    6,743.24           0.00     0.00%        6,743.24   Software Expense/Maintenance         8,991.00      0.40%      8,991.00     0.62%          0.00           0.00     0.00%     8,991.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Trade Shows                              0.00      0.00%        500.00     0.03%       -500.00           0.00     0.00%         0.00
            35.00      0.02%       750.00    0.52%     -715.00           0.00     0.00%           35.00   Training                             1,780.00      0.08%      2,400.00     0.16%       -620.00         237.27     0.01%     1,542.73
           -20.16     -0.01%        50.00    0.03%      -70.16           0.00     0.00%          -20.16   Travel                                   0.00      0.00%        500.00     0.03%       -500.00          83.45     0.00%       -83.45
       10,223.81      5.44%     9,550.57    6.64%      673.24       2,204.37     1.39%        8,019.44    Total S&M Other Expenses           30,718.43      1.38%     64,346.55     4.41%    -33,628.12      11,768.31     0.54%    18,950.12

       16,256.04      8.64%    14,882.65    10.35%   1,373.39       6,188.85     3.91%       10,067.19    Total S&M Expenses                 78,201.70      3.51%    116,783.00     8.00%    -38,581.30      55,987.80     2.58%    22,213.90




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                                                                                      Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                        P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget    %        Variance    PTD Last Year   %             Variance                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           R&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         2,555.28      1.36%     2,451.31    1.70%      103.97            0.00     0.00%        2,555.28   Division Management                    27,626.01    1.24%     23,965.84     1.64%     3,660.17       5,815.62     0.27%    21,810.39
        2,555.28      1.36%     2,451.31    1.70%      103.97             0.00    0.00%        2,555.28    Total R&M Management                  27,626.01    1.24%     23,965.84     1.64%     3,660.17       5,815.62     0.27%    21,810.39
             0.00      0.00%     1,550.00    1.08%   -1,550.00            0.00     0.00%            0.00   Engineering Supervisor                      0.00    0.00%     15,200.00     1.04%   -15,200.00           0.00     0.00%         0.00
         3,630.26      1.93%     1,328.57    0.92%    2,301.69        3,285.47     2.07%          344.79   Engineers 1                            32,212.18    1.44%     13,028.55     0.89%    19,183.63      34,286.91     1.58%    -2,074.73
        3,630.26      1.93%     2,878.57    2.00%      751.69        3,285.47     2.07%          344.79    Total R&M Non-Management              32,212.18    1.44%     28,228.55     1.93%     3,983.63      34,286.91     1.58%    -2,074.73

        6,185.54      3.29%     5,329.88    3.71%     855.66         3,285.47     2.07%        2,900.07    Total R&M Salaries and Wages          59,838.19    2.68%     52,194.39     3.58%     7,643.80      40,102.53     1.85%    19,735.66

                                                                                                           PR Taxes and Benefits
           813.61      0.43%       472.50    0.33%      341.11          241.60     0.15%         572.01    FICA                                    7,938.21    0.36%      4,128.32     0.28%     3,809.89       3,095.60     0.14%     4,842.61
            10.19      0.01%         2.59    0.00%         7.60           0.00     0.00%           10.19   Federal Unemployment Tax                  267.20    0.01%         85.14     0.01%       182.06           0.00     0.00%       267.20
            45.85      0.02%        16.68    0.01%        29.17           0.00     0.00%           45.85   State Unemployment Tax                  1,202.31    0.05%        699.31     0.05%       503.00           0.00     0.00%     1,202.31
          869.65      0.46%       491.77    0.34%      377.88          241.60     0.15%         628.05     Total Payroll Taxes                    9,407.72    0.42%      4,912.77     0.34%     4,494.95       3,095.60     0.14%     6,312.12
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Holiday                                     0.00    0.00%          0.00     0.00%         0.00         860.96     0.04%      -860.96
             0.00      0.00%        96.64    0.07%       -96.64          50.00     0.03%          -50.00   Vacation                                    0.00    0.00%      1,020.51     0.07%    -1,020.51       1,395.98     0.06%    -1,395.98
             0.00     0.00%         96.64   0.07%       -96.64           50.00    0.03%          -50.00    Total Supplemental Pay                      0.00   0.00%      1,020.51     0.07%    -1,020.51       2,256.94     0.10%    -2,256.94
           921.31      0.49%       322.63    0.22%      598.68            0.00     0.00%         921.31    Worker's Compensation                   8,101.73    0.36%      2,869.08     0.20%     5,232.65           0.00     0.00%     8,101.73
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Payroll Tax/Benefit Allocation         -5,425.95   -0.24%          0.00     0.00%    -5,425.95           0.00     0.00%    -5,425.95
          -679.70     -0.36%         0.00    0.00%     -679.70           37.74     0.02%        -717.44    Group Insurance                         8,893.27    0.40%          0.00     0.00%     8,893.27       1,758.23     0.08%     7,135.04
             0.00      0.00%       750.00    0.52%     -750.00            0.00     0.00%            0.00   Bonus and Incentive Pay                     0.00    0.00%        750.00     0.05%      -750.00           0.00     0.00%         0.00
          241.61      0.13%     1,072.63    0.75%     -831.02            37.74    0.02%         203.87     Total Other Benefits                  11,569.05    0.52%      3,619.08     0.25%     7,949.97       1,758.23     0.08%     9,810.82
        1,111.26      0.59%     1,661.04    1.16%     -549.78          329.34     0.21%         781.92     Total R&M PR Taxes and Benefits       20,976.77    0.94%      9,552.36     0.65%    11,424.41       7,110.77     0.33%    13,866.00

        7,296.80      3.88%     6,990.92    4.86%     305.88         3,614.81     2.28%        3,681.99    Total R&M Payroll                     80,814.96    3.62%     61,746.75     4.23%    19,068.21      47,213.30     2.18%    33,601.66

                                                                                                           Other Expenses
           686.37      0.36%       186.12    0.13%      500.25          325.98     0.21%          360.39   Air Conditioning and Refrigeration     12,963.32    0.58%      1,679.70     0.12%    11,283.62         856.08     0.04%    12,107.24
            97.93      0.05%         0.00    0.00%       97.93            0.00     0.00%           97.93   Building                                9,948.05    0.45%          0.00     0.00%     9,948.05       3,276.67     0.15%     6,671.38
            50.00      0.03%        25.00    0.02%       25.00            0.00     0.00%           50.00   Communication Expense                      50.00    0.00%        250.00     0.02%      -200.00           0.00     0.00%        50.00
             0.00      0.00%     3,000.00    2.09%   -3,000.00            0.00     0.00%            0.00   Contract Labor                              0.00    0.00%      3,000.00     0.21%    -3,000.00           0.00     0.00%         0.00
           346.49      0.18%       186.12    0.13%      160.37            0.00     0.00%          346.49   Electric Bulbs                          3,946.64    0.18%      1,679.70     0.12%     2,266.94       1,281.68     0.06%     2,664.96
             0.00      0.00%        84.60    0.06%      -84.60            0.00     0.00%            0.00   Electrical and Mechanical               2,567.78    0.12%        763.50     0.05%     1,804.28         279.78     0.01%     2,288.00
             0.00      0.00%       500.00    0.35%     -500.00            0.00     0.00%            0.00   Elevator Maintenance Contracts          4,352.38    0.20%      5,200.00     0.36%      -847.62           0.00     0.00%     4,352.38
             0.00      0.00%         0.00    0.00%        0.00        1,364.74     0.86%       -1,364.74   Equipment Maintenance                     582.35    0.03%          0.00     0.00%       582.35       5,575.79     0.26%    -4,993.44
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Equipment Rental                          103.70    0.00%          0.00     0.00%       103.70           0.00     0.00%       103.70
           304.42      0.16%         0.00    0.00%      304.42        2,351.98     1.49%       -2,047.56   Fire Safety Equipment                   7,332.76    0.33%      1,650.00     0.11%     5,682.76       2,353.99     0.11%     4,978.77
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Floor and Carpet Maintenance            6,619.77    0.30%      3,500.00     0.24%     3,119.77         723.20     0.03%     5,896.57
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Furniture                                   0.00    0.00%          0.00     0.00%         0.00          22.39     0.00%       -22.39
           970.00      0.52%     1,000.00    0.70%      -30.00          945.00     0.60%           25.00   Grounds and Landscaping                10,804.00    0.48%     10,900.00     0.75%       -96.00       9,009.08     0.42%     1,794.92
             0.00      0.00%       100.00    0.07%     -100.00            0.00     0.00%            0.00   Kitchen Equipment Repairs                 364.74    0.02%        500.00     0.03%      -135.26         433.92     0.02%       -69.18
           299.60      0.16%       100.00    0.07%      199.60            0.00     0.00%          299.60   Laundry Equipment Repairs                 299.60    0.01%      1,000.00     0.07%      -700.40         120.00     0.01%       179.60
            73.16      0.04%         0.00    0.00%       73.16            0.00     0.00%           73.16   Locks and Keys                            301.26    0.01%        500.00     0.03%      -198.74          31.17     0.00%       270.09
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Office Supplies                           367.58    0.02%          0.00     0.00%       367.58           0.00     0.00%       367.58
           268.80      0.14%         0.00    0.00%      268.80            0.00     0.00%          268.80   Operating Supplies                        268.80    0.01%          0.00     0.00%       268.80           0.00     0.00%       268.80
             0.00      0.00%         0.00    0.00%        0.00           72.84     0.05%          -72.84   Painting and Decorating                   733.48    0.03%          0.00     0.00%       733.48         142.29     0.01%       591.19
           241.87      0.13%       536.00    0.37%     -294.13          330.63     0.21%          -88.76   Pest Control                            5,319.89    0.24%      3,610.00     0.25%     1,709.89       3,425.10     0.16%     1,894.79
         2,775.97      1.48%       100.00    0.07%    2,675.97          364.52     0.23%        2,411.45   Plumbing and Heating                    3,954.58    0.18%      1,000.00     0.07%     2,954.58       1,035.05     0.05%     2,919.53
           697.84      0.37%       350.00    0.24%      347.84          275.00     0.17%          422.84   Pool Service- Contract                  3,172.84    0.14%      3,500.00     0.24%      -327.16       2,642.09     0.12%       530.75
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Radio and Television Repair                 0.00    0.00%          0.00     0.00%         0.00        -350.00    -0.02%       350.00
            -7.00      0.00%       109.00    0.08%     -116.00            0.00     0.00%           -7.00   Software Expense/Maintenance              545.00    0.02%      1,590.00     0.11%    -1,045.00           0.00     0.00%       545.00
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Tools                                   7,173.48    0.32%          0.00     0.00%     7,173.48           0.00     0.00%     7,173.48
            47.71      0.03%       500.00    0.35%     -452.29            0.00     0.00%           47.71   Travel                                    101.69    0.00%        500.00     0.03%      -398.31           0.00     0.00%       101.69
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Uniforms                                    0.00    0.00%        300.00     0.02%      -300.00           0.00     0.00%         0.00
         1,045.52      0.56%       914.00    0.64%      131.52          788.95     0.50%          256.57   Waste Removal                          12,439.89    0.56%      9,140.00     0.63%     3,299.89      12,379.23     0.57%        60.66
        7,898.68      4.20%     7,690.84    5.35%      207.84        6,819.64     4.31%        1,079.04    Total R&M Other Expenses              94,313.58    4.23%     50,262.90     3.44%    44,050.68      43,237.51     2.00%    51,076.07

       15,195.48      8.08%    14,681.76    10.21%    513.72        10,434.45     6.59%        4,761.03    Total R&M Expenses                   175,128.54    7.85%    112,009.65     7.67%    63,118.89      90,450.81     4.17%    84,677.73
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                                                                                     Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
                                                                                                       P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year   %             Variance                                            YTD      %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          Utilities
         1,479.71      0.79%     2,030.40    1.41%     -550.69       2,838.10     1.79%       -1,358.39   Water                               21,678.77      0.97%    18,324.00      1.26%     3,354.77      28,154.79     1.30%    -6,476.02
         7,377.95      3.92%     5,803.56    4.04%    1,574.39       7,431.00     4.69%          -53.05   Electricity                         66,485.52      2.98%    52,376.10      3.59%    14,109.42      64,615.89     2.98%     1,869.63
             0.00      0.00%         0.00    0.00%        0.00       1,364.54     0.86%       -1,364.54   Gas - Natural HLP                        0.00      0.00%         0.00      0.00%         0.00      14,075.21     0.65%   -14,075.21
         2,380.74      1.27%     1,522.80    1.06%      857.94           0.00     0.00%        2,380.74   Propane Tanks/Fuel                  21,684.77      0.97%    13,743.00      0.94%     7,941.77           0.00     0.00%    21,684.77
         1,696.14      0.90%     1,692.00    1.18%        4.14           0.00     0.00%        1,696.14   Sewer                               12,151.68      0.54%    15,270.00      1.05%    -3,118.32           0.00     0.00%    12,151.68
       12,934.54      6.88%    11,048.76    7.68%    1,885.78      11,633.64     7.35%        1,300.90    Total Utilities                   122,000.74      5.47%    99,713.10      6.83%    22,287.64     106,845.89     4.93%    15,154.85




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                                                                                       Company: NAFL Associates LLC Property: Fairfield Inn & Suites Naples
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                                                                                                               As of 10/31/2021
             PTD      %       PTD Budget    %         Variance    PTD Last Year    %             Variance                                            YTD       %        YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                            Fixed
         1,269.00     0.67%     1,269.42     0.88%        -0.42       1,363.20      0.86%          -94.20   Personal Property Taxes             14,384.84       0.65%     12,694.20     0.87%     1,690.64      13,632.00      0.63%          752.84
         8,130.00     4.32%     8,130.00     5.65%         0.00       7,844.16      4.95%          285.84   Real Estate Taxes                   81,300.00       3.65%     81,300.00     5.57%         0.00      78,441.60      3.62%        2,858.40
        9,399.00     5.00%     9,399.42     6.54%        -0.42       9,207.36      5.81%          191.64    Total Taxes                        95,684.84       4.29%     93,994.20     6.44%     1,690.64      92,073.60      4.25%        3,611.24
           388.83     0.21%         0.00     0.00%      388.83        4,712.72      2.98%       -4,323.89   Insurance                            1,166.49       0.05%          0.00     0.00%     1,166.49      45,166.37      2.08%     -43,999.88
            40.25     0.02%         0.00     0.00%       40.25            0.00      0.00%           40.25   Insurance - Crime                      120.75       0.01%          0.00     0.00%       120.75           0.00      0.00%          120.75
           460.67     0.24%       125.00     0.09%      335.67            0.00      0.00%          460.67   Insurance - Employment               2,218.01       0.10%      1,250.00     0.09%       968.01           0.00      0.00%        2,218.01
         1,311.17     0.70%     1,144.50     0.80%      166.67            0.00      0.00%        1,311.17   Insurance - General Liability       13,074.01       0.59%     11,445.00     0.78%     1,629.01           0.00      0.00%       13,074.01
         2,998.33     1.59%     2,998.33     2.08%         0.00           0.00      0.00%        2,998.33   Insurance - Property                29,983.33       1.34%     29,983.30     2.05%         0.03           0.00      0.00%       29,983.33
         2,038.42     1.08%     1,980.67     1.38%       57.75            0.00      0.00%        2,038.42   Insurance - Umbrella                19,979.76       0.90%     19,806.70     1.36%       173.06           0.00      0.00%       19,979.76
        7,237.67     3.85%     6,248.50     4.35%      989.17        4,712.72      2.98%        2,524.95    Total Insurance                    66,542.35       2.98%     62,485.00     4.28%     4,057.35      45,166.37      2.08%      21,375.98
         7,195.44     3.83%         0.00     0.00%    7,195.44            0.00      0.00%        7,195.44   POA Dues                             7,195.44       0.32%          0.00     0.00%     7,195.44           0.00      0.00%        7,195.44
        30,008.00    15.95%    30,008.00    20.87%         0.00      33,680.43     21.27%       -3,672.43   Ground Lease Expense               292,844.00      13.13%    292,844.00    20.07%         0.00     301,352.66     13.91%       -8,508.66
       37,203.44    19.78%    30,008.00    20.87%    7,195.44       33,680.43     21.27%        3,523.01    Total Leases & Rent               300,039.44      13.45%    292,844.00    20.07%     7,195.44     301,352.66     13.91%       -1,313.22
         6,143.17     3.27%     4,500.00     3.13%    1,643.17        3,958.00      2.50%        2,185.17   Management Fee - Base               73,043.77       3.28%     49,612.81     3.40%    23,430.96      54,156.00      2.50%       18,887.77
             0.00     0.00%         0.00     0.00%         0.00       3,713.55      2.34%       -3,713.55   Management Fee - Incentive               0.00       0.00%          0.00     0.00%         0.00      10,984.00      0.51%     -10,984.00
        6,143.17     3.27%     4,500.00     3.13%    1,643.17        7,671.55      4.84%       -1,528.38    Total Management Fees              73,043.77       3.28%     49,612.81     3.40%    23,430.96      65,140.00      3.01%        7,903.77
             0.00     0.00%         0.00     0.00%         0.00       5,708.17      3.60%       -5,708.17   Capital Reserve                          0.00       0.00%          0.00     0.00%         0.00      57,081.70      2.63%     -57,081.70
             0.00     0.00%         0.00     0.00%         0.00      37,607.00     23.75%      -37,607.00   (Gain)/Loss-Insurance                    0.00       0.00%          0.00     0.00%         0.00     376,070.00     17.36%    -376,070.00
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Owner's Expense                        949.17       0.04%          0.00     0.00%       949.17      27,092.54      1.25%     -26,143.37
             0.00     0.00%         0.00     0.00%         0.00       2,082.60      1.32%       -2,082.60   Extraordinary Expense                    0.00       0.00%          0.00     0.00%         0.00      10,982.27      0.51%     -10,982.27
             0.00    0.00%          0.00    0.00%          0.00     45,397.77     28.67%      -45,397.77    Total Other Non-Operating             949.17       0.04%           0.00    0.00%       949.17     471,226.51     21.75%    -470,277.34




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                                                                                     Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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                                                                                                                  As of 10/31/2021
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %            Variance                                                        YTD     %          YTD Budget %               Variance    YTD Last Year     %             Variance

                                                                                                               Statistics
           116.00                   116.00                    0.00         116.00                       0.00   # Rooms                                            116.00                   116.00                     0.00          116.00                        0.00
         3,596.00                 3,596.00                    0.00       3,596.00                       0.00   Available Rooms                                 35,264.00                35,264.00                     0.00       35,380.00                     -116.00
         1,768.00                 2,626.00                 -858.00       1,310.00                     458.00   Room Nights Sold                                20,711.00                18,437.00                 2,274.00       11,839.00                    8,872.00
          49.17%                   73.03%                 -23.86%         36.43%                     12.74%    Occupancy %                                       58.73%                   52.28%                    6.45%          33.46%                      25.27%
            97.90                   102.00                   -4.10          64.91                      32.98   ADR                                                 93.86                    85.08                     8.79          101.45                       -7.59
            48.13                    74.49                  -26.35          23.65                      24.48   RevPar                                              55.13                    44.48                    10.65           33.95                       21.18

                                                                                                               Summary V.11
                                                                                                               Revenue
       173,082.57    97.99%     267,852.00    99.40%   -94,769.43       85,037.27     98.47%       88,045.30   Rooms                                        1,943,991.17    98.57%    1,568,575.62    99.10%    375,415.55    1,201,105.28     98.63%      742,885.89
             0.00     0.00%           0.00     0.00%         0.00            0.00      0.00%            0.00   F&B                                                  0.00     0.00%            0.00     0.00%          0.00            0.00      0.00%            0.00
         3,544.97     2.01%       1,606.00     0.60%     1,938.97        1,317.95      1.53%        2,227.02   Other Departments                               28,263.65     1.43%       14,312.00     0.90%     13,951.65       16,719.18      1.37%       11,544.47

      176,627.54    100.00%    269,458.00    100.00%   -92,830.46      86,355.22     100.00%      90,272.32    Total Operating Revenue                     1,972,254.82    100.00%   1,582,887.62 100.00%      389,367.20    1,217,824.46 100.00%         754,430.36

                                                                                                               Departmental Expenses
        58,271.51    33.67%      69,937.41    26.11%   -11,665.90       26,678.24     31.37%       31,593.27   Rooms                                         478,207.85     24.60%     502,411.52     32.03%    -24,203.67      311,509.27     25.94%      166,698.58
             0.00     0.00%           0.00     0.00%         0.00            0.00      0.00%            0.00   F&B                                                 0.00      0.00%           0.00      0.00%          0.00            0.00      0.00%            0.00
         3,153.16    88.95%       2,258.00   140.60%       895.16        1,882.72    142.85%        1,270.44   Other Departments                              25,575.84     90.49%      22,580.00    157.77%      2,995.84       24,273.15    145.18%        1,302.69

       61,424.67    34.78%      72,195.41    26.79%    -10,770.74      28,560.96      33.07%      32,863.71    Total Departmental Expenses                  503,783.69     25.54%     524,991.52     33.17%    -21,207.83      335,782.42     27.57%      168,001.27

      115,202.87    65.22%     197,262.59    73.21%    -82,059.72      57,794.26      66.93%      57,408.61    Total Departmental Profit                   1,468,471.13    74.46%    1,057,896.10    66.83%    410,575.03      882,042.04     72.43%      586,429.09

                                                                                                               Undistributed Operating Expenses
        25,530.75    14.45%      19,481.68     7.23%     6,049.07       13,348.96     15.46%       12,181.79   A&G                                           208,443.52     10.57%     174,599.83     11.03%     33,843.69      200,793.95     16.49%         7,649.57
             0.00     0.00%           0.00     0.00%         0.00            0.00      0.00%            0.00   IT                                                  0.00      0.00%           0.00      0.00%          0.00            0.00      0.00%             0.00
        14,832.03     8.40%       8,788.74     3.26%     6,043.29        4,563.21      5.28%       10,268.82   S&M                                            95,319.63      4.83%      99,368.30      6.28%     -4,048.67       60,140.63      4.94%        35,179.00
        32,446.90    18.37%      26,985.20    10.01%     5,461.70       12,568.63     14.55%       19,878.27   Franchise Fees                                216,322.85     10.97%     158,257.55     10.00%     58,065.30      136,994.30     11.25%        79,328.55
        18,954.28    10.73%      18,249.66     6.77%       704.62        9,554.38     11.06%        9,399.90   R&M                                           131,669.47      6.68%     141,483.21      8.94%     -9,813.74       94,702.42      7.78%        36,967.05
        10,032.54     5.68%      10,757.00     3.99%      -724.46        8,503.92      9.85%        1,528.62   Utilities                                      96,538.66      4.89%     105,993.00      6.70%     -9,454.34       81,053.74      6.66%        15,484.92

      101,796.50    57.63%      84,262.28    31.27%    17,534.22       48,539.10      56.21%      53,257.40    Total Undistributed Expenses                 748,294.13     37.94%     679,701.89     42.94%     68,592.24      573,685.04     47.11%      174,609.09

       13,406.37      7.59%    113,000.31    41.94%    -99,593.94       9,255.16      10.72%       4,151.21    Gross Operating Profit                    720,177.00        36.52%     378,194.21     23.89%    341,982.79      308,357.00     25.32%      411,820.00
         5,798.83      3.28%      8,083.74     3.00%     -2,284.91       5,864.80       6.79%         -65.97   Management Fees                             67,455.00         3.42%      52,260.92      3.30%     15,194.08       41,390.68      3.40%       26,064.32
        7,607.54      4.31%    104,916.57    38.94%    -97,309.03       3,390.36       3.93%       4,217.18    Income Before Non-Operating Income and Expenses
                                                                                                                                                         652,722.00        33.10%     325,933.29     20.59%    326,788.71      266,966.32     21.92%      385,755.68

                                                                                                               Non-Operating Income and Expenses
         7,808.08     4.42%       6,658.67     2.47%      1,149.41       4,767.26       5.52%       3,040.82   Insurance                                      71,274.88      3.61%      66,586.70      4.21%      4,688.18       46,834.18      3.85%        24,440.70
        28,904.00    16.36%      28,904.00    10.73%          0.00      32,169.12      37.25%      -3,265.12   Leases & Rent                                 282,083.00     14.30%     282,083.00     17.82%          0.00      289,179.08     23.75%        -7,096.08
             0.00     0.00%           0.00     0.00%          0.00      75,115.16      86.98%     -75,115.16   Other                                          14,984.65      0.76%           0.00      0.00%     14,984.65      789,155.84     64.80%      -774,171.19
       36,712.08    20.79%      35,562.67    13.20%      1,149.41     112,051.54     129.76%     -75,339.46    Total Non-Operating Income and Expenses      368,342.53     18.68%     348,669.70     22.03%     19,672.83    1,125,169.10     92.39%      -756,826.57

      -29,104.54    -16.48%     69,353.90    25.74%    -98,458.44    -108,661.18 -125.83%         79,556.64    EBITDA                                        284,379.47    14.42%     -22,736.41     -1.44%    307,115.88     -858,202.78     -70.47%    1,142,582.25
             0.00      0.00%          0.00     0.00%         0.00       31,043.00   35.95%        -31,043.00   Interest                                             0.00     0.00%           0.00      0.00%          0.00      309,972.85      25.45%     -309,972.85
        16,226.00      9.19%     16,226.00     6.02%         0.00       16,225.93   18.79%              0.07   Taxes                                          187,944.81     9.53%     162,260.00     10.25%     25,684.81      162,259.30      13.32%       25,685.51
             0.00      0.00%          0.00     0.00%         0.00        3,091.00    3.58%         -3,091.00   Amortization                                         0.00     0.00%           0.00      0.00%          0.00       30,910.00       2.54%      -30,910.00
       16,226.00      9.19%     16,226.00     6.02%          0.00      50,359.93   58.32%        -34,133.93    Interest, Taxes, Depreciation and Amortization187,944.81     9.53%     162,260.00     10.25%     25,684.81      503,142.15      41.31%     -315,197.34

      -45,330.54    -25.66%     53,127.90    19.72%    -98,458.44    -159,021.11 -184.15%        113,690.57    Net Income                                     96,434.66     4.89%    -184,996.41 -11.69%       281,431.07    -1,361,344.93 -111.78%      1,457,779.59




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                                                                                  Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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             PTD      %       PTD Budget    %          Variance   PTD Last Year     %            Variance                                             YTD     %         YTD Budget %               Variance   YTD Last Year     %         Variance

                                                                                                            Statistics
           116.00                 116.00                  0.00          116.00                      0.00    # Rooms                                 116.00                  116.00                     0.00         116.00                    0.00
         3,596.00               3,596.00                  0.00        3,596.00                      0.00    Available Rooms                      35,264.00               35,264.00                     0.00      35,380.00                 -116.00
         1,768.00               2,626.00               -858.00        1,310.00                    458.00    Room Nights Sold                     20,711.00               18,437.00                 2,274.00      11,839.00                8,872.00
             0.49                   0.73                 -0.24            0.36                      0.13    Occupancy %                               0.59                    0.52                     0.06           0.33                    0.25
            97.90                 102.00                 -4.10           64.91                     32.98    ADR                                      93.86                   85.08                     8.79         101.45                   -7.59
            48.13                  74.49                -26.35           23.65                     24.48    RevPar                                   55.13                   44.48                    10.65          33.95                   21.18

                                                                                                            Summary
                                                                                                            Revenue:
       173,082.57    97.99%   267,852.00   99.40%    -94,769.43      85,037.27     98.47%       88,045.30   Rooms                             1,943,991.17   98.57%    1,568,575.62    99.10%   375,415.55    1,201,105.28    98.63%    742,885.89
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Food                                      0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Beverage                                  0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Other F&B Revenue                         0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Telephone                               -24.74    0.00%            0.00     0.00%       -24.74           47.21     0.00%        -71.95
         3,544.97     2.01%     1,606.00    0.60%      1,938.97       1,317.95      1.53%        2,227.02   Other                                28,288.39    1.43%       14,312.00     0.90%    13,976.39       16,671.97     1.37%     11,616.42

       176,627.54   100.00%   269,458.00   100.00%   -92,830.46      86,355.22    100.00%       90,272.32   Total Revenue                     1,972,254.82   100.00%   1,582,887.62   100.00%   389,367.20    1,217,824.46    100.00%   754,430.36



                                                                                                            Cost of Sales:
             0.00     0.00%        0.00     0.00%         0.00            0.00      0.00%           0.00    Food                                      0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%         0.00            0.00      0.00%           0.00    Beverage                                  0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%         0.00            0.00      0.00%           0.00    Other F&B                                 0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
         1,123.63    31.70%      674.00    41.97%       449.63          674.40     51.17%         449.23    Telephone                             8,087.71   28.62%        6,740.00    47.09%      1,347.71       6,613.05    39.55%      1,474.66
         1,070.89    30.21%      350.00    21.79%       720.89          135.30     10.27%         935.59    Other                                 6,771.46   23.96%        3,500.00    24.46%      3,271.46       7,083.83    42.37%       -312.37

         2,194.52    61.91%     1,024.00   63.76%     1,170.52          809.70     61.44%        1,384.82   Total Cost of Sales                  14,859.17   52.57%      10,240.00     71.55%      4,619.17      13,696.88    81.92%      1,162.29



                                                                                                            Payroll:
        12,300.90     7.11%    34,306.81   12.81%    -22,005.91       6,766.70      7.96%        5,534.20   Rooms                                79,874.47    4.11%     267,825.73     17.07%   -187,951.26      90,630.01     7.55%    -10,755.54
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   F&B                                       0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Other                                     0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         9,893.95     5.60%     4,630.65    1.72%      5,263.30       4,986.26      5.77%        4,907.69   A&G                                  65,530.70    3.32%      45,007.39      2.84%     20,523.31      66,897.54     5.49%     -1,366.84
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   IT                                        0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         5,108.73     2.89%     3,714.70    1.38%      1,394.03       3,868.11      4.48%        1,240.62   S&M                                  38,530.24    1.95%      36,245.67      2.29%      2,284.57      34,924.62     2.87%      3,605.62
         6,459.51     3.66%     6,112.15    2.27%        347.36       3,828.03      4.43%        2,631.48   R&M                                  47,971.00    2.43%      59,760.22      3.78%    -11,789.22      44,275.03     3.64%      3,695.97
        33,763.09    19.12%    48,764.31   18.10%    -15,001.22      19,449.10     22.52%       14,313.99   Total Salaries and Wages            231,906.41   11.76%     408,839.01     25.83%   -176,932.60     236,727.20    19.44%     -4,820.79

         6,610.07     3.74%     8,479.76    3.15%     -1,869.69       3,734.70      4.32%        2,875.37   Total Taxes and Benefits             73,088.54    3.71%      89,063.57      5.63%    -15,975.03      82,920.02     6.81%     -9,831.48
        40,373.16    22.86%    57,244.07   21.24%    -16,870.91      23,183.80     26.85%       17,189.36   Total Labor Costs                   304,994.95   15.46%     497,902.58     31.46%   -192,907.63     319,647.22    26.25%    -14,652.27



                                                                                                            Direct Expenses:
        43,422.60    25.09%    30,258.31   11.30%    13,164.29       19,216.27     22.60%       24,206.33   Rooms                               374,245.83   19.25%     185,758.31     11.84%   188,487.52      191,759.04    15.97%    182,486.79
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   F&B                                       0.00    0.00%           0.00      0.00%         0.00            0.00     0.00%          0.00
           958.64    27.04%     1,234.00   76.84%      -275.36        1,073.02     81.42%         -114.38   Telephone                            10,716.67   37.92%      12,340.00     86.22%    -1,623.33       10,576.27    63.26%        140.40
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   Other                                     0.00    0.00%           0.00      0.00%         0.00            0.00     0.00%          0.00
        32,446.90    18.37%    26,985.20   10.01%     5,461.70       12,568.63     14.55%       19,878.27   Franchise Fees                      216,322.85   10.97%     158,257.55     10.00%    58,065.30      136,994.30    11.25%     79,328.55
        13,207.28     7.48%    13,794.02    5.12%      -586.74        6,580.00      7.62%        6,627.28   A&G                                 119,216.76    6.04%     112,907.23      7.13%     6,309.53      102,601.32     8.42%     16,615.44
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%            0.00   IT                                        0.00    0.00%           0.00      0.00%         0.00            0.00     0.00%          0.00
         9,435.24     5.34%     4,226.17    1.57%     5,209.07          408.44      0.47%        9,026.80   S&M                                  44,295.15    2.25%      53,311.70      3.37%    -9,016.55       16,168.89     1.33%     28,126.26
        11,150.29     6.31%    10,934.92    4.06%       215.37        4,756.28      5.51%        6,394.01   R&M                                  70,887.78    3.59%      67,983.04      4.29%     2,904.74       36,969.80     3.04%     33,917.98
        10,032.54     5.68%    10,757.00    3.99%      -724.46        8,503.92      9.85%        1,528.62   Utilities                            96,538.66    4.89%     105,993.00      6.70%    -9,454.34       81,053.74     6.66%     15,484.92

       120,653.49    68.31%    98,189.62   36.44%    22,463.87       53,106.56     61.50%       67,546.93   Total Direct Expense                932,223.70   47.27%     696,550.83     44.01%   235,672.87      576,123.36    47.31%    356,100.34

        13,406.37     7.59%   113,000.31   41.94%    -99,593.94       9,255.16     10.72%        4,151.21   Gross Operating Profit              720,177.00   36.52%     378,194.21     23.89%   341,982.79      308,357.00    25.32%    411,820.00

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                                                                                 Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %       PTD Budget   %          Variance   PTD Last Year     %            Variance                                             YTD    %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                           Fixed Costs
        16,226.00     9.19%    16,226.00    6.02%         0.00      16,225.93     18.79%            0.07   Taxes                               187,944.81    9.53%   162,260.00     10.25%    25,684.81     162,259.30    13.32%      25,685.51
         7,808.08     4.42%     6,658.67    2.47%     1,149.41       4,767.26      5.52%        3,040.82   Insurance                            71,274.88    3.61%    66,586.70      4.21%     4,688.18      46,834.18     3.85%      24,440.70
        28,904.00    16.36%    28,904.00   10.73%         0.00      32,169.12     37.25%       -3,265.12   Leases & Rent                       282,083.00   14.30%   282,083.00     17.82%         0.00     289,179.08    23.75%      -7,096.08
         5,798.83     3.28%     8,083.74    3.00%    -2,284.91       5,864.80      6.79%          -65.97   Management Fees                      67,455.00    3.42%    52,260.92      3.30%    15,194.08      41,390.68     3.40%      26,064.32

        58,736.91    33.25%    59,872.41   22.22%    -1,135.50      59,027.11     68.35%         -290.20   Total Fixed Expenses                608,757.69   30.87%   563,190.62     35.58%    45,567.07     539,663.24    44.31%      69,094.45

       -45,330.54   -25.66%    53,127.90   19.72%   -98,458.44     -49,771.95     -57.64%       4,441.41   Net Operating Profit                111,419.31   5.65%    -184,996.41   -11.69%   296,415.72    -231,306.24    -18.99%    342,725.55



             0.00     0.00%         0.00   0.00%         0.00       31,043.00     35.95%      -31,043.00   Interest Expense - Other                 0.00    0.00%           0.00    0.00%         0.00      309,972.85    25.45%    -309,972.85
             0.00     0.00%         0.00   0.00%         0.00            0.00      0.00%            0.00   Owner's Expense                        949.16    0.05%           0.00    0.00%       949.16       17,218.41     1.41%     -16,269.25
             0.00     0.00%         0.00   0.00%         0.00            0.00      0.00%            0.00   Extraordinary Expense                    0.00    0.00%           0.00    0.00%         0.00       20,759.13     1.70%     -20,759.13
             0.00     0.00%         0.00   0.00%         0.00           -6.86     -0.01%            6.86   Non Recurring Cost                       0.00    0.00%           0.00    0.00%         0.00          -41.90     0.00%          41.90



       -45,330.54   -25.66%    53,127.90   19.72%   -98,458.44     -80,808.09     -93.58%      35,477.55   Net Operating Income                110,470.15   5.60%    -184,996.41   -11.69%   295,466.56    -579,214.73    -47.56%    689,684.88

             0.00     0.00%         0.00   0.00%         0.00       13,064.02     15.13%      -13,064.02   Capital Reserve                      14,035.49   0.71%           0.00    0.00%     14,035.49     130,640.20    10.73%    -116,604.71
             0.00     0.00%         0.00   0.00%         0.00       62,058.00     71.86%      -62,058.00   (Gain)/Loss-Insurance                     0.00   0.00%           0.00    0.00%          0.00     620,580.00    50.96%    -620,580.00

       -45,330.54   -25.66%    53,127.90   19.72%   -98,458.44    -155,930.11    -180.57%     110,599.57   Adjusted NOI                         96,434.66   4.89%    -184,996.41   -11.69%   281,431.07   -1,330,434.93 -109.25%    1,426,869.59



             0.00     0.00%         0.00   0.00%         0.00        3,091.00      3.58%       -3,091.00   Amortization                              0.00   0.00%           0.00    0.00%          0.00      30,910.00     2.54%      -30,910.00



       -45,330.54   -25.66%    53,127.90   19.72%   -98,458.44    -159,021.11    -184.15%     113,690.57   Net Profit/(Loss)                    96,434.66   4.89%    -184,996.41   -11.69%   281,431.07   -1,361,344.93 -111.78%    1,457,779.59




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                                                                                     Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                             P&L - Dual Summary Pages
                                                                                                                  As of 10/31/2021
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %            Variance                                              YTD     %          YTD Budget %                Variance   YTD Last Year    %          Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
        36,796.96    21.26%     12,000.00      4.48%    24,796.96            0.00      0.00%       36,796.96   Corporate Transient                  329,640.53    16.96%      91,958.00      5.86%    237,682.53            0.00     0.00%    329,640.53
        21,157.70    12.22%     32,805.00     12.25%   -11,647.30            0.00      0.00%       21,157.70   Advanced Purchase                    272,402.51    14.01%     183,958.99     11.73%     88,443.52            0.00     0.00%    272,402.51
         9,628.00     5.56%     45,376.00     16.94%   -35,748.00            0.00      0.00%        9,628.00   AAA/AARP Transient                   117,237.58     6.03%     225,168.24     14.35%   -107,930.66            0.00     0.00%    117,237.58
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   FIT(Flexible Independent Travel)         158.40     0.01%           0.00      0.00%        158.40            0.00     0.00%        158.40
         1,359.00     0.79%      4,212.00      1.57%    -2,853.00            0.00      0.00%        1,359.00   Employee                              22,975.96     1.18%      40,833.00      2.60%    -17,857.04            0.00     0.00%     22,975.96
           247.55     0.14%      8,598.00      3.21%    -8,350.45            0.00      0.00%          247.55   Travel Agent/Friends & Family          2,748.40     0.14%      27,196.00      1.73%    -24,447.60            0.00     0.00%      2,748.40
           287.30     0.17%          0.00      0.00%       287.30            0.00      0.00%          287.30   Leisure Package Transient              1,902.36     0.10%       6,586.00      0.42%     -4,683.64            0.00     0.00%      1,902.36
         7,258.00     4.19%      7,155.00      2.67%       103.00            0.00      0.00%        7,258.00   Member Reward Stay                    75,450.00     3.88%      59,490.00      3.79%     15,960.00       18,878.69     1.57%     56,571.31
           864.00     0.50%          0.00      0.00%       864.00       44,569.69     52.41%      -43,705.69   Extended Stay Transient                6,975.00     0.36%      14,637.78      0.93%     -7,662.78      436,131.59    36.31%   -429,156.59
           857.24     0.50%     46,185.00     17.24%   -45,327.76            0.00      0.00%          857.24   Internet/E-Commerce                   14,134.01     0.73%     196,121.34     12.50%   -181,987.33            0.00     0.00%     14,134.01
         9,678.68     5.59%          0.00      0.00%     9,678.68            0.00      0.00%        9,678.68   E-Commerce Opaque                    139,463.67     7.17%          64.35      0.00%    139,399.32            0.00     0.00%    139,463.67
        -1,148.00    -0.66%          0.00      0.00%    -1,148.00            0.00      0.00%       -1,148.00   Other Transient                          816.61     0.04%           0.00      0.00%        816.61            0.00     0.00%        816.61
         2,106.00     1.22%          0.00      0.00%     2,106.00            0.00      0.00%        2,106.00   Government Transient                  29,697.15     1.53%           0.00      0.00%     29,697.15            0.00     0.00%     29,697.15
        63,979.24    36.96%     70,842.00     26.45%    -6,862.76       30,444.48     35.80%       33,534.76   Rack Transient                       691,360.02    35.56%     380,373.16     24.25%    310,986.86      379,308.54    31.58%    312,051.48
             0.00     0.00%     10,591.00      3.95%   -10,591.00        9,961.25     11.71%       -9,961.25   Local Negotiated Transient             1,687.85     0.09%      61,467.50      3.92%    -59,779.65      187,377.31    15.60%   -185,689.46

      153,071.67    88.44%     237,764.00    88.77%    -84,692.33      84,975.42      99.93%      68,096.25    Total Transient Room Revenue       1,706,650.05   87.79%    1,287,854.36   82.10%     418,795.69     1,021,696.13    85.06%   684,953.92

                                                                                                               Group Room Revenue
         5,840.00     3.37%     14,058.00      5.25%    -8,218.00            0.00      0.00%        5,840.00   Corporate Group                      100,368.12     5.16%      60,108.00     3.83%       40,260.12     120,106.78    10.00%    -19,738.66
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Government Group                           0.00     0.00%           0.00     0.00%            0.00      53,087.00     4.42%    -53,087.00
             0.00     0.00%      3,280.00      1.22%    -3,280.00            0.00      0.00%            0.00   Tour & Travel Group                        0.00     0.00%      65,927.40     4.20%      -65,927.40           0.00     0.00%          0.00
             0.00     0.00%     12,750.00      4.76%   -12,750.00            0.00      0.00%            0.00   SMERF Group                                0.00     0.00%      55,340.86     3.53%      -55,340.86           0.00     0.00%          0.00
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Sports Group                               0.00     0.00%      99,345.00     6.33%      -99,345.00           0.00     0.00%          0.00

        5,840.00      3.37%     30,088.00    11.23%    -24,248.00            0.00      0.00%       5,840.00    Total Group Room Revenue            100,368.12     5.16%     280,721.26    17.90%     -180,353.14     173,193.78     14.42%   -72,825.66

                                                                                                               Contract Room Revenue
        15,670.20     9.05%           0.00     0.00%    15,670.20            0.00      0.00%       15,670.20   Other Contract                       142,065.66     7.31%           0.00     0.00%     142,065.66            0.00     0.00%   142,065.66

       15,670.20      9.05%          0.00     0.00%    15,670.20             0.00      0.00%      15,670.20    Total Contract Room Revenue         142,065.66     7.31%            0.00     0.00%    142,065.66             0.00    0.00%    142,065.66

                                                                                                               Other Room Revenue
           180.00     0.10%           0.00     0.00%       180.00           61.85      0.07%         118.15    No-Show Rooms                          8,379.35     0.43%           0.00     0.00%       8,379.35        6,215.37     0.52%      2,163.98
           337.00     0.19%           0.00     0.00%       337.00            0.00      0.00%         337.00    Pet/Smoking/Damage Fees                  587.05     0.03%           0.00     0.00%         587.05            0.00     0.00%        587.05

          517.00      0.30%          0.00     0.00%       517.00            61.85      0.07%         455.15    Total Other Room Revenue               8,966.40    0.46%            0.00     0.00%       8,966.40        6,215.37    0.52%      2,751.03

        -2,016.30     -1.16%          0.00     0.00%    -2,016.30            0.00      0.00%       -2,016.30   Less: Allowances                     -14,059.06    -0.72%           0.00     0.00%      -14,059.06           0.00     0.00%    -14,059.06

      173,082.57    100.00%    267,852.00    100.00%   -94,769.43      85,037.27     100.00%      88,045.30    Total Room Revenue                 1,943,991.17   100.00%   1,568,575.62 100.00%      375,415.55     1,201,105.28 100.00%     742,885.89

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00      0.00%      2,960.80     1.11%     -2,960.80           0.00       0.00%           0.00   Front Office Management                    0.00     0.00%      23,142.88      1.48%     -23,142.88           0.00     0.00%          0.00
             0.00      0.00%          0.00     0.00%          0.00         425.14       0.50%        -425.14   Revenue Management                         0.00     0.00%           0.00      0.00%           0.00       6,151.39     0.51%     -6,151.39
             0.00      0.00%      2,970.60     1.11%     -2,970.60           0.00       0.00%           0.00   Housekeeping Management                    0.00     0.00%      20,188.84      1.29%     -20,188.84      19,282.29     1.61%    -19,282.29
             0.00     0.00%      5,931.40     2.21%     -5,931.40         425.14       0.50%        -425.14    Total Rooms Management                     0.00    0.00%      43,331.72      2.76%     -43,331.72      25,433.68     2.12%    -25,433.68
         9,271.90      5.36%      5,828.00     2.18%      3,443.90       3,207.93       3.77%       6,063.97   Front Office Agents                   75,274.76     3.87%      57,152.00      3.64%      18,122.76      28,116.18     2.34%     47,158.58
             0.00      0.00%      3,100.00     1.16%     -3,100.00       3,133.63       3.69%      -3,133.63   Night Auditors                             0.00     0.00%      30,400.00      1.94%     -30,400.00      26,744.87     2.23%    -26,744.87
             0.00      0.00%      2,480.00     0.93%     -2,480.00           0.00       0.00%           0.00   Breakfast Attendant                        0.00     0.00%      19,600.00      1.25%     -19,600.00       3,554.95     0.30%     -3,554.95
        9,271.90      5.36%     11,408.00     4.26%     -2,136.10       6,341.56       7.46%       2,930.34    Total Rooms Front Office             75,274.76     3.87%     107,152.00      6.83%     -31,877.24      58,416.00     4.86%     16,858.76
             0.00      0.00%        779.43     0.29%       -779.43           0.00       0.00%           0.00   Housekeeping Supervisors                   0.00     0.00%       6,160.02      0.39%      -6,160.02       4,190.67     0.35%     -4,190.67
         3,029.00      1.75%     10,504.00     3.92%     -7,475.00           0.00       0.00%       3,029.00   Room Attendants                        4,599.71     0.24%      73,748.00      4.70%     -69,148.29         126.57     0.01%      4,473.14
             0.00      0.00%      2,841.99     1.06%     -2,841.99           0.00       0.00%           0.00   Housepersons                               0.00     0.00%      19,953.47      1.27%     -19,953.47         930.56     0.08%       -930.56
             0.00      0.00%      2,841.99     1.06%     -2,841.99           0.00       0.00%           0.00   Laundry Attendants                         0.00     0.00%      17,480.52      1.11%     -17,480.52       1,532.53     0.13%     -1,532.53
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                                                                                    Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget     %          Variance   PTD Last Year     %            Variance                                                 YTD     %         YTD Budget %                Variance   YTD Last Year    %          Variance

        3,029.00      1.75%     16,967.41    6.33%    -13,938.41            0.00      0.00%       3,029.00    Total Rooms Housekeeping                  4,599.71   0.24%     117,342.01      7.48%    -112,742.30       6,780.33     0.56%     -2,180.62

       12,300.90      7.11%     34,306.81    12.81%   -22,005.91       6,766.70       7.96%       5,534.20    Total Rooms Salary and Wages            79,874.47    4.11%     267,825.73    17.07%     -187,951.26      90,630.01     7.55%    -10,755.54

                                                                                                              PR Taxes and Benefits
           917.80      0.53%      2,639.22    0.99%     -1,721.42         487.85       0.57%         429.95   FICA                                      6,047.31    0.31%      20,718.42      1.32%     -14,671.11       7,195.15     0.60%     -1,147.84
            22.46      0.01%         14.49    0.01%          7.97           0.00       0.00%          22.46   Federal Unemployment Tax                    199.98    0.01%         324.65      0.02%        -124.67           0.00     0.00%        199.98
           101.06      0.06%         93.15    0.03%          7.91           0.00       0.00%         101.06   State Unemployment Tax                      899.81    0.05%       2,782.79      0.18%      -1,882.98           0.00     0.00%        899.81
        1,041.32      0.60%      2,746.86    1.03%     -1,705.54         487.85       0.57%         553.47    Total Payroll Taxes                      7,147.10    0.37%      23,825.86      1.52%     -16,678.76       7,195.15     0.60%         -48.05
             0.00      0.00%          0.00    0.00%          0.00           0.00       0.00%           0.00   Holiday                                       0.00    0.00%       1,000.00      0.06%      -1,000.00       1,692.16     0.14%     -1,692.16
             0.00      0.00%        183.67    0.07%       -183.67         100.00       0.12%        -100.00   Vacation                                      0.00    0.00%       1,939.54      0.12%      -1,939.54      11,682.31     0.97%    -11,682.31
             0.00     0.00%        183.67    0.07%       -183.67         100.00       0.12%        -100.00    Total Supplemental Pay                        0.00   0.00%       2,939.54      0.19%      -2,939.54      13,374.47     1.11%    -13,374.47
         1,506.69      0.87%      1,654.26    0.62%       -147.57           0.00       0.00%       1,506.69   Worker's Compensation                    12,877.43    0.66%      14,449.58      0.92%      -1,572.15           0.00     0.00%     12,877.43
             0.00      0.00%        787.50    0.29%       -787.50         107.42       0.13%        -107.42   Group Insurance                           4,063.02    0.21%       7,612.50      0.49%      -3,549.48       7,623.06     0.63%     -3,560.04
             0.00      0.00%          0.00    0.00%          0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                       0.00    0.00%           0.00      0.00%           0.00         927.54     0.08%       -927.54
        1,506.69      0.87%      2,441.76    0.91%       -935.07         107.42       0.13%       1,399.27    Total Other Benefits                    16,940.45    0.87%      22,062.08      1.41%      -5,121.63       8,550.60     0.71%      8,389.85

        2,548.01      1.47%      5,372.29    2.01%     -2,824.28         695.27       0.82%       1,852.74    Total Rooms PR Taxes and Benefits       24,087.55    1.24%      48,827.48      3.11%     -24,739.93      29,120.22     2.42%     -5,032.67

       14,848.91      8.58%     39,679.10    14.81%   -24,830.19       7,461.97       8.77%       7,386.94    Total Rooms Labor Costs                103,962.02    5.35%     316,653.21    20.19%     -212,691.19     119,750.23     9.97%    -15,788.21

                                                                                                              Other Expenses
         7,977.15     4.61%     10,241.40     3.82%    -2,264.25        2,981.19      3.51%        4,995.96   Breakfast /Comp Cost                     75,688.29    3.89%      63,192.80     4.03%      12,495.49       38,748.14     3.23%    36,940.15
         2,042.43     1.18%        919.10     0.34%     1,123.33          346.69      0.41%        1,695.74   Cleaning Supplies                        12,165.05    0.63%       6,452.95     0.41%       5,712.10        6,564.10     0.55%     5,600.95
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Contract Cleaning                           969.00    0.05%           0.00     0.00%         969.00            0.00     0.00%       969.00
        20,925.29    12.09%          0.00     0.00%    20,925.29        4,808.25      5.65%       16,117.04   Contract Labor                          200,644.58   10.32%           0.00     0.00%     200,644.58       80,621.35     6.71%   120,023.23
            44.73     0.03%         45.00     0.02%        -0.27            0.00      0.00%           44.73   Dues and Subscriptions                      223.65    0.01%         450.00     0.03%        -226.35            0.00     0.00%       223.65
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Equipment Rental                            550.14    0.03%           0.00     0.00%         550.14            0.00     0.00%       550.14
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Guest Loss/Damage                            34.56    0.00%           0.00     0.00%          34.56            0.00     0.00%        34.56
         1,360.94     0.79%      2,993.64     1.12%    -1,632.70          743.18      0.87%          617.76   Guest Supplies                           12,530.04    0.64%      21,018.18     1.34%      -8,488.14       14,236.55     1.19%    -1,706.51
             0.00     0.00%          0.00     0.00%         0.00        1,566.71      1.84%       -1,566.71   Internet/Web Expense                          0.00    0.00%           0.00     0.00%           0.00        4,565.08     0.38%    -4,565.08
             0.00     0.00%        919.10     0.34%      -919.10            0.00      0.00%            0.00   Laundry                                   2,392.30    0.12%       6,452.95     0.41%      -4,060.65        1,458.29     0.12%       934.01
         3,299.71     1.91%      1,418.04     0.53%     1,881.67          264.46      0.31%        3,035.25   Linen                                     7,493.96    0.39%       9,955.98     0.63%      -2,462.02        3,875.35     0.32%     3,618.61
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Miscellaneous Expense                        79.97    0.00%           0.00     0.00%          79.97            0.00     0.00%        79.97
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Newspaper                                     0.00    0.00%           0.00     0.00%           0.00          481.11     0.04%      -481.11
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Office Equipment                             33.40    0.00%           0.00     0.00%          33.40            0.00     0.00%        33.40
             0.00     0.00%          0.00     0.00%         0.00          939.83      1.11%         -939.83   Operating Supplies                            0.00    0.00%           0.00     0.00%           0.00        2,462.34     0.21%    -2,462.34
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Printing and Stationery                      34.98    0.00%           0.00     0.00%          34.98            0.00     0.00%        34.98
             0.00     0.00%        761.54     0.28%      -761.54          256.30      0.30%         -256.30   Reservation Expense                           0.00    0.00%       5,346.73     0.34%      -5,346.73        3,828.28     0.32%    -3,828.28
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Rooms Promotion                              94.74    0.00%           0.00     0.00%          94.74            0.00     0.00%        94.74
         1,858.01     1.07%      1,808.00     0.67%        50.01        1,808.04      2.13%           49.97   Television Cable                         18,603.87    0.96%      18,080.00     1.15%         523.87       16,356.55     1.36%     2,247.32
             0.00     0.00%         25.00     0.01%       -25.00            0.00      0.00%            0.00   Transportation                                0.00    0.00%         170.00     0.01%        -170.00           26.90     0.00%       -26.90
         4,026.24     2.33%        451.32     0.17%     3,574.92            0.00      0.00%        4,026.24   Travel Agent Comm - Group Rooms           9,371.46    0.48%       4,210.83     0.27%       5,160.63            0.00     0.00%     9,371.46
         1,888.10     1.09%     10,376.17     3.87%    -8,488.07        5,501.62      6.47%       -3,613.52   Travel Agent Comm - Transient Rooms      33,273.94    1.71%      49,077.89     3.13%     -15,803.95       17,423.18     1.45%    15,850.76
             0.00     0.00%        150.00     0.06%      -150.00            0.00      0.00%            0.00   Uniforms                                     61.90    0.00%       1,200.00     0.08%      -1,138.10          810.31     0.07%      -748.41
             0.00     0.00%        150.00     0.06%      -150.00            0.00      0.00%            0.00   Walked Guests                                 0.00    0.00%         150.00     0.01%        -150.00          301.51     0.03%      -301.51

       43,422.60    25.09%      30,258.31    11.30%   13,164.29       19,216.27      22.60%      24,206.33    Total Rooms Other Expenses             374,245.83    19.25%    185,758.31    11.84%     188,487.52      191,759.04     15.97%   182,486.79

       58,271.51    33.67%      69,937.41    26.11%   -11,665.90      26,678.24      31.37%      31,593.27    Total Rooms Expenses                   478,207.85    24.60%    502,411.52    32.03%      -24,203.67     311,509.27     25.94%   166,698.58

      114,811.06    66.33%     197,914.59    73.89%   -83,103.53      58,359.03      68.63%      56,452.03    Total Rooms Profit (Loss)             1,465,783.32   75.40%   1,066,164.10   67.97%     399,619.22      889,596.01     74.06%   576,187.31




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                                                                        Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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             PTD      %     PTD Budget   %   Variance   PTD Last Year     %            Variance                                                        YTD    %   YTD Budget %     Variance   YTD Last Year   %    Variance

                                                                                                  Room Sale Stats
                                                                                                  Tranisent Rooms
           156.00               160.00          -4.00           0.00                    156.00    Room Stat - Corporate Transient                    308.00         1,260.00       -952.00            0.00           308.00
           226.00               306.00         -80.00           0.00                    226.00    Room Stat - Advanced Purchase                    3,925.00         2,169.00      1,756.00            0.00         3,925.00
           124.00               394.00        -270.00           0.00                    124.00    Room Stat - AAA/AARP Transient                   1,837.00         2,555.00       -718.00            0.00         1,837.00
             0.00                 0.00           0.00           0.00                      0.00    Room Stat - FIT(Flexible Independent Travel)         7.00             0.00          7.00            0.00             7.00
            59.00               108.00         -49.00           0.00                     59.00    Room Stat - Employee                               695.00         1,047.00       -352.00            0.00           695.00
             6.00                 0.00           6.00           0.00                      6.00    Room Stat - Leisure Transient                       23.00             0.00         23.00            0.00            23.00
             8.00                 0.00           8.00           0.00                      8.00    Room Stat - Package Transient                        8.00            89.00        -81.00            0.00             8.00
             1.00                92.00         -91.00           0.00                      1.00    Room Stat - Travel Agent/Friends & Family           61.00           343.00       -282.00            0.00            61.00
           307.00               159.00         148.00           0.00                    307.00    Room Stat - Member Reward Stay                   2,454.00         1,322.00      1,132.00            0.00         2,454.00
             7.00                 0.00           7.00         787.00                   -780.00    Room Stat - Extended Stay Transient                 77.00           206.00       -129.00        5,449.00        -5,372.00
            33.00               461.00        -428.00           0.00                     33.00    Room Stat - Internet                               222.00         2,391.00     -2,169.00            0.00           222.00
            13.00                 0.00          13.00           0.00                     13.00    Room Stat - Other Transient                         59.00             0.00         59.00            0.00            59.00
            88.00                 0.00          88.00           0.00                     88.00    Room Stat - E-Commerce Opaque                    2,210.00             1.00      2,209.00            0.00         2,210.00
            30.00                 0.00          30.00           0.00                     30.00    Room Stat - Government Rate Transient              382.00             0.00        382.00          345.00            37.00
           450.00               538.00         -88.00         376.00                     74.00    Room Stat - Rack Rate Transient                  4,662.00         3,530.00      1,132.00        2,793.00         1,869.00
             0.00               119.00        -119.00         147.00                   -147.00    Room Stat - Local Negotiated Transient               0.00           821.00       -821.00        2,072.00        -2,072.00
        1,508.00             2,337.00        -829.00       1,310.00                    198.00     Total Transient Rooms Sold                     16,930.00        15,734.00      1,196.00       10,659.00         6,271.00

                                                                                                  Group Rooms
           65.00                 99.00         -34.00           0.00                     65.00    Room Stat - Corporate Group Rooms                1,037.00           549.00         488.00       1,180.00          -143.00
            0.00                 40.00         -40.00           0.00                      0.00    Room Stat - Tour & Travel Group                      0.00           870.00        -870.00           0.00             0.00
            0.00                150.00        -150.00           0.00                      0.00    Room Stat - SMERF Group                              0.00           579.00        -579.00           0.00             0.00
            0.00                  0.00           0.00           0.00                      0.00    Room Stat - Sports Group                             0.00           705.00        -705.00           0.00             0.00
           65.00               289.00        -224.00            0.00                     65.00    Total Group Rooms Sold                          1,037.00         2,703.00      -1,666.00       1,180.00          -143.00

                                                                                                  Contract Rooms
           195.00                0.00         195.00            0.00                     195.00   Room Stat - Other Contract                       2,744.00            0.00       2,744.00            0.00         2,744.00
          195.00                 0.00        195.00             0.00                    195.00    Total Contract Rooms Sold                       2,744.00             0.00      2,744.00             0.00        2,744.00

        1,768.00             2,626.00        -858.00       1,310.00                    458.00     Total Rooms Sold                               20,711.00        18,437.00      2,274.00       11,839.00         8,872.00
           13.00                 0.00          13.00            0.00                     13.00    Room Stat-Comp Rooms                                51.00            0.00          51.00            2.00            49.00
        1,781.00             2,626.00        -845.00       1,310.00                    471.00     Total Rooms Occupied                           20,762.00        18,437.00      2,325.00       11,841.00         8,921.00
           70.00                 0.00          70.00          269.00                   -199.00    Room Stat-Out of Order                             327.00            0.00         327.00          568.00          -241.00

                                                                                                  ADR
           235.88                75.00        160.88            0.00                    235.88    Corporate Transient ADR                          1,070.26           72.98         997.28            0.00        1,070.26
            93.62               107.21        -13.59            0.00                     93.62    Advanced Purchase ADR                               69.40           84.81         -15.41            0.00           69.40
            77.65               115.17        -37.52            0.00                     77.65    AAA/AARP ADR                                        63.82           88.13         -24.31            0.00           63.82
             0.00                 0.00          0.00            0.00                      0.00    FIT ADR                                             22.63            0.00          22.63            0.00           22.63
             0.00                 0.00          0.00            0.00                      0.00    Consortia ADR                                        0.00            0.00            0.00           0.00            0.00
            23.03                39.00        -15.97            0.00                     23.03    Employee ADR                                        33.06           39.00           -5.94           0.00           33.06
             0.00                 0.00          0.00            0.00                      0.00    Leisure ADR                                          0.00            0.00            0.00           0.00            0.00
           247.55                93.46        154.09            0.00                    247.55    Travel Agent/Friends & Family ADR                   45.06           79.29         -34.23            0.00           45.06
            47.88                 0.00         47.88            0.00                     47.88    Leisure Package ADR                                 82.71            0.00          82.71            0.00           82.71
            23.64                45.00        -21.36            0.00                     23.64    Member Reward Stay ADR                              30.75           45.00         -14.25            0.00           30.75
             0.00                 0.00          0.00            0.00                      0.00    Golf Pkg ADR                                         0.00            0.00            0.00           0.00            0.00
           123.43                 0.00        123.43           56.63                     66.80    Extended Stay ADR                                   90.58           71.06          19.53           80.04           10.55
            25.98               100.18        -74.21            0.00                     25.98    Internet ADR                                        63.67           82.02         -18.36            0.00           63.67
           109.99                 0.00        109.99            0.00                    109.99    E-Commerce Opaque ADR                               63.11           64.35           -1.24           0.00           63.11
           -88.31                 0.00        -88.31            0.00                    -88.31    Other Transient ADR                                 13.84            0.00          13.84            0.00           13.84
             0.00                 0.00          0.00            0.00                      0.00    Airline Distressed Passenger ADR                     0.00            0.00            0.00           0.00            0.00
            70.20                 0.00         70.20            0.00                     70.20    Government ADR                                      77.74            0.00          77.74            0.00           77.74
           142.18               131.68         10.50           80.97                     61.21    Rack ADR                                           148.30          107.75          40.54          135.81           12.49
             0.00                89.00        -89.00           67.76                    -67.76    Local Negotiated ADR                                 0.00           74.87         -74.87           90.43          -90.43
          101.51               101.74          -0.23           64.87                     36.64    Total Transient ADR                               100.81            81.85          18.95           95.85            4.95

            89.85              142.00         -52.15            0.00                     89.85    Corporate Group ADR                                96.79           109.49         -12.70          101.79            -5.00
             0.00                0.00           0.00            0.00                      0.00    Leisure Group ADR                                   0.00             0.00           0.00            0.00             0.00
             0.00                0.00           0.00            0.00                      0.00    Government Group ADR                                0.00             0.00           0.00            0.00             0.00
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                                                                        Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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                                                                                                     As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year     %            Variance                                            YTD     %      YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00                82.00          -82.00           0.00                      0.00    Tour & Travel Group ADR                  0.00                75.78      -75.78           0.00            0.00
            0.00                 0.00            0.00           0.00                      0.00    Association Group ADR                    0.00                 0.00        0.00           0.00            0.00
            0.00                 0.00            0.00           0.00                      0.00    City Wide Group ADR                      0.00                 0.00        0.00           0.00            0.00
            0.00                85.00          -85.00           0.00                      0.00    SMERF Group ADR                          0.00                95.58      -95.58           0.00            0.00
            0.00                 0.00            0.00           0.00                      0.00    Sports Group ADR                         0.00               140.91     -140.91           0.00            0.00
            0.00                 0.00            0.00           0.00                      0.00    Other Group ADR                          0.00                 0.00        0.00           0.00            0.00
           89.85               104.11         -14.26            0.00                     89.85    Total Group ADR                         96.79              103.86        -7.07         146.77          -49.99

            0.00                 0.00           0.00            0.00                      0.00    Airline Crew ADR                         0.00                0.00         0.00            0.00           0.00
           80.36                 0.00          80.36            0.00                     80.36    Other Contract ADR                      51.77                0.00        51.77            0.00          51.77
           80.36                 0.00          80.36            0.00                     80.36    Total Contract ADR                      51.77                0.00        51.77            0.00          51.77

           97.90               102.00          -4.10           64.91                     32.98    Total ADR                               93.86               85.08         8.79         101.45           -7.59




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                                                                                Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                            YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          F&B Summary
                                                                                                          Revenue
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Food Revenue                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Food Revenue        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Beverage Revenue                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Beverage Revenue    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Other Revenue                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Other Revenue       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Revenue                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Food Purchases                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Beverage Purchases                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Cedit Employee Meals                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Credit House Charges                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Credit In-House Promotions               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Audio Visual Cost of Sales               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Other Cost of Sales                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Cost of Sales                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    F&B Gross Profit                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll
                                                                                                          Salaries and Wages
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Management                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Non-Management                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Salaries and Wages             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          PR Taxes and Benefits
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Payroll Taxes                            0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Supplemental Pay                         0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Other Benefits                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B PR Taxes and Benefits          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Payroll                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Audio Visual Supplies                    0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Banquet Expense                          0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Bar Expense/Promos                       0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Bar Supplies                             0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    China                                    0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Cleaning Supplies                        0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Communication Expense                    0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Contract Cleaning                        0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Contract Labor                           0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Decorations & Plants                     0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Dues and Subscriptions                   0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Equipment Rental                         0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Food and Beverage Advertising            0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Glassware                                0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Guest Loss/Damage                        0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Guest Supplies                           0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    In-House Entertainment                   0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Kitchen/Cooking Fuel                     0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Kitchen Equipment                        0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Laundry - Outside Expense                0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Laundry Allocation                       0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Licenses/Permits                         0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Linen                                    0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Linen Rental                             0.00    0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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                                                                                                             As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                            YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Maintenance Contracts                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Meals and Entertainment                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Menus                                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Miscellaneous Expense                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Music and Entertainment                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Equipment                         0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Supplies                          0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Operating Supplies                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Paper/Plastic Supplies                   0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Printing and Stationery                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Silverware                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Software Expense/Maintenance             0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Television Cable                         0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Training                                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Travel                                   0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Uniforms                                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Utensils                                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Other Expenses                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Expenses                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Profit (Loss)                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                        Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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                                                                                                     As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year     %            Variance                                            YTD     %      YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                                  F&B Stats
                                                                                                  Restaurant 1
            0.00                 0.00           0.00            0.00                      0.00    Breakfast Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Lunch Avg Check                          0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Dinner Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Brunch Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Restaurant 1 Covers                0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Restaurant 1 Avg Check                   0.00                0.00         0.00            0.00           0.00

                                                                                                  Restaurant 2
            0.00                 0.00           0.00            0.00                      0.00    Breakfast Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Lunch Avg Check                          0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Dinner Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Brunch Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Restaurant 2 Covers                0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Restaurant 2 Avg Check                   0.00                0.00         0.00            0.00           0.00

                                                                                                  Room Service
            0.00                 0.00           0.00            0.00                      0.00    Breakfast Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Lunch Avg Check                          0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Dinner Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Brunch Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Room Service Covers                0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Room Service Avg Check                   0.00                0.00         0.00            0.00           0.00

                                                                                                  Banquets
            0.00                 0.00           0.00            0.00                      0.00    Breakfast Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Lunch Avg Check                          0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Dinner Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Brunch Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Banquets Covers                    0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Banquets Avg Check                       0.00                0.00         0.00            0.00           0.00

                                                                                                  Catering
            0.00                 0.00           0.00            0.00                      0.00    Breakfast Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Lunch Avg Check                          0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Dinner Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Brunch Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Catering Covers                    0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Catering Avg Check                       0.00                0.00         0.00            0.00           0.00

                                                                                                  Restaurant 3
             0.00                 0.00          0.00            0.00                      0.00    Breakfast Avg Check                      0.00                 0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                      0.00    Lunch Avg Check                          0.00                 0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                      0.00    Dinner Avg Check                         0.00                 0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                      0.00    Brunch Avg Check                         0.00                 0.00        0.00            0.00           0.00
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             PTD      %     PTD Budget   %   Variance   PTD Last Year     %            Variance                                            YTD     %      YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Restaurant 3 Covers                0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Restaurant 3 Avg Check                   0.00                0.00         0.00            0.00           0.00

                                                                                                  Restaurant 4
            0.00                 0.00           0.00            0.00                      0.00    Breakfast Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Lunch Avg Check                          0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Dinner Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Brunch Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Restaurant 4 Covers                0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Restaurant 4 Avg Check                   0.00                0.00         0.00            0.00           0.00

                                                                                                  Restaurant 5
            0.00                 0.00           0.00            0.00                      0.00    Breakfast Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Lunch Avg Check                          0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Dinner Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Brunch Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Restaurant 5 Covers                0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Restaurant 5 Avg Check                   0.00                0.00         0.00            0.00           0.00

                                                                                                  Bar 1
            0.00                 0.00           0.00            0.00                      0.00    Breakfast Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Lunch Avg Check                          0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Dinner Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Brunch Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Bar 1 Covers                       0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Bar 1 Avg Check                          0.00                0.00         0.00            0.00           0.00

                                                                                                  Bar 2
            0.00                 0.00           0.00            0.00                      0.00    Breakfast Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Lunch Avg Check                          0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Dinner Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Brunch Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Late Night Avg Check                     0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Breaks Avg Check                         0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Reception Avg Check                      0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Total Bar 2 Covers                       0.00                0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                      0.00    Bar 2 Avg Check                          0.00                0.00         0.00            0.00           0.00

            0.00                 0.00           0.00            0.00                      0.00    Total Covers                             0.00                0.00         0.00            0.00           0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                            YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Cost of Sales           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Management              0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Non-Management          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Salaries and Wages      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin PR Taxes and Benefits   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Payroll                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Other Expenses          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Expenses                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                            YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%           0.00    Less Adjustments                         0.00    0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Revenue             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Sales

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Cost of Sales       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Other Expenses

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Other Expenses      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Expenses            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 1
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 2
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revemue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Room Service
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                            YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Banquets
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Food Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Food Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Beverage Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Beverage Revenue          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Cost of Sales             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Management                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Non-Management            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00                    0.00                0.00            0.00                      0.00    Total Banquets Salaries and Wages        0.00                  0.00                  0.00            0.00                0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00                    0.00                0.00            0.00                      0.00    Total Banquet Benefits                   0.00                  0.00                  0.00            0.00                0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Payroll                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Expenses            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Expenses                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Profit (Loss)             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                            YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Catering
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Food Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Food Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Beverage Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Beverage Revenue          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Cost of Sales             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Gross Profit                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Management                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Non-Management            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Salaries and Wages        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering PR Taxes and Benefits     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Payroll                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Expenses            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Expenses                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Profit (Loss)             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 3
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 4
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 5
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                            YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 1
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Food Revenue                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Food Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Beverage Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Beverage Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Revenue                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Cost of Sales                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Non-Management               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Salaries and Wages           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 PR Taxes and Benefits        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Payroll                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Expenses               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Expenses                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Profit (Loss)                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                            YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 2
                                                                                                          Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Food Revenue                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Food Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Beverage Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Beverage Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Revenue                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Cost of Sales                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expenses
                                                                                                          Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Non-Management               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Salaries and Wages           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 PR Taxes and Benefits        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Payroll                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Expenses               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Expenses                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Profit (Loss)                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                             YTD      %         YTD Budget %              Variance   YTD Last Year     %        Variance

                                                                                                          Telephone
             0.00     0.00%          0.00   0.00%        0.00           0.00      0.00%            0.00   Local and Long Distance Revenue          0.00       0.00%          0.00     0.00%         0.00           47.21    100.00%      -47.21

            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Telephone Revenue                         0.00     0.00%          0.00      0.00%          0.00          47.21 100.00%        -47.21
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Adjustments Long Distance               -24.74    100.00%         0.00       0.00%       -24.74           0.00    0.00%        -24.74
            0.00       0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                       -24.74    100.00%         0.00       0.00%       -24.74           0.00    0.00%        -24.74
            0.00      0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Telephone Revenue                -24.74    100.00%          0.00      0.00%       -24.74           47.21 100.00%        -71.95

                                                                                                          Cost of Sales
         1,123.63      0.00%         0.00    0.00%   1,123.63           0.00       0.00%       1,123.63   Cost of Sales - Local Calls           8,087.71 -32,690.82%         0.00      0.00%    8,087.71            0.00     0.00%     8,087.71
             0.00      0.00%       674.00    0.00%    -674.00         674.40       0.00%        -674.40   Cost of Sales - Long Distance             0.00       0.00%     6,740.00      0.00%   -6,740.00        6,613.0514,007.73%    -6,613.05
        1,123.63      0.00%       674.00    0.00%     449.63         674.40       0.00%         449.23    Total Telephone Cost of Sales        8,087.71-32,690.82%      6,740.00      0.00%    1,347.71        6,613.05
                                                                                                                                                                                                                      14,007.73%      1,474.66

       -1,123.63      0.00%      -674.00    0.00%    -449.63        -674.40       0.00%        -449.23    Gross Profit                        -8,112.4532,790.82%       -6,740.00     0.00%    -1,372.45      -6,565.84
                                                                                                                                                                                                                     -13,907.73%      -1,546.61

                                                                                                          Other Expenses
           958.64      0.00%       973.00    0.00%     -14.36         973.02       0.00%         -14.38   Internet/Web Expense                 10,716.67 -43,317.18%     9,730.00      0.00%       986.67       9,731.2720,612.73%       985.40
             0.00      0.00%         0.00    0.00%       0.00         100.00       0.00%        -100.00   Miscellaneous Expense                     0.00       0.00%         0.00      0.00%         0.00         845.00 1,789.88%      -845.00
             0.00      0.00%       261.00    0.00%    -261.00           0.00       0.00%           0.00   Operating Supplies                        0.00       0.00%     2,610.00      0.00%    -2,610.00           0.00     0.00%         0.00
          958.64      0.00%     1,234.00    0.00%    -275.36       1,073.02       0.00%        -114.38    Total Telephone Other Expenses      10,716.67-43,317.18%     12,340.00      0.00%    -1,623.33      10,576.27
                                                                                                                                                                                                                      22,402.61%        140.40

       -2,082.27      0.00%    -1,908.00    0.00%    -174.27      -1,747.42       0.00%        -334.85    Total Telephone Profit (Loss)      -18,829.1276,108.00%      -19,080.00     0.00%      250.88      -17,142.11
                                                                                                                                                                                                                     -36,310.34%      -1,687.01




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             PTD      %       PTD Budget     %        Variance   PTD Last Year     %            Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                           Minor Operating
                                                                                                           Income
             0.00     0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Rental Income - Other                             0.00     0.00%         0.00     0.00%         0.00       2,033.74     12.20%    -2,033.74
             0.00    0.00%          0.00    0.00%         0.00           0.00      0.00%            0.00   Total Rental Income                               0.00    0.00%          0.00    0.00%          0.00      2,033.74     12.20%    -2,033.74
             0.00     0.00%         0.00     0.00%        0.00         192.42      14.60%        -192.42   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00     0.00%         0.00         998.35      5.99%      -998.35
             0.00     0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Vending Commissions Other                     1,142.50     4.04%         0.00     0.00%     1,142.50           0.00      0.00%     1,142.50
             0.00    0.00%          0.00    0.00%         0.00        192.42      14.60%        -192.42    Total Vending Commission Income              1,142.50     4.04%          0.00    0.00%     1,142.50         998.35      5.99%       144.15
           775.00    21.86%       450.00    28.02%      325.00         362.00      27.47%         413.00   Cancellation Fee - Rooms                      4,599.91    16.26%     3,400.00    23.76%     1,199.91       3,384.64     20.30%     1,215.27
          775.00    21.86%       450.00    28.02%      325.00         362.00      27.47%         413.00    Total Cancellation Fee Income                4,599.91    16.26%     3,400.00    23.76%     1,199.91       3,384.64     20.30%     1,215.27
             0.00     0.00%       205.00    12.76%     -205.00           0.00       0.00%           0.00   Guest Laundry                                 1,334.75     4.72%     1,960.00    13.69%      -625.25          48.00      0.29%     1,286.75
             0.00     0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Interest Earned                                  32.47     0.11%         0.00     0.00%        32.47           0.00      0.00%        32.47
            22.28     0.63%         0.00     0.00%       22.28          55.69       4.23%         -33.41   In-Room Movie Revenue                           434.45     1.54%         0.00     0.00%       434.45         434.45      2.61%         0.00
             0.00     0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Cash Discounts                                    0.00     0.00%         0.00     0.00%         0.00         322.83      1.94%      -322.83
             0.00     0.00%       151.00     9.40%     -151.00           4.95       0.38%          -4.95   Internet Access                                   0.00     0.00%       952.00     6.65%      -952.00       1,197.90      7.19%    -1,197.90
             0.00     0.00%       100.00     6.23%     -100.00           0.00       0.00%           0.00   Other Revenue 2                                 394.00     1.39%     1,000.00     6.99%      -606.00          -0.03      0.00%       394.03
             0.00     0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Other Revenue 3                                   0.00     0.00%         0.00     0.00%         0.00         850.00      5.10%      -850.00
         2,747.69    77.51%       700.00    43.59%    2,047.69         702.89      53.33%       2,044.80   Gift Shop Sales                              20,350.31    71.94%     7,000.00    48.91%    13,350.31       7,402.09     44.40%    12,948.22
        2,769.97    78.14%     1,156.00    71.98%    1,613.97         763.53      57.93%       2,006.44    Total Other Income                          22,545.98    79.70%    10,912.00    76.24%    11,633.98      10,255.24     61.51%    12,290.74

        3,544.97    100.00%    1,606.00    100.00%   1,938.97       1,317.95     100.00%       2,227.02    Total Minor Operating Income                28,288.39    100.00%   14,312.00 100.00%      13,976.39      16,671.97 100.00%       11,616.42

                                                                                                           Cost of Sales
             0.00     0.00%         0.00     0.00%       0.00            0.00       0.00%           0.00   Cost of Sales - Guest Laundry                     2.00     0.01%         0.00     0.00%         2.00          38.40      0.23%       -36.40
            81.11     2.29%         0.00     0.00%      81.11            0.00       0.00%          81.11   Cost of Sales - In-Room Movie Revenue           627.39     2.22%         0.00     0.00%       627.39         591.09      3.55%        36.30
             0.00     0.00%         0.00     0.00%       0.00            0.00       0.00%           0.00   Cost of Sales - Cots & Cribs                      0.00     0.00%         0.00     0.00%         0.00       1,957.89     11.74%    -1,957.89
           989.78    27.92%       350.00    21.79%     639.78          135.30      10.27%         854.48   Cost of Sales - Gift Shop                     6,142.07    21.71%     3,500.00    24.46%     2,642.07       4,496.45     26.97%     1,645.62
        1,070.89    30.21%       350.00    21.79%     720.89          135.30      10.27%         935.59    Total Minor Operated Cost of Sales           6,771.46    23.94%     3,500.00    24.46%     3,271.46       7,083.83     42.49%      -312.37

        2,474.08    69.79%     1,256.00    78.21%    1,218.08       1,182.65      89.73%       1,291.43    Total Minor Operated Profit (Loss)          21,516.93    76.06%    10,812.00    75.54%    10,704.93       9,588.14     57.51%    11,928.79




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                            YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Revenue                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Non-Management              0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Salaries and Wages          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade PR Taxes and Benefits       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Payroll                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Other Expenses              0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Expenses                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Profit (Loss)               0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                            YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Revenue                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Management                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Non-Management                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Salaries and Wages       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark PR Taxes and Benefits    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Payroll                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Other Expenses           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Expenses                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Profit (Loss)            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %        Variance   PTD Last Year     %            Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                          Franchise Fees
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Franchise Fees - IT Fees                       966.68    0.05%         0.00     0.00%      966.68            0.00     0.00%      966.68
         9,501.06     5.38%    13,392.60    4.97%   -3,891.54       4,514.69      5.23%        4,986.37   Franchise Fees - Royalty & Licenses        107,440.99    5.45%    78,428.78     4.95%   29,012.21       60,315.26     4.95%   47,125.73
             0.00     0.00%         0.00    0.00%        0.00          55.90      0.06%          -55.90   Franchise Fees - Other                       6,068.59    0.31%         0.00     0.00%    6,068.59        1,062.76     0.09%    5,005.83
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Franchise Fees - Reservations-GDS              707.20    0.04%         0.00     0.00%      707.20            0.00     0.00%      707.20
        14,406.75     8.16%     2,678.52    0.99%   11,728.23         236.05      0.27%       14,170.70   Franchise Fees - Frequent Guest              7,097.23    0.36%    15,685.75     0.99%   -8,588.52       13,322.30     1.09%   -6,225.07
         8,539.09     4.83%    10,714.08    3.98%   -2,174.99       7,761.99      8.99%          777.10   Franchise Fees - Marketing Contributions    94,042.16    4.77%    62,743.02     3.96%   31,299.14       62,293.98     5.12%   31,748.18
             0.00     0.00%       200.00    0.07%     -200.00           0.00      0.00%            0.00   Franchise Fees - Reservations-Central            0.00    0.00%     1,400.00     0.09%   -1,400.00            0.00     0.00%        0.00

       32,446.90    18.37%    26,985.20    10.01%   5,461.70      12,568.63      14.55%      19,878.27    Total Franchise Fees                       216,322.85   10.97%   158,257.55   10.00%    58,065.30     136,994.30     11.25%   79,328.55




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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         9,893.95      5.60%     4,630.65    1.72%    5,263.30       4,986.26       5.77%       4,907.69   Management- A&G                      64,591.58     3.28%     45,007.39     2.84%    19,584.19      66,897.54      5.49%    -2,305.96
        9,893.95      5.60%     4,630.65    1.72%    5,263.30       4,986.26       5.77%       4,907.69    Total A&G Management                64,591.58     3.28%     45,007.39     2.84%    19,584.19      66,897.54      5.49%    -2,305.96
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Accounting Staff                        939.12     0.05%          0.00     0.00%       939.12           0.00      0.00%       939.12
             0.00     0.00%          0.00   0.00%         0.00           0.00      0.00%            0.00   Total A&G Non-Management               939.12     0.05%           0.00    0.00%       939.12            0.00     0.00%       939.12
        9,893.95      5.60%     4,630.65    1.72%    5,263.30       4,986.26       5.77%       4,907.69    Total A&G Salaries and Wages        65,530.70     3.32%     45,007.39     2.84%    20,523.31      66,897.54      5.49%    -1,366.84
                                                                                                           PR Taxes and Benefits
           738.38      0.42%       368.07    0.14%      370.31         345.89       0.40%         392.49   FICA                                  5,150.36     0.26%      3,950.44     0.25%     1,199.92       4,971.37      0.41%       178.99
            18.16      0.01%         2.02    0.00%       16.14           0.00       0.00%          18.16   Federal Unemployment Tax                179.28     0.01%         77.75     0.00%       101.53           0.00      0.00%       179.28
            81.76      0.05%        12.99    0.00%       68.77           0.00       0.00%          81.76   State Unemployment Tax                  806.78     0.04%        633.70     0.04%       173.08           0.00      0.00%       806.78
          838.30      0.47%       383.08    0.14%      455.22         345.89       0.40%         492.41    Total Payroll Taxes                  6,136.42     0.31%      4,661.89     0.29%     1,474.53       4,971.37      0.41%     1,165.05
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Holiday                                   0.00     0.00%        600.00     0.04%      -600.00       1,631.31      0.13%    -1,631.31
             0.00      0.00%       180.72    0.07%     -180.72         250.00       0.29%        -250.00   Vacation                                  0.00     0.00%      1,908.38     0.12%    -1,908.38       5,666.60      0.47%    -5,666.60
             0.00     0.00%       180.72    0.07%     -180.72         250.00       0.29%        -250.00    Total Supplemental Pay                    0.00    0.00%      2,508.38     0.16%    -2,508.38       7,297.91      0.60%    -7,297.91
         1,210.09      0.69%       230.71    0.09%      979.38         565.00       0.65%         645.09   Worker's Compensation                13,735.60     0.70%      2,853.44     0.18%    10,882.16       7,208.00      0.59%     6,527.60
           381.13      0.22%       262.50    0.10%      118.63         621.81       0.72%        -240.68   Group Insurance                       1,762.04     0.09%      2,537.50     0.16%      -775.46       8,078.56      0.66%    -6,316.52
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Bonus and Incentive Pay               2,062.00     0.10%      4,124.00     0.26%    -2,062.00       3,739.25      0.31%    -1,677.25
        1,591.22      0.90%       493.21    0.18%    1,098.01       1,186.81       1.37%         404.41    Total Other Benefits                17,559.64     0.89%      9,514.94     0.60%     8,044.70      19,025.81      1.56%    -1,466.17
        2,429.52      1.38%     1,057.01    0.39%    1,372.51       1,782.70       2.06%         646.82    Total A&G PR Taxes and Benefits     23,696.06     1.20%     16,685.21     1.05%     7,010.85      31,295.09      2.57%    -7,599.03
       12,323.47      6.98%     5,687.66    2.11%    6,635.81       6,768.96       7.84%       5,554.51    Total A&G Payroll                   89,226.76     4.52%     61,692.60     3.90%    27,534.16      98,192.63      8.06%    -8,965.87
                                                                                                           Other Expenses
         1,000.00     0.57%      1,000.00    0.37%        0.00       2,000.00       2.32%      -1,000.00   Accounting/Audit Fees                12,000.00     0.61%     10,000.00     0.63%     2,000.00      20,000.00      1.64%    -8,000.00
         3,421.89     1.94%          0.00    0.00%    3,421.89        -233.98      -0.27%       3,655.87   Bad Debt Provision                   14,584.56     0.74%          0.00     0.00%    14,584.56       5,510.98      0.45%     9,073.58
           715.52     0.41%      1,075.00    0.40%     -359.48         896.54       1.04%        -181.02   Bank Charges                          7,173.61     0.36%     10,750.00     0.68%    -3,576.39       9,257.08      0.76%    -2,083.47
           -59.80    -0.03%          0.00    0.00%      -59.80          -4.00       0.00%         -55.80   Cash Over/Short                         155.20     0.01%          0.00     0.00%       155.20          49.78      0.00%       105.42
           195.88     0.11%          0.00    0.00%      195.88           0.00       0.00%         195.88   Central Office - Travel Rebilled        195.88     0.01%          0.00     0.00%       195.88           0.00      0.00%       195.88
           360.00     0.20%        160.00    0.06%      200.00           0.00       0.00%         360.00   Central Office - IT Fees              2,600.00     0.13%      1,600.00     0.10%     1,000.00           0.00      0.00%     2,600.00
            75.00     0.04%          0.00    0.00%       75.00           0.00       0.00%          75.00   Communication Expense                   600.00     0.03%          0.00     0.00%       600.00         247.12      0.02%       352.88
         3,319.32     1.88%      7,814.28    2.90%   -4,494.96       1,814.57       2.10%       1,504.75   Credit Card Commission               42,874.10     2.17%     45,903.75     2.90%    -3,029.65      33,943.84      2.79%     8,930.26
             0.00     0.00%        763.00    0.28%     -763.00         956.62       1.11%        -956.62   Data Processing                         206.49     0.01%      8,286.00     0.52%    -8,079.51      10,806.26      0.89%   -10,599.77
             0.00     0.00%        205.00    0.08%     -205.00         165.00       0.19%        -165.00   Dues and Subscriptions                  223.65     0.01%      1,827.00     0.12%    -1,603.35       1,291.60      0.11%    -1,067.95
            37.21     0.02%        250.00    0.09%     -212.79           0.00       0.00%          37.21   Employee Relations                      955.64     0.05%      2,250.00     0.14%    -1,294.36         852.36      0.07%       103.28
             0.00     0.00%          0.00    0.00%        0.00          29.82       0.03%         -29.82   Equipment Rental                          0.00     0.00%          0.00     0.00%         0.00         388.78      0.03%      -388.78
             0.00     0.00%          0.00    0.00%        0.00         294.73       0.34%        -294.73   Licenses/Permits                      2,196.50     0.11%      4,578.00     0.29%    -2,381.50       5,075.26      0.42%    -2,878.76
             0.00     0.00%         25.00    0.01%      -25.00           0.00       0.00%           0.00   Meals and Entertainment                 227.17     0.01%        250.00     0.02%       -22.83           0.00      0.00%       227.17
           -48.06    -0.03%         75.00    0.03%     -123.06           0.00       0.00%         -48.06   Miscellaneous Expense                  -300.83    -0.02%        750.00     0.05%    -1,050.83           0.00      0.00%      -300.83
            33.77     0.02%          0.00    0.00%       33.77           0.00       0.00%          33.77   Office Equipment                      1,968.13     0.10%          0.00     0.00%     1,968.13           0.00      0.00%     1,968.13
           131.12     0.07%        415.00    0.15%     -283.88         154.33       0.18%         -23.21   Office Supplies                       2,071.94     0.11%      2,483.00     0.16%      -411.06       1,613.16      0.13%       458.78
             0.00     0.00%          0.00    0.00%        0.00           0.00       0.00%           0.00   Operating Supplies                      314.73     0.02%          0.00     0.00%       314.73           0.00      0.00%       314.73
           159.70     0.09%        486.00    0.18%     -326.30         138.25       0.16%          21.45   Payroll Service Fees                  1,020.18     0.05%      4,860.00     0.31%    -3,839.82       2,981.45      0.24%    -1,961.27
            49.74     0.03%        105.04    0.04%      -55.30          34.94       0.04%          14.80   Postage                                 245.38     0.01%        737.48     0.05%      -492.10         392.18      0.03%      -146.80
             0.00     0.00%        150.00    0.06%     -150.00           0.00       0.00%           0.00   Professional Fees - Legal             3,459.07     0.18%      1,500.00     0.09%     1,959.07           0.00      0.00%     3,459.07
           590.00     0.33%        500.00    0.19%       90.00           0.00       0.00%         590.00   Professional Fees - Other             9,687.65     0.49%      5,000.00     0.32%     4,687.65       7,200.00      0.59%     2,487.65
             0.00     0.00%         50.00    0.02%      -50.00           0.00       0.00%           0.00   Recruitment Advertising                 380.00     0.02%      1,250.00     0.08%      -870.00         828.82      0.07%      -448.82
         2,560.00     1.45%          0.00    0.00%    2,560.00         122.98       0.14%       2,437.02   Recruitment - Other                   2,983.60     0.15%          0.00     0.00%     2,983.60         840.28      0.07%     2,143.32
           502.69     0.28%        520.70    0.19%      -18.01           0.00       0.00%         502.69   Software Expense/Maintenance          9,879.21     0.50%      6,157.00     0.39%     3,722.21           0.00      0.00%     9,879.21
             0.00     0.00%          0.00    0.00%        0.00         210.20       0.24%        -210.20   Training                              2,778.10     0.14%      1,600.00     0.10%     1,178.10         734.48      0.06%     2,043.62
           163.30     0.09%        200.00    0.07%      -36.70           0.00       0.00%         163.30   Travel                                  640.90     0.03%      3,125.00     0.20%    -2,484.10         587.89      0.05%        53.01
             0.00     0.00%          0.00    0.00%        0.00           0.00       0.00%           0.00   Uniforms                                 95.90     0.00%          0.00     0.00%        95.90           0.00      0.00%        95.90
       13,207.28     7.48%     13,794.02    5.12%     -586.74       6,580.00       7.62%       6,627.28    Total A&G Other Expenses           119,216.76     6.04%    112,907.23     7.13%     6,309.53     102,601.32      8.42%    16,615.44
       25,530.75    14.45%     19,481.68    7.23%    6,049.07      13,348.96      15.46%      12,181.79    Total A&G Expenses                 208,443.52    10.57%    174,599.83    11.03%    33,843.69     200,793.95     16.49%     7,649.57




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                                                                              Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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                                                                                                           As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                            YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        IT
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wags
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Management                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Non-Management                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Salaries and Wages              0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT PR Taxes and Benefits           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Payroll                         0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Services
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Cost of Services                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        System Costs
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Systems                         0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Other Expenses                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Expenses                        0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                 Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           S&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         5,108.73      2.89%     3,714.70    1.38%    1,394.03           0.00       0.00%       5,108.73   Division Management                  38,530.24    1.95%    36,245.67      2.29%     2,284.57       6,582.00     0.54%    31,948.24
             0.00      0.00%         0.00    0.00%        0.00       3,868.11       4.48%      -3,868.11   Sales Managers                            0.00    0.00%         0.00      0.00%         0.00      28,342.62     2.33%   -28,342.62
        5,108.73      2.89%     3,714.70    1.38%    1,394.03       3,868.11       4.48%       1,240.62    Total S&M Management                38,530.24    1.95%    36,245.67      2.29%     2,284.57      34,924.62     2.87%     3,605.62
             0.00     0.00%          0.00   0.00%         0.00           0.00      0.00%            0.00   Total S&M Non-Management                  0.00   0.00%          0.00     0.00%          0.00           0.00    0.00%          0.00

        5,108.73      2.89%     3,714.70    1.38%    1,394.03       3,868.11       4.48%       1,240.62    Total S&M Salaries and Wages        38,530.24    1.95%    36,245.67      2.29%     2,284.57      34,924.62     2.87%     3,605.62

                                                                                                           PR Taxes and Benefits
           614.26      0.35%       295.30    0.11%      318.96         286.66       0.33%         327.60   FICA                                  3,564.12    0.18%     2,936.18      0.19%       627.94       2,828.86     0.23%       735.26
            14.73      0.01%         1.62    0.00%       13.11           0.00       0.00%          14.73   Federal Unemployment Tax                143.82    0.01%        61.12      0.00%        82.70           0.00     0.00%       143.82
            66.28      0.04%        10.42    0.00%       55.86           0.00       0.00%          66.28   State Unemployment Tax                  531.54    0.03%       501.64      0.03%        29.90           0.00     0.00%       531.54
          695.27      0.39%       307.34    0.11%      387.93         286.66       0.33%         408.61    Total Payroll Taxes                  4,239.48    0.21%     3,498.94      0.22%       740.54       2,828.86     0.23%     1,410.62
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Holiday                                   0.00    0.00%       600.00      0.04%      -600.00         845.15     0.07%      -845.15
             0.00      0.00%       145.44    0.05%     -145.44           0.00       0.00%           0.00   Vacation                                  0.00    0.00%     1,535.84      0.10%    -1,535.84       3,451.82     0.28%    -3,451.82
             0.00     0.00%       145.44    0.05%     -145.44            0.00      0.00%            0.00   Total Supplemental Pay                    0.00   0.00%     2,135.84      0.13%    -2,135.84       4,296.97     0.35%    -4,296.97
           938.31      0.53%       185.09    0.07%      753.22           0.00       0.00%         938.31   Worker's Compensation                 6,612.58    0.34%     2,146.15      0.14%     4,466.43           0.00     0.00%     6,612.58
          -467.55     -0.26%         0.00    0.00%     -467.55           0.00       0.00%        -467.55   Payroll Tax/Benefit Allocation         -779.25   -0.04%         0.00      0.00%      -779.25           0.00     0.00%      -779.25
          -877.97     -0.50%       210.00    0.08%   -1,087.97           0.00       0.00%        -877.97   Group Insurance                        -877.97   -0.04%     2,030.00      0.13%    -2,907.97         706.29     0.06%    -1,584.26
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Bonus and Incentive Pay               3,299.40    0.17%         0.00      0.00%     3,299.40       1,215.00     0.10%     2,084.40
         -407.21     -0.23%       395.09    0.15%     -802.30            0.00      0.00%        -407.21    Total Other Benefits                 8,254.76    0.42%     4,176.15      0.26%     4,078.61       1,921.29     0.16%     6,333.47
          288.06      0.16%       847.87    0.31%     -559.81         286.66       0.33%            1.40   Total S&M PR Taxes and Benefits     12,494.24    0.63%     9,810.93      0.62%     2,683.31       9,047.12     0.74%     3,447.12

        5,396.79      3.06%     4,562.57    1.69%     834.22        4,154.77       4.81%       1,242.02    Total S&M Payroll                   51,024.48    2.59%    46,056.60      2.91%     4,967.88      43,971.74     3.61%     7,052.74

                                                                                                           Other Expenses
           440.00      0.25%         0.00    0.00%      440.00           0.00       0.00%         440.00   Advertising General                   3,965.00    0.20%         0.00      0.00%     3,965.00           0.00     0.00%     3,965.00
             0.00      0.00%       640.00    0.24%     -640.00         408.44       0.47%        -408.44   Advertising-Web/Internet                  0.00    0.00%     6,435.00      0.41%    -6,435.00       3,605.71     0.30%    -3,605.71
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Brochures                                 0.00    0.00%       300.00      0.02%      -300.00           0.00     0.00%         0.00
           120.00      0.07%        60.00    0.02%       60.00           0.00       0.00%         120.00   Communication Expense                   559.94    0.03%       600.00      0.04%       -40.06           0.00     0.00%       559.94
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Contract Labor                           24.50    0.00%         0.00      0.00%        24.50           0.00     0.00%        24.50
         8,875.24      5.02%     1,251.17    0.46%    7,624.07           0.00       0.00%       8,875.24   Dues and Subscriptions               35,822.40    1.82%    18,968.70      1.20%    16,853.70       8,876.29     0.73%    26,946.11
             0.00      0.00%       850.00    0.32%     -850.00           0.00       0.00%           0.00   GDS Marketing Advert & Sales              0.00    0.00%     8,701.00      0.55%    -8,701.00           0.00     0.00%         0.00
             0.00      0.00%        75.00    0.03%      -75.00           0.00       0.00%           0.00   Meals and Entertainment                 150.00    0.01%       825.00      0.05%      -675.00          55.65     0.00%        94.35
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Miscellaneous Expense                     0.00    0.00%         0.00      0.00%         0.00       2,352.25     0.19%    -2,352.25
             0.00      0.00%        40.00    0.01%      -40.00           0.00       0.00%           0.00   Office Supplies                         430.56    0.02%       400.00      0.03%        30.56          21.29     0.00%       409.27
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Printing and Stationery                   0.00    0.00%       200.00      0.01%      -200.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Promotions - In-house                   308.47    0.02%         0.00      0.00%       308.47         345.33     0.03%       -36.86
             0.00      0.00%       500.00    0.19%     -500.00           0.00       0.00%           0.00   Promotion - Outside                      21.50    0.00%     2,300.00      0.15%    -2,278.50           0.00     0.00%        21.50
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Software Expense/Maintenance          1,250.00    0.06%    11,732.00      0.74%   -10,482.00           0.00     0.00%     1,250.00
             0.00      0.00%       750.00    0.28%     -750.00           0.00       0.00%           0.00   Training                              1,528.00    0.08%     2,250.00      0.14%      -722.00         532.31     0.04%       995.69
             0.00      0.00%        60.00    0.02%      -60.00           0.00       0.00%           0.00   Travel                                  234.78    0.01%       600.00      0.04%      -365.22         380.06     0.03%      -145.28
        9,435.24      5.34%     4,226.17    1.57%    5,209.07         408.44       0.47%       9,026.80    Total S&M Other Expenses            44,295.15    2.25%    53,311.70      3.37%    -9,016.55      16,168.89     1.33%    28,126.26

       14,832.03      8.40%     8,788.74    3.26%    6,043.29       4,563.21       5.28%      10,268.82    Total S&M Expenses                  95,319.63    4.83%    99,368.30      6.28%    -4,048.67      60,140.63     4.94%    35,179.00




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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                               YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                           R&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         4,684.08      2.65%     3,632.15    1.35%    1,051.93       3,828.03       4.43%         856.05   Division Management                    40,827.49    2.07%     35,440.22     2.24%      5,387.27      35,311.03     2.90%     5,516.46
        4,684.08      2.65%     3,632.15    1.35%    1,051.93       3,828.03       4.43%         856.05    Total R&M Management                  40,827.49    2.07%     35,440.22     2.24%      5,387.27      35,311.03     2.90%     5,516.46
         1,775.43      1.01%     2,480.00    0.92%     -704.57           0.00       0.00%       1,775.43   Engineers 1                             7,143.51    0.36%     24,320.00     1.54%    -17,176.49       8,964.00     0.74%    -1,820.49
        1,775.43      1.01%     2,480.00    0.92%     -704.57            0.00      0.00%       1,775.43    Total R&M Non-Management               7,143.51    0.36%     24,320.00     1.54%    -17,176.49       8,964.00     0.74%    -1,820.49

        6,459.51      3.66%     6,112.15    2.27%     347.36        3,828.03       4.43%       2,631.48    Total R&M Salaries and Wages          47,971.00    2.43%     59,760.22     3.78%    -11,789.22      44,275.03     3.64%     3,695.97

                                                                                                           PR Taxes and Benefits
           482.08      0.27%       478.46    0.18%        3.62         281.00       0.33%         201.08   FICA                                    3,637.32    0.18%      4,732.42     0.30%     -1,095.10       3,629.12     0.30%         8.20
            11.83      0.01%         2.63    0.00%        9.20           0.00       0.00%          11.83   Federal Unemployment Tax                  126.68    0.01%         98.57     0.01%         28.11           0.00     0.00%       126.68
            53.24      0.03%        16.89    0.01%       36.35           0.00       0.00%          53.24   State Unemployment Tax                    570.04    0.03%        809.34     0.05%       -239.30           0.00     0.00%       570.04
          547.15      0.31%       497.98    0.18%        49.17        281.00       0.33%         266.15    Total Payroll Taxes                    4,334.04    0.22%      5,640.33     0.36%     -1,306.29       3,629.12     0.30%       704.92
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Holiday                                     0.00    0.00%        600.00     0.04%       -600.00         953.76     0.08%      -953.76
             0.00      0.00%       142.21    0.05%     -142.21         169.60       0.20%        -169.60   Vacation                                    0.00    0.00%      1,501.73     0.09%     -1,501.73       3,560.49     0.29%    -3,560.49
             0.00     0.00%       142.21    0.05%     -142.21         169.60       0.20%        -169.60    Total Supplemental Pay                      0.00   0.00%      2,101.73     0.13%     -2,101.73       4,514.25     0.37%    -4,514.25
           797.33      0.45%       299.90    0.11%      497.43           0.00       0.00%         797.33   Worker's Compensation                   8,476.65    0.43%      3,460.39     0.22%      5,016.26           0.00     0.00%     8,476.65
             0.00      0.00%       262.50    0.10%     -262.50         519.47       0.60%        -519.47   Group Insurance                             0.00    0.00%      2,537.50     0.16%     -2,537.50       5,314.22     0.44%    -5,314.22
          797.33      0.45%       562.40    0.21%      234.93         519.47       0.60%         277.86    Total Other Benefits                   8,476.65    0.43%      5,997.89     0.38%      2,478.76       5,314.22     0.44%     3,162.43
        1,344.48      0.76%     1,202.59    0.45%      141.89         970.07       1.12%         374.41    Total R&M PR Taxes and Benefits       12,810.69    0.65%     13,739.95     0.87%       -929.26      13,457.59     1.11%      -646.90

        7,803.99      4.42%     7,314.74    2.71%     489.25        4,798.10       5.56%       3,005.89    Total R&M Payroll                     60,781.69    3.08%     73,500.17     4.64%    -12,718.48      57,732.62     4.74%     3,049.07

                                                                                                           Other Expenses
         1,021.69      0.58%       472.68    0.18%      549.01         115.61       0.13%         906.08   Air Conditioning and Refrigeration      2,777.78    0.14%      3,318.66     0.21%      -540.88        2,379.53     0.20%       398.25
             7.57      0.00%       603.98    0.22%     -596.41         194.01       0.22%        -186.44   Building                                3,977.37    0.20%      4,240.51     0.27%      -263.14        3,535.47     0.29%       441.90
            80.58      0.05%         0.00    0.00%       80.58          36.94       0.04%          43.64   Communication Expense                     430.58    0.02%          0.00     0.00%       430.58           36.94     0.00%       393.64
             0.00      0.00%     3,000.00    1.11%   -3,000.00           0.00       0.00%           0.00   Contract Labor                              0.00    0.00%      3,000.00     0.19%    -3,000.00            0.00     0.00%         0.00
           527.73      0.30%       393.90    0.15%      133.83         162.18       0.19%         365.55   Electric Bulbs                          1,652.91    0.08%      2,765.55     0.17%    -1,112.64          831.52     0.07%       821.39
             0.00      0.00%       262.60    0.10%     -262.60           0.00       0.00%           0.00   Electrical and Mechanical               1,010.36    0.05%      1,843.70     0.12%      -833.34          157.81     0.01%       852.55
         2,588.85      1.47%         0.00    0.00%    2,588.85           0.00       0.00%       2,588.85   Elevator Maintenance Contracts          7,857.23    0.40%          0.00     0.00%     7,857.23            0.00     0.00%     7,857.23
             0.00      0.00%     1,369.00    0.51%   -1,369.00       1,518.92       1.76%      -1,518.92   Equipment Maintenance                     127.92    0.01%      5,926.00     0.37%    -5,798.08        6,036.29     0.50%    -5,908.37
           173.18      0.10%         0.00    0.00%      173.18           0.00       0.00%         173.18   Equipment Rental                        1,300.98    0.07%          0.00     0.00%     1,300.98            0.00     0.00%     1,300.98
         1,085.75      0.61%       550.00    0.20%      535.75         300.00       0.35%         785.75   Fire Safety Equipment                   4,246.75    0.22%      8,950.00     0.57%    -4,703.25        3,063.91     0.25%     1,182.84
             0.00      0.00%        50.00    0.02%      -50.00           0.00       0.00%           0.00   Floor and Carpet Maintenance            1,065.00    0.05%      2,855.00     0.18%    -1,790.00          854.80     0.07%       210.20
             0.00      0.00%       157.56    0.06%     -157.56           0.00       0.00%           0.00   Furniture                                 123.05    0.01%      1,106.22     0.07%      -983.17          440.90     0.04%      -317.85
           753.00      0.43%       660.00    0.24%       93.00         500.00       0.58%         253.00   Grounds and Landscaping                 7,165.04    0.36%      6,600.00     0.42%       565.04        4,052.77     0.33%     3,112.27
           185.00      0.10%         0.00    0.00%      185.00           0.00       0.00%         185.00   Kitchen Equipment Repairs                 370.00    0.02%          0.00     0.00%       370.00            0.00     0.00%       370.00
             0.00      0.00%       105.04    0.04%     -105.04         170.00       0.20%        -170.00   Laundry Equipment Repairs               1,092.80    0.06%        737.48     0.05%       355.32          170.00     0.01%       922.80
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Licenses/Permits                            0.00    0.00%          0.00     0.00%         0.00           30.00     0.00%       -30.00
             0.00      0.00%        26.26    0.01%      -26.26           0.00       0.00%           0.00   Locks and Keys                             40.48    0.00%        184.37     0.01%      -143.89       -1,665.11    -0.14%     1,705.59
             0.00      0.00%       168.00    0.06%     -168.00         167.88       0.19%        -167.88   Miscellaneous Expense                       0.00    0.00%      1,680.00     0.11%    -1,680.00        1,683.07     0.14%    -1,683.07
           515.47      0.29%        50.00    0.02%      465.47           0.00       0.00%         515.47   Operating Supplies                      2,858.20    0.14%        500.00     0.03%     2,358.20            0.00     0.00%     2,858.20
             0.00      0.00%        52.52    0.02%      -52.52          20.55       0.02%         -20.55   Painting and Decorating                   415.62    0.02%        368.74     0.02%        46.88          135.49     0.01%       280.13
         1,876.54      1.06%       206.00    0.08%    1,670.54         213.00       0.25%       1,663.54   Pest Control                            6,225.59    0.32%      2,060.00     0.13%     4,165.59        2,023.50     0.17%     4,202.09
            95.44      0.05%       288.86    0.11%     -193.42         136.76       0.16%         -41.32   Plumbing and Heating                      701.25    0.04%      2,028.07     0.13%    -1,326.82        1,398.69     0.11%      -697.44
             0.00      0.00%       150.00    0.06%     -150.00           0.00       0.00%           0.00   Pool Chemicals                             11.53    0.00%      1,500.00     0.09%    -1,488.47            0.00     0.00%        11.53
           750.00      0.42%       600.00    0.22%      150.00         340.00       0.39%         410.00   Pool Service- Contract                  5,579.80    0.28%      6,000.00     0.38%      -420.20        2,487.68     0.20%     3,092.12
             0.00      0.00%        52.52    0.02%      -52.52           0.00       0.00%           0.00   Radio and Television Repair                 0.00    0.00%        368.74     0.02%      -368.74          316.00     0.03%      -316.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Signage                                     0.00    0.00%          0.00     0.00%         0.00          201.86     0.02%      -201.86
           116.00      0.07%       116.00    0.04%        0.00           0.00       0.00%         116.00   Software Expense/Maintenance              580.00    0.03%      1,660.00     0.10%    -1,080.00            0.00     0.00%       580.00
             0.00      0.00%       500.00    0.19%     -500.00           0.00       0.00%           0.00   Travel                                      8.96    0.00%        500.00     0.03%      -491.04            0.00     0.00%         8.96
         1,373.49      0.78%     1,100.00    0.41%      273.49         880.43       1.02%         493.06   Waste Removal                          21,268.58    1.08%      9,790.00     0.62%    11,478.58        8,798.68     0.72%    12,469.90
       11,150.29      6.31%    10,934.92    4.06%      215.37       4,756.28       5.51%       6,394.01    Total R&M Other Expenses              70,887.78    3.59%     67,983.04     4.29%     2,904.74       36,969.80     3.04%    33,917.98

       18,954.28    10.73%     18,249.66    6.77%     704.62        9,554.38      11.06%       9,399.90    Total R&M Expenses                   131,669.47    6.68%    141,483.21     8.94%     -9,813.74      94,702.42     7.78%    36,967.05



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                                                                                Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          Utilities
         3,781.96      2.14%     4,048.00    1.50%    -266.04       2,910.41       3.37%         871.55   Water                                35,132.92    1.78%     39,365.00     2.49%    -4,232.08      28,248.68     2.32%     6,884.24
         4,950.78      2.80%     5,555.00    2.06%    -604.22       4,863.21       5.63%          87.57   Electricity                          50,482.63    2.56%     54,060.00     3.42%    -3,577.37      44,499.03     3.65%     5,983.60
         1,299.80      0.74%     1,154.00    0.43%     145.80         730.30       0.85%         569.50   Gas - Natural HLP                    10,923.11    0.55%     12,568.00     0.79%    -1,644.89       8,306.03     0.68%     2,617.08
       10,032.54      5.68%    10,757.00    3.99%    -724.46       8,503.92       9.85%       1,528.62    Total Utilities                     96,538.66    4.89%    105,993.00     6.70%    -9,454.34      81,053.74     6.66%    15,484.92




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                                                                                  Company: ONFL Associates LLC Property: Fairfield Inn & Suites Universal Orlando
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %       PTD Budget    %          Variance   PTD Last Year     %            Variance                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                             Fixed
           735.00     0.42%       735.00     0.27%         0.00         734.80       0.85%            0.20   Personal Property Taxes             17,543.81     0.89%      7,350.00     0.46%    10,193.81       7,348.00      0.60%       10,195.81
        15,491.00     8.77%    15,491.00     5.75%         0.00      15,491.13      17.94%           -0.13   Real Estate Taxes                  170,401.00     8.64%    154,910.00     9.79%    15,491.00     154,911.30     12.72%       15,489.70
       16,226.00     9.19%    16,226.00     6.02%          0.00     16,225.93      18.79%             0.07   Total Taxes                       187,944.81     9.53%    162,260.00    10.25%    25,684.81     162,259.30     13.32%      25,685.51
           427.50     0.24%         0.00     0.00%       427.50       4,767.26       5.52%      -4,339.76    Insurance                            1,282.50     0.07%          0.00     0.00%     1,282.50      46,834.18      3.85%     -45,551.68
            48.92     0.03%         0.00     0.00%        48.92           0.00       0.00%          48.92    Insurance - Crime                      146.76     0.01%          0.00     0.00%       146.76           0.00      0.00%          146.76
           559.33     0.32%       125.00     0.05%       434.33           0.00       0.00%         559.33    Insurance - Employment               2,592.96     0.13%      1,250.00     0.08%     1,342.96           0.00      0.00%        2,592.96
         1,395.33     0.79%     1,218.00     0.45%       177.33           0.00       0.00%       1,395.33    Insurance - General Liability       13,912.00     0.71%     12,180.00     0.77%     1,732.00           0.00      0.00%       13,912.00
         3,207.75     1.82%     3,207.75     1.19%         0.00           0.00       0.00%       3,207.75    Insurance - Property                32,077.50     1.63%     32,077.50     2.03%         0.00           0.00      0.00%       32,077.50
         2,169.25     1.23%     2,107.92     0.78%        61.33           0.00       0.00%       2,169.25    Insurance - Umbrella                21,263.16     1.08%     21,079.20     1.33%       183.96           0.00      0.00%       21,263.16
        7,808.08     4.42%     6,658.67     2.47%     1,149.41       4,767.26       5.52%       3,040.82     Total Insurance                    71,274.88     3.61%     66,586.70     4.21%     4,688.18      46,834.18      3.85%      24,440.70
        28,904.00    16.36%    28,904.00    10.73%         0.00      32,169.12      37.25%      -3,265.12    Ground Lease Expense               282,083.00    14.30%    282,083.00    17.82%         0.00     289,179.08     23.75%       -7,096.08
       28,904.00    16.36%    28,904.00    10.73%          0.00     32,169.12      37.25%      -3,265.12     Total Leases & Rent               282,083.00    14.30%    282,083.00    17.82%          0.00    289,179.08     23.75%       -7,096.08
         5,798.83     3.28%     8,083.74     3.00%    -2,284.91       2,158.75       2.50%       3,640.08    Management Fee - Base               67,455.00     3.42%     52,260.92     3.30%    15,194.08      30,414.18      2.50%       37,040.82
             0.00     0.00%         0.00     0.00%         0.00       3,706.05       4.29%      -3,706.05    Management Fee - Incentive               0.00     0.00%          0.00     0.00%         0.00      10,976.50      0.90%     -10,976.50
        5,798.83     3.28%     8,083.74     3.00%    -2,284.91       5,864.80       6.79%          -65.97    Total Management Fees              67,455.00     3.42%     52,260.92     3.30%    15,194.08      41,390.68      3.40%      26,064.32
             0.00     0.00%         0.00     0.00%         0.00      13,064.02      15.13%     -13,064.02    Capital Reserve                     14,035.49     0.71%          0.00     0.00%    14,035.49     130,640.20     10.73%    -116,604.71
             0.00     0.00%         0.00     0.00%         0.00      62,058.00      71.86%     -62,058.00    (Gain)/Loss-Insurance                    0.00     0.00%          0.00     0.00%         0.00     620,580.00     50.96%    -620,580.00
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Owner's Expense                        949.16     0.05%          0.00     0.00%       949.16      17,218.41      1.41%     -16,269.25
             0.00     0.00%         0.00     0.00%         0.00          -6.86      -0.01%            6.86   Non Recurring Cost                       0.00     0.00%          0.00     0.00%         0.00         -41.90      0.00%           41.90
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%            0.00   Extraordinary Expense                    0.00     0.00%          0.00     0.00%         0.00      20,759.13      1.70%     -20,759.13
             0.00    0.00%          0.00    0.00%          0.00     75,115.16      86.98%     -75,115.16     Total Other Non-Operating          14,984.65     0.76%           0.00    0.00%    14,984.65     789,155.84     64.80%    -774,171.19




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                                                                                          Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                               P&L - Dual Summary Pages
                                                                                                                    As of 10/31/2021
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %              Variance                                                        YTD     %          YTD Budget %               Variance   YTD Last Year     %             Variance

                                                                                                                Statistics
            87.00                    87.00                  0.00           87.00                        0.00    # Rooms                                             87.00                    87.00                     0.00          87.00                        0.00
         2,697.00                 2,697.00                  0.00        2,697.00                        0.00    Available Rooms                                 26,448.00                26,448.00                     0.00      26,535.00                      -87.00
         2,101.00                 1,915.00                186.00        1,913.00                      188.00    Room Nights Sold                                20,849.00                17,017.00                 3,832.00      14,886.00                    5,963.00
          77.90%                   71.00%                 6.90%          70.93%                       6.97%     Occupancy %                                       78.83%                   64.34%                   14.49%         56.10%                      22.73%
           148.24                   115.17                 33.06          103.26                       44.97    ADR                                                128.66                   106.87                    21.79         118.13                       10.53
           115.48                    81.78                 33.70           73.25                       42.23    RevPar                                             101.42                    68.76                    32.66          66.27                       35.15

                                                                                                                Summary V.11
                                                                                                                Revenue
       311,447.84    97.43%     220,559.00    99.03%   90,888.84      197,543.50     97.94%        113,904.34   Rooms                                        2,682,442.50    98.36%    1,818,686.65    98.83%    863,755.85    1,758,469.01    97.85%      923,973.49
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%              0.00   F&B                                                  0.00     0.00%            0.00     0.00%          0.00            0.00     0.00%            0.00
         8,199.65     2.57%       2,150.00     0.97%    6,049.65        4,154.91      2.06%          4,044.74   Other Departments                               44,613.48     1.64%       21,500.00     1.17%     23,113.48       38,698.07     2.15%        5,915.41

      319,647.49    100.00%    222,709.00    100.00%   96,938.49     201,698.41     100.00%       117,949.08    Total Operating Revenue                     2,727,055.98    100.00%   1,840,186.65 100.00%      886,869.33    1,797,167.08 100.00%        929,888.90

                                                                                                                Departmental Expenses
        54,225.73    17.41%      43,731.72    19.83%   10,494.01       35,774.65     18.11%         18,451.08   Rooms                                         471,474.90     17.58%     407,496.03     22.41%     63,978.87     364,355.52     20.72%      107,119.38
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%              0.00   F&B                                                49.23      0.00%           0.00      0.00%         49.23           0.00      0.00%           49.23
         2,468.26    30.10%       2,852.00   132.65%     -383.74        2,450.35     58.97%             17.91   Other Departments                              28,287.45     63.41%      28,520.00    132.65%       -232.55      22,394.77     57.87%        5,892.68

       56,693.99     17.74%     46,583.72    20.92%    10,110.27      38,225.00     18.95%         18,468.99    Total Departmental Expenses                  499,811.58     18.33%     436,016.03     23.69%     63,795.55     386,750.29     21.52%      113,061.29

      262,953.50     82.26%    176,125.28    79.08%    86,828.22     163,473.41     81.05%         99,480.09    Total Departmental Profit                   2,227,244.40    81.67%    1,404,170.62    76.31%    823,073.78    1,410,416.79    78.48%      816,827.61

                                                                                                                Undistributed Operating Expenses
        18,919.76     5.92%      17,259.13     7.75%     1,660.63      12,333.75      6.11%          6,586.01   A&G                                           184,227.22      6.76%     165,095.69      8.97%     19,131.53     204,017.57     11.35%      -19,790.35
             0.00     0.00%           0.00     0.00%         0.00           0.00      0.00%              0.00   IT                                                  0.00      0.00%           0.00      0.00%          0.00           0.00      0.00%            0.00
        10,761.78     3.37%       8,501.93     3.82%     2,259.85       3,044.74      1.51%          7,717.04   S&M                                            91,254.76      3.35%      84,451.91      4.59%      6,802.85      32,455.12      1.81%       58,799.64
        35,692.30    11.17%      27,811.60    12.49%     7,880.70      25,482.32     12.63%         10,209.98   Franchise Fees                                366,910.73     13.45%     232,890.39     12.66%    134,020.34     231,355.18     12.87%      135,555.55
         8,653.42     2.71%      10,934.45     4.91%    -2,281.03      12,705.91      6.30%         -4,052.49   R&M                                           102,542.69      3.76%     109,212.08      5.93%     -6,669.39      90,392.47      5.03%       12,150.22
         9,516.62     2.98%       9,499.00     4.27%        17.62       8,623.16      4.28%            893.46   Utilities                                      92,598.83      3.40%      90,352.00      4.91%      2,246.83      76,639.25      4.26%       15,959.58

       83,543.88     26.14%     74,006.11    33.23%     9,537.77      62,189.88     30.83%         21,354.00    Total Undistributed Expenses                 837,534.23     30.71%     682,002.07     37.06%    155,532.16     634,859.59     35.33%      202,674.64

      179,409.62     56.13%    102,119.17    45.85%    77,290.45     101,283.53     50.22%         78,126.09    Gross Operating Profit                   1,389,710.17       50.96%     722,168.55     39.24%    667,541.62     775,557.20     43.15%      614,152.97
        10,089.42      3.16%      6,681.27     3.00%     3,408.15       8,747.05      4.34%          1,342.37   Management Fees                              86,805.12        3.18%      55,205.60      3.00%     31,599.52      55,887.50      3.11%       30,917.62
      169,320.20     52.97%     95,437.90    42.85%    73,882.30      92,536.48     45.88%         76,783.72    Income Before Non-Operating Income and Expenses
                                                                                                                                                         1,302,905.05       47.78%     666,962.95     36.24%    635,942.10     719,669.70     40.04%      583,235.35

                                                                                                                Non-Operating Income and Expenses
         6,246.75      1.95%      5,437.75     2.44%      809.00        3,959.21      1.96%          2,287.54   Insurance                                      57,195.51      2.10%      54,377.50      2.95%      2,818.01      38,361.82      2.13%        18,833.69
        26,919.00      8.42%     27,149.00    12.19%     -230.00       30,213.73     14.98%         -3,294.73   Leases & Rent                                 262,701.00      9.63%     268,606.00     14.60%     -5,905.00     270,331.38     15.04%        -7,630.38
             0.00      0.00%        163.13     0.07%     -163.13       70,234.96     34.82%        -70,234.96   Other                                          67,817.28      2.49%       1,631.30      0.09%     66,185.98     680,247.03     37.85%      -612,429.75
       33,165.75     10.38%     32,749.88    14.71%      415.87      104,407.90     51.76%        -71,242.15    Total Non-Operating Income and Expenses      387,713.79     14.22%     324,614.80     17.64%     63,098.99     988,940.23     55.03%      -601,226.44

      136,154.45     42.60%     62,688.02    28.15%    73,466.43     -11,871.42     -5.89%        148,025.87    EBITDA                                        915,191.26    33.56%     342,348.15     18.60%    572,843.11    -269,270.53     -14.98%    1,184,461.79
             0.00      0.00%          0.00     0.00%         0.00      39,532.00     19.60%        -39,532.00   Interest                                             0.00     0.00%           0.00      0.00%          0.00     394,736.47      21.96%     -394,736.47
         7,065.84      2.21%      7,421.50     3.33%      -355.66       7,421.34      3.68%           -355.50   Taxes                                           76,502.75     2.81%      74,215.00      4.03%      2,287.75      74,441.35       4.14%        2,061.40
             0.00      0.00%          0.00     0.00%         0.00       3,711.00      1.84%         -3,711.00   Amortization                                         0.00     0.00%           0.00      0.00%          0.00      37,110.00       2.06%      -37,110.00
        7,065.84      2.21%      7,421.50     3.33%      -355.66      50,664.34     25.12%        -43,598.50    Interest, Taxes, Depreciation and Amortization 76,502.75     2.81%      74,215.00      4.03%      2,287.75     506,287.82      28.17%     -429,785.07

      129,088.61     40.38%     55,266.52    24.82%    73,822.09     -62,535.76     -31.00%       191,624.37    Net Income                                   838,688.51     30.75%     268,133.15     14.57%    570,555.36    -775,558.35     -43.15%    1,614,246.86




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                                                                                      Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                                As of 10/31/2021
             PTD      %       PTD Budget    %         Variance   PTD Last Year    %              Variance                                           YTD      %        YTD Budget %              Variance   YTD Last Year     %         Variance

                                                                                                            Statistics
            87.00                  87.00                 0.00           87.00                       0.00    # Rooms                               87.00                    87.00                    0.00          87.00                    0.00
         2,697.00               2,697.00                 0.00        2,697.00                       0.00    Available Rooms                   26,448.00                26,448.00                    0.00      26,535.00                  -87.00
         2,101.00               1,915.00               186.00        1,913.00                     188.00    Room Nights Sold                  20,849.00                17,017.00                3,832.00      14,886.00                5,963.00
             0.78                   0.71                 0.07            0.71                       0.07    Occupancy %                            0.79                     0.64                    0.14           0.56                    0.23
           148.24                 115.17                33.06          103.26                      44.97    ADR                                  128.66                   106.87                   21.79         118.13                   10.53
           115.48                  81.78                33.70           73.25                      42.23    RevPar                               101.42                    68.76                   32.66          66.27                   35.15

                                                                                                            Summary
                                                                                                            Revenue:
       311,447.84    97.43%   220,559.00   99.03%    90,888.84     197,543.50    97.94%        113,904.34   Rooms                           2,682,442.50   98.36%    1,818,686.65    98.83%   863,755.85   1,758,469.01    97.85%    923,973.49
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Food                                    0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Beverage                                0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Other F&B Revenue                       0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Telephone                             354.53    0.01%            0.00     0.00%       354.53         194.07     0.01%        160.46
         8,199.65     2.57%     2,150.00    0.97%     6,049.65       4,154.91     2.06%          4,044.74   Other                              44,258.95    1.62%       21,500.00     1.17%    22,758.95      38,504.00     2.14%      5,754.95

       319,647.49   100.00%   222,709.00   100.00%   96,938.49     201,698.41    100.00%       117,949.08   Total Revenue                   2,727,055.98   100.00%   1,840,186.65   100.00%   886,869.33   1,797,167.08    100.00%   929,888.90



                                                                                                            Cost of Sales:
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Food                                   49.23    0.00%           0.00      0.00%        49.23           0.00     0.00%         49.23
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Beverage                                0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Other F&B                               0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
           638.33     7.78%       650.00   30.23%       -11.67         651.14    15.67%            -12.81   Telephone                           6,503.39   14.58%       6,500.00     30.23%         3.39       6,388.94    16.51%        114.45
           395.16     4.82%     1,102.00   51.26%      -706.84         599.21    14.42%           -204.05   Other                               7,412.56   16.62%      11,020.00     51.26%    -3,607.44       3,688.33     9.53%      3,724.23

         1,033.49    12.60%     1,752.00   81.49%      -718.51       1,250.35    30.09%           -216.86   Total Cost of Sales               13,965.18    31.30%      17,520.00     81.49%    -3,554.82      10,077.27    26.04%      3,887.91



                                                                                                            Payroll:
        26,380.57     8.47%    24,929.73   11.30%     1,450.84      21,607.66    10.94%          4,772.91   Rooms                            255,117.09     9.51%     232,035.13     12.76%    23,081.96     179,561.12    10.21%     75,555.97
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   F&B                                    0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Other                                  0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         5,046.60     1.58%     5,765.74    2.59%      -719.14       5,813.95     2.88%           -767.35   A&G                               56,049.82     2.06%      56,258.44      3.06%      -208.62      51,726.84     2.88%      4,322.98
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   IT                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         7,603.77     2.38%     4,755.92    2.14%     2,847.85       2,540.13     1.26%          5,063.64   S&M                               46,468.54     1.70%      41,584.49      2.26%     4,884.05      11,686.81     0.65%     34,781.73
         3,887.55     1.22%     5,563.53    2.50%    -1,675.98       3,024.99     1.50%            862.56   R&M                               33,612.53     1.23%      54,379.35      2.96%   -20,766.82      36,537.58     2.03%     -2,925.05
        42,918.49    13.43%    41,014.92   18.42%     1,903.57      32,986.73    16.35%          9,931.76   Total Salaries and Wages         391,247.98    14.35%     384,257.41     20.88%     6,990.57     279,512.35    15.55%    111,735.63

        10,237.59     3.20%     8,202.98    3.68%     2,034.61       9,797.81     4.86%            439.78   Total Taxes and Benefits          98,217.93     3.60%      86,710.00      4.71%    11,507.93     146,215.93     8.14%    -47,998.00
        53,156.08    16.63%    49,217.90   22.10%     3,938.18      42,784.54    21.21%         10,371.54   Total Labor Costs                489,465.91    17.95%     470,967.41     25.59%    18,498.50     425,728.28    23.69%     63,737.63



                                                                                                            Direct Expenses:
        22,169.46     7.12%    14,218.34    6.45%     7,951.12       9,412.58     4.76%         12,756.88   Rooms                            163,132.71     6.08%     127,980.06      7.04%    35,152.65     109,644.17     6.24%     53,488.54
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   F&B                                    0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         1,434.77    17.50%     1,100.00   51.16%       334.77       1,200.00    28.88%            234.77   Telephone                         14,371.50    32.21%      11,000.00     51.16%     3,371.50      12,317.50    31.83%      2,054.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Other                                  0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        35,692.30    11.17%    27,811.60   12.49%     7,880.70      25,482.32    12.63%         10,209.98   Franchise Fees                   366,910.73    13.45%     232,890.39     12.66%   134,020.34     231,355.18    12.87%    135,555.55
        11,856.08     3.71%    10,126.20    4.55%     1,729.88       4,007.23     1.99%          7,848.85   A&G                              113,301.55     4.15%      93,639.14      5.09%    19,662.41     111,865.47     6.22%      1,436.08
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   IT                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         1,607.94     0.50%     2,633.92    1.18%    -1,025.98        -337.45    -0.17%          1,945.39   S&M                               31,600.92     1.16%      31,500.20      1.71%       100.72      11,490.93     0.64%     20,109.99
         3,771.13     1.18%     4,230.87    1.90%      -459.74       7,992.15     3.96%         -4,221.02   R&M                               51,998.48     1.91%      42,168.90      2.29%     9,829.58      32,491.83     1.81%     19,506.65
         9,516.62     2.98%     9,499.00    4.27%        17.62       8,623.16     4.28%            893.46   Utilities                         92,598.83     3.40%      90,352.00      4.91%     2,246.83      76,639.25     4.26%     15,959.58

        86,048.30    26.92%    69,619.93   31.26%    16,428.37      56,379.99    27.95%         29,668.31   Total Direct Expense             833,914.72    30.58%     629,530.69     34.21%   204,384.03     585,804.33    32.60%    248,110.39

       179,409.62    56.13%   102,119.17   45.85%    77,290.45     101,283.53    50.22%         78,126.09   Gross Operating Profit          1,389,710.17   50.96%     722,168.55     39.24%   667,541.62     775,557.20    43.15%    614,152.97

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                                                                                     Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                               As of 10/31/2021
             PTD      %       PTD Budget   %         Variance   PTD Last Year    %              Variance                                          YTD       %       YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                           Fixed Costs
         7,065.84     2.21%     7,421.50    3.33%     -355.66       7,421.34     3.68%           -355.50   Taxes                             76,502.75      2.81%    74,215.00      4.03%     2,287.75      74,441.35     4.14%       2,061.40
         6,246.75     1.95%     5,437.75    2.44%      809.00       3,959.21     1.96%          2,287.54   Insurance                         57,195.51      2.10%    54,377.50      2.95%     2,818.01      38,361.82     2.13%      18,833.69
        26,919.00     8.42%    27,149.00   12.19%     -230.00      30,213.73    14.98%         -3,294.73   Leases & Rent                    262,701.00      9.63%   268,606.00     14.60%    -5,905.00     270,331.38    15.04%      -7,630.38
        10,089.42     3.16%     6,681.27    3.00%    3,408.15       8,747.05     4.34%          1,342.37   Management Fees                   86,805.12      3.18%    55,205.60      3.00%    31,599.52      55,887.50     3.11%      30,917.62

        50,321.01    15.74%    46,689.52   20.96%    3,631.49      50,341.33    24.96%            -20.32   Total Fixed Expenses             483,204.38   17.72%     452,404.10     24.58%    30,800.28     439,022.05    24.43%      44,182.33

       129,088.61    40.38%    55,429.65   24.89%   73,658.96      50,942.20    25.26%         78,146.41   Net Operating Profit             906,505.79   33.24%     269,764.45     14.66%   636,741.34     336,535.15    18.73%     569,970.64



             0.00     0.00%         0.00   0.00%         0.00      39,532.00    19.60%        -39,532.00   Interest Expense - Other              0.00       0.00%         0.00     0.00%         0.00      394,736.47    21.96%    -394,736.47
             0.00     0.00%         0.00   0.00%         0.00           0.00     0.00%              0.00   Owner's Expense                     949.17       0.03%         0.00     0.00%       949.17       21,838.25     1.22%     -20,889.08
             0.00     0.00%         0.00   0.00%         0.00       5,187.62     2.57%         -5,187.62   Extraordinary Expense                 0.00       0.00%         0.00     0.00%         0.00        7,935.38     0.44%      -7,935.38



       129,088.61    40.38%    55,429.65   24.89%   73,658.96       6,222.58     3.09%        122,866.03   Net Operating Income             905,556.62   33.21%     269,764.45     14.66%   635,792.17     -87,974.95     -4.90%    993,531.57

             0.00     0.00%      163.13    0.07%      -163.13      10,864.34     5.39%        -10,864.34   Capital Reserve                   66,868.11      2.45%     1,631.30     0.09%     65,236.81     108,643.40     6.05%     -41,775.29
             0.00     0.00%        0.00    0.00%         0.00      54,183.00    26.86%        -54,183.00   (Gain)/Loss-Insurance                  0.00      0.00%         0.00     0.00%          0.00     541,830.00    30.15%    -541,830.00

       129,088.61    40.38%    55,266.52   24.82%   73,822.09     -58,824.76    -29.16%       187,913.37   Adjusted NOI                     838,688.51   30.75%     268,133.15     14.57%   570,555.36    -738,448.35    -41.09%   1,577,136.86



             0.00     0.00%         0.00   0.00%         0.00       3,711.00     1.84%         -3,711.00   Amortization                           0.00      0.00%         0.00     0.00%          0.00      37,110.00     2.06%      -37,110.00



       129,088.61    40.38%    55,266.52   24.82%   73,822.09     -62,535.76    -31.00%       191,624.37   Net Profit/(Loss)                838,688.51   30.75%     268,133.15     14.57%   570,555.36    -775,558.35    -43.15%   1,614,246.86




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                                                                                           Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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             PTD      %        PTD Budget      %          Variance   PTD Last Year     %              Variance                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                                 Rooms
                                                                                                                 Room Revenue
                                                                                                                 Transient Room Revenue
         6,356.05     2.04%          0.00      0.00%      6,356.05       1,781.34      0.90%          4,574.71   Corporate Transient                   63,289.55     2.36%       1,205.10      0.07%     62,084.45      36,253.42     2.06%     27,036.13
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%              0.00   Advanced Purchase                      8,049.42     0.30%           0.00      0.00%      8,049.42           0.00     0.00%      8,049.42
        10,690.57     3.43%          0.00      0.00%     10,690.57           0.00      0.00%         10,690.57   AAA/AARP Transient                   355,500.07    13.25%           0.00      0.00%    355,500.07           0.00     0.00%    355,500.07
         5,039.00     1.62%          0.00      0.00%      5,039.00           0.00      0.00%          5,039.00   FIT(Flexible Independent Travel)      27,001.39     1.01%       1,290.29      0.07%     25,711.10           0.00     0.00%     27,001.39
           813.92     0.26%          0.00      0.00%        813.92           0.00      0.00%            813.92   Consortia Transient                   18,557.40     0.69%       1,416.10      0.08%     17,141.30           0.00     0.00%     18,557.40
         2,126.20     0.68%          0.00      0.00%      2,126.20           0.00      0.00%          2,126.20   Employee                              22,483.00     0.84%           0.00      0.00%     22,483.00           0.00     0.00%     22,483.00
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%              0.00   Leisure Transient                        184.00     0.01%           0.00      0.00%        184.00           0.00     0.00%        184.00
        12,143.08     3.90%          0.00      0.00%     12,143.08           0.00      0.00%         12,143.08   Leisure Package Transient             88,491.58     3.30%      61,061.37      3.36%     27,430.21           0.00     0.00%     88,491.58
         8,537.23     2.74%          0.00      0.00%      8,537.23           0.00      0.00%          8,537.23   Member Reward Stay                    50,638.25     1.89%           0.00      0.00%     50,638.25           0.00     0.00%     50,638.25
             0.00     0.00%          0.00      0.00%          0.00      40,293.51     20.40%        -40,293.51   Extended Stay Transient                    0.00     0.00%           0.00      0.00%          0.00     551,694.50    31.37%   -551,694.50
        34,890.25    11.20%     71,622.00     32.47%    -36,731.75           0.00      0.00%         34,890.25   Internet/E-Commerce                  247,508.85     9.23%     620,363.12     34.11%   -372,854.27           0.00     0.00%    247,508.85
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%              0.00   E-Commerce Opaque                      1,028.88     0.04%           0.00      0.00%      1,028.88           0.00     0.00%      1,028.88
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%              0.00   Other Transient                      220,938.07     8.24%           0.00      0.00%    220,938.07           0.00     0.00%    220,938.07
         9,744.00     3.13%      5,352.00      2.43%      4,392.00           0.00      0.00%          9,744.00   Government Transient                  80,626.87     3.01%      43,123.20      2.37%     37,503.67           0.00     0.00%     80,626.87
       115,416.02    37.06%     53,280.00     24.16%     62,136.02      37,755.25     19.11%         77,660.77   Rack Transient                       669,119.01    24.94%     468,922.35     25.78%    200,196.66     470,282.46    26.74%    198,836.55
        73,644.50    23.65%     41,655.00     18.89%     31,989.50      49,557.60     25.09%         24,086.90   Local Negotiated Transient           628,547.98    23.43%     451,666.12     24.83%    176,881.86     443,340.47    25.21%    185,207.51

     279,400.82     89.71%     171,909.00    77.94%    107,491.82     129,387.70     65.50%        150,013.12    Total Transient Room Revenue       2,481,964.32   92.53%    1,649,047.65   90.67%     832,916.67    1,501,570.85    85.39%   980,393.47

                                                                                                                 Group Room Revenue
           258.00     0.08%          0.00      0.00%        258.00      61,575.00     31.17%        -61,317.00   Corporate Group                       22,258.00     0.83%           0.00     0.00%     22,258.00      191,558.00    10.89%   -169,300.00
             0.00     0.00%          0.00      0.00%          0.00       6,580.80      3.33%         -6,580.80   Government Group                           0.00     0.00%           0.00     0.00%          0.00       66,667.68     3.79%    -66,667.68
        31,340.15    10.06%     48,650.00     22.06%    -17,309.85           0.00      0.00%         31,340.15   SMERF Group                          173,997.21     6.49%     169,639.00     9.33%      4,358.21            0.00     0.00%    173,997.21

       31,598.15    10.15%      48,650.00    22.06%    -17,051.85      68,155.80     34.50%        -36,557.65    Total Group Room Revenue            196,255.21     7.32%     169,639.00      9.33%     26,616.21     258,225.68     14.68%   -61,970.47

                                                                                                                 Contract Room Revenue

            0.00     0.00%           0.00     0.00%          0.00            0.00     0.00%              0.00    Total Contract Room Revenue                0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                                 Other Room Revenue
          641.61      0.21%          0.00      0.00%       641.61            0.00      0.00%           641.61    No-Show Rooms                          4,865.63     0.18%           0.00     0.00%       4,865.63       5,665.83     0.32%      -800.20

          641.61     0.21%           0.00     0.00%        641.61            0.00     0.00%            641.61    Total Other Room Revenue               4,865.63    0.18%            0.00     0.00%      4,865.63        5,665.83    0.32%       -800.20

          -192.74    -0.06%          0.00      0.00%      -192.74            0.00      0.00%          -192.74    Less: Allowances                        -642.66    -0.02%           0.00     0.00%       -642.66       -6,993.35    -0.40%      6,350.69

     311,447.84     100.00%    220,559.00    100.00%    90,888.84     197,543.50     100.00%       113,904.34    Total Room Revenue                 2,682,442.50   100.00%   1,818,686.65 100.00%      863,755.85    1,758,469.01 100.00%     923,973.49

                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
         3,126.85     1.00%       2,995.46     1.36%        131.39       3,244.12      1.64%           -117.27   Front Office Management               27,868.11     1.04%      28,846.01      1.59%       -977.90      26,148.35     1.49%      1,719.76
             0.00     0.00%           0.00     0.00%          0.00         357.90      0.18%           -357.90   Revenue Management                         0.00     0.00%           0.00      0.00%          0.00       5,260.17     0.30%     -5,260.17
         3,150.34     1.01%       5,466.29     2.48%     -2,315.95       2,882.57      1.46%            267.77   Housekeeping Management               30,534.61     1.14%      48,425.66      2.66%    -17,891.05      26,568.52     1.51%      3,966.09
        6,277.19     2.02%       8,461.75     3.84%     -2,184.56       6,484.59      3.28%           -207.40    Total Rooms Management               58,402.72     2.18%      77,271.67      4.25%    -18,868.95      57,977.04     3.30%        425.68
         2,695.02     0.87%       3,571.20     1.62%       -876.18       3,645.29      1.85%           -950.27   Front Office Agents                   45,107.27     1.68%      35,020.80      1.93%     10,086.47      27,188.80     1.55%     17,918.47
         3,559.08     1.14%       3,352.96     1.52%        206.12       3,436.04      1.74%            123.04   Night Auditors                        29,986.93     1.12%      32,880.64      1.81%     -2,893.71      26,186.48     1.49%      3,800.45
         2,396.19     0.77%           0.00     0.00%      2,396.19           0.00      0.00%          2,396.19   Breakfast Attendant                   13,276.14     0.49%           0.00      0.00%     13,276.14       5,778.93     0.33%      7,497.21
        8,650.29     2.78%       6,924.16     3.14%      1,726.13       7,081.33      3.58%          1,568.96    Total Rooms Front Office             88,370.34     3.29%      67,901.44      3.73%     20,468.90      59,154.21     3.36%     29,216.13
             0.00     0.00%           0.00     0.00%          0.00           0.00      0.00%              0.00   Housekeeping Supervisors                   0.00     0.00%           0.00      0.00%          0.00       2,017.84     0.11%     -2,017.84
         8,951.58     2.87%       7,311.82     3.32%      1,639.76       5,789.86      2.93%          3,161.72   Room Attendants                       86,136.67     3.21%      64,974.02      3.57%     21,162.65      43,417.58     2.47%     42,719.09
             0.00     0.00%           0.00     0.00%          0.00           0.00      0.00%              0.00   Housepersons                               0.00     0.00%           0.00      0.00%          0.00       1,830.32     0.10%     -1,830.32
         2,501.51     0.80%       2,232.00     1.01%        269.51       2,251.88      1.14%            249.63   Laundry Attendants                    22,207.36     0.83%      21,888.00      1.20%        319.36      15,164.13     0.86%      7,043.23
       11,453.09     3.68%       9,543.82     4.33%      1,909.27       8,041.74      4.07%          3,411.35    Total Rooms Housekeeping            108,344.03     4.04%      86,862.02      4.78%     21,482.01      62,429.87     3.55%     45,914.16

       26,380.57       8.47%    24,929.73    11.30%      1,450.84      21,607.66     10.94%          4,772.91    Total Rooms Salary and Wages        255,117.09     9.51%     232,035.13    12.76%      23,081.96     179,561.12     10.21%    75,555.97
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                                                                                        Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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             PTD      %        PTD Budget     %         Variance   PTD Last Year    %              Variance                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance


                                                                                                              PR Taxes and Benefits
         2,021.33      0.65%      1,931.42    0.88%       89.91        1,568.98     0.79%           452.35    FICA                                     18,284.07    0.68%      18,083.26      0.99%        200.81      15,249.38     0.87%      3,034.69
            18.81      0.01%         10.60    0.00%        8.21            0.00     0.00%            18.81    Federal Unemployment Tax                    529.96    0.02%         363.59      0.02%        166.37           0.00     0.00%        529.96
            84.68      0.03%         68.17    0.03%       16.51            0.00     0.00%            84.68    State Unemployment Tax                    2,384.89    0.09%       3,022.26      0.17%       -637.37           0.00     0.00%      2,384.89
        2,124.82      0.68%      2,010.19    0.91%      114.63        1,568.98     0.79%           555.84     Total Payroll Taxes                     21,198.92    0.79%      21,469.11      1.18%       -270.19      15,249.38     0.87%      5,949.54
             0.00      0.00%          0.00    0.00%        0.00            0.00     0.00%             0.00    Holiday                                   1,615.20    0.06%       1,000.00      0.05%        615.20       3,978.24     0.23%     -2,363.04
           436.80      0.14%        313.63    0.14%      123.17          982.00     0.50%          -545.20    Vacation                                  2,967.06    0.11%       3,311.91      0.18%       -344.85      32,603.97     1.85%    -29,636.91
          436.80      0.14%        313.63    0.14%      123.17          982.00     0.50%          -545.20     Total Supplemental Pay                   4,582.26    0.17%       4,311.91      0.24%        270.35      36,582.21     2.08%    -31,999.95
         1,401.66      0.45%      1,472.33    0.67%      -70.67            0.00     0.00%         1,401.66    Worker's Compensation                    13,251.13    0.49%      14,087.32      0.77%       -836.19           0.00     0.00%     13,251.13
         1,712.42      0.55%        787.50    0.36%      924.92        2,203.43     1.12%          -491.01    Group Insurance                          14,192.79    0.53%       7,612.50      0.42%      6,580.29      20,343.64     1.16%     -6,150.85
             0.00      0.00%          0.00    0.00%        0.00            0.00     0.00%             0.00    Bonus and Incentive Pay                       0.00    0.00%           0.00      0.00%          0.00       2,975.00     0.17%     -2,975.00
        3,114.08      1.00%      2,259.83    1.02%      854.25        2,203.43     1.12%           910.65     Total Other Benefits                    27,443.92    1.02%      21,699.82      1.19%      5,744.10      23,318.64     1.33%      4,125.28

        5,675.70      1.82%      4,583.65    2.08%     1,092.05       4,754.41     2.41%           921.29     Total Rooms PR Taxes and Benefits       53,225.10    1.98%      47,480.84      2.61%      5,744.26      75,150.23     4.27%    -21,925.13

       32,056.27     10.29%     29,513.38    13.38%    2,542.89      26,362.07     13.34%         5,694.20    Total Rooms Labor Costs                308,342.19    11.49%    279,515.97    15.37%      28,826.22     254,711.35     14.48%    53,630.84

                                                                                                              Other Expenses
         6,491.78     2.08%      2,872.50     1.30%     3,619.28       1,922.09     0.97%         4,569.69    Breakfast /Comp Cost                     58,768.65    2.19%      25,525.50     1.40%     33,243.15       31,766.75     1.81%    27,001.90
         1,530.06     0.49%        612.80     0.28%       917.26         563.60     0.29%           966.46    Cleaning Supplies                         8,540.46    0.32%       5,445.44     0.30%      3,095.02        6,176.74     0.35%     2,363.72
            90.00     0.03%          0.00     0.00%        90.00           0.00     0.00%            90.00    Communication Expense                       450.00    0.02%           0.00     0.00%        450.00            0.00     0.00%       450.00
            54.57     0.02%         55.00     0.02%        -0.43           0.00     0.00%            54.57    Dues and Subscriptions                      436.56    0.02%       1,418.00     0.08%       -981.44            0.00     0.00%       436.56
         1,136.85     0.37%      2,298.00     1.04%    -1,161.15       1,229.29     0.62%           -92.44    Guest Supplies                           16,665.21    0.62%      20,420.40     1.12%     -3,755.19       15,171.00     0.86%     1,494.21
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00    In-House Entertainment                      109.14    0.00%           0.00     0.00%        109.14            0.00     0.00%       109.14
             0.00     0.00%          0.00     0.00%         0.00         308.00     0.16%          -308.00    Internet/Web Expense                          0.00    0.00%           0.00     0.00%          0.00        2,982.52     0.17%    -2,982.52
           733.63     0.24%        670.25     0.30%        63.38           0.00     0.00%           733.63    Laundry                                   8,781.75    0.33%       5,955.95     0.33%      2,825.80          442.61     0.03%     8,339.14
           888.45     0.29%      1,053.25     0.48%      -164.80         828.90     0.42%            59.55    Linen                                     6,363.31    0.24%       9,359.35     0.51%     -2,996.04        5,229.77     0.30%     1,133.54
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00    Newspaper                                     0.00    0.00%           0.00     0.00%          0.00          504.90     0.03%      -504.90
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00    Office Equipment                            220.99    0.01%           0.00     0.00%        220.99            0.00     0.00%       220.99
         2,389.72     0.77%          0.00     0.00%     2,389.72         191.27     0.10%         2,198.45    Operating Supplies                        2,389.72    0.09%           0.00     0.00%      2,389.72        1,585.01     0.09%       804.71
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00    Printing and Stationery                     312.37    0.01%           0.00     0.00%        312.37            0.00     0.00%       312.37
             0.00     0.00%          0.00     0.00%         0.00         843.66     0.43%          -843.66    Reservation Expense                           0.00    0.00%           0.00     0.00%          0.00        7,557.74     0.43%    -7,557.74
         1,606.46     0.52%      1,568.00     0.71%        38.46       1,564.08     0.79%            42.38    Television Cable                         15,479.50    0.58%      15,680.00     0.86%       -200.50       15,378.66     0.87%       100.84
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%             0.00    Travel Agent Comm - Group Rooms             176.30    0.01%           0.00     0.00%        176.30            0.00     0.00%       176.30
         6,610.25     2.12%      5,013.54     2.27%     1,596.71       1,961.69     0.99%         4,648.56    Travel Agent Comm - Transient Rooms      43,532.65    1.62%      43,425.42     2.39%        107.23       22,848.47     1.30%    20,684.18
           637.69     0.20%         75.00     0.03%       562.69           0.00     0.00%           637.69    Uniforms                                    906.10    0.03%         750.00     0.04%        156.10            0.00     0.00%       906.10

       22,169.46      7.12%     14,218.34    6.45%     7,951.12       9,412.58     4.76%         12,756.88    Total Rooms Other Expenses             163,132.71    6.08%     127,980.06      7.04%     35,152.65     109,644.17     6.24%     53,488.54

       54,225.73     17.41%     43,731.72    19.83%   10,494.01      35,774.65     18.11%        18,451.08    Total Rooms Expenses                   471,474.90    17.58%    407,496.03    22.41%      63,978.87     364,355.52     20.72%   107,119.38

      257,222.11     82.59%    176,827.28    80.17%   80,394.83     161,768.85     81.89%        95,453.26    Total Rooms Profit (Loss)             2,210,967.60   82.42%   1,411,190.62   77.59%     799,776.98    1,394,113.49    79.28%   816,854.11




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                                                                                                     As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year   %              Variance                                                        YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                                 Room Sale Stats
                                                                                                 Tranisent Rooms
            50.00                0.00         50.00           15.00                     35.00    Room Stat - Corporate Transient                    496.00            11.00        485.00         296.00           200.00
             0.00                0.00          0.00            0.00                      0.00    Room Stat - Advanced Purchase                       54.00             0.00         54.00           0.00            54.00
            65.00                0.00         65.00            0.00                     65.00    Room Stat - AAA/AARP Transient                   2,569.00             0.00      2,569.00           0.00         2,569.00
            34.00                0.00         34.00            0.00                     34.00    Room Stat - FIT(Flexible Independent Travel)       206.00            14.00        192.00           0.00           206.00
             6.00                0.00          6.00            0.00                      6.00    Room Stat - Consortia Rate Transient               119.00            14.00        105.00           0.00           119.00
            50.00                0.00         50.00            0.00                     50.00    Room Stat - Employee                               430.00             0.00        430.00           0.00           430.00
             0.00                0.00          0.00            0.00                      0.00    Room Stat - Leisure Transient                       20.00             0.00         20.00           0.00            20.00
            78.00                0.00         78.00            0.00                     78.00    Room Stat - Package Transient                      583.00           708.00       -125.00           0.00           583.00
            77.00                0.00         77.00            0.00                     77.00    Room Stat - Member Reward Stay                     544.00             0.00        544.00           0.00           544.00
             0.00                0.00          0.00          373.00                   -373.00    Room Stat - Extended Stay Transient                  0.00             0.00          0.00       5,041.00        -5,041.00
           201.00              678.00       -477.00            0.00                    201.00    Room Stat - Internet                             1,689.00         6,125.00     -4,436.00           0.00         1,689.00
             0.00                0.00          0.00            0.00                      0.00    Room Stat - Other Transient                      2,129.00             0.00      2,129.00           0.00         2,129.00
             0.00                0.00          0.00            0.00                      0.00    Room Stat - E-Commerce Opaque                        9.00             0.00          9.00           0.00             9.00
            76.00               52.00         24.00           63.00                     13.00    Room Stat - Government Rate Transient              721.00           434.00        287.00         640.00            81.00
           648.00              420.00        228.00          281.00                    367.00    Room Stat - Rack Rate Transient                  4,117.00         3,867.00        250.00       3,269.00           848.00
           589.00              415.00        174.00          514.00                     75.00    Room Stat - Local Negotiated Transient           5,695.00         4,495.00      1,200.00       4,032.00         1,663.00
        1,874.00            1,565.00        309.00        1,246.00                    628.00     Total Transient Rooms Sold                     19,381.00        15,668.00      3,713.00      13,278.00         6,103.00

                                                                                                 Group Rooms
             2.00                0.00           2.00         667.00                    -665.00   Room Stat - Corporate Group Rooms                  173.00             0.00       173.00        1,608.00        -1,435.00
           225.00              350.00        -125.00           0.00                     225.00   Room Stat - SMERF Group                          1,295.00         1,349.00       -54.00            0.00         1,295.00
          227.00              350.00        -123.00         667.00                    -440.00    Total Group Rooms Sold                          1,468.00         1,349.00       119.00        1,608.00          -140.00

                                                                                                 Contract Rooms
             0.00               0.00           0.00            0.00                      0.00    Total Contract Rooms Sold                           0.00             0.00          0.00            0.00            0.00

        2,101.00            1,915.00        186.00        1,913.00                    188.00     Total Rooms Sold                               20,849.00        17,017.00      3,832.00      14,886.00         5,963.00
            0.00                0.00          0.00             0.00                      0.00    Room Stat-Comp Rooms                                 3.00            0.00           3.00           5.00            -2.00
        2,101.00            1,915.00        186.00        1,913.00                    188.00     Total Rooms Occupied                           20,852.00        17,017.00      3,835.00      14,891.00         5,961.00
           31.00                0.00         31.00           147.00                   -116.00    Room Stat-Out of Order                             611.00            0.00         611.00         628.00           -17.00

                                                                                                 ADR
           127.12                0.00        127.12          118.76                      8.37    Corporate Transient ADR                            127.60           109.55        18.05          122.48            5.12
             0.00                0.00          0.00            0.00                      0.00    Advanced Purchase ADR                              149.06             0.00       149.06            0.00          149.06
           164.47                0.00        164.47            0.00                    164.47    AAA/AARP ADR                                       138.38             0.00       138.38            0.00          138.38
           148.21                0.00        148.21            0.00                    148.21    FIT ADR                                            131.07            92.16        38.91            0.00          131.07
           135.65                0.00        135.65            0.00                    135.65    Consortia ADR                                      155.94           101.15        54.79            0.00          155.94
            42.52                0.00         42.52            0.00                     42.52    Employee ADR                                        52.29             0.00        52.29            0.00           52.29
             0.00                0.00          0.00            0.00                      0.00    Leisure ADR                                          9.20             0.00         9.20            0.00            9.20
             0.00                0.00          0.00            0.00                      0.00    Travel Agent/Friends & Family ADR                    0.00             0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                      0.00    Leisure Package ADR                              4,424.58             0.00     4,424.58            0.00        4,424.58
           110.87                0.00        110.87            0.00                    110.87    Member Reward Stay ADR                              93.09             0.00        93.09            0.00           93.09
             0.00                0.00          0.00            0.00                      0.00    Golf Pkg ADR                                         0.00             0.00         0.00            0.00            0.00
             0.00                0.00          0.00          108.03                   -108.03    Extended Stay ADR                                    0.00             0.00         0.00          109.44         -109.44
           173.58              105.64         67.95            0.00                    173.58    Internet ADR                                       146.54           101.28        45.26            0.00          146.54
             0.00                0.00          0.00            0.00                      0.00    E-Commerce Opaque ADR                              114.32             0.00       114.32            0.00          114.32
             0.00                0.00          0.00            0.00                      0.00    Other Transient ADR                                103.78             0.00       103.78            0.00          103.78
             0.00                0.00          0.00            0.00                      0.00    Airline Distressed Passenger ADR                     0.00             0.00         0.00            0.00            0.00
           128.21              102.92         25.29            0.00                    128.21    Government ADR                                     111.83            99.36        12.46            0.00          111.83
           178.11              126.86         51.25          134.36                     43.75    Rack ADR                                           162.53           121.26        41.26          143.86           18.66
           125.03              100.37         24.66           96.42                     28.62    Local Negotiated ADR                               110.37           100.48         9.89          109.96            0.41
          149.09              109.85          39.25         103.84                      45.25    Total Transient ADR                               128.06           105.25         22.81         113.09            14.97

           129.00                0.00        129.00           92.32                     36.68    Corporate Group ADR                               128.66              0.00       128.66          119.13            9.53
             0.00                0.00          0.00            0.00                      0.00    Leisure Group ADR                                   0.00              0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                      0.00    Government Group ADR                                0.00              0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                      0.00    Tour & Travel Group ADR                             0.00              0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                      0.00    Association Group ADR                               0.00              0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                      0.00    City Wide Group ADR                                 0.00              0.00         0.00            0.00            0.00
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                                                                           Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                     As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year   %              Variance                                          YTD       %   YTD Budget %   Variance   YTD Last Year   %   Variance

           139.29              139.00          0.29           0.00                     139.29    SMERF Group ADR                      134.36              125.75        8.61           0.00          134.36
             0.00                0.00          0.00           0.00                       0.00    Sports Group ADR                       0.00                0.00        0.00           0.00            0.00
             0.00                0.00          0.00           0.00                       0.00    Other Group ADR                        0.00                0.00        0.00           0.00            0.00
          139.20              139.00           0.20         102.18                      37.02    Total Group ADR                     133.69              125.75         7.94         160.59          -26.90

             0.00               0.00           0.00            0.00                      0.00    Airline Crew ADR                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Other Contract ADR                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Contract ADR                    0.00                0.00         0.00            0.00           0.00

          148.24              115.17          33.06         103.26                      44.97    Total ADR                           128.66              106.87        21.79         118.13           10.53




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                                                                                    Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                             YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          F&B Summary
                                                                                                          Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Outlet Food Revenue                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Banquet and Catering Food Revenue        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Outlet Beverage Revenue                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Banquet and Catering Beverage Revenue    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Outlet Other Revenue                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Banquet and Catering Other Revenue       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total F&B Revenue                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Food Purchases                          49.23     0.00%        0.00       0.00%     49.23            0.00     0.00%     49.23
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Beverage Purchases                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Cedit Employee Meals                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Credit House Charges                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Credit In-House Promotions               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Audio Visual Cost of Sales               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Other Cost of Sales                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total F&B Cost of Sales                 49.23    0.00%         0.00      0.00%      49.23            0.00    0.00%      49.23

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    F&B Gross Profit                        -49.23   0.00%         0.00      0.00%     -49.23            0.00    0.00%     -49.23

                                                                                                          Expenses
                                                                                                          Payroll
                                                                                                          Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Management                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Non-Management                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total F&B Salaries and Wages             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Payroll Taxes                            0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Supplemental Pay                         0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Other Benefits                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total F&B PR Taxes and Benefits          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total F&B Payroll                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Audio Visual Supplies                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Banquet Expense                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Bar Expense/Promos                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Bar Supplies                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    China                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Cleaning Supplies                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Communication Expense                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Contract Cleaning                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Contract Labor                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Decorations & Plants                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Dues and Subscriptions                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Equipment Rental                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Food and Beverage Advertising             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Glassware                                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Guest Loss/Damage                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Guest Supplies                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    In-House Entertainment                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Kitchen/Cooking Fuel                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Kitchen Equipment                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Laundry - Outside Expense                 0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Laundry Allocation                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Licenses/Permits                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Linen                                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Linen Rental                              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                    Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                          YTD       %    YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Maintenance Contracts                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Meals and Entertainment               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Menus                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Miscellaneous Expense                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Music and Entertainment               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Office Equipment                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Office Supplies                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Operating Supplies                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Paper/Plastic Supplies                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Printing and Stationery               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Silverware                            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Software Expense/Maintenance          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Television Cable                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Training                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Travel                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Uniforms                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Utensils                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total F&B Other Expenses              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total F&B Expenses                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total F&B Profit (Loss)             -49.23   0.00%         0.00      0.00%     -49.23            0.00    0.00%     -49.23




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                                                                           Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                P&L - Dual Summary Pages
                                                                                                     As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year   %              Variance                                          YTD       %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                                 F&B Stats
                                                                                                 Restaurant 1
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 1 Covers             0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 1 Avg Check                0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 2
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 2 Covers             0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 2 Avg Check                0.00                0.00         0.00            0.00           0.00

                                                                                                 Room Service
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Room Service Covers             0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Room Service Avg Check                0.00                0.00         0.00            0.00           0.00

                                                                                                 Banquets
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Banquets Covers                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Banquets Avg Check                    0.00                0.00         0.00            0.00           0.00

                                                                                                 Catering
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Catering Covers                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Catering Avg Check                    0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 3
             0.00                0.00          0.00            0.00                      0.00    Breakfast Avg Check                   0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Lunch Avg Check                       0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Dinner Avg Check                      0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Brunch Avg Check                      0.00                 0.00        0.00            0.00           0.00
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             PTD      %    PTD Budget   %   Variance   PTD Last Year   %              Variance                                          YTD       %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 3 Covers             0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 3 Avg Check                0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 4
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 4 Covers             0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 4 Avg Check                0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 5
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 5 Covers             0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 5 Avg Check                0.00                0.00         0.00            0.00           0.00

                                                                                                 Bar 1
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Bar 1 Covers                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Bar 1 Avg Check                       0.00                0.00         0.00            0.00           0.00

                                                                                                 Bar 2
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Bar 2 Covers                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Bar 2 Avg Check                       0.00                0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                      0.00    Total Covers                          0.00                0.00         0.00            0.00           0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                             YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%             0.00    Food Purchases                           49.23   0.00%         0.00     0.00%     49.23            0.00    0.00%     49.23

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Cost of Sales           49.23   0.00%        0.00      0.00%     49.23            0.00    0.00%     49.23

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Management               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Non-Management           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Salaries and Wages       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin PR Taxes and Benefits    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Payroll                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Other Expenses           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Expenses                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Departmental Costs                       49.23   0.00%        0.00      0.00%     49.23            0.00    0.00%     49.23




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                          YTD       %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%             0.00    Less Adjustments                      0.00       0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Revenue          0.00   0.00%            0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Cost of Sales    0.00   0.00%            0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Other Expenses   0.00   0.00%            0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Expenses         0.00   0.00%            0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Departmental Costs                    0.00   0.00%            0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Room Service
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                          YTD       %    YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Banquets
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Banquets Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Food Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Banquets Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Beverage Revenue       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Other Revenue          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Revenue                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Cost of Sales          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Gross Profit                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Management             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Non-Management         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                      0.00    Total Banquets Salaries and Wages     0.00                 0.00                  0.00            0.00                0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                      0.00    Total Banquet Benefits                0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Payroll                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Other Expenses         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Banquets Profit (Loss)          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                          YTD       %     YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Catering
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Catering Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Catering Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Catering Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Catering Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 3
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 4
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 5
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                          YTD       %    YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Bar 1 Food Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Food Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Bar 1 Beverage Revenue                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Beverage Revenue          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Other Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Cost of Sales             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Gross Profit                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Non-Management            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Salaries and Wages        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 PR Taxes and Benefits     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Payroll                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Other Expenses            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Expenses                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 1 Profit (Loss)             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                          YTD       %    YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Bar 2 Food Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Food Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Bar 2 Beverage Revenue                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Beverage Revenue          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Other Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Cost of Sales             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Gross Profit                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expenses
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Non-Management            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Salaries and Wages        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Payroll Taxes                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Supplemental Pay                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Other Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 PR Taxes and Benefits     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Payroll                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Other Expenses            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Expenses                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Bar 2 Profit (Loss)             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                           YTD      %        YTD Budget %             Variance   YTD Last Year     %        Variance

                                                                                                          Telephone
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%             0.00    Local and Long Distance Revenue       354.53   100.00%          0.00     0.00%       354.53         194.07    100.00%      160.46

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Telephone Revenue                    354.53    100.00%         0.00      0.00%      354.53         194.07 100.00%         160.46
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%            0.00    Less: Adjustments                      0.00       0.00%        0.00       0.00%       0.00           0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%             0.00    Total Telephone Revenue              354.53    100.00%         0.00      0.00%      354.53         194.07 100.00%         160.46

                                                                                                          Cost of Sales
           621.90      0.00%       630.00    0.00%      -8.10         639.14     0.00%           -17.24   Cost of Sales - Local Calls         6,374.37 1,797.98%      6,300.00      0.00%       74.37       6,261.24 3,226.28%       113.13
            16.43      0.00%        20.00    0.00%      -3.57          12.00     0.00%             4.43   Cost of Sales - Long Distance         129.02    36.39%        200.00      0.00%      -70.98         127.70    65.80%         1.32
          638.33      0.00%       650.00    0.00%     -11.67         651.14     0.00%           -12.81    Total Telephone Cost of Sales      6,503.39 1,834.37%      6,500.00      0.00%         3.39      6,388.943,292.08%        114.45

         -638.33      0.00%      -650.00    0.00%      11.67        -651.14     0.00%            12.81    Gross Profit                       -6,148.86 -1,734.37%    -6,500.00     0.00%      351.14      -6,194.87
                                                                                                                                                                                                                  -3,192.08%         46.01

                                                                                                          Other Expenses
         1,434.77      0.00%     1,100.00    0.00%    334.77        1,100.00     0.00%          334.77    Internet/Web Expense               14,146.50 3,990.21%     11,000.00      0.00%    3,146.50      11,100.00 5,719.59%     3,046.50
             0.00      0.00%         0.00    0.00%      0.00          100.00     0.00%         -100.00    Miscellaneous Expense                   0.00     0.00%          0.00      0.00%        0.00         950.00 489.51%        -950.00
             0.00      0.00%         0.00    0.00%      0.00            0.00     0.00%            0.00    Operating Supplies                      0.00     0.00%          0.00      0.00%        0.00         267.50 137.84%        -267.50
             0.00      0.00%         0.00    0.00%      0.00            0.00     0.00%            0.00    Telephone Equipment                   225.00    63.46%          0.00      0.00%      225.00           0.00     0.00%       225.00
        1,434.77      0.00%     1,100.00    0.00%    334.77        1,200.00     0.00%          234.77     Total Telephone Other Expenses    14,371.50 4,053.68%     11,000.00      0.00%    3,371.50      12,317.506,346.94%      2,054.00

       -2,073.10      0.00%    -1,750.00    0.00%    -323.10      -1,851.14     0.00%          -221.96    Total Telephone Profit (Loss)     -20,520.36 -5,788.05%   -17,500.00     0.00%    -3,020.36    -18,512.37
                                                                                                                                                                                                                  -9,539.02%      -2,007.99




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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %              Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                               Minor Operating
                                                                                                               Income
         4,920.00     60.00%         0.00      0.00%    4,920.00       1,740.19     41.88%          3,179.81   Rental Income - Other                        15,695.00    35.46%         0.00   0.00%      15,695.00      13,700.47     35.58%     1,994.53
        4,920.00     60.00%          0.00     0.00%    4,920.00       1,740.19     41.88%          3,179.81    Total Rental Income                         15,695.00    35.46%          0.00  0.00%      15,695.00      13,700.47     35.58%     1,994.53
             0.00      0.00%         0.00      0.00%        0.00         308.56      7.43%           -308.56   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00   0.00%           0.00       1,688.78      4.39%    -1,688.78
           178.00      2.17%         0.00      0.00%      178.00           0.00      0.00%            178.00   Vending Commissions Other                     2,222.00     5.02%         0.00   0.00%       2,222.00           0.00      0.00%     2,222.00
          178.00      2.17%          0.00     0.00%      178.00         308.56      7.43%           -130.56    Total Vending Commission Income              2,222.00     5.02%          0.00  0.00%       2,222.00       1,688.78      4.39%       533.22
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%              0.00   Cancellation Fee - Rooms                          0.00     0.00%         0.00   0.00%           0.00       7,389.06     19.19%    -7,389.06
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%               0.00   Total Cancellation Fee Income                     0.00    0.00%          0.00  0.00%            0.00      7,389.06     19.19%    -7,389.06
            60.00      0.73%       150.00      6.98%      -90.00           0.00      0.00%             60.00   Guest Laundry                                 2,159.00     4.88%     1,500.00   6.98%         659.00         175.88      0.46%     1,983.12
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%              0.00   Cash Discounts                                    0.00     0.00%         0.00   0.00%           0.00         330.00      0.86%      -330.00
            34.65      0.42%         0.00      0.00%       34.65          44.55      1.07%             -9.90   Internet Access                                 752.40     1.70%         0.00   0.00%         752.40         509.85      1.32%       242.55
           971.40     11.85%         0.00      0.00%      971.40         750.00     18.05%            221.40   Other Revenue 2                               2,708.01     6.12%         0.00   0.00%       2,708.01       1,114.50      2.89%     1,593.51
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%              0.00   Other Revenue 3                                   0.00     0.00%         0.00   0.00%           0.00         250.00      0.65%      -250.00
         2,035.60     24.83%     2,000.00     93.02%       35.60       1,311.61     31.57%            723.99   Gift Shop Sales                              20,422.54    46.14%    20,000.00  93.02%         422.54      12,845.46     33.36%     7,577.08
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%              0.00   Pet Fees                                        300.00     0.68%         0.00   0.00%         300.00         500.00      1.30%      -200.00
        3,101.65     37.83%     2,150.00    100.00%      951.65       2,106.16     50.69%            995.49    Total Other Income                          26,341.95    59.52%    21,500.00 100.00%       4,841.95      15,725.69     40.84%    10,616.26

        8,199.65    100.00%     2,150.00    100.00%    6,049.65       4,154.91     100.00%         4,044.74    Total Minor Operating Income                44,258.95    100.00%   21,500.00 100.00%      22,758.95      38,504.00 100.00%        5,754.95

                                                                                                               Cost of Sales
             0.00      0.00%       102.00      4.74%     -102.00           0.00      0.00%              0.00   Cost of Sales - Guest Laundry                     0.00     0.00%     1,020.00     4.74%    -1,020.00           0.00      0.00%         0.00
           395.16      4.82%     1,000.00     46.51%     -604.84         599.21     14.42%           -204.05   Cost of Sales - Gift Shop                     7,412.56    16.75%    10,000.00    46.51%    -2,587.44       3,688.33      9.58%     3,724.23
          395.16      4.82%     1,102.00     51.26%     -706.84         599.21     14.42%           -204.05    Total Minor Operated Cost of Sales           7,412.56    16.75%    11,020.00    51.26%    -3,607.44       3,688.33      9.58%     3,724.23

        7,804.49     95.18%     1,048.00     48.74%    6,756.49       3,555.70     85.58%          4,248.79    Total Minor Operated Profit (Loss)          36,846.39    83.25%    10,480.00    48.74%    26,366.39      34,815.67     90.42%     2,030.72




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                          YTD       %   YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Revenue                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Non-Management           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Salaries and Wages       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade PR Taxes and Benefits    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Payroll                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Other Expenses           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Expenses                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Profit (Loss)            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                           YTD      %     YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %        Variance   PTD Last Year    %              Variance                                                    YTD     %       YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                           Franchise Fees
         1,951.57     0.61%     1,156.36    0.52%      795.21           0.00     0.00%          1,951.57   Franchise Fees - IT Fees                    14,684.09    0.54%    11,563.60     0.63%      3,120.49           0.00     0.00%    14,684.09
        18,730.86     5.86%    13,233.54    5.94%    5,497.32      11,979.80     5.94%          6,751.06   Franchise Fees - Royalty & Licenses        161,071.76    5.91%   109,121.20     5.93%     51,950.56     105,719.15     5.88%    55,352.61
             0.00     0.00%         0.00    0.00%        0.00           0.00     0.00%              0.00   Franchise Fees - Other                       2,854.41    0.10%         0.00     0.00%      2,854.41           0.00     0.00%     2,854.41
         2,360.21     0.74%     2,393.75    1.07%      -33.54       5,515.97     2.73%         -3,155.76   Franchise Fees - Frequent Guest             79,756.26    2.92%    21,271.25     1.16%     58,485.01      55,157.04     3.07%    24,599.22
        12,487.27     3.91%     8,822.36    3.96%    3,664.91       7,986.55     3.96%          4,500.72   Franchise Fees - Marketing Contributions   107,381.21    3.94%    72,747.47     3.95%     34,633.74      70,478.99     3.92%    36,902.22
           162.39     0.05%     2,205.59    0.99%   -2,043.20           0.00     0.00%            162.39   Franchise Fees - Reservations-Central        1,163.00    0.04%    18,186.87     0.99%    -17,023.87           0.00     0.00%     1,163.00

       35,692.30     11.17%   27,811.60    12.49%   7,880.70      25,482.32     12.63%        10,209.98    Total Franchise Fees                       366,910.73   13.45%   232,890.39   12.66%    134,020.34     231,355.18     12.87%   135,555.55




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             PTD      %        PTD Budget   %         Variance   PTD Last Year   %              Variance                                            YTD     %       YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         5,046.60      1.58%     5,765.74    2.59%     -719.14       5,813.95     2.88%          -767.35   Management- A&G                     56,049.82    2.06%     56,258.44     3.06%      -208.62      51,726.84      2.88%      4,322.98
        5,046.60      1.58%     5,765.74    2.59%     -719.14       5,813.95     2.88%          -767.35    Total A&G Management               56,049.82    2.06%     56,258.44     3.06%      -208.62      51,726.84      2.88%      4,322.98
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%              0.00   Total A&G Non-Management                 0.00   0.00%           0.00    0.00%          0.00           0.00     0.00%           0.00
        5,046.60      1.58%     5,765.74    2.59%     -719.14       5,813.95     2.88%          -767.35    Total A&G Salaries and Wages       56,049.82    2.06%     56,258.44     3.06%      -208.62      51,726.84      2.88%      4,322.98
                                                                                                           PR Taxes and Benefits
           461.90      0.14%       458.35    0.21%       3.55          422.58     0.21%            39.32   FICA                                 4,295.13    0.16%      4,547.33     0.25%      -252.20       4,349.85      0.24%        -54.72
             4.30      0.00%         2.52    0.00%       1.78            0.00     0.00%             4.30   Federal Unemployment Tax               124.70    0.00%         94.64     0.01%        30.06           0.00      0.00%        124.70
            19.33      0.01%        16.18    0.01%       3.15            0.00     0.00%            19.33   State Unemployment Tax                 561.23    0.02%        776.83     0.04%      -215.60           0.00      0.00%        561.23
          485.53      0.15%       477.05    0.21%        8.48         422.58     0.21%             62.95   Total Payroll Taxes                 4,981.06    0.18%      5,418.80     0.29%      -437.74       4,349.85      0.24%        631.21
             0.00      0.00%         0.00    0.00%       0.00            0.00     0.00%             0.00   Holiday                                  0.00    0.00%        800.00     0.04%      -800.00       1,289.44      0.07%     -1,289.44
           805.92      0.25%       225.74    0.10%     580.18          268.63     0.13%           537.29   Vacation                             1,880.48    0.07%      2,383.83     0.13%      -503.35      12,454.48      0.69%    -10,574.00
          805.92      0.25%       225.74    0.10%     580.18          268.63     0.13%           537.29    Total Supplemental Pay              1,880.48    0.07%      3,183.83     0.17%    -1,303.35      13,743.92      0.76%    -11,863.44
           286.18      0.09%       349.40    0.16%     -63.22          955.00     0.47%          -668.82   Worker's Compensation                3,272.51    0.12%      3,550.48     0.19%      -277.97       9,317.00      0.52%     -6,044.49
           439.45      0.14%       315.00    0.14%     124.45          866.36     0.43%          -426.91   Group Insurance                      4,741.80    0.17%      3,045.00     0.17%     1,696.80       8,404.76      0.47%     -3,662.96
             0.00      0.00%         0.00    0.00%       0.00            0.00     0.00%             0.00   Bonus and Incentive Pay                  0.00    0.00%          0.00     0.00%         0.00       4,609.73      0.26%     -4,609.73
          725.63      0.23%       664.40    0.30%       61.23       1,821.36     0.90%        -1,095.73    Total Other Benefits                8,014.31    0.29%      6,595.48     0.36%     1,418.83      22,331.49      1.24%    -14,317.18
        2,017.08      0.63%     1,367.19    0.61%     649.89        2,512.57     1.25%          -495.49    Total A&G PR Taxes and Benefits    14,875.85    0.55%     15,198.11     0.83%      -322.26      40,425.26      2.25%    -25,549.41
        7,063.68      2.21%     7,132.93    3.20%     -69.25        8,326.52     4.13%        -1,262.84    Total A&G Payroll                  70,925.67    2.60%     71,456.55     3.88%      -530.88      92,152.10      5.13%    -21,226.43
                                                                                                           Other Expenses
         1,000.00      0.31%     1,000.00    0.45%        0.00       2,000.00     0.99%        -1,000.00   Accounting/Audit Fees               10,000.00    0.37%     10,000.00     0.54%         0.00      20,000.00      1.11%    -10,000.00
             0.00      0.00%         0.00    0.00%        0.00         272.82     0.14%          -272.82   Bad Debt Provision                   1,316.61    0.05%          0.00     0.00%     1,316.61         359.40      0.02%        957.21
           719.33      0.23%     1,075.00    0.48%     -355.67         901.98     0.45%          -182.65   Bank Charges                         8,348.01    0.31%     10,750.00     0.58%    -2,401.99      10,875.29      0.61%     -2,527.28
            27.71      0.01%         0.00    0.00%       27.71           0.00     0.00%            27.71   Cash Over/Short                        -47.95    0.00%          0.00     0.00%       -47.95         -46.57      0.00%         -1.38
           260.00      0.08%       160.00    0.07%      100.00           0.00     0.00%           260.00   Central Office - IT Fees             1,260.00    0.05%      1,600.00     0.09%      -340.00           0.00      0.00%      1,260.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00   Classified Advertising                 190.00    0.01%          0.00     0.00%       190.00           0.00      0.00%        190.00
            75.00      0.02%         0.00    0.00%       75.00           0.00     0.00%            75.00   Communication Expense                  450.00    0.02%          0.00     0.00%       450.00         212.02      0.01%        237.98
         7,975.60      2.50%     6,124.50    2.75%    1,851.10      -1,504.51    -0.75%         9,480.11   Credit Card Commission              63,532.61    2.33%     50,605.14     2.75%    12,927.47      44,605.67      2.48%     18,926.94
           114.60      0.04%       200.00    0.09%      -85.40       1,363.97     0.68%        -1,249.37   Data Processing                      1,031.40    0.04%      2,000.00     0.11%      -968.60      15,295.15      0.85%    -14,263.75
           113.33      0.04%         0.00    0.00%      113.33         120.00     0.06%            -6.67   Dues and Subscriptions               1,109.97    0.04%        240.00     0.01%       869.97       1,246.60      0.07%       -136.63
           257.57      0.08%         0.00    0.00%      257.57          40.41     0.02%           217.16   Employee Relations                   1,085.42    0.04%          0.00     0.00%     1,085.42         456.23      0.03%        629.19
             0.00      0.00%         0.00    0.00%        0.00         126.49     0.06%          -126.49   Equipment Rental                        74.90    0.00%          0.00     0.00%        74.90       1,304.29      0.07%     -1,229.39
             0.00      0.00%         0.00    0.00%        0.00          54.57     0.03%           -54.57   Licenses/Permits                       853.00    0.03%      1,827.00     0.10%      -974.00       3,281.43      0.18%     -2,428.43
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00   Meals and Entertainment                161.38    0.01%          0.00     0.00%       161.38           0.00      0.00%        161.38
            14.84      0.00%         0.00    0.00%       14.84           0.00     0.00%            14.84   Miscellaneous Expense                  -98.92    0.00%          0.00     0.00%       -98.92          37.28      0.00%       -136.20
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00   Office Equipment                       340.25    0.01%          0.00     0.00%       340.25           0.00      0.00%        340.25
           416.77      0.13%         0.00    0.00%      416.77         245.47     0.12%           171.30   Office Supplies                        811.91    0.03%          0.00     0.00%       811.91         487.33      0.03%        324.58
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00   Operating Supplies                      45.18    0.00%          0.00     0.00%        45.18           0.00      0.00%         45.18
           201.64      0.06%       396.00    0.18%     -194.36         263.05     0.13%           -61.41   Payroll Service Fees                 1,364.24    0.05%      3,960.00     0.22%    -2,595.76       3,898.85      0.22%     -2,534.61
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00   Postage                                271.95    0.01%          0.00     0.00%       271.95         372.40      0.02%       -100.45
             0.00      0.00%       150.00    0.07%     -150.00           0.00     0.00%             0.00   Professional Fees - Legal            2,794.66    0.10%      1,500.00     0.08%     1,294.66           0.00      0.00%      2,794.66
             0.00      0.00%       500.00    0.22%     -500.00           0.00     0.00%             0.00   Professional Fees - Other            5,354.23    0.20%      5,000.00     0.27%       354.23       6,456.00      0.36%     -1,101.77
           150.00      0.05%         0.00    0.00%      150.00           0.00     0.00%           150.00   Recruitment Advertising                300.00    0.01%          0.00     0.00%       300.00       1,371.62      0.08%     -1,071.62
             0.00      0.00%         0.00    0.00%        0.00         122.98     0.06%          -122.98   Recruitment - Other                    896.75    0.03%          0.00     0.00%       896.75         840.28      0.05%         56.47
           529.69      0.17%       520.70    0.23%        8.99           0.00     0.00%           529.69   Software Expense/Maintenance        11,251.90    0.41%      6,157.00     0.33%     5,094.90           0.00      0.00%     11,251.90
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00   Training                                85.00    0.00%          0.00     0.00%        85.00         470.25      0.03%       -385.25
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00   Travel                                 519.05    0.02%          0.00     0.00%       519.05         341.95      0.02%        177.10
       11,856.08      3.71%    10,126.20    4.55%    1,729.88       4,007.23     1.99%         7,848.85    Total A&G Other Expenses          113,301.55    4.15%     93,639.14     5.09%    19,662.41     111,865.47      6.22%      1,436.08
       18,919.76      5.92%    17,259.13    7.75%    1,660.63      12,333.75     6.11%         6,586.01    Total A&G Expenses                184,227.22    6.76%    165,095.69     8.97%    19,131.53     204,017.57     11.35%    -19,790.35




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                                                                                  Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                          YTD       %   YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        IT
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wags
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Management                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Non-Management               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Salaries and Wages           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT PR Taxes and Benefits        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Payroll                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Services
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Cost of Services             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        System Costs
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Systems                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Other Expenses               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Expenses                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                       Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year    %              Variance                                           YTD      %      YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         5,088.53      1.59%         0.00    0.00%    5,088.53        2,540.13     1.26%          2,548.40   Division Management                36,272.58    1.33%         0.00      0.00%    36,272.58      11,686.81     0.65%    24,585.77
         2,515.24      0.79%     4,755.92    2.14%   -2,240.68            0.00     0.00%          2,515.24   Sales Managers                     10,195.96    0.37%    41,584.49      2.26%   -31,388.53           0.00     0.00%    10,195.96
        7,603.77      2.38%     4,755.92    2.14%    2,847.85        2,540.13     1.26%          5,063.64    Total S&M Management              46,468.54    1.70%    41,584.49      2.26%     4,884.05      11,686.81     0.65%    34,781.73
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%               0.00   Total S&M Non-Management                0.00   0.00%          0.00     0.00%          0.00           0.00    0.00%          0.00

        7,603.77      2.38%     4,755.92    2.14%    2,847.85        2,540.13     1.26%          5,063.64    Total S&M Salaries and Wages      46,468.54    1.70%    41,584.49      2.26%     4,884.05      11,686.81     0.65%    34,781.73

                                                                                                             PR Taxes and Benefits
           434.58      0.14%       376.84    0.17%       57.74          277.58     0.14%            157.00   FICA                                3,074.47    0.11%     3,364.55      0.18%      -290.08       1,363.75     0.08%     1,710.72
             3.09      0.00%         2.07    0.00%        1.02            0.00     0.00%              3.09   Federal Unemployment Tax               65.13    0.00%        48.61      0.00%        16.52           0.00     0.00%        65.13
            13.84      0.00%        13.30    0.01%        0.54            0.00     0.00%             13.84   State Unemployment Tax                293.00    0.01%       428.39      0.02%      -135.39           0.00     0.00%       293.00
          451.51      0.14%       392.21    0.18%        59.30         277.58     0.14%            173.93    Total Payroll Taxes                3,432.60    0.13%     3,841.55      0.21%      -408.95       1,363.75     0.08%     2,068.85
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%              0.00   Holiday                               432.32    0.02%       600.00      0.03%      -167.68         201.60     0.01%       230.72
             0.00      0.00%       170.11    0.08%     -170.11          564.48     0.28%           -564.48   Vacation                              240.00    0.01%     1,796.37      0.10%    -1,556.37       2,955.16     0.16%    -2,715.16
             0.00     0.00%       170.11    0.08%     -170.11          564.48     0.28%           -564.48    Total Supplemental Pay               672.32    0.02%     2,396.37      0.13%    -1,724.05       3,156.76     0.18%    -2,484.44
           364.35      0.11%       287.27    0.13%       77.08            0.00     0.00%            364.35   Worker's Compensation               2,754.04    0.10%     2,591.80      0.14%       162.24           0.00     0.00%     2,754.04
           734.21      0.23%       262.50    0.12%      471.71            0.00     0.00%            734.21   Group Insurance                     3,826.34    0.14%     2,537.50      0.14%     1,288.84       3,578.60     0.20%       247.74
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%              0.00   Bonus and Incentive Pay             2,500.00    0.09%         0.00      0.00%     2,500.00       1,178.27     0.07%     1,321.73
        1,098.56      0.34%       549.77    0.25%      548.79             0.00    0.00%          1,098.56    Total Other Benefits               9,080.38    0.33%     5,129.30      0.28%     3,951.08       4,756.87     0.26%     4,323.51
        1,550.07      0.48%     1,112.09    0.50%      437.98          842.06     0.42%            708.01    Total S&M PR Taxes and Benefits   13,185.30    0.48%    11,367.22      0.62%     1,818.08       9,277.38     0.52%     3,907.92

        9,153.84      2.86%     5,868.01    2.63%    3,285.83        3,382.19     1.68%          5,771.65    Total S&M Payroll                 59,653.84    2.19%    52,951.71      2.88%     6,702.13      20,964.19     1.17%    38,689.65

                                                                                                             Other Expenses
           470.80      0.15%         0.00    0.00%       470.80           0.00      0.00%           470.80   Advertising General                 4,235.55    0.16%         0.00      0.00%     4,235.55           0.00     0.00%     4,235.55
             0.00      0.00%       440.00    0.20%      -440.00         462.74      0.23%          -462.74   Advertising-Web/Internet             -533.64   -0.02%     5,435.00      0.30%    -5,968.64       7,056.45     0.39%    -7,590.09
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Communication Expense                   0.00    0.00%         0.00      0.00%         0.00         100.00     0.01%      -100.00
         1,088.00      0.34%     1,143.92    0.51%       -55.92           0.00      0.00%         1,088.00   Dues and Subscriptions             22,100.19    0.81%    14,379.20      0.78%     7,720.99       4,255.51     0.24%    17,844.68
            25.28      0.01%        50.00    0.02%       -24.72           0.00      0.00%            25.28   Meals and Entertainment                25.28    0.00%       500.00      0.03%      -474.72          40.84     0.00%       -15.56
             0.00      0.00%         0.00    0.00%         0.00        -800.19     -0.40%           800.19   Miscellaneous Expense                   0.00    0.00%         0.00      0.00%         0.00        -800.19    -0.04%       800.19
             0.00      0.00%        50.00    0.02%       -50.00           0.00      0.00%             0.00   Office Supplies                       361.68    0.01%       500.00      0.03%      -138.32          24.34     0.00%       337.34
             0.00      0.00%        25.00    0.01%       -25.00           0.00      0.00%             0.00   Printing and Stationery                 0.00    0.00%       250.00      0.01%      -250.00          82.59     0.00%       -82.59
             0.00      0.00%        25.00    0.01%       -25.00           0.00      0.00%             0.00   Promotions - In-house                   0.00    0.00%       250.00      0.01%      -250.00         636.08     0.04%      -636.08
             0.00      0.00%       150.00    0.07%      -150.00           0.00      0.00%             0.00   Promotion - Outside                     0.00    0.00%     1,500.00      0.08%    -1,500.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%             0.00   Software Expense/Maintenance        1,350.00    0.05%     6,436.00      0.35%    -5,086.00           0.00     0.00%     1,350.00
             0.00      0.00%       750.00    0.34%      -750.00           0.00      0.00%             0.00   Training                            4,038.00    0.15%     2,250.00      0.12%     1,788.00          37.27     0.00%     4,000.73
            23.86      0.01%         0.00    0.00%        23.86           0.00      0.00%            23.86   Travel                                 23.86    0.00%         0.00      0.00%        23.86          58.04     0.00%       -34.18
        1,607.94      0.50%     2,633.92    1.18%    -1,025.98        -337.45     -0.17%         1,945.39    Total S&M Other Expenses          31,600.92    1.16%    31,500.20      1.71%       100.72      11,490.93     0.64%    20,109.99

       10,761.78      3.37%     8,501.93    3.82%    2,259.85        3,044.74     1.51%          7,717.04    Total S&M Expenses                91,254.76    3.35%    84,451.91      4.59%     6,802.85      32,455.12     1.81%    58,799.64




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             PTD      %        PTD Budget   %          Variance   PTD Last Year   %              Variance                                               YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                            R&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         3,887.55      1.22%     3,650.39    1.64%       237.16       3,024.99     1.50%          862.56    Division Management                    33,612.53    1.23%     35,618.22     1.94%     -2,005.69      33,094.48     1.84%       518.05
        3,887.55      1.22%     3,650.39    1.64%       237.16       3,024.99     1.50%          862.56     Total R&M Management                  33,612.53    1.23%     35,618.22     1.94%     -2,005.69      33,094.48     1.84%       518.05
             0.00      0.00%     1,913.14    0.86%    -1,913.14           0.00     0.00%            0.00    Engineers 1                                 0.00    0.00%     18,761.13     1.02%    -18,761.13       3,443.10     0.19%    -3,443.10
             0.00     0.00%     1,913.14    0.86%    -1,913.14            0.00    0.00%             0.00    Total R&M Non-Management                    0.00   0.00%     18,761.13     1.02%    -18,761.13       3,443.10     0.19%    -3,443.10

        3,887.55      1.22%     5,563.53    2.50%    -1,675.98       3,024.99     1.50%          862.56     Total R&M Salaries and Wages          33,612.53    1.23%     54,379.35     2.96%    -20,766.82      36,537.58     2.03%    -2,925.05

                                                                                                            PR Taxes and Benefits
           292.43      0.09%       436.54    0.20%     -144.11          250.55     0.12%            41.88   FICA                                    3,138.12    0.12%      4,321.37     0.23%     -1,183.25       2,816.08     0.16%       322.04
             2.72      0.00%         2.40    0.00%        0.32            0.00     0.00%             2.72   Federal Unemployment Tax                   83.98    0.00%         90.00     0.00%         -6.02           0.00     0.00%        83.98
            12.24      0.00%        15.41    0.01%       -3.17            0.00     0.00%            12.24   State Unemployment Tax                    377.87    0.01%        738.94     0.04%       -361.07           0.00     0.00%       377.87
          307.39      0.10%       454.35    0.20%     -146.96          250.55     0.12%             56.84   Total Payroll Taxes                    3,599.97    0.13%      5,150.31     0.28%     -1,550.34       2,816.08     0.16%       783.89
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%             0.00   Holiday                                   340.16    0.01%        600.00     0.03%       -259.84         948.32     0.05%      -608.16
             0.00      0.00%       142.92    0.06%     -142.92          510.24     0.25%          -510.24   Vacation                                  170.08    0.01%      1,509.25     0.08%     -1,339.17       8,264.79     0.46%    -8,094.71
             0.00     0.00%       142.92    0.06%     -142.92          510.24     0.25%          -510.24    Total Supplemental Pay                   510.24    0.02%      2,109.25     0.11%     -1,599.01       9,213.11     0.51%    -8,702.87
           201.31      0.06%       332.78    0.15%     -131.47            0.00     0.00%           201.31   Worker's Compensation                   2,363.07    0.09%      3,374.27     0.18%     -1,011.20           0.00     0.00%     2,363.07
           486.04      0.15%       210.00    0.09%      276.04          927.98     0.46%          -441.94   Group Insurance                        10,458.40    0.38%      2,030.00     0.11%      8,428.40       9,333.87     0.52%     1,124.53
          687.35      0.22%       542.78    0.24%      144.57          927.98     0.46%          -240.63    Total Other Benefits                  12,821.47    0.47%      5,404.27     0.29%      7,417.20       9,333.87     0.52%     3,487.60
          994.74      0.31%     1,140.05    0.51%     -145.31        1,688.77     0.84%          -694.03    Total R&M PR Taxes and Benefits       16,931.68    0.62%     12,663.83     0.69%      4,267.85      21,363.06     1.19%    -4,431.38

        4,882.29      1.53%     6,703.58    3.01%    -1,821.29       4,713.76     2.34%          168.53     Total R&M Payroll                     50,544.21    1.85%     67,043.18     3.64%    -16,498.97      57,900.64     3.22%    -7,356.43

                                                                                                            Other Expenses
           749.90      0.23%       268.10    0.12%      481.80        2,672.86     1.33%        -1,922.96   Air Conditioning and Refrigeration      3,592.74    0.13%      2,382.38     0.13%      1,210.36       5,026.77     0.28%    -1,434.03
           206.12      0.06%       287.25    0.13%      -81.13        5,370.47     2.66%        -5,164.35   Building                                8,708.92    0.32%      2,552.55     0.14%      6,156.37       8,951.50     0.50%      -242.58
             0.00      0.00%        50.00    0.02%      -50.00            0.00     0.00%             0.00   Communication Expense                      90.00    0.00%        500.00     0.03%       -410.00          60.00     0.00%        30.00
            53.50      0.02%       134.05    0.06%      -80.55           18.72     0.01%            34.78   Electric Bulbs                          1,208.31    0.04%      1,191.19     0.06%         17.12         977.98     0.05%       230.33
             0.00      0.00%        76.60    0.03%      -76.60            0.00     0.00%             0.00   Electrical and Mechanical                   0.00    0.00%        680.68     0.04%       -680.68         324.71     0.02%      -324.71
           365.37      0.11%       382.33    0.17%      -16.96            0.00     0.00%           365.37   Elevator Maintenance Contracts         12,088.33    0.44%      3,823.30     0.21%      8,265.03           0.00     0.00%    12,088.33
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%             0.00   Equipment Maintenance                       0.00    0.00%          0.00     0.00%          0.00       3,326.58     0.19%    -3,326.58
             0.00      0.00%       175.00    0.08%     -175.00            0.00     0.00%             0.00   Fire Safety Equipment                   2,137.41    0.08%      3,590.00     0.20%     -1,452.59       2,156.36     0.12%       -18.95
             0.00      0.00%       233.33    0.10%     -233.33            5.86     0.00%            -5.86   Floor and Carpet Maintenance                0.00    0.00%      2,333.30     0.13%     -2,333.30         269.28     0.01%      -269.28
             0.00      0.00%       191.50    0.09%     -191.50         -150.00    -0.07%           150.00   Furniture                                 352.52    0.01%      1,701.70     0.09%     -1,349.18         490.15     0.03%      -137.63
           765.00      0.24%     1,135.83    0.51%     -370.83            0.00     0.00%           765.00   Grounds and Landscaping                 7,557.13    0.28%     10,008.30     0.54%     -2,451.17       4,004.13     0.22%     3,553.00
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%             0.00   Kitchen Equipment Repairs                   0.00    0.00%          0.00     0.00%          0.00          37.54     0.00%       -37.54
            36.82      0.01%         0.00    0.00%       36.82            0.00     0.00%            36.82   Laundry Equipment Repairs                  36.82    0.00%          0.00     0.00%         36.82         242.35     0.01%      -205.53
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%             0.00   Licenses/Permits                          250.00    0.01%          0.00     0.00%        250.00           0.00     0.00%       250.00
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%             0.00   Locks and Keys                            612.38    0.02%          0.00     0.00%        612.38           0.00     0.00%       612.38
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%             0.00   Painting and Decorating                   122.51    0.00%          0.00     0.00%        122.51          70.23     0.00%        52.28
           508.25      0.16%       283.33    0.13%      224.92          177.62     0.09%           330.63   Pest Control                            5,896.73    0.22%      2,833.30     0.15%      3,063.43       2,311.63     0.13%     3,585.10
           180.71      0.06%       191.50    0.09%      -10.79            0.00     0.00%           180.71   Plumbing and Heating                    1,804.72    0.07%      1,701.70     0.09%        103.02         694.56     0.04%     1,110.16
           550.00      0.17%       550.00    0.25%        0.00            0.00     0.00%           550.00   Pool Service- Contract                  4,400.00    0.16%      5,500.00     0.30%     -1,100.00         933.61     0.05%     3,466.39
             0.00      0.00%        87.00    0.04%      -87.00            0.00     0.00%             0.00   Software Expense/Maintenance                0.00    0.00%      1,370.00     0.07%     -1,370.00           0.00     0.00%         0.00
            15.42      0.00%         0.00    0.00%       15.42            0.00     0.00%            15.42   Tools                                      21.48    0.00%          0.00     0.00%         21.48           0.00     0.00%        21.48
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%             0.00   Training                                    0.00    0.00%          0.00     0.00%          0.00         300.00     0.02%      -300.00
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%             0.00   Travel                                    105.61    0.00%          0.00     0.00%        105.61           0.00     0.00%       105.61
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%             0.00   Uniforms                                    0.00    0.00%        150.00     0.01%       -150.00           0.00     0.00%         0.00
           340.04      0.11%       185.05    0.08%      154.99         -103.38    -0.05%           443.42   Waste Removal                           3,012.87    0.11%      1,850.50     0.10%      1,162.37       2,314.45     0.13%       698.42
        3,771.13      1.18%     4,230.87    1.90%     -459.74        7,992.15     3.96%        -4,221.02    Total R&M Other Expenses              51,998.48    1.91%     42,168.90     2.29%      9,829.58      32,491.83     1.81%    19,506.65

        8,653.42      2.71%    10,934.45    4.91%    -2,281.03      12,705.91     6.30%        -4,052.49    Total R&M Expenses                   102,542.69    3.76%    109,212.08     5.93%     -6,669.39      90,392.47     5.03%    12,150.22




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                                                                                    Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
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                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %              Variance                                           YTD      %      YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                          Utilities
           626.69      0.20%     1,069.00    0.48%   -442.31          664.35     0.33%          -37.66    Water                               9,088.95    0.33%    10,671.00      0.58%   -1,582.05       8,825.97     0.49%       262.98
         6,980.19      2.18%     7,096.00    3.19%   -115.81        6,888.76     3.42%           91.43    Electricity                        67,758.26    2.48%    67,289.00      3.66%      469.26      58,639.45     3.26%     9,118.81
         1,393.31      0.44%     1,334.00    0.60%     59.31        1,070.05     0.53%          323.26    Gas - Natural HLP                  12,248.13    0.45%    12,392.00      0.67%     -143.87       9,173.83     0.51%     3,074.30
           516.43      0.16%         0.00    0.00%    516.43            0.00     0.00%          516.43    Sewer                               3,503.49    0.13%         0.00      0.00%    3,503.49           0.00     0.00%     3,503.49
        9,516.62      2.98%     9,499.00    4.27%      17.62       8,623.16     4.28%          893.46     Total Utilities                   92,598.83    3.40%    90,352.00      4.91%    2,246.83      76,639.25     4.26%    15,959.58




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                                                                                       Company: CLFL Associates LLC Property: Hampton Inn & Suites Clermont
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget    %         Variance   PTD Last Year    %              Variance                                           YTD      %      YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                             Fixed
             0.00      0.00%       579.00     0.26%     -579.00         578.86      0.29%          -578.86   Personal Property Taxes             5,844.35    0.21%      5,790.00     0.31%        54.35       6,016.55      0.33%         -172.20
         7,065.84      2.21%     6,842.50     3.07%      223.34       6,842.48      3.39%           223.36   Real Estate Taxes                  70,658.40    2.59%     68,425.00     3.72%     2,233.40      68,424.80      3.81%        2,233.60
        7,065.84      2.21%     7,421.50     3.33%     -355.66       7,421.34      3.68%          -355.50    Total Taxes                       76,502.75    2.81%     74,215.00     4.03%     2,287.75      74,441.35      4.14%        2,061.40
            95.58      0.03%         0.00     0.00%       95.58       3,959.21      1.96%        -3,863.63   Insurance                             286.74    0.01%          0.00     0.00%       286.74      38,361.82      2.13%     -38,075.08
            62.09      0.02%         0.00     0.00%       62.09           0.00      0.00%            62.09   Insurance - Crime                     186.27    0.01%          0.00     0.00%       186.27           0.00      0.00%          186.27
           329.00      0.10%       125.00     0.06%      204.00           0.00      0.00%           329.00   Insurance - Employment              1,429.29    0.05%      1,250.00     0.07%       179.29           0.00      0.00%        1,429.29
         1,314.83      0.41%       913.50     0.41%      401.33           0.00      0.00%         1,314.83   Insurance - General Liability      11,162.71    0.41%      9,135.00     0.50%     2,027.71           0.00      0.00%       11,162.71
         2,818.33      0.88%     2,818.33     1.27%        0.00           0.00      0.00%         2,818.33   Insurance - Property               28,183.33    1.03%     28,183.30     1.53%         0.03           0.00      0.00%       28,183.33
         1,626.92      0.51%     1,580.92     0.71%       46.00           0.00      0.00%         1,626.92   Insurance - Umbrella               15,947.17    0.58%     15,809.20     0.86%       137.97           0.00      0.00%       15,947.17
        6,246.75      1.95%     5,437.75     2.44%      809.00       3,959.21      1.96%         2,287.54    Total Insurance                   57,195.51    2.10%     54,377.50     2.95%     2,818.01      38,361.82      2.13%      18,833.69
             0.00      0.00%       230.00     0.10%     -230.00           0.00      0.00%             0.00   Fixed Leases                            0.00    0.00%      2,300.00     0.12%    -2,300.00           0.00      0.00%            0.00
        26,919.00      8.42%    26,919.00    12.09%        0.00      30,213.73     14.98%        -3,294.73   Ground Lease Expense              262,701.00    9.63%    266,306.00    14.47%    -3,605.00     270,331.38     15.04%       -7,630.38
       26,919.00      8.42%    27,149.00    12.19%     -230.00      30,213.73     14.98%        -3,294.73    Total Leases & Rent              262,701.00    9.63%    268,606.00    14.60%    -5,905.00     270,331.38     15.04%       -7,630.38
        10,089.42      3.16%     6,681.27     3.00%    3,408.15       5,041.00      2.50%         5,048.42   Management Fee - Base              86,805.12    3.18%     55,205.60     3.00%    31,599.52      44,911.00      2.50%       41,894.12
             0.00      0.00%         0.00     0.00%        0.00       3,706.05      1.84%        -3,706.05   Management Fee - Incentive              0.00    0.00%          0.00     0.00%         0.00      10,976.50      0.61%     -10,976.50
       10,089.42      3.16%     6,681.27     3.00%    3,408.15       8,747.05      4.34%         1,342.37    Total Management Fees             86,805.12    3.18%     55,205.60     3.00%    31,599.52      55,887.50      3.11%      30,917.62
             0.00      0.00%       163.13     0.07%     -163.13      10,864.34      5.39%       -10,864.34   Capital Reserve                    66,868.11    2.45%      1,631.30     0.09%    65,236.81     108,643.40      6.05%     -41,775.29
             0.00      0.00%         0.00     0.00%        0.00      54,183.00     26.86%       -54,183.00   (Gain)/Loss-Insurance                   0.00    0.00%          0.00     0.00%         0.00     541,830.00     30.15%    -541,830.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%             0.00   Owner's Expense                       949.17    0.03%          0.00     0.00%       949.17      21,838.25      1.22%     -20,889.08
             0.00      0.00%         0.00     0.00%        0.00       5,187.62      2.57%        -5,187.62   Extraordinary Expense                   0.00    0.00%          0.00     0.00%         0.00       7,935.38      0.44%       -7,935.38
             0.00     0.00%       163.13     0.07%     -163.13      70,234.96     34.82%       -70,234.96    Total Other Non-Operating         67,817.28    2.49%      1,631.30     0.09%    66,185.98     680,247.03     37.85%    -612,429.75




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                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %            Variance                                                        YTD     %          YTD Budget %               Variance   YTD Last Year     %           Variance

                                                                                                               Statistics
            94.00                    94.00                    0.00          94.00                      0.00    # Rooms                                             94.00                    94.00                     0.00          94.00                      0.00
         2,914.00                 2,914.00                    0.00       2,914.00                      0.00    Available Rooms                                 28,576.00                28,576.00                     0.00      28,670.00                    -94.00
         1,406.00                 1,801.00                 -395.00       1,215.00                    191.00    Room Nights Sold                                16,707.00                15,478.27                 1,228.73      11,921.00                  4,786.00
          48.25%                   61.81%                 -13.56%         41.70%                     6.55%     Occupancy %                                       58.47%                   54.17%                    4.30%         41.58%                    16.89%
           110.39                   101.77                    8.61          95.29                     15.10    ADR                                                117.54                   109.23                     8.31         138.54                    -21.00
            53.26                    62.90                   -9.64          39.73                     13.53    RevPar                                              68.72                    59.16                     9.56          57.60                     11.12

                                                                                                               Summary V.11
                                                                                                               Revenue
       155,203.88    95.73%    183,293.80     98.72%   -28,089.92      115,771.61     97.91%       39,432.27   Rooms                                        1,963,688.16    96.53%    1,690,627.60    98.85%    273,060.56    1,651,476.12    98.72%    312,212.04
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   F&B                                                  0.00     0.00%            0.00     0.00%          0.00            0.00     0.00%          0.00
         6,924.73     4.27%      2,376.00      1.28%     4,548.73        2,469.53      2.09%        4,455.20   Other Departments                               70,624.83     3.47%       19,728.41     1.15%     50,896.42       21,429.31     1.28%     49,195.52

      162,128.61    100.00%    185,669.80    100.00%   -23,541.19     118,241.14     100.00%      43,887.47    Total Operating Revenue                     2,034,312.99    100.00%   1,710,356.01 100.00%      323,956.98    1,672,905.43 100.00%      361,407.56

                                                                                                               Departmental Expenses
        59,044.76    38.04%     67,368.50     36.75%     -8,323.74      27,998.90     24.18%       31,045.86   Rooms                                         529,569.34     26.97%     578,753.59     34.23%    -49,184.25     333,342.48     20.18%    196,226.86
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%            0.00   F&B                                               326.07      0.00%           0.00      0.00%        326.07           0.00      0.00%        326.07
         3,955.69    57.12%      3,266.23    137.47%        689.46       2,369.65     95.96%        1,586.04   Other Departments                              38,685.10     54.78%      31,016.76    157.22%      7,668.34      23,026.58    107.45%     15,658.52

       63,000.45     38.86%     70,634.73    38.04%     -7,634.28      30,368.55      25.68%      32,631.90    Total Departmental Expenses                  568,580.51     27.95%     609,770.35     35.65%    -41,189.84     356,369.06     21.30%    212,211.45

       99,128.16     61.14%    115,035.07    61.96%    -15,906.91      87,872.59      74.32%      11,255.57    Total Departmental Profit                   1,465,732.48    72.05%    1,100,585.66    64.35%    365,146.82    1,316,536.37    78.70%    149,196.11

                                                                                                               Undistributed Operating Expenses
        27,963.42    17.25%     20,083.22     10.82%      7,880.20      13,178.42     11.15%       14,785.00   A&G                                           234,674.62     11.54%     201,739.70     11.80%     32,934.92     234,669.10     14.03%          5.52
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%            0.00   IT                                                  0.00      0.00%           0.00      0.00%          0.00           0.00      0.00%          0.00
         2,668.24     1.65%      6,585.54      3.55%     -3,917.30       1,635.51      1.38%        1,032.73   S&M                                            53,681.26      2.64%      69,263.79      4.05%    -15,582.53      26,306.27      1.57%     27,374.99
        23,344.29    14.40%     25,661.13     13.82%     -2,316.84      19,640.57     16.61%        3,703.72   Franchise Fees                                303,037.42     14.90%     236,687.87     13.84%     66,349.55     216,733.36     12.96%     86,304.06
        18,710.53    11.54%     12,556.00      6.76%      6,154.53      10,832.25      9.16%        7,878.28   R&M                                           136,658.18      6.72%     127,903.55      7.48%      8,754.63     107,082.75      6.40%     29,575.43
         8,845.94     5.46%      9,347.19      5.03%       -501.25       7,391.73      6.25%        1,454.21   Utilities                                      86,670.03      4.26%      80,332.91      4.70%      6,337.12      69,790.25      4.17%     16,879.78

       81,532.42     50.29%     74,233.08    39.98%      7,299.34      52,678.48      44.55%      28,853.94    Total Undistributed Expenses                 814,721.51     40.05%     715,927.82     41.86%     98,793.69     654,581.73     39.13%    160,139.78

       17,595.74     10.85%     40,801.99    21.98%    -23,206.25      35,194.11      29.76%     -17,598.37    Gross Operating Profit                    651,010.97        32.00%     384,657.84     22.49%    266,353.13     661,954.64     39.57%     -10,943.67
         5,363.86      3.31%      5,570.09     3.00%       -206.23       6,660.35       5.63%      -1,296.49   Management Fees                             67,054.11         3.30%      54,309.84      3.18%     12,744.27      52,791.53      3.16%      14,262.58
       12,231.88      7.54%     35,231.90    18.98%    -23,000.02      28,533.76      24.13%     -16,301.88    Income Before Non-Operating Income and Expenses
                                                                                                                                                         583,956.86        28.71%     330,348.00     19.31%    253,608.86     609,163.11     36.41%     -25,206.25

                                                                                                               Non-Operating Income and Expenses
         6,954.76      4.29%      6,142.59     3.31%        812.17       4,442.66       3.76%       2,512.10   Insurance                                      64,326.35      3.16%      61,425.90      3.59%      2,900.45      42,896.42      2.56%      21,429.93
        24,271.00     14.97%     24,271.00    13.07%          0.00      27,011.94      22.84%      -2,740.94   Leases & Rent                                 236,860.00     11.64%     236,860.00     13.85%          0.00     242,821.66     14.51%      -5,961.66
           472.00      0.29%          0.00     0.00%        472.00      40,993.36      34.67%     -40,521.36   Other                                           6,601.84      0.32%           0.00      0.00%      6,601.84     435,507.38     26.03%    -428,905.54
       31,697.76     19.55%     30,413.59    16.38%      1,284.17      72,447.96      61.27%     -40,750.20    Total Non-Operating Income and Expenses      307,788.19     15.13%     298,285.90     17.44%      9,502.29     721,225.46     43.11%    -413,437.27

      -19,465.88    -12.01%      4,818.31     2.60%    -24,284.19     -43,914.20     -37.14%      24,448.32    EBITDA                                        276,168.67    13.58%      32,062.10      1.87%    244,106.57    -112,062.35     -6.70%     388,231.02
             0.00      0.00%          0.00     0.00%          0.00      18,916.00      16.00%     -18,916.00   Interest                                             0.00     0.00%           0.00      0.00%          0.00     188,883.06     11.29%    -188,883.06
        10,036.75      6.19%      1,144.92     0.62%      8,891.83       8,392.82       7.10%       1,643.93   Taxes                                           59,999.14     2.95%      11,449.20      0.67%     48,549.94      84,084.85      5.03%     -24,085.71
             0.00      0.00%          0.00     0.00%          0.00       2,035.00       1.72%      -2,035.00   Amortization                                         0.00     0.00%           0.00      0.00%          0.00      20,350.00      1.22%     -20,350.00
       10,036.75      6.19%      1,144.92     0.62%      8,891.83      29,343.82      24.82%     -19,307.07    Interest, Taxes, Depreciation and Amortization 59,999.14     2.95%      11,449.20      0.67%     48,549.94     293,317.91     17.53%    -233,318.77

      -29,502.63    -18.20%      3,673.39     1.98%    -33,176.02     -73,258.02     -61.96%      43,755.39    Net Income                                   216,169.53     10.63%      20,612.90      1.21%    195,556.63    -405,380.26     -24.23%   621,549.79




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             PTD      %       PTD Budget    %          Variance   PTD Last Year     %            Variance                                            YTD     %         YTD Budget %              Variance   YTD Last Year     %         Variance

                                                                                                            Statistics
            94.00                  94.00                  0.00           94.00                      0.00    # Rooms                                94.00                    94.00                    0.00          94.00                    0.00
         2,914.00               2,914.00                  0.00        2,914.00                      0.00    Available Rooms                    28,576.00                28,576.00                    0.00      28,670.00                  -94.00
         1,406.00               1,801.00               -395.00        1,215.00                    191.00    Room Nights Sold                   16,707.00                15,478.27                1,228.73      11,921.00                4,786.00
             0.48                   0.62                 -0.14            0.42                      0.07    Occupancy %                             0.58                     0.54                    0.04           0.42                    0.17
           110.39                 101.77                  8.61           95.29                     15.10    ADR                                   117.54                   109.23                    8.31         138.54                  -21.00
            53.26                  62.90                 -9.64           39.73                     13.53    RevPar                                 68.72                    59.16                    9.56          57.60                   11.12

                                                                                                            Summary
                                                                                                            Revenue:
       155,203.88    95.73%   183,293.80   98.72%    -28,089.92     115,771.61     97.91%       39,432.27   Rooms                            1,963,688.16   96.53%    1,690,627.60    98.85%   273,060.56   1,651,476.12    98.72%    312,212.04
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Food                                     0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Beverage                                 0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Other F&B Revenue                        0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Telephone                                0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         6,924.73     4.27%     2,376.00    1.28%      4,548.73       2,469.53      2.09%        4,455.20   Other                               70,624.83    3.47%       19,728.41     1.15%    50,896.42      21,429.31     1.28%     49,195.52

       162,128.61   100.00%   185,669.80   100.00%   -23,541.19     118,241.14    100.00%       43,887.47   Total Revenue                    2,034,312.99   100.00%   1,710,356.01   100.00%   323,956.98   1,672,905.43    100.00%   361,407.56



                                                                                                            Cost of Sales:
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Food                                    0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Beverage                                0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00    Other F&B                               0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
           735.51    10.62%       887.58   37.36%      -152.07          744.54     30.15%          -9.03    Telephone                           7,235.43    10.24%       8,875.80     44.99%    -1,640.37       7,501.38    35.01%       -265.95
         1,192.88    17.23%     1,170.65   49.27%        22.23          517.13     20.94%         675.75    Other                              17,212.19    24.37%      10,060.96     51.00%     7,151.23       4,455.36    20.79%     12,756.83

         1,928.39    27.85%     2,058.23   86.63%      -129.84        1,261.67     51.09%         666.72    Total Cost of Sales                24,447.62    34.62%      18,936.76     95.99%     5,510.86      11,956.74    55.80%     12,490.88



                                                                                                            Payroll:
        31,928.74    20.57%    30,062.59   16.40%      1,866.15      14,916.90     12.88%       17,011.84   Rooms                             292,454.36    14.89%     285,093.38     16.86%     7,360.98     156,883.94     9.50%    135,570.42
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   F&B                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Other                                   0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         7,791.20     4.81%     9,080.37    4.89%     -1,289.17       7,330.35      6.20%          460.85   A&G                                81,834.26     4.02%      88,600.51      5.18%    -6,766.25      79,073.97     4.73%      2,760.29
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   IT                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
          -303.34    -0.19%     3,011.43    1.62%     -3,314.77           0.00      0.00%         -303.34   S&M                                21,008.20     1.03%      29,531.45      1.73%    -8,523.25      11,429.22     0.68%      9,578.98
         7,034.47     4.34%     6,233.59    3.36%        800.88       5,887.44      4.98%        1,147.03   R&M                                60,134.34     2.96%      60,868.64      3.56%      -734.30      49,948.77     2.99%     10,185.57
        46,451.07    28.65%    48,387.98   26.06%     -1,936.91      28,134.69     23.79%       18,316.38   Total Salaries and Wages          455,431.16    22.39%     464,093.98     27.13%    -8,662.82     297,335.90    17.77%    158,095.26

         8,825.94     5.44%     8,078.41    4.35%        747.53       7,108.28      6.01%        1,717.66   Total Taxes and Benefits           85,647.88     4.21%      85,900.58      5.02%      -252.70     116,039.00     6.94%    -30,391.12
        55,277.01    34.09%    56,466.39   30.41%     -1,189.38      35,242.97     29.81%       20,034.04   Total Labor Costs                 541,079.04    26.60%     549,994.56     32.16%    -8,915.52     413,374.90    24.71%    127,704.14



                                                                                                            Direct Expenses:
        22,631.43    14.58%    32,256.82   17.60%     -9,625.39      11,415.79      9.86%       11,215.64   Rooms                             189,603.51     9.66%     241,158.50     14.26%   -51,554.99     130,409.50     7.90%     59,194.01
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   F&B                                   326.07     0.00%           0.00      0.00%       326.07           0.00     0.00%        326.07
         2,027.30    29.28%     1,208.00   50.84%        819.30       1,107.98     44.87%          919.32   Telephone                          14,237.48    20.16%      12,080.00     61.23%     2,157.48      11,069.84    51.66%      3,167.64
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   Other                                   0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        23,344.29    14.40%    25,661.13   13.82%     -2,316.84      19,640.57     16.61%        3,703.72   Franchise Fees                    303,037.42    14.90%     236,687.87     13.84%    66,349.55     216,733.36    12.96%     86,304.06
        18,041.00    11.13%     9,415.54    5.07%      8,625.46       1,530.04      1.29%       16,510.96   A&G                               133,455.71     6.56%      95,107.47      5.56%    38,348.24     107,882.57     6.45%     25,573.14
             0.00     0.00%         0.00    0.00%          0.00           0.00      0.00%            0.00   IT                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         1,683.18     1.04%     3,181.00    1.71%     -1,497.82       1,635.51      1.38%           47.67   S&M                                24,654.31     1.21%      35,531.00      2.08%   -10,876.69      14,006.55     0.84%     10,647.76
        10,754.33     6.63%     5,273.51    2.84%      5,480.82       3,820.77      3.23%        6,933.56   R&M                                65,790.83     3.23%      55,869.10      3.27%     9,921.73      35,727.08     2.14%     30,063.75
         8,845.94     5.46%     9,347.19    5.03%       -501.25       7,391.73      6.25%        1,454.21   Utilities                          86,670.03     4.26%      80,332.91      4.70%     6,337.12      69,790.25     4.17%     16,879.78

        87,327.47    53.86%    86,343.19   46.50%       984.28       46,542.39     39.36%       40,785.08   Total Direct Expense              817,775.36    40.20%     756,766.85     44.25%    61,008.51     585,619.15    35.01%    232,156.21

        17,595.74    10.85%    40,801.99   21.98%    -23,206.25      35,194.11     29.76%      -17,598.37   Gross Operating Profit            651,010.97    32.00%     384,657.84     22.49%   266,353.13     661,954.64    39.57%    -10,943.67

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                                                                                  Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year    %           Variance




                                                                                                            Fixed Costs
        10,036.75     6.19%      1,144.92    0.62%    8,891.83        8,392.82      7.10%        1,643.93   Taxes                              59,999.14    2.95%    11,449.20      0.67%    48,549.94      84,084.85     5.03%     -24,085.71
         6,954.76     4.29%      6,142.59    3.31%      812.17        4,442.66      3.76%        2,512.10   Insurance                          64,326.35    3.16%    61,425.90      3.59%     2,900.45      42,896.42     2.56%      21,429.93
        24,271.00    14.97%     24,271.00   13.07%        0.00       27,011.94     22.84%       -2,740.94   Leases & Rent                     236,860.00   11.64%   236,860.00     13.85%         0.00     242,821.66    14.51%      -5,961.66
         5,363.86     3.31%      5,570.09    3.00%     -206.23        6,660.35      5.63%       -1,296.49   Management Fees                    67,054.11    3.30%    54,309.84      3.18%    12,744.27      52,791.53     3.16%      14,262.58

        46,626.37    28.76%     37,128.60   20.00%    9,497.77       46,507.77     39.33%         118.60    Total Fixed Expenses              428,239.60   21.05%   364,044.94     21.28%    64,194.66     422,594.46    25.26%       5,645.14

       -29,030.63    -17.91%     3,673.39   1.98%    -32,704.02     -11,313.66      -9.57%     -17,716.97   Net Operating Profit              222,771.37   10.95%    20,612.90     1.21%    202,158.47     239,360.18    14.31%     -16,588.81



             0.00     0.00%          0.00   0.00%         0.00       18,916.00     16.00%      -18,916.00   Interest Expense - Other                0.00    0.00%         0.00     0.00%          0.00     188,883.06    11.29%    -188,883.06
             0.00     0.00%          0.00   0.00%         0.00          450.00      0.38%         -450.00   Owner's Expense                    -1,087.92   -0.05%         0.00     0.00%     -1,087.92      27,937.09     1.67%     -29,025.01
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%            0.00   Extraordinary Expense                   0.00    0.00%         0.00     0.00%          0.00       2,156.64     0.13%      -2,156.64
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%            0.00   Prior Owner's Expense               1,187.29    0.06%         0.00     0.00%      1,187.29           0.00     0.00%       1,187.29
             0.00     0.00%          0.00   0.00%         0.00            0.00      0.00%            0.00   Non Recurring Cost                  3,611.19    0.18%         0.00     0.00%      3,611.19         -19.95     0.00%       3,631.14



       -29,030.63    -17.91%     3,673.39   1.98%    -32,704.02     -30,679.66     -25.95%       1,649.03   Net Operating Income              219,060.81   10.77%    20,612.90     1.21%    198,447.91      20,403.34     1.22%    198,657.47

           472.00     0.29%          0.00   0.00%       472.00        8,117.36      6.87%       -7,645.36   Capital Reserve                     2,891.28   0.14%          0.00     0.00%      2,891.28      81,173.60     4.85%     -78,282.32
             0.00     0.00%          0.00   0.00%         0.00       32,426.00     27.42%      -32,426.00   (Gain)/Loss-Insurance                   0.00   0.00%          0.00     0.00%          0.00     324,260.00    19.38%    -324,260.00

       -29,502.63    -18.20%     3,673.39   1.98%    -33,176.02     -71,223.02     -60.24%      41,720.39   Adjusted NOI                      216,169.53   10.63%    20,612.90     1.21%    195,556.63    -385,030.26    -23.02%   601,199.79



             0.00     0.00%          0.00   0.00%         0.00        2,035.00      1.72%       -2,035.00   Amortization                            0.00   0.00%          0.00     0.00%          0.00      20,350.00     1.22%     -20,350.00



       -29,502.63    -18.20%     3,673.39   1.98%    -33,176.02     -73,258.02     -61.96%      43,755.39   Net Profit/(Loss)                 216,169.53   10.63%    20,612.90     1.21%    195,556.63    -405,380.26    -24.23%   621,549.79




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                                                                                     Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                              P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %            Variance                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
        20,896.77    13.46%      3,379.00      1.84%    17,517.77        3,131.28      2.70%       17,765.49   Corporate Transient                  247,385.16    12.60%      74,386.00      4.40%    172,999.16      74,512.69     4.51%    172,872.47
         7,700.60     4.96%      8,286.30      4.52%      -585.70            0.00      0.00%        7,700.60   AAA/AARP Transient                    43,275.37     2.20%     101,697.97      6.02%    -58,422.60           0.00     0.00%     43,275.37
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   FIT(Flexible Independent Travel)         788.00     0.04%       1,125.00      0.07%       -337.00           0.00     0.00%        788.00
         2,190.43     1.41%      7,378.00      4.03%    -5,187.57            0.00      0.00%        2,190.43   Consortia Transient                   22,904.08     1.17%      78,305.40      4.63%    -55,401.32           0.00     0.00%     22,904.08
             0.00     0.00%      3,255.00      1.78%    -3,255.00            0.00      0.00%            0.00   Employee                                  35.00     0.00%      16,485.00      0.98%    -16,450.00           0.00     0.00%         35.00
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Leisure Transient                      2,725.20     0.14%           0.00      0.00%      2,725.20           0.00     0.00%      2,725.20
             0.00     0.00%      1,705.00      0.93%    -1,705.00            0.00      0.00%            0.00   Travel Agent/Friends & Family              0.00     0.00%      17,765.00      1.05%    -17,765.00           0.00     0.00%          0.00
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Leisure Package Transient                256.50     0.01%      34,279.00      2.03%    -34,022.50           0.00     0.00%        256.50
           842.47     0.54%        775.00      0.42%        67.47            0.00      0.00%          842.47   Member Reward Stay                     5,210.79     0.27%       9,800.00      0.58%     -4,589.21           0.00     0.00%      5,210.79
             0.00     0.00%      7,905.00      4.31%    -7,905.00       70,490.56     60.89%      -70,490.56   Extended Stay Transient                   85.68     0.00%     152,602.50      9.03%   -152,516.82     574,578.24    34.79%   -574,492.56
        16,873.66    10.87%     36,270.00     19.79%   -19,396.34            0.00      0.00%       16,873.66   Internet/E-Commerce                  124,278.24     6.33%     300,284.85     17.76%   -176,006.61           0.00     0.00%    124,278.24
             0.00     0.00%     45,337.50     24.73%   -45,337.50            0.00      0.00%            0.00   E-Commerce Opaque                          0.00     0.00%     124,013.82      7.34%   -124,013.82           0.00     0.00%          0.00
        27,609.17    17.79%          0.00      0.00%    27,609.17            0.00      0.00%       27,609.17   Other Transient                      806,983.92    41.10%           0.00      0.00%    806,983.92           0.00     0.00%    806,983.92
           702.00     0.45%      3,596.00      1.96%    -2,894.00            0.00      0.00%          702.00   Government Transient                  32,156.60     1.64%      39,719.03      2.35%     -7,562.43           0.00     0.00%     32,156.60
        48,154.53    31.03%     36,890.00     20.13%    11,264.53       16,853.73     14.56%       31,300.80   Rack Transient                       344,565.98    17.55%     473,824.00     28.03%   -129,258.02     572,227.43    34.65%   -227,661.45
         7,280.00     4.69%      8,835.00      4.82%    -1,555.00       11,786.00     10.18%       -4,506.00   Local Negotiated Transient           147,369.88     7.50%      94,812.00      5.61%     52,557.88     271,747.88    16.45%   -124,378.00

      132,249.63     85.21%    163,611.80    89.26%    -31,362.17     102,261.57      88.33%      29,988.06    Total Transient Room Revenue       1,778,020.40   90.54%    1,519,099.57   89.85%     258,920.83    1,493,066.24    90.41%   284,954.16

                                                                                                               Group Room Revenue
             0.00     0.00%     11,352.00      6.19%   -11,352.00       13,394.50     11.57%      -13,394.50   Corporate Group                        4,560.57     0.23%      11,352.00     0.67%      -6,791.43     151,367.00     9.17%   -146,806.43
           117.00     0.08%          0.00      0.00%       117.00            0.00      0.00%          117.00   Government Group                         117.00     0.01%           0.00     0.00%         117.00       3,712.00     0.22%     -3,595.00
           788.25     0.51%          0.00      0.00%       788.25            0.00      0.00%          788.25   Tour & Travel Group                   14,276.77     0.73%           0.00     0.00%      14,276.77           0.00     0.00%     14,276.77
        21,989.00    14.17%      8,330.00      4.54%    13,659.00            0.00      0.00%       21,989.00   SMERF Group                          157,235.14     8.01%      80,445.03     4.76%      76,790.11           0.00     0.00%    157,235.14
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Sports Group                               0.00     0.00%      79,731.00     4.72%     -79,731.00           0.00     0.00%          0.00
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%            0.00   Other Group                            8,264.32     0.42%           0.00     0.00%       8,264.32           0.00     0.00%      8,264.32

       22,894.25     14.75%     19,682.00    10.74%     3,212.25       13,394.50      11.57%       9,499.75    Total Group Room Revenue            184,453.80     9.39%     171,528.03    10.15%      12,925.77     155,079.00     9.39%     29,374.80

                                                                                                               Contract Room Revenue

             0.00     0.00%          0.00     0.00%          0.00            0.00      0.00%           0.00    Total Contract Room Revenue                0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                               Other Room Revenue
             0.00     0.00%           0.00     0.00%         0.00          210.74      0.18%        -210.74    No-Show Rooms                          2,649.92     0.13%           0.00     0.00%       2,649.92       8,253.31     0.50%     -5,603.39

             0.00     0.00%          0.00     0.00%          0.00         210.74       0.18%        -210.74    Total Other Room Revenue               2,649.92    0.13%            0.00     0.00%      2,649.92        8,253.31    0.50%     -5,603.39

            60.00     0.04%           0.00     0.00%        60.00          -95.20      -0.08%        155.20    Less: Allowances                      -1,435.96    -0.07%           0.00     0.00%      -1,435.96      -4,922.43    -0.30%      3,486.47

      155,203.88    100.00%    183,293.80    100.00%   -28,089.92     115,771.61     100.00%      39,432.27    Total Room Revenue                 1,963,688.16   100.00%   1,690,627.60 100.00%      273,060.56    1,651,476.12 100.00%     312,212.04

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00      0.00%          0.00     0.00%          0.00         363.85       0.31%        -363.85   Revenue Management                         0.00     0.00%           0.00      0.00%          0.00       5,339.04     0.32%     -5,339.04
           972.36      0.63%      3,677.69     2.01%     -2,705.33           0.00       0.00%         972.36   Housekeeping Management               17,241.64     0.88%      35,956.40      2.13%    -18,714.76       8,937.94     0.54%      8,303.70
          972.36      0.63%      3,677.69     2.01%     -2,705.33         363.85       0.31%         608.51    Total Rooms Management               17,241.64     0.88%      35,956.40      2.13%    -18,714.76      14,276.98     0.86%      2,964.66
         6,628.35      4.27%      3,487.50     1.90%      3,140.85       4,131.27       3.57%       2,497.08   Front Office Agents                   67,202.92     3.42%      34,200.00      2.02%     33,002.92      35,516.82     2.15%     31,686.10
             0.00      0.00%      2,657.14     1.45%     -2,657.14           0.00       0.00%           0.00   Front Office Supervisors                   0.00     0.00%      26,057.13      1.54%    -26,057.13           0.00     0.00%          0.00
         4,065.70      2.62%      4,805.00     2.62%       -739.30       3,568.00       3.08%         497.70   Night Auditors                        42,400.88     2.16%      47,120.00      2.79%     -4,719.12      34,251.36     2.07%      8,149.52
         1,027.05      0.66%        876.86     0.48%        150.19         685.78       0.59%         341.27   Drivers                                8,423.27     0.43%       8,598.87      0.51%       -175.60       5,616.94     0.34%      2,806.33
         1,824.84      1.18%      2,046.00     1.12%       -221.16           0.00       0.00%       1,824.84   Breakfast Attendant                   18,392.55     0.94%      20,064.00      1.19%     -1,671.45       5,379.31     0.33%     13,013.24
       13,545.94      8.73%     13,872.50     7.57%       -326.56       8,385.05       7.24%       5,160.89    Total Rooms Front Office            136,419.62     6.95%     136,040.00      8.05%        379.62      80,764.43     4.89%     55,655.19
             0.00      0.00%          0.00     0.00%          0.00          98.65       0.09%         -98.65   Housekeeping Supervisors                   0.00     0.00%           0.00      0.00%          0.00       2,715.35     0.16%     -2,715.35
         9,650.40      6.22%      7,924.40     4.32%      1,726.00       4,331.80       3.74%       5,318.60   Room Attendants                       88,095.73     4.49%      68,104.98      4.03%     19,990.75      46,337.78     2.81%     41,757.95
             0.00      0.00%          0.00     0.00%          0.00           0.00       0.00%           0.00   Housepersons                               0.00     0.00%           0.00      0.00%          0.00       4,427.00     0.27%     -4,427.00
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                                                                                   Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget     %         Variance   PTD Last Year     %            Variance                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

         4,379.20      2.82%      1,860.00    1.01%     2,519.20           0.00       0.00%       4,379.20   Public Area Attendants                   28,357.22    1.44%      18,240.00      1.08%     10,117.22           0.00     0.00%     28,357.22
         3,380.84      2.18%      2,728.00    1.49%       652.84       1,737.55       1.50%       1,643.29   Laundry Attendants                       22,340.15    1.14%      26,752.00      1.58%     -4,411.85       8,362.40     0.51%     13,977.75
       17,410.44     11.22%     12,512.40    6.83%     4,898.04       6,168.00       5.33%      11,242.44    Total Rooms Housekeeping               138,793.10    7.07%     113,096.98      6.69%     25,696.12      61,842.53     3.74%     76,950.57

       31,928.74     20.57%     30,062.59    16.40%    1,866.15      14,916.90      12.88%      17,011.84    Total Rooms Salary and Wages           292,454.36    14.89%    285,093.38    16.86%       7,360.98     156,883.94     9.50%    135,570.42

                                                                                                             PR Taxes and Benefits
         2,465.14      1.59%      2,351.30    1.28%       113.84       1,100.81       0.95%       1,364.33   FICA                                     22,247.54    1.13%      22,376.42      1.32%       -128.88      13,137.05     0.80%      9,110.49
            36.83      0.02%         12.91    0.01%        23.92           0.00       0.00%          36.83   Federal Unemployment Tax                    816.38    0.04%         459.40      0.03%        356.98           0.00     0.00%        816.38
           165.74      0.11%         82.99    0.05%        82.75           0.00       0.00%         165.74   State Unemployment Tax                    3,673.98    0.19%       3,808.64      0.23%       -134.66           0.00     0.00%      3,673.98
        2,667.71      1.72%      2,447.20    1.34%       220.51       1,100.81       0.95%       1,566.90    Total Payroll Taxes                     26,737.90    1.36%      26,644.46      1.58%          93.44     13,137.05     0.80%     13,600.85
             0.00      0.00%          0.00    0.00%         0.00           0.00       0.00%           0.00   Holiday                                   2,472.16    0.13%         600.00      0.04%      1,872.16       3,097.84     0.19%       -625.68
           312.00      0.20%        544.23    0.30%      -232.23          27.60       0.02%         284.40   Vacation                                  1,523.76    0.08%       5,523.07      0.33%     -3,999.31      15,918.48     0.96%    -14,394.72
          312.00      0.20%        544.23    0.30%      -232.23           27.60      0.02%         284.40    Total Supplemental Pay                   3,995.92    0.20%       6,123.07      0.36%     -2,127.15      19,016.32     1.15%    -15,020.40
         1,614.25      1.04%      1,565.16    0.85%        49.09           0.00       0.00%       1,614.25   Worker's Compensation                    12,691.79    0.65%      14,931.68      0.88%     -2,239.89           0.00     0.00%     12,691.79
          -109.37     -0.07%        367.50    0.20%      -476.87         537.80       0.46%        -647.17   Group Insurance                           4,085.86    0.21%       3,552.50      0.21%        533.36      11,370.81     0.69%     -7,284.95
             0.00      0.00%        125.00    0.07%      -125.00           0.00       0.00%           0.00   Bonus and Incentive Pay                       0.00    0.00%       1,250.00      0.07%     -1,250.00       2,524.86     0.15%     -2,524.86
        1,504.88      0.97%      2,057.66    1.12%      -552.78         537.80       0.46%         967.08    Total Other Benefits                    16,777.65    0.85%      19,734.18      1.17%     -2,956.53      13,895.67     0.84%      2,881.98

        4,484.59      2.89%      5,049.09    2.75%      -564.50       1,666.21       1.44%       2,818.38    Total Rooms PR Taxes and Benefits       47,511.47    2.42%      52,501.71      3.11%     -4,990.24      46,049.04     2.79%      1,462.43

       36,413.33     23.46%     35,111.68    19.16%    1,301.65      16,583.11      14.32%      19,830.22    Total Rooms Labor Costs                339,965.83    17.31%    337,595.09    19.97%       2,370.74     202,932.98     12.29%   137,032.85

                                                                                                             Other Expenses
         8,965.60     5.78%      7,654.25     4.18%     1,311.35       1,419.47      1.23%        7,546.13   Breakfast /Comp Cost                     75,520.56    3.85%      65,783.22     3.89%       9,737.34      32,664.66     1.98%     42,855.90
         2,094.28     1.35%      1,404.78     0.77%       689.50         769.50      0.66%        1,324.78   Cleaning Supplies                        10,639.18    0.54%      12,073.16     0.71%      -1,433.98       6,918.88     0.42%      3,720.30
             0.00     0.00%         40.00     0.02%       -40.00           0.00      0.00%            0.00   Communication Expense                       180.00    0.01%         400.00     0.02%        -220.00           0.00     0.00%        180.00
           362.72     0.23%          0.00     0.00%       362.72           0.00      0.00%          362.72   Decorations & Plants                        362.72    0.02%           0.00     0.00%         362.72           0.00     0.00%        362.72
             0.00     0.00%         56.00     0.03%       -56.00           0.00      0.00%            0.00   Dues and Subscriptions                    2,095.71    0.11%         560.00     0.03%       1,535.71           0.00     0.00%      2,095.71
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   Guest Loss/Damage                           129.43    0.01%           0.00     0.00%         129.43           0.00     0.00%        129.43
         2,122.48     1.37%      2,161.20     1.18%       -38.72         493.47      0.43%        1,629.01   Guest Supplies                           23,599.45    1.20%      18,574.09     1.10%       5,025.36       9,402.33     0.57%     14,197.12
            43.67     0.03%          0.00     0.00%        43.67           0.00      0.00%           43.67   In-House Entertainment                      393.03    0.02%           0.00     0.00%         393.03           0.00     0.00%        393.03
             0.00     0.00%          0.00     0.00%         0.00         332.50      0.29%         -332.50   Internet/Web Expense                          0.00    0.00%           0.00     0.00%           0.00       3,227.52     0.20%     -3,227.52
           338.25     0.22%        450.25     0.25%      -112.00           0.00      0.00%          338.25   Laundry                                   3,248.80    0.17%       3,869.60     0.23%        -620.80         152.03     0.01%      3,096.77
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   Laundry Allocation                           44.68    0.00%           0.00     0.00%          44.68           0.00     0.00%         44.68
             0.00     0.00%        990.55     0.54%      -990.55           0.00      0.00%            0.00   Linen                                     5,634.38    0.29%       8,513.12     0.50%      -2,878.74       3,715.58     0.22%      1,918.80
            39.62     0.03%          0.00     0.00%        39.62           0.00      0.00%           39.62   Meals and Entertainment                      39.62    0.00%           0.00     0.00%          39.62           0.00     0.00%         39.62
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   Miscellaneous Expense                        25.55    0.00%           0.00     0.00%          25.55           0.00     0.00%         25.55
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   Newspaper                                     0.00    0.00%           0.00     0.00%           0.00         359.67     0.02%       -359.67
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   Office Equipment                             49.99    0.00%           0.00     0.00%          49.99           0.00     0.00%         49.99
             0.00     0.00%        648.36     0.35%      -648.36          17.03      0.01%          -17.03   Operating Supplies                          879.30    0.04%       5,572.23     0.33%      -4,692.93       1,461.78     0.09%       -582.48
             0.00     0.00%        450.25     0.25%      -450.25           0.00      0.00%            0.00   Printing and Stationery                   1,712.49    0.09%       3,869.60     0.23%      -2,157.11          31.10     0.00%      1,681.39
             0.00     0.00%          0.00     0.00%         0.00       1,554.52      1.34%       -1,554.52   Reservation Expense                           0.00    0.00%           0.00     0.00%           0.00       9,500.02     0.58%     -9,500.02
             0.00     0.00%        324.18     0.18%      -324.18           0.00      0.00%            0.00   Rooms Promotion                               0.00    0.00%       2,786.11     0.16%      -2,786.11           0.00     0.00%          0.00
         2,042.35     1.32%      1,970.00     1.07%        72.35       2,142.78      1.85%         -100.43   Television Cable                         20,291.09    1.03%      19,700.00     1.17%         591.09      20,169.94     1.22%        121.15
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   Training                                    750.00    0.04%           0.00     0.00%         750.00           0.00     0.00%        750.00
            50.00     0.03%        100.00     0.05%       -50.00           0.00      0.00%           50.00   Transportation                              130.00    0.01%       1,000.00     0.06%        -870.00         186.00     0.01%        -56.00
             0.00     0.00%        393.64     0.21%      -393.64           0.00      0.00%            0.00   Travel Agent Comm - Group Rooms          14,977.39    0.76%       3,430.56     0.20%      11,546.83           0.00     0.00%     14,977.39
         6,572.46     4.23%     15,513.36     8.46%    -8,940.90       4,686.52      4.05%        1,885.94   Travel Agent Comm - Transient Rooms      27,190.47    1.38%      94,026.81     5.56%     -66,836.34      42,202.63     2.56%    -15,012.16
             0.00     0.00%        100.00     0.05%      -100.00           0.00      0.00%            0.00   Uniforms                                  1,265.89    0.06%       1,000.00     0.06%         265.89         417.36     0.03%        848.53
             0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%            0.00   Walked Guests                               443.78    0.02%           0.00     0.00%         443.78           0.00     0.00%        443.78

       22,631.43     14.58%     32,256.82    17.60%    -9,625.39     11,415.79       9.86%      11,215.64    Total Rooms Other Expenses             189,603.51    9.66%     241,158.50    14.26%     -51,554.99     130,409.50     7.90%     59,194.01

       59,044.76     38.04%     67,368.50    36.75%    -8,323.74     27,998.90      24.18%      31,045.86    Total Rooms Expenses                   529,569.34    26.97%    578,753.59    34.23%     -49,184.25     333,342.48     20.18%   196,226.86

       96,159.12     61.96%    115,925.30    63.25%   -19,766.18     87,772.71      75.82%       8,386.41    Total Rooms Profit (Loss)             1,434,118.82   73.03%   1,111,874.01   65.77%     322,244.81    1,318,133.64    79.82%   115,985.18




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                                                                       Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                P&L - Dual Summary Pages
                                                                                                     As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                                        YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                                 Room Sale Stats
                                                                                                 Tranisent Rooms
           243.00               31.00         212.00          46.00                    197.00    Room Stat - Corporate Transient                  2,476.00           638.00      1,838.00         699.00         1,777.00
            60.00               93.00         -33.00           0.00                     60.00    Room Stat - AAA/AARP Transient                    -810.88         1,009.00     -1,819.88           0.00          -810.88
             0.00                0.00           0.00           0.00                      0.00    Room Stat - FIT(Flexible Independent Travel)         7.00            15.00         -8.00           0.00             7.00
            18.00               62.00         -44.00           0.00                     18.00    Room Stat - Consortia Rate Transient               143.00           581.00       -438.00           0.00           143.00
             0.00               93.00         -93.00           0.00                      0.00    Room Stat - Employee                                 2.00           471.00       -469.00           0.00             2.00
             0.00                0.00           0.00           0.00                      0.00    Room Stat - Leisure Transient                       59.00             0.00         59.00           0.00            59.00
             0.00                0.00           0.00           0.00                      0.00    Room Stat - Package Transient                        0.00           277.00       -277.00           0.00             0.00
             0.00               31.00         -31.00           0.00                      0.00    Room Stat - Travel Agent/Friends & Family            0.00           323.00       -323.00           0.00             0.00
             9.00               31.00         -22.00           0.00                      9.00    Room Stat - Member Reward Stay                      67.00           392.00       -325.00           0.00            67.00
             0.00               93.00         -93.00         718.00                   -718.00    Room Stat - Extended Stay Transient                  0.00         1,486.00     -1,486.00       4,656.00        -4,656.00
           152.00              372.00        -220.00           0.00                    152.00    Room Stat - Internet                               665.01         2,727.00     -2,061.99           0.00           665.01
           264.00                0.00         264.00           0.00                    264.00    Room Stat - Other Transient                      8,363.87             0.00      8,363.87           0.00         8,363.87
             0.00              403.00        -403.00           0.00                      0.00    Room Stat - E-Commerce Opaque                        0.00         1,170.88     -1,170.88           0.00             0.00
             5.00               31.00         -26.00           0.00                      5.00    Room Stat - Government Rate Transient              272.00           342.41        -70.41          32.00           240.00
           374.00              310.00          64.00         155.00                    219.00    Room Stat - Rack Rate Transient                  2,444.00         3,569.00     -1,125.00       2,918.00          -474.00
            83.00               93.00         -10.00         145.00                    -62.00    Room Stat - Local Negotiated Transient           1,536.00           914.00        622.00       2,539.00        -1,003.00
        1,208.00            1,643.00        -435.00       1,064.00                    144.00     Total Transient Rooms Sold                     15,224.00        13,915.29      1,308.71      10,844.00         4,380.00

                                                                                                 Group Rooms
             0.00              88.00         -88.00          151.00                   -151.00    Room Stat - Corporate Group Rooms                   45.00            88.00        -43.00       1,077.00        -1,032.00
             2.00               0.00           2.00            0.00                      2.00    Room Stat - Government Group                         2.00             0.00          2.00           0.00             2.00
             8.00               0.00           8.00            0.00                      8.00    Room Stat - Tour & Travel Group                    114.00             0.00       114.00            0.00           114.00
           188.00              70.00         118.00            0.00                    188.00    Room Stat - SMERF Group                          1,318.00           754.98       563.02            0.00         1,318.00
             0.00               0.00           0.00            0.00                      0.00    Room Stat - Sports Group                             0.00           720.00      -720.00            0.00             0.00
             0.00               0.00           0.00            0.00                      0.00    Room Stat - Other Group                              4.00             0.00          4.00           0.00             4.00
          198.00              158.00          40.00         151.00                      47.00    Total Group Rooms Sold                          1,483.00         1,562.98        -79.98       1,077.00           406.00

                                                                                                 Contract Rooms
             0.00               0.00           0.00            0.00                      0.00    Total Contract Rooms Sold                           0.00             0.00          0.00            0.00            0.00

        1,406.00            1,801.00        -395.00       1,215.00                    191.00     Total Rooms Sold                               16,707.00        15,478.27      1,228.73      11,921.00         4,786.00
            25.00               0.00           25.00          -5.00                     30.00    Room Stat-Comp Rooms                               150.00            0.00         150.00         -67.00           217.00
        1,431.00            1,801.00        -370.00       1,210.00                    221.00     Total Rooms Occupied                           16,857.00        15,478.27      1,378.73      11,854.00         5,003.00
           356.00               0.00          356.00         59.00                     297.00    Room Stat-Out of Order                           3,185.00            0.00       3,185.00       2,014.00         1,171.00

                                                                                                 ADR
            85.99             109.00         -23.01           68.07                     17.92    Corporate Transient ADR                             99.91           116.59       -16.68          106.60            -6.69
             0.00               0.00           0.00            0.00                      0.00    Advanced Purchase ADR                                0.00             0.00         0.00            0.00             0.00
           128.34              89.10          39.24            0.00                    128.34    AAA/AARP ADR                                       -53.37           100.79      -154.16            0.00           -53.37
             0.00               0.00           0.00            0.00                      0.00    FIT ADR                                            112.57            75.00        37.57            0.00          112.57
           121.69             119.00           2.69            0.00                    121.69    Consortia ADR                                      160.17           134.78        25.39            0.00          160.17
             0.00              35.00         -35.00            0.00                      0.00    Employee ADR                                        17.50            35.00       -17.50            0.00            17.50
             0.00               0.00           0.00            0.00                      0.00    Leisure ADR                                         46.19             0.00        46.19            0.00            46.19
             0.00              55.00         -55.00            0.00                      0.00    Travel Agent/Friends & Family ADR                    0.00            55.00       -55.00            0.00             0.00
             0.00               0.00           0.00            0.00                      0.00    Leisure Package ADR                                  4.35             0.00         4.35            0.00             4.35
            93.61              25.00          68.61            0.00                     93.61    Member Reward Stay ADR                              77.77            25.00        52.77            0.00            77.77
             0.00               0.00           0.00            0.00                      0.00    Golf Pkg ADR                                         0.00             0.00         0.00            0.00             0.00
             0.00              85.00         -85.00           98.18                    -98.18    Extended Stay ADR                                    0.00           102.69      -102.69          123.41         -123.41
           111.01              97.50          13.51            0.00                    111.01    Internet ADR                                       186.88           110.12        76.77            0.00          186.88
             0.00             112.50        -112.50            0.00                      0.00    E-Commerce Opaque ADR                                0.00           105.92      -105.92            0.00             0.00
           104.58               0.00         104.58            0.00                    104.58    Other Transient ADR                                 96.48             0.00        96.48            0.00            96.48
             0.00               0.00           0.00            0.00                      0.00    Airline Distressed Passenger ADR                     0.00             0.00         0.00            0.00             0.00
           140.40             116.00          24.40            0.00                    140.40    Government ADR                                     118.22           116.00         2.22            0.00          118.22
           128.76             119.00           9.76          108.73                     20.02    Rack ADR                                           140.98           132.76         8.22          196.10           -55.12
            87.71              95.00          -7.29           81.28                      6.43    Local Negotiated ADR                                95.94           103.73        -7.79          107.03           -11.09
          109.48               99.58           9.90           96.11                     13.37    Total Transient ADR                               116.79           109.17          7.62         137.69           -20.90

             0.00             129.00        -129.00           88.71                    -88.71    Corporate Group ADR                               101.35           129.00        -27.65          140.55          -39.20
             0.00               0.00           0.00            0.00                      0.00    Leisure Group ADR                                   0.00             0.00          0.00            0.00            0.00
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                                                                       Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
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                                                                                                     As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                           YTD    %      YTD Budget %   Variance   YTD Last Year   %   Variance

            58.50                0.00         58.50            0.00                     58.50    Government Group ADR                   58.50                0.00        58.50          0.00            58.50
            98.53                0.00         98.53            0.00                     98.53    Tour & Travel Group ADR               125.23                0.00       125.23          0.00           125.23
             0.00                0.00           0.00           0.00                      0.00    Association Group ADR                   0.00                0.00         0.00          0.00             0.00
             0.00                0.00           0.00           0.00                      0.00    City Wide Group ADR                     0.00                0.00         0.00          0.00             0.00
           116.96              119.00          -2.04           0.00                    116.96    SMERF Group ADR                       119.30              106.55        12.75          0.00           119.30
             0.00                0.00           0.00           0.00                      0.00    Sports Group ADR                        0.00              110.74      -110.74          0.00             0.00
             0.00                0.00           0.00           0.00                      0.00    Other Group ADR                     2,066.08                0.00     2,066.08          0.00         2,066.08
          115.63              124.57          -8.94           88.71                     26.92    Total Group ADR                      124.38              109.74         14.63        143.99           -19.61

             0.00               0.00           0.00            0.00                      0.00    Airline Crew ADR                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Other Contract ADR                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Contract ADR                     0.00                0.00         0.00            0.00           0.00

          110.39              101.77           8.61           95.29                     15.10    Total ADR                            117.54              109.23         8.31         138.54          -21.00




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                                                                                Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          F&B Summary
                                                                                                          Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Food Revenue                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Food Revenue       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Beverage Revenue                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Beverage Revenue   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Other Revenue                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Other Revenue      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Food Purchases                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Beverage Purchases                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Cedit Employee Meals                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Credit House Charges                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Credit In-House Promotions              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Audio Visual Cost of Sales              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Other Cost of Sales                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Cost of Sales                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    F&B Gross Profit                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll
                                                                                                          Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Management                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Non-Management                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Salaries and Wages            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Payroll Taxes                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Supplemental Pay                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Other Benefits                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B PR Taxes and Benefits         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Payroll                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Audio Visual Supplies                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Banquet Expense                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Bar Expense/Promos                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Bar Supplies                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    China                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Cleaning Supplies                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Communication Expense                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Contract Cleaning                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Contract Labor                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Decorations & Plants                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Dues and Subscriptions                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Equipment Rental                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Food and Beverage Advertising           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Glassware                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Guest Loss/Damage                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Guest Supplies                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    In-House Entertainment                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Kitchen/Cooking Fuel                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Kitchen Equipment                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Laundry - Outside Expense               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Laundry Allocation                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Licenses/Permits                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Linen                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00      0.00%           0.00    Linen Rental                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Maintenance Contracts                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Meals and Entertainment                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Menus                                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Miscellaneous Expense                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Music and Entertainment                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Equipment                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Supplies                         8.51    0.00%        0.00       0.00%      8.51            0.00     0.00%      8.51
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Operating Supplies                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Paper/Plastic Supplies                317.56    0.00%        0.00       0.00%    317.56            0.00     0.00%    317.56
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Printing and Stationery                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Silverware                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Software Expense/Maintenance            0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Television Cable                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Training                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Travel                                  0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Uniforms                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Utensils                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Other Expenses             326.07    0.00%         0.00      0.00%    326.07             0.00    0.00%    326.07

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Expenses                   326.07    0.00%         0.00      0.00%    326.07             0.00    0.00%    326.07

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Profit (Loss)             -326.07    0.00%         0.00      0.00%    -326.07            0.00    0.00%    -326.07




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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                           YTD    %      YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                                 F&B Stats
                                                                                                 Restaurant 1
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 1 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 1 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 2
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 2 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 2 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Room Service
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Room Service Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Room Service Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Banquets
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Banquets Covers                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Banquets Avg Check                     0.00                0.00         0.00            0.00           0.00

                                                                                                 Catering
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Catering Covers                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Catering Avg Check                     0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 3
             0.00                0.00          0.00            0.00                      0.00    Breakfast Avg Check                    0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Lunch Avg Check                        0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Dinner Avg Check                       0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Brunch Avg Check                       0.00                 0.00        0.00            0.00           0.00
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             PTD      %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                           YTD    %      YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 3 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 3 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 4
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 4 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 4 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 5
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 5 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 5 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Bar 1
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Bar 1 Covers                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Bar 1 Avg Check                        0.00                0.00         0.00            0.00           0.00

                                                                                                 Bar 2
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Bar 2 Covers                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Bar 2 Avg Check                        0.00                0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                      0.00    Total Covers                           0.00                0.00         0.00            0.00           0.00




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                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Cost of Sales             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Non-Management            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Salaries and Wages        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin PR Taxes and Benefits     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Payroll                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%           0.00    Paper/Plastic Supplies                   317.56   0.00%         0.00     0.00%    317.56            0.00    0.00%    317.56

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Other Expenses          317.56   0.00%        0.00      0.00%   317.56             0.00    0.00%   317.56

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Expenses                317.56   0.00%        0.00      0.00%   317.56             0.00    0.00%   317.56

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                       317.56   0.00%        0.00      0.00%   317.56             0.00    0.00%   317.56




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00      0.00%           0.00    Less Adjustments                       0.00    0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Revenue           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Cost of Sales     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Other Expenses    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Expenses          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Room Service
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Banquets
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Food Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Food Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Beverage Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Beverage Revenue        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Cost of Sales           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Non-Management          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                      0.00    Total Banquets Salaries and Wages      0.00                  0.00                  0.00            0.00                0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                      0.00    Total Banquet Benefits                 0.00                  0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Payroll                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Expenses          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Expenses                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Profit (Loss)           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Catering
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Food Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Food Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Beverage Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Beverage Revenue        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Cost of Sales           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Gross Profit                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Non-Management          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Salaries and Wages      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering PR Taxes and Benefits   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Payroll                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Expenses          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Expenses                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Profit (Loss)           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 3
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 4
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
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                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 5
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Food Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Food Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Beverage Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Beverage Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Cost of Sales              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Non-Management             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Salaries and Wages         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 PR Taxes and Benefits      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Payroll                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Expenses             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Expenses                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Profit (Loss)              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Food Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Food Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Beverage Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Beverage Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Cost of Sales              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expenses
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Non-Management             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Salaries and Wages         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 PR Taxes and Benefits      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Payroll                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Supplies                        8.51     0.00%        0.00       0.00%      8.51            0.00     0.00%      8.51
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Expenses             8.51    0.00%         0.00      0.00%       8.51            0.00    0.00%       8.51

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Expenses                   8.51    0.00%         0.00      0.00%       8.51            0.00    0.00%       8.51

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Profit (Loss)             -8.51    0.00%         0.00      0.00%      -8.51            0.00    0.00%      -8.51




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             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %         Variance

                                                                                                          Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Telephone Revenue                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%        0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Telephone Revenue                0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%        0.00

                                                                                                          Cost of Sales
           735.51      0.00%        16.75    0.00%     718.76         744.54       0.00%          -9.03   Cost of Sales - Local Calls         6,485.09    0.00%       167.50      0.00%     6,317.59       7,501.38     0.00%   -1,016.29
             0.00      0.00%       870.83    0.00%    -870.83           0.00       0.00%           0.00   Cost of Sales - Long Distance         750.34    0.00%     8,708.30      0.00%    -7,957.96           0.00     0.00%      750.34
          735.51      0.00%       887.58    0.00%    -152.07         744.54       0.00%          -9.03    Total Telephone Cost of Sales      7,235.43    0.00%     8,875.80      0.00%    -1,640.37       7,501.38     0.00%     -265.95

         -735.51      0.00%      -887.58    0.00%    152.07         -744.54       0.00%           9.03    Gross Profit                       -7,235.43   0.00%     -8,875.80     0.00%    1,640.37       -7,501.38     0.00%      265.95

                                                                                                          Other Expenses
         1,717.30      0.00%     1,208.00    0.00%    509.30        1,007.98       0.00%        709.32    Internet/Web Expense               13,657.48    0.00%    12,080.00      0.00%    1,577.48       10,059.84     0.00%    3,597.64
             0.00      0.00%         0.00    0.00%      0.00          100.00       0.00%       -100.00    Miscellaneous Expense                   0.00    0.00%         0.00      0.00%        0.00          460.00     0.00%     -460.00
             0.00      0.00%         0.00    0.00%      0.00            0.00       0.00%          0.00    Operating Supplies                      0.00    0.00%         0.00      0.00%        0.00          550.00     0.00%     -550.00
           310.00      0.00%         0.00    0.00%    310.00            0.00       0.00%        310.00    Telephone Equipment                   580.00    0.00%         0.00      0.00%      580.00            0.00     0.00%      580.00
        2,027.30      0.00%     1,208.00    0.00%    819.30        1,107.98       0.00%        919.32     Total Telephone Other Expenses    14,237.48    0.00%    12,080.00      0.00%    2,157.48       11,069.84     0.00%    3,167.64

       -2,762.81      0.00%    -2,095.58    0.00%    -667.23      -1,852.52       0.00%        -910.29    Total Telephone Profit (Loss)     -21,472.91   0.00%    -20,955.80     0.00%     -517.11      -18,571.22     0.00%    -2,901.69




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             PTD      %        PTD Budget     %        Variance   PTD Last Year     %            Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                            Minor Operating
                                                                                                            Income
         4,250.00     61.37%         0.00     0.00%    4,250.00         600.00      24.30%       3,650.00   Rental Income - Other                        26,750.00    37.88%         0.00     0.00%    26,750.00       5,370.00     25.06%    21,380.00
        4,250.00     61.37%          0.00    0.00%    4,250.00         600.00      24.30%       3,650.00    Total Rental Income                         26,750.00    37.88%          0.00    0.00%    26,750.00       5,370.00     25.06%    21,380.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00     0.00%         0.00       1,697.34      7.92%    -1,697.34
           154.00      2.22%        75.00     3.16%       79.00           0.00       0.00%         154.00   Vending Commissions Other                     2,006.95     2.84%       750.00     3.80%     1,256.95           0.00      0.00%     2,006.95
          154.00      2.22%         75.00    3.16%        79.00           0.00      0.00%         154.00    Total Vending Commission Income              2,006.95     2.84%       750.00     3.80%     1,256.95       1,697.34      7.92%       309.61
             0.00      0.00%         0.00     0.00%        0.00         369.74      14.97%        -369.74   Cancellation Fee - Rooms                         87.40     0.12%         0.00     0.00%        87.40       2,084.15      9.73%    -1,996.75
             0.00     0.00%          0.00    0.00%         0.00        369.74      14.97%        -369.74    Total Cancellation Fee Income                    87.40    0.12%          0.00    0.00%         87.40      2,084.15      9.73%    -1,996.75
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Guest Laundry                                   178.50     0.25%         0.00     0.00%       178.50          34.00      0.16%       144.50
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Interest Earned                                   4.95     0.01%         0.00     0.00%         4.95           0.00      0.00%         4.95
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   In-Room Movie Revenue                            90.00     0.13%         0.00     0.00%        90.00           0.00      0.00%        90.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Cash Discounts                                    0.00     0.00%         0.00     0.00%         0.00         330.00      1.54%      -330.00
            29.70      0.43%         0.00     0.00%       29.70          69.30       2.81%         -39.60   Internet Access                                 559.35     0.79%         0.00     0.00%       559.35         297.00      1.39%       262.35
             7.95      0.11%         0.00     0.00%        7.95           3.50       0.14%           4.45   Other Revenue 2                               4,809.44     6.81%         0.00     0.00%     4,809.44          -9.50     -0.04%     4,818.94
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Other Revenue 3                                  22.24     0.03%         0.00     0.00%        22.24         785.00      3.66%      -762.76
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Other Revenue 4                              14,432.38    20.44%         0.00     0.00%    14,432.38           0.00      0.00%    14,432.38
         1,933.08     27.92%     1,801.00    75.80%      132.08       1,426.99      57.78%         506.09   Gift Shop Sales                              20,433.62    28.93%    15,478.41    78.46%     4,955.21      10,841.32     50.59%     9,592.30
             0.00      0.00%       500.00    21.04%     -500.00           0.00       0.00%           0.00   Other Revenue 6                                   0.00     0.00%     3,500.00    17.74%    -3,500.00           0.00      0.00%         0.00
           550.00      7.94%         0.00     0.00%      550.00           0.00       0.00%         550.00   Pet Fees                                      1,000.00     1.42%         0.00     0.00%     1,000.00           0.00      0.00%     1,000.00
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Other Revenue 7                                 250.00     0.35%         0.00     0.00%       250.00           0.00      0.00%       250.00
        2,520.73     36.40%     2,301.00    96.84%      219.73       1,499.79      60.73%       1,020.94    Total Other Income                          41,780.48    59.16%    18,978.41    96.20%    22,802.07      12,277.82     57.29%    29,502.66

        6,924.73    100.00%     2,376.00    100.00%   4,548.73       2,469.53     100.00%       4,455.20    Total Minor Operating Income                70,624.83    100.00%   19,728.41 100.00%      50,896.42      21,429.31 100.00%       49,195.52

                                                                                                            Cost of Sales
             0.00      0.00%         0.00     0.00%       0.00            0.00       0.00%          0.00    Cost of Sales - Guest Laundry                    22.47     0.03%         0.00     0.00%        22.47          16.32      0.08%         6.15
         1,192.88     17.23%     1,170.65    49.27%      22.23          517.13      20.94%        675.75    Cost of Sales - Gift Shop                    17,189.72    24.34%    10,060.96    51.00%     7,128.76       4,439.04     20.71%    12,750.68
        1,192.88     17.23%     1,170.65    49.27%       22.23         517.13      20.94%        675.75     Total Minor Operated Cost of Sales          17,212.19    24.37%    10,060.96    51.00%     7,151.23       4,455.36     20.79%    12,756.83

        5,731.85     82.77%     1,205.35    50.73%    4,526.50       1,952.40      79.06%       3,779.45    Total Minor Operated Profit (Loss)          53,412.64    75.63%     9,667.45    49.00%    43,745.19      16,973.95     79.21%    36,438.69




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Revenue                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Non-Management            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Salaries and Wages        0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade PR Taxes and Benefits     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Payroll                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Other Expenses            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Expenses                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Profit (Loss)             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %        Variance   PTD Last Year     %            Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                          Franchise Fees
         1,666.48     1.03%         0.00    0.00%    1,666.48           0.00      0.00%        1,666.48   Franchise Fees - IT Fees                    11,884.56    0.58%         0.00     0.00%    11,884.56           0.00     0.00%   11,884.56
         9,290.01     5.73%    10,997.63    5.92%   -1,707.62       6,637.17      5.61%        2,652.84   Franchise Fees - Royalty & Licenses        118,065.75    5.80%   101,437.66     5.93%    16,628.09      95,640.52     5.72%   22,425.23
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Franchise Fees - Other                       2,797.32    0.14%         0.00     0.00%     2,797.32           0.00     0.00%    2,797.32
           114.45     0.07%         0.00    0.00%      114.45           0.00      0.00%          114.45   Franchise Fees - Reservations-GDS           21,414.87    1.05%         0.00     0.00%    21,414.87         812.08     0.05%   20,602.79
             0.00     0.00%     1,832.94    0.99%   -1,832.94           0.00      0.00%            0.00   Franchise Fees - Equipment                      59.42    0.00%    16,906.28     0.99%   -16,846.86           0.00     0.00%       59.42
         6,080.04     3.75%     5,498.81    2.96%      581.23       8,578.60      7.26%       -2,498.56   Franchise Fees - Frequent Guest             66,663.69    3.28%    50,718.82     2.97%    15,944.87      56,520.36     3.38%   10,143.33
         6,193.31     3.82%     7,331.75    3.95%   -1,138.44       4,424.80      3.74%        1,768.51   Franchise Fees - Marketing Contributions    81,228.80    3.99%    67,625.11     3.95%    13,603.69      63,760.40     3.81%   17,468.40
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%            0.00   Franchise Fees - Reservations-Central          923.01    0.05%         0.00     0.00%       923.01           0.00     0.00%      923.01

       23,344.29     14.40%   25,661.13    13.82%   -2,316.84     19,640.57      16.61%       3,703.72    Total Franchise Fees                       303,037.42   14.90%   236,687.87   13.84%    66,349.55     216,733.36     12.96%   86,304.06




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             PTD      %        PTD Budget    %          Variance   PTD Last Year     %            Variance                                             YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             A&G
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         5,535.71      3.41%     9,080.37     4.89%    -3,544.66       7,330.35       6.20%      -1,794.64   Management- A&G                      76,488.11     3.76%     88,600.51     5.18%    -12,112.40      79,073.97      4.73%     -2,585.86
        5,535.71      3.41%     9,080.37     4.89%    -3,544.66       7,330.35       6.20%      -1,794.64    Total A&G Management                76,488.11     3.76%     88,600.51     5.18%    -12,112.40      79,073.97      4.73%     -2,585.86
         2,255.49      1.39%         0.00     0.00%     2,255.49           0.00       0.00%       2,255.49   Administrative Assistant              5,346.15     0.26%          0.00     0.00%      5,346.15           0.00      0.00%      5,346.15
        2,255.49      1.39%          0.00    0.00%     2,255.49            0.00      0.00%       2,255.49    Total A&G Non-Management             5,346.15     0.26%           0.00    0.00%      5,346.15            0.00     0.00%      5,346.15
        7,791.20      4.81%     9,080.37     4.89%    -1,289.17       7,330.35       6.20%         460.85    Total A&G Salaries and Wages        81,834.26     4.02%     88,600.51     5.18%     -6,766.25      79,073.97      4.73%      2,760.29
                                                                                                             PR Taxes and Benefits
           519.69      0.32%       721.85     0.39%     -202.16          644.00       0.54%        -124.31   FICA                                  6,095.61     0.30%      7,141.65     0.42%     -1,046.04       6,787.85      0.41%       -692.24
             8.58      0.01%         3.96     0.00%        4.62            0.00       0.00%           8.58   Federal Unemployment Tax                205.98     0.01%        148.53     0.01%         57.45           0.00      0.00%        205.98
            38.61      0.02%        25.48     0.01%       13.13            0.00       0.00%          38.61   State Unemployment Tax                  926.92     0.05%      1,219.85     0.07%       -292.93           0.00      0.00%        926.92
          566.88      0.35%       751.29     0.40%     -184.41          644.00       0.54%          -77.12   Total Payroll Taxes                  7,228.51     0.36%      8,510.03     0.50%     -1,281.52       6,787.85      0.41%        440.66
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Holiday                                   0.00     0.00%      1,000.00     0.06%     -1,000.00       1,603.92      0.10%     -1,603.92
             0.00      0.00%       355.52     0.19%     -355.52        1,478.50       1.25%      -1,478.50   Vacation                                  0.00     0.00%      3,754.29     0.22%     -3,754.29      16,124.94      0.96%    -16,124.94
             0.00     0.00%       355.52     0.19%     -355.52        1,478.50       1.25%      -1,478.50    Total Supplemental Pay                    0.00    0.00%      4,754.29     0.28%     -4,754.29      17,728.86      1.06%    -17,728.86
           367.17      0.23%       480.50     0.26%     -113.33          805.00       0.68%        -437.83   Worker's Compensation                 2,934.45     0.14%      4,767.40     0.28%     -1,832.95       9,010.00      0.54%     -6,075.55
         1,658.92      1.02%         0.00     0.00%    1,658.92        1,390.53       1.18%         268.39   Group Insurance                       9,221.69     0.45%          0.00     0.00%      9,221.69       8,361.44      0.50%        860.25
          -461.75     -0.28%         0.00     0.00%     -461.75            0.00       0.00%        -461.75   Bonus and Incentive Pay                   0.00     0.00%          0.00     0.00%          0.00       5,824.41      0.35%     -5,824.41
        1,564.34      0.96%       480.50     0.26%    1,083.84        2,195.53       1.86%        -631.19    Total Other Benefits                12,156.14     0.60%      4,767.40     0.28%      7,388.74      23,195.85      1.39%    -11,039.71
        2,131.22      1.31%     1,587.31     0.85%      543.91        4,318.03       3.65%      -2,186.81    Total A&G PR Taxes and Benefits     19,384.65     0.95%     18,031.72     1.05%      1,352.93      47,712.56      2.85%    -28,327.91
        9,922.42      6.12%    10,667.68     5.75%     -745.26       11,648.38       9.85%      -1,725.96    Total A&G Payroll                  101,218.91     4.98%    106,632.23     6.23%     -5,413.32     126,786.53      7.58%    -25,567.62
                                                                                                             Other Expenses
         1,000.00      0.62%     1,000.00     0.54%        0.00        2,000.00       1.69%      -1,000.00   Accounting/Audit Fees                 8,000.00     0.39%     10,000.00     0.58%    -2,000.00       20,000.00      1.20%   -12,000.00
         1,948.04      1.20%         0.00     0.00%    1,948.04         -352.73      -0.30%       2,300.77   Bad Debt Provision                    3,657.68     0.18%          0.00     0.00%     3,657.68        1,625.67      0.10%     2,032.01
           707.83      0.44%     1,075.00     0.58%     -367.17          824.04       0.70%        -116.21   Bank Charges                          6,213.34     0.31%     10,750.00     0.63%    -4,536.66        9,757.96      0.58%    -3,544.62
         2,500.03      1.54%         0.00     0.00%    2,500.03            0.00       0.00%       2,500.03   Cash Over/Short                       2,527.10     0.12%          0.00     0.00%     2,527.10         -377.53     -0.02%     2,904.63
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Central Office - Accounting Fees          0.00     0.00%      1,250.00     0.07%    -1,250.00            0.00      0.00%         0.00
           260.00      0.16%       160.00     0.09%      100.00            0.00       0.00%         260.00   Central Office - IT Fees              2,400.00     0.12%      1,600.00     0.09%       800.00            0.00      0.00%     2,400.00
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Classified Advertising                  490.00     0.02%          0.00     0.00%       490.00            0.00      0.00%       490.00
            60.00      0.04%        60.00     0.03%        0.00            0.00       0.00%          60.00   Communication Expense                   360.00     0.02%        600.00     0.04%      -240.00          212.02      0.01%       147.98
         8,960.30      5.53%     4,827.42     2.60%    4,132.88       -3,976.04      -3.36%      12,936.34   Credit Card Commission               57,149.10     2.81%     44,469.27     2.60%    12,679.83       40,739.91      2.44%    16,409.19
             0.00      0.00%         0.00     0.00%        0.00        1,846.28       1.56%      -1,846.28   Data Processing                           0.00     0.00%          0.00     0.00%         0.00       13,962.69      0.83%   -13,962.69
            90.00      0.06%       173.42     0.09%      -83.42          120.00       0.10%         -30.00   Dues and Subscriptions                1,881.35     0.09%      1,734.20     0.10%       147.15        1,246.60      0.07%       634.75
           551.18      0.34%       200.00     0.11%      351.18          131.41       0.11%         419.77   Employee Relations                    2,540.54     0.12%      3,750.00     0.22%    -1,209.46        1,528.76      0.09%     1,011.78
             0.00      0.00%         0.00     0.00%        0.00          535.67       0.45%        -535.67   Licenses/Permits                        383.70     0.02%        807.00     0.05%      -423.30        1,973.28      0.12%    -1,589.58
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Meals and Entertainment               1,036.58     0.05%          0.00     0.00%     1,036.58            0.00      0.00%     1,036.58
           295.08      0.18%         0.00     0.00%      295.08            0.00       0.00%         295.08   Miscellaneous Expense                   692.93     0.03%          0.00     0.00%       692.93            0.00      0.00%       692.93
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Office Equipment                      3,448.88     0.17%          0.00     0.00%     3,448.88            0.00      0.00%     3,448.88
           137.21      0.08%       150.00     0.08%      -12.79           18.55       0.02%         118.66   Office Supplies                       1,560.70     0.08%      1,500.00     0.09%        60.70          843.94      0.05%       716.76
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Operating Supplies                      135.79     0.01%          0.00     0.00%       135.79            0.00      0.00%       135.79
           220.27      0.14%       324.00     0.17%     -103.73          231.85       0.20%         -11.58   Payroll Service Fees                  1,510.24     0.07%      3,240.00     0.19%    -1,729.76        3,948.65      0.24%    -2,438.41
            93.36      0.06%        75.00     0.04%       18.36           28.03       0.02%          65.33   Postage                                 719.92     0.04%        750.00     0.04%       -30.08          392.54      0.02%       327.38
             0.00      0.00%       150.00     0.08%     -150.00            0.00       0.00%           0.00   Professional Fees - Legal             2,956.66     0.15%      1,500.00     0.09%     1,456.66            0.00      0.00%     2,956.66
             0.00      0.00%       500.00     0.27%     -500.00            0.00       0.00%           0.00   Professional Fees - Other             6,719.22     0.33%      5,000.00     0.29%     1,719.22        9,297.58      0.56%    -2,578.36
           450.00      0.28%       150.00     0.08%      300.00            0.00       0.00%         450.00   Recruitment Advertising               6,960.00     0.34%      1,500.00     0.09%     5,460.00          671.63      0.04%     6,288.37
            28.95      0.02%         0.00     0.00%       28.95          122.98       0.10%         -94.03   Recruitment - Other                   1,302.54     0.06%          0.00     0.00%     1,302.54          804.47      0.05%       498.07
           536.69      0.33%       520.70     0.28%       15.99            0.00       0.00%         536.69   Software Expense/Maintenance         12,189.60     0.60%      6,157.00     0.36%     6,032.60            0.00      0.00%    12,189.60
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Training                              3,055.95     0.15%          0.00     0.00%     3,055.95          503.26      0.03%     2,552.69
           202.06      0.12%        50.00     0.03%      152.06            0.00       0.00%         202.06   Travel                                5,255.65     0.26%        500.00     0.03%     4,755.65          751.14      0.04%     4,504.51
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Uniforms                                308.24     0.02%          0.00     0.00%       308.24            0.00      0.00%       308.24
       18,041.00     11.13%     9,415.54     5.07%    8,625.46        1,530.04       1.29%      16,510.96    Total A&G Other Expenses           133,455.71     6.56%     95,107.47     5.56%    38,348.24      107,882.57      6.45%    25,573.14
       27,963.42     17.25%    20,083.22    10.82%    7,880.20       13,178.42      11.15%      14,785.00    Total A&G Expenses                 234,674.62    11.54%    201,739.70    11.80%    32,934.92      234,669.10     14.03%          5.52




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                                                                              Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        IT
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wags
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Management                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Non-Management                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Salaries and Wages            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT PR Taxes and Benefits         0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Payroll                       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Services
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Cost of Services              0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        System Costs
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Systems                       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Other Expenses                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Expenses                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                  Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %            Variance                                            YTD    %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Division Management                   424.05    0.02%         0.00      0.00%        424.05           0.00     0.00%         424.05
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Sales Managers                          0.00    0.00%         0.00      0.00%          0.00      11,429.22     0.68%     -11,429.22
             0.00     0.00%          0.00   0.00%          0.00           0.00      0.00%            0.00    Total S&M Management                 424.05    0.02%          0.00     0.00%        424.05      11,429.22     0.68%     -11,005.17
          -303.34     -0.19%     3,011.43    1.62%    -3,314.77           0.00       0.00%        -303.34    Administrative Assistant           20,584.15    1.01%    29,531.45      1.73%     -8,947.30           0.00     0.00%      20,584.15
         -303.34     -0.19%     3,011.43    1.62%    -3,314.77            0.00      0.00%        -303.34     Total S&M Non-Management          20,584.15    1.01%    29,531.45      1.73%     -8,947.30            0.00    0.00%      20,584.15

         -303.34     -0.19%     3,011.43    1.62%    -3,314.77            0.00      0.00%        -303.34     Total S&M Salaries and Wages      21,008.20    1.03%    29,531.45      1.73%     -8,523.25      11,429.22     0.68%       9,578.98

                                                                                                             PR Taxes and Benefits
            -22.70    -0.01%       230.37    0.12%     -253.07            0.00       0.00%          -22.70   FICA                                1,651.08    0.08%     2,259.12      0.13%       -608.04         922.52      0.06%        728.56
             -0.38     0.00%         1.26    0.00%       -1.64            0.00       0.00%           -0.38   Federal Unemployment Tax               61.69    0.00%        47.06      0.00%         14.63           0.00      0.00%         61.69
             -1.71     0.00%         8.13    0.00%       -9.84            0.00       0.00%           -1.71   State Unemployment Tax                277.61    0.01%       386.94      0.02%       -109.33           0.00      0.00%        277.61
           -24.79    -0.02%       239.76    0.13%     -264.55             0.00      0.00%          -24.79    Total Payroll Taxes                1,990.38    0.10%     2,693.12      0.16%       -702.74         922.52      0.06%      1,067.86
              0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Holiday                               272.00    0.01%         0.00      0.00%        272.00         173.04      0.01%         98.96
              0.00    0.00%          0.00   0.00%         0.00            0.00      0.00%             0.00   Total Supplemental Pay               272.00    0.01%          0.00     0.00%        272.00         173.04      0.01%          98.96
              0.00     0.00%       153.35    0.08%     -153.35            0.00       0.00%            0.00   Worker's Compensation                 918.51    0.05%     1,508.22      0.09%       -589.71           0.00      0.00%        918.51
         1,313.19      0.81%         0.00    0.00%    1,313.19            0.00       0.00%       1,313.19    Group Insurance                     4,376.11    0.22%         0.00      0.00%      4,376.11        -423.79     -0.03%      4,799.90
              0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Bonus and Incentive Pay               461.75    0.02%         0.00      0.00%        461.75         198.73      0.01%        263.02
        1,313.19      0.81%       153.35    0.08%    1,159.84             0.00      0.00%       1,313.19     Total Other Benefits               5,756.37    0.28%     1,508.22      0.09%      4,248.15        -225.06     -0.01%      5,981.43
        1,288.40      0.79%       393.11    0.21%      895.29             0.00      0.00%       1,288.40     Total S&M PR Taxes and Benefits    8,018.75    0.39%     4,201.34      0.25%      3,817.41         870.50      0.05%      7,148.25

          985.06      0.61%     3,404.54    1.83%    -2,419.48            0.00      0.00%         985.06     Total S&M Payroll                 29,026.95    1.43%    33,732.79      1.97%     -4,705.84      12,299.72     0.74%     16,727.23

                                                                                                             Other Expenses
           468.60      0.29%         0.00    0.00%       468.60           0.00       0.00%         468.60    Advertising General                 5,276.23    0.26%         0.00      0.00%      5,276.23           0.00     0.00%      5,276.23
             0.00      0.00%       940.00    0.51%      -940.00         279.44       0.24%        -279.44    Advertising-Web/Internet                0.00    0.00%    10,435.00      0.61%    -10,435.00       5,690.35     0.34%     -5,690.35
             0.00      0.00%         0.00    0.00%         0.00       2,260.00       1.91%      -2,260.00    Billboards                              0.00    0.00%         0.00      0.00%          0.00       2,260.00     0.14%     -2,260.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Communication Expense                   0.00    0.00%         0.00      0.00%          0.00         100.00     0.01%       -100.00
         1,088.00      0.67%     1,341.00    0.72%      -253.00        -903.93      -0.76%       1,991.93    Dues and Subscriptions             17,565.61    0.86%    14,910.00      0.87%      2,655.61       5,330.72     0.32%     12,234.89
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Meals and Entertainment               219.22    0.01%         0.00      0.00%        219.22          66.99     0.00%        152.23
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Miscellaneous Expense                 100.00    0.00%         0.00      0.00%        100.00           0.00     0.00%        100.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Office Supplies                         0.00    0.00%         0.00      0.00%          0.00          21.69     0.00%        -21.69
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Postage                                11.19    0.00%         0.00      0.00%         11.19           0.00     0.00%         11.19
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Printing and Stationery                 0.00    0.00%         0.00      0.00%          0.00          10.64     0.00%        -10.64
             0.00      0.00%        50.00    0.03%       -50.00           0.00       0.00%           0.00    Promotions - In-house                   0.00    0.00%       500.00      0.03%       -500.00         312.97     0.02%       -312.97
             0.00      0.00%        50.00    0.03%       -50.00           0.00       0.00%           0.00    Promotion - Outside                     4.00    0.00%       500.00      0.03%       -496.00           0.00     0.00%          4.00
            54.34      0.03%         0.00    0.00%        54.34           0.00       0.00%          54.34    Public Relations                       54.34    0.00%         0.00      0.00%         54.34           0.00     0.00%         54.34
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Radio & Television Advertising         16.14    0.00%         0.00      0.00%         16.14           0.00     0.00%         16.14
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Software Expense/Maintenance            0.00    0.00%     6,436.00      0.38%     -6,436.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00    Trade Shows                            60.00    0.00%         0.00      0.00%         60.00           0.00     0.00%         60.00
             0.00      0.00%       750.00    0.40%      -750.00           0.00       0.00%           0.00    Training                              995.00    0.05%     2,250.00      0.13%     -1,255.00          37.27     0.00%        957.73
            72.24      0.04%        50.00    0.03%        22.24           0.00       0.00%          72.24    Travel                                352.58    0.02%       500.00      0.03%       -147.42         175.92     0.01%        176.66
        1,683.18      1.04%     3,181.00    1.71%    -1,497.82       1,635.51       1.38%           47.67    Total S&M Other Expenses          24,654.31    1.21%    35,531.00      2.08%    -10,876.69      14,006.55     0.84%     10,647.76

        2,668.24      1.65%     6,585.54    3.55%    -3,917.30       1,635.51       1.38%       1,032.73     Total S&M Expenses                53,681.26    2.64%    69,263.79      4.05%    -15,582.53      26,306.27     1.57%     27,374.99




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                                                                                Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %              Variance   YTD Last Year   %           Variance

                                                                                                          R&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
         5,491.93      3.39%     5,312.45    2.86%     179.48       5,887.44       4.98%        -395.51   Division Management                   49,303.23    2.42%    51,835.51      3.03%    -2,532.28      46,302.06     2.77%      3,001.17
        5,491.93      3.39%     5,312.45    2.86%     179.48       5,887.44       4.98%        -395.51    Total R&M Management                 49,303.23    2.42%    51,835.51      3.03%    -2,532.28      46,302.06     2.77%      3,001.17
         1,542.54      0.95%       921.14    0.50%     621.40           0.00       0.00%       1,542.54   Engineers 1                           10,831.11    0.53%     9,033.13      0.53%     1,797.98       3,646.71     0.22%      7,184.40
        1,542.54      0.95%       921.14    0.50%     621.40            0.00      0.00%       1,542.54    Total R&M Non-Management             10,831.11    0.53%     9,033.13      0.53%     1,797.98       3,646.71     0.22%      7,184.40

        7,034.47      4.34%     6,233.59    3.36%     800.88       5,887.44       4.98%       1,147.03    Total R&M Salaries and Wages         60,134.34    2.96%    60,868.64      3.56%     -734.30       49,948.77     2.99%    10,185.57

                                                                                                          PR Taxes and Benefits
           537.72      0.33%       492.78    0.27%      44.94         406.86       0.34%         130.86   FICA                                   4,490.31    0.22%     4,824.49      0.28%      -334.18       4,125.63     0.25%        364.68
             7.99      0.00%         2.71    0.00%       5.28           0.00       0.00%           7.99   Federal Unemployment Tax                 170.52    0.01%       100.18      0.01%        70.34           0.00     0.00%        170.52
            35.94      0.02%        17.39    0.01%      18.55           0.00       0.00%          35.94   State Unemployment Tax                   767.44    0.04%       824.01      0.05%       -56.57           0.00     0.00%        767.44
          581.65      0.36%       512.88    0.28%       68.77        406.86       0.34%         174.79    Total Payroll Taxes                   5,428.27    0.27%     5,748.68      0.34%      -320.41       4,125.63     0.25%      1,302.64
             0.00      0.00%         0.00    0.00%       0.00           0.00       0.00%           0.00   Holiday                                  360.02    0.02%         0.00      0.00%       360.02         928.80     0.06%       -568.78
             0.00      0.00%       208.00    0.11%    -208.00         123.76       0.10%        -123.76   Vacation                               2,728.24    0.13%     2,196.45      0.13%       531.79      10,505.47     0.63%     -7,777.23
             0.00     0.00%       208.00    0.11%    -208.00         123.76       0.10%        -123.76    Total Supplemental Pay                3,088.26    0.15%     2,196.45      0.13%       891.81      11,434.27     0.68%     -8,346.01
           340.08      0.21%       328.02    0.18%      12.06           0.00       0.00%         340.08   Worker's Compensation                  2,622.75    0.13%     3,220.68      0.19%      -597.93           0.00     0.00%      2,622.75
             0.00      0.00%         0.00    0.00%       0.00         593.42       0.50%        -593.42   Group Insurance                         -406.27   -0.02%         0.00      0.00%      -406.27       5,847.00     0.35%     -6,253.27
          340.08      0.21%       328.02    0.18%       12.06        593.42       0.50%        -253.34    Total Other Benefits                  2,216.48    0.11%     3,220.68      0.19%    -1,004.20       5,847.00     0.35%     -3,630.52
          921.73      0.57%     1,048.90    0.56%    -127.17       1,124.04       0.95%        -202.31    Total R&M PR Taxes and Benefits      10,733.01    0.53%    11,165.81      0.65%      -432.80      21,406.90     1.28%    -10,673.89

        7,956.20      4.91%     7,282.49    3.92%     673.71       7,011.48       5.93%        944.72     Total R&M Payroll                    70,867.35    3.48%    72,034.45      4.21%    -1,167.10      71,355.67     4.27%       -488.32

                                                                                                          Other Expenses
         2,393.06     1.48%       250.00    0.13%    2,143.06           0.00      0.00%       2,393.06    Air Conditioning and Refrigeration   12,043.27    0.59%      2,500.00     0.15%     9,543.27        2,169.47    0.13%       9,873.80
            12.76     0.01%         0.00    0.00%       12.76           0.00      0.00%          12.76    Audio Visual Repair                      12.76    0.00%          0.00     0.00%        12.76            0.00    0.00%          12.76
           200.20     0.12%       250.00    0.13%      -49.80           6.07      0.01%         194.13    Building                              3,665.59    0.18%      2,500.00     0.15%     1,165.59        1,361.48    0.08%       2,304.11
             0.00     0.00%        40.00    0.02%      -40.00           0.00      0.00%           0.00    Communication Expense                     0.00    0.00%        400.00     0.02%      -400.00           30.00    0.00%         -30.00
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Contract Labor                            0.00    0.00%      3,000.00     0.18%    -3,000.00            0.00    0.00%           0.00
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Curtains and Drapes                     509.05    0.03%          0.00     0.00%       509.05            0.00    0.00%         509.05
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Dues and Subscriptions                   39.13    0.00%          0.00     0.00%        39.13            0.00    0.00%          39.13
           455.87     0.28%       200.00    0.11%      255.87          32.71      0.03%         423.16    Electric Bulbs                        2,362.85    0.12%      2,000.00     0.12%       362.85        1,015.46    0.06%       1,347.39
           231.00     0.14%       100.00    0.05%      131.00           0.00      0.00%         231.00    Electrical and Mechanical             1,746.92    0.09%      1,000.00     0.06%       746.92          655.06    0.04%       1,091.86
             0.00     0.00%       473.67    0.26%     -473.67           0.00      0.00%           0.00    Elevator Maintenance Contracts        5,641.20    0.28%      4,736.70     0.28%       904.50            0.00    0.00%       5,641.20
           219.07     0.14%         0.00    0.00%      219.07           0.00      0.00%         219.07    Equipment Maintenance                 1,780.08    0.09%          0.00     0.00%     1,780.08        4,596.26    0.27%      -2,816.18
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Equipment Rental                        642.10    0.03%          0.00     0.00%       642.10            0.00    0.00%         642.10
            53.25     0.03%       659.17    0.36%     -605.92           0.00      0.00%          53.25    Fire Safety Equipment                    98.04    0.00%      6,591.70     0.39%    -6,493.66        4,361.69    0.26%      -4,263.65
           972.07     0.60%         0.00    0.00%      972.07          59.61      0.05%         912.46    Floor and Carpet Maintenance          1,198.72    0.06%          0.00     0.00%     1,198.72          507.00    0.03%         691.72
             4.03     0.00%       100.00    0.05%      -95.97           0.00      0.00%           4.03    Furniture                             1,337.16    0.07%      1,000.00     0.06%       337.16        1,099.80    0.07%         237.36
           700.00     0.43%       893.75    0.48%     -193.75       1,500.00      1.27%        -800.00    Grounds and Landscaping               6,925.26    0.34%      8,937.50     0.52%    -2,012.24        6,909.38    0.41%          15.88
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Indoor Plant Maintenance                 11.66    0.00%          0.00     0.00%        11.66            0.00    0.00%          11.66
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Kitchen Equipment Repairs               241.87    0.01%          0.00     0.00%       241.87            0.00    0.00%         241.87
             0.00     0.00%         0.00    0.00%        0.00         953.37      0.81%        -953.37    Laundry Equipment Repairs               665.93    0.03%          0.00     0.00%       665.93        1,181.36    0.07%        -515.43
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Licenses/Permits                        200.95    0.01%        134.00     0.01%        66.95          125.00    0.01%          75.95
           548.13     0.34%        66.67    0.04%      481.46           0.00      0.00%         548.13    Locks and Keys                        1,871.64    0.09%        666.70     0.04%     1,204.94            0.00    0.00%       1,871.64
             0.00     0.00%         0.00    0.00%        0.00          33.52      0.03%         -33.52    Maintenance Contracts                     0.00    0.00%          0.00     0.00%         0.00          302.35    0.02%        -302.35
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Miscellaneous Expense                    94.83    0.00%          0.00     0.00%        94.83            0.00    0.00%          94.83
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Office Equipment                        596.11    0.03%          0.00     0.00%       596.11            0.00    0.00%         596.11
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Office Supplies                       1,401.86    0.07%          0.00     0.00%     1,401.86            0.00    0.00%       1,401.86
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Operating Supplies                      578.12    0.03%          0.00     0.00%       578.12            0.00    0.00%         578.12
           286.67     0.18%         0.00    0.00%      286.67           0.00      0.00%         286.67    Painting and Decorating               1,341.93    0.07%          0.00     0.00%     1,341.93           46.39    0.00%       1,295.54
           362.63     0.22%       625.00    0.34%     -262.37         213.00      0.18%         149.63    Pest Control                          3,438.81    0.17%      6,250.00     0.37%    -2,811.19        1,875.49    0.11%       1,563.32
         2,939.21     1.81%       150.00    0.08%    2,789.21         166.82      0.14%       2,772.39    Plumbing and Heating                  4,245.71    0.21%      1,500.00     0.09%     2,745.71        1,440.12    0.09%       2,805.59
             0.00     0.00%       444.75    0.24%     -444.75           0.00      0.00%           0.00    Pool Chemicals                           70.01    0.00%      4,447.50     0.26%    -4,377.49            0.00    0.00%          70.01
           721.50     0.45%         0.00    0.00%      721.50         350.00      0.30%         371.50    Pool Service- Contract                4,691.50    0.23%          0.00     0.00%     4,691.50        3,137.99    0.19%       1,553.51
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Radio and Television Repair             254.41    0.01%          0.00     0.00%       254.41            0.00    0.00%         254.41
             0.00     0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00    Signage                                 116.17    0.01%          0.00     0.00%       116.17            0.00    0.00%         116.17
             0.00     0.00%        94.00    0.05%      -94.00           0.00      0.00%           0.00    Software Expense/Maintenance              0.00    0.00%      1,440.00     0.08%    -1,440.00            0.00    0.00%           0.00
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                                                                                 Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

             6.97      0.00%        50.00    0.03%      -43.03           0.00       0.00%           6.97   Tools                                 273.39    0.01%        500.00     0.03%     -226.61           0.00     0.00%       273.39
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Travel                                105.61    0.01%        500.00     0.03%     -394.39           0.00     0.00%       105.61
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Uniforms                                0.00    0.00%        200.00     0.01%     -200.00           0.00     0.00%         0.00
             0.00      0.00%        75.00    0.04%      -75.00          41.00       0.03%         -41.00   Vehicle Maintenance & Repairs         902.62    0.04%        750.00     0.04%      152.62         559.39     0.03%       343.23
           647.91      0.40%       801.50    0.43%     -153.59         464.67       0.39%         183.24   Waste Removal                       6,685.57    0.33%      6,815.00     0.40%     -129.43       4,353.39     0.26%     2,332.18
       10,754.33      6.63%     5,273.51    2.84%    5,480.82       3,820.77       3.23%       6,933.56    Total R&M Other Expenses          65,790.83    3.23%     55,869.10     3.27%    9,921.73      35,727.08     2.14%    30,063.75

       18,710.53     11.54%    12,556.00    6.76%    6,154.53      10,832.25       9.16%       7,878.28    Total R&M Expenses               136,658.18    6.72%    127,903.55     7.48%    8,754.63     107,082.75     6.40%    29,575.43




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                                                                                Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                          Utilities
         1,026.52      0.63%     1,620.90    0.87%    -594.38       2,176.35       1.84%      -1,149.83   Water                              13,031.34    0.64%    13,930.56      0.81%     -899.22      21,895.29     1.31%    -8,863.95
         5,635.87      3.48%     5,330.96    2.87%     304.91       4,874.28       4.12%         761.59   Electricity                        50,866.44    2.50%    45,816.08      2.68%    5,050.36      42,221.42     2.52%     8,645.02
           674.04      0.42%       774.43    0.42%    -100.39         341.10       0.29%         332.94   Gas - Natural HLP                   7,761.75    0.38%     6,655.71      0.39%    1,106.04       5,673.54     0.34%     2,088.21
         1,509.51      0.93%     1,620.90    0.87%    -111.39           0.00       0.00%       1,509.51   Sewer                              15,010.50    0.74%    13,930.56      0.81%    1,079.94           0.00     0.00%    15,010.50
        8,845.94      5.46%     9,347.19    5.03%    -501.25       7,391.73       6.25%       1,454.21    Total Utilities                   86,670.03    4.26%    80,332.91      4.70%    6,337.12      69,790.25     4.17%    16,879.78




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                                                                                  Company: FEFL Associates LLC Property: Hampton Inn & Suites Fort Myers Estero
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget    %         Variance   PTD Last Year     %            Variance                                           YTD     %        YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                            Fixed
           473.00      0.29%       486.00     0.26%      -13.00         486.18       0.41%         -13.18   Personal Property Taxes             6,609.40     0.32%      4,860.00     0.28%     1,749.40       5,018.45      0.30%        1,590.95
         9,563.75      5.90%       658.92     0.35%    8,904.83       7,906.64       6.69%       1,657.11   Real Estate Taxes                  53,389.74     2.62%      6,589.20     0.39%    46,800.54      79,066.40      4.73%     -25,676.66
       10,036.75      6.19%     1,144.92     0.62%    8,891.83       8,392.82       7.10%       1,643.93    Total Taxes                       59,999.14     2.95%     11,449.20     0.67%    48,549.94      84,084.85      5.03%     -24,085.71
           313.41      0.19%         0.00     0.00%      313.41       4,442.66       3.76%      -4,129.25   Insurance                             940.23     0.05%          0.00     0.00%       940.23      42,896.42      2.56%     -41,956.19
           400.25      0.25%       400.25     0.22%        0.00           0.00       0.00%         400.25   Insurance - Automobile              4,002.50     0.20%      4,002.50     0.23%         0.00           0.00      0.00%        4,002.50
            68.34      0.04%         0.00     0.00%       68.34           0.00       0.00%          68.34   Insurance - Crime                     205.02     0.01%          0.00     0.00%       205.02           0.00      0.00%          205.02
           361.92      0.22%       125.00     0.07%      236.92           0.00       0.00%         361.92   Insurance - Employment              1,451.76     0.07%      1,250.00     0.07%       201.76           0.00      0.00%        1,451.76
         1,130.75      0.70%       987.00     0.53%      143.75           0.00       0.00%       1,130.75   Insurance - General Liability      11,274.25     0.55%      9,870.00     0.58%     1,404.25           0.00      0.00%       11,274.25
         2,922.17      1.80%     2,922.17     1.57%        0.00           0.00       0.00%       2,922.17   Insurance - Property               29,221.67     1.44%     29,221.70     1.71%        -0.03           0.00      0.00%       29,221.67
         1,757.92      1.08%     1,708.17     0.92%       49.75           0.00       0.00%       1,757.92   Insurance - Umbrella               17,230.92     0.85%     17,081.70     1.00%       149.22           0.00      0.00%       17,230.92
        6,954.76      4.29%     6,142.59     3.31%      812.17       4,442.66       3.76%       2,512.10    Total Insurance                   64,326.35     3.16%     61,425.90     3.59%     2,900.45      42,896.42      2.56%      21,429.93
        24,271.00     14.97%    24,271.00    13.07%        0.00      27,011.94      22.84%      -2,740.94   Ground Lease Expense              236,860.00    11.64%    236,860.00    13.85%         0.00     242,821.66     14.51%       -5,961.66
       24,271.00     14.97%    24,271.00    13.07%         0.00     27,011.94      22.84%      -2,740.94    Total Leases & Rent              236,860.00    11.64%    236,860.00    13.85%          0.00    242,821.66     14.51%       -5,961.66
         5,363.86      3.31%     5,570.09     3.00%     -206.23       2,954.30       2.50%       2,409.56   Management Fee - Base              67,054.11     3.30%     54,309.84     3.18%    12,744.27      41,815.03      2.50%       25,239.08
             0.00      0.00%         0.00     0.00%        0.00       3,706.05       3.13%      -3,706.05   Management Fee - Incentive              0.00     0.00%          0.00     0.00%         0.00      10,976.50      0.66%     -10,976.50
        5,363.86      3.31%     5,570.09     3.00%     -206.23       6,660.35       5.63%      -1,296.49    Total Management Fees             67,054.11     3.30%     54,309.84     3.18%    12,744.27      52,791.53      3.16%      14,262.58
           472.00      0.29%         0.00     0.00%      472.00       8,117.36       6.87%      -7,645.36   Capital Reserve                     2,891.28     0.14%          0.00     0.00%     2,891.28      81,173.60      4.85%     -78,282.32
             0.00      0.00%         0.00     0.00%        0.00      32,426.00      27.42%     -32,426.00   (Gain)/Loss-Insurance                   0.00     0.00%          0.00     0.00%         0.00     324,260.00     19.38%    -324,260.00
             0.00      0.00%         0.00     0.00%        0.00         450.00       0.38%        -450.00   Owner's Expense                    -1,087.92    -0.05%          0.00     0.00%    -1,087.92      27,937.09      1.67%     -29,025.01
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Non Recurring Cost                  3,611.19     0.18%          0.00     0.00%     3,611.19         -19.95      0.00%        3,631.14
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Extraordinary Expense                   0.00     0.00%          0.00     0.00%         0.00       2,156.64      0.13%       -2,156.64
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Prior Owner's Expense               1,187.29     0.06%          0.00     0.00%     1,187.29           0.00      0.00%        1,187.29
          472.00      0.29%          0.00    0.00%      472.00      40,993.36      34.67%     -40,521.36    Total Other Non-Operating          6,601.84     0.32%           0.00    0.00%     6,601.84     435,507.38     26.03%    -428,905.54




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                                                                                     Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %           Variance                                                        YTD     %          YTD Budget %                 Variance   YTD Last Year     %            Variance

                                                                                                             Statistics
           102.00                   102.00                   0.00         102.00                      0.00   # Rooms                                            102.00                   102.00                       0.00         102.00                      0.00
         3,162.00                 3,162.00                   0.00       3,162.00                      0.00   Available Rooms                                 31,008.00                31,008.00                       0.00      31,110.00                   -102.00
         2,600.00                 1,995.00                 605.00       1,766.00                    834.00   Room Nights Sold                                23,965.00                17,811.00                   6,154.00      16,525.00                  7,440.00
          82.23%                   63.09%                 19.13%         55.85%                    26.38%    Occupancy %                                       77.29%                   57.44%                     19.85%         53.12%                    24.17%
           115.53                   108.59                   6.94          86.30                     29.22   ADR                                                121.81                   101.61                      20.20         128.94                     -7.13
            94.99                    68.51                  26.48          48.20                     46.79   RevPar                                              94.15                    58.37                      35.78          68.49                     25.66

                                                                                                             Summary V.11
                                                                                                             Revenue
       300,367.85    99.01%    216,639.00     99.34%   83,728.85      152,410.16     97.94%     147,957.69   Rooms                                        2,919,294.09    98.60%    1,809,837.07    99.29%    1,109,457.02    2,130,743.79    98.37%     788,550.30
             0.00     0.00%          0.00      0.00%        0.00            0.00      0.00%           0.00   F&B                                                  0.00     0.00%            0.00     0.00%            0.00            0.00     0.00%           0.00
         3,017.77     0.99%      1,441.60      0.66%    1,576.17        3,203.35      2.06%        -185.58   Other Departments                               41,363.29     1.40%       12,961.48     0.71%       28,401.81       35,286.56     1.63%       6,076.73

      303,385.62    100.00%    218,080.60    100.00%   85,305.02     155,613.51     100.00%    147,772.11    Total Operating Revenue                     2,960,657.38    100.00%   1,822,798.55 100.00%      1,137,858.83    2,166,030.35 100.00%       794,627.03

                                                                                                             Departmental Expenses
        66,795.07    22.24%     58,655.13     27.08%     8,139.94      28,165.70     18.48%      38,629.37   Rooms                                         594,111.59     20.35%     545,599.70     30.15%      48,511.89      366,028.51     17.18%     228,083.08
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%           0.00   F&B                                                 0.00      0.00%           0.00      0.00%           0.00            0.00      0.00%           0.00
         3,829.67   126.90%      4,583.01    317.91%      -753.34       2,901.71     90.58%         927.96   Other Departments                              35,606.12     86.08%      44,884.66    346.29%      -9,278.54       28,930.20     81.99%       6,675.92

       70,624.74     23.28%     63,238.14    29.00%     7,386.60      31,067.41     19.96%      39,557.33    Total Departmental Expenses                  629,717.71     21.27%     590,484.36     32.39%      39,233.35      394,958.71     18.23%     234,759.00

      232,760.88     76.72%    154,842.46    71.00%    77,918.42     124,546.10     80.04%     108,214.78    Total Departmental Profit                   2,330,939.67    78.73%    1,232,314.19    67.61%    1,098,625.48    1,771,071.64    81.77%     559,868.03

                                                                                                             Undistributed Operating Expenses
        23,205.88     7.65%     17,167.11      7.87%     6,038.77      19,440.90     12.49%       3,764.98   A&G                                           217,763.40      7.36%     161,229.71      8.85%      56,533.69      258,267.20     11.92%     -40,503.80
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%           0.00   IT                                                  0.00      0.00%           0.00      0.00%           0.00            0.00      0.00%           0.00
         7,924.73     2.61%      8,610.97      3.95%      -686.24       3,923.65      2.52%       4,001.08   S&M                                            84,830.66      2.87%      90,972.18      4.99%      -6,141.52       74,316.32      3.43%      10,514.34
        36,803.33    12.13%     29,462.90     13.51%     7,340.43      18,471.39     11.87%      18,331.94   Franchise Fees                                409,417.34     13.83%     246,137.83     13.50%     163,279.51      297,486.55     13.73%     111,930.79
        16,333.67     5.38%     13,652.29      6.26%     2,681.38      10,060.65      6.47%       6,273.02   R&M                                           184,925.80      6.25%     138,344.27      7.59%      46,581.53      114,498.46      5.29%      70,427.34
        13,809.45     4.55%     10,194.45      4.67%     3,615.00       8,949.57      5.75%       4,859.88   Utilities                                     105,426.87      3.56%      91,014.21      4.99%      14,412.66       83,868.76      3.87%      21,558.11

       98,077.06     32.33%     79,087.72    36.27%    18,989.34      60,846.16     39.10%      37,230.90    Total Undistributed Expenses                1,002,364.07    33.86%     727,698.20     39.92%     274,665.87      828,437.29     38.25%     173,926.78

      134,683.82     44.39%     75,754.74    34.74%    58,929.08      63,699.94     40.93%      70,983.88    Gross Operating Profit                   1,328,575.60       44.87%     504,615.99     27.68%     823,959.61      942,634.35     43.52%     385,941.25
         9,601.57      3.16%      6,542.42     3.00%     3,059.15       7,594.05      4.88%       2,007.52   Management Fees                              93,818.71        3.17%      54,683.95      3.00%      39,134.76       65,108.50      3.01%      28,710.21
      125,082.25     41.23%     69,212.32    31.74%    55,869.93      56,105.89     36.05%      68,976.36    Income Before Non-Operating Income and Expenses
                                                                                                                                                      1,234,756.89       41.71%     449,932.04     24.68%     784,824.85      877,525.85     40.51%     357,231.04

                                                                                                             Non-Operating Income and Expenses
         7,090.58      2.34%      6,237.58     2.86%       853.00       4,756.93      3.06%       2,333.65   Insurance                                      65,532.83      2.21%      62,375.80      3.42%        3,157.03      45,388.66      2.10%      20,144.17
        26,919.00      8.87%     26,919.00    12.34%         0.00      29,958.77     19.25%      -3,039.77   Leases & Rent                                 262,701.00      8.87%     266,306.00     14.61%       -3,605.00     269,311.54     12.43%      -6,610.54
         3,779.00      1.25%          0.00     0.00%     3,779.00      62,932.78     40.44%     -59,153.78   Other                                           2,024.84      0.07%           0.00      0.00%        2,024.84     612,874.09     28.29%    -610,849.25
       37,788.58     12.46%     33,156.58    15.20%     4,632.00      97,648.48     62.75%     -59,859.90    Total Non-Operating Income and Expenses      330,258.67     11.15%     328,681.80     18.03%        1,576.87     927,574.29     42.82%    -597,315.62

       87,293.67     28.77%     36,055.74    16.53%    51,237.93     -41,542.59     -26.70%    128,836.26    EBITDA                                        904,498.22    30.55%     121,250.24      6.65%     783,247.98      -50,048.44     -2.31%     954,546.66
             0.00      0.00%          0.00     0.00%         0.00      37,470.00      24.08%    -37,470.00   Interest                                             0.00     0.00%           0.00      0.00%           0.00      374,147.94     17.27%    -374,147.94
        16,918.62      5.58%     13,976.41     6.41%     2,942.21      15,453.16       9.93%      1,465.46   Taxes                                          147,322.97     4.98%     139,764.10      7.67%       7,558.87      154,750.35      7.14%      -7,427.38
             0.00      0.00%          0.00     0.00%         0.00       3,620.00       2.33%     -3,620.00   Amortization                                         0.00     0.00%           0.00      0.00%           0.00       36,200.00      1.67%     -36,200.00
       16,918.62      5.58%     13,976.41     6.41%     2,942.21      56,543.16      36.34%    -39,624.54    Interest, Taxes, Depreciation and Amortization147,322.97     4.98%     139,764.10      7.67%       7,558.87      565,098.29     26.09%    -417,775.32

       70,375.05     23.20%     22,079.33    10.12%    48,295.72     -98,085.75     -63.03%    168,460.80    Net Income                                   757,175.25     25.57%      -18,513.86     -1.02%    775,689.11     -615,146.73     -28.40%   1,372,321.98




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                                                                                  Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %       PTD Budget    %         Variance   PTD Last Year    %           Variance                                            YTD     %         YTD Budget %                Variance   YTD Last Year     %         Variance

                                                                                                         Statistics
           102.00                 102.00                 0.00          102.00                     0.00   # Rooms                                102.00                  102.00                      0.00         102.00                    0.00
         3,162.00               3,162.00                 0.00        3,162.00                     0.00   Available Rooms                     31,008.00               31,008.00                      0.00      31,110.00                 -102.00
         2,600.00               1,995.00               605.00        1,766.00                   834.00   Room Nights Sold                    23,965.00               17,811.00                  6,154.00      16,525.00                7,440.00
             0.82                   0.63                 0.19            0.56                     0.26   Occupancy %                              0.77                    0.57                      0.20           0.53                    0.24
           115.53                 108.59                 6.94           86.30                    29.22   ADR                                    121.81                  101.61                     20.20         128.94                   -7.13
            94.99                  68.51                26.48           48.20                    46.79   RevPar                                  94.15                   58.37                     35.78          68.49                   25.66

                                                                                                         Summary
                                                                                                         Revenue:
       300,367.85    99.01%   216,639.00   99.34%    83,728.85     152,410.16    97.94%     147,957.69   Rooms                            2,919,294.09   98.60%    1,809,837.07    99.29%   1,109,457.02   2,130,743.79    98.37%    788,550.30
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Food                                     0.00    0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Beverage                                 0.00    0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Other F&B Revenue                        0.00    0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Telephone                                0.00    0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
         3,017.77     0.99%     1,441.60    0.66%     1,576.17       3,203.35     2.06%        -185.58   Other                               41,363.29    1.40%       12,961.48     0.71%      28,401.81      35,286.56     1.63%      6,076.73

       303,385.62   100.00%   218,080.60   100.00%   85,305.02     155,613.51    100.00%    147,772.11   Total Revenue                    2,960,657.38   100.00%   1,822,798.55   100.00%   1,137,858.83   2,166,030.35    100.00%   794,627.03



                                                                                                         Cost of Sales:
             0.00     0.00%         0.00     0.00%        0.00           0.00     0.00%           0.00   Food                                     0.00    0.00%           0.00      0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%        0.00           0.00     0.00%           0.00   Beverage                                 0.00    0.00%           0.00      0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%        0.00           0.00     0.00%           0.00   Other F&B                                0.00    0.00%           0.00      0.00%           0.00           0.00     0.00%          0.00
         2,003.31    66.38%     2,365.00   164.05%     -361.69       1,478.48    46.15%         524.83   Telephone                           20,716.15   50.08%      23,650.00    182.46%      -2,933.85      14,216.75    40.29%      6,499.40
         1,429.80    47.38%       939.59    65.18%      490.21         518.54    16.19%         911.26   Other                               11,236.99   27.17%       8,450.46     65.20%       2,786.53       5,907.48    16.74%      5,329.51

         3,433.11   113.76%     3,304.59   229.23%     128.52        1,997.02    62.34%       1,436.09   Total Cost of Sales                 31,953.14   77.25%      32,100.46    247.66%       -147.32       20,124.23    57.03%     11,828.91



                                                                                                         Payroll:
        39,099.18    13.02%    31,531.67   14.55%     7,567.51      15,282.45    10.03%      23,816.73   Rooms                              333,426.72   11.42%     298,679.64     16.50%     34,747.08      170,095.67     7.98%    163,331.05
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   F&B                                      0.00    0.00%           0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Other                                    0.00    0.00%           0.00      0.00%          0.00            0.00     0.00%          0.00
         5,438.64     1.79%     5,271.58    2.42%       167.06       9,380.27     6.03%      -3,941.63   A&G                                 53,052.80    1.79%      51,436.75      2.82%      1,616.05       81,761.12     3.77%    -28,708.32
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   IT                                       0.00    0.00%           0.00      0.00%          0.00            0.00     0.00%          0.00
         5,429.52     1.79%     4,457.63    2.04%       971.89       4,747.24     3.05%         682.28   S&M                                 51,389.98    1.74%      43,494.74      2.39%      7,895.24       40,974.76     1.89%     10,415.22
         6,427.60     2.12%     6,529.66    2.99%      -102.06       5,394.11     3.47%       1,033.49   R&M                                 53,911.20    1.82%      63,858.40      3.50%     -9,947.20       42,634.35     1.97%     11,276.85
        56,394.94    18.59%    47,790.54   21.91%     8,604.40      34,804.07    22.37%      21,590.87   Total Salaries and Wages           491,780.70   16.61%     457,469.53     25.10%     34,311.17      335,465.90    15.49%    156,314.80

         8,905.31     2.94%     7,807.44    3.58%     1,097.87       8,576.97     5.51%         328.34   Total Taxes and Benefits            94,674.87    3.20%      81,852.20      4.49%     12,822.67      116,303.52     5.37%    -21,628.65
        65,300.25    21.52%    55,597.98   25.49%     9,702.27      43,381.04    27.88%      21,919.21   Total Labor Costs                  586,455.57   19.81%     539,321.73     29.59%     47,133.84      451,769.42    20.86%    134,686.15



                                                                                                         Direct Expenses:
        21,430.90     7.13%    22,142.78   10.22%      -711.88      10,096.07     6.62%      11,334.83   Rooms                              204,307.74    7.00%     195,104.69     10.78%      9,203.05      154,310.77     7.24%     49,996.97
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   F&B                                      0.00    0.00%           0.00      0.00%          0.00            0.00     0.00%          0.00
           396.56    13.14%     1,278.42   88.68%      -881.86         904.69    28.24%        -508.13   Telephone                            3,652.98    8.83%      12,784.20     98.63%     -9,131.22        8,805.97    24.96%     -5,152.99
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Other                                    0.00    0.00%           0.00      0.00%          0.00            0.00     0.00%          0.00
        36,803.33    12.13%    29,462.90   13.51%     7,340.43      18,471.39    11.87%      18,331.94   Franchise Fees                     409,417.34   13.83%     246,137.83     13.50%    163,279.51      297,486.55    13.73%    111,930.79
        16,601.67     5.47%    10,936.04    5.01%     5,665.63       7,188.64     4.62%       9,413.03   A&G                                153,278.91    5.18%      99,603.18      5.46%     53,675.73      138,347.42     6.39%     14,931.49
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   IT                                       0.00    0.00%           0.00      0.00%          0.00            0.00     0.00%          0.00
         1,803.40     0.59%     3,342.00    1.53%    -1,538.60      -2,165.81    -1.39%       3,969.21   S&M                                 26,821.15    0.91%      38,861.00      2.13%    -12,039.85       13,169.92     0.61%     13,651.23
         9,123.13     3.01%     6,066.70    2.78%     3,056.43       3,090.96     1.99%       6,032.17   R&M                                110,768.08    3.74%      63,255.26      3.47%     47,512.82       55,512.96     2.56%     55,255.12
        13,809.45     4.55%    10,194.45    4.67%     3,615.00       8,949.57     5.75%       4,859.88   Utilities                          105,426.87    3.56%      91,014.21      4.99%     14,412.66       83,868.76     3.87%     21,558.11

        99,968.44    32.95%    83,423.29   38.25%    16,545.15      46,535.51    29.90%      53,432.93   Total Direct Expense             1,013,673.07   34.24%     746,760.37     40.97%    266,912.70      751,502.35    34.69%    262,170.72

       134,683.82    44.39%    75,754.74   34.74%    58,929.08      63,699.94    40.93%      70,983.88   Gross Operating Profit           1,328,575.60   44.87%     504,615.99     27.68%    823,959.61      942,634.35    43.52%    385,941.25

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                                                                                 Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget   %         Variance   PTD Last Year    %            Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                         Fixed Costs
        16,918.62     5.58%    13,976.41    6.41%    2,942.21      15,453.16     9.93%        1,465.46   Taxes                             147,322.97   4.98%    139,764.10      7.67%     7,558.87     154,750.35     7.14%      -7,427.38
         7,090.58     2.34%     6,237.58    2.86%      853.00       4,756.93     3.06%        2,333.65   Insurance                          65,532.83   2.21%     62,375.80      3.42%     3,157.03      45,388.66     2.10%      20,144.17
        26,919.00     8.87%    26,919.00   12.34%        0.00      29,958.77    19.25%       -3,039.77   Leases & Rent                     262,701.00   8.87%    266,306.00     14.61%    -3,605.00     269,311.54    12.43%      -6,610.54
         9,601.57     3.16%     6,542.42    3.00%    3,059.15       7,594.05     4.88%        2,007.52   Management Fees                    93,818.71   3.17%     54,683.95      3.00%    39,134.76      65,108.50     3.01%      28,710.21

        60,529.77    19.95%    53,675.41   24.61%    6,854.36      57,762.91    37.12%       2,766.86    Total Fixed Expenses              569,375.51   19.23%   523,129.85     28.70%    46,245.66     534,559.05    24.68%      34,816.46

        74,154.05    24.44%    22,079.33   10.12%   52,074.72       5,937.03     3.82%      68,217.02    Net Operating Profit              759,200.09   25.64%   -18,513.86     -1.02%   777,713.95     408,075.30    18.84%     351,124.79



             0.00     0.00%         0.00   0.00%         0.00      37,470.00    24.08%      -37,470.00   Interest Expense - Other                0.00    0.00%         0.00     0.00%          0.00     374,147.94    17.27%    -374,147.94
             0.00     0.00%         0.00   0.00%         0.00           0.00     0.00%            0.00   Owner's Expense                       949.17    0.03%         0.00     0.00%        949.17      21,978.72     1.01%     -21,029.55
             0.00     0.00%         0.00   0.00%         0.00       5,182.52     3.33%       -5,182.52   Extraordinary Expense                   0.00    0.00%         0.00     0.00%          0.00      13,479.47     0.62%     -13,479.47
             0.00     0.00%         0.00   0.00%         0.00           0.00     0.00%            0.00   Prior Owner's Expense              -2,703.33   -0.09%         0.00     0.00%     -2,703.33           0.00     0.00%      -2,703.33
             0.00     0.00%         0.00   0.00%         0.00           0.00     0.00%            0.00   Non Recurring Cost                      0.00    0.00%         0.00     0.00%          0.00         -86.70     0.00%          86.70



        74,154.05    24.44%    22,079.33   10.12%   52,074.72     -36,715.49    -23.59%    110,869.54    Net Operating Income              760,954.25   25.70%   -18,513.86     -1.02%   779,468.11      -1,444.13     -0.07%    762,398.38

         3,779.00     1.25%         0.00   0.00%     3,779.00      12,355.26     7.94%       -8,576.26   Capital Reserve                     3,779.00   0.13%          0.00     0.00%      3,779.00     123,552.60     5.70%    -119,773.60
             0.00     0.00%         0.00   0.00%         0.00      45,395.00    29.17%      -45,395.00   (Gain)/Loss-Insurance                   0.00   0.00%          0.00     0.00%          0.00     453,950.00    20.96%    -453,950.00

        70,375.05    23.20%    22,079.33   10.12%   48,295.72     -94,465.75    -60.71%    164,840.80    Adjusted NOI                      757,175.25   25.57%   -18,513.86     -1.02%   775,689.11    -578,946.73    -26.73%   1,336,121.98



             0.00     0.00%         0.00   0.00%         0.00       3,620.00     2.33%       -3,620.00   Amortization                            0.00   0.00%          0.00     0.00%          0.00      36,200.00     1.67%      -36,200.00



        70,375.05    23.20%    22,079.33   10.12%   48,295.72     -98,085.75    -63.03%    168,460.80    Net Profit/(Loss)                 757,175.25   25.57%   -18,513.86     -1.02%   775,689.11    -615,146.73    -28.40%   1,372,321.98




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                                                                                     Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %           Variance                                            YTD     %          YTD Budget %                 Variance   YTD Last Year    %           Variance

                                                                                                             Rooms
                                                                                                             Room Revenue
                                                                                                             Transient Room Revenue
        24,981.94     8.32%     30,226.00     13.95%    -5,244.06       3,121.49      2.05%      21,860.45   Corporate Transient                178,657.47     6.12%     221,838.00     12.26%     -43,180.53       94,213.77     4.42%      84,443.70
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%           0.00   Advanced Purchase                      -46.41     0.00%           0.00      0.00%         -46.41            0.00     0.00%         -46.41
        79,057.42    26.32%     43,316.00     19.99%    35,741.42           0.00      0.00%      79,057.42   AAA/AARP Transient               1,378,332.82    47.21%     512,833.64     28.34%     865,499.18            0.00     0.00%   1,378,332.82
         4,722.12     1.57%          0.00      0.00%     4,722.12           0.00      0.00%       4,722.12   Consortia Transient                 78,389.92     2.69%      29,790.00      1.65%      48,599.92            0.00     0.00%      78,389.92
             0.00     0.00%      3,627.00      1.67%    -3,627.00           0.00      0.00%           0.00   Employee                             1,342.00     0.05%      26,559.00      1.47%     -25,217.00            0.00     0.00%       1,342.00
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%           0.00   Leisure Transient                    1,602.55     0.05%           0.00      0.00%       1,602.55            0.00     0.00%       1,602.55
             0.00     0.00%      8,385.00      3.87%    -8,385.00           0.00      0.00%           0.00   Travel Agent/Friends & Family            0.00     0.00%      42,029.00      2.32%     -42,029.00            0.00     0.00%           0.00
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%           0.00   Leisure Package Transient              100.50     0.00%           0.00      0.00%         100.50            0.00     0.00%         100.50
             0.00     0.00%      4,851.00      2.24%    -4,851.00           0.00      0.00%           0.00   Member Reward Stay                   9,679.71     0.33%      42,006.00      2.32%     -32,326.29            0.00     0.00%       9,679.71
             0.00     0.00%          0.00      0.00%         0.00      89,728.63     58.87%     -89,728.63   Extended Stay Transient                  0.00     0.00%           0.00      0.00%           0.00      743,427.67    34.89%    -743,427.67
         1,499.96     0.50%     33,915.00     15.66%   -32,415.04           0.00      0.00%       1,499.96   Internet/E-Commerce                  4,651.28     0.16%     288,920.00     15.96%    -284,268.72            0.00     0.00%       4,651.28
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%           0.00   E-Commerce Opaque                    1,246.43     0.04%           0.00      0.00%       1,246.43            0.00     0.00%       1,246.43
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%           0.00   Other Transient                        201.00     0.01%           0.00      0.00%         201.00            0.00     0.00%         201.00
         9,897.00     3.29%     12,942.00      5.97%    -3,045.00           0.00      0.00%       9,897.00   Government Transient                61,611.86     2.11%      71,727.00      3.96%     -10,115.14            0.00     0.00%      61,611.86
       107,311.97    35.73%     54,912.00     25.35%    52,399.97      37,008.74     24.28%      70,303.23   Rack Transient                     879,525.75    30.13%     377,020.43     20.83%     502,505.32      870,618.37    40.86%       8,907.38
        15,115.04     5.03%     24,465.00     11.29%    -9,349.96       9,418.00      6.18%       5,697.04   Local Negotiated Transient         130,563.08     4.47%     172,001.00      9.50%     -41,437.92      198,824.12     9.33%     -68,261.04

      242,585.45     80.76%    216,639.00    100.00%   25,946.45     139,276.86     91.38%     103,308.59    Total Transient Room Revenue    2,725,857.96    93.37%    1,784,724.07   98.61%      941,133.89     1,907,083.93    89.50%   818,774.03

                                                                                                             Group Room Revenue
             0.00     0.00%           0.00     0.00%        0.00       11,888.30      7.80%     -11,888.30   Corporate Group                         0.00      0.00%           0.00     0.00%            0.00      161,802.70     7.59%   -161,802.70
             0.00     0.00%           0.00     0.00%        0.00          999.00      0.66%        -999.00   Government Group                        0.00      0.00%           0.00     0.00%            0.00       55,941.00     2.63%    -55,941.00
        56,846.00    18.93%           0.00     0.00%   56,846.00            0.00      0.00%      56,846.00   SMERF Group                       189,844.00      6.50%      25,113.00     1.39%      164,731.00            0.00     0.00%    189,844.00
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%           0.00   Sports Group                          169.00      0.01%           0.00     0.00%          169.00            0.00     0.00%        169.00

       56,846.00     18.93%          0.00     0.00%    56,846.00      12,887.30      8.46%      43,958.70    Total Group Room Revenue         190,013.00      6.51%      25,113.00      1.39%     164,900.00      217,743.70     10.22%    -27,730.70

                                                                                                             Contract Room Revenue

             0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%           0.00    Total Contract Room Revenue             0.00     0.00%            0.00     0.00%            0.00            0.00    0.00%           0.00

                                                                                                             Other Room Revenue
           936.40     0.31%           0.00     0.00%      936.40          246.00      0.16%        690.40    No-Show Rooms                        3,684.27     0.13%           0.00     0.00%        3,684.27        5,916.16     0.28%      -2,231.89

          936.40      0.31%          0.00     0.00%       936.40         246.00      0.16%         690.40    Total Other Room Revenue            3,684.27     0.13%            0.00     0.00%        3,684.27        5,916.16    0.28%      -2,231.89

             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%           0.00   Less: Allowances                     -261.14     -0.01%           0.00     0.00%         -261.14            0.00     0.00%       -261.14

      300,367.85    100.00%    216,639.00    100.00%   83,728.85     152,410.16     100.00%    147,957.69    Total Room Revenue              2,919,294.09    100.00%   1,809,837.07 100.00%      1,109,457.02    2,130,743.79 100.00%     788,550.30

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         4,307.68      1.43%      2,989.74     1.38%     1,317.94           0.00      0.00%       4,307.68   Front Office Management            20,557.32      0.70%      28,790.89      1.59%       -8,233.57           0.00     0.00%     20,557.32
             0.00      0.00%          0.00     0.00%         0.00         497.82      0.33%        -497.82   Revenue Management                      0.00      0.00%           0.00      0.00%            0.00       7,114.70     0.33%     -7,114.70
          -604.40     -0.20%      3,269.06     1.51%    -3,873.46           0.00      0.00%        -604.40   Housekeeping Management            24,769.21      0.85%      31,961.26      1.77%       -7,192.05       6,289.52     0.30%     18,479.69
        3,703.28      1.23%      6,258.80     2.89%    -2,555.52         497.82      0.33%       3,205.46    Total Rooms Management            45,326.53      1.55%      60,752.15      3.36%      -15,425.62      13,404.22     0.63%     31,922.31
         5,828.55      1.94%      3,897.14     1.80%     1,931.41       3,324.43      2.18%       2,504.12   Front Office Agents                60,700.99      2.08%      38,217.13      2.11%       22,483.86      28,891.96     1.36%     31,809.03
         5,517.34      1.84%      2,976.00     1.37%     2,541.34       3,035.25      1.99%       2,482.09   Night Auditors                     38,716.92      1.33%      29,184.00      1.61%        9,532.92      27,885.45     1.31%     10,831.47
         2,118.12      0.71%      3,348.00     1.55%    -1,229.88           0.00      0.00%       2,118.12   Breakfast Attendant                23,179.94      0.79%      32,832.00      1.81%       -9,652.06       5,674.28     0.27%     17,505.66
       13,464.01      4.48%     10,221.14     4.72%     3,242.87       6,359.68      4.17%       7,104.33    Total Rooms Front Office         122,597.85      4.20%     100,233.13      5.54%       22,364.72      62,451.69     2.93%     60,146.16
         5,020.46      1.67%      1,169.14     0.54%     3,851.32         138.32      0.09%       4,882.14   Housekeeping Supervisors           35,941.47      1.23%      11,465.13      0.63%       24,476.34       4,201.65     0.20%     31,739.82
        13,410.86      4.46%      8,243.34     3.81%     5,167.52       6,000.30      3.94%       7,410.56   Room Attendants                    85,710.62      2.94%      73,595.05      4.07%       12,115.57      66,334.15     3.11%     19,376.47
         2,022.00      0.67%      2,604.00     1.20%      -582.00       1,004.40      0.66%       1,017.60   Housepersons                       20,967.79      0.72%      25,536.00      1.41%       -4,568.21       9,525.10     0.45%     11,442.69
         1,478.57      0.49%      3,035.25     1.40%    -1,556.68       1,281.93      0.84%         196.64   Laundry Attendants                 22,882.46      0.78%      27,098.18      1.50%       -4,215.72      14,178.86     0.67%      8,703.60
       21,931.89      7.30%     15,051.73     6.95%     6,880.16       8,424.95      5.53%      13,506.94    Total Rooms Housekeeping         165,502.34      5.67%     137,694.36      7.61%       27,807.98      94,239.76     4.42%     71,262.58


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                                                                                   Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget     %         Variance   PTD Last Year    %           Variance                                                 YTD     %         YTD Budget %                 Variance   YTD Last Year    %          Variance

       39,099.18     13.02%     31,531.67    14.55%    7,567.51      15,282.45     10.03%     23,816.73    Total Rooms Salary and Wages           333,426.72    11.42%    298,679.64    16.50%       34,747.08      170,095.67     7.98%    163,331.05

                                                                                                           PR Taxes and Benefits
         2,895.67      0.96%      2,431.31    1.12%      464.36        1,104.39     0.72%       1,791.28   FICA                                     25,358.90    0.87%      23,096.27      1.28%       2,262.63       13,770.70     0.65%     11,588.20
            53.84      0.02%         13.35    0.01%       40.49            0.00     0.00%          53.84   Federal Unemployment Tax                    863.39    0.03%         477.76      0.03%         385.63            0.00     0.00%        863.39
           242.24      0.08%         85.81    0.04%      156.43            0.00     0.00%         242.24   State Unemployment Tax                    3,884.76    0.13%       3,923.77      0.22%         -39.01            0.00     0.00%      3,884.76
        3,191.75      1.06%      2,530.47    1.17%      661.28        1,104.39     0.72%       2,087.36    Total Payroll Taxes                     30,107.05    1.03%      27,497.80      1.52%       2,609.25       13,770.70     0.65%     16,336.35
             0.00      0.00%          0.00    0.00%        0.00            0.00     0.00%           0.00   Holiday                                   4,044.00    0.14%         600.00      0.03%       3,444.00        3,226.40     0.15%        817.60
             0.00      0.00%        243.99    0.11%     -243.99          696.00     0.46%        -696.00   Vacation                                      0.00    0.00%       2,576.52      0.14%      -2,576.52       13,563.38     0.64%    -13,563.38
             0.00     0.00%        243.99    0.11%     -243.99          696.00     0.46%        -696.00    Total Supplemental Pay                   4,044.00    0.14%       3,176.52      0.18%         867.48       16,789.78     0.79%    -12,745.78
         1,506.37      0.50%      1,838.72    0.85%     -332.35            0.00     0.00%       1,506.37   Worker's Compensation                    13,253.26    0.45%      17,588.55      0.97%      -4,335.29            0.00     0.00%     13,253.26
         1,566.87      0.52%        367.50    0.17%    1,199.37          986.79     0.65%         580.08   Group Insurance                           8,752.83    0.30%       3,552.50      0.20%       5,200.33       11,061.59     0.52%     -2,308.76
             0.00      0.00%          0.00    0.00%        0.00            0.00     0.00%           0.00   Bonus and Incentive Pay                     219.99    0.01%           0.00      0.00%         219.99            0.00     0.00%        219.99
        3,073.24      1.02%      2,206.22    1.02%      867.02          986.79     0.65%       2,086.45    Total Other Benefits                    22,226.08    0.76%      21,141.05      1.17%       1,085.03       11,061.59     0.52%     11,164.49

        6,264.99      2.09%      4,980.68    2.30%     1,284.31       2,787.18     1.83%       3,477.81    Total Rooms PR Taxes and Benefits       56,377.13    1.93%      51,815.37      2.86%        4,561.76      41,622.07     1.95%     14,755.06

       45,364.17     15.10%     36,512.35    16.85%    8,851.82      18,069.63     11.86%     27,294.54    Total Rooms Labor Costs                389,803.85    13.35%    350,495.01    19.37%       39,308.84      211,717.74     9.94%    178,086.11

                                                                                                           Other Expenses
        11,147.83     3.71%      5,685.75     2.62%     5,462.08       2,793.93     1.83%      8,353.90    Breakfast /Comp Cost                     84,457.65    2.89%      50,761.35     2.80%       33,696.30       43,190.48     2.03%    41,267.17
           805.54     0.27%      1,296.75     0.60%      -491.21         297.91     0.20%        507.63    Cleaning Supplies                         9,030.21    0.31%      11,577.15     0.64%       -2,546.94        9,112.65     0.43%       -82.44
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00    Contract Labor                                8.72    0.00%           0.00     0.00%            8.72            0.00     0.00%         8.72
             0.00     0.00%         30.00     0.01%       -30.00           0.00     0.00%          0.00    Equipment Rental                              0.00    0.00%         300.00     0.02%         -300.00            0.00     0.00%         0.00
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00    Guest Loss/Damage                         1,683.72    0.06%           0.00     0.00%        1,683.72            0.00     0.00%     1,683.72
         2,454.77     0.82%      2,394.00     1.11%        60.77         867.49     0.57%      1,587.28    Guest Supplies                           22,373.26    0.77%      21,373.20     1.18%        1,000.06       11,247.99     0.53%    11,125.27
            43.67     0.01%          0.00     0.00%        43.67           0.00     0.00%         43.67    In-House Entertainment                      218.35    0.01%           0.00     0.00%          218.35            0.00     0.00%       218.35
             0.00     0.00%          0.00     0.00%         0.00         360.50     0.24%       -360.50    Internet/Web Expense                          0.00    0.00%           0.00     0.00%            0.00        3,507.52     0.16%    -3,507.52
         1,709.56     0.57%        498.75     0.23%     1,210.81          19.79     0.01%      1,689.77    Laundry                                  10,954.33    0.38%       4,452.75     0.25%        6,501.58          680.79     0.03%    10,273.54
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00    Laundry Allocation                           40.55    0.00%           0.00     0.00%           40.55            0.00     0.00%        40.55
           291.20     0.10%        997.50     0.46%      -706.30         147.76     0.10%        143.44    Linen                                     7,556.19    0.26%       8,905.50     0.49%       -1,349.31        6,023.33     0.28%     1,532.86
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00    Linen Rental                              1,257.83    0.04%           0.00     0.00%        1,257.83            0.00     0.00%     1,257.83
           115.00     0.04%          0.00     0.00%       115.00           0.00     0.00%        115.00    Newspaper                                   889.21    0.03%           0.00     0.00%          889.21          256.52     0.01%       632.69
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00    Office Equipment                            646.92    0.02%           0.00     0.00%          646.92            0.00     0.00%       646.92
             0.00     0.00%          0.00     0.00%         0.00         636.73     0.42%       -636.73    Operating Supplies                            0.00    0.00%           0.00     0.00%            0.00        3,256.03     0.15%    -3,256.03
             0.00     0.00%          0.00     0.00%         0.00         668.76     0.44%       -668.76    Reservation Expense                           0.00    0.00%           0.00     0.00%            0.00        9,290.48     0.44%    -9,290.48
         1,500.43     0.50%          0.00     0.00%     1,500.43       1,500.43     0.98%          0.00    Television Cable                         12,003.44    0.41%           0.00     0.00%       12,003.44       14,231.36     0.67%    -2,227.92
             0.00     0.00%      1,820.00     0.84%    -1,820.00           0.00     0.00%          0.00    Training                                      0.00    0.00%      18,200.00     1.01%      -18,200.00            0.00     0.00%         0.00
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00    Travel Agent Comm - Group Rooms             582.06    0.02%         502.26     0.03%           79.80            0.00     0.00%       582.06
         3,168.75     1.05%      9,420.03     4.35%    -6,251.28       2,547.34     1.67%        621.41    Travel Agent Comm - Transient Rooms      50,756.83    1.74%      79,032.48     4.37%      -28,275.65       51,916.62     2.44%    -1,159.79
           194.15     0.06%          0.00     0.00%       194.15         255.43     0.17%        -61.28    Uniforms                                  1,500.97    0.05%           0.00     0.00%        1,500.97          856.66     0.04%       644.31
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%          0.00    Walked Guests                               347.50    0.01%           0.00     0.00%          347.50          740.34     0.03%      -392.84

       21,430.90      7.13%     22,142.78    10.22%     -711.88      10,096.07     6.62%      11,334.83    Total Rooms Other Expenses             204,307.74    7.00%     195,104.69    10.78%         9,203.05     154,310.77     7.24%     49,996.97

       66,795.07     22.24%     58,655.13    27.08%    8,139.94      28,165.70     18.48%     38,629.37    Total Rooms Expenses                   594,111.59    20.35%    545,599.70    30.15%       48,511.89      366,028.51     17.18%   228,083.08

      233,572.78     77.76%    157,983.87    72.92%   75,588.91     124,244.46     81.52%    109,328.32    Total Rooms Profit (Loss)             2,325,182.50   79.65%   1,264,237.37   69.85%     1,060,945.13    1,764,715.28    82.82%   560,467.22




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                                                                       Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                             P&L - Dual Summary Pages
                                                                                                  As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year   %            Variance                                                     YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                               Room Sale Stats
                                                                                               Tranisent Rooms
           240.00              254.00        -14.00           31.00                   209.00   Room Stat - Corporate Transient               1,550.00         2,043.00       -493.00         657.00           893.00
           695.00              364.00        331.00            0.00                   695.00   Room Stat - AAA/AARP Transient               11,269.00         5,165.00      6,104.00           0.00        11,269.00
            38.00                0.00         38.00            0.00                    38.00   Room Stat - Consortia Rate Transient            581.00           260.00        321.00           0.00           581.00
             0.00               93.00        -93.00            0.00                     0.00   Room Stat - Employee                             36.00           681.00       -645.00           0.00            36.00
             1.00                0.00          1.00            0.00                     1.00   Room Stat - Leisure Transient                     3.00             0.00          3.00           0.00             3.00
             0.00              129.00       -129.00            0.00                     0.00   Room Stat - Travel Agent/Friends & Family         1.00           597.00       -596.00           0.00             1.00
             0.00               99.00        -99.00            0.00                     0.00   Room Stat - Member Reward Stay                  188.00           740.00       -552.00           0.00           188.00
             0.00                0.00          0.00        1,105.00                -1,105.00   Room Stat - Extended Stay Transient              49.00             0.00         49.00       6,958.00        -6,909.00
             1.00              285.00       -284.00            0.00                     1.00   Room Stat - Internet                           -157.00         2,636.00     -2,793.00           0.00          -157.00
             0.00                0.00          0.00            0.00                     0.00   Room Stat - E-Commerce Opaque                     8.00             0.00          8.00           0.00             8.00
            91.00              122.00        -31.00            9.00                    82.00   Room Stat - Government Rate Transient           550.00           657.00       -107.00         461.00            89.00
           824.00              416.00        408.00          375.00                   449.00   Room Stat - Rack Rate Transient               6,642.00         3,108.00      3,534.00       5,583.00         1,059.00
           165.00              233.00        -68.00           96.00                    69.00   Room Stat - Local Negotiated Transient        1,356.00         1,687.00       -331.00       1,501.00          -145.00
        2,055.00            1,995.00          60.00       1,616.00                   439.00    Total Transient Rooms Sold                  22,076.00        17,574.00      4,502.00      15,160.00         6,916.00

                                                                                               Group Rooms
             0.00               0.00            0.00         150.00                 -150.00    Room Stat - Corporate Group Rooms                 0.00             0.00          0.00       1,365.00        -1,365.00
           545.00               0.00          545.00           0.00                  545.00    Room Stat - SMERF Group                       1,889.00           237.00      1,652.00           0.00         1,889.00
          545.00                0.00         545.00         150.00                  395.00     Total Group Rooms Sold                       1,889.00           237.00      1,652.00       1,365.00           524.00

                                                                                               Contract Rooms
             0.00               0.00           0.00            0.00                    0.00    Total Contract Rooms Sold                        0.00             0.00          0.00            0.00            0.00

        2,600.00            1,995.00         605.00       1,766.00                  834.00     Total Rooms Sold                            23,965.00        17,811.00      6,154.00      16,525.00         7,440.00
            1.00                0.00           1.00            0.00                    1.00    Room Stat-Comp Rooms                             23.00            0.00          23.00          14.00             9.00
        2,601.00            1,995.00         606.00       1,766.00                  835.00     Total Rooms Occupied                        23,988.00        17,811.00      6,177.00      16,539.00         7,449.00
           53.00                0.00          53.00          189.00                 -136.00    Room Stat-Out of Order                          436.00            0.00         436.00       1,101.00          -665.00

                                                                                               ADR
           104.09              119.00         -14.91         100.69                     3.40   Corporate Transient ADR                         115.26           108.58          6.68         143.40           -28.14
             0.00                0.00           0.00           0.00                     0.00   Advanced Purchase ADR                             0.00             0.00          0.00           0.00             0.00
           113.75              119.00          -5.25           0.00                  113.75    AAA/AARP ADR                                    122.31            99.29        23.02            0.00           122.31
             0.00                0.00           0.00           0.00                     0.00   FIT ADR                                           0.00             0.00          0.00           0.00             0.00
           124.27                0.00         124.27           0.00                  124.27    Consortia ADR                                   134.92           114.58        20.35            0.00           134.92
             0.00               39.00         -39.00           0.00                     0.00   Employee ADR                                     37.28            39.00         -1.72           0.00            37.28
             0.00                0.00           0.00           0.00                     0.00   Leisure ADR                                     534.18             0.00       534.18            0.00           534.18
             0.00               65.00         -65.00           0.00                     0.00   Travel Agent/Friends & Family ADR                 0.00            70.40       -70.40            0.00             0.00
             0.00                0.00           0.00           0.00                     0.00   Leisure Package ADR                              33.50             0.00        33.50            0.00            33.50
             0.00               49.00         -49.00           0.00                     0.00   Member Reward Stay ADR                           51.49            56.76         -5.28           0.00            51.49
             0.00                0.00           0.00           0.00                     0.00   Golf Pkg ADR                                      0.00             0.00          0.00           0.00             0.00
             0.00                0.00           0.00          81.20                  -81.20    Extended Stay ADR                                 0.00             0.00          0.00         106.85          -106.85
         1,499.96              119.00       1,380.96           0.00                1,499.96    Internet ADR                                    -29.63           109.61      -139.23            0.00           -29.63
             0.00                0.00           0.00           0.00                     0.00   E-Commerce Opaque ADR                           155.80             0.00       155.80            0.00           155.80
             0.00                0.00           0.00           0.00                     0.00   Other Transient ADR                               0.00             0.00          0.00           0.00             0.00
             0.00                0.00           0.00           0.00                     0.00   Airline Distressed Passenger ADR                  0.00             0.00          0.00           0.00             0.00
           108.76              106.08           2.68           0.00                  108.76    Government ADR                                  112.02           109.17          2.85           0.00           112.02
           130.23              132.00          -1.77          98.69                   31.54    Rack ADR                                        132.42           121.31        11.11          155.94           -23.52
            91.61              105.00         -13.39          98.10                    -6.50   Local Negotiated ADR                             96.29           101.96         -5.67         132.46           -36.18
          118.05              108.59            9.46          86.19                   31.86    Total Transient ADR                            123.48           101.55         21.92         125.80             -2.32

             0.00                0.00          0.00           79.26                  -79.26    Corporate Group ADR                              0.00             0.00           0.00         118.54          -118.54
             0.00                0.00          0.00            0.00                    0.00    Leisure Group ADR                                0.00             0.00           0.00           0.00             0.00
             0.00                0.00          0.00            0.00                    0.00    Government Group ADR                             0.00             0.00           0.00           0.00             0.00
             0.00                0.00          0.00            0.00                    0.00    Tour & Travel Group ADR                          0.00             0.00           0.00           0.00             0.00
             0.00                0.00          0.00            0.00                    0.00    Association Group ADR                            0.00             0.00           0.00           0.00             0.00
             0.00                0.00          0.00            0.00                    0.00    City Wide Group ADR                              0.00             0.00           0.00           0.00             0.00
           104.30                0.00        104.30            0.00                  104.30    SMERF Group ADR                                100.50           105.96          -5.46           0.00           100.50
             0.00                0.00          0.00            0.00                    0.00    Sports Group ADR                                 0.00             0.00           0.00           0.00             0.00
             0.00                0.00          0.00            0.00                    0.00    Other Group ADR                                  0.00             0.00           0.00           0.00             0.00
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                                                                       Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                  As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                           YTD    %    YTD Budget %   Variance   YTD Last Year   %   Variance

          104.30                0.00        104.30            85.92                  18.39    Total Group ADR                      100.59            105.96        -5.37         159.52          -58.93

             0.00               0.00           0.00            0.00                   0.00    Airline Crew ADR                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Other Contract ADR                     0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Contract ADR                     0.00              0.00         0.00            0.00           0.00

          115.53              108.59           6.94           86.30                  29.22    Total ADR                            121.81            101.61        20.20         128.94           -7.13




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                                                                                Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                           As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       F&B Summary
                                                                                                       Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Outlet Food Revenue                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Banquet and Catering Food Revenue       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Outlet Beverage Revenue                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Banquet and Catering Beverage Revenue   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Outlet Other Revenue                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Banquet and Catering Other Revenue      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Food Purchases                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Beverage Purchases                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Cedit Employee Meals                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Credit House Charges                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Credit In-House Promotions              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Audio Visual Cost of Sales              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Other Cost of Sales                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Cost of Sales                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    F&B Gross Profit                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll
                                                                                                       Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Management                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Non-Management                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Salaries and Wages            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Payroll Taxes                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Supplemental Pay                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Other Benefits                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B PR Taxes and Benefits         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Payroll                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Audio Visual Supplies                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Banquet Expense                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Bar Expense/Promos                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Bar Supplies                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    China                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Cleaning Supplies                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Communication Expense                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Contract Cleaning                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Contract Labor                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Decorations & Plants                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Dues and Subscriptions                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Equipment Rental                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Food and Beverage Advertising           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Glassware                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Guest Loss/Damage                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Guest Supplies                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    In-House Entertainment                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Kitchen/Cooking Fuel                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Kitchen Equipment                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Laundry - Outside Expense               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Laundry Allocation                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Licenses/Permits                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Linen                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Linen Rental                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                      P&L - Dual Summary Pages
                                                                                                           As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Maintenance Contracts                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Meals and Entertainment                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Menus                                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Miscellaneous Expense                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Music and Entertainment                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Office Equipment                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Office Supplies                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Operating Supplies                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Paper/Plastic Supplies                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Printing and Stationery                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Silverware                             0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Software Expense/Maintenance           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Television Cable                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Training                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Travel                                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Uniforms                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Utensils                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Other Expenses               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Expenses                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Profit (Loss)                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                           YTD    %    YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                        0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers              0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                 0.00              0.00         0.00            0.00           0.00

                                                                                              Restaurant 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                        0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers              0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                 0.00              0.00         0.00            0.00           0.00

                                                                                              Room Service
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                        0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Room Service Covers              0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Room Service Avg Check                 0.00              0.00         0.00            0.00           0.00

                                                                                              Banquets
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                        0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Banquets Covers                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Banquets Avg Check                     0.00              0.00         0.00            0.00           0.00

                                                                                              Catering
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                        0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Catering Covers                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Catering Avg Check                     0.00              0.00         0.00            0.00           0.00

                                                                                              Restaurant 3
             0.00                0.00          0.00            0.00                   0.00    Breakfast Avg Check                    0.00               0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Lunch Avg Check                        0.00               0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Dinner Avg Check                       0.00               0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Brunch Avg Check                       0.00               0.00        0.00            0.00           0.00
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             PTD      %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                           YTD    %    YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers              0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                 0.00              0.00         0.00            0.00           0.00

                                                                                              Restaurant 4
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                        0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers              0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                 0.00              0.00         0.00            0.00           0.00

                                                                                              Restaurant 5
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                        0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers              0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                 0.00              0.00         0.00            0.00           0.00

                                                                                              Bar 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                        0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 1 Covers                     0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 1 Avg Check                        0.00              0.00         0.00            0.00           0.00

                                                                                              Bar 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                        0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 2 Covers                     0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 2 Avg Check                        0.00              0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                   0.00    Total Covers                           0.00              0.00         0.00            0.00           0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Food Admin
                                                                                                     Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Cost of Sales           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Management              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Non-Management          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Departmental Costs                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%          0.00    Less Adjustments                       0.00    0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Revenue           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Cost of Sales     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Other Expenses    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Expenses          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Departmental Costs                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 1
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                           As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 2
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Room Service
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Banquets
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Banquets Food Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Food Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Banquets Beverage Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Beverage Revenue        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Other Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Cost of Sales           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Non-Management          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                   0.00    Total Banquets Salaries and Wages      0.00                  0.00                  0.00            0.00                0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                   0.00    Total Banquet Benefits                 0.00                  0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Payroll                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Other Expenses          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Expenses                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Profit (Loss)           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Catering
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Food Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Food Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Beverage Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Beverage Revenue        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Other Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Cost of Sales           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Gross Profit                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Non-Management          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Salaries and Wages      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering PR Taxes and Benefits   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Payroll                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Other Expenses          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Expenses                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Profit (Loss)           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 3
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 4
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 5
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 1
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 1 Food Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Food Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 1 Beverage Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Beverage Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Other Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Cost of Sales              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Non-Management             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Salaries and Wages         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 PR Taxes and Benefits      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Payroll                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Other Expenses             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Expenses                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Profit (Loss)              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 2
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 2 Food Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Food Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 2 Beverage Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Beverage Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Other Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Cost of Sales              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expenses
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Non-Management             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Salaries and Wages         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 PR Taxes and Benefits      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Payroll                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Other Expenses             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Expenses                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Profit (Loss)              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %         Variance   PTD Last Year   %           Variance                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                        Telephone

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Telephone Revenue                          0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%         0.00    Less: Adjustments                          0.00     0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Telephone Revenue                    0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                        Cost of Sales
         2,003.31      0.00%     1,100.00    0.00%      903.31       1,413.72     0.00%        589.59   Cost of Sales - Local Calls            20,716.15    0.00%    11,000.00      0.00%     9,716.15      13,570.98     0.00%    7,145.17
             0.00      0.00%     1,200.00    0.00%   -1,200.00           0.00     0.00%          0.00   Cost of Sales - Commissions - Other         0.00    0.00%    12,000.00      0.00%   -12,000.00           0.00     0.00%        0.00
             0.00      0.00%        65.00    0.00%      -65.00          64.76     0.00%        -64.76   Cost of Sales - Long Distance               0.00    0.00%       650.00      0.00%      -650.00         645.77     0.00%     -645.77
        2,003.31      0.00%     2,365.00    0.00%     -361.69       1,478.48     0.00%        524.83    Total Telephone Cost of Sales         20,716.15    0.00%    23,650.00      0.00%    -2,933.85      14,216.75     0.00%    6,499.40

       -2,003.31      0.00%    -2,365.00    0.00%     361.69       -1,478.48     0.00%       -524.83    Gross Profit                          -20,716.15   0.00%    -23,650.00     0.00%     2,933.85     -14,216.75     0.00%    -6,499.40

                                                                                                        Other Expenses
           396.56      0.00%     1,278.42    0.00%     -881.86         904.69     0.00%       -508.13   Internet/Web Expense                    3,592.98    0.00%    12,784.20      0.00%    -9,191.22       8,015.97     0.00%    -4,422.99
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%          0.00   Miscellaneous Expense                       0.00    0.00%         0.00      0.00%         0.00         790.00     0.00%      -790.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%          0.00   Telephone Equipment                        60.00    0.00%         0.00      0.00%        60.00           0.00     0.00%        60.00
          396.56      0.00%     1,278.42    0.00%     -881.86         904.69     0.00%       -508.13    Total Telephone Other Expenses         3,652.98    0.00%    12,784.20      0.00%    -9,131.22       8,805.97     0.00%    -5,152.99

       -2,399.87      0.00%    -3,643.42    0.00%    1,243.55      -2,383.17     0.00%        -16.70    Total Telephone Profit (Loss)         -24,369.13   0.00%    -36,434.20     0.00%    12,065.07     -23,022.72     0.00%    -1,346.41




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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %          Variance                                                      YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                            Minor Operating
                                                                                                            Income
             0.00      0.00%         0.00      0.00%       0.00            0.00      0.00%           0.00   Rental Income - Gift Shop                      -209.53    -0.51%         0.00   0.00%        -209.53           0.00      0.00%      -209.53
           650.00     21.54%         0.00      0.00%     650.00          750.00     23.41%       -100.00    Rental Income - Other                         2,251.00     5.44%         0.00   0.00%       2,251.00       4,375.00     12.40%    -2,124.00
          650.00     21.54%          0.00     0.00%     650.00          750.00     23.41%       -100.00     Total Rental Income                          2,041.47     4.94%          0.00  0.00%       2,041.47       4,375.00     12.40%    -2,333.53
             0.00      0.00%         0.00      0.00%       0.00           42.18      1.32%         -42.18   Vending Commissions-Soda & Snack Machines       874.00     2.11%         0.00   0.00%         874.00       1,421.98      4.03%      -547.98
             0.00      0.00%         0.00      0.00%       0.00            0.00      0.00%           0.00   Vending Commissions Other                       605.51     1.46%         0.00   0.00%         605.51           0.00      0.00%       605.51
             0.00     0.00%          0.00     0.00%        0.00           42.18     1.32%         -42.18    Total Vending Commission Income              1,479.51     3.58%          0.00  0.00%       1,479.51       1,421.98      4.03%         57.53
           757.36     25.10%         0.00      0.00%     757.36            0.00      0.00%        757.36    Cancellation Fee - Rooms                      3,917.83     9.47%         0.00   0.00%       3,917.83      11,688.16     33.12%    -7,770.33
          757.36     25.10%          0.00     0.00%     757.36             0.00     0.00%        757.36     Total Cancellation Fee Income                3,917.83     9.47%          0.00  0.00%       3,917.83      11,688.16     33.12%    -7,770.33
           206.00      6.83%        85.00      5.90%     121.00            0.00      0.00%        206.00    Guest Laundry                                   372.00     0.90%       850.00   6.56%        -478.00          47.08      0.13%       324.92
             0.00      0.00%         0.00      0.00%       0.00            0.00      0.00%           0.00   Cash Discounts                                    0.00     0.00%         0.00   0.00%           0.00         330.00      0.94%      -330.00
             0.00      0.00%         0.00      0.00%       0.00           89.10      2.78%         -89.10   Internet Access                               1,019.70     2.47%         0.00   0.00%       1,019.70         811.80      2.30%       207.90
           248.96      8.25%         0.00      0.00%     248.96            0.00      0.00%        248.96    Other Revenue 2                              13,333.16    32.23%         0.00   0.00%      13,333.16           0.00      0.00%    13,333.16
             0.00      0.00%         0.00      0.00%       0.00          790.88     24.69%       -790.88    Other Revenue 3                                 600.00     1.45%         0.00   0.00%         600.00       2,440.88      6.92%    -1,840.88
         1,155.45     38.29%     1,356.60     94.10%    -201.15        1,531.19     47.80%       -375.74    Gift Shop Sales                              18,199.62    44.00%    12,111.48  93.44%       6,088.14      14,096.66     39.95%     4,102.96
             0.00      0.00%         0.00      0.00%       0.00            0.00      0.00%           0.00   Pet Fees                                        400.00     0.97%         0.00   0.00%         400.00          75.00      0.21%       325.00
        1,610.41     53.36%     1,441.60    100.00%     168.81        2,411.17     75.27%       -800.76     Total Other Income                          33,924.48    82.02%    12,961.48 100.00%      20,963.00      17,801.42     50.45%    16,123.06

        3,017.77    100.00%     1,441.60    100.00%    1,576.17       3,203.35     100.00%      -185.58     Total Minor Operating Income                41,363.29    100.00%   12,961.48 100.00%      28,401.81      35,286.56 100.00%        6,076.73

                                                                                                            Cost of Sales
             0.00      0.00%        57.80      4.01%     -57.80            0.00      0.00%          0.00    Cost of Sales - Guest Laundry                     0.00     0.00%       578.00     4.46%      -578.00           0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%       0.00            0.00      0.00%          0.00    Cost of Sales - Cots & Cribs                     97.14     0.23%         0.00     0.00%        97.14           0.00      0.00%        97.14
         1,429.80     47.38%       881.79     61.17%     548.01          518.54     16.19%        911.26    Cost of Sales - Gift Shop                    11,139.85    26.93%     7,872.46    60.74%     3,267.39       5,907.48     16.74%     5,232.37
        1,429.80     47.38%       939.59     65.18%     490.21          518.54     16.19%        911.26     Total Minor Operated Cost of Sales          11,236.99    27.17%     8,450.46    65.20%     2,786.53       5,907.48     16.74%     5,329.51

        1,587.97     52.62%       502.01     34.82%    1,085.96       2,684.81     83.81%      -1,096.84    Total Minor Operated Profit (Loss)          30,126.30    72.83%     4,511.02    34.80%    25,615.28      29,379.08     83.26%       747.22




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Arcade
                                                                                                     Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Revenue                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Non-Management            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Salaries and Wages        0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade PR Taxes and Benefits     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Payroll                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Other Expenses            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Expenses                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Profit (Loss)             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Waterpark
                                                                                                     Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %        Variance   PTD Last Year    %           Variance                                                    YTD     %       YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                        Franchise Fees
         1,363.46     0.45%         0.00    0.00%    1,363.46           0.00     0.00%      1,363.46    Franchise Fees - IT Fees                     6,215.38    0.21%         0.00     0.00%     6,215.38            0.00     0.00%     6,215.38
        18,058.49     5.95%    12,998.34    5.96%    5,060.15       9,144.63     5.88%      8,913.86    Franchise Fees - Royalty & Licenses        192,894.92    6.52%   108,590.22     5.96%    84,304.70      135,436.21     6.25%    57,458.71
             0.00     0.00%         0.00    0.00%        0.00           0.00     0.00%          0.00    Franchise Fees - Other                       2,714.56    0.09%         0.00     0.00%     2,714.56            0.00     0.00%     2,714.56
             0.00     0.00%         0.00    0.00%        0.00           0.00     0.00%          0.00    Franchise Fees - Reservations-GDS           11,408.39    0.39%         0.00     0.00%    11,408.39            0.00     0.00%    11,408.39
             0.00     0.00%         0.00    0.00%        0.00           0.00     0.00%          0.00    Franchise Fees - Equipment                   3,691.22    0.12%         0.00     0.00%     3,691.22            0.00     0.00%     3,691.22
         4,947.88     1.63%     7,799.00    3.58%   -2,851.12       3,048.95     1.96%      1,898.93    Franchise Fees - Frequent Guest             83,760.03    2.83%    65,154.13     3.57%    18,605.90       71,578.22     3.30%    12,181.81
        12,038.99     3.97%     8,665.56    3.97%    3,373.43       6,277.81     4.03%      5,761.18    Franchise Fees - Marketing Contributions    86,904.56    2.94%    72,393.48     3.97%    14,511.08       90,472.12     4.18%    -3,567.56
           394.51     0.13%         0.00    0.00%      394.51           0.00     0.00%        394.51    Franchise Fees - Reservations-Central       21,828.28    0.74%         0.00     0.00%    21,828.28            0.00     0.00%    21,828.28

       36,803.33     12.13%   29,462.90    13.51%   7,340.43      18,471.39     11.87%     18,331.94    Total Franchise Fees                       409,417.34   13.83%   246,137.83   13.50%    163,279.51     297,486.55     13.73%   111,930.79




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                                                                                   Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %         Variance    PTD Last Year    %            Variance                                             YTD    %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         5,438.64      1.79%     5,271.58    2.42%     167.06         9,380.27      6.03%      -3,941.63   Management- A&G                      53,052.80    1.79%     51,436.75     2.82%     1,616.05      81,761.12      3.77%    -28,708.32
        5,438.64      1.79%     5,271.58    2.42%     167.06         9,380.27      6.03%      -3,941.63    Total A&G Management                53,052.80    1.79%     51,436.75     2.82%     1,616.05      81,761.12      3.77%    -28,708.32
             0.00     0.00%          0.00   0.00%        0.00             0.00     0.00%            0.00   Total A&G Non-Management                  0.00   0.00%           0.00    0.00%          0.00           0.00     0.00%           0.00
        5,438.64      1.79%     5,271.58    2.42%     167.06         9,380.27      6.03%      -3,941.63    Total A&G Salaries and Wages        53,052.80    1.79%     51,436.75     2.82%     1,616.05      81,761.12      3.77%    -28,708.32
                                                                                                           PR Taxes and Benefits
           413.24      0.14%       419.07    0.19%        -5.83         768.10      0.49%        -354.86   FICA                                  3,987.95    0.13%      4,101.68     0.23%      -113.73       6,872.25      0.32%     -2,884.30
             7.73      0.00%         2.30    0.00%         5.43           0.00      0.00%           7.73   Federal Unemployment Tax                143.92    0.00%         85.11     0.00%        58.81           0.00      0.00%        143.92
            34.79      0.01%        14.79    0.01%       20.00            0.00      0.00%          34.79   State Unemployment Tax                  647.60    0.02%        700.23     0.04%       -52.63           0.00      0.00%        647.60
          455.76      0.15%       436.16    0.20%        19.60         768.10      0.49%        -312.34    Total Payroll Taxes                  4,779.47    0.16%      4,887.02     0.27%      -107.55       6,872.25      0.32%     -2,092.78
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Holiday                                   0.00    0.00%          0.00     0.00%         0.00       1,589.20      0.07%     -1,589.20
             0.00      0.00%       206.40    0.09%     -206.40          659.08      0.42%        -659.08   Vacation                                  0.00    0.00%      2,179.57     0.12%    -2,179.57      10,533.10      0.49%    -10,533.10
             0.00     0.00%       206.40    0.09%     -206.40          659.08      0.42%        -659.08    Total Supplemental Pay                    0.00   0.00%      2,179.57     0.12%    -2,179.57      12,122.30      0.56%    -12,122.30
           219.26      0.07%       316.93    0.15%      -97.67          955.00      0.61%        -735.74   Worker's Compensation                 2,288.65    0.08%      3,123.19     0.17%      -834.54      10,307.00      0.48%     -8,018.35
           490.55      0.16%         0.00    0.00%      490.55          489.81      0.31%           0.74   Group Insurance                       4,363.57    0.15%          0.00     0.00%     4,363.57       4,506.72      0.21%       -143.15
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Bonus and Incentive Pay                   0.00    0.00%          0.00     0.00%         0.00       4,350.39      0.20%     -4,350.39
          709.81      0.23%       316.93    0.15%      392.88        1,444.81      0.93%        -735.00    Total Other Benefits                 6,652.22    0.22%      3,123.19     0.17%     3,529.03      19,164.11      0.88%    -12,511.89
        1,165.57      0.38%       959.49    0.44%      206.08        2,871.99      1.85%      -1,706.42    Total A&G PR Taxes and Benefits     11,431.69    0.39%     10,189.78     0.56%     1,241.91      38,158.66      1.76%    -26,726.97
        6,604.21      2.18%     6,231.07    2.86%      373.14       12,252.26      7.87%      -5,648.05    Total A&G Payroll                   64,484.49    2.18%     61,626.53     3.38%     2,857.96     119,919.78      5.54%    -55,435.29
                                                                                                           Other Expenses
         1,000.00      0.33%     1,000.00    0.46%        0.00        2,000.00      1.29%      -1,000.00   Accounting/Audit Fees                10,000.00    0.34%     10,000.00     0.55%         0.00      20,000.00      0.92%    -10,000.00
         4,410.54      1.45%         0.00    0.00%    4,410.54          110.39      0.07%       4,300.15   Bad Debt Provision                   13,013.74    0.44%          0.00     0.00%    13,013.74       1,423.23      0.07%     11,590.51
           696.44      0.23%     1,075.00    0.49%     -378.56          845.10      0.54%        -148.66   Bank Charges                          6,984.67    0.24%     10,750.00     0.59%    -3,765.33       9,701.39      0.45%     -2,716.72
           -18.56     -0.01%         0.00    0.00%      -18.56       -1,239.05     -0.80%       1,220.49   Cash Over/Short                         608.40    0.02%          0.00     0.00%       608.40       2,866.40      0.13%     -2,258.00
             0.00      0.00%       125.00    0.06%     -125.00            0.00      0.00%           0.00   Central Office - Travel Rebilled          0.00    0.00%        625.00     0.03%      -625.00           0.00      0.00%          0.00
             0.00      0.00%       160.00    0.07%     -160.00            0.00      0.00%           0.00   Central Office - IT Fees              1,440.00    0.05%      1,600.00     0.09%      -160.00           0.00      0.00%      1,440.00
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Collection Expense                      538.92    0.02%          0.00     0.00%       538.92           0.00      0.00%        538.92
             0.00      0.00%        60.00    0.03%      -60.00            0.00      0.00%           0.00   Communication Expense                    60.00    0.00%        600.00     0.03%      -540.00         112.02      0.01%        -52.02
         8,348.74      2.75%     6,324.34    2.90%    2,024.40        2,907.46      1.87%       5,441.28   Credit Card Commission               77,162.64    2.61%     52,861.18     2.90%    24,301.46      63,992.07      2.95%     13,170.57
             0.00      0.00%         0.00    0.00%        0.00        1,420.19      0.91%      -1,420.19   Data Processing                         206.49    0.01%          0.00     0.00%       206.49      14,146.61      0.65%    -13,940.12
             0.00      0.00%         0.00    0.00%        0.00          120.00      0.08%        -120.00   Dues and Subscriptions                    0.00    0.00%          0.00     0.00%         0.00       1,293.16      0.06%     -1,293.16
           377.02      0.12%       100.00    0.05%      277.02           26.57      0.02%         350.45   Employee Relations                    3,864.69    0.13%      1,300.00     0.07%     2,564.69       2,677.21      0.12%      1,187.48
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Equipment Rental                          0.00    0.00%          0.00     0.00%         0.00         234.92      0.01%       -234.92
             0.00      0.00%         0.00    0.00%        0.00          560.67      0.36%        -560.67   Licenses/Permits                        659.17    0.02%          0.00     0.00%       659.17       2,510.14      0.12%     -1,850.97
            24.28      0.01%         0.00    0.00%       24.28            0.00      0.00%          24.28   Meals and Entertainment                 153.66    0.01%          0.00     0.00%       153.66           0.00      0.00%        153.66
           121.80      0.04%         0.00    0.00%      121.80            0.00      0.00%         121.80   Miscellaneous Expense                   792.58    0.03%          0.00     0.00%       792.58           0.00      0.00%        792.58
             0.00      0.00%       150.00    0.07%     -150.00            0.00      0.00%           0.00   Office Equipment                      1,192.78    0.04%      1,500.00     0.08%      -307.22           0.00      0.00%      1,192.78
            52.88      0.02%       150.00    0.07%      -97.12           18.55      0.01%          34.33   Office Supplies                       2,267.64    0.08%      1,500.00     0.08%       767.64       1,558.55      0.07%        709.09
           217.13      0.07%       396.00    0.18%     -178.87          286.45      0.18%         -69.32   Payroll Service Fees                  1,686.34    0.06%      3,960.00     0.22%    -2,273.66       4,541.45      0.21%     -2,855.11
             9.55      0.00%        75.00    0.03%      -65.45            9.33      0.01%           0.22   Postage                                 340.05    0.01%        750.00     0.04%      -409.95         444.24      0.02%       -104.19
             0.00      0.00%       150.00    0.07%     -150.00            0.00      0.00%           0.00   Professional Fees - Legal             3,483.66    0.12%      1,500.00     0.08%     1,983.66           0.00      0.00%      3,483.66
           180.00      0.06%       500.00    0.23%     -320.00            0.00      0.00%         180.00   Professional Fees - Other            10,840.26    0.37%      5,000.00     0.27%     5,840.26      10,121.00      0.47%        719.26
             0.00      0.00%       150.00    0.07%     -150.00            0.00      0.00%           0.00   Recruitment Advertising                 190.00    0.01%      1,500.00     0.08%    -1,310.00         728.79      0.03%       -538.79
             0.00      0.00%         0.00    0.00%        0.00          122.98      0.08%        -122.98   Recruitment - Other                     941.50    0.03%          0.00     0.00%       941.50         490.70      0.02%        450.80
           679.69      0.22%       520.70    0.24%      158.99            0.00      0.00%         679.69   Software Expense/Maintenance          8,248.97    0.28%      6,157.00     0.34%     2,091.97           0.00      0.00%      8,248.97
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Training                              4,348.00    0.15%          0.00     0.00%     4,348.00         570.25      0.03%      3,777.75
           502.16      0.17%         0.00    0.00%      502.16            0.00      0.00%         502.16   Travel                                4,254.75    0.14%          0.00     0.00%     4,254.75         935.29      0.04%      3,319.46
       16,601.67      5.47%    10,936.04    5.01%    5,665.63        7,188.64      4.62%       9,413.03    Total A&G Other Expenses           153,278.91    5.18%     99,603.18     5.46%    53,675.73     138,347.42      6.39%     14,931.49
       23,205.88      7.65%    17,167.11    7.87%    6,038.77       19,440.90     12.49%       3,764.98    Total A&G Expenses                 217,763.40    7.36%    161,229.71     8.85%    56,533.69     258,267.20     11.92%    -40,503.80




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                                                                              Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
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                                                                                                         As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     IT
                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wags
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Management                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Non-Management                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Salaries and Wages            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT PR Taxes and Benefits         0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Payroll                       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Cost of Services
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Cost of Services              0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     System Costs
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Systems                       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Other Expenses                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Expenses                      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                  Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year    %           Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                          S&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
         5,429.52      1.79%         0.00    0.00%    5,429.52            0.00     0.00%       5,429.52   Division Management                51,389.98    1.74%         0.00      0.00%    51,389.98            0.00     0.00%    51,389.98
             0.00      0.00%     4,457.63    2.04%   -4,457.63        4,747.24     3.05%      -4,747.24   Sales Managers                          0.00    0.00%    43,494.74      2.39%   -43,494.74       40,974.76     1.89%   -40,974.76
        5,429.52      1.79%     4,457.63    2.04%      971.89        4,747.24     3.05%         682.28    Total S&M Management              51,389.98    1.74%    43,494.74      2.39%     7,895.24       40,974.76     1.89%    10,415.22
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%            0.00   Total S&M Non-Management                0.00   0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00

        5,429.52      1.79%     4,457.63    2.04%      971.89        4,747.24     3.05%        682.28     Total S&M Salaries and Wages      51,389.98    1.74%    43,494.74      2.39%      7,895.24      40,974.76     1.89%    10,415.22

                                                                                                          PR Taxes and Benefits
           463.80      0.15%       354.36    0.16%      109.44          314.85     0.20%         148.95   FICA                                3,916.75    0.13%     3,468.34      0.19%        448.41       3,149.38     0.15%        767.37
             6.74      0.00%         1.95    0.00%         4.79           0.00     0.00%           6.74   Federal Unemployment Tax              126.15    0.00%        71.99      0.00%         54.16           0.00     0.00%        126.15
            30.30      0.01%        12.51    0.01%        17.79           0.00     0.00%          30.30   State Unemployment Tax                567.62    0.02%       592.12      0.03%        -24.50           0.00     0.00%        567.62
          500.84      0.17%       368.82    0.17%      132.02          314.85     0.20%         185.99    Total Payroll Taxes                4,610.52    0.16%     4,132.45      0.23%        478.07       3,149.38     0.15%      1,461.14
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Holiday                                 0.00    0.00%         0.00      0.00%          0.00         796.08     0.04%       -796.08
             0.00      0.00%       174.53    0.08%     -174.53          150.00     0.10%        -150.00   Vacation                                0.00    0.00%     1,843.03      0.10%     -1,843.03       5,222.23     0.24%     -5,222.23
             0.00     0.00%       174.53    0.08%     -174.53          150.00     0.10%        -150.00    Total Supplemental Pay                  0.00   0.00%     1,843.03      0.10%     -1,843.03       6,018.31     0.28%     -6,018.31
           190.97      0.06%       267.99    0.12%       -77.02           0.00     0.00%         190.97   Worker's Compensation               2,009.01    0.07%     2,640.96      0.14%       -631.95           0.00     0.00%      2,009.01
             0.00      0.00%         0.00    0.00%         0.00         877.37     0.56%        -877.37   Group Insurance                         0.00    0.00%         0.00      0.00%          0.00       8,643.18     0.40%     -8,643.18
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Bonus and Incentive Pay                 0.00    0.00%         0.00      0.00%          0.00       2,360.77     0.11%     -2,360.77
          190.97      0.06%       267.99    0.12%       -77.02         877.37     0.56%        -686.40    Total Other Benefits               2,009.01    0.07%     2,640.96      0.14%       -631.95      11,003.95     0.51%     -8,994.94
          691.81      0.23%       811.34    0.37%     -119.53        1,342.22     0.86%        -650.41    Total S&M PR Taxes and Benefits    6,619.53    0.22%     8,616.44      0.47%     -1,996.91      20,171.64     0.93%    -13,552.11

        6,121.33      2.02%     5,268.97    2.42%      852.36        6,089.46     3.91%          31.87    Total S&M Payroll                 58,009.51    1.96%    52,111.18      2.86%      5,898.33      61,146.40     2.82%     -3,136.89

                                                                                                          Other Expenses
           468.60      0.15%         0.00    0.00%       468.60           0.00      0.00%        468.60   Advertising General                 4,216.23    0.14%         0.00      0.00%      4,216.23           0.00     0.00%     4,216.23
             0.00      0.00%       940.00    0.43%      -940.00           0.00      0.00%          0.00   Advertising-Web/Internet                0.00    0.00%    10,435.00      0.57%    -10,435.00       8,202.72     0.38%    -8,202.72
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Brochures                               0.00    0.00%       150.00      0.01%       -150.00           0.00     0.00%         0.00
             0.00      0.00%        50.00    0.02%       -50.00           0.00      0.00%          0.00   Communication Expense                 120.00    0.00%       500.00      0.03%       -380.00         100.00     0.00%        20.00
         1,088.00      0.36%     1,352.00    0.62%      -264.00      -2,310.32     -1.48%      3,398.32   Dues and Subscriptions             20,676.41    0.70%    16,520.00      0.91%      4,156.41       4,700.67     0.22%    15,975.74
            11.99      0.00%         0.00    0.00%        11.99           0.00      0.00%         11.99   Meals and Entertainment               101.55    0.00%         0.00      0.00%        101.55          99.99     0.00%         1.56
            67.51      0.02%        25.00    0.01%        42.51          19.95      0.01%         47.56   Office Supplies                       372.88    0.01%       250.00      0.01%        122.88         -78.27     0.00%       451.15
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Postage                                 9.30    0.00%         0.00      0.00%          9.30           0.00     0.00%         9.30
             0.00      0.00%        25.00    0.01%       -25.00           0.00      0.00%          0.00   Printing and Stationery                 0.00    0.00%       250.00      0.01%       -250.00           0.00     0.00%         0.00
             0.00      0.00%        50.00    0.02%       -50.00          79.20      0.05%        -79.20   Promotions - In-house                 106.48    0.00%       500.00      0.03%       -393.52         146.06     0.01%       -39.58
             0.00      0.00%       100.00    0.05%      -100.00           0.00      0.00%          0.00   Promotion - Outside                     0.00    0.00%     1,000.00      0.05%     -1,000.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Software Expense/Maintenance            0.00    0.00%     6,176.00      0.34%     -6,176.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%          0.00   Trade Shows                             0.00    0.00%         0.00      0.00%          0.00        -248.02    -0.01%       248.02
             0.00      0.00%       750.00    0.34%      -750.00           0.00      0.00%          0.00   Training                              995.00    0.03%     2,580.00      0.14%     -1,585.00          37.27     0.00%       957.73
           167.30      0.06%        50.00    0.02%       117.30          45.36      0.03%        121.94   Travel                                223.30    0.01%       500.00      0.03%       -276.70         209.50     0.01%        13.80
        1,803.40      0.59%     3,342.00    1.53%    -1,538.60      -2,165.81     -1.39%      3,969.21    Total S&M Other Expenses          26,821.15    0.91%    38,861.00      2.13%    -12,039.85      13,169.92     0.61%    13,651.23

        7,924.73      2.61%     8,610.97    3.95%     -686.24        3,923.65     2.52%       4,001.08    Total S&M Expenses                84,830.66    2.87%    90,972.18      4.99%     -6,141.52      74,316.32     3.43%    10,514.34




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                                                                                 Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                         R&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         3,776.27      1.24%     3,553.66    1.63%      222.61       3,465.23     2.23%        311.04    Division Management                   36,310.81    1.23%    34,674.40      1.90%      1,636.41      25,980.40     1.20%    10,330.41
        3,776.27      1.24%     3,553.66    1.63%      222.61       3,465.23     2.23%        311.04     Total R&M Management                 36,310.81    1.23%    34,674.40      1.90%      1,636.41      25,980.40     1.20%    10,330.41
         2,651.33      0.87%     2,976.00    1.36%     -324.67       1,928.88     1.24%        722.45    Engineers 1                           17,600.39    0.59%    29,184.00      1.60%    -11,583.61      16,653.95     0.77%       946.44
        2,651.33      0.87%     2,976.00    1.36%     -324.67       1,928.88     1.24%        722.45     Total R&M Non-Management             17,600.39    0.59%    29,184.00      1.60%    -11,583.61      16,653.95     0.77%       946.44

        6,427.60      2.12%     6,529.66    2.99%     -102.06       5,394.11     3.47%       1,033.49    Total R&M Salaries and Wages         53,911.20    1.82%    63,858.40      3.50%     -9,947.20      42,634.35     1.97%    11,276.85

                                                                                                         PR Taxes and Benefits
           480.94      0.16%       510.16    0.23%      -29.22         378.63     0.24%         102.31   FICA                                   4,081.07    0.14%     4,997.57      0.27%      -916.50        3,313.82     0.15%       767.25
             8.95      0.00%         2.80    0.00%        6.15           0.00     0.00%           8.95   Federal Unemployment Tax                 139.82    0.00%       103.87      0.01%        35.95            0.00     0.00%       139.82
            40.32      0.01%        18.01    0.01%       22.31           0.00     0.00%          40.32   State Unemployment Tax                   629.14    0.02%       854.43      0.05%      -225.29            0.00     0.00%       629.14
          530.21      0.17%       530.97    0.24%        -0.76        378.63     0.24%         151.58    Total Payroll Taxes                   4,850.03    0.16%     5,955.87      0.33%    -1,105.84        3,313.82     0.15%     1,536.21
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%           0.00   Holiday                                  332.00    0.01%         0.00      0.00%       332.00          715.20     0.03%      -383.20
             0.00      0.00%       139.14    0.06%     -139.14         165.57     0.11%        -165.57   Vacation                                   0.00    0.00%     1,469.28      0.08%    -1,469.28        3,647.60     0.17%    -3,647.60
             0.00     0.00%       139.14    0.06%     -139.14         165.57     0.11%        -165.57    Total Supplemental Pay                  332.00    0.01%     1,469.28      0.08%    -1,137.28        4,362.80     0.20%    -4,030.80
           252.73      0.08%       385.82    0.18%     -133.09           0.00     0.00%         252.73   Worker's Compensation                  2,055.99    0.07%     3,805.46      0.21%    -1,749.47            0.00     0.00%     2,055.99
             0.00      0.00%         0.00    0.00%        0.00       1,031.38     0.66%      -1,031.38   Group Insurance                       13,008.50    0.44%         0.00      0.00%    13,008.50        8,674.53     0.40%     4,333.97
          252.73      0.08%       385.82    0.18%     -133.09       1,031.38     0.66%        -778.65    Total Other Benefits                 15,064.49    0.51%     3,805.46      0.21%    11,259.03        8,674.53     0.40%     6,389.96
          782.94      0.26%     1,055.93    0.48%     -272.99       1,575.58     1.01%        -792.64    Total R&M PR Taxes and Benefits      20,246.52    0.68%    11,230.61      0.62%     9,015.91       16,351.15     0.75%     3,895.37

        7,210.54      2.38%     7,585.59    3.48%     -375.05       6,969.69     4.48%        240.85     Total R&M Payroll                    74,157.72    2.50%    75,089.01      4.12%       -931.29      58,985.50     2.72%    15,172.22

                                                                                                         Other Expenses
         1,092.74     0.36%        598.50   0.27%       494.24          10.66    0.01%        1,082.08   Air Conditioning and Refrigeration   23,019.01    0.78%      5,343.30     0.29%     17,675.71        7,340.60    0.34%    15,678.41
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Audio Visual Repair                   1,819.98    0.06%          0.00     0.00%      1,819.98            0.00    0.00%     1,819.98
           256.51     0.08%        250.00   0.11%         6.51         179.99    0.12%           76.52   Building                              2,599.41    0.09%      2,500.00     0.14%         99.41        1,375.98    0.06%     1,223.43
             0.00     0.00%         40.00   0.02%       -40.00           0.00    0.00%            0.00   Communication Expense                     0.00    0.00%        400.00     0.02%       -400.00          199.75    0.01%      -199.75
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Contract Labor                        1,085.58    0.04%      3,000.00     0.16%     -1,914.42            0.00    0.00%     1,085.58
             0.00     0.00%         59.85   0.03%       -59.85           0.00    0.00%            0.00   Curtains and Drapes                       0.00    0.00%        534.33     0.03%       -534.33            0.00    0.00%         0.00
           492.57     0.16%        150.00   0.07%       342.57          87.12    0.06%          405.45   Electric Bulbs                        1,832.09    0.06%      1,500.00     0.08%        332.09          705.13    0.03%     1,126.96
           124.50     0.04%        139.65   0.06%       -15.15       1,735.32    1.12%       -1,610.82   Electrical and Mechanical             5,128.47    0.17%      1,246.77     0.07%      3,881.70        6,405.08    0.30%    -1,276.61
             0.00     0.00%      1,100.00   0.50%    -1,100.00           0.00    0.00%            0.00   Elevator Maintenance Contracts        3,557.88    0.12%     11,000.00     0.60%     -7,442.12            0.00    0.00%     3,557.88
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Equipment Maintenance                   917.11    0.03%          0.00     0.00%        917.11        3,511.82    0.16%    -2,594.71
             0.00     0.00%          0.00   0.00%         0.00          29.82    0.02%          -29.82   Equipment Rental                        218.35    0.01%          0.00     0.00%        218.35           29.82    0.00%       188.53
             0.00     0.00%        400.00   0.18%      -400.00           0.00    0.00%            0.00   Fire Safety Equipment                 3,160.07    0.11%      4,000.00     0.22%       -839.93        4,091.42    0.19%      -931.35
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Floor and Carpet Maintenance          2,380.46    0.08%          0.00     0.00%      2,380.46           30.00    0.00%     2,350.46
           795.95     0.26%          0.00   0.00%       795.95           0.00    0.00%          795.95   Furniture                             3,222.59    0.11%          0.00     0.00%      3,222.59        1,700.57    0.08%     1,522.02
         1,552.59     0.51%      1,350.00   0.62%       202.59          25.00    0.02%        1,527.59   Grounds and Landscaping              16,638.27    0.56%     13,500.00     0.74%      3,138.27       10,437.09    0.48%     6,201.18
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Kitchen Equipment Repairs               327.89    0.01%          0.00     0.00%        327.89            0.00    0.00%       327.89
             0.00     0.00%         79.80   0.04%       -79.80          43.00    0.03%          -43.00   Laundry Equipment Repairs             1,716.29    0.06%        712.44     0.04%      1,003.85        1,090.18    0.05%       626.11
            40.80     0.01%         99.75   0.05%       -58.95         156.28    0.10%         -115.48   Locks and Keys                        3,097.21    0.10%        890.55     0.05%      2,206.66          364.62    0.02%     2,732.59
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Maintenance Contracts                 1,963.52    0.07%          0.00     0.00%      1,963.52        1,155.00    0.05%       808.52
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Office Equipment                          0.00    0.00%          0.00     0.00%          0.00           87.99    0.00%       -87.99
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Office Supplies                         191.96    0.01%          0.00     0.00%        191.96            0.00    0.00%       191.96
            33.96     0.01%          0.00   0.00%        33.96           0.00    0.00%           33.96   Operating Supplies                      301.61    0.01%          0.00     0.00%        301.61            0.00    0.00%       301.61
            31.96     0.01%         59.85   0.03%       -27.89          18.18    0.01%           13.78   Painting and Decorating                 792.33    0.03%        534.33     0.03%        258.00          771.65    0.04%        20.68
           383.40     0.13%        598.00   0.27%      -214.60          21.27    0.01%          362.13   Pest Control                          6,807.82    0.23%      5,980.00     0.33%        827.82        1,240.16    0.06%     5,567.66
         2,394.26     0.79%        259.35   0.12%     2,134.91           3.51    0.00%        2,390.75   Plumbing and Heating                  9,792.12    0.33%      2,315.43     0.13%      7,476.69        7,197.86    0.33%     2,594.26
           357.17     0.12%        100.00   0.05%       257.17           0.00    0.00%          357.17   Pool Chemicals                        5,051.27    0.17%      1,000.00     0.05%      4,051.27            0.00    0.00%     5,051.27
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Pool Service- Contract                    0.00    0.00%          0.00     0.00%          0.00        1,296.71    0.06%    -1,296.71
             0.00     0.00%         19.95   0.01%       -19.95           0.00    0.00%            0.00   Radio and Television Repair             153.34    0.01%        178.11     0.01%        -24.77            0.00    0.00%       153.34
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Signage                                   0.00    0.00%          0.00     0.00%          0.00           11.77    0.00%       -11.77
             0.00     0.00%        102.00   0.05%      -102.00           0.00    0.00%            0.00   Software Expense/Maintenance              0.00    0.00%      1,520.00     0.08%     -1,520.00            0.00    0.00%         0.00
            11.94     0.00%          0.00   0.00%        11.94           0.00    0.00%           11.94   Tools                                   279.13    0.01%          0.00     0.00%        279.13            0.00    0.00%       279.13
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Travel                                    0.00    0.00%        500.00     0.03%       -500.00            0.00    0.00%         0.00
             0.00     0.00%          0.00   0.00%         0.00           0.00    0.00%            0.00   Uniforms                                 79.84    0.00%          0.00     0.00%         79.84            0.00    0.00%        79.84
         1,554.78     0.51%        660.00   0.30%       894.78         780.81    0.50%          773.97   Waste Removal                        14,634.48    0.49%      6,600.00     0.36%      8,034.48        6,469.76    0.30%     8,164.72
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                                                                               Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                     P&L - Dual Summary Pages
                                                                                                          As of 10/31/2021
             PTD      %       PTD Budget   %        Variance   PTD Last Year   %            Variance                                          YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

        9,123.13      3.01%    6,066.70    2.78%   3,056.43       3,090.96     1.99%       6,032.17    Total R&M Other Expenses         110,768.08   3.74%    63,255.26     3.47%   47,512.82      55,512.96     2.56%   55,255.12

       16,333.67      5.38%   13,652.29    6.26%   2,681.38      10,060.65     6.47%       6,273.02    Total R&M Expenses               184,925.80   6.25%   138,344.27     7.59%   46,581.53     114,498.46     5.29%   70,427.34




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                                                                                 Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year   %            Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                         Utilities
         1,466.94      0.48%     1,995.00    0.91%     -528.06       1,900.18     1.22%        -433.24   Water                              12,579.25    0.42%    17,811.00      0.98%    -5,231.75      20,240.35     0.93%    -7,661.10
         8,772.36      2.89%     6,184.50    2.84%    2,587.86       6,487.64     4.17%       2,284.72   Electricity                        68,663.78    2.32%    55,214.10      3.03%    13,449.68      55,703.76     2.57%    12,960.02
         1,550.33      0.51%     1,017.45    0.47%      532.88         561.75     0.36%         988.58   Gas - Natural HLP                   9,758.37    0.33%     9,083.61      0.50%       674.76       7,924.65     0.37%     1,833.72
         2,019.82      0.67%       997.50    0.46%    1,022.32           0.00     0.00%       2,019.82   Sewer                              14,425.47    0.49%     8,905.50      0.49%     5,519.97           0.00     0.00%    14,425.47
       13,809.45      4.55%    10,194.45    4.67%    3,615.00       8,949.57     5.75%       4,859.88    Total Utilities                  105,426.87    3.56%    91,014.21      4.99%    14,412.66      83,868.76     3.87%    21,558.11




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                                                                                   Company: SNFL Associates LLC Property: Hampton Inn & Suites Stuart North
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget    %         Variance   PTD Last Year    %            Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                           Fixed
             0.00      0.00%       545.83     0.25%     -545.83         803.90      0.52%        -803.90   Personal Property Taxes             6,041.58    0.20%      5,458.30     0.30%       583.28       8,257.75      0.38%       -2,216.17
        16,918.62      5.58%    13,430.58     6.16%    3,488.04      14,649.26      9.41%       2,269.36   Real Estate Taxes                 141,281.39    4.77%    134,305.80     7.37%     6,975.59     146,492.60      6.76%       -5,211.21
       16,918.62      5.58%    13,976.41     6.41%    2,942.21      15,453.16      9.93%       1,465.46    Total Taxes                      147,322.97    4.98%    139,764.10     7.67%     7,558.87     154,750.35      7.14%       -7,427.38
           318.16      0.10%         0.00     0.00%      318.16       4,756.93      3.06%      -4,438.77   Insurance                             954.48    0.03%          0.00     0.00%       954.48      45,388.66      2.10%     -44,434.18
            71.42      0.02%         0.00     0.00%       71.42           0.00      0.00%          71.42   Insurance - Crime                     214.26    0.01%          0.00     0.00%       214.26           0.00      0.00%          214.26
           378.42      0.12%       125.00     0.06%      253.42           0.00      0.00%         378.42   Insurance - Employment              1,553.26    0.05%      1,250.00     0.07%       303.26           0.00      0.00%        1,553.26
         1,227.00      0.40%     1,071.00     0.49%      156.00           0.00      0.00%       1,227.00   Insurance - General Liability      12,233.00    0.41%     10,710.00     0.59%     1,523.00           0.00      0.00%       12,233.00
         1,853.50      0.61%     3,188.08     1.46%   -1,334.58           0.00      0.00%       1,853.50   Insurance - Property               30,546.25    1.03%     31,880.80     1.75%    -1,334.55           0.00      0.00%       30,546.25
         3,242.08      1.07%     1,853.50     0.85%    1,388.58           0.00      0.00%       3,242.08   Insurance - Umbrella               20,031.58    0.68%     18,535.00     1.02%     1,496.58           0.00      0.00%       20,031.58
        7,090.58      2.34%     6,237.58     2.86%      853.00       4,756.93      3.06%       2,333.65    Total Insurance                   65,532.83    2.21%     62,375.80     3.42%     3,157.03      45,388.66      2.10%      20,144.17
        26,919.00      8.87%    26,919.00    12.34%        0.00      29,958.77     19.25%      -3,039.77   Ground Lease Expense              262,701.00    8.87%    266,306.00    14.61%    -3,605.00     269,311.54     12.43%       -6,610.54
       26,919.00      8.87%    26,919.00    12.34%         0.00     29,958.77     19.25%      -3,039.77    Total Leases & Rent              262,701.00    8.87%    266,306.00    14.61%    -3,605.00     269,311.54     12.43%       -6,610.54
         9,601.57      3.16%     6,542.42     3.00%    3,059.15       3,888.00      2.50%       5,713.57   Management Fee - Base              93,818.71    3.17%     54,683.95     3.00%    39,134.76      54,132.00      2.50%       39,686.71
             0.00      0.00%         0.00     0.00%        0.00       3,706.05      2.38%      -3,706.05   Management Fee - Incentive              0.00    0.00%          0.00     0.00%         0.00      10,976.50      0.51%     -10,976.50
        9,601.57      3.16%     6,542.42     3.00%    3,059.15       7,594.05      4.88%       2,007.52    Total Management Fees             93,818.71    3.17%     54,683.95     3.00%    39,134.76      65,108.50      3.01%      28,710.21
         3,779.00      1.25%         0.00     0.00%    3,779.00      12,355.26      7.94%      -8,576.26   Capital Reserve                     3,779.00    0.13%          0.00     0.00%     3,779.00     123,552.60      5.70%    -119,773.60
             0.00      0.00%         0.00     0.00%        0.00      45,395.00     29.17%     -45,395.00   (Gain)/Loss-Insurance                   0.00    0.00%          0.00     0.00%         0.00     453,950.00     20.96%    -453,950.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Owner's Expense                       949.17    0.03%          0.00     0.00%       949.17      21,978.72      1.01%     -21,029.55
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Non Recurring Cost                      0.00    0.00%          0.00     0.00%         0.00         -86.70      0.00%           86.70
             0.00      0.00%         0.00     0.00%        0.00       5,182.52      3.33%      -5,182.52   Extraordinary Expense                   0.00    0.00%          0.00     0.00%         0.00      13,479.47      0.62%     -13,479.47
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Prior Owner's Expense              -2,703.33   -0.09%          0.00     0.00%    -2,703.33           0.00      0.00%       -2,703.33
        3,779.00      1.25%          0.00    0.00%    3,779.00      62,932.78     40.44%     -59,153.78    Total Other Non-Operating          2,024.84    0.07%           0.00    0.00%     2,024.84     612,874.09     28.29%    -610,849.25




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                                                                                      Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
                                                                                                              P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget      %           Variance   PTD Last Year     %            Variance                                                        YTD      %          YTD Budget %                Variance    YTD Last Year     %             Variance

                                                                                                                Statistics
           131.00                   131.00                     0.00         131.00                      0.00    # Rooms                                            131.00                    131.00                     0.00           131.00                       0.00
         4,061.00                 4,061.00                     0.00       4,061.00                      0.00    Available Rooms                                 39,824.00                 39,824.00                     0.00        39,955.00                    -131.00
         1,707.00                 2,190.00                  -483.00       1,254.00                    453.00    Room Nights Sold                                16,428.00                 16,829.00                  -401.00        11,304.00                   5,124.00
          42.03%                   53.93%                  -11.89%         30.88%                    11.15%     Occupancy %                                       41.25%                    42.26%                   -1.01%           28.29%                     12.96%
           106.18                    89.00                    17.18          69.26                     36.92    ADR                                                 91.88                     82.89                     8.99            92.17                      -0.28
            44.63                    48.00                    -3.37          21.39                     23.24    RevPar                                              37.90                     35.03                     2.87            26.08                      11.83

                                                                                                                Summary V.11
                                                                                                                Revenue
       181,246.36    96.83%    194,917.15     99.06%    -13,670.79       86,848.93     95.37%      94,397.43    Rooms                                        1,509,470.50    97.46%     1,395,007.61    98.88%    114,462.89      1,041,859.87    95.99%      467,610.63
             0.00     0.00%          0.00      0.00%          0.00            0.00      0.00%           0.00    F&B                                              8,050.00     0.52%             0.00     0.00%      8,050.00              0.00     0.00%        8,050.00
         5,925.18     3.17%      1,854.50      0.94%      4,070.68        4,213.70      4.63%       1,711.48    Other Departments                               31,302.20     2.02%        15,761.45     1.12%     15,540.75         43,543.58     4.01%      -12,241.38

      187,171.54    100.00%    196,771.65    100.00%     -9,600.11      91,062.63     100.00%     96,108.91     Total Operating Revenue                     1,548,822.70    100.00%    1,410,769.06 100.00%       138,053.64    1,085,403.45 100.00%         463,419.25

                                                                                                                Departmental Expenses
        78,807.36    43.48%     72,223.75     37.05%      6,583.61       28,250.70     32.53%      50,556.66    Rooms                                         598,133.88     39.63%      581,480.58     41.68%     16,653.30       364,729.27     35.01%      233,404.61
             0.00     0.00%          0.00      0.00%          0.00            0.00      0.00%           0.00    F&B                                                 0.00      0.00%            0.00      0.00%          0.00             0.00      0.00%            0.00
         5,492.39    92.70%      2,736.93    147.58%      2,755.46        3,888.11     92.27%       1,604.28    Other Departments                              47,440.54    151.56%       25,559.96    162.17%     21,880.58        34,907.31     80.17%       12,533.23

       84,299.75     45.04%     74,960.68    38.10%       9,339.07      32,138.81      35.29%     52,160.94     Total Departmental Expenses                  645,574.42     41.68%      607,040.54     43.03%      38,533.88      399,636.58     36.82%      245,937.84

      102,871.79     54.96%    121,810.97    61.90%     -18,939.18      58,923.82      64.71%     43,947.97     Total Departmental Profit                    903,248.28     58.32%      803,728.52     56.97%      99,519.76      685,766.87     63.18%      217,481.41

                                                                                                                Undistributed Operating Expenses
        27,041.17    14.45%     23,291.17     11.84%       3,750.00      17,261.82     18.96%       9,779.35    A&G                                           236,370.10     15.26%      227,886.09     16.15%       8,484.01      268,347.92     24.72%      -31,977.82
         3,160.56     1.69%          0.00      0.00%       3,160.56           0.00      0.00%       3,160.56    IT                                              3,160.56      0.20%            0.00      0.00%       3,160.56            0.00      0.00%        3,160.56
         6,944.63     3.71%     10,265.33      5.22%      -3,320.70       7,555.23      8.30%        -610.60    S&M                                            77,673.60      5.02%       94,269.80      6.68%     -16,596.20       69,989.69      6.45%        7,683.91
        28,581.74    15.27%     23,939.91     12.17%       4,641.83      11,305.35     12.41%      17,276.39    Franchise Fees                                216,354.78     13.97%      184,250.14     13.06%      32,104.64      149,223.51     13.75%       67,131.27
        16,781.61     8.97%     17,173.26      8.73%        -391.65      15,980.53     17.55%         801.08    R&M                                           121,821.22      7.87%      165,015.53     11.70%     -43,194.31      125,150.97     11.53%       -3,329.75
        12,612.92     6.74%     13,140.00      6.68%        -527.08       8,447.76      9.28%       4,165.16    Utilities                                     119,242.49      7.70%      101,034.00      7.16%      18,208.49       97,272.61      8.96%       21,969.88

       95,122.63     50.82%     87,809.67    44.63%       7,312.96      60,550.69      66.49%     34,571.94     Total Undistributed Expenses                 774,622.75     50.01%      772,455.56     54.75%       2,167.19      709,984.70     65.41%       64,638.05

        7,749.16      4.14%     34,001.30    17.28%     -26,252.14      -1,626.87      -1.79%       9,376.03    Gross Operating Profit                    128,625.53         8.30%        31,272.96      2.22%     97,352.57       -24,217.83     -2.23%     152,843.36
         6,138.35      3.28%      5,903.15     3.00%         235.20       6,009.55       6.60%         128.80   Management Fees                             56,847.11         3.67%        50,988.55      3.61%      5,858.56        38,131.00      3.51%      18,716.11
        1,610.81      0.86%     28,098.15    14.28%     -26,487.34      -7,636.42      -8.39%       9,247.23    Income Before Non-Operating Income and Expenses
                                                                                                                                                           71,778.42         4.63%       -19,715.59     -1.40%     91,494.01       -62,348.83     -5.74%     134,127.25

                                                                                                                Non-Operating Income and Expenses
         9,480.37      5.07%      5,715.00     2.90%       3,765.37       5,233.72       5.75%       4,246.65   Insurance                                      67,609.49      4.37%       57,150.00      4.05%      10,459.49       51,453.20      4.74%       16,156.29
        32,974.00     17.62%     33,907.00    17.23%        -933.00      32,091.69      35.24%         882.31   Leases & Rent                                 326,212.00     21.06%      335,542.00     23.78%      -9,330.00      318,340.20     29.33%        7,871.80
         2,950.56      1.58%          0.00     0.00%       2,950.56      60,132.59      66.03%     -57,182.03   Other                                          21,759.74      1.40%            0.00      0.00%      21,759.74      635,020.60     58.51%     -613,260.86
       45,404.93     24.26%     39,622.00    20.14%       5,782.93      97,458.00     107.02%     -52,053.07    Total Non-Operating Income and Expenses      415,581.23     26.83%      392,692.00     27.84%      22,889.23    1,004,814.00     92.58%     -589,232.77

      -43,794.12    -23.40%    -11,523.85     -5.86%    -32,270.27    -105,094.42 -115.41%        61,300.30     EBITDA                                       -343,802.81    -22.20%    -412,407.59 -29.23%         68,604.78    -1,067,162.83    -98.32%     723,360.02
             0.00      0.00%          0.00      0.00%          0.00      33,500.00   36.79%       -33,500.00    Interest                                             0.00      0.00%           0.00   0.00%              0.00       334,379.59     30.81%    -334,379.59
        -7,549.36     -4.03%     15,729.00      7.99%    -23,278.36     -35,493.13  -38.98%        27,943.77    Taxes                                          109,701.28      7.08%     157,290.00  11.15%        -47,588.72       106,292.53      9.79%       3,408.75
             0.00      0.00%          0.00      0.00%          0.00       3,039.00    3.34%        -3,039.00    Amortization                                         0.00      0.00%           0.00   0.00%              0.00        30,390.00      2.80%     -30,390.00
       -7,549.36     -4.03%     15,729.00      7.99%    -23,278.36       1,045.87    1.15%        -8,595.23     Interest, Taxes, Depreciation and Amortization109,701.28      7.08%     157,290.00 11.15%         -47,588.72       471,062.12     43.40%    -361,360.84

      -36,244.76    -19.36%    -27,252.85    -13.85%     -8,991.91    -106,140.29 -116.56%        69,895.53     Net Income                                   -453,504.09    -29.28%    -569,697.59 -40.38%        116,193.50    -1,538,224.95 -141.72%      1,084,720.86




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                                                                                   Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget    %          Variance   PTD Last Year     %           Variance                                            YTD     %         YTD Budget %               Variance   YTD Last Year     %         Variance

                                                                                                            Statistics
           131.00                  131.00                  0.00          131.00                     0.00    # Rooms                               131.00                   131.00                    0.00          131.00                    0.00
         4,061.00                4,061.00                  0.00        4,061.00                     0.00    Available Rooms                    39,824.00                39,824.00                    0.00       39,955.00                 -131.00
         1,707.00                2,190.00               -483.00        1,254.00                   453.00    Room Nights Sold                   16,428.00                16,829.00                 -401.00       11,304.00                5,124.00
             0.42                    0.54                 -0.12            0.31                     0.11    Occupancy %                             0.41                     0.42                   -0.01            0.28                    0.13
           106.18                   89.00                 17.18           69.26                    36.92    ADR                                    91.88                    82.89                    8.99           92.17                   -0.28
            44.63                   48.00                 -3.37           21.39                    23.24    RevPar                                 37.90                    35.03                    2.87           26.08                   11.83

                                                                                                            Summary
                                                                                                            Revenue:
       181,246.36    96.83%    194,917.15   99.06%    -13,670.79      86,848.93     95.37%      94,397.43   Rooms                            1,509,470.50   97.46%    1,395,007.61    98.88%   114,462.89    1,041,859.87    95.99%    467,610.63
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   Food                                     0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   Beverage                                 0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   Other F&B Revenue                    8,050.00    0.52%            0.00     0.00%     8,050.00            0.00     0.00%      8,050.00
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   Telephone                                0.00    0.00%            0.00     0.00%         0.00            0.00     0.00%          0.00
         5,925.18     3.17%      1,854.50    0.94%      4,070.68       4,213.70      4.63%       1,711.48   Other                               31,302.20    2.02%       15,761.45     1.12%    15,540.75       43,543.58     4.01%    -12,241.38

       187,171.54   100.00%    196,771.65   100.00%    -9,600.11      91,062.63    100.00%      96,108.91   Total Revenue                    1,548,822.70   100.00%   1,410,769.06   100.00%   138,053.64    1,085,403.45    100.00%   463,419.25



                                                                                                            Cost of Sales:
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%           0.00   Food                                    0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%           0.00   Beverage                                0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%           0.00   Other F&B                               0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         3,674.23    62.01%      1,754.00   94.58%     1,920.23        1,754.43     41.64%       1,919.80   Telephone                           5,475.29    17.49%      17,540.00    111.28%    -12,064.71      11,083.33    25.45%     -5,608.04
             0.00     0.00%        847.93   45.72%      -847.93         -104.34     -2.48%         104.34   Other                              10,882.55    34.77%       6,669.96     42.32%      4,212.59       6,630.75    15.23%      4,251.80

         3,674.23    62.01%      2,601.93   140.30%    1,072.30        1,650.09     39.16%       2,024.14   Total Cost of Sales                16,357.84    52.26%      24,209.96    153.60%     -7,852.12      17,714.08    40.68%     -1,356.24



                                                                                                            Payroll:
        22,331.75    12.32%     31,427.52   16.12%     -9,095.77      18,243.39     21.01%       4,088.36   Rooms                             252,075.07    16.70%     288,349.94     20.67%    -36,274.87     178,437.87    17.13%     73,637.20
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   F&B                                     0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   Other                                   0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        11,241.77     6.01%     11,523.42    5.86%       -281.65      12,395.64     13.61%      -1,153.87   A&G                                84,200.04     5.44%     112,663.31      7.99%    -28,463.27     108,848.11    10.03%    -24,648.07
             0.00     0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   IT                                      0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         4,258.25     2.28%      4,086.32    2.08%        171.93       3,822.00      4.20%         436.25   S&M                                41,538.53     2.68%      39,951.54      2.83%      1,586.99      48,713.43     4.49%     -7,174.90
         7,572.89     4.05%      9,973.16    5.07%     -2,400.27       5,247.11      5.76%       2,325.78   R&M                                50,508.58     3.26%      97,598.71      6.92%    -47,090.13      46,107.53     4.25%      4,401.05
        45,404.66    24.26%     57,010.42   28.97%    -11,605.76      39,708.14     43.61%       5,696.52   Total Salaries and Wages          428,322.22    27.65%     538,563.50     38.18%   -110,241.28     382,106.94    35.20%     46,215.28

        11,411.05     6.10%     10,257.48    5.21%      1,153.57       9,790.64     10.75%       1,620.41   Total Taxes and Benefits           87,612.34     5.66%     105,722.86      7.49%    -18,110.52     120,522.32    11.10%    -32,909.98
        56,815.71    30.35%     67,267.90   34.19%    -10,452.19      49,498.78     54.36%       7,316.93   Total Labor Costs                 515,934.56    33.31%     644,286.36     45.67%   -128,351.80     502,629.26    46.31%     13,305.30



                                                                                                            Direct Expenses:
        49,303.25    27.20%     35,672.29   18.30%    13,630.96        6,708.69      7.72%      42,594.56   Rooms                             298,074.27    19.75%     241,443.61     17.31%     56,630.66     138,995.67    13.34%    159,078.60
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%           0.00   F&B                                     0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         1,818.16    30.69%        135.00    7.28%     1,683.16        2,238.02     53.11%        -419.86   Telephone                          31,082.70    99.30%       1,350.00      8.57%     29,732.70      17,193.23    39.49%     13,889.47
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%           0.00   Other                                   0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        28,581.74    15.27%     23,939.91   12.17%     4,641.83       11,305.35     12.41%      17,276.39   Franchise Fees                    216,354.78    13.97%     184,250.14     13.06%     32,104.64     149,223.51    13.75%     67,131.27
        13,907.57     7.43%      9,289.99    4.72%     4,617.58          657.40      0.72%      13,250.17   A&G                               134,685.80     8.70%      89,170.73      6.32%     45,515.07     111,135.17    10.24%     23,550.63
         3,160.56     1.69%          0.00    0.00%     3,160.56            0.00      0.00%       3,160.56   IT                                  3,160.56     0.20%           0.00      0.00%      3,160.56           0.00     0.00%      3,160.56
         2,064.48     1.10%      5,475.00    2.78%    -3,410.52        3,504.23      3.85%      -1,439.75   S&M                                22,390.38     1.45%      46,768.00      3.32%    -24,377.62      16,020.87     1.48%      6,369.51
         7,483.76     4.00%      5,248.33    2.67%     2,235.43        8,679.18      9.53%      -1,195.42   R&M                                62,913.79     4.06%      46,983.30      3.33%     15,930.49      59,436.88     5.48%      3,476.91
        12,612.92     6.74%     13,140.00    6.68%      -527.08        8,447.76      9.28%       4,165.16   Utilities                         119,242.49     7.70%     101,034.00      7.16%     18,208.49      97,272.61     8.96%     21,969.88

       118,932.44    63.54%     92,900.52   47.21%    26,031.92       41,540.63     45.62%      77,391.81   Total Direct Expense              887,904.77    57.33%     710,999.78     50.40%   176,904.99      589,277.94    54.29%    298,626.83

         7,749.16      4.14%    34,001.30   17.28%    -26,252.14      -1,626.87     -1.79%       9,376.03   Gross Operating Profit            128,625.53     8.30%      31,272.96     2.22%     97,352.57      -24,217.83     -2.23%   152,843.36

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                                                                                   Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget    %          Variance   PTD Last Year     %           Variance                                           YTD     %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                            Fixed Costs
        -7,549.36    -4.03%     15,729.00    7.99%    -23,278.36     -35,493.13     -38.98%     27,943.77   Taxes                             109,701.28    7.08%    157,290.00     11.15%   -47,588.72     106,292.53     9.79%       3,408.75
         9,480.37     5.07%      5,715.00    2.90%      3,765.37       5,233.72       5.75%      4,246.65   Insurance                          67,609.49    4.37%     57,150.00      4.05%    10,459.49      51,453.20     4.74%      16,156.29
        32,974.00    17.62%     33,907.00   17.23%       -933.00      32,091.69      35.24%        882.31   Leases & Rent                     326,212.00   21.06%    335,542.00     23.78%    -9,330.00     318,340.20    29.33%       7,871.80
         6,138.35     3.28%      5,903.15    3.00%        235.20       6,009.55       6.60%        128.80   Management Fees                    56,847.11    3.67%     50,988.55      3.61%     5,858.56      38,131.00     3.51%      18,716.11

        41,043.36    21.93%     61,254.15   31.13%    -20,210.79       7,841.83      8.61%      33,201.53   Total Fixed Expenses              560,369.88   36.18%    600,970.55     42.60%   -40,600.67     514,216.93    47.38%      46,152.95

       -33,294.20    -17.79%   -27,252.85   -13.85%    -6,041.35      -9,468.70     -10.40%    -23,825.50   Net Operating Profit             -431,744.35   -27.88%   -569,697.59   -40.38%   137,953.24    -538,434.76    -49.61%    106,690.41



             0.00      0.00%         0.00    0.00%         0.00       33,500.00     36.79%     -33,500.00   Interest Expense - Other               0.00     0.00%           0.00    0.00%         0.00      334,379.59    30.81%    -334,379.59
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00   Owner's Expense                      949.17     0.06%           0.00    0.00%       949.17       13,196.48     1.22%     -12,247.31
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00   Extraordinary Expense                  0.00     0.00%           0.00    0.00%         0.00       21,126.65     1.95%     -21,126.65
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00   Prior Owner's Expense                 25.53     0.00%           0.00    0.00%        25.53            0.00     0.00%          25.53
             0.00      0.00%         0.00    0.00%         0.00            0.00      0.00%           0.00   Non Recurring Cost                     0.00     0.00%           0.00    0.00%         0.00         -628.43    -0.06%         628.43



       -33,294.20    -17.79%   -27,252.85   -13.85%    -6,041.35     -42,968.70     -47.19%      9,674.50   Net Operating Income             -432,719.05   -27.94%   -569,697.59   -40.38%   136,978.54    -906,509.05    -83.52%    473,790.00

         2,950.56      1.58%         0.00    0.00%     2,950.56       15,208.59     16.70%     -12,258.03   Capital Reserve                    20,785.04    1.34%           0.00    0.00%     20,785.04     152,085.90    14.01%    -131,300.86
             0.00      0.00%         0.00    0.00%         0.00       44,924.00     49.33%     -44,924.00   (Gain)/Loss-Insurance                   0.00    0.00%           0.00    0.00%          0.00     449,240.00    41.39%    -449,240.00

       -36,244.76    -19.36%   -27,252.85   -13.85%    -8,991.91    -103,101.29    -113.22%     66,856.53   Adjusted NOI                     -453,504.09   -29.28%   -569,697.59   -40.38%   116,193.50   -1,507,834.95 -138.92%    1,054,330.86



             0.00      0.00%         0.00    0.00%         0.00        3,039.00      3.34%      -3,039.00   Amortization                            0.00    0.00%           0.00    0.00%          0.00      30,390.00     2.80%      -30,390.00



       -36,244.76    -19.36%   -27,252.85   -13.85%    -8,991.91    -106,140.29    -116.56%     69,895.53   Net Profit/(Loss)                -453,504.09   -29.28%   -569,697.59   -40.38%   116,193.50   -1,538,224.95 -141.72%    1,084,720.86




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                                                                                    Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %           Variance                                            YTD     %          YTD Budget %                Variance   YTD Last Year    %          Variance

                                                                                                             Rooms
                                                                                                             Room Revenue
                                                                                                             Transient Room Revenue
         4,805.83     2.65%     22,975.80     11.79%   -18,169.97         763.49      0.88%       4,042.34   Corporate Transient                 60,856.86     4.03%     243,852.80     17.48%   -182,995.94      104,571.98    10.04%    -43,715.12
         2,882.19     1.59%          0.00      0.00%     2,882.19           0.00      0.00%       2,882.19   AAA/AARP Transient                   8,576.95     0.57%           0.00      0.00%      8,576.95            0.00     0.00%      8,576.95
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%           0.00   Consortia Transient                 16,764.87     1.11%           0.00      0.00%     16,764.87            0.00     0.00%     16,764.87
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%           0.00   Employee                             2,178.95     0.14%           0.00      0.00%      2,178.95            0.00     0.00%      2,178.95
        25,265.32    13.94%          0.00      0.00%    25,265.32           0.00      0.00%      25,265.32   Leisure Transient                  195,879.33    12.98%           0.00      0.00%    195,879.33            0.00     0.00%    195,879.33
           465.06     0.26%          0.00      0.00%       465.06           0.00      0.00%         465.06   Leisure Package Transient            6,828.73     0.45%           0.00      0.00%      6,828.73            0.00     0.00%      6,828.73
             0.00     0.00%          0.00      0.00%         0.00      62,897.45     72.42%     -62,897.45   Extended Stay Transient                  0.00     0.00%           0.00      0.00%          0.00      416,283.52    39.96%   -416,283.52
             0.00     0.00%     84,781.65     43.50%   -84,781.65           0.00      0.00%           0.00   Internet/E-Commerce                 19,920.57     1.32%     411,480.56     29.50%   -391,559.99            0.00     0.00%     19,920.57
             0.00     0.00%      4,560.00      2.34%    -4,560.00           0.00      0.00%           0.00   E-Commerce Opaque                    1,928.72     0.13%      17,636.00      1.26%    -15,707.28            0.00     0.00%      1,928.72
           131.35     0.07%          0.00      0.00%       131.35           0.00      0.00%         131.35   Other Transient                     95,267.19     6.31%           0.00      0.00%     95,267.19            0.00     0.00%     95,267.19
             0.00     0.00%      2,047.00      1.05%    -2,047.00           0.00      0.00%           0.00   Government Transient                 3,922.44     0.26%      14,639.00      1.05%    -10,716.56            0.00     0.00%      3,922.44
       143,804.77    79.34%     39,092.70     20.06%   104,712.07      18,092.53     20.83%     125,712.24   Rack Transient                   1,033,095.68    68.44%     380,383.15     27.27%    652,712.53      351,653.63    33.75%    681,442.05
             0.00     0.00%     12,750.00      6.54%   -12,750.00       4,662.80      5.37%      -4,662.80   Local Negotiated Transient           8,525.72     0.56%     126,122.00      9.04%   -117,596.28       81,409.66     7.81%    -72,883.94

      177,354.52     97.85%    166,207.15    85.27%    11,147.37      86,416.27     99.50%      90,938.25    Total Transient Room Revenue    1,453,746.01    96.31%    1,194,113.51   85.60%     259,632.50      953,918.79     91.56%   499,827.22

                                                                                                             Group Room Revenue
           867.60      0.48%      9,570.00     4.91%    -8,702.40           0.00      0.00%         867.60   Corporate Group                    10,377.60      0.69%      65,156.80     4.67%      -54,779.20      76,675.80     7.36%    -66,298.20
             0.00      0.00%      9,570.00     4.91%    -9,570.00           0.00      0.00%           0.00   Leisure Group                           0.00      0.00%      70,739.60     5.07%      -70,739.60           0.00     0.00%          0.00
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%           0.00   Government Group                        0.00      0.00%           0.00     0.00%            0.00       6,759.36     0.65%     -6,759.36
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%           0.00   Tour & Travel Group                 1,700.00      0.11%           0.00     0.00%        1,700.00           0.00     0.00%      1,700.00
         2,408.40      1.33%          0.00     0.00%     2,408.40           0.00      0.00%       2,408.40   SMERF Group                        29,449.96      1.95%           0.00     0.00%       29,449.96           0.00     0.00%     29,449.96
             0.00      0.00%      9,570.00     4.91%    -9,570.00           0.00      0.00%           0.00   Sports Group                          750.00      0.05%      64,997.70     4.66%      -64,247.70           0.00     0.00%        750.00
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%           0.00   Other Group                        10,410.00      0.69%           0.00     0.00%       10,410.00           0.00     0.00%     10,410.00

        3,276.00      1.81%     28,710.00    14.73%    -25,434.00           0.00     0.00%       3,276.00    Total Group Room Revenue          52,687.56      3.49%     200,894.10    14.40%     -148,206.54      83,435.16     8.01%    -30,747.60

                                                                                                             Contract Room Revenue

             0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%           0.00    Total Contract Room Revenue             0.00     0.00%            0.00     0.00%           0.00            0.00    0.00%          0.00

                                                                                                             Other Room Revenue
           615.84      0.34%          0.00     0.00%       615.84       1,152.37      1.33%        -536.53   No-Show Rooms                        3,604.97     0.24%           0.00     0.00%       3,604.97        7,736.48     0.74%     -4,131.51
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%           0.00   Early/Late Departure Fees              725.98     0.05%           0.00     0.00%         725.98            0.00     0.00%        725.98
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%           0.00   Pet/Smoking/Damage Fees                742.81     0.05%           0.00     0.00%         742.81            0.00     0.00%        742.81

          615.84      0.34%          0.00     0.00%       615.84       1,152.37      1.33%        -536.53    Total Other Room Revenue            5,073.76     0.34%            0.00     0.00%       5,073.76       7,736.48     0.74%     -2,662.72

             0.00      0.00%          0.00     0.00%         0.00        -719.71     -0.83%        719.71    Less: Allowances                    -2,036.83    -0.13%           0.00     0.00%       -2,036.83      -3,230.56    -0.31%      1,193.73

      181,246.36    100.00%    194,917.15    100.00%   -13,670.79     86,848.93     100.00%     94,397.43    Total Room Revenue              1,509,470.50    100.00%   1,395,007.61 100.00%      114,462.89     1,041,859.87 100.00%     467,610.63

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%           0.00   Front Office Management            14,030.77      0.93%           0.00      0.00%      14,030.77           0.00     0.00%     14,030.77
             0.00      0.00%          0.00     0.00%         0.00         457.63      0.53%        -457.63   Revenue Management                      0.00      0.00%           0.00      0.00%           0.00       6,581.93     0.63%     -6,581.93
         3,406.59      1.88%      3,105.60     1.59%       300.99           0.00      0.00%       3,406.59   Housekeeping Management            30,876.98      2.05%      30,363.14      2.18%         513.84       9,487.97     0.91%     21,389.01
        3,406.59      1.88%      3,105.60     1.59%       300.99         457.63      0.53%       2,948.96    Total Rooms Management            44,907.75      2.98%      30,363.14      2.18%      14,544.61      16,069.90     1.54%     28,837.85
        12,610.59      6.96%      6,324.00     3.24%     6,286.59       4,370.38      5.03%       8,240.21   Front Office Agents               101,402.70      6.72%      62,016.00      4.45%      39,386.70      40,647.82     3.90%     60,754.88
             0.00      0.00%      3,224.00     1.65%    -3,224.00       3,527.31      4.06%      -3,527.31   Night Auditors                          0.00      0.00%      31,616.00      2.27%     -31,616.00      34,955.32     3.36%    -34,955.32
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%           0.00   Drivers                                 0.00      0.00%           0.00      0.00%           0.00       3,008.57     0.29%     -3,008.57
             0.00      0.00%      2,604.00     1.34%    -2,604.00           0.00      0.00%           0.00   Breakfast Attendant                     0.00      0.00%      25,536.00      1.83%     -25,536.00       6,005.98     0.58%     -6,005.98
       12,610.59      6.96%     12,152.00     6.23%       458.59       7,897.69      9.09%       4,712.90    Total Rooms Front Office         101,402.70      6.72%     119,168.00      8.54%     -17,765.30      84,617.69     8.12%     16,785.01
             0.00      0.00%      2,480.00     1.27%    -2,480.00       3,178.80      3.66%      -3,178.80   Housekeeping Supervisors                0.00      0.00%      24,320.00      1.74%     -24,320.00      14,863.52     1.43%    -14,863.52
         6,314.57      3.48%      9,327.78     4.79%    -3,013.21       5,991.89      6.90%         322.68   Room Attendants                   105,764.62      7.01%      71,721.67      5.14%      34,042.95      44,967.59     4.32%     60,797.03
             0.00      0.00%      2,037.14     1.05%    -2,037.14         108.00      0.12%        -108.00   Housepersons                            0.00      0.00%      19,977.13      1.43%     -19,977.13       8,282.35     0.79%     -8,282.35
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                                                                                    Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget     %          Variance   PTD Last Year     %           Variance                                                YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance

            0.00       0.00%      2,325.00    1.19%     -2,325.00         609.38      0.70%        -609.38   Laundry Attendants                          0.00     0.00%     22,800.00     1.63%    -22,800.00       9,636.82     0.92%     -9,636.82
        6,314.57      3.48%     16,169.92    8.30%     -9,855.35       9,888.07     11.39%      -3,573.50    Total Rooms Housekeeping              105,764.62    7.01%    138,818.80     9.95%    -33,054.18      77,750.28     7.46%     28,014.34

       22,331.75     12.32%     31,427.52    16.12%    -9,095.77      18,243.39     21.01%       4,088.36    Total Rooms Salary and Wages          252,075.07    16.70%   288,349.94    20.67%    -36,274.87     178,437.87     17.13%    73,637.20

                                                                                                             PR Taxes and Benefits
         2,003.96      1.11%      2,413.87    1.24%      -409.91        1,324.30      1.52%         679.66   FICA                                    18,036.74    1.19%     22,205.81     1.59%     -4,169.07      17,309.67     1.66%        727.07
            32.42      0.02%         13.25    0.01%        19.17            0.00      0.00%          32.42   Federal Unemployment Tax                   821.15    0.05%        430.34     0.03%        390.81           0.00     0.00%        821.15
           229.06      0.13%         85.20    0.04%       143.86            0.00      0.00%         229.06   State Unemployment Tax                   4,518.12    0.30%      3,540.67     0.25%        977.45           0.00     0.00%      4,518.12
        2,265.44      1.25%      2,512.32    1.29%      -246.88        1,324.30      1.52%         941.14    Total Payroll Taxes                    23,376.01    1.55%     26,176.82     1.88%     -2,800.81      17,309.67     1.66%      6,066.34
             0.00      0.00%          0.00    0.00%         0.00            0.00      0.00%           0.00   Holiday                                      0.00    0.00%        600.00     0.04%       -600.00       3,401.28     0.33%     -3,401.28
             0.00      0.00%        121.79    0.06%      -121.79        1,067.00      1.23%      -1,067.00   Vacation                                     0.00    0.00%      1,286.11     0.09%     -1,286.11      16,957.39     1.63%    -16,957.39
             0.00     0.00%        121.79    0.06%      -121.79        1,067.00      1.23%      -1,067.00    Total Supplemental Pay                       0.00   0.00%      1,886.11     0.14%     -1,886.11      20,358.67     1.95%    -20,358.67
         1,306.92      0.72%      1,528.03    0.78%      -221.11            0.00      0.00%       1,306.92   Worker's Compensation                   14,203.49    0.94%     14,326.70     1.03%       -123.21           0.00     0.00%     14,203.49
             0.00      0.00%        961.80    0.49%      -961.80          907.32      1.04%        -907.32   Group Insurance                          2,455.04    0.16%      9,297.40     0.67%     -6,842.36       8,627.39     0.83%     -6,172.35
         3,600.00      1.99%          0.00    0.00%     3,600.00            0.00      0.00%       3,600.00   Bonus and Incentive Pay                  7,950.00    0.53%          0.00     0.00%      7,950.00       1,000.00     0.10%      6,950.00
        4,906.92      2.71%      2,489.83    1.28%     2,417.09          907.32      1.04%       3,999.60    Total Other Benefits                   24,608.53    1.63%     23,624.10     1.69%        984.43       9,627.39     0.92%     14,981.14

        7,172.36      3.96%      5,123.94    2.63%     2,048.42        3,298.62      3.80%       3,873.74    Total Rooms PR Taxes and Benefits      47,984.54    3.18%     51,687.03     3.71%     -3,702.49      47,295.73     4.54%        688.81

       29,504.11     16.28%     36,551.46    18.75%    -7,047.35      21,542.01     24.80%       7,962.10    Total Rooms Labor Costs               300,059.61    19.88%   340,036.97    24.38%    -39,977.36     225,733.60     21.67%    74,326.01

                                                                                                             Other Expenses
         8,081.99     4.46%      8,760.00     4.49%      -678.01        1,005.48      1.16%       7,076.51   Breakfast /Comp Cost                   52,432.02     3.47%     67,356.00    4.83%    -14,923.98       38,318.39     3.68%    14,113.63
         2,015.80     1.11%      1,423.50     0.73%       592.30        1,749.08      2.01%         266.72   Cleaning Supplies                      14,632.17     0.97%     10,945.35    0.78%      3,686.82        6,169.05     0.59%     8,463.12
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Contract Cleaning                       4,275.50     0.28%          0.00    0.00%      4,275.50            0.00     0.00%     4,275.50
        23,521.86    12.98%          0.00     0.00%    23,521.86            0.00      0.00%      23,521.86   Contract Labor                         97,568.68     6.46%          0.00    0.00%     97,568.68       16,692.94     1.60%    80,875.74
           180.00     0.10%          0.00     0.00%       180.00            0.00      0.00%         180.00   Decorations & Plants                      195.08     0.01%          0.00    0.00%        195.08            0.00     0.00%       195.08
             0.00     0.00%         75.00     0.04%       -75.00            0.00      0.00%           0.00   Dues and Subscriptions                      0.00     0.00%        750.00    0.05%       -750.00            0.00     0.00%         0.00
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Equipment Rental                        1,447.78     0.10%          0.00    0.00%      1,447.78            0.00     0.00%     1,447.78
            30.89     0.02%          0.00     0.00%        30.89            0.00      0.00%          30.89   Glassware                                  60.27     0.00%          0.00    0.00%         60.27            0.00     0.00%        60.27
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Guest Loss/Damage                         114.79     0.01%          0.00    0.00%        114.79            0.00     0.00%       114.79
         4,963.06     2.74%      2,628.00     1.35%     2,335.06          296.50      0.34%       4,666.56   Guest Supplies                         31,884.55     2.11%     20,206.80    1.45%     11,677.75       13,468.14     1.29%    18,416.41
         1,386.96     0.77%      1,650.00     0.85%      -263.04          458.50      0.53%         928.46   Internet/Web Expense                    4,464.59     0.30%     16,500.00    1.18%    -12,035.41        4,487.52     0.43%       -22.93
           166.34     0.09%        547.50     0.28%      -381.16          224.24      0.26%         -57.90   Laundry                                 7,625.58     0.51%      4,209.75    0.30%      3,415.83          485.99     0.05%     7,139.59
         1,735.34     0.96%      1,314.00     0.67%       421.34          -12.91     -0.01%       1,748.25   Linen                                  16,827.35     1.11%     10,103.40    0.72%      6,723.95        6,587.33     0.63%    10,240.02
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Newspaper                                   0.00     0.00%          0.00    0.00%          0.00          329.40     0.03%      -329.40
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Office Equipment                          572.16     0.04%          0.00    0.00%        572.16            0.00     0.00%       572.16
             0.00     0.00%          0.00     0.00%         0.00          248.24      0.29%        -248.24   Operating Supplies                        895.11     0.06%          0.00    0.00%        895.11        3,260.40     0.31%    -2,365.29
             0.00     0.00%        284.70     0.15%      -284.70            0.00      0.00%           0.00   Printing and Stationery                   484.72     0.03%      2,189.07    0.16%     -1,704.35           26.21     0.00%       458.51
           534.05     0.29%          0.00     0.00%       534.05        1,482.60      1.71%        -948.55   Reservation Expense                     2,535.24     0.17%          0.00    0.00%      2,535.24       11,277.06     1.08%    -8,741.82
             0.00     0.00%        100.00     0.05%      -100.00            0.00      0.00%           0.00   Rooms Promotion                             0.00     0.00%      1,000.00    0.07%     -1,000.00            0.00     0.00%         0.00
         1,385.34     0.76%      1,340.00     0.69%        45.34        1,327.34      1.53%          58.00   Television Cable                       13,914.86     0.92%     13,400.00    0.96%        514.86       10,860.48     1.04%     3,054.38
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Transportation                              0.00     0.00%          0.00    0.00%          0.00          261.08     0.03%      -261.08
             0.00     0.00%        574.20     0.29%      -574.20            0.00      0.00%           0.00   Travel Agent Comm - Group Rooms            40.37     0.00%      4,017.89    0.29%     -3,977.52            0.00     0.00%        40.37
         5,301.62     2.93%     16,725.39     8.58%   -11,423.77          -70.38     -0.08%       5,372.00   Travel Agent Comm - Transient Rooms    45,093.54     2.99%     88,265.35    6.33%    -43,171.81       25,433.84     2.44%    19,659.70
             0.00     0.00%        250.00     0.13%      -250.00            0.00      0.00%           0.00   Uniforms                                1,655.54     0.11%      2,500.00    0.18%       -844.46        1,337.84     0.13%       317.70
             0.00     0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Walked Guests                           1,354.37     0.09%          0.00    0.00%      1,354.37            0.00     0.00%     1,354.37

       49,303.25     27.20%     35,672.29    18.30%   13,630.96        6,708.69      7.72%      42,594.56    Total Rooms Other Expenses            298,074.27    19.75%   241,443.61    17.31%    56,630.66      138,995.67     13.34%   159,078.60

       78,807.36     43.48%     72,223.75    37.05%    6,583.61       28,250.70     32.53%      50,556.66    Total Rooms Expenses                  598,133.88    39.63%   581,480.58    41.68%    16,653.30      364,729.27     35.01%   233,404.61

      102,439.00     56.52%    122,693.40    62.95%   -20,254.40      58,598.23     67.47%      43,840.77    Total Rooms Profit (Loss)             911,336.62    60.37%   813,527.03    58.32%    97,809.59      677,130.60     64.99%   234,206.02




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             PTD      %     PTD Budget   %   Variance   PTD Last Year     %           Variance                                                  YTD    %   YTD Budget %     Variance   YTD Last Year   %    Variance

                                                                                                 Room Sale Stats
                                                                                                 Tranisent Rooms
            58.00               257.00        -199.00          13.00                     45.00   Room Stat - Corporate Transient            1,025.00         2,927.00     -1,902.00          963.00            62.00
            20.00                 0.00          20.00           0.00                     20.00   Room Stat - AAA/AARP Transient                82.00             0.00         82.00            0.00            82.00
             0.00                 0.00           0.00           0.00                      0.00   Room Stat - Consortia Rate Transient         213.00             0.00        213.00            0.00           213.00
             0.00                 0.00           0.00           0.00                      0.00   Room Stat - Employee                          20.00             0.00         20.00            0.00            20.00
           228.00                 0.00         228.00           0.00                    228.00   Room Stat - Leisure Transient              2,148.00             0.00      2,148.00            0.00         2,148.00
             0.00                 0.00           0.00           0.00                      0.00   Room Stat - Package Transient                  3.00             0.00          3.00            0.00             3.00
             0.00                 0.00           0.00           0.00                      0.00   Room Stat - Member Reward Stay                 6.00             0.00          6.00            0.00             6.00
             0.00                 0.00           0.00           0.00                      0.00   Room Stat - Golf Pkg Transient                 1.00             0.00          1.00            0.00             1.00
             0.00                 0.00           0.00         930.00                   -930.00   Room Stat - Extended Stay Transient            0.00             0.00          0.00        5,686.00        -5,686.00
             0.00               951.00        -951.00           0.00                      0.00   Room Stat - Internet                         187.00         5,197.00     -5,010.00            0.00           187.00
             0.00                 0.00           0.00           0.00                      0.00   Room Stat - Other Transient                1,256.00             0.00      1,256.00            0.00         1,256.00
             0.00                60.00         -60.00           0.00                      0.00   Room Stat - E-Commerce Opaque                116.00           267.00       -151.00            0.00           116.00
             0.00                23.00         -23.00           0.00                      0.00   Room Stat - Government Rate Transient         41.00           168.00       -127.00           54.00           -13.00
         1,278.00               419.00         859.00         219.00                  1,059.00   Room Stat - Rack Rate Transient           10,663.00         4,280.00      6,383.00        2,855.00         7,808.00
           100.00               150.00         -50.00          92.00                      8.00   Room Stat - Local Negotiated Transient       159.00         1,598.00     -1,439.00        1,028.00          -869.00
        1,684.00             1,860.00        -176.00       1,254.00                    430.00    Total Transient Rooms Sold               15,920.00        14,437.00      1,483.00       10,586.00         5,334.00

                                                                                                 Group Rooms
            8.00                110.00        -102.00           0.00                     8.00    Room Stat - Corporate Group Rooms             78.00           774.00        -696.00         718.00          -640.00
            0.00                110.00        -110.00           0.00                     0.00    Room Stat - Leisure Group                     28.00           833.00        -805.00           0.00            28.00
            0.00                  0.00           0.00           0.00                     0.00    Room Stat - Tour & Travel Group               34.00             0.00          34.00           0.00            34.00
           15.00                  0.00          15.00           0.00                    15.00    Room Stat - SMERF Group                      231.00             0.00         231.00           0.00           231.00
            0.00                110.00        -110.00           0.00                     0.00    Room Stat - Sports Group                      37.00           785.00        -748.00           0.00            37.00
            0.00                  0.00           0.00           0.00                     0.00    Room Stat - Other Group                      100.00             0.00         100.00           0.00           100.00
           23.00               330.00        -307.00            0.00                    23.00    Total Group Rooms Sold                      508.00         2,392.00      -1,884.00         718.00          -210.00

                                                                                                 Contract Rooms
             0.00                0.00           0.00            0.00                     0.00    Total Contract Rooms Sold                     0.00             0.00           0.00            0.00            0.00

        1,707.00             2,190.00        -483.00       1,254.00                   453.00     Total Rooms Sold                         16,428.00        16,829.00       -401.00       11,304.00         5,124.00
             0.00                0.00            0.00           3.00                    -3.00    Room Stat-Comp Rooms                           6.00            0.00           6.00           55.00           -49.00
        1,707.00             2,190.00        -483.00       1,257.00                   450.00     Total Rooms Occupied                     16,434.00        16,829.00       -395.00       11,359.00         5,075.00
           181.00                0.00          181.00         433.00                  -252.00    Room Stat-Out of Order                     3,813.00            0.00       3,813.00        2,677.00         1,136.00

                                                                                                 ADR
            82.86               89.40           -6.54          58.73                    24.13    Corporate Transient ADR                      59.37            83.31         -23.94          108.59          -49.22
             0.00                0.00            0.00           0.00                     0.00    Advanced Purchase ADR                         0.00             0.00           0.00            0.00            0.00
           144.11                0.00         144.11            0.00                   144.11    AAA/AARP ADR                                104.60             0.00         104.60            0.00          104.60
             0.00                0.00            0.00           0.00                     0.00    FIT ADR                                       0.00             0.00           0.00            0.00            0.00
             0.00                0.00            0.00           0.00                     0.00    Consortia ADR                                78.71             0.00          78.71            0.00           78.71
             0.00                0.00            0.00           0.00                     0.00    Employee ADR                                108.95             0.00         108.95            0.00          108.95
           110.81                0.00         110.81            0.00                   110.81    Leisure ADR                                  91.19             0.00          91.19            0.00           91.19
             0.00                0.00            0.00           0.00                     0.00    Travel Agent/Friends & Family ADR             0.00             0.00           0.00            0.00            0.00
             2.04                0.00            2.04           0.00                     2.04    Leisure Package ADR                           3.18             0.00           3.18            0.00            3.18
             0.00                0.00            0.00           0.00                     0.00    Member Reward Stay ADR                        0.00             0.00           0.00            0.00            0.00
             0.00                0.00            0.00           0.00                     0.00    Golf Pkg ADR                                  0.00             0.00           0.00            0.00            0.00
             0.00                0.00            0.00          67.63                   -67.63    Extended Stay ADR                             0.00             0.00           0.00           73.21          -73.21
             0.00               89.15         -89.15            0.00                     0.00    Internet ADR                                106.53            79.18          27.35            0.00          106.53
             0.00               76.00         -76.00            0.00                     0.00    E-Commerce Opaque ADR                        16.63            66.05         -49.43            0.00           16.63
             0.00                0.00            0.00           0.00                     0.00    Other Transient ADR                          75.85             0.00          75.85            0.00           75.85
             0.00                0.00            0.00           0.00                     0.00    Airline Distressed Passenger ADR              0.00             0.00           0.00            0.00            0.00
             0.00               89.00         -89.00            0.00                     0.00    Government ADR                               95.67            87.14           8.53            0.00           95.67
           112.52               93.30          19.22           82.61                    29.91    Rack ADR                                     96.89            88.87           8.01          123.17          -26.29
             0.00               85.00         -85.00           50.68                   -50.68    Local Negotiated ADR                         53.62            78.92         -25.30           79.19          -25.57
          105.32                89.36          15.96           68.91                    36.40    Total Transient ADR                          91.32            82.71           8.60           90.11            1.20

           108.45                87.00         21.45            0.00                   108.45    Corporate Group ADR                         133.05             84.18         48.86          106.79           26.26
             0.00                87.00        -87.00            0.00                     0.00    Leisure Group ADR                             0.00             84.92        -84.92            0.00            0.00
             0.00                 0.00          0.00            0.00                     0.00    Government Group ADR                          0.00              0.00          0.00            0.00            0.00
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                                                                        Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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             PTD      %     PTD Budget   %   Variance   PTD Last Year     %           Variance                                           YTD    %     YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                0.00           0.00            0.00                      0.00   Tour & Travel Group ADR                50.00              0.00        50.00           0.00           50.00
             0.00                0.00           0.00            0.00                      0.00   Association Group ADR                   0.00              0.00         0.00           0.00            0.00
             0.00                0.00           0.00            0.00                      0.00   City Wide Group ADR                     0.00              0.00         0.00           0.00            0.00
           160.56                0.00         160.56            0.00                    160.56   SMERF Group ADR                       127.49              0.00       127.49           0.00          127.49
             0.00               87.00         -87.00            0.00                      0.00   Sports Group ADR                       20.27             82.80       -62.53           0.00           20.27
             0.00                0.00           0.00            0.00                      0.00   Other Group ADR                       104.10              0.00       104.10           0.00          104.10
          142.43                87.00          55.43            0.00                   142.43    Total Group ADR                      103.72              83.99        19.73         116.20          -12.49

             0.00                0.00           0.00            0.00                     0.00    Airline Crew ADR                       0.00               0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                     0.00    Other Contract ADR                     0.00               0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                     0.00    Total Contract ADR                     0.00               0.00         0.00            0.00           0.00

          106.18                89.00          17.18           69.26                    36.92    Total ADR                             91.88              82.89         8.99           92.17          -0.28




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                                                                                 Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %           Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                          Telephone

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Telephone Revenue                      0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00      0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%         0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Telephone Revenue                0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

                                                                                                          Cost of Sales
         3,674.23      0.00%     1,754.00    0.00%    1,920.23       1,754.43      0.00%       1,919.80   Cost of Sales - Local Calls         5,055.50    0.00%    17,540.00      0.00%    -12,484.50      11,083.33     0.00%    -6,027.83
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00   Cost of Sales - Long Distance         419.79    0.00%         0.00      0.00%        419.79           0.00     0.00%       419.79
        3,674.23      0.00%     1,754.00    0.00%    1,920.23       1,754.43      0.00%       1,919.80    Total Telephone Cost of Sales      5,475.29    0.00%    17,540.00      0.00%    -12,064.71      11,083.33     0.00%    -5,608.04

       -3,674.23      0.00%    -1,754.00    0.00%    -1,920.23     -1,754.43      0.00%      -1,919.80    Gross Profit                       -5,475.29   0.00%    -17,540.00     0.00%    12,064.71      -11,083.33     0.00%     5,608.04

                                                                                                          Other Expenses
             0.00      0.00%       135.00    0.00%     -135.00           0.00      0.00%           0.00   Equipment Rental                        0.00    0.00%     1,350.00      0.00%    -1,350.00            0.00     0.00%         0.00
         1,543.16      0.00%         0.00    0.00%    1,543.16       1,638.02      0.00%         -94.86   Internet/Web Expense               30,807.70    0.00%         0.00      0.00%    30,807.70       15,723.23     0.00%    15,084.47
             0.00      0.00%         0.00    0.00%        0.00         100.00      0.00%        -100.00   Miscellaneous Expense                   0.00    0.00%         0.00      0.00%         0.00          970.00     0.00%      -970.00
             0.00      0.00%         0.00    0.00%        0.00         500.00      0.00%        -500.00   Operating Supplies                      0.00    0.00%         0.00      0.00%         0.00          500.00     0.00%      -500.00
           275.00      0.00%         0.00    0.00%      275.00           0.00      0.00%         275.00   Software Expense/Maintenance          275.00    0.00%         0.00      0.00%       275.00            0.00     0.00%       275.00
        1,818.16      0.00%       135.00    0.00%    1,683.16       2,238.02      0.00%        -419.86    Total Telephone Other Expenses    31,082.70    0.00%     1,350.00      0.00%    29,732.70       17,193.23     0.00%    13,889.47

       -5,492.39      0.00%    -1,889.00    0.00%    -3,603.39     -3,992.45      0.00%      -1,499.94    Total Telephone Profit (Loss)     -36,557.99   0.00%    -18,890.00     0.00%    -17,667.99     -28,276.56     0.00%    -8,281.43




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                                                                                  Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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             PTD      %        PTD Budget     %        Variance   PTD Last Year     %           Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %           Variance

                                                                                                           Minor Operating
                                                                                                           Income
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Rental Income - Gift Shop                       294.10     0.94%         0.00     0.00%       294.10           0.00      0.00%        294.10
             0.00      0.00%        50.00     2.70%      -50.00           0.00      0.00%           0.00   Rental Income - Lobby Space                     195.00     0.62%       500.00     3.17%      -305.00           0.00      0.00%        195.00
         3,512.07     59.27%       500.00    26.96%    3,012.07       3,285.55     77.97%         226.52   Rental Income - Other                         9,298.00    29.70%     5,000.00    31.72%     4,298.00      27,999.63     64.30%    -18,701.63
        3,512.07     59.27%       550.00    29.66%    2,962.07       3,285.55     77.97%         226.52    Total Rental Income                          9,787.10    31.27%     5,500.00    34.90%     4,287.10      27,999.63     64.30%    -18,212.53
             0.00      0.00%         0.00     0.00%        0.00         253.84      6.02%        -253.84   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00     0.00%         0.00         815.22      1.87%       -815.22
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Vending Commissions Other                        69.50     0.22%         0.00     0.00%        69.50           0.00      0.00%         69.50
             0.00     0.00%          0.00    0.00%         0.00        253.84      6.02%        -253.84    Total Vending Commission Income                  69.50    0.22%          0.00    0.00%         69.50        815.22      1.87%       -745.72
           205.77      3.47%         0.00     0.00%      205.77           3.70      0.09%         202.07   Cancellation Fee - Rooms                      5,454.09    17.42%         0.00     0.00%     5,454.09       3,586.45      8.24%      1,867.64
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Cancellation Fee - Banquets                      55.00     0.18%         0.00     0.00%        55.00           0.00      0.00%         55.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Cancellation Fee - Other                        243.90     0.78%         0.00     0.00%       243.90           0.00      0.00%        243.90
          205.77      3.47%          0.00    0.00%      205.77            3.70     0.09%         202.07    Total Cancellation Fee Income                5,752.99    18.38%          0.00    0.00%     5,752.99       3,586.45      8.24%      2,166.54
             0.00      0.00%       100.00     5.39%     -100.00           0.00      0.00%           0.00   Guest Laundry                                     0.00     0.00%     1,000.00     6.34%    -1,000.00          38.00      0.09%        -38.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Interest Earned                                  44.55     0.14%         0.00     0.00%        44.55           0.00      0.00%         44.55
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   In-Room Movie Revenue                             0.00     0.00%         0.00     0.00%         0.00         239.79      0.55%       -239.79
             0.00      0.00%         0.00     0.00%        0.00         123.02      2.92%        -123.02   Cash Discounts                                    0.00     0.00%         0.00     0.00%         0.00       2,529.28      5.81%     -2,529.28
             0.00      0.00%         0.00     0.00%        0.00          29.70      0.70%         -29.70   Internet Access                                 475.21     1.52%         0.00     0.00%       475.21         376.04      0.86%         99.17
           723.57     12.21%         0.00     0.00%      723.57           0.00      0.00%         723.57   Other Revenue 2                               2,762.98     8.83%         0.00     0.00%     2,762.98           3.64      0.01%      2,759.34
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Other Revenue 3                               1,827.21     5.84%         0.00     0.00%     1,827.21       1,162.02      2.67%        665.19
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Other Revenue 4                                 336.95     1.08%         0.00     0.00%       336.95           0.00      0.00%        336.95
            50.00      0.84%         0.00     0.00%       50.00           0.00      0.00%          50.00   Parking Revenue                                  50.00     0.16%         0.00     0.00%        50.00           0.00      0.00%         50.00
         1,433.77     24.20%     1,204.50    64.95%      229.27         517.89     12.29%         915.88   Gift Shop Sales                              10,195.71    32.57%     9,261.45    58.76%       934.26       6,793.51     15.60%      3,402.20
        2,207.34     37.25%     1,304.50    70.34%      902.84         670.61     15.91%       1,536.73    Total Other Income                          15,692.61    50.13%    10,261.45    65.10%     5,431.16      11,142.28     25.59%      4,550.33

        5,925.18    100.00%     1,854.50    100.00%   4,070.68       4,213.70     100.00%      1,711.48    Total Minor Operating Income                31,302.20    100.00%   15,761.45 100.00%      15,540.75      43,543.58 100.00%       -12,241.38

                                                                                                           Cost of Sales
             0.00      0.00%        65.00     3.50%      -65.00           0.00       0.00%         0.00    Cost of Sales - Guest Laundry                     0.00     0.00%       650.00     4.12%      -650.00          64.00      0.15%        -64.00
             0.00      0.00%         0.00     0.00%        0.00         -33.61      -0.80%        33.61    Cost of Sales - Cots & Cribs                      0.00     0.00%         0.00     0.00%         0.00       1,428.21      3.28%     -1,428.21
             0.00      0.00%       782.93    42.22%     -782.93         -70.73      -1.68%        70.73    Cost of Sales - Gift Shop                    10,882.55    34.77%     6,019.96    38.19%     4,862.59       5,138.54     11.80%      5,744.01
             0.00     0.00%       847.93    45.72%     -847.93        -104.34      -2.48%        104.34    Total Minor Operated Cost of Sales          10,882.55    34.77%     6,669.96    42.32%     4,212.59       6,630.75     15.23%      4,251.80

        5,925.18    100.00%     1,006.57    54.28%    4,918.61       4,318.04     102.48%      1,607.14    Total Minor Operated Profit (Loss)          20,419.65    65.23%     9,091.49    57.68%    11,328.16      36,912.83     84.77%    -16,493.18




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                                                                                 Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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             PTD      %        PTD Budget    %        Variance   PTD Last Year     %           Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                          Franchise Fees
         1,784.88      0.95%         0.00    0.00%    1,784.88           0.00      0.00%       1,784.88   Franchise Fees - IT Fees                    10,299.40    0.66%         0.00     0.00%    10,299.40           0.00     0.00%    10,299.40
        18,377.67      9.82%    13,161.90    6.69%    5,215.77       5,419.41      5.95%      12,958.26   Franchise Fees - Royalty & Licenses        129,098.17    8.34%   101,202.39     7.17%    27,895.78      62,935.52     5.80%    66,162.65
             0.00      0.00%       150.00    0.08%     -150.00           0.00      0.00%           0.00   Franchise Fees - Other                       1,960.80    0.13%     1,500.00     0.11%       460.80           0.00     0.00%     1,960.80
             0.00      0.00%     1,423.50    0.72%   -1,423.50           0.00      0.00%           0.00   Franchise Fees - Reservations-GDS            9,382.88    0.61%    10,945.35     0.78%    -1,562.47           0.00     0.00%     9,382.88
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00   Franchise Fees - Equipment                     929.32    0.06%         0.00     0.00%       929.32           0.00     0.00%       929.32
         1,219.19      0.65%     4,489.50    2.28%   -3,270.31       2,202.55      2.42%        -983.36   Franchise Fees - Frequent Guest             47,777.71    3.08%    34,519.95     2.45%    13,257.76      44,261.30     4.08%     3,516.41
         7,200.00      3.85%     3,898.34    1.98%    3,301.66       3,683.39      4.04%       3,516.61   Franchise Fees - Marketing Contributions    16,906.50    1.09%    27,915.75     1.98%   -11,009.25      42,026.69     3.87%   -25,120.19
             0.00      0.00%       816.67    0.42%     -816.67           0.00      0.00%           0.00   Franchise Fees - Reservations-Central            0.00    0.00%     8,166.70     0.58%    -8,166.70           0.00     0.00%         0.00

       28,581.74     15.27%    23,939.91    12.17%   4,641.83      11,305.35     12.41%      17,276.39    Total Franchise Fees                       216,354.78   13.97%   184,250.14   13.06%    32,104.64     149,223.51     13.75%   67,131.27




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                                                                                  Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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             PTD      %        PTD Budget    %         Variance   PTD Last Year     %           Variance                                             YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
        11,241.77      6.01%    11,523.42     5.86%     -281.65      12,395.64     13.61%      -1,153.87   Management- A&G                      84,200.04     5.44%    112,663.31     7.99%    -28,463.27     108,848.11     10.03%    -24,648.07
       11,241.77      6.01%    11,523.42     5.86%     -281.65      12,395.64     13.61%      -1,153.87    Total A&G Management                84,200.04     5.44%    112,663.31     7.99%    -28,463.27     108,848.11     10.03%    -24,648.07
             0.00     0.00%          0.00    0.00%         0.00           0.00     0.00%            0.00   Total A&G Non-Management                  0.00    0.00%           0.00    0.00%           0.00           0.00     0.00%           0.00
       11,241.77      6.01%    11,523.42     5.86%     -281.65      12,395.64     13.61%      -1,153.87    Total A&G Salaries and Wages        84,200.04     5.44%    112,663.31     7.99%    -28,463.27     108,848.11     10.03%    -24,648.07
                                                                                                           PR Taxes and Benefits
           868.78      0.46%       916.11     0.47%      -47.33         845.32      0.93%          23.46   FICA                                  6,466.64     0.42%      8,983.80     0.64%     -2,517.16       8,395.74      0.77%     -1,929.10
            14.18      0.01%         5.03     0.00%        9.15           0.00      0.00%          14.18   Federal Unemployment Tax                258.43     0.02%        187.19     0.01%         71.24           0.00      0.00%        258.43
            97.98      0.05%        32.33     0.02%       65.65           0.00      0.00%          97.98   State Unemployment Tax                1,441.25     0.09%      1,538.74     0.11%        -97.49           0.00      0.00%      1,441.25
          980.94      0.52%       953.47     0.48%        27.47        845.32      0.93%         135.62    Total Payroll Taxes                  8,166.32     0.53%     10,709.73     0.76%     -2,543.41       8,395.74      0.77%       -229.42
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Holiday                                   0.00     0.00%          0.00     0.00%          0.00       2,628.48      0.24%     -2,628.48
             0.00      0.00%       451.92     0.23%     -451.92         744.00      0.82%        -744.00   Vacation                                  0.00     0.00%      4,772.29     0.34%     -4,772.29       9,942.57      0.92%     -9,942.57
             0.00     0.00%       451.92     0.23%     -451.92         744.00      0.82%        -744.00    Total Supplemental Pay                    0.00    0.00%      4,772.29     0.34%     -4,772.29      12,571.05      1.16%    -12,571.05
           660.89      0.35%       579.92     0.29%       80.97       1,255.00      1.38%        -594.11   Worker's Compensation                 5,465.80     0.35%      5,809.68     0.41%       -343.88      13,628.00      1.26%     -8,162.20
             0.00      0.00%       492.45     0.25%     -492.45       1,364.46      1.50%      -1,364.46   Group Insurance                       3,302.14     0.21%      4,760.35     0.34%     -1,458.21      13,361.10      1.23%    -10,058.96
           250.00      0.13%         0.00     0.00%      250.00           0.00      0.00%         250.00   Bonus and Incentive Pay                 550.00     0.04%          0.00     0.00%        550.00         408.75      0.04%        141.25
          910.89      0.49%     1,072.37     0.54%     -161.48       2,619.46      2.88%      -1,708.57    Total Other Benefits                 9,317.94     0.60%     10,570.03     0.75%     -1,252.09      27,397.85      2.52%    -18,079.91
        1,891.83      1.01%     2,477.76     1.26%     -585.93       4,208.78      4.62%      -2,316.95    Total A&G PR Taxes and Benefits     17,484.26     1.13%     26,052.05     1.85%     -8,567.79      48,364.64      4.46%    -30,880.38
       13,133.60      7.02%    14,001.18     7.12%     -867.58      16,604.42     18.23%      -3,470.82    Total A&G Payroll                  101,684.30     6.57%    138,715.36     9.83%    -37,031.06     157,212.75     14.48%    -55,528.45
                                                                                                           Other Expenses
         1,000.00      0.53%     1,000.00     0.51%        0.00       2,000.00      2.20%      -1,000.00   Accounting/Audit Fees                12,000.00     0.77%     10,000.00     0.71%     2,000.00       21,310.00      1.96%     -9,310.00
         3,284.26      1.75%         0.00     0.00%    3,284.26         460.97      0.51%       2,823.29   Bad Debt Provision                   18,407.71     1.19%          0.00     0.00%    18,407.71        8,126.62      0.75%     10,281.09
         1,123.68      0.60%     1,075.00     0.55%       48.68         985.52      1.08%         138.16   Bank Charges                         15,682.08     1.01%     10,750.00     0.76%     4,932.08       11,251.60      1.04%      4,430.48
           394.86      0.21%         0.00     0.00%      394.86           0.10      0.00%         394.76   Cash Over/Short                       3,602.25     0.23%          0.00     0.00%     3,602.25          161.60      0.01%      3,440.65
             0.00      0.00%       100.00     0.05%     -100.00           0.00      0.00%           0.00   Central Office - Travel Rebilled        359.35     0.02%      2,500.00     0.18%    -2,140.65            0.00      0.00%        359.35
           160.00      0.09%       160.00     0.08%        0.00           0.00      0.00%         160.00   Central Office - IT Fees              1,600.00     0.10%      1,600.00     0.11%         0.00            0.00      0.00%      1,600.00
             0.00      0.00%       110.00     0.06%     -110.00           0.00      0.00%           0.00   Communication Expense                    83.33     0.01%      1,100.00     0.08%    -1,016.67          112.81      0.01%        -29.48
         4,317.59      2.31%     4,919.29     2.50%     -601.70      -4,676.00     -5.13%       8,993.59   Credit Card Commission               25,393.57     1.64%     35,288.73     2.50%    -9,895.16       26,225.41      2.42%       -831.84
             0.00      0.00%         0.00     0.00%        0.00       1,197.77      1.32%      -1,197.77   Data Processing                           0.00     0.00%          0.00     0.00%         0.00       13,311.30      1.23%    -13,311.30
             0.00      0.00%         0.00     0.00%        0.00         120.00      0.13%        -120.00   Dues and Subscriptions                1,448.36     0.09%          0.00     0.00%     1,448.36        1,246.60      0.11%        201.76
           303.33      0.16%       150.00     0.08%      153.33        -291.20     -0.32%         594.53   Employee Relations                    2,118.24     0.14%      1,500.00     0.11%       618.24        1,656.95      0.15%        461.29
            44.18      0.02%        95.00     0.05%      -50.82          97.66      0.11%         -53.48   Equipment Rental                        803.51     0.05%        950.00     0.07%      -146.49          854.58      0.08%        -51.07
           193.06      0.10%         0.00     0.00%      193.06          44.18      0.05%         148.88   Licenses/Permits                      4,040.59     0.26%      7,725.00     0.55%    -3,684.41        7,382.36      0.68%     -3,341.77
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Meals and Entertainment                 978.38     0.06%          0.00     0.00%       978.38          131.18      0.01%        847.20
          -649.77     -0.35%         0.00     0.00%     -649.77           0.00      0.00%        -649.77   Miscellaneous Expense                -4,009.15    -0.26%          0.00     0.00%    -4,009.15            0.00      0.00%     -4,009.15
           100.56      0.05%         0.00     0.00%      100.56           0.00      0.00%         100.56   Office Equipment                      4,163.90     0.27%          0.00     0.00%     4,163.90            0.00      0.00%      4,163.90
             0.00      0.00%         0.00     0.00%        0.00         157.03      0.17%        -157.03   Office Supplies                       2,071.61     0.13%          0.00     0.00%     2,071.61        2,918.03      0.27%       -846.42
           555.74      0.30%         0.00     0.00%      555.74           0.00      0.00%         555.74   Operating Supplies                      790.72     0.05%          0.00     0.00%       790.72            0.00      0.00%        790.72
           197.04      0.11%       450.00     0.23%     -252.96         255.25      0.28%         -58.21   Payroll Service Fees                  1,478.85     0.10%      4,500.00     0.32%    -3,021.15        4,229.15      0.39%     -2,750.30
            52.55      0.03%        60.00     0.03%       -7.45          -6.16     -0.01%          58.71   Postage                                 318.33     0.02%        600.00     0.04%      -281.67          327.58      0.03%         -9.25
           724.25      0.39%       150.00     0.08%      574.25           0.00      0.00%         724.25   Professional Fees - Legal             4,643.81     0.30%      1,500.00     0.11%     3,143.81            0.00      0.00%      4,643.81
           590.00      0.32%       500.00     0.25%       90.00           0.00      0.00%         590.00   Professional Fees - Other            15,012.91     0.97%      5,000.00     0.35%    10,012.91        5,448.00      0.50%      9,564.91
           190.00      0.10%         0.00     0.00%      190.00           0.00      0.00%         190.00   Recruitment Advertising               7,230.00     0.47%          0.00     0.00%     7,230.00          936.00      0.09%      6,294.00
             0.00      0.00%         0.00     0.00%        0.00         183.28      0.20%        -183.28   Recruitment - Other                     783.65     0.05%          0.00     0.00%       783.65        1,123.40      0.10%       -339.75
           435.38      0.23%       520.70     0.26%      -85.32           0.00      0.00%         435.38   Software Expense/Maintenance          7,218.42     0.47%      6,157.00     0.44%     1,061.42            0.00      0.00%      7,218.42
             0.00      0.00%         0.00     0.00%        0.00         129.00      0.14%        -129.00   Training                              3,101.54     0.20%          0.00     0.00%     3,101.54        3,244.25      0.30%       -142.71
           890.86      0.48%         0.00     0.00%      890.86           0.00      0.00%         890.86   Travel                                5,363.84     0.35%          0.00     0.00%     5,363.84        1,137.75      0.10%      4,226.09
       13,907.57      7.43%     9,289.99     4.72%    4,617.58         657.40      0.72%      13,250.17    Total A&G Other Expenses           134,685.80     8.70%     89,170.73     6.32%    45,515.07      111,135.17     10.24%     23,550.63
       27,041.17     14.45%    23,291.17    11.84%    3,750.00      17,261.82     18.96%       9,779.35    Total A&G Expenses                 236,370.10    15.26%    227,886.09    16.15%     8,484.01      268,347.92     24.72%    -31,977.82




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                                                                                 Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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             PTD      %        PTD Budget   %         Variance   PTD Last Year     %           Variance                                           YTD    %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                          IT
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total IT Management                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total IT Non-Management                0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total IT Salaries and Wages            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total IT PR Taxes and Benefits         0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total IT Payroll                       0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                          Cost of Services
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total IT Cost of Services              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                          System Costs
         2,712.36      1.45%        0.00     0.00%    2,712.36           0.00      0.00%       2,712.36   Information Systems                 2,712.36    0.18%        0.00       0.00%    2,712.36           0.00     0.00%    2,712.36
           448.20      0.24%        0.00     0.00%      448.20           0.00      0.00%         448.20   Sales & Marketing                     448.20    0.03%        0.00       0.00%      448.20           0.00     0.00%      448.20
        3,160.56      1.69%         0.00    0.00%    3,160.56            0.00     0.00%       3,160.56    Total IT Systems                   3,160.56    0.20%         0.00      0.00%    3,160.56            0.00    0.00%    3,160.56

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total IT Other Expenses                0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

        3,160.56      1.69%         0.00    0.00%    3,160.56            0.00     0.00%       3,160.56    Total IT Expenses                  3,160.56    0.20%         0.00      0.00%    3,160.56            0.00    0.00%    3,160.56




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                                                                                  Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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             PTD      %        PTD Budget   %          Variance   PTD Last Year     %           Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                           S&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         4,258.25      2.28%         0.00    0.00%    4,258.25        3,822.00      4.20%         436.25   Division Management                41,538.53    2.68%         0.00      0.00%    41,538.53       42,718.08     3.94%    -1,179.55
             0.00      0.00%     4,086.32    2.08%   -4,086.32            0.00      0.00%           0.00   Sales Managers                          0.00    0.00%    39,951.54      2.83%   -39,951.54           35.00     0.00%       -35.00
        4,258.25      2.28%     4,086.32    2.08%      171.93        3,822.00      4.20%         436.25    Total S&M Management              41,538.53    2.68%    39,951.54      2.83%     1,586.99       42,753.08     3.94%    -1,214.55
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Administrative Assistant                0.00    0.00%         0.00      0.00%         0.00        5,960.35     0.55%    -5,960.35
             0.00     0.00%          0.00   0.00%         0.00            0.00     0.00%            0.00   Total S&M Non-Management                0.00   0.00%          0.00     0.00%          0.00       5,960.35     0.55%    -5,960.35

        4,258.25      2.28%     4,086.32    2.08%      171.93        3,822.00      4.20%         436.25    Total S&M Salaries and Wages      41,538.53    2.68%    39,951.54      2.83%      1,586.99      48,713.43     4.49%    -7,174.90

                                                                                                           PR Taxes and Benefits
           329.08      0.18%       324.86    0.17%        4.22            0.00      0.00%         329.08   FICA                                3,317.25    0.21%     3,185.72      0.23%        131.53       1,857.06     0.17%     1,460.19
             5.38      0.00%         1.78    0.00%        3.60            0.00      0.00%           5.38   Federal Unemployment Tax              143.39    0.01%        66.37      0.00%         77.02           0.00     0.00%       143.39
            37.10      0.02%        11.47    0.01%       25.63            0.00      0.00%          37.10   State Unemployment Tax                779.18    0.05%       545.67      0.04%        233.51           0.00     0.00%       779.18
          371.56      0.20%       338.11    0.17%        33.45            0.00     0.00%         371.56    Total Payroll Taxes                4,239.82    0.27%     3,797.76      0.27%        442.06       1,857.06     0.17%     2,382.76
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Holiday                                 0.00    0.00%         0.00      0.00%          0.00         358.48     0.03%      -358.48
             0.00      0.00%       160.26    0.08%     -160.26          229.00      0.25%        -229.00   Vacation                                0.00    0.00%     1,692.33      0.12%     -1,692.33         937.46     0.09%      -937.46
             0.00     0.00%       160.26    0.08%     -160.26          229.00      0.25%        -229.00    Total Supplemental Pay                  0.00   0.00%     1,692.33      0.12%     -1,692.33       1,295.94     0.12%    -1,295.94
           250.34      0.13%       205.64    0.10%       44.70            0.00      0.00%         250.34   Worker's Compensation               2,628.08    0.17%     2,060.17      0.15%        567.91           0.00     0.00%     2,628.08
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Group Insurance                     3,126.79    0.20%         0.00      0.00%      3,126.79       1,580.45     0.15%     1,546.34
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Bonus and Incentive Pay             3,750.00    0.24%         0.00      0.00%      3,750.00         521.94     0.05%     3,228.06
          250.34      0.13%       205.64    0.10%        44.70            0.00     0.00%         250.34    Total Other Benefits               9,504.87    0.61%     2,060.17      0.15%      7,444.70       2,102.39     0.19%     7,402.48
          621.90      0.33%       704.01    0.36%       -82.11         229.00      0.25%         392.90    Total S&M PR Taxes and Benefits   13,744.69    0.89%     7,550.26      0.54%      6,194.43       5,255.39     0.48%     8,489.30

        4,880.15      2.61%     4,790.33    2.43%        89.82       4,051.00      4.45%         829.15    Total S&M Payroll                 55,283.22    3.57%    47,501.80      3.37%      7,781.42      53,968.82     4.97%    1,314.40

                                                                                                           Other Expenses
           440.00      0.24%         0.00    0.00%       440.00           0.00      0.00%         440.00   Advertising General                 2,545.00    0.16%         0.00      0.00%      2,545.00          11.09     0.00%    2,533.91
             0.00      0.00%       690.00    0.35%      -690.00         273.11      0.30%        -273.11   Advertising-Web/Internet              440.00    0.03%     7,935.00      0.56%     -7,495.00       6,968.65     0.64%   -6,528.65
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Billboards                              0.00    0.00%         0.00      0.00%          0.00       2,536.27     0.23%   -2,536.27
             0.00      0.00%        50.00    0.03%       -50.00           0.00      0.00%           0.00   Communication Expense                   0.00    0.00%       500.00      0.04%       -500.00         100.00     0.01%     -100.00
         1,225.93      0.65%     1,285.00    0.65%       -59.07       3,192.00      3.51%      -1,966.07   Dues and Subscriptions             15,093.71    0.97%    16,589.00      1.18%     -1,495.29       5,619.79     0.52%    9,473.92
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   GDS Marketing Advert & Sales        2,264.27    0.15%         0.00      0.00%      2,264.27           0.00     0.00%    2,264.27
             0.00      0.00%     2,500.00    1.27%    -2,500.00           0.00      0.00%           0.00   Magazine - Advertising                  0.00    0.00%    10,000.00      0.71%    -10,000.00           0.00     0.00%        0.00
             0.00      0.00%       100.00    0.05%      -100.00           0.00      0.00%           0.00   Meals and Entertainment                 0.00    0.00%     1,000.00      0.07%     -1,000.00          33.61     0.00%      -33.61
             0.00      0.00%         0.00    0.00%         0.00           2.32      0.00%          -2.32   Office Supplies                         0.00    0.00%         0.00      0.00%          0.00         177.71     0.02%     -177.71
           105.19      0.06%         0.00    0.00%       105.19           0.00      0.00%         105.19   Printing and Stationery               105.19    0.01%         0.00      0.00%        105.19           0.00     0.00%      105.19
             0.00      0.00%        50.00    0.03%       -50.00          36.80      0.04%         -36.80   Promotions - In-house                  54.85    0.00%       500.00      0.04%       -445.15         411.04     0.04%     -356.19
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Software Expense/Maintenance            0.00    0.00%     7,494.00      0.53%     -7,494.00           0.00     0.00%        0.00
             0.00      0.00%       750.00    0.38%      -750.00           0.00      0.00%           0.00   Training                            1,594.00    0.10%     2,250.00      0.16%       -656.00          37.27     0.00%    1,556.73
           293.36      0.16%        50.00    0.03%       243.36           0.00      0.00%         293.36   Travel                                293.36    0.02%       500.00      0.04%       -206.64         125.44     0.01%      167.92
        2,064.48      1.10%     5,475.00    2.78%    -3,410.52       3,504.23      3.85%      -1,439.75    Total S&M Other Expenses          22,390.38    1.45%    46,768.00      3.32%    -24,377.62      16,020.87     1.48%    6,369.51

        6,944.63      3.71%    10,265.33    5.22%    -3,320.70       7,555.23      8.30%        -610.60    Total S&M Expenses                77,673.60    5.02%    94,269.80      6.68%    -16,596.20      69,989.69     6.45%    7,683.91




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                                                                                  Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %           Variance                                               YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                           R&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         4,428.57      2.37%     4,127.44    2.10%       301.13       3,956.02      4.34%         472.55   Division Management                    26,807.70    1.73%     40,272.97     2.85%    -13,465.27      31,722.69     2.92%     -4,914.99
        4,428.57      2.37%     4,127.44    2.10%       301.13       3,956.02      4.34%         472.55    Total R&M Management                  26,807.70    1.73%     40,272.97     2.85%    -13,465.27      31,722.69     2.92%     -4,914.99
             0.00      0.00%     2,922.86    1.49%    -2,922.86           0.00      0.00%           0.00   Engineering Supervisor                      0.00    0.00%     28,662.87     2.03%    -28,662.87           0.00     0.00%          0.00
         3,144.32      1.68%     2,922.86    1.49%       221.46       1,291.09      1.42%       1,853.23   Engineers 1                            23,700.88    1.53%     28,662.87     2.03%     -4,961.99      14,384.84     1.33%      9,316.04
        3,144.32      1.68%     5,845.72    2.97%    -2,701.40       1,291.09      1.42%       1,853.23    Total R&M Non-Management              23,700.88    1.53%     57,325.74     4.06%    -33,624.86      14,384.84     1.33%      9,316.04

        7,572.89      4.05%     9,973.16    5.07%    -2,400.27       5,247.11      5.76%       2,325.78    Total R&M Salaries and Wages          50,508.58    3.26%     97,598.71     6.92%    -47,090.13      46,107.53     4.25%      4,401.05

                                                                                                           PR Taxes and Benefits
           612.01      0.33%       775.31    0.39%     -163.30          350.82      0.39%         261.19   FICA                                    3,730.28    0.24%      7,596.85     0.54%     -3,866.57       4,235.16     0.39%       -504.88
            10.26      0.01%         4.26    0.00%        6.00            0.00      0.00%          10.26   Federal Unemployment Tax                  149.02    0.01%        158.01     0.01%         -8.99           0.00     0.00%        149.02
            70.51      0.04%        27.36    0.01%       43.15            0.00      0.00%          70.51   State Unemployment Tax                    836.93    0.05%      1,299.38     0.09%       -462.45           0.00     0.00%        836.93
          692.78      0.37%       806.93    0.41%     -114.15          350.82      0.39%         341.96    Total Payroll Taxes                    4,716.23    0.30%      9,054.24     0.64%     -4,338.01       4,235.16     0.39%        481.07
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Holiday                                     0.00    0.00%          0.00     0.00%          0.00       1,420.16     0.13%     -1,420.16
             0.00      0.00%       161.60    0.08%     -161.60          315.00      0.35%        -315.00   Vacation                                    0.00    0.00%      1,706.48     0.12%     -1,706.48       5,058.46     0.47%     -5,058.46
             0.00     0.00%       161.60    0.08%     -161.60          315.00      0.35%        -315.00    Total Supplemental Pay                      0.00   0.00%      1,706.48     0.12%     -1,706.48       6,478.62     0.60%     -6,478.62
           432.18      0.23%       490.79    0.25%      -58.61            0.00      0.00%         432.18   Worker's Compensation                   2,827.62    0.18%      4,912.45     0.35%     -2,084.83           0.00     0.00%      2,827.62
             0.00      0.00%       492.45    0.25%     -492.45        1,388.42      1.52%      -1,388.42   Group Insurance                             0.00    0.00%      4,760.35     0.34%     -4,760.35       8,892.78     0.82%     -8,892.78
           600.00      0.32%         0.00    0.00%      600.00            0.00      0.00%         600.00   Bonus and Incentive Pay                   855.00    0.06%          0.00     0.00%        855.00           0.00     0.00%        855.00
        1,032.18      0.55%       983.24    0.50%        48.94       1,388.42      1.52%        -356.24    Total Other Benefits                   3,682.62    0.24%      9,672.80     0.69%     -5,990.18       8,892.78     0.82%     -5,210.16
        1,724.96      0.92%     1,951.77    0.99%     -226.81        2,054.24      2.26%        -329.28    Total R&M PR Taxes and Benefits        8,398.85    0.54%     20,433.52     1.45%    -12,034.67      19,606.56     1.81%    -11,207.71

        9,297.85      4.97%    11,924.93    6.06%    -2,627.08       7,301.35      8.02%       1,996.50    Total R&M Payroll                     58,907.43    3.80%    118,032.23     8.37%    -59,124.80      65,714.09     6.05%     -6,806.66

                                                                                                           Other Expenses
             0.00      0.00%       250.00    0.13%     -250.00          195.35      0.21%        -195.35   Air Conditioning and Refrigeration        860.87    0.06%      2,500.00     0.18%    -1,639.13        2,953.76     0.27%    -2,092.89
             0.00      0.00%       350.00    0.18%     -350.00          281.61      0.31%        -281.61   Building                                7,573.51    0.49%      3,500.00     0.25%     4,073.51        2,571.45     0.24%     5,002.06
             0.00      0.00%        50.00    0.03%      -50.00            0.00      0.00%           0.00   Communication Expense                       0.00    0.00%        500.00     0.04%      -500.00           65.01     0.01%       -65.01
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Dues and Subscriptions                  5,358.00    0.35%          0.00     0.00%     5,358.00            0.00     0.00%     5,358.00
           573.37      0.31%       100.00    0.05%      473.37           92.29      0.10%         481.08   Electric Bulbs                          1,046.66    0.07%      1,000.00     0.07%        46.66        1,207.98     0.11%      -161.32
         2,360.66      1.26%       200.00    0.10%    2,160.66          596.97      0.66%       1,763.69   Electrical and Mechanical               3,493.29    0.23%      2,000.00     0.14%     1,493.29        7,372.82     0.68%    -3,879.53
            28.13      0.02%       567.33    0.29%     -539.20            0.00      0.00%          28.13   Elevator Maintenance Contracts         11,366.58    0.73%      5,673.30     0.40%     5,693.28            0.00     0.00%    11,366.58
             0.00      0.00%         0.00    0.00%        0.00        1,804.57      1.98%      -1,804.57   Equipment Maintenance                   1,009.75    0.07%          0.00     0.00%     1,009.75        7,534.57     0.69%    -6,524.82
             0.00      0.00%       350.00    0.18%     -350.00        3,886.71      4.27%      -3,886.71   Fire Safety Equipment                   6,178.09    0.40%      7,000.00     0.50%      -821.91       11,924.54     1.10%    -5,746.45
             0.00      0.00%        50.00    0.03%      -50.00          570.56      0.63%        -570.56   Floor and Carpet Maintenance                0.00    0.00%        500.00     0.04%      -500.00          681.98     0.06%      -681.98
             0.00      0.00%        50.00    0.03%      -50.00           30.01      0.03%         -30.01   Furniture                                 185.97    0.01%        500.00     0.04%      -314.03        1,217.17     0.11%    -1,031.20
             0.00      0.00%     1,800.00    0.91%   -1,800.00         -133.73     -0.15%         133.73   Grounds and Landscaping                 3,167.94    0.20%      8,500.00     0.60%    -5,332.06        3,998.94     0.37%      -831.00
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Kitchen Equipment Repairs                  64.65    0.00%          0.00     0.00%        64.65            0.00     0.00%        64.65
           582.70      0.31%        75.00    0.04%      507.70          182.65      0.20%         400.05   Laundry Equipment Repairs               1,534.27    0.10%        750.00     0.05%       784.27        2,335.19     0.22%      -800.92
             0.00      0.00%        75.00    0.04%      -75.00          -36.23     -0.04%          36.23   Locks and Keys                            726.39    0.05%        750.00     0.05%       -23.61        1,628.94     0.15%      -902.55
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Office Supplies                            18.53    0.00%          0.00     0.00%        18.53            0.00     0.00%        18.53
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Operating Supplies                        455.02    0.03%          0.00     0.00%       455.02            0.00     0.00%       455.02
            57.63      0.03%       100.00    0.05%      -42.37            0.00      0.00%          57.63   Painting and Decorating                   155.71    0.01%      1,000.00     0.07%      -844.29          839.51     0.08%      -683.80
         2,700.00      1.44%       200.00    0.10%    2,500.00          192.67      0.21%       2,507.33   Pest Control                            6,157.74    0.40%      2,000.00     0.14%     4,157.74        1,596.80     0.15%     4,560.94
           664.23      0.35%       100.00    0.05%      564.23          669.86      0.74%          -5.63   Plumbing and Heating                    2,827.20    0.18%      1,000.00     0.07%     1,827.20        7,302.59     0.67%    -4,475.39
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Pool Chemicals                            260.18    0.02%          0.00     0.00%       260.18            0.00     0.00%       260.18
             0.00      0.00%       350.00    0.18%     -350.00           58.16      0.06%         -58.16   Pool Service- Contract                  1,368.00    0.09%      3,500.00     0.25%    -2,132.00          756.55     0.07%       611.45
             0.00      0.00%         0.00    0.00%        0.00          -32.27     -0.04%          32.27   Radio and Television Repair                 0.00    0.00%          0.00     0.00%         0.00          631.76     0.06%      -631.76
           131.00      0.07%       131.00    0.07%        0.00            0.00      0.00%         131.00   Software Expense/Maintenance              655.00    0.04%      1,810.00     0.13%    -1,155.00            0.00     0.00%       655.00
            13.69      0.01%        50.00    0.03%      -36.31            0.00      0.00%          13.69   Tools                                   2,470.87    0.16%        500.00     0.04%     1,970.87            0.00     0.00%     2,470.87
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Vehicle Maintenance & Repairs           2,272.07    0.15%          0.00     0.00%     2,272.07          842.04     0.08%     1,430.03
           372.35      0.20%       400.00    0.20%      -27.65          320.00      0.35%          52.35   Waste Removal                           3,707.50    0.24%      4,000.00     0.28%      -292.50        3,975.28     0.37%      -267.78
        7,483.76      4.00%     5,248.33    2.67%    2,235.43        8,679.18      9.53%      -1,195.42    Total R&M Other Expenses              62,913.79    4.06%     46,983.30     3.33%    15,930.49       59,436.88     5.48%     3,476.91

       16,781.61      8.97%    17,173.26    8.73%     -391.65       15,980.53     17.55%         801.08    Total R&M Expenses                   121,821.22    7.87%    165,015.53    11.70%    -43,194.31     125,150.97     11.53%    -3,329.75



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                                                                                 Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
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                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year     %           Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          Utilities
         2,748.30      1.47%     4,380.00    2.23%   -1,631.70       2,171.44      2.38%         576.86   Water                              26,069.84    1.68%     33,678.00     2.39%    -7,608.16      24,131.91     2.22%     1,937.93
         6,221.36      3.32%     7,665.00    3.90%   -1,443.64       5,525.04      6.07%         696.32   Electricity                        64,956.25    4.19%     58,936.50     4.18%     6,019.75      65,734.51     6.06%      -778.26
         2,278.09      1.22%     1,095.00    0.56%    1,183.09         751.28      0.83%       1,526.81   Gas - Natural HLP                  10,519.63    0.68%      8,419.50     0.60%     2,100.13       7,406.19     0.68%     3,113.44
         1,365.17      0.73%         0.00    0.00%    1,365.17           0.00      0.00%       1,365.17   Sewer                              17,696.77    1.14%          0.00     0.00%    17,696.77           0.00     0.00%    17,696.77
       12,612.92      6.74%    13,140.00    6.68%     -527.08       8,447.76      9.28%       4,165.16    Total Utilities                  119,242.49    7.70%    101,034.00     7.16%    18,208.49      97,272.61     8.96%    21,969.88




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                                                                                    Company: PCGA Associates LLC Property: Hampton inn Atlanta Perimeter Center
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget    %           Variance   PTD Last Year     %            Variance                                          YTD     %        YTD Budget %               Variance   YTD Last Year    %            Variance

                                                                                                              Fixed
         3,055.90      1.63%       637.00     0.32%      2,418.90         332.98       0.37%       2,722.92   Personal Property Taxes           10,911.80     0.70%      6,370.00     0.45%      4,541.80       6,292.53      0.58%       4,619.27
       -10,605.26     -5.67%    15,092.00     7.67%    -25,697.26     -35,826.11     -39.34%      25,220.85   Real Estate Taxes                 98,789.48     6.38%    150,920.00    10.70%    -52,130.52     100,000.00      9.21%      -1,210.52
       -7,549.36     -4.03%    15,729.00     7.99%    -23,278.36     -35,493.13     -38.98%      27,943.77    Total Taxes                     109,701.28     7.08%    157,290.00    11.15%    -47,588.72     106,292.53      9.79%       3,408.75
           700.16      0.37%         0.00     0.00%        700.16       5,233.72       5.75%      -4,533.56   Insurance                          6,230.13     0.40%          0.00     0.00%      6,230.13      51,453.20      4.74%     -45,223.07
           400.30      0.21%       400.25     0.20%          0.05           0.00       0.00%         400.30   Insurance - Automobile             4,002.55     0.26%      4,002.50     0.28%          0.05           0.00      0.00%       4,002.55
            63.34      0.03%         0.00     0.00%         63.34           0.00       0.00%          63.34   Insurance - Crime                    126.68     0.01%          0.00     0.00%        126.68           0.00      0.00%         126.68
         1,193.84      0.64%       125.00     0.06%      1,068.84           0.00       0.00%       1,193.84   Insurance - Employment             2,119.10     0.14%      1,250.00     0.09%        869.10           0.00      0.00%       2,119.10
         2,931.00      1.57%     1,375.50     0.70%      1,555.50           0.00       0.00%       2,931.00   Insurance - General Liability     16,472.55     1.06%     13,755.00     0.98%      2,717.55           0.00      0.00%      16,472.55
         1,673.13      0.89%     1,433.75     0.73%        239.38           0.00       0.00%       1,673.13   Insurance - Property              14,576.88     0.94%     14,337.50     1.02%        239.38           0.00      0.00%      14,576.88
         2,518.60      1.35%     2,380.50     1.21%        138.10           0.00       0.00%       2,518.60   Insurance - Umbrella              24,081.60     1.55%     23,805.00     1.69%        276.60           0.00      0.00%      24,081.60
        9,480.37      5.07%     5,715.00     2.90%      3,765.37       5,233.72       5.75%       4,246.65    Total Insurance                  67,609.49     4.37%     57,150.00     4.05%     10,459.49      51,453.20      4.74%      16,156.29
        32,974.00     17.62%    32,974.00    16.76%          0.00      32,091.69      35.24%         882.31   Ground Lease Expense             326,212.00    21.06%    326,212.00    23.12%          0.00     318,340.20     29.33%       7,871.80
             0.00      0.00%       933.00     0.47%       -933.00           0.00       0.00%           0.00   Vehicle Leases                         0.00     0.00%      9,330.00     0.66%     -9,330.00           0.00      0.00%           0.00
       32,974.00     17.62%    33,907.00    17.23%       -933.00      32,091.69      35.24%         882.31    Total Leases & Rent             326,212.00    21.06%    335,542.00    23.78%     -9,330.00     318,340.20     29.33%       7,871.80
         6,138.35      3.28%     5,903.15     3.00%        235.20       2,276.00       2.50%       3,862.35   Management Fee - Base             56,847.11     3.67%     50,988.55     3.61%      5,858.56      27,127.00      2.50%      29,720.11
             0.00      0.00%         0.00     0.00%          0.00       3,733.55       4.10%      -3,733.55   Management Fee - Incentive             0.00     0.00%          0.00     0.00%          0.00      11,004.00      1.01%     -11,004.00
        6,138.35      3.28%     5,903.15     3.00%        235.20       6,009.55       6.60%         128.80    Total Management Fees            56,847.11     3.67%     50,988.55     3.61%      5,858.56      38,131.00      3.51%      18,716.11
         2,950.56      1.58%         0.00     0.00%      2,950.56      15,208.59      16.70%     -12,258.03   Capital Reserve                   20,785.04     1.34%          0.00     0.00%     20,785.04     152,085.90     14.01%    -131,300.86
             0.00      0.00%         0.00     0.00%          0.00      44,924.00      49.33%     -44,924.00   (Gain)/Loss-Insurance                  0.00     0.00%          0.00     0.00%          0.00     449,240.00     41.39%    -449,240.00
             0.00      0.00%         0.00     0.00%          0.00           0.00       0.00%           0.00   Owner's Expense                      949.17     0.06%          0.00     0.00%        949.17      13,196.48      1.22%     -12,247.31
             0.00      0.00%         0.00     0.00%          0.00           0.00       0.00%           0.00   Non Recurring Cost                     0.00     0.00%          0.00     0.00%          0.00        -628.43     -0.06%         628.43
             0.00      0.00%         0.00     0.00%          0.00           0.00       0.00%           0.00   Extraordinary Expense                  0.00     0.00%          0.00     0.00%          0.00      21,126.65      1.95%     -21,126.65
             0.00      0.00%         0.00     0.00%          0.00           0.00       0.00%           0.00   Prior Owner's Expense                 25.53     0.00%          0.00     0.00%         25.53           0.00      0.00%          25.53
        2,950.56      1.58%          0.00    0.00%      2,950.56      60,132.59      66.03%     -57,182.03    Total Other Non-Operating        21,759.74     1.40%           0.00    0.00%     21,759.74     635,020.60     58.51%    -613,260.86




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                                                                                    Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget      %         Variance   PTD Last Year     %            Variance                                                        YTD      %          YTD Budget %               Variance    YTD Last Year     %            Variance

                                                                                                              Statistics
           126.00                   126.00                   0.00         126.00                       0.00   # Rooms                                            126.00                    126.00                     0.00          126.00                      0.00
         3,906.00                 3,906.00                   0.00       3,906.00                       0.00   Available Rooms                                 38,304.00                 38,304.00                     0.00       38,430.00                   -126.00
         2,746.00                 2,344.00                 402.00         839.00                   1,907.00   Room Nights Sold                                16,958.00                 15,893.00                 1,065.00       10,552.00                  6,406.00
          70.30%                   60.01%                 10.29%         21.48%                     48.82%    Occupancy %                                       44.27%                    41.49%                    2.78%          27.46%                    16.81%
            99.10                    90.01                   9.09          80.57                      18.53   ADR                                                 91.34                     82.42                     8.93           91.19                      0.15
            69.67                    54.01                  15.65          17.31                      52.36   RevPar                                              40.44                     34.20                     6.24           25.04                     15.40

                                                                                                              Summary V.11
                                                                                                              Revenue
       272,124.68     98.32%   210,976.30     98.45%   61,148.38       67,598.73     98.19%      204,525.95   Rooms                                        1,549,026.78    97.96%     1,309,827.67    97.94%    239,199.11      962,278.27    98.24%      586,748.51
             0.00      0.00%         0.00      0.00%        0.00            0.00      0.00%            0.00   F&B                                                  0.00     0.00%             0.00     0.00%          0.00            0.00     0.00%            0.00
         4,654.90      1.68%     3,318.00      1.55%    1,336.90        1,243.55      1.81%        3,411.35   Other Departments                               32,195.07     2.04%        27,519.75     2.06%      4,675.32       17,270.86     1.76%       14,924.21

      276,779.58    100.00%    214,294.30    100.00%   62,485.28      68,842.28     100.00%     207,937.30    Total Operating Revenue                     1,581,221.85    100.00%    1,337,347.42 100.00%      243,874.43      979,549.13 100.00%        601,672.72

                                                                                                              Departmental Expenses
        63,657.86    23.39%     70,477.44     33.41%    -6,819.58      22,565.53      33.38%      41,092.33   Rooms                                         461,381.00     29.79%      511,321.90     39.04%    -49,940.90      305,872.02     31.79%     155,508.98
             0.00     0.00%          0.00      0.00%         0.00           0.00       0.00%           0.00   F&B                                                 0.00      0.00%            0.00      0.00%          0.00           -0.04      0.00%           0.04
        10,321.87   221.74%      3,519.00    106.06%     6,802.87       3,954.90     318.03%       6,366.97   Other Departments                              61,784.63    191.91%       32,359.89    117.59%     29,424.74       33,372.12    193.23%      28,412.51

       73,979.73     26.73%     73,996.44    34.53%       -16.71      26,520.43      38.52%      47,459.30    Total Departmental Expenses                  523,165.63     33.09%      543,681.79     40.65%    -20,516.16      339,244.10     34.63%     183,921.53

      202,799.85     73.27%    140,297.86    65.47%    62,501.99      42,321.85      61.48%     160,478.00    Total Departmental Profit                   1,058,056.22    66.91%      793,665.63     59.35%    264,390.59      640,305.03     65.37%     417,751.19

                                                                                                              Undistributed Operating Expenses
        23,162.01      8.37%    21,080.44      9.84%    2,081.57       19,944.49     28.97%        3,217.52   A&G                                           179,071.67     11.32%      180,749.35     13.52%     -1,677.68      244,186.42    24.93%      -65,114.75
           150.00      0.05%         0.00      0.00%      150.00            0.00      0.00%          150.00   IT                                                150.00      0.01%            0.00      0.00%        150.00            0.00     0.00%          150.00
         6,724.31      2.43%     6,802.35      3.17%      -78.04        2,078.68      3.02%        4,645.63   S&M                                            64,328.13      4.07%       67,930.45      5.08%     -3,602.32       45,310.21     4.63%       19,017.92
        37,811.78     13.66%    25,317.16     11.81%   12,494.62        9,183.13     13.34%       28,628.65   Franchise Fees                                228,289.82     14.44%      157,179.34     11.75%     71,110.48      133,917.49    13.67%       94,372.33
        15,759.34      5.69%    12,545.98      5.85%    3,213.36        7,700.82     11.19%        8,058.52   R&M                                           136,879.22      8.66%      133,056.52      9.95%      3,822.70       93,758.99     9.57%       43,120.23
        10,946.82      3.96%    12,892.00      6.02%   -1,945.18        6,970.60     10.13%        3,976.22   Utilities                                      88,306.43      5.58%       87,411.50      6.54%        894.93       83,488.45     8.52%        4,817.98

       94,554.26     34.16%     78,637.93    36.70%    15,916.33      45,877.72      66.64%      48,676.54    Total Undistributed Expenses                 697,025.27     44.08%      626,327.16     46.83%     70,698.11      600,661.56     61.32%      96,363.71

      108,245.59     39.11%     61,659.93    28.77%    46,585.66      -3,555.87      -5.17%     111,801.46    Gross Operating Profit                    361,030.95        22.83%      167,338.47     12.51%    193,692.48       39,643.47      4.05%     321,387.48
         8,803.39      3.18%      6,428.83     3.00%     2,374.56       5,427.05       7.88%       3,376.34   Management Fees                             59,503.61         3.76%       49,084.99      3.67%     10,418.62       35,460.50      3.62%      24,043.11
       99,442.20     35.93%     55,231.10    25.77%    44,211.10      -8,982.92     -13.05%     108,425.12    Income Before Non-Operating Income and Expenses
                                                                                                                                                        301,527.34        19.07%      118,253.48      8.84%    183,273.86        4,182.97      0.43%     297,344.37

                                                                                                              Non-Operating Income and Expenses
         5,990.83      2.16%      5,282.91     2.47%       707.92       4,683.39       6.80%       1,307.44   Insurance                                      59,183.53      3.74%       52,829.10      3.95%      6,354.43       45,914.18   4.69%         13,269.35
        35,113.55     12.69%     33,948.00    15.84%     1,165.55      33,108.93      48.09%       2,004.62   Leases & Rent                                 338,560.31     21.41%      335,952.00     25.12%      2,608.31      360,252.82  36.78%        -21,692.51
         8,049.03      2.91%      6,428.83     3.00%     1,620.20      56,998.76      82.80%     -48,949.73   Other                                          73,351.26      4.64%       40,120.43      3.00%     33,230.83      586,129.34  59.84%       -512,778.08
       49,153.41     17.76%     45,659.74    21.31%     3,493.67      94,791.08     137.69%     -45,637.67    Total Non-Operating Income and Expenses      471,095.10     29.79%      428,901.53     32.07%     42,193.57      992,296.34 101.30%       -521,201.24

       50,288.79     18.17%      9,571.36     4.47%    40,717.43    -103,774.00 -150.74%        154,062.79    EBITDA                                       -169,567.76    -10.72%    -310,648.05 -23.23%       141,080.29     -988,113.37 -100.87%       818,545.61
             0.00      0.00%          0.00     0.00%         0.00      33,500.00   48.66%        -33,500.00   Interest                                             0.00      0.00%           0.00   0.00%             0.00      332,230.66   33.92%      -332,230.66
         9,205.44      3.33%     10,411.00     4.86%    -1,205.56       8,337.33   12.11%            868.11   Taxes                                           92,060.16      5.82%     104,110.00   7.78%       -12,049.84       94,731.99    9.67%        -2,671.83
             0.00      0.00%          0.00     0.00%         0.00       3,001.00    4.36%         -3,001.00   Amortization                                         0.00      0.00%           0.00   0.00%             0.00       30,010.00    3.06%       -30,010.00
        9,205.44      3.33%     10,411.00     4.86%    -1,205.56      44,838.33   65.13%        -35,632.89    Interest, Taxes, Depreciation and Amortization 92,060.16      5.82%     104,110.00   7.78%       -12,049.84      456,972.65   46.65%      -364,912.49

       41,083.35     14.84%       -839.64     -0.39%   41,922.99    -148,612.33 -215.87%        189,695.68    Net Income                                   -261,627.92    -16.55%    -414,758.05 -31.01%       153,130.13    -1,445,086.02 -147.53%     1,183,458.10




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                                                                                  Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget    %         Variance   PTD Last Year     %            Variance                                            YTD     %         YTD Budget %              Variance   YTD Last Year     %         Variance

                                                                                                            Statistics
           126.00                  126.00                 0.00          126.00                       0.00   # Rooms                               126.00                   126.00                    0.00         126.00                    0.00
         3,906.00                3,906.00                 0.00        3,906.00                       0.00   Available Rooms                    38,304.00                38,304.00                    0.00      38,430.00                 -126.00
         2,746.00                2,344.00               402.00          839.00                   1,907.00   Room Nights Sold                   16,958.00                15,893.00                1,065.00      10,552.00                6,406.00
             0.70                    0.60                 0.10            0.21                       0.49   Occupancy %                             0.44                     0.41                    0.03           0.27                    0.17
            99.10                   90.01                 9.09           80.57                      18.53   ADR                                    91.34                    82.42                    8.93          91.19                    0.15
            69.67                   54.01                15.65           17.31                      52.36   RevPar                                 40.44                    34.20                    6.24          25.04                   15.40

                                                                                                            Summary
                                                                                                            Revenue:
       272,124.68     98.32%   210,976.30   98.45%    61,148.38      67,598.73     98.19%      204,525.95   Rooms                            1,549,026.78   97.96%    1,309,827.67    97.94%   239,199.11     962,278.27    98.24%    586,748.51
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Food                                     0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Beverage                                 0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Other F&B Revenue                        0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%        40.00    0.02%       -40.00           0.00      0.00%            0.00   Telephone                                0.00    0.00%          400.00     0.03%      -400.00           0.00     0.00%          0.00
         4,654.90      1.68%     3,278.00    1.53%     1,376.90       1,243.55      1.81%        3,411.35   Other                               32,195.07    2.04%       27,119.75     2.03%     5,075.32      17,270.86     1.76%     14,924.21

       276,779.58   100.00%    214,294.30   100.00%   62,485.28      68,842.28     100.00%     207,937.30   Total Revenue                    1,581,221.85   100.00%   1,337,347.42   100.00%   243,874.43     979,549.13    100.00%   601,672.72



                                                                                                            Cost of Sales:
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Food                                    0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Beverage                                0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Other F&B                               0.00     0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         5,691.62   122.27%       890.00    26.82%     4,801.62       1,512.98     121.67%       4,178.64   Telephone                          31,480.66    97.78%        8,900.00    32.34%    22,580.66      11,062.57    64.05%     20,418.09
         1,273.75    27.36%       899.00    27.09%       374.75         172.20      13.85%       1,101.55   Other                               9,133.17    28.37%        6,159.89    22.38%     2,973.28       2,887.23    16.72%      6,245.94

         6,965.37   149.64%      1,789.00   53.92%     5,176.37       1,685.18     135.51%       5,280.19   Total Cost of Sales                40,613.83    126.15%     15,059.89     54.72%    25,553.94      13,949.80    80.77%     26,664.03



                                                                                                            Payroll:
        36,609.06     13.45%    37,026.34   17.55%      -417.28      13,648.11     20.19%       22,960.95   Rooms                             260,301.76    16.80%     291,037.76     22.22%   -30,736.00     172,750.16    17.95%     87,551.60
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   F&B                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Other                                   0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         6,813.18      2.46%     5,730.37    2.67%     1,082.81      10,595.16     15.39%       -3,781.98   A&G                                57,500.02     3.64%      53,060.13      3.97%     4,439.89      91,784.15     9.37%    -34,284.13
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   IT                                      0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%     3,312.33    1.55%    -3,312.33       2,737.37      3.98%       -2,737.37   S&M                                11,292.58     0.71%      29,169.87      2.18%   -17,877.29      26,362.03     2.69%    -15,069.45
         7,263.68      2.62%     7,154.75    3.34%       108.93       5,185.72      7.53%        2,077.96   R&M                                58,194.50     3.68%      70,024.56      5.24%   -11,830.06      48,477.58     4.95%      9,716.92
        50,685.92     18.31%    53,223.79   24.84%    -2,537.87      32,166.36     46.72%       18,519.56   Total Salaries and Wages          387,288.86    24.49%     443,292.32     33.15%   -56,003.46     339,373.92    34.65%     47,914.94

         9,673.47      3.50%     7,707.83    3.60%     1,965.64       6,242.21      9.07%        3,431.26   Total Taxes and Benefits           86,096.53     5.44%      72,592.45      5.43%    13,504.08     114,599.64    11.70%    -28,503.11
        60,359.39     21.81%    60,931.62   28.43%      -572.23      38,408.57     55.79%       21,950.82   Total Labor Costs                 473,385.39    29.94%     515,884.77     38.58%   -42,499.38     453,973.56    46.35%     19,411.83



                                                                                                            Direct Expenses:
        20,852.21      7.66%    28,423.20   13.47%    -7,570.99       6,814.38      10.08%      14,037.83   Rooms                             147,576.37     9.53%     175,982.29     13.44%   -28,405.92      90,060.23      9.36%    57,516.14
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   F&B                                     0.00     0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
         3,356.50     72.11%     1,730.00   52.14%     1,626.50       2,269.72     182.52%       1,086.78   Telephone                          21,170.80    65.76%      17,300.00     62.86%     3,870.80      19,422.32    112.46%     1,748.48
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Other                                   0.00     0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
        37,811.78     13.66%    25,317.16   11.81%    12,494.62       9,183.13      13.34%      28,628.65   Franchise Fees                    228,289.82    14.44%     157,179.34     11.75%    71,110.48     133,917.49     13.67%    94,372.33
        14,788.81      5.34%    14,149.35    6.60%       639.46       6,512.65       9.46%       8,276.16   A&G                               108,168.36     6.84%     114,850.03      8.59%    -6,681.67     105,090.56     10.73%     3,077.80
           150.00      0.05%         0.00    0.00%       150.00           0.00       0.00%         150.00   IT                                    150.00     0.01%           0.00      0.00%       150.00           0.00      0.00%       150.00
         6,805.71      2.46%     3,087.00    1.44%     3,718.71      -1,078.59      -1.57%       7,884.30   S&M                                51,052.89     3.23%      34,951.00      2.61%    16,101.89      10,194.97      1.04%    40,857.92
         6,497.40      2.35%     4,315.04    2.01%     2,182.36       1,632.51       2.37%       4,864.89   R&M                                61,477.01     3.89%      51,390.13      3.84%    10,086.88      29,808.28      3.04%    31,668.73
        10,946.82      3.96%    12,892.00    6.02%    -1,945.18       6,970.60      10.13%       3,976.22   Utilities                          88,306.43     5.58%      87,411.50      6.54%       894.93      83,488.45      8.52%     4,817.98

       101,209.23     36.57%    89,913.75   41.96%    11,295.48      32,304.40     46.93%       68,904.83   Total Direct Expense              706,191.68    44.66%     639,064.29     47.79%    67,127.39     471,982.30    48.18%    234,209.38

       108,245.59     39.11%    61,659.93   28.77%    46,585.66      -3,555.87      -5.17%     111,801.46   Gross Operating Profit            361,030.95    22.83%     167,338.47     12.51%   193,692.48      39,643.47     4.05%    321,387.48

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                                                                                 Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                            YTD     %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                           Fixed Costs
         9,205.44      3.33%    10,411.00    4.86%   -1,205.56       8,337.33     12.11%          868.11   Taxes                              92,060.16     5.82%    104,110.00      7.78%   -12,049.84      94,731.99     9.67%       -2,671.83
         5,990.83      2.16%     5,282.91    2.47%      707.92       4,683.39      6.80%        1,307.44   Insurance                          59,183.53     3.74%     52,829.10      3.95%     6,354.43      45,914.18     4.69%       13,269.35
        35,113.55     12.69%    33,948.00   15.84%    1,165.55      33,108.93     48.09%        2,004.62   Leases & Rent                     338,560.31    21.41%    335,952.00     25.12%     2,608.31     360,252.82    36.78%      -21,692.51
         8,803.39      3.18%     6,428.83    3.00%    2,374.56       5,427.05      7.88%        3,376.34   Management Fees                    59,503.61     3.76%     49,084.99      3.67%    10,418.62      35,460.50     3.62%       24,043.11

        59,113.21     21.36%    56,070.74   26.17%    3,042.47      51,556.70     74.89%        7,556.51   Total Fixed Expenses              549,307.61    34.74%    541,976.09     40.53%     7,331.52     536,359.49    54.76%      12,948.12

        49,132.38     17.75%     5,589.19   2.61%    43,543.19     -55,112.57     -80.06%     104,244.95   Net Operating Profit              -188,276.66   -11.91%   -374,637.62   -28.01%   186,360.96    -496,716.02    -50.71%    308,439.36



             0.00      0.00%         0.00   0.00%         0.00      33,500.00     48.66%      -33,500.00   Interest Expense - Other                 0.00     0.00%          0.00    0.00%          0.00     332,230.66    33.92%    -332,230.66
             0.00      0.00%         0.00   0.00%         0.00           0.00      0.00%            0.00   Owner's Expense                        949.17     0.06%          0.00    0.00%        949.17      12,597.79     1.29%     -11,648.62
             0.00      0.00%         0.00   0.00%         0.00           0.00      0.00%            0.00   Extraordinary Expense               -1,422.92    -0.09%          0.00    0.00%     -1,422.92       3,860.53     0.39%      -5,283.45
             0.00      0.00%         0.00   0.00%         0.00           0.00      0.00%            0.00   Non Recurring Cost                       0.00     0.00%          0.00    0.00%          0.00        -316.58    -0.03%         316.58



        49,132.38     17.75%     5,589.19   2.61%    43,543.19     -88,612.57    -128.72%     137,744.95   Net Operating Income              -187,802.91   -11.88%   -374,637.62   -28.01%   186,834.71    -845,088.42    -86.27%    657,285.51

         8,049.03      2.91%     6,428.83   3.00%     1,620.20      11,197.76     16.27%       -3,148.73   Capital Reserve                    73,825.01     4.67%     40,120.43     3.00%     33,704.58     111,977.60    11.43%     -38,152.59
             0.00      0.00%         0.00   0.00%         0.00      45,801.00     66.53%      -45,801.00   (Gain)/Loss-Insurance                   0.00     0.00%          0.00     0.00%          0.00     458,010.00    46.76%    -458,010.00

        41,083.35     14.84%      -839.64   -0.39%   41,922.99    -145,611.33    -211.51%     186,694.68   Adjusted NOI                      -261,627.92   -16.55%   -414,758.05   -31.01%   153,130.13   -1,415,076.02 -144.46%    1,153,448.10



             0.00      0.00%         0.00   0.00%         0.00       3,001.00      4.36%       -3,001.00   Amortization                             0.00    0.00%           0.00    0.00%          0.00      30,010.00     3.06%      -30,010.00



        41,083.35     14.84%      -839.64   -0.39%   41,922.99    -148,612.33    -215.87%     189,695.68   Net Profit/(Loss)                 -261,627.92   -16.55%   -414,758.05   -31.01%   153,130.13   -1,445,086.02 -147.53%    1,183,458.10




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                                                                                    Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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                                                                                                                 As of 10/31/2021
             PTD      %       PTD Budget      %          Variance   PTD Last Year     %            Variance                                           YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
       19,850.19      7.29%    13,439.00      6.37%     6,411.19        1,670.78      2.47%       18,179.41   Corporate Transient               130,646.33     8.43%      98,959.61      7.56%     31,686.72      45,416.68     4.72%     85,229.65
            0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00   Advanced Purchase                   4,495.37     0.29%           0.00      0.00%      4,495.37           0.00     0.00%      4,495.37
            0.00      0.00%     5,400.00      2.56%    -5,400.00            0.00      0.00%            0.00   AAA/AARP Transient                  2,365.92     0.15%      33,744.05      2.58%    -31,378.13           0.00     0.00%      2,365.92
        2,400.03      0.88%     9,900.00      4.69%    -7,499.97            0.00      0.00%        2,400.03   Consortia Transient                14,728.86     0.95%      65,519.40      5.00%    -50,790.54           0.00     0.00%     14,728.86
      110,516.02     40.61%         0.00      0.00%   110,516.02            0.00      0.00%      110,516.02   Leisure Transient                 777,899.94    50.22%           0.00      0.00%    777,899.94           0.00     0.00%    777,899.94
            0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00   Leisure Package Transient           6,230.01     0.40%           0.00      0.00%      6,230.01           0.00     0.00%      6,230.01
            0.00      0.00%         0.00      0.00%         0.00       43,264.50     64.00%      -43,264.50   Extended Stay Transient                 0.00     0.00%           0.00      0.00%          0.00     403,967.69    41.98%   -403,967.69
            0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00   Internet/E-Commerce                 1,473.64     0.10%           0.00      0.00%      1,473.64           0.00     0.00%      1,473.64
            0.00      0.00%    46,956.00     22.26%   -46,956.00            0.00      0.00%            0.00   E-Commerce Opaque                       0.00     0.00%     307,069.01     23.44%   -307,069.01           0.00     0.00%          0.00
            0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00   Other Transient                    10,096.95     0.65%           0.00      0.00%     10,096.95           0.00     0.00%     10,096.95
        1,882.00      0.69%     6,280.30      2.98%    -4,398.30            0.00      0.00%        1,882.00   Government Transient                7,117.42     0.46%      36,650.23      2.80%    -29,532.81           0.00     0.00%      7,117.42
      126,740.69     46.57%    73,497.00     34.84%    53,243.69        9,645.09     14.27%      117,095.60   Rack Transient                    536,027.39    34.60%     460,254.76     35.14%     75,772.63     347,620.15    36.12%    188,407.24
          993.58      0.37%    27,579.00     13.07%   -26,585.42          800.00      1.18%          193.58   Local Negotiated Transient         10,017.98     0.65%     181,998.65     13.89%   -171,980.67      34,554.17     3.59%    -24,536.19

     262,382.51     96.42%    183,051.30    86.76%    79,331.21       55,380.37      81.93%     207,002.14    Total Transient Room Revenue    1,501,099.81   96.91%    1,184,195.71   90.41%     316,904.10     831,558.69     86.42%   669,541.12

                                                                                                              Group Room Revenue
            0.00      0.00%    14,580.00      6.91%   -14,580.00        1,975.00      2.92%       -1,975.00   Corporate Group                         0.00     0.00%      57,647.96     4.40%     -57,647.96      22,063.27     2.29%    -22,063.27
            0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%            0.00   Government Group                        0.00     0.00%           0.00     0.00%           0.00      10,418.00     1.08%    -10,418.00
       11,173.23      4.11%    13,345.00      6.33%    -2,171.77            0.00      0.00%       11,173.23   SMERF Group                        47,474.14     3.06%      67,984.00     5.19%     -20,509.86        -225.00    -0.02%     47,699.14
            0.00      0.00%         0.00      0.00%         0.00        9,744.00     14.41%       -9,744.00   Other Group                             0.00     0.00%           0.00     0.00%           0.00      94,479.00     9.82%    -94,479.00

      11,173.23      4.11%     27,925.00    13.24%    -16,751.77      11,719.00      17.34%        -545.77    Total Group Room Revenue          47,474.14     3.06%     125,631.96      9.59%    -78,157.82     126,735.27     13.17%   -79,261.13

                                                                                                              Contract Room Revenue

            0.00     0.00%          0.00     0.00%          0.00            0.00      0.00%           0.00    Total Contract Room Revenue             0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                              Other Room Revenue
        1,889.61      0.69%          0.00     0.00%     1,889.61          694.35      1.03%        1,195.26   No-Show Rooms                      10,367.84     0.67%           0.00     0.00%     10,367.84        6,939.29     0.72%      3,428.55
            0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%            0.00   Pet/Smoking/Damage Fees               650.00     0.04%           0.00     0.00%        650.00            0.00     0.00%        650.00

        1,889.61     0.69%          0.00     0.00%     1,889.61          694.35       1.03%       1,195.26    Total Other Room Revenue          11,017.84     0.71%            0.00     0.00%     11,017.84       6,939.29     0.72%      4,078.55

        -3,320.67    -1.22%          0.00     0.00%    -3,320.67         -194.99      -0.29%      -3,125.68   Less: Allowances                  -10,565.01    -0.68%           0.00     0.00%     -10,565.01      -2,954.98    -0.31%     -7,610.03

     272,124.68     100.00%   210,976.30    100.00%   61,148.38       67,598.73     100.00%     204,525.95    Total Room Revenue              1,549,026.78   100.00%   1,309,827.67 100.00%      239,199.11     962,278.27 100.00%      586,748.51

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
          337.91      0.12%      3,652.06     1.73%     -3,314.15           0.00       0.00%         337.91   Front Office Management            21,199.99     1.37%      32,161.68     2.46%     -10,961.69           0.00     0.00%     21,199.99
            0.00      0.00%          0.00     0.00%          0.00         360.40       0.53%        -360.40   Revenue Management                      0.00     0.00%           0.00     0.00%           0.00       5,293.29     0.55%     -5,293.29
          354.40      0.13%      3,514.23     1.67%     -3,159.83       3,697.52       5.47%      -3,343.12   Housekeeping Management            32,084.65     2.07%      34,358.30     2.62%      -2,273.65      34,338.78     3.57%     -2,254.13
         692.31      0.25%      7,166.29     3.40%     -6,473.98       4,057.92       6.00%      -3,365.61    Total Rooms Management            53,284.64     3.44%      66,519.98     5.08%     -13,235.34      39,632.07     4.12%     13,652.57
        7,758.16      2.85%      3,826.29     1.81%      3,931.87       1,475.44       2.18%       6,282.72   Front Office Agents                44,953.42     2.90%      37,522.32     2.86%       7,431.10      21,158.94     2.20%     23,794.48
        3,542.41      1.30%      3,038.00     1.44%        504.41       2,595.92       3.84%         946.49   Night Auditors                     26,780.45     1.73%      29,792.00     2.27%      -3,011.55      28,211.61     2.93%     -1,431.16
            0.00      0.00%      2,480.00     1.18%     -2,480.00         437.33       0.65%        -437.33   Drivers                                 0.00     0.00%      12,240.00     0.93%     -12,240.00      13,029.88     1.35%    -13,029.88
        3,496.20      1.28%      2,604.00     1.23%        892.20           0.00       0.00%       3,496.20   Breakfast Attendant                11,865.19     0.77%      12,852.00     0.98%        -986.81       5,943.29     0.62%      5,921.90
      14,796.77      5.44%     11,948.29     5.66%      2,848.48       4,508.69       6.67%      10,288.08    Total Rooms Front Office          83,599.06     5.40%      92,406.32     7.05%      -8,807.26      68,343.72     7.10%     15,255.34
        2,442.64      0.90%      1,381.71     0.65%      1,060.93           0.00       0.00%       2,442.64   Housekeeping Supervisors           14,236.49     0.92%      13,549.68     1.03%         686.81       5,301.65     0.55%      8,934.84
       16,261.59      5.98%     11,251.20     5.33%      5,010.39       3,674.74       5.44%      12,586.85   Room Attendants                    80,741.99     5.21%      76,286.40     5.82%       4,455.59      43,801.76     4.55%     36,940.23
        2,579.18      0.95%      2,869.71     1.36%       -290.53       1,406.76       2.08%       1,172.42   Housepersons                       25,111.58     1.62%      28,141.68     2.15%      -3,030.10      11,961.46     1.24%     13,150.12
         -163.43     -0.06%      2,409.14     1.14%     -2,572.57           0.00       0.00%        -163.43   Laundry Attendants                  3,328.00     0.21%      14,133.70     1.08%     -10,805.70       3,709.50     0.39%       -381.50
      21,119.98      7.76%     17,911.76     8.49%      3,208.22       5,081.50       7.52%      16,038.48    Total Rooms Housekeeping         123,418.06     7.97%     132,111.46    10.09%      -8,693.40      64,774.37     6.73%     58,643.69

       36,609.06     13.45%    37,026.34    17.55%      -417.28       13,648.11      20.19%      22,960.95    Total Rooms Salary and Wages     260,301.76    16.80%     291,037.76    22.22%     -30,736.00     172,750.16     17.95%    87,551.60
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                                                                                   Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget     %         Variance   PTD Last Year     %            Variance                                                 YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance


                                                                                                             PR Taxes and Benefits
         2,684.01      0.99%      2,843.46    1.35%      -159.45       1,172.46       1.73%       1,511.55   FICA                                     19,955.92    1.29%     22,424.43     1.71%     -2,468.51      15,616.35     1.62%      4,339.57
            34.71      0.01%         15.61    0.01%        19.10           0.00       0.00%          34.71   Federal Unemployment Tax                    663.63    0.04%        381.93     0.03%        281.70           0.00     0.00%        663.63
           244.24      0.09%         37.17    0.02%       207.07           0.00       0.00%         244.24   State Unemployment Tax                    2,208.03    0.14%      1,165.36     0.09%      1,042.67           0.00     0.00%      2,208.03
        2,962.96      1.09%      2,896.24    1.37%         66.72      1,172.46       1.73%       1,790.50    Total Payroll Taxes                     22,827.58    1.47%     23,971.72     1.83%     -1,144.14      15,616.35     1.62%      7,211.23
             0.00      0.00%          0.00    0.00%         0.00           0.00       0.00%           0.00   Holiday                                   1,848.80    0.12%        600.00     0.05%      1,248.80       3,581.12     0.37%     -1,732.32
             0.00      0.00%        137.82    0.07%      -137.82         438.21       0.65%        -438.21   Vacation                                  5,537.55    0.36%      1,455.38     0.11%      4,082.17      15,846.34     1.65%    -10,308.79
             0.00      0.00%          0.00    0.00%         0.00           0.00       0.00%           0.00   Sick Pay                                  1,819.24    0.12%          0.00     0.00%      1,819.24           0.00     0.00%      1,819.24
             0.00     0.00%        137.82    0.07%      -137.82         438.21       0.65%        -438.21    Total Supplemental Pay                   9,205.59    0.59%      2,055.38     0.16%      7,150.21      19,427.46     2.02%    -10,221.87
         1,567.01      0.58%      1,626.34    0.77%       -59.33           0.00       0.00%       1,567.01   Worker's Compensation                    14,404.63    0.93%     14,722.25     1.12%       -317.62           0.00     0.00%     14,404.63
         1,666.62      0.61%        367.50    0.17%     1,299.12         492.37       0.73%       1,174.25   Group Insurance                           7,065.07    0.46%      3,552.50     0.27%      3,512.57       7,717.82     0.80%       -652.75
             0.00      0.00%          0.00    0.00%         0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                       0.00    0.00%          0.00     0.00%          0.00         300.00     0.03%       -300.00
        3,233.63      1.19%      1,993.84    0.95%     1,239.79         492.37       0.73%       2,741.26    Total Other Benefits                    21,469.70    1.39%     18,274.75     1.40%      3,194.95       8,017.82     0.83%     13,451.88

        6,196.59      2.28%      5,027.90    2.38%     1,168.69       2,103.04       3.11%       4,093.55    Total Rooms PR Taxes and Benefits       53,502.87    3.45%     44,301.85     3.38%      9,201.02      43,061.63     4.47%     10,441.24

       42,805.65     15.73%     42,054.24    19.93%     751.41       15,751.15      23.30%      27,054.50    Total Rooms Labor Costs                313,804.63    20.26%   335,339.61    25.60%    -21,534.98     215,811.79     22.43%    97,992.84

                                                                                                             Other Expenses
         9,813.17      3.61%     7,032.00     3.33%     2,781.17         798.91      1.18%        9,014.26   Breakfast /Comp Cost                     52,779.07    3.41%    47,679.00     3.64%       5,100.07      21,755.61     2.26%     31,023.46
         1,296.70      0.48%     1,406.40     0.67%      -109.70          67.52      0.10%        1,229.18   Cleaning Supplies                        11,474.91    0.74%     9,535.80     0.73%       1,939.11       5,796.69     0.60%      5,678.22
           190.80      0.07%         0.00     0.00%       190.80           0.00      0.00%          190.80   Dues and Subscriptions                    1,614.34    0.10%         0.00     0.00%       1,614.34           0.00     0.00%      1,614.34
         3,264.58      1.20%     3,047.20     1.44%       217.38         775.37      1.15%        2,489.21   Guest Supplies                           18,320.84    1.18%    20,660.90     1.58%      -2,340.06       9,615.29     1.00%      8,705.55
             0.00      0.00%       441.50     0.21%      -441.50         441.00      0.65%         -441.00   Internet/Web Expense                          0.00    0.00%     4,415.00     0.34%      -4,415.00       3,871.52     0.40%     -3,871.52
           833.40      0.31%       166.67     0.08%       666.73           0.00      0.00%          833.40   Laundry                                   4,390.22    0.28%     1,666.70     0.13%       2,723.52         309.73     0.03%      4,080.49
           972.85      0.36%     1,289.20     0.61%      -316.35         472.85      0.70%          500.00   Linen                                    15,966.28    1.03%     8,741.15     0.67%       7,225.13       4,499.20     0.47%     11,467.08
            62.22      0.02%         0.00     0.00%        62.22           0.00      0.00%           62.22   Miscellaneous Expense                        65.44    0.00%         0.00     0.00%          65.44           0.00     0.00%         65.44
             0.00      0.00%        75.00     0.04%       -75.00           0.00      0.00%            0.00   Newspaper                                     0.00    0.00%       375.00     0.03%        -375.00         318.64     0.03%       -318.64
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Office Equipment                            440.56    0.03%         0.00     0.00%         440.56           0.00     0.00%        440.56
             0.00      0.00%         0.00     0.00%         0.00          82.24      0.12%          -82.24   Operating Supplies                            0.00    0.00%         0.00     0.00%           0.00       2,351.29     0.24%     -2,351.29
           839.76      0.31%     3,500.00     1.66%    -2,660.24           0.00      0.00%          839.76   Printing and Stationery                   2,351.66    0.15%     3,750.00     0.29%      -1,398.34           0.00     0.00%      2,351.66
             0.00      0.00%     2,414.32     1.14%    -2,414.32         368.10      0.54%         -368.10   Reservation Expense                        -670.00   -0.04%    16,369.79     1.25%     -17,039.79       9,439.34     0.98%    -10,109.34
           504.91      0.19%       468.80     0.22%        36.11           0.00      0.00%          504.91   Rooms Promotion                           2,181.46    0.14%     3,178.60     0.24%        -997.14       1,131.97     0.12%      1,049.49
         1,567.46      0.58%     1,480.00     0.70%        87.46       1,515.42      2.24%           52.04   Television Cable                         15,647.35    1.01%    14,800.00     1.13%         847.35      13,712.95     1.43%      1,934.40
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%            0.00   Training                                    119.60    0.01%         0.00     0.00%         119.60           0.00     0.00%        119.60
         1,120.00      0.41%        75.00     0.04%     1,045.00           0.00      0.00%        1,120.00   Transportation                            1,149.20    0.07%       375.00     0.03%         774.20          40.50     0.00%      1,108.70
           562.07      0.21%       558.50     0.26%         3.57           0.00      0.00%          562.07   Travel Agent Comm - Group Rooms           1,357.35    0.09%     2,512.64     0.19%      -1,155.29           0.00     0.00%      1,357.35
          -364.11     -0.13%     6,243.61     2.96%    -6,607.72       2,292.97      3.39%       -2,657.08   Travel Agent Comm - Transient Rooms      19,087.12    1.23%    40,572.71     3.10%     -21,485.59      16,854.73     1.75%      2,232.39
           188.40      0.07%        75.00     0.04%       113.40           0.00      0.00%          188.40   Uniforms                                  1,005.96    0.06%       750.00     0.06%         255.96         362.77     0.04%        643.19
             0.00      0.00%       150.00     0.07%      -150.00           0.00      0.00%            0.00   Walked Guests                               295.01    0.02%       600.00     0.05%        -304.99           0.00     0.00%        295.01

       20,852.21      7.66%     28,423.20    13.47%   -7,570.99       6,814.38      10.08%      14,037.83    Total Rooms Other Expenses             147,576.37    9.53%    175,982.29    13.44%    -28,405.92      90,060.23     9.36%     57,516.14

       63,657.86     23.39%     70,477.44    33.41%   -6,819.58      22,565.53      33.38%      41,092.33    Total Rooms Expenses                   461,381.00    29.79%   511,321.90    39.04%    -49,940.90     305,872.02     31.79%   155,508.98

      208,466.82     76.61%    140,498.86    66.59%   67,967.96      45,033.20      66.62%     163,433.62    Total Rooms Profit (Loss)             1,087,645.78   70.21%   798,505.77    60.96%    289,140.01     656,406.25     68.21%   431,239.53




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                                                                                                    As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                                  YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                                 Room Sale Stats
                                                                                                 Tranisent Rooms
           190.00              151.00          39.00          18.00                     172.00   Room Stat - Corporate Transient            1,322.00         1,207.00        115.00          460.00           862.00
             0.00               60.00         -60.00           0.00                       0.00   Room Stat - AAA/AARP Transient                 0.00           412.00       -412.00            0.00             0.00
            19.00              110.00         -91.00           0.00                      19.00   Room Stat - Consortia Rate Transient         117.00           805.00       -688.00            0.00           117.00
         1,279.00                0.00       1,279.00           0.00                   1,279.00   Room Stat - Leisure Transient              9,899.00             0.00      9,899.00            0.00         9,899.00
             0.00                0.00           0.00         582.00                    -582.00   Room Stat - Extended Stay Transient            0.00             0.00          0.00        5,186.00        -5,186.00
             0.00                0.00           0.00           0.00                       0.00   Room Stat - Other Transient                  107.00             0.00        107.00            0.00           107.00
             0.00              546.00        -546.00           0.00                       0.00   Room Stat - E-Commerce Opaque                  0.00         3,784.00     -3,784.00            0.00             0.00
            16.00               65.00         -49.00           0.00                      16.00   Room Stat - Government Rate Transient         61.00           443.00       -382.00           82.00           -21.00
         1,117.00              776.00         341.00          92.00                   1,025.00   Room Stat - Rack Rate Transient            4,698.00         5,427.00       -729.00        3,092.00         1,606.00
            12.00              317.00        -305.00           8.00                       4.00   Room Stat - Local Negotiated Transient       280.00         2,259.00     -1,979.00          405.00          -125.00
        2,633.00            2,025.00         608.00         700.00                   1,933.00    Total Transient Rooms Sold               16,484.00        14,337.00      2,147.00        9,225.00         7,259.00

                                                                                                 Group Rooms
             0.00              162.00        -162.00          27.00                    -27.00    Room Stat - Corporate Group Rooms              0.00           696.00        -696.00         241.00          -241.00
           113.00              157.00         -44.00           0.00                    113.00    Room Stat - SMERF Group                      474.00           860.00        -386.00           0.00           474.00
          113.00              319.00        -206.00           27.00                     86.00    Total Group Rooms Sold                      474.00         1,556.00      -1,082.00         241.00           233.00

                                                                                                 Contract Rooms
             0.00               0.00           0.00          112.00                    -112.00   Room Stat - Other Contract                    0.00             0.00           0.00        1,086.00         -1,086.00
             0.00               0.00           0.00         112.00                    -112.00    Total Contract Rooms Sold                     0.00             0.00           0.00       1,086.00         -1,086.00

        2,746.00            2,344.00         402.00         839.00                   1,907.00    Total Rooms Sold                         16,958.00        15,893.00      1,065.00       10,552.00         6,406.00
             4.00               0.00            4.00           1.00                       3.00   Room Stat-Comp Rooms                          25.00            0.00          25.00           18.00             7.00
        2,750.00            2,344.00         406.00         840.00                   1,910.00    Total Rooms Occupied                     16,983.00        15,893.00      1,090.00       10,570.00         6,413.00
           269.00               0.00          269.00       1,334.00                  -1,065.00   Room Stat-Out of Order                     5,271.00            0.00       5,271.00        6,696.00        -1,425.00

                                                                                                 ADR
           104.47              89.00           15.47          92.82                     11.65    Corporate Transient ADR                      98.82            81.99          16.84           98.73             0.09
             0.00               0.00            0.00           0.00                      0.00    Advanced Purchase ADR                         0.00             0.00           0.00            0.00             0.00
             0.00              90.00          -90.00           0.00                      0.00    AAA/AARP ADR                                  0.00            81.90         -81.90            0.00             0.00
             0.00               0.00            0.00           0.00                      0.00    FIT ADR                                       0.00             0.00           0.00            0.00             0.00
           126.32              90.00           36.32           0.00                    126.32    Consortia ADR                               125.89            81.39          44.50            0.00           125.89
             0.00               0.00            0.00           0.00                      0.00    Employee ADR                                  0.00             0.00           0.00            0.00             0.00
            86.41               0.00           86.41           0.00                     86.41    Leisure ADR                                  78.58             0.00          78.58            0.00            78.58
             0.00               0.00            0.00           0.00                      0.00    Travel Agent/Friends & Family ADR             0.00             0.00           0.00            0.00             0.00
             0.00               0.00            0.00           0.00                      0.00    Leisure Package ADR                           0.63             0.00           0.63            0.00             0.63
             0.00               0.00            0.00           0.00                      0.00    Member Reward Stay ADR                        0.00             0.00           0.00            0.00             0.00
             0.00               0.00            0.00           0.00                      0.00    Golf Pkg ADR                                  0.00             0.00           0.00            0.00             0.00
             0.00               0.00            0.00          74.34                    -74.34    Extended Stay ADR                             0.00             0.00           0.00           77.90           -77.90
             0.00               0.00            0.00           0.00                      0.00    Internet ADR                                  0.00             0.00           0.00            0.00             0.00
             0.00              86.00          -86.00           0.00                      0.00    E-Commerce Opaque ADR                         0.00            81.15         -81.15            0.00             0.00
             0.00               0.00            0.00           0.00                      0.00    Other Transient ADR                          94.36             0.00          94.36            0.00            94.36
             0.00               0.00            0.00           0.00                      0.00    Airline Distressed Passenger ADR              0.00             0.00           0.00            0.00             0.00
           117.63              96.62           21.01           0.00                    117.63    Government ADR                              116.68            82.73          33.95            0.00           116.68
           113.47              94.71           18.75         104.84                      8.63    Rack ADR                                    114.10            84.81          29.29          112.43             1.67
            82.80              87.00           -4.20         100.00                    -17.20    Local Negotiated ADR                         35.78            80.57         -44.79           85.32           -49.54
            99.65              90.40            9.26          79.11                     20.54    Total Transient ADR                          91.06            82.60           8.47           90.14             0.92

            0.00               90.00          -90.00         73.15                      -73.15   Corporate Group ADR                            0.00           82.83         -82.83          91.55            -91.55
            0.00                0.00            0.00          0.00                        0.00   Leisure Group ADR                              0.00            0.00           0.00           0.00              0.00
            0.00                0.00            0.00          0.00                        0.00   Government Group ADR                           0.00            0.00           0.00           0.00              0.00
            0.00                0.00            0.00          0.00                        0.00   Tour & Travel Group ADR                        0.00            0.00           0.00           0.00              0.00
            0.00                0.00            0.00          0.00                        0.00   Association Group ADR                          0.00            0.00           0.00           0.00              0.00
            0.00                0.00            0.00          0.00                        0.00   City Wide Group ADR                            0.00            0.00           0.00           0.00              0.00
           98.88               85.00           13.88          0.00                       98.88   SMERF Group ADR                              100.16           79.05          21.11           0.00            100.16
            0.00                0.00            0.00          0.00                        0.00   Sports Group ADR                               0.00            0.00           0.00           0.00              0.00
            0.00                0.00            0.00          0.00                        0.00   Other Group ADR                                0.00            0.00           0.00           0.00              0.00
           98.88               87.54          11.34         434.04                    -335.16    Total Group ADR                             100.16            80.74         19.42          525.87          -425.72

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                                                                                                    As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                          YTD     %      YTD Budget %   Variance   YTD Last Year   %   Variance


             0.00               0.00           0.00            0.00                      0.00    Airline Crew ADR                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Other Contract ADR                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Contract ADR                     0.00                0.00         0.00            0.00           0.00

           99.10               90.01           9.09           80.57                     18.53    Total ADR                             91.34               82.42         8.93           91.19           0.15




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                                                                                Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          F&B Summary
                                                                                                          Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Food Revenue                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Food Revenue       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Beverage Revenue                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Beverage Revenue   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Other Revenue                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Other Revenue      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Food Purchases                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Beverage Purchases                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Cedit Employee Meals                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Credit House Charges                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Credit In-House Promotions              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Audio Visual Cost of Sales              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Other Cost of Sales                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Cost of Sales                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    F&B Gross Profit                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll
                                                                                                          Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Management                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Non-Management                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Salaries and Wages            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Payroll Taxes                           0.00    0.00%        0.00       0.00%      0.00             0.00    0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Supplemental Pay                        0.00    0.00%        0.00       0.00%      0.00             0.00    0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Other Benefits                          0.00    0.00%        0.00       0.00%      0.00            -0.04    0.00%      0.04
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B PR Taxes and Benefits         0.00   0.00%         0.00      0.00%       0.00           -0.04    0.00%       0.04

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Payroll                       0.00   0.00%         0.00      0.00%       0.00           -0.04    0.00%       0.04

                                                                                                          Other Expenses
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Audio Visual Supplies                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Banquet Expense                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Bar Expense/Promos                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Bar Supplies                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    China                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Cleaning Supplies                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Communication Expense                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Contract Cleaning                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Contract Labor                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Decorations & Plants                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Dues and Subscriptions                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Equipment Rental                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Food and Beverage Advertising           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Glassware                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Guest Loss/Damage                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Guest Supplies                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    In-House Entertainment                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Kitchen/Cooking Fuel                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Kitchen Equipment                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Laundry - Outside Expense               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Laundry Allocation                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Licenses/Permits                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Linen                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00    Linen Rental                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                          YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Maintenance Contracts                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Meals and Entertainment                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Menus                                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Miscellaneous Expense                  0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Music and Entertainment                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Equipment                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Supplies                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Operating Supplies                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Paper/Plastic Supplies                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Printing and Stationery                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Silverware                             0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Software Expense/Maintenance           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Television Cable                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Training                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Travel                                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Uniforms                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Utensils                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Other Expenses               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Expenses                     0.00    0.00%         0.00      0.00%       0.00           -0.04    0.00%       0.04

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Profit (Loss)                0.00    0.00%         0.00      0.00%       0.00            0.04    0.00%      -0.04




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                                                                       Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                          YTD     %      YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                                 F&B Stats
                                                                                                 Restaurant 1
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 1 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 1 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 2
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 2 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 2 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Room Service
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Room Service Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Room Service Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Banquets
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Banquets Covers                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Banquets Avg Check                     0.00                0.00         0.00            0.00           0.00

                                                                                                 Catering
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Catering Covers                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Catering Avg Check                     0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 3
             0.00                0.00          0.00            0.00                      0.00    Breakfast Avg Check                    0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Lunch Avg Check                        0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Dinner Avg Check                       0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Brunch Avg Check                       0.00                 0.00        0.00            0.00           0.00
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                                                                       Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                          YTD     %      YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 3 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 3 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 4
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 4 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 4 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 5
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 5 Covers              0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 5 Avg Check                 0.00                0.00         0.00            0.00           0.00

                                                                                                 Bar 1
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Bar 1 Covers                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Bar 1 Avg Check                        0.00                0.00         0.00            0.00           0.00

                                                                                                 Bar 2
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                        0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                       0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                    0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Bar 2 Covers                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Bar 2 Avg Check                        0.00                0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                      0.00    Total Covers                           0.00                0.00         0.00            0.00           0.00




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                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Food Admin
                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Food Admin Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Food Admin Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Food Admin Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Food Admin Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00   0.00%         0.00      0.00%       0.00             0.00   0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00   0.00%         0.00      0.00%       0.00             0.00   0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Group Insurance                          0.00    0.00%        0.00       0.00%      0.00            -0.04    0.00%      0.04
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00   0.00%         0.00      0.00%       0.00           -0.04    0.00%       0.04

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Food Admin PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00           -0.04    0.00%       0.04

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Food Admin Payroll                 0.00   0.00%         0.00      0.00%       0.00           -0.04    0.00%       0.04

                                                                                                          Other Expenses

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Food Admin Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Food Admin Expenses                0.00   0.00%         0.00      0.00%       0.00           -0.04    0.00%       0.04

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Departmental Costs                       0.00   0.00%         0.00      0.00%       0.00           -0.04    0.00%       0.04




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              PTD     %        PTD Budget   %       Variance   PTD Last Year     %            Variance                                          YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Beverage Admin
             0.00      0.00%         0.00   0.00%      0.00            0.00      0.00%           0.00    Less Adjustments                       0.00    0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Revenue           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Cost of Sales     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Other Expenses

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Other Expenses    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Expenses          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Room Service
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                          YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Banquets
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Food Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Food Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Beverage Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Beverage Revenue        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Cost of Sales           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Non-Management          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                      0.00    Total Banquets Salaries and Wages      0.00                  0.00                  0.00            0.00                0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                      0.00    Total Banquet Benefits                 0.00                  0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Payroll                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Expenses          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Expenses                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Profit (Loss)           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                          YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Catering
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Food Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Food Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Beverage Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Beverage Revenue        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Cost of Sales           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Gross Profit                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Non-Management          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Salaries and Wages      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering PR Taxes and Benefits   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Payroll                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Expenses          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Expenses                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Profit (Loss)           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 3
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 4
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 5
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                          YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Food Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Food Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Beverage Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Beverage Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Cost of Sales              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Non-Management             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Salaries and Wages         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 PR Taxes and Benefits      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Payroll                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Expenses             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Expenses                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Profit (Loss)              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                          YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Food Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Food Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Beverage Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Beverage Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Cost of Sales              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expenses
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Non-Management             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Salaries and Wages         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 PR Taxes and Benefits      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Payroll                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Expenses             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Expenses                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Profit (Loss)              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                   Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %        PTD Budget     %         Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             Telephone
             0.00      0.00%        10.00    25.00%       -10.00           0.00      0.00%           0.00    Local and Long Distance Revenue         0.00   0.00%        100.00     25.00%      -100.00           0.00    0.00%          0.00
             0.00      0.00%        30.00    75.00%       -30.00           0.00      0.00%           0.00    Other Telephone Revenue                 0.00   0.00%        300.00     75.00%      -300.00           0.00    0.00%          0.00

             0.00     0.00%        40.00    100.00%      -40.00            0.00      0.00%           0.00    Telephone Revenue                      0.00    0.00%       400.00 100.00%         -400.00            0.00    0.00%         0.00
             0.00      0.00%        0.00       0.00%       0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00     0.00%        0.00    0.00%           0.00            0.00     0.00%        0.00
             0.00     0.00%        40.00    100.00%      -40.00            0.00      0.00%           0.00    Total Telephone Revenue                0.00    0.00%       400.00 100.00%         -400.00            0.00    0.00%         0.00

                                                                                                             Cost of Sales
         5,691.62      0.00%       880.00 2,200.00%     4,811.62       1,512.98       0.00%       4,178.64   Cost of Sales - Local Calls        31,257.65    0.00%     8,800.002,200.00%      22,457.65      10,830.30     0.00%    20,427.35
             0.00      0.00%        10.00    25.00%       -10.00           0.00       0.00%           0.00   Cost of Sales - Long Distance         223.01    0.00%       100.00   25.00%         123.01         232.27     0.00%        -9.26
        5,691.62      0.00%       890.00 2,225.00%     4,801.62       1,512.98       0.00%       4,178.64    Total Telephone Cost of Sales     31,480.66    0.00%     8,900.002,225.00%      22,580.66      11,062.57     0.00%    20,418.09

       -5,691.62      0.00%      -850.00-2,125.00%     -4,841.62     -1,512.98       0.00%      -4,178.64    Gross Profit                      -31,480.66   0.00%     -8,500.00
                                                                                                                                                                             -2,125.00%      -22,980.66    -11,062.57     0.00%    -20,418.09

                                                                                                             Other Expenses
             0.00      0.00%       100.00   250.00%      -100.00           0.00       0.00%           0.00   Equipment Rental                        0.00    0.00%     1,000.00 250.00%       -1,000.00           0.00     0.00%         0.00
         1,793.40      0.00%     1,630.00 4,075.00%       163.40       1,612.01       0.00%         181.39   Internet/Web Expense                5,747.70    0.00%    16,300.004,075.00%     -10,552.30      15,626.93     0.00%    -9,879.23
             0.00      0.00%         0.00     0.00%         0.00         100.00       0.00%        -100.00   Miscellaneous Expense                   0.00    0.00%         0.00    0.00%           0.00         980.00     0.00%      -980.00
             0.00      0.00%         0.00     0.00%         0.00         557.71       0.00%        -557.71   Operating Supplies                      0.00    0.00%         0.00    0.00%           0.00       2,815.39     0.00%    -2,815.39
         1,563.10      0.00%         0.00     0.00%     1,563.10           0.00       0.00%       1,563.10   Telephone Equipment                15,423.10    0.00%         0.00    0.00%      15,423.10           0.00     0.00%    15,423.10
        3,356.50      0.00%     1,730.00 4,325.00%     1,626.50       2,269.72       0.00%       1,086.78    Total Telephone Other Expenses    21,170.80    0.00%    17,300.004,325.00%       3,870.80      19,422.32     0.00%     1,748.48

       -9,048.12      0.00%    -2,580.00-6,450.00%     -6,468.12     -3,782.70       0.00%      -5,265.42    Total Telephone Profit (Loss)     -52,651.46   0.00%    -25,800.00
                                                                                                                                                                             -6,450.00%      -26,851.46    -30,484.89     0.00%    -22,166.57




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %            Variance                                                      YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                             Minor Operating
                                                                                                             Income
           704.28     15.13%     1,000.00    30.51%     -295.72         446.25      35.89%         258.03    Rental Income - Other                         8,152.83    25.32%    10,000.00    36.87%    -1,847.17       3,647.56     21.12%     4,505.27
          704.28     15.13%     1,000.00    30.51%     -295.72         446.25      35.89%         258.03     Total Rental Income                          8,152.83    25.32%    10,000.00    36.87%    -1,847.17       3,647.56     21.12%     4,505.27
             0.00      0.00%         0.00     0.00%        0.00           8.24       0.66%           -8.24   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00     0.00%         0.00          11.90      0.07%       -11.90
            18.00      0.39%         0.00     0.00%       18.00           0.00       0.00%          18.00    Vending Commissions Other                        33.64     0.10%         0.00     0.00%        33.64          18.00      0.10%        15.64
            18.00     0.39%          0.00    0.00%        18.00           8.24      0.66%             9.76   Total Vending Commission Income                  33.64    0.10%          0.00    0.00%         33.64          29.90     0.17%          3.74
           322.10      6.92%       500.00    15.25%     -177.90         226.40      18.21%          95.70    Cancellation Fee - Rooms                      1,391.60     4.32%     5,000.00    18.44%    -3,608.40       3,897.91     22.57%    -2,506.31
          322.10      6.92%       500.00    15.25%     -177.90         226.40      18.21%           95.70    Total Cancellation Fee Income                1,391.60     4.32%     5,000.00    18.44%    -3,608.40       3,897.91     22.57%    -2,506.31
             0.00      0.00%        20.00     0.61%      -20.00           0.00       0.00%            0.00   Guest Laundry                                     0.00     0.00%       200.00     0.74%      -200.00          63.08      0.37%       -63.08
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%            0.00   In-Room Movie Revenue                             0.00     0.00%         0.00     0.00%         0.00          14.25      0.08%       -14.25
             0.00      0.00%         0.00     0.00%        0.00          14.85       1.19%         -14.85    Internet Access                                 247.50     0.77%         0.00     0.00%       247.50         217.80      1.26%        29.70
             0.00      0.00%         0.00     0.00%        0.00          13.20       1.06%         -13.20    Other Revenue 2                                 123.68     0.38%         0.00     0.00%       123.68          13.20      0.08%       110.48
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%            0.00   Other Revenue 3                                   0.00     0.00%         0.00     0.00%         0.00       2,550.00     14.76%    -2,550.00
         3,071.30     65.98%     1,758.00    53.63%    1,313.30         534.61      42.99%       2,536.69    Gift Shop Sales                              21,206.60    65.87%    11,919.75    43.95%     9,286.85       6,837.16     39.59%    14,369.44
           539.22     11.58%         0.00     0.00%      539.22           0.00       0.00%         539.22    Pet Fees                                      1,039.22     3.23%         0.00     0.00%     1,039.22           0.00      0.00%     1,039.22
        3,610.52     77.56%     1,778.00    54.24%    1,832.52         562.66      45.25%       3,047.86     Total Other Income                          22,617.00    70.25%    12,119.75    44.69%    10,497.25       9,695.49     56.14%    12,921.51

        4,654.90    100.00%     3,278.00    100.00%   1,376.90       1,243.55     100.00%       3,411.35     Total Minor Operating Income                32,195.07    100.00%   27,119.75 100.00%       5,075.32      17,270.86 100.00%       14,924.21

                                                                                                             Cost of Sales
             0.00      0.00%        20.00     0.61%     -20.00            0.00       0.00%           0.00    Cost of Sales - Guest Laundry                     0.00     0.00%       200.00     0.74%      -200.00          53.14      0.31%       -53.14
         1,273.75     27.36%       879.00    26.82%     394.75          172.20      13.85%       1,101.55    Cost of Sales - Gift Shop                     9,133.17    28.37%     5,959.89    21.98%     3,173.28       2,834.09     16.41%     6,299.08
        1,273.75     27.36%       899.00    27.43%     374.75          172.20      13.85%       1,101.55     Total Minor Operated Cost of Sales           9,133.17    28.37%     6,159.89    22.71%     2,973.28       2,887.23     16.72%     6,245.94

        3,381.15     72.64%     2,379.00    72.57%    1,002.15       1,071.35      86.15%       2,309.80     Total Minor Operated Profit (Loss)          23,061.90    71.63%    20,959.86    77.29%     2,102.04      14,383.63     83.28%     8,678.27




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                          YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Revenue                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Non-Management            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Salaries and Wages        0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade PR Taxes and Benefits     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Payroll                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Other Expenses            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Expenses                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Profit (Loss)             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                              Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget    %         Variance   PTD Last Year     %            Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                            Franchise Fees
         1,603.26      0.58%         0.00    0.00%    1,603.26            0.00      0.00%        1,603.26   Franchise Fees - IT Fees                    13,876.15    0.88%         0.00     0.00%   13,876.15            0.00     0.00%   13,876.15
        27,209.11      9.83%    12,658.58    5.91%   14,550.53        4,037.87      5.87%       23,171.24   Franchise Fees - Royalty & Licenses        103,608.09    6.55%    78,589.67     5.88%   25,018.42       58,164.27     5.94%   45,443.82
        -1,099.00     -0.40%         0.00    0.00%   -1,099.00            0.00      0.00%       -1,099.00   Franchise Fees - Other                       4,704.52    0.30%         0.00     0.00%    4,704.52            0.00     0.00%    4,704.52
         7,710.58      2.79%         0.00    0.00%    7,710.58            0.00      0.00%        7,710.58   Franchise Fees - Reservations-GDS           13,214.05    0.84%         0.00     0.00%   13,214.05            0.00     0.00%   13,214.05
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00   Franchise Fees - Equipment                      32.46    0.00%         0.00     0.00%       32.46            0.00     0.00%       32.46
         2,599.51      0.94%     4,219.53    1.97%   -1,620.02        2,373.37      3.45%          226.14   Franchise Fees - Frequent Guest             34,700.44    2.19%    26,196.57     1.96%    8,503.87       36,912.77     3.77%   -2,212.33
             0.00      0.00%     8,439.05    3.94%   -8,439.05        2,771.89      4.03%       -2,771.89   Franchise Fees - Marketing Contributions    50,561.88    3.20%    52,393.10     3.92%   -1,831.22       38,840.45     3.97%   11,721.43
          -211.68     -0.08%         0.00    0.00%     -211.68            0.00      0.00%         -211.68   Franchise Fees - Reservations-Central        7,592.23    0.48%         0.00     0.00%    7,592.23            0.00     0.00%    7,592.23

       37,811.78     13.66%    25,317.16    11.81%   12,494.62       9,183.13      13.34%      28,628.65    Total Franchise Fees                       228,289.82   14.44%   157,179.34   11.75%    71,110.48     133,917.49     13.67%   94,372.33




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              PTD     %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                            YTD     %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         6,813.18      2.46%     5,730.37    2.67%    1,082.81      10,595.16      15.39%      -3,781.98   Management- A&G                     57,500.02     3.64%     53,060.13     3.97%     4,439.89      91,784.15      9.37%    -34,284.13
        6,813.18      2.46%     5,730.37    2.67%    1,082.81      10,595.16      15.39%      -3,781.98    Total A&G Management               57,500.02     3.64%     53,060.13     3.97%     4,439.89      91,784.15      9.37%    -34,284.13
             0.00     0.00%          0.00   0.00%         0.00           0.00      0.00%            0.00   Total A&G Non-Management                 0.00    0.00%           0.00    0.00%          0.00           0.00     0.00%           0.00
        6,813.18      2.46%     5,730.37    2.67%    1,082.81      10,595.16      15.39%      -3,781.98    Total A&G Salaries and Wages       57,500.02     3.64%     53,060.13     3.97%     4,439.89      91,784.15      9.37%    -34,284.13
                                                                                                           PR Taxes and Benefits
           526.40      0.19%       454.81    0.21%       71.59         735.80       1.07%        -209.40   FICA                                 4,527.79     0.29%      4,278.55     0.32%       249.24       8,269.59      0.84%     -3,741.80
             6.97      0.00%         2.50    0.00%        4.47           0.00       0.00%           6.97   Federal Unemployment Tax               145.55     0.01%         76.26     0.01%        69.29           0.00      0.00%        145.55
            47.94      0.02%         5.95    0.00%       41.99           0.00       0.00%          47.94   State Unemployment Tax                 503.75     0.03%        238.42     0.02%       265.33           0.00      0.00%        503.75
          581.31      0.21%       463.26    0.22%      118.05         735.80       1.07%        -154.49    Total Payroll Taxes                 5,177.09     0.33%      4,593.23     0.34%       583.86       8,269.59      0.84%     -3,092.50
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Holiday                                  0.00     0.00%        600.00     0.04%      -600.00       2,252.16      0.23%     -2,252.16
             0.00      0.00%       214.83    0.10%     -214.83           0.00       0.00%           0.00   Vacation                             1,884.62     0.12%      2,268.62     0.17%      -384.00      13,841.52      1.41%    -11,956.90
             0.00     0.00%       214.83    0.10%     -214.83            0.00      0.00%            0.00   Total Supplemental Pay              1,884.62     0.12%      2,868.62     0.21%      -984.00      16,093.68      1.64%    -14,209.06
           297.92      0.11%       260.13    0.12%       37.79         655.00       0.95%        -357.08   Worker's Compensation                2,873.37     0.18%      2,839.84     0.21%        33.53       7,529.00      0.77%     -4,655.63
           680.79      0.25%       262.50    0.12%      418.29       1,445.88       2.10%        -765.09   Group Insurance                      4,517.11     0.29%      2,537.50     0.19%     1,979.61      14,504.81      1.48%     -9,987.70
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Bonus and Incentive Pay             -3,518.90    -0.22%          0.00     0.00%    -3,518.90         914.63      0.09%     -4,433.53
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Other Benefits                       2,470.00     0.16%          0.00     0.00%     2,470.00           0.00      0.00%      2,470.00
          978.71      0.35%       522.63    0.24%      456.08       2,100.88       3.05%      -1,122.17    Total Other Benefits                6,341.58     0.40%      5,377.34     0.40%       964.24      22,948.44      2.34%    -16,606.86
        1,560.02      0.56%     1,200.72    0.56%      359.30       2,836.68       4.12%      -1,276.66    Total A&G PR Taxes and Benefits    13,403.29     0.85%     12,839.19     0.96%       564.10      47,311.71      4.83%    -33,908.42
        8,373.20      3.03%     6,931.09    3.23%    1,442.11      13,431.84      19.51%      -5,058.64    Total A&G Payroll                  70,903.31     4.48%     65,899.32     4.93%     5,003.99     139,095.86     14.20%    -68,192.55
                                                                                                           Other Expenses
         1,000.00      0.36%     1,000.00    0.47%        0.00       2,000.00       2.91%      -1,000.00   Accounting/Audit Fees               12,000.00     0.76%     10,000.00     0.75%     2,000.00      20,000.00      2.04%     -8,000.00
           966.78      0.35%         0.00    0.00%      966.78          95.05       0.14%         871.73   Bad Debt Provision                   3,441.28     0.22%          0.00     0.00%     3,441.28         555.01      0.06%      2,886.27
           964.89      0.35%     1,075.00    0.50%     -110.11         999.62       1.45%         -34.73   Bank Charges                         7,420.49     0.47%     10,750.00     0.80%    -3,329.51      12,028.11      1.23%     -4,607.62
           -30.77     -0.01%         0.00    0.00%      -30.77           0.00       0.00%         -30.77   Cash Over/Short                       -167.59    -0.01%          0.00     0.00%      -167.59        -176.51     -0.02%          8.92
             0.00      0.00%       160.00    0.07%     -160.00           0.00       0.00%           0.00   Central Office - IT Fees                 0.00     0.00%      1,600.00     0.12%    -1,600.00           0.00      0.00%          0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Communication Expense                  425.00     0.03%          0.00     0.00%       425.00         187.81      0.02%        237.19
         7,498.61      2.71%     5,571.65    2.60%    1,926.96         229.77       0.33%       7,268.84   Credit Card Commission              38,602.48     2.44%     34,771.03     2.60%     3,831.45      23,968.57      2.45%     14,633.91
            74.13      0.03%         0.00    0.00%       74.13       1,782.28       2.59%      -1,708.15   Data Processing                        111.26     0.01%          0.00     0.00%       111.26      13,672.78      1.40%    -13,561.52
             0.00      0.00%       150.00    0.07%     -150.00         120.00       0.17%        -120.00   Dues and Subscriptions                   0.00     0.00%      2,278.00     0.17%    -2,278.00       4,751.17      0.49%     -4,751.17
           501.81      0.18%        50.00    0.02%      451.81           0.00       0.00%         501.81   Employee Relations                   1,346.07     0.09%        500.00     0.04%       846.07         953.61      0.10%        392.46
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Equipment Rental                         0.00     0.00%          0.00     0.00%         0.00       1,818.40      0.19%     -1,818.40
           260.00      0.09%         0.00    0.00%      260.00           0.00       0.00%         260.00   Internet/Web Expense                 2,400.00     0.15%          0.00     0.00%     2,400.00           0.00      0.00%      2,400.00
             0.00      0.00%         0.00    0.00%        0.00          43.97       0.06%         -43.97   Licenses/Permits                     1,712.00     0.11%      2,246.00     0.17%      -534.00       2,232.09      0.23%       -520.09
           157.62      0.06%        75.00    0.03%       82.62           0.00       0.00%         157.62   Miscellaneous Expense                1,167.25     0.07%        750.00     0.06%       417.25           0.00      0.00%      1,167.25
             0.00      0.00%         0.00    0.00%        0.00           0.00       0.00%           0.00   Office Equipment                       341.04     0.02%          0.00     0.00%       341.04           0.00      0.00%        341.04
           334.24      0.12%       250.00    0.12%       84.24         420.09       0.61%         -85.85   Office Supplies                      2,077.44     0.13%      2,500.00     0.19%      -422.56       2,150.11      0.22%        -72.67
           143.22      0.05%       380.00    0.18%     -236.78         231.85       0.34%         -88.63   Payroll Service Fees                 1,351.10     0.09%      3,800.00     0.28%    -2,448.90       4,245.05      0.43%     -2,893.95
             0.00      0.00%        75.00    0.03%      -75.00          26.11       0.04%         -26.11   Postage                                615.62     0.04%        750.00     0.06%      -134.38         382.37      0.04%        233.25
            62.50      0.02%       150.00    0.07%      -87.50           0.00       0.00%          62.50   Professional Fees - Legal           13,954.18     0.88%      1,500.00     0.11%    12,454.18           0.00      0.00%     13,954.18
           797.06      0.29%       500.00    0.23%      297.06           0.00       0.00%         797.06   Professional Fees - Other            3,688.13     0.23%      5,000.00     0.37%    -1,311.87       4,123.00      0.42%       -434.87
            82.26      0.03%         0.00    0.00%       82.26           0.00       0.00%          82.26   Recruitment Advertising              1,157.27     0.07%      3,000.00     0.22%    -1,842.73         900.27      0.09%        257.00
           163.57      0.06%       100.00    0.05%       63.57         183.28       0.27%         -19.71   Recruitment - Other                  1,742.47     0.11%      1,000.00     0.07%       742.47       1,156.08      0.12%        586.39
             0.00      0.00%     4,092.00    1.91%   -4,092.00           0.00       0.00%           0.00   Security - Outside                       0.00     0.00%     28,248.00     2.11%   -28,248.00       9,423.00      0.96%     -9,423.00
           502.69      0.18%       520.70    0.24%      -18.01           0.00       0.00%         502.69   Software Expense/Maintenance         9,871.90     0.62%      6,157.00     0.46%     3,714.90           0.00      0.00%      9,871.90
           398.40      0.14%         0.00    0.00%      398.40           0.00       0.00%         398.40   Training                             3,712.20     0.23%          0.00     0.00%     3,712.20       1,948.54      0.20%      1,763.66
           911.80      0.33%         0.00    0.00%      911.80         380.63       0.55%         531.17   Travel                               1,198.77     0.08%          0.00     0.00%     1,198.77         771.10      0.08%        427.67
       14,788.81      5.34%    14,149.35    6.60%      639.46       6,512.65       9.46%       8,276.16    Total A&G Other Expenses          108,168.36     6.84%    114,850.03     8.59%    -6,681.67     105,090.56     10.73%      3,077.80
       23,162.01      8.37%    21,080.44    9.84%    2,081.57      19,944.49      28.97%       3,217.52    Total A&G Expenses                179,071.67    11.32%    180,749.35    13.52%    -1,677.68     244,186.42     24.93%    -65,114.75




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          IT
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Management                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Non-Management                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Salaries and Wages            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT PR Taxes and Benefits         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Payroll                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Services
           150.00      0.05%        0.00     0.00%    150.00            0.00       0.00%        150.00    Cost of Cell Phones                   150.00    0.01%        0.00       0.00%    150.00            0.00     0.00%    150.00
          150.00      0.05%         0.00    0.00%    150.00             0.00      0.00%        150.00     Total IT Cost of Services            150.00    0.01%         0.00      0.00%    150.00             0.00    0.00%    150.00

                                                                                                          System Costs
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Systems                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total IT Other Expenses                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

          150.00      0.05%         0.00    0.00%    150.00             0.00      0.00%        150.00     Total IT Expenses                    150.00    0.01%         0.00      0.00%    150.00             0.00    0.00%    150.00




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                                                                                  Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                            S&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00      0.00%     3,312.33    1.55%    -3,312.33           0.00       0.00%           0.00   Division Management                 9,422.75    0.60%    29,169.87      2.18%    -19,747.12           0.00     0.00%      9,422.75
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Sales Managers                      1,869.83    0.12%         0.00      0.00%      1,869.83      11,257.14     1.15%     -9,387.31
             0.00     0.00%     3,312.33    1.55%    -3,312.33            0.00      0.00%            0.00   Total S&M Management              11,292.58    0.71%    29,169.87      2.18%    -17,877.29      11,257.14     1.15%          35.44
             0.00      0.00%         0.00    0.00%         0.00       2,737.37       3.98%      -2,737.37   Administrative Assistant                0.00    0.00%         0.00      0.00%          0.00      15,104.89     1.54%    -15,104.89
             0.00     0.00%          0.00   0.00%          0.00      2,737.37       3.98%      -2,737.37    Total S&M Non-Management                0.00   0.00%          0.00     0.00%           0.00     15,104.89     1.54%    -15,104.89

             0.00     0.00%     3,312.33    1.55%    -3,312.33       2,737.37       3.98%      -2,737.37    Total S&M Salaries and Wages      11,292.58    0.71%    29,169.87      2.18%    -17,877.29      26,362.03     2.69%    -15,069.45

                                                                                                            PR Taxes and Benefits
              0.00     0.00%       253.39    0.12%     -253.39          224.33       0.33%        -224.33   FICA                                  862.23    0.05%     2,231.48      0.17%     -1,369.25       2,482.34     0.25%     -1,620.11
              0.00     0.00%         1.39    0.00%       -1.39            0.00       0.00%           0.00   Federal Unemployment Tax               46.16    0.00%        31.90      0.00%         14.26           0.00     0.00%         46.16
              0.00     0.00%         3.31    0.00%       -3.31            0.00       0.00%           0.00   State Unemployment Tax                112.83    0.01%       104.64      0.01%          8.19           0.00     0.00%        112.83
              0.00    0.00%       258.09    0.12%     -258.09          224.33       0.33%        -224.33    Total Payroll Taxes                1,021.22    0.06%     2,368.02      0.18%     -1,346.80       2,482.34     0.25%     -1,461.12
              0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Holiday                               136.00    0.01%         0.00      0.00%        136.00         608.00     0.06%       -472.00
              0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Vacation                                0.00    0.00%         0.00      0.00%          0.00       3,127.45     0.32%     -3,127.45
              0.00    0.00%          0.00   0.00%         0.00            0.00      0.00%            0.00   Total Supplemental Pay               136.00    0.01%          0.00     0.00%        136.00       3,735.45     0.38%     -3,599.45
              0.00     0.00%       144.93    0.07%     -144.93            0.00       0.00%           0.00   Worker's Compensation                 864.00    0.05%     1,441.56      0.11%       -577.56           0.00     0.00%        864.00
            -81.40    -0.03%         0.00    0.00%      -81.40          195.57       0.28%        -276.97   Group Insurance                       -38.56    0.00%         0.00      0.00%        -38.56       2,078.58     0.21%     -2,117.14
              0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Bonus and Incentive Pay                 0.00    0.00%         0.00      0.00%          0.00         456.84     0.05%       -456.84
           -81.40    -0.03%       144.93    0.07%     -226.33          195.57       0.28%        -276.97    Total Other Benefits                 825.44    0.05%     1,441.56      0.11%       -616.12       2,535.42     0.26%     -1,709.98
           -81.40    -0.03%       403.02    0.19%     -484.42          419.90       0.61%        -501.30    Total S&M PR Taxes and Benefits    1,982.66    0.13%     3,809.58      0.28%     -1,826.92       8,753.21     0.89%     -6,770.55

           -81.40    -0.03%     3,715.35    1.73%    -3,796.75       3,157.27       4.59%      -3,238.67    Total S&M Payroll                 13,275.24    0.84%    32,979.45      2.47%    -19,704.21      35,115.24     3.58%    -21,840.00

                                                                                                            Other Expenses
           440.00      0.16%       690.00    0.32%     -250.00          276.91       0.40%         163.09   Advertising-Web/Internet            5,440.00    0.34%     7,935.00      0.59%    -2,495.00        4,912.59     0.50%       527.41
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Brochures                               0.00    0.00%       300.00      0.02%      -300.00            0.00     0.00%         0.00
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%           0.00   Communication Expense                   0.00    0.00%       500.00      0.04%      -500.00          100.00     0.01%      -100.00
         4,644.07      1.68%         0.00    0.00%    4,644.07            0.00       0.00%       4,644.07   Contract Labor                     22,566.10    1.43%         0.00      0.00%    22,566.10            0.00     0.00%    22,566.10
         1,721.64      0.62%     1,397.00    0.65%      324.64       -1,355.50      -1.97%       3,077.14   Dues and Subscriptions             16,305.97    1.03%    15,470.00      1.16%       835.97        4,431.74     0.45%    11,874.23
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Equipment Rental                     -200.00   -0.01%         0.00      0.00%      -200.00            0.00     0.00%      -200.00
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%           0.00   Meals and Entertainment                 0.00    0.00%       500.00      0.04%      -500.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Office Equipment                       64.98    0.00%         0.00      0.00%        64.98            0.00     0.00%        64.98
             0.00      0.00%        25.00    0.01%      -25.00            0.00       0.00%           0.00   Office Supplies                         0.00    0.00%       250.00      0.02%      -250.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Operating Supplies                      8.53    0.00%         0.00      0.00%         8.53            0.00     0.00%         8.53
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Postage                                 0.00    0.00%        60.00      0.00%       -60.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Printing and Stationery                 0.00    0.00%         0.00      0.00%         0.00           31.28     0.00%       -31.28
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Promotions - In-house                 110.28    0.01%         0.00      0.00%       110.28          332.09     0.03%      -221.81
             0.00      0.00%        75.00    0.03%      -75.00            0.00       0.00%           0.00   Promotion - Outside                     0.00    0.00%       750.00      0.06%      -750.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Software Expense/Maintenance        5,608.03    0.35%     6,436.00      0.48%      -827.97            0.00     0.00%     5,608.03
             0.00      0.00%       750.00    0.35%     -750.00            0.00       0.00%           0.00   Training                            1,149.00    0.07%     2,250.00      0.17%    -1,101.00          387.27     0.04%       761.73
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%           0.00   Travel                                  0.00    0.00%       500.00      0.04%      -500.00            0.00     0.00%         0.00
        6,805.71      2.46%     3,087.00    1.44%    3,718.71       -1,078.59      -1.57%       7,884.30    Total S&M Other Expenses          51,052.89    3.23%    34,951.00      2.61%    16,101.89       10,194.97     1.04%    40,857.92

        6,724.31      2.43%     6,802.35    3.17%       -78.04       2,078.68       3.02%       4,645.63    Total S&M Expenses                64,328.13    4.07%    67,930.45      5.08%     -3,602.32      45,310.21     4.63%    19,017.92




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                                                                                  Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget   %         Variance    PTD Last Year     %            Variance                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                            R&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         4,871.43      1.76%     4,674.75    2.18%      196.68        5,185.72       7.53%        -314.29   Division Management                   44,660.00    2.82%    45,704.56      3.42%     -1,044.56      43,966.66     4.49%       693.34
        4,871.43      1.76%     4,674.75    2.18%      196.68        5,185.72       7.53%        -314.29    Total R&M Management                 44,660.00    2.82%    45,704.56      3.42%     -1,044.56      43,966.66     4.49%       693.34
         2,392.25      0.86%     2,480.00    1.16%      -87.75            0.00       0.00%       2,392.25   Engineers 1                           13,534.50    0.86%    24,320.00      1.82%    -10,785.50       4,510.92     0.46%     9,023.58
        2,392.25      0.86%     2,480.00    1.16%      -87.75             0.00      0.00%       2,392.25    Total R&M Non-Management             13,534.50    0.86%    24,320.00      1.82%    -10,785.50       4,510.92     0.46%     9,023.58

        7,263.68      2.62%     7,154.75    3.34%      108.93        5,185.72       7.53%       2,077.96    Total R&M Salaries and Wages         58,194.50    3.68%    70,024.56      5.24%    -11,830.06      48,477.58     4.95%     9,716.92

                                                                                                            PR Taxes and Benefits
           554.69      0.20%       561.36    0.26%        -6.67         367.26       0.53%         187.43   FICA                                   4,669.86    0.30%     5,504.95      0.41%       -835.09       4,233.29     0.43%       436.57
             7.24      0.00%         3.08    0.00%         4.16           0.00       0.00%           7.24   Federal Unemployment Tax                 149.90    0.01%       114.69      0.01%         35.21           0.00     0.00%       149.90
            50.49      0.02%         7.34    0.00%       43.15            0.00       0.00%          50.49   State Unemployment Tax                   509.75    0.03%       349.23      0.03%        160.52           0.00     0.00%       509.75
          612.42      0.22%       571.78    0.27%        40.64         367.26       0.53%         245.16    Total Payroll Taxes                   5,329.51    0.34%     5,968.87      0.45%       -639.36       4,233.29     0.43%     1,096.22
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Holiday                                  112.00    0.01%         0.00      0.00%        112.00       1,161.76     0.12%    -1,049.76
             0.00      0.00%       183.33    0.09%     -183.33            0.00       0.00%           0.00   Vacation                               2,860.00    0.18%     1,935.98      0.14%        924.02       4,382.12     0.45%    -1,522.12
             0.00     0.00%       183.33    0.09%     -183.33             0.00      0.00%            0.00   Total Supplemental Pay                2,972.00    0.19%     1,935.98      0.14%      1,036.02       5,543.88     0.57%    -2,571.88
           319.40      0.12%       321.08    0.15%        -1.68           0.00       0.00%         319.40   Worker's Compensation                  3,400.99    0.22%     3,736.98      0.28%       -335.99           0.00     0.00%     3,400.99
         1,066.44      0.39%         0.00    0.00%    1,066.44          515.33       0.75%         551.11   Group Insurance                        5,505.21    0.35%         0.00      0.00%      5,505.21       5,695.96     0.58%      -190.75
        1,385.84      0.50%       321.08    0.15%    1,064.76          515.33       0.75%         870.51    Total Other Benefits                  8,906.20    0.56%     3,736.98      0.28%      5,169.22       5,695.96     0.58%     3,210.24
        1,998.26      0.72%     1,076.19    0.50%      922.07          882.59       1.28%       1,115.67    Total R&M PR Taxes and Benefits      17,207.71    1.09%    11,641.83      0.87%      5,565.88      15,473.13     1.58%     1,734.58

        9,261.94      3.35%     8,230.94    3.84%    1,031.00        6,068.31       8.81%       3,193.63    Total R&M Payroll                    75,402.21    4.77%    81,666.39      6.11%     -6,264.18      63,950.71     6.53%    11,451.50

                                                                                                            Other Expenses
         3,099.73      1.12%       300.00    0.14%    2,799.73           37.16       0.05%       3,062.57   Air Conditioning and Refrigeration     8,744.59    0.55%     3,000.00      0.22%     5,744.59        1,012.72     0.10%     7,731.87
           168.14      0.06%       350.00    0.16%     -181.86          198.13       0.29%         -29.99   Building                               6,828.75    0.43%     3,500.00      0.26%     3,328.75        1,481.81     0.15%     5,346.94
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Communication Expense                      0.00    0.00%         0.00      0.00%         0.00           60.00     0.01%       -60.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Contract Labor                             0.00    0.00%     3,000.00      0.22%    -3,000.00            0.00     0.00%         0.00
            90.00      0.03%         0.00    0.00%       90.00            0.00       0.00%          90.00   Dues and Subscriptions                   630.00    0.04%         0.00      0.00%       630.00            0.00     0.00%       630.00
           584.72      0.21%       125.00    0.06%      459.72           18.77       0.03%         565.95   Electric Bulbs                         2,788.36    0.18%     1,250.00      0.09%     1,538.36          932.96     0.10%     1,855.40
            44.72      0.02%       234.40    0.11%     -189.68            0.00       0.00%          44.72   Electrical and Mechanical              2,859.22    0.18%     1,589.30      0.12%     1,269.92        1,482.73     0.15%     1,376.49
           641.77      0.23%       350.00    0.16%      291.77            0.00       0.00%         641.77   Elevator Maintenance Contracts         3,440.53    0.22%     3,500.00      0.26%       -59.47            0.00     0.00%     3,440.53
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Equipment Maintenance                    359.98    0.02%         0.00      0.00%       359.98        2,599.94     0.27%    -2,239.96
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Fire Safety Equipment                  4,540.74    0.29%     3,264.00      0.24%     1,276.74        3,531.37     0.36%     1,009.37
             0.00      0.00%       100.00    0.05%     -100.00            0.00       0.00%           0.00   Floor and Carpet Maintenance           4,486.56    0.28%     4,000.00      0.30%       486.56            0.00     0.00%     4,486.56
             0.00      0.00%       234.40    0.11%     -234.40            0.00       0.00%           0.00   Furniture                                518.17    0.03%     1,589.30      0.12%    -1,071.13          -68.01    -0.01%       586.18
           858.15      0.31%       800.00    0.37%       58.15          481.48       0.70%         376.67   Grounds and Landscaping               10,914.83    0.69%     8,000.00      0.60%     2,914.83        5,527.38     0.56%     5,387.45
             0.00      0.00%        25.00    0.01%      -25.00            0.00       0.00%           0.00   Kitchen Equipment Repairs                 74.15    0.00%       250.00      0.02%      -175.85            0.00     0.00%        74.15
             0.00      0.00%         0.00    0.00%        0.00          290.80       0.42%        -290.80   Laundry Equipment Repairs                  0.00    0.00%         0.00      0.00%         0.00          290.80     0.03%      -290.80
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Licenses/Permits                         705.00    0.04%         0.00      0.00%       705.00            0.00     0.00%       705.00
             0.00      0.00%       328.16    0.15%     -328.16            0.00       0.00%           0.00   Locks and Keys                           878.16    0.06%     2,225.02      0.17%    -1,346.86          686.27     0.07%       191.89
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Maintenance Contracts                      0.00    0.00%     1,620.00      0.12%    -1,620.00        1,608.76     0.16%    -1,608.76
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Operating Supplies                     1,399.48    0.09%         0.00      0.00%     1,399.48            0.00     0.00%     1,399.48
            56.14      0.02%        50.00    0.02%        6.14            0.00       0.00%          56.14   Painting and Decorating                  813.11    0.05%       500.00      0.04%       313.11           32.20     0.00%       780.91
           175.00      0.06%       175.00    0.08%        0.00          340.07       0.49%        -165.07   Pest Control                           2,631.65    0.17%     1,750.00      0.13%       881.65        3,287.06     0.34%      -655.41
           154.48      0.06%       164.08    0.08%       -9.60            0.00       0.00%         154.48   Plumbing and Heating                   2,476.08    0.16%     1,112.51      0.08%     1,363.57          805.36     0.08%     1,670.72
             0.00      0.00%       100.00    0.05%     -100.00            0.00       0.00%           0.00   Pool Chemicals                           609.71    0.04%       900.00      0.07%      -290.29            0.00     0.00%       609.71
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Pool Service- Contract                   525.06    0.03%         0.00      0.00%       525.06          471.30     0.05%        53.76
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%           0.00   Radio and Television Repair              177.69    0.01%       500.00      0.04%      -322.31            0.00     0.00%       177.69
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%           0.00   Signage                                  292.16    0.02%       500.00      0.04%      -207.84          709.04     0.07%      -416.88
           126.00      0.05%       126.00    0.06%        0.00            0.00       0.00%         126.00   Software Expense/Maintenance             630.00    0.04%     1,760.00      0.13%    -1,130.00            0.00     0.00%       630.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Tools                                     26.78    0.00%         0.00      0.00%        26.78            0.00     0.00%        26.78
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Travel                                     0.00    0.00%       500.00      0.04%      -500.00            0.00     0.00%         0.00
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%           0.00   Uniforms                                   0.00    0.00%       500.00      0.04%      -500.00            0.00     0.00%         0.00
            30.00      0.01%       150.00    0.07%     -120.00           25.00       0.04%           5.00   Vehicle Maintenance & Repairs            276.66    0.02%     1,050.00      0.08%      -773.34        1,940.99     0.20%    -1,664.33
           468.55      0.17%       553.00    0.26%      -84.45          241.10       0.35%         227.45   Waste Removal                          3,849.59    0.24%     5,530.00      0.41%    -1,680.41        3,415.60     0.35%       433.99
        6,497.40      2.35%     4,315.04    2.01%    2,182.36        1,632.51       2.37%       4,864.89    Total R&M Other Expenses             61,477.01    3.89%    51,390.13      3.84%    10,086.88       29,808.28     3.04%    31,668.73


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                                                                               Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
              PTD     %       PTD Budget   %        Variance   PTD Last Year     %            Variance                                          YTD     %       YTD Budget %            Variance   YTD Last Year   %         Variance

       15,759.34      5.69%   12,545.98    5.85%   3,213.36       7,700.82      11.19%       8,058.52    Total R&M Expenses               136,879.22    8.66%   133,056.52     9.95%   3,822.70      93,758.99     9.57%   43,120.23




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                                                                                  Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
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                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            Utilities
         5,828.71      2.11%     5,274.00    2.46%       554.71       2,824.66       4.10%       3,004.05   Water                              14,759.90    0.93%    35,759.25      2.67%   -20,999.35      33,408.98     3.41%   -18,649.08
         3,624.25      1.31%     5,274.00    2.46%    -1,649.75       3,275.59       4.76%         348.66   Electricity                        32,508.10    2.06%    35,759.25      2.67%    -3,251.15      38,455.49     3.93%    -5,947.39
         3,107.31      1.12%     2,344.00    1.09%       763.31         870.35       1.26%       2,236.96   Gas - Natural HLP                  15,759.79    1.00%    15,893.00      1.19%      -133.21      11,623.98     1.19%     4,135.81
        -1,613.45     -0.58%         0.00    0.00%    -1,613.45           0.00       0.00%      -1,613.45   Sewer                              25,278.64    1.60%         0.00      0.00%    25,278.64           0.00     0.00%    25,278.64
       10,946.82      3.96%    12,892.00    6.02%    -1,945.18       6,970.60      10.13%       3,976.22    Total Utilities                   88,306.43    5.58%    87,411.50      6.54%       894.93      83,488.45     8.52%     4,817.98




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                                                                                   Company: CUNC Associates LLC Property: Hampton Inn Charlotte University Place
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %            Variance                                           YTD     %        YTD Budget %               Variance   YTD Last Year    %            Variance

                                                                                                             Fixed
           905.44      0.33%       486.00     0.23%       419.44       1,288.22       1.87%        -382.78   Personal Property Taxes               905.44     0.06%      4,860.00     0.36%     -3,954.56       5,805.89      0.59%       -4,900.45
         8,300.00      3.00%     9,925.00     4.63%    -1,625.00       7,049.11      10.24%       1,250.89   Real Estate Taxes                  91,154.72     5.76%     99,250.00     7.42%     -8,095.28      88,926.10      9.08%        2,228.62
        9,205.44      3.33%    10,411.00     4.86%    -1,205.56       8,337.33      12.11%         868.11    Total Taxes                       92,060.16     5.82%    104,110.00     7.78%    -12,049.84      94,731.99      9.67%       -2,671.83
         1,353.41      0.49%         0.00     0.00%     1,353.41       4,683.39       6.80%      -3,329.98   Insurance                          15,644.27     0.99%          0.00     0.00%     15,644.27      45,914.18      4.69%     -30,269.91
           400.25      0.14%       400.25     0.19%         0.00           0.00       0.00%         400.25   Insurance - Automobile              4,002.50     0.25%      4,002.50     0.30%          0.00           0.00      0.00%        4,002.50
           118.42      0.04%         0.00     0.00%       118.42           0.00       0.00%         118.42   Insurance - Crime                     118.42     0.01%          0.00     0.00%        118.42           0.00      0.00%          118.42
           246.75      0.09%       125.00     0.06%       121.75           0.00       0.00%         246.75   Insurance - Employment              1,210.25     0.08%      1,250.00     0.09%        -39.75           0.00      0.00%        1,210.25
         1,515.75      0.55%     1,323.00     0.62%       192.75           0.00       0.00%       1,515.75   Insurance - General Liability      15,112.25     0.96%     13,230.00     0.99%      1,882.25           0.00      0.00%       15,112.25
             0.00      0.00%     1,145.08     0.53%    -1,145.08           0.00       0.00%           0.00   Insurance - Property                    0.00     0.00%     11,450.80     0.86%    -11,450.80           0.00      0.00%            0.00
         2,356.25      0.85%     2,289.58     1.07%        66.67           0.00       0.00%       2,356.25   Insurance - Umbrella               23,095.84     1.46%     22,895.80     1.71%        200.04           0.00      0.00%       23,095.84
        5,990.83      2.16%     5,282.91     2.47%       707.92       4,683.39       6.80%       1,307.44    Total Insurance                   59,183.53     3.74%     52,829.10     3.95%      6,354.43      45,914.18      4.69%      13,269.35
           178.25      0.06%         0.00     0.00%       178.25           0.00       0.00%         178.25   Fixed Leases                        2,526.77     0.16%          0.00     0.00%      2,526.77           0.00      0.00%        2,526.77
        32,974.00     11.91%    32,974.00    15.39%         0.00      32,091.69      46.62%         882.31   Ground Lease Expense              326,212.00    20.63%    326,212.00    24.39%          0.00     350,431.89     35.77%     -24,219.89
         1,961.30      0.71%       974.00     0.45%       987.30       1,017.24       1.48%         944.06   Vehicle Leases                      9,821.54     0.62%      9,740.00     0.73%         81.54       9,820.93      1.00%            0.61
       35,113.55     12.69%    33,948.00    15.84%     1,165.55      33,108.93      48.09%       2,004.62    Total Leases & Rent              338,560.31    21.41%    335,952.00    25.12%      2,608.31     360,252.82     36.78%     -21,692.51
         8,803.39      3.18%     6,428.83     3.00%     2,374.56       1,721.00       2.50%       7,082.39   Management Fee - Base              59,503.61     3.76%     49,084.99     3.67%     10,418.62      24,484.00      2.50%       35,019.61
             0.00      0.00%         0.00     0.00%         0.00       3,706.05       5.38%      -3,706.05   Management Fee - Incentive              0.00     0.00%          0.00     0.00%          0.00      10,976.50      1.12%     -10,976.50
        8,803.39      3.18%     6,428.83     3.00%     2,374.56       5,427.05       7.88%       3,376.34    Total Management Fees             59,503.61     3.76%     49,084.99     3.67%     10,418.62      35,460.50      3.62%      24,043.11
         8,049.03      2.91%     6,428.83     3.00%     1,620.20      11,197.76      16.27%      -3,148.73   Capital Reserve                    73,825.01     4.67%     40,120.43     3.00%     33,704.58     111,977.60     11.43%     -38,152.59
             0.00      0.00%         0.00     0.00%         0.00      45,801.00      66.53%     -45,801.00   (Gain)/Loss-Insurance                   0.00     0.00%          0.00     0.00%          0.00     458,010.00     46.76%    -458,010.00
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Owner's Expense                       949.17     0.06%          0.00     0.00%        949.17      12,597.79      1.29%     -11,648.62
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Non Recurring Cost                      0.00     0.00%          0.00     0.00%          0.00        -316.58     -0.03%          316.58
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Extraordinary Expense              -1,422.92    -0.09%          0.00     0.00%     -1,422.92       3,860.53      0.39%       -5,283.45
        8,049.03      2.91%     6,428.83     3.00%     1,620.20      56,998.76      82.80%     -48,949.73    Total Other Non-Operating         73,351.26     4.64%     40,120.43     3.00%     33,230.83     586,129.34     59.84%    -512,778.08




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                                                                                           Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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             PTD      %        PTD Budget      %          Variance   PTD Last Year     %            Variance                                                        YTD     %           YTD Budget %                Variance    YTD Last Year     %            Variance

                                                                                                               Statistics
           129.00                   129.00                   0.00          129.00                       0.00   # Rooms                                            129.00                    129.00                      0.00          129.00                       0.00
         3,999.00                 3,999.00                   0.00        3,999.00                       0.00   Available Rooms                                 39,216.00                 39,216.00                      0.00       39,345.00                    -129.00
         2,162.00                 2,359.00                -197.00        1,435.00                     727.00   Room Nights Sold                                17,224.00                 19,658.00                 -2,434.00       13,327.00                   3,897.00
          54.06%                   58.99%                 -4.93%          35.88%                     18.18%    Occupancy %                                       43.92%                    50.13%                    -6.21%          33.87%                     10.05%
           104.26                    97.51                   6.75           78.25                      26.01   ADR                                                 88.59                     90.02                     -1.43           91.59                      -3.00
            56.37                    57.52                  -1.15           28.08                      28.29   RevPar                                              38.91                     45.12                     -6.21           31.03                       7.88

                                                                                                               Summary V.11
                                                                                                               Revenue
       225,417.49    98.72%    230,026.90     99.34%    -4,609.41      112,290.40     98.78%     113,127.09    Rooms                                        1,525,872.25    98.18%     1,769,599.25    99.25%   -243,727.00     1,220,680.59     98.82%     305,191.66
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%           0.00    F&B                                              1,990.00     0.13%             0.00     0.00%      1,990.00             0.00      0.00%       1,990.00
         2,911.47     1.28%      1,534.59      0.66%     1,376.88        1,389.07      1.22%       1,522.40    Other Departments                               26,292.24     1.69%        13,345.90     0.75%     12,946.34        14,634.64      1.18%      11,657.60

      228,328.96    100.00%    231,561.49    100.00%    -3,232.53     113,679.47     100.00%     114,649.49    Total Operating Revenue                     1,554,154.49    100.00%    1,782,945.15 100.00%      -228,790.66    1,235,315.23 100.00%        318,839.26

                                                                                                               Departmental Expenses
        65,614.75    29.11%     57,261.71     24.89%     8,353.04       19,315.54     17.20%      46,299.21    Rooms                                         395,899.86     25.95%      530,793.69     30.00%   -134,893.83       286,355.45     23.46%     109,544.41
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%           0.00    F&B                                               600.27     30.16%            0.00      0.00%        600.27             0.00      0.00%         600.27
         3,387.47   116.35%      2,637.19    171.85%       750.28        2,913.40    209.74%         474.07    Other Departments                              31,603.33    120.20%       26,371.90    197.60%      5,231.43        25,221.83    172.34%       6,381.50

       69,002.22     30.22%     59,898.90    25.87%     9,103.32       22,228.94     19.55%       46,773.28    Total Departmental Expenses                  428,103.46     27.55%      557,165.59     31.25%    -129,062.13      311,577.28     25.22%     116,526.18

      159,326.74     69.78%    171,662.59    74.13%    -12,335.85      91,450.53     80.45%       67,876.21    Total Departmental Profit                   1,126,051.03    72.45%     1,225,779.56    68.75%     -99,728.53      923,737.95     74.78%     202,313.08

                                                                                                               Undistributed Operating Expenses
        25,894.43    11.34%     27,356.70     11.81%    -1,462.27        3,988.08      3.51%      21,906.35    A&G                                           265,721.75     17.10%      259,292.86     14.54%       6,428.89      220,119.81     17.82%      45,601.94
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%           0.00    IT                                                  0.00      0.00%            0.00      0.00%           0.00            0.00      0.00%           0.00
         4,171.37     1.83%      9,517.49      4.11%    -5,346.12        4,337.80      3.82%        -166.43    S&M                                            79,668.16      5.13%       93,594.19      5.25%     -13,926.03       62,827.28      5.09%      16,840.88
        30,187.08    13.22%     31,492.65     13.60%    -1,305.57       13,127.13     11.55%      17,059.95    Franchise Fees                                233,703.76     15.04%      262,434.30     14.72%     -28,730.54      169,106.04     13.69%      64,597.72
        12,075.60     5.29%     11,695.32      5.05%       380.28        5,099.50      4.49%       6,976.10    R&M                                            98,602.38      6.34%      113,362.00      6.36%     -14,759.62       62,684.40      5.07%      35,917.98
         9,415.68     4.12%     11,747.82      5.07%    -2,332.14        6,140.43      5.40%       3,275.25    Utilities                                      89,272.78      5.74%       97,896.84      5.49%      -8,624.06       72,642.04      5.88%      16,630.74

       81,744.16     35.80%     91,809.98    39.65%    -10,065.82      32,692.94     28.76%       49,051.22    Total Undistributed Expenses                 766,968.83     49.35%      826,580.19     46.36%     -59,611.36      587,379.57     47.55%     179,589.26

       77,582.58     33.98%     79,852.61    34.48%     -2,270.03      58,757.59     51.69%       18,824.99    Gross Operating Profit                    359,082.20        23.10%      399,199.37     22.39%     -40,117.17      336,358.38     27.23%       22,723.82
         9,939.22      4.35%      6,946.85     3.00%      2,992.37       6,536.88      5.75%        3,402.34   Management Fees                             59,284.83         3.81%       57,010.48      3.20%       2,274.35       41,835.69      3.39%       17,449.14
       67,643.36     29.63%     72,905.76    31.48%     -5,262.40      52,220.71     45.94%       15,422.65    Income Before Non-Operating Income and Expenses
                                                                                                                                                         299,797.37        19.29%      342,188.89     19.19%     -42,391.52      294,522.69     23.84%        5,274.68

                                                                                                               Non-Operating Income and Expenses
         6,119.75      2.68%      5,035.09     2.17%     1,084.66        4,610.26      4.06%        1,509.49   Insurance                                      54,230.11      3.49%       50,350.90      2.82%      3,879.21        45,195.42      3.66%        9,034.69
        28,607.00     12.53%     28,607.00    12.35%         0.00       27,773.48     24.43%          833.52   Leases & Rent                                 282,734.00     18.19%      282,734.00     15.86%          0.00       275,307.50     22.29%        7,426.50
             0.00      0.00%          0.00     0.00%         0.00       60,638.77     53.34%      -60,638.77   Other                                           7,889.08      0.51%            0.00      0.00%      7,889.08       632,825.47     51.23%     -624,936.39
       34,726.75     15.21%     33,642.09    14.53%     1,084.66       93,022.51     81.83%      -58,295.76    Total Non-Operating Income and Expenses      344,853.19     22.19%      333,084.90     18.68%     11,768.29       953,328.39     77.17%     -608,475.20

       32,916.61     14.42%     39,263.67    16.96%     -6,347.06     -40,801.80     -35.89%      73,718.41    EBITDA                                        -45,055.82     -2.90%       9,103.99      0.51%     -54,159.81     -658,805.70     -53.33%     613,749.88
             0.00      0.00%          0.00     0.00%          0.00      30,316.00      26.67%     -30,316.00   Interest                                             0.00      0.00%           0.00      0.00%           0.00      302,712.43      24.50%    -302,712.43
         4,781.16      2.09%     10,615.00     4.58%     -5,833.84      10,615.22       9.34%      -5,834.06   Taxes                                           99,411.03      6.40%     106,150.00      5.95%      -6,738.97      106,235.60       8.60%      -6,824.57
             0.00      0.00%          0.00     0.00%          0.00       2,792.00       2.46%      -2,792.00   Amortization                                         0.00      0.00%           0.00      0.00%           0.00       27,920.00       2.26%     -27,920.00
        4,781.16      2.09%     10,615.00     4.58%     -5,833.84      43,723.22      38.46%     -38,942.06    Interest, Taxes, Depreciation and Amortization 99,411.03      6.40%     106,150.00      5.95%      -6,738.97      436,868.03      35.36%    -337,457.00

       28,135.45     12.32%     28,648.67    12.37%      -513.22      -84,525.02     -74.35%     112,660.47    Net Income                                   -144,466.85     -9.30%      -97,046.01     -5.44%    -47,420.84    -1,095,673.73    -88.70%    951,206.88




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             PTD      %       PTD Budget    %         Variance   PTD Last Year    %           Variance                                           YTD     %         YTD Budget %               Variance   YTD Last Year     %         Variance

                                                                                                         Statistics
           129.00                 129.00                  0.00         129.00                    0.00    # Rooms                               129.00                  129.00                     0.00         129.00                    0.00
         3,999.00               3,999.00                  0.00       3,999.00                    0.00    Available Rooms                    39,216.00               39,216.00                     0.00      39,345.00                 -129.00
         2,162.00               2,359.00               -197.00       1,435.00                  727.00    Room Nights Sold                   17,224.00               19,658.00                -2,434.00      13,327.00                3,897.00
             0.54                   0.59                 -0.05           0.36                    0.18    Occupancy %                             0.44                    0.50                    -0.06           0.34                    0.10
           104.26                  97.51                  6.75          78.25                   26.01    ADR                                    88.59                   90.02                    -1.43          91.59                   -3.00
            56.37                  57.52                 -1.15          28.08                   28.29    RevPar                                 38.91                   45.12                    -6.21          31.03                    7.88

                                                                                                         Summary
                                                                                                         Revenue:
       225,417.49    98.72%   230,026.90   99.34%    -4,609.41     112,290.40    98.78%     113,127.09   Rooms                           1,525,872.25   98.18%    1,769,599.25    99.25%   -243,727.00   1,220,680.59    98.82%    305,191.66
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Food                                    0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Beverage                                0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Other F&B Revenue                   1,990.00    0.13%            0.00     0.00%      1,990.00           0.00     0.00%      1,990.00
             0.00     0.00%        21.92    0.01%       -21.92           1.50     0.00%          -1.50   Telephone                              39.00    0.00%          219.20     0.01%       -180.20          17.75     0.00%         21.25
         2,911.47     1.28%     1,512.67    0.65%     1,398.80       1,387.57     1.22%       1,523.90   Other                              26,253.24    1.69%       13,126.70     0.74%     13,126.54      14,616.89     1.18%     11,636.35

       228,328.96   100.00%   231,561.49   100.00%   -3,232.53     113,679.47    100.00%    114,649.49   Total Revenue                   1,554,154.49   100.00%   1,782,945.15   100.00%   -228,790.66   1,235,315.23    100.00%   318,839.26



                                                                                                         Cost of Sales:
             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%          0.00    Food                                  151.77    0.00%            0.00     0.00%        151.77           0.00     0.00%        151.77
             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%          0.00    Beverage                                0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%          0.00    Other F&B                               0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
         1,286.53    44.19%      906.00    59.04%      380.53          908.87    65.43%        377.66    Telephone                          13,998.61   53.24%        9,060.00    67.89%      4,938.61       7,550.71    51.59%      6,447.90
           868.94    29.85%      294.53    19.19%      574.41          634.01    45.64%        234.93    Other                               6,240.92   23.74%        2,945.30    22.07%      3,295.62       3,769.90    25.76%      2,471.02

         2,155.47    74.03%     1,200.53   78.23%      954.94        1,542.88    111.07%       612.59    Total Cost of Sales                20,391.30   77.56%      12,005.30     89.95%      8,386.00      11,320.61    77.35%      9,070.69



                                                                                                         Payroll:
        41,708.21    18.50%    30,686.46   13.34%    11,021.75      11,932.89    10.63%      29,775.32   Rooms                             219,761.25   14.40%     286,222.24     16.17%    -66,460.99     131,381.39    10.76%     88,379.86
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   F&B                                     0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Other                                   0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         8,912.07     3.90%    12,259.12    5.29%    -3,347.05       5,556.35     4.89%       3,355.72   A&G                               114,922.05    7.39%     119,856.19      6.72%     -4,934.14      87,217.44     7.06%     27,704.61
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   IT                                      0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
           442.04     0.19%     3,974.57    1.72%    -3,532.53       1,482.11     1.30%      -1,040.07   S&M                                34,183.07    2.20%      38,937.52      2.18%     -4,754.45      36,406.41     2.95%     -2,223.34
         6,558.66     2.87%     5,757.14    2.49%       801.52       3,519.68     3.10%       3,038.98   R&M                                40,513.97    2.61%      56,457.13      3.17%    -15,943.16      29,973.82     2.43%     10,540.15
        57,620.98    25.24%    52,677.29   22.75%     4,943.69      22,491.03    19.78%      35,129.95   Total Salaries and Wages          409,380.34   26.34%     501,473.08     28.13%    -92,092.74     284,979.06    23.07%    124,401.28

         9,079.90     3.98%    11,412.07    4.93%    -2,332.17       4,144.80     3.65%       4,935.10   Total Taxes and Benefits           90,265.27    5.81%     115,840.69      6.50%    -25,575.42     114,322.30     9.25%    -24,057.03
        66,700.88    29.21%    64,089.36   27.68%     2,611.52      26,635.83    23.43%      40,065.05   Total Labor Costs                 499,645.61   32.15%     617,313.77     34.62%   -117,668.16     399,301.36    32.32%    100,344.25



                                                                                                         Direct Expenses:
        18,481.87     8.20%    20,434.43    8.88%    -1,952.56       7,171.97     6.39%      11,309.90   Rooms                             139,245.92    9.13%     182,680.98     10.32%    -43,435.06     112,909.66     9.25%     26,336.26
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   F&B                                     0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         1,232.00    42.32%     1,436.66   93.62%      -204.66       1,370.52    98.66%        -138.52   Telephone                          11,363.80   43.22%      14,366.60    107.65%     -3,002.80      13,901.22    94.99%     -2,537.42
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Other                                   0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        30,187.08    13.22%    31,492.65   13.60%    -1,305.57      13,127.13    11.55%      17,059.95   Franchise Fees                    233,703.76   15.04%     262,434.30     14.72%    -28,730.54     169,106.04    13.69%     64,597.72
        14,331.64     6.28%    11,955.43    5.16%     2,376.21      -3,434.54    -3.02%      17,766.18   A&G                               116,542.00    7.50%     107,720.19      6.04%      8,821.81      90,397.09     7.32%     26,144.91
             0.00     0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   IT                                      0.00    0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         3,671.71     1.61%     4,562.00    1.97%      -890.29       1,226.06     1.08%       2,445.65   S&M                                36,638.04    2.36%      44,839.80      2.51%     -8,201.76      12,991.08     1.05%     23,646.96
         4,570.05     2.00%     4,790.00    2.07%      -219.95       1,141.60     1.00%       3,428.45   R&M                                48,269.08    3.11%      44,488.00      2.50%      3,781.08      16,387.75     1.33%     31,881.33
         9,415.68     4.12%    11,747.82    5.07%    -2,332.14       6,140.43     5.40%       3,275.25   Utilities                          89,272.78    5.74%      97,896.84      5.49%     -8,624.06      72,642.04     5.88%     16,630.74

        81,890.03    35.86%    86,418.99   37.32%    -4,528.96      26,743.17    23.53%      55,146.86   Total Direct Expense              675,035.38   43.43%     754,426.71     42.31%    -79,391.33     488,334.88    39.53%    186,700.50

        77,582.58    33.98%    79,852.61   34.48%    -2,270.03      58,757.59    51.69%      18,824.99   Gross Operating Profit            359,082.20   23.10%     399,199.37     22.39%    -40,117.17     336,358.38    27.23%     22,723.82

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                                                                                     Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                      P&L - Dual Summary Pages
                                                                                                           As of 10/31/2021
             PTD      %       PTD Budget   %         Variance   PTD Last Year    %            Variance                                          YTD    %        YTD Budget %              Variance   YTD Last Year    %           Variance




                                                                                                         Fixed Costs
         4,781.16     2.09%    10,615.00    4.58%   -5,833.84      10,615.22     9.34%       -5,834.06   Taxes                             99,411.03    6.40%   106,150.00      5.95%    -6,738.97     106,235.60     8.60%     -6,824.57
         6,119.75     2.68%     5,035.09    2.17%    1,084.66       4,610.26     4.06%        1,509.49   Insurance                         54,230.11    3.49%    50,350.90      2.82%     3,879.21      45,195.42     3.66%      9,034.69
        28,607.00    12.53%    28,607.00   12.35%        0.00      27,773.48    24.43%          833.52   Leases & Rent                    282,734.00   18.19%   282,734.00     15.86%         0.00     275,307.50    22.29%      7,426.50
         9,939.22     4.35%     6,946.85    3.00%    2,992.37       6,536.88     5.75%        3,402.34   Management Fees                   59,284.83    3.81%    57,010.48      3.20%     2,274.35      41,835.69     3.39%     17,449.14

        49,447.13    21.66%    51,203.94   22.11%   -1,756.81      49,535.84    43.58%          -88.71   Total Fixed Expenses             495,659.97   31.89%   496,245.38     27.83%     -585.41      468,574.21    37.93%     27,085.76

        28,135.45    12.32%    28,648.67   12.37%    -513.22        9,221.75     8.11%      18,913.70    Net Operating Profit            -136,577.77   -8.79%   -97,046.01     -5.44%   -39,531.76    -132,215.83    -10.70%     -4,361.94



             0.00     0.00%         0.00   0.00%        0.00       30,316.00    26.67%      -30,316.00   Interest Expense - Other               0.00    0.00%         0.00     0.00%          0.00     302,712.43    24.50%    -302,712.43
             0.00     0.00%         0.00   0.00%        0.00            0.00     0.00%            0.00   Owner's Expense                    2,797.17    0.18%         0.00     0.00%      2,797.17      22,889.64     1.85%     -20,092.47
             0.00     0.00%         0.00   0.00%        0.00            0.00     0.00%            0.00   Extraordinary Expense                  0.00    0.00%         0.00     0.00%          0.00       3,548.13     0.29%      -3,548.13
             0.00     0.00%         0.00   0.00%        0.00            0.00     0.00%            0.00   Prior Owner's Expense            -12,113.74   -0.78%         0.00     0.00%    -12,113.74           0.00     0.00%     -12,113.74
             0.00     0.00%         0.00   0.00%        0.00            0.00     0.00%            0.00   Non Recurring Cost                 4,779.78    0.31%         0.00     0.00%      4,779.78           0.00     0.00%       4,779.78



        28,135.45    12.32%    28,648.67   12.37%    -513.22      -21,094.25    -18.56%     49,229.70    Net Operating Income            -132,040.98   -8.50%   -97,046.01     -5.44%   -34,994.97    -461,366.03    -37.35%   329,325.05

             0.00     0.00%         0.00   0.00%        0.00       10,875.77     9.57%      -10,875.77   Capital Reserve                   12,425.87   0.80%          0.00     0.00%    12,425.87      108,757.70     8.80%     -96,331.83
             0.00     0.00%         0.00   0.00%        0.00       49,763.00    43.77%      -49,763.00   (Gain)/Loss-Insurance                  0.00   0.00%          0.00     0.00%         0.00      497,630.00    40.28%    -497,630.00

        28,135.45    12.32%    28,648.67   12.37%    -513.22      -81,733.02    -71.90%    109,868.47    Adjusted NOI                    -144,466.85   -9.30%   -97,046.01     -5.44%   -47,420.84   -1,067,753.73   -86.44%   923,286.88



             0.00     0.00%         0.00   0.00%        0.00        2,792.00     2.46%       -2,792.00   Amortization                           0.00   0.00%          0.00     0.00%         0.00       27,920.00     2.26%     -27,920.00



        28,135.45    12.32%    28,648.67   12.37%    -513.22      -84,525.02    -74.35%    112,660.47    Net Profit/(Loss)               -144,466.85   -9.30%   -97,046.01     -5.44%   -47,420.84   -1,095,673.73   -88.70%   951,206.88




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                                                                                          Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %            Variance                                           YTD     %          YTD Budget %                Variance   YTD Last Year    %          Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
        24,552.51    10.89%     47,040.00     20.45%   -22,487.49       6,707.97      5.97%       17,844.54   Corporate Transient               122,209.64     8.01%     238,709.25     13.49%   -116,499.61      186,191.65    15.25%    -63,982.01
         1,501.13     0.67%          0.00      0.00%     1,501.13           0.00      0.00%        1,501.13   Advanced Purchase                   4,991.93     0.33%           0.00      0.00%      4,991.93            0.00     0.00%      4,991.93
        24,804.43    11.00%     24,168.00     10.51%       636.43           0.00      0.00%       24,804.43   AAA/AARP Transient                315,829.78    20.70%     160,740.00      9.08%    155,089.78            0.00     0.00%    315,829.78
         3,770.37     1.67%      5,247.90      2.28%    -1,477.53           0.00      0.00%        3,770.37   Consortia Transient                18,891.91     1.24%      38,070.65      2.15%    -19,178.74            0.00     0.00%     18,891.91
         1,050.00     0.47%      2,170.00      0.94%    -1,120.00           0.00      0.00%        1,050.00   Employee                            6,720.00     0.44%      15,995.00      0.90%     -9,275.00            0.00     0.00%      6,720.00
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%            0.00   Leisure Transient                   2,363.33     0.15%           0.00      0.00%      2,363.33            0.00     0.00%      2,363.33
           257.00     0.11%          0.00      0.00%       257.00           0.00      0.00%          257.00   Travel Agent/Friends & Family       3,488.31     0.23%           0.00      0.00%      3,488.31            0.00     0.00%      3,488.31
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%            0.00   Leisure Package Transient           1,749.68     0.11%           0.00      0.00%      1,749.68            0.00     0.00%      1,749.68
        13,605.14     6.04%          0.00      0.00%    13,605.14           0.00      0.00%       13,605.14   Member Reward Stay                 49,534.82     3.25%           0.00      0.00%     49,534.82            0.00     0.00%     49,534.82
             0.00     0.00%     50,160.00     21.81%   -50,160.00      53,674.19     47.80%      -53,674.19   Extended Stay Transient                 0.00     0.00%     469,877.10     26.55%   -469,877.10      380,019.55    31.13%   -380,019.55
        28,040.03    12.44%      2,759.00      1.20%    25,281.03           0.00      0.00%       28,040.03   Internet/E-Commerce               182,155.74    11.94%      99,670.00      5.63%     82,485.74            0.00     0.00%    182,155.74
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%            0.00   E-Commerce Opaque                   1,958.59     0.13%           0.00      0.00%      1,958.59            0.00     0.00%      1,958.59
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%            0.00   Other Transient                   164,909.20    10.81%           0.00      0.00%    164,909.20            0.00     0.00%    164,909.20
         3,575.70     1.59%      4,183.00      1.82%      -607.30           0.00      0.00%        3,575.70   Government Transient               23,769.89     1.56%      26,433.00      1.49%     -2,663.11            0.00     0.00%     23,769.89
        89,672.72    39.78%     52,110.00     22.65%    37,562.72      21,193.69     18.87%       68,479.03   Rack Transient                    347,169.39    22.75%     347,031.00     19.61%        138.39      387,676.57    31.76%    -40,507.18
        12,924.85     5.73%     23,496.00     10.21%   -10,571.15      26,352.00     23.47%      -13,427.15   Local Negotiated Transient        147,870.09     9.69%     216,827.25     12.25%    -68,957.16      154,363.12    12.65%     -6,493.03

      203,753.88     90.39%    211,333.90    91.87%    -7,580.02     107,927.85     96.11%       95,826.03    Total Transient Room Revenue    1,393,612.30   91.33%    1,613,353.25   91.17%     -219,740.95    1,108,250.89    90.79%   285,361.41

                                                                                                              Group Room Revenue
           960.09     0.43%       5,518.00     2.40%    -4,557.91       3,084.08      2.75%      -2,123.99    Corporate Group                    41,519.28     2.72%      85,996.00     4.86%      -44,476.72      86,527.08     7.09%    -45,007.80
             0.00     0.00%           0.00     0.00%         0.00           0.00      0.00%           0.00    Leisure Group                       2,278.42     0.15%           0.00     0.00%        2,278.42           0.00     0.00%      2,278.42
           246.00     0.11%           0.00     0.00%       246.00         738.00      0.66%        -492.00    Government Group                      600.30     0.04%           0.00     0.00%          600.30      21,163.00     1.73%    -20,562.70
             0.00     0.00%           0.00     0.00%         0.00           0.00      0.00%           0.00    Tour & Travel Group                   129.75     0.01%           0.00     0.00%          129.75           0.00     0.00%        129.75
             0.00     0.00%           0.00     0.00%         0.00           0.00      0.00%           0.00    Association Group                   8,073.00     0.53%           0.00     0.00%        8,073.00           0.00     0.00%      8,073.00
        10,099.00     4.48%       7,905.00     3.44%     2,194.00           0.00      0.00%      10,099.00    SMERF Group                        34,493.12     2.26%      43,576.00     2.46%       -9,082.88           0.00     0.00%     34,493.12
        10,347.00     4.59%       5,270.00     2.29%     5,077.00           0.00      0.00%      10,347.00    Sports Group                       43,536.80     2.85%      26,674.00     1.51%       16,862.80           0.00     0.00%     43,536.80
             0.00     0.00%           0.00     0.00%         0.00           0.00      0.00%           0.00    Other Group                           979.00     0.06%           0.00     0.00%          979.00           0.00     0.00%        979.00

       21,652.09      9.61%     18,693.00     8.13%     2,959.09       3,822.08      3.40%       17,830.01    Total Group Room Revenue         131,609.67     8.63%     156,246.00      8.83%     -24,636.33     107,690.08     8.82%     23,919.59

                                                                                                              Contract Room Revenue

             0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%            0.00    Total Contract Room Revenue             0.00    0.00%            0.00     0.00%           0.00            0.00    0.00%          0.00

                                                                                                              Other Room Revenue
             0.00     0.00%           0.00     0.00%        0.00          619.67      0.55%        -619.67    No-Show Rooms                         884.63     0.06%           0.00     0.00%         884.63        5,471.81     0.45%     -4,587.18
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%           0.00    Pet/Smoking/Damage Fees               398.37     0.03%           0.00     0.00%         398.37            0.00     0.00%        398.37

             0.00     0.00%          0.00     0.00%         0.00         619.67      0.55%         -619.67    Total Other Room Revenue            1,283.00    0.08%            0.00     0.00%       1,283.00        5,471.81    0.45%     -4,188.81

            11.52     0.01%           0.00     0.00%       11.52          -79.20     -0.07%          90.72    Less: Allowances                     -632.72    -0.04%           0.00     0.00%        -632.72         -732.19    -0.06%        99.47

      225,417.49    100.00%    230,026.90    100.00%   -4,609.41     112,290.40     100.00%     113,127.09    Total Room Revenue              1,525,872.25   100.00%   1,769,599.25 100.00%      -243,727.00    1,220,680.59 100.00%     305,191.66

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00      0.00%          0.00     0.00%         0.00         453.02      0.40%         -453.02   Revenue Management                      0.00     0.00%           0.00      0.00%           0.00       6,520.92     0.53%     -6,520.92
             0.00      0.00%      3,595.80     1.56%    -3,595.80           0.00      0.00%            0.00   Housekeeping Management             4,578.84     0.30%      35,155.77      1.99%     -30,576.93       5,183.27     0.42%       -604.43
             0.00     0.00%      3,595.80     1.56%    -3,595.80         453.02      0.40%         -453.02    Total Rooms Management             4,578.84     0.30%      35,155.77      1.99%     -30,576.93      11,704.19     0.96%     -7,125.35
         4,008.36      1.78%      3,666.86     1.59%       341.50       5,508.42      4.91%       -1,500.06   Front Office Agents                39,497.85     2.59%      35,958.87      2.03%       3,538.98      29,680.13     2.43%      9,817.72
         3,952.21      1.75%      2,302.86     1.00%     1,649.35           0.00      0.00%        3,952.21   Front Office Supervisors           27,942.57     1.83%      22,582.87      1.28%       5,359.70           0.00     0.00%     27,942.57
         3,024.58      1.34%      3,100.00     1.35%       -75.42       1,125.18      1.00%        1,899.40   Night Auditors                     18,610.44     1.22%      30,400.00      1.72%     -11,789.56      27,178.11     2.23%     -8,567.67
         4,841.42      2.15%      2,232.00     0.97%     2,609.42           0.00      0.00%        4,841.42   Breakfast Attendant                20,130.83     1.32%      21,888.00      1.24%      -1,757.17       6,706.51     0.55%     13,424.32
       15,826.57      7.02%     11,301.72     4.91%     4,524.85       6,633.60      5.91%        9,192.97    Total Rooms Front Office         106,181.69     6.96%     110,829.74      6.26%      -4,648.05      63,564.75     5.21%     42,616.94
         3,917.58      1.74%        921.14     0.40%     2,996.44           0.00      0.00%        3,917.58   Housekeeping Supervisors           24,479.32     1.60%       9,033.13      0.51%      15,446.19       3,545.67     0.29%     20,933.65
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                                                                                         Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget     %          Variance   PTD Last Year    %            Variance                                                 YTD     %         YTD Budget %                Variance   YTD Last Year    %          Variance

        21,964.06      9.74%      9,907.80    4.31%    12,056.26        3,104.16     2.76%       18,859.90   Room Attendants                          73,664.77    4.83%      82,563.60      4.67%      -8,898.83      32,212.19     2.64%     41,452.58
             0.00      0.00%      2,480.00    1.08%    -2,480.00            0.00     0.00%            0.00   Housepersons                             10,856.63    0.71%      24,320.00      1.37%     -13,463.37      12,866.92     1.05%     -2,010.29
             0.00      0.00%      2,480.00    1.08%    -2,480.00        1,742.11     1.55%       -1,742.11   Laundry Attendants                            0.00    0.00%      24,320.00      1.37%     -24,320.00       7,487.67     0.61%     -7,487.67
       25,881.64     11.48%     15,788.94    6.86%    10,092.70        4,846.27     4.32%       21,035.37    Total Rooms Housekeeping               109,000.72    7.14%     140,236.73      7.92%     -31,236.01      56,112.45     4.60%     52,888.27

       41,708.21     18.50%     30,686.46    13.34%   11,021.75       11,932.89     10.63%      29,775.32    Total Rooms Salary and Wages           219,761.25    14.40%    286,222.24    16.17%      -66,460.99     131,381.39     10.76%    88,379.86

                                                                                                             PR Taxes and Benefits
         3,001.52      1.33%      2,358.71    1.03%        642.81       1,021.99      0.91%       1,979.53   FICA                                     16,683.34    1.09%      22,166.38      1.25%      -5,483.04      12,506.78     1.02%      4,176.56
            83.08      0.04%         12.95    0.01%         70.13           0.00      0.00%          83.08   Federal Unemployment Tax                    618.24    0.04%         433.65      0.02%         184.59           0.00     0.00%        618.24
           337.42      0.15%         30.83    0.01%        306.59           0.00      0.00%         337.42   State Unemployment Tax                    2,025.47    0.13%       1,324.04      0.07%         701.43           0.00     0.00%      2,025.47
        3,422.02      1.52%      2,402.49    1.04%      1,019.53       1,021.99      0.91%       2,400.03    Total Payroll Taxes                     19,327.05    1.27%      23,924.07      1.35%      -4,597.02      12,506.78     1.02%      6,820.27
             0.00      0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   Holiday                                   1,169.28    0.08%       2,000.00      0.11%        -830.72       1,925.76     0.16%       -756.48
             0.00      0.00%        141.02    0.06%       -141.02       1,000.00      0.89%      -1,000.00   Vacation                                  1,019.00    0.07%       1,489.17      0.08%        -470.17      19,141.16     1.57%    -18,122.16
             0.00      0.00%          0.00    0.00%          0.00           0.00      0.00%           0.00   Sick Pay                                    120.00    0.01%           0.00      0.00%         120.00           0.00     0.00%        120.00
             0.00     0.00%        141.02    0.06%       -141.02       1,000.00      0.89%      -1,000.00    Total Supplemental Pay                   2,308.28    0.15%       3,489.17      0.20%      -1,180.89      21,066.92     1.73%    -18,758.64
         1,869.37      0.83%      1,497.31    0.65%        372.06           0.00      0.00%       1,869.37   Worker's Compensation                    12,354.34    0.81%      14,177.23      0.80%      -1,822.89           0.00     0.00%     12,354.34
          -191.56     -0.08%      2,100.00    0.91%     -2,291.56      -1,811.31     -1.61%       1,619.75   Group Insurance                             -22.86    0.00%      20,300.00      1.15%     -20,322.86       8,490.70     0.70%     -8,513.56
           324.84      0.14%          0.00    0.00%        324.84           0.00      0.00%         324.84   Bonus and Incentive Pay                   2,925.88    0.19%           0.00      0.00%       2,925.88           0.00     0.00%      2,925.88
        2,002.65      0.89%      3,597.31    1.56%     -1,594.66      -1,811.31     -1.61%       3,813.96    Total Other Benefits                    15,257.36    1.00%      34,477.23      1.95%     -19,219.87       8,490.70     0.70%      6,766.66

        5,424.67      2.41%      6,140.82    2.67%      -716.15          210.68     0.19%        5,213.99    Total Rooms PR Taxes and Benefits       36,892.69    2.42%      61,890.47      3.50%     -24,997.78      42,064.40     3.45%     -5,171.71

       47,132.88     20.91%     36,827.28    16.01%   10,305.60       12,143.57     10.81%      34,989.31    Total Rooms Labor Costs                256,653.94    16.82%    348,112.71    19.67%      -91,458.77     173,445.79     14.21%    83,208.15

                                                                                                             Other Expenses
         7,007.15     3.11%       7,902.65    3.44%      -895.50        1,687.13     1.50%        5,320.02   Breakfast /Comp Cost                     58,358.07    3.82%      65,854.30     3.72%       -7,496.23      27,390.36     2.24%     30,967.71
           529.73     0.23%       1,462.58    0.64%      -932.85        1,435.63     1.28%         -905.90   Cleaning Supplies                        13,036.94    0.85%      12,187.96     0.69%          848.98       7,615.34     0.62%      5,421.60
             0.00     0.00%           0.00    0.00%         0.00            0.00     0.00%            0.00   Dues and Subscriptions                       60.00    0.00%           0.00     0.00%           60.00           0.00     0.00%         60.00
           619.05     0.27%       2,359.00    1.03%    -1,739.95          702.45     0.63%          -83.40   Guest Supplies                           13,820.96    0.91%      19,658.00     1.11%       -5,837.04      10,985.09     0.90%      2,835.87
             0.00     0.00%           0.00    0.00%         0.00            0.00     0.00%            0.00   In-House Entertainment                       43.97    0.00%           0.00     0.00%           43.97           0.00     0.00%         43.97
           963.20     0.43%         452.00    0.20%       511.20          451.50     0.40%          511.70   Internet/Web Expense                      6,198.50    0.41%       4,520.00     0.26%        1,678.50       4,717.52     0.39%      1,480.98
           582.03     0.26%          94.36    0.04%       487.67            0.00     0.00%          582.03   Laundry                                   5,009.01    0.33%         786.32     0.04%        4,222.69         380.48     0.03%      4,628.53
             0.00     0.00%           0.00    0.00%         0.00            0.00     0.00%            0.00   Laundry Allocation                          136.48    0.01%           0.00     0.00%          136.48           0.00     0.00%        136.48
           462.48     0.21%       1,297.45    0.56%      -834.97            0.00     0.00%          462.48   Linen                                     4,878.34    0.32%      10,811.90     0.61%       -5,933.56       1,730.38     0.14%      3,147.96
             0.00     0.00%           0.00    0.00%         0.00            0.00     0.00%            0.00   Newspaper                                     0.00    0.00%           0.00     0.00%            0.00         345.10     0.03%       -345.10
             0.00     0.00%           0.00    0.00%         0.00            0.00     0.00%            0.00   Office Equipment                             30.26    0.00%           0.00     0.00%           30.26           0.00     0.00%         30.26
             0.00     0.00%           0.00    0.00%         0.00            0.00     0.00%            0.00   Operating Supplies                          116.60    0.01%           0.00     0.00%          116.60       1,056.88     0.09%       -940.28
             0.00     0.00%         110.00    0.05%      -110.00            0.00     0.00%            0.00   Printing and Stationery                     201.26    0.01%       1,100.00     0.06%         -898.74           0.00     0.00%        201.26
             0.00     0.00%           0.00    0.00%         0.00            0.00     0.00%            0.00   Reservation Expense                           0.00    0.00%           0.00     0.00%            0.00      10,560.39     0.87%    -10,560.39
         1,751.48     0.78%       1,642.00    0.71%       109.48        1,690.88     1.51%           60.60   Television Cable                         17,479.39    1.15%      16,420.00     0.93%        1,059.39      15,710.73     1.29%      1,768.66
             0.00     0.00%           0.00    0.00%         0.00            0.00     0.00%            0.00   Transportation                               33.30    0.00%           0.00     0.00%           33.30           0.00     0.00%         33.30
             0.00     0.00%         373.86    0.16%      -373.86            0.00     0.00%            0.00   Travel Agent Comm - Group Rooms             247.53    0.02%       3,124.92     0.18%       -2,877.39           0.00     0.00%        247.53
         5,892.59     2.61%       4,640.53    2.02%     1,252.06        1,204.38     1.07%        4,688.21   Travel Agent Comm - Transient Rooms      17,875.66    1.17%      47,217.58     2.67%      -29,341.92      31,591.47     2.59%    -13,715.81
           674.16     0.30%         100.00    0.04%       574.16            0.00     0.00%          674.16   Uniforms                                  1,719.65    0.11%       1,000.00     0.06%          719.65         471.44     0.04%      1,248.21
             0.00     0.00%           0.00    0.00%         0.00            0.00     0.00%            0.00   Walked Guests                                 0.00    0.00%           0.00     0.00%            0.00         354.48     0.03%       -354.48

       18,481.87      8.20%     20,434.43    8.88%     -1,952.56       7,171.97     6.39%       11,309.90    Total Rooms Other Expenses             139,245.92    9.13%     182,680.98    10.32%      -43,435.06     112,909.66     9.25%     26,336.26

       65,614.75     29.11%     57,261.71    24.89%    8,353.04       19,315.54     17.20%      46,299.21    Total Rooms Expenses                   395,899.86    25.95%    530,793.69    30.00%     -134,893.83     286,355.45     23.46%   109,544.41

      159,802.74     70.89%    172,765.19    75.11%   -12,962.45      92,974.86     82.80%      66,827.88    Total Rooms Profit (Loss)             1,129,972.39   74.05%   1,238,805.56   70.00%     -108,833.17     934,325.14     76.54%   195,647.25




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             PTD      %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                                     YTD    %   YTD Budget %     Variance   YTD Last Year   %    Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
           242.00              448.00        -206.00          81.00                  161.00   Room Stat - Corporate Transient               1,349.00         2,494.00      -1,145.00       1,814.00          -465.00
            13.00                0.00          13.00           0.00                   13.00   Room Stat - Advanced Purchase                    45.00             0.00          45.00           0.00            45.00
           209.00              248.00         -39.00           0.00                  209.00   Room Stat - AAA/AARP Transient                3,168.00         1,735.00       1,433.00           0.00         3,168.00
            34.00               49.00         -15.00           0.00                   34.00   Room Stat - Consortia Rate Transient            181.00           381.00        -200.00           0.00           181.00
            29.00               62.00         -33.00           0.00                   29.00   Room Stat - Employee                            191.00           457.00        -266.00           0.00           191.00
             0.00                0.00           0.00           0.00                    0.00   Room Stat - Leisure Transient                    25.00             0.00          25.00           0.00            25.00
             0.00                0.00           0.00           0.00                    0.00   Room Stat - Package Transient                    10.00             0.00          10.00           0.00            10.00
             2.00                0.00           2.00           0.00                    2.00   Room Stat - Travel Agent/Friends & Family        38.00             0.00          38.00           0.00            38.00
           280.00                0.00         280.00           0.00                  280.00   Room Stat - Member Reward Stay                1,337.00             0.00       1,337.00           0.00         1,337.00
             0.00              528.00        -528.00         705.00                 -705.00   Room Stat - Extended Stay Transient               4.00         5,324.00      -5,320.00       4,981.00        -4,977.00
           241.00               31.00         210.00           0.00                  241.00   Room Stat - Internet                          1,962.00         1,245.00         717.00           0.00         1,962.00
             0.00                0.00           0.00           0.00                    0.00   Room Stat - Other Transient                   2,130.00             0.00       2,130.00           0.00         2,130.00
             0.00                0.00           0.00           0.00                    0.00   Room Stat - E-Commerce Opaque                    21.00             0.00          21.00           0.00            21.00
            40.00               47.00          -7.00           6.00                   34.00   Room Stat - Government Rate Transient           284.00           297.00         -13.00         178.00           106.00
           707.00              465.00         242.00         233.00                  474.00   Room Stat - Rack Rate Transient               2,975.00         3,193.00        -218.00       3,389.00          -414.00
           147.00              264.00        -117.00         379.00                 -232.00   Room Stat - Local Negotiated Transient        1,965.00         2,621.00        -656.00       1,997.00           -32.00
        1,944.00            2,142.00        -198.00       1,404.00                  540.00    Total Transient Rooms Sold                  15,685.00        17,747.00      -2,062.00      12,359.00         3,326.00

                                                                                              Group Rooms
             9.00              62.00          -53.00          31.00                  -22.00   Room Stat - Corporate Group Rooms               533.00         1,063.00       -530.00          968.00         -435.00
             0.00               0.00            0.00           0.00                    0.00   Room Stat - Leisure Group                        23.00             0.00         23.00            0.00           23.00
             3.00               0.00            3.00           0.00                    3.00   Room Stat - Government Group                      6.00             0.00          6.00            0.00            6.00
             0.00               0.00            0.00           0.00                    0.00   Room Stat - Tour & Travel Group                   2.00             0.00          2.00            0.00            2.00
             0.00               0.00            0.00           0.00                    0.00   Room Stat - Association Group                   100.00             0.00        100.00            0.00          100.00
           107.00              93.00           14.00           0.00                  107.00   Room Stat - SMERF Group                         388.00           526.00       -138.00            0.00          388.00
            99.00              62.00           37.00           0.00                   99.00   Room Stat - Sports Group                        487.00           322.00        165.00            0.00          487.00
          218.00              217.00            1.00          31.00                 187.00    Total Group Rooms Sold                       1,539.00         1,911.00       -372.00          968.00          571.00

                                                                                              Contract Rooms
             0.00               0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                        0.00             0.00           0.00            0.00            0.00

        2,162.00            2,359.00        -197.00       1,435.00                  727.00    Total Rooms Sold                            17,224.00        19,658.00      -2,434.00      13,327.00         3,897.00
            24.00               0.00           24.00          0.00                    24.00   Room Stat-Comp Rooms                             41.00            0.00           41.00         62.00            -21.00
        2,186.00            2,359.00        -173.00       1,435.00                  751.00    Total Rooms Occupied                        17,265.00        19,658.00      -2,393.00      13,389.00         3,876.00
         1,168.00               0.00        1,168.00          0.00                 1,168.00   Room Stat-Out of Order                        9,491.00            0.00        9,491.00          0.00          9,491.00

                                                                                              ADR
           101.46             105.00          -3.54           82.81                  18.64    Corporate Transient ADR                         90.59            95.71           -5.12         102.64          -12.05
           115.47               0.00         115.47            0.00                 115.47    Advanced Purchase ADR                          110.93             0.00         110.93            0.00          110.93
           118.68              97.45          21.23            0.00                 118.68    AAA/AARP ADR                                    99.69            92.65            7.05           0.00           99.69
             0.00               0.00           0.00            0.00                   0.00    FIT ADR                                          0.00             0.00            0.00           0.00             0.00
           110.89             107.10           3.79            0.00                 110.89    Consortia ADR                                  104.38            99.92            4.45           0.00          104.38
            36.21              35.00           1.21            0.00                  36.21    Employee ADR                                    35.18            35.00            0.18           0.00           35.18
             0.00               0.00           0.00            0.00                   0.00    Leisure ADR                                     94.53             0.00          94.53            0.00           94.53
           128.50               0.00         128.50            0.00                 128.50    Travel Agent/Friends & Family ADR               91.80             0.00          91.80            0.00           91.80
             0.00               0.00           0.00            0.00                   0.00    Leisure Package ADR                             69.99             0.00          69.99            0.00           69.99
            48.59               0.00          48.59            0.00                  48.59    Member Reward Stay ADR                          37.05             0.00          37.05            0.00           37.05
             0.00               0.00           0.00            0.00                   0.00    Golf Pkg ADR                                     0.00             0.00            0.00           0.00             0.00
             0.00              95.00         -95.00           76.13                 -76.13    Extended Stay ADR                                0.00            88.26         -88.26           76.29          -76.29
           116.35              89.00          27.35            0.00                 116.35    Internet ADR                                    92.84            80.06          12.79            0.00           92.84
             0.00               0.00           0.00            0.00                   0.00    E-Commerce Opaque ADR                           93.27             0.00          93.27            0.00           93.27
             0.00               0.00           0.00            0.00                   0.00    Other Transient ADR                             77.42             0.00          77.42            0.00           77.42
             0.00               0.00           0.00            0.00                   0.00    Airline Distressed Passenger ADR                 0.00             0.00            0.00           0.00             0.00
            89.39              89.00           0.39            0.00                  89.39    Government ADR                                  83.70            89.00           -5.30           0.00           83.70
           126.84             112.06          14.77           90.96                  35.88    Rack ADR                                       116.70           108.68            8.01         114.39             2.30
            87.92              89.00          -1.08           69.53                  18.39    Local Negotiated ADR                            75.25            82.73           -7.47          77.30            -2.05
          104.81               98.66           6.15           76.87                  27.94    Total Transient ADR                             88.85            90.91          -2.06           89.67           -0.82

           106.68               89.00         17.68           99.49                    7.19   Corporate Group ADR                             77.90             80.90          -3.00          89.39          -11.49
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             PTD      %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                          YTD     %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00           0.00                    0.00    Leisure Group ADR                     99.06             0.00        99.06           0.00           99.06
            82.00               0.00          82.00           0.00                   82.00    Government Group ADR                 100.05             0.00       100.05           0.00          100.05
             0.00               0.00           0.00           0.00                    0.00    Tour & Travel Group ADR               64.88             0.00        64.88           0.00           64.88
             0.00               0.00           0.00           0.00                    0.00    Association Group ADR                 80.73             0.00        80.73           0.00           80.73
             0.00               0.00           0.00           0.00                    0.00    City Wide Group ADR                    0.00             0.00         0.00           0.00            0.00
            94.38              85.00           9.38           0.00                   94.38    SMERF Group ADR                       88.90            82.84         6.06           0.00           88.90
           104.52              85.00          19.52           0.00                  104.52    Sports Group ADR                      89.40            82.84         6.56           0.00           89.40
             0.00               0.00           0.00           0.00                    0.00    Other Group ADR                        0.00             0.00         0.00           0.00            0.00
            99.32              86.14          13.18         123.29                  -23.97    Total Group ADR                       85.52            81.76         3.75         111.25          -25.73

             0.00               0.00           0.00            0.00                   0.00    Airline Crew ADR                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Other Contract ADR                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Contract ADR                    0.00              0.00         0.00            0.00           0.00

          104.26               97.51           6.75           78.25                  26.01    Total ADR                            88.59             90.02        -1.43           91.59          -3.00




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                                                                                    Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                     P&L - Dual Summary Pages
                                                                                                          As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                                YTD      %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                       F&B Summary
                                                                                                       Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Outlet Food Revenue                          0.00      0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Banquet and Catering Food Revenue            0.00      0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Outlet Beverage Revenue                      0.00      0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Banquet and Catering Beverage Revenue        0.00      0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Outlet Other Revenue                         0.00      0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Banquet and Catering Other Revenue       1,990.00    100.00%        0.00       0.00%    1,990.00           0.00     0.00%    1,990.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Revenue                       1,990.00    100.00%         0.00      0.00%    1,990.00            0.00    0.00%    1,990.00

                                                                                                       Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Food Purchases                            151.77       7.63%        0.00       0.00%     151.77            0.00     0.00%     151.77
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Beverage Purchases                          0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Cedit Employee Meals                        0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Credit House Charges                        0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Credit In-House Promotions                  0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Audio Visual Cost of Sales                  0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Other Cost of Sales                         0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Cost of Sales                  151.77       7.63%         0.00      0.00%     151.77             0.00    0.00%     151.77

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    F&B Gross Profit                        1,838.23     92.37%         0.00      0.00%    1,838.23            0.00    0.00%    1,838.23

                                                                                                       Expenses
                                                                                                       Payroll
                                                                                                       Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Management                                  0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Non-Management                              0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Salaries and Wages                0.00      0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
                                                                                                       PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Payroll Taxes                               0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Supplemental Pay                            0.00       0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Other Benefits                            448.50      22.54%        0.00       0.00%     448.50            0.00     0.00%     448.50
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B PR Taxes and Benefits          448.50      22.54%         0.00      0.00%     448.50             0.00    0.00%     448.50

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Payroll                        448.50      22.54%         0.00      0.00%     448.50             0.00    0.00%     448.50

                                                                                                       Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Audio Visual Supplies                       0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Banquet Expense                             0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Bar Expense/Promos                          0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Bar Supplies                                0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    China                                       0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Cleaning Supplies                           0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Communication Expense                       0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Contract Cleaning                           0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Contract Labor                              0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Decorations & Plants                        0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Dues and Subscriptions                      0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Equipment Rental                            0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Food and Beverage Advertising               0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Glassware                                   0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Guest Loss/Damage                           0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Guest Supplies                              0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    In-House Entertainment                      0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Kitchen/Cooking Fuel                        0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Kitchen Equipment                           0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Laundry - Outside Expense                   0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Laundry Allocation                          0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Licenses/Permits                            0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Linen                                       0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Linen Rental                                0.00      0.00%          0.00     0.00%        0.00            0.00    0.00%        0.00
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                                                                                    Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                     P&L - Dual Summary Pages
                                                                                                          As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                          YTD      %       YTD Budget %             Variance   YTD Last Year   %         Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Maintenance Contracts                  0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Meals and Entertainment                0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Menus                                  0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Miscellaneous Expense                  0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Music and Entertainment                0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Office Equipment                       0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Office Supplies                        0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Operating Supplies                     0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Paper/Plastic Supplies                 0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Printing and Stationery                0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Silverware                             0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Software Expense/Maintenance           0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Television Cable                       0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Training                               0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Travel                                 0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Uniforms                               0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Utensils                               0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Other Expenses               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Expenses                  448.50     22.54%        0.00      0.00%     448.50             0.00    0.00%     448.50

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total F&B Profit (Loss)            1,389.73    69.84%        0.00      0.00%    1,389.73            0.00    0.00%    1,389.73




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                                                                           Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                            P&L - Dual Summary Pages
                                                                                                 As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                          YTD     %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers             0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                0.00              0.00         0.00            0.00           0.00

                                                                                              Restaurant 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers             0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                0.00              0.00         0.00            0.00           0.00

                                                                                              Room Service
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Room Service Covers             0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Room Service Avg Check                0.00              0.00         0.00            0.00           0.00

                                                                                              Banquets
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Banquets Covers                 0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Banquets Avg Check                    0.00              0.00         0.00            0.00           0.00

                                                                                              Catering
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Catering Covers                 0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Catering Avg Check                    0.00              0.00         0.00            0.00           0.00

                                                                                              Restaurant 3
             0.00                0.00          0.00            0.00                   0.00    Breakfast Avg Check                   0.00               0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Lunch Avg Check                       0.00               0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Dinner Avg Check                      0.00               0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Brunch Avg Check                      0.00               0.00        0.00            0.00           0.00
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                                                                           Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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             PTD      %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                          YTD     %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers             0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                0.00              0.00         0.00            0.00           0.00

                                                                                              Restaurant 4
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers             0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                0.00              0.00         0.00            0.00           0.00

                                                                                              Restaurant 5
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers             0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                0.00              0.00         0.00            0.00           0.00

                                                                                              Bar 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 1 Covers                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 1 Avg Check                       0.00              0.00         0.00            0.00           0.00

                                                                                              Bar 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 2 Covers                    0.00              0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 2 Avg Check                       0.00              0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                   0.00    Total Covers                          0.00              0.00         0.00            0.00           0.00




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                                                                                  Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                        As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                              YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Food Admin
                                                                                                     Cost of Sales
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%          0.00    Food Purchases                           151.77   7.63%         0.00     0.00%    151.77            0.00    0.00%    151.77

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Cost of Sales           151.77   7.63%        0.00      0.00%   151.77             0.00    0.00%   151.77

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Non-Management            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Salaries and Wages        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin PR Taxes and Benefits     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Payroll                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Other Expenses            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Expenses                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Departmental Costs                       151.77   7.63%        0.00      0.00%   151.77             0.00    0.00%   151.77




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                          YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%          0.00    Less Adjustments                      0.00     0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Revenue          0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Cost of Sales    0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Other Expenses   0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Expenses         0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Departmental Costs                    0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                    Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                                 YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 1
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 1 Food Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Food Revenue               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 1 Beverage Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Beverage Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Cost of Sales              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 1 Gross Profit                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Management                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Non-Management             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Salaries and Wages         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Worker's Compensation                       448.50    0.00%        0.00       0.00%    448.50            0.00     0.00%    448.50
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       448.50    0.00%         0.00      0.00%    448.50             0.00    0.00%    448.50

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 PR Taxes and Benefits   448.50    0.00%         0.00      0.00%    448.50             0.00    0.00%    448.50

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Payroll                 448.50    0.00%         0.00      0.00%    448.50             0.00    0.00%    448.50

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Other Expenses             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Expenses                448.50    0.00%         0.00      0.00%    448.50             0.00    0.00%    448.50

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 1 Profit (Loss)           -448.50   0.00%         0.00      0.00%    -448.50            0.00    0.00%    -448.50




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 2
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                                          As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Room Service
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                          As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                           YTD     %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                       Banquets
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Banquets Food Revenue                   0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                        0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Food Revenue             0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Banquets Beverage Revenue               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                        0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Beverage Revenue         0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                       Other Revenue
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Public Room Rental                  1,990.00   100.00%         0.00     0.00%    1,990.00            0.00    0.00%    1,990.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Other Revenue        1,990.00   100.00%        0.00      0.00%    1,990.00            0.00    0.00%    1,990.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Revenue              1,990.00   100.00%        0.00      0.00%    1,990.00            0.00    0.00%    1,990.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Cost of Sales            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                        1,990.00   100.00%        0.00      0.00%    1,990.00            0.00    0.00%    1,990.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Management               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Non-Management           0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00                   0.00                0.00            0.00                   0.00    Total Banquets Salaries and Wages       0.00                  0.00                   0.00            0.00                 0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00                   0.00                0.00            0.00                   0.00    Total Banquet Benefits                  0.00                  0.00                   0.00            0.00                 0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Payroll                  0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Other Expenses           0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Expenses                 0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Banquets Profit (Loss)        1,990.00   100.00%        0.00      0.00%    1,990.00            0.00    0.00%    1,990.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                          YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Catering
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Food Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Food Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Beverage Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Beverage Revenue        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Other Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Cost of Sales           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Gross Profit                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Non-Management          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Salaries and Wages      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering PR Taxes and Benefits   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Payroll                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Other Expenses          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Expenses                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Profit (Loss)           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 3
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                          As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 4
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 5
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                          YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 1
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 1 Food Revenue                    0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                     0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Food Revenue              0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 1 Beverage Revenue                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                     0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Beverage Revenue          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Other Revenue             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Revenue                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Cost of Sales             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Non-Management            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Salaries and Wages        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 PR Taxes and Benefits     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Payroll                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Other Expenses            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Expenses                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 1 Profit (Loss)             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                          YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 2
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 2 Food Revenue                    0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                     0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Food Revenue              0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 2 Beverage Revenue                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                     0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Beverage Revenue          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Other Revenue             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Revenue                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Cost of Sales             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expenses
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Non-Management            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Salaries and Wages        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 PR Taxes and Benefits     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Payroll                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Other Expenses            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Expenses                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Profit (Loss)             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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             PTD      %        PTD Budget     %         Variance   PTD Last Year     %           Variance                                           YTD      %        YTD Budget %             Variance   YTD Last Year     %         Variance

                                                                                                            Telephone
             0.00     0.00%         21.92   100.00%      -21.92            1.50    100.00%          -1.50   Local and Long Distance Revenue        39.00   100.00%        219.20   100.00%     -180.20           17.75    100.00%       21.25

             0.00     0.00%        21.92    100.00%      -21.92            1.50    100.00%         -1.50    Telephone Revenue                     39.00    100.00%       219.20 100.00%       -180.20            17.75 100.00%          21.25
             0.00      0.00%        0.00       0.00%       0.00            0.00       0.00%         0.00    Less: Adjustments                      0.00       0.00%        0.00    0.00%         0.00             0.00    0.00%          0.00
             0.00     0.00%        21.92    100.00%      -21.92            1.50    100.00%         -1.50    Total Telephone Revenue               39.00    100.00%       219.20 100.00%       -180.20            17.75 100.00%          21.25

                                                                                                            Cost of Sales
         2,470.28      0.00%        70.00   319.34%     2,400.28          72.80 4,853.33%        2,397.48   Cost of Sales - Local Calls         4,728.15 12,123.46%       700.00 319.34%      4,028.15          693.71 3,908.23%     4,034.44
        -1,183.75      0.00%       836.00 3,813.87%    -2,019.75         836.0755,738.00%       -2,019.82   Cost of Sales - Long Distance       9,270.46 23,770.41%     8,360.003,813.87%       910.46        6,857.0038,630.99%     2,413.46
        1,286.53      0.00%       906.00 4,133.21%       380.53         908.8760,591.33%          377.66    Total Telephone Cost of Sales     13,998.6135,893.87%      9,060.004,133.21%     4,938.61        7,550.71
                                                                                                                                                                                                                    42,539.21%      6,447.90

       -1,286.53      0.00%      -884.08-4,033.21%      -402.45        -907.37
                                                                            -60,491.33%          -379.16    Gross Profit                      -13,959.61
                                                                                                                                                       -35,793.87%     -8,840.80
                                                                                                                                                                              -4,033.21%     -5,118.81      -7,532.96
                                                                                                                                                                                                                   -42,439.21%      -6,426.65

                                                                                                            Other Expenses
         1,232.00      0.00%     1,270.00 5,793.80%       -38.00       1,270.5284,701.33%          -38.52   Internet/Web Expense               11,143.80 28,573.85%    12,700.005,793.80%     -1,556.20      12,500.9370,427.77%     -1,357.13
             0.00      0.00%         0.00     0.00%         0.00         100.00 6,666.67%         -100.00   Miscellaneous Expense                   0.00      0.00%         0.00    0.00%          0.00         951.17 5,358.70%       -951.17
             0.00      0.00%        83.33   380.16%       -83.33           0.00     0.00%            0.00   Operating Supplies                      0.00      0.00%       833.30 380.16%        -833.30         449.12 2,530.25%       -449.12
             0.00      0.00%        83.33   380.16%       -83.33           0.00     0.00%            0.00   Software Expense/Maintenance          220.00    564.10%       833.30 380.16%        -613.30           0.00     0.00%        220.00
        1,232.00      0.00%     1,436.66 6,554.11%      -204.66       1,370.5291,368.00%         -138.52    Total Telephone Other Expenses    11,363.8029,137.95%     14,366.606,554.11%     -3,002.80      13,901.22
                                                                                                                                                                                                                    78,316.73%      -2,537.42

       -2,518.53      0.00%    -2,320.74
                                       -10,587.32%      -197.79      -2,277.89
                                                                           -151,859.33%          -240.64    Total Telephone Profit (Loss)     -25,323.41
                                                                                                                                                       -64,931.82%    -23,207.40
                                                                                                                                                                             -10,587.32%     -2,116.01     -21,434.18
                                                                                                                                                                                                                 -120,755.94%       -3,889.23




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             PTD      %        PTD Budget     %        Variance   PTD Last Year     %           Variance                                              YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                           Minor Operating
                                                                                                           Income
           400.00     13.74%       300.00    19.83%     100.00          250.00     18.02%         150.00   Rental Income - Other                  7,871.39    29.98%     3,000.00    22.85%     4,871.39       4,447.85     30.43%     3,423.54
          400.00     13.74%       300.00    19.83%     100.00          250.00     18.02%         150.00    Total Rental Income                   7,871.39    29.98%     3,000.00    22.85%     4,871.39       4,447.85     30.43%     3,423.54
             0.00     0.00%          0.00    0.00%        0.00            0.00     0.00%            0.00   Total Vending Commission Income            0.00    0.00%          0.00    0.00%          0.00           0.00     0.00%          0.00
           857.38     29.45%       700.00    46.28%     157.38          512.27     36.92%         345.11   Cancellation Fee - Rooms               4,299.26    16.38%     5,000.00    38.09%      -700.74       3,491.24     23.88%       808.02
           198.58      6.82%         0.00     0.00%     198.58            0.00      0.00%         198.58   Cancellation Fee - Other                 198.58     0.76%         0.00     0.00%       198.58           0.00      0.00%       198.58
        1,055.96     36.27%       700.00    46.28%     355.96          512.27     36.92%         543.69    Total Cancellation Fee Income         4,497.84    17.13%     5,000.00    38.09%      -502.16       3,491.24     23.88%     1,006.60
             0.00      0.00%        25.00     1.65%     -25.00            0.00      0.00%           0.00   Guest Laundry                              0.00     0.00%       250.00     1.90%      -250.00         205.41      1.41%      -205.41
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%           0.00   Cash Over/Short                            0.60     0.00%         0.00     0.00%         0.60           0.00      0.00%         0.60
           118.80      4.08%        87.67     5.80%      31.13           44.55      3.21%          74.25   Internet Access                          881.10     3.36%       876.70     6.68%         4.40         519.75      3.56%       361.35
             0.00      0.00%         0.00     0.00%       0.00            0.50      0.04%          -0.50   Other Revenue 2                        1,546.67     5.89%         0.00     0.00%     1,546.67           0.50      0.00%     1,546.17
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%           0.00   Other Revenue 3                           72.00     0.27%         0.00     0.00%        72.00         300.00      2.05%      -228.00
         1,336.71     45.91%       400.00    26.44%     936.71          580.25     41.82%         756.46   Gift Shop Sales                       12,192.81    46.44%     4,000.00    30.47%     8,192.81       5,652.14     38.67%     6,540.67
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%           0.00   Other Revenue 7                         -809.17    -3.08%         0.00     0.00%      -809.17           0.00      0.00%      -809.17
        1,455.51     49.99%       512.67    33.89%     942.84          625.30     45.06%         830.21    Total Other Income                   13,884.01    52.88%     5,126.70    39.06%     8,757.31       6,677.80     45.69%     7,206.21

        2,911.47    100.00%     1,512.67    100.00%   1,398.80       1,387.57     100.00%      1,523.90    Total Minor Operating Income         26,253.24    100.00%   13,126.70 100.00%      13,126.54      14,616.89 100.00%       11,636.35

                                                                                                           Cost of Sales
             0.00      0.00%        17.53     1.16%     -17.53            0.00      0.00%           0.00   Cost of Sales - Internet Access            0.00     0.00%       175.30     1.34%      -175.30           0.00      0.00%         0.00
             0.00      0.00%        17.00     1.12%     -17.00            0.00      0.00%           0.00   Cost of Sales - Guest Laundry              0.00     0.00%       170.00     1.30%      -170.00         205.41      1.41%      -205.41
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%           0.00   Cost of Sales - Cots & Cribs               0.00     0.00%         0.00     0.00%         0.00          94.62      0.65%       -94.62
           868.94     29.85%       260.00    17.19%     608.94          634.01     45.69%         234.93   Cost of Sales - Gift Shop              6,240.92    23.77%     2,600.00    19.81%     3,640.92       3,469.87     23.74%     2,771.05
          868.94     29.85%       294.53    19.47%     574.41          634.01     45.69%         234.93    Total Minor Operated Cost of Sales    6,240.92    23.77%     2,945.30    22.44%     3,295.62       3,769.90     25.79%     2,471.02

        2,042.53     70.15%     1,218.14    80.53%     824.39          753.56     54.31%       1,288.97    Total Minor Operated Profit (Loss)   20,012.32    76.23%    10,181.40    77.56%     9,830.92      10,846.99     74.21%     9,165.33




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                          YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Arcade
                                                                                                     Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Revenue                  0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Non-Management           0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Salaries and Wages       0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade PR Taxes and Benefits    0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Payroll                  0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Other Expenses           0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Expenses                 0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Profit (Loss)            0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Waterpark
                                                                                                     Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget    %        Variance   PTD Last Year    %            Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                         Franchise Fees
         1,277.00     0.56%         0.00    0.00%    1,277.00           0.00     0.00%       1,277.00    Franchise Fees - IT Fees                    10,216.00    0.66%         0.00     0.00%    10,216.00           0.00     0.00%   10,216.00
        13,525.05     5.92%    13,328.35    5.76%      196.70       5,653.00     4.97%       7,872.05    Franchise Fees - Royalty & Licenses        118,795.79    7.64%   111,067.70     6.23%     7,728.09      72,244.25     5.85%   46,551.54
             0.00     0.00%         0.00    0.00%        0.00           0.00     0.00%           0.00    Franchise Fees - Other                         624.23    0.04%         0.00     0.00%       624.23           0.00     0.00%      624.23
           350.00     0.15%         0.00    0.00%      350.00           0.00     0.00%         350.00    Franchise Fees - Reservations-GDS            1,747.32    0.11%         0.00     0.00%     1,747.32           0.00     0.00%    1,747.32
             0.00     0.00%         0.00    0.00%        0.00           0.00     0.00%           0.00    Franchise Fees - Equipment                   3,831.00    0.25%         0.00     0.00%     3,831.00           0.00     0.00%    3,831.00
         5,818.33     2.55%     9,624.72    4.16%   -3,806.39       3,706.13     3.26%       2,112.20    Franchise Fees - Frequent Guest             47,044.67    3.03%    80,204.64     4.50%   -33,159.97      48,699.61     3.94%   -1,654.94
         9,016.70     3.95%     8,539.58    3.69%      477.12       3,768.00     3.31%       5,248.70    Franchise Fees - Marketing Contributions    49,788.24    3.20%    71,161.96     3.99%   -21,373.72      48,162.18     3.90%    1,626.06
           200.00     0.09%         0.00    0.00%      200.00           0.00     0.00%         200.00    Franchise Fees - Reservations-Central        1,656.51    0.11%         0.00     0.00%     1,656.51           0.00     0.00%    1,656.51

       30,187.08     13.22%   31,492.65    13.60%   -1,305.57     13,127.13     11.55%      17,059.95    Total Franchise Fees                       233,703.76   15.04%   262,434.30   14.72%    -28,730.54    169,106.04     13.69%   64,597.72




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             PTD      %        PTD Budget    %          Variance   PTD Last Year    %            Variance                                            YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                            A&G
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         8,516.47      3.73%    12,259.12     5.29%    -3,742.65       5,556.35     4.89%        2,960.12   Management- A&G                     97,265.20     6.26%    119,856.19     6.72%    -22,590.99      87,217.44      7.06%    10,047.76
        8,516.47      3.73%    12,259.12     5.29%    -3,742.65       5,556.35     4.89%        2,960.12    Total A&G Management               97,265.20     6.26%    119,856.19     6.72%    -22,590.99      87,217.44      7.06%    10,047.76
           395.60      0.17%         0.00     0.00%       395.60           0.00     0.00%          395.60   Administrative Assistant            17,656.85     1.14%          0.00     0.00%     17,656.85           0.00      0.00%    17,656.85
          395.60      0.17%          0.00    0.00%       395.60            0.00    0.00%          395.60    Total A&G Non-Management           17,656.85     1.14%           0.00    0.00%     17,656.85            0.00     0.00%    17,656.85
        8,912.07      3.90%    12,259.12     5.29%    -3,347.05       5,556.35     4.89%        3,355.72    Total A&G Salaries and Wages      114,922.05     7.39%    119,856.19     6.72%     -4,934.14      87,217.44      7.06%    27,704.61
                                                                                                            PR Taxes and Benefits
           662.72      0.29%       974.60     0.42%      -311.88         551.42     0.49%          111.30   FICA                                 8,545.76     0.55%      9,557.37     0.54%     -1,011.61       8,161.55      0.66%       384.21
            18.37      0.01%         5.35     0.00%        13.02           0.00     0.00%           18.37   Federal Unemployment Tax               363.72     0.02%        199.14     0.01%        164.58           0.00      0.00%       363.72
            74.61      0.03%        12.74     0.01%        61.87           0.00     0.00%           74.61   State Unemployment Tax               1,067.66     0.07%        606.29     0.03%        461.37           0.00      0.00%     1,067.66
          755.70      0.33%       992.69     0.43%      -236.99         551.42     0.49%          204.28    Total Payroll Taxes                 9,977.14     0.64%     10,362.80     0.58%       -385.66       8,161.55      0.66%     1,815.59
             0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%            0.00   Holiday                                  0.00     0.00%          0.00     0.00%          0.00       2,082.80      0.17%    -2,082.80
             0.00      0.00%       480.78     0.21%      -480.78         100.00     0.09%         -100.00   Vacation                                 0.00     0.00%      5,077.03     0.28%     -5,077.03       7,100.21      0.57%    -7,100.21
             0.00     0.00%       480.78     0.21%      -480.78         100.00     0.09%         -100.00    Total Supplemental Pay                   0.00    0.00%      5,077.03     0.28%     -5,077.03       9,183.01      0.74%    -9,183.01
           637.63      0.28%       618.68     0.27%        18.95         515.00     0.45%          122.63   Worker's Compensation                8,714.47     0.56%      6,126.65     0.34%      2,587.82       6,504.00      0.53%     2,210.47
         1,257.39      0.55%     1,050.00     0.45%       207.39         699.85     0.62%          557.54   Group Insurance                     15,566.09     1.00%     10,150.00     0.57%      5,416.09      14,333.91      1.16%     1,232.18
             0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%            0.00   Bonus and Incentive Pay                  0.00     0.00%          0.00     0.00%          0.00       4,322.81      0.35%    -4,322.81
        1,895.02      0.83%     1,668.68     0.72%       226.34       1,214.85     1.07%          680.17    Total Other Benefits               24,280.56     1.56%     16,276.65     0.91%      8,003.91      25,160.72      2.04%      -880.16
        2,650.72      1.16%     3,142.15     1.36%      -491.43       1,866.27     1.64%          784.45    Total A&G PR Taxes and Benefits    34,257.70     2.20%     31,716.48     1.78%      2,541.22      42,505.28      3.44%    -8,247.58
       11,562.79      5.06%    15,401.27     6.65%    -3,838.48       7,422.62     6.53%        4,140.17    Total A&G Payroll                 149,179.75     9.60%    151,572.67     8.50%     -2,392.92     129,722.72     10.50%    19,457.03
                                                                                                            Other Expenses
         1,000.00      0.44%     1,000.00     0.43%         0.00       2,000.00      1.76%      -1,000.00   Accounting/Audit Fees               12,000.00     0.77%     10,000.00     0.56%     2,000.00       20,000.00      1.62%    -8,000.00
             0.00      0.00%         0.00     0.00%         0.00          89.69      0.08%         -89.69   Bad Debt Provision                   1,367.05     0.09%          0.00     0.00%     1,367.05           57.33      0.00%     1,309.72
           706.22      0.31%     1,075.00     0.46%      -368.78         990.52      0.87%        -284.30   Bank Charges                         6,792.53     0.44%     10,750.00     0.60%    -3,957.47       11,686.91      0.95%    -4,894.38
         2,176.45      0.95%         0.00     0.00%     2,176.45      -3,230.12     -2.84%       5,406.57   Cash Over/Short                      2,812.89     0.18%          0.00     0.00%     2,812.89       -5,949.26     -0.48%     8,762.15
           260.00      0.11%       160.00     0.07%       100.00           0.00      0.00%         260.00   Central Office - IT Fees             3,117.69     0.20%      1,600.00     0.09%     1,517.69            0.00      0.00%     3,117.69
            60.00      0.03%        70.00     0.03%       -10.00           0.00      0.00%          60.00   Communication Expense                  540.00     0.03%        700.00     0.04%      -160.00          217.81      0.02%       322.19
         6,559.96      2.87%     5,557.48     2.40%     1,002.48      -6,206.96     -5.46%      12,766.92   Credit Card Commission              37,897.08     2.44%     42,790.69     2.40%    -4,893.61       27,808.64      2.25%    10,088.44
             0.00      0.00%     1,205.00     0.52%    -1,205.00       1,963.56      1.73%      -1,963.56   Data Processing                          0.00     0.00%     12,050.00     0.68%   -12,050.00       14,242.17      1.15%   -14,242.17
             0.00      0.00%       165.00     0.07%      -165.00         180.00      0.16%        -180.00   Dues and Subscriptions                   0.00     0.00%      1,650.00     0.09%    -1,650.00        1,306.60      0.11%    -1,306.60
         1,162.48      0.51%       100.00     0.04%     1,062.48           0.00      0.00%       1,162.48   Employee Relations                   5,028.51     0.32%      1,000.00     0.06%     4,028.51        1,229.19      0.10%     3,799.32
             0.00      0.00%       175.00     0.08%      -175.00           0.00      0.00%           0.00   Equipment Rental                       530.21     0.03%      1,750.00     0.10%    -1,219.79        1,542.38      0.12%    -1,012.17
            83.08      0.04%       137.67     0.06%       -54.59         163.97      0.14%         -80.89   Licenses/Permits                       689.32     0.04%      1,376.70     0.08%      -687.38        2,294.99      0.19%    -1,605.67
             0.00      0.00%        80.00     0.03%       -80.00           0.00      0.00%           0.00   Meals and Entertainment                742.61     0.05%        800.00     0.04%       -57.39           35.17      0.00%       707.44
             1.24      0.00%         0.00     0.00%         1.24           0.00      0.00%           1.24   Miscellaneous Expense                  286.46     0.02%          0.00     0.00%       286.46            0.00      0.00%       286.46
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Office Equipment                       942.58     0.06%          0.00     0.00%       942.58            0.00      0.00%       942.58
             0.00      0.00%       200.00     0.09%      -200.00         176.80      0.16%        -176.80   Office Supplies                      2,171.07     0.14%      2,000.00     0.11%       171.07        2,504.36      0.20%      -333.29
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Operating Supplies                     218.74     0.01%          0.00     0.00%       218.74            0.00      0.00%       218.74
           297.30      0.13%       300.00     0.13%        -2.70         231.85      0.20%          65.45   Payroll Service Fees                 1,230.92     0.08%      3,000.00     0.17%    -1,769.08        4,018.85      0.33%    -2,787.93
             0.00      0.00%       109.58     0.05%      -109.58           0.00      0.00%           0.00   Postage                                277.88     0.02%      1,095.80     0.06%      -817.92          789.61      0.06%      -511.73
             0.00      0.00%       150.00     0.06%      -150.00           0.00      0.00%           0.00   Professional Fees - Legal            3,495.49     0.22%      1,500.00     0.08%     1,995.49            0.00      0.00%     3,495.49
            90.00      0.04%       500.00     0.22%      -410.00           0.00      0.00%          90.00   Professional Fees - Other           10,889.18     0.70%      5,000.00     0.28%     5,889.18        5,349.00      0.43%     5,540.18
           450.00      0.20%       250.00     0.11%       200.00           0.00      0.00%         450.00   Recruitment Advertising              9,440.00     0.61%      2,500.00     0.14%     6,940.00          921.71      0.07%     8,518.29
             0.00      0.00%         0.00     0.00%         0.00         206.15      0.18%        -206.15   Recruitment - Other                  1,313.90     0.08%          0.00     0.00%     1,313.90        1,204.29      0.10%       109.61
           589.38      0.26%       520.70     0.22%        68.68           0.00      0.00%         589.38   Software Expense/Maintenance        10,546.90     0.68%      6,157.00     0.35%     4,389.90            0.00      0.00%    10,546.90
           850.00      0.37%       100.00     0.04%       750.00           0.00      0.00%         850.00   Training                             2,698.00     0.17%      1,000.00     0.06%     1,698.00          398.54      0.03%     2,299.46
            45.53      0.02%       100.00     0.04%       -54.47           0.00      0.00%          45.53   Travel                               1,262.55     0.08%      1,000.00     0.06%       262.55          738.80      0.06%       523.75
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Uniforms                               250.44     0.02%          0.00     0.00%       250.44            0.00      0.00%       250.44
       14,331.64      6.28%    11,955.43     5.16%     2,376.21      -3,434.54     -3.02%      17,766.18    Total A&G Other Expenses          116,542.00     7.50%    107,720.19     6.04%     8,821.81       90,397.09      7.32%    26,144.91
       25,894.43     11.34%    27,356.70    11.81%    -1,462.27       3,988.08      3.51%      21,906.35    Total A&G Expenses                265,721.75    17.10%    259,292.86    14.54%     6,428.89      220,119.81     17.82%    45,601.94




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                                                                                                        As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                          YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     IT
                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wags
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Management                   0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Non-Management               0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Salaries and Wages           0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT PR Taxes and Benefits        0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Payroll                      0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Cost of Services
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Cost of Services             0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     System Costs
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Systems                      0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Other Expenses               0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total IT Expenses                     0.00     0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                      Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year   %            Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                          S&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00      0.00%     1,317.43    0.57%    -1,317.43       1,056.00     0.93%      -1,056.00   Division Management                11,660.79    0.75%    12,880.39      0.72%     -1,219.60      11,352.12     0.92%       308.67
             0.00     0.00%     1,317.43    0.57%    -1,317.43       1,056.00     0.93%      -1,056.00    Total S&M Management              11,660.79    0.75%    12,880.39      0.72%     -1,219.60      11,352.12     0.92%       308.67
           442.04      0.19%     2,657.14    1.15%    -2,215.10         426.11     0.37%          15.93   Administrative Assistant           22,522.28    1.45%    26,057.13      1.46%     -3,534.85      25,054.29     2.03%    -2,532.01
          442.04      0.19%     2,657.14    1.15%    -2,215.10         426.11     0.37%           15.93   Total S&M Non-Management          22,522.28    1.45%    26,057.13      1.46%     -3,534.85      25,054.29     2.03%    -2,532.01

          442.04      0.19%     3,974.57    1.72%    -3,532.53       1,482.11     1.30%      -1,040.07    Total S&M Salaries and Wages      34,183.07    2.20%    38,937.52      2.18%     -4,754.45      36,406.41     2.95%    -2,223.34

                                                                                                          PR Taxes and Benefits
           32.89       0.01%       308.01    0.13%     -275.12          203.53     0.18%        -170.64   FICA                                2,604.12    0.17%     3,020.47      0.17%      -416.35        3,475.08     0.28%      -870.96
            0.91       0.00%         1.69    0.00%        -0.78           0.00     0.00%           0.91   Federal Unemployment Tax               79.99    0.01%        62.94      0.00%        17.05            0.00     0.00%        79.99
            3.68       0.00%         4.03    0.00%        -0.35           0.00     0.00%           3.68   State Unemployment Tax                229.37    0.01%       191.61      0.01%        37.76            0.00     0.00%       229.37
           37.48      0.02%       313.73    0.14%     -276.25          203.53     0.18%        -166.05    Total Payroll Taxes                2,913.48    0.19%     3,275.02      0.18%      -361.54        3,475.08     0.28%      -561.60
            0.00       0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Holiday                               120.00    0.01%         0.00      0.00%       120.00          508.80     0.04%      -388.80
            0.00       0.00%        51.67    0.02%       -51.67       1,112.62     0.98%      -1,112.62   Vacation                              240.00    0.02%       545.62      0.03%      -305.62        3,756.64     0.30%    -3,516.64
            0.00      0.00%         51.67   0.02%       -51.67       1,112.62     0.98%      -1,112.62    Total Supplemental Pay               360.00    0.02%       545.62      0.03%      -185.62        4,265.44     0.35%    -3,905.44
           20.14       0.01%       195.52    0.08%     -175.38            0.00     0.00%          20.14   Worker's Compensation               2,093.48    0.13%     1,936.23      0.11%       157.25            0.00     0.00%     2,093.48
            0.00       0.00%       420.00    0.18%     -420.00          313.48     0.28%        -313.48   Group Insurance                     3,480.09    0.22%     4,060.00      0.23%      -579.91        3,111.84     0.25%       368.25
            0.00       0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Bonus and Incentive Pay                 0.00    0.00%         0.00      0.00%         0.00        2,577.43     0.21%    -2,577.43
           20.14      0.01%       615.52    0.27%     -595.38          313.48     0.28%        -293.34    Total Other Benefits               5,573.57    0.36%     5,996.23      0.34%      -422.66        5,689.27     0.46%      -115.70
           57.62      0.03%       980.92    0.42%     -923.30        1,629.63     1.43%      -1,572.01    Total S&M PR Taxes and Benefits    8,847.05    0.57%     9,816.87      0.55%      -969.82       13,429.79     1.09%    -4,582.74

          499.66      0.22%     4,955.49    2.14%    -4,455.83       3,111.74     2.74%      -2,612.08    Total S&M Payroll                 43,030.12    2.77%    48,754.39      2.73%     -5,724.27      49,836.20     4.03%    -6,806.08

                                                                                                          Other Expenses
           471.90      0.21%     1,500.00    0.65%   -1,028.10            0.00     0.00%        471.90    Advertising General                 4,145.21    0.27%     1,500.00      0.08%      2,645.21           0.00     0.00%     4,145.21
             0.00      0.00%       690.00    0.30%     -690.00          360.00     0.32%       -360.00    Advertising-Web/Internet            2,336.75    0.15%     9,485.00      0.53%     -7,148.25       5,343.98     0.43%    -3,007.23
         1,500.00      0.66%         0.00    0.00%    1,500.00        1,500.00     1.32%          0.00    Billboards                          1,500.00    0.10%         0.00      0.00%      1,500.00       1,500.00     0.12%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00    Brochures                               0.00    0.00%       400.00      0.02%       -400.00           0.00     0.00%         0.00
         1,669.42      0.73%     1,282.00    0.55%      387.42         -633.94    -0.56%      2,303.36    Dues and Subscriptions             21,279.74    1.37%    21,953.80      1.23%       -674.06       5,307.60     0.43%    15,972.14
             0.00      0.00%        50.00    0.02%      -50.00            0.00     0.00%          0.00    Meals and Entertainment                50.59    0.00%       500.00      0.03%       -449.41          24.43     0.00%        26.16
             0.00      0.00%        30.00    0.01%      -30.00            0.00     0.00%          0.00    Office Supplies                       352.72    0.02%       300.00      0.02%         52.72         274.57     0.02%        78.15
             0.00      0.00%        40.00    0.02%      -40.00            0.00     0.00%          0.00    Postage                                 0.00    0.00%        80.00      0.00%        -80.00           0.00     0.00%         0.00
             0.00      0.00%        60.00    0.03%      -60.00            0.00     0.00%          0.00    Printing and Stationery                 0.00    0.00%       185.00      0.01%       -185.00          65.00     0.01%       -65.00
             0.00      0.00%       110.00    0.05%     -110.00            0.00     0.00%          0.00    Promotions - In-house                  53.99    0.00%     1,100.00      0.06%     -1,046.01         -12.00     0.00%        65.99
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00    Promotion - Outside                   113.86    0.01%         0.00      0.00%        113.86           0.00     0.00%       113.86
            30.39      0.01%         0.00    0.00%       30.39            0.00     0.00%         30.39    Public Relations                       82.89    0.01%         0.00      0.00%         82.89           0.00     0.00%        82.89
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00    Software Expense/Maintenance        5,608.03    0.36%     6,436.00      0.36%       -827.97           0.00     0.00%     5,608.03
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00    Trade Shows                            46.46    0.00%       150.00      0.01%       -103.54           0.00     0.00%        46.46
             0.00      0.00%       750.00    0.32%     -750.00            0.00     0.00%          0.00    Training                              995.00    0.06%     2,250.00      0.13%     -1,255.00         212.27     0.02%       782.73
             0.00      0.00%        50.00    0.02%      -50.00            0.00     0.00%          0.00    Travel                                 72.80    0.00%       500.00      0.03%       -427.20         275.23     0.02%      -202.43
        3,671.71      1.61%     4,562.00    1.97%     -890.29        1,226.06     1.08%      2,445.65     Total S&M Other Expenses          36,638.04    2.36%    44,839.80      2.51%     -8,201.76      12,991.08     1.05%    23,646.96

        4,171.37      1.83%     9,517.49    4.11%    -5,346.12       4,337.80     3.82%       -166.43     Total S&M Expenses                79,668.16    5.13%    93,594.19      5.25%    -13,926.03      62,827.28     5.09%    16,840.88




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             PTD      %        PTD Budget   %          Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                         R&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         3,747.26      1.64%         0.00    0.00%     3,747.26           0.00     0.00%      3,747.26   Division Management                   15,418.49    0.99%         0.00      0.00%     15,418.49      20,106.80     1.63%    -4,688.31
        3,747.26      1.64%          0.00   0.00%     3,747.26            0.00    0.00%      3,747.26    Total R&M Management                 15,418.49    0.99%          0.00     0.00%     15,418.49      20,106.80     1.63%    -4,688.31
           353.95      0.16%     3,100.00    1.34%    -2,746.05           0.00     0.00%        353.95   Engineering Supervisor                17,596.73    1.13%    30,400.00      1.71%    -12,803.27           0.00     0.00%    17,596.73
         2,457.45      1.08%     2,657.14    1.15%      -199.69       3,519.68     3.10%     -1,062.23   Engineers 1                            7,498.75    0.48%    26,057.13      1.46%    -18,558.38       9,867.02     0.80%    -2,368.27
        2,811.40      1.23%     5,757.14    2.49%    -2,945.74       3,519.68     3.10%       -708.28    Total R&M Non-Management             25,095.48    1.61%    56,457.13      3.17%    -31,361.65       9,867.02     0.80%    15,228.46

        6,558.66      2.87%     5,757.14    2.49%      801.52        3,519.68     3.10%      3,038.98    Total R&M Salaries and Wages         40,513.97    2.61%    56,457.13      3.17%    -15,943.16      29,973.82     2.43%    10,540.15

                                                                                                         PR Taxes and Benefits
           487.84      0.21%       440.42    0.19%       47.42          338.22     0.30%        149.62   FICA                                   3,012.47    0.19%     4,380.15      0.25%     -1,367.68       2,894.84     0.23%       117.63
            13.47      0.01%         2.42    0.00%       11.05            0.00     0.00%         13.47   Federal Unemployment Tax                 114.27    0.01%        91.53      0.01%         22.74           0.00     0.00%       114.27
            55.05      0.02%         5.76    0.00%       49.29            0.00     0.00%         55.05   State Unemployment Tax                   366.36    0.02%       278.04      0.02%         88.32           0.00     0.00%       366.36
          556.36      0.24%       448.60    0.19%      107.76          338.22     0.30%        218.14    Total Payroll Taxes                   3,493.10    0.22%     4,749.72      0.27%     -1,256.62       2,894.84     0.23%       598.26
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Holiday                                  140.00    0.01%       800.00      0.04%       -660.00         484.28     0.04%      -344.28
             0.00      0.00%         0.00    0.00%        0.00          100.00     0.09%       -100.00   Vacation                                   0.00    0.00%         0.00      0.00%          0.00       5,513.75     0.45%    -5,513.75
             0.00     0.00%          0.00   0.00%         0.00         100.00     0.09%       -100.00    Total Supplemental Pay                  140.00    0.01%       800.00      0.04%       -660.00       5,998.03     0.49%    -5,858.03
           390.53      0.17%       279.58    0.12%      110.95            0.00     0.00%        390.53   Worker's Compensation                  2,111.15    0.14%     2,807.15      0.16%       -696.00           0.00     0.00%     2,111.15
             0.00      0.00%       420.00    0.18%     -420.00            0.00     0.00%          0.00   Group Insurance                        4,075.08    0.26%     4,060.00      0.23%         15.08       7,429.96     0.60%    -3,354.88
          390.53      0.17%       699.58    0.30%     -309.05             0.00    0.00%        390.53    Total Other Benefits                  6,186.23    0.40%     6,867.15      0.39%       -680.92       7,429.96     0.60%    -1,243.73
          946.89      0.41%     1,148.18    0.50%     -201.29          438.22     0.39%        508.67    Total R&M PR Taxes and Benefits       9,819.33    0.63%    12,416.87      0.70%     -2,597.54      16,322.83     1.32%    -6,503.50

        7,505.55      3.29%     6,905.32    2.98%      600.23        3,957.90     3.48%      3,547.65    Total R&M Payroll                    50,333.30    3.24%    68,874.00      3.86%    -18,540.70      46,296.65     3.75%     4,036.65

                                                                                                         Other Expenses
             0.00      0.00%       110.00    0.05%     -110.00            0.00     0.00%          0.00   Air Conditioning and Refrigeration     4,276.35    0.28%     1,100.00      0.06%      3,176.35         523.45     0.04%     3,752.90
         1,420.32      0.62%       285.00    0.12%    1,135.32          180.13     0.16%      1,240.19   Building                               4,413.73    0.28%     2,850.00      0.16%      1,563.73       1,540.11     0.12%     2,873.62
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Communication Expense                      0.00    0.00%         0.00      0.00%          0.00          30.00     0.00%       -30.00
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Contract Labor                           536.25    0.03%     3,000.00      0.17%     -2,463.75           0.00     0.00%       536.25
           116.40      0.05%       110.00    0.05%        6.40          326.82     0.29%       -210.42   Electric Bulbs                         1,363.18    0.09%     1,100.00      0.06%        263.18         825.23     0.07%       537.95
             0.00      0.00%        66.00    0.03%      -66.00            0.00     0.00%          0.00   Electrical and Mechanical                496.42    0.03%       660.00      0.04%       -163.58         113.41     0.01%       383.01
           535.50      0.23%       400.00    0.17%      135.50            0.00     0.00%        535.50   Elevator Maintenance Contracts         7,019.63    0.45%     4,000.00      0.22%      3,019.63           0.00     0.00%     7,019.63
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Equipment Maintenance                    575.77    0.04%         0.00      0.00%        575.77         593.11     0.05%       -17.34
           802.02      0.35%       250.00    0.11%      552.02            0.00     0.00%        802.02   Fire Safety Equipment                  5,164.20    0.33%     2,500.00      0.14%      2,664.20       3,020.57     0.24%     2,143.63
             0.00      0.00%       100.00    0.04%     -100.00            0.00     0.00%          0.00   Floor and Carpet Maintenance              18.99    0.00%     1,000.00      0.06%       -981.01          50.13     0.00%       -31.14
             0.00      0.00%       150.00    0.06%     -150.00            0.00     0.00%          0.00   Furniture                                477.29    0.03%     1,500.00      0.08%     -1,022.71         460.85     0.04%        16.44
           685.00      0.30%     1,662.00    0.72%     -977.00            0.00     0.00%        685.00   Grounds and Landscaping                6,048.16    0.39%     9,758.00      0.55%     -3,709.84       3,160.39     0.26%     2,887.77
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Kitchen Equipment Repairs                200.00    0.01%         0.00      0.00%        200.00           0.00     0.00%       200.00
             0.00      0.00%        80.00    0.03%      -80.00            0.00     0.00%          0.00   Laundry Equipment Repairs                244.84    0.02%       800.00      0.04%       -555.16         174.58     0.01%        70.26
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Licenses/Permits                         475.00    0.03%         0.00      0.00%        475.00           0.00     0.00%       475.00
             0.00      0.00%        83.00    0.04%      -83.00          124.87     0.11%       -124.87   Locks and Keys                           233.92    0.02%       830.00      0.05%       -596.08         124.87     0.01%       109.05
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Maintenance Contracts                  1,068.07    0.07%         0.00      0.00%      1,068.07           0.00     0.00%     1,068.07
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Miscellaneous Expense                    117.50    0.01%         0.00      0.00%        117.50           0.00     0.00%       117.50
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Operating Supplies                       496.40    0.03%         0.00      0.00%        496.40           0.00     0.00%       496.40
             0.00      0.00%        83.00    0.04%      -83.00            0.00     0.00%          0.00   Painting and Decorating                  534.26    0.03%       830.00      0.05%       -295.74         493.42     0.04%        40.84
           175.00      0.08%       233.00    0.10%      -58.00          124.66     0.11%         50.34   Pest Control                           1,955.90    0.13%     2,330.00      0.13%       -374.10       1,206.79     0.10%       749.11
             0.00      0.00%       200.00    0.09%     -200.00           85.17     0.07%        -85.17   Plumbing and Heating                   3,604.06    0.23%     2,000.00      0.11%      1,604.06       1,220.44     0.10%     2,383.62
           514.74      0.23%       350.00    0.15%      164.74            0.00     0.00%        514.74   Pool Chemicals                         2,332.42    0.15%     2,950.00      0.17%       -617.58           0.00     0.00%     2,332.42
             0.00      0.00%         0.00    0.00%        0.00          118.51     0.10%       -118.51   Pool Service- Contract                 1,557.23    0.10%         0.00      0.00%      1,557.23         138.43     0.01%     1,418.80
             0.00      0.00%        42.00    0.02%      -42.00            0.00     0.00%          0.00   Radio and Television Repair                0.00    0.00%       420.00      0.02%       -420.00           0.00     0.00%         0.00
             0.00      0.00%        42.00    0.02%      -42.00            0.00     0.00%          0.00   Signage                                  316.11    0.02%       420.00      0.02%       -103.89         129.13     0.01%       186.98
             0.00      0.00%       129.00    0.06%     -129.00            0.00     0.00%          0.00   Software Expense/Maintenance               0.00    0.00%     1,790.00      0.10%     -1,790.00           0.00     0.00%         0.00
             0.00      0.00%        25.00    0.01%      -25.00            0.00     0.00%          0.00   Training                                 731.59    0.05%       250.00      0.01%        481.59           0.00     0.00%       731.59
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Travel                                     0.00    0.00%       500.00      0.03%       -500.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Vehicle Maintenance & Repairs            194.99    0.01%         0.00      0.00%        194.99           0.00     0.00%       194.99
           321.07      0.14%       390.00    0.17%      -68.93          181.44     0.16%        139.63   Waste Removal                          3,816.82    0.25%     3,900.00      0.22%        -83.18       2,582.84     0.21%     1,233.98
        4,570.05      2.00%     4,790.00    2.07%     -219.95        1,141.60     1.00%      3,428.45    Total R&M Other Expenses             48,269.08    3.11%    44,488.00      2.50%      3,781.08      16,387.75     1.33%    31,881.33


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                                                                                  Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                   P&L - Dual Summary Pages
                                                                                                        As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                          YTD     %       YTD Budget %             Variance   YTD Last Year   %         Variance

       12,075.60      5.29%   11,695.32    5.05%   380.28        5,099.50     4.49%      6,976.10    Total R&M Expenses                98,602.38    6.34%   113,362.00     6.36%   -14,759.62     62,684.40     5.07%   35,917.98




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                                                                                      Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year   %           Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                         Utilities
         1,851.10      0.81%     4,458.51    1.93%    -2,607.41       1,488.25     1.31%        362.85   Water                              21,875.67    1.41%    37,153.62      2.08%   -15,277.95      22,968.34     1.86%    -1,092.67
         3,885.61      1.70%     6,015.45    2.60%    -2,129.84       3,917.53     3.45%        -31.92   Electricity                        41,491.95    2.67%    50,127.90      2.81%    -8,635.95      41,206.39     3.34%       285.56
         1,017.74      0.45%     1,273.86    0.55%      -256.12         734.65     0.65%        283.09   Gas - Natural HLP                  10,338.70    0.67%    10,615.32      0.60%      -276.62       8,467.31     0.69%     1,871.39
         2,661.23      1.17%         0.00    0.00%     2,661.23           0.00     0.00%      2,661.23   Sewer                              15,566.46    1.00%         0.00      0.00%    15,566.46           0.00     0.00%    15,566.46
        9,415.68      4.12%    11,747.82    5.07%    -2,332.14       6,140.43     5.40%      3,275.25    Total Utilities                   89,272.78    5.74%    97,896.84      5.49%    -8,624.06      72,642.04     5.88%    16,630.74




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                                                                                        Company: RCNC Associates LLC Property: Hampton inn Raleigh Cary
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                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget    %          Variance   PTD Last Year    %            Variance                                          YTD     %        YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                            Fixed
             0.00      0.00%       274.00     0.12%      -274.00         274.04      0.24%        -274.04   Personal Property Taxes            3,077.19     0.20%      2,740.00     0.15%       337.19       2,823.80      0.23%          253.39
         4,781.16      2.09%    10,341.00     4.47%    -5,559.84      10,341.18      9.10%      -5,560.02   Real Estate Taxes                 96,333.84     6.20%    103,410.00     5.80%    -7,076.16     103,411.80      8.37%       -7,077.96
        4,781.16      2.09%    10,615.00     4.58%    -5,833.84      10,615.22      9.34%      -5,834.06    Total Taxes                      99,411.03     6.40%    106,150.00     5.95%    -6,738.97     106,235.60      8.60%       -6,824.57
           337.41      0.15%         0.00     0.00%       337.41       4,610.26      4.06%      -4,272.85   Insurance                          1,012.23     0.07%          0.00     0.00%     1,012.23      45,195.42      3.66%     -44,183.19
            83.83      0.04%         0.00     0.00%        83.83           0.00      0.00%          83.83   Insurance - Crime                    251.49     0.02%          0.00     0.00%       251.49           0.00      0.00%          251.49
           444.17      0.19%       125.00     0.05%       319.17           0.00      0.00%         444.17   Insurance - Employment             1,668.51     0.11%      1,250.00     0.07%       418.51           0.00      0.00%        1,668.51
         1,630.50      0.71%     1,354.50     0.58%       276.00           0.00      0.00%       1,630.50   Insurance - General Liability     15,537.29     1.00%     13,545.00     0.76%     1,992.29           0.00      0.00%       15,537.29
         1,211.42      0.53%     1,211.42     0.52%         0.00           0.00      0.00%       1,211.42   Insurance - Property              12,114.17     0.78%     12,114.20     0.68%        -0.03           0.00      0.00%       12,114.17
         2,412.42      1.06%     2,344.17     1.01%        68.25           0.00      0.00%       2,412.42   Insurance - Umbrella              23,646.42     1.52%     23,441.70     1.31%       204.72           0.00      0.00%       23,646.42
        6,119.75      2.68%     5,035.09     2.17%     1,084.66       4,610.26      4.06%       1,509.49    Total Insurance                  54,230.11     3.49%     50,350.90     2.82%     3,879.21      45,195.42      3.66%        9,034.69
        28,607.00     12.53%    28,607.00    12.35%         0.00      27,773.48     24.43%         833.52   Ground Lease Expense             282,734.00    18.19%    282,734.00    15.86%         0.00     275,307.50     22.29%        7,426.50
       28,607.00     12.53%    28,607.00    12.35%          0.00     27,773.48     24.43%         833.52    Total Leases & Rent             282,734.00    18.19%    282,734.00    15.86%          0.00    275,307.50     22.29%        7,426.50
         9,939.22      4.35%     6,946.85     3.00%     2,992.37       2,840.83      2.50%       7,098.39   Management Fee - Base             59,284.83     3.81%     57,010.48     3.20%     2,274.35      30,869.19      2.50%       28,415.64
             0.00      0.00%         0.00     0.00%         0.00       3,696.05      3.25%      -3,696.05   Management Fee - Incentive             0.00     0.00%          0.00     0.00%         0.00      10,966.50      0.89%     -10,966.50
        9,939.22      4.35%     6,946.85     3.00%     2,992.37       6,536.88      5.75%       3,402.34    Total Management Fees            59,284.83     3.81%     57,010.48     3.20%     2,274.35      41,835.69      3.39%      17,449.14
             0.00      0.00%         0.00     0.00%         0.00      10,875.77      9.57%     -10,875.77   Capital Reserve                   12,425.87     0.80%          0.00     0.00%    12,425.87     108,757.70      8.80%     -96,331.83
             0.00      0.00%         0.00     0.00%         0.00      49,763.00     43.77%     -49,763.00   (Gain)/Loss-Insurance                  0.00     0.00%          0.00     0.00%         0.00     497,630.00     40.28%    -497,630.00
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Owner's Expense                    2,797.17     0.18%          0.00     0.00%     2,797.17      22,889.64      1.85%     -20,092.47
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Non Recurring Cost                 4,779.78     0.31%          0.00     0.00%     4,779.78           0.00      0.00%        4,779.78
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Extraordinary Expense                  0.00     0.00%          0.00     0.00%         0.00       3,548.13      0.29%       -3,548.13
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Prior Owner's Expense            -12,113.74    -0.78%          0.00     0.00%   -12,113.74           0.00      0.00%     -12,113.74
             0.00     0.00%          0.00    0.00%          0.00     60,638.77     53.34%     -60,638.77    Total Other Non-Operating         7,889.08     0.51%           0.00    0.00%     7,889.08     632,825.47     51.23%    -624,936.39




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                                                                                                              P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget      %          Variance   PTD Last Year      %            Variance                                                        YTD      %          YTD Budget %               Variance    YTD Last Year     %              Variance

                                                                                                                Statistics
           164.00                   164.00                   0.00          164.00                        0.00   # Rooms                                            164.00                    164.00                     0.00          164.00                         0.00
         5,084.00                 5,084.00                   0.00        5,084.00                        0.00   Available Rooms                                 49,856.00                 49,856.00                     0.00       50,020.00                      -164.00
         3,077.44                 2,791.00                 286.44        1,684.00                    1,393.44   Room Nights Sold                                25,534.44                 21,630.00                 3,904.44       21,810.00                     3,724.44
          60.53%                   54.90%                  5.63%          33.12%                      27.41%    Occupancy %                                       51.22%                    43.38%                    7.83%          43.60%                        7.61%
           108.12                    81.11                  27.01           78.81                       29.31   ADR                                                 97.05                     76.38                    20.67          100.43                        -3.38
            65.45                    44.53                  20.92           26.10                       39.34   RevPar                                              49.70                     33.14                    16.57           43.79                         5.92

                                                                                                                Summary V.11
                                                                                                                Revenue
       332,728.84    88.43%    226,375.00     86.24%   106,353.84      132,711.12       80.26%     200,017.72   Rooms                                        2,478,041.22    89.63%     1,652,051.00    85.92%    825,990.22     2,190,279.63    87.66%       287,761.59
        31,939.11     8.49%     30,390.00     11.58%     1,549.11       24,752.83       14.97%       7,186.28   F&B                                            187,379.88     6.78%       216,396.00    11.25%    -29,016.12       207,591.20     8.31%       -20,211.32
        11,601.24     3.08%      5,719.71      2.18%     5,881.53        7,881.69        4.77%       3,719.55   Other Departments                               99,335.17     3.59%        54,285.30     2.82%     45,049.87       100,868.45     4.04%        -1,533.28

      376,269.19    100.00%    262,484.71    100.00%   113,784.48     165,345.64      100.00%     210,923.55    Total Operating Revenue                     2,764,756.27    100.00%    1,922,732.30 100.00%      842,023.97    2,498,739.28 100.00%          266,016.99

                                                                                                                Departmental Expenses
        93,040.88    27.96%     62,206.40     27.48%    30,834.48       42,253.45       31.84%      50,787.43   Rooms                                         733,505.32     29.60%      542,012.66     32.81%    191,492.66      559,750.12     25.56%       173,755.20
        29,979.51    93.86%     24,521.88     80.69%     5,457.63       18,174.43       73.42%      11,805.08   F&B                                           239,792.10    127.97%      214,021.85     98.90%     25,770.25      184,045.25     88.66%        55,746.85
         6,815.90    58.75%      2,322.08     40.60%     4,493.82        4,667.14       59.21%       2,148.76   Other Departments                              53,474.30     53.83%       21,421.76     39.46%     32,052.54       44,562.57     44.18%         8,911.73

      129,836.29     34.51%     89,050.36    33.93%     40,785.93      65,095.02       39.37%      64,741.27    Total Departmental Expenses                 1,026,771.72    37.14%      777,456.27     40.43%    249,315.45      788,357.94     31.55%       238,413.78

      246,432.90     65.49%    173,434.35    66.07%     72,998.55     100,250.62       60.63%     146,182.28    Total Departmental Profit                   1,737,984.55    62.86%     1,145,276.03    59.57%    592,708.52    1,710,381.34     68.45%        27,603.21

                                                                                                                Undistributed Operating Expenses
        34,076.24     9.06%     26,550.47     10.12%     7,525.77       12,284.98        7.43%      21,791.26   A&G                                           332,258.20     12.02%      254,228.99     13.22%     78,029.21      332,449.94     13.30%           -191.74
             0.00     0.00%          0.00      0.00%         0.00            0.00        0.00%           0.00   IT                                                -16.92      0.00%            0.00      0.00%        -16.92            0.00      0.00%            -16.92
        16,496.08     4.38%     15,347.77      5.85%     1,148.31       11,762.06        7.11%       4,734.02   S&M                                           129,942.37      4.70%      169,448.27      8.81%    -39,505.90      153,967.15      6.16%        -24,024.78
        43,634.30    11.60%     28,330.80     10.79%    15,303.50       17,033.22       10.30%      26,601.08   Franchise Fees                                343,805.85     12.44%      208,803.16     10.86%    135,002.69      267,377.63     10.70%         76,428.22
        17,733.79     4.71%     13,602.89      5.18%     4,130.90       11,476.10        6.94%       6,257.69   R&M                                           177,320.54      6.41%      143,383.19      7.46%     33,937.35      144,237.91      5.77%         33,082.63
        19,242.37     5.11%     19,146.26      7.29%        96.11       15,135.88        9.15%       4,106.49   Utilities                                     192,804.99      6.97%      148,381.80      7.72%     44,423.19      164,591.72      6.59%         28,213.27

      131,182.78     34.86%    102,978.19    39.23%     28,204.59      67,692.24       40.94%      63,490.54    Total Undistributed Expenses                1,176,115.03    42.54%      924,245.41     48.07%    251,869.62    1,062,624.35     42.53%       113,490.68

      115,250.12     30.63%     70,456.16    26.84%     44,793.96      32,558.38       19.69%      82,691.74    Gross Operating Profit                    561,869.52        20.32%      221,030.62     11.50%    340,838.90      647,756.99     25.92%       -85,887.47
        11,788.08      3.13%      7,874.54     3.00%      3,913.54       7,864.55        4.76%       3,923.53   Management Fees                             87,748.56         3.17%       59,531.71      3.10%     28,216.85       73,443.00      2.94%        14,305.56
      103,462.04     27.50%     62,581.62    23.84%     40,880.42      24,693.83       14.93%      78,768.21    Income Before Non-Operating Income and Expenses
                                                                                                                                                          474,120.96        17.15%      161,498.91      8.40%    312,622.05      574,313.99     22.98%      -100,193.03

                                                                                                                Non-Operating Income and Expenses
         8,694.50      2.31%      7,373.17     2.81%      1,321.33       7,332.14        4.43%       1,362.36   Insurance                                      91,175.81      3.30%       73,731.70      3.83%     17,444.11       71,063.25      2.84%         20,112.56
        61,843.03     16.44%     61,773.00    23.53%         70.03      60,189.47       36.40%       1,653.56   Leases & Rent                                 611,771.31     22.13%      611,214.00     31.79%        557.31      594,953.76     23.81%         16,817.55
             0.00      0.00%          0.00     0.00%          0.00     119,267.95       72.13%    -119,267.95   Other                                          47,676.40      1.72%            0.00      0.00%     47,676.40    1,181,479.46     47.28%     -1,133,803.06
       70,537.53     18.75%     69,146.17    26.34%      1,391.36     186,789.56      112.97%    -116,252.03    Total Non-Operating Income and Expenses      750,623.52     27.15%      684,945.70     35.62%     65,677.82    1,847,496.47     73.94%     -1,096,872.95

       32,924.51      8.75%     -6,564.55    -2.50%     39,489.06    -162,095.73      -98.03%     195,020.24    EBITDA                                       -276,502.56    -10.00%    -523,446.79 -27.22%       246,944.23    -1,273,182.48    -50.95%      996,679.92
             0.00      0.00%          0.00     0.00%          0.00      83,500.00       50.50%     -83,500.00   Interest                                             0.00      0.00%           0.00   0.00%            0.00        833,556.51     33.36%     -833,556.51
        31,927.33      8.49%     31,928.00    12.16%         -0.67      32,193.37       19.47%        -266.04   Taxes                                          319,364.10     11.55%     319,280.00  16.61%           84.10        319,539.34     12.79%         -175.24
             0.00      0.00%          0.00     0.00%          0.00       6,954.00        4.21%      -6,954.00   Amortization                                         0.00      0.00%           0.00   0.00%            0.00         69,540.00      2.78%      -69,540.00
       31,927.33      8.49%     31,928.00    12.16%         -0.67     122,647.37       74.18%     -90,720.04    Interest, Taxes, Depreciation and Amortization319,364.10     11.55%     319,280.00 16.61%             84.10     1,222,635.85     48.93%     -903,271.75

          997.18      0.27%    -38,492.55    -14.66%    39,489.73    -284,743.10 -172.21%         285,740.28    Net Income                                   -595,866.66    -21.55%    -842,726.79 -43.83%       246,860.13    -2,495,818.33    -99.88%    1,899,951.67




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                                                                                  Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %       PTD Budget    %          Variance   PTD Last Year      %            Variance                                             YTD     %         YTD Budget %               Variance   YTD Last Year     %         Variance

                                                                                                             Statistics
           164.00                 164.00                  0.00          164.00                        0.00   # Rooms                                164.00                   164.00                     0.00         164.00                    0.00
         5,084.00               5,084.00                  0.00        5,084.00                        0.00   Available Rooms                     49,856.00                49,856.00                     0.00      50,020.00                 -164.00
         3,077.44               2,791.00                286.44        1,684.00                    1,393.44   Room Nights Sold                    25,534.44                21,630.00                 3,904.44      21,810.00                3,724.44
             0.61                   0.55                  0.06            0.33                        0.27   Occupancy %                              0.51                     0.43                     0.08           0.44                    0.08
           108.12                  81.11                 27.01           78.81                       29.31   ADR                                     97.05                    76.38                    20.67         100.43                   -3.38
            65.45                  44.53                 20.92           26.10                       39.34   RevPar                                  49.70                    33.14                    16.57          43.79                    5.92

                                                                                                             Summary
                                                                                                             Revenue:
       332,728.84    88.43%   226,375.00   86.24%    106,353.84     132,711.12       80.26%     200,017.72   Rooms                             2,478,041.22   89.63%    1,652,051.00    85.92%   825,990.22    2,190,279.63    87.66%    287,761.59
        14,062.23     3.74%    16,445.00    6.27%     -2,382.77      14,964.50        9.05%        -902.27   Food                                 93,035.16    3.37%      131,883.00     6.86%   -38,847.84      114,512.85     4.58%    -21,477.69
         5,602.00     1.49%     7,945.00    3.03%     -2,343.00       1,578.00        0.95%       4,024.00   Beverage                             29,008.61    1.05%       50,663.00     2.63%   -21,654.39       19,386.65     0.78%      9,621.96
        12,274.88     3.26%     6,000.00    2.29%      6,274.88       8,210.33        4.97%       4,064.55   Other F&B Revenue                    65,336.11    2.36%       33,850.00     1.76%    31,486.11       73,691.70     2.95%     -8,355.59
            88.00     0.02%        27.91    0.01%         60.09          32.00        0.02%          56.00   Telephone                               529.00    0.02%          216.30     0.01%       312.70          149.00     0.01%        380.00
        11,513.24     3.06%     5,691.80    2.17%      5,821.44       7,849.69        4.75%       3,663.55   Other                                98,806.17    3.57%       54,069.00     2.81%    44,737.17      100,719.45     4.03%     -1,913.28

       376,269.19   100.00%   262,484.71   100.00%   113,784.48     165,345.64      100.00%     210,923.55   Total Revenue                     2,764,756.27   100.00%   1,922,732.30   100.00%   842,023.97    2,498,739.28    100.00%   266,016.99



                                                                                                             Cost of Sales:
         5,075.34    36.09%     5,433.30   33.04%       -357.96       6,951.36       46.45%      -1,876.02   Food                                47,994.63    51.59%      43,684.02     33.12%      4,310.61      53,803.47    46.98%     -5,808.84
         2,175.06    38.83%     1,906.80   24.00%        268.26         631.96       40.05%       1,543.10   Beverage                            15,781.12    54.40%      12,159.12     24.00%      3,622.00      10,778.46    55.60%      5,002.66
             0.00     0.00%       250.00    4.17%       -250.00           0.00        0.00%           0.00   Other F&B                              811.11     1.24%       1,162.50      3.43%       -351.39       1,733.27     2.35%       -922.16
         1,059.76     9.13%       865.00   15.12%        194.76       1,358.29       17.23%        -298.53   Telephone                           13,468.30    13.56%       8,650.00     15.93%      4,818.30       9,423.92     9.34%      4,044.38
         1,877.91    16.19%       957.08   16.73%        920.83         966.07       12.26%         911.84   Other                               17,554.26    17.67%       7,771.76     14.32%      9,782.50      11,581.31    11.48%      5,972.95

        10,188.07    87.82%     9,412.18   164.56%      775.89        9,907.68      125.71%        280.39    Total Cost of Sales                 95,609.42    96.25%      73,427.40    135.26%    22,182.02       87,320.43    86.57%      8,288.99



                                                                                                             Payroll:
        28,375.17     8.53%    34,385.39   15.19%     -6,010.22      16,909.42       12.74%      11,465.75   Rooms                              212,938.46     8.59%     311,575.96     18.86%    -98,637.50     201,915.61     9.22%     11,022.85
        13,642.42    42.71%    13,582.33   44.69%         60.09       6,871.86       27.76%       6,770.56   F&B                                110,151.55    58.79%     123,673.89     57.15%    -13,522.34      73,085.12    35.21%     37,066.43
             0.00     0.00%         0.00    0.00%          0.00           0.00        0.00%           0.00   Other                                    0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        12,504.82     3.32%    12,462.23    4.75%         42.59       9,512.61        5.75%       2,992.21   A&G                                120,848.30     4.37%     121,598.54      6.32%       -750.24     113,715.23     4.55%      7,133.07
             0.00     0.00%         0.00    0.00%          0.00           0.00        0.00%           0.00   IT                                       0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
        10,219.80     2.72%    10,566.25    4.03%       -346.45       6,857.14        4.15%       3,362.66   S&M                                 77,290.74     2.80%     103,098.79      5.36%    -25,808.05      89,088.19     3.57%    -11,797.45
         8,870.82     2.36%     8,078.96    3.08%        791.86       7,894.19        4.77%         976.63   R&M                                 76,621.76     2.77%      79,019.26      4.11%     -2,397.50      64,415.39     2.58%     12,206.37
        73,613.03    19.56%    79,075.16   30.13%     -5,462.13      48,045.22       29.06%      25,567.81   Total Salaries and Wages           597,850.81    21.62%     738,966.44     38.43%   -141,115.63     542,219.54    21.70%     55,631.27

        14,033.06     3.73%    11,333.51    4.32%      2,699.55      12,940.70        7.83%       1,092.36   Total Taxes and Benefits           166,500.23     6.02%     117,119.26      6.09%     49,380.97     238,848.13     9.56%    -72,347.90
        87,646.09    23.29%    90,408.67   34.44%     -2,762.58      60,985.92       36.88%      26,660.17   Total Labor Costs                  764,351.04    27.65%     856,085.70     44.52%    -91,734.66     781,067.67    31.26%    -16,716.63



                                                                                                             Direct Expenses:
        57,879.09    17.40%    22,875.70   10.11%     35,003.39      22,335.51       16.83%      35,543.58   Rooms                              453,867.47    18.32%     180,429.92     10.92%   273,437.55      289,795.54    13.23%    164,071.93
         7,499.73    23.48%     1,599.15    5.26%      5,900.58       2,092.18        8.45%       5,407.55   F&B                                 33,413.90    17.83%      16,421.91      7.59%    16,991.99       16,672.53     8.03%     16,741.37
         3,878.23    33.43%       500.00    8.74%      3,378.23       2,342.78       29.72%       1,535.45   Telephone                           22,451.74    22.60%       5,000.00      9.21%    17,451.74       23,557.34    23.35%     -1,105.60
             0.00     0.00%         0.00    0.00%          0.00           0.00        0.00%           0.00   Other                                    0.00     0.00%           0.00      0.00%         0.00            0.00     0.00%          0.00
        43,634.30    11.60%    28,330.80   10.79%     15,303.50      17,033.22       10.30%      26,601.08   Franchise Fees                     343,805.85    12.44%     208,803.16     10.86%   135,002.69      267,377.63    10.70%     76,428.22
        19,003.60     5.05%    12,162.79    4.63%      6,840.81      -3,328.09       -2.01%      22,331.69   A&G                                181,062.56     6.55%     111,812.79      5.82%    69,249.77      143,767.85     5.75%     37,294.71
             0.00     0.00%         0.00    0.00%          0.00           0.00        0.00%           0.00   IT                                     -16.92     0.00%           0.00      0.00%       -16.92            0.00     0.00%        -16.92
         4,276.09     1.14%     3,149.00    1.20%      1,127.09       3,548.15        2.15%         727.94   S&M                                 29,460.02     1.07%      48,699.00      2.53%   -19,238.98       18,842.10     0.75%     10,617.92
         7,771.50     2.07%     4,444.00    1.69%      3,327.50       2,734.03        1.65%       5,037.47   R&M                                 86,076.68     3.11%      52,640.00      2.74%    33,436.68       57,989.48     2.32%     28,087.20
        19,242.37     5.11%    19,146.26    7.29%         96.11      15,135.88        9.15%       4,106.49   Utilities                          192,804.99     6.97%     148,381.80      7.72%    44,423.19      164,591.72     6.59%     28,213.27

       163,184.91    43.37%    92,207.70   35.13%     70,977.21      61,893.66       37.43%     101,291.25   Total Direct Expense              1,342,926.29   48.57%     772,188.58     40.16%   570,737.71      982,594.19    39.32%    360,332.10

       115,250.12    30.63%    70,456.16   26.84%     44,793.96      32,558.38       19.69%      82,691.74   Gross Operating Profit             561,869.52    20.32%     221,030.62     11.50%   340,838.90      647,756.99    25.92%    -85,887.47

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                                                                                 Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %       PTD Budget    %         Variance   PTD Last Year      %            Variance                                             YTD     %         YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                            Fixed Costs
        31,927.33     8.49%    31,928.00   12.16%        -0.67      32,193.37       19.47%        -266.04   Taxes                              319,364.10    11.55%     319,280.00     16.61%        84.10     319,539.34    12.79%        -175.24
         8,694.50     2.31%     7,373.17    2.81%     1,321.33       7,332.14        4.43%       1,362.36   Insurance                           91,175.81     3.30%      73,731.70      3.83%    17,444.11      71,063.25     2.84%      20,112.56
        61,843.03    16.44%    61,773.00   23.53%        70.03      60,189.47       36.40%       1,653.56   Leases & Rent                      611,771.31    22.13%     611,214.00     31.79%       557.31     594,953.76    23.81%      16,817.55
        11,788.08     3.13%     7,874.54    3.00%     3,913.54       7,864.55        4.76%       3,923.53   Management Fees                     87,748.56     3.17%      59,531.71      3.10%    28,216.85      73,443.00     2.94%      14,305.56

       114,252.94    30.36%   108,948.71   41.51%     5,304.23     107,579.53       65.06%       6,673.41   Total Fixed Expenses              1,110,059.78   40.15%    1,063,757.41    55.33%    46,302.37   1,058,999.35    42.38%      51,060.43

           997.18     0.27%   -38,492.55   -14.66%   39,489.73     -75,021.15      -45.37%      76,018.33   Net Operating Profit              -548,190.26    -19.83%   -842,726.79    -43.83%   294,536.53    -411,242.36    -16.46%   -136,947.90



             0.00     0.00%         0.00    0.00%         0.00      83,500.00       50.50%     -83,500.00   Interest Expense - Other                  0.00    0.00%            0.00    0.00%          0.00     833,556.51    33.36%    -833,556.51
             0.00     0.00%         0.00    0.00%         0.00           0.00        0.00%           0.00   Owner's Expense                         949.17    0.03%            0.00    0.00%        949.17      12,140.83     0.49%     -11,191.66
             0.00     0.00%         0.00    0.00%         0.00       3,000.00        1.81%      -3,000.00   Extraordinary Expense                     0.00    0.00%            0.00    0.00%          0.00       7,592.07     0.30%      -7,592.07
             0.00     0.00%         0.00    0.00%         0.00           0.00        0.00%           0.00   Prior Owner's Expense                 6,210.97    0.22%            0.00    0.00%      6,210.97           0.00     0.00%       6,210.97
             0.00     0.00%         0.00    0.00%         0.00           0.00        0.00%           0.00   Non Recurring Cost                        0.00    0.00%            0.00    0.00%          0.00        -932.94    -0.04%         932.94



           997.18     0.27%   -38,492.55   -14.66%   39,489.73    -161,521.15      -97.69%     162,518.33   Net Operating Income              -555,350.40    -20.09%   -842,726.79    -43.83%   287,376.39   -1,263,598.83   -50.57%    708,248.43

             0.00     0.00%         0.00    0.00%         0.00      27,078.95       16.38%     -27,078.95   Capital Reserve                     40,516.26     1.47%            0.00    0.00%     40,516.26     270,789.50    10.84%    -230,273.24
             0.00     0.00%         0.00    0.00%         0.00      89,189.00       53.94%     -89,189.00   (Gain)/Loss-Insurance                    0.00     0.00%            0.00    0.00%          0.00     891,890.00    35.69%    -891,890.00

           997.18     0.27%   -38,492.55   -14.66%   39,489.73    -277,789.10     -168.01%     278,786.28   Adjusted NOI                      -595,866.66    -21.55%   -842,726.79    -43.83%   246,860.13   -2,426,278.33   -97.10%   1,830,411.67



             0.00     0.00%         0.00    0.00%         0.00       6,954.00       4.21%       -6,954.00   Amortization                              0.00    0.00%            0.00    0.00%          0.00      69,540.00     2.78%      -69,540.00



           997.18     0.27%   -38,492.55   -14.66%   39,489.73    -284,743.10     -172.21%     285,740.28   Net Profit/(Loss)                 -595,866.66    -21.55%   -842,726.79    -43.83%   246,860.13   -2,495,818.33   -99.88%   1,899,951.67




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                                                                                     Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                              P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget      %          Variance   PTD Last Year      %            Variance                                            YTD     %          YTD Budget %                Variance   YTD Last Year    %           Variance

                                                                                                                Rooms
                                                                                                                Room Revenue
                                                                                                                Transient Room Revenue
        12,712.67     3.82%     17,820.00      7.87%     -5,107.33       1,034.74        0.78%      11,677.93   Corporate Transient                125,073.69     5.05%      67,226.00      4.07%     57,847.69      364,385.30    16.64%   -239,311.61
         3,238.92     0.97%          0.00      0.00%      3,238.92           0.00        0.00%       3,238.92   Advanced Purchase                    3,467.26     0.14%           0.00      0.00%      3,467.26            0.00     0.00%      3,467.26
         6,632.10     1.99%      5,878.00      2.60%        754.10           0.00        0.00%       6,632.10   AAA/AARP Transient                   6,632.10     0.27%      44,666.00      2.70%    -38,033.90            0.00     0.00%      6,632.10
         8,447.30     2.54%     12,595.00      5.56%     -4,147.70           0.00        0.00%       8,447.30   Consortia Transient                 77,087.65     3.11%      62,846.00      3.80%     14,241.65            0.00     0.00%     77,087.65
           875.00     0.26%      1,575.00      0.70%       -700.00           0.00        0.00%         875.00   Employee                            21,371.52     0.86%      15,365.00      0.93%      6,006.52            0.00     0.00%     21,371.52
        33,699.39    10.13%          0.00      0.00%     33,699.39           0.00        0.00%      33,699.39   Leisure Transient                  999,042.04    40.32%           0.00      0.00%    999,042.04            0.00     0.00%    999,042.04
         3,141.95     0.94%      4,119.00      1.82%       -977.05           0.00        0.00%       3,141.95   Travel Agent/Friends & Family       47,046.29     1.90%      48,855.00      2.96%     -1,808.71            0.00     0.00%     47,046.29
           423.00     0.13%          0.00      0.00%        423.00           0.00        0.00%         423.00   Leisure Package Transient              554.00     0.02%           0.00      0.00%        554.00            0.00     0.00%        554.00
        14,476.58     4.35%      3,672.00      1.62%     10,804.58           0.00        0.00%      14,476.58   Member Reward Stay                  38,411.59     1.55%      24,636.00      1.49%     13,775.59            0.00     0.00%     38,411.59
         1,205.00     0.36%     40,789.00     18.02%    -39,584.00      67,095.78       50.56%     -65,890.78   Extended Stay Transient              1,240.00     0.05%     383,989.00     23.24%   -382,749.00      487,386.86    22.25%   -486,146.86
        49,794.11    14.97%     21,250.00      9.39%     28,544.11           0.00        0.00%      49,794.11   Internet/E-Commerce                 51,816.36     2.09%     153,606.00      9.30%   -101,789.64            0.00     0.00%     51,816.36
         4,864.97     1.46%      5,580.00      2.46%       -715.03           0.00        0.00%       4,864.97   E-Commerce Opaque                    4,864.97     0.20%      28,980.00      1.75%    -24,115.03            0.00     0.00%      4,864.97
             0.00     0.00%          0.00      0.00%          0.00           0.00        0.00%           0.00   Other Transient                      2,681.19     0.11%           0.00      0.00%      2,681.19            0.00     0.00%      2,681.19
        90,066.32    27.07%     47,862.00     21.14%     42,204.32      36,038.67       27.16%      54,027.65   Rack Transient                     772,115.19    31.16%     343,604.00     20.80%    428,511.19      604,302.44    27.59%    167,812.75
         4,164.81     1.25%     17,915.00      7.91%    -13,750.19       2,939.40        2.21%       1,225.41   Local Negotiated Transient          25,927.25     1.05%      73,275.00      4.44%    -47,347.75      109,434.10     5.00%    -83,506.85

      233,742.12     70.25%    179,055.00    79.10%     54,687.12     107,108.59       80.71%     126,633.53    Total Transient Room Revenue     2,177,331.10   87.87%    1,247,048.00   75.48%     930,283.10     1,565,508.70    71.48%   611,822.40

                                                                                                                Group Room Revenue
         8,332.83     2.50%     15,480.00      6.84%     -7,147.17      24,531.00       18.48%     -16,198.17   Corporate Group                     12,513.09     0.50%      26,860.00      1.63%    -14,346.91      607,073.01    27.72%   -594,559.92
             0.00     0.00%          0.00      0.00%          0.00           0.00        0.00%           0.00   Government Group                         0.00     0.00%           0.00      0.00%          0.00        7,578.00     0.35%     -7,578.00
             0.00     0.00%          0.00      0.00%          0.00           0.00        0.00%           0.00   Association Group                    3,870.00     0.16%           0.00      0.00%      3,870.00            0.00     0.00%      3,870.00
        88,577.03    26.62%     18,400.00      8.13%     70,177.03           0.00        0.00%      88,577.03   SMERF Group                        258,141.49    10.42%     136,948.00      8.29%    121,193.49            0.00     0.00%    258,141.49
             0.00     0.00%     13,440.00      5.94%    -13,440.00           0.00        0.00%           0.00   Sports Group                           534.00     0.02%     241,195.00     14.60%   -240,661.00            0.00     0.00%        534.00

       96,909.86     29.13%     47,320.00    20.90%     49,589.86      24,531.00       18.48%      72,378.86    Total Group Room Revenue          275,058.58    11.10%     405,003.00    24.52%     -129,944.42     614,651.01     28.06%   -339,592.43

                                                                                                                Contract Room Revenue

             0.00     0.00%          0.00     0.00%          0.00            0.00       0.00%           0.00    Total Contract Room Revenue              0.00    0.00%            0.00     0.00%           0.00            0.00    0.00%           0.00

                                                                                                                Other Room Revenue
         1,775.70     0.53%           0.00     0.00%     1,775.70        1,383.33       1.04%         392.37    No-Show Rooms                       23,150.91     0.93%           0.00     0.00%      23,150.91       12,439.40     0.57%     10,711.51
           450.00     0.14%           0.00     0.00%       450.00            0.00       0.00%         450.00    Early/Late Departure Fees            5,248.60     0.21%           0.00     0.00%       5,248.60            0.00     0.00%      5,248.60
           245.00     0.07%           0.00     0.00%       245.00            0.00       0.00%         245.00    Pet/Smoking/Damage Fees              1,705.01     0.07%           0.00     0.00%       1,705.01            0.00     0.00%      1,705.01

        2,470.70      0.74%          0.00     0.00%      2,470.70       1,383.33        1.04%       1,087.37    Total Other Room Revenue           30,104.52     1.21%            0.00     0.00%     30,104.52       12,439.40     0.57%     17,665.12

          -393.84     -0.12%          0.00     0.00%      -393.84         -311.80       -0.23%         -82.04   Less: Allowances                    -4,452.98    -0.18%           0.00     0.00%       -4,452.98      -2,319.48    -0.11%      -2,133.50

      332,728.84    100.00%    226,375.00    100.00%   106,353.84     132,711.12      100.00%     200,017.72    Total Room Revenue               2,478,041.22   100.00%   1,652,051.00 100.00%      825,990.22     2,190,279.63 100.00%     287,761.59

                                                                                                                Expenses
                                                                                                                Payroll Expense
                                                                                                                Salaries and Wages
             0.00      0.00%          0.00     0.00%          0.00         695.33        0.52%        -695.33   Revenue Management                       0.00     0.00%           0.00      0.00%           0.00       9,732.64     0.44%      -9,732.64
         3,966.23      1.19%      3,806.10     1.68%        160.13       4,094.17        3.09%        -127.94   Housekeeping Management             41,613.42     1.68%      37,211.83      2.25%       4,401.59      36,799.44     1.68%       4,813.98
        3,966.23      1.19%      3,806.10     1.68%        160.13       4,789.50        3.61%        -823.27    Total Rooms Management             41,613.42     1.68%      37,211.83      2.25%       4,401.59      46,532.08     2.12%      -4,918.66
         5,580.75      1.68%      3,985.71     1.76%      1,595.04       2,868.98        2.16%       2,711.77   Front Office Agents                 58,996.53     2.38%      39,085.68      2.37%      19,910.85      27,115.89     1.24%      31,880.64
         3,433.65      1.03%      2,790.00     1.23%        643.65         731.19        0.55%       2,702.46   Front Office Supervisors            11,454.20     0.46%      27,360.00      1.66%     -15,905.80      16,903.99     0.77%      -5,449.79
         4,326.86      1.30%      4,543.71     2.01%       -216.85       3,575.25        2.69%         751.61   Night Auditors                      18,585.76     0.75%      44,557.68      2.70%     -25,971.92      38,104.94     1.74%     -19,519.18
             0.00      0.00%          0.00     0.00%          0.00           0.00        0.00%           0.00   Breakfast Attendant                      0.00     0.00%           0.00      0.00%           0.00       8,386.38     0.38%      -8,386.38
       13,341.26      4.01%     11,319.42     5.00%      2,021.84       7,175.42        5.41%       6,165.84    Total Rooms Front Office           89,036.49     3.59%     111,003.36      6.72%     -21,966.87      90,511.20     4.13%      -1,474.71
         3,418.58      1.03%      1,027.43     0.45%      2,391.15         996.00        0.75%       2,422.58   Housekeeping Supervisors            12,905.93     0.52%      10,075.45      0.61%       2,830.48       8,589.58     0.39%       4,316.35
         4,328.55      1.30%     12,404.44     5.48%     -8,075.89         359.20        0.27%       3,969.35   Room Attendants                     57,196.14     2.31%      96,133.32      5.82%     -38,937.18      17,700.31     0.81%      39,495.83
             0.00      0.00%      3,348.00     1.48%     -3,348.00       2,848.63        2.15%      -2,848.63   Housepersons                             0.00     0.00%      32,832.00      1.99%     -32,832.00      28,531.15     1.30%     -28,531.15
         3,320.55      1.00%      2,480.00     1.10%        840.55         740.67        0.56%       2,579.88   Laundry Attendants                  12,186.48     0.49%      24,320.00      1.47%     -12,133.52      10,051.29     0.46%       2,135.19
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                                                                                   Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget     %         Variance   PTD Last Year      %            Variance                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

       11,067.68      3.33%     19,259.87    8.51%    -8,192.19       4,944.50        3.73%       6,123.18    Total Rooms Housekeeping                82,288.55    3.32%     163,360.77      9.89%    -81,072.22      64,872.33     2.96%     17,416.22

       28,375.17      8.53%     34,385.39    15.19%   -6,010.22      16,909.42       12.74%      11,465.75    Total Rooms Salary and Wages           212,938.46    8.59%     311,575.96    18.86%     -98,637.50     201,915.61     9.22%     11,022.85

                                                                                                              PR Taxes and Benefits
         2,177.62      0.65%      2,642.44    1.17%      -464.82       1,232.25        0.93%         945.37   FICA                                     17,319.54    0.70%      24,006.28      1.45%     -6,686.74      18,818.52     0.86%     -1,498.98
            20.43      0.01%         14.51    0.01%         5.92           0.00        0.00%          20.43   Federal Unemployment Tax                    467.32    0.02%         472.76      0.03%         -5.44           0.00     0.00%        467.32
           101.36      0.03%         93.26    0.04%         8.10           0.00        0.00%         101.36   State Unemployment Tax                    2,576.44    0.10%       3,893.37      0.24%     -1,316.93           0.00     0.00%      2,576.44
        2,299.41      0.69%      2,750.21    1.21%      -450.80       1,232.25        0.93%       1,067.16    Total Payroll Taxes                     20,363.30    0.82%      28,372.41      1.72%     -8,009.11      18,818.52     0.86%      1,544.78
             0.00      0.00%          0.00    0.00%         0.00           0.00        0.00%           0.00   Holiday                                   3,756.40    0.15%         600.00      0.04%      3,156.40       4,366.40     0.20%       -610.00
           485.76      0.15%        149.27    0.07%       336.49         750.56        0.57%        -264.80   Vacation                                  4,905.75    0.20%       1,576.26      0.10%      3,329.49      29,952.15     1.37%    -25,046.40
          485.76      0.15%        149.27    0.07%       336.49         750.56        0.57%        -264.80    Total Supplemental Pay                   8,662.15    0.35%       2,176.26      0.13%      6,485.89      34,318.55     1.57%    -25,656.40
         1,786.34      0.54%      1,084.03    0.48%       702.31           0.00        0.00%       1,786.34   Worker's Compensation                    15,033.68    0.61%      10,160.71      0.62%      4,872.97           0.00     0.00%     15,033.68
         2,215.11      0.67%        961.80    0.42%     1,253.31       1,025.71        0.77%       1,189.40   Group Insurance                          22,640.26    0.91%       9,297.40      0.56%     13,342.86      14,901.90     0.68%      7,738.36
        4,001.45      1.20%      2,045.83    0.90%     1,955.62       1,025.71        0.77%       2,975.74    Total Other Benefits                    37,673.94    1.52%      19,458.11      1.18%     18,215.83      14,901.90     0.68%     22,772.04

        6,786.62      2.04%      4,945.31    2.18%     1,841.31       3,008.52        2.27%       3,778.10    Total Rooms PR Taxes and Benefits       66,699.39    2.69%      50,006.78      3.03%     16,692.61      68,038.97     3.11%     -1,339.58

       35,161.79     10.57%     39,330.70    17.37%   -4,168.91      19,917.94       15.01%      15,243.85    Total Rooms Labor Costs                279,637.85    11.28%    361,582.74    21.89%     -81,944.89     269,954.58     12.33%     9,683.27

                                                                                                              Other Expenses
         6,325.88     1.90%      1,116.40     0.49%    5,209.48            0.00       0.00%        6,325.88   Breakfast /Comp Cost                     33,248.84    1.34%       8,652.00     0.52%     24,596.84       17,054.52     0.78%    16,194.32
         1,124.20     0.34%      1,814.15     0.80%     -689.95        1,177.31       0.89%          -53.11   Cleaning Supplies                        15,097.13    0.61%      14,059.50     0.85%      1,037.63       11,329.66     0.52%     3,767.47
        33,108.73     9.95%          0.00     0.00%   33,108.73       10,750.91       8.10%       22,357.82   Contract Labor                          225,823.96    9.11%           0.00     0.00%    225,823.96      125,264.76     5.72%   100,559.20
            85.64     0.03%         90.00     0.04%       -4.36            0.00       0.00%           85.64   Dues and Subscriptions                      256.92    0.01%         900.00     0.05%       -643.08            0.00     0.00%       256.92
             0.00     0.00%          0.00     0.00%        0.00            0.00       0.00%            0.00   Guest Loss/Damage                            21.54    0.00%           0.00     0.00%         21.54            0.00     0.00%        21.54
         1,301.05     0.39%      3,349.20     1.48%   -2,048.15        1,896.06       1.43%         -595.01   Guest Supplies                           28,050.71    1.13%      25,956.00     1.57%      2,094.71       19,809.71     0.90%     8,241.00
             0.00     0.00%          0.00     0.00%        0.00            0.00       0.00%            0.00   In-House Entertainment                      599.48    0.02%           0.00     0.00%        599.48            0.00     0.00%       599.48
             0.00     0.00%      1,587.00     0.70%   -1,587.00          574.00       0.43%         -574.00   Internet/Web Expense                          0.00    0.00%      15,870.00     0.96%    -15,870.00        5,792.52     0.26%    -5,792.52
           739.39     0.22%      1,255.95     0.55%     -516.56           18.48       0.01%          720.91   Laundry                                   7,314.58    0.30%       9,733.50     0.59%     -2,418.92        1,432.99     0.07%     5,881.59
         3,948.76     1.19%      1,395.50     0.62%    2,553.26        1,147.92       0.86%        2,800.84   Linen                                    24,366.66    0.98%      10,815.00     0.65%     13,551.66       11,403.29     0.52%    12,963.37
             0.00     0.00%          0.00     0.00%        0.00            0.00       0.00%            0.00   Newspaper                                     0.00    0.00%           0.00     0.00%          0.00        1,368.94     0.06%    -1,368.94
           575.22     0.17%        125.00     0.06%      450.22          396.26       0.30%          178.96   Operating Supplies                        8,618.49    0.35%       1,250.00     0.08%      7,368.49        4,747.84     0.22%     3,870.65
             0.00     0.00%          0.00     0.00%        0.00          627.37       0.47%         -627.37   Reservation Expense                       1,324.08    0.05%           0.00     0.00%      1,324.08        5,442.35     0.25%    -4,118.27
           896.54     0.27%      1,395.50     0.62%     -498.96        1,794.00       1.35%         -897.46   Rooms Promotion                          15,133.97    0.61%      10,815.00     0.65%      4,318.97       12,585.76     0.57%     2,548.21
             0.00     0.00%          0.00     0.00%        0.00            0.00       0.00%            0.00   Software Expense/Maintenance                 77.50    0.00%           0.00     0.00%         77.50            0.00     0.00%        77.50
         2,020.23     0.61%      1,895.00     0.84%      125.23        1,891.40       1.43%          128.83   Television Cable                         19,590.93    0.79%      18,950.00     1.15%        640.93       17,371.59     0.79%     2,219.34
            80.00     0.02%        300.00     0.13%     -220.00            0.00       0.00%           80.00   Transportation                              205.00    0.01%       3,000.00     0.18%     -2,795.00          -80.00     0.00%       285.00
             0.00     0.00%        946.40     0.42%     -946.40            0.00       0.00%            0.00   Travel Agent Comm - Group Rooms           7,346.31    0.30%       8,100.06     0.49%       -753.75            0.00     0.00%     7,346.31
         7,673.45     2.31%      7,605.60     3.36%       67.85        2,061.80       1.55%        5,611.65   Travel Agent Comm - Transient Rooms      66,791.37    2.70%      52,328.86     3.17%     14,462.51       56,192.20     2.57%    10,599.17
             0.00     0.00%          0.00     0.00%        0.00            0.00       0.00%            0.00   Uniforms                                      0.00    0.00%           0.00     0.00%          0.00           79.41     0.00%       -79.41

       57,879.09     17.40%     22,875.70    10.11%   35,003.39      22,335.51       16.83%      35,543.58    Total Rooms Other Expenses             453,867.47    18.32%    180,429.92    10.92%     273,437.55     289,795.54     13.23%   164,071.93

       93,040.88     27.96%     62,206.40    27.48%   30,834.48      42,253.45       31.84%      50,787.43    Total Rooms Expenses                   733,505.32    29.60%    542,012.66    32.81%     191,492.66     559,750.12     25.56%   173,755.20

      239,687.96     72.04%    164,168.60    72.52%   75,519.36      90,457.67       68.16%     149,230.29    Total Rooms Profit (Loss)             1,744,535.90   70.40%   1,110,038.34   67.19%     634,497.56    1,630,529.51    74.44%   114,006.39




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                                                                       Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                P&L - Dual Summary Pages
                                                                                                     As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year      %            Variance                                                     YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                                  Room Sale Stats
                                                                                                  Tranisent Rooms
           113.00              180.00         -67.00          11.00                     102.00    Room Stat - Corporate Transient               1,162.00           720.00        442.00        2,269.00        -1,107.00
            88.44                0.00          88.44           0.00                      88.44    Room Stat - Advanced Purchase                   187.44             0.00        187.44            0.00           187.44
            55.00               80.00         -25.00           0.00                      55.00    Room Stat - AAA/AARP Transient                   55.00           618.00       -563.00            0.00            55.00
            69.00              120.00         -51.00           0.00                      69.00    Room Stat - Consortia Rate Transient            643.00           667.00        -24.00            0.00           643.00
            26.00               45.00         -19.00           0.00                      26.00    Room Stat - Employee                            687.00           439.00        248.00            0.00           687.00
           306.00                0.00        306.00            0.00                     306.00    Room Stat - Leisure Transient                10,578.00             0.00     10,578.00            0.00        10,578.00
             4.00                0.00           4.00           0.00                       4.00    Room Stat - Package Transient                     5.00             0.00          5.00            0.00             5.00
            43.00               76.00         -33.00           0.00                      43.00    Room Stat - Travel Agent/Friends & Family       728.00           922.00       -194.00            0.00           728.00
           167.00              111.00          56.00           0.00                     167.00    Room Stat - Member Reward Stay                  972.00           750.00        222.00            0.00           972.00
             9.00              513.00       -504.00          921.00                    -912.00    Room Stat - Extended Stay Transient               9.00         5,464.00     -5,455.00        6,208.00        -6,199.00
           475.00              310.00        165.00            0.00                     475.00    Room Stat - Internet                            502.00         2,326.00     -1,824.00            0.00           502.00
            66.00               93.00         -27.00           0.00                      66.00    Room Stat - E-Commerce Opaque                    66.00           485.00       -419.00            0.00            66.00
             0.00                0.00           0.00           0.00                       0.00    Room Stat - Government Rate Transient             5.00             0.00          5.00           66.00           -61.00
           782.00              558.00        224.00          409.00                     373.00    Room Stat - Rack Rate Transient               6,940.00         3,812.00      3,128.00        4,720.00         2,220.00
            40.00              205.00       -165.00           43.00                      -3.00    Room Stat - Local Negotiated Transient          393.00           940.00       -547.00          799.00          -406.00
        2,243.44            2,291.00         -47.56       1,384.00                     859.44     Total Transient Rooms Sold                  22,932.44        17,143.00      5,789.44       14,062.00         8,870.44

                                                                                                  Group Rooms
            75.00              120.00        -45.00          300.00                    -225.00    Room Stat - Corporate Group Rooms               148.00           230.00         -82.00       7,748.00         -7,600.00
           759.00              220.00        539.00            0.00                     759.00    Room Stat - SMERF Group                       2,448.00         1,652.00         796.00           0.00          2,448.00
             0.00              160.00       -160.00            0.00                       0.00    Room Stat - Sports Group                          6.00         2,605.00      -2,599.00           0.00              6.00
          834.00              500.00        334.00          300.00                     534.00     Total Group Rooms Sold                       2,602.00         4,487.00      -1,885.00       7,748.00         -5,146.00

                                                                                                  Contract Rooms
             0.00               0.00           0.00            0.00                       0.00    Total Contract Rooms Sold                        0.00             0.00           0.00            0.00             0.00

        3,077.44            2,791.00        286.44        1,684.00                    1,393.44    Total Rooms Sold                            25,534.44        21,630.00      3,904.44       21,810.00         3,724.44
            29.00               0.00          29.00           30.00                       -1.00   Room Stat-Comp Rooms                            378.00            0.00         378.00          132.00           246.00
        3,106.44            2,791.00        315.44        1,714.00                    1,392.44    Total Rooms Occupied                        25,912.44        21,630.00      4,282.44       21,942.00         3,970.44
           883.00               0.00         883.00          225.00                      658.00   Room Stat-Out of Order                        4,229.00            0.00       4,229.00        1,316.00         2,913.00

                                                                                                  ADR
           112.50              99.00          13.50           94.07                      18.43    Corporate Transient ADR                        107.64            93.37          14.27          160.59            -52.96
            36.62               0.00          36.62            0.00                      36.62    Advanced Purchase ADR                           18.50             0.00          18.50            0.00             18.50
           120.58              73.48          47.11            0.00                     120.58    AAA/AARP ADR                                   120.58            72.28          48.31            0.00           120.58
             0.00               0.00            0.00           0.00                       0.00    FIT ADR                                          0.00             0.00           0.00            0.00              0.00
           122.42             104.96          17.47            0.00                     122.42    Consortia ADR                                  119.89            94.22          25.67            0.00           119.89
            33.65              35.00           -1.35           0.00                      33.65    Employee ADR                                    31.11            35.00          -3.89            0.00             31.11
           110.13               0.00         110.13            0.00                     110.13    Leisure ADR                                     94.45             0.00          94.45            0.00             94.45
            73.07              54.20          18.87            0.00                      73.07    Travel Agent/Friends & Family ADR               64.62            52.99          11.64            0.00             64.62
             1.38               0.00            1.38           0.00                       1.38    Leisure Package ADR                              0.05             0.00           0.05            0.00              0.05
            86.69              33.08          53.61            0.00                      86.69    Member Reward Stay ADR                          39.52            32.85           6.67            0.00             39.52
             0.00               0.00            0.00           0.00                       0.00    Golf Pkg ADR                                     0.00             0.00           0.00            0.00              0.00
           133.89              79.51          54.38           72.85                      61.04    Extended Stay ADR                              137.78            70.28          67.50           78.51             59.27
           104.83              68.55          36.28            0.00                     104.83    Internet ADR                                   103.22            66.04          37.18            0.00           103.22
            73.71              60.00          13.71            0.00                      73.71    E-Commerce Opaque ADR                           73.71            59.75          13.96            0.00             73.71
             0.00               0.00            0.00           0.00                       0.00    Other Transient ADR                              0.00             0.00           0.00            0.00              0.00
             0.00               0.00            0.00           0.00                       0.00    Airline Distressed Passenger ADR                 0.00             0.00           0.00            0.00              0.00
             0.00               0.00            0.00           0.00                       0.00    Government ADR                                   0.00             0.00           0.00            0.00              0.00
           115.17              85.77          29.40           88.11                      27.06    Rack ADR                                       111.26            90.14          21.12          128.03            -16.77
           104.12              87.39          16.73           68.36                      35.76    Local Negotiated ADR                            65.97            77.95         -11.98          136.96            -70.99
          104.19               78.16          26.03           77.39                      26.80    Total Transient ADR                             94.95            72.74         22.20          111.33            -16.38

           111.10             129.00         -17.90           81.77                      29.33    Corporate Group ADR                             84.55           116.78         -32.23           78.35             6.20
             0.00               0.00           0.00            0.00                       0.00    Leisure Group ADR                                0.00             0.00           0.00            0.00             0.00
             0.00               0.00           0.00            0.00                       0.00    Government Group ADR                             0.00             0.00           0.00            0.00             0.00
             0.00               0.00           0.00            0.00                       0.00    Tour & Travel Group ADR                          0.00             0.00           0.00            0.00             0.00
             0.00               0.00           0.00            0.00                       0.00    Association Group ADR                            0.00             0.00           0.00            0.00             0.00
             0.00               0.00           0.00            0.00                       0.00    City Wide Group ADR                              0.00             0.00           0.00            0.00             0.00
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                                                                       Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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             PTD      %    PTD Budget   %   Variance   PTD Last Year      %            Variance                                            YTD    %       YTD Budget %   Variance   YTD Last Year   %   Variance

           116.70              83.64          33.07            0.00                     116.70    SMERF Group ADR                        105.45               82.90        22.55            0.00         105.45
             0.00              84.00         -84.00            0.00                       0.00    Sports Group ADR                        89.00               92.59         -3.59           0.00          89.00
             0.00               0.00           0.00            0.00                       0.00    Other Group ADR                          0.00                0.00          0.00           0.00           0.00
          116.20               94.64         21.56            81.77                      34.43    Total Group ADR                       105.71                90.26        15.45           79.33          26.38

             0.00               0.00           0.00            0.00                       0.00    Airline Crew ADR                        0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Other Contract ADR                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Contract ADR                      0.00                 0.00         0.00            0.00           0.00

          108.12               81.11          27.01           78.81                      29.31    Total ADR                              97.05                76.38        20.67         100.43           -3.38




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                                                                                   Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget     %         Variance   PTD Last Year      %            Variance                                                  YTD      %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                              F&B Summary
                                                                                                              Revenue
         8,316.98     26.04%     8,545.00     28.12%     -228.02           0.00        0.00%       8,316.98   Outlet Food Revenue                       48,853.79     26.07%     74,073.00  34.23%      -25,219.21       4,298.90   2.07%        44,554.89
         5,745.25     17.99%     7,900.00     26.00%   -2,154.75      14,964.50       60.46%      -9,219.25   Banquet and Catering Food Revenue         44,181.37     23.58%     57,810.00  26.71%      -13,628.63     110,213.95  53.09%       -66,032.58
         2,916.00      9.13%     6,445.00     21.21%   -3,529.00           0.00        0.00%       2,916.00   Outlet Beverage Revenue                   23,140.61     12.35%     43,913.00  20.29%      -20,772.39           0.00   0.00%        23,140.61
         2,686.00      8.41%     1,500.00      4.94%    1,186.00       1,578.00        6.38%       1,108.00   Banquet and Catering Beverage Revenue      5,868.00      3.13%      6,750.00   3.12%         -882.00      19,386.65   9.34%       -13,518.65
             0.00      0.00%         0.00      0.00%        0.00           0.00        0.00%           0.00   Outlet Other Revenue                           0.00      0.00%          0.00   0.00%            0.00         456.00   0.22%          -456.00
        12,274.88     38.43%     6,000.00     19.74%    6,274.88       8,210.33       33.17%       4,064.55   Banquet and Catering Other Revenue        65,336.11     34.87%     33,850.00  15.64%       31,486.11      73,235.70  35.28%        -7,899.59
       31,939.11    100.00%    30,390.00    100.00%    1,549.11      24,752.83      100.00%       7,186.28    Total F&B Revenue                       187,379.88    100.00%    216,396.00 100.00%      -29,016.12     207,591.20 100.00%       -20,211.32

                                                                                                              Cost of Sales
         5,075.34     15.89%     5,433.30     17.88%     -357.96       6,951.36       28.08%      -1,876.02   Food Purchases                            47,994.63     25.61%     43,684.02    20.19%      4,310.61      53,803.47     25.92%     -5,808.84
         2,175.06      6.81%     1,906.80      6.27%      268.26         631.96        2.55%       1,543.10   Beverage Purchases                        15,781.12      8.42%     12,159.12     5.62%      3,622.00      10,778.46      5.19%      5,002.66
             0.00      0.00%         0.00      0.00%        0.00           0.00        0.00%           0.00   Cedit Employee Meals                           0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%        0.00           0.00        0.00%           0.00   Credit House Charges                           0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%        0.00           0.00        0.00%           0.00   Credit In-House Promotions                     0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%       250.00      0.82%     -250.00           0.00        0.00%           0.00   Audio Visual Cost of Sales                   811.11      0.43%      1,162.50     0.54%       -351.39       1,733.27      0.83%       -922.16
             0.00      0.00%         0.00      0.00%        0.00           0.00        0.00%           0.00   Other Cost of Sales                            0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00
        7,250.40     22.70%     7,590.10     24.98%     -339.70       7,583.32       30.64%        -332.92    Total F&B Cost of Sales                  64,586.86     34.47%     57,005.64    26.34%      7,581.22      66,315.20     31.95%     -1,728.34

       24,688.71     77.30%    22,799.90     75.02%    1,888.81      17,169.51       69.36%       7,519.20    F&B Gross Profit                        122,793.02     65.53%    159,390.36    73.66%    -36,597.34     141,276.00     68.05%    -18,482.98

                                                                                                              Expenses
                                                                                                              Payroll
                                                                                                              Salaries and Wages
         3,547.52     11.11%         0.00      0.00%    3,547.52       2,480.08       10.02%       1,067.44   Management                                14,562.99      7.77%          0.00     0.00%     14,562.99      13,168.01      6.34%     1,394.98
        10,094.90     31.61%    13,582.33     44.69%   -3,487.43       4,391.78       17.74%       5,703.12   Non-Management                            95,588.56     51.01%    123,673.89    57.15%    -28,085.33      59,917.11     28.86%    35,671.45
       13,642.42     42.71%    13,582.33     44.69%        60.09      6,871.86       27.76%       6,770.56    Total F&B Salaries and Wages            110,151.55     58.79%    123,673.89    57.15%    -13,522.34      73,085.12     35.21%    37,066.43
                                                                                                              PR Taxes and Benefits
         1,146.86      3.59%     1,324.05      4.36%     -177.19         565.02        2.28%        581.84    Payroll Taxes                             12,259.86      6.54%     12,939.87     5.98%      -680.01        9,716.58      4.68%      2,543.28
             0.00      0.00%         0.00      0.00%        0.00           0.00        0.00%          0.00    Supplemental Pay                           9,780.83      5.22%          0.00     0.00%     9,780.83       11,213.91      5.40%     -1,433.08
           440.10      1.38%       426.25      1.40%       13.85       1,062.05        4.29%       -621.95    Other Benefits                             9,599.10      5.12%      3,980.54     1.84%     5,618.56        7,041.91      3.39%      2,557.19
        1,586.96      4.97%     1,750.30      5.76%     -163.34       1,627.07        6.57%         -40.11    Total F&B PR Taxes and Benefits          31,639.79     16.89%     16,920.41     7.82%    14,719.38       27,972.40     13.47%      3,667.39

       15,229.38     47.68%    15,332.63     50.45%     -103.25       8,498.93       34.34%       6,730.45    Total F&B Payroll                       141,791.34     75.67%    140,594.30    64.97%      1,197.04     101,057.52     48.68%    40,733.82

                                                                                                              Other Expenses
             0.00     0.00%       134.15      0.44%     -134.15            0.00       0.00%            0.00   Audio Visual Supplies                          0.00     0.00%       1,071.91    0.50%     -1,071.91            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Banquet Expense                                0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Bar Expense/Promos                             0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Bar Supplies                                   0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
           137.52     0.43%        50.00      0.16%       87.52            0.00       0.00%          137.52   China                                        796.59     0.43%         400.00    0.18%        396.59          346.64     0.17%        449.95
            79.21     0.25%       200.00      0.66%     -120.79          466.41       1.88%         -387.20   Cleaning Supplies                          3,708.67     1.98%       2,000.00    0.92%      1,708.67        3,099.61     1.49%        609.06
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Communication Expense                          0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
           325.60     1.02%       270.00      0.89%       55.60          370.00       1.49%          -44.40   Contract Cleaning                            910.20     0.49%       2,700.00    1.25%     -1,789.80          994.00     0.48%        -83.80
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Contract Labor                                 0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Decorations & Plants                           0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Dues and Subscriptions                         0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
           286.44     0.90%       275.00      0.90%       11.44           80.06       0.32%          206.38   Equipment Rental                           2,908.88     1.55%       2,750.00    1.27%        158.88        1,925.96     0.93%        982.92
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Food and Beverage Advertising                  0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
            60.82     0.19%        50.00      0.16%       10.82            0.00       0.00%           60.82   Glassware                                    464.02     0.25%         400.00    0.18%         64.02            0.00     0.00%        464.02
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Guest Loss/Damage                            296.31     0.16%           0.00    0.00%        296.31            0.00     0.00%        296.31
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Guest Supplies                                 0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   In-House Entertainment                         0.00     0.00%           0.00    0.00%          0.00          574.25     0.28%       -574.25
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Kitchen/Cooking Fuel                           0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Kitchen Equipment                              0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Laundry - Outside Expense                      0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Laundry Allocation                             0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
         5,453.96    17.08%         0.00      0.00%    5,453.96          503.96       2.04%        4,950.00   Licenses/Permits                          15,089.60     8.05%       1,000.00    0.46%     14,089.60        6,370.60     3.07%      8,719.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Linen                                          0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%            0.00   Linen Rental                                   0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
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             PTD      %        PTD Budget    %        Variance   PTD Last Year      %            Variance                                            YTD     %        YTD Budget %              Variance   YTD Last Year    %         Variance

             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Maintenance Contracts                    0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Meals and Entertainment                  0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Menus                                   76.51     0.04%          0.00     0.00%        76.51           0.00     0.00%        76.51
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Miscellaneous Expense                    0.00     0.00%          0.00     0.00%         0.00         169.10     0.08%      -169.10
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Music and Entertainment                  0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Office Equipment                         0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Office Supplies                          0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Operating Supplies                       0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
         1,156.18      3.62%       495.00    1.63%      661.18         590.89        2.39%         565.29   Paper/Plastic Supplies               8,206.50     4.38%      4,950.00     2.29%     3,256.50       2,363.10     1.14%     5,843.40
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Printing and Stationery                  0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        50.00    0.16%      -50.00           0.00        0.00%           0.00   Silverware                             297.75     0.16%        400.00     0.18%      -102.25         152.09     0.07%       145.66
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Software Expense/Maintenance           232.50     0.12%          0.00     0.00%       232.50           0.00     0.00%       232.50
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Television Cable                         0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Training                                 0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Travel                                   0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Uniforms                               172.19     0.09%          0.00     0.00%       172.19           0.00     0.00%       172.19
             0.00      0.00%        75.00    0.25%      -75.00          80.86        0.33%         -80.86   Utensils                               254.18     0.14%        750.00     0.35%      -495.82         677.18     0.33%      -423.00
        7,499.73     23.48%     1,599.15    5.26%    5,900.58       2,092.18        8.45%       5,407.55    Total F&B Other Expenses           33,413.90    17.83%     16,421.91     7.59%    16,991.99      16,672.53     8.03%    16,741.37

       22,729.11     71.16%    16,931.78    55.71%   5,797.33      10,591.11       42.79%      12,138.00    Total F&B Expenses                175,205.24    93.50%    157,016.21    72.56%    18,189.03     117,730.05     56.71%   57,475.19

        1,959.60      6.14%     5,868.12    19.31%   -3,908.52      6,578.40       26.58%      -4,618.80    Total F&B Profit (Loss)           -52,412.22    -27.97%     2,374.15     1.10%    -54,786.37     23,545.95     11.34%   -75,958.17




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             PTD      %    PTD Budget   %   Variance   PTD Last Year      %            Variance                                            YTD    %       YTD Budget %   Variance   YTD Last Year   %     Variance

                                                                                                   F&B Stats
                                                                                                   Restaurant 1
             0.00               0.00           0.00          397.00                     -397.00    Food Stat- Food-Breakfast             627.00                0.00       627.00        2,670.00         -2,043.00
             0.00               0.00           0.00            0.00                        0.00    Breakfast Avg Check                    69.80                0.00        69.80            0.00             69.80
             0.00               0.00           0.00            0.00                        0.00    Lunch Avg Check                         0.00                0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                        0.00    Food Stat- Food-Dinner                  0.00                0.00         0.00          569.00           -569.00
             0.00               0.00           0.00            0.00                        0.00    Dinner Avg Check                        0.00                0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                        0.00    Brunch Avg Check                        0.00                0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                        0.00    Late Night Avg Check                    0.00                0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                        0.00    Breaks Avg Check                        0.00                0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                        0.00    Reception Avg Check                     0.00                0.00         0.00            0.00              0.00
             0.00               0.00           0.00         397.00                     -397.00     Total Restaurant 1 Covers            627.00                 0.00      627.00        3,239.00         -2,612.00
             0.00               0.00           0.00            0.00                        0.00    Restaurant 1 Avg Check                 77.92                0.00        77.92            0.00             77.92

                                                                                                   Restaurant 2
             0.00               0.00           0.00            0.00                        0.00    Breakfast Avg Check                    0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Lunch Avg Check                        0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Dinner Avg Check                       0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Brunch Avg Check                       0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Late Night Avg Check                   0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Breaks Avg Check                       0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Reception Avg Check                    0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Total Restaurant 2 Covers              0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Restaurant 2 Avg Check                 0.00                 0.00         0.00            0.00             0.00

                                                                                                   Room Service
             0.00               0.00           0.00            0.00                        0.00    Breakfast Avg Check                    0.00                 0.00         0.00            0.00               0.00
             0.00               0.00           0.00            0.00                        0.00    Lunch Avg Check                        0.00                 0.00         0.00            0.00               0.00
             0.00               0.00           0.00            0.00                        0.00    Food Stat- Food-Dinner                 0.00                 0.00         0.00          226.00           -226.00
             0.00               0.00           0.00            0.00                        0.00    Dinner Avg Check                       0.00                 0.00         0.00           19.02             -19.02
             0.00               0.00           0.00            0.00                        0.00    Brunch Avg Check                       0.00                 0.00         0.00            0.00               0.00
             0.00               0.00           0.00            0.00                        0.00    Late Night Avg Check                   0.00                 0.00         0.00            0.00               0.00
             0.00               0.00           0.00            0.00                        0.00    Breaks Avg Check                       0.00                 0.00         0.00            0.00               0.00
             0.00               0.00           0.00            0.00                        0.00    Reception Avg Check                    0.00                 0.00         0.00            0.00               0.00
             0.00               0.00           0.00            0.00                        0.00    Total Room Service Covers              0.00                 0.00         0.00         226.00           -226.00
             0.00               0.00           0.00            0.00                        0.00    Room Service Avg Check                 0.00                 0.00         0.00           19.02            -19.02

                                                                                                   Banquets
             0.00               0.00           0.00            1.00                        -1.00   Food Stat- Food-Breakfast              0.00                 0.00         0.00          798.00           -798.00
             0.00               0.00           0.00        1,870.00                   -1,870.00    Breakfast Avg Check                    0.00                 0.00         0.00           16.95             -16.95
             0.00               0.00           0.00            1.00                        -1.00   Food Stat- Food-Lunch                  0.00                 0.00         0.00          981.00           -981.00
             0.00               0.00           0.00        2,585.00                   -2,585.00    Lunch Avg Check                        0.00                 0.00         0.00           29.57             -29.57
             0.00               0.00           0.00           59.00                       -59.00   Food Stat- Food-Dinner                 0.00                 0.00         0.00          154.00           -154.00
             0.00               0.00           0.00           49.56                       -49.56   Dinner Avg Check                       0.00                 0.00         0.00           46.87             -46.87
             0.00               0.00           0.00            0.00                         0.00   Brunch Avg Check                       0.00                 0.00         0.00            0.00               0.00
             0.00               0.00           0.00            0.00                         0.00   Late Night Avg Check                   0.00                 0.00         0.00            0.00               0.00
             0.00               0.00           0.00           32.00                       -32.00   Food Stat- Food-Breaks                 0.00                 0.00         0.00        1,104.00         -1,104.00
             0.00               0.00           0.00            7.67                        -7.67   Breaks Avg Check                       0.00                 0.00         0.00           12.49             -12.49
             0.00               0.00           0.00            0.00                         0.00   Reception Avg Check                    0.00                 0.00         0.00            0.00               0.00
             0.00               0.00           0.00           93.00                      -93.00    Total Banquets Covers                  0.00                 0.00         0.00       3,037.00         -3,037.00
             0.00               0.00           0.00         107.68                     -107.68     Banquets Avg Check                     0.00                 0.00         0.00           21.71            -21.71

                                                                                                   Catering
             0.00               0.00           0.00            0.00                        0.00    Breakfast Avg Check                    0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Lunch Avg Check                        0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Dinner Avg Check                       0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Brunch Avg Check                       0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Late Night Avg Check                   0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Breaks Avg Check                       0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Reception Avg Check                    0.00                 0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                        0.00    Total Catering Covers                  0.00                 0.00         0.00            0.00             0.00
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                                                                       Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                P&L - Dual Summary Pages
                                                                                                     As of 10/31/2021
             PTD      %    PTD Budget   %   Variance   PTD Last Year      %            Variance                                           YTD    %        YTD Budget %   Variance   YTD Last Year   %    Variance

             0.00               0.00           0.00            0.00                       0.00    Catering Avg Check                      0.00                 0.00         0.00            0.00            0.00

                                                                                                  Restaurant 3
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                         0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                    0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Total Restaurant 3 Covers               0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Restaurant 3 Avg Check                  0.00                 0.00         0.00            0.00            0.00

                                                                                                  Restaurant 4
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                         0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                    0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Total Restaurant 4 Covers               0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Restaurant 4 Avg Check                  0.00                 0.00         0.00            0.00            0.00

                                                                                                  Restaurant 5
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                         0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                    0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Total Restaurant 5 Covers               0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Restaurant 5 Avg Check                  0.00                 0.00         0.00            0.00            0.00

                                                                                                  Bar 1
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                         0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                    0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Total Bar 1 Covers                      0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Bar 1 Avg Check                         0.00                 0.00         0.00            0.00            0.00

                                                                                                  Bar 2
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                         0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                    0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                        0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                     0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Total Bar 2 Covers                      0.00                 0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                       0.00    Bar 2 Avg Check                         0.00                 0.00         0.00            0.00            0.00

             0.00               0.00           0.00         490.00                     -490.00    Total Covers                          627.00                 0.00      627.00        6,502.00         -5,875.00




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                                                                                   Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget    %          Variance   PTD Last Year      %            Variance                                                   YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Food Admin
                                                                                                              Cost of Sales
         5,075.34    15.89%          0.00    0.00%     5,075.34        6,951.36       28.08%      -1,876.02   Food Purchases                            47,994.63     25.61%          0.00    0.00%     47,994.63       53,803.47    25.92%     -5,808.84
             0.00     0.00%          0.00    0.00%         0.00            0.00        0.00%           0.00   Beverage Purchases                         1,922.68      1.03%          0.00    0.00%      1,922.68            0.00     0.00%      1,922.68
             0.00     0.00%          0.00    0.00%         0.00            0.00        0.00%           0.00   Audio Visual Cost of Sales                   811.11      0.43%          0.00    0.00%        811.11            0.00     0.00%        811.11

        5,075.34     15.89%         0.00     0.00%    5,075.34        6,951.36       28.08%      -1,876.02    Total Food Admin Cost of Sales            50,728.42    27.07%          0.00     0.00%    50,728.42       53,803.47     25.92%    -3,075.05

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         3,547.52     11.11%         0.00     0.00%     3,547.52           0.00        0.00%       3,547.52   Division Management                        14,562.99     7.77%          0.00     0.00%     14,562.99           0.00      0.00%    14,562.99
        3,547.52     11.11%          0.00    0.00%     3,547.52            0.00       0.00%       3,547.52    Total Food Admin Management               14,562.99     7.77%           0.00    0.00%     14,562.99            0.00     0.00%    14,562.99
         2,679.60      8.39%     6,959.50    22.90%    -4,279.90       1,662.69        6.72%       1,016.91   Cooks-Line Cooks                           37,575.79    20.05%     59,556.04    27.52%    -21,980.25      27,756.71     13.37%     9,819.08
        2,679.60      8.39%     6,959.50    22.90%    -4,279.90       1,662.69        6.72%       1,016.91    Total Food Admin Non-Management           37,575.79    20.05%     59,556.04    27.52%    -21,980.25      27,756.71     13.37%     9,819.08

        6,227.12     19.50%     6,959.50    22.90%     -732.38        1,662.69        6.72%       4,564.43    Total Food Admin Salaries and Wages       52,138.78    27.83%     59,556.04    27.52%     -7,417.26      27,756.71     13.37%    24,382.07

                                                                                                              PR Taxes and Benefits

           963.19      3.02%       532.40     1.75%      430.79          565.02        2.28%         398.17   FICA                                        9,214.07     4.92%      4,556.04     2.11%      4,658.03       9,048.10      4.36%       165.97
             8.95      0.03%         2.92     0.01%        6.03            0.00        0.00%           8.95   Federal Unemployment Tax                      225.59     0.12%         65.29     0.03%        160.30           0.00      0.00%       225.59
            44.49      0.14%        18.79     0.06%       25.70            0.00        0.00%          44.49   State Unemployment Tax                      1,263.26     0.67%        585.59     0.27%        677.67           0.00      0.00%     1,263.26
        1,016.63      3.18%       554.11     1.82%      462.52          565.02        2.28%         451.61    Total Payroll Taxes                       10,702.92     5.71%      5,206.92     2.41%      5,496.00       9,048.10      4.36%     1,654.82
             0.00      0.00%         0.00     0.00%        0.00            0.00        0.00%           0.00   Holiday                                     2,765.68     1.48%          0.00     0.00%      2,765.68       1,212.32      0.58%     1,553.36
             0.00      0.00%         0.00     0.00%        0.00            0.00        0.00%           0.00   Vacation                                    7,015.15     3.74%          0.00     0.00%      7,015.15      10,001.59      4.82%    -2,986.44
             0.00     0.00%          0.00    0.00%         0.00            0.00       0.00%            0.00   Total Supplemental Pay                     9,780.83     5.22%           0.00    0.00%      9,780.83      11,213.91      5.40%    -1,433.08
             0.00      0.00%       218.41     0.72%     -218.41            0.00        0.00%           0.00   Worker's Compensation                           0.00     0.00%      1,901.30     0.88%     -1,901.30           0.00      0.00%         0.00
          -325.30     -1.02%         0.00     0.00%     -325.30        1,062.05        4.29%      -1,387.35   Group Insurance                             3,812.10     2.03%          0.00     0.00%      3,812.10       7,041.91      3.39%    -3,229.81
         -325.30     -1.02%       218.41     0.72%     -543.71        1,062.05        4.29%      -1,387.35    Total Other Benefits                       3,812.10     2.03%      1,901.30     0.88%      1,910.80       7,041.91      3.39%    -3,229.81

        6,918.45     21.66%     7,732.02    25.44%     -813.57        3,289.76       13.29%       3,628.69    Total Food Admin PR Taxes and Benefits    76,434.63    40.79%     66,664.26    30.81%      9,770.37      55,060.63     26.52%    21,374.00

       13,145.57     41.16%    14,691.52    48.34%    -1,545.95       4,952.45       20.01%       8,193.12    Total Food Admin Payroll                 128,573.41    68.62%    126,220.30    58.33%      2,353.11      82,817.34     39.89%    45,756.07

                                                                                                              Other Expenses
           137.52     0.43%        50.00     0.16%        87.52            0.00       0.00%         137.52    China                                         796.59     0.43%        400.00    0.18%         396.59         346.64     0.17%        449.95
            79.21     0.25%       200.00     0.66%      -120.79          466.41       1.88%        -387.20    Cleaning Supplies                           3,556.56     1.90%      2,000.00    0.92%       1,556.56       3,099.61     1.49%        456.95
           325.60     1.02%       270.00     0.89%        55.60          370.00       1.49%         -44.40    Contract Cleaning                             910.20     0.49%      2,700.00    1.25%      -1,789.80         994.00     0.48%        -83.80
           286.44     0.90%       275.00     0.90%        11.44           80.06       0.32%         206.38    Equipment Rental                            2,908.88     1.55%      2,750.00    1.27%         158.88       1,925.96     0.93%        982.92
            60.82     0.19%        50.00     0.16%        10.82            0.00       0.00%          60.82    Glassware                                     189.72     0.10%        400.00    0.18%        -210.28           0.00     0.00%        189.72
             0.00     0.00%         0.00     0.00%         0.00            0.00       0.00%           0.00    Guest Loss/Damage                             296.31     0.16%          0.00    0.00%         296.31           0.00     0.00%        296.31
             0.00     0.00%         0.00     0.00%         0.00            0.00       0.00%           0.00    In-House Entertainment                          0.00     0.00%          0.00    0.00%           0.00         574.25     0.28%       -574.25
             0.00     0.00%         0.00     0.00%         0.00            0.00       0.00%           0.00    Licenses/Permits                                0.00     0.00%      1,000.00    0.46%      -1,000.00           0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%         0.00            0.00       0.00%           0.00    Menus                                          76.51     0.04%          0.00    0.00%          76.51           0.00     0.00%         76.51
             0.00     0.00%         0.00     0.00%         0.00            0.00       0.00%           0.00    Miscellaneous Expense                           0.00     0.00%          0.00    0.00%           0.00         169.10     0.08%       -169.10
         1,156.18     3.62%       495.00     1.63%       661.18          590.89       2.39%         565.29    Paper/Plastic Supplies                      8,125.29     4.34%      4,950.00    2.29%       3,175.29       2,363.10     1.14%      5,762.19
             0.00     0.00%        50.00     0.16%       -50.00            0.00       0.00%           0.00    Silverware                                    297.75     0.16%        400.00    0.18%        -102.25         152.09     0.07%        145.66
             0.00     0.00%         0.00     0.00%         0.00            0.00       0.00%           0.00    Software Expense/Maintenance                  232.50     0.12%          0.00    0.00%         232.50           0.00     0.00%        232.50
             0.00     0.00%         0.00     0.00%         0.00            0.00       0.00%           0.00    Uniforms                                       42.14     0.02%          0.00    0.00%          42.14           0.00     0.00%         42.14
             0.00     0.00%        75.00     0.25%       -75.00           80.86       0.33%         -80.86    Utensils                                      254.18     0.14%        750.00    0.35%        -495.82         677.18     0.33%       -423.00

        2,045.77      6.41%     1,465.00     4.82%      580.77        1,588.22        6.42%         457.55    Total Food Admin Other Expenses           17,686.63     9.44%     15,350.00     7.09%      2,336.63      10,301.93      4.96%     7,384.70

       15,191.34     47.56%    16,156.52    53.16%     -965.18        6,540.67       26.42%       8,650.67    Total Food Admin Expenses                146,260.04    78.06%    141,570.30    65.42%      4,689.74      93,119.27     44.86%    53,140.77

       20,266.68     63.45%    16,156.52    53.16%    4,110.16       13,492.03       54.51%       6,774.65    Departmental Costs                       196,988.46    105.13%   141,570.30    65.42%    55,418.16      146,922.74     70.78%    50,065.72




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             PTD      %       PTD Budget   %        Variance   PTD Last Year      %            Variance                                               YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                          Beverage Admin
             0.00     0.00%         0.00   0.00%        0.00           0.00       0.00%            0.00   Less Adjustments                            0.00   0.00%         0.00     0.00%         0.00           0.00    0.00%         0.00

             0.00     0.00%        0.00    0.00%       0.00            0.00       0.00%           0.00    Total Beverage Admin Revenue               0.00    0.00%        0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                          Cost of Sales
         2,175.06     0.00%         0.00   0.00%    2,175.06         631.96       0.00%        1,543.10   Beverage Purchases                     13,858.44   0.00%         0.00     0.00%    13,858.44      10,778.46    0.00%     3,079.98

        2,175.06      0.00%        0.00    0.00%   2,175.06         631.96        0.00%       1,543.10    Total Beverage Admin Cost of Sales    13,858.44    0.00%        0.00      0.00%   13,858.44      10,778.46     0.00%    3,079.98

                                                                                                          Expenses
                                                                                                          Other Expenses
             0.00     0.00%         0.00   0.00%        0.00           0.00       0.00%            0.00   Glassware                                 274.30   0.00%         0.00     0.00%       274.30           0.00    0.00%       274.30
         4,900.00     0.00%         0.00   0.00%    4,900.00           0.00       0.00%        4,900.00   Licenses/Permits                        9,800.00   0.00%         0.00     0.00%     9,800.00           0.00    0.00%     9,800.00

        4,900.00      0.00%        0.00    0.00%   4,900.00            0.00       0.00%       4,900.00    Total Beverage Admin Other Expenses   10,074.30    0.00%        0.00      0.00%   10,074.30            0.00    0.00%   10,074.30

        4,900.00      0.00%        0.00    0.00%   4,900.00            0.00       0.00%       4,900.00    Total Beverage Admin Expenses         10,074.30    0.00%        0.00      0.00%   10,074.30            0.00    0.00%   10,074.30

       -4,900.00      0.00%        0.00    0.00%   -4,900.00           0.00       0.00%      -4,900.00    Departmental Costs                    -10,074.30   0.00%        0.00      0.00%   -10,074.30           0.00    0.00%   -10,074.30




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             PTD      %        PTD Budget     %        Variance   PTD Last Year      %            Variance                                                    YTD      %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                             Restaurant 1
                                                                                                             Food Revenue
         6,879.68    82.72%      6,970.00    51.96%      -90.32           0.00       0.00%        6,879.68   Food-Breakfast                             43,765.99     89.59%     47,733.00     44.53%    -3,967.01            0.00    0.00%     43,765.99
         1,461.70    17.57%          0.00     0.00%    1,461.70           0.00       0.00%        1,461.70   Food-Dinner                                 5,112.20     10.46%     15,545.00     14.50%   -10,432.80            0.00    0.00%      5,112.20

        8,341.38    100.29%     6,970.00    51.96%    1,371.38            0.00       0.00%       8,341.38    Restaurant 1 Food Revenue                  48,878.19    100.05%     63,278.00    59.03%    -14,399.81            0.00    0.00%    48,878.19
           -24.40     -0.29%        0.00      0.00%      -24.40           0.00        0.00%         -24.40   Food-Adjustments-A&G                           -24.40     -0.05%         0.00      0.00%        -24.40           0.00     0.00%       -24.40
           -24.40     -0.29%        0.00      0.00%      -24.40           0.00        0.00%         -24.40   Less: Allowances                               -24.40     -0.05%         0.00      0.00%        -24.40           0.00     0.00%       -24.40

        8,316.98    100.00%     6,970.00    51.96%    1,346.98            0.00       0.00%       8,316.98    Total Restaurant 1 Food Revenue            48,853.79    100.00%     63,278.00    59.03%    -14,424.21            0.00    0.00%    48,853.79

                                                                                                             Beverage Revenue
             0.00     0.00%      2,895.00    21.58%   -2,895.00           0.00       0.00%            0.00   Liquor                                           0.00     0.00%     20,505.00     19.13%   -20,505.00            0.00    0.00%          0.00
             0.00     0.00%      2,235.00    16.66%   -2,235.00           0.00       0.00%            0.00   Beer                                             0.00     0.00%     14,588.00     13.61%   -14,588.00            0.00    0.00%          0.00
             0.00     0.00%      1,315.00     9.80%   -1,315.00           0.00       0.00%            0.00   Wine                                             0.00     0.00%      8,820.00      8.23%    -8,820.00            0.00    0.00%          0.00

             0.00     0.00%     6,445.00    48.04%    -6,445.00           0.00       0.00%           0.00    Restaurant 1 Beverage Revenue                   0.00      0.00%     43,913.00    40.97%    -43,913.00            0.00    0.00%          0.00
             0.00      0.00%        0.00      0.00%        0.00           0.00        0.00%          0.00    Less: Allowances                                0.00       0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

             0.00     0.00%     6,445.00    48.04%    -6,445.00           0.00       0.00%           0.00    Total Restaurant 1 Beverage Revenue             0.00      0.00%     43,913.00    40.97%    -43,913.00            0.00    0.00%          0.00

        8,316.98    100.00%    13,415.00    100.00%   -5,098.02           0.00       0.00%       8,316.98    Total Restaurant 1 Revenue                 48,853.79    100.00%    107,191.00 100.00%      -58,337.21            0.00    0.00%    48,853.79

                                                                                                             Cost of Sales
             0.00     0.00%      2,369.80    17.67%   -2,369.80           0.00       0.00%            0.00   Food Purchases                                   0.00     0.00%     21,514.52     20.07%   -21,514.52            0.00    0.00%          0.00
             0.00     0.00%      1,546.80    11.53%   -1,546.80           0.00       0.00%            0.00   Beverage Purchases                               0.00     0.00%     10,539.12      9.83%   -10,539.12            0.00    0.00%          0.00

             0.00     0.00%     3,916.60    29.20%    -3,916.60           0.00       0.00%           0.00    Total Restaurant 1 Cost of Sales                0.00      0.00%     32,053.64    29.90%    -32,053.64            0.00    0.00%          0.00

        8,316.98    100.00%     9,498.40    70.80%    -1,181.42           0.00       0.00%       8,316.98    Restaurant 1 Gross Profit                  48,853.79    100.00%     75,137.36    70.10%    -26,283.57            0.00    0.00%    48,853.79

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00      0.00%         0.00     0.00%        0.00       2,480.08        0.00%      -2,480.08   Restaurant Management                            0.00      0.00%          0.00     0.00%         0.00       13,168.01     0.00%    -13,168.01
             0.00     0.00%          0.00    0.00%         0.00      2,480.08        0.00%      -2,480.08    Total Restaurant 1 Management                    0.00     0.00%           0.00    0.00%          0.00      13,168.01     0.00%    -13,168.01
         6,206.17     74.62%     1,906.50    14.21%    4,299.67       1,177.53        0.00%       5,028.64   Servers                                     44,951.36     92.01%     18,696.00    17.44%    26,255.36       14,651.37     0.00%     30,299.99
        6,206.17     74.62%     1,906.50    14.21%    4,299.67       1,177.53        0.00%       5,028.64    Total Restaurant 1 Non-Management          44,951.36     92.01%     18,696.00    17.44%    26,255.36       14,651.37     0.00%     30,299.99

        6,206.17     74.62%     1,906.50    14.21%    4,299.67       3,657.61        0.00%       2,548.56    Total Restaurant 1 Salaries and Wages      44,951.36     92.01%     18,696.00    17.44%    26,255.36       27,819.38     0.00%    17,131.98

                                                                                                             PR Taxes and Benefits
             0.00      0.00%       227.95     1.70%     -227.95           0.00        0.00%           0.00   FICA                                             0.00      0.00%      2,086.26     1.95%     -2,086.26           0.00     0.00%          0.00
             0.00      0.00%         1.25     0.01%       -1.25           0.00        0.00%           0.00   Federal Unemployment Tax                         0.00      0.00%         38.67     0.04%        -38.67           0.00     0.00%          0.00
             0.00      0.00%         8.05     0.06%       -8.05           0.00        0.00%           0.00   State Unemployment Tax                           0.00      0.00%        323.01     0.30%       -323.01           0.00     0.00%          0.00
             0.00     0.00%       237.25     1.77%     -237.25            0.00       0.00%            0.00   Total Payroll Taxes                              0.00     0.00%      2,447.94     2.28%     -2,447.94            0.00    0.00%           0.00
             0.00     0.00%          0.00    0.00%         0.00           0.00       0.00%            0.00   Total Supplemental Pay                           0.00     0.00%           0.00    0.00%           0.00           0.00    0.00%           0.00
           726.51      8.74%        59.83     0.45%      666.68           0.00        0.00%         726.51   Worker's Compensation                        5,265.61     10.78%        606.66     0.57%      4,658.95           0.00     0.00%      5,265.61
          726.51      8.74%         59.83    0.45%      666.68            0.00       0.00%         726.51    Total Other Benefits                        5,265.61     10.78%        606.66     0.57%      4,658.95            0.00    0.00%      5,265.61

          726.51      8.74%       297.08     2.21%      429.43            0.00       0.00%         726.51    Total Restaurant 1 PR Taxes and Benefits    5,265.61     10.78%      3,054.60     2.85%      2,211.01            0.00    0.00%      5,265.61

        6,932.68     83.36%     2,203.58    16.43%    4,729.10       3,657.61        0.00%       3,275.07    Total Restaurant 1 Payroll                 50,216.97    102.79%     21,750.60    20.29%    28,466.37       27,819.38     0.00%    22,397.59

                                                                                                             Other Expenses
             0.00      0.00%       134.15     1.00%     -134.15           0.00        0.00%          0.00    Audio Visual Supplies                            0.00      0.00%      1,071.91     1.00%     -1,071.91           0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00        0.00%          0.00    Cleaning Supplies                              152.11      0.31%          0.00     0.00%        152.11           0.00     0.00%        152.11
             0.00      0.00%         0.00     0.00%        0.00           0.00        0.00%          0.00    Paper/Plastic Supplies                          81.21      0.17%          0.00     0.00%         81.21           0.00     0.00%         81.21
             0.00     0.00%       134.15     1.00%     -134.15            0.00       0.00%           0.00    Total Restaurant 1 Other Expenses             233.32      0.48%      1,071.91     1.00%       -838.59            0.00    0.00%        233.32
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             PTD      %       PTD Budget    %        Variance   PTD Last Year      %            Variance                                           YTD     %        YTD Budget %           Variance   YTD Last Year   %         Variance


        6,932.68     83.36%    2,337.73    17.43%   4,594.95       3,657.61        0.00%       3,275.07    Total Restaurant 1 Expenses        50,450.29   103.27%   22,822.51   21.29%   27,627.78      27,819.38     0.00%   22,630.91

        1,384.30     16.64%    7,160.67    53.38%   -5,776.37     -3,657.61        0.00%       5,041.91    Total Restaurant 1 Profit (Loss)   -1,596.50    -3.27%   52,314.85   48.81%   -53,911.35    -27,819.38     0.00%   26,222.88




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             PTD      %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget     %         Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %              Variance   YTD Last Year    %         Variance

                                                                                                              Room Service
                                                                                                              Food Revenue
             0.00     0.00%      1,575.00   100.00%    -1,575.00           0.00       0.00%           0.00    Food-Dinner                                0.00   0.00%     10,795.00   100.00%    -10,795.00       4,298.90    90.41%    -4,298.90

             0.00     0.00%     1,575.00    100.00%    -1,575.00           0.00       0.00%           0.00    Room Service Food Revenue                  0.00   0.00%    10,795.00 100.00%       -10,795.00      4,298.90     90.41%    -4,298.90
             0.00      0.00%        0.00       0.00%        0.00           0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00    0.00%            0.00          0.00       0.00%        0.00

             0.00     0.00%     1,575.00    100.00%    -1,575.00           0.00       0.00%           0.00    Total Room Service Food Revenue            0.00   0.00%    10,795.00 100.00%       -10,795.00      4,298.90     90.41%    -4,298.90

                                                                                                              Beverage Revenue

             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00
             0.00      0.00%        0.00       0.00%       0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%        0.00            0.00      0.00%       0.00

             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

                                                                                                              Other Revenue
             0.00     0.00%          0.00     0.00%         0.00           0.00       0.00%           0.00    Delivery Charge                            0.00   0.00%          0.00     0.00%          0.00         456.00     9.59%      -456.00

             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%         0.00         456.00      9.59%     -456.00

             0.00     0.00%     1,575.00    100.00%    -1,575.00           0.00       0.00%           0.00    Total Room Service Revenue                 0.00   0.00%    10,795.00 100.00%       -10,795.00      4,754.90 100.00%       -4,754.90

                                                                                                              Cost of Sales
             0.00     0.00%       535.50     34.00%      -535.50           0.00       0.00%           0.00    Food Purchases                             0.00   0.00%      3,670.30     34.00%    -3,670.30           0.00     0.00%         0.00

             0.00     0.00%       535.50     34.00%     -535.50            0.00       0.00%           0.00    Total Room Service Cost of Sales           0.00   0.00%     3,670.30    34.00%      -3,670.30           0.00     0.00%        0.00

             0.00     0.00%     1,039.50     66.00%    -1,039.50           0.00       0.00%           0.00    Room Service Gross Profit                  0.00   0.00%     7,124.70    66.00%      -7,124.70      4,754.90 100.00%       -4,754.90

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

                                                                                                              PR Taxes and Benefits
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

                                                                                                              Other Expenses
             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

             0.00     0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%         0.00            0.00     0.00%        0.00

             0.00     0.00%     1,575.00    100.00%    -1,575.00           0.00       0.00%           0.00    Total Room Service Profit (Loss)           0.00   0.00%    10,795.00 100.00%       -10,795.00      4,754.90 100.00%       -4,754.90




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                                                                                  Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget     %        Variance   PTD Last Year      %            Variance                                              YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             Banquets
                                                                                                             Food Revenue
           306.00     1.48%      1,700.00    11.04%   -1,394.00       1,870.00        9.44%      -1,564.00   Food-Breakfast                        5,221.03      4.52%    11,900.00     12.09%     -6,678.97      13,527.20     9.60%     -8,306.17
         1,132.50     5.47%      2,800.00    18.18%   -1,667.50       2,585.00       13.05%      -1,452.50   Food-Lunch                           17,193.53     14.90%    22,725.00     23.09%     -5,531.47      29,004.70    20.59%    -11,811.17
         3,843.75    18.56%      1,500.00     9.74%    2,343.75       2,924.10       14.77%         919.65   Food-Dinner                          17,452.21     15.13%     9,435.00      9.59%      8,017.21       7,218.05     5.12%     10,234.16
           463.00     2.24%      1,900.00    12.34%   -1,437.00         245.50        1.24%         217.50   Food-Breaks                           4,314.60      3.74%    13,750.00     13.97%     -9,435.40      13,785.75     9.79%     -9,471.15
             0.00     0.00%          0.00     0.00%        0.00       2,390.00       12.07%      -2,390.00   Food-Reception                            0.00      0.00%         0.00      0.00%          0.00       2,390.00     1.70%     -2,390.00

        5,745.25     27.75%     7,900.00    51.30%    -2,154.75     10,014.60       50.57%      -4,269.35    Banquets Food Revenue                44,181.37    38.29%    57,810.00    58.74%     -13,628.63      65,925.70     46.81%    -21,744.33
            0.00       0.00%        0.00      0.00%        0.00          0.00         0.00%          0.00    Less: Allowances                          0.00      0.00%        0.00      0.00%          0.00           0.00       0.00%         0.00

        5,745.25     27.75%     7,900.00    51.30%    -2,154.75     10,014.60       50.57%      -4,269.35    Total Banquets Food Revenue          44,181.37    38.29%    57,810.00    58.74%     -13,628.63      65,925.70     46.81%    -21,744.33

                                                                                                             Beverage Revenue
         1,050.66     5.07%       500.00      3.25%      550.66         390.00       1.97%         660.66    Liquor                                1,650.66      1.43%     2,250.00     2.29%       -599.34          390.00     0.28%      1,260.66
           800.67     3.87%       500.00      3.25%      300.67         790.50       3.99%          10.17    Beer                                  2,364.00      2.05%     2,250.00     2.29%        114.00          790.50     0.56%      1,573.50
           834.67     4.03%       500.00      3.25%      334.67         397.50       2.01%         437.17    Wine                                  1,853.34      1.61%     2,250.00     2.29%       -396.66          501.50     0.36%      1,351.84

        2,686.00     12.97%     1,500.00     9.74%    1,186.00       1,578.00        7.97%       1,108.00    Banquets Beverage Revenue             5,868.00     5.09%     6,750.00      6.86%       -882.00       1,682.00      1.19%      4,186.00
            0.00       0.00%        0.00      0.00%       0.00           0.00         0.00%          0.00    Less: Allowances                          0.00      0.00%        0.00       0.00%         0.00           0.00       0.00%         0.00

        2,686.00     12.97%     1,500.00     9.74%    1,186.00       1,578.00        7.97%       1,108.00    Total Banquets Beverage Revenue       5,868.00     5.09%     6,750.00      6.86%       -882.00       1,682.00      1.19%      4,186.00

                                                                                                             Other Revenue
           730.00     3.53%      1,000.00     6.49%     -270.00           0.00        0.00%         730.00   Audio/Visual Income                   5,538.00      4.80%     4,650.00      4.73%       888.00        9,446.00     6.71%      -3,908.00
             0.00     0.00%          0.00     0.00%        0.00         867.70        4.38%        -867.70   Other Revenue                             0.00      0.00%         0.00      0.00%         0.00          978.70     0.69%        -978.70
         3,888.48    18.78%          0.00     0.00%    3,888.48       3,542.63       17.89%         345.85   Setup Fee                            15,477.14     13.41%         0.00      0.00%    15,477.14       25,059.81    17.79%      -9,582.67
         7,656.40    36.98%      5,000.00    32.47%    2,656.40       3,800.00       19.19%       3,856.40   Public Room Rental                   44,320.97     38.41%    29,200.00     29.67%    15,120.97       37,751.19    26.80%       6,569.78

       12,274.88     59.28%     6,000.00    38.96%    6,274.88       8,210.33       41.46%       4,064.55    Total Banquets Other Revenue         65,336.11    56.62%    33,850.00    34.40%     31,486.11       73,235.70     52.00%     -7,899.59

       20,706.13    100.00%    15,400.00    100.00%   5,306.13      19,802.93      100.00%         903.20    Total Banquets Revenue              115,385.48    100.00%   98,410.00 100.00%       16,975.48      140,843.40 100.00%       -25,457.92

                                                                                                             Cost of Sales
             0.00     0.00%      2,528.00    16.42%   -2,528.00           0.00       0.00%            0.00   Food Purchases                            0.00      0.00%    18,499.20     18.80%   -18,499.20            0.00     0.00%           0.00
             0.00     0.00%        360.00     2.34%     -360.00           0.00       0.00%            0.00   Beverage Purchases                        0.00      0.00%     1,620.00      1.65%    -1,620.00            0.00     0.00%           0.00
             0.00     0.00%        250.00     1.62%     -250.00           0.00       0.00%            0.00   Audio Visual Cost of Sales                0.00      0.00%     1,162.50      1.18%    -1,162.50        1,733.27     1.23%      -1,733.27

             0.00     0.00%     3,138.00    20.38%    -3,138.00           0.00       0.00%           0.00    Total Banquets Cost of Sales              0.00     0.00%    21,281.70    21.63%     -21,281.70       1,733.27      1.23%     -1,733.27

       20,706.13    100.00%    12,262.00    79.62%    8,444.13      19,802.93      100.00%         903.20    Gross Profit                        115,385.48    100.00%   77,128.30    78.37%     38,257.18      139,110.13     98.77%    -23,724.65

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00    Total Banquets Management                 0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00

           861.83      4.16%     1,665.93    10.82%     -804.10       1,551.56        7.84%        -689.73   Servers                                4,163.77     3.61%    15,508.25    15.76%     -11,344.48      10,849.25      7.70%     -6,685.48
             0.00      0.00%         0.00     0.00%        0.00           0.00        0.00%           0.00   Housemen                                   0.00     0.00%         0.00     0.00%           0.00       3,960.50      2.81%     -3,960.50
          861.83      4.16%     1,665.93    10.82%     -804.10       1,551.56        7.84%        -689.73    Total Banquets Non-Management         4,163.77     3.61%    15,508.25    15.76%     -11,344.48      14,809.75     10.52%    -10,645.98

          861.83                1,665.93               -804.10       1,551.56                     -689.73    Total Banquets Salaries and Wages     4,163.77              15,508.25               -11,344.48      14,809.75               -10,645.98

                                                                                                             PR Taxes and Benefits
           80.69       0.39%       278.45     1.81%     -197.76           0.00        0.00%         80.69    FICA                                    438.52      0.38%     2,223.54      2.26%     -1,785.02           0.00      0.00%        438.52
            0.76       0.00%         1.53     0.01%       -0.77           0.00        0.00%          0.76    Federal Unemployment Tax                  5.05      0.00%        35.31      0.04%        -30.26           0.00      0.00%          5.05
            3.74       0.02%         9.83     0.06%       -6.09           0.00        0.00%          3.74    State Unemployment Tax                   29.59      0.03%       298.09      0.30%       -268.50           0.00      0.00%         29.59
           85.19      0.41%       289.81     1.88%     -204.62            0.00       0.00%          85.19    Total Payroll Taxes                    473.16      0.41%     2,556.94      2.60%     -2,083.78            0.00     0.00%        473.16
            0.00      0.00%          0.00    0.00%         0.00           0.00       0.00%           0.00    Total Supplemental Pay                    0.00     0.00%          0.00     0.00%           0.00           0.00     0.00%           0.00
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                                                                                 Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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             PTD      %        PTD Budget    %        Variance   PTD Last Year      %            Variance                                           YTD     %       YTD Budget %              Variance   YTD Last Year    %         Variance

             0.00      0.00%       52.28     0.34%      -52.28           0.00        0.00%          0.00    Worker's Compensation                   0.00    0.00%       501.92      0.51%      -501.92           0.00     0.00%        0.00
             0.00     0.00%        52.28    0.34%      -52.28            0.00       0.00%           0.00    Total Other Benefits                    0.00   0.00%       501.92      0.51%      -501.92            0.00    0.00%         0.00

           85.19                  342.09              -256.90            0.00                      85.19    Total Banquet Benefits                473.16             3,058.86                -2,585.70           0.00                473.16

          947.02      4.57%     2,008.02    13.04%   -1,061.00      1,551.56        7.84%        -604.54    Total Banquets Payroll              4,636.93   4.02%    18,567.11    18.87%     -13,930.18     14,809.75     10.52%   -10,172.82

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Banquets Other Expenses           0.00   0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

          947.02      4.57%     2,008.02    13.04%   -1,061.00      1,551.56        7.84%        -604.54    Total Banquets Expenses             4,636.93   4.02%    18,567.11    18.87%     -13,930.18     14,809.75     10.52%   -10,172.82

       19,759.11     95.43%    10,253.98    66.58%   9,505.13      18,251.37       92.16%       1,507.74    Total Banquets Profit (Loss)      110,748.55   95.98%   58,561.19    59.51%     52,187.36     124,300.38     88.25%   -13,551.83




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                                                                                Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year    %          Variance

                                                                                                           Catering
                                                                                                           Food Revenue
             0.00     0.00%          0.00   0.00%       0.00        4,949.90      100.00%      -4,949.90   Food-Breakfast                          0.00    0.00%         0.00     0.00%       0.00       35,751.08    57.67%    -35,751.08
             0.00     0.00%          0.00   0.00%       0.00            0.00        0.00%           0.00   Food-Dinner                             0.00    0.00%         0.00     0.00%       0.00        8,537.17    13.77%     -8,537.17

             0.00     0.00%         0.00    0.00%       0.00       4,949.90      100.00%      -4,949.90    Catering Food Revenue                   0.00   0.00%         0.00      0.00%       0.00      44,288.25     71.44%    -44,288.25
             0.00      0.00%        0.00     0.00%      0.00           0.00         0.00%          0.00    Less: Adjustments                       0.00    0.00%        0.00       0.00%      0.00           0.00       0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00       4,949.90      100.00%      -4,949.90    Total Catering Food Revenue             0.00   0.00%         0.00      0.00%       0.00      44,288.25     71.44%    -44,288.25

                                                                                                           Beverage Revenue
             0.00     0.00%          0.00   0.00%       0.00            0.00       0.00%           0.00    Liquor                                  0.00    0.00%         0.00     0.00%       0.00        5,388.00     8.69%     -5,388.00
             0.00     0.00%          0.00   0.00%       0.00            0.00       0.00%           0.00    Beer                                    0.00    0.00%         0.00     0.00%       0.00        4,052.02     6.54%     -4,052.02
             0.00     0.00%          0.00   0.00%       0.00            0.00       0.00%           0.00    Wine                                    0.00    0.00%         0.00     0.00%       0.00        8,264.63    13.33%     -8,264.63

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Catering Beverage Revenue               0.00   0.00%         0.00      0.00%       0.00      17,704.65     28.56%    -17,704.65
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                       0.00    0.00%        0.00       0.00%      0.00           0.00       0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Beverage Revenue         0.00   0.00%         0.00      0.00%       0.00      17,704.65     28.56%    -17,704.65

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Other Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00       4,949.90      100.00%      -4,949.90    Total Catering Revenue                  0.00   0.00%         0.00      0.00%       0.00      61,992.90 100.00%       -61,992.90

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Cost of Sales            0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00       4,949.90      100.00%      -4,949.90    Catering Gross Profit                   0.00   0.00%         0.00      0.00%       0.00      61,992.90 100.00%       -61,992.90

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Management               0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Non-Management           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Salaries and Wages       0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                     0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                  0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering PR Taxes and Benefits    0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Payroll                  0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Other Expenses           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Expenses                 0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%         0.00

             0.00     0.00%         0.00    0.00%       0.00       4,949.90      100.00%      -4,949.90    Total Catering Profit (Loss)            0.00   0.00%         0.00      0.00%       0.00      61,992.90 100.00%       -61,992.90




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                                                                                Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 3
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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             PTD      %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 4
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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             PTD      %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 5
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %          Variance   PTD Last Year      %            Variance                                             YTD      %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                             Bar 1
                                                                                                             Food Revenue

             0.00     0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00    Bar 1 Food Revenue                       0.00      0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%        0.00            0.00        0.00%          0.00    Less: Adjustments                        0.00       0.00%        0.00       0.00%         0.00            0.00     0.00%        0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00    Total Bar 1 Food Revenue                 0.00      0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

                                                                                                             Beverage Revenue
         1,991.00    68.28%          0.00   0.00%     1,991.00            0.00       0.00%        1,991.00   Liquor                              13,823.51     59.74%          0.00     0.00%     13,823.51            0.00    0.00%    13,823.51
           579.00    19.86%          0.00   0.00%       579.00            0.00       0.00%          579.00   Beer                                 4,713.20     20.37%          0.00     0.00%      4,713.20            0.00    0.00%     4,713.20
           346.00    11.87%          0.00   0.00%       346.00            0.00       0.00%          346.00   Wine                                 4,603.90     19.90%          0.00     0.00%      4,603.90            0.00    0.00%     4,603.90

        2,916.00    100.00%         0.00    0.00%    2,916.00             0.00       0.00%       2,916.00    Bar 1 Beverage Revenue              23,140.61    100.00%         0.00      0.00%    23,140.61             0.00    0.00%    23,140.61
            0.00       0.00%        0.00     0.00%       0.00             0.00        0.00%          0.00    Less: Adjustments                        0.00       0.00%        0.00       0.00%        0.00             0.00     0.00%        0.00

        2,916.00    100.00%         0.00    0.00%    2,916.00             0.00       0.00%       2,916.00    Total Bar 1 Beverage Revenue        23,140.61    100.00%         0.00      0.00%    23,140.61             0.00    0.00%    23,140.61

                                                                                                             Other Revenue

             0.00     0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00    Total Bar 1 Other Revenue                0.00      0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

        2,916.00    100.00%         0.00    0.00%    2,916.00             0.00       0.00%       2,916.00    Total Bar 1 Revenue                 23,140.61    100.00%         0.00      0.00%    23,140.61             0.00    0.00%    23,140.61

                                                                                                             Cost of Sales

             0.00     0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00    Total Bar 1 Cost of Sales                0.00      0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

        2,916.00    100.00%         0.00    0.00%    2,916.00             0.00       0.00%       2,916.00    Gross Profit                        23,140.61    100.00%         0.00      0.00%    23,140.61             0.00    0.00%    23,140.61

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
           347.30     11.91%     3,050.40    0.00%    -2,703.10           0.00        0.00%         347.30   Bartenders                            8,897.64     38.45%    29,913.60      0.00%    -21,015.96       2,699.28     0.00%     6,198.36
          347.30     11.91%     3,050.40    0.00%    -2,703.10            0.00       0.00%         347.30    Total Bar 1 Non-Management           8,897.64     38.45%    29,913.60      0.00%    -21,015.96       2,699.28     0.00%     6,198.36

          347.30     11.91%     3,050.40    0.00%    -2,703.10            0.00       0.00%         347.30    Total Bar 1 Salaries and Wages       8,897.64     38.45%    29,913.60      0.00%    -21,015.96       2,699.28     0.00%     6,198.36

                                                                                                             PR Taxes and Benefits
           42.78       1.47%       233.36    0.00%     -190.58            0.00        0.00%         42.78    FICA                                    923.03      3.99%     2,288.42      0.00%     -1,365.39         668.48     0.00%      254.55
            0.38       0.01%         1.28    0.00%        -0.90           0.00        0.00%          0.38    Federal Unemployment Tax                 23.56      0.10%        47.68      0.00%        -24.12           0.00     0.00%       23.56
            1.88       0.06%         8.24    0.00%        -6.36           0.00        0.00%          1.88    State Unemployment Tax                  137.19      0.59%       391.97      0.00%       -254.78           0.00     0.00%      137.19
           45.04      1.54%       242.88    0.00%     -197.84             0.00       0.00%          45.04    Total Payroll Taxes                  1,083.78      4.68%     2,728.07      0.00%     -1,644.29         668.48     0.00%      415.30
            0.00      0.00%          0.00   0.00%          0.00           0.00       0.00%           0.00    Total Supplemental Pay                    0.00     0.00%          0.00     0.00%           0.00           0.00    0.00%         0.00
           38.89       1.33%        95.73    0.00%       -56.84           0.00        0.00%         38.89    Worker's Compensation                   521.39      2.25%       970.66      0.00%       -449.27           0.00     0.00%      521.39
           38.89      1.33%         95.73   0.00%       -56.84            0.00       0.00%          38.89    Total Other Benefits                   521.39      2.25%       970.66      0.00%       -449.27            0.00    0.00%      521.39

           83.93      2.88%       338.61    0.00%     -254.68             0.00       0.00%          83.93    Total Bar 1 PR Taxes and Benefits    1,605.17      6.94%     3,698.73      0.00%     -2,093.56         668.48     0.00%      936.69

          431.23     14.79%     3,389.01    0.00%    -2,957.78            0.00       0.00%         431.23    Total Bar 1 Payroll                 10,502.81     45.39%    33,612.33      0.00%    -23,109.52       3,367.76     0.00%     7,135.05

                                                                                                             Other Expenses
           503.96     17.28%        0.00     0.00%      503.96          503.96        0.00%          0.00    Licenses/Permits                      5,239.60     22.64%        0.00       0.00%      5,239.60       6,370.60     0.00%    -1,131.00
          503.96     17.28%         0.00    0.00%      503.96          503.96        0.00%           0.00    Total Bar 1 Other Expenses           5,239.60     22.64%         0.00      0.00%      5,239.60       6,370.60     0.00%    -1,131.00

          935.19     32.07%     3,389.01    0.00%    -2,453.82         503.96        0.00%         431.23    Total Bar 1 Expenses                15,742.41     68.03%    33,612.33      0.00%    -17,869.92       9,738.36     0.00%     6,004.05

        1,980.81     67.93%    -3,389.01    0.00%    5,369.82         -503.96        0.00%       2,484.77    Total Bar 1 Profit (Loss)            7,398.20     31.97%    -33,612.33     0.00%    41,010.53       -9,738.36     0.00%    17,136.56

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             PTD      %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Bar 2 Food Revenue                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Food Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Bar 2 Beverage Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Beverage Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Other Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Cost of Sales               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Gross Profit                            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expenses
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Non-Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Salaries and Wages          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 PR Taxes and Benefits       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Payroll                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
           50.00       0.00%        0.00     0.00%     50.00            0.00        0.00%         50.00    Licenses/Permits                        50.00    0.00%        0.00       0.00%     50.00            0.00     0.00%     50.00
            0.00       0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Uniforms                               130.05    0.00%        0.00       0.00%    130.05            0.00     0.00%    130.05
           50.00      0.00%         0.00    0.00%      50.00            0.00       0.00%          50.00    Total Bar 2 Other Expenses            180.05    0.00%         0.00      0.00%    180.05             0.00    0.00%    180.05

           50.00      0.00%         0.00    0.00%      50.00            0.00       0.00%          50.00    Total Bar 2 Expenses                  180.05    0.00%         0.00      0.00%    180.05             0.00    0.00%    180.05

          -50.00      0.00%         0.00    0.00%     -50.00            0.00       0.00%         -50.00    Total Bar 2 Profit (Loss)            -180.05    0.00%         0.00      0.00%    -180.05            0.00    0.00%    -180.05




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                                                                                   Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget     %         Variance   PTD Last Year      %            Variance                                           YTD      %        YTD Budget %             Variance   YTD Last Year     %         Variance

                                                                                                              Telephone
           105.00   119.32%         27.91   100.00%        77.09          32.00      100.00%         73.00    Local and Long Distance Revenue       737.00   139.32%        216.30   100.00%       520.70         149.00    100.00%      588.00

          105.00    119.32%        27.91    100.00%       77.09           32.00     100.00%         73.00     Telephone Revenue                    737.00    139.32%       216.30 100.00%         520.70         149.00 100.00%         588.00
           -17.00    -19.32%        0.00       0.00%      -17.00           0.00        0.00%        -17.00    Adjustments Long Distance            -208.00    -39.32%        0.00    0.00%        -208.00          0.00    0.00%        -208.00
           -17.00    -19.32%        0.00       0.00%      -17.00           0.00        0.00%        -17.00    Less: Adjustments                    -208.00    -39.32%        0.00    0.00%        -208.00          0.00    0.00%        -208.00
           88.00    100.00%        27.91    100.00%       60.09           32.00     100.00%         56.00     Total Telephone Revenue              529.00    100.00%       216.30 100.00%         312.70         149.00 100.00%         380.00

                                                                                                              Cost of Sales
         1,059.76 1,204.27%        865.00 3,099.25%       194.76       1,358.29 4,244.66%           -298.53   Cost of Sales - Local Calls         13,468.30 2,545.99%     8,650.003,999.08%      4,818.30       9,423.92 6,324.78%     4,044.38
        1,059.76 1,204.27%        865.00 3,099.25%       194.76       1,358.294,244.66%            -298.53    Total Telephone Cost of Sales      13,468.30 2,545.99%     8,650.003,999.08%      4,818.30       9,423.926,324.78%      4,044.38

         -971.76-1,104.27%       -837.09-2,999.25%      -134.67      -1,326.29-4,144.66%            354.53    Gross Profit                      -12,939.30 -2,445.99%    -8,433.70
                                                                                                                                                                                -3,899.08%      -4,505.60     -9,274.92
                                                                                                                                                                                                                      -6,224.78%      -3,664.38

                                                                                                              Other Expenses
         3,878.23 4,407.08%          0.00     0.00%     3,878.23       1,586.90 4,959.06%          2,291.33   Internet/Web Expense                22,451.74 4,244.19%         0.00    0.00%     22,451.74      15,611.0510,477.21%      6,840.69
             0.00     0.00%          0.00     0.00%         0.00         100.00   312.50%           -100.00   Miscellaneous Expense                    0.00     0.00%         0.00    0.00%          0.00       1,045.00 701.34%       -1,045.00
             0.00     0.00%          0.00     0.00%         0.00         655.88 2,049.63%           -655.88   Operating Supplies                       0.00     0.00%         0.00    0.00%          0.00       6,901.29 4,631.74%     -6,901.29
             0.00     0.00%        100.00   358.29%      -100.00           0.00     0.00%              0.00   Software Expense/Maintenance             0.00     0.00%     1,000.00 462.32%      -1,000.00           0.00     0.00%          0.00
             0.00     0.00%        400.00 1,433.18%      -400.00           0.00     0.00%              0.00   Telephone Equipment                      0.00     0.00%     4,000.001,849.28%     -4,000.00           0.00     0.00%          0.00
        3,878.23 4,407.08%        500.00 1,791.47%     3,378.23       2,342.787,321.19%           1,535.45    Total Telephone Other Expenses     22,451.74 4,244.19%     5,000.002,311.60%     17,451.74      23,557.34
                                                                                                                                                                                                                      15,810.30%      -1,105.60

       -4,849.99-5,511.35%     -1,337.09-4,790.72%     -3,512.90     -3,669.07
                                                                            -11,465.84%          -1,180.92    Total Telephone Profit (Loss)     -35,391.04 -6,690.18%   -13,433.70
                                                                                                                                                                                -6,210.68%     -21,957.34    -32,832.26
                                                                                                                                                                                                                     -22,035.07%      -2,558.78




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                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget     %        Variance   PTD Last Year      %            Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %           Variance

                                                                                                             Minor Operating
                                                                                                             Income
             0.00      0.00%         0.00     0.00%        0.00       4,031.75       51.36%      -4,031.75   Rental Income - Lobby Space                       0.00     0.00%         0.00     0.00%         0.00      39,260.63     38.98%    -39,260.63
         4,152.70     36.07%     4,031.75    70.83%      120.95            0.00       0.00%       4,152.70   Rental Income - Antennae                     40,438.45    40.93%    40,317.50    74.57%       120.95           0.00      0.00%     40,438.45
        4,152.70     36.07%     4,031.75    70.83%      120.95       4,031.75       51.36%         120.95    Total Rental Income                         40,438.45    40.93%    40,317.50    74.57%       120.95      39,260.63     38.98%      1,177.82
             0.00      0.00%         0.00     0.00%        0.00           -5.75      -0.07%           5.75   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00     0.00%         0.00       2,212.71      2.20%     -2,212.71
           120.00      1.04%         0.00     0.00%      120.00            0.00       0.00%         120.00   Vending Commissions Other                     2,803.50     2.84%         0.00     0.00%     2,803.50           0.00      0.00%      2,803.50
          120.00      1.04%          0.00    0.00%      120.00           -5.75      -0.07%         125.75    Total Vending Commission Income              2,803.50     2.84%          0.00    0.00%     2,803.50       2,212.71      2.20%        590.79
         1,421.61     12.35%         0.00     0.00%    1,421.61       1,302.19       16.59%         119.42   Cancellation Fee - Rooms                      7,830.43     7.93%         0.00     0.00%     7,830.43      26,891.00     26.70%    -19,060.57
        1,421.61     12.35%          0.00    0.00%    1,421.61       1,302.19       16.59%         119.42    Total Cancellation Fee Income                7,830.43     7.93%          0.00    0.00%     7,830.43      26,891.00     26.70%    -19,060.57
             0.00      0.00%       125.00     2.20%     -125.00            0.00       0.00%           0.00   Guest Laundry                                    45.00     0.05%     1,855.00     3.43%    -1,810.00         404.50      0.40%       -359.50
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Interest Earned                                   4.95     0.01%         0.00     0.00%         4.95           0.00      0.00%          4.95
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Cash Discounts                                    0.00     0.00%         0.00     0.00%         0.00       5,301.37      5.26%     -5,301.37
            49.50      0.43%       139.55     2.45%      -90.05          64.35        0.82%         -14.85   Internet Access                               1,291.95     1.31%     1,081.50     2.00%       210.45       1,039.37      1.03%        252.58
             0.00      0.00%         0.00     0.00%        0.00          50.00        0.64%         -50.00   Other Revenue 2                                 -53.29    -0.05%         0.00     0.00%       -53.29       1,796.00      1.78%     -1,849.29
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%           0.00   Other Revenue 3                                -646.47    -0.65%         0.00     0.00%      -646.47         600.00      0.60%     -1,246.47
         5,769.43     50.11%     1,395.50    24.52%    4,373.93       2,407.15       30.67%       3,362.28   Gift Shop Sales                              47,091.65    47.66%    10,815.00    20.00%    36,276.65      23,213.87     23.05%     23,877.78
        5,818.93     50.54%     1,660.05    29.17%    4,158.88       2,521.50       32.12%       3,297.43    Total Other Income                          47,733.79    48.31%    13,751.50    25.43%    33,982.29      32,355.11     32.12%     15,378.68

       11,513.24    100.00%     5,691.80    100.00%   5,821.44       7,849.69      100.00%       3,663.55    Total Minor Operating Income                98,806.17    100.00%   54,069.00 100.00%      44,737.17     100,719.45 100.00%        -1,913.28

                                                                                                             Cost of Sales
             0.00      0.00%        50.00     0.88%     -50.00            0.00        0.00%           0.00   Cost of Sales - Guest Laundry                   122.80     0.12%       742.00     1.37%     -619.20          488.70      0.49%       -365.90
             0.00      0.00%         0.00     0.00%       0.00            0.00        0.00%           0.00   Cost of Sales - Cots & Cribs                      0.00     0.00%         0.00     0.00%        0.00           42.60      0.04%        -42.60
         1,877.91     16.31%       907.08    15.94%     970.83          966.07       12.31%         911.84   Cost of Sales - Gift Shop                    17,431.46    17.64%     7,029.76    13.00%   10,401.70       11,050.01     10.97%      6,381.45
        1,877.91     16.31%       957.08    16.82%     920.83          966.07       12.31%         911.84    Total Minor Operated Cost of Sales          17,554.26    17.77%     7,771.76    14.37%    9,782.50       11,581.31     11.50%      5,972.95

        9,635.33     83.69%     4,734.72    83.18%    4,900.61       6,883.62       87.69%       2,751.71    Total Minor Operated Profit (Loss)          81,251.91    82.23%    46,297.24    85.63%    34,954.67      89,138.14     88.50%     -7,886.23




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                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year      %            Variance                                           YTD    %        YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Arcade
                                                                                                         Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Revenue                    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Non-Management             0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Salaries and Wages         0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Payroll Taxes                     0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Supplemental Pay                  0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Other Benefits                    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade PR Taxes and Benefits      0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Payroll                    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Other Expenses             0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Expenses                   0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Profit (Loss)              0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                              Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year      %            Variance                                           YTD    %        YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Waterpark
                                                                                                         Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Revenue                 0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Waterpark Management                    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Waterpark Non-Management                0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Salaries and Wages      0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Payroll Taxes                     0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Supplemental Pay                  0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Other Benefits                    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Payroll                 0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Other Expenses          0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Expenses                0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Profit (Loss)           0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                 Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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                                                                                                               As of 10/31/2021
             PTD      %       PTD Budget    %         Variance   PTD Last Year      %            Variance                                                    YTD     %       YTD Budget %              Variance   YTD Last Year    %         Variance

                                                                                                            Franchise Fees
           187.31     0.05%         0.00    0.00%      187.31            0.00       0.00%          187.31   Franchise Fees - IT Fees                       334.63    0.01%         0.00     0.00%       334.63            0.00     0.00%      334.63
        18,438.63     4.90%    12,495.90    4.76%    5,942.73        7,370.74       4.46%       11,067.89   Franchise Fees - Royalty & Licenses        136,434.94    4.93%    91,193.23     4.74%    45,241.71      121,956.09     4.88%   14,478.85
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Franchise Fees - Other                       8,547.76    0.31%         0.00     0.00%     8,547.76          228.00     0.01%    8,319.76
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%            0.00   Franchise Fees - Reservations-GDS            6,810.44    0.25%         0.00     0.00%     6,810.44            0.00     0.00%    6,810.44
         9,584.29     2.55%     5,319.81    2.03%    4,264.48        3,899.90       2.36%        5,684.39   Franchise Fees - Frequent Guest             85,860.96    3.11%    38,823.21     2.02%    47,037.75       49,846.08     1.99%   36,014.88
        14,415.65     3.83%     9,756.76    3.72%    4,658.89        5,762.58       3.49%        8,653.07   Franchise Fees - Marketing Contributions    98,361.89    3.56%    71,203.42     3.70%    27,158.47       95,347.46     3.82%    3,014.43
         1,008.42     0.27%       758.33    0.29%      250.09            0.00       0.00%        1,008.42   Franchise Fees - Reservations-Central        7,455.23    0.27%     7,583.30     0.39%      -128.07            0.00     0.00%    7,455.23

       43,634.30     11.60%   28,330.80    10.79%   15,303.50      17,033.22       10.30%      26,601.08    Total Franchise Fees                       343,805.85   12.44%   208,803.16   10.86%    135,002.69     267,377.63     10.70%   76,428.22




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                                                                                   Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget    %          Variance   PTD Last Year      %            Variance                                             YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                              A&G
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         7,321.16      1.95%    12,462.23     4.75%    -5,141.07       9,512.61        5.75%      -2,191.45   Management- A&G                      83,039.55     3.00%    121,598.54     6.32%    -38,558.99     111,452.20      4.46%    -28,412.65
        7,321.16      1.95%    12,462.23     4.75%    -5,141.07       9,512.61        5.75%      -2,191.45    Total A&G Management                83,039.55     3.00%    121,598.54     6.32%    -38,558.99     111,452.20      4.46%    -28,412.65
         5,183.66      1.38%         0.00     0.00%     5,183.66           0.00        0.00%       5,183.66   Administrative Assistant             37,808.75     1.37%          0.00     0.00%     37,808.75           0.00      0.00%     37,808.75
             0.00      0.00%         0.00     0.00%         0.00           0.00        0.00%           0.00   Security Agents                           0.00     0.00%          0.00     0.00%          0.00       2,263.03      0.09%     -2,263.03
        5,183.66      1.38%          0.00    0.00%     5,183.66            0.00       0.00%       5,183.66    Total A&G Non-Management            37,808.75     1.37%           0.00    0.00%     37,808.75       2,263.03      0.09%     35,545.72
       12,504.82      3.32%    12,462.23     4.75%         42.59      9,512.61        5.75%       2,992.21    Total A&G Salaries and Wages       120,848.30     4.37%    121,598.54     6.32%       -750.24     113,715.23      4.55%      7,133.07
                                                                                                              PR Taxes and Benefits
           691.97      0.18%       990.69     0.38%     -298.72          959.23        0.58%        -267.26   FICA                                  7,597.71     0.27%      9,696.47     0.50%    -2,098.76        9,836.05      0.39%     -2,238.34
             8.32      0.00%         5.44     0.00%        2.88            0.00        0.00%           8.32   Federal Unemployment Tax                217.39     0.01%        201.21     0.01%        16.18            0.00      0.00%        217.39
            41.42      0.01%        34.97     0.01%        6.45            0.00        0.00%          41.42   State Unemployment Tax                1,221.61     0.04%      1,655.37     0.09%      -433.76            0.00      0.00%      1,221.61
          741.71      0.20%     1,031.10     0.39%     -289.39          959.23        0.58%        -217.52    Total Payroll Taxes                  9,036.71     0.33%     11,553.05     0.60%    -2,516.34        9,836.05      0.39%       -799.34
             0.00      0.00%         0.00     0.00%        0.00            0.00        0.00%           0.00   Holiday                                   0.00     0.00%          0.00     0.00%         0.00        2,802.32      0.11%     -2,802.32
             0.00      0.00%       487.93     0.19%     -487.93        2,192.64        1.33%      -2,192.64   Vacation                                795.84     0.03%      5,152.54     0.27%    -4,356.70       24,670.32      0.99%    -23,874.48
             0.00     0.00%       487.93     0.19%     -487.93        2,192.64        1.33%      -2,192.64    Total Supplemental Pay                 795.84     0.03%      5,152.54     0.27%    -4,356.70       27,472.64      1.10%    -26,676.80
           945.25      0.25%       406.42     0.15%      538.83        1,715.00        1.04%        -769.75   Worker's Compensation                 8,892.29     0.32%      4,112.07     0.21%     4,780.22       21,984.00      0.88%    -13,091.71
           880.86      0.23%         0.00     0.00%      880.86        1,233.59        0.75%        -352.73   Group Insurance                      11,622.50     0.42%          0.00     0.00%    11,622.50       13,755.59      0.55%     -2,133.09
             0.00      0.00%         0.00     0.00%        0.00            0.00        0.00%           0.00   Bonus and Incentive Pay                   0.00     0.00%          0.00     0.00%         0.00        1,918.58      0.08%     -1,918.58
        1,826.11      0.49%       406.42     0.15%    1,419.69        2,948.59        1.78%      -1,122.48    Total Other Benefits                20,514.79     0.74%      4,112.07     0.21%    16,402.72       37,658.17      1.51%    -17,143.38
        2,567.82      0.68%     1,925.45     0.73%      642.37        6,100.46        3.69%      -3,532.64    Total A&G PR Taxes and Benefits     30,347.34     1.10%     20,817.66     1.08%     9,529.68       74,966.86      3.00%    -44,619.52
       15,072.64      4.01%    14,387.68     5.48%      684.96       15,613.07        9.44%        -540.43    Total A&G Payroll                  151,195.64     5.47%    142,416.20     7.41%     8,779.44      188,682.09      7.55%    -37,486.45
                                                                                                              Other Expenses
         1,037.13      0.28%     1,000.00     0.38%       37.13        2,000.00        1.21%        -962.87   Accounting/Audit Fees                12,588.15     0.46%     10,000.00     0.52%     2,588.15       20,000.00      0.80%    -7,411.85
         1,497.69      0.40%         0.00     0.00%    1,497.69        1,123.35        0.68%         374.34   Bad Debt Provision                    4,096.62     0.15%          0.00     0.00%     4,096.62        5,742.04      0.23%    -1,645.42
           794.37      0.21%     1,150.00     0.44%     -355.63        1,020.66        0.62%        -226.29   Bank Charges                          6,882.74     0.25%     11,500.00     0.60%    -4,617.26       12,669.49      0.51%    -5,786.75
          -119.14     -0.03%         0.00     0.00%     -119.14           89.50        0.05%        -208.64   Cash Over/Short                       1,538.25     0.06%          0.00     0.00%     1,538.25        5,103.11      0.20%    -3,564.86
             0.00      0.00%        50.00     0.02%      -50.00            0.00        0.00%           0.00   Central Office - Travel Rebilled        829.07     0.03%      2,450.00     0.13%    -1,620.93            0.00      0.00%       829.07
           260.00      0.07%       160.00     0.06%      100.00            0.00        0.00%         260.00   Central Office - IT Fees              2,000.00     0.07%      1,600.00     0.08%       400.00            0.00      0.00%     2,000.00
             0.00      0.00%       110.00     0.04%     -110.00            0.00        0.00%           0.00   Communication Expense                     0.00     0.00%      1,100.00     0.06%    -1,100.00          112.81      0.00%      -112.81
        11,411.38      3.03%     7,087.09     2.70%    4,324.29       -9,862.95       -5.97%      21,274.33   Credit Card Commission               80,547.22     2.91%     51,913.79     2.70%    28,633.43       51,237.15      2.05%    29,310.07
             0.00      0.00%         0.00     0.00%        0.00        1,037.81        0.63%      -1,037.81   Data Processing                         571.74     0.02%          0.00     0.00%       571.74        9,157.72      0.37%    -8,585.98
         1,110.56      0.30%         0.00     0.00%    1,110.56          120.00        0.07%         990.56   Dues and Subscriptions                5,435.55     0.20%          0.00     0.00%     5,435.55        3,934.91      0.16%     1,500.64
           704.00      0.19%       200.00     0.08%      504.00            0.00        0.00%         704.00   Employee Relations                   10,694.88     0.39%      2,000.00     0.10%     8,694.88        1,849.26      0.07%     8,845.62
           272.22      0.07%       285.00     0.11%      -12.78          281.50        0.17%          -9.28   Equipment Rental                      2,359.40     0.09%      2,850.00     0.15%      -490.60        2,768.51      0.11%      -409.11
            63.75      0.02%         0.00     0.00%       63.75            0.00        0.00%          63.75   Internet/Web Expense                    291.74     0.01%          0.00     0.00%       291.74            0.00      0.00%       291.74
             0.00      0.00%         0.00     0.00%        0.00           85.64        0.05%         -85.64   Licenses/Permits                      4,007.00     0.14%      6,242.00     0.32%    -2,235.00        5,557.61      0.22%    -1,550.61
             0.00      0.00%         0.00     0.00%        0.00            0.00        0.00%           0.00   Meals and Entertainment                 150.01     0.01%          0.00     0.00%       150.01           15.06      0.00%       134.95
        -1,152.36     -0.31%         0.00     0.00%   -1,152.36            0.00        0.00%      -1,152.36   Miscellaneous Expense                -6,358.38    -0.23%          0.00     0.00%    -6,358.38          105.95      0.00%    -6,464.33
           139.20      0.04%         0.00     0.00%      139.20            0.00        0.00%         139.20   Office Equipment                      3,769.01     0.14%          0.00     0.00%     3,769.01            0.00      0.00%     3,769.01
           230.37      0.06%         0.00     0.00%      230.37           96.86        0.06%         133.51   Office Supplies                       2,827.96     0.10%          0.00     0.00%     2,827.96        2,712.34      0.11%       115.62
           252.12      0.07%       900.00     0.34%     -647.88          460.95        0.28%        -208.83   Payroll Service Fees                  1,566.30     0.06%      9,000.00     0.47%    -7,433.70        6,593.85      0.26%    -5,027.55
            37.77      0.01%        50.00     0.02%      -12.23           35.31        0.02%           2.46   Postage                               1,332.38     0.05%        500.00     0.03%       832.38        1,353.00      0.05%       -20.62
           100.00      0.03%       150.00     0.06%      -50.00            0.00        0.00%         100.00   Professional Fees - Legal            13,716.69     0.50%      1,500.00     0.08%    12,216.69            0.00      0.00%    13,716.69
           258.00      0.07%       500.00     0.19%     -242.00            0.00        0.00%         258.00   Professional Fees - Other            17,017.01     0.62%      5,000.00     0.26%    12,017.01       11,267.00      0.45%     5,750.01
           490.00      0.13%         0.00     0.00%      490.00            0.00        0.00%         490.00   Recruitment Advertising               2,220.00     0.08%          0.00     0.00%     2,220.00        1,171.79      0.05%     1,048.21
             0.00      0.00%         0.00     0.00%        0.00          183.28        0.11%        -183.28   Recruitment - Other                     665.85     0.02%          0.00     0.00%       665.85        1,293.38      0.05%      -627.53
           659.38      0.18%       520.70     0.20%      138.68            0.00        0.00%         659.38   Software Expense/Maintenance          8,540.73     0.31%      6,157.00     0.32%     2,383.73            0.00      0.00%     8,540.73
           875.90      0.23%         0.00     0.00%      875.90            0.00        0.00%         875.90   Training                              2,369.90     0.09%          0.00     0.00%     2,369.90          765.25      0.03%     1,604.65
            81.26      0.02%         0.00     0.00%       81.26            0.00        0.00%          81.26   Travel                                1,402.74     0.05%          0.00     0.00%     1,402.74          357.62      0.01%     1,045.12
       19,003.60      5.05%    12,162.79     4.63%    6,840.81       -3,328.09       -2.01%      22,331.69    Total A&G Other Expenses           181,062.56     6.55%    111,812.79     5.82%    69,249.77      143,767.85      5.75%    37,294.71
       34,076.24      9.06%    26,550.47    10.12%    7,525.77       12,284.98        7.43%      21,791.26    Total A&G Expenses                 332,258.20    12.02%    254,228.99    13.22%    78,029.21      332,449.94     13.30%      -191.74




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                                                                                Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
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                                                                                                              As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           IT
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Management                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Non-Management                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Salaries and Wages             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT PR Taxes and Benefits          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Payroll                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Services
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Cost of Services               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           System Costs
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Systems                        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Equipment Rental                       -16.92    0.00%        0.00       0.00%     -16.92           0.00     0.00%     -16.92
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Other Expenses               -16.92    0.00%         0.00      0.00%     -16.92            0.00    0.00%     -16.92

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Expenses                     -16.92    0.00%         0.00      0.00%     -16.92            0.00    0.00%     -16.92




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                                                                                  Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget   %         Variance    PTD Last Year      %            Variance                                            YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         5,961.55      1.58%     6,438.81    2.45%     -477.26        6,857.14        4.15%        -895.59   Division Management                 48,318.11    1.75%     62,825.82     3.27%    -14,507.71      59,778.51     2.39%    -11,460.40
         3,846.16      1.02%     4,127.44    1.57%     -281.28            0.00        0.00%       3,846.16   Sales Managers                      27,049.55    0.98%     40,272.97     2.09%    -13,223.42      13,791.30     0.55%     13,258.25
        9,807.71      2.61%    10,566.25    4.03%     -758.54        6,857.14        4.15%       2,950.57    Total S&M Management               75,367.66    2.73%    103,098.79     5.36%    -27,731.13      73,569.81     2.94%      1,797.85
           412.09      0.11%         0.00    0.00%      412.09            0.00        0.00%         412.09   Administrative Assistant             1,923.08    0.07%          0.00     0.00%      1,923.08      15,518.38     0.62%    -13,595.30
          412.09      0.11%          0.00   0.00%      412.09             0.00       0.00%         412.09    Total S&M Non-Management            1,923.08    0.07%           0.00    0.00%      1,923.08      15,518.38     0.62%    -13,595.30

       10,219.80      2.72%    10,566.25    4.03%     -346.45        6,857.14        4.15%       3,362.66    Total S&M Salaries and Wages       77,290.74    2.80%    103,098.79     5.36%    -25,808.05      89,088.19     3.57%    -11,797.45

                                                                                                             PR Taxes and Benefits
           800.37      0.21%       839.97    0.32%       -39.60         470.67        0.28%        329.70    FICA                                 6,053.66    0.22%      8,221.28     0.43%    -2,167.62        8,169.06     0.33%     -2,115.40
             7.50      0.00%         4.61    0.00%         2.89           0.00        0.00%          7.50    Federal Unemployment Tax               124.26    0.00%        170.58     0.01%       -46.32            0.00     0.00%        124.26
            37.18      0.01%        29.65    0.01%         7.53           0.00        0.00%         37.18    State Unemployment Tax                 711.62    0.03%      1,403.52     0.07%      -691.90            0.00     0.00%        711.62
          845.05      0.22%       874.23    0.33%       -29.18         470.67        0.28%        374.38     Total Payroll Taxes                 6,889.54    0.25%      9,795.38     0.51%    -2,905.84        8,169.06     0.33%     -1,279.52
             0.00      0.00%         0.00    0.00%         0.00           0.00        0.00%          0.00    Holiday                                  0.00    0.00%          0.00     0.00%         0.00        2,049.04     0.08%     -2,049.04
             0.00      0.00%       413.70    0.16%     -413.70            0.00        0.00%          0.00    Vacation                             1,096.65    0.04%      4,368.65     0.23%    -3,272.00       15,056.76     0.60%    -13,960.11
             0.00     0.00%       413.70    0.16%     -413.70             0.00       0.00%           0.00    Total Supplemental Pay              1,096.65    0.04%      4,368.65     0.23%    -3,272.00       17,105.80     0.68%    -16,009.15
           687.65      0.18%       344.59    0.13%      343.06            0.00        0.00%        687.65    Worker's Compensation                5,124.88    0.19%      3,486.45     0.18%     1,638.43            0.00     0.00%      5,124.88
           467.49      0.12%         0.00    0.00%      467.49          886.10        0.54%       -418.61    Group Insurance                     10,080.54    0.36%          0.00     0.00%    10,080.54       14,640.90     0.59%     -4,560.36
             0.00      0.00%         0.00    0.00%         0.00           0.00        0.00%          0.00    Bonus and Incentive Pay                  0.00    0.00%          0.00     0.00%         0.00        6,121.10     0.24%     -6,121.10
        1,155.14      0.31%       344.59    0.13%      810.55          886.10        0.54%        269.04     Total Other Benefits               15,205.42    0.55%      3,486.45     0.18%    11,718.97       20,762.00     0.83%     -5,556.58
        2,000.19      0.53%     1,632.52    0.62%      367.67        1,356.77        0.82%        643.42     Total S&M PR Taxes and Benefits    23,191.61    0.84%     17,650.48     0.92%     5,541.13       46,036.86     1.84%    -22,845.25

       12,219.99      3.25%    12,198.77    4.65%       21.22        8,213.91        4.97%       4,006.08    Total S&M Payroll                 100,482.35    3.63%    120,749.27     6.28%    -20,266.92     135,125.05     5.41%    -34,642.70

                                                                                                             Other Expenses
           440.00      0.12%       690.00    0.26%     -250.00          793.20        0.48%        -353.20   Advertising-Web/Internet             3,965.00    0.14%      7,935.00     0.41%     -3,970.00       6,382.33     0.26%    -2,417.33
           200.00      0.05%         0.00    0.00%      200.00            0.00        0.00%         200.00   Billboards                             800.00    0.03%      2,400.00     0.12%     -1,600.00       2,400.00     0.10%    -1,600.00
             0.00      0.00%         0.00    0.00%        0.00            0.00        0.00%           0.00   Brochures                                0.00    0.00%          0.00     0.00%          0.00          83.46     0.00%       -83.46
             0.00      0.00%        50.00    0.02%      -50.00            0.00        0.00%           0.00   Communication Expense                    0.00    0.00%        500.00     0.03%       -500.00         300.00     0.01%      -300.00
         1,671.19      0.44%     1,334.00    0.51%      337.19        2,754.95        1.67%      -1,083.76   Dues and Subscriptions              17,334.74    0.63%     31,339.00     1.63%    -14,004.26       6,629.49     0.27%    10,705.25
         1,196.18      0.32%         0.00    0.00%    1,196.18            0.00        0.00%       1,196.18   GDS Marketing Advert & Sales         4,613.73    0.17%          0.00     0.00%      4,613.73           0.00     0.00%     4,613.73
             0.00      0.00%        75.00    0.03%      -75.00            0.00        0.00%           0.00   Meals and Entertainment                 29.45    0.00%        525.00     0.03%       -495.55         275.41     0.01%      -245.96
             0.00      0.00%         0.00    0.00%        0.00            0.00        0.00%           0.00   Office Supplies                        321.37    0.01%          0.00     0.00%        321.37         997.66     0.04%      -676.29
             0.00      0.00%         0.00    0.00%        0.00            0.00        0.00%           0.00   Printing and Stationery                 80.19    0.00%          0.00     0.00%         80.19           0.00     0.00%        80.19
           422.16      0.11%       250.00    0.10%      172.16            0.00        0.00%         422.16   Promotions - In-house                  547.18    0.02%      1,750.00     0.09%     -1,202.82       1,647.64     0.07%    -1,100.46
             0.00      0.00%         0.00    0.00%        0.00            0.00        0.00%           0.00   Software Expense/Maintenance             0.00    0.00%      2,000.00     0.10%     -2,000.00           0.00     0.00%         0.00
             0.00      0.00%       750.00    0.29%     -750.00            0.00        0.00%           0.00   Training                             1,349.00    0.05%      2,250.00     0.12%       -901.00          37.27     0.00%     1,311.73
           346.56      0.09%         0.00    0.00%      346.56            0.00        0.00%         346.56   Travel                                 419.36    0.02%          0.00     0.00%        419.36          88.84     0.00%       330.52
        4,276.09      1.14%     3,149.00    1.20%    1,127.09        3,548.15        2.15%         727.94    Total S&M Other Expenses           29,460.02    1.07%     48,699.00     2.53%    -19,238.98      18,842.10     0.75%    10,617.92

       16,496.08      4.38%    15,347.77    5.85%    1,148.31       11,762.06        7.11%       4,734.02    Total S&M Expenses                129,942.37    4.70%    169,448.27     8.81%    -39,505.90     153,967.15     6.16%    -24,024.78




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                                                                                 Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year      %            Variance                                               YTD    %        YTD Budget %              Variance   YTD Last Year   %           Variance

                                                                                                            R&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         4,343.55      1.15%     4,210.16    1.60%     133.39        4,847.96        2.93%        -504.41   Division Management                    42,370.82    1.53%     41,080.06     2.14%     1,290.76      37,304.14     1.49%      5,066.68
        4,343.55      1.15%     4,210.16    1.60%     133.39        4,847.96        2.93%        -504.41    Total R&M Management                  42,370.82    1.53%     41,080.06     2.14%     1,290.76      37,304.14     1.49%      5,066.68
         4,527.27      1.20%     3,868.80    1.47%     658.47        3,046.23        1.84%       1,481.04   Engineers 1                            34,250.94    1.24%     37,939.20     1.97%    -3,688.26      27,111.25     1.08%      7,139.69
        4,527.27      1.20%     3,868.80    1.47%     658.47        3,046.23        1.84%       1,481.04    Total R&M Non-Management              34,250.94    1.24%     37,939.20     1.97%    -3,688.26      27,111.25     1.08%      7,139.69

        8,870.82      2.36%     8,078.96    3.08%     791.86        7,894.19        4.77%         976.63    Total R&M Salaries and Wages          76,621.76    2.77%     79,019.26     4.11%    -2,397.50      64,415.39     2.58%    12,206.37

                                                                                                            PR Taxes and Benefits
           686.21      0.18%       630.65    0.24%       55.56         554.08        0.34%         132.13   FICA                                    6,070.33    0.22%      6,178.15     0.32%      -107.82       6,244.61     0.25%       -174.28
             6.41      0.00%         3.46    0.00%        2.95           0.00        0.00%           6.41   Federal Unemployment Tax                  158.38    0.01%        128.44     0.01%        29.94           0.00     0.00%        158.38
            31.84      0.01%        22.26    0.01%        9.58           0.00        0.00%          31.84   State Unemployment Tax                    883.45    0.03%      1,056.36     0.05%      -172.91           0.00     0.00%        883.45
          724.46      0.19%       656.37    0.25%        68.09        554.08        0.34%         170.38    Total Payroll Taxes                    7,112.16    0.26%      7,362.95     0.38%      -250.79       6,244.61     0.25%        867.55
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Holiday                                   873.60    0.03%          0.00     0.00%       873.60       1,691.12     0.07%       -817.52
             0.00      0.00%       164.84    0.06%     -164.84         196.16        0.12%        -196.16   Vacation                                  124.80    0.00%      1,740.71     0.09%    -1,615.91      12,562.31     0.50%    -12,437.51
             0.00     0.00%       164.84    0.06%     -164.84         196.16        0.12%        -196.16    Total Supplemental Pay                   998.40    0.04%      1,740.71     0.09%      -742.31      14,253.43     0.57%    -13,255.03
           395.03      0.10%       258.72    0.10%      136.31           0.00        0.00%         395.03   Worker's Compensation                   3,965.16    0.14%      2,620.27     0.14%     1,344.89           0.00     0.00%      3,965.16
           -28.02     -0.01%         0.00    0.00%      -28.02          97.64        0.06%        -125.66   Group Insurance                         2,546.38    0.09%          0.00     0.00%     2,546.38       1,335.00     0.05%      1,211.38
          367.01      0.10%       258.72    0.10%      108.29           97.64       0.06%         269.37    Total Other Benefits                   6,511.54    0.24%      2,620.27     0.14%     3,891.27       1,335.00     0.05%      5,176.54
        1,091.47      0.29%     1,079.93    0.41%        11.54        847.88        0.51%         243.59    Total R&M PR Taxes and Benefits       14,622.10    0.53%     11,723.93     0.61%     2,898.17      21,833.04     0.87%     -7,210.94

        9,962.29      2.65%     9,158.89    3.49%     803.40        8,742.07        5.29%       1,220.22    Total R&M Payroll                     91,243.86    3.30%     90,743.19     4.72%       500.67      86,248.43     3.45%      4,995.43

                                                                                                            Other Expenses
           325.39      0.09%       200.00    0.08%      125.39         224.19        0.14%         101.20   Air Conditioning and Refrigeration      8,261.76    0.30%      2,000.00     0.10%     6,261.76       1,483.11     0.06%     6,778.65
             0.00      0.00%       250.00    0.10%     -250.00           0.00        0.00%           0.00   Building                                  727.99    0.03%      2,500.00     0.13%    -1,772.01       1,041.95     0.04%      -313.96
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Communication Expense                     250.00    0.01%          0.00     0.00%       250.00           0.00     0.00%       250.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Contract Labor                          3,000.00    0.11%          0.00     0.00%     3,000.00       3,443.77     0.14%      -443.77
            12.15      0.00%        50.00    0.02%      -37.85         129.56        0.08%        -117.41   Electric Bulbs                            472.89    0.02%        500.00     0.03%       -27.11       1,329.44     0.05%      -856.55
            50.16      0.01%       100.00    0.04%      -49.84           0.00        0.00%          50.16   Electrical and Mechanical               2,526.49    0.09%      1,000.00     0.05%     1,526.49         460.57     0.02%     2,065.92
           428.91      0.11%       450.00    0.17%      -21.09           0.00        0.00%         428.91   Elevator Maintenance Contracts          4,117.73    0.15%      4,500.00     0.23%      -382.27           0.00     0.00%     4,117.73
             0.00      0.00%         0.00    0.00%        0.00         417.17        0.25%        -417.17   Equipment Maintenance                       0.00    0.00%          0.00     0.00%         0.00       6,024.80     0.24%    -6,024.80
             0.00      0.00%       300.00    0.11%     -300.00           0.00        0.00%           0.00   Fire Safety Equipment                   9,510.86    0.34%      4,700.00     0.24%     4,810.86       3,907.90     0.16%     5,602.96
           433.27      0.12%         0.00    0.00%      433.27           0.00        0.00%         433.27   Floor and Carpet Maintenance              621.07    0.02%      6,000.00     0.31%    -5,378.93       5,198.14     0.21%    -4,577.07
             0.00      0.00%        50.00    0.02%      -50.00           0.00        0.00%           0.00   Furniture                               1,180.89    0.04%        500.00     0.03%       680.89         838.90     0.03%       341.99
         3,654.22      0.97%     1,000.00    0.38%    2,654.22         576.00        0.35%       3,078.22   Grounds and Landscaping                18,831.07    0.68%     10,000.00     0.52%     8,831.07       9,056.29     0.36%     9,774.78
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Indoor Plant Maintenance                    0.00    0.00%          0.00     0.00%         0.00       1,966.47     0.08%    -1,966.47
             0.00      0.00%        50.00    0.02%      -50.00           0.00        0.00%           0.00   Kitchen Equipment Repairs               2,334.50    0.08%        500.00     0.03%     1,834.50           0.00     0.00%     2,334.50
             0.00      0.00%       150.00    0.06%     -150.00           0.00        0.00%           0.00   Laundry Equipment Repairs               7,058.40    0.26%      1,500.00     0.08%     5,558.40       2,395.50     0.10%     4,662.90
           711.20      0.19%        35.00    0.01%      676.20           0.00        0.00%         711.20   Locks and Keys                          3,076.27    0.11%        350.00     0.02%     2,726.27       3,326.49     0.13%      -250.22
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Operating Supplies                      1,124.54    0.04%          0.00     0.00%     1,124.54           0.00     0.00%     1,124.54
           205.72      0.05%        75.00    0.03%      130.72           4.76        0.00%         200.96   Painting and Decorating                   942.39    0.03%        750.00     0.04%       192.39         855.01     0.03%        87.38
           368.01      0.10%       395.00    0.15%      -26.99         394.10        0.24%         -26.09   Pest Control                            4,623.57    0.17%      3,950.00     0.21%       673.57       2,640.55     0.11%     1,983.02
           787.17      0.21%       150.00    0.06%      637.17          32.66        0.02%         754.51   Plumbing and Heating                    3,317.72    0.12%      1,500.00     0.08%     1,817.72       5,052.74     0.20%    -1,735.02
             0.00      0.00%       175.00    0.07%     -175.00           0.00        0.00%           0.00   Pool Chemicals                          3,197.30    0.12%      1,750.00     0.09%     1,447.30           0.00     0.00%     3,197.30
             0.00      0.00%         0.00    0.00%        0.00           8.59        0.01%          -8.59   Pool Service- Contract                      0.00    0.00%          0.00     0.00%         0.00       1,829.27     0.07%    -1,829.27
           104.00      0.03%         0.00    0.00%      104.00           0.00        0.00%         104.00   Radio and Television Repair               933.00    0.03%          0.00     0.00%       933.00        -220.00    -0.01%     1,153.00
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Signage                                 1,953.00    0.07%          0.00     0.00%     1,953.00           0.00     0.00%     1,953.00
             0.00      0.00%       164.00    0.06%     -164.00           0.00        0.00%           0.00   Software Expense/Maintenance                0.00    0.00%      2,140.00     0.11%    -2,140.00           0.00     0.00%         0.00
            55.79      0.01%        50.00    0.02%        5.79           0.00        0.00%          55.79   Tools                                   1,014.50    0.04%        500.00     0.03%       514.50           0.00     0.00%     1,014.50
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Uniforms                                    0.00    0.00%          0.00     0.00%         0.00         382.96     0.02%      -382.96
             0.00      0.00%       100.00    0.04%     -100.00          25.00        0.02%         -25.00   Vehicle Maintenance & Repairs              22.00    0.00%      1,000.00     0.05%      -978.00         554.45     0.02%      -532.45
           635.51      0.17%       700.00    0.27%      -64.49         922.00        0.56%        -286.49   Waste Removal                           6,978.74    0.25%      7,000.00     0.36%       -21.26       6,421.17     0.26%       557.57
        7,771.50      2.07%     4,444.00    1.69%    3,327.50       2,734.03        1.65%       5,037.47    Total R&M Other Expenses              86,076.68    3.11%     52,640.00     2.74%    33,436.68      57,989.48     2.32%    28,087.20

       17,733.79      4.71%    13,602.89    5.18%    4,130.90      11,476.10        6.94%       6,257.69    Total R&M Expenses                   177,320.54    6.41%    143,383.19     7.46%    33,937.35     144,237.91     5.77%    33,082.63



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                                                                                 Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year      %            Variance                                            YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            Utilities
         1,826.49      0.49%     3,432.93    1.31%   -1,606.44       2,949.66        1.78%      -1,123.17   Water                               15,983.35    0.58%     26,604.90     1.38%   -10,621.55      31,394.02     1.26%   -15,410.67
           798.74      0.21%         0.00    0.00%      798.74           0.00        0.00%         798.74   Electric Bulbs                       3,471.17    0.13%          0.00     0.00%     3,471.17           0.00     0.00%     3,471.17
        10,901.29      2.90%    10,494.16    4.00%      407.13      10,846.88        6.56%          54.41   Electricity                        122,638.41    4.44%     81,328.80     4.23%    41,309.61     121,469.82     4.86%     1,168.59
         2,340.97      0.62%     1,507.14    0.57%      833.83       1,339.34        0.81%       1,001.63   Gas - Natural HLP                   18,645.72    0.67%     11,680.20     0.61%     6,965.52      11,727.88     0.47%     6,917.84
         3,374.88      0.90%     3,712.03    1.41%     -337.15           0.00        0.00%       3,374.88   Sewer                               32,066.34    1.16%     28,767.90     1.50%     3,298.44           0.00     0.00%    32,066.34
       19,242.37      5.11%    19,146.26    7.29%        96.11     15,135.88        9.15%       4,106.49    Total Utilities                   192,804.99    6.97%    148,381.80     7.72%    44,423.19     164,591.72     6.59%    28,213.27




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                                                                                   Company: NAGA Associates LLC Property: Hilton Garden Inn Atlanta North Alphratta
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget    %         Variance    PTD Last Year      %            Variance                                            YTD     %        YTD Budget %              Variance    YTD Last Year    %              Variance

                                                                                                              Fixed
         1,325.84      0.35%     1,326.00     0.51%        -0.16       1,591.88        0.96%        -266.04   Personal Property Taxes             13,349.20     0.48%     13,260.00     0.69%        89.20        13,524.44     0.54%          -175.24
        30,601.49      8.13%    30,602.00    11.66%        -0.51      30,601.49       18.51%           0.00   Real Estate Taxes                  306,014.90    11.07%    306,020.00    15.92%         -5.10      306,014.90    12.25%             0.00
       31,927.33      8.49%    31,928.00    12.16%        -0.67      32,193.37       19.47%        -266.04    Total Taxes                       319,364.10    11.55%    319,280.00    16.61%         84.10      319,539.34    12.79%          -175.24
           385.08      0.10%         0.00     0.00%      385.08        7,332.14        4.43%      -6,947.06   Insurance                           13,055.36     0.47%          0.00     0.00%    13,055.36        71,063.25     2.84%       -58,007.89
           400.25      0.11%       400.25     0.15%         0.00           0.00        0.00%         400.25   Insurance - Automobile               4,002.50     0.14%      4,002.50     0.21%          0.00            0.00     0.00%         4,002.50
           114.92      0.03%         0.00     0.00%      114.92            0.00        0.00%         114.92   Insurance - Crime                      344.76     0.01%          0.00     0.00%       344.76             0.00     0.00%           344.76
           608.75      0.16%       125.00     0.05%      483.75            0.00        0.00%         608.75   Insurance - Employment               2,584.27     0.09%      1,250.00     0.07%     1,334.27             0.00     0.00%         2,584.27
         1,972.83      0.52%     1,722.00     0.66%      250.83            0.00        0.00%       1,972.83   Insurance - General Liability       19,669.50     0.71%     17,220.00     0.90%     2,449.50             0.00     0.00%        19,669.50
         2,145.75      0.57%     2,145.75     0.82%         0.00           0.00        0.00%       2,145.75   Insurance - Property                21,457.50     0.78%     21,457.50     1.12%          0.00            0.00     0.00%        21,457.50
         3,066.92      0.82%     2,980.17     1.14%       86.75            0.00        0.00%       3,066.92   Insurance - Umbrella                30,061.92     1.09%     29,801.70     1.55%       260.22             0.00     0.00%        30,061.92
        8,694.50      2.31%     7,373.17     2.81%    1,321.33        7,332.14        4.43%       1,362.36    Total Insurance                    91,175.81     3.30%     73,731.70     3.83%    17,444.11        71,063.25     2.84%        20,112.56
        60,840.00     16.17%    60,840.00    23.18%         0.00      59,211.43       35.81%       1,628.57   Ground Lease Expense               601,886.58    21.77%    601,884.00    31.30%          2.58      587,360.11    23.51%        14,526.47
         1,003.03      0.27%       933.00     0.36%       70.03          978.04        0.59%          24.99   Vehicle Leases                       9,884.73     0.36%      9,330.00     0.49%       554.73         7,593.65     0.30%         2,291.08
       61,843.03     16.44%    61,773.00    23.53%        70.03      60,189.47       36.40%       1,653.56    Total Leases & Rent               611,771.31    22.13%    611,214.00    31.79%       557.31       594,953.76    23.81%        16,817.55
        11,788.08      3.13%     7,874.54     3.00%    3,913.54        4,131.00        2.50%       7,657.08   Management Fee - Base               87,748.56     3.17%     59,531.71     3.10%    28,216.85        62,439.00     2.50%        25,309.56
             0.00      0.00%         0.00     0.00%         0.00       3,733.55        2.26%      -3,733.55   Management Fee - Incentive               0.00     0.00%          0.00     0.00%          0.00       11,004.00     0.44%       -11,004.00
       11,788.08      3.13%     7,874.54     3.00%    3,913.54        7,864.55        4.76%       3,923.53    Total Management Fees              87,748.56     3.17%     59,531.71     3.10%    28,216.85        73,443.00     2.94%        14,305.56
             0.00      0.00%         0.00     0.00%         0.00      27,078.95       16.38%     -27,078.95   Capital Reserve                     40,516.26     1.47%          0.00     0.00%    40,516.26       270,789.50    10.84%      -230,273.24
             0.00      0.00%         0.00     0.00%         0.00      89,189.00       53.94%     -89,189.00   (Gain)/Loss-Insurance                    0.00     0.00%          0.00     0.00%          0.00      891,890.00    35.69%      -891,890.00
             0.00      0.00%         0.00     0.00%         0.00           0.00        0.00%           0.00   Owner's Expense                        949.17     0.03%          0.00     0.00%       949.17        12,140.83     0.49%       -11,191.66
             0.00      0.00%         0.00     0.00%         0.00           0.00        0.00%           0.00   Non Recurring Cost                       0.00     0.00%          0.00     0.00%          0.00         -932.94    -0.04%           932.94
             0.00      0.00%         0.00     0.00%         0.00       3,000.00        1.81%      -3,000.00   Extraordinary Expense                    0.00     0.00%          0.00     0.00%          0.00        7,592.07     0.30%        -7,592.07
             0.00      0.00%         0.00     0.00%         0.00           0.00        0.00%           0.00   Prior Owner's Expense                6,210.97     0.22%          0.00     0.00%     6,210.97             0.00     0.00%         6,210.97
             0.00     0.00%          0.00    0.00%          0.00    119,267.95       72.13%    -119,267.95    Total Other Non-Operating          47,676.40     1.72%           0.00    0.00%    47,676.40     1,181,479.46    47.28%    -1,133,803.06




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                                                                                     Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                                        YTD     %          YTD Budget %               Variance    YTD Last Year     %             Variance

                                                                                                              Statistics
           117.00                   117.00                    0.00         117.00                      0.00   # Rooms                                            117.00                   117.00                     0.00          117.00                        0.00
         3,627.00                 3,627.00                    0.00       3,627.00                      0.00   Available Rooms                                 35,568.00                35,568.00                     0.00       35,685.00                     -117.00
         2,739.00                 2,248.00                  491.00       1,608.00                  1,131.00   Room Nights Sold                                23,931.00                20,660.00                 3,271.00       15,632.00                    8,299.00
          75.52%                   61.98%                  13.54%         44.33%                    31.18%    Occupancy %                                       67.28%                   58.09%                    9.20%          43.81%                      23.48%
            97.39                    82.03                   15.36          73.18                     24.20   ADR                                                 98.93                    82.39                    16.54           83.48                       15.45
            73.54                    50.84                   22.70          32.45                     41.10   RevPar                                              66.57                    47.86                    18.71           36.57                       30.00

                                                                                                              Summary V.11
                                                                                                              Revenue
       266,744.11     88.18%   184,396.40     90.42%    82,347.71      117,678.04     84.07%     149,066.07   Rooms                                        2,367,597.77    91.84%    1,702,236.58    90.44%    665,361.19    1,304,973.81     87.65%     1,062,623.96
        31,270.42     10.34%    18,136.16      8.89%    13,134.26       19,808.04     14.15%      11,462.38   F&B                                            172,879.20     6.71%      166,884.62     8.87%      5,994.58      148,032.07      9.94%        24,847.13
         4,479.03      1.48%     1,411.40      0.69%     3,067.63        2,493.64      1.78%       1,985.39   Other Departments                               37,538.93     1.46%       13,127.30     0.70%     24,411.63       35,788.54      2.40%         1,750.39

      302,493.56    100.00%    203,943.96    100.00%    98,549.60     139,979.72     100.00%    162,513.84    Total Operating Revenue                     2,578,015.90    100.00%   1,882,248.50 100.00%      695,767.40    1,488,794.42 100.00%        1,089,221.48

                                                                                                              Departmental Expenses
        60,828.28    22.80%     60,261.63     32.68%        566.65      43,391.59     36.87%      17,436.69   Rooms                                         577,241.60     24.38%     574,952.42     33.78%      2,289.18      392,843.72     30.10%      184,397.88
        29,371.69    93.93%     21,109.32    116.39%      8,262.37      17,163.68     86.65%      12,208.01   F&B                                           272,227.60    157.47%     214,622.26    128.61%     57,605.34      164,709.27    111.27%      107,518.33
         5,624.01   125.56%      5,259.04    372.61%        364.97       5,219.18    209.30%         404.83   Other Departments                              33,846.03     90.16%      51,949.07    395.73%    -18,103.04       35,973.70    100.52%       -2,127.67

       95,823.98     31.68%     86,629.99    42.48%      9,193.99      65,774.45     46.99%      30,049.53    Total Departmental Expenses                  883,315.23     34.26%     841,523.75     44.71%     41,791.48      593,526.69     39.87%      289,788.54

      206,669.58     68.32%    117,313.97    57.52%     89,355.61      74,205.27     53.01%     132,464.31    Total Departmental Profit                   1,694,700.67    65.74%    1,040,724.75    55.29%    653,975.92      895,267.73     60.13%      799,432.94

                                                                                                              Undistributed Operating Expenses
        31,608.51     10.45%    23,191.18     11.37%      8,417.33      14,584.16     10.42%      17,024.35   A&G                                           304,704.92     11.82%     230,253.83     12.23%     74,451.09      238,752.62     16.04%       65,952.30
             0.00      0.00%         0.00      0.00%          0.00           0.00      0.00%           0.00   IT                                                  0.00      0.00%           0.00      0.00%          0.00            0.00      0.00%            0.00
        11,566.09      3.82%    10,428.86      5.11%      1,137.23       6,438.27      4.60%       5,127.82   S&M                                            95,810.79      3.72%     109,386.94      5.81%    -13,576.15       71,882.69      4.83%       23,928.10
        31,413.55     10.38%    23,217.29     11.38%      8,196.26      19,615.99     14.01%      11,797.56   Franchise Fees                                318,243.30     12.34%     214,560.66     11.40%    103,682.64      175,941.68     11.82%      142,301.62
        14,515.73      4.80%    14,796.35      7.26%       -280.62       7,881.46      5.63%       6,634.27   R&M                                           162,707.77      6.31%     156,431.18      8.31%      6,276.59      108,029.07      7.26%       54,678.70
        18,955.61      6.27%    12,993.44      6.37%      5,962.17      12,905.13      9.22%       6,050.48   Utilities                                     165,044.61      6.40%     122,565.08      6.51%     42,479.53      116,159.99      7.80%       48,884.62

      108,059.49     35.72%     84,627.12    41.50%     23,432.37      61,425.01     43.88%      46,634.48    Total Undistributed Expenses                1,046,511.39    40.59%     833,197.69     44.27%    213,313.70      710,766.05     47.74%      335,745.34

       98,610.09     32.60%     32,686.85    16.03%     65,923.24      12,780.26      9.13%      85,829.83    Gross Operating Profit                    648,189.28        25.14%     207,527.06     11.03%    440,662.22      184,501.68     12.39%      463,687.60
        10,042.49      3.32%      6,118.32     3.00%      3,924.17       7,231.55      5.17%       2,810.94   Management Fees                             83,088.98         3.22%      58,348.48      3.10%     24,740.50       48,198.00      3.24%       34,890.98
       88,567.60     29.28%     26,568.53    13.03%     61,999.07       5,548.71      3.96%      83,018.89    Income Before Non-Operating Income and Expenses
                                                                                                                                                        565,100.30        21.92%     149,178.58      7.93%    415,921.72      136,303.68      9.16%      428,796.62

                                                                                                              Non-Operating Income and Expenses
         1,234.05      0.41%      5,709.25     2.80%     -4,475.20       5,550.44      3.97%      -4,316.39   Insurance                                       6,612.35      0.26%      57,092.50      3.03%    -50,480.15       53,843.88      3.62%       -47,231.53
        29,136.39      9.63%     29,148.39    14.29%        -12.00      28,496.37     20.36%         640.02   Leases & Rent                                 287,558.47     11.15%     288,923.90     15.35%     -1,365.43      283,086.63     19.01%         4,471.84
        15,982.52      5.28%          0.00     0.00%     15,982.52      56,892.75     40.64%     -40,910.23   Other                                          38,625.77      1.50%           0.00      0.00%     38,625.77      585,155.41     39.30%      -546,529.64
       46,352.96     15.32%     34,857.64    17.09%     11,495.32      90,939.56     64.97%     -44,586.60    Total Non-Operating Income and Expenses      332,796.59     12.91%     346,016.40     18.38%    -13,219.81      922,085.92     61.94%      -589,289.33

       42,214.64     13.96%     -8,289.11     -4.06%    50,503.75     -85,390.85     -61.00%    127,605.49    EBITDA                                        232,303.71     9.01%    -196,837.82 -10.46%       429,141.53     -785,782.24     -52.78%    1,018,085.95
             0.00      0.00%          0.00      0.00%         0.00      22,775.00      16.27%    -22,775.00   Interest                                             0.00     0.00%           0.00   0.00%             0.00      227,153.21      15.26%     -227,153.21
        13,672.60      4.52%     19,531.00      9.58%    -5,858.40      19,587.95      13.99%     -5,915.35   Taxes                                          160,159.90     6.21%     195,310.00  10.38%       -35,150.10      195,367.85      13.12%      -35,207.95
             0.00      0.00%          0.00      0.00%         0.00       2,184.00       1.56%     -2,184.00   Amortization                                         0.00     0.00%           0.00   0.00%             0.00       21,840.00       1.47%      -21,840.00
       13,672.60      4.52%     19,531.00      9.58%    -5,858.40      44,546.95      31.82%    -30,874.35    Interest, Taxes, Depreciation and Amortization160,159.90     6.21%     195,310.00 10.38%        -35,150.10      444,361.06      29.85%     -284,201.16

       28,542.04      9.44%    -27,820.11    -13.64%    56,362.15    -129,937.80     -92.83%    158,479.84    Net Income                                     72,143.81     2.80%    -392,147.82 -20.83%       464,291.63    -1,230,143.30    -82.63%    1,302,287.11




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                                                                                  Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget    %         Variance   PTD Last Year    %            Variance                                            YTD     %         YTD Budget %              Variance   YTD Last Year     %           Variance

                                                                                                           Statistics
           117.00                  117.00                 0.00          117.00                      0.00   # Rooms                                117.00                  117.00                    0.00         117.00                      0.00
         3,627.00                3,627.00                 0.00        3,627.00                      0.00   Available Rooms                     35,568.00               35,568.00                    0.00      35,685.00                   -117.00
         2,739.00                2,248.00               491.00        1,608.00                  1,131.00   Room Nights Sold                    23,931.00               20,660.00                3,271.00      15,632.00                  8,299.00
             0.76                    0.62                 0.14            0.44                      0.31   Occupancy %                              0.67                    0.58                    0.09           0.44                      0.23
            97.39                   82.03                15.36           73.18                     24.20   ADR                                     98.93                   82.39                   16.54          83.48                     15.45
            73.54                   50.84                22.70           32.45                     41.10   RevPar                                  66.57                   47.86                   18.71          36.57                     30.00

                                                                                                           Summary
                                                                                                           Revenue:
       266,744.11     88.18%   184,396.40   90.42%    82,347.71     117,678.04     84.07%     149,066.07   Rooms                            2,367,597.77   91.84%    1,702,236.58    90.44%   665,361.19   1,304,973.81    87.65%    1,062,623.96
        17,519.89      5.79%    12,902.56    6.33%     4,617.33       8,456.47      6.04%       9,063.42   Food                               108,361.80    4.20%      118,046.92     6.27%    -9,685.12      77,761.10     5.22%       30,600.70
         9,528.53      3.15%     4,383.60    2.15%     5,144.93       5,098.39      3.64%       4,430.14   Beverage                            49,999.59    1.94%       40,337.70     2.14%     9,661.89      36,735.58     2.47%       13,264.01
         4,222.00      1.40%       850.00    0.42%     3,372.00       6,253.18      4.47%      -2,031.18   Other F&B Revenue                   14,517.81    0.56%        8,500.00     0.45%     6,017.81      33,535.39     2.25%      -19,017.58
             0.00      0.00%         0.00    0.00%         0.00           4.64      0.00%          -4.64   Telephone                               89.77    0.00%            0.00     0.00%        89.77         233.67     0.02%         -143.90
         4,479.03      1.48%     1,411.40    0.69%     3,067.63       2,489.00      1.78%       1,990.03   Other                               37,449.16    1.45%       13,127.30     0.70%    24,321.86      35,554.87     2.39%        1,894.29

       302,493.56   100.00%    203,943.96   100.00%   98,549.60     139,979.72    100.00%     162,513.84   Total Revenue                    2,578,015.90   100.00%   1,882,248.50   100.00%   695,767.40   1,488,794.42    100.00%   1,089,221.48



                                                                                                           Cost of Sales:
         9,012.22     51.44%     4,275.82    33.14%    4,736.40       5,032.80     59.51%       3,979.42   Food                                85,784.85   79.17%      39,205.02     33.21%    46,579.83      40,529.89    52.12%      45,254.96
         1,450.33     15.22%     1,052.06    24.00%      398.27       1,567.01     30.74%        -116.68   Beverage                            11,708.54   23.42%       9,681.05     24.00%     2,027.49       9,785.66    26.64%       1,922.88
           942.23     22.32%         0.00     0.00%      942.23           0.00      0.00%         942.23   Other F&B                            2,789.32   19.21%           0.00      0.00%     2,789.32         121.10     0.36%       2,668.22
         2,856.97     63.79%     2,273.96   161.11%      583.01         863.70     34.64%       1,993.27   Telephone                           15,533.94   41.38%      22,739.60    173.22%    -7,205.66       7,551.12    21.10%       7,982.82
           870.08     19.43%       847.41    60.04%       22.67         792.80     31.79%          77.28   Other                               12,415.99   33.07%       7,832.77     59.67%     4,583.22      12,153.54    33.96%         262.45

        15,131.83   337.84%      8,449.25   598.64%    6,682.58       8,256.31    331.09%       6,875.52   Total Cost of Sales                128,232.64   341.60%     79,458.44    605.29%    48,774.20      70,141.31    195.99%     58,091.33



                                                                                                           Payroll:
        34,899.18     13.08%    33,025.25   17.91%     1,873.93      23,155.63     19.68%      11,743.55   Rooms                              339,919.55   14.36%     318,484.12     18.71%    21,435.43     220,243.46    16.88%     119,676.09
        14,211.89     45.45%    12,758.71   70.35%     1,453.18       8,887.23     44.87%       5,324.66   F&B                                108,604.90   62.82%     125,117.68     74.97%   -16,512.78      80,276.56    54.23%      28,328.34
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Other                                    0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
        10,868.89      3.59%     9,643.71    4.73%     1,225.18      10,584.67      7.56%         284.22   A&G                                100,961.25    3.92%      94,285.61      5.01%     6,675.64      92,388.18     6.21%       8,573.07
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   IT                                       0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
         5,706.04      1.89%     5,472.11    2.68%       233.93       5,214.29      3.73%         491.75   S&M                                 53,980.72    2.09%      53,335.09      2.83%       645.63      49,312.41     3.31%       4,668.31
         5,499.62      1.82%     6,696.00    3.28%    -1,196.38       2,019.82      1.44%       3,479.80   R&M                                 50,976.62    1.98%      65,664.00      3.49%   -14,687.38      32,442.56     2.18%      18,534.06
        71,185.62     23.53%    67,595.78   33.14%     3,589.84      49,861.64     35.62%      21,323.98   Total Salaries and Wages           654,443.04   25.39%     656,886.50     34.90%    -2,443.46     474,663.17    31.88%     179,779.87

        11,384.62      3.76%    11,638.89    5.71%      -254.27      11,070.59      7.91%         314.03   Total Taxes and Benefits            92,819.98    3.60%     121,742.81      6.47%   -28,922.83     138,818.61     9.32%     -45,998.63
        82,570.24     27.30%    79,234.67   38.85%     3,335.57      60,932.23     43.53%      21,638.01   Total Labor Costs                  747,263.02   28.99%     778,629.31     41.37%   -31,366.29     613,481.78    41.21%     133,781.24



                                                                                                           Direct Expenses:
        20,377.64      7.64%    21,875.14    11.86%   -1,497.50      15,054.80     12.79%       5,322.84   Rooms                              188,653.04    7.97%     200,537.93     11.78%   -11,884.89     116,257.79     8.91%      72,395.25
         3,227.63     10.32%     1,190.00     6.56%    2,037.63         234.93      1.19%       2,992.70   F&B                                 50,230.10   29.06%      21,150.00     12.67%    29,080.10      12,415.22     8.39%      37,814.88
         1,896.96     42.35%     2,137.67   151.46%     -240.71       3,562.68    142.87%      -1,665.72   Telephone                            5,896.10   15.71%      21,376.70    162.84%   -15,480.60      16,269.04    45.46%     -10,372.94
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Other                                    0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
        31,413.55     10.38%    23,217.29    11.38%    8,196.26      19,615.99     14.01%      11,797.56   Franchise Fees                     318,243.30   12.34%     214,560.66     11.40%   103,682.64     175,941.68    11.82%     142,301.62
        19,679.07      6.51%    10,914.30     5.35%    8,764.77       1,440.02      1.03%      18,239.05   A&G                                189,295.20    7.34%     108,889.77      5.79%    80,405.43     105,617.90     7.09%      83,677.30
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   IT                                       0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
         1,912.63      0.63%     4,009.00     1.97%   -2,096.37        -117.23     -0.08%       2,029.86   S&M                                 30,810.50    1.20%      45,998.00      2.44%   -15,187.50      10,308.73     0.69%      20,501.77
         8,718.31      2.88%     7,236.35     3.55%    1,481.96       5,314.60      3.80%       3,403.71   R&M                                106,158.11    4.12%      81,555.55      4.33%    24,602.56      67,699.30     4.55%      38,458.81
        18,955.61      6.27%    12,993.44     6.37%    5,962.17      12,905.13      9.22%       6,050.48   Utilities                          165,044.61    6.40%     122,565.08      6.51%    42,479.53     116,159.99     7.80%      48,884.62

       106,181.40     35.10%    83,573.19   40.98%    22,608.21      58,010.92     41.44%      48,170.48   Total Direct Expense             1,054,330.96   40.90%     816,633.69     43.39%   237,697.27     620,669.65    41.69%     433,661.31

        98,610.09     32.60%    32,686.85   16.03%    65,923.24      12,780.26     9.13%       85,829.83   Gross Operating Profit             648,189.28   25.14%     207,527.06     11.03%   440,662.22     184,501.68    12.39%     463,687.60

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                                                                                  Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget    %         Variance   PTD Last Year    %            Variance                                            YTD    %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                           Fixed Costs
        13,672.60      4.52%    19,531.00    9.58%    -5,858.40      19,587.95     13.99%      -5,915.35   Taxes                              160,159.90    6.21%   195,310.00     10.38%   -35,150.10     195,367.85    13.12%      -35,207.95
         1,234.05      0.41%     5,709.25    2.80%    -4,475.20       5,550.44      3.97%      -4,316.39   Insurance                            6,612.35    0.26%    57,092.50      3.03%   -50,480.15      53,843.88     3.62%      -47,231.53
        29,136.39      9.63%    29,148.39   14.29%       -12.00      28,496.37     20.36%         640.02   Leases & Rent                      287,558.47   11.15%   288,923.90     15.35%    -1,365.43     283,086.63    19.01%        4,471.84
        10,042.49      3.32%     6,118.32    3.00%     3,924.17       7,231.55      5.17%       2,810.94   Management Fees                     83,088.98    3.22%    58,348.48      3.10%    24,740.50      48,198.00     3.24%       34,890.98

        54,085.53     17.88%    60,506.96   29.67%    -6,421.43      60,866.31     43.48%      -6,780.78   Total Fixed Expenses               537,419.70   20.85%   599,674.88     31.86%   -62,255.18     580,496.36    38.99%      -43,076.66

        44,524.56     14.72%   -27,820.11   -13.64%   72,344.67     -48,086.05    -34.35%      92,610.61   Net Operating Profit               110,769.58   4.30%    -392,147.82   -20.83%   502,917.40    -395,994.68    -26.60%    506,764.26



             0.00      0.00%         0.00    0.00%         0.00      22,775.00     16.27%     -22,775.00   Interest Expense - Other                 0.00   0.00%           0.00    0.00%          0.00     227,153.21    15.26%    -227,153.21
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Owner's Expense                        949.17   0.04%           0.00    0.00%        949.17      13,032.84     0.88%     -12,083.67
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Extraordinary Expense                    0.00   0.00%           0.00    0.00%          0.00       3,195.07     0.21%      -3,195.07
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Non Recurring Cost                   9,317.15   0.36%           0.00    0.00%      9,317.15           0.00     0.00%       9,317.15



        44,524.56     14.72%   -27,820.11   -13.64%   72,344.67     -70,861.05    -50.62%     115,385.61   Net Operating Income               100,503.26   3.90%    -392,147.82   -20.83%   492,651.08    -639,375.80    -42.95%    739,879.06

        15,982.52      5.28%         0.00    0.00%    15,982.52      12,358.75      8.83%       3,623.77   Capital Reserve                     28,359.45   1.10%           0.00    0.00%     28,359.45     123,587.50     8.30%     -95,228.05
             0.00      0.00%         0.00    0.00%         0.00      44,534.00     31.81%     -44,534.00   (Gain)/Loss-Insurance                    0.00   0.00%           0.00    0.00%          0.00     445,340.00    29.91%    -445,340.00

        28,542.04      9.44%   -27,820.11   -13.64%   56,362.15    -127,753.80    -91.27%     156,295.84   Adjusted NOI                        72,143.81   2.80%    -392,147.82   -20.83%   464,291.63   -1,208,303.30   -81.16%   1,280,447.11



             0.00      0.00%         0.00    0.00%         0.00       2,184.00     1.56%       -2,184.00   Amortization                             0.00   0.00%           0.00    0.00%          0.00      21,840.00     1.47%      -21,840.00



        28,542.04      9.44%   -27,820.11   -13.64%   56,362.15    -129,937.80    -92.83%     158,479.84   Net Profit/(Loss)                   72,143.81   2.80%    -392,147.82   -20.83%   464,291.63   -1,230,143.30   -82.63%   1,302,287.11




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                                                                                     Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                            YTD     %          YTD Budget %               Variance   YTD Last Year    %            Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
        30,579.75     11.46%    20,825.00     11.29%     9,754.75          918.78      0.78%      29,660.97   Corporate Transient                218,025.12     9.21%     228,290.10     13.41%    -10,264.98     116,553.09     8.93%     101,472.03
             0.00      0.00%    21,094.08     11.44%   -21,094.08            0.00      0.00%           0.00   Advanced Purchase                      -78.87     0.00%     120,063.61      7.05%   -120,142.48           0.00     0.00%         -78.87
             0.00      0.00%    11,656.00      6.32%   -11,656.00            0.00      0.00%           0.00   AAA/AARP Transient                  17,991.93     0.76%     119,902.42      7.04%   -101,910.49           0.00     0.00%      17,991.93
        10,667.53      4.00%         0.00      0.00%    10,667.53            0.00      0.00%      10,667.53   Consortia Transient                 81,964.88     3.46%           0.00      0.00%     81,964.88           0.00     0.00%      81,964.88
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%           0.00   Leisure Transient                    4,013.77     0.17%           0.00      0.00%      4,013.77           0.00     0.00%       4,013.77
             0.00      0.00%         0.00      0.00%         0.00       61,208.23     52.01%     -61,208.23   Extended Stay Transient                  0.00     0.00%           0.00      0.00%          0.00     401,505.70    30.77%    -401,505.70
        96,300.71     36.10%    33,101.00     17.95%    63,199.71            0.00      0.00%      96,300.71   Internet/E-Commerce                650,782.06    27.49%     271,935.58     15.98%    378,846.48           0.00     0.00%     650,782.06
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%           0.00   E-Commerce Opaque                        0.00     0.00%       6,822.60      0.40%     -6,822.60           0.00     0.00%           0.00
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%           0.00   Other Transient                      7,749.06     0.33%           0.00      0.00%      7,749.06           0.00     0.00%       7,749.06
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%           0.00   Airline Distressed Passenger         1,374.00     0.06%           0.00      0.00%      1,374.00           0.00     0.00%       1,374.00
           540.00      0.20%     1,424.00      0.77%      -884.00            0.00      0.00%         540.00   Government Transient                45,590.45     1.93%      18,690.00      1.10%     26,900.45           0.00     0.00%      45,590.45
        89,483.37     33.55%    47,187.00     25.59%    42,296.37       26,514.11     22.53%      62,969.26   Rack Transient                     724,655.76    30.61%     412,397.45     24.23%    312,258.31     457,762.40    35.08%     266,893.36
        22,750.70      8.53%    16,644.32      9.03%     6,106.38        9,230.52      7.84%      13,520.18   Local Negotiated Transient         148,312.72     6.26%     208,170.32     12.23%    -59,857.60     141,699.23    10.86%       6,613.49

      250,322.06     93.84%    151,931.40    82.39%    98,390.66       97,871.64     83.17%     152,450.42    Total Transient Room Revenue     1,900,380.88   80.27%    1,386,272.08   81.44%     514,108.80    1,117,520.42    85.64%    782,860.46

                                                                                                              Group Room Revenue
           735.00      0.28%      5,340.00     2.90%    -4,605.00          -90.64     -0.08%         825.64   Corporate Group                      5,668.00     0.24%      23,000.00     1.35%     -17,332.00      34,361.34     2.63%     -28,693.34
             0.00      0.00%          0.00     0.00%         0.00          989.00      0.84%        -989.00   Government Group                         0.00     0.00%           0.00     0.00%           0.00       9,006.00     0.69%      -9,006.00
         1,020.00      0.38%          0.00     0.00%     1,020.00            0.00      0.00%       1,020.00   Tour & Travel Group                  9,000.30     0.38%           0.00     0.00%       9,000.30           0.00     0.00%       9,000.30
         6,457.75      2.42%          0.00     0.00%     6,457.75            0.00      0.00%       6,457.75   SMERF Group                         74,372.98     3.14%      20,590.00     1.21%      53,782.98           0.00     0.00%      74,372.98
             0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Sports Group                             0.00     0.00%      16,062.00     0.94%     -16,062.00           0.00     0.00%           0.00
         2,673.00      1.00%          0.00     0.00%     2,673.00       19,455.00     16.53%     -16,782.00   Other Group                         11,408.86     0.48%           0.00     0.00%      11,408.86     154,690.99    11.85%    -143,282.13

       10,885.75      4.08%      5,340.00     2.90%     5,545.75       20,353.36     17.30%      -9,467.61    Total Group Room Revenue          100,450.14     4.24%      59,652.00      3.50%     40,798.14     198,058.33     15.18%     -97,608.19

                                                                                                              Contract Room Revenue
         3,040.00      1.14%         0.00      0.00%     3,040.00            0.00      0.00%       3,040.00   Airline Crews Contract             349,946.80    14.78%           0.00      0.00%    349,946.80           0.00     0.00%     349,946.80
             0.00      0.00%    27,125.00     14.71%   -27,125.00            0.00      0.00%           0.00   Other Contract                           0.00     0.00%     256,312.50     15.06%   -256,312.50           0.00     0.00%           0.00

        3,040.00      1.14%     27,125.00    14.71%    -24,085.00            0.00     0.00%       3,040.00    Total Contract Room Revenue       349,946.80    14.78%     256,312.50    15.06%      93,634.30            0.00    0.00%     349,946.80

                                                                                                              Other Room Revenue
         2,531.30      0.95%          0.00     0.00%     2,531.30          249.07      0.21%       2,282.23   No-Show Rooms                       21,121.37     0.89%           0.00     0.00%     21,121.37        2,171.04     0.17%      18,950.33
             0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Early/Late Departure Fees               45.27     0.00%           0.00     0.00%         45.27            0.00     0.00%          45.27
             0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%           0.00   Pet/Smoking/Damage Fees                400.00     0.02%           0.00     0.00%        400.00            0.00     0.00%         400.00

        2,531.30      0.95%          0.00     0.00%     2,531.30          249.07      0.21%       2,282.23    Total Other Room Revenue           21,566.64     0.91%            0.00     0.00%     21,566.64        2,171.04    0.17%      19,395.60

           -35.00     -0.01%          0.00     0.00%       -35.00         -796.03     -0.68%        761.03    Less: Allowances                    -4,746.69    -0.20%           0.00     0.00%      -4,746.69     -12,775.98    -0.98%       8,029.29

      266,744.11    100.00%    184,396.40    100.00%   82,347.71      117,678.04     100.00%    149,066.07    Total Room Revenue               2,367,597.77   100.00%   1,702,236.58 100.00%      665,361.19    1,304,973.81 100.00%     1,062,623.96

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00      0.00%          0.00     0.00%          0.00         374.26      0.32%        -374.26   Revenue Management                       0.00     0.00%           0.00      0.00%          0.00       5,476.95     0.42%       -5,476.95
             0.00      0.00%      3,105.60     1.68%     -3,105.60           0.00      0.00%           0.00   Housekeeping Management                  0.00     0.00%      30,363.14      1.78%    -30,363.14       6,871.28     0.53%       -6,871.28
             0.00     0.00%      3,105.60     1.68%     -3,105.60         374.26      0.32%        -374.26    Total Rooms Management                   0.00    0.00%      30,363.14      1.78%    -30,363.14      12,348.23     0.95%      -12,348.23
         6,750.22      2.53%      3,507.43     1.90%      3,242.79       5,507.78      4.68%       1,242.44   Front Office Agents                 73,486.47     3.10%      34,395.45      2.02%     39,091.02      44,549.74     3.41%       28,936.73
             0.00      0.00%      2,302.86     1.25%     -2,302.86           0.00      0.00%           0.00   Front Office Supervisors             7,297.45     0.31%      22,582.87      1.33%    -15,285.42           0.00     0.00%        7,297.45
         1,953.97      0.73%      3,224.00     1.75%     -1,270.03       2,506.41      2.13%        -552.44   Night Auditors                      27,677.50     1.17%      31,616.00      1.86%     -3,938.50      27,157.34     2.08%          520.16
         4,560.80      1.71%      6,138.00     3.33%     -1,577.20       4,146.50      3.52%         414.30   Drivers                             59,891.34     2.53%      60,192.00      3.54%       -300.66      38,666.51     2.96%       21,224.83
       13,264.99      4.97%     15,172.29     8.23%     -1,907.30      12,160.69     10.33%       1,104.30    Total Rooms Front Office          168,352.76     7.11%     148,786.32      8.74%     19,566.44     110,373.59     8.46%       57,979.17
         3,236.27      1.21%        921.14     0.50%      2,315.13         906.00      0.77%       2,330.27   Housekeeping Supervisors            25,589.06     1.08%       9,033.13      0.53%     16,555.93       5,545.68     0.42%       20,043.38
        12,944.18      4.85%      8,742.22     4.74%      4,201.96       6,547.08      5.56%       6,397.10   Room Attendants                    105,807.94     4.47%      80,445.53      4.73%     25,362.41      69,927.14     5.36%       35,880.80
         3,725.70      1.40%      2,480.00     1.34%      1,245.70         740.74      0.63%       2,984.96   Housepersons                        17,536.78     0.74%      24,320.00      1.43%     -6,783.22       7,838.91     0.60%        9,697.87
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                                                                                   Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget     %         Variance   PTD Last Year    %            Variance                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

         1,728.04      0.65%      2,604.00    1.41%      -875.96       2,426.86      2.06%        -698.82   Laundry Attendants                       22,633.01    0.96%      25,536.00      1.50%     -2,902.99      14,209.91     1.09%      8,423.10
       21,634.19      8.11%     14,747.36    8.00%     6,886.83      10,620.68      9.03%      11,013.51    Total Rooms Housekeeping               171,566.79    7.25%     139,334.66      8.19%     32,232.13      97,521.64     7.47%     74,045.15

       34,899.18     13.08%     33,025.25    17.91%    1,873.93      23,155.63     19.68%      11,743.55    Total Rooms Salary and Wages           339,919.55    14.36%    318,484.12    18.71%      21,435.43     220,243.46     16.88%   119,676.09

                                                                                                            PR Taxes and Benefits
         1,807.37      0.68%      2,536.11    1.38%      -728.74       1,618.73      1.38%         188.64   FICA                                     26,051.69    1.10%      24,511.71      1.44%      1,539.98      18,573.16     1.42%      7,478.53
          -890.01     -0.33%         13.92    0.01%      -903.93           0.00      0.00%        -890.01   Federal Unemployment Tax                    901.92    0.04%         488.49      0.03%        413.43           0.00     0.00%        901.92
           185.83      0.07%         89.51    0.05%        96.32           0.00      0.00%         185.83   State Unemployment Tax                    4,881.61    0.21%       4,034.32      0.24%        847.29           0.00     0.00%      4,881.61
        1,103.19      0.41%      2,639.54    1.43%    -1,536.35       1,618.73      1.38%        -515.54    Total Payroll Taxes                     31,835.22    1.34%      29,034.52      1.71%      2,800.70      18,573.16     1.42%     13,262.06
             0.00      0.00%          0.00    0.00%         0.00           0.00      0.00%           0.00   Holiday                                   1,084.72    0.05%         600.00      0.04%        484.72       3,433.36     0.26%     -2,348.64
         2,184.00      0.82%        121.79    0.07%     2,062.21       2,820.95      2.40%        -636.95   Vacation                                  2,184.00    0.09%       1,286.11      0.08%        897.89      25,772.17     1.97%    -23,588.17
           176.00      0.07%          0.00    0.00%       176.00           0.00      0.00%         176.00   Sick Pay                                    176.00    0.01%           0.00      0.00%        176.00           0.00     0.00%        176.00
        2,360.00      0.88%        121.79    0.07%     2,238.21       2,820.95      2.40%        -460.95    Total Supplemental Pay                   3,444.72    0.15%       1,886.11      0.11%      1,558.61      29,205.53     2.24%    -25,760.81
         2,272.45      0.85%      1,638.11    0.89%       634.34           0.00      0.00%       2,272.45   Worker's Compensation                    15,450.41    0.65%      15,712.34      0.92%       -261.93           0.00     0.00%     15,450.41
          -184.18     -0.07%        961.80    0.52%    -1,145.98         741.48      0.63%        -925.66   Group Insurance                          -2,061.34   -0.09%       9,297.40      0.55%    -11,358.74       8,563.78     0.66%    -10,625.12
        2,088.27      0.78%      2,599.91    1.41%      -511.64         741.48      0.63%       1,346.79    Total Other Benefits                    13,389.07    0.57%      25,009.74      1.47%    -11,620.67       8,563.78     0.66%      4,825.29

        5,551.46      2.08%      5,361.24    2.91%      190.22        5,181.16      4.40%         370.30    Total Rooms PR Taxes and Benefits       48,669.01    2.06%      55,930.37      3.29%     -7,261.36      56,342.47     4.32%     -7,673.46

       40,450.64     15.16%     38,386.49    20.82%    2,064.15      28,336.79     24.08%      12,113.85    Total Rooms Labor Costs                388,588.56    16.41%    374,414.49    22.00%      14,174.07     276,585.93     21.19%   112,002.63

                                                                                                            Other Expenses
         3,045.94      1.14%      4,271.20    2.32%    -1,225.26           0.00     0.00%        3,045.94   Breakfast /Comp Cost                     19,035.72    0.80%      39,303.40     2.31%     -20,267.68           0.00     0.00%     19,035.72
         1,492.97      0.56%      1,461.20    0.79%        31.77         946.59     0.80%          546.38   Cleaning Supplies                        14,657.48    0.62%      13,445.90     0.79%       1,211.58       9,976.84     0.76%      4,680.64
             0.00      0.00%          0.00    0.00%         0.00           0.00     0.00%            0.00   Communication Expense                       330.00    0.01%           0.00     0.00%         330.00           0.00     0.00%        330.00
             0.00      0.00%          0.00    0.00%         0.00           0.00     0.00%            0.00   Contract Labor                            1,812.51    0.08%           0.00     0.00%       1,812.51           0.00     0.00%      1,812.51
             0.00      0.00%         88.00    0.05%       -88.00           0.00     0.00%            0.00   Dues and Subscriptions                        0.00    0.00%       2,700.00     0.16%      -2,700.00           0.00     0.00%          0.00
           264.65      0.10%          0.00    0.00%       264.65           0.00     0.00%          264.65   Guest Loss/Damage                           264.65    0.01%           0.00     0.00%         264.65           0.00     0.00%        264.65
         1,156.74      0.43%      2,248.00    1.22%    -1,091.26       3,589.84     3.05%       -2,433.10   Guest Supplies                           35,479.08    1.50%      20,686.00     1.22%      14,793.08      19,360.00     1.48%     16,119.08
             0.00      0.00%          0.00    0.00%         0.00         410.85     0.35%         -410.85   Internet/Web Expense                          0.00    0.00%           0.00     0.00%           0.00       4,481.47     0.34%     -4,481.47
           422.25      0.16%      1,124.00    0.61%      -701.75         287.51     0.24%          134.74   Laundry                                   7,031.53    0.30%      10,343.00     0.61%      -3,311.47       1,873.81     0.14%      5,157.72
           913.42      0.34%      1,236.40    0.67%      -322.98       1,548.35     1.32%         -634.93   Linen                                    20,306.38    0.86%      11,377.30     0.67%       8,929.08       6,962.70     0.53%     13,343.68
             0.00      0.00%         75.00    0.04%       -75.00           0.00     0.00%            0.00   Newspaper                                     0.00    0.00%         750.00     0.04%        -750.00         429.20     0.03%       -429.20
             0.00      0.00%          0.00    0.00%         0.00         283.13     0.24%         -283.13   Operating Supplies                            0.00    0.00%           0.00     0.00%           0.00       3,947.86     0.30%     -3,947.86
             0.00      0.00%          0.00    0.00%         0.00         169.11     0.14%         -169.11   Reservation Expense                           0.00    0.00%           0.00     0.00%           0.00       1,787.36     0.14%     -1,787.36
             0.00      0.00%         75.00    0.04%       -75.00       1,645.08     1.40%       -1,645.08   Rooms Promotion                           3,834.41    0.16%         750.00     0.04%       3,084.41      15,910.98     1.22%    -12,076.57
         2,015.57      0.76%      1,943.26    1.05%        72.31       1,969.87     1.67%           45.70   Television Cable                         18,717.91    0.79%      19,432.60     1.14%        -714.69      17,021.61     1.30%      1,696.30
         1,329.32      0.50%        450.00    0.24%       879.32         377.00     0.32%          952.32   Transportation                           14,273.65    0.60%       4,500.00     0.26%       9,773.65       1,086.24     0.08%     13,187.41
             0.00      0.00%          0.00    0.00%         0.00           0.00     0.00%            0.00   Travel                                      200.00    0.01%           0.00     0.00%         200.00           0.00     0.00%        200.00
             0.00      0.00%        649.30    0.35%      -649.30           0.00     0.00%            0.00   Travel Agent Comm - Group Rooms           1,743.70    0.07%       6,336.79     0.37%      -4,593.09           0.00     0.00%      1,743.70
         9,736.78      3.65%      8,003.78    4.34%     1,733.00       3,827.47     3.25%        5,909.31   Travel Agent Comm - Transient Rooms      49,501.45    2.09%      69,562.94     4.09%     -20,061.49      32,914.92     2.52%     16,586.53
             0.00      0.00%        250.00    0.14%      -250.00           0.00     0.00%            0.00   Uniforms                                  1,464.57    0.06%       1,350.00     0.08%         114.57         504.80     0.04%        959.77

       20,377.64      7.64%     21,875.14    11.86%   -1,497.50      15,054.80     12.79%       5,322.84    Total Rooms Other Expenses             188,653.04    7.97%     200,537.93    11.78%     -11,884.89     116,257.79     8.91%     72,395.25

       60,828.28     22.80%     60,261.63    32.68%     566.65       43,391.59     36.87%      17,436.69    Total Rooms Expenses                   577,241.60    24.38%    574,952.42    33.78%       2,289.18     392,843.72     30.10%   184,397.88

      205,915.83     77.20%    124,134.77    67.32%   81,781.06      74,286.45     63.13%     131,629.38    Total Rooms Profit (Loss)             1,790,356.17   75.62%   1,127,284.16   66.22%     663,072.01     912,130.09     69.90%   878,226.08




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              PTD     %    PTD Budget   %   Variance   PTD Last Year    %            Variance                                                    YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                                Room Sale Stats
                                                                                                Tranisent Rooms
           343.00              245.00         98.00           12.00                    331.00   Room Stat - Corporate Transient              1,965.00         2,777.00       -812.00       1,343.00           622.00
             0.00              219.00       -219.00            0.00                      0.00   Room Stat - Advanced Purchase                    0.00         1,390.00     -1,390.00           0.00             0.00
             0.00              124.00       -124.00            0.00                      0.00   Room Stat - AAA/AARP Transient                 285.00         1,354.00     -1,069.00           0.00           285.00
            92.00                0.00         92.00            0.00                     92.00   Room Stat - Consortia Rate Transient           667.00             0.00        667.00           0.00           667.00
             0.00                0.00          0.00            0.00                      0.00   Room Stat - Leisure Transient                   54.00             0.00         54.00           0.00            54.00
             0.00                0.00          0.00          899.00                   -899.00   Room Stat - Extended Stay Transient              0.00             0.00          0.00       5,139.00        -5,139.00
         1,112.00              419.00        693.00            0.00                  1,112.00   Room Stat - Internet                         6,745.00         3,171.00      3,574.00           0.00         6,745.00
             0.00                0.00          0.00            0.00                      0.00   Room Stat - Other Transient                     94.00             0.00         94.00           0.00            94.00
             0.00                0.00          0.00            0.00                      0.00   Room Stat - Airline Distressed Passenger        42.00             0.00         42.00           0.00            42.00
             0.00                0.00          0.00            0.00                      0.00   Room Stat - E-Commerce Opaque                   90.00            86.00          4.00           0.00            90.00
             5.00               16.00        -11.00           11.00                     -6.00   Room Stat - Government Rate Transient          452.00           210.00        242.00          76.00           376.00
           784.00              535.00        249.00          309.00                    475.00   Room Stat - Rack Rate Transient              5,791.00         4,458.00      1,333.00       4,588.00         1,203.00
           282.00              196.00         86.00          118.00                    164.00   Room Stat - Local Negotiated Transient       1,745.00         2,500.00       -755.00       1,868.00          -123.00
        2,618.00            1,754.00        864.00        1,349.00                  1,269.00    Total Transient Rooms Sold                 17,930.00        15,946.00      1,984.00      13,014.00         4,916.00

                                                                                                Group Rooms
            7.00               60.00         -53.00            2.00                     5.00    Room Stat - Corporate Group Rooms               55.00           260.00      -205.00          343.00         -288.00
            0.00                0.00           0.00            0.00                     0.00    Room Stat - Tour & Travel Group                 81.00             0.00        81.00            0.00           81.00
           53.00                0.00          53.00            0.00                    53.00    Room Stat - SMERF Group                        630.00           210.00       420.00            0.00          630.00
            0.00                0.00           0.00            0.00                     0.00    Room Stat - Sports Group                         0.00           143.00      -143.00            0.00            0.00
           27.00                0.00          27.00            0.00                    27.00    Room Stat - Other Group                        127.00             0.00       127.00            0.00          127.00
           87.00               60.00         27.00             2.00                    85.00    Total Group Rooms Sold                        893.00           613.00       280.00          343.00          550.00

                                                                                                Contract Rooms
           34.00                 0.00          34.00           0.00                     34.00   Room Stat - Airline Crews Contract           5,108.00             0.00      5,108.00           0.00         5,108.00
            0.00               434.00        -434.00         257.00                   -257.00   Room Stat - Other Contract                       0.00         4,101.00     -4,101.00       2,275.00        -2,275.00
           34.00              434.00        -400.00         257.00                   -223.00    Total Contract Rooms Sold                   5,108.00         4,101.00      1,007.00       2,275.00         2,833.00

        2,739.00            2,248.00        491.00        1,608.00                  1,131.00    Total Rooms Sold                           23,931.00        20,660.00      3,271.00      15,632.00         8,299.00
             3.00               0.00           3.00            0.00                     3.00    Room Stat-Comp Rooms                           155.00            0.00         155.00           5.00           150.00
        2,742.00            2,248.00        494.00        1,608.00                  1,134.00    Total Rooms Occupied                       24,086.00        20,660.00      3,426.00      15,637.00         8,449.00
           251.00               0.00         251.00          162.00                    89.00    Room Stat-Out of Order                       1,979.00            0.00       1,979.00       1,197.00           782.00

                                                                                                ADR
            89.15              85.00           4.15           76.57                    12.59    Corporate Transient ADR                        110.95           82.21         28.75           86.79           24.17
             0.00              96.32         -96.32            0.00                     0.00    Advanced Purchase ADR                            0.00           86.38        -86.38            0.00            0.00
             0.00              94.00         -94.00            0.00                     0.00    AAA/AARP ADR                                    63.13           88.55        -25.42            0.00           63.13
             0.00               0.00           0.00            0.00                     0.00    FIT ADR                                          0.00            0.00          0.00            0.00            0.00
           115.95               0.00         115.95            0.00                   115.95    Consortia ADR                                  122.89            0.00        122.89            0.00          122.89
             0.00               0.00           0.00            0.00                     0.00    Employee ADR                                     0.00            0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Leisure ADR                                     74.33            0.00         74.33            0.00           74.33
             0.00               0.00           0.00            0.00                     0.00    Travel Agent/Friends & Family ADR                0.00            0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Leisure Package ADR                              0.00            0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Member Reward Stay ADR                           0.00            0.00          0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Golf Pkg ADR                                     0.00            0.00          0.00            0.00            0.00
             0.00               0.00           0.00           68.08                   -68.08    Extended Stay ADR                                0.00            0.00          0.00           78.13          -78.13
            86.60              79.00           7.60            0.00                    86.60    Internet ADR                                    96.48           85.76         10.73            0.00           96.48
             0.00               0.00           0.00            0.00                     0.00    E-Commerce Opaque ADR                            0.00           79.33        -79.33            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Other Transient ADR                             82.44            0.00         82.44            0.00           82.44
             0.00               0.00           0.00            0.00                     0.00    Airline Distressed Passenger ADR                32.71            0.00         32.71            0.00           32.71
           108.00              89.00          19.00            0.00                   108.00    Government ADR                                 100.86           89.00         11.86            0.00          100.86
           114.14              88.20          25.94           85.81                    28.33    Rack ADR                                       125.13           92.51         32.63           99.77           25.36
            80.68              84.92          -4.24           78.22                     2.45    Local Negotiated ADR                            84.99           83.27          1.72           75.86            9.14
            95.62              86.62           9.00           72.55                    23.06    Total Transient ADR                           105.99            86.94         19.05           85.87           20.12

           105.00               89.00         16.00          -45.32                   150.32    Corporate Group ADR                           103.05             88.46        14.59          100.18            2.88
             0.00                0.00          0.00            0.00                     0.00    Leisure Group ADR                               0.00              0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                     0.00    Government Group ADR                            0.00              0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                     0.00    Tour & Travel Group ADR                       111.11              0.00       111.11            0.00          111.11
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              PTD     %    PTD Budget   %   Variance   PTD Last Year    %            Variance                                            YTD    %     YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00           0.00                       0.00   Association Group ADR                    0.00              0.00         0.00           0.00             0.00
             0.00               0.00           0.00           0.00                       0.00   City Wide Group ADR                      0.00              0.00         0.00           0.00             0.00
           121.84               0.00         121.84           0.00                     121.84   SMERF Group ADR                        118.05             98.05        20.00           0.00           118.05
             0.00               0.00           0.00           0.00                       0.00   Sports Group ADR                         0.00            112.32      -112.32           0.00             0.00
            99.00               0.00          99.00           0.00                      99.00   Other Group ADR                         89.83              0.00        89.83           0.00            89.83
          125.12               89.00          36.12      10,176.68                -10,051.56    Total Group ADR                       112.49              97.31        15.17         577.43         -464.94

           89.41                0.00          89.41            0.00                    89.41    Airline Crew ADR                       68.51               0.00        68.51            0.00          68.51
            0.00               62.50         -62.50            0.00                     0.00    Other Contract ADR                      0.00              62.50       -62.50            0.00           0.00
           89.41               62.50         26.91             0.00                    89.41    Total Contract ADR                     68.51              62.50         6.01            0.00          68.51

           97.39               82.03          15.36           73.18                    24.20    Total ADR                              98.93              82.39        16.54           83.48          15.45




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                                                                                    Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget     %          Variance   PTD Last Year     %           Variance                                                  YTD      %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             F&B Summary
                                                                                                             Revenue
        13,750.29     43.97%     7,350.00     40.53%     6,400.29           0.00       0.00%     13,750.29   Outlet Food Revenue                       96,155.63     55.62%     71,500.00  42.84%      24,655.63            0.00   0.00%       96,155.63
         3,769.60     12.05%     5,552.56     30.62%    -1,782.96       8,456.47      42.69%     -4,686.87   Banquet and Catering Food Revenue         12,206.17      7.06%     46,546.92  27.89%     -34,340.75       77,761.10  52.53%      -65,554.93
         9,528.53     30.47%     4,383.60     24.17%     5,144.93           0.00       0.00%      9,528.53   Outlet Beverage Revenue                   49,999.59     28.92%     40,337.70  24.17%       9,661.89            0.00   0.00%       49,999.59
             0.00      0.00%         0.00      0.00%         0.00       5,098.39      25.74%     -5,098.39   Banquet and Catering Beverage Revenue          0.00      0.00%          0.00   0.00%           0.00       36,735.58  24.82%      -36,735.58
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Outlet Other Revenue                           0.00      0.00%          0.00   0.00%           0.00            0.00   0.00%            0.00
         4,222.00     13.50%       850.00      4.69%     3,372.00       6,253.18      31.57%     -2,031.18   Banquet and Catering Other Revenue        14,517.81      8.40%      8,500.00   5.09%       6,017.81       33,535.39  22.65%      -19,017.58
       31,270.42    100.00%    18,136.16    100.00%    13,134.26      19,808.04     100.00%     11,462.38    Total F&B Revenue                       172,879.20    100.00%    166,884.62 100.00%       5,994.58      148,032.07 100.00%       24,847.13

                                                                                                             Cost of Sales
         9,012.22     28.82%     4,275.82     23.58%     4,736.40       5,032.80      25.41%      3,979.42   Food Purchases                            85,784.85     49.62%     39,205.02    23.49%    46,579.83       40,529.89     27.38%    45,254.96
         1,450.33      4.64%     1,052.06      5.80%       398.27       1,567.01       7.91%       -116.68   Beverage Purchases                        11,708.54      6.77%      9,681.05     5.80%     2,027.49        9,785.66      6.61%     1,922.88
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Cedit Employee Meals                           0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Credit House Charges                           0.00      0.00%          0.00     0.00%         0.00            0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Credit In-House Promotions                  -346.68     -0.20%          0.00     0.00%      -346.68            0.00      0.00%      -346.68
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Audio Visual Cost of Sales                     0.00      0.00%          0.00     0.00%         0.00          121.10      0.08%      -121.10
           942.23      3.01%         0.00      0.00%       942.23           0.00       0.00%        942.23   Other Cost of Sales                        3,136.00      1.81%          0.00     0.00%     3,136.00            0.00      0.00%     3,136.00
       11,404.78     36.47%     5,327.88     29.38%     6,076.90       6,599.81      33.32%      4,804.97    Total F&B Cost of Sales                 100,282.71     58.01%     48,886.07    29.29%    51,396.64       50,436.65     34.07%    49,846.06

       19,865.64     63.53%    12,808.28     70.62%     7,057.36      13,208.23      66.68%      6,657.41    F&B Gross Profit                         72,596.49     41.99%    117,998.55    70.71%    -45,402.06      97,595.42     65.93%    -24,998.93

                                                                                                             Expenses
                                                                                                             Payroll
                                                                                                             Salaries and Wages
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00   Management                                     0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%         0.00
        14,211.89     45.45%    12,758.71     70.35%     1,453.18       8,887.23      44.87%      5,324.66   Non-Management                           108,604.90     62.82%    125,117.68    74.97%    -16,512.78      80,276.56     54.23%    28,328.34
       14,211.89     45.45%    12,758.71     70.35%     1,453.18       8,887.23      44.87%      5,324.66    Total F&B Salaries and Wages            108,604.90     62.82%    125,117.68    74.97%    -16,512.78      80,276.56     54.23%    28,328.34
                                                                                                             PR Taxes and Benefits
           641.17      2.05%     1,202.29      6.63%      -561.12         870.85       4.40%       -229.68   Payroll Taxes                             11,849.92      6.85%     13,326.75     7.99%     -1,476.83       8,640.89      5.84%      3,209.03
             0.00      0.00%         0.00      0.00%         0.00         363.36       1.83%       -363.36   Supplemental Pay                             445.12      0.26%          0.00     0.00%        445.12       8,291.16      5.60%     -7,846.04
          -113.78     -0.36%       630.44      3.48%      -744.22         207.50       1.05%       -321.28   Other Benefits                               814.85      0.47%      6,141.76     3.68%     -5,326.91       4,648.79      3.14%     -3,833.94
          527.39      1.69%     1,832.73     10.11%    -1,305.34       1,441.71       7.28%       -914.32    Total F&B PR Taxes and Benefits          13,109.89      7.58%     19,468.51    11.67%     -6,358.62      21,580.84     14.58%     -8,470.95

       14,739.28     47.13%    14,591.44     80.45%       147.84      10,328.94      52.15%      4,410.34    Total F&B Payroll                       121,714.79     70.40%    144,586.19    86.64%    -22,871.40     101,857.40     68.81%    19,857.39

                                                                                                             Other Expenses
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Audio Visual Supplies                          0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%      150.00      0.83%      -150.00            0.00      0.00%          0.00    Banquet Expense                                0.00     0.00%       1,500.00    0.90%     -1,500.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Bar Expense/Promos                             0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Bar Supplies                                   0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%       50.00      0.28%       -50.00            0.00      0.00%          0.00    China                                          0.00     0.00%         500.00    0.30%       -500.00           83.94     0.06%        -83.94
           520.14      1.66%      100.00      0.55%       420.14            0.00      0.00%        520.14    Cleaning Supplies                          3,722.14     2.15%       1,000.00    0.60%      2,722.14           34.94     0.02%      3,687.20
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Communication Expense                          0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Contract Cleaning                              0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Contract Labor                            17,092.30     9.89%           0.00    0.00%     17,092.30            0.00     0.00%     17,092.30
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Decorations & Plants                           0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Dues and Subscriptions                         0.00     0.00%       1,700.00    1.02%     -1,700.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Equipment Rental                               0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Food and Beverage Advertising                  0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%       50.00      0.28%       -50.00           28.02      0.14%        -28.02    Glassware                                      0.00     0.00%         500.00    0.30%       -500.00          731.58     0.49%       -731.58
           251.20      0.80%        0.00      0.00%       251.20            0.00      0.00%        251.20    Guest Loss/Damage                            667.31     0.39%           0.00    0.00%        667.31            0.00     0.00%        667.31
             0.00      0.00%      400.00      2.21%      -400.00            0.00      0.00%          0.00    Guest Supplies                                 0.00     0.00%       4,000.00    2.40%     -4,000.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    In-House Entertainment                         0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Kitchen/Cooking Fuel                           0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
            77.53      0.25%        0.00      0.00%        77.53           39.72      0.20%         37.81    Kitchen Equipment                          5,644.47     3.26%           0.00    0.00%      5,644.47          416.83     0.28%      5,227.64
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Laundry - Outside Expense                      0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Laundry Allocation                             0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Licenses/Permits                           7,634.03     4.42%       5,500.00    3.30%      2,134.03        6,833.00     4.62%        801.03
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Linen                                          0.00     0.00%           0.00    0.00%          0.00           16.98     0.01%        -16.98
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Linen Rental                                   0.00     0.00%           0.00    0.00%          0.00            0.00     0.00%          0.00
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                                                                                  Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget    %         Variance   PTD Last Year    %            Variance                                            YTD     %        YTD Budget %              Variance   YTD Last Year     %         Variance

             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Maintenance Contracts                  503.06     0.29%          0.00     0.00%       503.06           0.00      0.00%       503.06
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Meals and Entertainment                  0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Menus                                    0.00     0.00%      1,000.00     0.60%    -1,000.00         861.69      0.58%      -861.69
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Miscellaneous Expense                    0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Music and Entertainment                  0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Office Equipment                         0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Office Supplies                          0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Operating Supplies                       0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00
         1,424.11      4.55%       250.00     1.38%    1,174.11         167.19      0.84%       1,256.92   Paper/Plastic Supplies              11,846.81     6.85%      2,500.00     1.50%     9,346.81       3,099.74      2.09%     8,747.07
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Printing and Stationery                  0.00     0.00%        450.00     0.27%      -450.00           0.00      0.00%         0.00
             0.00      0.00%       100.00     0.55%     -100.00           0.00      0.00%           0.00   Silverware                               8.05     0.00%      1,000.00     0.60%      -991.95           0.00      0.00%         8.05
           954.65      3.05%         0.00     0.00%      954.65           0.00      0.00%         954.65   Software Expense/Maintenance         2,737.03     1.58%          0.00     0.00%     2,737.03           0.00      0.00%     2,737.03
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Television Cable                         0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Training                                72.80     0.04%          0.00     0.00%        72.80           0.00      0.00%        72.80
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Travel                                   0.00     0.00%          0.00     0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Uniforms                               294.13     0.17%        600.00     0.36%      -305.87          33.26      0.02%       260.87
             0.00      0.00%        90.00     0.50%      -90.00           0.00      0.00%           0.00   Utensils                                 7.97     0.00%        900.00     0.54%      -892.03         303.26      0.20%      -295.29
        3,227.63     10.32%     1,190.00     6.56%    2,037.63         234.93      1.19%       2,992.70    Total F&B Other Expenses           50,230.10    29.06%     21,150.00    12.67%    29,080.10      12,415.22      8.39%    37,814.88

       17,966.91     57.46%    15,781.44    87.02%    2,185.47      10,563.87     53.33%       7,403.04    Total F&B Expenses                171,944.89    99.46%    165,736.19    99.31%     6,208.70     114,272.62     77.19%    57,672.27

        1,898.73      6.07%    -2,973.16    -16.39%   4,871.89       2,644.36     13.35%        -745.63    Total F&B Profit (Loss)           -99,348.40    -57.47%   -47,737.64 -28.61%      -51,610.76    -16,677.20     -11.27%   -82,671.20




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                                                                       Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                              P&L - Dual Summary Pages
                                                                                                   As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year    %            Variance                                           YTD    %      YTD Budget %   Variance   YTD Last Year   %     Variance

                                                                                                F&B Stats
                                                                                                Restaurant 1
             0.00               0.00           0.00            0.00                      0.00   Breakfast Avg Check                     0.00               0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                      0.00   Lunch Avg Check                         0.00               0.00         0.00            0.00              0.00
             0.00               0.00           0.00          508.00                   -508.00   Food Stat- Food-Dinner                  0.00               0.00         0.00        6,211.00         -6,211.00
             0.00               0.00           0.00            0.00                      0.00   Dinner Avg Check                        0.00               0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                      0.00   Brunch Avg Check                        0.00               0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                      0.00   Late Night Avg Check                    0.00               0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                      0.00   Breaks Avg Check                        0.00               0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                      0.00   Reception Avg Check                     0.00               0.00         0.00            0.00              0.00
             0.00               0.00           0.00         508.00                   -508.00    Total Restaurant 1 Covers               0.00               0.00         0.00       6,211.00         -6,211.00
             0.00               0.00           0.00            0.00                      0.00   Restaurant 1 Avg Check                  0.00               0.00         0.00            0.00              0.00

                                                                                                Restaurant 2
             0.00               0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Total Restaurant 2 Covers               0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Restaurant 2 Avg Check                  0.00               0.00         0.00            0.00             0.00

                                                                                                Room Service
             0.00               0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Total Room Service Covers               0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Room Service Avg Check                  0.00               0.00         0.00            0.00             0.00

                                                                                                Banquets
             0.00               0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Total Banquets Covers                   0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Banquets Avg Check                      0.00               0.00         0.00            0.00             0.00

                                                                                                Catering
             0.00               0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Total Catering Covers                   0.00               0.00         0.00            0.00             0.00
             0.00               0.00           0.00            0.00                     0.00    Catering Avg Check                      0.00               0.00         0.00            0.00             0.00

                                                                                                Restaurant 3
             0.00                0.00          0.00            0.00                     0.00    Breakfast Avg Check                     0.00                0.00        0.00            0.00             0.00
             0.00                0.00          0.00            0.00                     0.00    Lunch Avg Check                         0.00                0.00        0.00            0.00             0.00
             0.00                0.00          0.00            0.00                     0.00    Dinner Avg Check                        0.00                0.00        0.00            0.00             0.00
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                                                                       Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                   As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year    %            Variance                                           YTD    %      YTD Budget %   Variance   YTD Last Year   %    Variance

             0.00               0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Total Restaurant 3 Covers               0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Restaurant 3 Avg Check                  0.00               0.00         0.00            0.00            0.00

                                                                                                Restaurant 4
             0.00               0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Total Restaurant 4 Covers               0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Restaurant 4 Avg Check                  0.00               0.00         0.00            0.00            0.00

                                                                                                Restaurant 5
             0.00               0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Total Restaurant 5 Covers               0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Restaurant 5 Avg Check                  0.00               0.00         0.00            0.00            0.00

                                                                                                Bar 1
             0.00               0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Total Bar 1 Covers                      0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Bar 1 Avg Check                         0.00               0.00         0.00            0.00            0.00

                                                                                                Bar 2
             0.00               0.00           0.00            0.00                     0.00    Breakfast Avg Check                     0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Lunch Avg Check                         0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Dinner Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Brunch Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Late Night Avg Check                    0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Breaks Avg Check                        0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Reception Avg Check                     0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Total Bar 2 Covers                      0.00               0.00         0.00            0.00            0.00
             0.00               0.00           0.00            0.00                     0.00    Bar 2 Avg Check                         0.00               0.00         0.00            0.00            0.00

             0.00               0.00           0.00         508.00                   -508.00    Total Covers                            0.00               0.00         0.00       6,211.00         -6,211.00




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                                                                                  Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget    %         Variance   PTD Last Year    %            Variance                                                   YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                           Food Admin
                                                                                                           Cost of Sales
         9,012.22     28.82%         0.00    0.00%    9,012.22        5,032.80     25.41%       3,979.42   Food Purchases                            85,784.85     49.62%           0.00    0.00%    85,784.85       40,529.89    27.38%    45,254.96
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Credit In-House Promotions Food Dept        -346.68     -0.20%           0.00    0.00%      -346.68            0.00     0.00%      -346.68
           942.23      3.01%         0.00    0.00%      942.23            0.00      0.00%         942.23   Other Cost of Sales                        3,136.00      1.81%           0.00    0.00%     3,136.00            0.00     0.00%     3,136.00

        9,954.45     31.83%         0.00     0.00%    9,954.45       5,032.80     25.41%       4,921.65    Total Food Admin Cost of Sales            88,574.17    51.23%           0.00     0.00%    88,574.17      40,529.89     27.38%    48,044.28

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%          0.00    0.00%         0.00           0.00     0.00%            0.00   Total Food Admin Management                     0.00    0.00%            0.00    0.00%          0.00           0.00     0.00%          0.00
         6,985.71     22.34%     4,743.00    26.15%    2,242.71       4,831.93     24.39%       2,153.78   Cooks-Line Cooks                           61,878.75    35.79%      46,512.00    27.87%    15,366.75      37,741.68     25.50%    24,137.07
        6,985.71     22.34%     4,743.00    26.15%    2,242.71       4,831.93     24.39%       2,153.78    Total Food Admin Non-Management           61,878.75    35.79%      46,512.00    27.87%    15,366.75      37,741.68     25.50%    24,137.07

        6,985.71     22.34%     4,743.00    26.15%    2,242.71       4,831.93     24.39%       2,153.78    Total Food Admin Salaries and Wages       61,878.75    35.79%      46,512.00    27.87%    15,366.75      37,741.68     25.50%    24,137.07

                                                                                                           PR Taxes and Benefits

           891.91      2.85%       362.84     2.00%      529.07         557.44      2.81%         334.47   FICA                                        9,612.17      5.56%      3,558.19     2.13%     6,053.98       6,779.02      4.58%     2,833.15
          -311.40     -1.00%         1.99     0.01%     -313.39           0.00      0.00%        -311.40   Federal Unemployment Tax                      352.09      0.20%         74.14     0.04%       277.95           0.00      0.00%       352.09
            60.66      0.19%        12.81     0.07%       47.85           0.00      0.00%          60.66   State Unemployment Tax                      1,885.66      1.09%        609.46     0.37%     1,276.20           0.00      0.00%     1,885.66
          641.17      2.05%       377.64     2.08%      263.53         557.44      2.81%           83.73   Total Payroll Taxes                       11,849.92      6.85%      4,241.79     2.54%     7,608.13       6,779.02      4.58%     5,070.90
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Holiday                                       445.12      0.26%          0.00     0.00%       445.12       1,197.36      0.81%      -752.24
             0.00      0.00%         0.00     0.00%        0.00         363.36      1.83%        -363.36   Vacation                                        0.00      0.00%          0.00     0.00%         0.00       6,628.59      4.48%    -6,628.59
             0.00     0.00%          0.00    0.00%         0.00        363.36      1.83%        -363.36    Total Supplemental Pay                       445.12      0.26%           0.00    0.00%       445.12       7,825.95      5.29%    -7,380.83
           898.60      2.87%       234.36     1.29%      664.24           0.00      0.00%         898.60   Worker's Compensation                         898.60      0.52%      2,283.17     1.37%    -1,384.57           0.00      0.00%       898.60
        -1,024.34     -3.28%         0.00     0.00%   -1,024.34         207.50      1.05%      -1,231.84   Group Insurance                            -4,217.62     -2.44%          0.00     0.00%    -4,217.62       4,536.09      3.06%    -8,753.71
         -125.74     -0.40%       234.36     1.29%     -360.10         207.50      1.05%        -333.24    Total Other Benefits                      -3,319.02     -1.92%      2,283.17     1.37%    -5,602.19       4,536.09      3.06%    -7,855.11

        7,501.14     23.99%     5,355.00    29.53%    2,146.14       5,960.23     30.09%       1,540.91    Total Food Admin PR Taxes and Benefits    70,854.77    40.99%      53,036.96    31.78%    17,817.81      56,882.74     38.43%    13,972.03

       14,486.85     46.33%    10,098.00    55.68%    4,388.85      10,792.16     54.48%       3,694.69    Total Food Admin Payroll                 132,733.52    76.78%      99,548.96    59.65%    33,184.56      94,624.42     63.92%    38,109.10

                                                                                                           Other Expenses
             0.00      0.00%      150.00     0.83%     -150.00            0.00     0.00%            0.00   Banquet Expense                                0.00      0.00%       1,500.00    0.90%    -1,500.00            0.00     0.00%         0.00
             0.00      0.00%       50.00     0.28%      -50.00            0.00     0.00%            0.00   China                                          0.00      0.00%         500.00    0.30%      -500.00           83.94     0.06%       -83.94
           520.14      1.66%      100.00     0.55%      420.14            0.00     0.00%          520.14   Cleaning Supplies                          3,722.14      2.15%       1,000.00    0.60%     2,722.14           34.94     0.02%     3,687.20
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%            0.00   Contract Labor                            17,092.30      9.89%           0.00    0.00%    17,092.30            0.00     0.00%    17,092.30
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%            0.00   Dues and Subscriptions                         0.00      0.00%       1,700.00    1.02%    -1,700.00            0.00     0.00%         0.00
             0.00      0.00%       50.00     0.28%      -50.00           28.02     0.14%          -28.02   Glassware                                      0.00      0.00%         500.00    0.30%      -500.00          731.58     0.49%      -731.58
           251.20      0.80%        0.00     0.00%      251.20            0.00     0.00%          251.20   Guest Loss/Damage                            461.87      0.27%           0.00    0.00%       461.87            0.00     0.00%       461.87
             0.00      0.00%      250.00     1.38%     -250.00            0.00     0.00%            0.00   Guest Supplies                                 0.00      0.00%       2,500.00    1.50%    -2,500.00            0.00     0.00%         0.00
            77.53      0.25%        0.00     0.00%       77.53           39.72     0.20%           37.81   Kitchen Equipment                          5,644.47      3.26%           0.00    0.00%     5,644.47          416.83     0.28%     5,227.64
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%            0.00   Licenses/Permits                             841.03      0.49%       5,500.00    3.30%    -4,658.97            0.00     0.00%       841.03
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%            0.00   Linen                                          0.00      0.00%           0.00    0.00%         0.00           16.98     0.01%       -16.98
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%            0.00   Maintenance Contracts                        503.06      0.29%           0.00    0.00%       503.06            0.00     0.00%       503.06
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%            0.00   Menus                                          0.00      0.00%       1,000.00    0.60%    -1,000.00          861.69     0.58%      -861.69
         1,424.11      4.55%      250.00     1.38%    1,174.11          167.19     0.84%        1,256.92   Paper/Plastic Supplies                    11,656.07      6.74%       2,500.00    1.50%     9,156.07        3,099.74     2.09%     8,556.33
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%            0.00   Printing and Stationery                        0.00      0.00%         450.00    0.27%      -450.00            0.00     0.00%         0.00
             0.00      0.00%      100.00     0.55%     -100.00            0.00     0.00%            0.00   Silverware                                     8.05      0.00%       1,000.00    0.60%      -991.95            0.00     0.00%         8.05
           917.52      2.93%        0.00     0.00%      917.52            0.00     0.00%          917.52   Software Expense/Maintenance               2,352.12      1.36%           0.00    0.00%     2,352.12            0.00     0.00%     2,352.12
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%            0.00   Training                                      72.80      0.04%           0.00    0.00%        72.80            0.00     0.00%        72.80
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%            0.00   Uniforms                                     294.13      0.17%         600.00    0.36%      -305.87            0.00     0.00%       294.13
             0.00      0.00%       90.00     0.50%      -90.00            0.00     0.00%            0.00   Utensils                                       7.97      0.00%         900.00    0.54%      -892.03          303.26     0.20%      -295.29

        3,190.50     10.20%     1,040.00     5.73%    2,150.50         234.93      1.19%       2,955.57    Total Food Admin Other Expenses           42,656.01    24.67%      19,650.00    11.77%    23,006.01       5,548.96      3.75%    37,107.05

       17,677.35     56.53%    11,138.00    61.41%    6,539.35      11,027.09     55.67%       6,650.26    Total Food Admin Expenses                175,389.53    101.45%    119,198.96    71.43%    56,190.57     100,173.38     67.67%    75,216.15


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                                                                                 Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                             As of 10/31/2021
              PTD     %       PTD Budget    %         Variance   PTD Last Year    %            Variance                                           YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

       27,631.80     88.36%   11,138.00    61.41%   16,493.80      16,059.89     81.08%      11,571.91    Departmental Costs                263,963.70   152.69%   119,198.96   71.43%   144,764.74     140,703.27     95.05%   123,260.43




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                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %            Variance                                              YTD    %       YTD Budget %             Variance   YTD Last Year   %        Variance

                                                                                                         Beverage Admin
             0.00      0.00%         0.00   0.00%       0.00            0.00     0.00%            0.00   Less Adjustments                           0.00   0.00%         0.00     0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Beverage Admin Revenue               0.00   0.00%        0.00      0.00%        0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales
         1,450.33      0.00%         0.00   0.00%   1,450.33        1,567.01     0.00%         -116.68   Beverage Purchases                    11,708.54   0.00%         0.00     0.00%   11,708.54        9,785.66    0.00%    1,922.88

        1,450.33      0.00%         0.00    0.00%   1,450.33       1,567.01      0.00%        -116.68    Total Beverage Admin Cost of Sales    11,708.54   0.00%        0.00      0.00%   11,708.54       9,785.66     0.00%   1,922.88

                                                                                                         Expenses
                                                                                                         Other Expenses
             0.00      0.00%      150.00    0.00%    -150.00            0.00     0.00%           0.00    Guest Supplies                             0.00   0.00%     1,500.00     0.00%    -1,500.00           0.00    0.00%        0.00
             0.00      0.00%        0.00    0.00%       0.00            0.00     0.00%           0.00    Licenses/Permits                       6,793.00   0.00%         0.00     0.00%     6,793.00           0.00    0.00%    6,793.00
            37.13      0.00%        0.00    0.00%      37.13            0.00     0.00%          37.13    Software Expense/Maintenance             384.91   0.00%         0.00     0.00%       384.91           0.00    0.00%      384.91

           37.13      0.00%       150.00    0.00%   -112.87             0.00     0.00%          37.13    Total Beverage Admin Other Expenses    7,177.91   0.00%    1,500.00      0.00%    5,677.91            0.00    0.00%   7,177.91

           37.13      0.00%       150.00    0.00%   -112.87             0.00     0.00%          37.13    Total Beverage Admin Expenses          7,177.91   0.00%    1,500.00      0.00%    5,677.91            0.00    0.00%   7,177.91

           -37.13     0.00%      -150.00    0.00%    112.87             0.00     0.00%         -37.13    Departmental Costs                    -7,177.91   0.00%   -1,500.00      0.00%   -5,677.91            0.00    0.00%   -7,177.91




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                                                                                    Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget     %          Variance   PTD Last Year    %            Variance                                                     YTD     %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                             Restaurant 1
                                                                                                             Food Revenue
         6,836.78     29.37%     3,350.00    45.58%     3,486.78            0.00     0.00%        6,836.78   Food-Breakfast                              51,583.28     35.29%    33,500.00     46.85%    18,083.28            0.00    0.00%     51,583.28
             0.00      0.00%         0.00     0.00%         0.00            0.00     0.00%            0.00   Food-Lunch                                     168.92      0.12%         0.00      0.00%       168.92            0.00    0.00%        168.92
         6,913.51     29.70%     4,000.00    54.42%     2,913.51            0.00     0.00%        6,913.51   Food-Dinner                                 44,403.43     30.38%    38,000.00     53.15%     6,403.43            0.00    0.00%     44,403.43

       13,750.29     59.07%     7,350.00    100.00%     6,400.29            0.00     0.00%      13,750.29    Restaurant 1 Food Revenue                   96,155.63    65.79%    71,500.00 100.00%       24,655.63             0.00    0.00%     96,155.63
            0.00       0.00%        0.00       0.00%        0.00            0.00      0.00%          0.00    Less: Allowances                                 0.00      0.00%        0.00    0.00%           0.00             0.00     0.00%         0.00

       13,750.29     59.07%     7,350.00    100.00%     6,400.29            0.00     0.00%      13,750.29    Total Restaurant 1 Food Revenue             96,155.63    65.79%    71,500.00 100.00%       24,655.63             0.00    0.00%     96,155.63

                                                                                                             Beverage Revenue
         6,001.20     25.78%         0.00     0.00%     6,001.20            0.00     0.00%        6,001.20   Liquor                                      30,064.16     20.57%         0.00     0.00%     30,064.16            0.00    0.00%     30,064.16
         2,484.00     10.67%         0.00     0.00%     2,484.00            0.00     0.00%        2,484.00   Beer                                        14,046.16      9.61%         0.00     0.00%     14,046.16            0.00    0.00%     14,046.16
         1,043.33      4.48%         0.00     0.00%     1,043.33            0.00     0.00%        1,043.33   Wine                                         5,889.27      4.03%         0.00     0.00%      5,889.27            0.00    0.00%      5,889.27

        9,528.53     40.93%         0.00      0.00%     9,528.53            0.00     0.00%       9,528.53    Restaurant 1 Beverage Revenue               49,999.59    34.21%         0.00      0.00%    49,999.59             0.00    0.00%     49,999.59
            0.00       0.00%        0.00       0.00%        0.00            0.00      0.00%          0.00    Less: Allowances                                 0.00      0.00%        0.00       0.00%        0.00             0.00     0.00%         0.00

        9,528.53     40.93%         0.00      0.00%     9,528.53            0.00     0.00%       9,528.53    Total Restaurant 1 Beverage Revenue         49,999.59    34.21%         0.00      0.00%    49,999.59             0.00    0.00%     49,999.59

       23,278.82    100.00%     7,350.00    100.00%    15,928.82            0.00     0.00%      23,278.82    Total Restaurant 1 Revenue                 146,155.22    100.00%   71,500.00 100.00%       74,655.22             0.00    0.00%    146,155.22

                                                                                                             Cost of Sales
             0.00      0.00%     2,499.00    34.00%     -2,499.00           0.00     0.00%            0.00   Food Purchases                                    0.00     0.00%    24,310.00     34.00%   -24,310.00            0.00    0.00%          0.00

             0.00     0.00%     2,499.00     34.00%    -2,499.00            0.00     0.00%           0.00    Total Restaurant 1 Cost of Sales                 0.00     0.00%    24,310.00    34.00%     -24,310.00            0.00    0.00%          0.00

       23,278.82    100.00%     4,851.00     66.00%    18,427.82            0.00     0.00%      23,278.82    Restaurant 1 Gross Profit                  146,155.22    100.00%   47,190.00    66.00%     98,965.22             0.00    0.00%    146,155.22

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%          0.00     0.00%          0.00           0.00     0.00%            0.00   Total Restaurant 1 Management                     0.00    0.00%          0.00    0.00%            0.00           0.00    0.00%           0.00
             0.00      0.00%     2,657.14     36.15%    -2,657.14           0.00      0.00%           0.00   Supervisors                                       0.00     0.00%    26,057.13    36.44%     -26,057.13      10,791.53     0.00%    -10,791.53
         2,527.19     10.86%     3,188.57     43.38%      -661.38       1,484.05      0.00%       1,043.14   Servers                                      34,675.10    23.72%    31,268.55    43.73%       3,406.55      17,798.00     0.00%     16,877.10
        2,527.19     10.86%     5,845.71     79.53%    -3,318.52       1,484.05      0.00%       1,043.14    Total Restaurant 1 Non-Management           34,675.10    23.72%    57,325.68    80.18%     -22,650.58      28,589.53     0.00%      6,085.57

        2,527.19     10.86%     5,845.71     79.53%    -3,318.52       1,484.05      0.00%       1,043.14    Total Restaurant 1 Salaries and Wages       34,675.10    23.72%    57,325.68    80.18%     -22,650.58      28,589.53     0.00%      6,085.57

                                                                                                             PR Taxes and Benefits
            0.00       0.00%       531.54      7.23%      -531.54           0.00      0.00%          0.00    FICA                                              0.00     0.00%     5,205.89      7.28%     -5,205.89           0.00     0.00%          0.00
            0.00       0.00%         2.92      0.04%        -2.92           0.00      0.00%          0.00    Federal Unemployment Tax                          0.00     0.00%       107.61      0.15%       -107.61           0.00     0.00%          0.00
            0.00       0.00%        18.76      0.26%       -18.76           0.00      0.00%          0.00    State Unemployment Tax                            0.00     0.00%       883.57      1.24%       -883.57           0.00     0.00%          0.00
            0.00      0.00%       553.22      7.53%      -553.22            0.00     0.00%           0.00    Total Payroll Taxes                               0.00    0.00%     6,197.07      8.67%     -6,197.07            0.00    0.00%           0.00
            0.00      0.00%          0.00     0.00%          0.00           0.00     0.00%           0.00    Total Supplemental Pay                            0.00    0.00%          0.00     0.00%           0.00           0.00    0.00%           0.00
            0.00       0.00%       288.85      3.93%      -288.85           0.00      0.00%          0.00    Worker's Compensation                         3,993.83     2.73%     2,813.99      3.94%      1,179.84           0.00     0.00%      3,993.83
           11.96       0.05%         0.00      0.00%        11.96           0.00      0.00%         11.96    Other Benefits                                   35.88     0.02%         0.00      0.00%         35.88           0.00     0.00%         35.88
           11.96      0.05%       288.85      3.93%      -276.89            0.00     0.00%          11.96    Total Other Benefits                         4,029.71     2.76%     2,813.99      3.94%      1,215.72            0.00    0.00%      4,029.71

           11.96      0.05%       842.07     11.46%      -830.11            0.00     0.00%          11.96    Total Restaurant 1 PR Taxes and Benefits     4,029.71     2.76%     9,011.06    12.60%      -4,981.35            0.00    0.00%      4,029.71

        2,539.15     10.91%     6,687.78     90.99%    -4,148.63       1,484.05      0.00%       1,055.10    Total Restaurant 1 Payroll                  38,704.81    26.48%    66,336.74    92.78%     -27,631.93      28,589.53     0.00%     10,115.28

                                                                                                             Other Expenses
             0.00      0.00%        0.00       0.00%        0.00            0.00      0.00%          0.00    Guest Loss/Damage                               205.44     0.14%        0.00       0.00%        205.44           0.00     0.00%        205.44
             0.00     0.00%         0.00      0.00%         0.00            0.00     0.00%           0.00    Total Restaurant 1 Other Expenses              205.44     0.14%         0.00      0.00%        205.44            0.00    0.00%        205.44

        2,539.15     10.91%     6,687.78     90.99%    -4,148.63       1,484.05      0.00%       1,055.10    Total Restaurant 1 Expenses                 38,910.25    26.62%    66,336.74    92.78%     -27,426.49      28,589.53     0.00%     10,320.72
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                                                                                  Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %       PTD Budget    %          Variance   PTD Last Year    %            Variance                                            YTD     %       YTD Budget %            Variance   YTD Last Year   %          Variance


       20,739.67     89.09%   -1,836.78    -24.99%   22,576.45      -1,484.05      0.00%      22,223.72    Total Restaurant 1 Profit (Loss)   107,244.97   73.38%   -19,146.74 -26.78%   126,391.71     -28,589.53     0.00%   135,834.50




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                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 2
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %            Variance                                                 YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Room Service
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Room Service Food Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Food Revenue               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Room Service Beverage Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Beverage Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Other Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Cost of Sales              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Room Service Gross Profit                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Management                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Non-Management             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Salaries and Wages         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Payroll Taxes                           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Supplemental Pay                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Other Benefits                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service PR Taxes and Benefits      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Payroll                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Paper/Plastic Supplies                      190.74    0.00%        0.00       0.00%    190.74            0.00     0.00%    190.74
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Other Expenses          190.74    0.00%         0.00      0.00%    190.74             0.00    0.00%    190.74

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Expenses                190.74    0.00%         0.00      0.00%    190.74             0.00    0.00%    190.74

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Room Service Profit (Loss)           -190.74   0.00%         0.00      0.00%    -190.74            0.00    0.00%    -190.74




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                                                                                  Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %           Variance                                            YTD     %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                           Banquets
                                                                                                           Food Revenue
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Food-Breakfast                         606.90     2.27%         0.00      0.00%       606.90           0.00     0.00%        606.90
         3,769.60     47.17%     2,742.56    42.84%    1,027.04       1,402.00     18.31%       2,367.60   Food-Lunch                          10,935.02    40.92%    25,236.92     45.85%   -14,301.90       7,044.36    17.15%      3,890.66
             0.00      0.00%     2,810.00    43.89%   -2,810.00           0.00      0.00%           0.00   Food-Dinner                              0.00     0.00%    21,310.00     38.71%   -21,310.00           0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Food-Breaks                            664.25     2.49%         0.00      0.00%       664.25         500.00     1.22%        164.25

        3,769.60     47.17%     5,552.56    86.72%    -1,782.96      1,402.00     18.31%       2,367.60    Banquets Food Revenue               12,206.17   45.67%    46,546.92    84.56%     -34,340.75      7,544.36     18.37%     4,661.81
            0.00       0.00%        0.00      0.00%        0.00          0.00       0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00      0.00%          0.00          0.00       0.00%        0.00

        3,769.60     47.17%     5,552.56    86.72%    -1,782.96      1,402.00     18.31%       2,367.60    Total Banquets Food Revenue         12,206.17   45.67%    46,546.92    84.56%     -34,340.75      7,544.36     18.37%     4,661.81

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Banquets Beverage Revenue                0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%       0.00            0.00      0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00       0.00%        0.00            0.00      0.00%         0.00

             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Beverage Revenue          0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%          0.00

                                                                                                           Other Revenue
             0.00      0.00%        0.00      0.00%        0.00           0.00      0.00%           0.00   Audio/Visual Income                      0.00     0.00%         0.00     0.00%          0.00         505.00     1.23%       -505.00
             0.00      0.00%        0.00      0.00%        0.00           0.00      0.00%           0.00   Other Revenue                            0.00     0.00%         0.00     0.00%          0.00         700.00     1.70%       -700.00
             0.00      0.00%      350.00      5.47%     -350.00       1,453.18     18.98%      -1,453.18   Setup Fee                              639.81     2.39%     3,500.00     6.36%     -2,860.19       7,730.97    18.82%     -7,091.16
         4,222.00     52.83%      500.00      7.81%    3,722.00       4,800.00     62.70%        -578.00   Public Room Rental                  13,878.00    51.93%     5,000.00     9.08%      8,878.00      24,599.42    59.88%    -10,721.42

        4,222.00     52.83%       850.00    13.28%    3,372.00       6,253.18     81.69%      -2,031.18    Total Banquets Other Revenue        14,517.81   54.33%     8,500.00    15.44%      6,017.81      33,535.39     81.63%    -19,017.58

        7,991.60    100.00%     6,402.56    100.00%   1,589.04       7,655.18     100.00%        336.42    Total Banquets Revenue              26,723.98   100.00%   55,046.92 100.00%       -28,322.94     41,079.75 100.00%       -14,355.77

                                                                                                           Cost of Sales
             0.00      0.00%     1,776.82    27.75%   -1,776.82           0.00      0.00%           0.00   Food Purchases                           0.00     0.00%    14,895.02     27.06%   -14,895.02           0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Audio Visual Cost of Sales               0.00     0.00%         0.00      0.00%         0.00         121.10     0.29%       -121.10

             0.00     0.00%     1,776.82    27.75%    -1,776.82           0.00     0.00%           0.00    Total Banquets Cost of Sales             0.00    0.00%    14,895.02    27.06%     -14,895.02        121.10      0.29%      -121.10

        7,991.60    100.00%     4,625.74    72.25%    3,365.86       7,655.18     100.00%        336.42    Gross Profit                        26,723.98   100.00%   40,151.90    72.94%     -13,427.92     40,958.65     99.71%    -14,234.67

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Management                0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%          0.00

             0.00      0.00%        0.00      0.00%       0.00          298.35      3.90%        -298.35   Servers                                  0.00     0.00%        0.00       0.00%        0.00        3,017.99      7.35%     -3,017.99
             0.00     0.00%         0.00     0.00%        0.00         298.35      3.90%        -298.35    Total Banquets Non-Management            0.00    0.00%         0.00      0.00%         0.00       3,017.99      7.35%     -3,017.99

             0.00                   0.00                  0.00         298.35                   -298.35    Total Banquets Salaries and Wages        0.00                  0.00                    0.00       3,017.99                -3,017.99

                                                                                                           PR Taxes and Benefits
             0.00      0.00%       67.96      1.06%      -67.96           0.00      0.00%          0.00    FICA                                     0.00     0.00%       569.74      1.04%      -569.74           0.00      0.00%         0.00
             0.00      0.00%        0.37      0.01%       -0.37           0.00      0.00%          0.00    Federal Unemployment Tax                 0.00     0.00%         9.40      0.02%        -9.40           0.00      0.00%         0.00
             0.00      0.00%        2.40      0.04%       -2.40           0.00      0.00%          0.00    State Unemployment Tax                   0.00     0.00%        81.27      0.15%       -81.27           0.00      0.00%         0.00
             0.00     0.00%        70.73     1.10%      -70.73            0.00     0.00%           0.00    Total Payroll Taxes                      0.00    0.00%       660.41      1.20%      -660.41            0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%           0.00    Total Supplemental Pay                   0.00    0.00%          0.00     0.00%          0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%         0.00           0.00     0.00%           0.00    Total Other Benefits                     0.00    0.00%          0.00     0.00%          0.00           0.00     0.00%          0.00

             0.00                  70.73                -70.73            0.00                     0.00    Total Banquet Benefits                   0.00                660.41                 -660.41            0.00                    0.00

             0.00     0.00%        70.73     1.10%      -70.73         298.35      3.90%        -298.35    Total Banquets Payroll                   0.00    0.00%       660.41      1.20%      -660.41       3,017.99      7.35%     -3,017.99

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                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %       PTD Budget    %        Variance   PTD Last Year    %            Variance                                           YTD     %        YTD Budget %             Variance   YTD Last Year    %         Variance


                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%        0.00            0.00     0.00%           0.00    Total Banquets Other Expenses           0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%         0.00

             0.00     0.00%       70.73    1.10%      -70.73         298.35      3.90%        -298.35    Total Banquets Expenses                 0.00    0.00%       660.41      1.20%     -660.41       3,017.99     7.35%     -3,017.99

        7,991.60    100.00%    4,555.01    71.14%   3,436.59       7,356.83     96.10%         634.77    Total Banquets Profit (Loss)       26,723.98   100.00%   39,491.49   71.74%     -12,767.51     37,940.66     92.36%   -11,216.68




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year    %            Variance

                                                                                                         Catering
                                                                                                         Food Revenue
             0.00      0.00%         0.00   0.00%       0.00        4,017.16     33.06%      -4,017.16   Food-Breakfast                          0.00    0.00%         0.00     0.00%       0.00       40,899.10    38.24%      -40,899.10
             0.00      0.00%         0.00   0.00%       0.00        3,037.31     24.99%      -3,037.31   Food-Dinner                             0.00    0.00%         0.00     0.00%       0.00       29,317.64    27.41%      -29,317.64

             0.00     0.00%         0.00    0.00%       0.00       7,054.47     58.05%      -7,054.47    Catering Food Revenue                   0.00   0.00%         0.00      0.00%       0.00      70,216.74     65.65%     -70,216.74
             0.00      0.00%        0.00     0.00%      0.00           0.00       0.00%          0.00    Less: Adjustments                       0.00    0.00%        0.00       0.00%      0.00           0.00       0.00%          0.00

             0.00     0.00%         0.00    0.00%       0.00       7,054.47     58.05%      -7,054.47    Total Catering Food Revenue             0.00   0.00%         0.00      0.00%       0.00      70,216.74     65.65%     -70,216.74

                                                                                                         Beverage Revenue
             0.00      0.00%         0.00   0.00%       0.00        1,572.89     12.94%      -1,572.89   Liquor                                  0.00    0.00%         0.00     0.00%       0.00       10,677.37     9.98%      -10,677.37
             0.00      0.00%         0.00   0.00%       0.00          590.05      4.86%        -590.05   Beer                                    0.00    0.00%         0.00     0.00%       0.00        5,948.25     5.56%       -5,948.25
             0.00      0.00%         0.00   0.00%       0.00        2,935.45     24.15%      -2,935.45   Wine                                    0.00    0.00%         0.00     0.00%       0.00       20,109.96    18.80%      -20,109.96

             0.00     0.00%         0.00    0.00%       0.00       5,098.39     41.95%      -5,098.39    Catering Beverage Revenue               0.00   0.00%         0.00      0.00%       0.00      36,735.58     34.35%     -36,735.58
             0.00      0.00%        0.00     0.00%      0.00           0.00       0.00%          0.00    Less: Adjustments                       0.00    0.00%        0.00       0.00%      0.00           0.00       0.00%          0.00

             0.00     0.00%         0.00    0.00%       0.00       5,098.39     41.95%      -5,098.39    Total Catering Beverage Revenue         0.00   0.00%         0.00      0.00%       0.00      36,735.58     34.35%     -36,735.58

                                                                                                         Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Catering Other Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00

             0.00     0.00%         0.00    0.00%       0.00      12,152.86     100.00%    -12,152.86    Total Catering Revenue                  0.00   0.00%         0.00      0.00%       0.00     106,952.32 100.00%       -106,952.32

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Catering Cost of Sales            0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00

             0.00     0.00%         0.00    0.00%       0.00      12,152.86     100.00%    -12,152.86    Catering Gross Profit                   0.00   0.00%         0.00      0.00%       0.00     106,952.32 100.00%       -106,952.32

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Catering Management               0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Catering Non-Management           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Catering Salaries and Wages       0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Payroll Taxes                     0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Supplemental Pay                  0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Other Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Catering PR Taxes and Benefits    0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Catering Payroll                  0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Catering Other Expenses           0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Catering Expenses                 0.00   0.00%         0.00      0.00%       0.00            0.00     0.00%           0.00

             0.00     0.00%         0.00    0.00%       0.00      12,152.86     100.00%    -12,152.86    Total Catering Profit (Loss)            0.00   0.00%         0.00      0.00%       0.00     106,952.32 100.00%       -106,952.32




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                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                            As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year    %            Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 3
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 4
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Restaurant 5
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                   Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget     %         Variance   PTD Last Year    %            Variance                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                            Bar 1
                                                                                                            Food Revenue

             0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%           0.00    Bar 1 Food Revenue                       0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00       0.00%       0.00            0.00      0.00%          0.00    Less: Adjustments                        0.00     0.00%        0.00       0.00%         0.00            0.00     0.00%        0.00

             0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Food Revenue                 0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

                                                                                                            Beverage Revenue
             0.00      0.00%     1,573.60    35.90%    -1,573.60           0.00     0.00%           0.00    Liquor                                    0.00   0.00%     14,480.20     35.90%   -14,480.20            0.00    0.00%         0.00
             0.00      0.00%     1,686.00    38.46%    -1,686.00           0.00     0.00%           0.00    Beer                                      0.00   0.00%     15,514.50     38.46%   -15,514.50            0.00    0.00%         0.00
             0.00      0.00%     1,124.00    25.64%    -1,124.00           0.00     0.00%           0.00    Wine                                      0.00   0.00%     10,343.00     25.64%   -10,343.00            0.00    0.00%         0.00

             0.00     0.00%     4,383.60    100.00%    -4,383.60           0.00     0.00%           0.00    Bar 1 Beverage Revenue                   0.00    0.00%    40,337.70 100.00%       -40,337.70            0.00    0.00%         0.00
             0.00      0.00%        0.00       0.00%        0.00           0.00      0.00%          0.00    Less: Adjustments                        0.00     0.00%        0.00    0.00%            0.00            0.00     0.00%        0.00

             0.00     0.00%     4,383.60    100.00%    -4,383.60           0.00     0.00%           0.00    Total Bar 1 Beverage Revenue             0.00    0.00%    40,337.70 100.00%       -40,337.70            0.00    0.00%         0.00

                                                                                                            Other Revenue

             0.00     0.00%         0.00      0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Other Revenue                0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

             0.00     0.00%     4,383.60    100.00%    -4,383.60           0.00     0.00%           0.00    Total Bar 1 Revenue                      0.00    0.00%    40,337.70 100.00%       -40,337.70            0.00    0.00%         0.00

                                                                                                            Cost of Sales
             0.00      0.00%     1,052.06    24.00%    -1,052.06           0.00     0.00%           0.00    Beverage Purchases                        0.00   0.00%      9,681.05     24.00%    -9,681.05            0.00    0.00%         0.00

             0.00     0.00%     1,052.06     24.00%    -1,052.06           0.00     0.00%           0.00    Total Bar 1 Cost of Sales                0.00    0.00%     9,681.05    24.00%      -9,681.05            0.00    0.00%         0.00

             0.00     0.00%     3,331.54     76.00%    -3,331.54           0.00     0.00%           0.00    Gross Profit                             0.00    0.00%    30,656.65    76.00%     -30,656.65            0.00    0.00%         0.00

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         4,698.99      0.00%     2,170.00     49.50%    2,528.99       2,272.90      0.00%       2,426.09   Bartenders                           12,051.05    0.00%    21,280.00    52.75%      -9,228.95      10,927.36     0.00%    1,123.69
        4,698.99      0.00%     2,170.00     49.50%    2,528.99       2,272.90      0.00%       2,426.09    Total Bar 1 Non-Management          12,051.05    0.00%    21,280.00    52.75%      -9,228.95      10,927.36     0.00%    1,123.69

        4,698.99      0.00%     2,170.00     49.50%    2,528.99       2,272.90      0.00%       2,426.09    Total Bar 1 Salaries and Wages      12,051.05    0.00%    21,280.00    52.75%      -9,228.95      10,927.36     0.00%    1,123.69

                                                                                                            PR Taxes and Benefits
             0.00      0.00%       192.83      4.40%     -192.83         313.41      0.00%        -313.41   FICA                                      0.00    0.00%     1,874.78      4.65%     -1,874.78       1,861.87     0.00%    -1,861.87
             0.00      0.00%         1.06      0.02%       -1.06           0.00      0.00%           0.00   Federal Unemployment Tax                  0.00    0.00%        38.16      0.09%        -38.16           0.00     0.00%         0.00
             0.00      0.00%         6.81      0.16%       -6.81           0.00      0.00%           0.00   State Unemployment Tax                    0.00    0.00%       314.54      0.78%       -314.54           0.00     0.00%         0.00
             0.00     0.00%       200.70      4.58%     -200.70         313.41      0.00%        -313.41    Total Payroll Taxes                       0.00   0.00%     2,227.48      5.52%     -2,227.48       1,861.87     0.00%    -1,861.87
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Holiday                                   0.00    0.00%         0.00      0.00%          0.00         129.92     0.00%      -129.92
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Vacation                                  0.00    0.00%         0.00      0.00%          0.00         335.29     0.00%      -335.29
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%            0.00   Total Supplemental Pay                    0.00   0.00%          0.00     0.00%           0.00        465.21     0.00%      -465.21
             0.00      0.00%       107.23      2.45%     -107.23           0.00      0.00%           0.00   Worker's Compensation                   104.16    0.00%     1,044.60      2.59%       -940.44           0.00     0.00%       104.16
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Group Insurance                           0.00    0.00%         0.00      0.00%          0.00         112.70     0.00%      -112.70
             0.00     0.00%       107.23      2.45%     -107.23            0.00     0.00%            0.00   Total Other Benefits                   104.16    0.00%     1,044.60      2.59%       -940.44         112.70     0.00%         -8.54

             0.00     0.00%       307.93      7.02%     -307.93         313.41      0.00%        -313.41    Total Bar 1 PR Taxes and Benefits      104.16    0.00%     3,272.08      8.11%     -3,167.92       2,439.78     0.00%    -2,335.62

        4,698.99      0.00%     2,477.93     56.53%    2,221.06       2,586.31      0.00%       2,112.68    Total Bar 1 Payroll                 12,155.21    0.00%    24,552.08    60.87%     -12,396.87      13,367.14     0.00%    -1,211.93

                                                                                                            Other Expenses
             0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%           0.00    Licenses/Permits                          0.00   0.00%          0.00     0.00%          0.00        6,833.00    0.00%    -6,833.00
             0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%           0.00    Uniforms                                  0.00   0.00%          0.00     0.00%          0.00           33.26    0.00%       -33.26

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                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %       PTD Budget    %        Variance   PTD Last Year    %            Variance                                           YTD    %       YTD Budget %             Variance   YTD Last Year   %        Variance

             0.00     0.00%        0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Other Expenses              0.00   0.00%        0.00      0.00%        0.00       6,866.26     0.00%   -6,866.26

        4,698.99      0.00%    2,477.93    56.53%   2,221.06       2,586.31      0.00%       2,112.68    Total Bar 1 Expenses               12,155.21   0.00%   24,552.08   60.87%     -12,396.87     20,233.40     0.00%   -8,078.19

       -4,698.99      0.00%      853.61    19.47%   -5,552.60     -2,586.31      0.00%      -2,112.68    Total Bar 1 Profit (Loss)         -12,155.21   0.00%    6,104.57   15.13%     -18,259.78    -20,233.40     0.00%   8,078.19




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                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                         Bar 2
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Bar 2 Food Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Adjustments                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Food Revenue                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Bar 2 Beverage Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%          0.00    Less: Adjustments                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Beverage Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Other Revenue               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Cost of Sales               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Gross Profit                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Expenses
                                                                                                         Payroll Expenses
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Non-Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Salaries and Wages          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Payroll Taxes                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Supplemental Pay                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Other Benefits                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 PR Taxes and Benefits       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Payroll                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Other Expenses              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Expenses                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%           0.00    Total Bar 2 Profit (Loss)               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %           Variance                                            YTD     %         YTD Budget %               Variance   YTD Last Year     %          Variance

                                                                                                         Telephone
             0.00      0.00%         0.00   0.00%       0.00            4.64    100.00%          -4.64   Local and Long Distance Revenue        78.95     87.95%          0.00     0.00%         78.95          233.67    100.00%      -154.72
             0.00      0.00%         0.00   0.00%       0.00            0.00      0.00%           0.00   Other Telephone Revenue                10.82     12.05%          0.00     0.00%         10.82            0.00      0.00%        10.82

             0.00     0.00%         0.00    0.00%       0.00            4.64    100.00%         -4.64    Telephone Revenue                      89.77   100.00%          0.00      0.00%         89.77         233.67 100.00%          -143.90
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%         0.00    Less: Adjustments                       0.00      0.00%         0.00       0.00%         0.00           0.00    0.00%            0.00
             0.00     0.00%         0.00    0.00%       0.00            4.64    100.00%         -4.64    Total Telephone Revenue                89.77   100.00%          0.00      0.00%         89.77         233.67 100.00%          -143.90

                                                                                                         Cost of Sales
           503.38      0.00%       549.14    0.00%    -45.76          769.7616,589.66%         -266.38   Cost of Sales - Local Calls          5,174.83 5,764.54%      5,491.40      0.00%       -316.57       7,457.18 3,191.33%     -2,282.35
         2,353.59      0.00%     1,724.82    0.00%    628.77           93.94 2,024.57%        2,259.65   Cost of Sales - Long Distance       10,359.11 11,539.61%    17,248.20      0.00%     -6,889.09          93.94    40.20%     10,265.17
        2,856.97      0.00%     2,273.96    0.00%    583.01          863.7018,614.22%        1,993.27    Total Telephone Cost of Sales      15,533.9417,304.16%     22,739.60      0.00%     -7,205.66       7,551.123,231.53%       7,982.82

       -2,856.97      0.00%    -2,273.96    0.00%    -583.01        -859.06
                                                                         -18,514.22%        -1,997.91    Gross Profit                      -15,444.17
                                                                                                                                                    -17,204.16%     -22,739.60     0.00%      7,295.43      -7,317.45
                                                                                                                                                                                                                    -3,131.53%       -8,126.72

                                                                                                         Other Expenses
           232.84      0.00%         0.00    0.00%     232.84           0.00     0.00%          232.84   Communication Expense                  232.84   259.37%          0.00      0.00%        232.84           0.00     0.00%         232.84
         1,664.12      0.00%     2,137.67    0.00%    -473.55       2,394.1051,596.98%         -729.98   Internet/Web Expense                 5,663.26 6,308.63%     21,376.70      0.00%    -15,713.44      13,739.11 5,879.71%      -8,075.85
             0.00      0.00%         0.00    0.00%       0.00         668.5814,409.05%         -668.58   Miscellaneous Expense                    0.00     0.00%          0.00      0.00%          0.00       2,029.93 868.72%        -2,029.93
             0.00      0.00%         0.00    0.00%       0.00         500.0010,775.86%         -500.00   Operating Supplies                       0.00     0.00%          0.00      0.00%          0.00         500.00 213.98%          -500.00
        1,896.96      0.00%     2,137.67    0.00%    -240.71       3,562.6876,781.90%       -1,665.72    Total Telephone Other Expenses      5,896.10 6,568.01%     21,376.70      0.00%    -15,480.60      16,269.046,962.40%      -10,372.94

       -4,753.93      0.00%    -4,411.63    0.00%    -342.30      -4,421.74
                                                                         -95,296.12%          -332.19    Total Telephone Profit (Loss)     -21,340.27
                                                                                                                                                    -23,772.16%     -44,116.30     0.00%    22,776.03      -23,586.49
                                                                                                                                                                                                                   -10,093.93%        2,246.22




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              PTD     %        PTD Budget     %         Variance   PTD Last Year     %           Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                            Minor Operating
                                                                                                            Income
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Rental Income - Other                         1,175.00     3.14%         0.00   0.00%       1,175.00           0.00      0.00%     1,175.00
             0.00     0.00%          0.00     0.00%         0.00           0.00     0.00%            0.00   Total Rental Income                          1,175.00     3.14%          0.00  0.00%       1,175.00            0.00     0.00%     1,175.00
             0.00      0.00%         0.00      0.00%        0.00         101.62      4.08%        -101.62   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00   0.00%           0.00         727.90      2.05%      -727.90
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Vending Commissions Other                        49.75     0.13%         0.00   0.00%          49.75           0.00      0.00%        49.75
             0.00     0.00%          0.00     0.00%         0.00        101.62      4.08%        -101.62    Total Vending Commission Income                  49.75    0.13%          0.00  0.00%           49.75        727.90      2.05%      -678.15
           947.67     21.16%         0.00      0.00%      947.67         438.40     17.61%         509.27   Cancellation Fee - Rooms                     20,611.37    55.04%         0.00   0.00%      20,611.37       6,478.99     18.22%    14,132.38
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Cancellation Fee - Other                          0.00     0.00%         0.00   0.00%           0.00       3,753.00     10.56%    -3,753.00
          947.67     21.16%          0.00     0.00%      947.67         438.40     17.61%         509.27    Total Cancellation Fee Income               20,611.37    55.04%          0.00  0.00%      20,611.37      10,231.99     28.78%    10,379.38
             0.00      0.00%       175.00     12.40%     -175.00           0.00      0.00%           0.00   Guest Laundry                                     0.00     0.00%     1,750.00  13.33%      -1,750.00         157.25      0.44%      -157.25
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Interest Earned                                 -14.85    -0.04%         0.00   0.00%         -14.85           0.00      0.00%       -14.85
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Cash Discounts                                    0.00     0.00%         0.00   0.00%           0.00         551.76      1.55%      -551.76
            79.20      1.77%         0.00      0.00%       79.20          74.25      2.98%           4.95   Internet Access                               1,099.00     2.93%         0.00   0.00%       1,099.00         821.68      2.31%       277.32
           857.80     19.15%         0.00      0.00%      857.80           0.00      0.00%         857.80   Other Revenue 2                              -5,497.15   -14.68%         0.00   0.00%      -5,497.15           0.01      0.00%    -5,497.16
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Other Revenue 3                                   0.00     0.00%         0.00   0.00%           0.00       1,200.00      3.38%    -1,200.00
             0.00      0.00%         0.00      0.00%        0.00           0.00      0.00%           0.00   Other Revenue 4                                  64.93     0.17%         0.00   0.00%          64.93           0.00      0.00%        64.93
         2,594.36     57.92%     1,236.40     87.60%    1,357.96       1,874.73     75.32%         719.63   Gift Shop Sales                              19,961.11    53.30%    11,377.30  86.67%       8,583.81      21,864.28     61.49%    -1,903.17
        3,531.36     78.84%     1,411.40    100.00%    2,119.96       1,948.98     78.30%       1,582.38    Total Other Income                          15,613.04    41.69%    13,127.30 100.00%       2,485.74      24,594.98     69.17%    -8,981.94

        4,479.03    100.00%     1,411.40    100.00%    3,067.63       2,489.00     100.00%      1,990.03    Total Minor Operating Income                37,449.16    100.00%   13,127.30 100.00%      24,321.86      35,554.87 100.00%        1,894.29

                                                                                                            Cost of Sales
             0.00      0.00%        43.75      3.10%     -43.75            0.00      0.00%          0.00    Cost of Sales - Guest Laundry                     0.00     0.00%       437.50     3.33%      -437.50         157.25      0.44%     -157.25
           870.08     19.43%       803.66     56.94%      66.42          792.80     31.85%         77.28    Cost of Sales - Gift Shop                    12,415.99    33.15%     7,395.27    56.34%     5,020.72      11,996.29     33.74%      419.70
          870.08     19.43%       847.41     60.04%      22.67          792.80     31.85%          77.28    Total Minor Operated Cost of Sales          12,415.99    33.15%     7,832.77    59.67%     4,583.22      12,153.54     34.18%      262.45

        3,608.95     80.57%       563.99     39.96%    3,044.96       1,696.20     68.15%       1,912.75    Total Minor Operated Profit (Loss)          25,033.17    66.85%     5,294.53    40.33%    19,738.64      23,401.33     65.82%     1,631.84




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              PTD     %       PTD Budget   %       Variance   PTD Last Year    %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Arcade
                                                                                                       Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Arcade Revenue                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Arcade Non-Management             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Arcade Salaries and Wages         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Arcade PR Taxes and Benefits      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Arcade Payroll                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Arcade Other Expenses             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Arcade Expenses                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Arcade Profit (Loss)              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year    %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Waterpark
                                                                                                       Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget    %        Variance   PTD Last Year    %            Variance                                                    YTD     %       YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                          Franchise Fees
            40.97      0.01%       250.00    0.12%     -209.03           0.00     0.00%           40.97   Franchise Fees - IT Fees                     2,632.58    0.10%     2,500.00     0.13%        132.58           0.00     0.00%     2,632.58
        14,752.54      4.88%    11,063.78    5.42%    3,688.76       6,626.62     4.73%        8,125.92   Franchise Fees - Royalty & Licenses        157,795.52    6.12%   102,257.97     5.43%     55,537.55      73,004.09     4.90%    84,791.43
           119.20      0.04%       100.00    0.05%       19.20           0.00     0.00%          119.20   Franchise Fees - Other                       2,344.22    0.09%     1,000.00     0.05%      1,344.22           0.00     0.00%     2,344.22
           501.23      0.17%     2,697.60    1.32%   -2,196.37           0.00     0.00%          501.23   Franchise Fees - Reservations-GDS           13,091.48    0.51%    24,823.20     1.32%    -11,731.72           0.00     0.00%    13,091.48
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Franchise Fees - Equipment                      27.15    0.00%         0.00     0.00%         27.15           0.00     0.00%        27.15
         4,465.84      1.48%     4,496.00    2.20%      -30.16       2,559.62     1.83%        1,906.22   Franchise Fees - Frequent Guest             64,840.27    2.52%    41,372.00     2.20%     23,468.27      40,613.39     2.73%    24,226.88
        11,533.77      3.81%     4,609.91    2.26%    6,923.86      10,429.75     7.45%        1,104.02   Franchise Fees - Marketing Contributions    76,805.54    2.98%    42,607.49     2.26%     34,198.05      62,324.20     4.19%    14,481.34
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%            0.00   Franchise Fees - Reservations-Central          706.54    0.03%         0.00     0.00%        706.54           0.00     0.00%       706.54

       31,413.55     10.38%    23,217.29    11.38%   8,196.26      19,615.99     14.01%      11,797.56    Total Franchise Fees                       318,243.30   12.34%   214,560.66   11.40%    103,682.64     175,941.68     11.82%   142,301.62




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              PTD     %        PTD Budget    %          Variance   PTD Last Year    %            Variance                                             YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                            A&G
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
        10,868.89      3.59%     9,643.71     4.73%    1,225.18       10,584.67      7.56%         284.22   Management- A&G                     100,961.25     3.92%     94,285.61     5.01%      6,675.64      92,388.18      6.21%      8,573.07
       10,868.89      3.59%     9,643.71     4.73%    1,225.18       10,584.67      7.56%         284.22    Total A&G Management               100,961.25     3.92%     94,285.61     5.01%      6,675.64      92,388.18      6.21%      8,573.07
             0.00     0.00%          0.00    0.00%         0.00            0.00     0.00%            0.00   Total A&G Non-Management                  0.00    0.00%           0.00    0.00%           0.00           0.00     0.00%           0.00
       10,868.89      3.59%     9,643.71     4.73%    1,225.18       10,584.67      7.56%         284.22    Total A&G Salaries and Wages       100,961.25     3.92%     94,285.61     5.01%      6,675.64      92,388.18      6.21%      8,573.07
                                                                                                            PR Taxes and Benefits
           553.01      0.18%       766.68     0.38%      -213.67         781.97      0.56%        -228.96   FICA                                  7,760.59     0.30%      7,518.41     0.40%        242.18       7,802.33      0.52%        -41.74
          -211.39     -0.07%         4.21     0.00%      -215.60           0.00      0.00%        -211.39   Federal Unemployment Tax                270.53     0.01%        156.65     0.01%        113.88           0.00      0.00%        270.53
            78.41      0.03%        27.06     0.01%        51.35           0.00      0.00%          78.41   State Unemployment Tax                1,469.16     0.06%      1,287.77     0.07%        181.39           0.00      0.00%      1,469.16
          420.03      0.14%       797.95     0.39%      -377.92         781.97      0.56%        -361.94    Total Payroll Taxes                  9,500.28     0.37%      8,962.83     0.48%        537.45       7,802.33      0.52%      1,697.95
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Holiday                                   0.00     0.00%          0.00     0.00%          0.00       2,242.88      0.15%     -2,242.88
             0.00      0.00%       378.21     0.19%      -378.21         790.74      0.56%        -790.74   Vacation                                  0.00     0.00%      3,993.89     0.21%     -3,993.89      12,777.96      0.86%    -12,777.96
             0.00     0.00%       378.21     0.19%      -378.21         790.74      0.56%        -790.74    Total Supplemental Pay                    0.00    0.00%      3,993.89     0.21%     -3,993.89      15,020.84      1.01%    -15,020.84
           640.52      0.21%       495.21     0.24%       145.31         865.00      0.62%        -224.48   Worker's Compensation                 4,948.19     0.19%      4,824.33     0.26%        123.86      10,597.00      0.71%     -5,648.81
             0.00      0.00%       961.80     0.47%      -961.80         121.76      0.09%        -121.76   Group Insurance                           0.00     0.00%      9,297.40     0.49%     -9,297.40         967.11      0.06%       -967.11
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Bonus and Incentive Pay                   0.00     0.00%          0.00     0.00%          0.00       6,359.26      0.43%     -6,359.26
          640.52      0.21%     1,457.01     0.71%      -816.49         986.76      0.70%        -346.24    Total Other Benefits                 4,948.19     0.19%     14,121.73     0.75%     -9,173.54      17,923.37      1.20%    -12,975.18
        1,060.55      0.35%     2,633.17     1.29%    -1,572.62       2,559.47      1.83%      -1,498.92    Total A&G PR Taxes and Benefits     14,448.47     0.56%     27,078.45     1.44%    -12,629.98      40,746.54      2.74%    -26,298.07
       11,929.44      3.94%    12,276.88     6.02%      -347.44      13,144.14      9.39%      -1,214.70    Total A&G Payroll                  115,409.72     4.48%    121,364.06     6.45%     -5,954.34     133,134.72      8.94%    -17,725.00
                                                                                                            Other Expenses
         1,000.00      0.33%     1,000.00     0.49%        0.00        2,000.00      1.43%      -1,000.00   Accounting/Audit Fees                10,417.69     0.40%     10,000.00     0.53%       417.69       20,000.00      1.34%    -9,582.31
           811.54      0.27%         0.00     0.00%      811.54            0.00      0.00%         811.54   Bad Debt Provision                   15,029.89     0.58%          0.00     0.00%    15,029.89        5,956.47      0.40%     9,073.42
           851.91      0.28%     1,150.00     0.56%     -298.09        1,101.60      0.79%        -249.69   Bank Charges                          9,610.45     0.37%     11,500.00     0.61%    -1,889.55       12,862.90      0.86%    -3,252.45
        -1,459.82     -0.48%         0.00     0.00%   -1,459.82            0.00      0.00%      -1,459.82   Cash Over/Short                       9,159.72     0.36%          0.00     0.00%     9,159.72        1,333.04      0.09%     7,826.68
             0.00      0.00%       450.00     0.22%     -450.00            0.00      0.00%           0.00   Central Office - Travel Rebilled      1,643.95     0.06%      2,800.00     0.15%    -1,156.05            0.00      0.00%     1,643.95
             0.00      0.00%       160.00     0.08%     -160.00            0.00      0.00%           0.00   Central Office - IT Fees                800.00     0.03%      1,600.00     0.09%      -800.00            0.00      0.00%       800.00
           219.00      0.07%       110.00     0.05%      109.00            0.00      0.00%         219.00   Communication Expense                 1,077.90     0.04%      1,100.00     0.06%       -22.10          187.81      0.01%       890.09
        10,906.39      3.61%     5,098.60     2.50%    5,807.79       -3,822.10     -2.73%      14,728.49   Credit Card Commission               62,739.27     2.43%     47,107.77     2.50%    15,631.50       29,717.61      2.00%    33,021.66
             0.00      0.00%        70.00     0.03%      -70.00          883.89      0.63%        -883.89   Data Processing                           0.00     0.00%        700.00     0.04%      -700.00        8,913.20      0.60%    -8,913.20
           248.77      0.08%         0.00     0.00%      248.77          127.92      0.09%         120.85   Dues and Subscriptions                  781.39     0.03%          0.00     0.00%       781.39        2,255.64      0.15%    -1,474.25
           164.78      0.05%       375.00     0.18%     -210.22           80.00      0.06%          84.78   Employee Relations                    1,720.25     0.07%      2,625.00     0.14%      -904.75          875.89      0.06%       844.36
           507.50      0.17%       205.00     0.10%      302.50          253.75      0.18%         253.75   Equipment Rental                      1,643.92     0.06%      2,050.00     0.11%      -406.08        2,284.23      0.15%      -640.31
             0.00      0.00%         0.00     0.00%        0.00           88.77      0.06%         -88.77   Licenses/Permits                      2,057.31     0.08%          0.00     0.00%     2,057.31        3,174.28      0.21%    -1,116.97
             8.11      0.00%        50.00     0.02%      -41.89            0.00      0.00%           8.11   Meals and Entertainment               1,139.81     0.04%        500.00     0.03%       639.81            0.00      0.00%     1,139.81
         4,087.32      1.35%         0.00     0.00%    4,087.32            0.00      0.00%       4,087.32   Miscellaneous Expense                14,754.37     0.57%          0.00     0.00%    14,754.37            0.00      0.00%    14,754.37
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%           0.00   Office Equipment                      1,254.83     0.05%        500.00     0.03%       754.83            0.00      0.00%     1,254.83
           369.68      0.12%       275.00     0.13%       94.68           64.55      0.05%         305.13   Office Supplies                       5,060.88     0.20%      2,750.00     0.15%     2,310.88        3,153.58      0.21%     1,907.30
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%           0.00   Operating Supplies                      528.99     0.02%          0.00     0.00%       528.99            0.00      0.00%       528.99
           254.43      0.08%       750.00     0.37%     -495.57          395.65      0.28%        -141.22   Payroll Service Fees                  1,812.41     0.07%      7,500.00     0.40%    -5,687.59        5,589.85      0.38%    -3,777.44
            51.15      0.02%        50.00     0.02%        1.15           82.71      0.06%         -31.56   Postage                                 415.43     0.02%        500.00     0.03%       -84.57          594.35      0.04%      -178.92
           373.50      0.12%       150.00     0.07%      223.50            0.00      0.00%         373.50   Professional Fees - Legal            17,433.81     0.68%      1,500.00     0.08%    15,933.81            0.00      0.00%    17,433.81
             0.00      0.00%       500.00     0.25%     -500.00            0.00      0.00%           0.00   Professional Fees - Other             2,109.68     0.08%      5,000.00     0.27%    -2,890.32        5,727.00      0.38%    -3,617.32
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%           0.00   Recruitment Advertising               5,010.00     0.19%      3,000.00     0.16%     2,010.00          835.97      0.06%     4,174.03
             0.00      0.00%         0.00     0.00%        0.00          183.28      0.13%        -183.28   Recruitment - Other                   4,517.25     0.18%          0.00     0.00%     4,517.25        1,134.74      0.08%     3,382.51
           534.69      0.18%       520.70     0.26%       13.99            0.00      0.00%         534.69   Software Expense/Maintenance         12,213.41     0.47%      6,157.00     0.33%     6,056.41            0.00      0.00%    12,213.41
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%           0.00   Training                              1,500.00     0.06%      2,000.00     0.11%      -500.00          409.20      0.03%     1,090.80
           750.12      0.25%         0.00     0.00%      750.12            0.00      0.00%         750.12   Travel                                4,716.64     0.18%          0.00     0.00%     4,716.64          612.14      0.04%     4,104.50
             0.00      0.00%         0.00     0.00%        0.00            0.00      0.00%           0.00   Uniforms                                145.95     0.01%          0.00     0.00%       145.95            0.00      0.00%       145.95
       19,679.07      6.51%    10,914.30     5.35%    8,764.77        1,440.02      1.03%      18,239.05    Total A&G Other Expenses           189,295.20     7.34%    108,889.77     5.79%    80,405.43      105,617.90      7.09%    83,677.30
       31,608.51     10.45%    23,191.18    11.37%    8,417.33       14,584.16     10.42%      17,024.35    Total A&G Expenses                 304,704.92    11.82%    230,253.83    12.23%    74,451.09      238,752.62     16.04%    65,952.30




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                                                                              Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                          As of 10/31/2021
              PTD     %       PTD Budget   %       Variance   PTD Last Year    %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       IT
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wags
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total IT Management                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total IT Non-Management                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total IT Salaries and Wages             0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total IT PR Taxes and Benefits          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total IT Payroll                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Cost of Services
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total IT Cost of Services               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       System Costs
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total IT Systems                        0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total IT Other Expenses                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%           0.00    Total IT Expenses                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                  Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year    %            Variance                                            YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                            S&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         5,706.04      1.89%     5,472.11    2.68%      233.93        5,214.29      3.73%         491.75    Division Management                53,980.72    2.09%     53,335.09     2.83%        645.63      48,264.29     3.24%     5,716.43
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Sales Managers                          0.00    0.00%          0.00     0.00%          0.00          80.00     0.01%       -80.00
        5,706.04      1.89%     5,472.11    2.68%      233.93        5,214.29      3.73%         491.75     Total S&M Management              53,980.72    2.09%     53,335.09     2.83%        645.63      48,344.29     3.25%     5,636.43
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00    Administrative Assistant                0.00    0.00%          0.00     0.00%          0.00         968.12     0.07%      -968.12
             0.00     0.00%          0.00   0.00%         0.00            0.00     0.00%            0.00    Total S&M Non-Management                0.00   0.00%           0.00    0.00%           0.00        968.12     0.07%      -968.12

        5,706.04      1.89%     5,472.11    2.68%      233.93        5,214.29      3.73%         491.75     Total S&M Salaries and Wages      53,980.72    2.09%     53,335.09     2.83%        645.63      49,312.41     3.31%     4,668.31

                                                                                                            PR Taxes and Benefits
           292.04      0.10%       434.99    0.21%     -142.95          338.19      0.24%          -46.15   FICA                                4,097.53    0.16%      4,253.05     0.23%       -155.52       3,805.91     0.26%       291.62
           -25.01     -0.01%         2.39    0.00%      -27.40            0.00      0.00%          -25.01   Federal Unemployment Tax              148.65    0.01%         87.89     0.00%         60.76           0.00     0.00%       148.65
            41.04      0.01%        15.35    0.01%       25.69            0.00      0.00%           41.04   State Unemployment Tax                791.03    0.03%        723.50     0.04%         67.53           0.00     0.00%       791.03
          308.07      0.10%       452.73    0.22%     -144.66          338.19      0.24%          -30.12    Total Payroll Taxes                5,037.21    0.20%      5,064.44     0.27%         -27.23      3,805.91     0.26%     1,231.30
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%            0.00   Holiday                                 0.00    0.00%          0.00     0.00%          0.00         950.00     0.06%      -950.00
             0.00      0.00%       214.05    0.10%     -214.05        1,111.28      0.79%      -1,111.28    Vacation                                0.00    0.00%      2,260.39     0.12%     -2,260.39       3,739.55     0.25%    -3,739.55
             0.00     0.00%       214.05    0.10%     -214.05        1,111.28      0.79%      -1,111.28     Total Supplemental Pay                  0.00   0.00%      2,260.39     0.12%     -2,260.39       4,689.55     0.31%    -4,689.55
           439.35      0.15%       280.97    0.14%      158.38            0.00      0.00%         439.35    Worker's Compensation               2,625.04    0.10%      2,729.02     0.14%       -103.98           0.00     0.00%     2,625.04
             0.00      0.00%         0.00    0.00%        0.00         -108.26     -0.08%         108.26    Group Insurance                       157.32    0.01%          0.00     0.00%        157.32       3,561.68     0.24%    -3,404.36
         3,200.00      1.06%         0.00    0.00%    3,200.00            0.00      0.00%       3,200.00    Bonus and Incentive Pay             3,200.00    0.12%          0.00     0.00%      3,200.00         204.41     0.01%     2,995.59
        3,639.35      1.20%       280.97    0.14%    3,358.38         -108.26     -0.08%       3,747.61     Total Other Benefits               5,982.36    0.23%      2,729.02     0.14%      3,253.34       3,766.09     0.25%     2,216.27
        3,947.42      1.30%       947.75    0.46%    2,999.67        1,341.21      0.96%       2,606.21     Total S&M PR Taxes and Benefits   11,019.57    0.43%     10,053.85     0.53%        965.72      12,261.55     0.82%    -1,241.98

        9,653.46      3.19%     6,419.86    3.15%    3,233.60        6,555.50      4.68%       3,097.96     Total S&M Payroll                 65,000.29    2.52%     63,388.94     3.37%      1,611.35      61,573.96     4.14%     3,426.33

                                                                                                            Other Expenses
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Advertising General                 1,428.90    0.06%          0.00     0.00%      1,428.90           0.00     0.00%     1,428.90
           440.00      0.15%       940.00    0.46%      -500.00         567.66      0.41%        -127.66    Advertising-Web/Internet              767.73    0.03%     10,435.00     0.55%     -9,667.27       4,132.75     0.28%    -3,365.02
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Agency Fees                           738.75    0.03%          0.00     0.00%        738.75           0.00     0.00%       738.75
             0.00      0.00%       150.00    0.07%      -150.00           0.00      0.00%           0.00    Brochures                               0.00    0.00%        600.00     0.03%       -600.00           0.00     0.00%         0.00
            60.00      0.02%        60.00    0.03%         0.00           0.00      0.00%          60.00    Communication Expense                 170.00    0.01%        600.00     0.03%       -430.00         100.00     0.01%        70.00
         1,088.00      0.36%     1,384.00    0.68%      -296.00        -876.97     -0.63%       1,964.97    Dues and Subscriptions             15,409.35    0.60%     18,094.00     0.96%     -2,684.65       3,522.30     0.24%    11,887.05
             0.00      0.00%       200.00    0.10%      -200.00           0.00      0.00%           0.00    Magazine - Advertising                  0.00    0.00%      2,000.00     0.11%     -2,000.00           0.00     0.00%         0.00
             0.00      0.00%       100.00    0.05%      -100.00           0.00      0.00%           0.00    Meals and Entertainment                 0.00    0.00%      1,000.00     0.05%     -1,000.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Office Supplies                       144.69    0.01%          0.00     0.00%        144.69         259.96     0.02%      -115.27
            75.76      0.03%         0.00    0.00%        75.76           0.00      0.00%          75.76    Operating Supplies                    108.21    0.00%          0.00     0.00%        108.21           0.00     0.00%       108.21
            49.21      0.02%       225.00    0.11%      -175.79           0.00      0.00%          49.21    Printing and Stationery               310.69    0.01%      1,525.00     0.08%     -1,214.31           0.00     0.00%       310.69
             0.00      0.00%         0.00    0.00%         0.00         192.08      0.14%        -192.08    Promotions - In-house               3,284.21    0.13%          0.00     0.00%      3,284.21       1,238.99     0.08%     2,045.22
            88.46      0.03%       100.00    0.05%       -11.54           0.00      0.00%          88.46    Promotion - Outside                    88.46    0.00%      1,000.00     0.05%       -911.54           0.00     0.00%        88.46
           111.20      0.04%         0.00    0.00%       111.20           0.00      0.00%         111.20    Software Expense/Maintenance        6,751.77    0.26%      7,494.00     0.40%       -742.23           0.00     0.00%     6,751.77
             0.00      0.00%       750.00    0.37%      -750.00           0.00      0.00%           0.00    Training                            1,594.00    0.06%      2,250.00     0.12%       -656.00       1,037.27     0.07%       556.73
             0.00      0.00%       100.00    0.05%      -100.00           0.00      0.00%           0.00    Travel                                 13.74    0.00%      1,000.00     0.05%       -986.26          17.46     0.00%        -3.72
        1,912.63      0.63%     4,009.00    1.97%    -2,096.37        -117.23     -0.08%       2,029.86     Total S&M Other Expenses          30,810.50    1.20%     45,998.00     2.44%    -15,187.50      10,308.73     0.69%    20,501.77

       11,566.09      3.82%    10,428.86    5.11%    1,137.23        6,438.27      4.60%       5,127.82     Total S&M Expenses                95,810.79    3.72%    109,386.94     5.81%    -13,576.15      71,882.69     4.83%    23,928.10




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                                                                                  Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year    %            Variance                                                      YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                           R&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
        -1,209.89     -0.40%         0.00    0.00%    -1,209.89           0.00      0.00%      -1,209.89   Division Management                           13,185.96    0.51%         0.00      0.00%     13,185.96       9,791.24     0.66%     3,394.72
       -1,209.89     -0.40%          0.00   0.00%    -1,209.89            0.00     0.00%      -1,209.89    Total R&M Management                         13,185.96    0.51%          0.00     0.00%     13,185.96       9,791.24     0.66%     3,394.72
         4,431.15      1.46%     3,011.43    1.48%     1,419.72           0.00      0.00%       4,431.15   Engineering Supervisor                         7,819.77    0.30%    29,531.45      1.57%    -21,711.68           0.00     0.00%     7,819.77
         2,278.36      0.75%     3,684.57    1.81%    -1,406.21       2,019.82      1.44%         258.54   Engineers 1                                   29,970.89    1.16%    36,132.55      1.92%     -6,161.66      22,651.32     1.52%     7,319.57
        6,709.51      2.22%     6,696.00    3.28%         13.51      2,019.82      1.44%       4,689.69    Total R&M Non-Management                     37,790.66    1.47%    65,664.00      3.49%    -27,873.34      22,651.32     1.52%    15,139.34

        5,499.62      1.82%     6,696.00    3.28%    -1,196.38       2,019.82      1.44%       3,479.80    Total R&M Salaries and Wages                 50,976.62    1.98%    65,664.00      3.49%    -14,687.38      32,442.56     2.18%    18,534.06

                                                                                                           PR Taxes and Benefits
           263.98      0.09%       512.24    0.25%     -248.26          152.19      0.11%         111.79   FICA                                           3,748.74    0.15%     5,023.27      0.27%     -1,274.53       2,805.15     0.19%       943.59
           -96.56     -0.03%         2.81    0.00%      -99.37            0.00      0.00%         -96.56   Federal Unemployment Tax                         152.09    0.01%       104.67      0.01%         47.42           0.00     0.00%       152.09
            32.91      0.01%        18.08    0.01%       14.83            0.00      0.00%          32.91   State Unemployment Tax                           607.13    0.02%       860.40      0.05%       -253.27           0.00     0.00%       607.13
          200.33      0.07%       533.13    0.26%     -332.80          152.19      0.11%           48.14   Total Payroll Taxes                           4,507.96    0.17%     5,988.34      0.32%     -1,480.38       2,805.15     0.19%     1,702.81
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Holiday                                          104.00    0.00%         0.00      0.00%        104.00         481.20     0.03%      -377.20
             0.00      0.00%         0.00    0.00%        0.00          347.01      0.25%        -347.01   Vacation                                           0.00    0.00%         0.00      0.00%          0.00       2,693.30     0.18%    -2,693.30
             0.00     0.00%          0.00   0.00%         0.00         347.01      0.25%        -347.01    Total Supplemental Pay                          104.00    0.00%          0.00     0.00%        104.00       3,174.50     0.21%    -3,070.50
           341.97      0.11%       330.87    0.16%       11.10            0.00      0.00%         341.97   Worker's Compensation                          1,939.08    0.08%     3,223.29      0.17%     -1,284.21           0.00     0.00%     1,939.08
          -244.50     -0.08%         0.00    0.00%     -244.50           47.84      0.03%        -292.34   Group Insurance                                 -978.00   -0.04%         0.00      0.00%       -978.00       1,907.56     0.13%    -2,885.56
            97.47     0.03%       330.87    0.16%     -233.40            47.84     0.03%           49.63   Total Other Benefits                            961.08    0.04%     3,223.29      0.17%     -2,262.21       1,907.56     0.13%      -946.48
          297.80      0.10%       864.00    0.42%     -566.20          547.04      0.39%        -249.24    Total R&M PR Taxes and Benefits               5,573.04    0.22%     9,211.63      0.49%     -3,638.59       7,887.21     0.53%    -2,314.17

        5,797.42      1.92%     7,560.00    3.71%    -1,762.58       2,566.86      1.83%       3,230.56    Total R&M Payroll                            56,549.66    2.19%    74,875.63      3.98%    -18,325.97      40,329.77     2.71%    16,219.89

                                                                                                           Other Expenses
            97.91      0.03%       250.00   0.12%      -152.09           89.69     0.06%            8.22   Air Conditioning and Refrigeration            6,391.80    0.25%      2,500.00     0.13%       3,891.80       2,024.64    0.14%      4,367.16
            10.80      0.00%         0.00   0.00%        10.80            0.00     0.00%           10.80   Audio Visual Repair                              10.80    0.00%          0.00     0.00%          10.80           0.00    0.00%         10.80
            87.83      0.03%       350.00   0.17%      -262.17            0.00     0.00%           87.83   Building                                      7,117.21    0.28%      3,300.00     0.18%       3,817.21         244.16    0.02%      6,873.05
             0.00      0.00%        50.00   0.02%       -50.00            0.00     0.00%            0.00   Communication Expense                             0.00    0.00%      1,725.00     0.09%      -1,725.00           0.00    0.00%          0.00
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%            0.00   Computer Maintenance Repairs & Maintenance    1,714.44    0.07%          0.00     0.00%       1,714.44           0.00    0.00%      1,714.44
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%            0.00   Contract Labor                                    0.00    0.00%      5,500.00     0.29%      -5,500.00           0.00    0.00%          0.00
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%            0.00   Curtains and Drapes                               0.00    0.00%          0.00     0.00%           0.00          27.46    0.00%        -27.46
           257.81      0.09%       200.00   0.10%        57.81          255.94     0.18%            1.87   Electric Bulbs                                9,923.05    0.38%      2,400.00     0.13%       7,523.05       1,926.90    0.13%      7,996.15
         1,032.99      0.34%       175.00   0.09%       857.99           87.00     0.06%          945.99   Electrical and Mechanical                     3,448.61    0.13%      1,750.00     0.09%       1,698.61         614.70    0.04%      2,833.91
             0.00      0.00%     1,200.00   0.59%    -1,200.00            0.00     0.00%            0.00   Elevator Maintenance Contracts                  243.62    0.01%      4,492.05     0.24%      -4,248.43           0.00    0.00%        243.62
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%            0.00   Equipment Maintenance                           371.19    0.01%          0.00     0.00%         371.19       4,056.31    0.27%     -3,685.12
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%            0.00   Equipment Rental                              1,699.85    0.07%          0.00     0.00%       1,699.85       2,500.18    0.17%       -800.33
           194.82      0.06%        37.89   0.02%       156.93           39.70     0.03%          155.12   Fire Safety Equipment                        10,202.80    0.40%      4,203.90     0.22%       5,998.90       4,883.72    0.33%      5,319.08
             0.00      0.00%       150.00   0.07%      -150.00            0.00     0.00%            0.00   Floor and Carpet Maintenance                      0.00    0.00%      1,500.00     0.08%      -1,500.00       5,118.61    0.34%     -5,118.61
             0.00      0.00%       150.00   0.07%      -150.00            0.00     0.00%            0.00   Furniture                                         0.00    0.00%      1,500.00     0.08%      -1,500.00       2,014.23    0.14%     -2,014.23
         3,477.02      1.15%     1,322.20   0.65%     2,154.82        1,224.74     0.87%        2,252.28   Grounds and Landscaping                      15,855.92    0.62%     13,222.00     0.70%       2,633.92      13,817.49    0.93%      2,038.43
           365.23      0.12%       344.26   0.17%        20.97          365.23     0.26%            0.00   Indoor Plant Maintenance                      4,017.53    0.16%      3,442.60     0.18%         574.93       2,921.85    0.20%      1,095.68
             0.00      0.00%       150.00   0.07%      -150.00          600.60     0.43%         -600.60   Kitchen Equipment Repairs                         0.00    0.00%      1,500.00     0.08%      -1,500.00       2,222.34    0.15%     -2,222.34
             0.00      0.00%       150.00   0.07%      -150.00            0.00     0.00%            0.00   Laundry Equipment Repairs                        33.23    0.00%      1,500.00     0.08%      -1,466.77          23.43    0.00%          9.80
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%            0.00   Licenses/Permits                                229.69    0.01%          0.00     0.00%         229.69         200.00    0.01%         29.69
             0.00      0.00%       150.00   0.07%      -150.00            0.00     0.00%            0.00   Locks and Keys                                2,367.42    0.09%      1,500.00     0.08%         867.42         357.61    0.02%      2,009.81
             0.00      0.00%         0.00   0.00%         0.00          305.00     0.22%         -305.00   Maintenance Contracts                         4,664.15    0.18%      3,450.00     0.18%       1,214.15       3,050.00    0.20%      1,614.15
             0.00      0.00%       350.00   0.17%      -350.00            0.00     0.00%            0.00   Operating Supplies                            1,309.34    0.05%      3,500.00     0.19%      -2,190.66           0.00    0.00%      1,309.34
           221.77      0.07%       175.00   0.09%        46.77           20.12     0.01%          201.65   Painting and Decorating                       1,089.00    0.04%      1,750.00     0.09%        -661.00       1,167.67    0.08%        -78.67
           324.75      0.11%       405.00   0.20%       -80.25          505.15     0.36%         -180.40   Pest Control                                  4,613.95    0.18%      4,050.00     0.22%         563.95       3,151.62    0.21%      1,462.33
           226.55      0.07%       300.00   0.15%       -73.45          276.81     0.20%          -50.26   Plumbing and Heating                          4,478.79    0.17%      3,000.00     0.16%       1,478.79       2,707.26    0.18%      1,771.53
           358.48      0.12%         0.00   0.00%       358.48            0.00     0.00%          358.48   Pool Chemicals                                4,972.03    0.19%          0.00     0.00%       4,972.03           0.00    0.00%      4,972.03
             0.00      0.00%       350.00   0.17%      -350.00          437.39     0.31%         -437.39   Pool Service- Contract                          258.70    0.01%      3,500.00     0.19%      -3,241.30       3,867.50    0.26%     -3,608.80
             0.00      0.00%        50.00   0.02%       -50.00            0.00     0.00%            0.00   Radio and Television Repair                   3,202.60    0.12%        500.00     0.03%       2,702.60         179.88    0.01%      3,022.72
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%            0.00   Signage                                          78.52    0.00%          0.00     0.00%          78.52           0.00    0.00%         78.52
             0.00      0.00%       117.00   0.06%      -117.00            0.00     0.00%            0.00   Software Expense/Maintenance                      0.00    0.00%      1,670.00     0.09%      -1,670.00           0.00    0.00%          0.00
            64.80      0.02%        50.00   0.02%        14.80            0.00     0.00%           64.80   Tools                                         3,086.93    0.12%        500.00     0.03%       2,586.93           0.00    0.00%      3,086.93
             0.00      0.00%         0.00   0.00%         0.00            0.00     0.00%            0.00   Training                                      2,289.00    0.09%          0.00     0.00%       2,289.00         124.61    0.01%      2,164.39
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                                                                                 Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
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                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget   %         Variance   PTD Last Year    %            Variance                                            YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00   Travel                                   0.00    0.00%        500.00     0.03%      -500.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%           0.00   Uniforms                               256.82    0.01%        450.00     0.02%      -193.18           0.00     0.00%       256.82
         1,223.51      0.40%         0.00    0.00%    1,223.51         459.73      0.33%         763.78   Vehicle Maintenance & Repairs        3,642.35    0.14%      1,050.00     0.06%     2,592.35       5,471.77     0.37%    -1,829.42
           459.04      0.15%       445.00    0.22%       14.04         647.50      0.46%        -188.46   Waste Removal                        5,868.77    0.23%      4,450.00     0.24%     1,418.77       5,025.36     0.34%       843.41
           315.00      0.10%       315.00    0.15%        0.00           0.00      0.00%         315.00   Water Treatment                      2,720.00    0.11%      3,150.00     0.17%      -430.00           0.00     0.00%     2,720.00
        8,718.31      2.88%     7,236.35    3.55%    1,481.96       5,314.60      3.80%       3,403.71    Total R&M Other Expenses          106,158.11    4.12%     81,555.55     4.33%    24,602.56      67,699.30     4.55%    38,458.81

       14,515.73      4.80%    14,796.35    7.26%     -280.62       7,881.46      5.63%       6,634.27    Total R&M Expenses                162,707.77    6.31%    156,431.18     8.31%     6,276.59     108,029.07     7.26%    54,678.70




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                                                                                 Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget   %         Variance   PTD Last Year    %            Variance                                            YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          Utilities
         4,864.70      1.61%     1,236.40    0.61%    3,628.30       5,127.13      3.66%        -262.43   Water                               35,419.79    1.37%     11,377.30     0.60%    24,042.49      34,002.71     2.28%     1,417.08
         8,753.78      2.89%     9,621.44    4.72%     -867.66       6,948.18      4.96%       1,805.60   Electricity                         94,715.52    3.67%     91,536.08     4.86%     3,179.44      76,978.74     5.17%    17,736.78
         2,762.23      0.91%     1,236.40    0.61%    1,525.83         829.82      0.59%       1,932.41   Gas - Natural HLP                   14,831.66    0.58%     11,377.30     0.60%     3,454.36       5,178.54     0.35%     9,653.12
         2,574.90      0.85%       899.20    0.44%    1,675.70           0.00      0.00%       2,574.90   Sewer                               20,077.64    0.78%      8,274.40     0.44%    11,803.24           0.00     0.00%    20,077.64
       18,955.61      6.27%    12,993.44    6.37%    5,962.17      12,905.13      9.22%       6,050.48    Total Utilities                   165,044.61    6.40%    122,565.08     6.51%    42,479.53     116,159.99     7.80%    48,884.62




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                                                                                    Company: SATX Associates LLC Property: Hilton Garden Inn San Antonio Airport
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget    %          Variance    PTD Last Year    %            Variance                                            YTD     %        YTD Budget %               Variance   YTD Last Year    %            Variance

                                                                                                             Fixed
             0.00      0.00%         0.00     0.00%          0.00          56.85      0.04%         -56.85   Personal Property Taxes                  0.00     0.00%          0.00     0.00%          0.00          56.85      0.00%         -56.85
        13,672.60      4.52%    19,531.00     9.58%    -5,858.40       19,531.10     13.95%      -5,858.50   Real Estate Taxes                  160,159.90     6.21%    195,310.00    10.38%    -35,150.10     195,311.00     13.12%     -35,151.10
       13,672.60      4.52%    19,531.00     9.58%    -5,858.40       19,587.95     13.99%      -5,915.35    Total Taxes                       160,159.90     6.21%    195,310.00    10.38%    -35,150.10     195,367.85     13.12%     -35,207.95
             0.00      0.00%         0.00     0.00%          0.00       5,550.44      3.97%      -5,550.44   Insurance                                0.00     0.00%          0.00     0.00%          0.00      53,843.88      3.62%     -53,843.88
             0.00      0.00%       400.25     0.20%      -400.25            0.00      0.00%           0.00   Insurance - Automobile               1,605.00     0.06%      4,002.50     0.21%     -2,397.50           0.00      0.00%       1,605.00
           827.41      0.27%         0.00     0.00%       827.41            0.00      0.00%         827.41   Insurance - Crime                    2,482.23     0.10%          0.00     0.00%      2,482.23           0.00      0.00%       2,482.23
           279.90      0.09%       125.00     0.06%       154.90            0.00      0.00%         279.90   Insurance - Employment                 932.90     0.04%      1,250.00     0.07%       -317.10           0.00      0.00%         932.90
            64.83      0.02%     1,228.50     0.60%    -1,163.67            0.00      0.00%          64.83   Insurance - General Liability        1,406.49     0.05%     12,285.00     0.65%    -10,878.51           0.00      0.00%       1,406.49
             0.00      0.00%     1,829.42     0.90%    -1,829.42            0.00      0.00%           0.00   Insurance - Property                     0.00     0.00%     18,294.20     0.97%    -18,294.20           0.00      0.00%           0.00
            61.91      0.02%     2,126.08     1.04%    -2,064.17            0.00      0.00%          61.91   Insurance - Umbrella                   185.73     0.01%     21,260.80     1.13%    -21,075.07           0.00      0.00%         185.73
        1,234.05      0.41%     5,709.25     2.80%    -4,475.20        5,550.44      3.97%      -4,316.39    Total Insurance                     6,612.35     0.26%     57,092.50     3.03%    -50,480.15      53,843.88      3.62%     -47,231.53
        27,891.00      9.22%    27,891.00    13.68%          0.00      27,250.98     19.47%         640.02   Ground Lease Expense               276,349.96    10.72%    276,350.00    14.68%         -0.04     270,632.73     18.18%       5,717.23
         1,245.39      0.41%     1,257.39     0.62%        -12.00       1,245.39      0.89%           0.00   Vehicle Leases                      11,208.51     0.43%     12,573.90     0.67%     -1,365.39      12,453.90      0.84%      -1,245.39
       29,136.39      9.63%    29,148.39    14.29%        -12.00      28,496.37     20.36%         640.02    Total Leases & Rent               287,558.47    11.15%    288,923.90    15.35%     -1,365.43     283,086.63     19.01%       4,471.84
        10,042.49      3.32%     6,118.32     3.00%     3,924.17        3,498.00      2.50%       6,544.49   Management Fee - Base               83,088.98     3.22%     58,348.48     3.10%     24,740.50      37,194.00      2.50%      45,894.98
             0.00      0.00%         0.00     0.00%          0.00       3,733.55      2.67%      -3,733.55   Management Fee - Incentive               0.00     0.00%          0.00     0.00%          0.00      11,004.00      0.74%     -11,004.00
       10,042.49      3.32%     6,118.32     3.00%     3,924.17        7,231.55      5.17%       2,810.94    Total Management Fees              83,088.98     3.22%     58,348.48     3.10%     24,740.50      48,198.00      3.24%      34,890.98
        15,982.52      5.28%         0.00     0.00%    15,982.52       12,358.75      8.83%       3,623.77   Capital Reserve                     28,359.45     1.10%          0.00     0.00%     28,359.45     123,587.50      8.30%     -95,228.05
             0.00      0.00%         0.00     0.00%          0.00      44,534.00     31.81%     -44,534.00   (Gain)/Loss-Insurance                    0.00     0.00%          0.00     0.00%          0.00     445,340.00     29.91%    -445,340.00
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%           0.00   Owner's Expense                        949.17     0.04%          0.00     0.00%        949.17      13,032.84      0.88%     -12,083.67
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%           0.00   Non Recurring Cost                   9,317.15     0.36%          0.00     0.00%      9,317.15           0.00      0.00%       9,317.15
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%           0.00   Extraordinary Expense                    0.00     0.00%          0.00     0.00%          0.00       3,195.07      0.21%      -3,195.07
       15,982.52      5.28%          0.00    0.00%    15,982.52       56,892.75     40.64%     -40,910.23    Total Other Non-Operating          38,625.77     1.50%           0.00    0.00%     38,625.77     585,155.41     39.30%    -546,529.64




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                                                                                Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                                        YTD     %          YTD Budget %               Variance    YTD Last Year     %             Variance

                                                                                                              Statistics
            92.00                    92.00                   0.00           92.00                      0.00   # Rooms                                             92.00                    92.00                     0.00           92.00                        0.00
         2,852.00                 2,852.00                   0.00        2,852.00                      0.00   Available Rooms                                 27,968.00                27,968.00                     0.00       28,060.00                      -92.00
         1,866.00                 1,725.00                 141.00        1,851.00                     15.00   Room Nights Sold                                21,343.00                14,170.00                 7,173.00       14,053.00                    7,290.00
          65.43%                   60.48%                  4.94%          64.90%                     0.53%    Occupancy %                                       76.31%                   50.67%                   25.65%          50.08%                      26.23%
           108.72                    92.91                  15.81           86.11                     22.61   ADR                                                100.67                    89.71                    10.96           98.55                        2.12
            71.13                    56.19                  14.94           55.88                     15.25   RevPar                                              76.82                    45.45                    31.37           49.36                       27.47

                                                                                                              Summary V.11
                                                                                                              Revenue
       202,863.75     98.99%   160,261.28     99.44%    42,602.47      159,383.90     99.17%     43,479.85    Rooms                                        2,148,577.45    98.98%    1,271,226.78    99.38%    877,350.67    1,384,912.90     98.84%      763,664.55
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    F&B                                                  0.00     0.00%            0.00     0.00%          0.00            0.00      0.00%            0.00
         2,077.08      1.01%       903.75      0.56%     1,173.33        1,337.08      0.83%        740.00    Other Departments                               22,090.19     1.02%        7,962.30     0.62%     14,127.89       16,281.69      1.16%        5,808.50

      204,940.83    100.00%    161,165.03    100.00%   43,775.80      160,720.98     100.00%    44,219.85     Total Operating Revenue                     2,170,667.64    100.00%   1,279,189.08 100.00%      891,478.56    1,401,194.59 100.00%         769,473.05

                                                                                                              Departmental Expenses
        66,637.25    32.85%     49,009.40     30.58%    17,627.85       27,024.26     16.96%     39,612.99    Rooms                                         487,043.62     22.67%     404,879.17     31.85%     82,164.45      297,245.84     21.46%      189,797.78
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%          0.00    F&B                                                 0.00      0.00%           0.00      0.00%          0.00            0.00      0.00%            0.00
         3,892.43   187.40%      4,180.69    462.59%      -288.26        4,331.93    323.98%       -439.50    Other Departments                              47,954.88    217.09%      41,108.01    516.28%      6,846.87       40,307.05    247.56%        7,647.83

       70,529.68     34.41%     53,190.09    33.00%    17,339.59       31,356.19     19.51%     39,173.49     Total Departmental Expenses                  534,998.50     24.65%     445,987.18     34.86%     89,011.32      337,552.89     24.09%      197,445.61

      134,411.15     65.59%    107,974.94    67.00%    26,436.21      129,364.79     80.49%       5,046.36    Total Departmental Profit                   1,635,669.14    75.35%     833,201.90     65.14%    802,467.24    1,063,641.70     75.91%      572,027.44

                                                                                                              Undistributed Operating Expenses
        27,941.69     13.63%    20,718.01     12.86%     7,223.68       11,020.59      6.86%     16,921.10    A&G                                           209,799.70      9.67%     197,904.43     15.47%     11,895.27      205,392.22     14.66%        4,407.48
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%          0.00    IT                                                  0.00      0.00%           0.00      0.00%          0.00            0.00      0.00%            0.00
        13,592.16      6.63%     8,851.04      5.49%     4,741.12        7,715.54      4.80%      5,876.62    S&M                                            63,176.55      2.91%      94,374.65      7.38%    -31,198.10       64,205.34      4.58%       -1,028.79
        24,488.29     11.95%    18,868.27     11.71%     5,620.02       20,244.64     12.60%      4,243.65    Franchise Fees                                268,261.86     12.36%     151,358.68     11.83%    116,903.18      156,664.85     11.18%      111,597.01
        19,061.40      9.30%     9,284.91      5.76%     9,776.49        6,653.94      4.14%     12,407.46    R&M                                           154,485.72      7.12%     100,189.99      7.83%     54,295.73       73,219.70      5.23%       81,266.02
        14,639.67      7.14%     6,900.00      4.28%     7,739.67        5,991.24      3.73%      8,648.43    Utilities                                      68,517.76      3.16%      56,712.00      4.43%     11,805.76       56,237.98      4.01%       12,279.78

       99,723.21     48.66%     64,622.23    40.10%    35,100.98       51,625.95     32.12%     48,097.26     Total Undistributed Expenses                 764,241.59     35.21%     600,539.75     46.95%    163,701.84      555,720.09     39.66%      208,521.50

       34,687.94     16.93%     43,352.71    26.90%     -8,664.77      77,738.84     48.37%     -43,050.90    Gross Operating Profit                    871,427.55        40.15%     232,662.15     18.19%    638,765.40      507,921.61     36.25%      363,505.94
         6,648.22      3.24%      4,834.95     3.00%      1,813.27       7,722.05      4.80%      -1,073.83   Management Fees                             68,546.47         3.16%      45,734.43      3.58%     22,812.04       45,993.50      3.28%       22,552.97
       28,039.72     13.68%     38,517.76    23.90%    -10,478.04      70,016.79     43.56%     -41,977.07    Income Before Non-Operating Income and Expenses
                                                                                                                                                        802,881.08        36.99%     186,927.72     14.61%    615,953.36      461,928.11     32.97%      340,952.97

                                                                                                              Non-Operating Income and Expenses
           690.73      0.34%      5,348.92     3.32%    -4,658.19        3,858.85      2.40%      -3,168.12   Insurance                                       1,069.60      0.05%      53,489.20      4.18%    -52,419.60       37,667.24      2.69%       -36,597.64
        31,889.00     15.56%     31,889.42    19.79%        -0.42       30,960.60     19.26%         928.40   Leases & Rent                                 315,178.00     14.52%     315,178.92     24.64%         -0.92      306,901.09     21.90%         8,276.91
        12,184.16      5.95%          0.00     0.00%    12,184.16       69,474.76     43.23%     -57,290.60   Other                                          78,706.97      3.63%           0.00      0.00%     78,706.97      751,851.06     53.66%      -673,144.09
       44,763.89     21.84%     37,238.34    23.11%     7,525.55      104,294.21     64.89%     -59,530.32    Total Non-Operating Income and Expenses      394,954.57     18.20%     368,668.12     28.82%     26,286.45    1,096,419.39     78.25%      -701,464.82

      -16,724.17     -8.16%      1,279.42     0.79%    -18,003.59     -34,277.42     -21.33%     17,553.25    EBITDA                                        407,926.51    18.79%    -181,740.40 -14.21%       589,666.91     -634,491.28     -45.28%    1,042,417.79
             0.00      0.00%          0.00     0.00%          0.00      25,733.00      16.01%    -25,733.00   Interest                                             0.00     0.00%           0.00   0.00%             0.00      256,432.90      18.30%     -256,432.90
        20,992.50     10.24%     20,496.00    12.72%        496.50      20,623.08      12.83%        369.42   Taxes                                          205,433.40     9.46%     204,960.00  16.02%           473.40      205,082.58      14.64%          350.82
             0.00      0.00%          0.00     0.00%          0.00       2,412.00       1.50%     -2,412.00   Amortization                                         0.00     0.00%           0.00   0.00%             0.00       24,120.00       1.72%      -24,120.00
       20,992.50     10.24%     20,496.00    12.72%        496.50      48,768.08      30.34%    -27,775.58    Interest, Taxes, Depreciation and Amortization205,433.40     9.46%     204,960.00 16.02%            473.40      485,635.48      34.66%     -280,202.08

      -37,716.67    -18.40%    -19,216.58    -11.92%   -18,500.09     -83,045.50     -51.67%    45,328.83     Net Income                                   202,493.11      9.33%    -386,700.40 -30.23%       589,193.51    -1,120,126.76    -79.94%    1,322,619.87




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                                                                             Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget    %         Variance   PTD Last Year    %          Variance                                          YTD     %         YTD Budget %              Variance   YTD Last Year     %         Variance

                                                                                                         Statistics
            92.00                   92.00                 0.00           92.00                   0.00    # Rooms                              92.00                    92.00                    0.00          92.00                    0.00
         2,852.00                2,852.00                 0.00        2,852.00                   0.00    Available Rooms                  27,968.00                27,968.00                    0.00      28,060.00                  -92.00
         1,866.00                1,725.00               141.00        1,851.00                  15.00    Room Nights Sold                 21,343.00                14,170.00                7,173.00      14,053.00                7,290.00
             0.65                    0.60                 0.05            0.65                   0.01    Occupancy %                           0.76                     0.51                    0.26           0.50                    0.26
           108.72                   92.91                15.81           86.11                  22.61    ADR                                 100.67                    89.71                   10.96          98.55                    2.12
            71.13                   56.19                14.94           55.88                  15.25    RevPar                               76.82                    45.45                   31.37          49.36                   27.47

                                                                                                         Summary
                                                                                                         Revenue:
       202,863.75     98.99%   160,261.28   99.44%    42,602.47     159,383.90    99.17%    43,479.85    Rooms                          2,148,577.45   98.98%    1,271,226.78    99.38%   877,350.67   1,384,912.90    98.84%    763,664.55
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%         0.00    Food                                   0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%         0.00    Beverage                               0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%         0.00    Other F&B Revenue                      0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%         0.00    Telephone                              0.00    0.00%            0.00     0.00%         0.00          33.77     0.00%        -33.77
         2,077.08      1.01%       903.75    0.56%     1,173.33       1,337.08     0.83%       740.00    Other                             22,090.19    1.02%        7,962.30     0.62%    14,127.89      16,247.92     1.16%      5,842.27

       204,940.83   100.00%    161,165.03   100.00%   43,775.80     160,720.98    100.00%   44,219.85    Total Revenue                  2,170,667.64   100.00%   1,279,189.08   100.00%   891,478.56   1,401,194.59    100.00%   769,473.05



                                                                                                         Cost of Sales:
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%         0.00   Food                                  0.00     0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%         0.00   Beverage                              0.00     0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%         0.00   Other F&B                             0.00     0.00%           0.00      0.00%         0.00           0.00      0.00%         0.00
             0.00      0.00%     2,405.00   266.11%   -2,405.00       2,405.77    179.93%    -2,405.77   Telephone                             0.00     0.00%      24,050.00    302.05%   -24,050.00      22,536.89    138.42%   -22,536.89
         1,247.45     60.06%       538.69    59.61%      708.76         318.53     23.82%       928.92   Other                            13,905.01    62.95%       4,688.01     58.88%     9,217.00       3,979.14     24.44%     9,925.87

         1,247.45     60.06%     2,943.69   325.72%   -1,696.24       2,724.30    203.75%    -1,476.85   Total Cost of Sales              13,905.01    62.95%      28,738.01    360.93%   -14,833.00      26,516.03    162.86%   -12,611.02



                                                                                                         Payroll:
        19,108.00      9.42%    22,239.95   13.88%    -3,131.95      14,907.82     9.35%     4,200.18    Rooms                           207,471.05     9.66%     201,226.89     15.83%     6,244.16     144,660.73    10.45%     62,810.32
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%         0.00    F&B                                   0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%         0.00    Other                                 0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         9,757.69      4.76%     9,905.86    6.15%      -148.17       7,323.01     4.56%     2,434.68    A&G                              69,529.30     3.20%      96,655.09      7.56%   -27,125.79      63,042.60     4.50%      6,486.70
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%         0.00    IT                                    0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         5,109.88      2.49%     4,540.19    2.82%       569.69       4,395.67     2.73%       714.21    S&M                              28,462.38     1.31%      44,300.26      3.46%   -15,837.88      37,254.37     2.66%     -8,791.99
         3,662.07      1.79%     3,921.07    2.43%      -259.00       1,846.16     1.15%     1,815.91    R&M                              31,307.57     1.44%      38,259.31      2.99%    -6,951.74      17,290.00     1.23%     14,017.57
        37,637.64     18.37%    40,607.07   25.20%    -2,969.43      28,472.66    17.72%     9,164.98    Total Salaries and Wages        336,770.30    15.51%     380,441.55     29.74%   -43,671.25     262,247.70    18.72%     74,522.60

        10,948.37      5.34%     8,390.10    5.21%     2,558.27       5,555.07     3.46%     5,393.30    Total Taxes and Benefits         86,091.29     3.97%      85,927.71      6.72%       163.58      93,479.61     6.67%     -7,388.32
        48,586.01     23.71%    48,997.17   30.40%      -411.16      34,027.73    21.17%    14,558.28    Total Labor Costs               422,861.59    19.48%     466,369.26     36.46%   -43,507.67     355,727.31    25.39%     67,134.28



                                                                                                         Direct Expenses:
        44,117.84    21.75%     22,644.03    14.13%   21,473.81       9,267.35      5.81%   34,850.49    Rooms                           231,790.67     10.79%    162,349.06     12.77%    69,441.61     105,355.79     7.61%    126,434.88
             0.00     0.00%          0.00     0.00%        0.00           0.00      0.00%        0.00    F&B                                   0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         2,644.98   127.34%      1,237.00   136.87%    1,407.98       1,607.63    120.23%    1,037.35    Telephone                        34,049.87    154.14%     12,370.00    155.36%    21,679.87      13,791.02    84.70%     20,258.85
             0.00     0.00%          0.00     0.00%        0.00           0.00      0.00%        0.00    Other                                 0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
        24,488.29    11.95%     18,868.27    11.71%    5,620.02      20,244.64     12.60%    4,243.65    Franchise Fees                  268,261.86     12.36%    151,358.68     11.83%   116,903.18     156,664.85    11.18%    111,597.01
        15,116.54     7.38%      8,550.83     5.31%    6,565.71       2,375.88      1.48%   12,740.66    A&G                             115,130.52      5.30%     77,556.62      6.06%    37,573.90     109,381.37     7.81%      5,749.15
             0.00     0.00%          0.00     0.00%        0.00           0.00      0.00%        0.00    IT                                    0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%          0.00
         4,549.29     2.22%      3,007.67     1.87%    1,541.62       2,269.75      1.41%    2,279.54    S&M                              26,717.69      1.23%     36,636.70      2.86%    -9,919.01      17,738.25     1.27%      8,979.44
        14,862.82     7.25%      4,663.66     2.89%   10,199.16       4,473.62      2.78%   10,389.20    R&M                             118,005.12      5.44%     54,436.60      4.26%    63,568.52      51,860.38     3.70%     66,144.74
        14,639.67     7.14%      6,900.00     4.28%    7,739.67       5,991.24      3.73%    8,648.43    Utilities                        68,517.76      3.16%     56,712.00      4.43%    11,805.76      56,237.98     4.01%     12,279.78

       120,419.43     58.76%    65,871.46   40.87%    54,547.97      46,230.11    28.76%    74,189.32    Total Direct Expense            862,473.49    39.73%     551,419.66     43.11%   311,053.83     511,029.64    36.47%    351,443.85

        34,687.94     16.93%    43,352.71   26.90%    -8,664.77      77,738.84    48.37%    -43,050.90   Gross Operating Profit          871,427.55    40.15%     232,662.15     18.19%   638,765.40     507,921.61    36.25%    363,505.94

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                                                                              Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget    %          Variance   PTD Last Year    %          Variance                                         YTD    %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                          Fixed Costs
        20,992.50     10.24%    20,496.00   12.72%        496.50      20,623.08    12.83%        369.42   Taxes                           205,433.40    9.46%   204,960.00     16.02%       473.40     205,082.58    14.64%          350.82
           690.73      0.34%     5,348.92    3.32%     -4,658.19       3,858.85     2.40%     -3,168.12   Insurance                         1,069.60    0.05%    53,489.20      4.18%   -52,419.60      37,667.24     2.69%      -36,597.64
        31,889.00     15.56%    31,889.42   19.79%         -0.42      30,960.60    19.26%        928.40   Leases & Rent                   315,178.00   14.52%   315,178.92     24.64%        -0.92     306,901.09    21.90%        8,276.91
         6,648.22      3.24%     4,834.95    3.00%      1,813.27       7,722.05     4.80%     -1,073.83   Management Fees                  68,546.47    3.16%    45,734.43      3.58%    22,812.04      45,993.50     3.28%       22,552.97

        60,220.45     29.38%    62,569.29   38.82%     -2,348.84      63,164.58    39.30%     -2,944.13   Total Fixed Expenses            590,227.47   27.19%   619,362.55     48.42%   -29,135.08     595,644.41    42.51%       -5,416.94

       -25,532.51    -12.46%   -19,216.58   -11.92%    -6,315.93      14,574.26     9.07%    -40,106.77   Net Operating Profit            281,200.08   12.95%   -386,700.40   -30.23%   667,900.48     -87,722.80     -6.26%    368,922.88



             0.00      0.00%         0.00    0.00%         0.00       25,733.00    16.01%    -25,733.00   Interest Expense - Other              0.00   0.00%           0.00    0.00%          0.00     256,432.90    18.30%    -256,432.90
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%          0.00   Owner's Expense                       0.00   0.00%           0.00    0.00%          0.00      53,837.00     3.84%     -53,837.00
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%          0.00   Extraordinary Expense                 0.00   0.00%           0.00    0.00%          0.00       3,312.83     0.24%      -3,312.83
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%          0.00   Prior Owner's Expense               344.24   0.02%           0.00    0.00%        344.24           0.00     0.00%         344.24
        12,184.16      5.95%         0.00    0.00%    12,184.16            0.00     0.00%     12,184.16   Non Recurring Cost               46,485.77   2.14%           0.00    0.00%     46,485.77         -46.37     0.00%      46,532.14



       -37,716.67    -18.40%   -19,216.58   -11.92%   -18,500.09     -11,158.74     -6.94%   -26,557.93   Net Operating Income            234,370.07   10.80%   -386,700.40   -30.23%   621,070.47    -401,259.16    -28.64%    635,629.23

             0.00      0.00%         0.00    0.00%         0.00       13,016.76     8.10%    -13,016.76   Capital Reserve                  31,876.96   1.47%           0.00    0.00%     31,876.96     130,167.60     9.29%     -98,290.64
             0.00      0.00%         0.00    0.00%         0.00       56,458.00    35.13%    -56,458.00   (Gain)/Loss-Insurance                 0.00   0.00%           0.00    0.00%          0.00     564,580.00    40.29%    -564,580.00

       -37,716.67    -18.40%   -19,216.58   -11.92%   -18,500.09     -80,633.50    -50.17%   42,916.83    Adjusted NOI                    202,493.11   9.33%    -386,700.40   -30.23%   589,193.51   -1,096,006.76   -78.22%   1,298,499.87



             0.00      0.00%         0.00    0.00%         0.00        2,412.00     1.50%     -2,412.00   Amortization                          0.00   0.00%           0.00    0.00%          0.00      24,120.00     1.72%      -24,120.00



       -37,716.67    -18.40%   -19,216.58   -11.92%   -18,500.09     -83,045.50    -51.67%   45,328.83    Net Profit/(Loss)               202,493.11   9.33%    -386,700.40   -30.23%   589,193.51   -1,120,126.76   -79.94%   1,322,619.87




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                                                                               Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget      %         Variance   PTD Last Year     %         Variance                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                           Rooms
                                                                                                           Room Revenue
                                                                                                           Transient Room Revenue
        39,124.78     19.29%    11,875.00      7.41%    27,249.78      10,226.78      6.42%    28,898.00   Corporate Transient                  472,476.11    21.99%     106,226.51      8.36%    366,249.60     175,205.17    12.65%    297,270.94
         3,013.80      1.49%         0.00      0.00%     3,013.80           0.00      0.00%     3,013.80   Advanced Purchase                     24,317.91     1.13%      11,289.00      0.89%     13,028.91           0.00     0.00%     24,317.91
         7,198.35      3.55%    12,401.80      7.74%    -5,203.45           0.00      0.00%     7,198.35   AAA/AARP Transient                    44,786.22     2.08%      58,448.50      4.60%    -13,662.28           0.00     0.00%     44,786.22
             0.00      0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00   FIT(Flexible Independent Travel)       2,371.51     0.11%         171.00      0.01%      2,200.51           0.00     0.00%      2,371.51
         6,720.96      3.31%     1,824.00      1.14%     4,896.96           0.00      0.00%     6,720.96   Consortia Transient                   46,526.59     2.17%      15,823.00      1.24%     30,703.59           0.00     0.00%     46,526.59
           980.08      0.48%     2,925.00      1.83%    -1,944.92           0.00      0.00%       980.08   Employee                               6,608.49     0.31%      23,055.00      1.81%    -16,446.51           0.00     0.00%      6,608.49
             0.00      0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00   Leisure Transient                        167.79     0.01%           0.00      0.00%        167.79           0.00     0.00%        167.79
         2,763.20      1.36%         0.00      0.00%     2,763.20           0.00      0.00%     2,763.20   Travel Agent/Friends & Family         12,725.82     0.59%         276.00      0.02%     12,449.82           0.00     0.00%     12,725.82
             0.00      0.00%         0.00      0.00%         0.00           0.00      0.00%         0.00   Leisure Package Transient              2,801.42     0.13%           0.00      0.00%      2,801.42           0.00     0.00%      2,801.42
         6,548.53      3.23%     1,334.00      0.83%     5,214.53           0.00      0.00%     6,548.53   Member Reward Stay                    47,048.99     2.19%      10,810.00      0.85%     36,238.99           0.00     0.00%     47,048.99
             0.00      0.00%    35,333.00     22.05%   -35,333.00      68,764.14     43.14%   -68,764.14   Extended Stay Transient                   65.13     0.00%     156,214.80     12.29%   -156,149.67     376,913.78    27.22%   -376,848.65
        16,120.37      7.95%    27,572.00     17.20%   -11,451.63           0.00      0.00%    16,120.37   Internet/E-Commerce                  183,695.32     8.55%     137,189.96     10.79%     46,505.36           0.00     0.00%    183,695.32
             0.00      0.00%     5,580.00      3.48%    -5,580.00           0.00      0.00%         0.00   E-Commerce Opaque                        689.44     0.03%      37,933.00      2.98%    -37,243.56           0.00     0.00%        689.44
         2,756.76      1.36%         0.00      0.00%     2,756.76           0.00      0.00%     2,756.76   Other Transient                      235,810.77    10.98%           0.00      0.00%    235,810.77           0.00     0.00%    235,810.77
        18,821.37      9.28%    11,836.48      7.39%     6,984.89           0.00      0.00%    18,821.37   Government Transient                 225,805.36    10.51%     111,156.66      8.74%    114,648.70           0.00     0.00%    225,805.36
        70,493.13     34.75%    38,864.00     24.25%    31,629.13      69,064.17     43.33%     1,428.96   Rack Transient                       575,757.56    26.80%     530,571.00     41.74%     45,186.56     634,070.65    45.78%    -58,313.09
        22,001.42     10.85%    10,716.00      6.69%    11,285.42       1,627.36      1.02%    20,374.06   Local Negotiated Transient           238,253.38    11.09%      65,896.85      5.18%    172,356.53      18,526.57     1.34%    219,726.81

      196,542.75     96.88%    160,261.28    100.00%   36,281.47     149,682.45     93.91%    46,860.30    Total Transient Room Revenue       2,119,907.81   98.67%    1,265,061.28   99.51%     854,846.53    1,204,716.17    86.99%   915,191.64

                                                                                                           Group Room Revenue
         2,616.00      1.29%          0.00     0.00%    2,616.00            0.00      0.00%     2,616.00   Corporate Group                        8,413.09     0.39%           0.00     0.00%       8,413.09       1,984.00     0.14%      6,429.09
             0.00      0.00%          0.00     0.00%        0.00        9,344.00      5.86%    -9,344.00   Government Group                         164.00     0.01%           0.00     0.00%         164.00     175,123.84    12.65%   -174,959.84
             0.00      0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00   Association Group                      3,819.00     0.18%           0.00     0.00%       3,819.00           0.00     0.00%      3,819.00
         3,705.00      1.83%          0.00     0.00%    3,705.00            0.00      0.00%     3,705.00   SMERF Group                           10,179.00     0.47%       6,165.50     0.49%       4,013.50           0.00     0.00%     10,179.00
             0.00      0.00%          0.00     0.00%        0.00            0.00      0.00%         0.00   Sports Group                           3,883.80     0.18%           0.00     0.00%       3,883.80           0.00     0.00%      3,883.80

        6,321.00      3.12%          0.00     0.00%     6,321.00       9,344.00      5.86%    -3,023.00    Total Group Room Revenue             26,458.89     1.23%        6,165.50     0.49%     20,293.39     177,107.84     12.79%   -150,648.95

                                                                                                           Contract Room Revenue

             0.00     0.00%          0.00     0.00%         0.00            0.00     0.00%         0.00    Total Contract Room Revenue                0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%           0.00

                                                                                                           Other Room Revenue
             0.00      0.00%          0.00     0.00%        0.00          357.45      0.22%     -357.45    No-Show Rooms                            717.75     0.03%           0.00     0.00%         717.75       4,780.17     0.35%      -4,062.42
             0.00      0.00%          0.00     0.00%        0.00            0.00      0.00%        0.00    Pet/Smoking/Damage Fees                1,125.00     0.05%           0.00     0.00%       1,125.00           0.00     0.00%       1,125.00

             0.00     0.00%          0.00     0.00%         0.00         357.45      0.22%      -357.45    Total Other Room Revenue               1,842.75    0.09%            0.00     0.00%      1,842.75        4,780.17    0.35%      -2,937.42

             0.00      0.00%          0.00     0.00%        0.00            0.00      0.00%        0.00    Less: Allowances                         368.00     0.02%           0.00     0.00%        368.00       -1,691.28    -0.12%      2,059.28

      202,863.75    100.00%    160,261.28    100.00%   42,602.47     159,383.90     100.00%   43,479.85    Total Room Revenue                 2,148,577.45   100.00%   1,271,226.78 100.00%      877,350.67    1,384,912.90 100.00%     763,664.55

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00      0.00%          0.00     0.00%        0.00            0.00      0.00%        0.00    Front Office Management                6,857.61     0.32%           0.00      0.00%      6,857.61           0.00     0.00%      6,857.61
             0.00      0.00%          0.00     0.00%        0.00          358.49      0.22%     -358.49    Revenue Management                         0.00     0.00%           0.00      0.00%          0.00       5,267.98     0.38%     -5,267.98
         3,141.84      1.55%      3,514.23     2.19%     -372.39        3,372.60      2.12%     -230.76    Housekeeping Management               18,189.60     0.85%      34,358.30      2.70%    -16,168.70      24,514.77     1.77%     -6,325.17
        3,141.84      1.55%      3,514.23     2.19%     -372.39        3,731.09      2.34%     -589.25     Total Rooms Management               25,047.21     1.17%      34,358.30      2.70%     -9,311.09      29,782.75     2.15%     -4,735.54
        12,628.09      6.22%      2,338.29     1.46%   10,289.80        1,032.30      0.65%   11,595.79    Front Office Agents                  106,687.46     4.97%      22,930.32      1.80%     83,757.14      17,854.57     1.29%     88,832.89
             0.00      0.00%      2,302.86     1.44%   -2,302.86        2,238.63      1.40%   -2,238.63    Front Office Supervisors                   0.00     0.00%      22,582.87      1.78%    -22,582.87      10,349.10     0.75%    -10,349.10
             0.00      0.00%      3,224.00     2.01%   -3,224.00        3,056.76      1.92%   -3,056.76    Night Auditors                             0.00     0.00%      31,616.00      2.49%    -31,616.00      29,854.43     2.16%    -29,854.43
             0.00      0.00%      2,630.57     1.64%   -2,630.57            0.00      0.00%        0.00    Breakfast Attendant                        0.00     0.00%      18,159.41      1.43%    -18,159.41       8,210.39     0.59%     -8,210.39
       12,628.09      6.22%     10,495.72     6.55%    2,132.37        6,327.69      3.97%    6,300.40     Total Rooms Front Office            106,687.46     4.97%      95,288.60      7.50%     11,398.86      66,268.49     4.79%     40,418.97
             0.00      0.00%          0.00     0.00%        0.00            0.00      0.00%        0.00    Housekeeping Supervisors                   0.00     0.00%           0.00      0.00%          0.00       1,696.99     0.12%     -1,696.99
         3,338.07      1.65%      5,750.00     3.59%   -2,411.93        4,421.07      2.77%   -1,083.00    Room Attendants                       75,736.38     3.52%      47,259.99      3.72%     28,476.39      38,661.16     2.79%     37,075.22
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                                                                     Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 459 of 756
                                                                               Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget     %         Variance    PTD Last Year    %          Variance                                                 YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance

            0.00       0.00%          0.00    0.00%         0.00           82.58     0.05%        -82.58   Housepersons                                 0.00     0.00%          0.00     0.00%          0.00       2,506.86     0.18%     -2,506.86
            0.00       0.00%      2,480.00    1.55%    -2,480.00          345.39     0.22%       -345.39   Laundry Attendants                           0.00     0.00%     24,320.00     1.91%    -24,320.00       5,744.48     0.41%     -5,744.48
        3,338.07      1.65%      8,230.00    5.14%    -4,891.93        4,849.04     3.04%     -1,510.97    Total Rooms Housekeeping                75,736.38    3.52%     71,579.99     5.63%      4,156.39      48,609.49     3.51%     27,126.89

       19,108.00      9.42%     22,239.95    13.88%   -3,131.95       14,907.82     9.35%     4,200.18     Total Rooms Salary and Wages           207,471.05    9.66%    201,226.89    15.83%      6,244.16     144,660.73     10.45%    62,810.32

                                                                                                           PR Taxes and Benefits
         1,406.29      0.69%      1,712.15    1.07%      -305.86        1,050.34     0.66%       355.95    FICA                                     15,702.77    0.73%     15,553.19     1.22%        149.58      12,227.71     0.88%      3,475.06
             9.53      0.00%          9.40    0.01%          0.13           0.00     0.00%         9.53    Federal Unemployment Tax                    567.45    0.03%        304.34     0.02%        263.11           0.00     0.00%        567.45
            54.38      0.03%         60.43    0.04%         -6.05           0.00     0.00%        54.38    State Unemployment Tax                    2,951.35    0.14%      2,488.97     0.20%        462.38           0.00     0.00%      2,951.35
        1,470.20      0.72%      1,781.98    1.11%      -311.78        1,050.34     0.66%       419.86     Total Payroll Taxes                     19,221.57    0.89%     18,346.50     1.44%        875.07      12,227.71     0.88%      6,993.86
             0.00      0.00%          0.00    0.00%          0.00           0.00     0.00%         0.00    Holiday                                     768.64    0.04%        600.00     0.05%        168.64       2,868.96     0.21%     -2,100.32
           108.00      0.05%        137.82    0.09%        -29.82         860.00     0.54%      -752.00    Vacation                                    576.00    0.03%      1,455.38     0.11%       -879.38      19,844.41     1.43%    -19,268.41
          108.00      0.05%        137.82    0.09%        -29.82         860.00     0.54%      -752.00     Total Supplemental Pay                   1,344.64    0.06%      2,055.38     0.16%       -710.74      22,713.37     1.64%    -21,368.73
         1,558.70      0.77%      1,220.72    0.76%       337.98            0.00     0.00%     1,558.70    Worker's Compensation                    16,423.24    0.76%     11,380.64     0.90%      5,042.60           0.00     0.00%     16,423.24
           274.51      0.14%        984.90    0.61%      -710.39          878.75     0.55%      -604.24    Group Insurance                          10,792.45    0.50%      9,520.70     0.75%      1,271.75      12,228.24     0.88%     -1,435.79
             0.00      0.00%          0.00    0.00%          0.00          60.00     0.04%       -60.00    Bonus and Incentive Pay                       0.00    0.00%          0.00     0.00%          0.00          60.00     0.00%        -60.00
        1,833.21      0.90%      2,205.62    1.38%      -372.41          938.75     0.59%       894.46     Total Other Benefits                    27,215.69    1.27%     20,901.34     1.64%      6,314.35      12,288.24     0.89%     14,927.45

        3,411.41      1.68%      4,125.42    2.57%      -714.01        2,849.09     1.79%       562.32     Total Rooms PR Taxes and Benefits       47,781.90    2.22%     41,303.22     3.25%      6,478.68      47,229.32     3.41%        552.58

       22,519.41     11.10%     26,365.37    16.45%   -3,845.96       17,756.91     11.14%    4,762.50     Total Rooms Labor Costs                255,252.95    11.88%   242,530.11    19.08%     12,722.84     191,890.05     13.86%    63,362.90

                                                                                                           Other Expenses
        17,132.54      8.45%     7,814.25     4.88%    9,318.29         1,575.37     0.99%    15,557.17    Breakfast /Comp Cost                     89,433.90    4.16%    52,824.42     4.16%     36,609.48       29,115.73     2.10%    60,318.17
         2,630.65      1.30%     1,121.25     0.70%    1,509.40         1,008.59     0.63%     1,622.06    Cleaning Supplies                         7,892.80    0.37%     9,215.70     0.72%     -1,322.90        5,141.72     0.37%     2,751.08
             0.00      0.00%        50.00     0.03%      -50.00             0.00     0.00%         0.00    Communication Expense                         0.00    0.00%       500.00     0.04%       -500.00            0.00     0.00%         0.00
        11,144.66      5.49%         0.00     0.00%   11,144.66             0.00     0.00%    11,144.66    Contract Labor                           20,273.16    0.94%         0.00     0.00%     20,273.16            0.00     0.00%    20,273.16
           160.11      0.08%         0.00     0.00%      160.11             0.00     0.00%       160.11    Dues and Subscriptions                    4,297.62    0.20%         0.00     0.00%      4,297.62            0.00     0.00%     4,297.62
             0.00      0.00%         0.00     0.00%        0.00             0.00     0.00%         0.00    Glassware                                   217.94    0.01%         0.00     0.00%        217.94            0.00     0.00%       217.94
         2,185.58      1.08%     2,156.25     1.35%       29.33           254.92     0.16%     1,930.66    Guest Supplies                           17,476.96    0.81%    17,722.50     1.39%       -245.54        8,693.14     0.63%     8,783.82
             0.00      0.00%       346.00     0.22%     -346.00           323.06     0.20%      -323.06    Internet/Web Expense                        323.10    0.02%     3,460.00     0.27%     -3,136.90        3,272.78     0.24%    -2,949.68
           874.77      0.43%       431.25     0.27%      443.52             0.00     0.00%       874.77    Laundry                                   8,590.33    0.40%     3,544.50     0.28%      5,045.83          490.06     0.04%     8,100.27
           809.93      0.40%       948.75     0.59%     -138.82         1,131.94     0.71%      -322.01    Linen                                    13,466.30    0.63%     7,797.90     0.61%      5,668.40        3,645.71     0.26%     9,820.59
             0.00      0.00%         0.00     0.00%        0.00             0.00     0.00%         0.00    Newspaper                                     0.00    0.00%         0.00     0.00%          0.00          285.25     0.02%      -285.25
             0.00      0.00%         0.00     0.00%        0.00             0.00     0.00%         0.00    Office Equipment                            164.17    0.01%         0.00     0.00%        164.17            0.00     0.00%       164.17
             0.00      0.00%       100.00     0.06%     -100.00           339.52     0.21%      -339.52    Operating Supplies                            0.00    0.00%     1,000.00     0.08%     -1,000.00        2,508.51     0.18%    -2,508.51
             0.00      0.00%         0.00     0.00%        0.00         1,005.13     0.63%    -1,005.13    Reservation Expense                           0.00    0.00%         0.00     0.00%          0.00        8,778.84     0.63%    -8,778.84
             0.00      0.00%       224.25     0.14%     -224.25             0.00     0.00%         0.00    Rooms Promotion                              75.70    0.00%     1,843.14     0.14%     -1,767.44        1,072.55     0.08%      -996.85
         1,212.57      0.60%     1,174.00     0.73%       38.57         1,173.90     0.74%        38.67    Television Cable                         12,106.14    0.56%    11,740.00     0.92%        366.14       10,646.51     0.77%     1,459.63
             0.00      0.00%         0.00     0.00%        0.00             0.00     0.00%         0.00    Travel Agent Comm - Group Rooms             136.38    0.01%       123.31     0.01%         13.07            0.00     0.00%       136.38
         7,500.00      3.70%     8,178.03     5.10%     -678.03         2,454.92     1.54%     5,045.08    Travel Agent Comm - Transient Rooms      54,325.65    2.53%    51,577.59     4.06%      2,748.06       31,054.80     2.24%    23,270.85
           467.03      0.23%       100.00     0.06%      367.03             0.00     0.00%       467.03    Uniforms                                  3,010.52    0.14%     1,000.00     0.08%      2,010.52          522.66     0.04%     2,487.86
             0.00      0.00%         0.00     0.00%        0.00             0.00     0.00%         0.00    Walked Guests                                 0.00    0.00%         0.00     0.00%          0.00          127.53     0.01%      -127.53

       44,117.84     21.75%     22,644.03    14.13%   21,473.81        9,267.35     5.81%    34,850.49     Total Rooms Other Expenses             231,790.67    10.79%   162,349.06    12.77%     69,441.61     105,355.79     7.61%    126,434.88

       66,637.25     32.85%     49,009.40    30.58%   17,627.85       27,024.26     16.96%   39,612.99     Total Rooms Expenses                   487,043.62    22.67%   404,879.17    31.85%     82,164.45     297,245.84     21.46%   189,797.78

      136,226.50     67.15%    111,251.88    69.42%   24,974.62      132,359.64     83.04%    3,866.86     Total Rooms Profit (Loss)             1,661,533.83   77.33%   866,347.61    68.15%    795,186.22    1,087,667.06    78.54%   573,866.77




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                                                                  Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                             P&L - Dual Summary Pages
                                                                                                  As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year   %          Variance                                                        YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                             Room Sale Stats
                                                                                             Tranisent Rooms
           375.00              125.00        250.00          103.00                 272.00   Room Stat - Corporate Transient                  5,232.00         1,153.00      4,079.00       1,675.00         3,557.00
            25.00                0.00         25.00            0.00                  25.00   Room Stat - Advanced Purchase                      196.00           121.00         75.00           0.00           196.00
            55.00              120.00        -65.00            0.00                  55.00   Room Stat - AAA/AARP Transient                     351.00           614.00       -263.00           0.00           351.00
             0.00                0.00          0.00            0.00                   0.00   Room Stat - FIT(Flexible Independent Travel)        39.00             2.00         37.00           0.00            39.00
            55.00               16.00         39.00            0.00                  55.00   Room Stat - Consortia Rate Transient               405.00           143.00        262.00           0.00           405.00
            27.00               72.00        -45.00            0.00                  27.00   Room Stat - Employee                               212.00           564.00       -352.00           0.00           212.00
             0.00                0.00          0.00            0.00                   0.00   Room Stat - Leisure Transient                        1.00             0.00          1.00           0.00             1.00
             0.00                0.00          0.00            0.00                   0.00   Room Stat - Package Transient                        7.00             0.00          7.00           0.00             7.00
            34.00                0.00         34.00            0.00                  34.00   Room Stat - Travel Agent/Friends & Family          159.00             4.00        155.00           0.00           159.00
           119.00               58.00         61.00            0.00                 119.00   Room Stat - Member Reward Stay                     854.00           470.00        384.00           0.00           854.00
             0.00              397.00       -397.00          890.00                -890.00   Room Stat - Extended Stay Transient                  0.00         1,999.00     -1,999.00       4,754.00        -4,754.00
           126.00              286.00       -160.00            0.00                 126.00   Room Stat - Internet                             1,425.00         1,505.00        -80.00           0.00         1,425.00
            17.00                0.00         17.00            0.00                  17.00   Room Stat - Other Transient                      2,106.00             0.00      2,106.00           0.00         2,106.00
             0.00               93.00        -93.00            0.00                   0.00   Room Stat - E-Commerce Opaque                        7.00           557.00       -550.00           0.00             7.00
           155.00              108.00         47.00           79.00                  76.00   Room Stat - Government Rate Transient            1,946.00         1,129.00        817.00       1,426.00           520.00
           609.00              325.00        284.00          763.00                -154.00   Room Stat - Rack Rate Transient                  5,378.00         5,079.00        299.00       6,012.00          -634.00
           220.00              125.00         95.00           16.00                 204.00   Room Stat - Local Negotiated Transient           2,784.00           768.00      2,016.00         170.00         2,614.00
        1,817.00            1,725.00          92.00       1,851.00                  -34.00   Total Transient Rooms Sold                     21,102.00        14,108.00      6,994.00      14,037.00         7,065.00

                                                                                             Group Rooms
           24.00                0.00          24.00            0.00                 24.00    Room Stat - Corporate Group Rooms                  81.00             0.00        81.00            16.00          65.00
            0.00                0.00           0.00            0.00                  0.00    Room Stat - Government Group                        2.00             0.00         2.00             0.00           2.00
            0.00                0.00           0.00            0.00                  0.00    Room Stat - Association Group                      36.00             0.00        36.00             0.00          36.00
           25.00                0.00          25.00            0.00                 25.00    Room Stat - SMERF Group                            86.00            62.00        24.00             0.00          86.00
            0.00                0.00           0.00            0.00                  0.00    Room Stat - Sports Group                           36.00             0.00        36.00             0.00          36.00
           49.00                0.00          49.00            0.00                 49.00    Total Group Rooms Sold                            241.00            62.00       179.00            16.00         225.00

                                                                                             Contract Rooms
             0.00               0.00           0.00            0.00                  0.00    Total Contract Rooms Sold                           0.00             0.00          0.00            0.00            0.00

        1,866.00            1,725.00        141.00        1,851.00                  15.00    Total Rooms Sold                               21,343.00        14,170.00      7,173.00      14,053.00         7,290.00
             3.00               0.00           3.00           0.00                   3.00    Room Stat-Comp Rooms                                26.00            3.00          23.00          0.00             26.00
        1,869.00            1,725.00        144.00        1,851.00                  18.00    Total Rooms Occupied                           21,369.00        14,173.00      7,196.00      14,053.00         7,316.00
           297.00               0.00         297.00           0.00                 297.00    Room Stat-Out of Order                           3,445.00            0.00       3,445.00          0.00          3,445.00

                                                                                             ADR
           104.33              95.00            9.33          99.29                   5.04   Corporate Transient ADR                             90.31           92.13          -1.83         104.60          -14.30
           120.55               0.00         120.55            0.00                120.55    Advanced Purchase ADR                              124.07           93.30         30.77            0.00          124.07
           130.88             103.35          27.53            0.00                130.88    AAA/AARP ADR                                       127.60           95.19         32.40            0.00          127.60
             0.00               0.00            0.00           0.00                   0.00   FIT ADR                                             60.81           85.50        -24.69            0.00           60.81
           122.20             114.00            8.20           0.00                122.20    Consortia ADR                                      114.88          110.65           4.23           0.00          114.88
            36.30              40.63           -4.33           0.00                 36.30    Employee ADR                                        31.17           40.88          -9.71           0.00           31.17
             0.00               0.00            0.00           0.00                   0.00   Leisure ADR                                        167.79            0.00        167.79            0.00          167.79
            81.27               0.00          81.27            0.00                 81.27    Travel Agent/Friends & Family ADR                   80.04           69.00         11.04            0.00           80.04
             0.00               0.00            0.00           0.00                   0.00   Leisure Package ADR                              2,801.42            0.00      2,801.42            0.00        2,801.42
            55.03              23.00          32.03            0.00                 55.03    Member Reward Stay ADR                              55.09           23.00         32.09            0.00           55.09
             0.00               0.00            0.00           0.00                   0.00   Golf Pkg ADR                                         0.00            0.00           0.00           0.00            0.00
             0.00              89.00         -89.00           77.26                -77.26    Extended Stay ADR                                    0.00           78.15        -78.15           79.28          -79.28
           127.94              96.41          31.53            0.00                127.94    Internet ADR                                       128.91           91.16         37.75            0.00          128.91
             0.00              60.00         -60.00            0.00                   0.00   E-Commerce Opaque ADR                               98.49           68.10         30.39            0.00           98.49
           162.16               0.00         162.16            0.00                162.16    Other Transient ADR                                111.97            0.00        111.97            0.00          111.97
             0.00               0.00            0.00           0.00                   0.00   Airline Distressed Passenger ADR                     0.00            0.00           0.00           0.00            0.00
           121.43             109.60          11.83            0.00                121.43    Government ADR                                     116.04           98.46         17.58            0.00          116.04
           115.75             119.58           -3.83          90.52                 25.24    Rack ADR                                           107.06          104.46           2.59         105.47            1.59
           100.01              85.73          14.28          101.71                  -1.70   Local Negotiated ADR                                85.58           85.80          -0.22         108.98          -23.40
          108.17               92.91          15.26           80.87                 27.30    Total Transient ADR                               100.46            89.67         10.79           85.82           14.64

           109.00                0.00        109.00            0.00                109.00    Corporate Group ADR                               103.87              0.00       103.87          124.00          -20.13
             0.00                0.00          0.00            0.00                  0.00    Leisure Group ADR                                   0.00              0.00         0.00            0.00            0.00
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                                                                  Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                             P&L - Dual Summary Pages
                                                                                                  As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %   Variance   YTD Last Year   %      Variance

             0.00               0.00           0.00            0.00                   0.00   Government Group ADR                 82.00                 0.00        82.00           0.00               82.00
             0.00               0.00           0.00            0.00                   0.00   Tour & Travel Group ADR               0.00                 0.00         0.00           0.00                0.00
             0.00               0.00           0.00            0.00                   0.00   Association Group ADR               106.08                 0.00       106.08           0.00              106.08
             0.00               0.00           0.00            0.00                   0.00   City Wide Group ADR                   0.00                 0.00         0.00           0.00                0.00
           148.20               0.00         148.20            0.00                 148.20   SMERF Group ADR                     118.36                99.44        18.92           0.00              118.36
             0.00               0.00           0.00            0.00                   0.00   Sports Group ADR                    107.88                 0.00       107.88           0.00              107.88
             0.00               0.00           0.00            0.00                   0.00   Other Group ADR                       0.00                 0.00         0.00           0.00                0.00
          129.00                0.00        129.00             0.00                129.00    Total Group ADR                    109.79                 99.44        10.34      11,069.24         -10,959.45

             0.00               0.00           0.00            0.00                  0.00    Airline Crew ADR                     0.00                  0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                  0.00    Other Contract ADR                   0.00                  0.00         0.00            0.00              0.00
             0.00               0.00           0.00            0.00                  0.00    Total Contract ADR                   0.00                  0.00         0.00            0.00              0.00

          108.72               92.91          15.81           86.11                 22.61    Total ADR                          100.67                 89.71        10.96           98.55              2.12




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                                                                           Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                      P&L - Dual Summary Pages
                                                                                                           As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      F&B Summary
                                                                                                      Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Outlet Food Revenue                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Banquet and Catering Food Revenue       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Outlet Beverage Revenue                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Banquet and Catering Beverage Revenue   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Outlet Other Revenue                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Banquet and Catering Other Revenue      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total F&B Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Food Purchases                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Beverage Purchases                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Cedit Employee Meals                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Credit House Charges                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Credit In-House Promotions              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Audio Visual Cost of Sales              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Other Cost of Sales                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total F&B Cost of Sales                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    F&B Gross Profit                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll
                                                                                                      Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Management                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Non-Management                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total F&B Salaries and Wages            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Payroll Taxes                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Supplemental Pay                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Other Benefits                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total F&B PR Taxes and Benefits         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total F&B Payroll                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Audio Visual Supplies                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Banquet Expense                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Bar Expense/Promos                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Bar Supplies                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    China                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Cleaning Supplies                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Communication Expense                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Contract Cleaning                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Contract Labor                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Decorations & Plants                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Dues and Subscriptions                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Equipment Rental                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Food and Beverage Advertising           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Glassware                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Guest Loss/Damage                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Guest Supplies                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    In-House Entertainment                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Kitchen/Cooking Fuel                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Kitchen Equipment                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Laundry - Outside Expense               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Laundry Allocation                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Licenses/Permits                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Linen                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%         0.00    Linen Rental                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                           Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Maintenance Contracts                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Meals and Entertainment              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Menus                                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Miscellaneous Expense                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Music and Entertainment              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Office Equipment                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Office Supplies                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Operating Supplies                   0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Paper/Plastic Supplies               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Printing and Stationery              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Silverware                           0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Software Expense/Maintenance         0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Television Cable                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Training                             0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Travel                               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Uniforms                             0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Utensils                             0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total F&B Other Expenses             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total F&B Expenses                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total F&B Profit (Loss)              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                  Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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              PTD     %    PTD Budget   %   Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                             F&B Stats
                                                                                             Restaurant 1
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                      0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers            0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check               0.00                  0.00         0.00            0.00           0.00

                                                                                             Restaurant 2
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                      0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers            0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check               0.00                  0.00         0.00            0.00           0.00

                                                                                             Room Service
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                      0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Room Service Covers            0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Room Service Avg Check               0.00                  0.00         0.00            0.00           0.00

                                                                                             Banquets
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                      0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Banquets Covers                0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Banquets Avg Check                   0.00                  0.00         0.00            0.00           0.00

                                                                                             Catering
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                      0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Catering Covers                0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Catering Avg Check                   0.00                  0.00         0.00            0.00           0.00

                                                                                             Restaurant 3
             0.00                0.00          0.00            0.00                  0.00    Breakfast Avg Check                   0.00                  0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Lunch Avg Check                       0.00                  0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Dinner Avg Check                      0.00                  0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                  0.00    Brunch Avg Check                      0.00                  0.00        0.00            0.00           0.00
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              PTD     %    PTD Budget   %   Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers            0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check               0.00                  0.00         0.00            0.00           0.00

                                                                                             Restaurant 4
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                      0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers            0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check               0.00                  0.00         0.00            0.00           0.00

                                                                                             Restaurant 5
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                      0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers            0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check               0.00                  0.00         0.00            0.00           0.00

                                                                                             Bar 1
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                      0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Bar 1 Covers                   0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Bar 1 Avg Check                      0.00                  0.00         0.00            0.00           0.00

                                                                                             Bar 2
             0.00               0.00           0.00            0.00                  0.00    Breakfast Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Lunch Avg Check                      0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Dinner Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Brunch Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Late Night Avg Check                 0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Breaks Avg Check                     0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Reception Avg Check                  0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Total Bar 2 Covers                   0.00                  0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                  0.00    Bar 2 Avg Check                      0.00                  0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                  0.00    Total Covers                         0.00                  0.00         0.00            0.00           0.00




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                                                                         Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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              PTD     %       PTD Budget   %       Variance   PTD Last Year   %          Variance                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Food Admin
                                                                                                    Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Food Admin Cost of Sales           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Food Admin Management              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Food Admin Non-Management          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Food Admin Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Payroll Taxes                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Supplemental Pay                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Other Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Food Admin PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Food Admin Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Food Admin Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Food Admin Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Departmental Costs                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                          Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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              PTD     %        PTD Budget   %       Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Beverage Admin
             0.00      0.00%         0.00   0.00%      0.00            0.00    0.00%         0.00    Less Adjustments                      0.00   0.00%          0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%         0.00    Total Beverage Admin Revenue          0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Cost of Sales

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%         0.00    Total Beverage Admin Cost of Sales    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Other Expenses

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%         0.00    Total Beverage Admin Other Expenses   0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%         0.00    Total Beverage Admin Expenses         0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%         0.00    Departmental Costs                    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                           Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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                                                                                                           As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Room Service
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                           Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Banquets
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Banquets Food Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Food Revenue          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Banquets Beverage Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Beverage Revenue      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Other Revenue         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Cost of Sales         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Gross Profit                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Management            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Non-Management        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                  0.00    Total Banquets Salaries and Wages    0.00                  0.00                  0.00            0.00                0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                  0.00    Total Banquet Benefits               0.00                  0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Payroll               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Other Expenses        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Expenses              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Banquets Profit (Loss)         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Catering
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Catering Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Catering Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Catering Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Catering Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 3
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                           Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 4
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Restaurant 5
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 1
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Bar 1 Food Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Adjustments                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Food Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Bar 1 Beverage Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Adjustments                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Beverage Revenue         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Other Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Cost of Sales            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Gross Profit                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Non-Management           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Salaries and Wages       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 PR Taxes and Benefits    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Payroll                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Other Expenses           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Expenses                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 1 Profit (Loss)            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                      Bar 2
                                                                                                      Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Bar 2 Food Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Adjustments                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Food Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Bar 2 Beverage Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%        0.00    Less: Adjustments                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Beverage Revenue         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Other Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Cost of Sales            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Gross Profit                         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Expenses
                                                                                                      Payroll Expenses
                                                                                                      Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Non-Management           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Salaries and Wages       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Payroll Taxes                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Supplemental Pay               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Other Benefits                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 PR Taxes and Benefits    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Payroll                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                      Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Other Expenses           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Expenses                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%         0.00    Total Bar 2 Profit (Loss)            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %          Variance   PTD Last Year   %           Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year     %          Variance

                                                                                                         Telephone
             0.00      0.00%         0.00   0.00%         0.00            0.00    0.00%          0.00    Local and Long Distance Revenue         0.00   0.00%          0.00     0.00%          0.00           33.77    100.00%        -33.77

             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%          0.00    Telephone Revenue                      0.00    0.00%         0.00      0.00%          0.00           33.77 100.00%          -33.77
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%         0.00            0.00    0.00%           0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%          0.00    Total Telephone Revenue                0.00    0.00%         0.00      0.00%          0.00           33.77 100.00%          -33.77

                                                                                                         Cost of Sales
             0.00      0.00%     2,405.00    0.00%    -2,405.00       2,405.77     0.00%     -2,405.77   Cost of Sales - Local Calls            0.00     0.00%    24,050.00      0.00%    -24,050.00      22,536.8966,736.42%     -22,536.89
             0.00     0.00%     2,405.00    0.00%    -2,405.00       2,405.77     0.00%     -2,405.77    Total Telephone Cost of Sales          0.00    0.00%    24,050.00      0.00%    -24,050.00      22,536.89
                                                                                                                                                                                                                 66,736.42%      -22,536.89

             0.00     0.00%    -2,405.00    0.00%    2,405.00       -2,405.77     0.00%     2,405.77     Gross Profit                           0.00    0.00%    -24,050.00     0.00%    24,050.00      -22,503.12
                                                                                                                                                                                                                -66,636.42%      22,503.12

                                                                                                         Other Expenses
           216.52      0.00%         0.00    0.00%      216.52            0.00     0.00%       216.52    Communication Expense                 216.52    0.00%         0.00      0.00%       216.52            0.00     0.00%        216.52
         1,221.16      0.00%     1,237.00    0.00%      -15.84        1,237.00     0.00%       -15.84    Internet/Web Expense               14,262.84    0.00%    12,370.00      0.00%     1,892.84       12,424.2536,790.79%      1,838.59
             0.00      0.00%         0.00    0.00%        0.00          100.00     0.00%      -100.00    Miscellaneous Expense                   0.00    0.00%         0.00      0.00%         0.00          950.00 2,813.15%       -950.00
             0.00      0.00%         0.00    0.00%        0.00          270.63     0.00%      -270.63    Operating Supplies                      0.00    0.00%         0.00      0.00%         0.00          416.77 1,234.14%       -416.77
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%         0.00    Software Expense/Maintenance          646.03    0.00%         0.00      0.00%       646.03            0.00     0.00%        646.03
         1,207.30      0.00%         0.00    0.00%    1,207.30            0.00     0.00%     1,207.30    Telephone Equipment                18,924.48    0.00%         0.00      0.00%    18,924.48            0.00     0.00%     18,924.48
        2,644.98      0.00%     1,237.00    0.00%    1,407.98        1,607.63     0.00%     1,037.35     Total Telephone Other Expenses    34,049.87    0.00%    12,370.00      0.00%    21,679.87       13,791.02
                                                                                                                                                                                                                 40,838.08%      20,258.85

       -2,644.98      0.00%    -3,642.00    0.00%      997.02       -4,013.40     0.00%     1,368.42     Total Telephone Profit (Loss)     -34,049.87   0.00%    -36,420.00     0.00%      2,370.13     -36,294.14
                                                                                                                                                                                                              -107,474.50%         2,244.27




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %        Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                        Minor Operating
                                                                                                        Income
           400.00     19.26%         0.00     0.00%     400.00          200.00     14.96%      200.00   Rental Income - Other                           700.00     3.17%         0.00     0.00%       700.00       2,869.40     17.66%    -2,169.40
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00   Rental Income - Antennae                        110.30     0.50%         0.00     0.00%       110.30           0.00      0.00%       110.30
          400.00     19.26%          0.00    0.00%     400.00          200.00     14.96%      200.00    Total Rental Income                            810.30     3.67%          0.00    0.00%       810.30       2,869.40     17.66%    -2,059.10
             0.00      0.00%         0.00     0.00%       0.00          273.50     20.46%     -273.50   Vending Commissions-Soda & Snack Machines       960.00     4.35%         0.00     0.00%       960.00       1,006.99      6.20%        -46.99
             0.00     0.00%          0.00    0.00%        0.00         273.50     20.46%     -273.50    Total Vending Commission Income                960.00     4.35%          0.00    0.00%       960.00       1,006.99      6.20%        -46.99
           464.05     22.34%         0.00     0.00%     464.05            0.00      0.00%      464.05   Cancellation Fee - Rooms                      1,769.81     8.01%         0.00     0.00%     1,769.81       2,233.93     13.75%      -464.12
             0.00      0.00%        75.00     8.30%     -75.00            0.00      0.00%        0.00   Cancellation Fee - Other                          0.00     0.00%       750.00     9.42%      -750.00           0.00      0.00%          0.00
          464.05     22.34%         75.00    8.30%     389.05             0.00     0.00%      464.05    Total Cancellation Fee Income                1,769.81     8.01%       750.00     9.42%     1,019.81       2,233.93     13.75%      -464.12
             0.00      0.00%       225.00    24.90%    -225.00            0.00      0.00%        0.00   Guest Laundry                                   809.84     3.67%     2,250.00    28.26%    -1,440.16       1,830.01     11.26%    -1,020.17
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00   Pool Memberships                                  4.95     0.02%         0.00     0.00%         4.95           0.00      0.00%          4.95
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00   Interest Earned                                 246.44     1.12%         0.00     0.00%       246.44           0.00      0.00%       246.44
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00   Cash Discounts                                 -226.64    -1.03%         0.00     0.00%      -226.64         611.11      3.76%      -837.75
             0.00      0.00%         0.00     0.00%       0.00           79.20      5.92%      -79.20   Internet Access                               3,485.32    15.78%         0.00     0.00%     3,485.32         539.55      3.32%     2,945.77
             0.00      0.00%         0.00     0.00%       0.00           15.59      1.17%      -15.59   Other Revenue 2                                 784.65     3.55%         0.00     0.00%       784.65          61.30      0.38%       723.35
             0.00      0.00%         0.00     0.00%       0.00           75.00      5.61%      -75.00   Other Revenue 3                                   0.00     0.00%         0.00     0.00%         0.00         525.00      3.23%      -525.00
         1,213.03     58.40%       603.75    66.80%     609.28          693.79     51.89%      519.24   Gift Shop Sales                              13,195.52    59.73%     4,962.30    62.32%     8,233.22       6,245.63     38.44%     6,949.89
             0.00      0.00%         0.00     0.00%       0.00            0.00      0.00%        0.00   Pet Fees                                        250.00     1.13%         0.00     0.00%       250.00         325.00      2.00%        -75.00
        1,213.03     58.40%       828.75    91.70%     384.28          863.58     64.59%      349.45    Total Other Income                          18,550.08    83.97%     7,212.30    90.58%    11,337.78      10,137.60     62.39%     8,412.48

        2,077.08    100.00%       903.75    100.00%   1,173.33       1,337.08     100.00%     740.00    Total Minor Operating Income                22,090.19    100.00%    7,962.30 100.00%      14,127.89      16,247.92 100.00%       5,842.27

                                                                                                        Cost of Sales
          -323.11    -15.56%         0.00     0.00%    -323.11            0.00      0.00%     -323.11   Cost of Sales - Internet Access               2,811.34    12.73%         0.00     0.00%     2,811.34           0.00      0.00%    2,811.34
         1,082.05     52.09%       146.25    16.18%     935.80           37.77      2.82%    1,044.28   Cost of Sales - Guest Laundry                 2,151.57     9.74%     1,462.50    18.37%       689.07       1,635.73     10.07%      515.84
           488.51     23.52%       392.44    43.42%      96.07          280.76     21.00%      207.75   Cost of Sales - Gift Shop                     8,942.10    40.48%     3,225.51    40.51%     5,716.59       2,343.41     14.42%    6,598.69
        1,247.45     60.06%       538.69    59.61%     708.76          318.53     23.82%      928.92    Total Minor Operated Cost of Sales          13,905.01    62.95%     4,688.01    58.88%     9,217.00       3,979.14     24.49%    9,925.87

          829.63     39.94%       365.06    40.39%     464.57        1,018.55     76.18%     -188.92    Total Minor Operated Profit (Loss)           8,185.18    37.05%     3,274.29    41.12%     4,910.89      12,268.78     75.51%    -4,083.60




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              PTD     %       PTD Budget   %       Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Arcade
                                                                                                    Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Arcade Revenue                 0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Arcade Non-Management          0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Arcade Salaries and Wages      0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Payroll Taxes                  0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Supplemental Pay               0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Other Benefits                 0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Arcade PR Taxes and Benefits   0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Arcade Payroll                 0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Arcade Other Expenses          0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Arcade Expenses                0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Arcade Profit (Loss)           0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year   %          Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    Waterpark
                                                                                                    Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget    %        Variance   PTD Last Year    %         Variance                                                    YTD     %       YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                       Franchise Fees
         1,769.59      0.86%         0.00    0.00%   1,769.59            0.00     0.00%     1,769.59   Franchise Fees - IT Fees                    13,712.27    0.63%         0.00     0.00%     13,712.27           0.00     0.00%     13,712.27
        11,207.40      5.47%     8,880.19    5.51%   2,327.21        8,891.03     5.53%     2,316.37   Franchise Fees - Royalty & Licenses        160,792.69    7.41%    70,505.14     5.51%     90,287.55      76,206.58     5.44%     84,586.11
             0.00      0.00%         0.00    0.00%       0.00            0.00     0.00%         0.00   Franchise Fees - Other                        -374.54   -0.02%         0.00     0.00%       -374.54           0.00     0.00%       -374.54
             0.00      0.00%         0.00    0.00%       0.00            0.00     0.00%         0.00   Franchise Fees - Reservations-GDS           17,651.16    0.81%         0.00     0.00%     17,651.16           0.00     0.00%     17,651.16
         4,115.97      2.01%     3,577.86    2.22%     538.11        5,695.71     3.54%    -1,579.74   Franchise Fees - Frequent Guest             40,906.10    1.88%    28,406.80     2.22%     12,499.30      31,963.42     2.28%      8,942.68
         7,131.99      3.48%     5,656.89    3.51%   1,475.10        5,657.90     3.52%     1,474.09   Franchise Fees - Marketing Contributions    33,229.80    1.53%    44,913.44     3.51%    -11,683.64      48,494.85     3.46%    -15,265.05
           263.34      0.13%       753.33    0.47%    -489.99            0.00     0.00%       263.34   Franchise Fees - Reservations-Central        2,344.38    0.11%     7,533.30     0.59%     -5,188.92           0.00     0.00%      2,344.38

       24,488.29     11.95%    18,868.27    11.71%   5,620.02      20,244.64     12.60%    4,243.65    Total Franchise Fees                       268,261.86   12.36%   151,358.68   11.83%    116,903.18     156,664.85     11.18%   111,597.01




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              PTD     %        PTD Budget    %         Variance    PTD Last Year   %          Variance                                             YTD    %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                         A&G
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         9,757.69      4.76%     9,905.86     6.15%     -148.17        7,323.01     4.56%     2,434.68   Management- A&G                      69,529.30    3.20%     96,655.09     7.56%    -27,125.79      63,042.60      4.50%      6,486.70
        9,757.69      4.76%     9,905.86     6.15%     -148.17        7,323.01     4.56%     2,434.68    Total A&G Management                69,529.30    3.20%     96,655.09     7.56%    -27,125.79      63,042.60      4.50%      6,486.70
             0.00     0.00%          0.00    0.00%         0.00            0.00    0.00%          0.00   Total A&G Non-Management                  0.00   0.00%           0.00    0.00%           0.00           0.00     0.00%           0.00
        9,757.69      4.76%     9,905.86     6.15%     -148.17        7,323.01     4.56%     2,434.68    Total A&G Salaries and Wages        69,529.30    3.20%     96,655.09     7.56%    -27,125.79      63,042.60      4.50%      6,486.70
                                                                                                         PR Taxes and Benefits
           699.29      0.34%       787.47     0.49%       -88.18         285.06     0.18%       414.23   FICA                                  5,253.12    0.24%      7,707.45     0.60%     -2,454.33       4,852.52      0.35%        400.60
             4.76      0.00%         4.32     0.00%         0.44           0.00     0.00%         4.76   Federal Unemployment Tax                134.32    0.01%        159.91     0.01%        -25.59           0.00      0.00%        134.32
            27.22      0.01%        27.79     0.02%        -0.57           0.00     0.00%        27.22   State Unemployment Tax                  725.98    0.03%      1,315.78     0.10%       -589.80           0.00      0.00%        725.98
          731.27      0.36%       819.58     0.51%       -88.31         285.06     0.18%       446.21    Total Payroll Taxes                  6,113.42    0.28%      9,183.14     0.72%     -3,069.72       4,852.52      0.35%      1,260.90
             0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00   Holiday                                   0.00    0.00%          0.00     0.00%          0.00       1,357.68      0.10%     -1,357.68
             0.00      0.00%       387.84     0.24%     -387.84            0.00     0.00%         0.00   Vacation                                  0.00    0.00%      4,095.59     0.32%     -4,095.59       9,056.61      0.65%     -9,056.61
             0.00     0.00%       387.84     0.24%     -387.84             0.00    0.00%          0.00   Total Supplemental Pay                    0.00   0.00%      4,095.59     0.32%     -4,095.59      10,414.29      0.74%    -10,414.29
           774.96      0.38%       561.45     0.35%      213.51          470.00     0.29%       304.96   Worker's Compensation                 4,906.15    0.23%      5,653.64     0.44%       -747.49       5,646.00      0.40%       -739.85
         1,561.23      0.76%       492.45     0.31%    1,068.78          566.64     0.35%       994.59   Group Insurance                      12,245.31    0.56%      4,760.35     0.37%      7,484.96      10,219.45      0.73%      2,025.86
             0.00      0.00%         0.00     0.00%         0.00           0.00     0.00%         0.00   Bonus and Incentive Pay               1,875.00    0.09%          0.00     0.00%      1,875.00       1,835.99      0.13%         39.01
        2,336.19      1.14%     1,053.90     0.65%    1,282.29        1,036.64     0.64%     1,299.55    Total Other Benefits                19,026.46    0.88%     10,413.99     0.81%      8,612.47      17,701.44      1.26%      1,325.02
        3,067.46      1.50%     2,261.32     1.40%      806.14        1,321.70     0.82%     1,745.76    Total A&G PR Taxes and Benefits     25,139.88    1.16%     23,692.72     1.85%      1,447.16      32,968.25      2.35%     -7,828.37
       12,825.15      6.26%    12,167.18     7.55%      657.97        8,644.71     5.38%     4,180.44    Total A&G Payroll                   94,669.18    4.36%    120,347.81     9.41%    -25,678.63      96,010.85      6.85%     -1,341.67
                                                                                                         Other Expenses
         1,000.00      0.49%     1,000.00     0.62%        0.00        2,000.00     1.24%    -1,000.00   Accounting/Audit Fees                10,000.00    0.46%     10,000.00     0.78%         0.00       20,000.00      1.43%   -10,000.00
             0.00      0.00%         0.00     0.00%        0.00            0.00     0.00%         0.00   Bad Debt Provision                      682.35    0.03%          0.00     0.00%       682.35         -671.76     -0.05%     1,354.11
           691.66      0.34%       875.00     0.54%     -183.34          900.37     0.56%      -208.71   Bank Charges                          6,593.79    0.30%      8,750.00     0.68%    -2,156.21       11,179.44      0.80%    -4,585.65
         6,644.99      3.24%         0.00     0.00%    6,644.99         -335.09    -0.21%     6,980.08   Cash Over/Short                      13,261.39    0.61%          0.00     0.00%    13,261.39        4,764.97      0.34%     8,496.42
             0.00      0.00%       100.00     0.06%     -100.00            0.00     0.00%         0.00   Central Office - Travel Rebilled          0.00    0.00%        400.00     0.03%      -400.00            0.00      0.00%         0.00
            92.00      0.04%       160.00     0.10%      -68.00            0.00     0.00%        92.00   Central Office - IT Fees              6,285.52    0.29%      1,600.00     0.13%     4,685.52            0.00      0.00%     6,285.52
            60.00      0.03%       110.00     0.07%      -50.00            0.00     0.00%        60.00   Communication Expense                   220.01    0.01%      1,100.00     0.09%      -879.99          112.80      0.01%       107.21
         3,394.12      1.66%     4,029.13     2.50%     -635.01       -2,602.23    -1.62%     5,996.35   Credit Card Commission               44,218.55    2.04%     31,989.62     2.50%    12,228.93       35,644.54      2.54%     8,574.01
             0.00      0.00%         0.00     0.00%        0.00        1,664.89     1.04%    -1,664.89   Data Processing                           0.00    0.00%          0.00     0.00%         0.00       14,040.27      1.00%   -14,040.27
           160.00      0.08%         0.00     0.00%      160.00          127.92     0.08%        32.08   Dues and Subscriptions                1,247.79    0.06%          0.00     0.00%     1,247.79        2,244.68      0.16%      -996.89
           560.49      0.27%       200.00     0.12%      360.49         -165.00    -0.10%       725.49   Employee Relations                    1,924.67    0.09%      2,000.00     0.16%       -75.33          656.78      0.05%     1,267.89
             0.00      0.00%       156.00     0.10%     -156.00          184.53     0.11%      -184.53   Equipment Rental                          0.00    0.00%      1,560.00     0.12%    -1,560.00        1,632.90      0.12%    -1,632.90
             0.00      0.00%         0.00     0.00%        0.00            0.00     0.00%         0.00   Internet/Web Expense                  2,105.00    0.10%          0.00     0.00%     2,105.00            0.00      0.00%     2,105.00
             0.00      0.00%         0.00     0.00%        0.00           96.09     0.06%       -96.09   Licenses/Permits                      1,468.46    0.07%          0.00     0.00%     1,468.46        3,139.98      0.22%    -1,671.52
            11.37      0.01%         0.00     0.00%       11.37            0.00     0.00%        11.37   Miscellaneous Expense                 1,084.63    0.05%          0.00     0.00%     1,084.63            0.00      0.00%     1,084.63
             0.00      0.00%         0.00     0.00%        0.00            0.00     0.00%         0.00   Office Equipment                        780.00    0.04%          0.00     0.00%       780.00            0.00      0.00%       780.00
         1,635.95      0.80%       200.00     0.12%    1,435.95           64.55     0.04%     1,571.40   Office Supplies                       4,093.42    0.19%      2,000.00     0.16%     2,093.42        1,369.87      0.10%     2,723.55
           179.91      0.09%       450.00     0.28%     -270.09          216.25     0.13%       -36.34   Payroll Service Fees                  1,631.71    0.08%      4,500.00     0.35%    -2,868.29        3,597.95      0.26%    -1,966.24
             0.00      0.00%       100.00     0.06%     -100.00            0.00     0.00%         0.00   Postage                                 179.27    0.01%      1,000.00     0.08%      -820.73          281.66      0.02%      -102.39
             0.00      0.00%       150.00     0.09%     -150.00            0.00     0.00%         0.00   Professional Fees - Legal             3,408.93    0.16%      1,500.00     0.12%     1,908.93            0.00      0.00%     3,408.93
             0.00      0.00%       500.00     0.31%     -500.00            0.00     0.00%         0.00   Professional Fees - Other             4,911.20    0.23%      5,000.00     0.39%       -88.80        4,547.00      0.32%       364.20
             0.00      0.00%         0.00     0.00%        0.00            0.00     0.00%         0.00   Recruitment Advertising                 190.00    0.01%          0.00     0.00%       190.00          657.34      0.05%      -467.34
             0.00      0.00%         0.00     0.00%        0.00          183.28     0.11%      -183.28   Recruitment - Other                     698.45    0.03%          0.00     0.00%       698.45        1,000.72      0.07%      -302.27
           442.69      0.22%       520.70     0.32%      -78.01            0.00     0.00%       442.69   Software Expense/Maintenance          2,405.38    0.11%      6,157.00     0.48%    -3,751.62            0.00      0.00%     2,405.38
             0.00      0.00%         0.00     0.00%        0.00            0.00     0.00%         0.00   Training                              4,672.18    0.22%          0.00     0.00%     4,672.18        2,363.03      0.17%     2,309.15
           243.36      0.12%         0.00     0.00%      243.36           40.32     0.03%       203.04   Travel                                3,067.82    0.14%          0.00     0.00%     3,067.82        2,819.20      0.20%       248.62
       15,116.54      7.38%     8,550.83     5.31%    6,565.71        2,375.88     1.48%    12,740.66    Total A&G Other Expenses           115,130.52    5.30%     77,556.62     6.06%    37,573.90      109,381.37      7.81%     5,749.15
       27,941.69     13.63%    20,718.01    12.86%    7,223.68       11,020.59     6.86%    16,921.10    Total A&G Expenses                 209,799.70    9.67%    197,904.43    15.47%    11,895.27      205,392.22     14.66%     4,407.48




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                                                                         Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                    P&L - Dual Summary Pages
                                                                                                         As of 10/31/2021
              PTD     %       PTD Budget   %       Variance   PTD Last Year   %          Variance                                         YTD    %        YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                    IT
                                                                                                    Expenses
                                                                                                    Payroll Expense
                                                                                                    Salaries and Wags
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total IT Management                  0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total IT Non-Management              0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total IT Salaries and Wages          0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Payroll Taxes                  0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Supplemental Pay               0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total Other Benefits                 0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total IT PR Taxes and Benefits       0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total IT Payroll                     0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Cost of Services
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total IT Cost of Services            0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    System Costs
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total IT Systems                     0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                    Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total IT Other Expenses              0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%         0.00    Total IT Expenses                    0.00    0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                            Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
              PTD     %        PTD Budget   %         Variance   PTD Last Year   %          Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                       S&M
                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
         5,109.88      2.49%     4,540.19    2.82%     569.69        4,395.67     2.73%       714.21   Division Management                28,462.38    1.31%    44,300.26      3.46%    -15,837.88      37,189.87     2.65%     -8,727.49
             0.00      0.00%         0.00    0.00%       0.00            0.00     0.00%         0.00   Sales Managers                          0.00    0.00%         0.00      0.00%          0.00          64.50     0.00%        -64.50
        5,109.88      2.49%     4,540.19    2.82%     569.69        4,395.67     2.73%       714.21    Total S&M Management              28,462.38    1.31%    44,300.26      3.46%    -15,837.88      37,254.37     2.66%     -8,791.99
             0.00     0.00%          0.00   0.00%        0.00            0.00    0.00%          0.00   Total S&M Non-Management                0.00   0.00%          0.00     0.00%           0.00           0.00    0.00%           0.00

        5,109.88      2.49%     4,540.19    2.82%     569.69        4,395.67     2.73%       714.21    Total S&M Salaries and Wages      28,462.38    1.31%    44,300.26      3.46%    -15,837.88      37,254.37     2.66%     -8,791.99

                                                                                                       PR Taxes and Benefits
           366.20      0.18%       360.92    0.22%        5.28         313.32     0.19%        52.88   FICA                                2,155.71    0.10%     3,532.56      0.28%     -1,376.85       2,893.21     0.21%       -737.50
             2.50      0.00%         1.98    0.00%        0.52           0.00     0.00%         2.50   Federal Unemployment Tax               84.22    0.00%        73.30      0.01%         10.92           0.00     0.00%         84.22
            14.25      0.01%        12.74    0.01%        1.51           0.00     0.00%        14.25   State Unemployment Tax                433.42    0.02%       603.08      0.05%       -169.66           0.00     0.00%        433.42
          382.95      0.19%       375.64    0.23%         7.31        313.32     0.19%         69.63   Total Payroll Taxes                2,673.35    0.12%     4,208.94      0.33%     -1,535.59       2,893.21     0.21%       -219.86
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%         0.00   Holiday                                 0.00    0.00%         0.00      0.00%          0.00         750.00     0.05%       -750.00
             0.00      0.00%       177.76    0.11%     -177.76         150.00     0.09%      -150.00   Vacation                                0.00    0.00%     1,877.13      0.15%     -1,877.13       1,529.92     0.11%     -1,529.92
             0.00     0.00%       177.76    0.11%     -177.76         150.00     0.09%      -150.00    Total Supplemental Pay                  0.00   0.00%     1,877.13      0.15%     -1,877.13       2,279.92     0.16%     -2,279.92
           405.83      0.20%       257.33    0.16%      148.50           0.00     0.00%       405.83   Worker's Compensation               2,382.98    0.11%     2,591.27      0.20%       -208.29           0.00     0.00%      2,382.98
         3,144.21      1.53%       492.45    0.31%    2,651.76         586.80     0.37%     2,557.41   Group Insurance                     2,940.15    0.14%     4,760.35      0.37%     -1,820.20       3,843.79     0.27%       -903.64
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%         0.00   Bonus and Incentive Pay                 0.00    0.00%         0.00      0.00%          0.00         195.80     0.01%       -195.80
        3,550.04      1.73%       749.78    0.47%    2,800.26         586.80     0.37%     2,963.24    Total Other Benefits               5,323.13    0.25%     7,351.62      0.57%     -2,028.49       4,039.59     0.29%      1,283.54
        3,932.99      1.92%     1,303.18    0.81%    2,629.81       1,050.12     0.65%     2,882.87    Total S&M PR Taxes and Benefits    7,996.48    0.37%    13,437.69      1.05%     -5,441.21       9,212.72     0.66%     -1,216.24

        9,042.87      4.41%     5,843.37    3.63%    3,199.50       5,445.79     3.39%     3,597.08    Total S&M Payroll                 36,458.86    1.68%    57,737.95      4.51%    -21,279.09      46,467.09     3.32%    -10,008.23

                                                                                                       Other Expenses
           440.00      0.21%       690.00    0.43%     -250.00         570.75     0.36%      -130.75   Advertising-Web/Internet            3,194.40    0.15%     7,935.00      0.62%     -4,740.60       5,411.01     0.39%    -2,216.61
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%         0.00   Brochures                             190.90    0.01%         0.00      0.00%        190.90           0.00     0.00%       190.90
            60.00      0.03%        50.00    0.03%       10.00           0.00     0.00%        60.00   Communication Expense                 110.00    0.01%       500.00      0.04%       -390.00           0.00     0.00%       110.00
         1,694.02      0.83%     1,226.00    0.76%      468.02       1,699.00     1.06%        -4.98   Dues and Subscriptions             20,446.66    0.94%    16,449.00      1.29%      3,997.66       9,682.79     0.69%    10,763.87
         2,210.68      1.08%        50.00    0.03%    2,160.68           0.00     0.00%     2,210.68   Office Supplies                     2,210.68    0.10%       500.00      0.04%      1,710.68          17.81     0.00%     2,192.87
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%         0.00   Printing and Stationery                37.06    0.00%       150.00      0.01%       -112.94           0.00     0.00%        37.06
           106.85      0.05%        75.00    0.05%       31.85           0.00     0.00%       106.85   Promotions - In-house                 106.85    0.00%       750.00      0.06%       -643.15         117.91     0.01%       -11.06
             0.00      0.00%       166.67    0.10%     -166.67           0.00     0.00%         0.00   Promotion - Outside                    57.08    0.00%     1,666.70      0.13%     -1,609.62           0.00     0.00%        57.08
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%         0.00   Software Expense/Maintenance            0.00    0.00%     6,436.00      0.50%     -6,436.00           0.00     0.00%         0.00
             0.00      0.00%       750.00    0.47%     -750.00           0.00     0.00%         0.00   Training                                0.00    0.00%     2,250.00      0.18%     -2,250.00       1,787.27     0.13%    -1,787.27
            37.74      0.02%         0.00    0.00%       37.74           0.00     0.00%        37.74   Travel                                364.06    0.02%         0.00      0.00%        364.06         721.46     0.05%      -357.40
        4,549.29      2.22%     3,007.67    1.87%    1,541.62       2,269.75     1.41%     2,279.54    Total S&M Other Expenses          26,717.69    1.23%    36,636.70      2.86%     -9,919.01      17,738.25     1.27%     8,979.44

       13,592.16      6.63%     8,851.04    5.49%    4,741.12       7,715.54     4.80%     5,876.62    Total S&M Expenses                63,176.55    2.91%    94,374.65      7.38%    -31,198.10      64,205.34     4.58%     -1,028.79




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                                                                              Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %          Variance    PTD Last Year   %          Variance                                               YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                         R&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         3,662.07      1.79%     3,921.07    2.43%      -259.00        1,846.16     1.15%     1,815.91   Division Management                    11,576.88    0.53%     38,259.31     2.99%    -26,682.43      17,063.62     1.22%    -5,486.74
        3,662.07      1.79%     3,921.07    2.43%      -259.00        1,846.16     1.15%     1,815.91    Total R&M Management                  11,576.88    0.53%     38,259.31     2.99%    -26,682.43      17,063.62     1.22%    -5,486.74
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Engineers 1                            19,730.69    0.91%          0.00     0.00%     19,730.69         226.38     0.02%    19,504.31
             0.00     0.00%          0.00   0.00%          0.00            0.00    0.00%          0.00   Total R&M Non-Management              19,730.69    0.91%           0.00    0.00%     19,730.69         226.38     0.02%    19,504.31

        3,662.07      1.79%     3,921.07    2.43%      -259.00        1,846.16     1.15%     1,815.91    Total R&M Salaries and Wages          31,307.57    1.44%     38,259.31     2.99%     -6,951.74      17,290.00     1.23%    14,017.57

                                                                                                         PR Taxes and Benefits
           262.44      0.13%       311.71    0.19%        -49.27         184.16     0.11%        78.28   FICA                                    2,366.37    0.11%      3,050.87     0.24%       -684.50       1,522.66     0.11%       843.71
             1.79      0.00%         1.71    0.00%          0.08           0.00     0.00%         1.79   Federal Unemployment Tax                   76.99    0.00%         63.31     0.00%         13.68           0.00     0.00%        76.99
            10.22      0.00%        11.00    0.01%         -0.78           0.00     0.00%        10.22   State Unemployment Tax                    407.17    0.02%        520.82     0.04%       -113.65           0.00     0.00%       407.17
          274.45      0.13%       324.42    0.20%        -49.97         184.16     0.11%         90.29   Total Payroll Taxes                    2,850.53    0.13%      3,635.00     0.28%       -784.47       1,522.66     0.11%     1,327.87
             0.00      0.00%       153.52    0.10%      -153.52          150.00     0.09%      -150.00   Vacation                                    0.00    0.00%      1,621.17     0.13%     -1,621.17         450.00     0.03%      -450.00
             0.00     0.00%       153.52    0.10%      -153.52          150.00     0.09%      -150.00    Total Supplemental Pay                      0.00   0.00%      1,621.17     0.13%     -1,621.17         450.00     0.03%      -450.00
           290.84      0.14%       222.24    0.14%         68.60           0.00     0.00%       290.84   Worker's Compensation                   2,437.62    0.11%      2,237.91     0.17%        199.71           0.00     0.00%     2,437.62
           -28.78     -0.01%         0.00    0.00%        -28.78           0.00     0.00%       -28.78   Group Insurance                          -115.12   -0.01%          0.00     0.00%       -115.12       2,096.66     0.15%    -2,211.78
          262.06      0.13%       222.24    0.14%         39.82            0.00    0.00%       262.06    Total Other Benefits                   2,322.50    0.11%      2,237.91     0.17%          84.59      2,096.66     0.15%       225.84
          536.51      0.26%       700.18    0.43%      -163.67          334.16     0.21%       202.35    Total R&M PR Taxes and Benefits        5,173.03    0.24%      7,494.08     0.59%     -2,321.05       4,069.32     0.29%     1,103.71

        4,198.58      2.05%     4,621.25    2.87%      -422.67        2,180.32     1.36%     2,018.26    Total R&M Payroll                     36,480.60    1.68%     45,753.39     3.58%     -9,272.79      21,359.32     1.52%    15,121.28

                                                                                                         Other Expenses
           319.51      0.16%       350.00    0.22%       -30.49           25.49     0.02%       294.02   Air Conditioning and Refrigeration      4,004.02    0.18%      3,500.00     0.27%       504.02        3,764.11     0.27%       239.91
         1,810.00      0.88%       300.00    0.19%     1,510.00          118.85     0.07%     1,691.15   Building                               13,832.12    0.64%      3,000.00     0.23%    10,832.12        1,005.29     0.07%    12,826.83
             0.00      0.00%        50.00    0.03%       -50.00            0.00     0.00%         0.00   Communication Expense                       0.00    0.00%        500.00     0.04%      -500.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Contract Labor                          6,244.18    0.29%      3,000.00     0.23%     3,244.18            0.00     0.00%     6,244.18
           156.80      0.08%        50.00    0.03%       106.80            0.00     0.00%       156.80   Electric Bulbs                          1,909.92    0.09%        500.00     0.04%     1,409.92          137.20     0.01%     1,772.72
             0.00      0.00%       100.00    0.06%      -100.00            0.00     0.00%         0.00   Electrical and Mechanical                 713.39    0.03%      1,000.00     0.08%      -286.61          916.08     0.07%      -202.69
           319.67      0.16%       258.33    0.16%        61.34            0.00     0.00%       319.67   Elevator Maintenance Contracts          4,299.24    0.20%      2,583.30     0.20%     1,715.94            0.00     0.00%     4,299.24
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Equipment Maintenance                   4,167.31    0.19%          0.00     0.00%     4,167.31        3,758.55     0.27%       408.76
         4,486.96      2.19%       458.33    0.28%     4,028.63        1,363.95     0.85%     3,123.01   Fire Safety Equipment                  20,619.37    0.95%      6,883.30     0.54%    13,736.07       13,429.04     0.96%     7,190.33
             0.00      0.00%        50.00    0.03%       -50.00            0.00     0.00%         0.00   Floor and Carpet Maintenance                0.00    0.00%        500.00     0.04%      -500.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Furniture                                 587.93    0.03%          0.00     0.00%       587.93            0.00     0.00%       587.93
         3,898.19      1.90%       975.00    0.60%     2,923.19          487.13     0.30%     3,411.06   Grounds and Landscaping                13,963.18    0.64%      9,750.00     0.76%     4,213.18        7,631.66     0.54%     6,331.52
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Kitchen Equipment Repairs                 328.49    0.02%          0.00     0.00%       328.49           64.95     0.00%       263.54
           225.71      0.11%       150.00    0.09%        75.71            0.00     0.00%       225.71   Laundry Equipment Repairs               2,991.25    0.14%      1,500.00     0.12%     1,491.25        1,340.12     0.10%     1,651.13
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Licenses/Permits                            0.00    0.00%          0.00     0.00%         0.00          300.00     0.02%      -300.00
             0.00      0.00%        75.00    0.05%       -75.00            0.00     0.00%         0.00   Locks and Keys                          1,503.66    0.07%        750.00     0.06%       753.66          189.44     0.01%     1,314.22
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Miscellaneous Expense                   2,246.50    0.10%          0.00     0.00%     2,246.50            0.00     0.00%     2,246.50
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Office Supplies                           989.18    0.05%          0.00     0.00%       989.18            0.00     0.00%       989.18
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Operating Supplies                      1,847.79    0.09%          0.00     0.00%     1,847.79            0.00     0.00%     1,847.79
             6.97      0.00%         0.00    0.00%         6.97           28.63     0.02%       -21.66   Painting and Decorating                   445.93    0.02%          0.00     0.00%       445.93           28.63     0.00%       417.30
           189.44      0.09%       450.00    0.28%      -260.56          608.80     0.38%      -419.36   Pest Control                            4,492.33    0.21%      4,500.00     0.35%        -7.67        3,790.19     0.27%       702.14
           566.89      0.28%       200.00    0.12%       366.89           74.17     0.05%       492.72   Plumbing and Heating                    9,887.68    0.46%      2,000.00     0.16%     7,887.68        2,396.00     0.17%     7,491.68
           676.68      0.33%         0.00    0.00%       676.68            0.00     0.00%       676.68   Pool Chemicals                          6,027.66    0.28%          0.00     0.00%     6,027.66            0.00     0.00%     6,027.66
           576.37      0.28%       450.00    0.28%       126.37          903.91     0.56%      -327.54   Pool Service- Contract                  5,657.53    0.26%      4,500.00     0.35%     1,157.53        7,549.86     0.54%    -1,892.33
           227.67      0.11%         0.00    0.00%       227.67            8.56     0.01%       219.11   Signage                                   344.38    0.02%          0.00     0.00%       344.38            8.56     0.00%       335.82
             0.00      0.00%        92.00    0.06%       -92.00            0.00     0.00%         0.00   Software Expense/Maintenance              276.00    0.01%      1,420.00     0.11%    -1,144.00            0.00     0.00%       276.00
           773.47      0.38%        50.00    0.03%       723.47            0.00     0.00%       773.47   Tools                                   4,089.46    0.19%        500.00     0.04%     3,589.46            0.00     0.00%     4,089.46
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Travel                                      0.00    0.00%        500.00     0.04%      -500.00            0.00     0.00%         0.00
             0.00      0.00%        50.00    0.03%       -50.00            0.00     0.00%         0.00   Uniforms                                  604.46    0.03%        500.00     0.04%       104.46            0.00     0.00%       604.46
           628.49      0.31%       555.00    0.34%        73.49          854.13     0.53%      -225.64   Waste Removal                           5,932.16    0.27%      5,550.00     0.43%       382.16        5,550.70     0.40%       381.46
             0.00      0.00%         0.00    0.00%         0.00            0.00     0.00%         0.00   Window Cleaning                             0.00    0.00%      1,500.00     0.12%    -1,500.00            0.00     0.00%         0.00
       14,862.82      7.25%     4,663.66    2.89%    10,199.16        4,473.62     2.78%    10,389.20    Total R&M Other Expenses             118,005.12    5.44%     54,436.60     4.26%    63,568.52       51,860.38     3.70%    66,144.74

       19,061.40      9.30%     9,284.91    5.76%     9,776.49        6,653.94     4.14%    12,407.46    Total R&M Expenses                   154,485.72    7.12%    100,189.99     7.83%    54,295.73       73,219.70     5.23%    81,266.02

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                                                                            Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
              PTD     %        PTD Budget   %         Variance   PTD Last Year   %          Variance                                          YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                       Utilities
         2,809.97      1.37%       948.75    0.59%    1,861.22       1,082.16     0.67%     1,727.81   Water                              9,387.07    0.43%     7,797.90      0.61%     1,589.17       8,158.71     0.58%     1,228.36
        11,064.41      5.40%     5,088.75    3.16%    5,975.66       4,423.25     2.75%     6,641.16   Electricity                       50,643.75    2.33%    41,825.10      3.27%     8,818.65      42,633.60     3.04%     8,010.15
           505.46      0.25%       862.50    0.54%     -357.04         485.83     0.30%        19.63   Gas - Natural HLP                  6,050.31    0.28%     7,089.00      0.55%    -1,038.69       5,445.67     0.39%       604.64
           259.83      0.13%         0.00    0.00%      259.83           0.00     0.00%       259.83   Sewer                              2,436.63    0.11%         0.00      0.00%     2,436.63           0.00     0.00%     2,436.63
       14,639.67      7.14%     6,900.00    4.28%    7,739.67       5,991.24     3.73%     8,648.43    Total Utilities                  68,517.76    3.16%    56,712.00      4.43%    11,805.76      56,237.98     4.01%    12,279.78




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                                                                     Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 488 of 756
                                                                               Company: NATX Associates LLC Property: Homewood Suites Houston Clear Lake NASA
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget    %          Variance    PTD Last Year    %           Variance                                          YTD     %        YTD Budget %               Variance    YTD Last Year    %            Variance

                                                                                                            Fixed
           500.00      0.24%         0.00     0.00%       500.00          127.58      0.08%        372.42   Personal Property Taxes              500.00     0.02%          0.00     0.00%        500.00          127.58      0.01%         372.42
        20,492.50     10.00%    20,496.00    12.72%         -3.50      20,495.50     12.75%         -3.00   Real Estate Taxes                204,933.40     9.44%    204,960.00    16.02%        -26.60      204,955.00     14.63%         -21.60
       20,992.50     10.24%    20,496.00    12.72%       496.50       20,623.08     12.83%        369.42    Total Taxes                     205,433.40     9.46%    204,960.00    16.02%        473.40      205,082.58     14.64%         350.82
             0.00      0.00%         0.00     0.00%          0.00       3,858.85      2.40%     -3,858.85   Insurance                          3,062.41     0.14%          0.00     0.00%      3,062.41       37,667.24      2.69%     -34,604.83
           142.00      0.07%         0.00     0.00%       142.00            0.00      0.00%        142.00   Insurance - Crime                    426.00     0.02%          0.00     0.00%        426.00            0.00      0.00%         426.00
           296.17      0.14%       125.00     0.08%       171.17            0.00      0.00%        296.17   Insurance - Employment            -4,128.49    -0.19%      1,250.00     0.10%     -5,378.49            0.00      0.00%      -4,128.49
           187.67      0.09%       966.00     0.60%      -778.33            0.00      0.00%        187.67   Insurance - General Liability      1,515.01     0.07%      9,660.00     0.76%     -8,144.99            0.00      0.00%       1,515.01
             0.00      0.00%     2,586.17     1.60%    -2,586.17            0.00      0.00%          0.00   Insurance - Property                   0.00     0.00%     25,861.70     2.02%    -25,861.70            0.00      0.00%           0.00
            64.89      0.03%     1,671.75     1.04%    -1,606.86            0.00      0.00%         64.89   Insurance - Umbrella                 194.67     0.01%     16,717.50     1.31%    -16,522.83            0.00      0.00%         194.67
          690.73      0.34%     5,348.92     3.32%    -4,658.19        3,858.85      2.40%     -3,168.12    Total Insurance                   1,069.60     0.05%     53,489.20     4.18%    -52,419.60       37,667.24      2.69%     -36,597.64
        31,889.00     15.56%    31,889.42    19.79%         -0.42      30,960.60     19.26%        928.40   Ground Lease Expense             315,178.00    14.52%    315,178.92    24.64%          -0.92     306,901.09     21.90%       8,276.91
       31,889.00     15.56%    31,889.42    19.79%         -0.42      30,960.60     19.26%        928.40    Total Leases & Rent             315,178.00    14.52%    315,178.92    24.64%          -0.92     306,901.09     21.90%       8,276.91
         6,648.22      3.24%     4,834.95     3.00%     1,813.27        4,016.00      2.50%      2,632.22   Management Fee - Base             68,546.47     3.16%     45,734.43     3.58%     22,812.04       35,017.00      2.50%      33,529.47
             0.00      0.00%         0.00     0.00%          0.00       3,706.05      2.31%     -3,706.05   Management Fee - Incentive             0.00     0.00%          0.00     0.00%           0.00      10,976.50      0.78%     -10,976.50
        6,648.22      3.24%     4,834.95     3.00%     1,813.27        7,722.05      4.80%     -1,073.83    Total Management Fees            68,546.47     3.16%     45,734.43     3.58%     22,812.04       45,993.50      3.28%      22,552.97
             0.00      0.00%         0.00     0.00%          0.00      13,016.76      8.10%    -13,016.76   Capital Reserve                   31,876.96     1.47%          0.00     0.00%     31,876.96      130,167.60      9.29%     -98,290.64
             0.00      0.00%         0.00     0.00%          0.00      56,458.00     35.13%    -56,458.00   (Gain)/Loss-Insurance                  0.00     0.00%          0.00     0.00%           0.00     564,580.00     40.29%    -564,580.00
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00   Owner's Expense                        0.00     0.00%          0.00     0.00%           0.00      53,837.00      3.84%     -53,837.00
        12,184.16      5.95%         0.00     0.00%    12,184.16            0.00      0.00%     12,184.16   Non Recurring Cost                46,485.77     2.14%          0.00     0.00%     46,485.77          -46.37      0.00%      46,532.14
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00   Extraordinary Expense                  0.00     0.00%          0.00     0.00%           0.00       3,312.83      0.24%      -3,312.83
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00   Prior Owner's Expense                344.24     0.02%          0.00     0.00%        344.24            0.00      0.00%         344.24
       12,184.16      5.95%          0.00    0.00%    12,184.16       69,474.76     43.23%    -57,290.60    Total Other Non-Operating        78,706.97     3.63%           0.00    0.00%     78,706.97      751,851.06     53.66%    -673,144.09




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                                                                                    Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget      %         Variance   PTD Last Year     %            Variance                                                        YTD     %          YTD Budget %                  Variance   YTD Last Year     %           Variance

                                                                                                              Statistics
           126.00                   126.00                   0.00         126.00                       0.00   # Rooms                                            126.00                   126.00                        0.00         126.00                      0.00
         3,906.00                 3,906.00                   0.00       3,906.00                       0.00   Available Rooms                                 38,304.00                38,304.00                        0.00      38,430.00                   -126.00
         3,375.00                 2,224.00               1,151.00       1,721.00                   1,654.00   Room Nights Sold                                26,579.00                16,857.00                    9,722.00      19,256.00                  7,323.00
          86.41%                   56.94%                 29.47%         44.06%                     42.35%    Occupancy %                                       69.39%                   44.01%                      25.38%         50.11%                    19.28%
            95.89                   109.76                 -13.87          92.40                       3.49   ADR                                                 99.28                    93.74                        5.54         111.06                    -11.78
            82.85                    62.50                  20.36          40.71                      42.14   RevPar                                              68.89                    41.25                       27.64          55.65                     13.24

                                                                                                              Summary V.11
                                                                                                              Revenue
       323,622.31     97.74%   244,110.00     98.49%   79,512.31      159,014.92      96.72%     164,607.39   Rooms                                        2,638,766.83    97.12%    1,580,094.00    97.84%     1,058,672.83    2,138,640.15    97.35%    500,126.68
             0.00      0.00%         0.00      0.00%        0.00            0.00       0.00%           0.00   F&B                                                  0.00     0.00%            0.00     0.00%             0.00            0.00     0.00%          0.00
         7,469.57      2.26%     3,752.00      1.51%    3,717.57        5,401.03       3.28%       2,068.54   Other Departments                               78,310.25     2.88%       34,828.50     2.16%        43,481.75       58,105.78     2.65%     20,204.47

      331,091.88    100.00%    247,862.00    100.00%   83,229.88     164,415.95     100.00%     166,675.93    Total Operating Revenue                     2,717,077.08    100.00%   1,614,922.50 100.00%       1,102,154.58    2,196,745.93 100.00%      520,331.15

                                                                                                              Departmental Expenses
        70,687.30     21.84%    63,788.39     26.13%     6,898.91      40,952.94      25.75%      29,734.36   Rooms                                         669,359.51     25.37%     540,695.17     34.22%      128,664.34      460,231.89     21.52%    209,127.62
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   F&B                                                 0.00      0.00%           0.00      0.00%            0.00            0.00      0.00%          0.00
         3,857.78     51.65%     1,596.30     42.55%     2,261.48       3,637.96      67.36%         219.82   Other Departments                              38,369.87     49.00%      14,213.56     40.81%       24,156.31       33,816.08     58.20%      4,553.79

       74,545.08     22.51%     65,384.69    26.38%     9,160.39      44,590.90      27.12%      29,954.18    Total Departmental Expenses                  707,729.38     26.05%     554,908.73     34.36%      152,820.65      494,047.97     22.49%    213,681.41

      256,546.80     77.49%    182,477.31    73.62%    74,069.49     119,825.05      72.88%     136,721.75    Total Departmental Profit                   2,009,347.70    73.95%    1,060,013.77    65.64%      949,333.93     1,702,697.96    77.51%    306,649.74

                                                                                                              Undistributed Operating Expenses
        46,145.02     13.94%    29,192.75     11.78%    16,952.27      11,809.41       7.18%      34,335.61   A&G                                           353,819.37     13.02%     272,419.06     16.87%        81,400.31     276,489.57     12.59%      77,329.80
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   IT                                                  0.00      0.00%           0.00      0.00%             0.00           0.00      0.00%           0.00
         2,771.88      0.84%    13,309.43      5.37%   -10,537.55       6,484.11       3.94%      -3,712.23   S&M                                            54,801.75      2.02%     121,294.84      7.51%       -66,493.09      86,389.23      3.93%     -31,587.48
        38,456.56     11.62%    31,202.51     12.59%     7,254.05      16,592.17      10.09%      21,864.39   Franchise Fees                                306,955.21     11.30%     212,471.20     13.16%        94,484.01     250,571.90     11.41%      56,383.31
         6,401.43      1.93%    13,716.39      5.53%    -7,314.96       8,937.93       5.44%      -2,536.50   R&M                                           139,090.71      5.12%     149,975.75      9.29%       -10,885.04      91,376.67      4.16%      47,714.04
        18,280.25      5.52%    19,337.28      7.80%    -1,057.03      17,595.83      10.70%         684.42   Utilities                                     172,609.89      6.35%     150,078.79      9.29%        22,531.10     164,199.36      7.47%       8,410.53

      112,055.14     33.84%    106,758.36    43.07%     5,296.78      61,419.45      37.36%      50,635.69    Total Undistributed Expenses                1,027,276.93    37.81%     906,239.64     56.12%      121,037.29      869,026.73     39.56%    158,250.20

      144,491.66     43.64%     75,718.95    30.55%    68,772.71      58,405.60      35.52%      86,086.06    Gross Operating Profit                    982,070.77        36.14%     153,774.13      9.52%      828,296.64      833,671.23     37.95%    148,399.54
        10,432.75      3.15%      7,435.86     3.00%     2,996.89       7,841.55       4.77%       2,591.20   Management Fees                             86,512.32         3.18%      49,963.28      3.09%       36,549.04       65,877.00      3.00%     20,635.32
      134,058.91     40.49%     68,283.09    27.55%    65,775.82      50,564.05      30.75%      83,494.86    Income Before Non-Operating Income and Expenses
                                                                                                                                                        895,558.45        32.96%     103,810.85      6.43%      791,747.60      767,794.23     34.95%    127,764.22

                                                                                                              Non-Operating Income and Expenses
         6,615.17      2.00%      5,664.00     2.29%       951.17       5,655.29       3.44%         959.88   Insurance                                      60,445.51      2.22%      56,640.00      3.51%        3,805.51       54,845.77      2.50%       5,599.74
        14,632.00      4.42%     14,632.00     5.90%         0.00      14,205.45       8.64%         426.55   Leases & Rent                                 143,741.00      5.29%     144,612.00      8.95%         -871.00      140,812.80      6.41%       2,928.20
         1,800.00      0.54%          0.00     0.00%     1,800.00      47,151.58      28.68%     -45,351.58   Other                                          22,179.30      0.82%           0.00      0.00%       22,179.30      494,317.59     22.50%    -472,138.29
       23,047.17      6.96%     20,296.00     8.19%     2,751.17      67,012.32      40.76%     -43,965.15    Total Non-Operating Income and Expenses      226,365.81      8.33%     201,252.00     12.46%       25,113.81      689,976.16     31.41%    -463,610.35

      111,011.74     33.53%     47,987.09    19.36%    63,024.65     -16,448.27     -10.00%     127,460.01    EBITDA                                        669,192.64    24.63%     -97,441.15      -6.03%     766,633.79       77,818.07      3.54%     591,374.57
             0.00      0.00%          0.00     0.00%         0.00      32,798.00      19.95%     -32,798.00   Interest                                             0.00     0.00%           0.00       0.00%           0.00      324,801.69     14.79%    -324,801.69
        15,058.93      4.55%     15,126.00     6.10%       -67.07      15,169.23       9.23%        -110.30   Taxes                                          151,203.06     5.56%     151,260.00       9.37%         -56.94      151,426.42      6.89%        -223.36
             0.00      0.00%          0.00     0.00%         0.00       2,963.00       1.80%      -2,963.00   Amortization                                         0.00     0.00%           0.00       0.00%           0.00       29,630.00      1.35%     -29,630.00
       15,058.93      4.55%     15,126.00     6.10%       -67.07      50,930.23      30.98%     -35,871.30    Interest, Taxes, Depreciation and Amortization151,203.06     5.56%     151,260.00       9.37%         -56.94      505,858.11     23.03%    -354,655.05

       95,952.81     28.98%     32,861.09    13.26%    63,091.72     -67,378.50     -40.98%     163,331.31    Net Income                                   517,989.58     19.06%    -248,701.15 -15.40%         766,690.73     -428,040.04     -19.49%   946,029.62




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                                                                                   Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget    %          Variance   PTD Last Year     %            Variance                                          YTD     %         YTD Budget %                Variance   YTD Last Year     %         Variance

                                                                                                             Statistics
           126.00                  126.00                  0.00          126.00                       0.00   # Rooms                             126.00                   126.00                      0.00         126.00                    0.00
         3,906.00                3,906.00                  0.00        3,906.00                       0.00   Available Rooms                  38,304.00                38,304.00                      0.00      38,430.00                 -126.00
         3,375.00                2,224.00              1,151.00        1,721.00                   1,654.00   Room Nights Sold                 26,579.00                16,857.00                  9,722.00      19,256.00                7,323.00
             0.86                    0.57                  0.29            0.44                       0.42   Occupancy %                           0.69                     0.44                      0.25           0.50                    0.19
            95.89                  109.76                -13.87           92.40                       3.49   ADR                                  99.28                    93.74                      5.54         111.06                  -11.78
            82.85                   62.50                 20.36           40.71                      42.14   RevPar                               68.89                    41.25                     27.64          55.65                   13.24

                                                                                                             Summary
                                                                                                             Revenue:
       323,622.31     97.74%   244,110.00   98.49%    79,512.31      159,014.92      96.72%     164,607.39   Rooms                          2,638,766.83   97.12%    1,580,094.00    97.84%   1,058,672.83   2,138,640.15    97.35%    500,126.68
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Food                                   0.00    0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Beverage                               0.00    0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Other F&B Revenue                      0.00    0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%       151.00    0.06%      -151.00           25.24       0.02%         -25.24   Telephone                            542.50    0.02%        1,510.00     0.09%        -967.50         360.24     0.02%        182.26
         7,469.57      2.26%     3,601.00    1.45%     3,868.57        5,375.79       3.27%       2,093.78   Other                             77,767.75    2.86%       33,318.50     2.06%      44,449.25      57,745.54     2.63%     20,022.21

       331,091.88   100.00%    247,862.00   100.00%   83,229.88      164,415.95     100.00%     166,675.93   Total Revenue                  2,717,077.08   100.00%   1,614,922.50   100.00%   1,102,154.58   2,196,745.93    100.00%   520,331.15



                                                                                                             Cost of Sales:
             0.00      0.00%        0.00     0.00%         0.00            0.00       0.00%           0.00   Food                                  0.00     0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%         0.00            0.00       0.00%           0.00   Beverage                              0.00     0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00     0.00%         0.00            0.00       0.00%           0.00   Other F&B                             0.00     0.00%            0.00     0.00%           0.00           0.00     0.00%          0.00
           538.13      7.20%      691.00    18.42%      -152.87          732.34      13.56%        -194.21   Telephone                         5,193.23     6.63%        6,910.00    19.84%      -1,716.77       7,274.04    12.52%     -2,080.81
         1,689.27     22.62%      755.30    20.13%       933.97        1,375.62      25.47%         313.65   Other                            14,976.54    19.12%        5,803.56    16.66%       9,172.98      11,274.54    19.40%      3,702.00

         2,227.40     29.82%     1,446.30   38.55%       781.10        2,107.96      39.03%        119.44    Total Cost of Sales              20,169.77    25.76%      12,713.56     36.50%       7,456.21      18,548.58    31.92%      1,621.19



                                                                                                             Payroll:
        35,808.07     11.06%    31,934.56   13.08%      3,873.51      21,141.69      13.30%      14,666.38   Rooms                           329,474.74    12.49%     286,437.20     18.13%      43,037.54     235,841.53    11.03%     93,633.21
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%           0.00   F&B                                   0.00     0.00%           0.00      0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%           0.00   Other                                 0.00     0.00%           0.00      0.00%           0.00           0.00     0.00%          0.00
        11,085.23      3.35%    11,061.54    4.46%         23.69      10,725.28       6.52%         359.95   A&G                             101,863.95     3.75%     107,931.51      6.68%      -6,067.56     101,097.42     4.60%        766.53
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%           0.00   IT                                    0.00     0.00%           0.00      0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%     5,613.32    2.26%     -5,613.32       3,456.02       2.10%      -3,456.02   S&M                              17,260.32     0.64%      54,771.23      3.39%     -37,510.91      49,761.64     2.27%    -32,501.32
         1,593.04      0.48%     8,687.10    3.50%     -7,094.06       3,191.34       1.94%      -1,598.30   R&M                              41,732.33     1.54%      84,926.29      5.26%     -43,193.96      34,970.16     1.59%      6,762.17
        48,486.34     14.64%    57,296.52   23.12%     -8,810.18      38,514.33      23.42%       9,972.01   Total Salaries and Wages        490,331.34    18.05%     534,066.23     33.07%     -43,734.89     421,670.75    19.20%     68,660.59

         9,006.59      2.72%    13,180.75    5.32%     -4,174.16       9,019.25       5.49%         -12.66   Total Taxes and Benefits         93,065.77     3.43%     116,359.61      7.21%     -23,293.84     111,189.79     5.06%    -18,124.02
        57,492.93     17.36%    70,477.27   28.43%    -12,984.34      47,533.58      28.91%       9,959.35   Total Labor Costs               583,397.11    21.47%     650,425.84     40.28%     -67,028.73     532,860.54    24.26%     50,536.57



                                                                                                             Direct Expenses:
        28,748.06      8.88%    26,484.30   10.85%     2,263.76       17,449.70      10.97%      11,298.36   Rooms                           278,936.98    10.57%     201,121.83     12.73%      77,815.15     188,331.61     8.81%     90,605.37
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   F&B                                   0.00     0.00%           0.00      0.00%           0.00           0.00     0.00%          0.00
         1,630.38     21.83%       150.00    4.00%     1,480.38        1,530.00      28.33%         100.38   Telephone                        18,200.10    23.24%       1,500.00      4.31%      16,700.10      15,267.50    26.28%      2,932.60
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Other                                 0.00     0.00%           0.00      0.00%           0.00           0.00     0.00%          0.00
        38,456.56     11.62%    31,202.51   12.59%     7,254.05       16,592.17      10.09%      21,864.39   Franchise Fees                  306,955.21    11.30%     212,471.20     13.16%      94,484.01     250,571.90    11.41%     56,383.31
        32,389.72      9.78%    15,678.39    6.33%    16,711.33       -2,084.89      -1.27%      34,474.61   A&G                             230,525.27     8.48%     138,860.15      8.60%      91,665.12     132,500.42     6.03%     98,024.85
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   IT                                    0.00     0.00%           0.00      0.00%           0.00           0.00     0.00%          0.00
         2,771.88      0.84%     3,708.00    1.50%      -936.12          -90.00      -0.05%       2,861.88   S&M                              33,154.33     1.22%      43,556.00      2.70%     -10,401.67      16,654.77     0.76%     16,499.56
         4,603.04      1.39%     3,659.00    1.48%       944.04        5,376.00       3.27%        -772.96   R&M                              91,057.65     3.35%      50,421.00      3.12%      40,636.65      44,140.02     2.01%     46,917.63
        18,280.25      5.52%    19,337.28    7.80%    -1,057.03       17,595.83      10.70%         684.42   Utilities                       172,609.89     6.35%     150,078.79      9.29%      22,531.10     164,199.36     7.47%      8,410.53

       126,879.89     38.32%   100,219.48   40.43%    26,660.41       56,368.81      34.28%      70,511.08   Total Direct Expense           1,131,439.43   41.64%     798,008.97     49.41%    333,430.46      811,665.58    36.95%    319,773.85

       144,491.66     43.64%    75,718.95   30.55%    68,772.71       58,405.60      35.52%      86,086.06   Gross Operating Profit          982,070.77    36.14%     153,774.13     9.52%     828,296.64      833,671.23    37.95%    148,399.54

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                                                                                 Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %         Variance   PTD Last Year     %            Variance                                         YTD    %        YTD Budget %              Variance   YTD Last Year    %           Variance




                                                                                                           Fixed Costs
        15,058.93      4.55%    15,126.00   6.10%       -67.07      15,169.23       9.23%        -110.30   Taxes                           151,203.06   5.56%    151,260.00     9.37%        -56.94     151,426.42     6.89%       -223.36
         6,615.17      2.00%     5,664.00   2.29%       951.17       5,655.29       3.44%         959.88   Insurance                        60,445.51   2.22%     56,640.00     3.51%      3,805.51      54,845.77     2.50%      5,599.74
        14,632.00      4.42%    14,632.00   5.90%         0.00      14,205.45       8.64%         426.55   Leases & Rent                   143,741.00   5.29%    144,612.00     8.95%       -871.00     140,812.80     6.41%      2,928.20
        10,432.75      3.15%     7,435.86   3.00%     2,996.89       7,841.55       4.77%       2,591.20   Management Fees                  86,512.32   3.18%     49,963.28     3.09%     36,549.04      65,877.00     3.00%     20,635.32

        46,738.85     14.12%    42,857.86   17.29%    3,880.99      42,871.52      26.08%       3,867.33   Total Fixed Expenses            441,901.89   16.26%   402,475.28     24.92%    39,426.61     412,961.99    18.80%     28,939.90

        97,752.81     29.52%    32,861.09   13.26%   64,891.72      15,534.08       9.45%      82,218.73   Net Operating Profit            540,168.88   19.88%   -248,701.15   -15.40%   788,870.03     420,709.24    19.15%    119,459.64



             0.00      0.00%         0.00   0.00%         0.00      32,798.00      19.95%     -32,798.00   Interest Expense - Other              0.00   0.00%           0.00    0.00%          0.00     324,801.69    14.79%    -324,801.69
             0.00      0.00%         0.00   0.00%         0.00           0.00       0.00%           0.00   Owner's Expense                       0.00   0.00%           0.00    0.00%          0.00      11,186.90     0.51%     -11,186.90
             0.00      0.00%         0.00   0.00%         0.00           0.00       0.00%           0.00   Extraordinary Expense                 0.00   0.00%           0.00    0.00%          0.00       8,251.40     0.38%      -8,251.40



        97,752.81     29.52%    32,861.09   13.26%   64,891.72     -17,263.92     -10.50%     115,016.73   Net Operating Income            540,168.88   19.88%   -248,701.15   -15.40%   788,870.03      76,469.25     3.48%    463,699.63

         1,800.00      0.54%         0.00   0.00%     1,800.00       8,328.58       5.07%      -6,528.58   Capital Reserve                  22,179.30   0.82%           0.00    0.00%     22,179.30      83,285.22     3.79%     -61,105.92
             0.00      0.00%         0.00   0.00%         0.00      38,823.00      23.61%     -38,823.00   (Gain)/Loss-Insurance                 0.00   0.00%           0.00    0.00%          0.00     391,594.07    17.83%    -391,594.07

        95,952.81     28.98%    32,861.09   13.26%   63,091.72     -64,415.50     -39.18%     160,368.31   Adjusted NOI                    517,989.58   19.06%   -248,701.15   -15.40%   766,690.73    -398,410.04    -18.14%   916,399.62



             0.00      0.00%         0.00   0.00%         0.00       2,963.00       1.80%      -2,963.00   Amortization                          0.00   0.00%           0.00    0.00%          0.00      29,630.00     1.35%     -29,630.00



        95,952.81     28.98%    32,861.09   13.26%   63,091.72     -67,378.50     -40.98%     163,331.31   Net Profit/(Loss)               517,989.58   19.06%   -248,701.15   -15.40%   766,690.73    -428,040.04    -19.49%   946,029.62




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                                                                                     Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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                                                                                                                  As of 10/31/2021
              PTD     %        PTD Budget      %          Variance   PTD Last Year     %            Variance                                            YTD     %          YTD Budget %                 Variance   YTD Last Year    %           Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
             0.00      0.00%    41,529.00     17.01%   -41,529.00       35,334.48      22.22%     -35,334.48   Corporate Transient                 69,321.10     2.63%     327,049.00     20.70%     -257,727.90     514,592.20    24.06%    -445,271.10
             0.00      0.00%         0.00      0.00%         0.00            0.00       0.00%           0.00   Advanced Purchase                   -2,282.64    -0.09%           0.00      0.00%       -2,282.64           0.00     0.00%      -2,282.64
       273,046.01     84.37%    27,502.00     11.27%   245,544.01            0.00       0.00%     273,046.01   AAA/AARP Transient               2,138,432.65    81.04%     213,348.00     13.50%    1,925,084.65           0.00     0.00%   2,138,432.65
             0.00      0.00%         0.00      0.00%         0.00            0.00       0.00%           0.00   Consortia Transient                 43,708.92     1.66%           0.00      0.00%       43,708.92           0.00     0.00%      43,708.92
             0.00      0.00%         0.00      0.00%         0.00            0.00       0.00%           0.00   Leisure Transient                    9,494.92     0.36%           0.00      0.00%        9,494.92           0.00     0.00%       9,494.92
             0.00      0.00%     9,638.00      3.95%    -9,638.00            0.00       0.00%           0.00   Travel Agent/Friends & Family            0.00     0.00%      85,878.00      5.43%      -85,878.00           0.00     0.00%           0.00
             0.00      0.00%     1,925.00      0.79%    -1,925.00            0.00       0.00%           0.00   Member Reward Stay                       0.00     0.00%      18,075.00      1.14%      -18,075.00           0.00     0.00%           0.00
             0.00      0.00%         0.00      0.00%         0.00       72,122.32      45.36%     -72,122.32   Extended Stay Transient                  0.00     0.00%           0.00      0.00%            0.00     575,032.47    26.89%    -575,032.47
             0.00      0.00%         0.00      0.00%         0.00            0.00       0.00%           0.00   Internet/E-Commerce                    364.10     0.01%      84,792.00      5.37%      -84,427.90           0.00     0.00%         364.10
             0.00      0.00%    41,854.00     17.15%   -41,854.00            0.00       0.00%           0.00   E-Commerce Opaque                        0.00     0.00%     291,861.00     18.47%     -291,861.00           0.00     0.00%           0.00
             0.00      0.00%         0.00      0.00%         0.00            0.00       0.00%           0.00   Other Transient                        -66.58     0.00%           0.00      0.00%          -66.58           0.00     0.00%         -66.58
           114.49      0.04%     5,436.00      2.23%    -5,321.51            0.00       0.00%         114.49   Government Transient                   402.49     0.02%      30,318.00      1.92%      -29,915.51           0.00     0.00%         402.49
        48,383.15     14.95%    48,660.00     19.93%      -276.85       48,744.33      30.65%        -361.18   Rack Transient                     325,675.06    12.34%     235,349.00     14.89%       90,326.06     641,082.69    29.98%    -315,407.63
             0.00      0.00%     7,616.00      3.12%    -7,616.00          218.00       0.14%        -218.00   Local Negotiated Transient           5,198.88     0.20%      65,668.00      4.16%      -60,469.12      22,918.45     1.07%     -17,719.57

      321,543.65     99.36%    184,160.00    75.44%    137,383.65     156,419.13      98.37%     165,124.52    Total Transient Room Revenue    2,590,248.90    98.16%    1,352,338.00   85.59%     1,237,910.90    1,753,625.81    82.00%   836,623.09

                                                                                                               Group Room Revenue
             0.00      0.00%    32,700.00     13.40%    -32,700.00       2,054.00       1.29%      -2,054.00   Corporate Group                         0.00      0.00%     103,965.00     6.58%     -103,965.00      150,478.00     7.04%   -150,478.00
             0.00      0.00%         0.00      0.00%          0.00         492.40       0.31%        -492.40   Government Group                        0.00      0.00%           0.00     0.00%            0.00      102,292.57     4.78%   -102,292.57
             0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%           0.00   SMERF Group                        31,720.00      1.20%           0.00     0.00%       31,720.00            0.00     0.00%     31,720.00
             0.00      0.00%    27,250.00     11.16%    -27,250.00           0.00       0.00%           0.00   Sports Group                            0.00      0.00%     123,791.00     7.83%     -123,791.00            0.00     0.00%          0.00
             0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%           0.00   Other Group                         4,141.20      0.16%           0.00     0.00%        4,141.20      125,270.00     5.86%   -121,128.80

             0.00     0.00%     59,950.00    24.56%    -59,950.00       2,546.40       1.60%      -2,546.40    Total Group Room Revenue          35,861.20      1.36%     227,756.00    14.41%     -191,894.80      378,040.57     17.68%   -342,179.37

                                                                                                               Contract Room Revenue

             0.00     0.00%          0.00     0.00%          0.00            0.00      0.00%           0.00    Total Contract Room Revenue             0.00     0.00%            0.00     0.00%            0.00            0.00    0.00%           0.00

                                                                                                               Other Room Revenue
         1,784.54      0.55%          0.00     0.00%     1,784.54          535.34       0.34%       1,249.20   No-Show Rooms                      12,500.30      0.47%           0.00     0.00%       12,500.30       11,330.07     0.53%       1,170.23
             0.00      0.00%          0.00     0.00%         0.00            0.00       0.00%           0.00   Pet/Smoking/Damage Fees                69.92      0.00%           0.00     0.00%           69.92            0.00     0.00%          69.92

        1,784.54      0.55%          0.00     0.00%      1,784.54         535.34       0.34%       1,249.20    Total Other Room Revenue          12,570.22      0.48%            0.00     0.00%      12,570.22       11,330.07     0.53%       1,240.15

           294.12      0.09%          0.00     0.00%       294.12         -485.95      -0.31%        780.07    Less: Allowances                       86.51      0.00%           0.00     0.00%           86.51       -4,356.30    -0.20%       4,442.81

      323,622.31    100.00%    244,110.00    100.00%    79,512.31     159,014.92     100.00%     164,607.39    Total Room Revenue              2,638,766.83    100.00%   1,580,094.00 100.00%      1,058,672.83    2,138,640.15 100.00%     500,126.68

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00      0.00%          0.00     0.00%          0.00           0.00       0.00%           0.00   Front Office Management             1,685.29      0.06%           0.00      0.00%        1,685.29           0.00     0.00%      1,685.29
             0.00      0.00%          0.00     0.00%          0.00         452.08       0.28%        -452.08   Revenue Management                      0.00      0.00%           0.00      0.00%            0.00       6,508.42     0.30%     -6,508.42
         4,343.41      1.34%      3,677.69     1.51%        665.72       3,956.14       2.49%         387.27   Housekeeping Management            37,502.55      1.42%      35,956.40      2.28%        1,546.15      30,149.99     1.41%      7,352.56
        4,343.41      1.34%      3,677.69     1.51%        665.72       4,408.22       2.77%          -64.81   Total Rooms Management            39,187.84      1.49%      35,956.40      2.28%        3,231.44      36,658.41     1.71%      2,529.43
         7,789.55      2.41%      5,845.71     2.39%      1,943.84       3,011.38       1.89%       4,778.17   Front Office Agents               101,703.37      3.85%      57,325.68      3.63%       44,377.69      36,711.78     1.72%     64,991.59
             0.00      0.00%          0.00     0.00%          0.00           0.00       0.00%           0.00   Front Office Supervisors                0.00      0.00%           0.00      0.00%            0.00       5,161.46     0.24%     -5,161.46
             0.00      0.00%      5,022.00     2.06%     -5,022.00       3,247.69       2.04%      -3,247.69   Night Auditors                          0.00      0.00%      49,248.00      3.12%      -49,248.00      33,943.40     1.59%    -33,943.40
             0.00      0.00%      2,259.90     0.93%     -2,259.90           0.00       0.00%           0.00   Breakfast Attendant                     0.00      0.00%      15,600.60      0.99%      -15,600.60      14,113.26     0.66%    -14,113.26
        7,789.55      2.41%     13,127.61     5.38%     -5,338.06       6,259.07       3.94%       1,530.48    Total Rooms Front Office         101,703.37      3.85%     122,174.28      7.73%      -20,470.91      89,929.90     4.21%     11,773.47
             0.00      0.00%        956.57     0.39%       -956.57         919.47       0.58%        -919.47   Housekeeping Supervisors                0.00      0.00%       9,380.55      0.59%       -9,380.55      11,240.86     0.53%    -11,240.86
        23,675.11      7.32%      9,007.20     3.69%     14,667.91       3,619.74       2.28%      20,055.37   Room Attendants                   188,583.53      7.15%      68,270.85      4.32%      120,312.68      60,007.49     2.81%    128,576.04
             0.00      0.00%      3,013.20     1.23%     -3,013.20       3,606.05       2.27%      -3,606.05   Housepersons                            0.00      0.00%      29,548.80      1.87%      -29,548.80      26,372.56     1.23%    -26,372.56
             0.00      0.00%      2,152.29     0.88%     -2,152.29       2,329.14       1.46%      -2,329.14   Laundry Attendants                      0.00      0.00%      21,106.32      1.34%      -21,106.32      11,632.31     0.54%    -11,632.31
       23,675.11      7.32%     15,129.26     6.20%      8,545.85      10,474.40       6.59%      13,200.71    Total Rooms Housekeeping         188,583.53      7.15%     128,306.52      8.12%       60,277.01     109,253.22     5.11%     79,330.31
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                                                                    Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 493 of 756
                                                                                   Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget     %         Variance   PTD Last Year     %            Variance                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %           Variance


       35,808.07     11.06%     31,934.56    13.08%    3,873.51      21,141.69      13.30%      14,666.38    Total Rooms Salary and Wages           329,474.74    12.49%    286,437.20    18.13%      43,037.54     235,841.53     11.03%     93,633.21

                                                                                                             PR Taxes and Benefits
         2,596.88      0.80%      2,454.35    1.01%      142.53        1,695.41       1.07%         901.47   FICA                                     28,156.60    1.07%      22,077.34      1.40%      6,079.26      19,245.22      0.90%      8,911.38
            73.32      0.02%         13.47    0.01%       59.85            0.00       0.00%          73.32   Federal Unemployment Tax                  1,139.27    0.04%         440.27      0.03%        699.00           0.00      0.00%      1,139.27
           244.39      0.08%         64.17    0.03%      180.22            0.00       0.00%         244.39   State Unemployment Tax                    3,835.45    0.15%       2,681.28      0.17%      1,154.17           0.00      0.00%      3,835.45
        2,914.59      0.90%      2,531.99    1.04%      382.60        1,695.41       1.07%       1,219.18    Total Payroll Taxes                     33,131.32    1.26%      25,198.89      1.59%      7,932.43      19,245.22      0.90%     13,886.10
             0.00      0.00%          0.00    0.00%        0.00            0.00       0.00%           0.00   Holiday                                   2,109.20    0.08%         600.00      0.04%      1,509.20       3,083.76      0.14%       -974.56
             0.00      0.00%        144.23    0.06%     -144.23        1,299.96       0.82%      -1,299.96   Vacation                                      0.00    0.00%       1,523.07      0.10%     -1,523.07      13,911.55      0.65%    -13,911.55
           108.00      0.03%          0.00    0.00%      108.00            0.00       0.00%         108.00   Sick Pay                                  1,784.00    0.07%           0.00      0.00%      1,784.00           0.00      0.00%      1,784.00
          108.00      0.03%        144.23    0.06%       -36.23       1,299.96       0.82%      -1,191.96    Total Supplemental Pay                   3,893.20    0.15%       2,123.07      0.13%      1,770.13      16,995.31      0.79%    -13,102.11
         2,512.25      0.78%      1,651.71    0.68%      860.54            0.00       0.00%       2,512.25   Worker's Compensation                    19,837.64    0.75%      15,745.38      1.00%      4,092.26           0.00      0.00%     19,837.64
           596.33      0.18%      1,041.60    0.43%     -445.27         -633.82      -0.40%       1,230.15   Group Insurance                           3,368.77    0.13%      10,068.80      0.64%     -6,700.03        -181.78     -0.01%      3,550.55
             0.00      0.00%          0.00    0.00%        0.00            0.00       0.00%           0.00   Bonus and Incentive Pay                     716.86    0.03%           0.00      0.00%        716.86           0.00      0.00%        716.86
        3,108.58      0.96%      2,693.31    1.10%      415.27         -633.82      -0.40%       3,742.40    Total Other Benefits                    23,923.27    0.91%      25,814.18      1.63%     -1,890.91        -181.78     -0.01%     24,105.05

        6,131.17      1.89%      5,369.53    2.20%      761.64        2,361.55       1.49%       3,769.62    Total Rooms PR Taxes and Benefits       60,947.79    2.31%      53,136.14      3.36%      7,811.65      36,058.75     1.69%      24,889.04

       41,939.24     12.96%     37,304.09    15.28%    4,635.15      23,503.24      14.78%      18,436.00    Total Rooms Labor Costs                390,422.53    14.80%    339,573.34    21.49%      50,849.19     271,900.28     12.71%    118,522.25

                                                                                                             Other Expenses
         7,459.75      2.31%     7,339.20     3.01%       120.55       1,336.37       0.84%      6,123.38    Breakfast /Comp Cost                     79,383.60    3.01%      47,708.10     3.02%     31,675.50       41,067.80     1.92%      38,315.80
           331.41      0.10%     1,445.60     0.59%    -1,114.19          99.89       0.06%        231.52    Cleaning Supplies                        13,541.12    0.51%      10,957.05     0.69%      2,584.07        8,672.81     0.41%       4,868.31
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%          0.00    Contract Cleaning                         2,465.00    0.09%           0.00     0.00%      2,465.00            0.00     0.00%       2,465.00
             0.00      0.00%         0.00     0.00%         0.00       5,864.19       3.69%     -5,864.19    Contract Labor                                0.00    0.00%           0.00     0.00%          0.00       18,952.04     0.89%     -18,952.04
             0.00      0.00%        55.00     0.02%       -55.00           0.00       0.00%          0.00    Dues and Subscriptions                       55.39    0.00%         550.00     0.03%       -494.61            0.00     0.00%          55.39
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%          0.00    Equipment Rental                          1,058.81    0.04%           0.00     0.00%      1,058.81            0.00     0.00%       1,058.81
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%          0.00    Glassware                                   617.25    0.02%           0.00     0.00%        617.25            0.00     0.00%         617.25
           222.56      0.07%     2,780.00     1.14%    -2,557.44         932.35       0.59%       -709.79    Guest Supplies                           20,613.43    0.78%      21,071.25     1.33%       -457.82       14,450.44     0.68%       6,162.99
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%          0.00    In-House Entertainment                       55.39    0.00%           0.00     0.00%         55.39            0.00     0.00%          55.39
         1,778.70      0.55%         0.00     0.00%     1,778.70         441.00       0.28%      1,337.70    Internet/Web Expense                      6,099.00    0.23%           0.00     0.00%      6,099.00        4,312.52     0.20%       1,786.48
             0.00      0.00%       556.00     0.23%      -556.00         626.13       0.39%       -626.13    Laundry                                   7,954.56    0.30%       4,214.25     0.27%      3,740.31        1,254.98     0.06%       6,699.58
           956.33      0.30%     1,223.20     0.50%      -266.87           0.00       0.00%        956.33    Linen                                    14,815.01    0.56%       9,271.35     0.59%      5,543.66        6,189.39     0.29%       8,625.62
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%          0.00    Newspaper                                     0.00    0.00%           0.00     0.00%          0.00          621.67     0.03%        -621.67
             0.00      0.00%       200.00     0.08%      -200.00         448.19       0.28%       -448.19    Operating Supplies                        1,358.72    0.05%       2,000.00     0.13%       -641.28        3,116.14     0.15%      -1,757.42
             0.00      0.00%       100.00     0.04%      -100.00           0.00       0.00%          0.00    Printing and Stationery                     452.50    0.02%       1,000.00     0.06%       -547.50            0.00     0.00%         452.50
             0.00      0.00%         0.00     0.00%         0.00         927.14       0.58%       -927.14    Reservation Expense                           0.00    0.00%           0.00     0.00%          0.00        9,370.42     0.44%      -9,370.42
             0.00      0.00%       175.00     0.07%      -175.00           0.00       0.00%          0.00    Rooms Promotion                               0.00    0.00%       1,750.00     0.11%     -1,750.00        1,458.99     0.07%      -1,458.99
           131.09      0.04%         0.00     0.00%       131.09           0.00       0.00%        131.09    Software Expense/Maintenance              1,460.90    0.06%           0.00     0.00%      1,460.90            0.00     0.00%       1,460.90
             0.00      0.00%     1,250.00     0.51%    -1,250.00       1,249.28       0.79%     -1,249.28    Television Cable                         12,905.27    0.49%      12,500.00     0.79%        405.27       12,804.25     0.60%         101.02
             0.00      0.00%     1,199.00     0.49%    -1,199.00           0.00       0.00%          0.00    Travel Agent Comm - Group Rooms          11,872.93    0.45%       4,555.12     0.29%      7,317.81            0.00     0.00%      11,872.93
        17,868.22      5.52%     9,961.30     4.08%     7,906.92       5,030.70       3.16%     12,837.52    Travel Agent Comm - Transient Rooms     103,469.12    3.92%      83,544.71     5.29%     19,924.41       63,508.77     2.97%      39,960.35
             0.00      0.00%       200.00     0.08%      -200.00         494.46       0.31%       -494.46    Uniforms                                    758.98    0.03%       2,000.00     0.13%     -1,241.02        1,577.96     0.07%        -818.98
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%          0.00    Walked Guests                                 0.00    0.00%           0.00     0.00%          0.00          973.43     0.05%        -973.43

       28,748.06      8.88%     26,484.30    10.85%    2,263.76      17,449.70      10.97%      11,298.36    Total Rooms Other Expenses             278,936.98    10.57%    201,121.83    12.73%      77,815.15     188,331.61     8.81%      90,605.37

       70,687.30     21.84%     63,788.39    26.13%    6,898.91      40,952.94      25.75%      29,734.36    Total Rooms Expenses                   669,359.51    25.37%    540,695.17    34.22%     128,664.34     460,231.89     21.52%    209,127.62

      252,935.01     78.16%    180,321.61    73.87%   72,613.40     118,061.98      74.25%     134,873.03    Total Rooms Profit (Loss)             1,969,407.32   74.63%   1,039,398.83   65.78%     930,008.49    1,678,408.26    78.48%    290,999.06




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                                                                        Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                P&L - Dual Summary Pages
                                                                                                     As of 10/31/2021
              PTD     %    PTD Budget   %    Variance   PTD Last Year     %            Variance                                                     YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                                  Room Sale Stats
                                                                                                  Tranisent Rooms
           535.00              381.00          154.00         323.00                     212.00   Room Stat - Corporate Transient               3,017.00         3,320.00        -303.00       4,212.00        -1,195.00
         2,839.00              238.00        2,601.00           0.00                   2,839.00   Room Stat - AAA/AARP Transient               21,784.00         2,210.00      19,574.00           0.00        21,784.00
             0.00                0.00            0.00           0.00                       0.00   Room Stat - Consortia Rate Transient            846.00             0.00         846.00           0.00           846.00
             0.00                0.00            0.00           0.00                       0.00   Room Stat - Leisure Transient                    54.00             0.00          54.00           0.00            54.00
             0.00              122.00         -122.00           0.00                       0.00   Room Stat - Travel Agent/Friends & Family         0.00         1,142.00      -1,142.00           0.00             0.00
             0.00               77.00          -77.00           0.00                       0.00   Room Stat - Member Reward Stay                    0.00           723.00        -723.00           0.00             0.00
             0.00                0.00            0.00         882.00                    -882.00   Room Stat - Extended Stay Transient               0.00             0.00           0.00       6,035.00        -6,035.00
             0.00                0.00            0.00           0.00                       0.00   Room Stat - Internet                              0.00           789.00        -789.00           0.00             0.00
             0.00              366.00         -366.00           0.00                       0.00   Room Stat - E-Commerce Opaque                     2.00         3,249.00      -3,247.00           0.00             2.00
             1.00               36.00          -35.00           4.00                      -3.00   Room Stat - Government Rate Transient             4.00           271.00        -267.00         713.00          -709.00
             0.00              390.00         -390.00         484.00                    -484.00   Room Stat - Rack Rate Transient                 559.00         2,041.00      -1,482.00       5,239.00        -4,680.00
             0.00               64.00          -64.00           2.00                      -2.00   Room Stat - Local Negotiated Transient            0.00           708.00        -708.00         289.00          -289.00
        3,375.00            1,674.00        1,701.00       1,695.00                   1,680.00    Total Transient Rooms Sold                  26,266.00        14,453.00      11,813.00      16,488.00         9,778.00

                                                                                                  Group Rooms
             0.00              300.00         -300.00          26.00                     -26.00   Room Stat - Corporate Group Rooms                 0.00         1,095.00      -1,095.00       1,028.00        -1,028.00
             0.00                0.00            0.00           0.00                       0.00   Room Stat - SMERF Group                         255.00             0.00         255.00           0.00           255.00
             0.00              250.00         -250.00           0.00                       0.00   Room Stat - Sports Group                         10.00         1,309.00      -1,299.00           0.00            10.00
             0.00                0.00            0.00           0.00                       0.00   Room Stat - Other Group                          48.00             0.00          48.00           0.00            48.00
             0.00             550.00         -550.00           26.00                    -26.00    Total Group Rooms Sold                         313.00         2,404.00      -2,091.00       1,028.00          -715.00

                                                                                                  Contract Rooms
             0.00               0.00            0.00            0.00                      0.00    Room Stat - Other Contract                       0.00             0.00           0.00        1,740.00         -1,740.00
             0.00               0.00            0.00            0.00                      0.00    Total Contract Rooms Sold                        0.00             0.00           0.00       1,740.00         -1,740.00

        3,375.00            2,224.00        1,151.00       1,721.00                   1,654.00    Total Rooms Sold                            26,579.00        16,857.00       9,722.00      19,256.00         7,323.00
             0.00               0.00             0.00           7.00                      -7.00   Room Stat-Comp Rooms                             92.00            0.00           92.00          52.00            40.00
        3,375.00            2,224.00        1,151.00       1,728.00                   1,647.00    Total Rooms Occupied                        26,671.00        16,857.00       9,814.00      19,308.00         7,363.00
           386.00               0.00           386.00       1,317.00                    -931.00   Room Stat-Out of Order                        7,571.00            0.00        7,571.00      10,300.00        -2,729.00

                                                                                                  ADR
             0.00              109.00        -109.00          109.39                   -109.39    Corporate Transient ADR                         22.98            98.51         -75.53          122.17           -99.20
             0.00                0.00            0.00           0.00                      0.00    Advanced Purchase ADR                            0.00             0.00           0.00            0.00             0.00
            96.18              115.55          -19.38           0.00                     96.18    AAA/AARP ADR                                    98.17            96.54           1.63            0.00            98.17
             0.00                0.00            0.00           0.00                      0.00    FIT ADR                                          0.00             0.00           0.00            0.00             0.00
             0.00                0.00            0.00           0.00                      0.00    Consortia ADR                                   51.67             0.00          51.67            0.00            51.67
             0.00                0.00            0.00           0.00                      0.00    Employee ADR                                     0.00             0.00           0.00            0.00             0.00
             0.00                0.00            0.00           0.00                      0.00    Leisure ADR                                    175.83             0.00         175.83            0.00           175.83
             0.00               79.00          -79.00           0.00                      0.00    Travel Agent/Friends & Family ADR                0.00            75.20         -75.20            0.00             0.00
             0.00                0.00            0.00           0.00                      0.00    Leisure Package ADR                              0.00             0.00           0.00            0.00             0.00
             0.00               25.00          -25.00           0.00                      0.00    Member Reward Stay ADR                           0.00            25.00         -25.00            0.00             0.00
             0.00                0.00            0.00           0.00                      0.00    Golf Pkg ADR                                     0.00             0.00           0.00            0.00             0.00
             0.00                0.00            0.00          81.77                    -81.77    Extended Stay ADR                                0.00             0.00           0.00           95.28           -95.28
             0.00                0.00            0.00           0.00                      0.00    Internet ADR                                     0.00           107.47        -107.47            0.00             0.00
             0.00              114.36        -114.36            0.00                      0.00    E-Commerce Opaque ADR                            0.00            89.83         -89.83            0.00             0.00
             0.00                0.00            0.00           0.00                      0.00    Other Transient ADR                              0.00             0.00           0.00            0.00             0.00
             0.00                0.00            0.00           0.00                      0.00    Airline Distressed Passenger ADR                 0.00             0.00           0.00            0.00             0.00
           114.49              151.00          -36.51           0.00                    114.49    Government ADR                                 100.62           111.87         -11.25            0.00           100.62
             0.00              124.77        -124.77          100.71                   -100.71    Rack ADR                                       582.60           115.31         467.29          122.37           460.24
             0.00              119.00        -119.00          109.00                   -109.00    Local Negotiated ADR                             0.00            92.75         -92.75           79.30           -79.30
            95.27             110.01          -14.74           92.28                      2.99    Total Transient ADR                             98.62            93.57           5.05         106.36             -7.74

             0.00             109.00         -109.00           79.00                    -79.00    Corporate Group ADR                              0.00             94.95        -94.95          146.38          -146.38
             0.00               0.00            0.00            0.00                      0.00    Leisure Group ADR                                0.00              0.00          0.00            0.00             0.00
             0.00               0.00            0.00            0.00                      0.00    Government Group ADR                             0.00              0.00          0.00            0.00             0.00
             0.00               0.00            0.00            0.00                      0.00    Tour & Travel Group ADR                          0.00              0.00          0.00            0.00             0.00
             0.00               0.00            0.00            0.00                      0.00    Association Group ADR                            0.00              0.00          0.00            0.00             0.00
             0.00               0.00            0.00            0.00                      0.00    City Wide Group ADR                              0.00              0.00          0.00            0.00             0.00
             0.00               0.00            0.00            0.00                      0.00    SMERF Group ADR                                124.39              0.00        124.39            0.00           124.39
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                                                                       Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                         YTD   %       YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00              109.00        -109.00           0.00                      0.00    Sports Group ADR                     0.00               94.57       -94.57           0.00            0.00
             0.00                0.00           0.00           0.00                      0.00    Other Group ADR                     86.28                0.00        86.28           0.00           86.28
             0.00             109.00        -109.00           97.94                    -97.94    Total Group ADR                    114.57               94.74       19.83          367.74         -253.17

             0.00               0.00           0.00            0.00                      0.00    Airline Crew ADR                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Other Contract ADR                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Contract ADR                   0.00                0.00         0.00            0.00           0.00

           95.89              109.76         -13.87           92.40                      3.49    Total ADR                           99.28               93.74         5.54         111.06          -11.78




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                                                                                Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          F&B Summary
                                                                                                          Revenue
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Food Revenue                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Food Revenue       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Beverage Revenue                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Beverage Revenue   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Outlet Other Revenue                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Banquet and Catering Other Revenue      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Food Purchases                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Beverage Purchases                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Cedit Employee Meals                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Credit House Charges                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Credit In-House Promotions              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Audio Visual Cost of Sales              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Other Cost of Sales                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Cost of Sales                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    F&B Gross Profit                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll
                                                                                                          Salaries and Wages
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Management                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Non-Management                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Salaries and Wages            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Payroll Taxes                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Supplemental Pay                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Other Benefits                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B PR Taxes and Benefits         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Payroll                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Audio Visual Supplies                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Banquet Expense                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Bar Expense/Promos                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Bar Supplies                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    China                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Cleaning Supplies                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Communication Expense                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Contract Cleaning                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Contract Labor                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Decorations & Plants                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Dues and Subscriptions                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Equipment Rental                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Food and Beverage Advertising           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Glassware                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Guest Loss/Damage                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Guest Supplies                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    In-House Entertainment                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Kitchen/Cooking Fuel                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Kitchen Equipment                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Laundry - Outside Expense               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Laundry Allocation                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Licenses/Permits                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Linen                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%         0.00   0.00%       0.00            0.00       0.00%          0.00    Linen Rental                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                         YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Maintenance Contracts                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Meals and Entertainment              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Menus                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Miscellaneous Expense                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Music and Entertainment              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Equipment                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Office Supplies                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Operating Supplies                   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Paper/Plastic Supplies               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Printing and Stationery              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Silverware                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Software Expense/Maintenance         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Television Cable                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Training                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Travel                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Uniforms                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Utensils                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Other Expenses             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Expenses                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total F&B Profit (Loss)              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                       Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                         YTD   %       YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                                 F&B Stats
                                                                                                 Restaurant 1
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 1 Covers            0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 1 Avg Check               0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 2
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 2 Covers            0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 2 Avg Check               0.00                0.00         0.00            0.00           0.00

                                                                                                 Room Service
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Room Service Covers            0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Room Service Avg Check               0.00                0.00         0.00            0.00           0.00

                                                                                                 Banquets
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Banquets Covers                0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Banquets Avg Check                   0.00                0.00         0.00            0.00           0.00

                                                                                                 Catering
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Catering Covers                0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Catering Avg Check                   0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 3
             0.00                0.00          0.00            0.00                      0.00    Breakfast Avg Check                  0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Lunch Avg Check                      0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Dinner Avg Check                     0.00                 0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                      0.00    Brunch Avg Check                     0.00                 0.00        0.00            0.00           0.00
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              PTD     %    PTD Budget   %   Variance   PTD Last Year     %            Variance                                         YTD   %       YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 3 Covers            0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 3 Avg Check               0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 4
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 4 Covers            0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 4 Avg Check               0.00                0.00         0.00            0.00           0.00

                                                                                                 Restaurant 5
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Restaurant 5 Covers            0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Restaurant 5 Avg Check               0.00                0.00         0.00            0.00           0.00

                                                                                                 Bar 1
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Bar 1 Covers                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Bar 1 Avg Check                      0.00                0.00         0.00            0.00           0.00

                                                                                                 Bar 2
             0.00               0.00           0.00            0.00                      0.00    Breakfast Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Lunch Avg Check                      0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Dinner Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Brunch Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Late Night Avg Check                 0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Breaks Avg Check                     0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Reception Avg Check                  0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Total Bar 2 Covers                   0.00                0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                      0.00    Bar 2 Avg Check                      0.00                0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                      0.00    Total Covers                         0.00                0.00         0.00            0.00           0.00




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                                                                              Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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                                                                                                           As of 10/31/2021
              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Cost of Sales           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Management              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Non-Management          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Food Admin Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                               Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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                                                                                                            As of 10/31/2021
              PTD     %        PTD Budget   %       Variance   PTD Last Year     %            Variance                                         YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Beverage Admin
             0.00      0.00%         0.00   0.00%      0.00            0.00       0.00%          0.00    Less Adjustments                      0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Revenue          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Cost of Sales    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Other Expenses

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Other Expenses   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Total Beverage Admin Expenses         0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00      0.00%           0.00    Departmental Costs                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Room Service
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                         YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Banquets
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Food Revenue                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Food Revenue          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Banquets Beverage Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Beverage Revenue      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Revenue         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Revenue               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Cost of Sales         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Management            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Non-Management        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                      0.00    Total Banquets Salaries and Wages    0.00                 0.00                  0.00            0.00                0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00                   0.00                0.00            0.00                      0.00    Total Banquet Benefits               0.00                 0.00                  0.00            0.00                0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Payroll               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Other Expenses        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Expenses              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Banquets Profit (Loss)         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Catering
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Catering Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Catering Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 3
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 4
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Restaurant 5
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                         YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 1
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Food Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Food Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 1 Beverage Revenue               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Beverage Revenue         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Cost of Sales            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Non-Management           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Salaries and Wages       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 PR Taxes and Benefits    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Payroll                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Other Expenses           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Expenses                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 1 Profit (Loss)            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year     %            Variance                                         YTD   %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Bar 2
                                                                                                          Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Food Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Food Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Bar 2 Beverage Revenue               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00       0.00%          0.00    Less: Adjustments                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Beverage Revenue         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Cost of Sales            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Gross Profit                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Expenses
                                                                                                          Payroll Expenses
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Non-Management           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Salaries and Wages       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Payroll Taxes                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Supplemental Pay               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Other Benefits                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 PR Taxes and Benefits    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Payroll                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Other Expenses           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Expenses                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00      0.00%           0.00    Total Bar 2 Profit (Loss)            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget     %         Variance   PTD Last Year     %            Variance                                           YTD      %        YTD Budget %               Variance   YTD Last Year     %         Variance

                                                                                                             Telephone
             0.00      0.00%       34.00     22.52%       -34.00          25.24     100.00%        -25.24    Local and Long Distance Revenue       556.91    102.66%       340.00     22.52%       216.91          360.24    100.00%      196.67
             0.00      0.00%      117.00     77.48%      -117.00           0.00       0.00%          0.00    Other Telephone Revenue                 0.00      0.00%     1,170.00     77.48%    -1,170.00            0.00      0.00%        0.00

             0.00     0.00%       151.00    100.00%     -151.00           25.24    100.00%         -25.24    Telephone Revenue                    556.91    102.66%     1,510.00 100.00%         -953.09          360.24 100.00%         196.67
             0.00      0.00%        0.00       0.00%       0.00            0.00       0.00%          0.00    Adjustments Long Distance             -14.41     -2.66%        0.00    0.00%          -14.41           0.00    0.00%         -14.41
             0.00      0.00%        0.00       0.00%       0.00            0.00       0.00%          0.00    Less: Adjustments                     -14.41     -2.66%        0.00    0.00%          -14.41           0.00    0.00%         -14.41
             0.00     0.00%       151.00    100.00%     -151.00           25.24    100.00%         -25.24    Total Telephone Revenue              542.50    100.00%     1,510.00 100.00%         -967.50          360.24 100.00%         182.26

                                                                                                             Cost of Sales
             0.00      0.00%       150.00     99.34%     -150.00           0.00     0.00%             0.00   Cost of Sales - Local Calls             0.00      0.00%     1,500.00  99.34%        -1,500.00           0.66     0.18%         -0.66
           538.13      0.00%       541.00    358.28%       -2.87         732.34 2,901.51%          -194.21   Cost of Sales - Long Distance       5,193.23    957.28%     5,410.00 358.28%          -216.77       7,273.38 2,019.04%     -2,080.15
          538.13      0.00%       691.00    457.62%     -152.87         732.342,901.51%           -194.21    Total Telephone Cost of Sales      5,193.23    957.28%     6,910.00 457.62%        -1,716.77       7,274.042,019.22%      -2,080.81

         -538.13      0.00%      -540.00 -357.62%          1.87        -707.10-2,801.51%          168.97     Gross Profit                       -4,650.73   -857.28%   -5,400.00-357.62%          749.27       -6,913.80
                                                                                                                                                                                                                       -1,919.22%      2,263.07

                                                                                                             Other Expenses
         1,400.00      0.00%       150.00     99.34%    1,250.00       1,430.00 5,665.61%          -30.00    Internet/Web Expense               15,901.00 2,931.06%      1,500.00    99.34%     14,401.00       14,240.00 3,952.92%     1,661.00
             0.00      0.00%         0.00      0.00%        0.00         100.00   396.20%         -100.00    Miscellaneous Expense                   0.00     0.00%          0.00     0.00%          0.00          960.00 266.49%        -960.00
             0.00      0.00%         0.00      0.00%        0.00           0.00     0.00%            0.00    Operating Supplies                      0.00     0.00%          0.00     0.00%          0.00           67.50    18.74%       -67.50
           230.38      0.00%         0.00      0.00%      230.38           0.00     0.00%          230.38    Software Expense/Maintenance        2,299.10   423.80%          0.00     0.00%      2,299.10            0.00     0.00%     2,299.10
        1,630.38      0.00%       150.00     99.34%    1,480.38       1,530.006,061.81%           100.38     Total Telephone Other Expenses    18,200.10 3,354.86%      1,500.00    99.34%     16,700.10       15,267.504,238.15%      2,932.60

       -2,168.51      0.00%      -690.00 -456.95%      -1,478.51     -2,237.10-8,863.31%            68.59    Total Telephone Profit (Loss)     -22,850.83 -4,212.13%   -6,900.00-456.95%       -15,950.83     -22,181.30
                                                                                                                                                                                                                       -6,157.37%       -669.53




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %            Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %           Variance

                                                                                                            Minor Operating
                                                                                                            Income
             0.00      0.00%         0.00     0.00%        0.00       1,389.00      25.84%      -1,389.00   Rental Income - Lobby Space                       0.00     0.00%         0.00     0.00%         0.00      13,890.00     24.05%    -13,890.00
          -224.00     -3.00%       500.00    13.89%     -724.00       1,200.00      22.32%      -1,424.00   Rental Income - Other                          -224.00    -0.29%     5,000.00    15.01%    -5,224.00      12,595.44     21.81%    -12,819.44
         -224.00     -3.00%       500.00    13.89%     -724.00       2,589.00      48.16%      -2,813.00    Total Rental Income                           -224.00    -0.29%     5,000.00    15.01%    -5,224.00      26,485.44     45.87%    -26,709.44
             0.00      0.00%         0.00     0.00%        0.00         101.38       1.89%        -101.38   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00     0.00%         0.00       4,233.92      7.33%     -4,233.92
             0.00     0.00%          0.00    0.00%         0.00        101.38       1.89%        -101.38    Total Vending Commission Income                   0.00    0.00%          0.00    0.00%          0.00      4,233.92      7.33%     -4,233.92
           983.09     13.16%         0.00     0.00%      983.09         311.10       5.79%         671.99   Cancellation Fee - Rooms                      8,228.70    10.58%         0.00     0.00%     8,228.70       2,682.02      4.64%      5,546.68
          983.09     13.16%          0.00    0.00%      983.09         311.10       5.79%         671.99    Total Cancellation Fee Income                8,228.70    10.58%          0.00    0.00%     8,228.70       2,682.02      4.64%      5,546.68
             0.00      0.00%        50.00     1.39%      -50.00           0.00       0.00%           0.00   Guest Laundry                                   513.25     0.66%       500.00     1.50%        13.25         136.00      0.24%        377.25
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Interest Earned                                 135.87     0.17%         0.00     0.00%       135.87           0.00      0.00%        135.87
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   In-Room Movie Revenue                             0.00     0.00%         0.00     0.00%         0.00         -21.71     -0.04%         21.71
           252.45      3.38%         0.00     0.00%      252.45          64.35       1.20%         188.10   Internet Access                               2,357.71     3.03%         0.00     0.00%     2,357.71       1,425.60      2.47%        932.11
         2,660.25     35.61%         0.00     0.00%    2,660.25          75.00       1.40%       2,585.25   Other Revenue 2                              29,783.03    38.30%         0.00     0.00%    29,783.03          75.00      0.13%     29,708.03
            93.22      1.25%         0.00     0.00%       93.22         150.00       2.79%         -56.78   Other Revenue 3                                 946.21     1.22%         0.00     0.00%       946.21       3,344.13      5.79%     -2,397.92
             0.00      0.00%         0.00     0.00%        0.00           0.00       0.00%           0.00   Other Revenue 4                                -164.38    -0.21%         0.00     0.00%      -164.38           0.00      0.00%       -164.38
         3,039.72     40.69%     1,112.00    30.88%    1,927.72       1,784.96      33.20%       1,254.76   Gift Shop Sales                              27,666.47    35.58%     8,428.50    25.30%    19,237.97      13,203.59     22.87%     14,462.88
             0.00      0.00%     1,389.00    38.57%   -1,389.00           0.00       0.00%           0.00   Other Revenue 6                                   0.00     0.00%    13,890.00    41.69%   -13,890.00           0.00      0.00%          0.00
           664.84      8.90%       250.00     6.94%      414.84         300.00       5.58%         364.84   Pet Fees                                      8,524.89    10.96%     2,500.00     7.50%     6,024.89       6,181.55     10.70%      2,343.34
             0.00      0.00%       300.00     8.33%     -300.00           0.00       0.00%           0.00   Other Revenue 7                                   0.00     0.00%     3,000.00     9.00%    -3,000.00           0.00      0.00%          0.00
        6,710.48     89.84%     3,101.00    86.11%    3,609.48       2,374.31      44.17%       4,336.17    Total Other Income                          69,763.05    89.71%    28,318.50    84.99%    41,444.55      24,344.16     42.16%     45,418.89

        7,469.57    100.00%     3,601.00    100.00%   3,868.57       5,375.79     100.00%       2,093.78    Total Minor Operating Income                77,767.75    100.00%   33,318.50 100.00%      44,449.25      57,745.54 100.00%       20,022.21

                                                                                                            Cost of Sales
             0.00      0.00%        32.50     0.90%     -32.50            0.00       0.00%          0.00    Cost of Sales - Guest Laundry                    12.00     0.02%       325.00     0.98%      -313.00         112.78      0.20%       -100.78
             0.00      0.00%         0.00     0.00%       0.00          568.34      10.57%       -568.34    Cost of Sales - In-Room Movie Revenue             0.00     0.00%         0.00     0.00%         0.00       5,379.57      9.32%     -5,379.57
             0.00      0.00%         0.00     0.00%       0.00            0.00       0.00%          0.00    Cost of Sales - Cots & Cribs                      0.00     0.00%         0.00     0.00%         0.00         369.00      0.64%       -369.00
         1,689.27     22.62%       722.80    20.07%     966.47          807.28      15.02%        881.99    Cost of Sales - Gift Shop                    14,964.54    19.24%     5,478.56    16.44%     9,485.98       5,413.19      9.37%      9,551.35
        1,689.27     22.62%       755.30    20.97%     933.97        1,375.62      25.59%        313.65     Total Minor Operated Cost of Sales          14,976.54    19.26%     5,803.56    17.42%     9,172.98      11,274.54     19.52%      3,702.00

        5,780.30     77.38%     2,845.70    79.03%    2,934.60       4,000.17      74.41%       1,780.13    Total Minor Operated Profit (Loss)          62,791.21    80.74%    27,514.94    82.58%    35,276.27      46,471.00     80.48%    16,320.21




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                         YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Non-Management          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Arcade Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget    %        Variance   PTD Last Year     %            Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %         Variance

                                                                                                           Franchise Fees
         1,691.85      0.51%     1,354.46    0.55%     337.39            0.00       0.00%      1,691.85    Franchise Fees - IT Fees                    15,138.52    0.56%    13,544.60     0.84%    1,593.92            0.00     0.00%    15,138.52
        17,851.50      5.39%    13,426.05    5.42%   4,425.45        8,858.80       5.39%      8,992.70    Franchise Fees - Royalty & Licenses        145,685.42    5.36%    86,905.20     5.38%   58,780.22      117,743.77     5.36%    27,941.65
             0.00      0.00%         0.00    0.00%       0.00            0.00       0.00%          0.00    Franchise Fees - Other                       8,039.17    0.30%         0.00     0.00%    8,039.17            0.00     0.00%     8,039.17
           174.40      0.05%       575.40    0.23%    -401.00            0.00       0.00%        174.40    Franchise Fees - Reservations-GDS            2,434.04    0.09%     5,215.70     0.32%   -2,781.66            0.00     0.00%     2,434.04
         7,012.33      2.12%     6,102.75    2.46%     909.58        2,095.94       1.27%      4,916.39    Franchise Fees - Frequent Guest             39,950.93    1.47%    39,502.38     2.45%      448.55       57,900.20     2.64%   -17,949.27
        11,360.04      3.43%     8,543.85    3.45%   2,816.19        5,637.43       3.43%      5,722.61    Franchise Fees - Marketing Contributions    92,416.50    3.40%    55,303.32     3.42%   37,113.18       74,927.93     3.41%    17,488.57
           366.44      0.11%     1,200.00    0.48%    -833.56            0.00       0.00%        366.44    Franchise Fees - Reservations-Central        3,290.63    0.12%    12,000.00     0.74%   -8,709.37            0.00     0.00%     3,290.63

       38,456.56     11.62%    31,202.51    12.59%   7,254.05      16,592.17      10.09%      21,864.39    Total Franchise Fees                       306,955.21   11.30%   212,471.20   13.16%    94,484.01     250,571.90     11.41%   56,383.31




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              PTD     %        PTD Budget    %          Variance   PTD Last Year     %            Variance                                             YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             A&G
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
        11,085.23      3.35%    11,061.54     4.46%       23.69       10,725.28       6.52%         359.95   Management- A&G                     101,863.95     3.75%    107,931.51     6.68%     -6,067.56     101,097.42      4.60%        766.53
       11,085.23      3.35%    11,061.54     4.46%        23.69      10,725.28       6.52%         359.95    Total A&G Management               101,863.95     3.75%    107,931.51     6.68%     -6,067.56     101,097.42      4.60%        766.53
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%            0.00   Total A&G Non-Management                  0.00    0.00%           0.00    0.00%           0.00           0.00     0.00%           0.00
       11,085.23      3.35%    11,061.54     4.46%        23.69      10,725.28       6.52%         359.95    Total A&G Salaries and Wages       101,863.95     3.75%    107,931.51     6.68%     -6,067.56     101,097.42      4.60%        766.53
                                                                                                             PR Taxes and Benefits
           851.69      0.26%       879.34     0.35%       -27.65         756.88       0.46%          94.81   FICA                                  4,675.01     0.17%      8,606.62     0.53%     -3,931.61       7,878.34      0.36%     -3,203.33
            23.82      0.01%         4.83     0.00%        18.99           0.00       0.00%          23.82   Federal Unemployment Tax                199.73     0.01%        178.59     0.01%         21.14           0.00      0.00%        199.73
            79.39      0.02%        22.99     0.01%        56.40           0.00       0.00%          79.39   State Unemployment Tax                  720.36     0.03%      1,088.38     0.07%       -368.02           0.00      0.00%        720.36
          954.90      0.29%       907.16     0.37%         47.74        756.88       0.46%         198.02    Total Payroll Taxes                  5,595.10     0.21%      9,873.59     0.61%     -4,278.49       7,878.34      0.36%     -2,283.24
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Holiday                                   0.00     0.00%          0.00     0.00%          0.00       2,271.44      0.10%     -2,271.44
             0.00      0.00%       433.09     0.17%      -433.09         100.00       0.06%        -100.00   Vacation                                  0.00     0.00%      4,573.43     0.28%     -4,573.43       7,815.78      0.36%     -7,815.78
             0.00     0.00%       433.09     0.17%      -433.09         100.00       0.06%        -100.00    Total Supplemental Pay                    0.00    0.00%      4,573.43     0.28%     -4,573.43      10,087.22      0.46%    -10,087.22
           759.15      0.23%       591.77     0.24%       167.38         915.00       0.56%        -155.85   Worker's Compensation                 6,163.05     0.23%      6,145.98     0.38%         17.07       9,700.00      0.44%     -3,536.95
           956.02      0.29%       520.80     0.21%       435.22       1,397.14       0.85%        -441.12   Group Insurance                       9,672.00     0.36%      5,034.40     0.31%      4,637.60      13,560.16      0.62%     -3,888.16
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Bonus and Incentive Pay                   0.00     0.00%          0.00     0.00%          0.00       1,666.01      0.08%     -1,666.01
        1,715.17      0.52%     1,112.57     0.45%       602.60       2,312.14       1.41%        -596.97    Total Other Benefits                15,835.05     0.58%     11,180.38     0.69%      4,654.67      24,926.17      1.13%     -9,091.12
        2,670.07      0.81%     2,452.82     0.99%       217.25       3,169.02       1.93%        -498.95    Total A&G PR Taxes and Benefits     21,430.15     0.79%     25,627.40     1.59%     -4,197.25      42,891.73      1.95%    -21,461.58
       13,755.30      4.15%    13,514.36     5.45%       240.94      13,894.30       8.45%        -139.00    Total A&G Payroll                  123,294.10     4.54%    133,558.91     8.27%    -10,264.81     143,989.15      6.55%    -20,695.05
                                                                                                             Other Expenses
         1,000.00      0.30%     1,000.00     0.40%         0.00       2,000.00       1.22%      -1,000.00   Accounting/Audit Fees                12,000.00     0.44%     10,000.00     0.62%     2,000.00       20,000.00      0.91%    -8,000.00
         2,909.38      0.88%         0.00     0.00%     2,909.38         -19.27      -0.01%       2,928.65   Bad Debt Provision                   19,622.60     0.72%          0.00     0.00%    19,622.60        2,154.40      0.10%    17,468.20
           728.13      0.22%     1,075.00     0.43%      -346.87       1,005.65       0.61%        -277.52   Bank Charges                         12,868.73     0.47%     10,750.00     0.67%     2,118.73       12,463.97      0.57%       404.76
         1,500.85      0.45%         0.00     0.00%     1,500.85           0.00       0.00%       1,500.85   Cash Over/Short                       1,664.27     0.06%          0.00     0.00%     1,664.27         -654.45     -0.03%     2,318.72
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Central Office - Travel Rebilled      5,477.04     0.20%      4,000.00     0.25%     1,477.04            0.00      0.00%     5,477.04
           160.00      0.05%       160.00     0.06%         0.00           0.00       0.00%         160.00   Central Office - IT Fees              2,550.00     0.09%      1,600.00     0.10%       950.00            0.00      0.00%     2,550.00
             0.00      0.00%        60.00     0.02%       -60.00           0.00       0.00%           0.00   Communication Expense                    60.00     0.00%        600.00     0.04%      -540.00          187.81      0.01%      -127.81
        10,441.56      3.15%     5,948.69     2.40%     4,492.87      -8,048.13      -4.89%      18,489.69   Credit Card Commission               62,496.26     2.30%     38,758.15     2.40%    23,738.11       47,203.71      2.15%    15,292.55
             0.00      0.00%         0.00     0.00%         0.00       1,745.49       1.06%      -1,745.49   Data Processing                           0.00     0.00%          0.00     0.00%         0.00       15,593.78      0.71%   -15,593.78
            50.00      0.02%         0.00     0.00%        50.00         120.00       0.07%         -70.00   Dues and Subscriptions                2,805.39     0.10%          0.00     0.00%     2,805.39        1,827.70      0.08%       977.69
           500.09      0.15%       200.00     0.08%       300.09           0.00       0.00%         500.09   Employee Relations                    1,358.00     0.05%      2,000.00     0.12%      -642.00        1,703.85      0.08%      -345.85
             5.95      0.00%       104.00     0.04%       -98.05         103.88       0.06%         -97.93   Equipment Rental                        213.71     0.01%      1,040.00     0.06%      -826.29        1,015.97      0.05%      -802.26
             0.00      0.00%       300.00     0.12%      -300.00         355.39       0.22%        -355.39   Licenses/Permits                      4,108.01     0.15%      1,815.00     0.11%     2,293.01        4,258.72      0.19%      -150.71
            67.27      0.02%         0.00     0.00%        67.27           0.00       0.00%          67.27   Meals and Entertainment                 309.33     0.01%          0.00     0.00%       309.33           29.94      0.00%       279.39
           -40.84     -0.01%         0.00     0.00%       -40.84           0.00       0.00%         -40.84   Miscellaneous Expense                   330.32     0.01%          0.00     0.00%       330.32            0.00      0.00%       330.32
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Office Equipment                        520.43     0.02%          0.00     0.00%       520.43            0.00      0.00%       520.43
           773.77      0.23%       200.00     0.08%       573.77          64.55       0.04%         709.22   Office Supplies                       2,310.83     0.09%      2,000.00     0.12%       310.83        2,781.58      0.13%      -470.75
           136.84      0.04%         0.00     0.00%       136.84           0.00       0.00%         136.84   Operating Supplies                      593.36     0.02%          0.00     0.00%       593.36            0.00      0.00%       593.36
           249.18      0.08%       450.00     0.18%      -200.82         303.65       0.18%         -54.47   Payroll Service Fees                    765.34     0.03%      4,500.00     0.28%    -3,734.66        4,558.65      0.21%    -3,793.31
             0.00      0.00%        50.00     0.02%       -50.00          50.59       0.03%         -50.59   Postage                                 557.58     0.02%        500.00     0.03%        57.58          673.36      0.03%      -115.78
           743.50      0.22%       150.00     0.06%       593.50           0.00       0.00%         743.50   Professional Fees - Legal            11,435.52     0.42%      1,500.00     0.09%     9,935.52            0.00      0.00%    11,435.52
            90.00      0.03%       500.00     0.20%      -410.00           0.00       0.00%          90.00   Professional Fees - Other            22,385.20     0.82%      5,000.00     0.31%    17,385.20       10,338.67      0.47%    12,046.53
         1,580.00      0.48%         0.00     0.00%     1,580.00           0.00       0.00%       1,580.00   Recruitment Advertising               7,041.00     0.26%          0.00     0.00%     7,041.00          900.27      0.04%     6,140.73
           144.75      0.04%         0.00     0.00%       144.75         233.31       0.14%         -88.56   Recruitment - Other                   1,688.65     0.06%          0.00     0.00%     1,688.65        1,607.06      0.07%        81.59
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Security Allocation                      20.00     0.00%          0.00     0.00%        20.00            0.00      0.00%        20.00
        10,445.70      3.15%     4,960.00     2.00%     5,485.70           0.00       0.00%      10,445.70   Security - Outside                   43,213.70     1.59%     48,640.00     3.01%    -5,426.30           78.18      0.00%    43,135.52
           442.69      0.13%       520.70     0.21%       -78.01           0.00       0.00%         442.69   Software Expense/Maintenance          7,909.59     0.29%      6,157.00     0.38%     1,752.59            0.00      0.00%     7,909.59
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%           0.00   Training                              2,843.00     0.10%          0.00     0.00%     2,843.00        2,260.00      0.10%       583.00
           356.40      0.11%         0.00     0.00%       356.40           0.00       0.00%         356.40   Travel                                2,833.73     0.10%          0.00     0.00%     2,833.73        3,517.25      0.16%      -683.52
           104.50      0.03%         0.00     0.00%       104.50           0.00       0.00%         104.50   Uniforms                                543.68     0.02%          0.00     0.00%       543.68            0.00      0.00%       543.68
       32,389.72      9.78%    15,678.39     6.33%    16,711.33      -2,084.89      -1.27%      34,474.61    Total A&G Other Expenses           230,525.27     8.48%    138,860.15     8.60%    91,665.12      132,500.42      6.03%    98,024.85
       46,145.02     13.94%    29,192.75    11.78%    16,952.27      11,809.41       7.18%      34,335.61    Total A&G Expenses                 353,819.37    13.02%    272,419.06    16.87%    81,400.31      276,489.57     12.59%    77,329.80




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                                                               Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 518 of 756
                                                                              Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                      P&L - Dual Summary Pages
                                                                                                           As of 10/31/2021
              PTD     %       PTD Budget   %       Variance   PTD Last Year     %            Variance                                         YTD   %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        IT
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wags
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Management                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Non-Management              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Salaries and Wages          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Payroll Taxes                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Supplemental Pay               0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total Other Benefits                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT PR Taxes and Benefits       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Payroll                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Services
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Cost of Services            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        System Costs
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Systems                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Other Expenses              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00      0.00%           0.00    Total IT Expenses                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




11/19/2021 at 5:30:39 PM
                                                                    Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 519 of 756
                                                                                   Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget   %           Variance   PTD Last Year     %            Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                             S&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00      0.00%     5,613.32    2.26%     -5,613.32       3,456.02       2.10%      -3,456.02   Division Management                17,260.32    0.64%     54,771.23     3.39%    -37,510.91      49,651.39     2.26%    -32,391.07
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%           0.00   Sales Managers                          0.00    0.00%          0.00     0.00%          0.00         110.25     0.01%       -110.25
             0.00     0.00%     5,613.32    2.26%     -5,613.32       3,456.02       2.10%      -3,456.02    Total S&M Management              17,260.32    0.64%     54,771.23     3.39%    -37,510.91      49,761.64     2.27%    -32,501.32
             0.00     0.00%          0.00   0.00%           0.00           0.00      0.00%            0.00   Total S&M Non-Management                0.00   0.00%           0.00    0.00%           0.00           0.00    0.00%           0.00

             0.00     0.00%     5,613.32    2.26%     -5,613.32       3,456.02       2.10%      -3,456.02    Total S&M Salaries and Wages      17,260.32    0.64%     54,771.23     3.39%    -37,510.91      49,761.64     2.27%    -32,501.32

                                                                                                             PR Taxes and Benefits
             0.00      0.00%       614.53    0.25%       -614.53         392.55       0.24%        -392.55   FICA                                1,296.97    0.05%      4,872.44     0.30%     -3,575.47       4,013.43     0.18%     -2,716.46
             0.00      0.00%         3.37    0.00%         -3.37           0.00       0.00%           0.00   Federal Unemployment Tax               82.91    0.00%         95.10     0.01%        -12.19           0.00     0.00%         82.91
             0.00      0.00%        16.07    0.01%        -16.07           0.00       0.00%           0.00   State Unemployment Tax                276.43    0.01%        584.43     0.04%       -308.00           0.00     0.00%        276.43
             0.00     0.00%       633.97    0.26%       -633.97         392.55       0.24%        -392.55    Total Payroll Taxes                1,656.31    0.06%      5,551.97     0.34%     -3,895.66       4,013.43     0.18%     -2,357.12
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%           0.00   Holiday                                 0.00    0.00%          0.00     0.00%          0.00         993.76     0.05%       -993.76
             0.00      0.00%       219.78    0.09%       -219.78       1,046.16       0.64%      -1,046.16   Vacation                                0.00    0.00%      2,320.87     0.14%     -2,320.87       4,324.46     0.20%     -4,324.46
             0.00     0.00%       219.78    0.09%       -219.78       1,046.16       0.64%      -1,046.16    Total Supplemental Pay                  0.00   0.00%      2,320.87     0.14%     -2,320.87       5,318.22     0.24%     -5,318.22
             0.00      0.00%       413.56    0.17%       -413.56           0.00       0.00%           0.00   Worker's Compensation                 665.76    0.02%      3,460.37     0.21%     -2,794.61           0.00     0.00%        665.76
             0.00      0.00%       520.80    0.21%       -520.80       1,679.38       1.02%      -1,679.38   Group Insurance                     2,065.03    0.08%      5,034.40     0.31%     -2,969.37      10,394.26     0.47%     -8,329.23
             0.00      0.00%     2,200.00    0.89%     -2,200.00           0.00       0.00%           0.00   Bonus and Incentive Pay                 0.00    0.00%      6,600.00     0.41%     -6,600.00         246.91     0.01%       -246.91
             0.00     0.00%     3,134.36    1.26%     -3,134.36       1,679.38       1.02%      -1,679.38    Total Other Benefits               2,730.79    0.10%     15,094.77     0.93%    -12,363.98      10,641.17     0.48%     -7,910.38
             0.00     0.00%     3,988.11    1.61%     -3,988.11       3,118.09       1.90%      -3,118.09    Total S&M PR Taxes and Benefits    4,387.10    0.16%     22,967.61     1.42%    -18,580.51      19,972.82     0.91%    -15,585.72

             0.00     0.00%     9,601.43    3.87%     -9,601.43       6,574.11       4.00%      -6,574.11    Total S&M Payroll                 21,647.42    0.80%     77,738.84     4.81%    -56,091.42      69,734.46     3.17%    -48,087.04

                                                                                                             Other Expenses
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Advertising General                 4,570.46    0.17%          0.00     0.00%      4,570.46           0.00     0.00%     4,570.46
           448.17      0.14%       440.00    0.18%         8.17          723.87       0.44%        -275.70   Advertising-Web/Internet            4,577.17    0.17%      5,435.00     0.34%       -857.83       8,159.09     0.37%    -3,581.92
             0.00      0.00%       100.00    0.04%      -100.00            0.00       0.00%           0.00   Brochures                               0.00    0.00%      1,000.00     0.06%     -1,000.00           0.00     0.00%         0.00
             0.00      0.00%        50.00    0.02%       -50.00            0.00       0.00%           0.00   Communication Expense                   0.00    0.00%        500.00     0.03%       -500.00         100.00     0.00%      -100.00
         1,189.36      0.36%     1,088.00    0.44%       101.36         -813.87      -0.50%       2,003.23   Dues and Subscriptions             17,212.15    0.63%     15,277.00     0.95%      1,935.15       4,201.90     0.19%    13,010.25
             0.00      0.00%       700.00    0.28%      -700.00            0.00       0.00%           0.00   GDS Marketing Advert & Sales            0.00    0.00%      7,000.00     0.43%     -7,000.00           0.00     0.00%         0.00
             0.00      0.00%       500.00    0.20%      -500.00            0.00       0.00%           0.00   Magazine - Advertising                  0.00    0.00%      1,900.00     0.12%     -1,900.00           0.00     0.00%         0.00
             0.00      0.00%        30.00    0.01%       -30.00            0.00       0.00%           0.00   Meals and Entertainment                 0.00    0.00%        300.00     0.02%       -300.00          80.17     0.00%       -80.17
             0.00      0.00%        50.00    0.02%       -50.00            0.00       0.00%           0.00   Office Supplies                         0.00    0.00%        500.00     0.03%       -500.00         203.10     0.01%      -203.10
           694.35      0.21%         0.00    0.00%       694.35            0.00       0.00%         694.35   Operating Supplies                    694.35    0.03%          0.00     0.00%        694.35           0.00     0.00%       694.35
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Printing and Stationery             1,140.20    0.04%          0.00     0.00%      1,140.20           0.00     0.00%     1,140.20
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Promotions - In-house                   0.00    0.00%          0.00     0.00%          0.00         167.05     0.01%      -167.05
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Promotion - Outside                     0.00    0.00%        500.00     0.03%       -500.00           0.00     0.00%         0.00
           440.00      0.13%         0.00    0.00%       440.00            0.00       0.00%         440.00   Regional Sales & Marketing          3,965.00    0.15%          0.00     0.00%      3,965.00           0.00     0.00%     3,965.00
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Software Expense/Maintenance            0.00    0.00%      7,494.00     0.46%     -7,494.00           0.00     0.00%         0.00
             0.00      0.00%       750.00    0.30%      -750.00            0.00       0.00%           0.00   Training                              995.00    0.04%      3,650.00     0.23%     -2,655.00       1,787.27     0.08%      -792.27
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%           0.00   Travel                                  0.00    0.00%          0.00     0.00%          0.00       1,956.19     0.09%    -1,956.19
        2,771.88      0.84%     3,708.00    1.50%      -936.12           -90.00     -0.05%       2,861.88    Total S&M Other Expenses          33,154.33    1.22%     43,556.00     2.70%    -10,401.67      16,654.77     0.76%    16,499.56

        2,771.88      0.84%    13,309.43    5.37%    -10,537.55       6,484.11       3.94%      -3,712.23    Total S&M Expenses                54,801.75    2.02%    121,294.84     7.51%    -66,493.09      86,389.23     3.93%    -31,587.48




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                                                                                  Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year     %            Variance                                              YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                            R&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         2,000.04      0.60%     5,365.67    2.16%    -3,365.63       2,752.03       1.67%        -751.99   Division Management                   32,461.62    1.19%    52,354.84      3.24%    -19,893.22      26,571.74     1.21%     5,889.88
        2,000.04      0.60%     5,365.67    2.16%    -3,365.63       2,752.03       1.67%        -751.99    Total R&M Management                 32,461.62    1.19%    52,354.84      3.24%    -19,893.22      26,571.74     1.21%     5,889.88
             0.00      0.00%     3,321.43    1.34%    -3,321.43           0.00       0.00%           0.00   Engineering Supervisor                     0.00    0.00%    32,571.45      2.02%    -32,571.45           0.00     0.00%         0.00
          -407.00     -0.12%         0.00    0.00%      -407.00         439.31       0.27%        -846.31   Engineers 1                            9,270.71    0.34%         0.00      0.00%      9,270.71       8,398.42     0.38%       872.29
         -407.00     -0.12%     3,321.43    1.34%    -3,728.43         439.31       0.27%        -846.31    Total R&M Non-Management              9,270.71    0.34%    32,571.45      2.02%    -23,300.74       8,398.42     0.38%       872.29

        1,593.04      0.48%     8,687.10    3.50%    -7,094.06       3,191.34       1.94%      -1,598.30    Total R&M Salaries and Wages         41,732.33    1.54%    84,926.29      5.26%    -43,193.96      34,970.16     1.59%     6,762.17

                                                                                                            PR Taxes and Benefits
           118.43      0.04%       680.63    0.27%      -562.20         270.59       0.16%        -152.16   FICA                                   3,138.23    0.12%     6,666.55      0.41%     -3,528.32       3,034.81     0.14%       103.42
             3.19      0.00%         3.74    0.00%        -0.55           0.00       0.00%           3.19   Federal Unemployment Tax                 118.72    0.00%       138.56      0.01%        -19.84           0.00     0.00%       118.72
            10.63      0.00%        17.79    0.01%        -7.16           0.00       0.00%          10.63   State Unemployment Tax                   395.74    0.01%       844.06      0.05%       -448.32           0.00     0.00%       395.74
          132.25      0.04%       702.16    0.28%      -569.91         270.59       0.16%        -138.34    Total Payroll Taxes                   3,652.69    0.13%     7,649.17      0.47%     -3,996.48       3,034.81     0.14%       617.88
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Holiday                                    0.00    0.00%         0.00      0.00%          0.00         481.76     0.02%      -481.76
             0.00      0.00%       210.08    0.08%      -210.08         100.00       0.06%        -100.00   Vacation                                   0.00    0.00%     2,218.46      0.14%     -2,218.46       4,912.07     0.22%    -4,912.07
             0.00     0.00%       210.08    0.08%      -210.08         100.00       0.06%        -100.00    Total Supplemental Pay                     0.00   0.00%     2,218.46      0.14%     -2,218.46       5,393.83     0.25%    -5,393.83
            73.10      0.02%       458.05    0.18%      -384.95           0.00       0.00%          73.10   Worker's Compensation                  2,648.04    0.10%     4,760.83      0.29%     -2,112.79           0.00     0.00%     2,648.04
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Group Insurance                            0.00    0.00%         0.00      0.00%          0.00       3,837.85     0.17%    -3,837.85
            73.10     0.02%       458.05    0.18%      -384.95            0.00      0.00%           73.10   Total Other Benefits                  2,648.04    0.10%     4,760.83      0.29%     -2,112.79       3,837.85     0.17%    -1,189.81
          205.35      0.06%     1,370.29    0.55%    -1,164.94         370.59       0.23%        -165.24    Total R&M PR Taxes and Benefits       6,300.73    0.23%    14,628.46      0.91%     -8,327.73      12,266.49     0.56%    -5,965.76

        1,798.39      0.54%    10,057.39    4.06%    -8,259.00       3,561.93       2.17%      -1,763.54    Total R&M Payroll                    48,033.06    1.77%    99,554.75      6.16%    -51,521.69      47,236.65     2.15%       796.41

                                                                                                            Other Expenses
             0.00      0.00%       200.00    0.08%     -200.00            0.00       0.00%           0.00   Air Conditioning and Refrigeration     4,758.06    0.18%     2,000.00      0.12%     2,758.06        1,522.89     0.07%     3,235.17
           255.89      0.08%       500.00    0.20%     -244.11          102.57       0.06%         153.32   Building                              15,648.80    0.58%     5,000.00      0.31%    10,648.80          878.23     0.04%    14,770.57
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Communication Expense                      0.00    0.00%         0.00      0.00%         0.00           60.00     0.00%       -60.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Contract Labor                         3,000.00    0.11%         0.00      0.00%     3,000.00            0.00     0.00%     3,000.00
           120.82      0.04%        50.00    0.02%       70.82            0.00       0.00%         120.82   Electric Bulbs                         1,535.27    0.06%       500.00      0.03%     1,035.27          612.67     0.03%       922.60
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Electrical and Mechanical                287.79    0.01%         0.00      0.00%       287.79          451.11     0.02%      -163.32
           300.00      0.09%         0.00    0.00%      300.00            0.00       0.00%         300.00   Elevator Maintenance Contracts         2,946.68    0.11%     4,606.00      0.29%    -1,659.32            0.00     0.00%     2,946.68
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Equipment Maintenance                    153.51    0.01%         0.00      0.00%       153.51        5,188.97     0.24%    -5,035.46
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Equipment Rental                         197.93    0.01%         0.00      0.00%       197.93            0.00     0.00%       197.93
           482.91      0.15%        98.00    0.04%      384.91            0.00       0.00%         482.91   Fire Safety Equipment                 12,067.39    0.44%     3,705.00      0.23%     8,362.39        2,091.42     0.10%     9,975.97
             0.00      0.00%         0.00    0.00%        0.00          -71.16      -0.04%          71.16   Floor and Carpet Maintenance             246.21    0.01%     6,000.00      0.37%    -5,753.79          101.24     0.00%       144.97
             0.00      0.00%         0.00    0.00%        0.00         -295.29      -0.18%         295.29   Furniture                                  0.00    0.00%         0.00      0.00%         0.00       -2,129.42    -0.10%     2,129.42
             0.00      0.00%       450.00    0.18%     -450.00          415.50       0.25%        -415.50   Grounds and Landscaping                5,697.98    0.21%     4,500.00      0.28%     1,197.98        7,031.77     0.32%    -1,333.79
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Indoor Plant Maintenance                   0.00    0.00%         0.00      0.00%         0.00          247.59     0.01%      -247.59
             0.00      0.00%       100.00    0.04%     -100.00            0.00       0.00%           0.00   Kitchen Equipment Repairs                  0.00    0.00%     1,000.00      0.06%    -1,000.00        2,390.41     0.11%    -2,390.41
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Laundry Equipment Repairs              1,173.68    0.04%         0.00      0.00%     1,173.68          261.97     0.01%       911.71
             0.00      0.00%        50.00    0.02%      -50.00          125.00       0.08%        -125.00   Locks and Keys                            52.09    0.00%       500.00      0.03%      -447.91          155.41     0.01%      -103.32
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Office Equipment                          93.11    0.00%         0.00      0.00%        93.11            0.00     0.00%        93.11
            54.60      0.02%         0.00    0.00%       54.60            0.00       0.00%          54.60   Office Supplies                           54.60    0.00%         0.00      0.00%        54.60            0.00     0.00%        54.60
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Operating Supplies                     1,074.05    0.04%         0.00      0.00%     1,074.05            0.00     0.00%     1,074.05
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Painting and Decorating                  348.66    0.01%         0.00      0.00%       348.66          296.92     0.01%        51.74
           175.00      0.05%       800.00    0.32%     -625.00          528.15       0.32%        -353.15   Pest Control                           6,257.30    0.23%     8,000.00      0.50%    -1,742.70        4,974.09     0.23%     1,283.21
           286.66      0.09%       300.00    0.12%      -13.34        2,618.20       1.59%      -2,331.54   Plumbing and Heating                  12,206.41    0.45%     3,000.00      0.19%     9,206.41        8,515.21     0.39%     3,691.20
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Pool Chemicals                         2,952.94    0.11%         0.00      0.00%     2,952.94            0.00     0.00%     2,952.94
           601.25      0.18%       250.00    0.10%      351.25           84.01       0.05%         517.24   Pool Service- Contract                 2,973.86    0.11%     2,500.00      0.15%       473.86        2,125.49     0.10%       848.37
             0.00      0.00%        50.00    0.02%      -50.00            0.00       0.00%           0.00   Radio and Television Repair                0.00    0.00%       500.00      0.03%      -500.00          284.70     0.01%      -284.70
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Signage                                    0.00    0.00%         0.00      0.00%         0.00        1,010.07     0.05%    -1,010.07
           126.00      0.04%       126.00    0.05%        0.00            0.00       0.00%         126.00   Software Expense/Maintenance             630.00    0.02%     1,760.00      0.11%    -1,130.00            0.00     0.00%       630.00
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Tools                                    546.62    0.02%         0.00      0.00%       546.62            0.00     0.00%       546.62
             0.00      0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00   Uniforms                                 100.52    0.00%         0.00      0.00%       100.52            0.00     0.00%       100.52
         2,199.91      0.66%       685.00    0.28%    1,514.91        1,869.02       1.14%         330.89   Waste Removal                         16,054.19    0.59%     6,850.00      0.42%     9,204.19        8,069.28     0.37%     7,984.91
        4,603.04      1.39%     3,659.00    1.48%      944.04        5,376.00       3.27%        -772.96    Total R&M Other Expenses             91,057.65    3.35%    50,421.00      3.12%    40,636.65       44,140.02     2.01%    46,917.63


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                                                                               Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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              PTD     %       PTD Budget   %        Variance   PTD Last Year     %            Variance                                         YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

        6,401.43      1.93%   13,716.39    5.53%   -7,314.96      8,937.93       5.44%      -2,536.50    Total R&M Expenses              139,090.71   5.12%   149,975.75     9.29%   -10,885.04     91,376.67     4.16%   47,714.04




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                                                                                  Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
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              PTD     %        PTD Budget   %          Variance   PTD Last Year     %            Variance                                          YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            Utilities
         3,531.34      1.07%     2,646.56    1.07%       884.78       2,948.39       1.79%         582.95   Water                             24,823.67    0.91%     20,059.83     1.24%     4,763.84      35,901.50     1.63%   -11,077.83
        12,876.74      3.89%    12,754.24    5.15%       122.50      14,130.66       8.59%      -1,253.92   Electricity                      129,205.58    4.76%    100,182.07     6.20%    29,023.51     121,931.95     5.55%     7,273.63
           977.07      0.30%     3,291.52    1.33%    -2,314.45         516.78       0.31%         460.29   Gas - Natural HLP                  9,285.63    0.34%     24,948.36     1.54%   -15,662.73       6,365.91     0.29%     2,919.72
           895.10      0.27%       644.96    0.26%       250.14           0.00       0.00%         895.10   Sewer                              9,295.01    0.34%      4,888.53     0.30%     4,406.48           0.00     0.00%     9,295.01
       18,280.25      5.52%    19,337.28    7.80%    -1,057.03      17,595.83      10.70%         684.42    Total Utilities                 172,609.89    6.35%    150,078.79     9.29%    22,531.10     164,199.36     7.47%     8,410.53




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                                                                                  Company: MCAZ Associates LLC Property: Homewood Suites Phoenix Metro Center
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget   %         Variance    PTD Last Year     %            Variance                                          YTD    %        YTD Budget %              Variance    YTD Last Year    %            Variance

                                                                                                            Fixed
             0.00      0.00%         0.00    0.00%         0.00          33.58       0.02%         -33.58   Personal Property Taxes                0.00    0.00%          0.00     0.00%          0.00          69.92      0.00%         -69.92
        15,058.93      4.55%    15,126.00    6.10%       -67.07      15,135.65       9.21%         -76.72   Real Estate Taxes                151,203.06    5.56%    151,260.00     9.37%        -56.94     151,356.50      6.89%        -153.44
       15,058.93      4.55%    15,126.00    6.10%       -67.07      15,169.23       9.23%        -110.30    Total Taxes                     151,203.06    5.56%    151,260.00     9.37%        -56.94     151,426.42      6.89%        -223.36
           405.42      0.12%         0.00    0.00%      405.42        5,655.29       3.44%      -5,249.87   Insurance                          1,216.26    0.04%          0.00     0.00%     1,216.26       54,845.77      2.50%     -53,629.51
           411.33      0.12%       125.00    0.05%      286.33            0.00       0.00%         411.33   Insurance - Employment             1,756.99    0.06%      1,250.00     0.08%       506.99            0.00      0.00%       1,756.99
         1,582.42      0.48%     1,323.00    0.53%      259.42            0.00       0.00%       1,582.42   Insurance - General Liability     15,312.26    0.56%     13,230.00     0.82%     2,082.26            0.00      0.00%      15,312.26
         1,926.42      0.58%     1,926.42    0.78%         0.00           0.00       0.00%       1,926.42   Insurance - Property              19,264.17    0.71%     19,264.20     1.19%         -0.03           0.00      0.00%      19,264.17
         2,289.58      0.69%     2,289.58    0.92%         0.00           0.00       0.00%       2,289.58   Insurance - Umbrella              22,895.83    0.84%     22,895.80     1.42%          0.03           0.00      0.00%      22,895.83
        6,615.17      2.00%     5,664.00    2.29%      951.17        5,655.29       3.44%         959.88    Total Insurance                  60,445.51    2.22%     56,640.00     3.51%     3,805.51       54,845.77      2.50%       5,599.74
        14,632.00      4.42%    14,632.00    5.90%         0.00      14,205.45       8.64%         426.55   Ground Lease Expense             143,741.00    5.29%    144,612.00     8.95%      -871.00      140,812.80      6.41%       2,928.20
       14,632.00      4.42%    14,632.00    5.90%          0.00     14,205.45       8.64%         426.55    Total Leases & Rent             143,741.00    5.29%    144,612.00     8.95%      -871.00      140,812.80      6.41%       2,928.20
        10,432.75      3.15%     7,435.86    3.00%    2,996.89        4,108.00       2.50%       6,324.75   Management Fee - Base             86,512.32    3.18%     49,963.28     3.09%    36,549.04       54,873.00      2.50%      31,639.32
             0.00      0.00%         0.00    0.00%         0.00       3,733.55       2.27%      -3,733.55   Management Fee - Incentive             0.00    0.00%          0.00     0.00%          0.00      11,004.00      0.50%     -11,004.00
       10,432.75      3.15%     7,435.86    3.00%    2,996.89        7,841.55       4.77%       2,591.20    Total Management Fees            86,512.32    3.18%     49,963.28     3.09%    36,549.04       65,877.00      3.00%      20,635.32
         1,800.00      0.54%         0.00    0.00%    1,800.00        8,328.58       5.07%      -6,528.58   Capital Reserve                   22,179.30    0.82%          0.00     0.00%    22,179.30       83,285.22      3.79%     -61,105.92
             0.00      0.00%         0.00    0.00%         0.00      38,823.00      23.61%     -38,823.00   (Gain)/Loss-Insurance                  0.00    0.00%          0.00     0.00%          0.00     391,594.07     17.83%    -391,594.07
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Owner's Expense                        0.00    0.00%          0.00     0.00%          0.00      11,186.90      0.51%     -11,186.90
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%           0.00   Extraordinary Expense                  0.00    0.00%          0.00     0.00%          0.00       8,251.40      0.38%      -8,251.40
        1,800.00      0.54%          0.00   0.00%    1,800.00       47,151.58      28.68%     -45,351.58    Total Other Non-Operating        22,179.30    0.82%           0.00    0.00%    22,179.30      494,317.59     22.50%    -472,138.29




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                                                                      Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 524 of 756
                                                                                     Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                              P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
              PTD     %        PTD Budget      %          Variance   PTD Last Year      %            Variance                                                        YTD     %          YTD Budget %               Variance    YTD Last Year     %             Variance

                                                                                                                Statistics
           137.00                   137.00                   0.00          137.00                        0.00   # Rooms                                            137.00                   137.00                     0.00          137.00                       0.00
         4,247.00                 4,247.00                   0.00        4,247.00                        0.00   Available Rooms                                 41,648.00                41,648.00                     0.00       41,785.00                    -137.00
         3,157.00                 2,930.28                 226.72        2,003.00                    1,154.00   Room Nights Sold                                25,217.00                22,691.44                 2,525.56       20,147.00                   5,070.00
          74.33%                   69.00%                  5.34%          47.16%                      27.17%    Occupancy %                                       60.55%                   54.48%                    6.06%          48.22%                     12.33%
           103.31                   104.00                  -0.69           91.79                       11.53   ADR                                                 99.85                   100.63                    -0.78          103.04                      -3.19
            76.80                    71.76                   5.04           43.29                       33.51   RevPar                                              60.46                    54.83                     5.63           49.68                      10.78

                                                                                                                Summary V.11
                                                                                                                Revenue
       326,162.73     96.24%    304,749.18    96.64%    21,413.55      183,846.25      97.02%      142,316.48   Rooms                                        2,517,946.33    97.12%    2,283,452.40    97.17%   234,493.93     2,075,892.26     96.95%      442,054.07
         9,906.28      2.92%          0.00     0.00%     9,906.28            0.00       0.00%        9,906.28   F&B                                             29,316.19     1.13%            0.00     0.00%    29,316.19             0.00      0.00%       29,316.19
         2,846.69      0.84%     10,610.14     3.36%    -7,763.45        5,650.71       2.98%       -2,804.02   Other Departments                               45,272.22     1.75%       66,516.22     2.83%   -21,244.00        65,377.85      3.05%      -20,105.63

      338,915.70    100.00%    315,359.32    100.00%   23,556.38      189,496.96      100.00%     149,418.74    Total Operating Revenue                     2,592,534.74    100.00%   2,349,968.62 100.00%      242,566.12    2,141,270.11 100.00%         451,264.63

                                                                                                                Departmental Expenses
       121,450.57    37.24%      76,471.33    25.09%    44,979.24       44,728.09      24.33%       76,722.48   Rooms                                         740,384.92     29.40%     640,735.45     28.06%    99,649.47       532,650.64     25.66%      207,734.28
           607.50     6.13%           0.00     0.00%       607.50            0.00       0.00%          607.50   F&B                                             4,989.76     17.02%           0.00      0.00%     4,989.76             0.00      0.00%        4,989.76
         4,641.62   163.05%       3,582.34    33.76%     1,059.28        3,971.63      70.29%          669.99   Other Departments                              53,809.41    118.86%      33,678.31     50.63%    20,131.10        33,568.61     51.35%       20,240.80

      126,699.69     37.38%     80,053.67    25.38%    46,646.02       48,699.72       25.70%      77,999.97    Total Departmental Expenses                  799,184.09     30.83%     674,413.76     28.70%    124,770.33      566,219.25     26.44%      232,964.84

      212,216.01     62.62%    235,305.65    74.62%    -23,089.64     140,797.24       74.30%      71,418.77    Total Departmental Profit                   1,793,350.65    69.17%    1,675,554.86    71.30%    117,795.79    1,575,050.86     73.56%      218,299.79

                                                                                                                Undistributed Operating Expenses
        29,772.75      8.78%     26,126.33     8.28%     3,646.42       19,443.28      10.26%       10,329.47   A&G                                           253,168.90      9.77%     241,014.84     10.26%     12,154.06      267,256.45     12.48%      -14,087.55
             0.00      0.00%          0.00     0.00%         0.00            0.00       0.00%            0.00   IT                                                266.96      0.01%           0.00      0.00%        266.96            0.00      0.00%          266.96
        13,492.21      3.98%     13,419.27     4.26%        72.94        7,970.49       4.21%        5,521.72   S&M                                           129,564.25      5.00%     143,194.35      6.09%    -13,630.10      106,303.77      4.96%       23,260.48
        76,803.86     22.66%     35,339.18    11.21%    41,464.68       22,735.59      12.00%       54,068.27   Franchise Fees                                330,240.98     12.74%     273,791.44     11.65%     56,449.54      228,106.86     10.65%      102,134.12
        35,773.47     10.56%     24,293.69     7.70%    11,479.78       12,317.86       6.50%       23,455.61   R&M                                           198,859.34      7.67%     204,912.59      8.72%     -6,053.25       99,203.92      4.63%       99,655.42
        14,337.53      4.23%     16,773.30     5.32%    -2,435.77       12,360.03       6.52%        1,977.50   Utilities                                     153,792.23      5.93%     130,176.91      5.54%     23,615.32      126,447.81      5.91%       27,344.42

      170,179.82     50.21%    115,951.77    36.77%    54,228.05       74,827.25       39.49%      95,352.57    Total Undistributed Expenses                1,065,892.66    41.11%     993,090.13     42.26%     72,802.53      827,318.81     38.64%      238,573.85

       42,036.19     12.40%    119,353.88    37.85%    -77,317.69      65,969.99       34.81%     -23,933.80    Gross Operating Profit                    727,457.99        28.06%     682,464.73     29.04%     44,993.26      747,732.05     34.92%       -20,274.06
        10,662.07      3.15%      9,460.78     3.00%      1,201.29       8,433.55        4.45%       2,228.52   Management Fees                             82,323.86         3.18%      70,926.09      3.02%     11,397.77       64,482.00      3.01%        17,841.86
       31,374.12      9.26%    109,893.10    34.85%    -78,518.98      57,536.44       30.36%     -26,162.32    Income Before Non-Operating Income and Expenses
                                                                                                                                                          645,134.13        24.88%     611,538.64     26.02%     33,595.49      683,250.05     31.91%       -38,115.92

                                                                                                                Non-Operating Income and Expenses
         7,313.85      2.16%      6,753.75     2.14%       560.10        5,503.53        2.90%       1,810.32   Insurance                                      66,315.36      2.56%      67,537.50      2.87%     -1,222.14       53,397.41      2.49%       12,917.95
        40,869.00     12.06%     40,869.00    12.96%         0.00       39,775.62       20.99%       1,093.38   Leases & Rent                                 404,318.00     15.60%     404,318.00     17.21%          0.00      394,562.90     18.43%        9,755.10
        18,265.64      5.39%          0.00     0.00%    18,265.64       82,189.38       43.37%     -63,923.74   Other                                          89,671.36      3.46%           0.00      0.00%     89,671.36      811,814.95     37.91%     -722,143.59
       66,448.49     19.61%     47,622.75    15.10%    18,825.74      127,468.53       67.27%     -61,020.04    Total Non-Operating Income and Expenses      560,304.72     21.61%     471,855.50     20.08%     88,449.22    1,259,775.26     58.83%     -699,470.54

      -35,074.37    -10.35%     62,270.35    19.75%    -97,344.72     -69,932.09      -36.90%      34,857.72    EBITDA                                         84,829.41     3.27%     139,683.14      5.94%    -54,853.73     -576,525.21     -26.92%     661,354.62
             0.00      0.00%          0.00     0.00%          0.00      49,475.00       26.11%     -49,475.00   Interest                                             0.00     0.00%           0.00      0.00%          0.00      494,020.96      23.07%    -494,020.96
        19,577.32      5.78%     20,506.78     6.50%       -929.46      18,676.68        9.86%         900.64   Taxes                                          151,547.39     5.85%     160,647.41      6.84%     -9,100.02      186,766.80       8.72%     -35,219.41
             0.00      0.00%          0.00     0.00%          0.00       4,293.00        2.27%      -4,293.00   Amortization                                         0.00     0.00%           0.00      0.00%          0.00       42,930.00       2.00%     -42,930.00
       19,577.32      5.78%     20,506.78     6.50%       -929.46      72,444.68       38.23%     -52,867.36    Interest, Taxes, Depreciation and Amortization151,547.39     5.85%     160,647.41      6.84%     -9,100.02      723,717.76      33.80%    -572,170.37

      -54,651.69    -16.13%     41,763.57    13.24%    -96,415.26    -142,376.77      -75.13%      87,725.08    Net Income                                    -66,717.98     -2.57%     -20,964.27     -0.89%   -45,753.71    -1,300,242.97    -60.72%    1,233,524.99




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                                                                                   Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget    %          Variance   PTD Last Year      %            Variance                                           YTD     %         YTD Budget %              Variance   YTD Last Year     %         Variance

                                                                                                              Statistics
           137.00                  137.00                  0.00          137.00                        0.00   # Rooms                              137.00                   137.00                    0.00         137.00                    0.00
         4,247.00                4,247.00                  0.00        4,247.00                        0.00   Available Rooms                   41,648.00                41,648.00                    0.00      41,785.00                 -137.00
         3,157.00                2,930.28                226.72        2,003.00                    1,154.00   Room Nights Sold                  25,217.00                22,691.44                2,525.56      20,147.00                5,070.00
             0.74                    0.69                  0.05            0.47                        0.27   Occupancy %                            0.61                     0.54                    0.06           0.48                    0.12
           103.31                  104.00                 -0.69           91.79                       11.53   ADR                                   99.85                   100.63                   -0.78         103.04                   -3.19
            76.80                   71.76                  5.04           43.29                       33.51   RevPar                                60.46                    54.83                    5.63          49.68                   10.78

                                                                                                              Summary
                                                                                                              Revenue:
       326,162.73     96.24%   304,749.18   96.64%    21,413.55      183,846.25      97.02%      142,316.48   Rooms                           2,517,946.33   97.12%    2,283,452.40    97.17%   234,493.93   2,075,892.26    96.95%    442,054.07
         2,660.90      0.79%         0.00    0.00%     2,660.90            0.00       0.00%        2,660.90   Food                                5,351.95    0.21%            0.00     0.00%     5,351.95           0.00     0.00%      5,351.95
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   Beverage                            1,124.00    0.04%            0.00     0.00%     1,124.00           0.00     0.00%      1,124.00
         7,245.38      2.14%         0.00    0.00%     7,245.38            0.00       0.00%        7,245.38   Other F&B Revenue                  22,840.24    0.88%            0.00     0.00%    22,840.24           0.00     0.00%     22,840.24
            16.50      0.00%         0.00    0.00%        16.50           29.25       0.02%          -12.75   Telephone                             180.50    0.01%            0.00     0.00%       180.50         264.25     0.01%        -83.75
         2,830.19      0.84%    10,610.14    3.36%    -7,779.95        5,621.46       2.97%       -2,791.27   Other                              45,091.72    1.74%       66,516.22     2.83%   -21,424.50      65,113.60     3.04%    -20,021.88

       338,915.70   100.00%    315,359.32   100.00%   23,556.38      189,496.96      100.00%     149,418.74   Total Revenue                   2,592,534.74   100.00%   2,349,968.62   100.00%   242,566.12   2,141,270.11    100.00%   451,264.63



                                                                                                              Cost of Sales:
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%            0.00   Food                               1,595.33    29.81%           0.00      0.00%     1,595.33           0.00     0.00%      1,595.33
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%            0.00   Beverage                             337.40    30.02%           0.00      0.00%       337.40           0.00     0.00%        337.40
             0.00      0.00%         0.00    0.00%          0.00           0.00       0.00%            0.00   Other F&B                              0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%     1,067.00   10.06%     -1,067.00       1,093.28      19.35%       -1,093.28   Telephone                         13,086.44    28.91%      10,670.00     16.04%     2,416.44       7,575.83    11.59%      5,510.61
         1,226.50     43.09%     1,093.34   10.30%        133.16       1,461.53      25.86%         -235.03   Other                             19,148.89    42.30%       8,788.31     13.21%    10,360.58      12,413.29    18.99%      6,735.60

         1,226.50     43.09%     2,160.34   20.36%      -933.84        2,554.81      45.21%       -1,328.31   Total Cost of Sales               34,168.06    75.47%      19,458.31     29.25%    14,709.75      19,989.12    30.57%     14,178.94



                                                                                                              Payroll:
        45,308.94     13.89%    38,092.06   12.50%     7,216.88       23,071.16      12.55%       22,237.78   Rooms                            374,733.91    14.88%     345,022.84     15.11%    29,711.07     249,311.99    12.01%    125,421.92
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   F&B                                    0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   Other                                  0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         8,090.65      2.39%    10,379.51    3.29%    -2,288.86       11,225.09       5.92%       -3,134.44   A&G                               80,727.20     3.11%     101,398.79      4.31%   -20,671.59      97,501.38     4.55%    -16,774.18
             0.00      0.00%         0.00    0.00%         0.00            0.00       0.00%            0.00   IT                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         9,559.91      2.82%     8,104.01    2.57%     1,455.90        6,381.00       3.37%        3,178.91   S&M                               86,565.85     3.34%      79,315.82      3.38%     7,250.03      56,550.22     2.64%     30,015.63
        15,265.77      4.50%     9,618.87    3.05%     5,646.90        3,012.52       1.59%       12,253.25   R&M                               89,294.57     3.44%      94,124.42      4.01%    -4,829.85      34,512.10     1.61%     54,782.47
        78,225.27     23.08%    66,194.45   20.99%    12,030.82       43,689.77      23.06%       34,535.50   Total Salaries and Wages         631,321.53    24.35%     619,861.87     26.38%    11,459.66     437,875.69    20.45%    193,445.84

        13,821.54      4.08%    13,545.85    4.30%       275.69        8,818.55       4.65%        5,002.99   Total Taxes and Benefits         115,699.47     4.46%     133,915.47      5.70%   -18,216.00     168,823.08     7.88%    -53,123.61
        92,046.81     27.16%    79,740.30   25.29%    12,306.51       52,508.32      27.71%       39,538.49   Total Labor Costs                747,021.00    28.81%     753,777.34     32.08%    -6,756.34     606,698.77    28.33%    140,322.23



                                                                                                              Direct Expenses:
        69,510.41    21.31%     31,761.63   10.42%    37,748.78       18,541.60      10.09%       50,968.81   Rooms                            301,832.14    11.99%     231,789.82     10.15%    70,042.32     211,309.27    10.18%     90,522.87
           607.50     6.13%          0.00    0.00%       607.50            0.00       0.00%          607.50   F&B                                3,057.03    10.43%           0.00      0.00%     3,057.03           0.00     0.00%      3,057.03
         3,415.12   119.97%      1,422.00   13.40%     1,993.12        1,416.82      25.07%        1,998.30   Telephone                         21,574.08    47.65%      14,220.00     21.38%     7,354.08      13,579.49    20.77%      7,994.59
             0.00     0.00%          0.00    0.00%         0.00            0.00       0.00%            0.00   Other                                  0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        76,803.86    22.66%     35,339.18   11.21%    41,464.68       22,735.59      12.00%       54,068.27   Franchise Fees                   330,240.98    12.74%     273,791.44     11.65%    56,449.54     228,106.86    10.65%    102,134.12
        18,717.41     5.52%     12,932.98    4.10%     5,784.43        4,492.40       2.37%       14,225.01   A&G                              150,951.07     5.82%     111,185.79      4.73%    39,765.28     123,304.01     5.76%     27,647.06
             0.00     0.00%          0.00    0.00%         0.00            0.00       0.00%            0.00   IT                                   266.96     0.01%           0.00      0.00%       266.96           0.00     0.00%        266.96
         2,052.82     0.61%      3,013.00    0.96%      -960.18           52.13       0.03%        2,000.69   S&M                               29,057.57     1.12%      40,762.00      1.73%   -11,704.43      16,994.72     0.79%     12,062.85
        18,161.55     5.36%     12,862.71    4.08%     5,298.84        8,865.27       4.68%        9,296.28   R&M                               93,115.63     3.59%      92,342.28      3.93%       773.35      47,108.01     2.20%     46,007.62
        14,337.53     4.23%     16,773.30    5.32%    -2,435.77       12,360.03       6.52%        1,977.50   Utilities                        153,792.23     5.93%     130,176.91      5.54%    23,615.32     126,447.81     5.91%     27,344.42

       203,606.20     60.08%   114,104.80   36.18%    89,501.40       68,463.84      36.13%      135,142.36   Total Direct Expense            1,083,887.69   41.81%     894,268.24     38.05%   189,619.45     766,850.17    35.81%    317,037.52

        42,036.19     12.40%   119,353.88   37.85%    -77,317.69      65,969.99      34.81%      -23,933.80   Gross Operating Profit           727,457.99    28.06%     682,464.73     29.04%    44,993.26     747,732.05    34.92%    -20,274.06

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                                                                                  Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year      %            Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                             Fixed Costs
        19,577.32      5.78%    20,506.78    6.50%     -929.46       18,676.68       9.86%         900.64    Taxes                            151,547.39     5.85%   160,647.41      6.84%   -9,100.02      186,766.80     8.72%      -35,219.41
         7,313.85      2.16%     6,753.75    2.14%      560.10        5,503.53       2.90%       1,810.32    Insurance                         66,315.36     2.56%    67,537.50      2.87%   -1,222.14       53,397.41     2.49%       12,917.95
        40,869.00     12.06%    40,869.00   12.96%        0.00       39,775.62      20.99%       1,093.38    Leases & Rent                    404,318.00    15.60%   404,318.00     17.21%        0.00      394,562.90    18.43%        9,755.10
        10,662.07      3.15%     9,460.78    3.00%    1,201.29        8,433.55       4.45%       2,228.52    Management Fees                   82,323.86     3.18%    70,926.09      3.02%   11,397.77       64,482.00     3.01%       17,841.86

        78,422.24     23.14%    77,590.31   24.60%      831.93       72,389.38      38.20%       6,032.86    Total Fixed Expenses             704,504.61    27.17%   703,429.00     29.93%    1,075.61      699,209.11    32.65%        5,295.50

       -36,386.05    -10.74%    41,763.57   13.24%   -78,149.62      -6,419.39       -3.39%     -29,966.66   Net Operating Profit              22,953.38    0.89%    -20,964.27     -0.89%   43,917.65       48,522.94     2.27%      -25,569.56



             0.00      0.00%         0.00   0.00%         0.00       49,475.00      26.11%      -49,475.00   Interest Expense - Other               0.00    0.00%          0.00     0.00%         0.00      494,020.96    23.07%    -494,020.96
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%            0.00   Owner's Expense                      949.17    0.04%          0.00     0.00%       949.17       12,696.79     0.59%     -11,747.62
             0.00      0.00%         0.00   0.00%         0.00        2,728.89       1.44%       -2,728.89   Extraordinary Expense                  0.00    0.00%          0.00     0.00%         0.00        4,513.26     0.21%      -4,513.26
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%            0.00   Prior Owner's Expense              5,371.59    0.21%          0.00     0.00%     5,371.59            0.00     0.00%       5,371.59
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%            0.00   Non Recurring Cost                10,638.03    0.41%          0.00     0.00%    10,638.03            0.00     0.00%      10,638.03



       -36,386.05    -10.74%    41,763.57   13.24%   -78,149.62     -58,623.28      -30.94%     22,237.23    Net Operating Income               5,994.59    0.23%    -20,964.27     -0.89%   26,958.86     -462,708.07    -21.61%    468,702.66

        18,265.64      5.39%         0.00   0.00%    18,265.64       17,743.49       9.36%          522.15   Capital Reserve                   72,712.57    2.80%          0.00     0.00%    72,712.57      177,434.90     8.29%    -104,722.33
             0.00      0.00%         0.00   0.00%         0.00       61,717.00      32.57%      -61,717.00   (Gain)/Loss-Insurance                  0.00    0.00%          0.00     0.00%         0.00      617,170.00    28.82%    -617,170.00

       -54,651.69    -16.13%    41,763.57   13.24%   -96,415.26    -138,083.77      -72.87%     83,432.08    Adjusted NOI                      -66,717.98   -2.57%   -20,964.27     -0.89%   -45,753.71   -1,257,312.97   -58.72%   1,190,594.99



             0.00      0.00%         0.00   0.00%         0.00        4,293.00       2.27%       -4,293.00   Amortization                           0.00    0.00%          0.00     0.00%         0.00       42,930.00     2.00%      -42,930.00



       -54,651.69    -16.13%    41,763.57   13.24%   -96,415.26    -142,376.77      -75.13%     87,725.08    Net Profit/(Loss)                 -66,717.98   -2.57%   -20,964.27     -0.89%   -45,753.71   -1,300,242.97   -60.72%   1,233,524.99




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                                                                                    Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                             P&L - Dual Summary Pages
                                                                                                                  As of 10/31/2021
              PTD     %        PTD Budget      %         Variance   PTD Last Year      %            Variance                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
        30,123.24      9.24%    45,411.20     14.90%   -15,287.96      15,084.47       8.20%       15,038.77   Corporate Transient                  165,644.71     6.58%     310,017.87     13.58%   -144,373.16     446,128.57    21.49%   -280,483.86
           836.35      0.26%         0.00      0.00%       836.35           0.00       0.00%          836.35   Advanced Purchase                     12,002.84     0.48%           0.00      0.00%     12,002.84           0.00     0.00%     12,002.84
        32,334.38      9.91%     5,890.00      1.93%    26,444.38           0.00       0.00%       32,334.38   AAA/AARP Transient                   282,025.25    11.20%     101,854.00      4.46%    180,171.25           0.00     0.00%    282,025.25
           873.00      0.27%         0.00      0.00%       873.00           0.00       0.00%          873.00   FIT(Flexible Independent Travel)       7,741.34     0.31%           0.00      0.00%      7,741.34           0.00     0.00%      7,741.34
         2,205.18      0.68%         0.00      0.00%     2,205.18           0.00       0.00%        2,205.18   Consortia Transient                   35,148.34     1.40%       3,212.50      0.14%     31,935.84           0.00     0.00%     35,148.34
           404.00      0.12%         0.00      0.00%       404.00           0.00       0.00%          404.00   Employee                              13,559.35     0.54%           0.00      0.00%     13,559.35           0.00     0.00%     13,559.35
         1,926.41      0.59%         0.00      0.00%     1,926.41           0.00       0.00%        1,926.41   Leisure Transient                    413,122.22    16.41%           0.00      0.00%    413,122.22           0.00     0.00%    413,122.22
           252.85      0.08%         0.00      0.00%       252.85           0.00       0.00%          252.85   Travel Agent/Friends & Family            761.70     0.03%           0.00      0.00%        761.70           0.00     0.00%        761.70
           562.40      0.17%         0.00      0.00%       562.40           0.00       0.00%          562.40   Leisure Package Transient              5,348.29     0.21%           0.00      0.00%      5,348.29           0.00     0.00%      5,348.29
         8,697.09      2.67%         0.00      0.00%     8,697.09           0.00       0.00%        8,697.09   Member Reward Stay                    45,483.20     1.81%           0.00      0.00%     45,483.20           0.00     0.00%     45,483.20
        11,262.97      3.45%    73,307.82     24.06%   -62,044.85     102,539.82      55.77%      -91,276.85   Extended Stay Transient               71,072.02     2.82%     534,936.06     23.43%   -463,864.04     611,522.97    29.46%   -540,450.95
        30,356.43      9.31%     6,138.00      2.01%    24,218.43           0.00       0.00%       30,356.43   Internet/E-Commerce                  242,085.69     9.61%      63,775.00      2.79%    178,310.69           0.00     0.00%    242,085.69
           486.00      0.15%         0.00      0.00%       486.00           0.00       0.00%          486.00   E-Commerce Opaque                        486.00     0.02%           0.00      0.00%        486.00           0.00     0.00%        486.00
           -13.55      0.00%         0.00      0.00%       -13.55           0.00       0.00%          -13.55   Other Transient                        1,305.09     0.05%           0.00      0.00%      1,305.09           0.00     0.00%      1,305.09
         7,256.20      2.22%    31,970.16     10.49%   -24,713.96           0.00       0.00%        7,256.20   Government Transient                  83,297.65     3.31%     270,995.52     11.87%   -187,697.87           0.00     0.00%     83,297.65
        71,779.48     22.01%    87,978.00     28.87%   -16,198.52      23,694.24      12.89%       48,085.24   Rack Transient                       484,749.82    19.25%     592,643.14     25.95%   -107,893.32     460,490.99    22.18%     24,258.83
        19,431.76      5.96%    27,354.00      8.98%    -7,922.24      29,474.30      16.03%      -10,042.54   Local Negotiated Transient           174,072.14     6.91%     202,429.63      8.87%    -28,357.49     294,980.81    14.21%   -120,908.67

      218,774.19     67.08%    278,049.18    91.24%    -59,274.99    170,792.83       92.90%      47,981.36    Total Transient Room Revenue       2,037,905.65   80.94%    2,079,863.72   91.08%     -41,958.07    1,813,123.34    87.34%   224,782.31

                                                                                                               Group Room Revenue
        97,338.00     29.84%         0.00      0.00%    97,338.00      11,105.50       6.04%      86,232.50    Corporate Group                      418,848.59    16.63%      19,918.00     0.87%     398,930.59     125,528.64     6.05%    293,319.95
           805.00      0.25%         0.00      0.00%       805.00           0.00       0.00%         805.00    Leisure Group                          6,610.10     0.26%           0.00     0.00%       6,610.10           0.00     0.00%      6,610.10
             0.00      0.00%         0.00      0.00%         0.00       1,455.00       0.79%      -1,455.00    Government Group                         453.00     0.02%           0.00     0.00%         453.00     139,858.80     6.74%   -139,405.80
           467.59      0.14%         0.00      0.00%       467.59           0.00       0.00%         467.59    Tour & Travel Group                      780.34     0.03%           0.00     0.00%         780.34           0.00     0.00%        780.34
         8,017.00      2.46%     8,900.00      2.92%      -883.00           0.00       0.00%       8,017.00    SMERF Group                           48,431.42     1.92%      79,199.05     3.47%     -30,767.63           0.00     0.00%     48,431.42
           446.40      0.14%    17,800.00      5.84%   -17,353.60           0.00       0.00%         446.40    Sports Group                           2,517.40     0.10%     104,471.63     4.58%    -101,954.23           0.00     0.00%      2,517.40

      107,073.99     32.83%     26,700.00     8.76%    80,373.99      12,560.50        6.83%      94,513.49    Total Group Room Revenue            477,640.85    18.97%     203,588.68      8.92%    274,052.17     265,387.44     12.78%   212,253.41

                                                                                                               Contract Room Revenue

             0.00     0.00%          0.00     0.00%         0.00            0.00       0.00%           0.00    Total Contract Room Revenue                0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                               Other Room Revenue
           402.91      0.12%          0.00     0.00%       402.91         771.36       0.42%        -368.45    No-Show Rooms                          2,873.23     0.11%           0.00     0.00%       2,873.23       9,855.00     0.47%     -6,981.77

          402.91      0.12%          0.00     0.00%       402.91         771.36        0.42%        -368.45    Total Other Room Revenue               2,873.23    0.11%            0.00     0.00%      2,873.23        9,855.00    0.47%     -6,981.77

           -88.36     -0.03%          0.00     0.00%       -88.36        -278.44       -0.15%        190.08    Less: Allowances                        -473.40    -0.02%           0.00     0.00%       -473.40      -12,473.52    -0.60%    12,000.12

      326,162.73    100.00%    304,749.18    100.00%   21,413.55     183,846.25      100.00%     142,316.48    Total Room Revenue                 2,517,946.33   100.00%   2,283,452.40 100.00%      234,493.93    2,075,892.26 100.00%     442,054.07

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
         3,406.59      1.04%          0.00     0.00%     3,406.59           0.00        0.00%       3,406.59   Front Office Management                6,923.07     0.27%           0.00      0.00%      6,923.07           0.00     0.00%      6,923.07
             0.00      0.00%          0.00     0.00%         0.00         561.52        0.31%        -561.52   Revenue Management                         0.00     0.00%           0.00      0.00%          0.00       7,958.99     0.38%     -7,958.99
         3,832.37      1.17%      3,269.06     1.07%       563.31       4,407.46        2.40%        -575.09   Housekeeping Management               37,392.12     1.49%      31,961.26      1.40%      5,430.86      34,647.14     1.67%      2,744.98
        7,238.96      2.22%      3,269.06     1.07%     3,969.90       4,968.98        2.70%       2,269.98    Total Rooms Management               44,315.19     1.76%      31,961.26      1.40%     12,353.93      42,606.13     2.05%      1,709.06
         4,293.78      1.32%      6,026.40     1.98%    -1,732.62       3,668.81        2.00%         624.97   Front Office Agents                   68,645.35     2.73%      59,097.60      2.59%      9,547.75      39,879.92     1.92%     28,765.43
         3,261.08      1.00%      3,308.32     1.09%       -47.24       3,541.58        1.93%        -280.50   Night Auditors                        33,086.31     1.31%      32,442.88      1.42%        643.43      32,034.20     1.54%      1,052.11
         4,266.23      1.31%      2,976.00     0.98%     1,290.23           0.00        0.00%       4,266.23   Breakfast Attendant                   31,938.13     1.27%      29,184.00      1.28%      2,754.13      14,024.98     0.68%     17,913.15
       11,821.09      3.62%     12,310.72     4.04%      -489.63       7,210.39        3.92%       4,610.70    Total Rooms Front Office            133,669.79     5.31%     120,724.48      5.29%     12,945.31      85,939.10     4.14%     47,730.69
         4,007.76      1.23%      2,480.00     0.81%     1,527.76           0.00        0.00%       4,007.76   Housekeeping Supervisors              29,560.97     1.17%      24,320.00      1.07%      5,240.97       4,724.67     0.23%     24,836.30
        13,723.29      4.21%     13,807.48     4.53%       -84.19       9,190.58        5.00%       4,532.71   Room Attendants                      115,446.36     4.58%     106,973.90      4.68%      8,472.46      77,934.59     3.75%     37,511.77
         5,046.34      1.55%      3,224.00     1.06%     1,822.34       1,701.21        0.93%       3,345.13   Housepersons                          39,884.74     1.58%      31,616.00      1.38%      8,268.74      30,279.37     1.46%      9,605.37
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                                                                                    Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                             P&L - Dual Summary Pages
                                                                                                                  As of 10/31/2021
              PTD     %        PTD Budget     %          Variance   PTD Last Year      %            Variance                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %          Variance

         3,471.50      1.06%      3,000.80    0.98%       470.70           0.00         0.00%       3,471.50   Laundry Attendants                       11,856.86    0.47%      29,427.20      1.29%    -17,570.34       7,828.13     0.38%      4,028.73
       26,248.89      8.05%     22,512.28    7.39%     3,736.61       10,891.79        5.92%      15,357.10    Total Rooms Housekeeping               196,748.93    7.81%     192,337.10      8.42%      4,411.83     120,766.76     5.82%     75,982.17

       45,308.94     13.89%     38,092.06    12.50%    7,216.88       23,071.16       12.55%      22,237.78    Total Rooms Salary and Wages           374,733.91    14.88%    345,022.84    15.11%      29,711.07     249,311.99     12.01%   125,421.92

                                                                                                               PR Taxes and Benefits
         3,329.05      1.02%      2,924.36    0.96%        404.69       1,843.34        1.00%       1,485.71   FICA                                     29,110.97    1.16%      26,547.72      1.16%      2,563.25      23,393.90     1.13%      5,717.07
            60.20      0.02%         16.06    0.01%         44.14           0.00        0.00%          60.20   Federal Unemployment Tax                    922.69    0.04%         517.71      0.02%        404.98           0.00     0.00%        922.69
           289.38      0.09%         38.23    0.01%        251.15           0.00        0.00%         289.38   State Unemployment Tax                    3,395.56    0.13%       1,570.88      0.07%      1,824.68           0.00     0.00%      3,395.56
        3,678.63      1.13%      2,978.65    0.98%        699.98       1,843.34        1.00%       1,835.29    Total Payroll Taxes                     33,429.22    1.33%      28,636.31      1.25%      4,792.91      23,393.90     1.13%     10,035.32
             0.00      0.00%          0.00    0.00%          0.00           0.00        0.00%           0.00   Holiday                                   4,724.51    0.19%         600.00      0.03%      4,124.51       4,124.00     0.20%        600.51
           567.00      0.17%        128.21    0.04%        438.79         900.00        0.49%        -333.00   Vacation                                  2,887.28    0.11%       1,353.89      0.06%      1,533.39      36,550.00     1.76%    -33,662.72
          567.00      0.17%        128.21    0.04%        438.79         900.00        0.49%        -333.00    Total Supplemental Pay                   7,611.79    0.30%       1,953.89      0.09%      5,657.90      40,674.00     1.96%    -33,062.21
         1,085.44      0.33%      1,830.78    0.60%       -745.34           0.00        0.00%       1,085.44   Worker's Compensation                    13,621.37    0.54%      17,092.59      0.75%     -3,471.22           0.00     0.00%     13,621.37
         1,300.15      0.40%      1,680.00    0.55%       -379.85         371.99        0.20%         928.16   Group Insurance                           9,156.49    0.36%      16,240.00      0.71%     -7,083.51       7,961.48     0.38%      1,195.01
        2,385.59      0.73%      3,510.78    1.15%     -1,125.19         371.99        0.20%       2,013.60    Total Other Benefits                    22,777.86    0.90%      33,332.59      1.46%    -10,554.73       7,961.48     0.38%     14,816.38

        6,631.22      2.03%      6,617.64    2.17%         13.58       3,115.33        1.69%       3,515.89    Total Rooms PR Taxes and Benefits       63,818.87    2.53%      63,922.79      2.80%       -103.92      72,029.38     3.47%     -8,210.51

       51,940.16     15.92%     44,709.70    14.67%    7,230.46       26,186.49       14.24%      25,753.67    Total Rooms Labor Costs                438,552.78    17.42%    408,945.63    17.91%      29,607.15     321,341.37     15.48%   117,211.41

                                                                                                               Other Expenses
        14,698.63      4.51%      8,890.84    2.92%     5,807.79        4,752.60       2.59%       9,946.03    Breakfast /Comp Cost                    107,030.61    4.25%      69,107.32     3.03%      37,923.29      68,397.28     3.29%     38,633.33
         2,195.97      0.67%        996.30    0.33%     1,199.67        1,599.72       0.87%         596.25    Cleaning Supplies                        16,925.38    0.67%       7,718.83     0.34%       9,206.55       7,217.54     0.35%      9,707.84
             0.00      0.00%          0.00    0.00%         0.00            0.00       0.00%           0.00    Contract Cleaning                         2,637.99    0.10%           0.00     0.00%       2,637.99           0.00     0.00%      2,637.99
         3,237.63      0.99%          0.00    0.00%     3,237.63            0.00       0.00%       3,237.63    Contract Labor                            9,091.86    0.36%           0.00     0.00%       9,091.86           0.00     0.00%      9,091.86
            70.77      0.02%          0.00    0.00%        70.77            0.00       0.00%          70.77    Equipment Rental                            537.91    0.02%           0.00     0.00%         537.91           0.00     0.00%        537.91
             0.00      0.00%        820.48    0.27%      -820.48            0.00       0.00%           0.00    Glassware                                     0.00    0.00%       6,356.68     0.28%      -6,356.68           0.00     0.00%          0.00
             0.00      0.00%          0.00    0.00%         0.00            0.00       0.00%           0.00    Guest Loss/Damage                             4.16    0.00%           0.00     0.00%           4.16           0.00     0.00%          4.16
           748.24      0.23%      3,516.34    1.15%    -2,768.10        2,043.94       1.11%      -1,295.70    Guest Supplies                           21,778.58    0.86%      27,242.93     1.19%      -5,464.35      18,972.91     0.91%      2,805.67
             0.00      0.00%          0.00    0.00%         0.00            0.00       0.00%           0.00    In-House Entertainment                       43.97    0.00%           0.00     0.00%          43.97           0.00     0.00%         43.97
             0.00      0.00%          0.00    0.00%         0.00          479.50       0.26%        -479.50    Internet/Web Expense                          0.00    0.00%           0.00     0.00%           0.00       4,697.52     0.23%     -4,697.52
           226.89      0.07%        908.39    0.30%      -681.50            0.00       0.00%         226.89    Laundry                                   4,939.42    0.20%       7,037.76     0.31%      -2,098.34       1,032.84     0.05%      3,906.58
           340.60      0.10%          0.00    0.00%       340.60            0.00       0.00%         340.60    Laundry Allocation                          340.60    0.01%           0.00     0.00%         340.60           0.00     0.00%        340.60
         1,788.62      0.55%      1,611.65    0.53%       176.97        1,098.32       0.60%         690.30    Linen                                    20,286.32    0.81%      12,486.34     0.55%       7,799.98       8,231.76     0.40%     12,054.56
             0.00      0.00%          0.00    0.00%         0.00            0.00       0.00%           0.00    Linen Rental                                403.45    0.02%           0.00     0.00%         403.45           0.00     0.00%        403.45
             0.00      0.00%          0.00    0.00%         0.00            0.00       0.00%           0.00    Miscellaneous Expense                        43.97    0.00%           0.00     0.00%          43.97           0.00     0.00%         43.97
             0.00      0.00%          0.00    0.00%         0.00            0.00       0.00%           0.00    Newspaper                                     0.00    0.00%           0.00     0.00%           0.00         351.05     0.02%       -351.05
           310.84      0.10%          0.00    0.00%       310.84            0.00       0.00%         310.84    Office Equipment                          1,058.88    0.04%           0.00     0.00%       1,058.88           0.00     0.00%      1,058.88
             0.00      0.00%          0.00    0.00%         0.00          645.58       0.35%        -645.58    Operating Supplies                            0.00    0.00%           0.00     0.00%           0.00       5,038.57     0.24%     -5,038.57
             0.00      0.00%          0.00    0.00%         0.00            0.00       0.00%           0.00    Printing and Stationery                     723.76    0.03%           0.00     0.00%         723.76       3,620.45     0.17%     -2,896.69
             0.00      0.00%          0.00    0.00%         0.00        1,375.12       0.75%      -1,375.12    Reservation Expense                           0.00    0.00%           0.00     0.00%           0.00      12,623.34     0.61%    -12,623.34
            50.00      0.02%      5,655.44    1.86%    -5,605.44            0.00       0.00%          50.00    Rooms Promotion                             918.51    0.04%      23,469.53     1.03%     -22,551.02       2,165.36     0.10%     -1,246.85
         1,916.54      0.59%      1,900.00    0.62%        16.54        1,852.28       1.01%          64.26    Television Cable                         18,837.70    0.75%      19,000.00     0.83%        -162.30      16,735.80     0.81%      2,101.90
             0.00      0.00%        146.51    0.05%      -146.51            0.00       0.00%           0.00    Transportation                                0.00    0.00%       1,135.12     0.05%      -1,135.12           0.00     0.00%          0.00
             0.00      0.00%        534.00    0.18%      -534.00            0.00       0.00%           0.00    Travel Agent Comm - Group Rooms           1,208.41    0.05%       4,071.77     0.18%      -2,863.36           0.00     0.00%      1,208.41
        43,925.68     13.47%      6,481.68    2.13%    37,444.00        4,606.07       2.51%      39,319.61    Travel Agent Comm - Transient Rooms      88,153.51    3.50%      51,163.54     2.24%      36,989.97      61,679.73     2.97%     26,473.78
             0.00      0.00%        300.00    0.10%      -300.00           88.47       0.05%         -88.47    Uniforms                                  2,542.89    0.10%       3,000.00     0.13%        -457.11         545.12     0.03%      1,997.77
             0.00      0.00%          0.00    0.00%         0.00            0.00       0.00%           0.00    Walked Guests                             4,324.26    0.17%           0.00     0.00%       4,324.26           0.00     0.00%      4,324.26

       69,510.41     21.31%     31,761.63    10.42%   37,748.78       18,541.60       10.09%      50,968.81    Total Rooms Other Expenses             301,832.14    11.99%    231,789.82    10.15%      70,042.32     211,309.27     10.18%    90,522.87

      121,450.57     37.24%     76,471.33    25.09%   44,979.24       44,728.09       24.33%      76,722.48    Total Rooms Expenses                   740,384.92    29.40%    640,735.45    28.06%      99,649.47     532,650.64     25.66%   207,734.28

      204,712.16     62.76%    228,277.85    74.91%   -23,565.69     139,118.16       75.67%      65,594.00    Total Rooms Profit (Loss)             1,777,561.41   70.60%   1,642,716.95   71.94%     134,844.46    1,543,241.62    74.34%   234,319.79




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                                                                                                     As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year      %            Variance                                                        YTD    %   YTD Budget %    Variance   YTD Last Year   %    Variance

                                                                                                  Room Sale Stats
                                                                                                  Tranisent Rooms
           290.00              493.60        -203.60         152.00                      138.00   Room Stat - Corporate Transient                  1,511.00         3,251.14     -1,740.14       3,990.00        -2,479.00
             4.00                0.00           4.00           0.00                        4.00   Room Stat - Advanced Purchase                       79.00             0.00         79.00           0.00            79.00
           245.00               62.00         183.00           0.00                      245.00   Room Stat - AAA/AARP Transient                   2,364.00           992.00      1,372.00           0.00         2,364.00
             6.00                0.00           6.00           0.00                        6.00   Room Stat - FIT(Flexible Independent Travel)        71.00             0.00         71.00           0.00            71.00
            17.00                0.00          17.00           0.00                       17.00   Room Stat - Consortia Rate Transient               337.00            34.00        303.00           0.00           337.00
             8.00                0.00           8.00           0.00                        8.00   Room Stat - Employee                               287.00             0.00        287.00           0.00           287.00
            10.00                0.00          10.00           0.00                       10.00   Room Stat - Leisure Transient                    4,323.00             0.00      4,323.00           0.00         4,323.00
             4.00                0.00           4.00           0.00                        4.00   Room Stat - Package Transient                       31.00             0.00         31.00           0.00            31.00
             3.00                0.00           3.00           0.00                        3.00   Room Stat - Travel Agent/Friends & Family            7.00             0.00          7.00           0.00             7.00
           164.00                0.00         164.00           0.00                      164.00   Room Stat - Member Reward Stay                     943.00             0.00        943.00           0.00           943.00
           123.00              779.76        -656.76       1,144.00                   -1,021.00   Room Stat - Extended Stay Transient                762.00         6,192.76     -5,430.76       7,084.00        -6,322.00
           223.00               62.00         161.00           0.00                      223.00   Room Stat - Internet                             1,906.00           685.00      1,221.00           0.00         1,906.00
             0.00                0.00           0.00           0.00                        0.00   Room Stat - Other Transient                          1.00             0.00          1.00           0.00             1.00
            62.00              259.92        -197.92          12.00                       50.00   Room Stat - Government Rate Transient              786.00         2,203.54     -1,417.54       1,184.00          -398.00
           555.00              682.00        -127.00         201.00                      354.00   Room Stat - Rack Rate Transient                  4,006.00         4,654.00       -648.00       3,328.00           678.00
           195.00              291.00         -96.00         369.00                     -174.00   Room Stat - Local Negotiated Transient           2,192.00         2,341.00       -149.00       3,423.00        -1,231.00
        1,909.00            2,630.28        -721.28       1,878.00                        31.00   Total Transient Rooms Sold                     19,606.00        20,353.44       -747.44      19,009.00           597.00

                                                                                                  Group Rooms
         1,157.00                0.00       1,157.00         125.00                    1,032.00   Room Stat - Corporate Group Rooms                5,051.00           302.00      4,749.00       1,138.00         3,913.00
             5.00                0.00           5.00           0.00                        5.00   Room Stat - Leisure Group                           59.00             0.00         59.00           0.00            59.00
             0.00                0.00           0.00           0.00                        0.00   Room Stat - Government Group                         4.00             0.00          4.00           0.00             4.00
             3.00                0.00           3.00           0.00                        3.00   Room Stat - Tour & Travel Group                      6.00             0.00          6.00           0.00             6.00
            79.00              100.00         -21.00           0.00                       79.00   Room Stat - SMERF Group                            466.00           886.00       -420.00           0.00           466.00
             4.00              200.00        -196.00           0.00                        4.00   Room Stat - Sports Group                            25.00         1,150.00     -1,125.00           0.00            25.00
        1,248.00              300.00         948.00         125.00                    1,123.00    Total Group Rooms Sold                          5,611.00         2,338.00      3,273.00       1,138.00         4,473.00

                                                                                                  Contract Rooms
             0.00               0.00           0.00            0.00                       0.00    Total Contract Rooms Sold                           0.00             0.00          0.00            0.00            0.00

        3,157.00            2,930.28         226.72       2,003.00                    1,154.00    Total Rooms Sold                               25,217.00        22,691.44      2,525.56      20,147.00         5,070.00
            16.00               0.00           16.00           1.00                      15.00    Room Stat-Comp Rooms                                79.00             7.00         72.00          31.00            48.00
        3,173.00            2,930.28         242.72       2,004.00                    1,169.00    Total Rooms Occupied                           25,296.00        22,698.44      2,597.56      20,178.00         5,118.00
           665.00               0.00          665.00         635.00                      30.00    Room Stat-Out of Order                           9,244.00           732.00      8,512.00       3,573.00         5,671.00

                                                                                                  ADR
           103.87               92.00         11.87           99.24                       4.63    Corporate Transient ADR                            109.63            95.36        14.27          111.81           -2.19
           209.09                0.00        209.09            0.00                     209.09    Advanced Purchase ADR                              151.93             0.00       151.93            0.00          151.93
           131.98               95.00         36.98            0.00                     131.98    AAA/AARP ADR                                       119.30           102.68        16.62            0.00          119.30
           145.50                0.00        145.50            0.00                     145.50    FIT ADR                                            109.03             0.00       109.03            0.00          109.03
           129.72                0.00        129.72            0.00                     129.72    Consortia ADR                                      104.30            94.49         9.81            0.00          104.30
            50.50                0.00         50.50            0.00                      50.50    Employee ADR                                        47.25             0.00        47.25            0.00           47.25
           192.64                0.00        192.64            0.00                     192.64    Leisure ADR                                         95.56             0.00        95.56            0.00           95.56
            84.28                0.00         84.28            0.00                      84.28    Travel Agent/Friends & Family ADR                  108.81             0.00       108.81            0.00          108.81
            56.24                0.00         56.24            0.00                      56.24    Leisure Package ADR                                  1.24             0.00         1.24            0.00            1.24
            53.03                0.00         53.03            0.00                      53.03    Member Reward Stay ADR                              48.23             0.00        48.23            0.00           48.23
             0.00                0.00          0.00            0.00                       0.00    Golf Pkg ADR                                         0.00             0.00         0.00            0.00            0.00
            91.57               94.01         -2.44           89.63                       1.94    Extended Stay ADR                                   93.27            86.38         6.89           86.32            6.95
           136.13               99.00         37.13            0.00                     136.13    Internet ADR                                       127.01            93.10        33.91            0.00          127.01
             0.00                0.00          0.00            0.00                       0.00    E-Commerce Opaque ADR                                0.00             0.00         0.00            0.00            0.00
             0.00                0.00          0.00            0.00                       0.00    Other Transient ADR                              1,305.09             0.00     1,305.09            0.00        1,305.09
             0.00                0.00          0.00            0.00                       0.00    Airline Distressed Passenger ADR                     0.00             0.00         0.00            0.00            0.00
           117.04              123.00         -5.96            0.00                     117.04    Government ADR                                     105.98           122.98       -17.01            0.00          105.98
           129.33              129.00          0.33          117.88                      11.45    Rack ADR                                           121.01           127.34        -6.33          138.37          -17.36
            99.65               94.00          5.65           79.88                      19.77    Local Negotiated ADR                                79.41            86.47        -7.06           86.18           -6.76
          114.60              105.71           8.89           90.94                      23.66    Total Transient ADR                               103.94           102.19          1.76           95.38            8.56

            84.13                0.00         84.13           88.84                      -4.71    Corporate Group ADR                                82.92             65.95        16.97          110.31          -27.38
           161.00                0.00        161.00            0.00                     161.00    Leisure Group ADR                                 112.04              0.00       112.04            0.00          112.04
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                                                                       Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                     As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year      %            Variance                                         YTD     %       YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00           0.00                        0.00    Government Group ADR                113.25                 0.00       113.25           0.00           113.25
           155.86               0.00         155.86           0.00                      155.86    Tour & Travel Group ADR             130.06                 0.00       130.06           0.00           130.06
             0.00               0.00           0.00           0.00                        0.00    Association Group ADR                 0.00                 0.00         0.00           0.00             0.00
             0.00               0.00           0.00           0.00                        0.00    City Wide Group ADR                   0.00                 0.00         0.00           0.00             0.00
           101.48              89.00          12.48           0.00                      101.48    SMERF Group ADR                     103.93                89.39        14.54           0.00           103.93
           111.60              89.00          22.60           0.00                      111.60    Sports Group ADR                    100.70                90.84         9.85           0.00           100.70
             0.00               0.00           0.00           0.00                        0.00    Other Group ADR                       0.00                 0.00         0.00           0.00             0.00
            85.80              89.00          -3.20         100.48                      -14.69    Total Group ADR                      85.13                87.08        -1.95         233.21         -148.08

             0.00               0.00           0.00            0.00                       0.00    Airline Crew ADR                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Other Contract ADR                    0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Contract ADR                    0.00                 0.00         0.00            0.00           0.00

          103.31              104.00          -0.69           91.79                      11.53    Total ADR                            99.85               100.63        -0.78         103.04           -3.19




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                                                                                 Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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              PTD     %        PTD Budget   %         Variance   PTD Last Year      %            Variance                                                 YTD      %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            F&B Summary
                                                                                                            Revenue
             0.00      0.00%        0.00     0.00%        0.00           0.00        0.00%           0.00   Outlet Food Revenue                           0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
         2,660.90     26.86%        0.00     0.00%    2,660.90           0.00        0.00%       2,660.90   Banquet and Catering Food Revenue         5,351.95     18.26%        0.00       0.00%     5,351.95           0.00     0.00%     5,351.95
             0.00      0.00%        0.00     0.00%        0.00           0.00        0.00%           0.00   Outlet Beverage Revenue                       0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%        0.00           0.00        0.00%           0.00   Banquet and Catering Beverage Revenue     1,124.00      3.83%        0.00       0.00%     1,124.00           0.00     0.00%     1,124.00
             0.00      0.00%        0.00     0.00%        0.00           0.00        0.00%           0.00   Outlet Other Revenue                          0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
         7,245.38     73.14%        0.00     0.00%    7,245.38           0.00        0.00%       7,245.38   Banquet and Catering Other Revenue       22,840.24     77.91%        0.00       0.00%    22,840.24           0.00     0.00%    22,840.24
        9,906.28    100.00%         0.00    0.00%    9,906.28            0.00       0.00%       9,906.28    Total F&B Revenue                       29,316.19    100.00%         0.00      0.00%    29,316.19            0.00    0.00%    29,316.19

                                                                                                            Cost of Sales
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Food Purchases                            1,595.33      5.44%        0.00       0.00%     1,595.33           0.00     0.00%     1,595.33
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Beverage Purchases                          337.40      1.15%        0.00       0.00%       337.40           0.00     0.00%       337.40
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Cedit Employee Meals                          0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Credit House Charges                          0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Credit In-House Promotions                    0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Audio Visual Cost of Sales                    0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Other Cost of Sales                           0.00      0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total F&B Cost of Sales                  1,932.73      6.59%         0.00      0.00%     1,932.73            0.00    0.00%     1,932.73

        9,906.28    100.00%         0.00    0.00%    9,906.28            0.00       0.00%       9,906.28    F&B Gross Profit                        27,383.46     93.41%         0.00      0.00%    27,383.46            0.00    0.00%    27,383.46

                                                                                                            Expenses
                                                                                                            Payroll
                                                                                                            Salaries and Wages
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Management                                   0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Non-Management                               0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total F&B Salaries and Wages                 0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
                                                                                                            PR Taxes and Benefits
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Payroll Taxes                                0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Supplemental Pay                             0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Other Benefits                               0.00       0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total F&B PR Taxes and Benefits              0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total F&B Payroll                            0.00      0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            Other Expenses
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Audio Visual Supplies                        0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
            82.00      0.83%         0.00   0.00%       82.00            0.00       0.00%          82.00    Banquet Expense                            584.69      1.99%          0.00     0.00%       584.69            0.00    0.00%       584.69
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Bar Expense/Promos                           0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Bar Supplies                                 0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    China                                        0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Cleaning Supplies                            0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Communication Expense                        0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Contract Cleaning                            0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Contract Labor                               0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Decorations & Plants                         0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Dues and Subscriptions                       0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Equipment Rental                           285.00      0.97%          0.00     0.00%       285.00            0.00    0.00%       285.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Food and Beverage Advertising                0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Glassware                                    0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Guest Loss/Damage                            0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Guest Supplies                             125.07      0.43%          0.00     0.00%       125.07            0.00    0.00%       125.07
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    In-House Entertainment                       0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
           215.00      2.17%         0.00   0.00%      215.00            0.00       0.00%         215.00    Kitchen/Cooking Fuel                       215.00      0.73%          0.00     0.00%       215.00            0.00    0.00%       215.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Kitchen Equipment                            0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Laundry - Outside Expense                    0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Laundry Allocation                           0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Licenses/Permits                             0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Linen                                        0.00      0.00%          0.00     0.00%         0.00            0.00    0.00%         0.00
            97.93      0.99%         0.00   0.00%       97.93            0.00       0.00%          97.93    Linen Rental                               488.62      1.67%          0.00     0.00%       488.62            0.00    0.00%       488.62
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                                                                                 Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget   %         Variance   PTD Last Year      %            Variance                                          YTD     %        YTD Budget %              Variance   YTD Last Year   %          Variance

           212.57      2.15%        0.00     0.00%     212.57            0.00        0.00%        212.57    Maintenance Contracts                212.57     0.73%        0.00       0.00%       212.57           0.00     0.00%       212.57
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Meals and Entertainment                0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Menus                                  0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Miscellaneous Expense                  0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Music and Entertainment                0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Office Equipment                       0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Office Supplies                        0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Operating Supplies                     0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Paper/Plastic Supplies             1,146.08     3.91%        0.00       0.00%     1,146.08           0.00     0.00%     1,146.08
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Printing and Stationery                0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Silverware                             0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Software Expense/Maintenance           0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Television Cable                       0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Training                               0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Travel                                 0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Uniforms                               0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Utensils                               0.00     0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
          607.50      6.13%         0.00    0.00%     607.50             0.00       0.00%        607.50     Total F&B Other Expenses          3,057.03    10.43%         0.00      0.00%     3,057.03            0.00    0.00%     3,057.03

          607.50      6.13%         0.00    0.00%     607.50             0.00       0.00%        607.50     Total F&B Expenses                3,057.03    10.43%         0.00      0.00%     3,057.03            0.00    0.00%     3,057.03

        9,298.78     93.87%         0.00    0.00%    9,298.78            0.00       0.00%       9,298.78    Total F&B Profit (Loss)          24,326.43    82.98%         0.00      0.00%    24,326.43            0.00    0.00%    24,326.43




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                                                                                                     As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year      %            Variance                                         YTD     %       YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                                  F&B Stats
                                                                                                  Restaurant 1
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                       0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Restaurant 1 Covers             0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Restaurant 1 Avg Check                0.00                 0.00         0.00            0.00           0.00

                                                                                                  Restaurant 2
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                       0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Restaurant 2 Covers             0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Restaurant 2 Avg Check                0.00                 0.00         0.00            0.00           0.00

                                                                                                  Room Service
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                       0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Room Service Covers             0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Room Service Avg Check                0.00                 0.00         0.00            0.00           0.00

                                                                                                  Banquets
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                       0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Banquets Covers                 0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Banquets Avg Check                    0.00                 0.00         0.00            0.00           0.00

                                                                                                  Catering
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                       0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Catering Covers                 0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Catering Avg Check                    0.00                 0.00         0.00            0.00           0.00

                                                                                                  Restaurant 3
             0.00                0.00          0.00            0.00                       0.00    Breakfast Avg Check                   0.00                  0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                       0.00    Lunch Avg Check                       0.00                  0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                       0.00    Dinner Avg Check                      0.00                  0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                       0.00    Brunch Avg Check                      0.00                  0.00        0.00            0.00           0.00
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                                                                       Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                     As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year      %            Variance                                         YTD     %       YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Restaurant 3 Covers             0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Restaurant 3 Avg Check                0.00                 0.00         0.00            0.00           0.00

                                                                                                  Restaurant 4
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                       0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Restaurant 4 Covers             0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Restaurant 4 Avg Check                0.00                 0.00         0.00            0.00           0.00

                                                                                                  Restaurant 5
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                       0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Restaurant 5 Covers             0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Restaurant 5 Avg Check                0.00                 0.00         0.00            0.00           0.00

                                                                                                  Bar 1
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                       0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Bar 1 Covers                    0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Bar 1 Avg Check                       0.00                 0.00         0.00            0.00           0.00

                                                                                                  Bar 2
             0.00               0.00           0.00            0.00                       0.00    Breakfast Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Lunch Avg Check                       0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Dinner Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Brunch Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Late Night Avg Check                  0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Breaks Avg Check                      0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Reception Avg Check                   0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Total Bar 2 Covers                    0.00                 0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                       0.00    Bar 2 Avg Check                       0.00                 0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                       0.00    Total Covers                          0.00                 0.00         0.00            0.00           0.00




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                                                                               Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget   %       Variance   PTD Last Year      %            Variance                                                YTD     %       YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                          Food Admin
                                                                                                          Cost of Sales
             0.00      0.00%         0.00   0.00%      0.00            0.00       0.00%           0.00    Food Purchases                           1,595.33    5.44%         0.00     0.00%   1,595.33            0.00    0.00%   1,595.33

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Food Admin Cost of Sales           1,595.33   5.44%         0.00      0.00%   1,595.33            0.00    0.00%   1,595.33

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Food Admin Management                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Food Admin Non-Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Food Admin Salaries and Wages          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          PR Taxes and Benefits

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Payroll Taxes                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Supplemental Pay                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Other Benefits                         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Food Admin PR Taxes and Benefits       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Food Admin Payroll                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                          Other Expenses
            82.00      0.83%         0.00   0.00%     82.00            0.00       0.00%          82.00    Banquet Expense                            584.69    1.99%         0.00     0.00%     584.69            0.00    0.00%     584.69
             0.00      0.00%         0.00   0.00%      0.00            0.00       0.00%           0.00    Equipment Rental                           285.00    0.97%         0.00     0.00%     285.00            0.00    0.00%     285.00
             0.00      0.00%         0.00   0.00%      0.00            0.00       0.00%           0.00    Guest Supplies                             125.07    0.43%         0.00     0.00%     125.07            0.00    0.00%     125.07
           215.00      2.17%         0.00   0.00%    215.00            0.00       0.00%         215.00    Kitchen/Cooking Fuel                       215.00    0.73%         0.00     0.00%     215.00            0.00    0.00%     215.00
            97.93      0.99%         0.00   0.00%     97.93            0.00       0.00%          97.93    Linen Rental                               488.62    1.67%         0.00     0.00%     488.62            0.00    0.00%     488.62
           212.57      2.15%         0.00   0.00%    212.57            0.00       0.00%         212.57    Maintenance Contracts                      212.57    0.73%         0.00     0.00%     212.57            0.00    0.00%     212.57
             0.00      0.00%         0.00   0.00%      0.00            0.00       0.00%           0.00    Paper/Plastic Supplies                   1,146.08    3.91%         0.00     0.00%   1,146.08            0.00    0.00%   1,146.08

          607.50      6.13%         0.00    0.00%   607.50             0.00       0.00%        607.50     Total Food Admin Other Expenses          3,057.03   10.43%        0.00      0.00%   3,057.03            0.00    0.00%   3,057.03

          607.50      6.13%         0.00    0.00%   607.50             0.00       0.00%        607.50     Total Food Admin Expenses                3,057.03   10.43%        0.00      0.00%   3,057.03            0.00    0.00%   3,057.03

          607.50      6.13%         0.00    0.00%   607.50             0.00       0.00%        607.50     Departmental Costs                       4,652.36   15.87%        0.00      0.00%   4,652.36            0.00    0.00%   4,652.36




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              PTD     %        PTD Budget   %       Variance   PTD Last Year      %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                          Beverage Admin
             0.00      0.00%         0.00   0.00%      0.00            0.00       0.00%           0.00    Less Adjustments                        0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Beverage Admin Revenue            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                          Cost of Sales
             0.00      0.00%         0.00   0.00%      0.00            0.00       0.00%           0.00    Beverage Purchases                    337.40   0.00%         0.00     0.00%    337.40            0.00    0.00%    337.40

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Beverage Admin Cost of Sales    337.40   0.00%        0.00      0.00%   337.40             0.00    0.00%   337.40

                                                                                                          Expenses
                                                                                                          Other Expenses

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Beverage Admin Other Expenses     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Total Beverage Admin Expenses           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00       0.00%           0.00    Departmental Costs                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Room Service
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                 Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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              PTD     %        PTD Budget   %         Variance   PTD Last Year      %            Variance                                            YTD     %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            Banquets
                                                                                                            Food Revenue
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Food-Lunch                             255.00     0.87%         0.00     0.00%       255.00            0.00    0.00%       255.00
           150.00      1.51%         0.00   0.00%      150.00            0.00       0.00%         150.00    Food-Dinner                          2,186.05     7.46%         0.00     0.00%     2,186.05            0.00    0.00%     2,186.05
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Food-Brunch                            400.00     1.36%         0.00     0.00%       400.00            0.00    0.00%       400.00
         2,510.90     25.35%         0.00   0.00%    2,510.90            0.00       0.00%       2,510.90    Food-Reception                       2,510.90     8.56%         0.00     0.00%     2,510.90            0.00    0.00%     2,510.90

        2,660.90     26.86%         0.00    0.00%    2,660.90            0.00       0.00%       2,660.90    Banquets Food Revenue                5,351.95   18.26%         0.00      0.00%     5,351.95            0.00    0.00%     5,351.95
            0.00       0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00

        2,660.90     26.86%         0.00    0.00%    2,660.90            0.00       0.00%       2,660.90    Total Banquets Food Revenue          5,351.95   18.26%         0.00      0.00%     5,351.95            0.00    0.00%     5,351.95

                                                                                                            Beverage Revenue
             0.00      0.00%         0.00   0.00%        0.00            0.00       0.00%           0.00    Liquor                               1,124.00     3.83%         0.00     0.00%     1,124.00            0.00    0.00%     1,124.00

             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Banquets Beverage Revenue            1,124.00    3.83%         0.00      0.00%     1,124.00            0.00    0.00%     1,124.00
             0.00      0.00%        0.00     0.00%       0.00            0.00        0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Banquets Beverage Revenue      1,124.00    3.83%         0.00      0.00%     1,124.00            0.00    0.00%     1,124.00

                                                                                                            Other Revenue
           565.00      5.70%         0.00   0.00%      565.00            0.00       0.00%         565.00    Audio/Visual Income                    709.71     2.42%         0.00     0.00%       709.71            0.00    0.00%       709.71
         1,305.38     13.18%         0.00   0.00%    1,305.38            0.00       0.00%       1,305.38    Setup Fee                            1,500.06     5.12%         0.00     0.00%     1,500.06            0.00    0.00%     1,500.06
         5,375.00     54.26%         0.00   0.00%    5,375.00            0.00       0.00%       5,375.00    Public Room Rental                  20,630.47    70.37%         0.00     0.00%    20,630.47            0.00    0.00%    20,630.47

        7,245.38     73.14%         0.00    0.00%    7,245.38            0.00       0.00%       7,245.38    Total Banquets Other Revenue        22,840.24   77.91%         0.00      0.00%    22,840.24            0.00    0.00%    22,840.24

        9,906.28    100.00%         0.00    0.00%    9,906.28            0.00       0.00%       9,906.28    Total Banquets Revenue              29,316.19   100.00%        0.00      0.00%    29,316.19            0.00    0.00%    29,316.19

                                                                                                            Cost of Sales

             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Banquets Cost of Sales             0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

        9,906.28    100.00%         0.00    0.00%    9,906.28            0.00       0.00%       9,906.28    Gross Profit                        29,316.19   100.00%        0.00      0.00%    29,316.19            0.00    0.00%    29,316.19

                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Banquets Management                0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Banquets Non-Management            0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00                   0.00                 0.00            0.00                       0.00    Total Banquets Salaries and Wages        0.00                  0.00                    0.00            0.00                  0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Payroll Taxes                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Supplemental Pay                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Other Benefits                     0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00                   0.00                 0.00            0.00                       0.00    Total Banquet Benefits                   0.00                  0.00                    0.00            0.00                  0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Banquets Payroll                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Banquets Other Expenses            0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00       0.00%           0.00    Total Banquets Expenses                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00


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                                                                               Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
              PTD     %       PTD Budget   %        Variance   PTD Last Year      %            Variance                                         YTD     %        YTD Budget %             Variance   YTD Last Year   %         Variance

        9,906.28    100.00%        0.00    0.00%   9,906.28            0.00       0.00%       9,906.28    Total Banquets Profit (Loss)     29,316.19   100.00%        0.00      0.00%   29,316.19            0.00    0.00%   29,316.19




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                                                                                Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Catering
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Catering Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Catering Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Catering Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Catering Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 3
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 4
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 5
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                         YTD     %       YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 1
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Bar 1 Food Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Food Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Bar 1 Beverage Revenue                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Beverage Revenue          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Other Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Cost of Sales             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Gross Profit                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Non-Management            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Salaries and Wages        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 PR Taxes and Benefits     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Payroll                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Other Expenses            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Expenses                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 1 Profit (Loss)             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                         YTD     %       YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Bar 2 Food Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Food Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Bar 2 Beverage Revenue                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Beverage Revenue          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Other Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Cost of Sales             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Gross Profit                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expenses
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Non-Management            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Salaries and Wages        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 PR Taxes and Benefits     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Payroll                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Other Expenses            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Expenses                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Bar 2 Profit (Loss)             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                  Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year      %            Variance                                           YTD      %        YTD Budget %             Variance   YTD Last Year     %         Variance

                                                                                                             Telephone
            16.50   100.00%          0.00   0.00%        16.50           29.25      100.00%        -12.75    Local and Long Distance Revenue       180.50   100.00%          0.00     0.00%       180.50         264.25    100.00%       -83.75

           16.50    100.00%         0.00    0.00%        16.50           29.25     100.00%         -12.75    Telephone Revenue                    180.50    100.00%         0.00      0.00%      180.50         264.25 100.00%           -83.75
            0.00       0.00%        0.00     0.00%        0.00            0.00        0.00%          0.00    Less: Adjustments                      0.00       0.00%        0.00       0.00%       0.00           0.00    0.00%            0.00
           16.50    100.00%         0.00    0.00%        16.50           29.25     100.00%         -12.75    Total Telephone Revenue              180.50    100.00%         0.00      0.00%      180.50         264.25 100.00%           -83.75

                                                                                                             Cost of Sales
             0.00      0.00%     1,067.00    0.00%    -1,067.00       1,093.28 3,737.71%         -1,093.28   Cost of Sales - Local Calls        12,729.86 7,052.55%     10,670.00      0.00%    2,059.86       7,575.83 2,866.92%      5,154.03
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Cost of Sales - Long Distance         356.58   197.55%          0.00      0.00%      356.58           0.00     0.00%        356.58
             0.00     0.00%     1,067.00    0.00%    -1,067.00       1,093.283,737.71%          -1,093.28    Total Telephone Cost of Sales     13,086.44 7,250.11%     10,670.00      0.00%    2,416.44       7,575.832,866.92%       5,510.61

           16.50    100.00%    -1,067.00    0.00%    1,083.50       -1,064.03-3,637.71%          1,080.53    Gross Profit                      -12,905.94 -7,150.11%   -10,670.00     0.00%    -2,235.94     -7,311.58
                                                                                                                                                                                                                     -2,766.92%       -5,594.36

                                                                                                             Other Expenses
         2,788.52 16,900.12%     1,272.00    0.00%    1,516.52        1,235.26 4,223.11%          1,553.26   Internet/Web Expense               19,021.12 10,538.02%    12,720.00      0.00%    6,301.12      12,420.75 4,700.38%      6,600.37
             0.00      0.00%         0.00    0.00%        0.00          181.56   620.72%           -181.56   Miscellaneous Expense                   0.00      0.00%         0.00      0.00%        0.00         941.56 356.31%         -941.56
            90.00    545.45%         0.00    0.00%       90.00            0.00     0.00%             90.00   Operating Supplies                     90.00     49.86%         0.00      0.00%       90.00         217.18    82.19%       -127.18
             0.00      0.00%        50.00    0.00%      -50.00            0.00     0.00%              0.00   Software Expense/Maintenance            0.00      0.00%       500.00      0.00%     -500.00           0.00     0.00%          0.00
           536.60 3,252.12%        100.00    0.00%      436.60            0.00     0.00%            536.60   Telephone Equipment                 2,462.96 1,364.52%      1,000.00      0.00%    1,462.96           0.00     0.00%      2,462.96
        3,415.1220,697.70%      1,422.00    0.00%    1,993.12        1,416.824,843.83%           1,998.30    Total Telephone Other Expenses    21,574.0811,952.40%     14,220.00      0.00%    7,354.08      13,579.495,138.88%       7,994.59

       -3,398.62
               -20,597.70%     -2,489.00    0.00%     -909.62       -2,480.85-8,481.54%           -917.77    Total Telephone Profit (Loss)     -34,480.02
                                                                                                                                                        -19,102.50%    -24,890.00     0.00%    -9,590.02    -20,891.07
                                                                                                                                                                                                                     -7,905.80%      -13,588.95




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                                                                                   Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                                 As of 10/31/2021
              PTD      %       PTD Budget     %         Variance   PTD Last Year      %            Variance                                                      YTD     %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                               Minor Operating
                                                                                                               Income
              0.00     0.00%     8,420.00    79.36%    -8,420.00           0.00        0.00%            0.00   Rental Income - Gift Shop                         0.00     0.00%    47,915.00    72.04%    -47,915.00           0.00      0.00%           0.00
              0.00     0.00%         0.00     0.00%         0.00         620.29       11.03%        -620.29    Rental Income - Other                             0.00     0.00%         0.00     0.00%          0.00      26,458.06     40.63%    -26,458.06
              0.00    0.00%     8,420.00    79.36%    -8,420.00         620.29       11.03%        -620.29     Total Rental Income                               0.00    0.00%    47,915.00    72.04%    -47,915.00      26,458.06     40.63%    -26,458.06
              0.00     0.00%         0.00     0.00%         0.00         185.64        3.30%        -185.64    Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00     0.00%          0.00       1,937.70      2.98%     -1,937.70
           710.25     25.10%         0.00     0.00%       710.25           0.00        0.00%         710.25    Vending Commissions Other                     4,194.25     9.30%         0.00     0.00%      4,194.25           0.00      0.00%      4,194.25
          710.25     25.10%          0.00    0.00%       710.25         185.64        3.30%         524.61     Total Vending Commission Income              4,194.25     9.30%          0.00    0.00%      4,194.25       1,937.70      2.98%      2,256.55
            -23.51    -0.83%       200.00     1.88%      -223.51          35.00        0.62%          -58.51   Cancellation Fee - Rooms                      2,829.70     6.28%     2,000.00     3.01%        829.70       2,845.51      4.37%         -15.81
           -23.51    -0.83%       200.00     1.88%      -223.51           35.00       0.62%          -58.51    Total Cancellation Fee Income                2,829.70     6.28%     2,000.00     3.01%        829.70       2,845.51      4.37%         -15.81
              0.00     0.00%       200.00     1.88%      -200.00           0.00        0.00%            0.00   Guest Laundry                                     0.00     0.00%     2,000.00     3.01%     -2,000.00         101.61      0.16%       -101.61
              0.00     0.00%         0.00     0.00%         0.00           0.00        0.00%            0.00   Interest Earned                                  14.85     0.03%         0.00     0.00%         14.85           0.00      0.00%          14.85
              0.00     0.00%        25.00     0.24%       -25.00         267.30        4.75%        -267.30    Internet Access                               1,321.45     2.93%       250.00     0.38%      1,071.45         653.45      1.00%        668.00
              0.00     0.00%         0.00     0.00%         0.00           0.00        0.00%            0.00   Fax/Copies                                        1.10     0.00%         0.00     0.00%          1.10           0.00      0.00%           1.10
              0.01     0.00%         0.00     0.00%         0.01           0.00        0.00%            0.01   Other Revenue 2                               4,328.22     9.60%         0.00     0.00%      4,328.22          14.90      0.02%      4,313.32
              0.00     0.00%         0.00     0.00%         0.00         200.00        3.56%        -200.00    Other Revenue 3                                 904.54     2.01%         0.00     0.00%        904.54       2,756.56      4.23%     -1,852.02
         2,143.44     75.73%     1,465.14    13.81%       678.30       2,288.23       40.71%        -144.79    Gift Shop Sales                              28,327.61    62.82%    11,351.22    17.07%     16,976.39      22,458.31     34.49%      5,869.30
              0.00     0.00%       300.00     2.83%      -300.00       2,025.00       36.02%      -2,025.00    Pet Fees                                      3,170.00     7.03%     3,000.00     4.51%        170.00       7,887.50     12.11%     -4,717.50
        2,143.45     75.74%     1,990.14    18.76%       153.31       4,780.53       85.04%      -2,637.08     Total Other Income                          38,067.77    84.42%    16,601.22    24.96%     21,466.55      33,872.33     52.02%      4,195.44

        2,830.19     100.00%   10,610.14    100.00%   -7,779.95       5,621.46      100.00%      -2,791.27     Total Minor Operating Income                45,091.72    100.00%   66,516.22 100.00%      -21,424.50      65,113.60 100.00%       -20,021.88

                                                                                                               Cost of Sales
             0.00      0.00%         5.00     0.05%       -5.00            0.00        0.00%           0.00    Cost of Sales - Internet Access                   0.00     0.00%        50.00     0.08%       -50.00            0.00      0.00%          0.00
             0.00      0.00%       136.00     1.28%     -136.00            0.00        0.00%           0.00    Cost of Sales - Guest Laundry                     0.00     0.00%     1,360.00     2.04%    -1,360.00          170.68      0.26%       -170.68
             0.00      0.00%         0.00     0.00%        0.00           81.64        1.45%         -81.64    Cost of Sales - Cots & Cribs                      0.00     0.00%         0.00     0.00%         0.00        2,317.44      3.56%     -2,317.44
         1,226.50     43.34%       952.34     8.98%      274.16        1,379.89       24.55%        -153.39    Cost of Sales - Gift Shop                    19,148.89    42.47%     7,378.31    11.09%    11,770.58        9,925.17     15.24%      9,223.72
        1,226.50     43.34%     1,093.34    10.30%      133.16        1,461.53       26.00%        -235.03     Total Minor Operated Cost of Sales          19,148.89    42.47%     8,788.31    13.21%    10,360.58       12,413.29     19.06%      6,735.60

        1,603.69     56.66%     9,516.80    89.70%    -7,913.11       4,159.93       74.00%      -2,556.24     Total Minor Operated Profit (Loss)          25,942.83    57.53%    57,727.91    86.79%    -31,785.08      52,700.31     80.94%    -26,757.48




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                                                                              Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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                                                                                                            As of 10/31/2021
              PTD     %       PTD Budget   %       Variance   PTD Last Year      %            Variance                                         YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Arcade
                                                                                                         Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Revenue                  0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Non-Management           0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Salaries and Wages       0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Payroll Taxes                   0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Supplemental Pay                0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Other Benefits                  0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade PR Taxes and Benefits    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Payroll                  0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Other Expenses           0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Expenses                 0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Arcade Profit (Loss)            0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                              Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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              PTD     %       PTD Budget   %       Variance   PTD Last Year      %            Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Waterpark
                                                                                                         Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00       0.00%           0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                  Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
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              PTD     %        PTD Budget    %         Variance   PTD Last Year      %            Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                             Franchise Fees
         7,263.69      2.14%         0.00    0.00%    7,263.69            0.00       0.00%       7,263.69    Franchise Fees - IT Fees                     9,274.09    0.36%         0.00     0.00%     9,274.09           0.00     0.00%     9,274.09
        35,032.02     10.34%    16,145.84    5.12%   18,886.18       10,255.18       5.41%      24,776.84    Franchise Fees - Royalty & Licenses        150,489.31    5.80%   125,090.44     5.32%    25,398.87     113,955.53     5.32%    36,533.78
           841.03      0.25%         0.00    0.00%      841.03            0.00       0.00%         841.03    Franchise Fees - Other                       2,237.53    0.09%         0.00     0.00%     2,237.53           0.00     0.00%     2,237.53
         2,883.21      0.85%         0.00    0.00%    2,883.21            0.00       0.00%       2,883.21    Franchise Fees - Reservations-GDS           10,631.84    0.41%         0.00     0.00%    10,631.84           0.00     0.00%    10,631.84
         1,899.53      0.56%         0.00    0.00%    1,899.53            0.00       0.00%       1,899.53    Franchise Fees - Equipment                   9,497.65    0.37%         0.00     0.00%     9,497.65           0.00     0.00%     9,497.65
         6,591.31      1.94%     7,179.19    2.28%     -587.88        5,954.38       3.14%         636.93    Franchise Fees - Frequent Guest             51,389.11    1.98%    55,620.99     2.37%    -4,231.88      41,634.06     1.94%     9,755.05
        22,293.07      6.58%    10,285.28    3.26%   12,007.79        6,526.03       3.44%      15,767.04    Franchise Fees - Marketing Contributions    96,721.45    3.73%    79,685.56     3.39%    17,035.89      72,517.27     3.39%    24,204.18
             0.00      0.00%     1,728.87    0.55%   -1,728.87            0.00       0.00%           0.00    Franchise Fees - Reservations-Central            0.00    0.00%    13,394.45     0.57%   -13,394.45           0.00     0.00%         0.00

       76,803.86     22.66%    35,339.18    11.21%   41,464.68      22,735.59       12.00%      54,068.27    Total Franchise Fees                       330,240.98   12.74%   273,791.44   11.65%    56,449.54     228,106.86     10.65%   102,134.12




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              PTD     %        PTD Budget   %          Variance   PTD Last Year      %            Variance                                              YTD    %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                              A&G
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         8,090.65      2.39%    10,379.51    3.29%    -2,288.86      11,225.09        5.92%      -3,134.44    Management- A&G                      80,727.20    3.11%    101,398.79     4.31%    -20,671.59      97,501.38      4.55%    -16,774.18
        8,090.65      2.39%    10,379.51    3.29%    -2,288.86      11,225.09        5.92%      -3,134.44     Total A&G Management                80,727.20    3.11%    101,398.79     4.31%    -20,671.59      97,501.38      4.55%    -16,774.18
             0.00     0.00%          0.00   0.00%          0.00           0.00       0.00%            0.00    Total A&G Non-Management                  0.00   0.00%           0.00    0.00%           0.00           0.00     0.00%           0.00
        8,090.65      2.39%    10,379.51    3.29%    -2,288.86      11,225.09        5.92%      -3,134.44     Total A&G Salaries and Wages        80,727.20    3.11%    101,398.79     4.31%    -20,671.59      97,501.38      4.55%    -16,774.18
                                                                                                              PR Taxes and Benefits
           595.25      0.18%       825.15    0.26%      -229.90         681.13        0.36%          -85.88   FICA                                  6,455.28    0.25%      8,085.60     0.34%     -1,630.32       9,584.07      0.45%     -3,128.79
            10.78      0.00%         4.53    0.00%         6.25           0.00        0.00%           10.78   Federal Unemployment Tax                207.72    0.01%        168.20     0.01%         39.52           0.00      0.00%        207.72
            51.95      0.02%        10.79    0.00%        41.16           0.00        0.00%           51.95   State Unemployment Tax                1,214.55    0.05%        512.26     0.02%        702.29           0.00      0.00%      1,214.55
          657.98      0.19%       840.47    0.27%      -182.49         681.13        0.36%          -23.15    Total Payroll Taxes                  7,877.55    0.30%      8,766.06     0.37%       -888.51       9,584.07      0.45%     -1,706.52
             0.00      0.00%         0.00    0.00%         0.00           0.00        0.00%            0.00   Holiday                                   0.00    0.00%          0.00     0.00%          0.00       1,919.04      0.09%     -1,919.04
             0.00      0.00%       406.79    0.13%      -406.79         688.24        0.36%        -688.24    Vacation                                284.76    0.01%      4,295.71     0.18%     -4,010.95      14,875.66      0.69%    -14,590.90
             0.00     0.00%       406.79    0.13%      -406.79         688.24        0.36%        -688.24     Total Supplemental Pay                 284.76    0.01%      4,295.71     0.18%     -4,010.95      16,794.70      0.78%    -16,509.94
           303.00      0.09%       516.58    0.16%      -213.58         855.00        0.45%        -552.00    Worker's Compensation                 3,314.01    0.13%      5,218.49     0.22%     -1,904.48      10,136.00      0.47%     -6,821.99
         2,003.71      0.59%     1,050.00    0.33%       953.71       1,501.42        0.79%         502.29    Group Insurance                      10,014.31    0.39%     10,150.00     0.43%       -135.69       6,234.74      0.29%      3,779.57
             0.00      0.00%         0.00    0.00%         0.00           0.00        0.00%            0.00   Bonus and Incentive Pay                   0.00    0.00%          0.00     0.00%          0.00       3,701.55      0.17%     -3,701.55
        2,306.71      0.68%     1,566.58    0.50%       740.13       2,356.42        1.24%          -49.71    Total Other Benefits                13,328.32    0.51%     15,368.49     0.65%     -2,040.17      20,072.29      0.94%     -6,743.97
        2,964.69      0.87%     2,813.84    0.89%       150.85       3,725.79        1.97%        -761.10     Total A&G PR Taxes and Benefits     21,490.63    0.83%     28,430.26     1.21%     -6,939.63      46,451.06      2.17%    -24,960.43
       11,055.34      3.26%    13,193.35    4.18%    -2,138.01      14,950.88        7.89%      -3,895.54     Total A&G Payroll                  102,217.83    3.94%    129,829.05     5.52%    -27,611.22     143,952.44      6.72%    -41,734.61
                                                                                                              Other Expenses
         1,000.00      0.30%     1,000.00    0.32%        0.00        2,000.00        1.06%      -1,000.00    Accounting/Audit Fees                12,000.00    0.46%     10,000.00     0.43%     2,000.00       20,000.00      0.93%     -8,000.00
           307.32      0.09%         0.00    0.00%      307.32         -100.00       -0.05%         407.32    Bad Debt Provision                   18,763.57    0.72%          0.00     0.00%    18,763.57          733.74      0.03%     18,029.83
           707.55      0.21%     1,075.00    0.34%     -367.45        1,116.52        0.59%        -408.97    Bank Charges                          5,968.54    0.23%     10,750.00     0.46%    -4,781.46       12,678.31      0.59%     -6,709.77
           244.99      0.07%         0.00    0.00%      244.99        2,778.91        1.47%      -2,533.92    Cash Over/Short                          61.62    0.00%          0.00     0.00%        61.62        1,033.73      0.05%       -972.11
             0.00      0.00%         0.00    0.00%        0.00            0.00        0.00%           0.00    Central Office - Travel Rebilled        144.99    0.01%          0.00     0.00%       144.99            0.00      0.00%        144.99
           137.00      0.04%       160.00    0.05%      -23.00            0.00        0.00%         137.00    Central Office - IT Fees              2,881.00    0.11%      1,600.00     0.07%     1,281.00            0.00      0.00%      2,881.00
             0.00      0.00%        75.00    0.02%      -75.00            0.00        0.00%           0.00    Communication Expense                     0.00    0.00%        750.00     0.03%      -750.00          187.81      0.01%       -187.81
        10,581.50      3.12%     7,568.62    2.40%    3,012.88       -4,694.16       -2.48%      15,275.66    Credit Card Commission               54,432.52    2.10%     56,399.25     2.40%    -1,966.73       42,970.28      2.01%     11,462.24
             0.00      0.00%         0.00    0.00%        0.00        2,007.34        1.06%      -2,007.34    Data Processing                          49.95    0.00%          0.00     0.00%        49.95       17,924.15      0.84%    -17,874.20
           160.00      0.05%         0.00    0.00%      160.00          120.00        0.06%          40.00    Dues and Subscriptions                4,008.97    0.15%          0.00     0.00%     4,008.97        1,246.60      0.06%      2,762.37
           951.32      0.28%       300.00    0.10%      651.32           65.11        0.03%         886.21    Employee Relations                    3,807.33    0.15%      3,000.00     0.13%       807.33        1,614.34      0.08%      2,192.99
             0.00      0.00%        55.00    0.02%      -55.00            0.00        0.00%           0.00    Equipment Rental                        298.21    0.01%        550.00     0.02%      -251.79          110.85      0.01%        187.36
             0.00      0.00%       150.00    0.05%     -150.00          163.97        0.09%        -163.97    Licenses/Permits                      3,256.00    0.13%      3,145.00     0.13%       111.00        2,351.71      0.11%        904.29
             0.00      0.00%        40.00    0.01%      -40.00            0.00        0.00%           0.00    Meals and Entertainment                 138.01    0.01%        400.00     0.02%      -261.99          252.46      0.01%       -114.45
           501.62      0.15%         0.00    0.00%      501.62            0.00        0.00%         501.62    Miscellaneous Expense                 5,725.73    0.22%          0.00     0.00%     5,725.73            0.00      0.00%      5,725.73
             0.00      0.00%        44.00    0.01%      -44.00            0.00        0.00%           0.00    Office Equipment                        175.88    0.01%        440.00     0.02%      -264.12            0.00      0.00%        175.88
            82.74      0.02%       439.54    0.14%     -356.80          231.87        0.12%        -149.13    Office Supplies                       3,128.56    0.12%      3,405.37     0.14%      -276.81        3,096.33      0.14%         32.23
           252.86      0.07%       450.00    0.14%     -197.14          270.85        0.14%         -17.99    Payroll Service Fees                  1,696.83    0.07%      4,500.00     0.19%    -2,803.17        4,736.45      0.22%     -3,039.62
             0.00      0.00%       205.12    0.07%     -205.12          348.71        0.18%        -348.71    Postage                                 706.00    0.03%      1,589.17     0.07%      -883.17          449.51      0.02%        256.49
         2,953.00      0.87%       150.00    0.05%    2,803.00            0.00        0.00%       2,953.00    Professional Fees - Legal             6,756.63    0.26%      1,500.00     0.06%     5,256.63            0.00      0.00%      6,756.63
             0.00      0.00%       500.00    0.16%     -500.00            0.00        0.00%           0.00    Professional Fees - Other            11,347.70    0.44%      5,000.00     0.21%     6,347.70        7,348.00      0.34%      3,999.70
           340.00      0.10%       150.00    0.05%      190.00            0.00        0.00%         340.00    Recruitment Advertising               1,550.00    0.06%      1,500.00     0.06%        50.00          978.87      0.05%        571.13
             0.00      0.00%        25.00    0.01%      -25.00          183.28        0.10%        -183.28    Recruitment - Other                     747.85    0.03%        250.00     0.01%       497.85        1,153.69      0.05%       -405.84
           497.51      0.15%       545.70    0.17%      -48.19            0.00        0.00%         497.51    Software Expense/Maintenance          7,192.03    0.28%      6,407.00     0.27%       785.03            0.00      0.00%      7,192.03
             0.00      0.00%         0.00    0.00%        0.00            0.00        0.00%           0.00    Training                              2,387.59    0.09%          0.00     0.00%     2,387.59        1,634.53      0.08%        753.06
             0.00      0.00%         0.00    0.00%        0.00            0.00        0.00%           0.00    Travel                                2,737.57    0.11%          0.00     0.00%     2,737.57        2,802.65      0.13%        -65.08
             0.00      0.00%         0.00    0.00%        0.00            0.00        0.00%           0.00    Uniforms                                987.99    0.04%          0.00     0.00%       987.99            0.00      0.00%        987.99
       18,717.41      5.52%    12,932.98    4.10%    5,784.43        4,492.40        2.37%      14,225.01     Total A&G Other Expenses           150,951.07    5.82%    111,185.79     4.73%    39,765.28      123,304.01      5.76%     27,647.06
       29,772.75      8.78%    26,126.33    8.28%    3,646.42       19,443.28       10.26%      10,329.47     Total A&G Expenses                 253,168.90    9.77%    241,014.84    10.26%    12,154.06      267,256.45     12.48%    -14,087.55




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                                                                                Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year      %            Variance                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           IT
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wags
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Management                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Non-Management               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Salaries and Wages           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Payroll Taxes                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Supplemental Pay                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total Other Benefits                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT PR Taxes and Benefits        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Payroll                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Services
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Cost of Services             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           System Costs
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Systems                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00      0.00%        0.00     0.00%      0.00            0.00        0.00%          0.00    Travel                               266.96    0.01%        0.00       0.00%    266.96            0.00     0.00%    266.96
             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Other Expenses             266.96    0.01%         0.00      0.00%    266.96             0.00    0.00%    266.96

             0.00     0.00%         0.00    0.00%       0.00            0.00       0.00%           0.00    Total IT Expenses                   266.96    0.01%         0.00      0.00%    266.96             0.00    0.00%    266.96




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                                                                                 Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget   %         Variance   PTD Last Year      %            Variance                                            YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                            S&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
             0.00      0.00%         0.00    0.00%        0.00       6,029.71        3.18%      -6,029.71   Division Management                  3,220.00    0.12%          0.00     0.00%      3,220.00      49,264.86     2.30%   -46,044.86
         6,864.29      2.03%     5,269.72    1.67%    1,594.57           0.00        0.00%       6,864.29   Sales Managers                      55,790.51    2.15%     51,521.50     2.19%      4,269.01          86.75     0.00%    55,703.76
        6,864.29      2.03%     5,269.72    1.67%    1,594.57       6,029.71        3.18%         834.58    Total S&M Management               59,010.51    2.28%     51,521.50     2.19%      7,489.01      49,351.61     2.30%     9,658.90
         2,695.62      0.80%     2,834.29    0.90%     -138.67         351.29        0.19%       2,344.33   Administrative Assistant            27,555.34    1.06%     27,794.32     1.18%       -238.98       7,198.61     0.34%    20,356.73
        2,695.62      0.80%     2,834.29    0.90%     -138.67         351.29        0.19%       2,344.33    Total S&M Non-Management           27,555.34    1.06%     27,794.32     1.18%       -238.98       7,198.61     0.34%    20,356.73

        9,559.91      2.82%     8,104.01    2.57%    1,455.90       6,381.00        3.37%       3,178.91    Total S&M Salaries and Wages       86,565.85    3.34%     79,315.82     3.38%      7,250.03      56,550.22     2.64%    30,015.63

                                                                                                            PR Taxes and Benefits
           504.99      0.15%       635.77    0.20%     -130.78         393.16        0.21%         111.83   FICA                                 4,631.61    0.18%      6,234.64     0.27%     -1,603.03       4,544.55     0.21%         87.06
             9.16      0.00%         3.49    0.00%        5.67           0.00        0.00%           9.16   Federal Unemployment Tax               183.23    0.01%        129.91     0.01%         53.32           0.00     0.00%        183.23
            44.06      0.01%         8.31    0.00%       35.75           0.00        0.00%          44.06   State Unemployment Tax               1,244.59    0.05%        395.49     0.02%        849.10           0.00     0.00%      1,244.59
          558.21      0.16%       647.57    0.21%       -89.36        393.16        0.21%         165.05    Total Payroll Taxes                 6,059.43    0.23%      6,760.04     0.29%       -700.61       4,544.55     0.21%      1,514.88
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Holiday                                384.00    0.01%          0.00     0.00%        384.00       1,708.08     0.08%     -1,324.08
             0.00      0.00%       206.67    0.07%     -206.67         150.00        0.08%        -150.00   Vacation                               272.00    0.01%      2,182.42     0.09%     -1,910.42      14,371.16     0.67%    -14,099.16
             0.00     0.00%       206.67    0.07%     -206.67         150.00        0.08%        -150.00    Total Supplemental Pay                656.00    0.03%      2,182.42     0.09%     -1,526.42      16,079.24     0.75%    -15,423.24
           180.81      0.05%       398.02    0.13%     -217.21           0.00        0.00%         180.81   Worker's Compensation                2,879.72    0.11%      4,024.07     0.17%     -1,144.35           0.00     0.00%      2,879.72
         1,140.46      0.34%     1,050.00    0.33%       90.46         994.20        0.52%         146.26   Group Insurance                      1,121.68    0.04%     10,150.00     0.43%     -9,028.32      10,106.76     0.47%     -8,985.08
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Bonus and Incentive Pay              3,224.00    0.12%          0.00     0.00%      3,224.00       2,028.28     0.09%      1,195.72
        1,321.27      0.39%     1,448.02    0.46%     -126.75         994.20        0.52%         327.07    Total Other Benefits                7,225.40    0.28%     14,174.07     0.60%     -6,948.67      12,135.04     0.57%     -4,909.64
        1,879.48      0.55%     2,302.26    0.73%     -422.78       1,537.36        0.81%         342.12    Total S&M PR Taxes and Benefits    13,940.83    0.54%     23,116.53     0.98%     -9,175.70      32,758.83     1.53%    -18,818.00

       11,439.39      3.38%    10,406.27    3.30%    1,033.12       7,918.36        4.18%       3,521.03    Total S&M Payroll                 100,506.68    3.88%    102,432.35     4.36%     -1,925.67      89,309.05     4.17%    11,197.63

                                                                                                            Other Expenses
           440.00      0.13%       690.00    0.22%     -250.00         671.41        0.35%        -231.41   Advertising-Web/Internet             5,300.00    0.20%      9,235.00     0.39%     -3,935.00       6,787.38     0.32%    -1,487.38
           120.00      0.04%        60.00    0.02%       60.00           0.00        0.00%         120.00   Communication Expense                  480.00    0.02%        600.00     0.03%       -120.00         100.00     0.00%       380.00
         1,088.00      0.32%     1,088.00    0.35%        0.00        -619.28       -0.33%       1,707.28   Dues and Subscriptions              15,428.40    0.60%     16,583.00     0.71%     -1,154.60       6,247.12     0.29%     9,181.28
           385.63      0.11%        75.00    0.02%      310.63           0.00        0.00%         385.63   Meals and Entertainment                431.56    0.02%        750.00     0.03%       -318.44         206.33     0.01%       225.23
            19.19      0.01%         0.00    0.00%       19.19           0.00        0.00%          19.19   Miscellaneous Expense                   59.77    0.00%          0.00     0.00%         59.77           0.00     0.00%        59.77
             0.00      0.00%        25.00    0.01%      -25.00           0.00        0.00%           0.00   Office Supplies                         40.00    0.00%        250.00     0.01%       -210.00         243.30     0.01%      -203.30
             0.00      0.00%        25.00    0.01%      -25.00           0.00        0.00%           0.00   Postage                                  0.00    0.00%        250.00     0.01%       -250.00           0.00     0.00%         0.00
             0.00      0.00%        50.00    0.02%      -50.00           0.00        0.00%           0.00   Printing and Stationery                  0.00    0.00%        700.00     0.03%       -700.00         -48.22     0.00%        48.22
             0.00      0.00%       100.00    0.03%     -100.00           0.00        0.00%           0.00   Promotions - In-house                   75.06    0.00%      1,000.00     0.04%       -924.94         162.12     0.01%       -87.06
             0.00      0.00%       100.00    0.03%     -100.00           0.00        0.00%           0.00   Promotion - Outside                    105.28    0.00%      1,000.00     0.04%       -894.72           0.00     0.00%       105.28
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Software Expense/Maintenance         5,249.62    0.20%      7,494.00     0.32%     -2,244.38           0.00     0.00%     5,249.62
             0.00      0.00%         0.00    0.00%        0.00           0.00        0.00%           0.00   Trade Shows                              0.00    0.00%        150.00     0.01%       -150.00           0.00     0.00%         0.00
             0.00      0.00%       750.00    0.24%     -750.00           0.00        0.00%           0.00   Training                             1,745.00    0.07%      2,250.00     0.10%       -505.00       1,787.27     0.08%       -42.27
             0.00      0.00%        50.00    0.02%      -50.00           0.00        0.00%           0.00   Travel                                 142.88    0.01%        500.00     0.02%       -357.12       1,509.42     0.07%    -1,366.54
        2,052.82      0.61%     3,013.00    0.96%     -960.18           52.13       0.03%       2,000.69    Total S&M Other Expenses           29,057.57    1.12%     40,762.00     1.73%    -11,704.43      16,994.72     0.79%    12,062.85

       13,492.21      3.98%    13,419.27    4.26%       72.94       7,970.49        4.21%       5,521.72    Total S&M Expenses                129,564.25    5.00%    143,194.35     6.09%    -13,630.10     106,303.77     4.96%    23,260.48




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                                                                                  Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget   %         Variance    PTD Last Year      %            Variance                                               YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                             R&M
                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         4,087.90      1.21%     4,127.44    1.31%       -39.54           0.00        0.00%       4,087.90   Division Management                    23,999.93    0.93%     40,272.97     1.71%    -16,273.04      11,481.99     0.54%    12,517.94
        4,087.90      1.21%     4,127.44    1.31%       -39.54            0.00       0.00%       4,087.90    Total R&M Management                  23,999.93    0.93%     40,272.97     1.71%    -16,273.04      11,481.99     0.54%    12,517.94
         6,248.31      1.84%     3,011.43    0.95%    3,236.88            0.00        0.00%       6,248.31   Engineering Supervisor                 36,009.83    1.39%     29,531.45     1.26%      6,478.38           0.00     0.00%    36,009.83
         4,929.56      1.45%     2,480.00    0.79%    2,449.56        3,012.52        1.59%       1,917.04   Engineers 1                            29,284.81    1.13%     24,320.00     1.03%      4,964.81      23,030.11     1.08%     6,254.70
       11,177.87      3.30%     5,491.43    1.74%    5,686.44        3,012.52        1.59%       8,165.35    Total R&M Non-Management              65,294.64    2.52%     53,851.45     2.29%     11,443.19      23,030.11     1.08%    42,264.53

       15,265.77      4.50%     9,618.87    3.05%    5,646.90        3,012.52        1.59%      12,253.25    Total R&M Salaries and Wages          89,294.57    3.44%     94,124.42     4.01%     -4,829.85      34,512.10     1.61%    54,782.47

                                                                                                             PR Taxes and Benefits
         1,125.98      0.33%       748.21    0.24%      377.77          202.52        0.11%         923.46   FICA                                    6,982.29    0.27%      7,331.08     0.31%       -348.79       3,599.09     0.17%     3,383.20
            20.43      0.01%         4.11    0.00%       16.32            0.00        0.00%          20.43   Federal Unemployment Tax                  182.53    0.01%        152.48     0.01%         30.05           0.00     0.00%       182.53
            98.72      0.03%         9.78    0.00%       88.94            0.00        0.00%          98.72   State Unemployment Tax                    795.08    0.03%        464.38     0.02%        330.70           0.00     0.00%       795.08
        1,245.13      0.37%       762.10    0.24%      483.03          202.52        0.11%       1,042.61    Total Payroll Taxes                    7,959.90    0.31%      7,947.94     0.34%          11.96      3,599.09     0.17%     4,360.81
             0.00      0.00%         0.00    0.00%        0.00            0.00        0.00%           0.00   Holiday                                 1,056.00    0.04%          0.00     0.00%      1,056.00         802.56     0.04%       253.44
             0.00      0.00%       161.60    0.05%     -161.60          100.00        0.05%        -100.00   Vacation                                  255.00    0.01%      1,706.48     0.07%     -1,451.48      10,195.72     0.48%    -9,940.72
             0.00     0.00%       161.60    0.05%     -161.60          100.00        0.05%        -100.00    Total Supplemental Pay                 1,311.00    0.05%      1,706.48     0.07%       -395.48      10,998.28     0.51%    -9,687.28
           170.90      0.05%       468.41    0.15%     -297.51            0.00        0.00%         170.90   Worker's Compensation                   2,076.15    0.08%      4,731.47     0.20%     -2,655.32           0.00     0.00%     2,076.15
           930.12      0.27%       420.00    0.13%      510.12          137.55        0.07%         792.57   Group Insurance                         5,102.09    0.20%      4,060.00     0.17%      1,042.09       2,986.44     0.14%     2,115.65
        1,101.02      0.32%       888.41    0.28%      212.61          137.55        0.07%         963.47    Total Other Benefits                   7,178.24    0.28%      8,791.47     0.37%     -1,613.23       2,986.44     0.14%     4,191.80
        2,346.15      0.69%     1,812.11    0.57%      534.04          440.07        0.23%       1,906.08    Total R&M PR Taxes and Benefits       16,449.14    0.63%     18,445.89     0.78%     -1,996.75      17,583.81     0.82%    -1,134.67

       17,611.92      5.20%    11,430.98    3.62%    6,180.94        3,452.59        1.82%      14,159.33    Total R&M Payroll                    105,743.71    4.08%    112,570.31     4.79%     -6,826.60      52,095.91     2.43%    53,647.80

                                                                                                             Other Expenses
           620.11      0.18%       791.18   0.25%      -171.07            0.00       0.00%         620.11    Air Conditioning and Refrigeration     8,042.81    0.31%      6,129.67     0.26%      1,913.14           85.56    0.00%     7,957.25
             0.00      0.00%     1,025.60   0.33%    -1,025.60        1,830.82       0.97%      -1,830.82    Building                               1,697.37    0.07%      7,945.86     0.34%     -6,248.49        3,783.80    0.18%    -2,086.43
             0.00      0.00%         0.00   0.00%         0.00           29.77       0.02%         -29.77    Communication Expense                    456.00    0.02%          0.00     0.00%        456.00          304.22    0.01%       151.78
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%           0.00    Contract Labor                             0.00    0.00%      3,000.00     0.13%     -3,000.00            0.00    0.00%         0.00
             0.00      0.00%        87.91   0.03%       -87.91            0.00       0.00%           0.00    Curtains and Drapes                        0.00    0.00%        681.07     0.03%       -681.07            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%           0.00    Dues and Subscriptions                   250.00    0.01%          0.00     0.00%        250.00            0.00    0.00%       250.00
           169.52      0.05%       293.03   0.09%      -123.51          169.24       0.09%           0.28    Electric Bulbs                         6,169.06    0.24%      2,270.24     0.10%      3,898.82        1,656.95    0.08%     4,512.11
             0.00      0.00%       322.33   0.10%      -322.33          812.50       0.43%        -812.50    Electrical and Mechanical              2,628.31    0.10%      2,497.27     0.11%        131.04        1,785.30    0.08%       843.01
        11,656.59      3.44%       405.00   0.13%    11,251.59            0.00       0.00%      11,656.59    Elevator Maintenance Contracts        15,051.63    0.58%      4,050.00     0.17%     11,001.63            0.00    0.00%    15,051.63
             0.00      0.00%         0.00   0.00%         0.00          414.37       0.22%        -414.37    Equipment Maintenance                  1,643.05    0.06%          0.00     0.00%      1,643.05        4,688.30    0.22%    -3,045.25
             0.00      0.00%       215.00   0.07%      -215.00          246.75       0.13%        -246.75    Equipment Rental                         199.80    0.01%      2,150.00     0.09%     -1,950.20        2,270.11    0.11%    -2,070.31
         1,900.94      0.56%     2,800.00   0.89%      -899.06        2,365.64       1.25%        -464.70    Fire Safety Equipment                 13,816.64    0.53%      9,800.00     0.42%      4,016.64        9,860.58    0.46%     3,956.06
             0.00      0.00%       293.03   0.09%      -293.03            0.00       0.00%           0.00    Floor and Carpet Maintenance              19.62    0.00%      2,270.24     0.10%     -2,250.62            8.58    0.00%        11.04
             0.00      0.00%       293.03   0.09%      -293.03            0.00       0.00%           0.00    Furniture                              2,614.39    0.10%      2,270.24     0.10%        344.15        1,356.72    0.06%     1,257.67
           753.00      0.22%     2,937.00   0.93%    -2,184.00            0.00       0.00%         753.00    Grounds and Landscaping                5,967.90    0.23%     13,370.00     0.57%     -7,402.10        2,916.00    0.14%     3,051.90
             0.00      0.00%       200.00   0.06%      -200.00            0.00       0.00%           0.00    Kitchen Equipment Repairs              1,791.03    0.07%      2,000.00     0.09%       -208.97          165.60    0.01%     1,625.43
         2,119.56      0.63%       263.73   0.08%     1,855.83        1,044.99       0.55%       1,074.57    Laundry Equipment Repairs              4,404.99    0.17%      2,043.23     0.09%      2,361.76        2,527.83    0.12%     1,877.16
            65.38      0.02%        87.91   0.03%       -22.53            0.00       0.00%          65.38    Locks and Keys                         1,017.19    0.04%        681.07     0.03%        336.12            0.00    0.00%     1,017.19
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%           0.00    Miscellaneous Expense                    215.00    0.01%          0.00     0.00%        215.00            0.00    0.00%       215.00
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%           0.00    Operating Supplies                       101.66    0.00%          0.00     0.00%        101.66            0.00    0.00%       101.66
           219.30      0.06%       146.51   0.05%        72.79            0.00       0.00%         219.30    Painting and Decorating                  954.01    0.04%      1,135.12     0.05%       -181.11            0.00    0.00%       954.01
             0.00      0.00%       300.00   0.10%      -300.00          624.27       0.33%        -624.27    Pest Control                           8,206.50    0.32%      4,800.00     0.20%      3,406.50        4,532.67    0.21%     3,673.83
            13.93      0.00%       439.54   0.14%      -425.61          253.74       0.13%        -239.81    Plumbing and Heating                   6,001.85    0.23%      3,405.37     0.14%      2,596.48        1,615.04    0.08%     4,386.81
             0.00      0.00%       410.24   0.13%      -410.24            0.00       0.00%           0.00    Pool Chemicals                         1,785.75    0.07%      6,778.34     0.29%     -4,992.59            0.00    0.00%     1,785.75
             0.00      0.00%         0.00   0.00%         0.00          206.75       0.11%        -206.75    Pool Service- Contract                   598.82    0.02%          0.00     0.00%        598.82        3,460.60    0.16%    -2,861.78
             0.00      0.00%       100.00   0.03%      -100.00            0.00       0.00%           0.00    Radio and Television Repair            1,747.23    0.07%      1,000.00     0.04%        747.23            0.00    0.00%     1,747.23
             0.00      0.00%       175.82   0.06%      -175.82            0.00       0.00%           0.00    Signage                                   19.77    0.00%      1,362.16     0.06%     -1,342.39            0.00    0.00%        19.77
             0.00      0.00%       137.00   0.04%      -137.00            0.00       0.00%           0.00    Software Expense/Maintenance             137.00    0.01%      1,870.00     0.08%     -1,733.00            0.00    0.00%       137.00
            75.06      0.02%       175.82   0.06%      -100.76            0.00       0.00%          75.06    Tools                                  1,588.24    0.06%      1,362.16     0.06%        226.08            0.00    0.00%     1,588.24
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%           0.00    Training                                 539.96    0.02%          0.00     0.00%        539.96            0.00    0.00%       539.96
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%           0.00    Travel                                     0.00    0.00%        500.00     0.02%       -500.00            0.00    0.00%         0.00
             0.00      0.00%         0.00   0.00%         0.00            0.00       0.00%           0.00    Uniforms                                 264.76    0.01%          0.00     0.00%        264.76            0.00    0.00%       264.76
             0.00      0.00%       293.03   0.09%      -293.03          457.95       0.24%        -457.95    Vehicle Maintenance & Repairs              0.00    0.00%      2,270.24     0.10%     -2,270.24        1,001.89    0.05%    -1,001.89
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                                                                   Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 557 of 756
                                                                                  Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year      %            Variance                                          YTD    %        YTD Budget %             Variance   YTD Last Year   %          Variance

           568.16      0.17%       670.00    0.21%      -101.84         408.48        0.22%         159.68   Waste Removal                      5,185.29    0.20%      6,700.00     0.29%   -1,514.71       5,088.26     0.24%       97.03
       18,161.55      5.36%    12,862.71    4.08%     5,298.84       8,865.27        4.68%       9,296.28    Total R&M Other Expenses         93,115.63    3.59%     92,342.28     3.93%      773.35      47,108.01     2.20%    46,007.62

       35,773.47     10.56%    24,293.69    7.70%    11,479.78      12,317.86        6.50%      23,455.61    Total R&M Expenses              198,859.34    7.67%    204,912.59     8.72%    -6,053.25     99,203.92     4.63%    99,655.42




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                                                                   Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 558 of 756
                                                                                  Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year      %            Variance                                          YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             Utilities
         6,061.50      1.79%     5,655.44    1.79%       406.06       5,493.63        2.90%         567.87   Water                             64,231.27    2.48%     43,815.71     1.86%    20,415.56      46,343.52     2.16%    17,887.75
         5,843.58      1.72%     9,054.57    2.87%    -3,210.99       5,782.25        3.05%          61.33   Electricity                       72,205.63    2.79%     70,150.55     2.99%     2,055.08      68,531.86     3.20%     3,673.77
         2,432.45      0.72%     1,963.29    0.62%       469.16       1,084.15        0.57%       1,348.30   Gas - Natural HLP                 16,970.39    0.65%     15,210.65     0.65%     1,759.74      11,572.43     0.54%     5,397.96
             0.00      0.00%       100.00    0.03%      -100.00           0.00        0.00%           0.00   Propane Tanks/Fuel                   384.94    0.01%      1,000.00     0.04%      -615.06           0.00     0.00%       384.94
       14,337.53      4.23%    16,773.30    5.32%    -2,435.77      12,360.03        6.52%       1,977.50    Total Utilities                 153,792.23    5.93%    130,176.91     5.54%    23,615.32     126,447.81     5.91%    27,344.42




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                                                                                   Company: CVNC Associates LLC Property: Homewood Suites Raleigh Crabtree Valley
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget    %          Variance   PTD Last Year      %            Variance                                          YTD     %        YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                              Fixed
         1,466.22      0.43%       786.00     0.25%       680.22         786.16        0.41%         680.06   Personal Property Taxes           10,323.69     0.40%      7,860.00     0.33%     2,463.69       7,861.60      0.37%       2,462.09
        18,111.10      5.34%    19,720.78     6.25%    -1,609.68      17,890.52        9.44%         220.58   Real Estate Taxes                141,223.70     5.45%    152,787.41     6.50%   -11,563.71     178,905.20      8.36%     -37,681.50
       19,577.32      5.78%    20,506.78     6.50%      -929.46      18,676.68        9.86%         900.64    Total Taxes                     151,547.39     5.85%    160,647.41     6.84%    -9,100.02     186,766.80      8.72%     -35,219.41
             0.00      0.00%         0.00     0.00%         0.00       5,503.53        2.90%      -5,503.53   Insurance                          4,832.21     0.19%          0.00     0.00%     4,832.21      53,397.41      2.49%     -48,565.20
           400.27      0.12%       400.25     0.13%         0.02           0.00        0.00%         400.27   Insurance - Automobile             3,602.41     0.14%      4,002.50     0.17%      -400.09           0.00      0.00%       3,602.41
           228.58      0.07%         0.00     0.00%       228.58           0.00        0.00%         228.58   Insurance - Crime                    685.74     0.03%          0.00     0.00%       685.74           0.00      0.00%         685.74
           456.00      0.13%       125.00     0.04%       331.00           0.00        0.00%         456.00   Insurance - Employment             2,118.00     0.08%      1,250.00     0.05%       868.00           0.00      0.00%       2,118.00
         1,438.50      0.42%     1,438.50     0.46%         0.00           0.00        0.00%       1,438.50   Insurance - General Liability     12,946.50     0.50%     14,385.00     0.61%    -1,438.50           0.00      0.00%      12,946.50
         2,301.00      0.68%     2,300.50     0.73%         0.50           0.00        0.00%       2,301.00   Insurance - Property              19,725.00     0.76%     23,005.00     0.98%    -3,280.00           0.00      0.00%      19,725.00
         2,489.50      0.73%     2,489.50     0.79%         0.00           0.00        0.00%       2,489.50   Insurance - Umbrella              22,405.50     0.86%     24,895.00     1.06%    -2,489.50           0.00      0.00%      22,405.50
        7,313.85      2.16%     6,753.75     2.14%       560.10       5,503.53        2.90%       1,810.32    Total Insurance                  66,315.36     2.56%     67,537.50     2.87%    -1,222.14      53,397.41      2.49%      12,917.95
        40,869.00     12.06%    40,869.00    12.96%         0.00      39,775.62       20.99%       1,093.38   Ground Lease Expense             404,318.00    15.60%    404,318.00    17.21%         0.00     394,562.90     18.43%       9,755.10
       40,869.00     12.06%    40,869.00    12.96%          0.00     39,775.62       20.99%       1,093.38    Total Leases & Rent             404,318.00    15.60%    404,318.00    17.21%          0.00    394,562.90     18.43%       9,755.10
        10,662.07      3.15%     9,460.78     3.00%     1,201.29       4,730.00        2.50%       5,932.07   Management Fee - Base             82,323.86     3.18%     70,926.09     3.02%    11,397.77      53,508.00      2.50%      28,815.86
             0.00      0.00%         0.00     0.00%         0.00       3,703.55        1.95%      -3,703.55   Management Fee - Incentive             0.00     0.00%          0.00     0.00%         0.00      10,974.00      0.51%     -10,974.00
       10,662.07      3.15%     9,460.78     3.00%     1,201.29       8,433.55        4.45%       2,228.52    Total Management Fees            82,323.86     3.18%     70,926.09     3.02%    11,397.77      64,482.00      3.01%      17,841.86
        18,265.64      5.39%         0.00     0.00%    18,265.64      17,743.49        9.36%         522.15   Capital Reserve                   72,712.57     2.80%          0.00     0.00%    72,712.57     177,434.90      8.29%    -104,722.33
             0.00      0.00%         0.00     0.00%         0.00      61,717.00       32.57%     -61,717.00   (Gain)/Loss-Insurance                  0.00     0.00%          0.00     0.00%         0.00     617,170.00     28.82%    -617,170.00
             0.00      0.00%         0.00     0.00%         0.00           0.00        0.00%           0.00   Owner's Expense                      949.17     0.04%          0.00     0.00%       949.17      12,696.79      0.59%     -11,747.62
             0.00      0.00%         0.00     0.00%         0.00           0.00        0.00%           0.00   Non Recurring Cost                10,638.03     0.41%          0.00     0.00%    10,638.03           0.00      0.00%      10,638.03
             0.00      0.00%         0.00     0.00%         0.00       2,728.89        1.44%      -2,728.89   Extraordinary Expense                  0.00     0.00%          0.00     0.00%         0.00       4,513.26      0.21%      -4,513.26
             0.00      0.00%         0.00     0.00%         0.00           0.00        0.00%           0.00   Prior Owner's Expense              5,371.59     0.21%          0.00     0.00%     5,371.59           0.00      0.00%       5,371.59
       18,265.64      5.39%          0.00    0.00%    18,265.64      82,189.38       43.37%     -63,923.74    Total Other Non-Operating        89,671.36     3.46%           0.00    0.00%    89,671.36     811,814.95     37.91%    -722,143.59




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                                                                                               Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                               P&L - Dual Summary Pages
                                                                                                                     As of 10/31/2021
             PTD      %        PTD Budget      %          Variance   PTD Last Year     %               Variance                                                        YTD     %          YTD Budget %                Variance   YTD Last Year     %             Variance

                                                                                                                  Statistics
           102.00                   102.00                   0.00          102.00                         0.00    # Rooms                                            102.00                   102.00                      0.00         102.00                       0.00
         3,162.00                 3,162.00                   0.00        3,162.00                         0.00    Available Rooms                                 31,008.00                31,008.00                      0.00      31,110.00                    -102.00
         1,814.00                 1,637.00                 177.00           94.00                     1,720.00    Room Nights Sold                                18,641.00                14,928.00                  3,713.00       7,914.00                  10,727.00
          57.37%                   51.77%                  5.60%           2.97%                       54.40%     Occupancy %                                       60.12%                   48.14%                    11.97%         25.44%                     34.68%
           103.93                    85.89                  18.04           58.22                        45.71    ADR                                                113.75                    99.74                     14.01         154.23                     -40.48
            59.62                    44.46                  15.16            1.73                        57.89    RevPar                                              68.38                    48.02                     20.37          39.24                      29.15

                                                                                                                  Summary V.11
                                                                                                                  Revenue
       188,528.20    97.40%    140,597.00     98.61%    47,931.20        5,472.27     97.19%        183,055.93    Rooms                                        2,120,479.68    98.12%    1,488,908.00    98.78%     631,571.68   1,220,606.48     97.31%      899,873.20
             0.00     0.00%          0.00      0.00%         0.00            0.00      0.00%              0.00    F&B                                                  0.00     0.00%            0.00     0.00%           0.00           0.00      0.00%            0.00
         5,031.61     2.60%      1,987.00      1.39%     3,044.61          158.00      2.81%          4,873.61    Other Departments                               40,732.93     1.88%       18,428.00     1.22%      22,304.93      33,693.21      2.69%        7,039.72

      193,559.81    100.00%    142,584.00    100.00%    50,975.81       5,630.27     100.00%       187,929.54     Total Operating Revenue                     2,161,212.61    100.00%   1,507,336.00 100.00%       653,876.61    1,254,299.69 100.00%        906,912.92

                                                                                                                  Departmental Expenses
        70,405.56    37.34%     61,522.04     43.76%      8,883.52       6,215.96   113.59%          64,189.60    Rooms                                         600,449.81     28.32%     559,025.11     37.55%      41,424.70     271,495.15     22.24%      328,954.66
            37.13     0.00%          0.00      0.00%         37.13           0.00     0.00%              37.13    F&B                                             4,516.84      0.00%           0.00      0.00%       4,516.84           0.00      0.00%        4,516.84
         3,467.27    68.91%      2,964.05    149.17%        503.22       2,142.42 1,355.96%           1,324.85    Other Departments                              35,315.13     86.70%      28,703.20    155.76%       6,611.93      27,632.74     82.01%        7,682.39

       73,909.96    38.18%      64,486.09    45.23%      9,423.87       8,358.38     148.45%        65,551.58     Total Departmental Expenses                  640,281.78     29.63%     587,728.31     38.99%      52,553.47     299,127.89     23.85%      341,153.89

      119,649.85    61.82%      78,097.91    54.77%     41,551.94      -2,728.11     -48.45%       122,377.96     Total Departmental Profit                   1,520,930.83    70.37%     919,607.69     61.01%     601,323.14     955,171.80     76.15%      565,759.03

                                                                                                                  Undistributed Operating Expenses
        16,664.30     8.61%     17,775.96     12.47%     -1,111.66      11,277.11    200.29%          5,387.19    A&G                                           228,858.87     10.59%     174,665.97     11.59%      54,192.90     203,158.21     16.20%       25,700.66
             0.00     0.00%          0.00      0.00%          0.00           0.00      0.00%              0.00    IT                                                  0.00      0.00%           0.00      0.00%           0.00           0.00      0.00%            0.00
        12,197.93     6.30%     13,628.97      9.56%     -1,431.04       5,783.26    102.72%          6,414.67    S&M                                            97,955.20      4.53%     108,580.85      7.20%     -10,625.65      56,108.33      4.47%       41,846.87
        25,051.72    12.94%     17,962.32     12.60%      7,089.40       3,237.38     57.50%         21,814.34    Franchise Fees                                266,980.44     12.35%     189,949.05     12.60%      77,031.39     155,454.79     12.39%      111,525.65
         9,616.98     4.97%     14,645.22     10.27%     -5,028.24       3,872.08     68.77%          5,744.90    R&M                                           131,528.59      6.09%     119,884.37      7.95%      11,644.22      56,491.89      4.50%       75,036.70
        11,122.09     5.75%      9,985.70      7.00%      1,136.39       4,580.91     81.36%          6,541.18    Utilities                                     117,077.89      5.42%      91,060.80      6.04%      26,017.09      68,920.59      5.49%       48,157.30

       74,653.02    38.57%      73,998.17    51.90%        654.85      28,750.74     510.65%        45,902.28     Total Undistributed Expenses                 842,400.99     38.98%     684,141.04     45.39%     158,259.95     540,133.81     43.06%      302,267.18

       44,996.83    23.25%       4,099.74      2.88%    40,897.09     -31,478.85 -559.10%           76,475.68     Gross Operating Profit                    678,529.84        31.40%     235,466.65     15.62%     443,063.19     415,037.99     33.09%      263,491.85
         6,306.79     3.26%       4,500.00      3.16%     1,806.79       3,854.30   68.46%            2,452.49    Management Fees                             68,413.21         3.17%      50,304.09      3.34%      18,109.12      42,343.06      3.38%       26,070.15
       38,690.04    19.99%        -400.26     -0.28%    39,090.30     -35,333.15 -627.56%           74,023.19     Income Before Non-Operating Income and Expenses
                                                                                                                                                            610,116.63        28.23%     185,162.56     12.28%     424,954.07     372,694.93     29.71%      237,421.70

                                                                                                                  Non-Operating Income and Expenses
         7,106.33     3.67%       6,131.58     4.30%        974.75       4,621.89    82.09%            2,484.44   Insurance                                      64,812.05      3.00%      61,315.80      4.07%       3,496.25      44,292.11      3.53%       20,519.94
        35,544.90    18.36%      27,580.00    19.34%      7,964.90      30,956.46   549.82%            4,588.44   Leases & Rent                                 277,122.90     12.82%     269,158.00     17.86%       7,964.90     276,978.74     22.08%          144.16
             0.00     0.00%           0.00     0.00%          0.00      57,833.82 1,027.19%          -57,833.82   Other                                             949.17      0.04%           0.00      0.00%         949.17     625,578.75     49.87%     -624,629.58
       42,651.23    22.04%      33,711.58    23.64%      8,939.65      93,412.171,659.11%           -50,760.94    Total Non-Operating Income and Expenses      342,884.12     15.87%     330,473.80     21.92%      12,410.32     946,849.60     75.49%     -603,965.48

       -3,961.19     -2.05%    -34,111.84    -23.92%    30,150.65    -128,745.32-2,286.66%         124,784.13     EBITDA                                        267,232.51    12.36%    -145,311.24      -9.64%    412,543.75    -574,154.67     -45.77%     841,387.18
             0.00      0.00%          0.00      0.00%         0.00      20,372.00   361.83%         -20,372.00    Interest                                             0.00     0.00%           0.00       0.00%          0.00     203,419.94      16.22%    -203,419.94
         8,724.00      4.51%      8,724.42      6.12%        -0.42       9,160.50   162.70%            -436.50    Taxes                                           88,738.67     4.11%      87,244.20       5.79%      1,494.47      91,614.00       7.30%      -2,875.33
             0.00      0.00%          0.00      0.00%         0.00       2,209.00    39.23%          -2,209.00    Amortization                                         0.00     0.00%           0.00       0.00%          0.00      22,090.00       1.76%     -22,090.00
        8,724.00      4.51%      8,724.42      6.12%        -0.42      31,741.50 563.77%           -23,017.50     Interest, Taxes, Depreciation and Amortization 88,738.67     4.11%      87,244.20       5.79%      1,494.47     317,123.94      25.28%    -228,385.27

      -12,685.19     -6.55%    -42,836.26    -30.04%    30,151.07    -160,486.82-2,850.43%         147,801.63     Net Income                                   178,493.84      8.26%    -232,555.44 -15.43%        411,049.28    -891,278.61     -71.06%    1,069,772.45




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                                                                                            Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                                  As of 10/31/2021
             PTD      %       PTD Budget    %         Variance   PTD Last Year     %               Variance                                             YTD     %         YTD Budget %              Variance   YTD Last Year     %         Variance

                                                                                                              Statistics
           102.00                 102.00                 0.00          102.00                          0.00   # Rooms                                 102.00                  102.00                    0.00         102.00                    0.00
         3,162.00               3,162.00                 0.00        3,162.00                          0.00   Available Rooms                      31,008.00               31,008.00                    0.00      31,110.00                 -102.00
         1,814.00               1,637.00               177.00           94.00                      1,720.00   Room Nights Sold                     18,641.00               14,928.00                3,713.00       7,914.00               10,727.00
             0.57                   0.52                 0.06            0.03                          0.54   Occupancy %                               0.60                    0.48                    0.12           0.25                    0.35
           103.93                  85.89                18.04           58.22                         45.71   ADR                                     113.75                   99.74                   14.01         154.23                  -40.48
            59.62                  44.46                15.16            1.73                         57.89   RevPar                                   68.38                   48.02                   20.37          39.24                   29.15

                                                                                                              Summary
                                                                                                              Revenue:
       188,528.20    97.40%   140,597.00   98.61%    47,931.20       5,472.27     97.19%         183,055.93   Rooms                             2,120,479.68   98.12%    1,488,908.00    98.78%   631,571.68   1,220,606.48    97.31%    899,873.20
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Food                                      0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Beverage                                  0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Other F&B Revenue                         0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Telephone                                 0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
         5,031.61     2.60%     1,987.00    1.39%     3,044.61         158.00      2.81%           4,873.61   Other                                40,732.93    1.88%       18,428.00     1.22%    22,304.93      33,693.21     2.69%      7,039.72

       193,559.81   100.00%   142,584.00   100.00%   50,975.81       5,630.27    100.00%         187,929.54   Total Revenue                     2,161,212.61   100.00%   1,507,336.00   100.00%   653,876.61   1,254,299.69    100.00%   906,912.92



                                                                                                              Cost of Sales:
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%               0.00   Food                                      0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%               0.00   Beverage                                796.80    0.00%            0.00     0.00%       796.80           0.00     0.00%        796.80
             0.00     0.00%         0.00    0.00%        0.00            0.00      0.00%               0.00   Other F&B                                 0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%          0.00
           901.25    17.91%       945.00   47.56%      -43.75        1,091.19    690.63%            -189.94   Telephone                             7,929.54   19.47%        9,450.00    51.28%    -1,520.46      10,147.60    30.12%     -2,218.06
         1,310.44    26.04%     1,074.05   54.05%      236.39            0.00      0.00%           1,310.44   Other                                14,165.58   34.78%        9,803.20    53.20%     4,362.38       6,709.51    19.91%      7,456.07

         2,211.69    43.96%     2,019.05   101.61%     192.64        1,091.19    690.63%           1,120.50   Total Cost of Sales                  22,891.92   56.20%      19,253.20    104.48%     3,638.72      16,857.11    50.03%      6,034.81



                                                                                                              Payroll:
        37,123.94    19.69%    33,085.70   23.53%     4,038.24       2,751.71     50.28%          34,372.23   Rooms                               319,852.05   15.08%     318,861.64     21.42%       990.41     123,842.14    10.15%    196,009.91
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   F&B                                       0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Other                                     0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         9,921.71     5.13%     7,290.03    5.11%     2,631.68       4,995.99     88.73%           4,925.72   A&G                                  88,504.22    4.10%      70,875.98      4.70%    17,628.24      70,225.67     5.60%     18,278.55
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   IT                                        0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         4,848.14     2.50%     4,376.46    3.07%       471.68       2,744.36     48.74%           2,103.78   S&M                                  44,163.33    2.04%      42,740.74      2.84%     1,422.59      29,462.42     2.35%     14,700.91
         6,185.55     3.20%     5,330.12    3.74%       855.43           0.00      0.00%           6,185.55   R&M                                  58,867.00    2.72%      52,946.90      3.51%     5,920.10      15,678.93     1.25%     43,188.07
        58,079.34    30.01%    50,082.31   35.12%     7,997.03      10,492.06    186.35%          47,587.28   Total Salaries and Wages            511,386.60   23.66%     485,425.26     32.20%    25,961.34     239,209.16    19.07%    272,177.44

        12,165.51     6.29%     7,702.06    5.40%     4,463.45       5,495.20     97.60%           6,670.31   Total Taxes and Benefits             90,508.99    4.19%      81,557.77      5.41%     8,951.22     106,535.62     8.49%    -16,026.63
        70,244.85    36.29%    57,784.37   40.53%    12,460.48      15,987.26    283.95%          54,257.59   Total Labor Costs                   601,895.59   27.85%     566,983.03     37.61%    34,912.56     345,744.78    27.56%    256,150.81



                                                                                                              Direct Expenses:
        25,487.83    13.52%    23,532.02   16.74%     1,955.81         729.95     13.34%          24,757.88   Rooms                               221,851.59   10.46%     188,380.48     12.65%    33,471.11     100,775.39     8.26%    121,076.20
            37.13     0.00%         0.00    0.00%        37.13           0.00      0.00%              37.13   F&B                                   3,720.04    0.00%           0.00      0.00%     3,720.04           0.00     0.00%      3,720.04
         1,255.58    24.95%       945.00   47.56%       310.58       1,051.23    665.34%             204.35   Telephone                            13,220.01   32.46%       9,450.00     51.28%     3,770.01      10,775.63    31.98%      2,444.38
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Other                                     0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
        25,051.72    12.94%    17,962.32   12.60%     7,089.40       3,237.38     57.50%          21,814.34   Franchise Fees                      266,980.44   12.35%     189,949.05     12.60%    77,031.39     155,454.79    12.39%    111,525.65
         6,183.89     3.19%     9,204.72    6.46%    -3,020.83       4,582.66     81.39%           1,601.23   A&G                                 131,780.20    6.10%      90,231.05      5.99%    41,549.15      95,712.58     7.63%     36,067.62
             0.00     0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   IT                                        0.00    0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         3,742.44     1.93%     8,546.00    5.99%    -4,803.56       1,976.46     35.10%           1,765.98   S&M                                  37,297.28    1.73%      58,341.50      3.87%   -21,044.22      11,486.84     0.92%     25,810.44
         3,225.76     1.67%     8,505.08    5.96%    -5,279.32       3,872.08     68.77%            -646.32   R&M                                  65,967.81    3.05%      58,220.24      3.86%     7,747.57      33,533.99     2.67%     32,433.82
        11,122.09     5.75%     9,985.70    7.00%     1,136.39       4,580.91     81.36%           6,541.18   Utilities                           117,077.89    5.42%      91,060.80      6.04%    26,017.09      68,920.59     5.49%     48,157.30

        76,106.44    39.32%    78,680.84   55.18%    -2,574.40      20,030.67    355.77%          56,075.77   Total Direct Expense                857,895.26   39.70%     685,633.12     45.49%   172,262.14     476,659.81    38.00%    381,235.45

        44,996.83    23.25%     4,099.74    2.88%    40,897.09     -31,478.85    -559.10%         76,475.68   Gross Operating Profit              678,529.84   31.40%     235,466.65     15.62%   443,063.19     415,037.99    33.09%    263,491.85

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             PTD      %        PTD Budget    %         Variance   PTD Last Year    %                Variance                                            YTD    %        YTD Budget %              Variance   YTD Last Year    %            Variance




                                                                                                               Fixed Costs
         8,724.00     4.51%      8,724.42    6.12%        -0.42       9,160.50    162.70%           -436.50    Taxes                               88,738.67    4.11%    87,244.20      5.79%     1,494.47      91,614.00     7.30%      -2,875.33
         7,106.33     3.67%      6,131.58    4.30%       974.75       4,621.89     82.09%          2,484.44    Insurance                           64,812.05    3.00%    61,315.80      4.07%     3,496.25      44,292.11     3.53%      20,519.94
        35,544.90    18.36%     27,580.00   19.34%     7,964.90      30,956.46    549.82%          4,588.44    Leases & Rent                      277,122.90   12.82%   269,158.00     17.86%     7,964.90     276,978.74    22.08%         144.16
         6,306.79     3.26%      4,500.00    3.16%     1,806.79       3,854.30     68.46%          2,452.49    Management Fees                     68,413.21    3.17%    50,304.09      3.34%    18,109.12      42,343.06     3.38%      26,070.15

        57,682.02    29.80%     46,936.00   32.92%    10,746.02      48,593.15    863.07%          9,088.87    Total Fixed Expenses               499,086.83   23.09%   468,022.09     31.05%    31,064.74     455,227.91    36.29%      43,858.92

       -12,685.19     -6.55%   -42,836.26   -30.04%   30,151.07     -80,072.00 -1,422.17%         67,386.81    Net Operating Profit               179,443.01   8.30%    -232,555.44   -15.43%   411,998.45     -40,189.92     -3.20%    219,632.93



             0.00     0.00%          0.00    0.00%         0.00      20,372.00    361.83%         -20,372.00   Interest Expense - Other                0.00    0.00%           0.00    0.00%         0.00      203,419.94    16.22%    -203,419.94
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%               0.00   Owner's Expense                       949.17    0.04%           0.00    0.00%       949.17       27,635.84     2.20%     -26,686.67
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%               0.00   Extraordinary Expense                   0.00    0.00%           0.00    0.00%         0.00       19,604.71     1.56%     -19,604.71



       -12,685.19     -6.55%   -42,836.26   -30.04%   30,151.07    -100,444.00 -1,784.00%         87,758.81    Net Operating Income               178,493.84   8.26%    -232,555.44   -15.43%   411,049.28    -290,850.41    -23.19%    469,344.25

             0.00     0.00%          0.00    0.00%         0.00       7,436.82    132.09%          -7,436.82   Capital Reserve                          0.00   0.00%           0.00    0.00%          0.00      74,368.20     5.93%     -74,368.20
             0.00     0.00%          0.00    0.00%         0.00      50,397.00    895.11%         -50,397.00   (Gain)/Loss-Insurance                    0.00   0.00%           0.00    0.00%          0.00     503,970.00    40.18%    -503,970.00

       -12,685.19     -6.55%   -42,836.26   -30.04%   30,151.07    -158,277.82 -2,811.19%        145,592.63    Adjusted NOI                       178,493.84   8.26%    -232,555.44   -15.43%   411,049.28    -869,188.61    -69.30%   1,047,682.45



             0.00     0.00%          0.00    0.00%         0.00       2,209.00    39.23%           -2,209.00   Amortization                             0.00   0.00%           0.00    0.00%          0.00      22,090.00     1.76%      -22,090.00



       -12,685.19     -6.55%   -42,836.26   -30.04%   30,151.07    -160,486.82 -2,850.43%        147,801.63    Net Profit/(Loss)                  178,493.84   8.26%    -232,555.44   -15.43%   411,049.28    -891,278.61    -71.06%   1,069,772.45




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                                                                                              Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                                    As of 10/31/2021
             PTD      %        PTD Budget      %         Variance   PTD Last Year     %              Variance                                             YTD     %          YTD Budget %               Variance    YTD Last Year    %          Variance

                                                                                                                Rooms
                                                                                                                Room Revenue
                                                                                                                Transient Room Revenue
        29,338.00    15.56%     12,555.00      8.93%    16,783.00           0.00      0.00%         29,338.00   Corporate Transient                 265,124.40    12.50%     204,209.00     13.72%    60,915.40             0.00     0.00%    265,124.40
        18,324.70     9.72%          0.00      0.00%    18,324.70           0.00      0.00%         18,324.70   Advanced Purchase                   224,413.98    10.58%      64,161.00      4.31%   160,252.98             0.00     0.00%    224,413.98
        22,403.53    11.88%     12,400.00      8.82%    10,003.53           0.00      0.00%         22,403.53   AAA/AARP Transient                  200,898.42     9.47%     202,170.00     13.58%    -1,271.58             0.00     0.00%    200,898.42
         2,337.00     1.24%      4,557.00      3.24%    -2,220.00           0.00      0.00%          2,337.00   Employee                             36,776.45     1.73%      46,207.00      3.10%    -9,430.55             0.00     0.00%     36,776.45
             0.00     0.00%      4,898.00      3.48%    -4,898.00           0.00      0.00%              0.00   Travel Agent/Friends & Family         5,780.05     0.27%       9,638.00      0.65%    -3,857.95             0.00     0.00%      5,780.05
         7,858.19     4.17%          0.00      0.00%     7,858.19           0.00      0.00%          7,858.19   Leisure Package Transient            97,758.06     4.61%           0.00      0.00%    97,758.06             0.00     0.00%     97,758.06
         5,915.00     3.14%      6,355.00      4.52%      -440.00           0.00      0.00%          5,915.00   Member Reward Stay                  101,479.96     4.79%      68,634.00      4.61%    32,845.96        64,102.89     5.25%     37,377.07
             0.00     0.00%          0.00      0.00%         0.00       2,064.90     37.73%         -2,064.90   Extended Stay Transient                   0.00     0.00%           0.00      0.00%         0.00       308,255.03    25.25%   -308,255.03
        21,921.31    11.63%     22,320.00     15.88%      -398.69           0.00      0.00%         21,921.31   Internet/E-Commerce                 295,014.00    13.91%      89,738.00      6.03%   205,276.00             0.00     0.00%    295,014.00
           950.95     0.50%      9,348.00      6.65%    -8,397.05           0.00      0.00%            950.95   E-Commerce Opaque                    16,590.10     0.78%      38,195.00      2.57%   -21,604.90             0.00     0.00%     16,590.10
             0.00     0.00%          0.00      0.00%         0.00           0.00      0.00%              0.00   Other Transient                       5,564.62     0.26%           0.00      0.00%     5,564.62             0.00     0.00%      5,564.62
         5,045.85     2.68%          0.00      0.00%     5,045.85           0.00      0.00%          5,045.85   Government Transient                 54,452.10     2.57%      53,166.00      3.57%     1,286.10             0.00     0.00%     54,452.10
        42,076.36    22.32%     54,064.00     38.45%   -11,987.64       1,403.37     25.65%         40,672.99   Rack Transient                      579,385.34    27.32%     548,371.00     36.83%    31,014.34       420,775.35    34.47%    158,609.99
             0.00     0.00%          0.00      0.00%         0.00       2,211.00     40.40%         -2,211.00   Local Negotiated Transient                0.00     0.00%           0.00      0.00%         0.00       169,413.98    13.88%   -169,413.98

      156,170.89    82.84%     126,497.00    89.97%    29,673.89       5,679.27     103.78%       150,491.62    Total Transient Room Revenue     1,883,237.48    88.81%    1,324,489.00   88.96%     558,748.48      962,547.25     78.86%   920,690.23

                                                                                                                Group Room Revenue
        18,209.00     9.66%          0.00      0.00%   18,209.00            0.00      0.00%         18,209.00   Corporate Group                      38,445.00     1.81%           0.00      0.00%    38,445.00       218,761.26    17.92%   -180,316.26
             0.00     0.00%          0.00      0.00%        0.00            0.00      0.00%              0.00   Government Group                          0.00     0.00%           0.00      0.00%         0.00        47,674.00     3.91%    -47,674.00
             0.00     0.00%          0.00      0.00%        0.00            0.00      0.00%              0.00   SMERF Group                             632.00     0.03%           0.00      0.00%       632.00             0.00     0.00%        632.00
        14,827.00     7.86%     14,100.00     10.03%      727.00            0.00      0.00%         14,827.00   Sports Group                        212,639.81    10.03%     164,419.00     11.04%    48,220.81             0.00     0.00%    212,639.81
             0.00     0.00%          0.00      0.00%        0.00            0.00      0.00%              0.00   Other Group                           6,343.00     0.30%           0.00      0.00%     6,343.00             0.00     0.00%      6,343.00

       33,036.00    17.52%      14,100.00    10.03%    18,936.00            0.00     0.00%         33,036.00    Total Group Room Revenue           258,059.81    12.17%     164,419.00    11.04%      93,640.81      266,435.26     21.83%    -8,375.45

                                                                                                                Contract Room Revenue

            0.00      0.00%          0.00     0.00%         0.00            0.00     0.00%              0.00    Total Contract Room Revenue              0.00     0.00%            0.00     0.00%           0.00            0.00    0.00%           0.00

                                                                                                                Other Room Revenue
         1,697.20     0.90%           0.00     0.00%    1,697.20            0.00      0.00%          1,697.20   No-Show Rooms                        12,640.75     0.60%           0.00     0.00%     12,640.75         8,745.72     0.72%      3,895.03
             0.00     0.00%           0.00     0.00%        0.00            0.00      0.00%              0.00   Early/Late Departure Fees             2,656.46     0.13%           0.00     0.00%      2,656.46             0.00     0.00%      2,656.46

        1,697.20      0.90%          0.00     0.00%     1,697.20            0.00     0.00%          1,697.20    Total Other Room Revenue            15,297.21     0.72%            0.00     0.00%     15,297.21        8,745.72     0.72%      6,551.49

        -2,375.89     -1.26%          0.00     0.00%    -2,375.89        -207.00     -3.78%         -2,168.89   Less: Allowances                    -36,114.82    -1.70%           0.00     0.00%     -36,114.82      -17,121.75    -1.40%    -18,993.07

      188,528.20    100.00%    140,597.00    100.00%   47,931.20       5,472.27     100.00%       183,055.93    Total Room Revenue               2,120,479.68    100.00%   1,488,908.00 100.00%      631,571.68     1,220,606.48 100.00%     899,873.20

                                                                                                                Expenses
                                                                                                                Payroll Expense
                                                                                                                Salaries and Wages
             0.00     0.00%       1,838.48     1.31%    -1,838.48           0.00      0.00%              0.00   Front Office Management                   0.00     0.00%      17,974.36     1.21%     -17,974.36            0.00     0.00%           0.00
             0.00     0.00%           0.00     0.00%         0.00         358.18      6.55%           -358.18   Revenue Management                        0.00     0.00%           0.00     0.00%            0.00       5,263.82     0.43%      -5,263.82
         2,129.11     1.13%       2,329.20     1.66%      -200.09       2,207.17     40.33%            -78.06   Housekeeping Management              24,005.68     1.13%      22,772.37     1.53%        1,233.31      21,554.97     1.77%       2,450.71
        2,129.11     1.13%       4,167.68     2.96%    -2,038.57       2,565.35     46.88%           -436.24    Total Rooms Management              24,005.68     1.13%      40,746.73     2.74%     -16,741.05       26,818.79     2.20%      -2,813.11
        14,351.72     7.61%       5,739.43     4.08%     8,612.29           0.00      0.00%         14,351.72   Front Office Agents                 119,850.18     5.65%      56,283.45     3.78%       63,566.73      21,322.48     1.75%      98,527.70
             0.00     0.00%       1,417.14     1.01%    -1,417.14           0.00      0.00%              0.00   Front Office Supervisors                  0.00     0.00%      13,897.13     0.93%     -13,897.13            0.00     0.00%           0.00
             0.00     0.00%       3,596.00     2.56%    -3,596.00           0.00      0.00%              0.00   Night Auditors                            0.00     0.00%      35,264.00     2.37%     -35,264.00       11,308.38     0.93%    -11,308.38
             0.00     0.00%       2,387.00     1.70%    -2,387.00           0.00      0.00%              0.00   Breakfast Attendant                       0.00     0.00%      23,408.00     1.57%     -23,408.00        5,484.90     0.45%      -5,484.90
       14,351.72     7.61%      13,139.57     9.35%     1,212.15            0.00     0.00%         14,351.72    Total Rooms Front Office           119,850.18     5.65%     128,852.58     8.65%       -9,002.40      38,115.76     3.12%     81,734.42
             0.00     0.00%       2,657.14     1.89%    -2,657.14           0.00      0.00%              0.00   Housekeeping Supervisors                  0.00     0.00%      26,057.13     1.75%     -26,057.13        6,828.74     0.56%      -6,828.74
        20,643.11    10.95%       7,955.82     5.66%    12,687.29         175.11      3.20%         20,468.00   Room Attendants                     175,996.19     8.30%      72,550.08     4.87%     103,446.11       35,267.97     2.89%    140,728.22
             0.00     0.00%       2,152.29     1.53%    -2,152.29          11.25      0.21%            -11.25   Housepersons                              0.00     0.00%      21,106.32     1.42%     -21,106.32        4,650.16     0.38%      -4,650.16
             0.00     0.00%       3,013.20     2.14%    -3,013.20           0.00      0.00%              0.00   Laundry Attendants                        0.00     0.00%      29,548.80     1.98%     -29,548.80       12,160.72     1.00%    -12,160.72
       20,643.11    10.95%      15,778.45    11.22%     4,864.66         186.36      3.41%         20,456.75    Total Rooms Housekeeping           175,996.19     8.30%     149,262.33    10.02%      26,733.86       58,907.59     4.83%    117,088.60
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                                                                                             Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                             P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget    %         Variance   PTD Last Year     %                Variance                                                 YTD     %       YTD Budget %               Variance   YTD Last Year    %          Variance


       37,123.94    19.69%     33,085.70    23.53%    4,038.24       2,751.71     50.28%          34,372.23     Total Rooms Salary and Wages           319,852.05    15.08%   318,861.64    21.42%        990.41     123,842.14     10.15%   196,009.91

                                                                                                                PR Taxes and Benefits
         3,206.69      1.70%     2,543.87    1.81%       662.82         440.92       8.06%           2,765.77   FICA                                     24,049.44    1.13%     24,573.79     1.65%       -524.35      11,547.79     0.95%     12,501.65
            72.75      0.04%        13.97    0.01%        58.78           0.00       0.00%              72.75   Federal Unemployment Tax                  1,434.05    0.07%        513.39     0.03%        920.66           0.00     0.00%      1,434.05
           327.37      0.17%        89.78    0.06%       237.59           0.00       0.00%             327.37   State Unemployment Tax                    3,075.66    0.15%      4,231.99     0.28%     -1,156.33           0.00     0.00%      3,075.66
        3,606.81      1.91%     2,647.62    1.88%       959.19         440.92       8.06%           3,165.89    Total Payroll Taxes                     28,559.15    1.35%     29,319.17     1.97%       -760.02      11,547.79     0.95%     17,011.36
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%               0.00   Holiday                                       0.00    0.00%        600.00     0.04%       -600.00       3,292.28     0.27%     -3,292.28
             0.00      0.00%       163.82    0.12%      -163.82       4,255.96      77.77%          -4,255.96   Vacation                                      0.00    0.00%      1,729.97     0.12%     -1,729.97      23,881.59     1.96%    -23,881.59
             0.00     0.00%       163.82    0.12%      -163.82       4,255.96      77.77%          -4,255.96    Total Supplemental Pay                        0.00   0.00%      2,329.97     0.16%     -2,329.97      27,173.87     2.23%    -27,173.87
         3,675.30      1.95%     1,725.38    1.23%     1,949.92           0.00       0.00%           3,675.30   Worker's Compensation                    20,761.41    0.98%     16,581.35     1.11%      4,180.06           0.00     0.00%     20,761.41
          -375.18     -0.20%         0.00    0.00%      -375.18           0.00       0.00%            -375.18   Payroll Tax/Benefit Allocation           -8,147.08   -0.38%          0.00     0.00%     -8,147.08           0.00     0.00%     -8,147.08
           886.86      0.47%       367.50    0.26%       519.36      -1,962.58     -35.86%           2,849.44   Group Insurance                          17,572.69    0.83%      3,552.50     0.24%     14,020.19       8,105.96     0.66%      9,466.73
             0.00      0.00%         0.00    0.00%         0.00           0.00       0.00%               0.00   Bonus and Incentive Pay                       0.00    0.00%          0.00     0.00%          0.00          50.00     0.00%        -50.00
        4,186.98      2.22%     2,092.88    1.49%     2,094.10      -1,962.58     -35.86%           6,149.56    Total Other Benefits                    30,187.02    1.42%     20,133.85     1.35%     10,053.17       8,155.96     0.67%     22,031.06

        7,793.79      4.13%     4,904.32    3.49%     2,889.47       2,734.30     49.97%           5,059.49     Total Rooms PR Taxes and Benefits       58,746.17    2.77%     51,782.99     3.48%      6,963.18      46,877.62     3.84%     11,868.55

       44,917.73    23.83%     37,990.02    27.02%    6,927.71       5,486.01     100.25%         39,431.72     Total Rooms Labor Costs                378,598.22    17.85%   370,644.63    24.89%      7,953.59     170,719.76     13.99%   207,878.46

                                                                                                                Other Expenses
        11,435.20     6.07%      8,185.00    5.82%     3,250.20           0.00      0.00%          11,435.20    Breakfast /Comp Cost                     95,876.29    4.52%    69,301.65     4.65%     26,574.64       29,253.57     2.40%     66,622.72
           375.75     0.20%      1,227.75    0.87%      -852.00         226.83      4.15%             148.92    Cleaning Supplies                         8,163.10    0.38%    11,196.00     0.75%     -3,032.90        5,149.52     0.42%      3,013.58
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%               0.00    Contract Labor                                0.00    0.00%         0.00     0.00%          0.00       17,889.23     1.47%    -17,889.23
             0.00     0.00%         76.00    0.05%       -76.00           0.00      0.00%               0.00    Dues and Subscriptions                        0.00    0.00%     1,734.00     0.12%     -1,734.00            0.00     0.00%          0.00
             0.00     0.00%         31.00    0.02%       -31.00           0.00      0.00%               0.00    Equipment Rental                              0.00    0.00%       310.00     0.02%       -310.00            0.00     0.00%          0.00
         4,870.91     2.58%      2,128.10    1.51%     2,742.81           0.00      0.00%           4,870.91    Guest Supplies                           21,998.87    1.04%    19,406.40     1.30%      2,592.47        9,829.01     0.81%     12,169.86
             0.00     0.00%        765.00    0.54%      -765.00         255.00      4.66%            -255.00    Internet/Web Expense                          0.00    0.00%     3,060.00     0.21%     -3,060.00        2,632.10     0.22%     -2,632.10
           558.12     0.30%        572.95    0.41%       -14.83           0.00      0.00%             558.12    Laundry                                  10,214.70    0.48%     5,224.80     0.35%      4,989.90          317.84     0.03%      9,896.86
           150.92     0.08%        982.20    0.70%      -831.28           0.00      0.00%             150.92    Linen                                    17,790.05    0.84%     8,956.80     0.60%      8,833.25        4,783.81     0.39%     13,006.24
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%               0.00    Newspaper                                     0.00    0.00%         0.00     0.00%          0.00          237.75     0.02%       -237.75
         1,461.62     0.78%          0.00    0.00%     1,461.62           0.00      0.00%           1,461.62    Operating Supplies                        3,709.06    0.17%         0.00     0.00%      3,709.06          973.55     0.08%      2,735.51
             0.00     0.00%        130.96    0.09%      -130.96           0.00      0.00%               0.00    Printing and Stationery                       0.00    0.00%     1,194.24     0.08%     -1,194.24            0.00     0.00%          0.00
             0.00     0.00%        261.92    0.19%      -261.92         183.46      3.35%            -183.46    Reservation Expense                           0.00    0.00%     2,388.48     0.16%     -2,388.48        2,592.75     0.21%     -2,592.75
             0.00     0.00%         50.00    0.04%       -50.00           0.00      0.00%               0.00    Rooms Promotion                               0.00    0.00%       500.00     0.03%       -500.00            0.00     0.00%          0.00
         1,337.88     0.71%      1,309.00    0.93%        28.88           0.00      0.00%           1,337.88    Television Cable                         13,281.00    0.63%    13,090.00     0.88%        191.00        5,520.59     0.45%      7,760.41
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%               0.00    Training                                      0.00    0.00%       550.00     0.04%       -550.00            0.00     0.00%          0.00
             0.00     0.00%        282.00    0.20%      -282.00           0.00      0.00%               0.00    Travel Agent Comm - Group Rooms          10,458.33    0.49%     3,288.38     0.22%      7,169.95            0.00     0.00%     10,458.33
         4,097.19     2.17%      7,280.14    5.18%    -3,182.95          64.66      1.18%           4,032.53    Travel Agent Comm - Transient Rooms      38,669.39    1.82%    45,679.73     3.07%     -7,010.34       18,377.48     1.51%     20,291.91
         1,200.24     0.64%        250.00    0.18%       950.24           0.00      0.00%           1,200.24    Uniforms                                  1,200.24    0.06%     2,500.00     0.17%     -1,299.76        2,938.20     0.24%     -1,737.96
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%               0.00    Walked Guests                               490.56    0.02%         0.00     0.00%        490.56          279.99     0.02%        210.57

       25,487.83    13.52%     23,532.02    16.74%    1,955.81         729.95     13.34%          24,757.88     Total Rooms Other Expenses             221,851.59    10.46%   188,380.48    12.65%     33,471.11     100,775.39     8.26%    121,076.20

       70,405.56    37.34%     61,522.04    43.76%    8,883.52       6,215.96     113.59%         64,189.60     Total Rooms Expenses                   600,449.81    28.32%   559,025.11    37.55%     41,424.70     271,495.15     22.24%   328,954.66

      118,122.64    62.66%     79,074.96    56.24%   39,047.68        -743.69     -13.59%        118,866.33     Total Rooms Profit (Loss)             1,520,029.87   71.68%   929,882.89    62.45%    590,146.98     949,111.33     77.76%   570,918.54




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                                                                            Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                            P&L - Dual Summary Pages
                                                                                                  As of 10/31/2021
             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                                     YTD    %   YTD Budget %    Variance   YTD Last Year   %     Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
           351.00               155.00        196.00            0.00                 351.00   Room Stat - Corporate Transient               2,610.00         2,046.00        564.00           0.00          2,610.00
           169.00                 0.00        169.00            0.00                 169.00   Room Stat - Advanced Purchase                 1,681.00           545.00      1,136.00           0.00          1,681.00
           198.00               155.00         43.00            0.00                 198.00   Room Stat - AAA/AARP Transient                1,536.00         2,267.00       -731.00           0.00          1,536.00
            41.00                93.00        -52.00            0.00                  41.00   Room Stat - Employee                            674.00           943.00       -269.00           0.00            674.00
            65.00                 0.00         65.00            0.00                  65.00   Room Stat - Package Transient                   989.00             0.00        989.00           0.00            989.00
             0.00                62.00        -62.00            0.00                   0.00   Room Stat - Travel Agent/Friends & Family        68.00           122.00        -54.00           0.00             68.00
           169.00               155.00         14.00            0.00                 169.00   Room Stat - Member Reward Stay                2,407.00         1,674.00        733.00           0.00          2,407.00
             0.00                 0.00          0.00            0.00                   0.00   Room Stat - Golf Pkg Transient                    2.00             0.00          2.00           0.00              2.00
             0.00                 0.00          0.00           46.00                 -46.00   Room Stat - Extended Stay Transient               0.00             0.00          0.00       2,842.00         -2,842.00
           185.00               248.00        -63.00            0.00                 185.00   Room Stat - Internet                          2,414.00           960.00      1,454.00           0.00          2,414.00
            12.00               123.00       -111.00            0.00                  12.00   Room Stat - E-Commerce Opaque                   213.00           496.00       -283.00           0.00            213.00
            44.00                 0.00         44.00            0.00                  44.00   Room Stat - Government Rate Transient           429.00           474.00        -45.00         273.00            156.00
           325.00               496.00       -171.00           19.00                 306.00   Room Stat - Rack Rate Transient               3,795.00         3,982.00       -187.00       2,026.00          1,769.00
             0.00                 0.00          0.00           29.00                 -29.00   Room Stat - Local Negotiated Transient            0.00             0.00          0.00       1,174.00         -1,174.00
        1,559.00             1,487.00          72.00           94.00              1,465.00    Total Transient Rooms Sold                  16,818.00        13,509.00      3,309.00       6,315.00         10,503.00

                                                                                              Group Rooms
           -97.00                 0.00        -97.00            0.00                 -97.00   Room Stat - Corporate Group Rooms                37.00             0.00        37.00        1,599.00         -1,562.00
             0.00                 0.00          0.00            0.00                   0.00   Room Stat - SMERF Group                           8.00             0.00         8.00            0.00              8.00
           352.00               150.00        202.00            0.00                 352.00   Room Stat - Sports Group                      1,771.00         1,419.00       352.00            0.00          1,771.00
             0.00                 0.00          0.00            0.00                   0.00   Room Stat - Other Group                           7.00             0.00         7.00            0.00              7.00
          255.00               150.00        105.00             0.00                255.00    Total Group Rooms Sold                       1,823.00         1,419.00       404.00        1,599.00            224.00

                                                                                              Contract Rooms
            0.00                 0.00           0.00            0.00                  0.00    Total Contract Rooms Sold                        0.00             0.00          0.00            0.00             0.00

        1,814.00             1,637.00        177.00            94.00              1,720.00    Total Rooms Sold                            18,641.00        14,928.00      3,713.00       7,914.00         10,727.00
           50.00                 0.00         50.00             0.00                  50.00   Room Stat-Comp Rooms                            117.00            0.00         117.00          55.00             62.00
        1,864.00             1,637.00        227.00            94.00              1,770.00    Total Rooms Occupied                        18,758.00        14,928.00      3,830.00       7,969.00         10,789.00
           57.00                 0.00         57.00           155.00                 -98.00   Room Stat-Out of Order                        1,385.00            0.00       1,385.00       1,975.00           -590.00

                                                                                              ADR
            83.58               81.00            2.58           0.00                  83.58   Corporate Transient ADR                         101.58           99.81          1.77            0.00           101.58
           108.43                0.00         108.43            0.00                 108.43   Advanced Purchase ADR                           133.50          117.73         15.77            0.00           133.50
           113.15               80.00          33.15            0.00                 113.15   AAA/AARP ADR                                    130.79           89.18         41.61            0.00           130.79
             0.00                0.00            0.00           0.00                   0.00   FIT ADR                                           0.00            0.00          0.00            0.00              0.00
             0.00                0.00            0.00           0.00                   0.00   Consortia ADR                                     0.00            0.00          0.00            0.00              0.00
            57.00               49.00            8.00           0.00                  57.00   Employee ADR                                     54.56           49.00          5.56            0.00             54.56
             0.00                0.00            0.00           0.00                   0.00   Leisure ADR                                       0.00            0.00          0.00            0.00              0.00
             0.00               79.00         -79.00            0.00                   0.00   Travel Agent/Friends & Family ADR                85.00           79.00          6.00            0.00             85.00
             0.00                0.00            0.00           0.00                   0.00   Leisure Package ADR                               0.00            0.00          0.00            0.00              0.00
            35.00               41.00           -6.00           0.00                  35.00   Member Reward Stay ADR                           42.16           41.00          1.16            0.00             42.16
             0.00                0.00            0.00           0.00                   0.00   Golf Pkg ADR                                      0.00            0.00          0.00            0.00              0.00
             0.00                0.00            0.00          44.89                 -44.89   Extended Stay ADR                                 0.00            0.00          0.00          108.46          -108.46
           118.49               90.00          28.49            0.00                 118.49   Internet ADR                                    122.21           93.48         28.73            0.00           122.21
            79.25               76.00            3.25           0.00                  79.25   E-Commerce Opaque ADR                            77.89           77.01          0.88            0.00             77.89
             0.00                0.00            0.00           0.00                   0.00   Other Transient ADR                               0.00            0.00          0.00            0.00              0.00
             0.00                0.00            0.00           0.00                   0.00   Airline Distressed Passenger ADR                  0.00            0.00          0.00            0.00              0.00
           114.68                0.00         114.68            0.00                 114.68   Government ADR                                  126.93          112.16         14.76            0.00           126.93
           129.47              109.00          20.47           73.86                  55.60   Rack ADR                                        152.67          137.71         14.96          207.69            -55.02
             0.00                0.00            0.00          76.24                 -76.24   Local Negotiated ADR                              0.00            0.00          0.00          144.30          -144.30
          100.17                85.07          15.11           60.42                  39.76   Total Transient ADR                            111.98            98.04         13.93         152.42            -40.44

          -187.72                 0.00       -187.72            0.00                -187.72   Corporate Group ADR                           1,039.05             0.00     1,039.05          136.81           902.24
             0.00                 0.00          0.00            0.00                   0.00   Leisure Group ADR                                 0.00             0.00         0.00            0.00             0.00
             0.00                 0.00          0.00            0.00                   0.00   Government Group ADR                              0.00             0.00         0.00            0.00             0.00
             0.00                 0.00          0.00            0.00                   0.00   Tour & Travel Group ADR                           0.00             0.00         0.00            0.00             0.00
             0.00                 0.00          0.00            0.00                   0.00   Association Group ADR                             0.00             0.00         0.00            0.00             0.00
             0.00                 0.00          0.00            0.00                   0.00   City Wide Group ADR                               0.00             0.00         0.00            0.00             0.00
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                                                                            Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00                 0.00           0.00            0.00                  0.00    SMERF Group ADR                         79.00             0.00       79.00           0.00           79.00
           42.12                94.00         -51.88            0.00                 42.12    Sports Group ADR                       120.07           115.87        4.20           0.00          120.07
            0.00                 0.00           0.00            0.00                  0.00    Other Group ADR                        906.14             0.00      906.14           0.00          906.14
          129.55                94.00         35.55             0.00                129.55    Total Group ADR                       141.56           115.87        25.69         166.63          -25.07

            0.00                 0.00           0.00            0.00                  0.00    Airline Crew ADR                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Other Contract ADR                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Contract ADR                      0.00             0.00         0.00            0.00           0.00

          103.93                85.89          18.04           58.22                 45.71    Total ADR                             113.75            99.74        14.01         154.23          -40.48




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                                                                                         Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                         P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           F&B Summary
                                                                                                           Revenue
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Outlet Food Revenue                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Banquet and Catering Food Revenue          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Outlet Beverage Revenue                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Banquet and Catering Beverage Revenue      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Outlet Other Revenue                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Banquet and Catering Other Revenue         0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total F&B Revenue                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Food Purchases                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Beverage Purchases                       796.80    0.00%        0.00       0.00%    796.80            0.00     0.00%    796.80
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Cedit Employee Meals                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Credit House Charges                       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Credit In-House Promotions                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Audio Visual Cost of Sales                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Other Cost of Sales                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total F&B Cost of Sales                 796.80    0.00%         0.00      0.00%    796.80             0.00    0.00%    796.80

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    F&B Gross Profit                        -796.80   0.00%         0.00      0.00%    -796.80            0.00    0.00%    -796.80

                                                                                                           Expenses
                                                                                                           Payroll
                                                                                                           Salaries and Wages
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Management                                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Non-Management                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total F&B Salaries and Wages               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           PR Taxes and Benefits
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Payroll Taxes                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Supplemental Pay                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Other Benefits                             0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total F&B PR Taxes and Benefits            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total F&B Payroll                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Audio Visual Supplies                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Banquet Expense                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Bar Expense/Promos                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Bar Supplies                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    China                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Cleaning Supplies                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Communication Expense                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Contract Cleaning                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Contract Labor                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Decorations & Plants                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Dues and Subscriptions                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Equipment Rental                           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Food and Beverage Advertising              0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Glassware                                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Guest Loss/Damage                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Guest Supplies                             0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    In-House Entertainment                     0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Kitchen/Cooking Fuel                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Kitchen Equipment                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Laundry - Outside Expense                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Laundry Allocation                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Licenses/Permits                          37.00   0.00%          0.00     0.00%      37.00            0.00    0.00%      37.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Linen                                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%              0.00    Linen Rental                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                         Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                             YTD    %        YTD Budget %             Variance   YTD Last Year   %         Variance

            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Maintenance Contracts                     0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Meals and Entertainment                   0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Menus                                     0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
           37.13       0.00%        0.00     0.00%     37.13            0.00     0.00%            37.13    Miscellaneous Expense                 3,683.04    0.00%        0.00       0.00%    3,683.04           0.00     0.00%    3,683.04
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Music and Entertainment                   0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Office Equipment                          0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Office Supplies                           0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Operating Supplies                        0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Paper/Plastic Supplies                    0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Printing and Stationery                   0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Silverware                                0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Software Expense/Maintenance              0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Television Cable                          0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Training                                  0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Travel                                    0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Uniforms                                  0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Utensils                                  0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
           37.13      0.00%         0.00    0.00%      37.13            0.00    0.00%             37.13    Total F&B Other Expenses             3,720.04    0.00%         0.00      0.00%    3,720.04            0.00    0.00%    3,720.04

           37.13      0.00%         0.00    0.00%      37.13            0.00    0.00%             37.13    Total F&B Expenses                   3,720.04    0.00%         0.00      0.00%    3,720.04            0.00    0.00%    3,720.04

          -37.13      0.00%         0.00    0.00%     -37.13            0.00    0.00%            -37.13    Total F&B Profit (Loss)             -4,516.84    0.00%         0.00      0.00%    -4,516.84           0.00    0.00%    -4,516.84




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                                                                            Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                         0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers               0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                  0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 2
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                         0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers               0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                  0.00             0.00         0.00            0.00           0.00

                                                                                              Room Service
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                         0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Room Service Covers               0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Room Service Avg Check                  0.00             0.00         0.00            0.00           0.00

                                                                                              Banquets
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                         0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Banquets Covers                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Banquets Avg Check                      0.00             0.00         0.00            0.00           0.00

                                                                                              Catering
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                         0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Catering Covers                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Catering Avg Check                      0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 3
             0.00                 0.00          0.00            0.00                  0.00    Breakfast Avg Check                      0.00             0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                  0.00    Lunch Avg Check                          0.00             0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                  0.00    Dinner Avg Check                         0.00             0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                  0.00    Brunch Avg Check                         0.00             0.00        0.00            0.00           0.00
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                            YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers               0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                  0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 4
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                         0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers               0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                  0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 5
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                         0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers               0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                  0.00             0.00         0.00            0.00           0.00

                                                                                              Bar 1
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                         0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Bar 1 Covers                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Bar 1 Avg Check                         0.00             0.00         0.00            0.00           0.00

                                                                                              Bar 2
            0.00                 0.00           0.00            0.00                  0.00    Breakfast Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Lunch Avg Check                         0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Dinner Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Brunch Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Late Night Avg Check                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Breaks Avg Check                        0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Reception Avg Check                     0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Total Bar 2 Covers                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                  0.00    Bar 2 Avg Check                         0.00             0.00         0.00            0.00           0.00

            0.00                 0.00           0.00            0.00                  0.00    Total Covers                            0.00             0.00         0.00            0.00           0.00




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                                                                                      Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Food Admin
                                                                                                        Cost of Sales

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Cost of Sales           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Management              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Non-Management          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Food Admin Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Departmental Costs                       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                              YTD    %       YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%             0.00    Less Adjustments                           0.00   0.00%         0.00     0.00%        0.00           0.00    0.00%        0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Revenue              0.00    0.00%        0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%             0.00    Beverage Purchases                       796.80   0.00%         0.00     0.00%      796.80           0.00    0.00%      796.80

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Cost of Sales      796.80    0.00%        0.00      0.00%     796.80            0.00    0.00%     796.80

                                                                                                        Expenses
                                                                                                        Other Expenses
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%             0.00    Licenses/Permits                          37.00   0.00%         0.00     0.00%       37.00           0.00    0.00%       37.00
            37.13     0.00%         0.00   0.00%     37.13            0.00    0.00%            37.13    Miscellaneous Expense                  3,683.04   0.00%         0.00     0.00%    3,683.04           0.00    0.00%    3,683.04

           37.13      0.00%        0.00    0.00%     37.13            0.00    0.00%            37.13    Total Beverage Admin Other Expenses   3,720.04    0.00%        0.00      0.00%   3,720.04            0.00    0.00%   3,720.04

           37.13      0.00%        0.00    0.00%     37.13            0.00    0.00%            37.13    Total Beverage Admin Expenses         3,720.04    0.00%        0.00      0.00%   3,720.04            0.00    0.00%   3,720.04

          -37.13      0.00%        0.00    0.00%    -37.13            0.00    0.00%           -37.13    Departmental Costs                    -3,720.04   0.00%        0.00      0.00%   -3,720.04           0.00    0.00%   -3,720.04




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 1
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revemue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Room Service
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Banquets
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Banquets Food Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Food Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Banquets Beverage Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                        0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Beverage Revenue         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Other Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Cost of Sales            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Gross Profit                            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Management               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Non-Management           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00                    0.00                0.00            0.00                       0.00    Total Banquets Salaries and Wages       0.00                  0.00                  0.00            0.00                0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00                    0.00                0.00            0.00                       0.00    Total Banquet Benefits                  0.00                  0.00                  0.00            0.00                0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Payroll                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Other Expenses           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Expenses                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Banquets Profit (Loss)            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Catering
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Catering Food Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Food Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Catering Beverage Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Beverage Revenue         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Other Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Cost of Sales            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Catering Gross Profit                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Management               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Non-Management           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Salaries and Wages       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering PR Taxes and Benefits    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Payroll                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Other Expenses           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Expenses                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Profit (Loss)            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 3
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 4
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 5
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 1
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Bar 1 Food Revenue                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Food Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Bar 1 Beverage Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Beverage Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Other Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Cost of Sales               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Gross Profit                            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Non-Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Salaries and Wages          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 PR Taxes and Benefits       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Payroll                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Other Expenses              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Expenses                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Profit (Loss)               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                            YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 2
                                                                                                           Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Bar 2 Food Revenue                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Food Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Bar 2 Beverage Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Beverage Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Other Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Cost of Sales               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Gross Profit                            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expenses
                                                                                                           Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Non-Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Salaries and Wages          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 PR Taxes and Benefits       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Payroll                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Other Expenses              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Expenses                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Profit (Loss)               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: NSFL Associates LLC Property: SpringHill Suites Naples
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           Telephone

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Telephone Revenue                        0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                        0.00     0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Telephone Revenue                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                           Cost of Sales
           901.25      0.00%       945.00    0.00%     -43.75       1,091.19     0.00%           -189.94   Cost of Sales - Local Calls           7,929.54    0.00%     9,450.00      0.00%    -1,520.46      10,147.60     0.00%    -2,218.06
          901.25      0.00%       945.00    0.00%     -43.75       1,091.19     0.00%           -189.94    Total Telephone Cost of Sales        7,929.54    0.00%     9,450.00      0.00%    -1,520.46      10,147.60     0.00%    -2,218.06

         -901.25      0.00%      -945.00    0.00%      43.75      -1,091.19     0.00%            189.94    Gross Profit                        -7,929.54    0.00%     -9,450.00     0.00%    1,520.46      -10,147.60     0.00%    2,218.06

                                                                                                           Other Expenses
         1,255.58      0.00%       945.00    0.00%    310.58          951.23     0.00%            304.35   Internet/Web Expense                 11,603.41    0.00%     9,450.00      0.00%    2,153.41        9,523.43     0.00%    2,079.98
             0.00      0.00%         0.00    0.00%      0.00          100.00     0.00%           -100.00   Miscellaneous Expense                 1,224.60    0.00%         0.00      0.00%    1,224.60          860.00     0.00%      364.60
             0.00      0.00%         0.00    0.00%      0.00            0.00     0.00%              0.00   Operating Supplies                        0.00    0.00%         0.00      0.00%        0.00          392.20     0.00%     -392.20
             0.00      0.00%         0.00    0.00%      0.00            0.00     0.00%              0.00   Software Expense/Maintenance            392.00    0.00%         0.00      0.00%      392.00            0.00     0.00%      392.00
        1,255.58      0.00%       945.00    0.00%    310.58        1,051.23     0.00%            204.35    Total Telephone Other Expenses      13,220.01    0.00%     9,450.00      0.00%    3,770.01       10,775.63     0.00%    2,444.38

       -2,156.83      0.00%    -1,890.00    0.00%    -266.83      -2,142.42     0.00%            -14.41    Total Telephone Profit (Loss)      -21,149.55    0.00%    -18,900.00     0.00%    -2,249.55     -20,923.23     0.00%     -226.32




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             PTD      %       PTD Budget     %        Variance    PTD Last Year     %               Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                               Minor Operating
                                                                                                               Income
         1,075.00    21.36%         0.00     0.00%    1,075.00            0.00       0.00%          1,075.00   Rental Income - Other                         3,200.00     7.86%         0.00     0.00%     3,200.00       2,221.00      6.59%       979.00
        1,075.00    21.36%          0.00    0.00%    1,075.00             0.00      0.00%          1,075.00    Total Rental Income                          3,200.00     7.86%          0.00    0.00%     3,200.00       2,221.00      6.59%       979.00
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00   Vending Commissions-Soda & Snack Machines         0.00     0.00%         0.00     0.00%         0.00         188.10      0.56%      -188.10
             0.00     0.00%        50.00     2.52%       -50.00           0.00       0.00%              0.00   Vending Commissions Other                     1,139.25     2.80%       500.00     2.71%       639.25           0.00      0.00%     1,139.25
             0.00    0.00%         50.00    2.52%       -50.00            0.00      0.00%               0.00   Total Vending Commission Income              1,139.25     2.80%       500.00     2.71%       639.25         188.10      0.56%       951.15
         1,225.71    24.36%       250.00    12.58%      975.71          158.00     100.00%          1,067.71   Cancellation Fee - Rooms                      7,991.67    19.62%     2,500.00    13.57%     5,491.67      16,443.09     48.80%    -8,451.42
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00   Cancellation Fee - Other                          0.00     0.00%         0.00     0.00%         0.00         919.06      2.73%      -919.06
        1,225.71    24.36%       250.00    12.58%      975.71          158.00     100.00%          1,067.71    Total Cancellation Fee Income                7,991.67    19.62%     2,500.00    13.57%     5,491.67      17,362.15     51.53%    -9,370.48
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00   Guest Laundry                                  -266.50    -0.65%         0.00     0.00%      -266.50          84.40      0.25%      -350.90
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00   Interest Earned                                 215.48     0.53%         0.00     0.00%       215.48           0.00      0.00%       215.48
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00   Cash Discounts                                    0.00     0.00%         0.00     0.00%         0.00         284.03      0.84%      -284.03
             0.00     0.00%        50.00     2.52%       -50.00           0.00       0.00%              0.00   Internet Access                                   0.00     0.00%       500.00     2.71%      -500.00           0.00      0.00%         0.00
             0.00     0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00   Other Revenue 2                                  35.00     0.09%         0.00     0.00%        35.00          11.50      0.03%        23.50
         2,730.90    54.27%     1,637.00    82.39%    1,093.90            0.00       0.00%          2,730.90   Gift Shop Sales                              28,418.03    69.77%    14,928.00    81.01%    13,490.03      13,542.03     40.19%    14,876.00
        2,730.90    54.27%     1,687.00    84.90%    1,043.90             0.00      0.00%          2,730.90    Total Other Income                          28,402.01    69.73%    15,428.00    83.72%    12,974.01      13,921.96     41.32%    14,480.05

        5,031.61    100.00%    1,987.00    100.00%   3,044.61          158.00     100.00%          4,873.61    Total Minor Operating Income                40,732.93    100.00%   18,428.00 100.00%      22,304.93      33,693.21 100.00%        7,039.72

                                                                                                               Cost of Sales
             0.00     0.00%        10.00     0.50%      -10.00            0.00       0.00%              0.00   Cost of Sales - Internet Access                   0.00     0.00%       100.00     0.54%      -100.00           0.00      0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00       0.00%              0.00   Cost of Sales - Guest Laundry                    37.69     0.09%         0.00     0.00%        37.69         101.59      0.30%       -63.90
         1,310.44    26.04%     1,064.05    53.55%      246.39            0.00       0.00%          1,310.44   Cost of Sales - Gift Shop                    14,127.89    34.68%     9,703.20    52.65%     4,424.69       6,607.92     19.61%     7,519.97
        1,310.44    26.04%     1,074.05    54.05%      236.39             0.00      0.00%          1,310.44    Total Minor Operated Cost of Sales          14,165.58    34.78%     9,803.20    53.20%     4,362.38       6,709.51     19.91%     7,456.07

        3,721.17    73.96%       912.95    45.95%    2,808.22          158.00     100.00%          3,563.17    Total Minor Operated Profit (Loss)          26,567.35    65.22%     8,624.80    46.80%    17,942.55      26,983.70     80.09%      -416.35




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Revenue                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Non-Management             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Salaries and Wages         0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade PR Taxes and Benefits      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Payroll                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Other Expenses             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Expenses                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Profit (Loss)              0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Revenue                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Waterpark Management                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Waterpark Non-Management                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Salaries and Wages      0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark PR Taxes and Benefits   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Payroll                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Other Expenses          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Expenses                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Profit (Loss)           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %        PTD Budget    %        Variance   PTD Last Year    %              Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                            Franchise Fees
           141.58      0.07%       337.43    0.24%    -195.85            0.00     0.00%            141.58   Franchise Fees - IT Fees                       505.74    0.02%     3,573.39     0.24%    -3,067.65           0.00     0.00%        505.74
        10,369.08      5.36%     7,029.85    4.93%   3,339.23          306.36     5.44%         10,062.72   Franchise Fees - Royalty & Licenses        118,104.86    5.46%    74,445.40     4.94%    43,659.46      61,076.99     4.87%     57,027.87
          -274.21     -0.14%       295.25    0.21%    -569.46            0.00     0.00%           -274.21   Franchise Fees - Other                       6,920.89    0.32%     3,126.70     0.21%     3,794.19       2,304.50     0.18%      4,616.39
           309.70      0.16%         0.00    0.00%     309.70            0.00     0.00%            309.70   Franchise Fees - Reservations-GDS          -20,930.08   -0.97%         0.00     0.00%   -20,930.08           0.00     0.00%    -20,930.08
         4,509.11      2.33%     1,405.97    0.99%   3,103.14           17.28     0.31%          4,491.83   Franchise Fees - Frequent Guest             56,080.28    2.59%    14,889.08     0.99%    41,191.20      22,102.04     1.76%     33,978.24
         9,996.46      5.16%     8,435.82    5.92%   1,560.64        2,913.74    51.75%          7,082.72   Franchise Fees - Marketing Contributions   106,298.75    4.92%    89,334.48     5.93%    16,964.27      69,971.26     5.58%     36,327.49
             0.00      0.00%       458.00    0.32%    -458.00            0.00     0.00%              0.00   Franchise Fees - Reservations-Central            0.00    0.00%     4,580.00     0.30%    -4,580.00           0.00     0.00%          0.00

       25,051.72    12.94%     17,962.32    12.60%   7,089.40       3,237.38     57.50%        21,814.34    Total Franchise Fees                       266,980.44   12.35%   189,949.05   12.60%    77,031.39     155,454.79     12.39%   111,525.65




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             PTD      %        PTD Budget    %          Variance   PTD Last Year     %                Variance                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %           Variance

                                                                                                                 A&G
                                                                                                                 Expenses
                                                                                                                 Payroll Expense
                                                                                                                 Salaries and Wages
         9,921.71      5.13%     7,290.03     5.11%    2,631.68        4,995.99      88.73%          4,925.72    Management- A&G                      88,504.22     4.10%     70,875.98     4.70%    17,628.24      70,225.67      5.60%    18,278.55
        9,921.71      5.13%     7,290.03     5.11%    2,631.68        4,995.99      88.73%          4,925.72     Total A&G Management                88,504.22     4.10%     70,875.98     4.70%    17,628.24      70,225.67      5.60%    18,278.55
             0.00     0.00%          0.00    0.00%         0.00            0.00      0.00%               0.00    Total A&G Non-Management                  0.00    0.00%           0.00    0.00%          0.00           0.00     0.00%          0.00
        9,921.71      5.13%     7,290.03     5.11%    2,631.68        4,995.99      88.73%          4,925.72     Total A&G Salaries and Wages        88,504.22     4.10%     70,875.98     4.70%    17,628.24      70,225.67      5.60%    18,278.55
                                                                                                                 PR Taxes and Benefits
             0.00      0.00%       579.49     0.41%     -579.49          453.09       8.05%            -453.09   FICA                                    491.86     0.02%      5,652.26     0.37%    -5,160.40       6,391.59      0.51%     -5,899.73
             0.00      0.00%         3.18     0.00%       -3.18            0.00       0.00%               0.00   Federal Unemployment Tax                  0.00     0.00%        117.31     0.01%      -117.31           0.00      0.00%          0.00
             0.00      0.00%        20.45     0.01%      -20.45            0.00       0.00%               0.00   State Unemployment Tax                    0.00     0.00%        964.10     0.06%      -964.10           0.00      0.00%          0.00
             0.00     0.00%       603.12     0.42%     -603.12          453.09       8.05%            -453.09    Total Payroll Taxes                    491.86     0.02%      6,733.67     0.45%    -6,241.81       6,391.59      0.51%     -5,899.73
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%               0.00   Holiday                                   0.00     0.00%          0.00     0.00%         0.00       2,009.59      0.16%     -2,009.59
             0.00      0.00%       285.05     0.20%     -285.05          364.10       6.47%            -364.10   Vacation                                  0.00     0.00%      3,010.12     0.20%    -3,010.12       9,540.81      0.76%     -9,540.81
             0.00     0.00%       285.05     0.20%     -285.05          364.10       6.47%            -364.10    Total Supplemental Pay                    0.00    0.00%      3,010.12     0.20%    -3,010.12      11,550.40      0.92%    -11,550.40
             0.00      0.00%       393.04     0.28%     -393.04          830.00      14.74%            -830.00   Worker's Compensation                   115.00     0.01%      3,815.15     0.25%    -3,700.15       9,635.00      0.77%     -9,520.00
           558.70      0.29%         0.00     0.00%      558.70            0.00       0.00%             558.70   Payroll Tax/Benefit Allocation        7,967.59     0.37%          0.00     0.00%     7,967.59           0.00      0.00%      7,967.59
             0.00      0.00%         0.00     0.00%        0.00           51.27       0.91%             -51.27   Group Insurance                           0.00     0.00%          0.00     0.00%         0.00       5,626.97      0.45%     -5,626.97
             0.00      0.00%         0.00     0.00%        0.00            0.00       0.00%               0.00   Bonus and Incentive Pay                   0.00     0.00%          0.00     0.00%         0.00       4,016.00      0.32%     -4,016.00
          558.70      0.29%       393.04     0.28%      165.66          881.27      15.65%            -322.57    Total Other Benefits                 8,082.59     0.37%      3,815.15     0.25%     4,267.44      19,277.97      1.54%    -11,195.38
          558.70      0.29%     1,281.21     0.90%     -722.51        1,698.46      30.17%          -1,139.76    Total A&G PR Taxes and Benefits      8,574.45     0.40%     13,558.94     0.90%    -4,984.49      37,219.96      2.97%    -28,645.51
       10,480.41      5.41%     8,571.24     6.01%    1,909.17        6,694.45     118.90%           3,785.96    Total A&G Payroll                   97,078.67     4.49%     84,434.92     5.60%    12,643.75     107,445.63      8.57%    -10,366.96
                                                                                                                 Other Expenses
         1,000.00      0.52%     1,000.00     0.70%         0.00       2,000.00      35.52%         -1,000.00    Accounting/Audit Fees                10,000.00     0.46%     10,000.00     0.66%         0.00      20,000.00      1.59%   -10,000.00
         1,584.99      0.82%         0.00     0.00%     1,584.99          49.00       0.87%          1,535.99    Bad Debt Provision                    5,990.42     0.28%          0.00     0.00%     5,990.42         503.55      0.04%     5,486.87
           653.96      0.34%     1,075.00     0.75%      -421.04         699.08      12.42%            -45.12    Bank Charges                          7,084.12     0.33%     10,750.00     0.71%    -3,665.88       8,540.24      0.68%    -1,456.12
            -0.06      0.00%         0.00     0.00%        -0.06           0.00       0.00%             -0.06    Cash Over/Short                         697.68     0.03%          0.00     0.00%       697.68        -490.63     -0.04%     1,188.31
           171.94      0.09%         0.00     0.00%       171.94           0.00       0.00%            171.94    Central Office - Travel Rebilled        373.51     0.02%        500.00     0.03%      -126.49           0.00      0.00%       373.51
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00    Central Office - Accounting Fees        260.00     0.01%          0.00     0.00%       260.00           0.00      0.00%       260.00
           360.00      0.19%       160.00     0.11%       200.00           0.00       0.00%            360.00    Central Office - IT Fees              2,540.00     0.12%      1,600.00     0.11%       940.00           0.00      0.00%     2,540.00
            60.00      0.03%        60.00     0.04%         0.00           0.00       0.00%             60.00    Communication Expense                   230.00     0.01%        600.00     0.04%      -370.00         137.02      0.01%        92.98
         3,651.05      1.89%     3,422.02     2.40%       229.03          18.89       0.34%          3,632.16    Credit Card Commission               51,243.18     2.37%     36,176.05     2.40%    15,067.13      33,521.96      2.67%    17,721.22
             0.00      0.00%         0.00     0.00%         0.00         863.97      15.35%           -863.97    Data Processing                         206.49     0.01%          0.00     0.00%       206.49       9,545.78      0.76%    -9,339.29
        -5,135.67     -2.65%         0.00     0.00%    -5,135.67         120.00       2.13%         -5,255.67    Dues and Subscriptions                2,394.28     0.11%          0.00     0.00%     2,394.28       1,246.60      0.10%     1,147.68
           252.90      0.13%       200.00     0.14%        52.90           0.00       0.00%            252.90    Employee Relations                    3,004.65     0.14%      2,800.00     0.19%       204.65         541.71      0.04%     2,462.94
            26.93      0.01%         0.00     0.00%        26.93          26.75       0.48%              0.18    Equipment Rental                        295.91     0.01%          0.00     0.00%       295.91         242.82      0.02%        53.09
             0.00      0.00%       331.00     0.23%      -331.00         517.00       9.18%           -517.00    Licenses/Permits                      1,488.75     0.07%      1,138.00     0.08%       350.75       3,219.25      0.26%    -1,730.50
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00    Meals and Entertainment                 142.71     0.01%          0.00     0.00%       142.71          34.63      0.00%       108.08
          -120.00     -0.06%         0.00     0.00%      -120.00           0.00       0.00%           -120.00    Miscellaneous Expense                -2,142.49    -0.10%          0.00     0.00%    -2,142.49           0.00      0.00%    -2,142.49
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00    Office Equipment                        898.79     0.04%          0.00     0.00%       898.79           0.00      0.00%       898.79
           282.36      0.15%       200.00     0.14%        82.36          18.55       0.33%            263.81    Office Supplies                       5,610.43     0.26%      2,000.00     0.13%     3,610.43       1,792.60      0.14%     3,817.83
           215.61      0.11%       396.00     0.28%      -180.39         121.98       2.17%             93.63    Payroll Service Fees                  1,406.50     0.07%      3,960.00     0.26%    -2,553.50       2,899.86      0.23%    -1,493.36
            41.25      0.02%        40.00     0.03%         1.25           0.00       0.00%             41.25    Postage                                 141.58     0.01%        400.00     0.03%      -258.42         307.04      0.02%      -165.46
            62.50      0.03%       150.00     0.11%       -87.50           0.00       0.00%             62.50    Professional Fees - Legal             6,001.64     0.28%      1,500.00     0.10%     4,501.64           0.00      0.00%     6,001.64
           500.00      0.26%       500.00     0.35%         0.00           0.00       0.00%            500.00    Professional Fees - Other            10,022.57     0.46%      5,000.00     0.33%     5,022.57       9,029.00      0.72%       993.57
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00    Recruitment Advertising               2,180.00     0.10%          0.00     0.00%     2,180.00         728.79      0.06%     1,451.21
           376.35      0.19%         0.00     0.00%       376.35         122.98       2.18%            253.37    Recruitment - Other                   1,106.15     0.05%          0.00     0.00%     1,106.15         840.28      0.07%       265.87
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00    Security - In-house Expense             395.00     0.02%          0.00     0.00%       395.00           0.00      0.00%       395.00
             0.00      0.00%       600.00     0.42%      -600.00           0.00       0.00%              0.00    Security - Outside                        0.00     0.00%      2,150.00     0.14%    -2,150.00         802.25      0.06%      -802.25
         2,023.32      1.05%       520.70     0.37%     1,502.62           0.00       0.00%          2,023.32    Software Expense/Maintenance         14,337.53     0.66%      6,157.00     0.41%     8,180.53           0.00      0.00%    14,337.53
           176.46      0.09%       500.00     0.35%      -323.54          20.40       0.36%            156.06    Training                              2,560.24     0.12%      5,000.00     0.33%    -2,439.76       1,118.61      0.09%     1,441.63
             0.00      0.00%        50.00     0.04%       -50.00           4.06       0.07%             -4.06    Travel                                  661.40     0.03%        500.00     0.03%       161.40       1,151.22      0.09%      -489.82
             0.00      0.00%         0.00     0.00%         0.00           0.00       0.00%              0.00    Uniforms                              2,649.16     0.12%          0.00     0.00%     2,649.16           0.00      0.00%     2,649.16
        6,183.89      3.19%     9,204.72     6.46%    -3,020.83       4,582.66      81.39%          1,601.23     Total A&G Other Expenses           131,780.20     6.10%     90,231.05     5.99%    41,549.15      95,712.58      7.63%    36,067.62
       16,664.30      8.61%    17,775.96    12.47%    -1,111.66      11,277.11     200.29%          5,387.19     Total A&G Expenses                 228,858.87    10.59%    174,665.97    11.59%    54,192.90     203,158.21     16.20%    25,700.66




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                                                                                      Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                            As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        IT
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wags
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Management                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Non-Management                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Salaries and Wages             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT PR Taxes and Benefits          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Payroll                        0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Cost of Services
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Cost of Services               0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        System Costs
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Systems                        0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Other Expenses                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total IT Expenses                       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                            Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                                  As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year     %              Variance                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                              S&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         6,387.37      3.30%         0.00    0.00%    6,387.37        2,744.36     48.74%          3,643.01   Division Management                  46,220.19    2.14%          0.00     0.00%    46,220.19       25,019.85     1.99%    21,200.34
        -3,193.69     -1.65%     2,959.32    2.08%   -6,153.01            0.00      0.00%         -3,193.69   Sales Managers                      -15,232.70   -0.70%     28,843.61     1.91%   -44,076.31           33.25     0.00%   -15,265.95
        3,193.68      1.65%     2,959.32    2.08%      234.36        2,744.36     48.74%            449.32    Total S&M Management                30,987.49    1.43%     28,843.61     1.91%     2,143.88       25,053.10     2.00%     5,934.39
         1,654.46      0.85%     1,417.14    0.99%      237.32            0.00      0.00%          1,654.46   Administrative Assistant             13,175.84    0.61%     13,897.13     0.92%      -721.29        4,409.32     0.35%     8,766.52
        1,654.46      0.85%     1,417.14    0.99%      237.32             0.00     0.00%          1,654.46    Total S&M Non-Management            13,175.84    0.61%     13,897.13     0.92%      -721.29        4,409.32     0.35%     8,766.52

        4,848.14      2.50%     4,376.46    3.07%      471.68        2,744.36     48.74%          2,103.78    Total S&M Salaries and Wages        44,163.33    2.04%     42,740.74     2.84%      1,422.59      29,462.42     2.35%    14,700.91

                                                                                                              PR Taxes and Benefits
           717.09      0.37%       343.65    0.24%      373.44          136.65      2.43%            580.44   FICA                                  6,258.58    0.29%      3,363.16     0.22%      2,895.42       2,489.58     0.20%     3,769.00
            15.85      0.01%         1.89    0.00%       13.96            0.00      0.00%             15.85   Federal Unemployment Tax                151.01    0.01%         69.70     0.00%         81.31           0.00     0.00%       151.01
            71.38      0.04%        12.13    0.01%       59.25            0.00      0.00%             71.38   State Unemployment Tax                  679.69    0.03%        573.36     0.04%        106.33           0.00     0.00%       679.69
          804.32      0.42%       357.67    0.25%      446.65          136.65      2.43%            667.67    Total Payroll Taxes                  7,089.28    0.33%      4,006.22     0.27%      3,083.06       2,489.58     0.20%     4,599.70
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%              0.00   Holiday                                   0.00    0.00%          0.00     0.00%          0.00         908.00     0.07%      -908.00
             0.00      0.00%       115.76    0.08%     -115.76          481.04      8.54%           -481.04   Vacation                                  0.00    0.00%      1,222.41     0.08%     -1,222.41       5,321.04     0.42%    -5,321.04
             0.00     0.00%       115.76    0.08%     -115.76          481.04      8.54%           -481.04    Total Supplemental Pay                    0.00   0.00%      1,222.41     0.08%     -1,222.41       6,229.04     0.50%    -6,229.04
           860.46      0.44%       233.08    0.16%      627.38            0.00      0.00%            860.46   Worker's Compensation                 5,826.78    0.27%      2,269.98     0.15%      3,556.80           0.00     0.00%     5,826.78
          -246.57     -0.13%         0.00    0.00%     -246.57            0.00      0.00%           -246.57   Payroll Tax/Benefit Allocation       -6,966.30   -0.32%          0.00     0.00%     -6,966.30           0.00     0.00%    -6,966.30
           314.14      0.16%         0.00    0.00%      314.14          444.75      7.90%           -130.61   Group Insurance                       3,982.33    0.18%          0.00     0.00%      3,982.33       4,872.10     0.39%      -889.77
         1,875.00      0.97%         0.00    0.00%    1,875.00            0.00      0.00%          1,875.00   Bonus and Incentive Pay               6,562.50    0.30%          0.00     0.00%      6,562.50       1,568.35     0.13%     4,994.15
        2,803.03      1.45%       233.08    0.16%    2,569.95          444.75      7.90%          2,358.28    Total Other Benefits                 9,405.31    0.44%      2,269.98     0.15%      7,135.33       6,440.45     0.51%     2,964.86
        3,607.35      1.86%       706.51    0.50%    2,900.84        1,062.44     18.87%          2,544.91    Total S&M PR Taxes and Benefits     16,494.59    0.76%      7,498.61     0.50%      8,995.98      15,159.07     1.21%     1,335.52

        8,455.49      4.37%     5,082.97    3.56%    3,372.52        3,806.80     67.61%          4,648.69    Total S&M Payroll                   60,657.92    2.81%     50,239.35     3.33%    10,418.57       44,621.49     3.56%    16,036.43

                                                                                                              Other Expenses
           440.00      0.23%         0.00    0.00%       440.00           0.00      0.00%            440.00   Advertising General                   3,965.00    0.18%        300.00     0.02%      3,665.00          77.04     0.01%     3,887.96
             0.00      0.00%       940.00    0.66%      -940.00           0.00      0.00%              0.00   Advertising-Web/Internet                321.00    0.01%     10,435.00     0.69%    -10,114.00       5,287.73     0.42%    -4,966.73
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Agency Fees                             144.69    0.01%          0.00     0.00%        144.69           0.00     0.00%       144.69
             0.00      0.00%     1,800.00    1.26%    -1,800.00       1,800.00     31.97%         -1,800.00   Billboards                                0.00    0.00%      1,800.00     0.12%     -1,800.00       1,800.00     0.14%    -1,800.00
             0.00      0.00%       100.00    0.07%      -100.00           0.00      0.00%              0.00   Brochures                                 0.00    0.00%        400.00     0.03%       -400.00           0.00     0.00%         0.00
           200.00      0.10%        25.00    0.02%       175.00           0.00      0.00%            200.00   Communication Expense                   300.00    0.01%        250.00     0.02%         50.00          25.00     0.00%       275.00
         1,088.00      0.56%     1,261.00    0.88%      -173.00           0.00      0.00%          1,088.00   Dues and Subscriptions               17,002.48    0.79%     17,652.00     1.17%       -649.52       3,196.87     0.25%    13,805.61
             0.00      0.00%       500.00    0.35%      -500.00           0.00      0.00%              0.00   GDS Marketing Advert & Sales              0.00    0.00%      5,000.00     0.33%     -5,000.00           0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Magazine - Advertising                    0.00    0.00%        500.00     0.03%       -500.00           0.00     0.00%         0.00
            60.27      0.03%        50.00    0.04%        10.27           0.00      0.00%             60.27   Meals and Entertainment                  60.27    0.00%        500.00     0.03%       -439.73           7.88     0.00%        52.39
            64.06      0.03%        25.00    0.02%        39.06           0.00      0.00%             64.06   Miscellaneous Expense                    64.06    0.00%        250.00     0.02%       -185.94           0.00     0.00%        64.06
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Office Equipment                      1,171.05    0.05%          0.00     0.00%      1,171.05           0.00     0.00%     1,171.05
             0.00      0.00%        45.00    0.03%       -45.00           0.00      0.00%              0.00   Office Supplies                          38.19    0.00%        450.00     0.03%       -411.81           0.00     0.00%        38.19
            -1.00      0.00%       250.00    0.18%      -251.00           0.00      0.00%             -1.00   Promotions - In-house                   816.54    0.04%      2,500.00     0.17%     -1,683.46         763.10     0.06%        53.44
         1,739.69      0.90%     2,750.00    1.93%    -1,010.31           0.00      0.00%          1,739.69   Promotion - Outside                   2,419.45    0.11%      5,000.00     0.33%     -2,580.55           0.00     0.00%     2,419.45
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Regional Sales & Marketing               20.00    0.00%          0.00     0.00%         20.00           0.00     0.00%        20.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Software Expense/Maintenance          8,923.57    0.41%      9,904.50     0.66%       -980.93           0.00     0.00%     8,923.57
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Trade Shows                               0.00    0.00%        500.00     0.03%       -500.00           0.00     0.00%         0.00
             0.00      0.00%       750.00    0.53%      -750.00         176.46      3.13%           -176.46   Training                              1,745.00    0.08%      2,400.00     0.16%       -655.00         213.73     0.02%     1,531.27
           151.42      0.08%        50.00    0.04%       101.42           0.00      0.00%            151.42   Travel                                  305.98    0.01%        500.00     0.03%       -194.02         115.49     0.01%       190.49
        3,742.44      1.93%     8,546.00    5.99%    -4,803.56       1,976.46     35.10%          1,765.98    Total S&M Other Expenses            37,297.28    1.73%     58,341.50     3.87%    -21,044.22      11,486.84     0.92%    25,810.44

       12,197.93      6.30%    13,628.97    9.56%    -1,431.04       5,783.26     102.72%         6,414.67    Total S&M Expenses                  97,955.20    4.53%    108,580.85     7.20%    -10,625.65      56,108.33     4.47%    41,846.87




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                                                                                            Company: NSFL Associates LLC Property: SpringHill Suites Naples
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                                                                                                                  As of 10/31/2021
             PTD      %        PTD Budget    %         Variance   PTD Last Year    %               Variance                                               YTD    %        YTD Budget %              Variance    YTD Last Year   %          Variance

                                                                                                              R&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         2,555.29      1.32%     2,451.55    1.72%      103.74            0.00      0.00%          2,555.29   Division Management                    24,698.79    1.14%     24,718.35     1.64%        -19.56       5,813.43     0.46%    18,885.36
        2,555.29      1.32%     2,451.55    1.72%      103.74             0.00     0.00%          2,555.29    Total R&M Management                  24,698.79    1.14%     24,718.35     1.64%        -19.56       5,813.43     0.46%    18,885.36
             0.00      0.00%     1,550.00    1.09%   -1,550.00            0.00      0.00%              0.00   Engineering Supervisor                      0.00    0.00%     15,200.00     1.01%   -15,200.00            0.00     0.00%         0.00
         3,630.26      1.88%     1,328.57    0.93%    2,301.69            0.00      0.00%          3,630.26   Engineers 1                            34,168.21    1.58%     13,028.55     0.86%    21,139.66        9,865.50     0.79%    24,302.71
        3,630.26      1.88%     2,878.57    2.02%      751.69             0.00     0.00%          3,630.26    Total R&M Non-Management              34,168.21    1.58%     28,228.55     1.87%     5,939.66        9,865.50     0.79%    24,302.71

        6,185.55      3.20%     5,330.12    3.74%      855.43             0.00     0.00%          6,185.55    Total R&M Salaries and Wages          58,867.00    2.72%     52,946.90     3.51%     5,920.10       15,678.93     1.25%    43,188.07

                                                                                                              PR Taxes and Benefits
            74.38      0.04%       415.13    0.29%     -340.75            0.00      0.00%             74.38   FICA                                      969.43    0.04%      4,128.32     0.27%    -3,158.89        1,638.32     0.13%      -668.89
             2.48      0.00%         2.28    0.00%         0.20           0.00      0.00%              2.48   Federal Unemployment Tax                   19.46    0.00%         85.14     0.01%       -65.68            0.00     0.00%        19.46
            11.15      0.01%        14.65    0.01%        -3.50           0.00      0.00%             11.15   State Unemployment Tax                     87.56    0.00%        699.31     0.05%      -611.75            0.00     0.00%        87.56
            88.01     0.05%       432.06    0.30%     -344.05             0.00     0.00%              88.01   Total Payroll Taxes                    1,076.45    0.05%      4,912.77     0.33%    -3,836.32        1,638.32     0.13%      -561.87
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Holiday                                     0.00    0.00%          0.00     0.00%         0.00          600.98     0.05%      -600.98
             0.00      0.00%        96.40    0.07%       -96.40           0.00      0.00%              0.00   Vacation                                    0.00    0.00%      1,017.97     0.07%    -1,017.97        3,345.23     0.27%    -3,345.23
             0.00     0.00%         96.40   0.07%       -96.40            0.00     0.00%               0.00   Total Supplemental Pay                      0.00   0.00%      1,017.97     0.07%    -1,017.97        3,946.21     0.31%    -3,946.21
           117.66      0.06%       281.56    0.20%     -163.90            0.00      0.00%            117.66   Worker's Compensation                     532.07    0.02%      2,786.49     0.18%    -2,254.42            0.00     0.00%       532.07
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Payroll Tax/Benefit Allocation          5,085.26    0.24%          0.00     0.00%     5,085.26            0.00     0.00%     5,085.26
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Group Insurance                             0.00    0.00%          0.00     0.00%         0.00        1,694.44     0.14%    -1,694.44
          117.66      0.06%       281.56    0.20%     -163.90             0.00     0.00%            117.66    Total Other Benefits                   5,617.33    0.26%      2,786.49     0.18%     2,830.84        1,694.44     0.14%     3,922.89
          205.67      0.11%       810.02    0.57%     -604.35             0.00     0.00%            205.67    Total R&M PR Taxes and Benefits        6,693.78    0.31%      8,717.23     0.58%    -2,023.45        7,278.97     0.58%      -585.19

        6,391.22      3.30%     6,140.14    4.31%      251.08             0.00     0.00%          6,391.22    Total R&M Payroll                     65,560.78    3.03%     61,664.13     4.09%     3,896.65       22,957.90     1.83%    42,602.88

                                                                                                              Other Expenses
             0.00      0.00%       163.70    0.11%      -163.70           0.00      0.00%              0.00   Air Conditioning and Refrigeration      9,269.21    0.43%      1,492.80     0.10%     7,776.41        1,897.96     0.15%     7,371.25
            59.88      0.03%       229.18    0.16%      -169.30           0.00      0.00%             59.88   Building                               10,162.06    0.47%      2,089.92     0.14%     8,072.14        3,246.88     0.26%     6,915.18
             0.00      0.00%        25.00    0.02%       -25.00           0.00      0.00%              0.00   Communication Expense                       0.00    0.00%        250.00     0.02%      -250.00            0.00     0.00%         0.00
             0.00      0.00%     3,000.00    2.10%    -3,000.00           0.00      0.00%              0.00   Contract Labor                              0.00    0.00%      3,000.00     0.20%    -3,000.00            0.00     0.00%         0.00
             0.00      0.00%       180.07    0.13%      -180.07         115.89      2.06%           -115.89   Electric Bulbs                            880.15    0.04%      1,642.08     0.11%      -761.93          690.75     0.06%       189.40
             0.00      0.00%        81.85    0.06%       -81.85           0.00      0.00%              0.00   Electrical and Mechanical                  55.61    0.00%        746.40     0.05%      -690.79            0.00     0.00%        55.61
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Elevator Maintenance Contracts          6,115.04    0.28%      4,200.00     0.28%     1,915.04            0.00     0.00%     6,115.04
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Equipment Maintenance                     760.00    0.04%      1,000.00     0.07%      -240.00        4,001.82     0.32%    -3,241.82
             0.00      0.00%       439.92    0.31%      -439.92         751.60     13.35%           -751.60   Fire Safety Equipment                   7,185.71    0.33%      4,399.20     0.29%     2,786.51        1,900.08     0.15%     5,285.63
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Floor and Carpet Maintenance            4,419.21    0.20%      4,500.00     0.30%       -80.79          904.10     0.07%     3,515.11
             0.00      0.00%        49.11    0.03%       -49.11         127.33      2.26%           -127.33   Furniture                                 254.66    0.01%        447.84     0.03%      -193.18          222.05     0.02%        32.61
           970.00      0.50%     1,000.00    0.70%       -30.00         945.00     16.78%             25.00   Grounds and Landscaping                11,065.00    0.51%     10,900.00     0.72%       165.00        8,516.34     0.68%     2,548.66
             0.00      0.00%        25.00    0.02%       -25.00           0.00      0.00%              0.00   Kitchen Equipment Repairs                   0.00    0.00%        250.00     0.02%      -250.00          459.42     0.04%      -459.42
             0.00      0.00%       163.70    0.11%      -163.70           0.00      0.00%              0.00   Laundry Equipment Repairs                   0.00    0.00%      1,492.80     0.10%    -1,492.80          100.82     0.01%      -100.82
             0.00      0.00%       500.00    0.35%      -500.00           0.00      0.00%              0.00   Locks and Keys                              5.98    0.00%      1,000.00     0.07%      -994.02        1,062.84     0.08%    -1,056.86
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Miscellaneous Expense                      33.99    0.00%          0.00     0.00%        33.99            0.00     0.00%        33.99
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Office Supplies                           164.98    0.01%          0.00     0.00%       164.98            0.00     0.00%       164.98
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Operating Supplies                         52.05    0.00%          0.00     0.00%        52.05            0.00     0.00%        52.05
             0.00      0.00%         0.00    0.00%         0.00          59.39      1.05%            -59.39   Painting and Decorating                    87.98    0.00%          0.00     0.00%        87.98          324.21     0.03%      -236.23
           263.27      0.14%       536.00    0.38%      -272.73         181.48      3.22%             81.79   Pest Control                            3,336.76    0.15%      3,610.00     0.24%      -273.24        1,683.47     0.13%     1,653.29
             0.00      0.00%       245.55    0.17%      -245.55           0.00      0.00%              0.00   Plumbing and Heating                       44.84    0.00%      2,239.20     0.15%    -2,194.36          599.49     0.05%      -554.65
         1,165.67      0.60%       350.00    0.25%       815.67         550.00      9.77%            615.67   Pool Service- Contract                  3,302.61    0.15%      3,500.00     0.23%      -197.39        2,908.35     0.23%       394.26
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Signage                                   123.16    0.01%          0.00     0.00%       123.16            0.00     0.00%       123.16
           102.00      0.05%       102.00    0.07%         0.00           0.00      0.00%            102.00   Software Expense/Maintenance              510.00    0.02%      1,520.00     0.10%    -1,010.00            0.00     0.00%       510.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Tools                                     155.78    0.01%          0.00     0.00%       155.78            0.00     0.00%       155.78
             0.00      0.00%       500.00    0.35%      -500.00           0.00      0.00%              0.00   Travel                                      0.00    0.00%        500.00     0.03%      -500.00            0.00     0.00%         0.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00   Uniforms                                  289.87    0.01%        300.00     0.02%       -10.13            0.00     0.00%       289.87
           664.94      0.34%       914.00    0.64%      -249.06       1,141.39     20.27%           -476.45   Waste Removal                           7,693.16    0.36%      9,140.00     0.61%    -1,446.84        5,015.41     0.40%     2,677.75
        3,225.76      1.67%     8,505.08    5.96%    -5,279.32       3,872.08     68.77%           -646.32    Total R&M Other Expenses              65,967.81    3.05%     58,220.24     3.86%     7,747.57       33,533.99     2.67%    32,433.82

        9,616.98      4.97%    14,645.22    10.27%   -5,028.24       3,872.08     68.77%          5,744.90    Total R&M Expenses                   131,528.59    6.09%    119,884.37     7.95%    11,644.22       56,491.89     4.50%    75,036.70

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                                                                                           Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                           P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget   %         Variance   PTD Last Year    %               Variance                                             YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             Utilities
         1,453.63      0.75%     1,964.40    1.38%     -510.77       1,006.06     17.87%            447.57   Water                                30,237.96    1.40%    17,913.60      1.19%    12,324.36      25,594.59     2.04%     4,643.37
         5,983.41      3.09%     4,911.00    3.44%    1,072.41       3,574.85     63.49%          2,408.56   Electricity                          53,750.34    2.49%    44,784.00      2.97%     8,966.34      38,183.85     3.04%    15,566.49
             0.00      0.00%         0.00    0.00%        0.00           0.00      0.00%              0.00   Gas - Natural HLP                         0.00    0.00%         0.00      0.00%         0.00       5,142.15     0.41%    -5,142.15
         2,009.31      1.04%     1,473.30    1.03%      536.01           0.00      0.00%          2,009.31   Propane Tanks/Fuel                   17,480.11    0.81%    13,435.20      0.89%     4,044.91           0.00     0.00%    17,480.11
         1,675.74      0.87%     1,637.00    1.15%       38.74           0.00      0.00%          1,675.74   Sewer                                15,609.48    0.72%    14,928.00      0.99%       681.48           0.00     0.00%    15,609.48
       11,122.09      5.75%     9,985.70    7.00%    1,136.39       4,580.91     81.36%          6,541.18    Total Utilities                    117,077.89    5.42%    91,060.80      6.04%    26,017.09      68,920.59     5.49%    48,157.30




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                                                                                          Company: NSFL Associates LLC Property: SpringHill Suites Naples
                                                                                                          P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %       PTD Budget    %         Variance    PTD Last Year   %               Variance                                            YTD     %        YTD Budget %              Variance   YTD Last Year    %            Variance

                                                                                                             Fixed
         1,421.00     0.73%     1,421.17     1.00%        -0.17       1,526.16   27.11%            -105.16   Personal Property Taxes             15,708.67     0.73%     14,211.70     0.94%     1,496.97      15,261.60      1.22%          447.07
         7,303.00     3.77%     7,303.25     5.12%        -0.25       7,634.34  135.59%            -331.34   Real Estate Taxes                   73,030.00     3.38%     73,032.50     4.85%        -2.50      76,352.40      6.09%       -3,322.40
        8,724.00     4.51%     8,724.42     6.12%        -0.42       9,160.50 162.70%             -436.50    Total Taxes                        88,738.67     4.11%     87,244.20     5.79%     1,494.47      91,614.00      7.30%       -2,875.33
           388.83     0.20%         0.00     0.00%      388.83        4,621.89   82.09%          -4,233.06   Insurance                            1,166.49     0.05%          0.00     0.00%     1,166.49      44,292.11      3.53%     -43,125.62
            40.25     0.02%         0.00     0.00%       40.25            0.00    0.00%              40.25   Insurance - Crime                      120.75     0.01%          0.00     0.00%       120.75           0.00      0.00%          120.75
           460.67     0.24%       125.00     0.09%      335.67            0.00    0.00%             460.67   Insurance - Employment               1,774.01     0.08%      1,250.00     0.08%       524.01           0.00      0.00%        1,774.01
         1,227.08     0.63%     1,071.00     0.75%      156.08            0.00    0.00%           1,227.08   Insurance - General Liability       12,233.21     0.57%     10,710.00     0.71%     1,523.21           0.00      0.00%       12,233.21
         3,082.08     1.59%     3,082.08     2.16%         0.00           0.00    0.00%           3,082.08   Insurance - Property                30,820.83     1.43%     30,820.80     2.04%         0.03           0.00      0.00%       30,820.83
         1,907.42     0.99%     1,853.50     1.30%       53.92            0.00    0.00%           1,907.42   Insurance - Umbrella                18,696.76     0.87%     18,535.00     1.23%       161.76           0.00      0.00%       18,696.76
        7,106.33     3.67%     6,131.58     4.30%      974.75        4,621.89   82.09%           2,484.44    Total Insurance                    64,812.05     3.00%     61,315.80     4.07%     3,496.25      44,292.11      3.53%      20,519.94
         7,964.90     4.11%         0.00     0.00%    7,964.90            0.00    0.00%           7,964.90   POA Dues                             7,964.90     0.37%          0.00     0.00%     7,964.90           0.00      0.00%        7,964.90
        27,580.00    14.25%    27,580.00    19.34%         0.00      30,956.46  549.82%          -3,376.46   Ground Lease Expense               269,158.00    12.45%    269,158.00    17.86%         0.00     276,978.74     22.08%       -7,820.74
       35,544.90    18.36%    27,580.00    19.34%    7,964.90       30,956.46 549.82%            4,588.44    Total Leases & Rent               277,122.90    12.82%    269,158.00    17.86%     7,964.90     276,978.74     22.08%          144.16
         6,306.79     3.26%     4,500.00     3.16%    1,806.79          140.75    2.50%           6,166.04   Management Fee - Base               68,413.21     3.17%     50,304.09     3.34%    18,109.12      31,359.06      2.50%       37,054.15
             0.00     0.00%         0.00     0.00%         0.00       3,713.55   65.96%          -3,713.55   Management Fee - Incentive               0.00     0.00%          0.00     0.00%         0.00      10,984.00      0.88%     -10,984.00
        6,306.79     3.26%     4,500.00     3.16%    1,806.79        3,854.30   68.46%           2,452.49    Total Management Fees              68,413.21     3.17%     50,304.09     3.34%    18,109.12      42,343.06      3.38%      26,070.15
             0.00     0.00%         0.00     0.00%         0.00       7,436.82  132.09%          -7,436.82   Capital Reserve                          0.00     0.00%          0.00     0.00%         0.00      74,368.20      5.93%     -74,368.20
             0.00     0.00%         0.00     0.00%         0.00      50,397.00  895.11%         -50,397.00   (Gain)/Loss-Insurance                    0.00     0.00%          0.00     0.00%         0.00     503,970.00     40.18%    -503,970.00
             0.00     0.00%         0.00     0.00%         0.00           0.00    0.00%               0.00   Owner's Expense                        949.17     0.04%          0.00     0.00%       949.17      27,635.84      2.20%     -26,686.67
             0.00     0.00%         0.00     0.00%         0.00           0.00    0.00%               0.00   Extraordinary Expense                    0.00     0.00%          0.00     0.00%         0.00      19,604.71      1.56%     -19,604.71
             0.00    0.00%          0.00    0.00%          0.00     57,833.821,027.19%         -57,833.82    Total Other Non-Operating             949.17     0.04%           0.00    0.00%       949.17     625,578.75     49.87%    -624,629.58




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                                                                                      Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                                  As of 10/31/2021
              PTD     %        PTD Budget      %           Variance   PTD Last Year     %           Variance                                                        YTD      %           YTD Budget %                Variance    YTD Last Year     %            Variance

                                                                                                               Statistics
           203.00                   203.00                     0.00         203.00                      0.00   # Rooms                                            203.00                     203.00                      0.00          203.00                      0.00
         6,293.00                 6,293.00                     0.00       6,293.00                      0.00   Available Rooms                                 61,712.00                  61,712.00                      0.00       61,915.00                   -203.00
         2,378.00                 4,146.00                -1,768.00       1,202.00                  1,176.00   Room Nights Sold                                26,806.00                  25,202.00                  1,604.00        3,953.00                 22,853.00
          37.79%                   65.88%                  -28.09%         19.10%                    18.69%    Occupancy %                                       43.44%                     40.84%                     2.60%           6.38%                    37.05%
            96.95                   122.09                   -25.14          74.88                     22.07   ADR                                                 85.86                      96.24                    -10.38          412.71                   -326.86
            36.64                    80.43                   -43.80          14.30                     22.33   RevPar                                              37.29                      39.30                     -2.01           26.35                     10.94

                                                                                                               Summary V.11
                                                                                                               Revenue
       230,547.63     87.86%    506,169.84    83.39%    -275,622.21      90,005.46     74.40%    140,542.17    Rooms                                        2,301,446.27    85.80%     2,425,391.00     80.16%    -123,944.73    1,631,459.81     77.69%      669,986.46
         7,259.23      2.77%     61,136.00    10.07%     -53,876.77       3,877.14      3.20%      3,382.09    F&B                                             61,247.46     2.28%       277,702.00      9.18%    -216,454.54      164,465.96      7.83%     -103,218.50
        24,583.21      9.37%     39,670.00     6.54%     -15,086.79      27,093.44     22.40%     -2,510.23    Other Departments                              319,772.89    11.92%       322,642.00     10.66%      -2,869.11      304,090.92     14.48%       15,681.97

      262,390.07    100.00%    606,975.84    100.00%   -344,585.77     120,976.04     100.00%    141,414.03    Total Operating Revenue                     2,682,466.62    100.00%    3,025,735.00 100.00%       -343,268.38    2,100,016.69 100.00%        582,449.93

                                                                                                               Departmental Expenses
        86,747.13    37.63%     115,435.00    22.81%     -28,687.87      47,971.42     53.30%     38,775.71    Rooms                                         686,574.06     29.83%       798,058.00     32.90%    -111,483.94      756,034.98     46.34%      -69,460.92
        23,095.53   318.15%      49,072.00    80.27%     -25,976.47         179.55      4.63%     22,915.98    F&B                                            67,298.94    109.88%       234,444.00     84.42%    -167,145.06      147,908.24     89.93%      -80,609.30
             0.00     0.00%       1,327.00     3.35%      -1,327.00         486.17      1.79%       -486.17    Other Departments                               4,471.21      1.40%         8,875.00      2.75%      -4,403.79        9,954.87      3.27%       -5,483.66

      109,842.66     41.86%    165,834.00    27.32%     -55,991.34      48,637.14     40.20%      61,205.52    Total Departmental Expenses                  758,344.21     28.27%     1,041,377.00    34.42%     -283,032.79      913,898.09     43.52%     -155,553.88

      152,547.41     58.14%    441,141.84    72.68%    -288,594.43      72,338.90     59.80%      80,208.51    Total Departmental Profit                   1,924,122.41    71.73%     1,984,358.00    65.58%      -60,235.59    1,186,118.60     56.48%     738,003.81

                                                                                                               Undistributed Operating Expenses
        39,518.65     15.06%     42,544.00     7.01%      -3,025.35      22,419.03     18.53%      17,099.62   A&G                                           287,510.70     10.72%       326,724.00     10.80%     -39,213.30      283,469.55     13.50%        4,041.15
         7,025.41      2.68%     17,240.00     2.84%     -10,214.59      11,151.60      9.22%      -4,126.19   IT                                            120,907.25      4.51%       133,690.00      4.42%     -12,782.75      126,154.79      6.01%       -5,247.54
         9,827.79      3.75%     32,097.00     5.29%     -22,269.21      32,465.21     26.84%     -22,637.42   S&M                                           177,153.61      6.60%       264,017.00      8.73%     -86,863.39      263,282.92     12.54%      -86,129.31
        44,357.34     16.91%     51,156.00     8.43%      -6,798.66       8,539.10      7.06%      35,818.24   Franchise Fees                                248,634.54      9.27%       247,939.00      8.19%         695.54      152,973.67      7.28%       95,660.87
        18,678.87      7.12%     37,795.00     6.23%     -19,116.13      24,532.57     20.28%      -5,853.70   R&M                                           389,676.81     14.53%       302,431.00     10.00%      87,245.81      292,854.51     13.95%       96,822.30
        18,432.42      7.02%     21,285.00     3.51%      -2,852.58      14,490.59     11.98%       3,941.83   Utilities                                     240,676.06      8.97%       214,963.00      7.10%      25,713.06      192,786.80      9.18%       47,889.26

      137,840.48     52.53%    202,117.00    33.30%     -64,276.52     113,598.10     93.90%      24,242.38    Total Undistributed Expenses                1,464,558.97    54.60%     1,489,764.00    49.24%      -25,205.03    1,311,522.24     62.45%     153,036.73

       14,706.93      5.60%    239,024.84    39.38%    -224,317.91     -41,259.20     -34.11%     55,966.13    Gross Operating Profit                    459,563.44        17.13%       494,594.00    16.35%      -35,030.56     -125,403.64      -5.97%    584,967.08
         8,371.70      3.19%     18,098.00     2.98%      -9,726.30       3,629.28       3.00%      4,742.42   Management Fees                             81,458.70         3.04%        90,323.00     2.99%       -8,864.30       62,743.35       2.99%     18,715.35
        6,335.23      2.41%    220,926.84    36.40%    -214,591.61     -44,888.48     -37.11%     51,223.71    Income Before Non-Operating Income and Expenses
                                                                                                                                                         378,104.74        14.10%       404,271.00    13.36%      -26,166.26     -188,146.99      -8.96%    566,251.73

                                                                                                               Non-Operating Income and Expenses
        14,903.41      5.68%     17,223.00     2.84%      -2,319.59      17,179.35     14.20%      -2,275.94   Insurance                                     127,276.91      4.74%       172,230.00     5.69%      -44,953.09      147,944.75      7.04%      -20,667.84
        48,786.00     18.59%     47,411.00     7.81%       1,375.00      47,411.18     39.19%       1,374.82   Leases & Rent                                 476,861.44     17.78%       474,110.00    15.67%        2,751.44      474,111.80     22.58%        2,749.64
             0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%           0.00   Other                                          83,095.69      3.10%             0.00     0.00%       83,095.69        3,877.96      0.18%       79,217.73
       63,689.41     24.27%     64,634.00    10.65%        -944.59      64,590.53     53.39%        -901.12    Total Non-Operating Income and Expenses      687,234.04     25.62%       646,340.00    21.36%       40,894.04      625,934.51     29.81%       61,299.53

      -57,354.18    -21.86%    156,292.84    25.75%    -213,647.02    -109,479.01     -90.50%     52,124.83    EBITDA                                       -309,129.30    -11.52%     -242,069.00    -8.00%      -67,060.30     -814,081.50     -38.77%     504,952.20
             0.00      0.00%     70,845.00    11.67%     -70,845.00      69,649.17      57.57%    -69,649.17   Interest                                       557,193.36     20.77%      708,873.00    23.43%     -151,679.64      698,265.63      33.25%    -141,072.27
        29,646.38     11.30%     20,822.00     3.43%       8,824.38      20,822.00      17.21%      8,824.38   Taxes                                          196,222.38      7.31%      208,220.00     6.88%      -11,997.62      208,220.00       9.92%     -11,997.62
       29,646.38     11.30%     91,667.00    15.10%     -62,020.62      90,471.17      74.78%    -60,824.79    Interest, Taxes, Depreciation and Amortization753,415.74     28.09%      917,093.00    30.31%     -163,677.26      906,485.63      43.17%    -153,069.89

      -87,000.56    -33.16%     64,625.84    10.65%    -151,626.40    -199,950.18 -165.28%       112,949.62    Net Income                                 -1,062,545.04    -39.61%    -1,159,162.00 -38.31%        96,616.96    -1,720,567.13    -81.93%    658,022.09




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                                                                                    Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget    %           Variance   PTD Last Year    %            Variance                                           YTD     %         YTD Budget %               Variance   YTD Last Year     %          Variance

                                                                                                             Statistics
           203.00                  203.00                    0.00         203.00                     0.00    # Rooms                              203.00                   203.00                     0.00         203.00                    0.00
         6,293.00                6,293.00                    0.00       6,293.00                     0.00    Available Rooms                   61,712.00                61,712.00                     0.00      61,915.00                 -203.00
         2,378.00                4,146.00               -1,768.00       1,202.00                 1,176.00    Room Nights Sold                  26,806.00                25,202.00                 1,604.00       3,953.00               22,853.00
             0.38                    0.66                   -0.28           0.19                     0.19    Occupancy %                            0.43                     0.41                     0.03           0.06                    0.37
            96.95                  122.09                  -25.14          74.88                    22.07    ADR                                   85.86                    96.24                   -10.38         412.71                 -326.86
            36.64                   80.43                  -43.80          14.30                    22.33    RevPar                                37.29                    39.30                    -2.01          26.35                   10.94

                                                                                                             Summary
                                                                                                             Revenue:
       230,547.63     87.86%   506,169.84   83.39%    -275,622.21      90,005.46    74.40%     140,542.17    Rooms                           2,301,446.27   85.80%    2,425,391.00    80.16%   -123,944.73   1,631,459.81    77.69%    669,986.46
         5,659.23      2.16%    41,961.00    6.91%     -36,301.77          62.00     0.05%       5,597.23    Food                               39,391.26    1.47%      184,103.00     6.08%   -144,711.74     107,527.64     5.12%    -68,136.38
             0.00      0.00%     7,920.00    1.30%      -7,920.00         980.00     0.81%        -980.00    Beverage                            2,852.09    0.11%       37,464.00     1.24%    -34,611.91      16,861.50     0.80%    -14,009.41
         1,600.00      0.61%    11,255.00    1.85%      -9,655.00       2,835.14     2.34%      -1,235.14    Other F&B Revenue                  19,004.11    0.71%       56,135.00     1.86%    -37,130.89      40,076.82     1.91%    -21,072.71
             0.00      0.00%         0.00    0.00%           0.00           0.00     0.00%           0.00    Telephone                               0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
        24,583.21      9.37%    39,670.00    6.54%     -15,086.79      27,093.44    22.40%      -2,510.23    Other                             319,772.89   11.92%      322,642.00    10.66%     -2,869.11     304,090.92    14.48%     15,681.97

       262,390.07   100.00%    606,975.84   100.00%   -344,585.77     120,976.04    100.00%    141,414.03    Total Revenue                   2,682,466.62   100.00%   3,025,735.00   100.00%   -343,268.38   2,100,016.69    100.00%   582,449.93



                                                                                                             Cost of Sales:
         3,441.31     60.81%    16,784.00   40.00%     -13,342.69           0.00     0.00%       3,441.31    Food                              16,484.02    41.85%      73,640.00     40.00%    -57,155.98      46,195.88    42.96%     -29,711.86
             0.00      0.00%     2,108.00   26.62%      -2,108.00         161.81    16.51%        -161.81    Beverage                           1,045.88    36.67%       9,917.00     26.47%     -8,871.12       4,263.26    25.28%      -3,217.38
             0.00      0.00%         0.00    0.00%           0.00           0.00     0.00%           0.00    Other F&B                              0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00      0.00%         0.00    0.00%           0.00           0.00     0.00%           0.00    Telephone                              0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%           0.00
             0.00      0.00%     1,327.00    3.35%      -1,327.00         486.17     1.79%        -486.17    Other                              4,046.21     1.27%       8,875.00      2.75%     -4,828.79       9,954.87     3.27%      -5,908.66

         3,441.31     14.00%    20,219.00   50.97%     -16,777.69         647.98     2.39%       2,793.33    Total Cost of Sales               21,576.11     6.75%      92,432.00     28.65%    -70,855.89      60,414.01    19.87%     -38,837.90



                                                                                                             Payroll:
        38,193.27    16.57%     68,710.00   13.57%     -30,516.73      31,769.70    35.30%       6,423.57    Rooms                            398,541.54    17.32%      493,471.00    20.35%    -94,929.46     447,352.75    27.42%     -48,811.21
        13,913.98   191.67%     24,250.00   39.67%     -10,336.02           0.00     0.00%      13,913.98    F&B                               37,599.97    61.39%      119,057.00    42.87%    -81,457.03      72,440.01    44.05%     -34,840.04
             0.00     0.00%          0.00    0.00%           0.00           0.00     0.00%           0.00    Other                                  0.00     0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
         9,615.39     3.66%     13,745.00    2.26%      -4,129.61       8,231.00     6.80%       1,384.39    A&G                               85,208.31     3.18%      123,425.00     4.08%    -38,216.69      82,269.26     3.92%       2,939.05
             0.00     0.00%          0.00    0.00%           0.00           0.00     0.00%           0.00    IT                                     0.00     0.00%            0.00     0.00%          0.00           0.00     0.00%           0.00
         5,252.75     2.00%     16,266.00    2.68%     -11,013.25      11,043.19     9.13%      -5,790.44    S&M                               75,377.18     2.81%      124,990.00     4.13%    -49,612.82     103,723.62     4.94%     -28,346.44
         5,824.19     2.22%     16,701.00    2.75%     -10,876.81       9,146.55     7.56%      -3,322.36    R&M                               79,423.08     2.96%      139,184.00     4.60%    -59,760.92     116,750.14     5.56%     -37,327.06
        72,799.58    27.74%    139,672.00   23.01%     -66,872.42      60,190.44    49.75%      12,609.14    Total Salaries and Wages         676,150.08    25.21%    1,000,127.00    33.05%   -323,976.92     822,535.78    39.17%    -146,385.70

        25,188.88      9.60%    24,668.00    4.06%         520.88      13,252.80    10.95%      11,936.08    Total Taxes and Benefits         157,404.02     5.87%      203,638.00     6.73%    -46,233.98     217,205.14    10.34%     -59,801.12
        97,988.46     37.34%   164,340.00   27.08%     -66,351.54      73,443.24    60.71%      24,545.22    Total Labor Costs                833,554.10    31.07%    1,203,765.00    39.78%   -370,210.90   1,039,740.92    49.51%    -206,186.82



                                                                                                             Direct Expenses:
        35,823.44     15.54%    38,993.00    7.70%      -3,169.56      10,562.33    11.74%       25,261.11   Rooms                            215,760.24     9.37%     226,244.00     9.33%    -10,483.76      204,565.46    12.54%     11,194.78
           201.40      2.77%     2,491.00    4.07%      -2,289.60           0.00     0.00%          201.40   F&B                                3,484.27     5.69%      11,577.00     4.17%     -8,092.73        8,577.76     5.22%     -5,093.49
             0.00      0.00%         0.00    0.00%           0.00           0.00     0.00%            0.00   Telephone                            425.00     0.13%           0.00     0.00%        425.00            0.00     0.00%        425.00
             0.00      0.00%         0.00    0.00%           0.00           0.00     0.00%            0.00   Other                                  0.00     0.00%           0.00     0.00%          0.00            0.00     0.00%          0.00
        44,357.34     16.91%    51,156.00    8.43%      -6,798.66       8,539.10     7.06%       35,818.24   Franchise Fees                   248,634.54     9.27%     247,939.00     8.19%        695.54      152,973.67     7.28%     95,660.87
        26,862.93     10.24%    24,498.00    4.04%       2,364.93      11,676.38     9.65%       15,186.55   A&G                              172,089.09     6.42%     173,860.00     5.75%     -1,770.91      173,063.87     8.24%       -974.78
         7,025.41      2.68%    17,240.00    2.84%     -10,214.59      11,151.60     9.22%       -4,126.19   IT                               120,907.25     4.51%     133,690.00     4.42%    -12,782.75      126,154.79     6.01%     -5,247.54
         2,824.11      1.08%     9,732.00    1.60%      -6,907.89      17,911.55    14.81%      -15,087.44   S&M                               73,653.93     2.75%      92,177.00     3.05%    -18,523.07      119,135.38     5.67%    -45,481.45
        10,726.32      4.09%    17,997.00    2.97%      -7,270.68      13,812.47    11.42%       -3,086.15   R&M                              292,142.59    10.89%     134,494.00     4.45%    157,648.59      148,007.67     7.05%    144,134.92
        18,432.42      7.02%    21,285.00    3.51%      -2,852.58      14,490.59    11.98%        3,941.83   Utilities                        240,676.06     8.97%     214,963.00     7.10%     25,713.06      192,786.80     9.18%     47,889.26

       146,253.37     55.74%   183,392.00   30.21%     -37,138.63      88,144.02    72.86%      58,109.35    Total Direct Expense            1,367,772.97   50.99%    1,234,944.00    40.81%   132,828.97    1,125,265.40    53.58%    242,507.57

        14,706.93      5.60%   239,024.84   39.38%    -224,317.91     -41,259.20    -34.11%     55,966.13    Gross Operating Profit           459,563.44    17.13%     494,594.00     16.35%    -35,030.56    -125,403.64     -5.97%   584,967.08

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                                                                                   Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget   %           Variance   PTD Last Year     %           Variance                                           YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance




                                                                                                            Fixed Costs
        29,646.38     11.30%    20,822.00   3.43%       8,824.38      20,822.00     17.21%       8,824.38   Taxes                            196,222.38     7.31%      208,220.00      6.88%    -11,997.62     208,220.00     9.92%     -11,997.62
        14,903.41      5.68%    17,223.00   2.84%      -2,319.59      17,179.35     14.20%      -2,275.94   Insurance                        127,276.91     4.74%      172,230.00      5.69%    -44,953.09     147,944.75     7.04%     -20,667.84
        48,786.00     18.59%    47,411.00   7.81%       1,375.00      47,411.18     39.19%       1,374.82   Leases & Rent                    476,861.44    17.78%      474,110.00     15.67%      2,751.44     474,111.80    22.58%       2,749.64
         8,371.70      3.19%    18,098.00   2.98%      -9,726.30       3,629.28      3.00%       4,742.42   Management Fees                   81,458.70     3.04%       90,323.00      2.99%     -8,864.30      62,743.35     2.99%      18,715.35

       101,707.49     38.76%   103,554.00   17.06%     -1,846.51      89,041.81     73.60%     12,665.68    Total Fixed Expenses             881,819.43    32.87%      944,883.00     31.23%    -63,063.57     893,019.90    42.52%     -11,200.47

       -87,000.56    -33.16%   135,470.84   22.32%   -222,471.40    -130,301.01    -107.71%    43,300.45    Net Operating Profit             -422,255.99   -15.74%    -450,289.00    -14.88%    28,033.01    -1,018,423.54   -48.50%   596,167.55



             0.00      0.00%    54,149.00   8.92%     -54,149.00      54,149.17     44.76%     -54,149.17   Interest - First Mortgage        433,193.36    16.15%      541,490.00     17.90%   -108,296.64     541,491.70    25.79%    -108,298.34
             0.00      0.00%    16,696.00   2.75%     -16,696.00      15,500.00     12.81%     -15,500.00   Interest - Notes Payable         124,000.00     4.62%      166,960.00      5.52%    -42,960.00     156,773.93     7.47%     -32,773.93
             0.00      0.00%         0.00   0.00%           0.00           0.00      0.00%           0.00   Interest Income                        0.00     0.00%          423.00      0.01%       -423.00           0.00     0.00%           0.00
             0.00      0.00%         0.00   0.00%           0.00           0.00      0.00%           0.00   Prior Owner's Expense             83,095.69     3.10%            0.00      0.00%     83,095.69       3,877.96     0.18%      79,217.73



       -87,000.56    -33.16%    64,625.84   10.65%   -151,626.40    -199,950.18    -165.28%   112,949.62    Net Operating Income           -1,062,545.04   -39.61%   -1,159,162.00   -38.31%    96,616.96    -1,720,567.13   -81.93%   658,022.09



       -87,000.56    -33.16%    64,625.84   10.65%   -151,626.40    -199,950.18    -165.28%   112,949.62    Adjusted NOI                   -1,062,545.04   -39.61%   -1,159,162.00   -38.31%    96,616.96    -1,720,567.13   -81.93%   658,022.09




       -87,000.56    -33.16%    64,625.84   10.65%   -151,626.40    -199,950.18    -165.28%   112,949.62    Net Profit/(Loss)              -1,062,545.04   -39.61%   -1,159,162.00   -38.31%    96,616.96    -1,720,567.13   -81.93%   658,022.09




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                                                                                      Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                             P&L - Dual Summary Pages
                                                                                                                  As of 10/31/2021
              PTD     %        PTD Budget      %           Variance   PTD Last Year     %           Variance                                              YTD     %          YTD Budget %                Variance   YTD Last Year    %            Variance

                                                                                                               Rooms
                                                                                                               Room Revenue
                                                                                                               Transient Room Revenue
        72,079.44     31.26%         0.00      0.00%      72,079.44       1,242.00      1.38%     70,837.44    Corporate Transient                  155,017.78     6.74%           0.00      0.00%    155,017.78       21,069.42     1.29%     133,948.36
             0.00      0.00%         0.00      0.00%           0.00       2,429.20      2.70%     -2,429.20    Advanced Purchase                     33,664.39     1.46%           0.00      0.00%     33,664.39       28,373.40     1.74%       5,290.99
             0.00      0.00%    97,280.00     19.22%     -97,280.00       8,054.78      8.95%     -8,054.78    AAA/AARP Transient                    56,212.63     2.44%     532,285.85     21.95%   -476,073.22      105,091.01     6.44%     -48,878.38
             0.00      0.00%         0.00      0.00%           0.00           0.00      0.00%          0.00    FIT(Flexible Independent Travel)         288.22     0.01%           0.00      0.00%        288.22        2,529.36     0.16%      -2,241.14
             0.00      0.00%         0.00      0.00%           0.00       5,650.00      6.28%     -5,650.00    Employee                              43,708.75     1.90%           0.00      0.00%     43,708.75       47,092.09     2.89%      -3,383.34
             0.00      0.00%         0.00      0.00%           0.00       3,586.00      3.98%     -3,586.00    Travel Agent/Friends & Family         36,105.00     1.57%           0.00      0.00%     36,105.00       34,322.00     2.10%       1,783.00
             0.00      0.00%         0.00      0.00%           0.00       9,169.25     10.19%     -9,169.25    Leisure Package Transient             68,360.03     2.97%           0.00      0.00%     68,360.03      118,360.43     7.25%     -50,000.40
             0.00      0.00%         0.00      0.00%           0.00         980.00      1.09%       -980.00    Member Reward Stay                    13,319.40     0.58%           0.00      0.00%     13,319.40       16,239.70     1.00%      -2,920.30
             0.00      0.00%    46,725.00      9.23%     -46,725.00      18,529.60     20.59%    -18,529.60    Internet/E-Commerce                  275,307.10    11.96%     353,075.00     14.56%    -77,767.90      215,758.83    13.22%      59,548.27
             0.00      0.00%         0.00      0.00%           0.00       3,601.95      4.00%     -3,601.95    E-Commerce Opaque                     16,737.40     0.73%           0.00      0.00%     16,737.40       35,140.85     2.15%     -18,403.45
             0.00      0.00%         0.00      0.00%           0.00           0.00      0.00%          0.00    Other Transient                           69.00     0.00%           0.00      0.00%         69.00            0.00     0.00%          69.00
             0.00      0.00%         0.00      0.00%           0.00       8,011.34      8.90%     -8,011.34    Government Transient                  76,812.73     3.34%      19,020.00      0.78%     57,792.73      179,465.42    11.00%    -102,652.69
       128,989.05     55.95%    88,885.00     17.56%      40,104.05      26,148.31     29.05%    102,840.74    Rack Transient                       470,489.48    20.44%     523,316.45     21.58%    -52,826.97      284,794.95    17.46%     185,694.53
             0.00      0.00%    93,000.00     18.37%     -93,000.00       1,661.00      1.85%     -1,661.00    Local Negotiated Transient            38,398.16     1.67%     411,382.50     16.96%   -372,984.34       31,078.02     1.90%       7,320.14

      201,068.49     87.21%    325,890.00    64.38%    -124,821.51      89,063.43     98.95%     112,005.06    Total Transient Room Revenue       1,284,490.07   55.81%    1,839,079.80   75.83%     -554,589.73    1,119,315.48    68.61%    165,174.59

                                                                                                               Group Room Revenue
             0.00      0.00%         0.00      0.00%          0.00            0.00      0.00%          0.00    Government Group                     884,726.00    38.44%           0.00      0.00%    884,726.00        1,881.00     0.12%     882,845.00
             0.00      0.00%         0.00      0.00%          0.00            0.00      0.00%          0.00    Tour & Travel Group                   69,783.00     3.03%           0.00      0.00%     69,783.00      197,448.21    12.10%    -127,665.21
             0.00      0.00%         0.00      0.00%          0.00            0.00      0.00%          0.00    Association Group                          0.00     0.00%           0.00      0.00%          0.00        2,499.00     0.15%      -2,499.00
        29,657.00     12.86%   180,279.84     35.62%   -150,622.84            0.00      0.00%     29,657.00    SMERF Group                           43,269.00     1.88%     586,311.20     24.17%   -543,042.20       27,278.00     1.67%      15,991.00
             0.00      0.00%         0.00      0.00%          0.00          198.00      0.22%       -198.00    Sports Group                           5,902.00     0.26%           0.00      0.00%      5,902.00       24,037.00     1.47%     -18,135.00

       29,657.00     12.86%    180,279.84    35.62%    -150,622.84         198.00      0.22%      29,459.00    Total Group Room Revenue           1,003,680.00   43.61%     586,311.20    24.17%     417,368.80      253,143.21     15.52%    750,536.79

                                                                                                               Contract Room Revenue
             0.00      0.00%          0.00     0.00%          0.00          964.00      1.07%       -964.00    Other Contract                        18,552.35     0.81%           0.00     0.00%      18,552.35      272,818.40    16.72%    -254,266.05

             0.00     0.00%          0.00     0.00%           0.00         964.00      1.07%        -964.00    Total Contract Room Revenue          18,552.35     0.81%            0.00     0.00%     18,552.35      272,818.40     16.72%    -254,266.05

                                                                                                               Other Room Revenue
           821.30      0.36%          0.00     0.00%        821.30            0.00      0.00%        821.30    No-Show Rooms                            997.50     0.04%           0.00     0.00%         997.50           80.75     0.00%         916.75
             0.00      0.00%          0.00     0.00%          0.00            0.00      0.00%          0.00    Early/Late Departure Fees              8,565.35     0.37%           0.00     0.00%       8,565.35            0.00     0.00%       8,565.35
           178.00      0.08%          0.00     0.00%        178.00          214.48      0.24%        -36.48    Pet/Smoking/Damage Fees                  871.87     0.04%           0.00     0.00%         871.87          649.87     0.04%         222.00

          999.30      0.43%          0.00     0.00%         999.30         214.48      0.24%        784.82     Total Other Room Revenue             10,434.72     0.45%            0.00     0.00%     10,434.72          730.62      0.04%       9,704.10

        -1,177.16     -0.51%          0.00     0.00%      -1,177.16        -434.45     -0.48%       -742.71    Less: Allowances                     -15,710.87    -0.68%           0.00     0.00%      -15,710.87     -14,547.90     -0.89%      -1,162.97

      230,547.63    100.00%    506,169.84    100.00%   -275,622.21      90,005.46     100.00%    140,542.17    Total Room Revenue                 2,301,446.27   100.00%   2,425,391.00 100.00%      -123,944.73    1,631,459.81 100.00%      669,986.46

                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
             0.00      0.00%      8,009.00     1.58%      -8,009.00           0.00      0.00%           0.00   Front Office Management                    0.00     0.00%      56,315.00      2.32%     -56,315.00      11,197.72      0.69%     -11,197.72
         5,535.71      2.40%      4,377.00     0.86%       1,158.71       4,350.72      4.83%       1,184.99   Housekeeping Management               43,281.52     1.88%      43,054.00      1.78%         227.52      32,246.56      1.98%      11,034.96
        5,535.71      2.40%     12,386.00     2.45%      -6,850.29       4,350.72      4.83%       1,184.99    Total Rooms Management               43,281.52     1.88%      99,369.00      4.10%     -56,087.48      43,444.28      2.66%        -162.76
        16,898.46      7.33%      8,652.00     1.71%       8,246.46       7,280.56      8.09%       9,617.90   Front Office Agents                  111,328.47     4.84%      77,292.00      3.19%      34,036.47      87,521.17      5.36%      23,807.30
             0.00      0.00%          0.00     0.00%           0.00       2,045.65      2.27%      -2,045.65   Front Office Supervisors              16,042.90     0.70%           0.00      0.00%      16,042.90      29,115.43      1.78%     -13,072.53
             0.00      0.00%      4,600.00     0.91%      -4,600.00       4,591.77      5.10%      -4,591.77   Night Auditors                        35,876.24     1.56%      44,188.00      1.82%      -8,311.76      44,022.61      2.70%      -8,146.37
         3,927.10      1.70%          0.00     0.00%       3,927.10           0.00      0.00%       3,927.10   Drivers                                3,927.10     0.17%           0.00      0.00%       3,927.10      16,072.70      0.99%     -12,145.60
       20,825.56      9.03%     13,252.00     2.62%       7,573.56      13,917.98     15.46%       6,907.58    Total Rooms Front Office            167,174.71     7.26%     121,480.00      5.01%      45,694.71     176,731.91     10.83%      -9,557.20
             0.00      0.00%      3,894.00     0.77%      -3,894.00       1,767.00      1.96%      -1,767.00   Housekeeping Supervisors              22,513.70     0.98%      27,192.00      1.12%      -4,678.30      26,851.78      1.65%      -4,338.08
        11,832.00      5.13%     34,205.00     6.76%     -22,373.00       8,946.00      9.94%       2,886.00   Room Attendants                      139,226.49     6.05%     207,926.00      8.57%     -68,699.51     138,097.23      8.46%       1,129.26
             0.00      0.00%      2,921.00     0.58%      -2,921.00       2,788.00      3.10%      -2,788.00   Housepersons                          23,471.05     1.02%      28,632.00      1.18%      -5,160.95      38,623.87      2.37%     -15,152.82
             0.00      0.00%      2,052.00     0.41%      -2,052.00           0.00      0.00%           0.00   Laundry Attendants                     2,874.07     0.12%       8,872.00      0.37%      -5,997.93      23,603.68      1.45%     -20,729.61
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                                                                                     Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget     %           Variance   PTD Last Year    %            Variance                                                 YTD     %         YTD Budget %                Variance   YTD Last Year    %          Variance

       11,832.00      5.13%     43,072.00    8.51%     -31,240.00      13,501.00     15.00%      -1,669.00    Total Rooms Housekeeping               188,085.31    8.17%     272,622.00    11.24%      -84,536.69     227,176.56     13.92%   -39,091.25

       38,193.27     16.57%     68,710.00    13.57%    -30,516.73      31,769.70     35.30%       6,423.57    Total Rooms Salary and Wages           398,541.54    17.32%    493,471.00    20.35%      -94,929.46     447,352.75     27.42%   -48,811.21

                                                                                                              PR Taxes and Benefits
         2,854.27      1.24%      2,026.00    0.40%         828.27       1,295.32      1.44%       1,558.95   FICA                                     19,187.97    0.83%      17,745.00      0.73%       1,442.97      20,836.02     1.28%     -1,648.05
           160.89      0.07%         19.00    0.00%         141.89           3.16      0.00%         157.73   Federal Unemployment Tax                    826.17    0.04%         453.00      0.02%         373.17         681.89     0.04%        144.28
           824.21      0.36%         42.00    0.01%         782.21           8.49      0.01%         815.72   State Unemployment Tax                    3,841.76    0.17%       1,320.00      0.05%       2,521.76       2,074.65     0.13%      1,767.11
        3,839.37      1.67%      2,087.00    0.41%       1,752.37       1,306.97      1.45%       2,532.40    Total Payroll Taxes                     23,855.90    1.04%      19,518.00      0.80%       4,337.90      23,592.56     1.45%        263.34
             0.00      0.00%          0.00    0.00%           0.00           0.00      0.00%           0.00   Holiday                                   2,784.19    0.12%       4,200.00      0.17%      -1,415.81       4,942.65     0.30%     -2,158.46
             0.00      0.00%        769.00    0.15%        -769.00         562.00      0.62%        -562.00   Vacation                                  5,329.24    0.23%       6,628.00      0.27%      -1,298.76       9,619.96     0.59%     -4,290.72
             0.00     0.00%        769.00    0.15%        -769.00         562.00      0.62%        -562.00    Total Supplemental Pay                   8,113.43    0.35%      10,828.00      0.45%      -2,714.57      14,562.61     0.89%     -6,449.18
        11,231.63      4.87%      1,537.00    0.30%       9,694.63       1,449.04      1.61%       9,782.59   Worker's Compensation                    24,392.76    1.06%      15,370.00      0.63%       9,022.76      16,558.30     1.01%      7,834.46
        -2,340.58     -1.02%      3,229.00    0.64%      -5,569.58       2,321.38      2.58%      -4,661.96   Group Insurance                          15,402.27    0.67%      32,218.00      1.33%     -16,815.73      48,510.70     2.97%    -33,108.43
             0.00      0.00%          0.00    0.00%           0.00           0.00      0.00%           0.00   Employee Meals                                0.00    0.00%           0.00      0.00%           0.00           1.09     0.00%         -1.09
             0.00      0.00%         41.00    0.01%         -41.00           0.00      0.00%           0.00   401k Contribution                           189.42    0.01%         153.00      0.01%          36.42         276.39     0.02%        -86.97
             0.00      0.00%         69.00    0.01%         -69.00           0.00      0.00%           0.00   Bonus and Incentive Pay                     318.50    0.01%         256.00      0.01%          62.50         615.12     0.04%       -296.62
        8,891.05      3.86%      4,876.00    0.96%       4,015.05       3,770.42      4.19%       5,120.63    Total Other Benefits                    40,302.95    1.75%      47,997.00      1.98%      -7,694.05      65,961.60     4.04%    -25,658.65

       12,730.42      5.52%      7,732.00    1.53%       4,998.42       5,639.39      6.27%       7,091.03    Total Rooms PR Taxes and Benefits       72,272.28    3.14%      78,343.00      3.23%      -6,070.72     104,116.77     6.38%    -31,844.49

       50,923.69     22.09%     76,442.00    15.10%    -25,518.31      37,409.09     41.56%      13,514.60    Total Rooms Labor Costs                470,813.82    20.46%    571,814.00    23.58%     -101,000.18     551,469.52     33.80%   -80,655.70

                                                                                                              Other Expenses
        -1,260.55     -0.55%         0.00     0.00%     -1,260.55            0.00     0.00%      -1,260.55    Breakfast /Comp Cost                     -2,780.33   -0.12%           0.00     0.00%       -2,780.33       3,565.00     0.22%     -6,345.33
             0.00      0.00%     1,534.00     0.30%     -1,534.00          326.59     0.36%        -326.59    Cleaning Supplies                         6,725.76    0.29%       9,326.00     0.38%       -2,600.24       9,632.17     0.59%     -2,906.41
             0.00      0.00%       150.00     0.03%       -150.00          250.44     0.28%        -250.44    Contract Cleaning                             0.00    0.00%       1,500.00     0.06%       -1,500.00       2,823.05     0.17%     -2,823.05
        23,434.20     10.16%         0.00     0.00%     23,434.20            0.00     0.00%      23,434.20    Contract Labor                           51,103.19    2.22%           0.00     0.00%       51,103.19           0.00     0.00%     51,103.19
         2,271.24      0.99%     5,183.00     1.02%     -2,911.76          890.05     0.99%       1,381.19    Guest Supplies                           25,383.06    1.10%      31,505.00     1.30%       -6,121.94      23,906.83     1.47%      1,476.23
         1,353.99      0.59%     1,866.00     0.37%       -512.01          840.58     0.93%         513.41    Laundry                                   9,776.33    0.42%      11,341.00     0.47%       -1,564.67       8,328.75     0.51%      1,447.58
             0.00      0.00%     1,866.00     0.37%     -1,866.00            0.00     0.00%           0.00    Linen                                     8,563.12    0.37%      11,341.00     0.47%       -2,777.88       5,806.12     0.36%      2,757.00
             0.00      0.00%     1,866.00     0.37%     -1,866.00        1,293.62     1.44%      -1,293.62    Operating Supplies                       10,295.26    0.45%      11,341.00     0.47%       -1,045.74      14,119.62     0.87%     -3,824.36
             0.00      0.00%         0.00     0.00%          0.00            0.00     0.00%           0.00    Printing and Stationery                      26.48    0.00%           0.00     0.00%           26.48           0.00     0.00%         26.48
             0.00      0.00%       788.00     0.16%       -788.00          350.40     0.39%        -350.40    Reservation Expense                       1,896.94    0.08%       4,789.00     0.20%       -2,892.06       3,445.60     0.21%     -1,548.66
         6,226.07      2.70%     3,082.00     0.61%      3,144.07        3,081.67     3.42%       3,144.40    Television Cable                         33,961.10    1.48%      30,820.00     1.27%        3,141.10      29,682.00     1.82%      4,279.10
             0.00      0.00%         0.00     0.00%          0.00            0.00     0.00%           0.00    Training                                    180.67    0.01%           0.00     0.00%          180.67       1,380.96     0.08%     -1,200.29
           101.29      0.04%     4,146.00     0.82%     -4,044.71          798.18     0.89%        -696.89    Transportation                           25,719.32    1.12%      25,203.00     1.04%          516.32      20,941.89     1.28%      4,777.43
             0.00      0.00%     5,568.00     1.10%     -5,568.00          486.42     0.54%        -486.42    Travel Agent Comm - Group Rooms           3,129.17    0.14%      26,680.00     1.10%      -23,550.83      23,664.10     1.45%    -20,534.93
         3,697.20      1.60%    12,654.00     2.50%     -8,956.80        2,244.38     2.49%       1,452.82    Travel Agent Comm - Transient Rooms      41,279.93    1.79%      60,634.00     2.50%      -19,354.07      57,096.76     3.50%    -15,816.83
             0.00      0.00%       290.00     0.06%       -290.00            0.00     0.00%           0.00    Uniforms                                    500.24    0.02%       1,764.00     0.07%       -1,263.76         172.61     0.01%        327.63

       35,823.44     15.54%     38,993.00    7.70%      -3,169.56      10,562.33     11.74%      25,261.11    Total Rooms Other Expenses             215,760.24    9.37%     226,244.00      9.33%     -10,483.76     204,565.46     12.54%    11,194.78

       86,747.13     37.63%    115,435.00    22.81%    -28,687.87      47,971.42     53.30%      38,775.71    Total Rooms Expenses                   686,574.06    29.83%    798,058.00    32.90%     -111,483.94     756,034.98     46.34%   -69,460.92

      143,800.50     62.37%    390,734.84    77.19%   -246,934.34      42,034.04     46.70%     101,766.46    Total Rooms Profit (Loss)             1,614,872.21   70.17%   1,627,333.00   67.10%      -12,460.79     875,424.83     53.66%   739,447.38




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                                                                         Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                P&L - Dual Summary Pages
                                                                                                     As of 10/31/2021
              PTD     %    PTD Budget   %     Variance   PTD Last Year    %            Variance                                                        YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                                  Room Sale Stats
                                                                                                  Tranisent Rooms
           575.00                0.00          575.00            0.00                    575.00   Room Stat - Corporate Transient                  1,196.00             0.00       1,196.00           3.00          1,193.00
             0.00                0.00            0.00           30.00                    -30.00   Room Stat - Advanced Purchase                      398.00             0.00         398.00          93.00            305.00
             0.00            1,024.00       -1,024.00           87.00                    -87.00   Room Stat - AAA/AARP Transient                     483.00         6,555.00      -6,072.00         246.00            237.00
             0.00                0.00            0.00            0.00                      0.00   Room Stat - FIT(Flexible Independent Travel)         2.00             0.00           2.00           0.00              2.00
             0.00                0.00            0.00          116.00                   -116.00   Room Stat - Employee                               777.00             0.00         777.00         400.00            377.00
            28.00                0.00           28.00          128.00                   -100.00   Room Stat - Package Transient                      666.00             0.00         666.00         309.00            357.00
             0.00                0.00            0.00           53.00                    -53.00   Room Stat - Travel Agent/Friends & Family          514.00             0.00         514.00         259.00            255.00
             0.00                0.00            0.00           28.00                    -28.00   Room Stat - Member Reward Stay                     400.00             0.00         400.00          97.00            303.00
             0.00                0.00            0.00            4.00                     -4.00   Room Stat - Extended Stay Transient                 55.00             0.00          55.00          15.00             40.00
             0.00              525.00         -525.00          273.00                   -273.00   Room Stat - Internet                             3,452.00         4,600.00      -1,148.00         877.00          2,575.00
             0.00                0.00            0.00           10.00                    -10.00   Room Stat - Other Transient                         72.00             0.00          72.00          21.00             51.00
             0.00                0.00            0.00            7.00                     -7.00   Room Stat - Airline Distressed Passenger           221.00             0.00         221.00          27.00            194.00
             0.00                0.00            0.00           69.00                    -69.00   Room Stat - E-Commerce Opaque                      286.00             0.00         286.00         275.00             11.00
             0.00                0.00            0.00          111.00                   -111.00   Room Stat - Government Rate Transient              772.00           300.00         472.00         214.00            558.00
         1,602.00              613.00          989.00          246.00                  1,356.00   Room Stat - Rack Rate Transient                  5,309.00         4,642.00         667.00         920.00          4,389.00
             0.00              600.00         -600.00           15.00                    -15.00   Room Stat - Local Negotiated Transient             439.00         3,412.00      -2,973.00          21.00            418.00
        2,205.00            2,762.00         -557.00        1,177.00                  1,028.00    Total Transient Rooms Sold                     15,042.00        19,509.00      -4,467.00       3,777.00         11,265.00

                                                                                                  Group Rooms
             0.00                0.00             0.00          18.00                   -18.00    Room Stat - Corporate Group Rooms                  301.00             0.00        301.00          106.00            195.00
             0.00                0.00             0.00           0.00                     0.00    Room Stat - Government Group                    10,469.00             0.00     10,469.00            0.00         10,469.00
             0.00                0.00             0.00           0.00                     0.00    Room Stat - Tour & Travel Group                    566.00             0.00        566.00            0.00            566.00
           173.00            1,384.00        -1,211.00           0.00                   173.00    Room Stat - SMERF Group                            341.00         5,693.00     -5,352.00            0.00            341.00
             0.00                0.00             0.00           2.00                    -2.00    Room Stat - Sports Group                            58.00             0.00         58.00            2.00             56.00
          173.00            1,384.00        -1,211.00           20.00                  153.00     Total Group Rooms Sold                         11,735.00         5,693.00      6,042.00          108.00         11,627.00

                                                                                                  Contract Rooms
             0.00               0.00             0.00            5.00                     -5.00   Room Stat - Airline Crews Contract                 29.00             0.00          29.00           68.00            -39.00
             0.00               0.00             0.00            5.00                    -5.00    Total Contract Rooms Sold                          29.00             0.00          29.00           68.00           -39.00

        2,378.00            4,146.00        -1,768.00       1,202.00                  1,176.00    Total Rooms Sold                               26,806.00        25,202.00      1,604.00        3,953.00         22,853.00
            30.00               0.00             30.00          0.00                      30.00   Room Stat-Comp Rooms                                47.00            0.00          47.00           0.00              47.00
        2,408.00            4,146.00        -1,738.00       1,202.00                  1,206.00    Total Rooms Occupied                           26,853.00        25,202.00      1,651.00        3,953.00         22,900.00
           972.00               0.00            972.00          0.00                     972.00   Room Stat-Out of Order                           1,612.00            0.00       1,612.00           0.00           1,612.00

                                                                                                  ADR
           125.36                0.00          125.36            0.00                   125.36    Corporate Transient ADR                           129.61             0.00         129.61        7,023.14         -6,893.53
             0.00                0.00             0.00          80.97                   -80.97    Advanced Purchase ADR                              84.58             0.00          84.58          305.09           -220.51
             0.00               95.00           -95.00          92.58                   -92.58    AAA/AARP ADR                                      116.38            81.20          35.18          427.20           -310.82
             0.00                0.00             0.00           0.00                     0.00    FIT ADR                                           144.11             0.00         144.11            0.00            144.11
             0.00                0.00             0.00           0.00                     0.00    Consortia ADR                                       0.00             0.00           0.00            0.00              0.00
             0.00                0.00             0.00          48.71                   -48.71    Employee ADR                                       56.25             0.00          56.25          117.73            -61.48
             0.00                0.00             0.00           0.00                     0.00    Leisure ADR                                         0.00             0.00           0.00            0.00              0.00
             0.00                0.00             0.00          67.66                   -67.66    Travel Agent/Friends & Family ADR                  70.24             0.00          70.24          132.52            -62.27
             0.00                0.00             0.00           0.00                     0.00    Leisure Package ADR                                 0.00             0.00           0.00            0.00              0.00
             0.00                0.00             0.00          35.00                   -35.00    Member Reward Stay ADR                             33.30             0.00          33.30          167.42           -134.12
             0.00                0.00             0.00           0.00                     0.00    Golf Pkg ADR                                        0.00             0.00           0.00            0.00              0.00
             0.00                0.00             0.00           0.00                     0.00    Extended Stay ADR                                   0.00             0.00           0.00            0.00              0.00
             0.00               89.00           -89.00          67.87                   -67.87    Internet ADR                                       79.75            76.76           3.00          246.02           -166.27
             0.00                0.00             0.00          52.20                   -52.20    E-Commerce Opaque ADR                              58.52             0.00          58.52          127.78            -69.26
             0.00                0.00             0.00           0.00                     0.00    Other Transient ADR                                 0.96             0.00           0.96            0.00              0.96
             0.00                0.00             0.00           0.00                     0.00    Airline Distressed Passenger ADR                    0.00             0.00           0.00            0.00              0.00
             0.00                0.00             0.00          72.17                   -72.17    Government ADR                                     99.50            63.40          36.10          838.62           -739.13
            80.52              145.00           -64.48         106.29                   -25.78    Rack ADR                                           88.62           112.74         -24.11          309.56           -220.94
             0.00              155.00         -155.00          110.73                  -110.73    Local Negotiated ADR                               87.47           120.57         -33.10        1,479.91         -1,392.44
            91.19             117.99           -26.80           75.67                    15.52    Total Transient ADR                                85.39            94.27          -8.87         296.35           -210.96

             0.00                0.00            0.00            0.00                     0.00    Corporate Group ADR                                  0.00             0.00          0.00            0.00              0.00
             0.00                0.00            0.00            0.00                     0.00    Leisure Group ADR                                    0.00             0.00          0.00            0.00              0.00
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                                                                       Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                   As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year    %           Variance                                           YTD    %     YTD Budget %   Variance   YTD Last Year   %     Variance

             0.00                0.00          0.00            0.00                     0.00   Government Group ADR                  84.51                0.00       84.51            0.00             84.51
             0.00                0.00          0.00            0.00                     0.00   Tour & Travel Group ADR              123.29                0.00      123.29            0.00            123.29
             0.00                0.00          0.00            0.00                     0.00   Association Group ADR                  0.00                0.00        0.00            0.00              0.00
             0.00                0.00          0.00            0.00                     0.00   City Wide Group ADR                    0.00                0.00        0.00            0.00              0.00
           171.43              130.26         41.17            0.00                   171.43   SMERF Group ADR                      126.89              102.99       23.90            0.00            126.89
             0.00                0.00          0.00           99.00                   -99.00   Sports Group ADR                     101.76                0.00      101.76       12,018.50        -11,916.74
             0.00                0.00          0.00            0.00                     0.00   Other Group ADR                        0.00                0.00        0.00            0.00              0.00
          171.43              130.26          41.17            9.90                  161.53    Total Group ADR                       85.53             102.99       -17.46       2,343.92         -2,258.39

             0.00               0.00           0.00           0.00                     0.00    Airline Crew ADR                       0.00               0.00        0.00            0.00              0.00
             0.00               0.00           0.00           0.00                     0.00    Other Contract ADR                     0.00               0.00        0.00            0.00              0.00
             0.00               0.00           0.00         192.80                  -192.80    Total Contract ADR                   639.74               0.00      639.74        4,012.04         -3,372.30

           96.95              122.09         -25.14           74.88                   22.07    Total ADR                             85.86              96.24       -10.38         412.71           -326.86




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                                                                                     Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget     %           Variance   PTD Last Year     %           Variance                                                 YTD      %        YTD Budget %                Variance   YTD Last Year    %            Variance

                                                                                                              F&B Summary
                                                                                                              Revenue
         2,964.73     40.84%    12,400.00     20.28%     -9,435.27          62.00       1.60%      2,902.73   Outlet Food Revenue                      15,916.82     25.99%     64,400.00  23.19%       -48,483.18      57,095.33  34.72%        -41,178.51
         2,694.50     37.12%    29,561.00     48.35%    -26,866.50           0.00       0.00%      2,694.50   Banquet and Catering Food Revenue        23,474.44     38.33%    119,703.00  43.10%       -96,228.56      50,432.31  30.66%        -26,957.87
             0.00      0.00%     7,670.00     12.55%     -7,670.00           0.00       0.00%          0.00   Outlet Beverage Revenue                      74.78      0.12%     36,214.00  13.04%       -36,139.22      15,881.50   9.66%        -15,806.72
             0.00      0.00%       250.00      0.41%       -250.00         980.00      25.28%       -980.00   Banquet and Catering Beverage Revenue     2,777.31      4.53%      1,250.00   0.45%         1,527.31         980.00   0.60%          1,797.31
             0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%          0.00   Outlet Other Revenue                          0.00      0.00%          0.00   0.00%             0.00           0.00   0.00%              0.00
         1,600.00     22.04%    11,255.00     18.41%     -9,655.00       2,835.14      73.12%     -1,235.14   Banquet and Catering Other Revenue       19,004.11     31.03%     56,135.00  20.21%       -37,130.89      40,076.82  24.37%        -21,072.71
        7,259.23    100.00%    61,136.00    100.00%    -53,876.77       3,877.14     100.00%      3,382.09    Total F&B Revenue                       61,247.46    100.00%    277,702.00 100.00%      -216,454.54     164,465.96 100.00%       -103,218.50

                                                                                                              Cost of Sales
         3,441.31     47.41%    16,784.00     27.45%    -13,342.69           0.00       0.00%      3,441.31   Food Purchases                           16,484.02     26.91%     73,640.00    26.52%     -57,155.98      46,195.88     28.09%     -29,711.86
             0.00      0.00%     2,108.00      3.45%     -2,108.00         161.81       4.17%       -161.81   Beverage Purchases                        1,045.88      1.71%      9,917.00     3.57%      -8,871.12       4,263.26      2.59%      -3,217.38
             0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%          0.00   Cedit Employee Meals                          0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%           0.00
             0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%          0.00   Credit House Charges                          0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%           0.00
             0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%          0.00   Credit In-House Promotions                    0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%           0.00
             0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%          0.00   Audio Visual Cost of Sales                    0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%           0.00
             0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%          0.00   Other Cost of Sales                           0.00      0.00%          0.00     0.00%           0.00           0.00      0.00%           0.00
        3,441.31     47.41%    18,892.00     30.90%    -15,450.69         161.81       4.17%      3,279.50    Total F&B Cost of Sales                 17,529.90     28.62%     83,557.00    30.09%     -66,027.10      50,459.14     30.68%     -32,929.24

        3,817.92     52.59%    42,244.00     69.10%    -38,426.08       3,715.33      95.83%        102.59    F&B Gross Profit                        43,717.56     71.38%    194,145.00    69.91%    -150,427.44     114,006.82     69.32%     -70,289.26

                                                                                                              Expenses
                                                                                                              Payroll
                                                                                                              Salaries and Wages
         6,387.37     87.99%     1,717.00      2.81%      4,670.37           0.00       0.00%      6,387.37   Management                               12,403.86     20.25%     11,845.00     4.27%         558.86       4,425.48      2.69%       7,978.38
         7,526.61    103.68%    22,533.00     36.86%    -15,006.39           0.00       0.00%      7,526.61   Non-Management                           25,196.11     41.14%    107,212.00    38.61%     -82,015.89      68,014.53     41.35%     -42,818.42
       13,913.98    191.67%    24,250.00     39.67%    -10,336.02            0.00      0.00%     13,913.98    Total F&B Salaries and Wages            37,599.97     61.39%    119,057.00    42.87%     -81,457.03      72,440.01     44.05%     -34,840.04
                                                                                                              PR Taxes and Benefits
         1,340.71     18.47%     1,720.00      2.81%       -379.29           0.00       0.00%      1,340.71   Payroll Taxes                             3,925.28      6.41%      8,934.00     3.22%      -5,008.72       7,851.27      4.77%      -3,925.99
             0.00      0.00%       727.00      1.19%       -727.00           0.00       0.00%          0.00   Supplemental Pay                              0.00      0.00%      4,771.00     1.72%      -4,771.00       3,237.31      1.97%      -3,237.31
         4,198.13     57.83%       992.00      1.62%      3,206.13          17.74       0.46%      4,180.39   Other Benefits                            4,759.52      7.77%      6,548.00     2.36%      -1,788.48       5,342.75      3.25%        -583.23
        5,538.84     76.30%     3,439.00      5.63%      2,099.84           17.74      0.46%      5,521.10    Total F&B PR Taxes and Benefits          8,684.80     14.18%     20,253.00     7.29%     -11,568.20      16,431.33      9.99%      -7,746.53

       19,452.82    267.97%    27,689.00     45.29%     -8,236.18           17.74      0.46%     19,435.08    Total F&B Payroll                       46,284.77     75.57%    139,310.00    50.17%     -93,025.23      88,871.34     54.04%     -42,586.57

                                                                                                              Other Expenses
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Audio Visual Supplies                        0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Banquet Expense                              0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Bar Expense/Promos                           0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Bar Supplies                                 0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    China                                        0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%      213.00      0.35%       -213.00            0.00      0.00%          0.00    Cleaning Supplies                           84.20      0.14%         917.00    0.33%         -832.80       1,084.83     0.66%       -1,000.63
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Communication Expense                        0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Contract Cleaning                            0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Contract Labor                               0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Decorations & Plants                         0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Dues and Subscriptions                       0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
           201.40      2.77%        0.00      0.00%        201.40            0.00      0.00%        201.40    Equipment Rental                           684.76      1.12%           0.00    0.00%          684.76           0.00     0.00%          684.76
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Food and Beverage Advertising                0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Glassware                                    0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Guest Loss/Damage                            0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Guest Supplies                               0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    In-House Entertainment                       0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%      150.00      0.25%       -150.00            0.00      0.00%          0.00    Kitchen/Cooking Fuel                         0.00      0.00%       1,050.00    0.38%       -1,050.00         560.06     0.34%         -560.06
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Kitchen Equipment                            0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Laundry - Outside Expense                    0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Laundry Allocation                           0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Licenses/Permits                             0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Linen                                      720.76      1.18%           0.00    0.00%          720.76         317.85     0.19%          402.91
             0.00      0.00%        0.00      0.00%          0.00            0.00      0.00%          0.00    Linen Rental                                 0.00      0.00%           0.00    0.00%            0.00           0.00     0.00%            0.00
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                                                                                   Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget    %          Variance   PTD Last Year    %            Variance                                           YTD     %       YTD Budget %                Variance   YTD Last Year    %          Variance

            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Maintenance Contracts                   0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Meals and Entertainment               178.09    0.29%          0.00     0.00%         178.09           0.00     0.00%        178.09
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Menus                                   0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%       532.00    0.87%       -532.00           0.00      0.00%         0.00     Miscellaneous Expense                 982.12    1.60%      2,402.00     0.86%      -1,419.88       1,086.12     0.66%       -104.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Music and Entertainment                 0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Office Equipment                        0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Office Supplies                         0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Operating Supplies                      0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%     1,596.00    2.61%     -1,596.00           0.00      0.00%         0.00     Paper/Plastic Supplies                834.34    1.36%      7,208.00     2.60%      -6,373.66       5,436.90     3.31%     -4,602.56
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Printing and Stationery                 0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Silverware                              0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Software Expense/Maintenance            0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Television Cable                        0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Training                                0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Travel                                  0.00    0.00%          0.00     0.00%           0.00          92.00     0.06%        -92.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Uniforms                                0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
            0.00       0.00%         0.00    0.00%          0.00           0.00      0.00%         0.00     Utensils                                0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
          201.40      2.77%     2,491.00    4.07%     -2,289.60            0.00     0.00%        201.40     Total F&B Other Expenses           3,484.27    5.69%     11,577.00     4.17%      -8,092.73       8,577.76     5.22%     -5,093.49

       19,654.22    270.75%    30,180.00    49.37%   -10,525.78           17.74     0.46%      19,636.48    Total F&B Expenses                49,769.04    81.26%   150,887.00    54.33%    -101,117.96      97,449.10     59.25%   -47,680.06

      -15,836.30 -218.15%      12,064.00    19.73%   -27,900.30       3,697.59     95.37%     -19,533.89    Total F&B Profit (Loss)           -6,051.48    -9.88%    43,258.00    15.58%     -49,309.48      16,557.72     10.07%   -22,609.20




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                                                                       Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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              PTD     %    PTD Budget   %   Variance   PTD Last Year    %           Variance                                           YTD    %     YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                               F&B Stats
                                                                                               Restaurant 1
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 1 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 1 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Restaurant 2
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 2 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 2 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Room Service
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Room Service Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Room Service Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Banquets
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Banquets Covers                  0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Banquets Avg Check                     0.00               0.00         0.00            0.00           0.00

                                                                                               Catering
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Catering Covers                  0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Catering Avg Check                     0.00               0.00         0.00            0.00           0.00

                                                                                               Restaurant 3
             0.00                0.00          0.00            0.00                    0.00    Breakfast Avg Check                    0.00                0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00    Lunch Avg Check                        0.00                0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00    Dinner Avg Check                       0.00                0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00    Brunch Avg Check                       0.00                0.00        0.00            0.00           0.00
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                                                                       Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                   As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year    %           Variance                                           YTD    %     YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 3 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 3 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Restaurant 4
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 4 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 4 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Restaurant 5
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Restaurant 5 Covers              0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Restaurant 5 Avg Check                 0.00               0.00         0.00            0.00           0.00

                                                                                               Bar 1
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Bar 1 Covers                     0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Bar 1 Avg Check                        0.00               0.00         0.00            0.00           0.00

                                                                                               Bar 2
             0.00               0.00           0.00            0.00                    0.00    Breakfast Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Lunch Avg Check                        0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Dinner Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Brunch Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Late Night Avg Check                   0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Breaks Avg Check                       0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Reception Avg Check                    0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Total Bar 2 Covers                     0.00               0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                    0.00    Bar 2 Avg Check                        0.00               0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                    0.00    Total Covers                           0.00               0.00         0.00            0.00           0.00




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                                                                                    Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
              PTD     %        PTD Budget    %           Variance   PTD Last Year    %            Variance                                                 YTD     %       YTD Budget %                Variance   YTD Last Year    %            Variance

                                                                                                             Food Admin
                                                                                                             Cost of Sales
         3,441.31     47.41%    16,784.00   27.45%    -13,342.69            0.00     0.00%       3,441.31    Food Purchases                           16,484.02   26.91%    73,640.00     26.52%     -57,155.98      46,195.88    28.09%      -29,711.86
             0.00      0.00%     2,108.00    3.45%     -2,108.00          161.81     4.17%        -161.81    Beverage Purchases                          353.58    0.58%     9,917.00      3.57%      -9,563.42       4,263.26     2.59%       -3,909.68

        3,441.31     47.41%    18,892.00    30.90%    -15,450.69         161.81      4.17%       3,279.50    Total Food Admin Cost of Sales           16,837.60   27.49%    83,557.00    30.09%     -66,719.40      50,459.14     30.68%     -33,621.54

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00      0.00%     1,717.00     2.81%     -1,717.00           0.00      0.00%          0.00    Division Management                           0.00    0.00%     11,845.00     4.27%     -11,845.00       4,425.48      2.69%      -4,425.48
             0.00     0.00%     1,717.00     2.81%     -1,717.00            0.00     0.00%           0.00    Total Food Admin Management                   0.00   0.00%     11,845.00     4.27%     -11,845.00       4,425.48      2.69%      -4,425.48
             0.00      0.00%     5,307.00     8.68%     -5,307.00           0.00      0.00%          0.00    Cooks-Line Cooks                              0.00    0.00%     30,860.00    11.11%     -30,860.00      20,078.32     12.21%     -20,078.32
           153.00      2.11%     2,640.00     4.32%     -2,487.00           0.00      0.00%        153.00    Stewards-Warewashing                        739.50    1.21%      8,169.00     2.94%      -7,429.50       8,611.28      5.24%      -7,871.78
          153.00      2.11%     7,947.00    13.00%     -7,794.00            0.00     0.00%        153.00     Total Food Admin Non-Management            739.50    1.21%     39,029.00    14.05%     -38,289.50      28,689.60     17.44%     -27,950.10

          153.00      2.11%     9,664.00    15.81%     -9,511.00            0.00     0.00%        153.00     Total Food Admin Salaries and Wages        739.50    1.21%     50,874.00    18.32%     -50,134.50      33,115.08     20.13%     -32,375.58

                                                                                                             PR Taxes and Benefits

             0.00      0.00%     1,709.00     2.80%     -1,709.00           0.00      0.00%           0.00   FICA                                        470.79    0.77%      8,848.00     3.19%      -8,377.21       6,516.13      3.96%      -6,045.34
             0.00      0.00%        11.00     0.02%        -11.00           0.00      0.00%           0.00   Federal Unemployment Tax                     20.69    0.03%         56.00     0.02%         -35.31         331.61      0.20%        -310.92
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%           0.00   State Unemployment Tax                      112.43    0.18%         30.00     0.01%          82.43       1,003.53      0.61%        -891.10
             0.00     0.00%     1,720.00     2.81%     -1,720.00            0.00     0.00%            0.00   Total Payroll Taxes                        603.91    0.99%      8,934.00     3.22%      -8,330.09       7,851.27      4.77%      -7,247.36
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%           0.00   Holiday                                       0.00    0.00%      1,200.00     0.43%      -1,200.00         848.12      0.52%        -848.12
             0.00      0.00%       727.00     1.19%       -727.00           0.00      0.00%           0.00   Vacation                                      0.00    0.00%      3,571.00     1.29%      -3,571.00       2,389.19      1.45%      -2,389.19
             0.00     0.00%       727.00     1.19%       -727.00            0.00     0.00%            0.00   Total Supplemental Pay                        0.00   0.00%      4,771.00     1.72%      -4,771.00       3,237.31      1.97%      -3,237.31
             0.00      0.00%       450.00     0.74%       -450.00           0.00      0.00%           0.00   Worker's Compensation                       529.27    0.86%      3,150.00     1.13%      -2,620.73       1,938.39      1.18%      -1,409.12
             0.00      0.00%       438.00     0.72%       -438.00          17.74      0.46%         -17.74   Group Insurance                               3.48    0.01%      3,053.00     1.10%      -3,049.52       1,988.61      1.21%      -1,985.13
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%           0.00   Employee Meals                                0.00    0.00%          0.00     0.00%           0.00           0.42      0.00%          -0.42
             0.00      0.00%       104.00     0.17%       -104.00           0.00      0.00%           0.00   401k Contribution                            28.64    0.05%        345.00     0.12%        -316.36         519.22      0.32%        -490.58
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%           0.00   Bonus and Incentive Pay                       0.00    0.00%          0.00     0.00%           0.00         425.71      0.26%        -425.71
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%           0.00   Other Benefits                                0.00    0.00%          0.00     0.00%           0.00         470.40      0.29%        -470.40
             0.00     0.00%       992.00     1.62%       -992.00           17.74     0.46%         -17.74    Total Other Benefits                       561.39    0.92%      6,548.00     2.36%      -5,986.61       5,342.75      3.25%      -4,781.36

          153.00      2.11%    13,103.00    21.43%    -12,950.00           17.74     0.46%        135.26     Total Food Admin PR Taxes and Benefits    1,904.80   3.11%     71,127.00    25.61%     -69,222.20      49,546.41     30.13%     -47,641.61

          306.00      4.22%    22,767.00    37.24%    -22,461.00           17.74     0.46%        288.26     Total Food Admin Payroll                  2,644.30   4.32%    122,001.00    43.93%    -119,356.70      82,661.49     50.26%     -80,017.19

                                                                                                             Other Expenses
             0.00      0.00%       213.00    0.35%       -213.00            0.00     0.00%           0.00    Cleaning Supplies                            84.20    0.14%        917.00    0.33%         -832.80       1,084.83     0.66%       -1,000.63
           201.40      2.77%         0.00    0.00%        201.40            0.00     0.00%         201.40    Equipment Rental                            684.76    1.12%          0.00    0.00%          684.76           0.00     0.00%          684.76
             0.00      0.00%       150.00    0.25%       -150.00            0.00     0.00%           0.00    Kitchen/Cooking Fuel                          0.00    0.00%      1,050.00    0.38%       -1,050.00         560.06     0.34%         -560.06
             0.00      0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Linen                                       720.76    1.18%          0.00    0.00%          720.76         317.85     0.19%          402.91
             0.00      0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Meals and Entertainment                     178.09    0.29%          0.00    0.00%          178.09           0.00     0.00%          178.09
             0.00      0.00%       532.00    0.87%       -532.00            0.00     0.00%           0.00    Miscellaneous Expense                       982.12    1.60%      2,402.00    0.86%       -1,419.88       1,086.12     0.66%         -104.00
             0.00      0.00%     1,596.00    2.61%     -1,596.00            0.00     0.00%           0.00    Paper/Plastic Supplies                      834.34    1.36%      7,208.00    2.60%       -6,373.66       5,436.90     3.31%       -4,602.56
             0.00      0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Travel                                        0.00    0.00%          0.00    0.00%            0.00          92.00     0.06%          -92.00

          201.40      2.77%     2,491.00     4.07%     -2,289.60            0.00     0.00%        201.40     Total Food Admin Other Expenses           3,484.27   5.69%     11,577.00     4.17%      -8,092.73       8,577.76      5.22%      -5,093.49

          507.40      6.99%    25,258.00    41.31%    -24,750.60           17.74     0.46%        489.66     Total Food Admin Expenses                 6,128.57   10.01%   133,578.00    48.10%    -127,449.43      91,239.25     55.48%     -85,110.68

        3,948.71     54.40%    44,150.00    72.22%    -40,201.29         179.55      4.63%       3,769.16    Departmental Costs                       22,966.17   37.50%   217,135.00    78.19%    -194,168.83     141,698.39     86.16%    -118,732.22




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              PTD     %        PTD Budget   %       Variance   PTD Last Year    %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                       Beverage Admin
             0.00      0.00%         0.00   0.00%      0.00            0.00     0.00%          0.00    Less Adjustments                        0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00     0.00%          0.00    Total Beverage Admin Revenue            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                       Cost of Sales
             0.00      0.00%         0.00   0.00%      0.00            0.00     0.00%          0.00    Beverage Purchases                    692.30   0.00%         0.00     0.00%    692.30            0.00    0.00%    692.30

             0.00     0.00%         0.00    0.00%      0.00            0.00     0.00%          0.00    Total Beverage Admin Cost of Sales    692.30   0.00%        0.00      0.00%   692.30             0.00    0.00%   692.30

                                                                                                       Expenses
                                                                                                       Other Expenses

             0.00     0.00%         0.00    0.00%      0.00            0.00     0.00%          0.00    Total Beverage Admin Other Expenses     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00     0.00%          0.00    Total Beverage Admin Expenses           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00     0.00%          0.00    Departmental Costs                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget     %          Variance   PTD Last Year     %           Variance                                                    YTD      %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             Restaurant 1
                                                                                                             Food Revenue
         1,870.60   107.62%      7,750.00    38.61%     -5,879.40          62.00    100.00%      1,808.60    Food-Breakfast                             13,383.45    100.77%     39,875.00     39.63%   -26,491.55       34,035.64    46.64%    -20,652.19
             0.00     0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00    Food-Lunch                                     20.00      0.15%          0.00      0.00%        20.00          105.70     0.14%        -85.70
             0.00     0.00%      4,650.00    23.17%     -4,650.00           0.00      0.00%          0.00    Food-Dinner                                     0.98      0.01%     24,525.00     24.38%   -24,524.02       23,219.27    31.82%    -23,218.29

        1,870.60    107.62%    12,400.00    61.78%    -10,529.40           62.00    100.00%      1,808.60    Restaurant 1 Food Revenue                  13,404.43    100.93%     64,400.00    64.01%    -50,995.57      57,360.61     78.60%    -43,956.18
           -48.25     -2.78%        0.00      0.00%        -48.25           0.00       0.00%        -48.25   Food-Adjustments-A&G                          -113.49     -0.85%         0.00      0.00%       -113.49        -265.28     -0.36%        151.79
           -84.17     -4.84%        0.00      0.00%        -84.17           0.00       0.00%        -84.17   Food-Adjustments-A&P                           -84.17     -0.63%         0.00      0.00%        -84.17           0.00      0.00%        -84.17
          -132.42     -7.62%        0.00      0.00%       -132.42           0.00       0.00%       -132.42   Less: Allowances                              -197.66     -1.49%         0.00      0.00%       -197.66        -265.28     -0.36%         67.62

        1,738.18    100.00%    12,400.00    61.78%    -10,661.82           62.00    100.00%      1,676.18    Total Restaurant 1 Food Revenue            13,206.77     99.44%     64,400.00    64.01%    -51,193.23      57,095.33     78.24%    -43,888.56

                                                                                                             Beverage Revenue
             0.00      0.00%     3,027.00    15.08%     -3,027.00           0.00      0.00%          0.00    Liquor                                         69.78      0.53%     15,118.00     15.03%   -15,048.22        6,835.25     9.37%      -6,765.47
             0.00      0.00%     2,736.00    13.63%     -2,736.00           0.00      0.00%          0.00    Beer                                            5.00      0.04%     11,917.00     11.84%   -11,912.00        4,562.25     6.25%      -4,557.25
             0.00      0.00%     1,907.00     9.50%     -1,907.00           0.00      0.00%          0.00    Wine                                            0.00      0.00%      9,179.00      9.12%    -9,179.00        4,484.00     6.14%      -4,484.00

             0.00     0.00%     7,670.00    38.22%     -7,670.00            0.00      0.00%          0.00    Restaurant 1 Beverage Revenue                  74.78      0.56%     36,214.00    35.99%    -36,139.22      15,881.50     21.76%    -15,806.72
             0.00      0.00%        0.00      0.00%         0.00            0.00       0.00%         0.00    Less: Allowances                                0.00       0.00%         0.00      0.00%         0.00           0.00       0.00%         0.00

             0.00     0.00%     7,670.00    38.22%     -7,670.00            0.00      0.00%          0.00    Total Restaurant 1 Beverage Revenue            74.78      0.56%     36,214.00    35.99%    -36,139.22      15,881.50     21.76%    -15,806.72

        1,738.18    100.00%    20,070.00    100.00%   -18,331.82           62.00    100.00%      1,676.18    Total Restaurant 1 Revenue                 13,281.55    100.00%    100,614.00 100.00%      -87,332.45      72,976.83 100.00%       -59,695.28

                                                                                                             Cost of Sales

             0.00     0.00%         0.00     0.00%          0.00            0.00      0.00%          0.00    Total Restaurant 1 Cost of Sales                0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%          0.00

        1,738.18    100.00%    20,070.00    100.00%   -18,331.82           62.00    100.00%      1,676.18    Restaurant 1 Gross Profit                  13,281.55    100.00%    100,614.00 100.00%      -87,332.45      72,976.83 100.00%       -59,695.28

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
         6,387.37    367.47%         0.00     0.00%      6,387.37           0.00       0.00%      6,387.37   Restaurant Management                       12,403.86     93.39%          0.00     0.00%     12,403.86           0.00      0.00%    12,403.86
        6,387.37    367.47%          0.00    0.00%      6,387.37            0.00      0.00%      6,387.37    Total Restaurant 1 Management              12,403.86     93.39%           0.00    0.00%     12,403.86            0.00     0.00%    12,403.86
         4,317.15    248.37%     3,098.00    15.44%      1,219.15           0.00       0.00%      4,317.15   Supervisors                                  9,106.14     68.56%     18,025.00    17.92%     -8,918.86       8,011.45     10.98%     1,094.69
             0.00      0.00%         0.00     0.00%          0.00           0.00       0.00%          0.00   Hosts/Greeters/Captains/Order Takers             0.00      0.00%          0.00     0.00%          0.00       7,065.34      9.68%    -7,065.34
         2,851.78    164.07%     3,218.00    16.03%       -366.22           0.00       0.00%      2,851.78   Servers                                     10,531.04     79.29%     18,940.00    18.82%     -8,408.96       7,143.94      9.79%     3,387.10
        7,168.93    412.44%     6,316.00    31.47%        852.93            0.00      0.00%      7,168.93    Total Restaurant 1 Non-Management          19,637.18    147.85%     36,965.00    36.74%    -17,327.82      22,220.73     30.45%    -2,583.55

       13,556.30    779.91%     6,316.00    31.47%      7,240.30            0.00      0.00%     13,556.30    Total Restaurant 1 Salaries and Wages      32,041.04    241.24%     36,965.00    36.74%     -4,923.96      22,220.73     30.45%      9,820.31

                                                                                                             PR Taxes and Benefits
         1,006.84     57.92%        0.00      0.00%      1,006.84           0.00       0.00%      1,006.84   FICA                                         2,386.81     17.97%         0.00      0.00%      2,386.81           0.00      0.00%      2,386.81
            53.62      3.08%        0.00      0.00%         53.62           0.00       0.00%         53.62   Federal Unemployment Tax                       161.85      1.22%         0.00      0.00%        161.85           0.00      0.00%        161.85
           280.25     16.12%        0.00      0.00%        280.25           0.00       0.00%        280.25   State Unemployment Tax                         772.71      5.82%         0.00      0.00%        772.71           0.00      0.00%        772.71
        1,340.71     77.13%         0.00     0.00%      1,340.71            0.00      0.00%      1,340.71    Total Payroll Taxes                         3,321.37     25.01%          0.00     0.00%      3,321.37            0.00     0.00%      3,321.37
             0.00     0.00%         0.00     0.00%           0.00           0.00      0.00%           0.00   Total Supplemental Pay                           0.00     0.00%          0.00     0.00%           0.00           0.00     0.00%           0.00
         4,247.95    244.39%        0.00      0.00%      4,247.95           0.00       0.00%      4,247.95   Worker's Compensation                        4,247.95     31.98%         0.00      0.00%      4,247.95           0.00      0.00%      4,247.95
           -49.82     -2.87%        0.00      0.00%        -49.82           0.00       0.00%        -49.82   Group Insurance                                -49.82     -0.38%         0.00      0.00%        -49.82           0.00      0.00%        -49.82
        4,198.13    241.52%         0.00     0.00%      4,198.13            0.00      0.00%      4,198.13    Total Other Benefits                        4,198.13     31.61%          0.00     0.00%      4,198.13            0.00     0.00%      4,198.13

        5,538.84    318.66%         0.00     0.00%      5,538.84            0.00      0.00%      5,538.84    Total Restaurant 1 PR Taxes and Benefits    7,519.50     56.62%          0.00     0.00%      7,519.50            0.00     0.00%      7,519.50

       19,095.14 1,098.57%      6,316.00    31.47%    12,779.14             0.00      0.00%     19,095.14    Total Restaurant 1 Payroll                 39,560.54    297.86%     36,965.00    36.74%      2,595.54      22,220.73     30.45%    17,339.81

                                                                                                             Other Expenses
             0.00     0.00%         0.00     0.00%          0.00            0.00      0.00%          0.00    Total Restaurant 1 Other Expenses               0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%          0.00
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              PTD     %      PTD Budget    %         Variance   PTD Last Year     %           Variance                                            YTD      %        YTD Budget %           Variance   YTD Last Year    %         Variance


       19,095.14 1,098.57%    6,316.00    31.47%   12,779.14            0.00     0.00%      19,095.14    Total Restaurant 1 Expenses        39,560.54    297.86%    36,965.00   36.74%    2,595.54      22,220.73     30.45%   17,339.81

      -17,356.96 -998.57%    13,754.00    68.53%   -31,110.96          62.00    100.00%    -17,418.96    Total Restaurant 1 Profit (Loss)   -26,278.99   -197.86%   63,649.00   63.26%   -89,927.99     50,756.10     69.55%   -77,035.09




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 2
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Room Service
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget     %          Variance   PTD Last Year     %           Variance                                                YTD     %        YTD Budget %                Variance   YTD Last Year    %           Variance

                                                                                                             Banquets
                                                                                                             Food Revenue
             0.00      0.00%    27,311.00    66.51%   -27,311.00            0.00      0.00%          0.00    Food-Breakfast                         11,165.86     24.67%   104,153.00     58.81%     -92,987.14      35,157.28    38.43%    -23,991.42
             0.00      0.00%     1,000.00     2.44%    -1,000.00            0.00      0.00%          0.00    Food-Lunch                              2,112.36      4.67%     3,000.00      1.69%        -887.64       4,007.98     4.38%     -1,895.62
         2,694.50     62.74%     1,000.00     2.44%     1,694.50            0.00      0.00%      2,694.50    Food-Dinner                            10,078.62     22.27%     5,000.00      2.82%       5,078.62       4,141.50     4.53%      5,937.12
             0.00      0.00%         0.00     0.00%         0.00            0.00      0.00%          0.00    Food-Brunch                                 0.00      0.00%     6,000.00      3.39%      -6,000.00       5,258.00     5.75%     -5,258.00
             0.00      0.00%       250.00     0.61%      -250.00            0.00      0.00%          0.00    Food-Breaks                               117.60      0.26%     1,550.00      0.88%      -1,432.40       1,867.55     2.04%     -1,749.95

        2,694.50     62.74%    29,561.00    71.98%    -26,866.50            0.00     0.00%       2,694.50    Banquets Food Revenue                  23,474.44    51.87%    119,703.00    67.60%     -96,228.56      50,432.31     55.12%    -26,957.87
            0.00       0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Less: Allowances                            0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%         0.00

        2,694.50     62.74%    29,561.00    71.98%    -26,866.50            0.00     0.00%       2,694.50    Total Banquets Food Revenue            23,474.44    51.87%    119,703.00    67.60%     -96,228.56      50,432.31     55.12%    -26,957.87

                                                                                                             Beverage Revenue
             0.00      0.00%      250.00      0.61%      -250.00          980.00     25.69%       -980.00    Liquor                                  1,003.31      2.22%      1,250.00    0.71%        -246.69          980.00     1.07%         23.31
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%          0.00    Beer                                    1,774.00      3.92%          0.00    0.00%       1,774.00            0.00     0.00%      1,774.00

             0.00     0.00%       250.00     0.61%      -250.00          980.00     25.69%       -980.00     Banquets Beverage Revenue               2,777.31     6.14%      1,250.00     0.71%       1,527.31         980.00      1.07%      1,797.31
             0.00      0.00%        0.00      0.00%        0.00            0.00       0.00%         0.00     Less: Allowances                            0.00      0.00%         0.00      0.00%          0.00           0.00       0.00%         0.00

             0.00     0.00%       250.00     0.61%      -250.00          980.00     25.69%       -980.00     Total Banquets Beverage Revenue         2,777.31     6.14%      1,250.00     0.71%       1,527.31         980.00      1.07%      1,797.31

                                                                                                             Other Revenue
           250.00      5.82%       350.00     0.85%      -100.00          295.00      7.73%        -45.00    Audio/Visual Income                       925.00      2.04%     2,200.00      1.24%      -1,275.00       2,440.00     2.67%     -1,515.00
             0.00      0.00%         0.00     0.00%         0.00           85.00      2.23%        -85.00    Other Revenue                              20.00      0.04%         0.00      0.00%          20.00          85.00     0.09%        -65.00
             0.00      0.00%     7,405.00    18.03%    -7,405.00          684.34     17.94%       -684.34    Setup Fee                               2,294.92      5.07%    31,935.00     18.03%     -29,640.08      16,648.33    18.20%    -14,353.41
         1,350.00     31.44%     3,500.00     8.52%    -2,150.00        1,770.80     46.42%       -420.80    Public Room Rental                     15,764.19     34.83%    22,000.00     12.42%      -6,235.81      20,903.49    22.85%     -5,139.30

        1,600.00     37.26%    11,255.00    27.41%     -9,655.00       2,835.14     74.31%      -1,235.14    Total Banquets Other Revenue           19,004.11    41.99%     56,135.00    31.70%     -37,130.89      40,076.82     43.81%    -21,072.71

        4,294.50    100.00%    41,066.00    100.00%   -36,771.50       3,815.14     100.00%       479.36     Total Banquets Revenue                 45,255.86    100.00%   177,088.00 100.00%      -131,832.14      91,489.13 100.00%       -46,233.27

                                                                                                             Cost of Sales

             0.00     0.00%         0.00     0.00%          0.00            0.00     0.00%           0.00    Total Banquets Cost of Sales                0.00     0.00%          0.00     0.00%           0.00            0.00     0.00%          0.00

        4,294.50    100.00%    41,066.00    100.00%   -36,771.50       3,815.14     100.00%       479.36     Gross Profit                           45,255.86    100.00%   177,088.00 100.00%      -131,832.14      91,489.13 100.00%       -46,233.27

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00     0.00%          0.00            0.00     0.00%           0.00    Total Banquets Management                   0.00     0.00%          0.00     0.00%           0.00            0.00     0.00%          0.00

             0.00      0.00%     1,729.00     4.21%     -1,729.00           0.00      0.00%          0.00    Hosts/Greeters/Captains/Order Takers         0.00     0.00%      6,157.00     3.48%      -6,157.00       3,424.59      3.74%     -3,424.59
           204.68      4.77%     6,541.00    15.93%     -6,336.32           0.00      0.00%        204.68    Servers                                  4,819.43    10.65%     25,061.00    14.15%     -20,241.57      13,679.61     14.95%     -8,860.18
          204.68      4.77%     8,270.00    20.14%     -8,065.32            0.00     0.00%        204.68     Total Banquets Non-Management           4,819.43    10.65%     31,218.00    17.63%     -26,398.57      17,104.20     18.70%    -12,284.77

          204.68                8,270.00               -8,065.32            0.00                  204.68     Total Banquets Salaries and Wages       4,819.43               31,218.00               -26,398.57      17,104.20               -12,284.77

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00     0.00%          0.00            0.00     0.00%           0.00    Total Payroll Taxes                         0.00     0.00%          0.00     0.00%           0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%          0.00            0.00     0.00%           0.00    Total Supplemental Pay                      0.00     0.00%          0.00     0.00%           0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%          0.00            0.00     0.00%           0.00    Total Other Benefits                        0.00     0.00%          0.00     0.00%           0.00            0.00     0.00%          0.00

             0.00                   0.00                    0.00            0.00                     0.00    Total Banquet Benefits                      0.00                    0.00                     0.00            0.00                    0.00

          204.68      4.77%     8,270.00    20.14%     -8,065.32            0.00     0.00%        204.68     Total Banquets Payroll                  4,819.43    10.65%     31,218.00    17.63%     -26,398.57      17,104.20     18.70%    -12,284.77


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              PTD     %       PTD Budget    %         Variance   PTD Last Year     %          Variance                                           YTD     %       YTD Budget %               Variance   YTD Last Year    %         Variance

                                                                                                         Other Expenses
             0.00     0.00%        0.00    0.00%         0.00            0.00     0.00%          0.00    Total Banquets Other Expenses           0.00   0.00%          0.00     0.00%          0.00            0.00    0.00%         0.00

          204.68      4.77%    8,270.00    20.14%    -8,065.32           0.00     0.00%        204.68    Total Banquets Expenses             4,819.43   10.65%    31,218.00   17.63%     -26,398.57      17,104.20     18.70%   -12,284.77

        4,089.82     95.23%   32,796.00    79.86%   -28,706.18      3,815.14     100.00%       274.68    Total Banquets Profit (Loss)       40,436.43   89.35%   145,870.00   82.37%    -105,433.57      74,384.93     81.30%   -33,948.50




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Catering
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Catering Food Revenue                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Food Revenue            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Catering Beverage Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Beverage Revenue        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Other Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Cost of Sales           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Catering Gross Profit                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Management              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Non-Management          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Salaries and Wages      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering PR Taxes and Benefits   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Payroll                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Other Expenses          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Expenses                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Catering Profit (Loss)           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %           Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 3
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 4
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 5
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %         Variance   PTD Last Year    %            Variance                                           YTD      %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                          Bar 1
                                                                                                          Food Revenue
         1,226.55   100.00%          0.00   0.00%    1,226.55            0.00     0.00%       1,226.55    Food-Breakfast                      2,710.05   100.00%          0.00     0.00%    2,710.05            0.00    0.00%    2,710.05

        1,226.55    100.00%         0.00    0.00%    1,226.55            0.00     0.00%       1,226.55    Bar 1 Food Revenue                  2,710.05   100.00%         0.00      0.00%    2,710.05            0.00    0.00%    2,710.05
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%          0.00    Less: Adjustments                       0.00      0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

        1,226.55    100.00%         0.00    0.00%    1,226.55            0.00     0.00%       1,226.55    Total Bar 1 Food Revenue            2,710.05   100.00%         0.00      0.00%    2,710.05            0.00    0.00%    2,710.05

                                                                                                          Beverage Revenue

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Bar 1 Beverage Revenue                  0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00      0.00%          0.00    Less: Adjustments                       0.00      0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Beverage Revenue            0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                          Other Revenue

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Other Revenue               0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

        1,226.55    100.00%         0.00    0.00%    1,226.55            0.00     0.00%       1,226.55    Total Bar 1 Revenue                 2,710.05   100.00%         0.00      0.00%    2,710.05            0.00    0.00%    2,710.05

                                                                                                          Cost of Sales

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Cost of Sales               0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

        1,226.55    100.00%         0.00    0.00%    1,226.55            0.00     0.00%       1,226.55    Gross Profit                        2,710.05   100.00%         0.00      0.00%    2,710.05            0.00    0.00%    2,710.05

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Non-Management              0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Salaries and Wages          0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Payroll Taxes                     0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Supplemental Pay                  0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Other Benefits                    0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 PR Taxes and Benefits       0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Payroll                     0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                          Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Other Expenses              0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Total Bar 1 Expenses                    0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

        1,226.55    100.00%         0.00    0.00%    1,226.55            0.00     0.00%       1,226.55    Total Bar 1 Profit (Loss)           2,710.05   100.00%         0.00      0.00%    2,710.05            0.00    0.00%    2,710.05




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Bar 2
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Bar 2 Food Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Food Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Bar 2 Beverage Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Beverage Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Other Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Cost of Sales              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expenses
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Non-Management             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Salaries and Wages         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 PR Taxes and Benefits      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Payroll                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Other Expenses             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Expenses                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Bar 2 Profit (Loss)              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year    %           Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Telephone Revenue                      0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Telephone Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Telephone Cost of Sales          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Gross Profit                           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00      0.00%        0.00     0.00%      0.00            0.00      0.00%         0.00    Internet/Web Expense                  425.00    0.00%        0.00       0.00%    425.00            0.00     0.00%    425.00
             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Telephone Other Expenses       425.00    0.00%         0.00      0.00%    425.00             0.00    0.00%    425.00

             0.00     0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00    Total Telephone Profit (Loss)       -425.00    0.00%         0.00      0.00%    -425.00            0.00    0.00%    -425.00




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              PTD     %        PTD Budget     %          Variance   PTD Last Year     %           Variance                                                       YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Minor Operating
                                                                                                              Income
             0.00     0.00%          0.00    0.00%           0.00           0.00     0.00%             0.00   Total Rental Income                                0.00    0.00%           0.00    0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%        83.00     0.21%        -83.00          38.85      0.14%          -38.85   Vending Commissions-Soda & Snack Machines        998.69     0.31%        504.00     0.16%        494.69         500.01      0.16%       498.68
             0.00      0.00%        62.00     0.16%        -62.00           0.00      0.00%            0.00   Vending Commissions Other                         83.50     0.03%        377.00     0.12%       -293.50         187.75      0.06%      -104.25
             0.00     0.00%       145.00     0.37%       -145.00           38.85     0.14%          -38.85    Total Vending Commission Income               1,082.19     0.34%        881.00     0.27%        201.19         687.76      0.23%       394.43
           745.79      3.03%         0.00     0.00%        745.79           0.00      0.00%         745.79    Cancellation Fee - Rooms                         745.79     0.23%          0.00     0.00%        745.79           0.00      0.00%       745.79
             0.00      0.00%       500.00     1.26%       -500.00         955.81      3.53%        -955.81    Cancellation Fee - Other                      30,347.67     9.49%      3,750.00     1.16%     26,597.67      13,129.69      4.32%    17,217.98
          745.79      3.03%       500.00     1.26%        245.79         955.81      3.53%        -210.02     Total Cancellation Fee Income                31,093.46     9.72%      3,750.00     1.16%     27,343.46      13,129.69      4.32%    17,963.77
            12.50      0.05%        41.00     0.10%        -28.50           0.00      0.00%           12.50   Guest Laundry                                     12.50     0.00%        252.00     0.08%       -239.50         310.00      0.10%      -297.50
           247.50      1.01%       200.00     0.50%         47.50         108.90      0.40%         138.60    Internet Access                                1,343.25     0.42%      1,475.00     0.46%       -131.75       1,549.35      0.51%      -206.10
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%            0.00   Fax/Copies                                        20.00     0.01%          0.00     0.00%         20.00           0.00      0.00%        20.00
           216.00      0.88%        75.00     0.19%        141.00         116.58      0.43%           99.42   Other Revenue 2                                  217.12     0.07%        750.00     0.23%       -532.88       1,766.59      0.58%    -1,549.47
             1.64      0.01%         0.00     0.00%          1.64           0.00      0.00%            1.64   Other Revenue 3                                8,684.79     2.72%          0.00     0.00%      8,684.79          78.43      0.03%     8,606.36
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%            0.00   Other Revenue 4                                  489.01     0.15%          0.00     0.00%        489.01       3,833.23      1.26%    -3,344.22
        21,956.90     89.32%    36,084.00    90.96%    -14,127.10      24,911.85     91.95%      -2,954.95    Parking Revenue                              264,178.12    82.61%    297,992.00    92.36%    -33,813.88     265,301.64     87.24%    -1,123.52
         1,402.88      5.71%     2,625.00     6.62%     -1,222.12         961.45      3.55%         441.43    Gift Shop Sales                               12,652.45     3.96%     17,542.00     5.44%     -4,889.55      17,434.23      5.73%    -4,781.78
       23,837.42     96.97%    39,025.00    98.37%    -15,187.58      26,098.78     96.33%      -2,261.36     Total Other Income                          287,597.24    89.94%    318,011.00    98.56%    -30,413.76     290,273.47     95.46%    -2,676.23

       24,583.21    100.00%    39,670.00    100.00%   -15,086.79      27,093.44     100.00%     -2,510.23     Total Minor Operating Income                319,772.89    100.00%   322,642.00 100.00%       -2,869.11     304,090.92 100.00%       15,681.97

                                                                                                              Cost of Sales
             0.00      0.00%        31.00     0.08%        -31.00           0.00      0.00%           0.00    Cost of Sales - Guest Laundry                     10.13     0.00%        189.00     0.06%       -178.87          54.50      0.02%       -44.37
             0.00      0.00%     1,296.00     3.27%     -1,296.00         486.17      1.79%        -486.17    Cost of Sales - Gift Shop                      4,036.08     1.26%      8,686.00     2.69%     -4,649.92       9,900.37      3.26%    -5,864.29
             0.00     0.00%     1,327.00     3.35%     -1,327.00         486.17      1.79%        -486.17     Total Minor Operated Cost of Sales            4,046.21     1.27%      8,875.00     2.75%     -4,828.79       9,954.87      3.27%    -5,908.66

       24,583.21    100.00%    38,343.00    96.65%    -13,759.79      26,607.27     98.21%      -2,024.06     Total Minor Operated Profit (Loss)          315,726.68    98.73%    313,767.00    97.25%      1,959.68     294,136.05     96.73%    21,590.63




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              PTD     %       PTD Budget   %       Variance   PTD Last Year    %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Arcade
                                                                                                      Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Arcade Revenue                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Arcade Non-Management            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Arcade Salaries and Wages        0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Payroll Taxes                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Supplemental Pay                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Other Benefits                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Arcade PR Taxes and Benefits     0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Arcade Payroll                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Arcade Other Expenses            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Arcade Expenses                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Arcade Profit (Loss)             0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year    %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Waterpark
                                                                                                      Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Payroll Expense
                                                                                                      Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00     0.00%          0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %         Variance   PTD Last Year    %            Variance                                                    YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                          Franchise Fees
           520.80      0.20%         0.00   0.00%       520.80           0.00     0.00%         520.80    Franchise Fees - IT Fees                       520.80   0.02%         0.00     0.00%       520.80           0.00    0.00%      520.80
        13,874.43      5.29%    30,370.00   5.00%   -16,495.57       5,391.08     4.46%       8,483.35    Franchise Fees - Royalty & Licenses        142,667.28   5.32%   145,523.00     4.81%    -2,855.72      97,742.08    4.65%   44,925.20
         1,407.47      0.54%         0.00   0.00%     1,407.47           0.00     0.00%       1,407.47    Franchise Fees - Other                       1,407.47   0.05%         0.00     0.00%     1,407.47           0.00    0.00%    1,407.47
           225.00      0.09%         0.00   0.00%       225.00           0.00     0.00%         225.00    Franchise Fees - Reservations-GDS              225.00   0.01%         0.00     0.00%       225.00           0.00    0.00%      225.00
         2,824.85      1.08%    10,123.00   1.67%    -7,298.15         909.31     0.75%       1,915.54    Franchise Fees - Frequent Guest             22,656.43   0.84%    48,508.00     1.60%   -25,851.57      17,525.09    0.83%    5,131.34
        25,504.79      9.72%    10,663.00   1.76%    14,841.79       2,238.71     1.85%      23,266.08    Franchise Fees - Marketing Contributions    81,157.56   3.03%    53,908.00     1.78%    27,249.56      37,706.50    1.80%   43,451.06

       44,357.34     16.91%    51,156.00    8.43%   -6,798.66       8,539.10      7.06%      35,818.24    Total Franchise Fees                       248,634.54   9.27%   247,939.00     8.19%      695.54     152,973.67     7.28%   95,660.87




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              PTD     %        PTD Budget   %          Variance   PTD Last Year    %            Variance                                             YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         9,615.39      3.66%     9,739.00    1.60%      -123.61       8,231.00      6.80%       1,384.39   Management- A&G                      84,442.93     3.15%     95,791.00     3.17%    -11,348.07      71,943.14      3.43%    12,499.79
        9,615.39      3.66%     9,739.00    1.60%      -123.61       8,231.00      6.80%       1,384.39    Total A&G Management                84,442.93     3.15%     95,791.00     3.17%    -11,348.07      71,943.14      3.43%    12,499.79
             0.00      0.00%     4,006.00    0.66%    -4,006.00           0.00      0.00%           0.00   Accounting Staff                        765.38     0.03%     27,634.00     0.91%    -26,868.62      10,326.12      0.49%    -9,560.74
             0.00     0.00%     4,006.00    0.66%    -4,006.00            0.00     0.00%            0.00   Total A&G Non-Management               765.38     0.03%     27,634.00     0.91%    -26,868.62      10,326.12      0.49%    -9,560.74
        9,615.39      3.66%    13,745.00    2.26%    -4,129.61       8,231.00      6.80%       1,384.39    Total A&G Salaries and Wages        85,208.31     3.18%    123,425.00     4.08%    -38,216.69      82,269.26      3.92%     2,939.05
                                                                                                           PR Taxes and Benefits
           720.09      0.27%     1,182.00    0.19%      -461.91         613.25      0.51%         106.84   FICA                                  6,667.03     0.25%      9,963.00     0.33%     -3,295.97       7,645.41      0.36%      -978.38
            37.49      0.01%         0.00    0.00%        37.49           0.00      0.00%          37.49   Federal Unemployment Tax                 84.08     0.00%         50.00     0.00%         34.08          27.82      0.00%        56.26
           190.08      0.07%         0.00    0.00%       190.08           0.00      0.00%         190.08   State Unemployment Tax                  375.73     0.01%        142.00     0.00%        233.73         104.06      0.00%       271.67
          947.66      0.36%     1,182.00    0.19%      -234.34         613.25      0.51%         334.41    Total Payroll Taxes                  7,126.84     0.27%     10,155.00     0.34%     -3,028.16       7,777.29      0.37%      -650.45
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Holiday                               1,320.48     0.05%          0.00     0.00%      1,320.48       1,743.63      0.08%      -423.15
             0.00      0.00%         0.00    0.00%         0.00         719.84      0.60%        -719.84   Vacation                              7,389.72     0.28%          0.00     0.00%      7,389.72       7,585.87      0.36%      -196.15
             0.00     0.00%          0.00   0.00%          0.00        719.84      0.60%        -719.84    Total Supplemental Pay               8,710.20     0.32%           0.00    0.00%      8,710.20       9,329.50      0.44%      -619.30
         2,117.58      0.81%       641.00    0.11%     1,476.58         654.98      0.54%       1,462.60   Worker's Compensation                 7,945.60     0.30%      6,410.00     0.21%      1,535.60       5,420.05      0.26%     2,525.55
           -24.91     -0.01%       503.00    0.08%      -527.91         523.58      0.43%        -548.49   Group Insurance                       3,722.54     0.14%      4,983.00     0.16%     -1,260.46       4,765.72      0.23%    -1,043.18
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Employee Meals                            0.00     0.00%          0.00     0.00%          0.00           0.25      0.00%        -0.25
             0.00      0.00%       275.00    0.05%      -275.00           0.00      0.00%           0.00   401k Contribution                       308.12     0.01%      1,091.00     0.04%       -782.88         843.61      0.04%      -535.49
             0.00      0.00%     1,700.00    0.28%    -1,700.00           0.00      0.00%           0.00   Bonus and Incentive Pay               2,400.00     0.09%      6,800.00     0.22%     -4,400.00           0.00      0.00%     2,400.00
        2,092.67      0.80%     3,119.00    0.51%    -1,026.33       1,178.56      0.97%         914.11    Total Other Benefits                14,376.26     0.54%     19,284.00     0.64%     -4,907.74      11,029.63      0.53%     3,346.63
        3,040.33      1.16%     4,301.00    0.71%    -1,260.67       2,511.65      2.08%         528.68    Total A&G PR Taxes and Benefits     30,213.30     1.13%     29,439.00     0.97%        774.30      28,136.42      1.34%     2,076.88
       12,655.72      4.82%    18,046.00    2.97%    -5,390.28      10,742.65      8.88%       1,913.07    Total A&G Payroll                  115,421.61     4.30%    152,864.00     5.05%    -37,442.39     110,405.68      5.26%     5,015.93
                                                                                                           Other Expenses
         1,000.00      0.38%         0.00    0.00%     1,000.00           0.00      0.00%       1,000.00   Accounting/Audit Fees                 2,000.00     0.07%          0.00     0.00%      2,000.00         767.91      0.04%     1,232.09
             0.00      0.00%         0.00    0.00%         0.00         -23.23     -0.02%          23.23   Bad Debt Provision                      389.39     0.01%          0.00     0.00%        389.39      15,696.37      0.75%   -15,306.98
           834.30      0.32%     1,325.00    0.22%      -490.70       1,236.22      1.02%        -401.92   Bank Charges                         10,078.34     0.38%     13,250.00     0.44%     -3,171.66      12,860.30      0.61%    -2,781.96
           286.00      0.11%         0.00    0.00%       286.00          -0.01      0.00%         286.01   Cash Over/Short                        -544.75    -0.02%          0.00     0.00%       -544.75        -122.05     -0.01%      -422.70
         1,472.68      0.56%         0.00    0.00%     1,472.68           0.00      0.00%       1,472.68   Central Office - Travel Rebilled      4,161.96     0.16%          0.00     0.00%      4,161.96           0.00      0.00%     4,161.96
             0.00      0.00%     3,060.00    0.50%    -3,060.00       3,017.92      2.49%      -3,017.92   Central Office - Accounting Fees     24,480.00     0.91%     30,600.00     1.01%     -6,120.00      30,179.20      1.44%    -5,699.20
         1,500.00      0.57%         0.00    0.00%     1,500.00           0.00      0.00%       1,500.00   Central Office - IT Fees              5,513.33     0.21%          0.00     0.00%      5,513.33           0.00      0.00%     5,513.33
         5,422.74      2.07%    15,235.00    2.51%    -9,812.26       3,453.08      2.85%       1,969.66   Credit Card Commission               49,744.43     1.85%     75,945.00     2.51%    -26,200.57      51,556.69      2.46%    -1,812.26
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Donations                                 0.00     0.00%          0.00     0.00%          0.00          99.87      0.00%       -99.87
           899.14      0.34%         0.00    0.00%       899.14           0.00      0.00%         899.14   Dues and Subscriptions                1,135.67     0.04%          0.00     0.00%      1,135.67           0.00      0.00%     1,135.67
             0.00      0.00%       509.00    0.08%      -509.00         401.50      0.33%        -401.50   Employee Relations                    3,766.49     0.14%      5,140.00     0.17%     -1,373.51       5,237.99      0.25%    -1,471.50
         1,136.38      0.43%     2,488.00    0.41%    -1,351.62       2,334.07      1.93%      -1,197.69   Licenses/Permits                     16,149.67     0.60%     28,494.00     0.94%    -12,344.33      28,332.97      1.35%   -12,183.30
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Meals and Entertainment                  41.80     0.00%          0.00     0.00%         41.80           6.10      0.00%        35.70
            40.46      0.02%         0.00    0.00%        40.46         165.00      0.14%        -124.54   Miscellaneous Expense                 1,440.06     0.05%      2,750.00     0.09%     -1,309.94       5,849.31      0.28%    -4,409.25
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Office Supplies                         270.96     0.01%          0.00     0.00%        270.96           0.00      0.00%       270.96
             0.00      0.00%       500.00    0.08%      -500.00         250.34      0.21%        -250.34   Operating Supplies                    3,624.12     0.14%      4,475.00     0.15%       -850.88       4,069.38      0.19%      -445.26
           259.48      0.10%       810.00    0.13%      -550.52         810.00      0.67%        -550.52   Payroll Service Fees                  6,808.40     0.25%      8,100.00     0.27%     -1,291.60       8,100.00      0.39%    -1,291.60
             0.00      0.00%       121.00    0.02%      -121.00           0.00      0.00%           0.00   Postage                                 233.48     0.01%        606.00     0.02%       -372.52         371.11      0.02%      -137.63
           399.50      0.15%         0.00    0.00%       399.50           0.00      0.00%         399.50   Professional Fees - Legal               980.75     0.04%          0.00     0.00%        980.75          68.08      0.00%       912.67
         2,190.00      0.83%         0.00    0.00%     2,190.00           0.00      0.00%       2,190.00   Professional Fees - Other             2,505.00     0.09%          0.00     0.00%      2,505.00           0.00      0.00%     2,505.00
         4,520.00      1.72%         0.00    0.00%     4,520.00           0.00      0.00%       4,520.00   Recruitment Advertising               5,580.00     0.21%          0.00     0.00%      5,580.00           0.00      0.00%     5,580.00
         6,075.00      2.32%       450.00    0.07%     5,625.00        -319.70     -0.26%       6,394.70   Security - Outside                   31,299.09     1.17%      4,500.00     0.15%     26,799.09       8,387.12      0.40%    22,911.97
           476.06      0.18%         0.00    0.00%       476.06           0.00      0.00%         476.06   Software Expense/Maintenance          1,293.75     0.05%          0.00     0.00%      1,293.75           0.00      0.00%     1,293.75
           351.19      0.13%         0.00    0.00%       351.19         351.19      0.29%           0.00   Training                              1,041.40     0.04%          0.00     0.00%      1,041.40       1,473.85      0.07%      -432.45
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Travel                                   95.75     0.00%          0.00     0.00%         95.75         129.67      0.01%       -33.92
       26,862.93     10.24%    24,498.00    4.04%     2,364.93      11,676.38      9.65%      15,186.55    Total A&G Other Expenses           172,089.09     6.42%    173,860.00     5.75%     -1,770.91     173,063.87      8.24%      -974.78
       39,518.65     15.06%    42,544.00    7.01%    -3,025.35      22,419.03     18.53%      17,099.62    Total A&G Expenses                 287,510.70    10.72%    326,724.00    10.80%    -39,213.30     283,469.55     13.50%     4,041.15




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                                                                                   Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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              PTD     %        PTD Budget   %           Variance   PTD Last Year    %            Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                            IT
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wags
             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Total IT Management                    0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Total IT Non-Management                0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00

             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Total IT Salaries and Wages            0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Total Payroll Taxes                    0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Total Supplemental Pay                 0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Total Other Benefits                   0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Total IT PR Taxes and Benefits         0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00

             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%           0.00    Total IT Payroll                       0.00    0.00%          0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                            Cost of Services
             0.00      0.00%        85.00    0.01%        -85.00         225.00      0.19%        -225.00   Cost of Cell Phones                   715.00    0.03%        850.00     0.03%       -135.00       1,260.00     0.06%       -545.00
         2,799.98      1.07%     1,400.00    0.23%      1,399.98       1,399.99      1.16%       1,399.99   Cost of Internet Services          16,799.88    0.63%     14,000.00     0.46%      2,799.88      13,999.90     0.67%      2,799.98
         2,080.04      0.79%       975.00    0.16%      1,105.04         967.65      0.80%       1,112.39   Cost of Calls                      14,530.78    0.54%      9,750.00     0.32%      4,780.78      10,477.83     0.50%      4,052.95
        4,880.02      1.86%     2,460.00    0.41%      2,420.02       2,592.64      2.14%       2,287.38    Total IT Cost of Services         32,045.66    1.19%     24,600.00     0.81%      7,445.66      25,737.73     1.23%      6,307.93

                                                                                                            System Costs
             0.00      0.00%       308.00    0.05%       -308.00         308.31      0.25%        -308.31   Administrative & General            2,466.68    0.09%      3,080.00     0.10%       -613.32       3,083.34     0.15%       -616.66
             0.00      0.00%         0.00    0.00%          0.00         205.70      0.17%        -205.70   Food & Beverage                     3,092.74    0.12%        960.00     0.03%      2,132.74       1,165.81     0.06%      1,926.93
             0.00      0.00%       197.00    0.03%       -197.00         197.25      0.16%        -197.25   Information Security                1,758.94    0.07%      1,970.00     0.07%       -211.06       1,972.50     0.09%       -213.56
           113.33      0.04%       939.00    0.15%       -825.67         915.09      0.76%        -801.76   Information Systems                 8,550.42    0.32%      9,390.00     0.31%       -839.58       9,505.51     0.45%       -955.09
           238.95      0.09%    12,017.00    1.98%    -11,778.05       5,883.16      4.86%      -5,644.21   Rooms                              63,752.81    2.38%     79,750.00     2.64%    -15,997.19      73,125.74     3.48%     -9,372.93
           263.11      0.10%       794.00    0.13%       -530.89         280.43      0.23%         -17.32   Sales & Marketing                   2,936.10    0.11%      7,940.00     0.26%     -5,003.90       3,579.17     0.17%       -643.07
             0.00      0.00%       525.00    0.09%       -525.00         519.02      0.43%        -519.02   Telecommunications                  3,625.99    0.14%      5,250.00     0.17%     -1,624.01       5,522.07     0.26%     -1,896.08
          615.39      0.23%    14,780.00    2.44%    -14,164.61       8,308.96      6.87%      -7,693.57    Total IT Systems                  86,183.68    3.21%    108,340.00     3.58%    -22,156.32      97,954.14     4.66%    -11,770.46

                                                                                                            Other Expenses
             0.00      0.00%        0.00     0.00%          0.00         250.00      0.21%        -250.00   Contract Labor                      1,147.91    0.04%        750.00     0.02%        397.91       2,462.92     0.12%     -1,315.01
         1,530.00      0.58%        0.00     0.00%      1,530.00           0.00      0.00%       1,530.00   Contract Services                   1,530.00    0.06%          0.00     0.00%      1,530.00           0.00     0.00%      1,530.00
        1,530.00      0.58%         0.00    0.00%      1,530.00         250.00      0.21%       1,280.00    Total IT Other Expenses            2,677.91    0.10%        750.00     0.02%      1,927.91       2,462.92     0.12%        214.99

        7,025.41      2.68%    17,240.00    2.84%    -10,214.59      11,151.60      9.22%      -4,126.19    Total IT Expenses                120,907.25    4.51%    133,690.00     4.42%    -12,782.75     126,154.79     6.01%     -5,247.54




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              PTD     %        PTD Budget   %           Variance   PTD Last Year    %            Variance                                            YTD    %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                            S&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         5,252.75      2.00%     7,239.00    1.19%     -1,986.25       6,478.56      5.36%      -1,225.81   Division Management                 41,232.36    1.54%     49,978.00     1.65%     -8,745.64      62,420.08     2.97%    -21,187.72
             0.00      0.00%     9,027.00    1.49%     -9,027.00       4,564.63      3.77%      -4,564.63   Sales Managers                      34,144.82    1.27%     75,012.00     2.48%    -40,867.18      41,303.54     1.97%     -7,158.72
        5,252.75      2.00%    16,266.00    2.68%    -11,013.25      11,043.19      9.13%      -5,790.44    Total S&M Management               75,377.18    2.81%    124,990.00     4.13%    -49,612.82     103,723.62     4.94%    -28,346.44
             0.00     0.00%          0.00   0.00%           0.00           0.00     0.00%            0.00   Total S&M Non-Management                 0.00   0.00%           0.00    0.00%           0.00           0.00    0.00%           0.00

        5,252.75      2.00%    16,266.00    2.68%    -11,013.25      11,043.19      9.13%      -5,790.44    Total S&M Salaries and Wages       75,377.18    2.81%    124,990.00     4.13%    -49,612.82     103,723.62     4.94%    -28,346.44

                                                                                                            PR Taxes and Benefits
           393.77      0.15%     1,419.00    0.23%     -1,025.23         772.75      0.64%        -378.98   FICA                                 5,908.88    0.22%     10,535.00     0.35%     -4,626.12       8,091.34     0.39%     -2,182.46
            20.38      0.01%         0.00    0.00%         20.38           0.00      0.00%          20.38   Federal Unemployment Tax               148.50    0.01%        102.00     0.00%         46.50          79.47     0.00%         69.03
           100.11      0.04%         0.00    0.00%        100.11           0.00      0.00%         100.11   State Unemployment Tax                 690.53    0.03%        289.00     0.01%        401.53         263.75     0.01%        426.78
          514.26      0.20%     1,419.00    0.23%       -904.74         772.75      0.64%        -258.49    Total Payroll Taxes                 6,747.91    0.25%     10,926.00     0.36%     -4,178.09       8,434.56     0.40%     -1,686.65
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Holiday                                996.32    0.04%      1,216.00     0.04%       -219.68       2,097.04     0.10%     -1,100.72
             0.00      0.00%       651.00    0.11%       -651.00         445.66      0.37%        -445.66   Vacation                             3,243.71    0.12%      5,001.00     0.17%     -1,757.29       4,912.50     0.23%     -1,668.79
             0.00     0.00%       651.00    0.11%       -651.00         445.66      0.37%        -445.66    Total Supplemental Pay              4,240.03    0.16%      6,217.00     0.21%     -1,976.97       7,009.54     0.33%     -2,769.51
         1,236.67      0.47%       815.00    0.13%        421.67         851.60      0.70%         385.07   Worker's Compensation                6,493.60    0.24%      8,150.00     0.27%     -1,656.40       6,958.16     0.33%       -464.56
             0.00      0.00%     1,454.00    0.24%     -1,454.00       1,440.46      1.19%      -1,440.46   Group Insurance                      8,167.01    0.30%     14,522.00     0.48%     -6,354.99      14,440.04     0.69%     -6,273.03
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Employee Meals                           0.00    0.00%          0.00     0.00%          0.00           0.30     0.00%         -0.30
             0.00      0.00%       133.00    0.02%       -133.00           0.00      0.00%           0.00   401k Contribution                      151.61    0.01%        528.00     0.02%       -376.39         609.71     0.03%       -458.10
             0.00      0.00%     1,627.00    0.27%     -1,627.00           0.00      0.00%           0.00   Bonus and Incentive Pay              2,134.50    0.08%      6,507.00     0.22%     -4,372.50       2,971.61     0.14%       -837.11
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Other Benefits                         187.84    0.01%          0.00     0.00%        187.84           0.00     0.00%        187.84
        1,236.67      0.47%     4,029.00    0.66%     -2,792.33       2,292.06      1.89%      -1,055.39    Total Other Benefits               17,134.56    0.64%     29,707.00     0.98%    -12,572.44      24,979.82     1.19%     -7,845.26
        1,750.93      0.67%     6,099.00    1.00%     -4,348.07       3,510.47      2.90%      -1,759.54    Total S&M PR Taxes and Benefits    28,122.50    1.05%     46,850.00     1.55%    -18,727.50      40,423.92     1.92%    -12,301.42

        7,003.68      2.67%    22,365.00    3.68%    -15,361.32      14,553.66     12.03%      -7,549.98    Total S&M Payroll                 103,499.68    3.86%    171,840.00     5.68%    -68,340.32     144,147.54     6.86%    -40,647.86

                                                                                                            Other Expenses
           450.00      0.17%     1,537.00    0.25%     -1,087.00         507.97      0.42%         -57.97   Advertising General                  2,080.00    0.08%      9,464.00     0.31%     -7,384.00      14,313.06     0.68%    -12,233.06
             0.00      0.00%       986.00    0.16%       -986.00       3,229.93      2.67%      -3,229.93   Advertising-Web/Internet             2,590.94    0.10%      9,860.00     0.33%     -7,269.06      17,236.95     0.82%    -14,646.01
             0.00      0.00%       300.00    0.05%       -300.00           0.00      0.00%           0.00   Brochures                               45.07    0.00%        900.00     0.03%       -854.93           0.00     0.00%         45.07
         2,254.11      0.86%     6,859.00    1.13%     -4,604.89      14,173.65     11.72%     -11,919.54   Dues and Subscriptions              61,385.04    2.29%     67,474.00     2.23%     -6,088.96      81,186.63     3.87%    -19,801.59
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Meals and Entertainment                  0.00    0.00%          0.00     0.00%          0.00         145.46     0.01%       -145.46
             0.00      0.00%        50.00    0.01%        -50.00           0.00      0.00%           0.00   Office Equipment                       251.92    0.01%        500.00     0.02%       -248.08       1,960.66     0.09%     -1,708.74
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Operating Supplies                       0.00    0.00%          0.00     0.00%          0.00          20.61     0.00%        -20.61
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Promotion - Outside                    139.96    0.01%        900.00     0.03%       -760.04         607.81     0.03%       -467.85
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Software Expense/Maintenance         7,041.00    0.26%          0.00     0.00%      7,041.00           0.00     0.00%      7,041.00
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Trade Shows                              0.00    0.00%      2,079.00     0.07%     -2,079.00       2,277.86     0.11%     -2,277.86
           120.00      0.05%         0.00    0.00%        120.00           0.00      0.00%         120.00   Training                               120.00    0.00%          0.00     0.00%        120.00           0.00     0.00%        120.00
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Travel                                   0.00    0.00%      1,000.00     0.03%     -1,000.00       1,386.34     0.07%     -1,386.34
        2,824.11      1.08%     9,732.00    1.60%     -6,907.89      17,911.55     14.81%     -15,087.44    Total S&M Other Expenses           73,653.93    2.75%     92,177.00     3.05%    -18,523.07     119,135.38     5.67%    -45,481.45

        9,827.79      3.75%    32,097.00    5.29%    -22,269.21      32,465.21     26.84%     -22,637.42    Total S&M Expenses                177,153.61    6.60%    264,017.00     8.73%    -86,863.39     263,282.92     12.54%   -86,129.31




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                                                                                   Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
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                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget   %           Variance   PTD Last Year    %            Variance                                               YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                            R&M
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         3,444.23      1.31%     7,836.00    1.29%     -4,391.77           0.00      0.00%       3,444.23   Division Management                     3,444.23     0.13%     54,054.00     1.79%    -50,609.77      21,979.84     1.05%    -18,535.61
        3,444.23      1.31%     7,836.00    1.29%     -4,391.77            0.00     0.00%       3,444.23    Total R&M Management                   3,444.23     0.13%     54,054.00     1.79%    -50,609.77      21,979.84     1.05%    -18,535.61
         2,379.96      0.91%     8,865.00    1.46%     -6,485.04       9,146.55      7.56%      -6,766.59   Engineers 1                            75,978.85     2.83%     85,130.00     2.81%     -9,151.15      94,770.30     4.51%    -18,791.45
        2,379.96      0.91%     8,865.00    1.46%     -6,485.04       9,146.55      7.56%      -6,766.59    Total R&M Non-Management              75,978.85     2.83%     85,130.00     2.81%     -9,151.15      94,770.30     4.51%    -18,791.45

        5,824.19      2.22%    16,701.00    2.75%    -10,876.81       9,146.55      7.56%      -3,322.36    Total R&M Salaries and Wages          79,423.08     2.96%    139,184.00     4.60%    -59,760.92     116,750.14     5.56%    -37,327.06

                                                                                                            PR Taxes and Benefits
           159.56      0.06%     1,316.00    0.22%     -1,156.44         642.34      0.53%        -482.78   FICA                                    5,881.58     0.22%     11,057.00     0.37%     -5,175.42       9,275.50     0.44%     -3,393.92
            23.65      0.01%         9.00    0.00%         14.65           0.00      0.00%          23.65   Federal Unemployment Tax                  231.38     0.01%        154.00     0.01%         77.38         173.99     0.01%         57.39
           122.96      0.05%        24.00    0.00%         98.96           0.00      0.00%         122.96   State Unemployment Tax                  1,062.52     0.04%        526.00     0.02%        536.52         534.43     0.03%        528.09
          306.17      0.12%     1,349.00    0.22%     -1,042.83         642.34      0.53%        -336.17    Total Payroll Taxes                    7,175.48     0.27%     11,737.00     0.39%     -4,561.52       9,983.92     0.48%     -2,808.44
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Holiday                                   846.75     0.03%      1,200.00     0.04%       -353.25       2,183.12     0.10%     -1,336.37
             0.00      0.00%       501.00    0.08%       -501.00         182.48      0.15%        -182.48   Vacation                                  951.55     0.04%      4,174.00     0.14%     -3,222.45       3,043.82     0.14%     -2,092.27
             0.00     0.00%       501.00    0.08%       -501.00         182.48      0.15%        -182.48    Total Supplemental Pay                 1,798.30     0.07%      5,374.00     0.18%     -3,575.70       5,226.94     0.25%     -3,428.64
         1,822.19      0.69%       678.00    0.11%      1,144.19         715.62      0.59%       1,106.57   Worker's Compensation                   7,046.90     0.26%      6,780.00     0.22%        266.90       7,123.73     0.34%        -76.83
             0.00      0.00%       435.00    0.07%       -435.00          33.11      0.03%         -33.11   Group Insurance                         2,090.46     0.08%      4,335.00     0.14%     -2,244.54       4,982.19     0.24%     -2,891.73
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Employee Meals                              0.00     0.00%          0.00     0.00%          0.00           0.38     0.00%         -0.38
             0.00      0.00%       134.00    0.02%       -134.00           0.00      0.00%           0.00   401k Contribution                           0.00     0.00%        527.00     0.02%       -527.00         615.59     0.03%       -615.59
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Bonus and Incentive Pay                     0.00     0.00%          0.00     0.00%          0.00         163.95     0.01%       -163.95
        1,822.19      0.69%     1,247.00    0.21%        575.19         748.73      0.62%       1,073.46    Total Other Benefits                   9,137.36     0.34%     11,642.00     0.38%     -2,504.64      12,885.84     0.61%     -3,748.48
        2,128.36      0.81%     3,097.00    0.51%       -968.64       1,573.55      1.30%         554.81    Total R&M PR Taxes and Benefits       18,111.14     0.68%     28,753.00     0.95%    -10,641.86      28,096.70     1.34%     -9,985.56

        7,952.55      3.03%    19,798.00    3.26%    -11,845.45      10,720.10      8.86%      -2,767.55    Total R&M Payroll                     97,534.22     3.64%    167,937.00     5.55%    -70,402.78     144,846.84     6.90%    -47,312.62

                                                                                                            Other Expenses
             0.00      0.00%       750.00    0.12%       -750.00         526.79      0.44%        -526.79   Air Conditioning and Refrigeration     41,510.07     1.55%      9,750.00     0.32%     31,760.07      15,689.29     0.75%     25,820.78
         2,831.61      1.08%     1,244.00    0.20%      1,587.61           0.00      0.00%       2,831.61   Building                               23,575.78     0.88%      7,561.00     0.25%     16,014.78       5,741.74     0.27%     17,834.04
             0.00      0.00%     1,435.00    0.24%     -1,435.00       1,435.00      1.19%      -1,435.00   Contract Labor                         11,480.00     0.43%     14,350.00     0.47%     -2,870.00      14,350.00     0.68%     -2,870.00
             0.00      0.00%       124.00    0.02%       -124.00          75.87      0.06%         -75.87   Electric Bulbs                            813.43     0.03%        756.00     0.02%         57.43       1,288.06     0.06%       -474.63
             0.00      0.00%       332.00    0.05%       -332.00           0.00      0.00%           0.00   Electrical and Mechanical              11,092.44     0.41%      2,015.00     0.07%      9,077.44       1,383.68     0.07%      9,708.76
         1,806.01      0.69%     4,500.00    0.74%     -2,693.99       2,371.31      1.96%        -565.30   Elevator Maintenance Contracts         44,970.96     1.68%     33,725.00     1.11%     11,245.96      35,611.98     1.70%      9,358.98
           703.16      0.27%     1,700.00    0.28%       -996.84         755.41      0.62%         -52.25   Fire Safety Equipment                  29,802.24     1.11%     17,000.00     0.56%     12,802.24      15,856.91     0.76%     13,945.33
         2,252.43      0.86%       785.00    0.13%      1,467.43         631.40      0.52%       1,621.03   Grounds and Landscaping                16,162.77     0.60%     10,280.00     0.34%      5,882.77       8,468.98     0.40%      7,693.79
             0.00      0.00%       415.00    0.07%       -415.00       1,585.00      1.31%      -1,585.00   Kitchen Equipment Repairs              10,717.16     0.40%      2,216.00     0.07%      8,501.16       3,467.79     0.17%      7,249.37
           560.54      0.21%         0.00    0.00%        560.54           0.00      0.00%         560.54   Laundry Equipment Repairs               2,735.50     0.10%          0.00     0.00%      2,735.50         643.98     0.03%      2,091.52
            90.00      0.03%         0.00    0.00%         90.00           0.00      0.00%          90.00   Locks and Keys                             90.00     0.00%          0.00     0.00%         90.00           0.00     0.00%         90.00
             0.00      0.00%     1,036.00    0.17%     -1,036.00         271.92      0.22%        -271.92   Operating Supplies                      7,049.76     0.26%      6,300.00     0.21%        749.76       6,432.88     0.31%        616.88
           229.57      0.09%       311.00    0.05%        -81.43          55.19      0.05%         174.38   Painting and Decorating                 2,560.99     0.10%      1,889.00     0.06%        671.99       1,202.60     0.06%      1,358.39
           250.00      0.10%         0.00    0.00%        250.00           0.00      0.00%         250.00   Pest Control                            1,863.56     0.07%          0.00     0.00%      1,863.56           0.00     0.00%      1,863.56
             0.00      0.00%       580.00    0.10%       -580.00       5,053.00      4.18%      -5,053.00   Plumbing and Heating                   72,858.46     2.72%      3,527.00     0.12%     69,331.46      14,010.72     0.67%     58,847.74
             0.00      0.00%     3,550.00    0.58%     -3,550.00           0.00      0.00%           0.00   Pool Service- Contract                      0.00     0.00%     14,200.00     0.47%    -14,200.00      14,032.38     0.67%    -14,032.38
           203.00      0.08%         0.00    0.00%        203.00           0.00      0.00%         203.00   Software Expense/Maintenance              406.00     0.02%          0.00     0.00%        406.00           0.00     0.00%        406.00
             0.00      0.00%         0.00    0.00%          0.00         122.70      0.10%        -122.70   Travel                                    121.60     0.00%          0.00     0.00%        121.60         122.70     0.01%         -1.10
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Vehicle Maintenance & Repairs              83.45     0.00%          0.00     0.00%         83.45           0.00     0.00%         83.45
         1,800.00      0.69%     1,235.00    0.20%        565.00         928.88      0.77%         871.12   Waste Removal                          14,248.42     0.53%     10,925.00     0.36%      3,323.42       9,703.98     0.46%      4,544.44
       10,726.32      4.09%    17,997.00    2.97%     -7,270.68      13,812.47     11.42%      -3,086.15    Total R&M Other Expenses             292,142.59    10.89%    134,494.00     4.45%    157,648.59     148,007.67     7.05%    144,134.92

       18,678.87      7.12%    37,795.00    6.23%    -19,116.13      24,532.57     20.28%      -5,853.70    Total R&M Expenses                   389,676.81    14.53%    302,431.00    10.00%     87,245.81     292,854.51     13.95%    96,822.30




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                                                                                  Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year    %            Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           Utilities
         8,379.78      3.19%     9,258.00    1.53%      -878.22       8,413.67      6.95%         -33.89   Water                              91,909.17    3.43%     90,955.00     3.01%       954.17      83,111.32     3.96%     8,797.85
         8,295.59      3.16%    10,815.00    1.78%    -2,519.41       5,195.74      4.29%       3,099.85   Electricity                       117,075.02    4.36%    102,537.00     3.39%    14,538.02      94,248.27     4.49%    22,826.75
         1,757.05      0.67%     1,212.00    0.20%       545.05         881.18      0.73%         875.87   Gas - Natural HLP                  31,691.87    1.18%     21,471.00     0.71%    10,220.87      15,427.21     0.73%    16,264.66
       18,432.42      7.02%    21,285.00    3.51%    -2,852.58      14,490.59     11.98%       3,941.83    Total Utilities                  240,676.06    8.97%    214,963.00     7.10%    25,713.06     192,786.80     9.18%    47,889.26




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                                                                   Case 1:20-cv-06089-JGK Document 91 Filed 11/30/21 Page 629 of 756
                                                                                  Company: PSVA Associates LLC Property: Courtyard Alexandria Pentagon South
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year    %            Variance                                           YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                           Fixed
        10,145.82      3.87%         0.00    0.00%    10,145.82           0.00      0.00%      10,145.82   Personal Property Taxes            10,145.82     0.38%          0.00     0.00%     10,145.82           0.00      0.00%     10,145.82
        19,500.56      7.43%    20,822.00    3.43%    -1,321.44      20,822.00     17.21%      -1,321.44   Real Estate Taxes                 186,076.56     6.94%    208,220.00     6.88%    -22,143.44     208,220.00      9.92%    -22,143.44
       29,646.38     11.30%    20,822.00    3.43%     8,824.38      20,822.00     17.21%       8,824.38    Total Taxes                      196,222.38     7.31%    208,220.00     6.88%    -11,997.62     208,220.00      9.92%    -11,997.62
             0.00      0.00%       483.00    0.08%      -483.00         483.00      0.40%        -483.00   Insurance                           3,864.00     0.14%      4,830.00     0.16%       -966.00       4,830.00      0.23%       -966.00
         9,033.63      3.44%         0.00    0.00%     9,033.63           0.00      0.00%       9,033.63   Insurance - Automobile              9,033.63     0.34%          0.00     0.00%      9,033.63           0.00      0.00%      9,033.63
           761.09      0.29%         0.00    0.00%       761.09           0.00      0.00%         761.09   Insurance - Employment                761.09     0.03%          0.00     0.00%        761.09           0.00      0.00%        761.09
             0.00      0.00%     7,618.00    1.26%    -7,618.00       7,279.39      6.02%      -7,279.39   Insurance - General Liability      48,264.72     1.80%     76,180.00     2.52%    -27,915.28      55,168.44      2.63%     -6,903.72
         5,108.69      1.95%     9,122.00    1.50%    -4,013.31       9,416.96      7.78%      -4,308.27   Insurance - Property               65,353.47     2.44%     91,220.00     3.01%    -25,866.53      87,946.31      4.19%    -22,592.84
       14,903.41      5.68%    17,223.00    2.84%    -2,319.59      17,179.35     14.20%      -2,275.94    Total Insurance                  127,276.91     4.74%    172,230.00     5.69%    -44,953.09     147,944.75      7.04%    -20,667.84
        48,786.00     18.59%    47,411.00    7.81%     1,375.00      47,411.18     39.19%       1,374.82   Ground Lease Expense              476,861.44    17.78%    474,110.00    15.67%      2,751.44     474,111.80     22.58%      2,749.64
       48,786.00     18.59%    47,411.00    7.81%     1,375.00      47,411.18     39.19%       1,374.82    Total Leases & Rent              476,861.44    17.78%    474,110.00    15.67%      2,751.44     474,111.80     22.58%      2,749.64
         8,371.70      3.19%    18,098.00    2.98%    -9,726.30       3,629.28      3.00%       4,742.42   Management Fee - Base              81,458.70     3.04%     90,323.00     2.99%     -8,864.30      62,743.35      2.99%     18,715.35
        8,371.70      3.19%    18,098.00    2.98%    -9,726.30       3,629.28      3.00%       4,742.42    Total Management Fees             81,458.70     3.04%     90,323.00     2.99%     -8,864.30      62,743.35      2.99%     18,715.35
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00   Prior Owner's Expense              83,095.69     3.10%          0.00     0.00%     83,095.69       3,877.96      0.18%     79,217.73
             0.00     0.00%          0.00   0.00%          0.00           0.00     0.00%            0.00   Total Other Non-Operating         83,095.69     3.10%           0.00    0.00%     83,095.69       3,877.96      0.18%     79,217.73




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                                                                                            Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                             P&L - Dual Summary Pages
                                                                                                                  As of 10/31/2021
              PTD     %        PTD Budget      %           Variance   PTD Last Year     %            Variance                                                        YTD     %          YTD Budget %                Variance    YTD Last Year     %            Variance

                                                                                                                Statistics
           142.00                   142.00                     0.00         142.00                       0.00   # Rooms                                            142.00                    142.00                     0.00          142.00                      0.00
         4,402.00                 4,402.00                     0.00       4,402.00                       0.00   Available Rooms                                 43,168.00                 43,168.00                     0.00       43,310.00                   -142.00
         3,469.00                 3,698.00                  -229.00       2,400.00                   1,069.00   Room Nights Sold                                29,135.00                 31,244.00                -2,109.00        8,466.00                 20,669.00
          78.81%                   84.01%                   -5.20%         54.52%                     24.28%    Occupancy %                                       67.49%                    72.38%                   -4.89%          19.55%                    47.94%
           178.93                   175.66                     3.27         170.82                       8.11   ADR                                                167.20                    171.45                    -4.25          515.10                   -347.91
           141.01                   147.57                    -6.56          93.13                      47.88   RevPar                                             112.84                    124.09                   -11.24          100.69                     12.16

                                                                                                                Summary V.11
                                                                                                                Revenue
       620,718.38     98.57%    649,596.00    96.91%     -28,877.62     409,967.00     99.13%     210,751.38    Rooms                                        4,871,270.01    98.60%    5,356,656.25    97.73%    -485,386.24    4,360,849.77     97.80%     510,420.24
         6,634.13      1.05%     14,517.00     2.17%      -7,882.87         488.00      0.12%       6,146.13    F&B                                             33,501.47     0.68%       71,231.00     1.30%     -37,729.53       35,885.70      0.80%      -2,384.23
         2,388.78      0.38%      6,214.00     0.93%      -3,825.22       3,119.23      0.75%        -730.45    Other Departments                               35,907.49     0.73%       53,453.00     0.98%     -17,545.51       62,348.65      1.40%     -26,441.16

      629,741.29    100.00%    670,327.00    100.00%    -40,585.71     413,574.23     100.00%    216,167.06     Total Operating Revenue                     4,940,678.97    100.00%   5,481,340.25 100.00%      -540,661.28    4,459,084.12 100.00%        481,594.85

                                                                                                                Departmental Expenses
        86,419.84     13.92%    148,941.00    22.93%     -62,521.16     108,730.14     26.52%      -22,310.30   Rooms                                        1,110,426.66    22.80%    1,301,225.00    24.29%    -190,798.34    1,100,284.76     25.23%      10,141.90
         1,312.26     19.78%      6,777.00    46.68%      -5,464.74         405.00     82.99%          907.26   F&B                                             22,474.74    67.09%       39,328.00    55.21%     -16,853.26       18,902.16     52.67%       3,572.58
        -2,238.08    -93.69%      2,807.00    45.17%      -5,045.08       3,355.51    107.57%       -5,593.59   Other Departments                                9,242.68    25.74%       23,648.00    44.24%     -14,405.32       17,834.28     28.60%      -8,591.60

       85,494.02     13.58%    158,525.00    23.65%     -73,030.98     112,490.65     27.20%      -26,996.63    Total Departmental Expenses                 1,142,144.08    23.12%    1,364,201.00    24.89%    -222,056.92    1,137,021.20     25.50%        5,122.88

      544,247.27     86.42%    511,802.00    76.35%      32,445.27     301,083.58     72.80%     243,163.69     Total Departmental Profit                   3,798,534.89    76.88%    4,117,139.25    75.11%    -318,604.36    3,322,062.92     74.50%     476,471.97

                                                                                                                Undistributed Operating Expenses
        55,598.60      8.83%     52,624.00     7.85%       2,974.60      42,873.56     10.37%      12,725.04    A&G                                           447,774.58      9.06%     488,905.00     8.92%      -41,130.42      436,775.32      9.80%      10,999.26
        18,585.91      2.95%      5,975.00     0.89%      12,610.91       5,622.71      1.36%      12,963.20    IT                                             83,193.56      1.68%      59,720.00     1.09%       23,473.56       63,801.02      1.43%      19,392.54
         9,632.21      1.53%     12,799.00     1.91%      -3,166.79       9,963.46      2.41%        -331.25    S&M                                            75,921.67      1.54%     128,199.00     2.34%      -52,277.33      126,003.49      2.83%     -50,081.82
        44,624.43      7.09%     59,836.00     8.93%     -15,211.57      30,932.40      7.48%      13,692.03    Franchise Fees                                421,367.15      8.53%     494,109.00     9.01%      -72,741.85      363,533.16      8.15%      57,833.99
        19,965.89      3.17%     28,849.00     4.30%      -8,883.11      17,467.11      4.22%       2,498.78    R&M                                           190,521.05      3.86%     274,381.00     5.01%      -83,859.95      223,052.89      5.00%     -32,531.84
        20,814.53      3.31%     27,237.00     4.06%      -6,422.47      24,284.70      5.87%      -3,470.17    Utilities                                     225,501.17      4.56%     255,520.00     4.66%      -30,018.83      228,798.16      5.13%      -3,296.99

      169,221.57     26.87%    187,320.00    27.94%     -18,098.43     131,143.94     31.71%       38,077.63    Total Undistributed Expenses                1,444,279.18    29.23%    1,700,834.00    31.03%    -256,554.82    1,441,964.04     32.34%        2,315.14

      375,025.70     59.55%    324,482.00    48.41%      50,543.70     169,939.64     41.09%     205,086.06     Gross Operating Profit                   2,354,255.71       47.65%    2,416,305.25    44.08%     -62,049.54    1,880,098.88     42.16%     474,156.83
        19,427.51      3.08%     20,091.00     3.00%        -663.49      12,407.24      3.00%       7,020.27    Management Fees                             149,285.09        3.02%      164,352.00     3.00%     -15,066.91      133,720.85      3.00%      15,564.24
      355,598.19     56.47%    304,391.00    45.41%      51,207.19     157,532.40     38.09%     198,065.79     Income Before Non-Operating Income and Expenses
                                                                                                                                                         2,204,970.62       44.63%    2,251,953.25    41.08%     -46,982.63    1,746,378.03     39.16%     458,592.59

                                                                                                                Non-Operating Income and Expenses
        33,151.35      5.26%     14,284.00     2.13%     18,867.35       14,885.35      3.60%      18,266.00    Insurance                                      106,920.89     2.16%      142,840.00     2.61%    -35,919.11       131,180.54      2.94%     -24,259.65
       100,819.00     16.01%    100,819.00    15.04%          0.00       95,216.67     23.02%       5,602.33    Leases & Rent                                  985,461.60    19.95%      993,985.00    18.13%     -8,523.40       952,166.70     21.35%      33,294.90
       141,438.46     22.46%          0.00     0.00%    141,438.46        1,500.00      0.36%     139,938.46    Other                                          209,866.86     4.25%            0.00     0.00%    209,866.86        17,967.96      0.40%     191,898.90
      275,408.81     43.73%    115,103.00    17.17%    160,305.81      111,602.02     26.98%     163,806.79     Total Non-Operating Income and Expenses     1,302,249.35    26.36%    1,136,825.00    20.74%    165,424.35     1,101,315.20     24.70%     200,934.15

       80,189.38     12.73%    189,288.00    28.24%    -109,098.62      45,930.38     11.11%       34,259.00    EBITDA                                        902,721.27    18.27%    1,115,128.25    20.34%    -212,406.98      645,062.83     14.47%     257,658.44
             0.00      0.00%    109,290.00    16.30%    -109,290.00     108,513.87     26.24%     -108,513.87   Interest                                       861,390.96    17.43%    1,093,908.00    19.96%    -232,517.04    1,079,017.80     24.20%    -217,626.84
        47,123.00      7.48%     71,011.00    10.59%     -23,888.00      71,011.00     17.17%      -23,888.00   Taxes                                          615,247.15    12.45%      710,110.00    12.96%     -94,862.85    1,200,369.04     26.92%    -585,121.89
       47,123.00      7.48%    180,301.00    26.90%    -133,178.00     179,524.87     43.41%     -132,401.87    Interest, Taxes, Depreciation and Amortization
                                                                                                                                                            1,476,638.11    29.89%    1,804,018.00    32.91%    -327,379.89    2,279,386.84     51.12%    -802,748.73

       33,066.38      5.25%      8,987.00     1.34%      24,079.38    -133,594.49     -32.30%    166,660.87     Net Income                                   -573,916.84    -11.62%    -688,889.75 -12.57%      114,972.91     -1,634,324.01    -36.65%   1,060,407.17




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                                                                                         Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget    %          Variance   PTD Last Year    %            Variance                                             YTD     %         YTD Budget %               Variance   YTD Last Year     %         Variance

                                                                                                            Statistics
           142.00                  142.00                  0.00          142.00                      0.00   # Rooms                                142.00                   142.00                     0.00         142.00                    0.00
         4,402.00                4,402.00                  0.00        4,402.00                      0.00   Available Rooms                     43,168.00                43,168.00                     0.00      43,310.00                 -142.00
         3,469.00                3,698.00               -229.00        2,400.00                  1,069.00   Room Nights Sold                    29,135.00                31,244.00                -2,109.00       8,466.00               20,669.00
             0.79                    0.84                 -0.05            0.55                      0.24   Occupancy %                              0.67                     0.72                    -0.05           0.20                    0.48
           178.93                  175.66                  3.27          170.82                      8.11   ADR                                    167.20                   171.45                    -4.25         515.10                 -347.91
           141.01                  147.57                 -6.56           93.13                     47.88   RevPar                                 112.84                   124.09                   -11.24         100.69                   12.16

                                                                                                            Summary
                                                                                                            Revenue:
       620,718.38     98.57%   649,596.00   96.91%    -28,877.62     409,967.00    99.13%      210,751.38   Rooms                             4,871,270.01   98.60%    5,356,656.25    97.73%   -485,386.24   4,360,849.77    97.80%    510,420.24
           194.46      0.03%     4,942.00    0.74%     -4,747.54           0.00     0.00%          194.46   Food                                  3,803.25    0.08%       20,947.00     0.38%    -17,143.75       8,962.78     0.20%     -5,159.53
         1,689.70      0.27%     5,251.00    0.78%     -3,561.30           0.00     0.00%        1,689.70   Beverage                              9,201.64    0.19%       26,491.00     0.48%    -17,289.36       8,275.33     0.19%        926.31
         4,749.97      0.75%     4,324.00    0.65%        425.97         488.00     0.12%        4,261.97   Other F&B Revenue                    20,496.58    0.41%       23,793.00     0.43%     -3,296.42      18,647.59     0.42%      1,848.99
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Telephone                                 0.00    0.00%            0.00     0.00%          0.00           0.00     0.00%          0.00
         2,388.78      0.38%     6,214.00    0.93%     -3,825.22       3,119.23     0.75%         -730.45   Other                                35,907.49    0.73%       53,453.00     0.98%    -17,545.51      62,348.65     1.40%    -26,441.16

       629,741.29   100.00%    670,327.00   100.00%   -40,585.71     413,574.23    100.00%     216,167.06   Total Revenue                     4,940,678.97   100.00%   5,481,340.25   100.00%   -540,661.28   4,459,084.12    100.00%   481,594.85



                                                                                                            Cost of Sales:
             0.00      0.00%     1,850.00   37.43%     -1,850.00           0.00      0.00%           0.00   Food                                 1,314.54    34.56%       8,172.00     39.01%     -6,857.46       4,793.30    53.48%     -3,478.76
             0.00      0.00%     1,280.00   24.38%     -1,280.00           0.00      0.00%           0.00   Beverage                             2,880.54    31.30%       6,463.00     24.40%     -3,582.46       1,890.42    22.84%        990.12
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Other F&B                                0.00     0.00%           0.00      0.00%          0.00         385.98     2.07%       -385.98
             0.00      0.00%         0.00    0.00%          0.00           0.00      0.00%           0.00   Telephone                                0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         1,749.52     73.24%     2,807.00   45.17%     -1,057.48       3,355.51    107.57%      -1,605.99   Other                               13,230.28    36.85%      23,648.00     44.24%    -10,417.72      17,834.28    28.60%     -4,604.00

         1,749.52     73.24%     5,937.00   95.54%     -4,187.48       3,355.51    107.57%      -1,605.99   Total Cost of Sales                 17,425.36    48.53%      38,283.00     71.62%    -20,857.64      24,903.98    39.94%     -7,478.62



                                                                                                            Payroll:
        39,320.59      6.33%    72,837.00   11.21%    -33,516.41      57,875.56    14.12%      -18,554.97   Rooms                              540,838.40    11.10%     645,176.00     12.04%   -104,337.60     542,572.26    12.44%     -1,733.86
         1,278.60     19.27%     3,055.00   21.04%     -1,776.40           0.00     0.00%        1,278.60   F&B                                 12,920.39    38.57%      19,364.00     27.18%     -6,443.61       8,530.80    23.77%      4,389.59
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Other                                    0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         7,829.64      1.24%    13,978.00    2.09%     -6,148.36      11,494.63     2.78%       -3,664.99   A&G                                 95,994.75     1.94%     137,489.00      2.51%    -41,494.25     118,818.58     2.66%    -22,823.83
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   IT                                       0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         5,394.77      0.86%     5,591.00    0.83%       -196.23       4,364.45     1.06%        1,030.32   S&M                                 29,315.70     0.59%      54,518.00      0.99%    -25,202.30      53,261.12     1.19%    -23,945.42
         5,529.32      0.88%    10,947.00    1.63%     -5,417.68       7,262.95     1.76%       -1,733.63   R&M                                 58,274.19     1.18%      97,836.00      1.78%    -39,561.81      87,075.80     1.95%    -28,801.61
        59,352.92      9.42%   106,408.00   15.87%    -47,055.08      80,997.59    19.58%      -21,644.67   Total Salaries and Wages           737,343.43    14.92%     954,383.00     17.41%   -217,039.57     810,258.56    18.17%    -72,915.13

        15,921.84      2.53%    19,320.00    2.88%     -3,398.16      12,695.15     3.07%        3,226.69   Total Taxes and Benefits           141,030.67     2.85%      189,647.00     3.46%    -48,616.33     161,373.81     3.62%    -20,343.14
        75,274.76     11.95%   125,728.00   18.76%    -50,453.24      93,692.74    22.65%      -18,417.98   Total Labor Costs                  878,374.10    17.78%    1,144,030.00    20.87%   -265,655.90     971,632.37    21.79%    -93,258.27



                                                                                                            Direct Expenses:
        37,598.09      6.06%    67,233.00   10.35%    -29,634.91      42,899.34    10.46%       -5,301.25   Rooms                              486,494.83      9.99%    558,106.00     10.42%    -71,611.17     454,484.40    10.42%     32,010.43
           155.99      2.35%       250.00    1.72%        -94.01         405.00    82.99%         -249.01   F&B                                  3,220.67      9.61%      2,500.00      3.51%        720.67       2,239.42     6.24%        981.25
        -3,987.60   -166.93%         0.00    0.00%     -3,987.60           0.00     0.00%       -3,987.60   Telephone                           -3,987.60    -11.11%          0.00      0.00%     -3,987.60           0.00     0.00%     -3,987.60
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Other                                    0.00      0.00%          0.00      0.00%          0.00           0.00     0.00%          0.00
        44,624.43      7.09%    59,836.00    8.93%    -15,211.57      30,932.40     7.48%       13,692.03   Franchise Fees                     421,367.15      8.53%    494,109.00      9.01%    -72,741.85     363,533.16     8.15%     57,833.99
        45,645.81      7.25%    33,162.00    4.95%     12,483.81      28,002.31     6.77%       17,643.50   A&G                                320,392.86      6.48%    305,150.00      5.57%     15,242.86     281,485.16     6.31%     38,907.70
        18,585.91      2.95%     5,975.00    0.89%     12,610.91       5,622.71     1.36%       12,963.20   IT                                  83,193.56      1.68%     59,720.00      1.09%     23,473.56      63,801.02     1.43%     19,392.54
         1,637.00      0.26%     4,655.00    0.69%     -3,018.00       4,651.45     1.12%       -3,014.45   S&M                                 35,749.39      0.72%     52,312.00      0.95%    -16,562.61      62,898.08     1.41%    -27,148.69
        12,617.15      2.00%    15,832.00    2.36%     -3,214.85       9,788.43     2.37%        2,828.72   R&M                                118,691.77      2.40%    155,305.00      2.83%    -36,613.23     125,209.49     2.81%     -6,517.72
        20,814.53      3.31%    27,237.00    4.06%     -6,422.47      24,284.70     5.87%       -3,470.17   Utilities                          225,501.17      4.56%    255,520.00      4.66%    -30,018.83     228,798.16     5.13%     -3,296.99

       177,691.31     28.22%   214,180.00   31.95%    -36,488.69     146,586.34    35.44%       31,104.97   Total Direct Expense              1,690,623.80   34.22%    1,882,722.00    34.35%   -192,098.20   1,582,448.89    35.49%    108,174.91

       375,025.70     59.55%   324,482.00   48.41%    50,543.70      169,939.64    41.09%      205,086.06   Gross Operating Profit            2,354,255.71   47.65%    2,416,305.25    44.08%    -62,049.54   1,880,098.88    42.16%    474,156.83

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                                                                                        Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year    %            Variance                                             YTD     %         YTD Budget %               Variance   YTD Last Year    %            Variance




                                                                                                           Fixed Costs
        47,123.00      7.48%    71,011.00   10.59%   -23,888.00      71,011.00    17.17%      -23,888.00   Taxes                              615,247.15    12.45%     710,110.00     12.96%    -94,862.85   1,200,369.04    26.92%    -585,121.89
        33,151.35      5.26%    14,284.00    2.13%    18,867.35      14,885.35     3.60%       18,266.00   Insurance                          106,920.89     2.16%     142,840.00      2.61%    -35,919.11     131,180.54     2.94%     -24,259.65
       100,819.00     16.01%   100,819.00   15.04%         0.00      95,216.67    23.02%        5,602.33   Leases & Rent                      985,461.60    19.95%     993,985.00     18.13%     -8,523.40     952,166.70    21.35%      33,294.90
        19,427.51      3.08%    20,091.00    3.00%      -663.49      12,407.24     3.00%        7,020.27   Management Fees                    149,285.09     3.02%     164,352.00      3.00%    -15,066.91     133,720.85     3.00%      15,564.24

       200,520.86     31.84%   206,205.00   30.76%    -5,684.14     193,520.26    46.79%        7,000.60   Total Fixed Expenses              1,856,914.73   37.58%    2,011,287.00    36.69%   -154,372.27   2,417,437.13    54.21%    -560,522.40

       174,504.84     27.71%   118,277.00   17.64%    56,227.84     -23,580.62     -5.70%     198,085.46   Net Operating Profit               497,340.98    10.07%     405,018.25     7.39%     92,322.73     -537,338.25    -12.05%   1,034,679.23



             0.00      0.00%    83,534.00   12.46%   -83,534.00      84,513.87    20.43%      -84,513.87   Interest - First Mortgage          669,390.96    13.55%     835,340.00     15.24%   -165,949.04     836,458.70    18.76%    -167,067.74
             0.00      0.00%    25,756.00    3.84%   -25,756.00      24,000.00     5.80%      -24,000.00   Interest - Notes Payable           192,000.00     3.89%     257,560.00      4.70%    -65,560.00     242,559.10     5.44%     -50,559.10
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Interest Income                          0.00     0.00%       1,008.00      0.02%     -1,008.00           0.00     0.00%           0.00
       136,919.66     21.74%         0.00    0.00%   136,919.66       1,500.00     0.36%      135,419.66   Prior Owner's Expense              205,348.06     4.16%           0.00      0.00%    205,348.06      17,967.96     0.40%     187,380.10



        37,585.18      5.97%     8,987.00   1.34%     28,598.18    -133,594.49    -32.30%     171,179.67   Net Operating Income              -569,398.04    -11.52%   -688,889.75    -12.57%   119,491.71    -1,634,324.01   -36.65%   1,064,925.97

         4,518.80      0.72%         0.00   0.00%      4,518.80           0.00     0.00%        4,518.80   Capital Reserve                       4,518.80    0.09%            0.00    0.00%       4,518.80           0.00     0.00%        4,518.80

        33,066.38      5.25%     8,987.00   1.34%     24,079.38    -133,594.49    -32.30%     166,660.87   Adjusted NOI                      -573,916.84    -11.62%   -688,889.75    -12.57%   114,972.91    -1,634,324.01   -36.65%   1,060,407.17




        33,066.38      5.25%     8,987.00   1.34%     24,079.38    -133,594.49    -32.30%     166,660.87   Net Profit/(Loss)                 -573,916.84    -11.62%   -688,889.75    -12.57%   114,972.91    -1,634,324.01   -36.65%   1,060,407.17




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                                                                                           Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                              YTD     %          YTD Budget %                Variance   YTD Last Year    %          Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
             0.00      0.00%         0.00      0.00%          0.00       8,976.33      2.19%      -8,976.33   Corporate Transient                  315,537.56     6.48%            0.00     0.00%    315,537.56       181,759.45    4.17%    133,778.11
        74,044.56     11.93%         0.00      0.00%     74,044.56      85,115.08     20.76%     -11,070.52   Advanced Purchase                    783,587.15    16.09%            0.00     0.00%    783,587.15       630,006.75   14.45%    153,580.40
             0.00      0.00%   105,436.00     16.23%   -105,436.00      47,874.76     11.68%     -47,874.76   AAA/AARP Transient                   760,599.64    15.61%    1,062,890.50    19.84%   -302,290.86       718,936.40   16.49%     41,663.24
             0.00      0.00%         0.00      0.00%          0.00           0.00      0.00%           0.00   FIT(Flexible Independent Travel)           0.00     0.00%            0.00     0.00%          0.00           278.67    0.01%       -278.67
         5,801.00      0.93%         0.00      0.00%      5,801.00      14,619.60      3.57%      -8,818.60   Consortia Transient                   35,666.00     0.73%            0.00     0.00%     35,666.00       212,308.49    4.87%   -176,642.49
         2,158.25      0.35%         0.00      0.00%      2,158.25           0.00      0.00%       2,158.25   Employee                              11,096.55     0.23%            0.00     0.00%     11,096.55         5,255.50    0.12%      5,841.05
        16,949.60      2.73%         0.00      0.00%     16,949.60         327.00      0.08%      16,622.60   Travel Agent/Friends & Family         25,827.60     0.53%            0.00     0.00%     25,827.60        10,540.50    0.24%     15,287.10
             0.00      0.00%         0.00      0.00%          0.00           0.00      0.00%           0.00   Leisure Package Transient                  0.00     0.00%            0.00     0.00%          0.00           477.00    0.01%       -477.00
        17,242.49      2.78%         0.00      0.00%     17,242.49       9,264.84      2.26%       7,977.65   Member Reward Stay                   112,551.03     2.31%            0.00     0.00%    112,551.03        66,812.64    1.53%     45,738.39
        79,008.02     12.73%         0.00      0.00%     79,008.02           0.00      0.00%      79,008.02   Extended Stay Transient              123,575.48     2.54%            0.00     0.00%    123,575.48             0.00    0.00%    123,575.48
       129,073.56     20.79%   175,035.00     26.95%    -45,961.44      64,701.57     15.78%      64,371.99   Internet/E-Commerce                  765,171.11    15.71%    1,484,345.75    27.71%   -719,174.64     1,027,583.75   23.56%   -262,412.64
             0.00      0.00%         0.00      0.00%          0.00           0.00      0.00%           0.00   E-Commerce Opaque                      9,825.00     0.20%            0.00     0.00%      9,825.00           238.50    0.01%      9,586.50
           109.00      0.02%         0.00      0.00%        109.00           0.00      0.00%         109.00   Other Transient                        6,896.05     0.14%            0.00     0.00%      6,896.05             0.00    0.00%      6,896.05
        20,536.30      3.31%    12,375.00      1.91%      8,161.30         834.00      0.20%      19,702.30   Government Transient                  51,766.30     1.06%       95,810.00     1.79%    -44,043.70        30,769.00    0.71%     20,997.30
        97,571.37     15.72%   218,400.00     33.62%   -120,828.63      57,830.98     14.11%      39,740.39   Rack Transient                       858,639.11    17.63%    1,603,375.00    29.93%   -744,735.89       696,628.69   15.97%    162,010.42
       136,927.40     22.06%   116,350.00     17.91%     20,577.40     103,362.78     25.21%      33,564.62   Local Negotiated Transient           833,020.92    17.10%      977,245.00    18.24%   -144,224.08       674,517.84   15.47%    158,503.08

      579,421.55     93.35%    627,596.00    96.61%    -48,174.45     392,906.94     95.84%     186,514.61    Total Transient Room Revenue       4,693,759.50   96.36%    5,223,666.25    97.52%    -529,906.75    4,256,113.18    97.60%   437,646.32

                                                                                                              Group Room Revenue
        22,151.00      3.57%    12,285.00      1.89%      9,866.00           0.00      0.00%      22,151.00   Corporate Group                       25,539.00     0.52%      42,525.00     0.79%      -16,986.00           0.00     0.00%    25,539.00
         7,459.00      1.20%     1,650.00      0.25%      5,809.00           0.00      0.00%       7,459.00   Government Group                      13,909.00     0.29%       1,650.00     0.03%       12,259.00           0.00     0.00%    13,909.00
         4,209.00      0.68%     5,565.00      0.86%     -1,356.00           0.00      0.00%       4,209.00   SMERF Group                           16,108.00     0.33%      53,270.00     0.99%      -37,162.00      10,420.39     0.24%     5,687.61
             0.00      0.00%         0.00      0.00%          0.00           0.00      0.00%           0.00   Sports Group                               0.00     0.00%      10,545.00     0.20%      -10,545.00           0.00     0.00%         0.00

       33,819.00      5.45%     19,500.00     3.00%    14,319.00             0.00     0.00%      33,819.00    Total Group Room Revenue             55,556.00     1.14%     107,990.00      2.02%     -52,434.00      10,420.39     0.24%     45,135.61

                                                                                                              Contract Room Revenue

             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00    Total Contract Room Revenue                0.00    0.00%            0.00     0.00%           0.00            0.00    0.00%          0.00

                                                                                                              Other Room Revenue
         3,707.86      0.60%          0.00     0.00%      3,707.86       3,526.49      0.86%         181.37   No-Show Rooms                         36,897.64     0.76%           0.00     0.00%      36,897.64       28,725.59     0.66%     8,172.05
             0.00      0.00%          0.00     0.00%          0.00      10,686.20      2.61%     -10,686.20   Early/Late Departure Fees             61,848.60     1.27%           0.00     0.00%      61,848.60       41,895.20     0.96%    19,953.40
         3,025.00      0.49%      2,500.00     0.38%        525.00       2,875.00      0.70%         150.00   Pet/Smoking/Damage Fees               22,668.00     0.47%      25,000.00     0.47%      -2,332.00       30,202.04     0.69%    -7,534.04

        6,732.86      1.08%      2,500.00     0.38%      4,232.86      17,087.69      4.17%      -10,354.83   Total Other Room Revenue            121,414.24     2.49%      25,000.00      0.47%     96,414.24      100,822.83     2.31%     20,591.41

           744.97      0.12%          0.00     0.00%       744.97          -27.63     -0.01%         772.60   Less: Allowances                         540.27     0.01%            0.00    0.00%         540.27        -6,506.63   -0.15%      7,046.90

      620,718.38    100.00%    649,596.00    100.00%   -28,877.62     409,967.00     100.00%    210,751.38    Total Room Revenue                 4,871,270.01   100.00%   5,356,656.25 100.00%      -485,386.24    4,360,849.77 100.00%     510,420.24

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         5,901.58      0.95%          0.00     0.00%      5,901.58           0.00      0.00%       5,901.58   Front Office Management               25,121.63     0.52%           0.00      0.00%      25,121.63           0.00     0.00%     25,121.63
         4,966.16      0.80%      5,827.00     0.90%       -860.84       5,530.56      1.35%        -564.40   Housekeeping Management               51,091.78     1.05%      57,314.00      1.07%      -6,222.22      47,278.80     1.08%      3,812.98
       10,867.74      1.75%      5,827.00     0.90%      5,040.74       5,530.56      1.35%       5,337.18    Total Rooms Management               76,213.41     1.56%      57,314.00      1.07%      18,899.41      47,278.80     1.08%     28,934.61
         2,295.09      0.37%      9,104.00     1.40%     -6,808.91      10,577.30      2.58%      -8,282.21   Front Office Agents                   73,039.32     1.50%      85,408.00      1.59%     -12,368.68      86,955.46     1.99%    -13,916.14
             0.00      0.00%      3,009.00     0.46%     -3,009.00           0.00      0.00%           0.00   Front Office Supervisors              22,493.36     0.46%      28,904.00      0.54%      -6,410.64       4,363.88     0.10%     18,129.48
         5,997.21      0.97%      4,700.00     0.72%      1,297.21       3,707.47      0.90%       2,289.74   Night Auditors                        41,438.33     0.85%      45,311.00      0.85%      -3,872.67      47,730.07     1.09%     -6,291.74
         7,526.62      1.21%      4,294.00     0.66%      3,232.62       2,797.21      0.68%       4,729.41   Breakfast Attendant                   33,972.72     0.70%      38,632.00      0.72%      -4,659.28      44,290.15     1.02%    -10,317.43
       15,818.92      2.55%     21,107.00     3.25%     -5,288.08      17,081.98      4.17%      -1,263.06    Total Rooms Front Office            170,943.73     3.51%     198,255.00      3.70%     -27,311.27     183,339.56     4.20%    -12,395.83
         2,556.36      0.41%      4,974.00     0.77%     -2,417.64       7,333.24      1.79%      -4,776.88   Housekeeping Supervisors              49,291.86     1.01%      42,552.00      0.79%       6,739.86      52,992.31     1.22%     -3,700.45
        10,077.57      1.62%     34,669.00     5.34%    -24,591.43      21,684.19      5.29%     -11,606.62   Room Attendants                      218,511.52     4.49%     286,557.00      5.35%     -68,045.48     220,134.34     5.05%     -1,622.82
             0.00      0.00%      3,720.00     0.57%     -3,720.00       4,768.15      1.16%      -4,768.15   Housepersons                          22,392.56     0.46%      35,623.00      0.67%     -13,230.44      28,434.23     0.65%     -6,041.67
             0.00      0.00%      2,540.00     0.39%     -2,540.00       1,477.44      0.36%      -1,477.44   Laundry Attendants                     3,485.32     0.07%      24,875.00      0.46%     -21,389.68      10,393.02     0.24%     -6,907.70
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                                                                                         Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget     %          Variance   PTD Last Year    %            Variance                                                 YTD     %         YTD Budget %                Variance   YTD Last Year    %          Variance

       12,633.93      2.04%     45,903.00    7.07%    -33,269.07      35,263.02     8.60%      -22,629.09    Total Rooms Housekeeping               293,681.26    6.03%     389,607.00      7.27%     -95,925.74     311,953.90     7.15%    -18,272.64

       39,320.59      6.33%     72,837.00    11.21%   -33,516.41      57,875.56     14.12%     -18,554.97    Total Rooms Salary and Wages           540,838.40    11.10%    645,176.00    12.04%     -104,337.60     542,572.26     12.44%    -1,733.86

                                                                                                             PR Taxes and Benefits
         2,929.85      0.47%      3,904.00    0.60%       -974.15       2,508.95     0.61%          420.90   FICA                                     25,967.92    0.53%      36,403.00      0.68%     -10,435.08      28,288.93     0.65%     -2,321.01
           159.68      0.03%         26.00    0.00%        133.68          31.21     0.01%          128.47   Federal Unemployment Tax                  1,038.94    0.02%         988.00      0.02%          50.94         743.43     0.02%        295.51
           904.78      0.15%        204.00    0.03%        700.78         132.31     0.03%          772.47   State Unemployment Tax                    5,019.85    0.10%       6,904.00      0.13%      -1,884.15       3,673.83     0.08%      1,346.02
        3,994.31      0.64%      4,134.00    0.64%       -139.69       2,672.47     0.65%        1,321.84    Total Payroll Taxes                     32,026.71    0.66%      44,295.00      0.83%     -12,268.29      32,706.19     0.75%       -679.48
             0.00      0.00%          0.00    0.00%          0.00           0.00     0.00%            0.00   Holiday                                   3,399.97    0.07%       6,800.00      0.13%      -3,400.03       6,843.60     0.16%     -3,443.63
             0.00      0.00%      1,000.00    0.15%     -1,000.00       1,336.20     0.33%       -1,336.20   Vacation                                 13,093.97    0.27%      10,000.00      0.19%       3,093.97      14,307.03     0.33%     -1,213.06
             0.00     0.00%      1,000.00    0.15%     -1,000.00       1,336.20     0.33%       -1,336.20    Total Supplemental Pay                  16,493.94    0.34%      16,800.00      0.31%        -306.06      21,150.63     0.49%     -4,656.69
         2,305.05      0.37%      1,579.00    0.24%        726.05       1,540.26     0.38%          764.79   Worker's Compensation                    16,518.39    0.34%      15,790.00      0.29%         728.39      15,283.87     0.35%      1,234.52
         3,201.80      0.52%      2,078.00    0.32%      1,123.80       2,406.31     0.59%          795.49   Group Insurance                          17,480.22    0.36%      20,748.00      0.39%      -3,267.78      31,744.72     0.73%    -14,264.50
             0.00      0.00%         80.00    0.01%        -80.00           0.00     0.00%            0.00   401k Contribution                           190.17    0.00%         310.00      0.01%        -119.83         425.23     0.01%       -235.06
             0.00      0.00%          0.00    0.00%          0.00           0.00     0.00%            0.00   Bonus and Incentive Pay                       0.00    0.00%           0.00      0.00%           0.00       1,041.46     0.02%     -1,041.46
             0.00      0.00%          0.00    0.00%          0.00           0.00     0.00%            0.00   Other Benefits                              384.00    0.01%           0.00      0.00%         384.00         876.00     0.02%       -492.00
        5,506.85      0.89%      3,737.00    0.58%      1,769.85       3,946.57     0.96%        1,560.28    Total Other Benefits                    34,572.78    0.71%      36,848.00      0.69%      -2,275.22      49,371.28     1.13%    -14,798.50

        9,501.16      1.53%      8,871.00    1.37%       630.16        7,955.24     1.94%       1,545.92     Total Rooms PR Taxes and Benefits       83,093.43    1.71%      97,943.00      1.83%     -14,849.57     103,228.10     2.37%    -20,134.67

       48,821.75      7.87%     81,708.00    12.58%   -32,886.25      65,830.80     16.06%     -17,009.05    Total Rooms Labor Costs                623,931.83    12.81%    743,119.00    13.87%     -119,187.17     645,800.36     14.81%   -21,868.53

                                                                                                             Other Expenses
        12,827.92      2.07%    11,094.00     1.71%     1,733.92        6,273.92     1.53%       6,554.00    Breakfast /Comp Cost                     91,306.04    1.87%      86,309.00     1.61%        4,997.04      64,845.79     1.49%     26,460.25
         1,151.29      0.19%     1,442.00     0.22%      -290.71          713.20     0.17%         438.09    Cleaning Supplies                        11,450.87    0.24%      12,185.00     0.23%         -734.13      10,681.40     0.24%        769.47
           509.01      0.08%       375.00     0.06%       134.01            0.00     0.00%         509.01    Contract Cleaning                         2,693.58    0.06%       3,750.00     0.07%       -1,056.42       1,350.45     0.03%      1,343.13
        17,151.34      2.76%         0.00     0.00%    17,151.34            0.00     0.00%      17,151.34    Contract Labor                           48,338.53    0.99%           0.00     0.00%       48,338.53           0.00     0.00%     48,338.53
          -404.25     -0.07%     3,513.00     0.54%    -3,917.25        2,549.23     0.62%      -2,953.48    Guest Supplies                           22,112.02    0.45%      29,682.00     0.55%       -7,569.98      25,334.14     0.58%     -3,222.12
           172.64      0.03%     1,553.00     0.24%    -1,380.36        1,675.21     0.41%      -1,502.57    Laundry                                  11,710.53    0.24%      13,122.00     0.24%       -1,411.47      12,290.34     0.28%       -579.81
           600.43      0.10%     2,958.00     0.46%    -2,357.57        2,856.77     0.70%      -2,256.34    Linen                                    29,028.98    0.60%      24,995.00     0.47%        4,033.98      19,173.52     0.44%      9,855.46
         1,618.57      0.26%     2,589.00     0.40%      -970.43        2,027.09     0.49%        -408.52    Operating Supplies                       16,459.50    0.34%      21,799.00     0.41%       -5,339.50      16,041.27     0.37%        418.23
             0.00      0.00%        85.00     0.01%       -85.00            0.00     0.00%           0.00    Printing and Stationery                       0.00    0.00%         850.00     0.02%         -850.00           0.00     0.00%          0.00
         2,988.72      0.48%    12,943.00     1.99%    -9,954.28        7,514.47     1.83%      -4,525.75    Reservation Expense                      72,067.53    1.48%     109,357.00     2.04%      -37,289.47      88,561.37     2.03%    -16,493.84
             0.00      0.00%       444.00     0.07%      -444.00            0.00     0.00%           0.00    Rooms Promotion                            -548.08   -0.01%       3,750.00     0.07%       -4,298.08       1,138.79     0.03%     -1,686.87
         2,116.31      0.34%     2,100.00     0.32%        16.31        2,082.91     0.51%          33.40    Television Cable                         22,514.25    0.46%      21,000.00     0.39%        1,514.25      31,233.73     0.72%     -8,719.48
             0.00      0.00%         0.00     0.00%         0.00            0.00     0.00%           0.00    Training                                      0.00    0.00%           0.00     0.00%            0.00         303.00     0.01%       -303.00
             0.00      0.00%       185.00     0.03%      -185.00            0.00     0.00%           0.00    Transportation                               40.01    0.00%       1,562.00     0.03%       -1,521.99          17.00     0.00%         23.01
             0.00      0.00%         0.00     0.00%         0.00            0.00     0.00%           0.00    Travel Agent Comm - Group Rooms          12,000.00    0.25%           0.00     0.00%       12,000.00           0.00     0.00%     12,000.00
        -2,701.18     -0.44%    27,502.00     4.23%   -30,203.18       17,021.43     4.15%     -19,722.61    Travel Agent Comm - Transient Rooms     143,718.45    2.95%     226,595.00     4.23%      -82,876.55     177,968.96     4.08%    -34,250.51
         1,567.29      0.25%       450.00     0.07%     1,117.29            0.00     0.00%       1,567.29    Uniforms                                  3,587.15    0.07%       3,150.00     0.06%          437.15       1,555.93     0.04%      2,031.22
             0.00      0.00%         0.00     0.00%         0.00          185.11     0.05%        -185.11    Walked Guests                                15.47    0.00%           0.00     0.00%           15.47       3,988.71     0.09%     -3,973.24

       37,598.09      6.06%     67,233.00    10.35%   -29,634.91      42,899.34     10.46%      -5,301.25    Total Rooms Other Expenses             486,494.83    9.99%     558,106.00    10.42%      -71,611.17     454,484.40     10.42%    32,010.43

       86,419.84     13.92%    148,941.00    22.93%   -62,521.16     108,730.14     26.52%     -22,310.30    Total Rooms Expenses                  1,110,426.66   22.80%   1,301,225.00   24.29%     -190,798.34    1,100,284.76    25.23%    10,141.90

      534,298.54     86.08%    500,655.00    77.07%   33,643.54      301,236.86     73.48%    233,061.68     Total Rooms Profit (Loss)             3,760,843.35   77.20%   4,055,431.25   75.71%     -294,587.90    3,260,565.01    74.77%   500,278.34




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                                                                           Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                            P&L - Dual Summary Pages
                                                                                                 As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                                     YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
            17.00                0.00          17.00          54.00                  -37.00   Room Stat - Corporate Transient               1,755.00             0.00       1,755.00         129.00          1,626.00
           395.00                0.00         395.00         543.00                 -148.00   Room Stat - Advanced Purchase                 4,514.00             0.00       4,514.00       2,441.00          2,073.00
             0.00              613.00        -613.00         161.00                 -161.00   Room Stat - AAA/AARP Transient                1,441.00         6,366.00      -4,925.00         770.00            671.00
            42.00                0.00          42.00          77.00                  -35.00   Room Stat - Consortia Rate Transient            195.00             0.00         195.00         261.00            -66.00
            15.00                0.00          15.00           0.00                   15.00   Room Stat - Employee                            106.00             0.00         106.00          20.00             86.00
           134.00                0.00         134.00           3.00                  131.00   Room Stat - Travel Agent/Friends & Family       216.00             0.00         216.00          39.00            177.00
           175.00                0.00         175.00         102.00                   73.00   Room Stat - Member Reward Stay                1,312.00             0.00       1,312.00         228.00          1,084.00
           425.00                0.00         425.00         125.00                  300.00   Room Stat - Extended Stay Transient           3,568.00             0.00       3,568.00         562.00          3,006.00
           559.00            1,050.00        -491.00         397.00                  162.00   Room Stat - Internet                          4,268.00         8,973.00      -4,705.00       1,932.00          2,336.00
             2.00                0.00           2.00           3.00                   -1.00   Room Stat - Other Transient                     162.00             0.00         162.00           7.00            155.00
             0.00                0.00           0.00           0.00                    0.00   Room Stat - E-Commerce Opaque                    82.00             0.00          82.00           0.00             82.00
           128.00               75.00          53.00           6.00                  122.00   Room Stat - Government Rate Transient           324.00           605.00        -281.00          52.00            272.00
           475.00            1,200.00        -725.00         321.00                  154.00   Room Stat - Rack Rate Transient               4,867.00         9,011.00      -4,144.00         685.00          4,182.00
           862.00              650.00         212.00         608.00                  254.00   Room Stat - Local Negotiated Transient        5,617.00         5,659.00         -42.00       1,249.00          4,368.00
        3,229.00            3,588.00        -359.00       2,400.00                  829.00    Total Transient Rooms Sold                  28,427.00        30,614.00      -2,187.00       8,375.00         20,052.00

                                                                                              Group Rooms
           174.00              65.00         109.00            0.00                  174.00   Room Stat - Corporate Group Rooms               531.00           225.00        306.00           70.00            461.00
            45.00              10.00          35.00            0.00                   45.00   Room Stat - Government Group                     95.00            10.00         85.00            0.00             95.00
            21.00              35.00         -14.00            0.00                   21.00   Room Stat - SMERF Group                          82.00           330.00       -248.00           21.00             61.00
             0.00               0.00           0.00            0.00                    0.00   Room Stat - Sports Group                          0.00            65.00        -65.00            0.00              0.00
          240.00              110.00        130.00             0.00                 240.00    Total Group Rooms Sold                         708.00           630.00          78.00           91.00           617.00

                                                                                              Contract Rooms
             0.00               0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                        0.00             0.00           0.00            0.00             0.00

        3,469.00            3,698.00        -229.00       2,400.00                1,069.00    Total Rooms Sold                            29,135.00        31,244.00      -2,109.00       8,466.00         20,669.00
             2.00               0.00            2.00          0.00                     2.00   Room Stat-Comp Rooms                             12.00            0.00           12.00          0.00              12.00
        3,471.00            3,698.00        -227.00       2,400.00                1,071.00    Total Rooms Occupied                        29,147.00        31,244.00      -2,097.00       8,466.00         20,681.00
           619.00               0.00          619.00          0.00                   619.00   Room Stat-Out of Order                        1,159.00            0.00        1,159.00          0.00           1,159.00

                                                                                              ADR
             0.00                0.00          0.00          166.23                 -166.23   Corporate Transient ADR                         179.79             0.00        179.79        1,408.99         -1,229.19
           187.45                0.00        187.45          156.75                   30.70   Advanced Purchase ADR                           173.59             0.00        173.59          258.09            -84.50
             0.00              172.00       -172.00          297.36                 -297.36   AAA/AARP ADR                                    527.83           166.96        360.86          933.68           -405.86
             0.00                0.00          0.00            0.00                    0.00   FIT ADR                                           0.00             0.00           0.00           0.00              0.00
           138.12                0.00        138.12          189.86                  -51.75   Consortia ADR                                   182.90             0.00        182.90          813.44           -630.54
           143.88                0.00        143.88            0.00                  143.88   Employee ADR                                    104.68             0.00        104.68          262.78           -158.09
             0.00                0.00          0.00            0.00                    0.00   Leisure ADR                                       0.00             0.00           0.00           0.00              0.00
           126.49                0.00        126.49          109.00                   17.49   Travel Agent/Friends & Family ADR               119.57             0.00        119.57          270.27           -150.70
             0.00                0.00          0.00            0.00                    0.00   Leisure Package ADR                               0.00             0.00           0.00           0.00              0.00
            98.53                0.00         98.53           90.83                    7.70   Member Reward Stay ADR                           85.79             0.00         85.79          293.04           -207.25
             0.00                0.00          0.00            0.00                    0.00   Golf Pkg ADR                                      0.00             0.00           0.00           0.00              0.00
           185.90                0.00        185.90            0.00                  185.90   Extended Stay ADR                                34.63             0.00         34.63            0.00             34.63
           230.90              166.70         64.20          162.98                   67.92   Internet ADR                                    179.28           165.42         13.86          531.88           -352.59
             0.00                0.00          0.00            0.00                    0.00   E-Commerce Opaque ADR                           119.82             0.00        119.82            0.00            119.82
            54.50                0.00         54.50            0.00                   54.50   Other Transient ADR                              42.57             0.00         42.57            0.00             42.57
             0.00                0.00          0.00            0.00                    0.00   Airline Distressed Passenger ADR                  0.00             0.00           0.00           0.00              0.00
           160.44              165.00         -4.56          139.00                   21.44   Government ADR                                  159.77           158.36           1.41         591.71           -431.94
           205.41              182.00         23.41          180.16                   25.25   Rack ADR                                        176.42           177.94          -1.51       1,016.98           -840.56
           158.85              179.00        -20.15          170.00                  -11.16   Local Negotiated ADR                            148.30           172.69        -24.39          540.05           -391.74
          179.44              174.92           4.53         163.71                    15.73   Total Transient ADR                            165.12           170.63          -5.51         508.19           -343.08

           127.30             189.00         -61.70            0.00                 127.30    Corporate Group ADR                             48.10           189.00        -140.90            0.00            48.10
             0.00               0.00           0.00            0.00                   0.00    Leisure Group ADR                                0.00             0.00           0.00            0.00             0.00
           165.76             165.00           0.76            0.00                 165.76    Government Group ADR                           146.41           165.00         -18.59            0.00           146.41
             0.00               0.00           0.00            0.00                   0.00    Tour & Travel Group ADR                          0.00             0.00           0.00            0.00             0.00
             0.00               0.00           0.00            0.00                   0.00    Association Group ADR                            0.00             0.00           0.00            0.00             0.00
             0.00               0.00           0.00            0.00                   0.00    City Wide Group ADR                              0.00             0.00           0.00            0.00             0.00
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                                                                           Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                            P&L - Dual Summary Pages
                                                                                                 As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                           YTD     %   YTD Budget %   Variance   YTD Last Year   %   Variance

           200.43              159.00         41.43            0.00                  200.43   SMERF Group ADR                       196.44            161.42       35.01          496.21        -299.77
             0.00                0.00          0.00            0.00                    0.00   Sports Group ADR                        0.00            162.23     -162.23            0.00           0.00
             0.00                0.00          0.00            0.00                    0.00   Other Group ADR                         0.00              0.00        0.00            0.00           0.00
          140.91              177.27         -36.36            0.00                 140.91    Total Group ADR                        78.47           171.41       -92.94         114.51          -36.04

             0.00               0.00           0.00            0.00                   0.00    Airline Crew ADR                        0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Other Contract ADR                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Contract ADR                      0.00             0.00         0.00            0.00           0.00

          178.93              175.66           3.27         170.82                    8.11    Total ADR                             167.20           171.45        -4.25         515.10         -347.91




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                                                                                           Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget     %          Variance   PTD Last Year     %            Variance                                                 YTD      %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              F&B Summary
                                                                                                              Revenue
           194.46      2.93%     1,442.00      9.93%    -1,247.54           0.00       0.00%         194.46   Outlet Food Revenue                         720.65      2.15%     7,947.00  11.16%        -7,226.35       1,861.33   5.19%       -1,140.68
             0.00      0.00%     3,500.00     24.11%    -3,500.00           0.00       0.00%           0.00   Banquet and Catering Food Revenue         3,082.60      9.20%    13,000.00  18.25%        -9,917.40       7,101.45  19.79%       -4,018.85
         1,689.70     25.47%     5,251.00     36.17%    -3,561.30           0.00       0.00%       1,689.70   Outlet Beverage Revenue                   9,201.64     27.47%    26,491.00  37.19%       -17,289.36       8,287.33  23.09%          914.31
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Banquet and Catering Beverage Revenue         0.00      0.00%         0.00   0.00%             0.00         -12.00  -0.03%           12.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Outlet Other Revenue                          0.00      0.00%         0.00   0.00%             0.00           0.00   0.00%            0.00
         4,749.97     71.60%     4,324.00     29.79%       425.97         488.00     100.00%       4,261.97   Banquet and Catering Other Revenue       20,496.58     61.18%    23,793.00  33.40%        -3,296.42      18,647.59  51.96%        1,848.99
        6,634.13    100.00%    14,517.00    100.00%    -7,882.87         488.00     100.00%       6,146.13    Total F&B Revenue                       33,501.47    100.00%    71,231.00 100.00%       -37,729.53      35,885.70 100.00%       -2,384.23

                                                                                                              Cost of Sales
             0.00      0.00%     1,850.00     12.74%    -1,850.00           0.00       0.00%          0.00    Food Purchases                            1,314.54      3.92%     8,172.00    11.47%      -6,857.46       4,793.30     13.36%    -3,478.76
             0.00      0.00%     1,280.00      8.82%    -1,280.00           0.00       0.00%          0.00    Beverage Purchases                        2,880.54      8.60%     6,463.00     9.07%      -3,582.46       1,890.42      5.27%       990.12
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00    Cedit Employee Meals                          0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00    Credit House Charges                          0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00    Credit In-House Promotions                    0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00    Audio Visual Cost of Sales                    0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%         0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%          0.00    Other Cost of Sales                           0.00      0.00%         0.00     0.00%           0.00         385.98      1.08%      -385.98
             0.00     0.00%     3,130.00     21.56%    -3,130.00            0.00      0.00%           0.00    Total F&B Cost of Sales                  4,195.08     12.52%    14,635.00    20.55%     -10,439.92       7,069.70     19.70%    -2,874.62

        6,634.13    100.00%    11,387.00     78.44%    -4,752.87         488.00     100.00%       6,146.13    F&B Gross Profit                        29,306.39     87.48%    56,596.00    79.45%     -27,289.61      28,816.00     80.30%      490.39

                                                                                                              Expenses
                                                                                                              Payroll
                                                                                                              Salaries and Wages
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Management                                    0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%        0.00
         1,278.60     19.27%     3,055.00     21.04%    -1,776.40           0.00       0.00%       1,278.60   Non-Management                           12,920.39     38.57%    19,364.00    27.18%      -6,443.61       8,530.80     23.77%    4,389.59
        1,278.60     19.27%     3,055.00     21.04%    -1,776.40            0.00      0.00%       1,278.60    Total F&B Salaries and Wages            12,920.39     38.57%    19,364.00    27.18%      -6,443.61       8,530.80     23.77%    4,389.59
                                                                                                              PR Taxes and Benefits
           204.64      3.08%       239.00      1.65%      -34.36            0.00       0.00%         204.64   Payroll Taxes                             1,762.54      5.26%     1,808.00      2.54%        -45.46         736.95      2.05%    1,025.59
             0.00      0.00%       100.00      0.69%     -100.00            0.00       0.00%           0.00   Supplemental Pay                            106.01      0.32%     1,000.00      1.40%       -893.99         -75.75     -0.21%      181.76
          -326.97     -4.93%         3.00      0.02%     -329.97            0.00       0.00%        -326.97   Other Benefits                              270.05      0.81%        21.00      0.03%        249.05         401.04      1.12%     -130.99
         -122.33     -1.84%       342.00      2.36%     -464.33             0.00      0.00%        -122.33    Total F&B PR Taxes and Benefits          2,138.60      6.38%     2,829.00      3.97%       -690.40       1,062.24      2.96%    1,076.36

        1,156.27     17.43%     3,397.00     23.40%    -2,240.73            0.00      0.00%       1,156.27    Total F&B Payroll                       15,058.99     44.95%    22,193.00    31.16%      -7,134.01       9,593.04     26.73%    5,465.95

                                                                                                              Other Expenses
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Audio Visual Supplies                         0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Banquet Expense                             128.03     0.38%          0.00     0.00%        128.03            0.00     0.00%       128.03
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Bar Expense/Promos                            0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Bar Supplies                                  0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    China                                         0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Cleaning Supplies                             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Communication Expense                         0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Contract Cleaning                             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Contract Labor                                0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Decorations & Plants                          0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Dues and Subscriptions                        0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
           155.99      2.35%      250.00      1.72%       -94.01           80.40     16.48%          75.59    Equipment Rental                          1,697.30     5.07%      2,500.00     3.51%       -802.70        1,366.93     3.81%       330.37
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Food and Beverage Advertising                 0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Glassware                                     0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Guest Loss/Damage                             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Guest Supplies                              156.67     0.47%          0.00     0.00%        156.67            0.00     0.00%       156.67
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    In-House Entertainment                        0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Kitchen/Cooking Fuel                          0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Kitchen Equipment                           146.02     0.44%          0.00     0.00%        146.02            0.00     0.00%       146.02
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Laundry - Outside Expense                     0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Laundry Allocation                            0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Licenses/Permits                              0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Linen                                         0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Linen Rental                                  0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%         0.00
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                                                                                       Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget    %        Variance   PTD Last Year    %            Variance                                            YTD     %       YTD Budget %              Variance   YTD Last Year    %        Variance

            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Maintenance Contracts                    0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Meals and Entertainment                  0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00          324.60     66.52%        -324.60   Menus                                1,025.38    3.06%        0.00       0.00%     1,025.38         597.50     1.67%      427.88
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Miscellaneous Expense                   67.27    0.20%        0.00       0.00%        67.27           0.00     0.00%       67.27
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Music and Entertainment                  0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Office Equipment                         0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Office Supplies                          0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Operating Supplies                       0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Paper/Plastic Supplies                   0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Printing and Stationery                  0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Silverware                               0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Software Expense/Maintenance             0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Television Cable                         0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Training                                 0.00    0.00%        0.00       0.00%         0.00         274.99     0.77%     -274.99
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Travel                                   0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Uniforms                                 0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
            0.00       0.00%        0.00     0.00%       0.00            0.00      0.00%           0.00   Utensils                                 0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%        0.00
          155.99      2.35%       250.00    1.72%      -94.01         405.00     82.99%        -249.01    Total F&B Other Expenses            3,220.67    9.61%     2,500.00      3.51%       720.67       2,239.42     6.24%      981.25

        1,312.26     19.78%     3,647.00    25.12%   -2,334.74        405.00     82.99%         907.26    Total F&B Expenses                 18,279.66    54.56%   24,693.00   34.67%       -6,413.34     11,832.46     32.97%   6,447.20

        5,321.87     80.22%     7,740.00    53.32%   -2,418.13          83.00    17.01%       5,238.87    Total F&B Profit (Loss)            11,026.73    32.91%   31,903.00   44.79%      -20,876.27     16,983.54     47.33%   -5,956.81




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                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget    %        Variance    PTD Last Year    %           Variance                                                YTD     %       YTD Budget %               Variance   YTD Last Year    %         Variance

                                                                                                          Food Admin
                                                                                                          Cost of Sales
             0.00      0.00%     1,850.00   12.74%   -1,850.00            0.00     0.00%           0.00   Food Purchases                           1,314.54    3.92%     8,172.00     11.47%    -6,857.46        4,793.30    13.36%    -3,478.76
             0.00      0.00%     1,280.00    8.82%   -1,280.00            0.00     0.00%           0.00   Beverage Purchases                       2,880.54    8.60%     6,463.00      9.07%    -3,582.46        1,890.42     5.27%       990.12
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00   Other Cost of Sales                          0.00    0.00%         0.00      0.00%         0.00          385.98     1.08%      -385.98

             0.00     0.00%     3,130.00    21.56%   -3,130.00            0.00    0.00%           0.00    Total Food Admin Cost of Sales           4,195.08   12.52%   14,635.00    20.55%     -10,439.92       7,069.70     19.70%    -2,874.62

                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
             0.00     0.00%         0.00    0.00%        0.00             0.00    0.00%           0.00    Total Food Admin Management                  0.00   0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00             0.00    0.00%           0.00    Total Food Admin Non-Management              0.00   0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00             0.00    0.00%           0.00    Total Food Admin Salaries and Wages          0.00   0.00%         0.00      0.00%          0.00            0.00    0.00%         0.00

                                                                                                          PR Taxes and Benefits

             0.00      0.00%       194.00    1.34%     -194.00            0.00     0.00%          0.00    FICA                                       444.39    1.33%     1,309.00      1.84%       -864.61         483.91      1.35%       -39.52
             0.00      0.00%        20.00    0.14%      -20.00            0.00     0.00%          0.00    Federal Unemployment Tax                    27.54    0.08%       138.00      0.19%       -110.46          37.97      0.11%       -10.43
             0.00      0.00%        25.00    0.17%      -25.00            0.00     0.00%          0.00    State Unemployment Tax                     185.91    0.55%       361.00      0.51%       -175.09         215.07      0.60%       -29.16
             0.00     0.00%       239.00    1.65%     -239.00             0.00    0.00%           0.00    Total Payroll Taxes                       657.84    1.96%     1,808.00      2.54%     -1,150.16         736.95      2.05%       -79.11
             0.00      0.00%       100.00    0.69%     -100.00            0.00     0.00%          0.00    Vacation                                   106.01    0.32%     1,000.00      1.40%       -893.99         -75.75     -0.21%      181.76
             0.00     0.00%       100.00    0.69%     -100.00             0.00    0.00%           0.00    Total Supplemental Pay                    106.01    0.32%     1,000.00      1.40%       -893.99         -75.75     -0.21%      181.76
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00    Worker's Compensation                      173.51    0.52%         0.00      0.00%        173.51         394.54      1.10%     -221.03
             0.00      0.00%         3.00    0.02%        -3.00           0.00     0.00%          0.00    Group Insurance                              2.76    0.01%        21.00      0.03%        -18.24           6.50      0.02%        -3.74
             0.00     0.00%          3.00   0.02%        -3.00            0.00    0.00%           0.00    Total Other Benefits                      176.27    0.53%         21.00     0.03%        155.27         401.04      1.12%     -224.77

             0.00     0.00%       342.00    2.36%     -342.00             0.00    0.00%           0.00    Total Food Admin PR Taxes and Benefits    940.12    2.81%     2,829.00      3.97%     -1,888.88       1,062.24     2.96%      -122.12

             0.00     0.00%       342.00    2.36%     -342.00             0.00    0.00%           0.00    Total Food Admin Payroll                  940.12    2.81%     2,829.00      3.97%     -1,888.88       1,062.24     2.96%      -122.12

                                                                                                          Other Expenses
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%           0.00   Banquet Expense                            128.03    0.38%         0.00     0.00%        128.03            0.00     0.00%       128.03
           155.99      2.35%      250.00     1.72%      -94.01           80.40    16.48%          75.59   Equipment Rental                         1,697.30    5.07%     2,500.00     3.51%       -802.70        1,366.93     3.81%       330.37
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%           0.00   Guest Supplies                             156.67    0.47%         0.00     0.00%        156.67            0.00     0.00%       156.67
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%           0.00   Kitchen Equipment                          146.02    0.44%         0.00     0.00%        146.02            0.00     0.00%       146.02
             0.00      0.00%        0.00     0.00%        0.00          324.60    66.52%        -324.60   Menus                                    1,025.38    3.06%         0.00     0.00%      1,025.38          597.50     1.67%       427.88
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%           0.00   Miscellaneous Expense                       67.27    0.20%         0.00     0.00%         67.27            0.00     0.00%        67.27
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%           0.00   Training                                     0.00    0.00%         0.00     0.00%          0.00          274.99     0.77%      -274.99

          155.99      2.35%       250.00    1.72%      -94.01          405.00     82.99%       -249.01    Total Food Admin Other Expenses          3,220.67   9.61%     2,500.00      3.51%       720.67        2,239.42     6.24%       981.25

          155.99      2.35%       592.00    4.08%     -436.01          405.00     82.99%       -249.01    Total Food Admin Expenses                4,160.79   12.42%    5,329.00      7.48%     -1,168.21       3,301.66     9.20%       859.13

          155.99      2.35%     3,722.00    25.64%   -3,566.01         405.00     82.99%       -249.01    Departmental Costs                       8,355.87   24.94%   19,964.00    28.03%     -11,608.13      10,371.36     28.90%    -2,015.49




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              PTD     %        PTD Budget     %         Variance   PTD Last Year   %            Variance                                                   YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                           Restaurant 1
                                                                                                           Food Revenue
           194.46     10.32%         0.00     0.00%      194.46            0.00    0.00%         194.46    Food-Dinner                                  397.21      4.00%         0.00      0.00%        397.21           0.00     0.00%       397.21
             0.00      0.00%         0.00     0.00%        0.00            0.00    0.00%           0.00    Food-Brunch                                    4.00      0.04%         0.00      0.00%          4.00           0.00     0.00%         4.00
             0.00      0.00%     1,442.00    21.54%   -1,442.00            0.00    0.00%           0.00    Food-Late Night                              319.44      3.22%     7,947.00     23.08%     -7,627.56       1,861.33    18.34%    -1,541.89

          194.46     10.32%     1,442.00    21.54%    -1,247.54            0.00    0.00%         194.46    Restaurant 1 Food Revenue                   720.65      7.26%     7,947.00    23.08%      -7,226.35       1,861.33     18.34%    -1,140.68
            0.00       0.00%        0.00      0.00%        0.00            0.00     0.00%          0.00    Less: Allowances                              0.00       0.00%        0.00      0.00%          0.00           0.00       0.00%        0.00

          194.46     10.32%     1,442.00    21.54%    -1,247.54            0.00    0.00%         194.46    Total Restaurant 1 Food Revenue             720.65      7.26%     7,947.00    23.08%      -7,226.35       1,861.33     18.34%    -1,140.68

                                                                                                           Beverage Revenue
         1,074.00     57.00%     2,404.00    35.92%   -1,330.00            0.00    0.00%        1,074.00   Liquor                                     5,784.38     58.30%    12,000.00     34.85%     -6,215.62       2,916.56    28.74%     2,867.82
           497.70     26.41%     1,590.00    23.76%   -1,092.30            0.00    0.00%          497.70   Beer                                       2,348.93     23.67%     8,092.00     23.50%     -5,743.07       3,225.65    31.78%      -876.72
           118.00      6.26%     1,257.00    18.78%   -1,139.00            0.00    0.00%          118.00   Wine                                       1,062.33     10.71%     6,399.00     18.58%     -5,336.67       2,500.90    24.64%    -1,438.57

        1,689.70     89.68%     5,251.00    78.46%    -3,561.30            0.00    0.00%       1,689.70    Restaurant 1 Beverage Revenue              9,195.64    92.68%    26,491.00    76.92%     -17,295.36       8,643.11     85.17%      552.53
            0.00       0.00%        0.00      0.00%        0.00            0.00     0.00%          0.00    Beverage-Adjustments-A&G                       6.00      0.06%        0.00      0.00%          6.00         -355.78     -3.51%      361.78
            0.00       0.00%        0.00      0.00%        0.00            0.00     0.00%          0.00    Less: Allowances                               6.00      0.06%        0.00      0.00%          6.00         -355.78     -3.51%      361.78

        1,689.70     89.68%     5,251.00    78.46%    -3,561.30            0.00    0.00%       1,689.70    Total Restaurant 1 Beverage Revenue        9,201.64    92.74%    26,491.00    76.92%     -17,289.36       8,287.33     81.66%      914.31

        1,884.16    100.00%     6,693.00    100.00%   -4,808.84            0.00    0.00%       1,884.16    Total Restaurant 1 Revenue                 9,922.29    100.00%   34,438.00 100.00%       -24,515.71      10,148.66 100.00%        -226.37

                                                                                                           Cost of Sales

             0.00     0.00%         0.00     0.00%         0.00            0.00    0.00%           0.00    Total Restaurant 1 Cost of Sales               0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

        1,884.16    100.00%     6,693.00    100.00%   -4,808.84            0.00    0.00%       1,884.16    Restaurant 1 Gross Profit                  9,922.29    100.00%   34,438.00 100.00%       -24,515.71      10,148.66 100.00%        -226.37

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%          0.00    0.00%          0.00           0.00    0.00%           0.00    Total Restaurant 1 Management                   0.00    0.00%          0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00      0.00%     2,430.00    36.31%    -2,430.00           0.00     0.00%          0.00    Cashiers                                    4,284.00    43.18%    16,426.00    47.70%     -12,142.00       6,807.87     67.08%    -2,523.87
             0.00     0.00%     2,430.00    36.31%    -2,430.00            0.00    0.00%           0.00    Total Restaurant 1 Non-Management          4,284.00    43.18%    16,426.00    47.70%     -12,142.00       6,807.87     67.08%    -2,523.87

             0.00     0.00%     2,430.00    36.31%    -2,430.00            0.00    0.00%           0.00    Total Restaurant 1 Salaries and Wages      4,284.00    43.18%    16,426.00    47.70%     -12,142.00       6,807.87     67.08%    -2,523.87

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00     0.00%         0.00            0.00    0.00%            0.00   Total Payroll Taxes                            0.00     0.00%         0.00      0.00%           0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%         0.00            0.00    0.00%            0.00   Total Supplemental Pay                         0.00     0.00%         0.00      0.00%           0.00           0.00     0.00%         0.00
           210.47     11.17%        0.00      0.00%      210.47            0.00     0.00%         210.47   Worker's Compensation                        210.47      2.12%        0.00       0.00%        210.47           0.00      0.00%      210.47
          210.47     11.17%         0.00     0.00%      210.47             0.00    0.00%         210.47    Total Other Benefits                        210.47      2.12%         0.00      0.00%        210.47            0.00     0.00%      210.47

          210.47     11.17%         0.00     0.00%      210.47             0.00    0.00%         210.47    Total Restaurant 1 PR Taxes and Benefits    210.47      2.12%         0.00      0.00%        210.47            0.00     0.00%      210.47

          210.47     11.17%     2,430.00    36.31%    -2,219.53            0.00    0.00%         210.47    Total Restaurant 1 Payroll                 4,494.47    45.30%    16,426.00    47.70%     -11,931.53       6,807.87     67.08%    -2,313.40

                                                                                                           Other Expenses
             0.00     0.00%         0.00     0.00%         0.00            0.00    0.00%           0.00    Total Restaurant 1 Other Expenses              0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

          210.47     11.17%     2,430.00    36.31%    -2,219.53            0.00    0.00%         210.47    Total Restaurant 1 Expenses                4,494.47    45.30%    16,426.00    47.70%     -11,931.53       6,807.87     67.08%    -2,313.40

        1,673.69     88.83%     4,263.00    63.69%    -2,589.31            0.00    0.00%       1,673.69    Total Restaurant 1 Profit (Loss)           5,427.82    54.70%    18,012.00    52.30%     -12,584.18       3,340.79     32.92%    2,087.03




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              PTD     %        PTD Budget     %        Variance   PTD Last Year     %           Variance                                            YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                           Banquets
                                                                                                           Food Revenue
             0.00      0.00%     3,500.00    44.73%   -3,500.00           0.00      0.00%           0.00   Food-Lunch                           1,732.60     7.35%    13,000.00     35.33%   -11,267.40        7,101.45    27.59%    -5,368.85
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Food-Reception                       1,350.00     5.73%         0.00      0.00%     1,350.00            0.00     0.00%     1,350.00

             0.00     0.00%     3,500.00    44.73%    -3,500.00           0.00     0.00%           0.00    Banquets Food Revenue                3,082.60   13.07%    13,000.00    35.33%      -9,917.40       7,101.45     27.59%    -4,018.85
             0.00      0.00%        0.00      0.00%        0.00           0.00      0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00      0.00%          0.00           0.00       0.00%        0.00

             0.00     0.00%     3,500.00    44.73%    -3,500.00           0.00     0.00%           0.00    Total Banquets Food Revenue          3,082.60   13.07%    13,000.00    35.33%      -9,917.40       7,101.45     27.59%    -4,018.85

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Banquets Beverage Revenue                0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00
             0.00      0.00%        0.00      0.00%       0.00            0.00      0.00%          0.00    Beverage-Adjustments-A&G                 0.00     0.00%        0.00       0.00%         0.00          -12.00     -0.05%       12.00
             0.00      0.00%        0.00      0.00%       0.00            0.00      0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00       0.00%         0.00          -12.00     -0.05%       12.00

             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Beverage Revenue          0.00    0.00%         0.00      0.00%          0.00          -12.00    -0.05%        12.00

                                                                                                           Other Revenue
             0.00     0.00%        771.00     9.85%     -771.00           0.00      0.00%           0.00   Audio/Visual Income                  1,625.00     6.89%     3,653.00      9.93%    -2,028.00          905.00     3.52%       720.00
            -0.03     0.00%          0.00     0.00%       -0.03           0.00      0.00%          -0.03   Other Revenue                           -0.03     0.00%         0.00      0.00%        -0.03            0.00     0.00%        -0.03
             0.00     0.00%      1,249.00    15.96%   -1,249.00          88.00     18.03%         -88.00   Setup Fee                            1,381.60     5.86%     5,874.00     15.96%    -4,492.40        3,838.13    14.91%    -2,456.53
         4,750.00   100.00%      2,304.00    29.45%    2,446.00         400.00     81.97%       4,350.00   Public Room Rental                  17,490.01    74.18%    14,266.00     38.77%     3,224.01       13,904.46    54.03%     3,585.55

        4,749.97    100.00%     4,324.00    55.27%      425.97         488.00     100.00%      4,261.97    Total Banquets Other Revenue        20,496.58   86.93%    23,793.00    64.67%      -3,296.42      18,647.59     72.45%    1,848.99

        4,749.97    100.00%     7,824.00    100.00%   -3,074.03        488.00     100.00%      4,261.97    Total Banquets Revenue              23,579.18   100.00%   36,793.00 100.00%       -13,213.82      25,737.04 100.00%       -2,157.86

                                                                                                           Cost of Sales

             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Cost of Sales             0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

        4,749.97    100.00%     7,824.00    100.00%   -3,074.03        488.00     100.00%      4,261.97    Gross Profit                        23,579.18   100.00%   36,793.00 100.00%       -13,213.82      25,737.04 100.00%       -2,157.86

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Management                0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

             0.00      0.00%       625.00     7.99%     -625.00           0.00      0.00%          0.00    Servers                                  0.00     0.00%     2,938.00      7.99%     -2,938.00       1,722.93      6.69%    -1,722.93
             0.00     0.00%       625.00     7.99%     -625.00            0.00     0.00%           0.00    Total Banquets Non-Management            0.00    0.00%     2,938.00      7.99%     -2,938.00       1,722.93      6.69%    -1,722.93

             0.00                 625.00               -625.00            0.00                     0.00    Total Banquets Salaries and Wages        0.00              2,938.00                -2,938.00       1,722.93               -1,722.93

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Payroll Taxes                      0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Supplemental Pay                   0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Other Benefits                     0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

             0.00                   0.00                  0.00            0.00                     0.00    Total Banquet Benefits                   0.00                  0.00                     0.00            0.00                   0.00

             0.00     0.00%       625.00     7.99%     -625.00            0.00     0.00%           0.00    Total Banquets Payroll                   0.00    0.00%     2,938.00      7.99%     -2,938.00       1,722.93      6.69%    -1,722.93

                                                                                                           Other Expenses
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Other Expenses            0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

             0.00     0.00%       625.00     7.99%     -625.00            0.00     0.00%           0.00    Total Banquets Expenses                  0.00    0.00%     2,938.00      7.99%     -2,938.00       1,722.93      6.69%    -1,722.93


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              PTD     %       PTD Budget    %        Variance   PTD Last Year     %           Variance                                           YTD      %        YTD Budget %           Variance   YTD Last Year    %       Variance

        4,749.97    100.00%    7,199.00    92.01%   -2,449.03        488.00     100.00%      4,261.97    Total Banquets Profit (Loss)       23,579.18    100.00%   33,855.00   92.01%   -10,275.82     24,014.11     93.31%   -434.93




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              PTD     %        PTD Budget   %         Variance   PTD Last Year   %            Variance                                                   YTD    %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                         Restaurant 5
                                                                                                         Food Revenue

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Restaurant 5 Food Revenue                      0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Less: Allowances                               0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Restaurant 5 Food Revenue                0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
                                                                                                         Beverage Revenue

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Restaurant 5 Beverage Revenue                  0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Less: Allowances                               0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Restaurant 5 Beverage Revenue            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Restaurant 5 Revenue                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Restaurant 5 Cost of Sales               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Restaurant 5 Gross Profit                      0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%         0.00           0.00    0.00%            0.00   Total Restaurant 5 Management                   0.00   0.00%         0.00      0.00%         0.00           0.00    0.00%         0.00
         1,278.60      0.00%        0.00     0.00%    1,278.60           0.00     0.00%       1,278.60   Cashiers                                    2,918.86    0.00%        0.00       0.00%    2,918.86           0.00     0.00%    2,918.86
             0.00      0.00%        0.00     0.00%        0.00           0.00     0.00%           0.00   Servers                                     5,717.53    0.00%        0.00       0.00%    5,717.53           0.00     0.00%    5,717.53
        1,278.60      0.00%         0.00    0.00%    1,278.60            0.00    0.00%       1,278.60    Total Restaurant 5 Non-Management          8,636.39    0.00%         0.00      0.00%    8,636.39            0.00    0.00%    8,636.39

        1,278.60      0.00%         0.00    0.00%    1,278.60            0.00    0.00%       1,278.60    Total Restaurant 5 Salaries and Wages      8,636.39    0.00%         0.00      0.00%    8,636.39            0.00    0.00%    8,636.39

                                                                                                         PR Taxes and Benefits
           138.06      0.00%        0.00     0.00%      138.06           0.00     0.00%         138.06   FICA                                          729.08    0.00%        0.00       0.00%      729.08           0.00     0.00%      729.08
             9.99      0.00%        0.00     0.00%        9.99           0.00     0.00%           9.99   Federal Unemployment Tax                       56.35    0.00%        0.00       0.00%       56.35           0.00     0.00%       56.35
            56.59      0.00%        0.00     0.00%       56.59           0.00     0.00%          56.59   State Unemployment Tax                        319.27    0.00%        0.00       0.00%      319.27           0.00     0.00%      319.27
          204.64      0.00%         0.00    0.00%      204.64            0.00    0.00%         204.64    Total Payroll Taxes                        1,104.70    0.00%         0.00      0.00%    1,104.70            0.00    0.00%    1,104.70
             0.00     0.00%         0.00    0.00%         0.00           0.00    0.00%            0.00   Total Supplemental Pay                          0.00   0.00%         0.00      0.00%         0.00           0.00    0.00%         0.00
          -116.69      0.00%        0.00     0.00%     -116.69           0.00     0.00%        -116.69   Group Insurance                              -116.69    0.00%        0.00       0.00%     -116.69           0.00     0.00%     -116.69
          -420.75      0.00%        0.00     0.00%     -420.75           0.00     0.00%        -420.75   Bonus and Incentive Pay                         0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
         -537.44      0.00%         0.00    0.00%     -537.44            0.00    0.00%        -537.44    Total Other Benefits                        -116.69    0.00%         0.00      0.00%     -116.69            0.00    0.00%     -116.69

         -332.80      0.00%         0.00    0.00%     -332.80            0.00    0.00%        -332.80    Total Restaurant 5 PR Taxes and Benefits     988.01    0.00%         0.00      0.00%      988.01            0.00    0.00%      988.01

          945.80      0.00%         0.00    0.00%     945.80             0.00    0.00%         945.80    Total Restaurant 5 Payroll                 9,624.40    0.00%         0.00      0.00%    9,624.40            0.00    0.00%    9,624.40

                                                                                                         Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Restaurant 5 Other Expenses              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

          945.80      0.00%         0.00    0.00%     945.80             0.00    0.00%         945.80    Total Restaurant 5 Expenses                9,624.40    0.00%         0.00      0.00%    9,624.40            0.00    0.00%    9,624.40

         -945.80      0.00%         0.00    0.00%     -945.80            0.00    0.00%        -945.80    Total Restaurant 5 Profit (Loss)           -9,624.40   0.00%         0.00      0.00%    -9,624.40           0.00    0.00%    -9,624.40




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              PTD     %        PTD Budget   %          Variance   PTD Last Year   %             Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                           Telephone

             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%            0.00    Telephone Revenue                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%           0.00    Less: Adjustments                      0.00     0.00%        0.00       0.00%        0.00            0.00     0.00%        0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%            0.00    Total Telephone Revenue                0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                           Cost of Sales
             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%            0.00    Total Telephone Cost of Sales          0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%            0.00    Gross Profit                           0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                           Other Expenses
        -3,987.60      0.00%        0.00     0.00%    -3,987.60           0.00     0.00%       -3,987.60   Telephone Equipment                -3,987.60    0.00%        0.00       0.00%    -3,987.60           0.00     0.00%    -3,987.60
       -3,987.60      0.00%         0.00    0.00%    -3,987.60            0.00    0.00%       -3,987.60    Total Telephone Other Expenses    -3,987.60    0.00%         0.00      0.00%    -3,987.60            0.00    0.00%    -3,987.60

        3,987.60      0.00%         0.00    0.00%    3,987.60             0.00    0.00%       3,987.60     Total Telephone Profit (Loss)      3,987.60    0.00%         0.00      0.00%    3,987.60             0.00    0.00%    3,987.60




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              PTD     %        PTD Budget     %         Variance    PTD Last Year     %             Variance                                              YTD     %        YTD Budget %              Variance    YTD Last Year    %           Variance

                                                                                                               Minor Operating
                                                                                                               Income
             0.00     0.00%          0.00    0.00%           0.00            0.00     0.00%            0.00    Total Rental Income                        0.00    0.00%          0.00    0.00%            0.00           0.00     0.00%           0.00
             0.00      0.00%        30.00     0.48%        -30.00            0.00      0.00%           0.00    Vending Commissions Other                156.80     0.44%       249.00     0.47%         -92.20         463.25      0.74%       -306.45
             0.00     0.00%         30.00    0.48%        -30.00             0.00     0.00%            0.00    Total Vending Commission Income         156.80     0.44%       249.00     0.47%         -92.20         463.25      0.74%       -306.45
             0.00      0.00%         0.00     0.00%          0.00            0.00      0.00%           0.00    Cancellation Fee - Rooms                 417.00     1.16%         0.00     0.00%        417.00            0.00      0.00%        417.00
             0.00      0.00%         0.00     0.00%          0.00           -0.46     -0.01%           0.46    Cancellation Fee - Other                 198.09     0.55%         0.00     0.00%        198.09        1,287.83      2.07%     -1,089.74
             0.00     0.00%          0.00    0.00%           0.00          -0.46     -0.01%            0.46    Total Cancellation Fee Income           615.09     1.71%          0.00    0.00%        615.09        1,287.83      2.07%       -672.74
           406.50     17.02%        37.00     0.60%       369.50           21.00       0.67%         385.50    Guest Laundry                          1,050.50     2.93%       235.00     0.44%        815.50          167.00      0.27%        883.50
             0.00      0.00%         0.00     0.00%          0.00            0.00      0.00%           0.00    Other Revenue 2                           44.17     0.12%         0.00     0.00%          44.17           0.00      0.00%         44.17
             0.00      0.00%       600.00     9.66%      -600.00          500.00      16.03%        -500.00    Other Revenue 3                        5,095.08    14.19%     6,100.00    11.41%     -1,004.92        6,075.45      9.74%       -980.37
             0.00      0.00%         0.00     0.00%          0.00            0.00      0.00%           0.00    Other Revenue 4                        6,350.18    17.68%         0.00     0.00%      6,350.18       14,278.64     22.90%     -7,928.46
         1,982.28     82.98%     5,547.00    89.27%    -3,564.72        2,598.69      83.31%        -616.41    Gift Shop Sales                       21,920.67    61.05%    46,869.00    87.68%    -24,948.33       40,076.48     64.28%    -18,155.81
             0.00      0.00%         0.00     0.00%          0.00            0.00      0.00%           0.00    Pet Fees                                 675.00     1.88%         0.00     0.00%        675.00            0.00      0.00%        675.00
        2,388.78    100.00%     6,184.00    99.52%    -3,795.22        3,119.69     100.01%        -730.91     Total Other Income                   35,135.60    97.85%    53,204.00    99.53%    -18,068.40       60,597.57     97.19%    -25,461.97

        2,388.78    100.00%     6,214.00    100.00%   -3,825.22        3,119.23     100.00%        -730.45     Total Minor Operating Income         35,907.49    100.00%   53,453.00 100.00%      -17,545.51       62,348.65 100.00%       -26,441.16

                                                                                                               Cost of Sales
             0.00      0.00%        33.00     0.53%       -33.00            0.00       0.00%            0.00   Cost of Sales - Guest Laundry            151.60     0.42%       212.00     0.40%        -60.40          134.00      0.21%         17.60
         1,749.52     73.24%     2,774.00    44.64%    -1,024.48        3,355.51     107.57%       -1,605.99   Cost of Sales - Gift Shop             13,078.68    36.42%    23,436.00    43.84%    -10,357.32       17,700.28     28.39%     -4,621.60
        1,749.52     73.24%     2,807.00    45.17%    -1,057.48        3,355.51     107.57%       -1,605.99    Total Minor Operated Cost of Sales   13,230.28    36.85%    23,648.00    44.24%    -10,417.72       17,834.28     28.60%     -4,604.00

          639.26     26.76%     3,407.00    54.83%    -2,767.74         -236.28      -7.57%         875.54     Total Minor Operated Profit (Loss)   22,677.21    63.15%    29,805.00    55.76%     -7,127.79       44,514.37     71.40%    -21,837.16




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              PTD     %        PTD Budget   %         Variance   PTD Last Year   %           Variance                                                    YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                        Franchise Fees
        32,030.89      5.09%    32,355.00   4.83%      -324.11      13,917.03    3.37%      18,113.86   Franchise Fees - Royalty & Licenses        247,253.91   5.00%   266,583.00     4.86%   -19,329.09     184,782.14    4.14%    62,471.77
         3,779.84      0.60%    13,913.00   2.08%   -10,133.16       8,645.57    2.09%      -4,865.73   Franchise Fees - Frequent Guest             60,727.76   1.23%   114,631.00     2.09%   -53,903.24      86,318.75    1.94%   -25,590.99
         8,813.70      1.40%    13,568.00   2.02%    -4,754.30       8,369.80    2.02%         443.90   Franchise Fees - Marketing Contributions   113,385.48   2.29%   112,895.00     2.06%       490.48      92,432.27    2.07%    20,953.21

       44,624.43      7.09%    59,836.00    8.93%   -15,211.57     30,932.40     7.48%     13,692.03    Total Franchise Fees                       421,367.15   8.53%   494,109.00     9.01%   -72,741.85    363,533.16     8.15%   57,833.99




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                                                                                        Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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              PTD     %        PTD Budget   %          Variance   PTD Last Year    %             Variance                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                            A&G
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wages
         7,829.64      1.24%    13,978.00    2.09%    -6,148.36      11,494.63      2.78%       -3,664.99   Management- A&G                      95,994.75    1.94%    137,489.00     2.51%    -41,494.25     118,818.58     2.66%    -22,823.83
        7,829.64      1.24%    13,978.00    2.09%    -6,148.36      11,494.63      2.78%       -3,664.99    Total A&G Management                95,994.75    1.94%    137,489.00     2.51%    -41,494.25     118,818.58     2.66%    -22,823.83
             0.00     0.00%          0.00   0.00%          0.00           0.00     0.00%             0.00   Total A&G Non-Management                  0.00   0.00%           0.00    0.00%           0.00           0.00    0.00%           0.00
        7,829.64      1.24%    13,978.00    2.09%    -6,148.36      11,494.63      2.78%       -3,664.99    Total A&G Salaries and Wages        95,994.75    1.94%    137,489.00     2.51%    -41,494.25     118,818.58     2.66%    -22,823.83
                                                                                                            PR Taxes and Benefits
           586.92      0.09%     1,202.00    0.18%      -615.08         769.45      0.19%         -182.53   FICA                                  8,096.13    0.16%     11,287.00     0.21%     -3,190.87       9,112.17     0.20%     -1,016.04
            32.69      0.01%         0.00    0.00%        32.69           0.00      0.00%           32.69   Federal Unemployment Tax                190.99    0.00%        951.00     0.02%       -760.01          78.44     0.00%        112.55
           185.21      0.03%         0.00    0.00%       185.21         -25.60     -0.01%          210.81   State Unemployment Tax                  615.88    0.01%        472.00     0.01%        143.88         199.19     0.00%        416.69
          804.82      0.13%     1,202.00    0.18%      -397.18         743.85      0.18%            60.97   Total Payroll Taxes                  8,903.00    0.18%     12,710.00     0.23%     -3,807.00       9,389.80     0.21%       -486.80
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%            0.00   Holiday                               1,474.04    0.03%      3,120.00     0.06%     -1,645.96       2,328.36     0.05%       -854.32
             0.00      0.00%         0.00    0.00%         0.00         624.38      0.15%         -624.38   Vacation                              5,215.95    0.11%          0.00     0.00%      5,215.95       7,670.31     0.17%     -2,454.36
             0.00     0.00%          0.00   0.00%          0.00        624.38      0.15%         -624.38    Total Supplemental Pay               6,689.99    0.14%      3,120.00     0.06%      3,569.99       9,998.67     0.22%     -3,308.68
           329.33      0.05%       574.00    0.09%      -244.67         567.70      0.14%         -238.37   Worker's Compensation                 4,652.61    0.09%      5,740.00     0.10%     -1,087.39       5,325.51     0.12%       -672.90
           989.00      0.16%     1,647.00    0.25%      -658.00       1,440.69      0.35%         -451.69   Group Insurance                       8,329.37    0.17%     16,462.00     0.30%     -8,132.63      11,488.63     0.26%     -3,159.26
             0.00      0.00%       333.00    0.05%      -333.00           0.00      0.00%            0.00   401k Contribution                         0.00    0.00%      1,321.00     0.02%     -1,321.00         268.97     0.01%       -268.97
             0.00      0.00%     1,728.00    0.26%    -1,728.00           0.00      0.00%            0.00   Bonus and Incentive Pay               2,812.00    0.06%      6,913.00     0.13%     -4,101.00           0.00     0.00%      2,812.00
        1,318.33      0.21%     4,282.00    0.64%    -2,963.67       2,008.39      0.49%         -690.06    Total Other Benefits                15,793.98    0.32%     30,436.00     0.56%    -14,642.02      17,083.11     0.38%     -1,289.13
        2,123.15      0.34%     5,484.00    0.82%    -3,360.85       3,376.62      0.82%       -1,253.47    Total A&G PR Taxes and Benefits     31,386.97    0.64%     46,266.00     0.84%    -14,879.03      36,471.58     0.82%     -5,084.61
        9,952.79      1.58%    19,462.00    2.90%    -9,509.21      14,871.25      3.60%       -4,918.46    Total A&G Payroll                  127,381.72    2.58%    183,755.00     3.35%    -56,373.28     155,290.16     3.48%    -27,908.44
                                                                                                            Other Expenses
         1,000.00      0.16%         0.00    0.00%     1,000.00           0.00      0.00%       1,000.00    Accounting/Audit Fees                 2,000.00    0.04%          0.00     0.00%      2,000.00       2,855.73     0.06%      -855.73
            60.00      0.01%         0.00    0.00%        60.00       2,913.61      0.70%      -2,853.61    Bad Debt Provision                   13,605.03    0.28%          0.00     0.00%     13,605.03      27,510.94     0.62%   -13,905.91
           879.41      0.14%     1,150.00    0.17%      -270.59       1,157.94      0.28%        -278.53    Bank Charges                          8,884.07    0.18%     11,500.00     0.21%     -2,615.93      11,171.77     0.25%    -2,287.70
            41.80      0.01%         0.00    0.00%        41.80          -0.46      0.00%          42.26    Cash Over/Short                        -389.82   -0.01%          0.00     0.00%       -389.82         299.49     0.01%      -689.31
             0.00      0.00%     3,337.00    0.50%    -3,337.00       3,290.83      0.80%      -3,290.83    Central Office - Accounting Fees     26,696.00    0.54%     33,370.00     0.61%     -6,674.00      32,908.30     0.74%    -6,212.30
        15,527.30      2.47%    18,501.00    2.76%    -2,973.70      11,500.82      2.78%       4,026.48    Credit Card Commission              126,877.80    2.57%    151,286.00     2.76%    -24,408.20     114,044.65     2.56%    12,833.15
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Donations                               114.38    0.00%          0.00     0.00%        114.38          99.87     0.00%        14.51
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Dues and Subscriptions                    0.00    0.00%          0.00     0.00%          0.00         227.13     0.01%      -227.13
            63.56      0.01%       699.00    0.10%      -635.44         399.08      0.10%        -335.52    Employee Relations                    4,326.09    0.09%      7,490.00     0.14%     -3,163.91       6,003.09     0.13%    -1,677.00
           517.74      0.08%       500.00    0.07%        17.74         701.55      0.17%        -183.81    Licenses/Permits                      9,789.70    0.20%      8,900.00     0.16%        889.70       7,422.10     0.17%     2,367.60
             0.00      0.00%       200.00    0.03%      -200.00           0.00      0.00%           0.00    Meals and Entertainment                 240.86    0.00%      1,400.00     0.03%     -1,159.14         812.54     0.02%      -571.68
           517.26      0.08%       131.00    0.02%       386.26      -1,148.14     -0.28%       1,665.40    Miscellaneous Expense                  -253.45   -0.01%      1,108.00     0.02%     -1,361.45         275.02     0.01%      -528.47
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Office Supplies                         208.70    0.00%          0.00     0.00%        208.70           0.00     0.00%       208.70
           581.40      0.09%       500.00    0.07%        81.40           0.00      0.00%         581.40    Operating Supplies                    3,133.96    0.06%      5,600.00     0.10%     -2,466.04       2,974.72     0.07%       159.24
           655.58      0.10%       615.00    0.09%        40.58         615.00      0.15%          40.58    Payroll Service Fees                  5,642.88    0.11%      6,150.00     0.11%       -507.12       6,150.00     0.14%      -507.12
            90.25      0.01%        60.00    0.01%        30.25           0.00      0.00%          90.25    Postage                                 346.29    0.01%        600.00     0.01%       -253.71         893.70     0.02%      -547.41
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Professional Fees - Legal             3,525.79    0.07%          0.00     0.00%      3,525.79       2,884.50     0.06%       641.29
        16,248.33      2.58%         0.00    0.00%    16,248.33           0.00      0.00%      16,248.33    Professional Fees - Other            17,223.35    0.35%          0.00     0.00%     17,223.35           0.00     0.00%    17,223.35
           340.00      0.05%         0.00    0.00%       340.00           0.00      0.00%         340.00    Recruitment Advertising               1,390.00    0.03%          0.00     0.00%      1,390.00           0.00     0.00%     1,390.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Recruitment - Other                     579.00    0.01%          0.00     0.00%        579.00           0.00     0.00%       579.00
         8,360.00      1.33%     7,319.00    1.09%     1,041.00       8,572.08      2.07%        -212.08    Security - Outside                   92,620.61    1.87%     71,846.00     1.31%     20,774.61      62,955.46     1.41%    29,665.15
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Training                                  0.00    0.00%      2,700.00     0.05%     -2,700.00         362.66     0.01%      -362.66
           763.18      0.12%       150.00    0.02%       613.18           0.00      0.00%         763.18    Travel                                3,831.62    0.08%      3,200.00     0.06%        631.62         877.38     0.02%     2,954.24
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%           0.00    Uniforms                                  0.00    0.00%          0.00     0.00%          0.00         756.11     0.02%      -756.11
       45,645.81      7.25%    33,162.00    4.95%    12,483.81      28,002.31      6.77%      17,643.50     Total A&G Other Expenses           320,392.86    6.48%    305,150.00     5.57%     15,242.86     281,485.16     6.31%    38,907.70
       55,598.60      8.83%    52,624.00    7.85%     2,974.60      42,873.56     10.37%      12,725.04     Total A&G Expenses                 447,774.58    9.06%    488,905.00     8.92%    -41,130.42     436,775.32     9.80%    10,999.26




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                                                                                       Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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              PTD     %        PTD Budget   %          Variance   PTD Last Year   %            Variance                                            YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          IT
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wags
             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT Management                     0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT Non-Management                 0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT Salaries and Wages             0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                          PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT PR Taxes and Benefits          0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT Payroll                        0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                          Cost of Services
             0.00      0.00%       140.00    0.02%      -140.00         145.00     0.04%        -145.00   Cost of Cell Phones                    887.50    0.02%     1,370.00      0.02%      -482.50       2,015.00     0.05%    -1,127.50
         4,951.98      0.79%     1,400.00    0.21%     3,551.98       1,399.99     0.34%       3,551.99   Cost of Internet Services           17,551.89    0.36%    14,000.00      0.26%     3,551.89      14,669.58     0.33%     2,882.31
         2,877.54      0.46%       730.00    0.11%     2,147.54         564.56     0.14%       2,312.98   Cost of Calls                        8,824.19    0.18%     7,300.00      0.13%     1,524.19       7,112.04     0.16%     1,712.15
        7,829.52      1.24%     2,270.00    0.34%     5,559.52       2,109.55     0.51%       5,719.97    Total IT Cost of Services          27,263.58    0.55%    22,670.00      0.41%     4,593.58      23,796.62     0.53%     3,466.96

                                                                                                          System Costs
         2,059.69      0.33%       308.00    0.05%     1,751.69         308.31     0.07%       1,751.38   Administrative & General             9,659.39    0.20%     3,080.00      0.06%     6,579.39       3,083.34     0.07%     6,576.05
             0.00      0.00%       323.00    0.05%      -323.00         322.75     0.08%        -322.75   Information Security                 3,415.89    0.07%     3,230.00      0.06%       185.89       3,227.50     0.07%       188.39
           180.88      0.03%     1,469.00    0.22%    -1,288.12       1,286.27     0.31%      -1,105.39   Information Systems                 11,916.55    0.24%    14,690.00      0.27%    -2,773.45      14,879.17     0.33%    -2,962.62
         7,459.35      1.18%     1,340.00    0.20%     6,119.35       1,340.39     0.32%       6,118.96   Rooms                               25,486.54    0.52%    13,400.00      0.24%    12,086.54      14,018.60     0.31%    11,467.94
           263.11      0.04%       265.00    0.04%        -1.89         255.44     0.06%           7.67   Sales & Marketing                    2,631.10    0.05%     2,650.00      0.05%       -18.90       2,554.48     0.06%        76.62
        9,963.03      1.58%     3,705.00    0.55%     6,258.03       3,513.16     0.85%       6,449.87    Total IT Systems                   53,109.47    1.07%    37,050.00      0.68%    16,059.47      37,763.09     0.85%    15,346.38

                                                                                                          Other Expenses
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%           0.00   Contract Labor                         911.90    0.02%        0.00       0.00%       911.90       2,219.41     0.05%    -1,307.51
             0.00      0.00%        0.00     0.00%        0.00            0.00     0.00%           0.00   Contract Services                        0.00    0.00%        0.00       0.00%         0.00          21.90     0.00%       -21.90
           793.36      0.13%        0.00     0.00%      793.36            0.00     0.00%         793.36   Travel                               1,908.61    0.04%        0.00       0.00%     1,908.61           0.00     0.00%     1,908.61
          793.36      0.13%         0.00    0.00%      793.36             0.00    0.00%         793.36    Total IT Other Expenses             2,820.51    0.06%         0.00      0.00%     2,820.51       2,241.31     0.05%       579.20

       18,585.91      2.95%     5,975.00    0.89%    12,610.91       5,622.71     1.36%      12,963.20    Total IT Expenses                  83,193.56    1.68%    59,720.00      1.09%    23,473.56      63,801.02     1.43%    19,392.54




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                                                                                       Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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              PTD     %        PTD Budget   %          Variance   PTD Last Year   %             Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                           S&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         5,394.77      0.86%     3,574.00    0.53%     1,820.77       3,198.45     0.77%        2,196.32   Division Management                10,373.37    0.21%     35,152.00     0.64%    -24,778.63      49,543.83     1.11%    -39,170.46
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Sales Managers                     13,615.36    0.28%          0.00     0.00%     13,615.36         440.00     0.01%     13,175.36
        5,394.77      0.86%     3,574.00    0.53%     1,820.77       3,198.45     0.77%        2,196.32    Total S&M Management              23,988.73    0.49%     35,152.00     0.64%    -11,163.27      49,983.83     1.12%    -25,995.10
             0.00      0.00%     2,017.00    0.30%    -2,017.00       1,166.00     0.28%       -1,166.00   Administrative Assistant            5,326.97    0.11%     19,366.00     0.35%    -14,039.03       3,277.29     0.07%      2,049.68
             0.00     0.00%     2,017.00    0.30%    -2,017.00       1,166.00     0.28%       -1,166.00    Total S&M Non-Management           5,326.97    0.11%     19,366.00     0.35%    -14,039.03       3,277.29     0.07%      2,049.68

        5,394.77      0.86%     5,591.00    0.83%     -196.23        4,364.45     1.06%       1,030.32     Total S&M Salaries and Wages      29,315.70    0.59%     54,518.00     0.99%    -25,202.30      53,261.12     1.19%    -23,945.42

                                                                                                           PR Taxes and Benefits
           434.08      0.07%       500.00    0.07%      -65.92          289.03     0.07%         145.05    FICA                                2,406.61    0.05%      4,588.00     0.08%     -2,181.39       4,086.62     0.09%     -1,680.01
            24.88      0.00%         0.00    0.00%       24.88            0.00     0.00%          24.88    Federal Unemployment Tax              122.23    0.00%        370.00     0.01%       -247.77          23.49     0.00%         98.74
           140.94      0.02%         7.00    0.00%      133.94           -5.73     0.00%         146.67    State Unemployment Tax                598.26    0.01%        338.00     0.01%        260.26         112.15     0.00%        486.11
          599.90      0.10%       507.00    0.08%        92.90         283.30     0.07%         316.60     Total Payroll Taxes                3,127.10    0.06%      5,296.00     0.10%     -2,168.90       4,222.26     0.09%     -1,095.16
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00    Holiday                               392.31    0.01%      1,045.00     0.02%       -652.69         904.63     0.02%       -512.32
             0.00      0.00%       112.00    0.02%     -112.00          111.95     0.03%        -111.95    Vacation                              614.60    0.01%      1,093.00     0.02%       -478.40         964.61     0.02%       -350.01
             0.00     0.00%       112.00    0.02%     -112.00          111.95     0.03%        -111.95     Total Supplemental Pay             1,006.91    0.02%      2,138.00     0.04%     -1,131.09       1,869.24     0.04%       -862.33
           597.32      0.09%       211.00    0.03%      386.32          244.97     0.06%         352.35    Worker's Compensation               1,884.81    0.04%      2,110.00     0.04%       -225.19       2,757.79     0.06%       -872.98
         1,009.97      0.16%       823.00    0.12%      186.97          307.34     0.07%         702.63    Group Insurance                     2,944.51    0.06%      8,230.00     0.15%     -5,285.49         827.34     0.02%      2,117.17
             0.00      0.00%        67.00    0.01%      -67.00            0.00     0.00%           0.00    401k Contribution                       0.00    0.00%        263.00     0.00%       -263.00         167.66     0.00%       -167.66
           393.25      0.06%       833.00    0.12%     -439.75            0.00     0.00%         393.25    Bonus and Incentive Pay             1,893.25    0.04%      3,332.00     0.06%     -1,438.75           0.00     0.00%      1,893.25
        2,000.54      0.32%     1,934.00    0.29%        66.54         552.31     0.13%       1,448.23     Total Other Benefits               6,722.57    0.14%     13,935.00     0.25%     -7,212.43       3,752.79     0.08%      2,969.78
        2,600.44      0.41%     2,553.00    0.38%        47.44         947.56     0.23%       1,652.88     Total S&M PR Taxes and Benefits   10,856.58    0.22%     21,369.00     0.39%    -10,512.42       9,844.29     0.22%      1,012.29

        7,995.21      1.27%     8,144.00    1.21%     -148.79        5,312.01     1.28%       2,683.20     Total S&M Payroll                 40,172.28    0.81%     75,887.00     1.38%    -35,714.72      63,105.41     1.42%    -22,933.13

                                                                                                           Other Expenses
             0.00      0.00%         0.00    0.00%         0.00         475.78     0.12%         -475.78   Advertising General                -1,200.00   -0.02%          0.00     0.00%     -1,200.00       4,489.42     0.10%     -5,689.42
           450.00      0.07%         8.00    0.00%       442.00         313.24     0.08%          136.76   Advertising-Web/Internet             -819.58   -0.02%         80.00     0.00%       -899.58       4,203.14     0.09%     -5,022.72
         1,187.00      0.19%     4,147.00    0.62%    -2,960.00       3,862.43     0.93%       -2,675.43   Dues and Subscriptions             37,614.22    0.76%     45,607.00     0.83%     -7,992.78      51,646.05     1.16%    -14,031.83
             0.00      0.00%       100.00    0.01%      -100.00           0.00     0.00%            0.00   Meals and Entertainment                 2.65    0.00%        500.00     0.01%       -497.35         438.19     0.01%       -435.54
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Office Equipment                       20.45    0.00%          0.00     0.00%         20.45         252.62     0.01%       -232.17
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Printing and Stationery                 0.00    0.00%         75.00     0.00%        -75.00           0.00     0.00%          0.00
             0.00      0.00%       300.00    0.04%      -300.00           0.00     0.00%            0.00   Promotion - Outside                    83.96    0.00%      4,200.00     0.08%     -4,116.04         625.74     0.01%       -541.78
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%            0.00   Trade Shows                             0.00    0.00%          0.00     0.00%          0.00         136.76     0.00%       -136.76
             0.00      0.00%       100.00    0.01%      -100.00           0.00     0.00%            0.00   Travel                                 47.69    0.00%      1,850.00     0.03%     -1,802.31       1,106.16     0.02%     -1,058.47
        1,637.00      0.26%     4,655.00    0.69%    -3,018.00       4,651.45     1.12%       -3,014.45    Total S&M Other Expenses          35,749.39    0.72%     52,312.00     0.95%    -16,562.61      62,898.08     1.41%    -27,148.69

        9,632.21      1.53%    12,799.00    1.91%    -3,166.79       9,963.46     2.41%        -331.25     Total S&M Expenses                75,921.67    1.54%    128,199.00     2.34%    -52,277.33     126,003.49     2.83%    -50,081.82




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                                                                                       Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
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              PTD     %        PTD Budget   %          Variance   PTD Last Year   %             Variance                                               YTD    %        YTD Budget %               Variance    YTD Last Year   %           Variance

                                                                                                           R&M
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00      0.00%     5,106.00    0.76%    -5,106.00           0.00     0.00%            0.00   Division Management                         0.00    0.00%     37,776.00     0.69%    -37,776.00       16,615.46     0.37%    -16,615.46
             0.00     0.00%     5,106.00    0.76%    -5,106.00            0.00    0.00%             0.00   Total R&M Management                        0.00   0.00%     37,776.00     0.69%    -37,776.00       16,615.46     0.37%    -16,615.46
         5,529.32      0.88%     5,841.00    0.87%      -311.68       7,262.95     1.76%       -1,733.63   Engineers 1                            58,274.19    1.18%     60,060.00     1.10%     -1,785.81       70,460.34     1.58%    -12,186.15
        5,529.32      0.88%     5,841.00    0.87%      -311.68       7,262.95     1.76%       -1,733.63    Total R&M Non-Management              58,274.19    1.18%     60,060.00     1.10%     -1,785.81       70,460.34     1.58%    -12,186.15

        5,529.32      0.88%    10,947.00    1.63%    -5,417.68       7,262.95     1.76%       -1,733.63    Total R&M Salaries and Wages          58,274.19    1.18%     97,836.00     1.78%    -39,561.81       87,075.80     1.95%    -28,801.61

                                                                                                           PR Taxes and Benefits
           414.46      0.07%       866.00    0.13%     -451.54          224.22     0.05%         190.24    FICA                                    3,958.44    0.08%      7,565.00     0.14%     -3,606.56        3,874.79     0.09%         83.65
            22.99      0.00%        11.00    0.00%       11.99            0.00     0.00%           22.99   Federal Unemployment Tax                  141.08    0.00%        452.00     0.01%       -310.92           85.50     0.00%         55.58
           130.28      0.02%        57.00    0.01%       73.28          -26.31    -0.01%         156.59    State Unemployment Tax                    792.32    0.02%      1,025.00     0.02%       -232.68          169.30     0.00%        623.02
          567.73      0.09%       934.00    0.14%     -366.27          197.91     0.05%         369.82     Total Payroll Taxes                    4,891.84    0.10%      9,042.00     0.16%     -4,150.16        4,129.59     0.09%        762.25
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%            0.00   Holiday                                   658.00    0.01%      1,625.00     0.03%       -967.00          734.77     0.02%        -76.77
             0.00      0.00%       383.00    0.06%     -383.00           83.91     0.02%          -83.91   Vacation                                  891.89    0.02%      3,424.00     0.06%     -2,532.11        1,717.45     0.04%       -825.56
             0.00     0.00%       383.00    0.06%     -383.00            83.91    0.02%          -83.91    Total Supplemental Pay                 1,549.89    0.03%      5,049.00     0.09%     -3,499.11        2,452.22     0.05%       -902.33
           232.87      0.04%       121.00    0.02%      111.87          132.41     0.03%         100.46    Worker's Compensation                   2,433.63    0.05%      1,210.00     0.02%      1,223.63        1,961.27     0.04%        472.36
         1,018.82      0.16%       619.00    0.09%      399.82            1.50     0.00%       1,017.32    Group Insurance                         4,679.73    0.09%      5,887.00     0.11%     -1,207.27        2,224.52     0.05%      2,455.21
             0.00      0.00%        13.00    0.00%      -13.00            0.00     0.00%            0.00   401k Contribution                           0.00    0.00%         52.00     0.00%         -52.00           0.00     0.00%          0.00
        1,251.69      0.20%       753.00    0.11%      498.69          133.91     0.03%       1,117.78     Total Other Benefits                   7,113.36    0.14%      7,149.00     0.13%         -35.64       4,185.79     0.09%      2,927.57
        1,819.42      0.29%     2,070.00    0.31%     -250.58          415.73     0.10%       1,403.69     Total R&M PR Taxes and Benefits       13,555.09    0.27%     21,240.00     0.39%     -7,684.91       10,767.60     0.24%      2,787.49

        7,348.74      1.17%    13,017.00    1.94%    -5,668.26       7,678.68     1.86%        -329.94     Total R&M Payroll                     71,829.28    1.45%    119,076.00     2.17%    -47,246.72       97,843.40     2.19%    -26,014.12

                                                                                                           Other Expenses
           717.18      0.11%     2,700.00    0.40%    -1,982.82           0.00     0.00%         717.18    Air Conditioning and Refrigeration      2,828.38    0.06%     22,808.00     0.42%    -19,979.62       10,609.33     0.24%     -7,780.95
         3,070.32      0.49%       925.00    0.14%     2,145.32       2,347.06     0.57%         723.26    Building                               14,181.89    0.29%      7,812.00     0.14%      6,369.89        7,056.47     0.16%      7,125.42
             0.00      0.00%         0.00    0.00%         0.00       1,174.50     0.28%      -1,174.50    Contract Labor                          9,396.00    0.19%          0.00     0.00%      9,396.00       11,745.00     0.26%     -2,349.00
           -61.33     -0.01%         0.00    0.00%       -61.33         -36.27    -0.01%         -25.06    Electric Bulbs                          1,064.34    0.02%      1,300.00     0.02%       -235.66          138.53     0.00%        925.81
         1,506.12      0.24%         0.00    0.00%     1,506.12          53.88     0.01%       1,452.24    Electrical and Mechanical               1,825.32    0.04%      1,500.00     0.03%        325.32           53.88     0.00%      1,771.44
         1,400.00      0.22%     1,395.00    0.21%         5.00         738.71     0.18%         661.29    Elevator Maintenance Contracts         15,734.35    0.32%     20,455.00     0.37%     -4,720.65       15,849.95     0.36%       -115.60
             0.00      0.00%     2,500.00    0.37%    -2,500.00         722.92     0.17%        -722.92    Fire Safety Equipment                  10,368.02    0.21%     18,600.00     0.34%     -8,231.98       13,772.74     0.31%     -3,404.72
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00    Floor and Carpet Maintenance            2,350.00    0.05%      3,750.00     0.07%     -1,400.00        4,470.00     0.10%     -2,120.00
             0.00      0.00%       370.00    0.06%      -370.00           0.00     0.00%           0.00    Furniture                                 935.44    0.02%      3,125.00     0.06%     -2,189.56        1,532.08     0.03%       -596.64
           725.00      0.12%       725.00    0.11%         0.00         725.00     0.18%           0.00    Grounds and Landscaping                 9,713.48    0.20%      9,000.00     0.16%        713.48        9,015.00     0.20%        698.48
            -2.91      0.00%         0.00    0.00%        -2.91           0.00     0.00%          -2.91    Kitchen Equipment Repairs                 403.13    0.01%          0.00     0.00%        403.13            0.00     0.00%        403.13
           579.32      0.09%         0.00    0.00%       579.32           0.00     0.00%         579.32    Laundry Equipment Repairs               1,511.82    0.03%      1,500.00     0.03%         11.82        1,758.69     0.04%       -246.87
             0.00      0.00%       112.00    0.02%      -112.00         112.00     0.03%        -112.00    Licenses/Permits                          101.50    0.00%      1,608.00     0.03%     -1,506.50        1,550.36     0.03%     -1,448.86
          -104.77     -0.02%     1,175.00    0.18%    -1,279.77           0.00     0.00%        -104.77    Miscellaneous Expense                       0.00    0.00%     11,750.00     0.21%    -11,750.00            0.00     0.00%          0.00
         2,964.50      0.47%     1,109.00    0.17%     1,855.50         784.59     0.19%       2,179.91    Operating Supplies                     11,093.61    0.22%      9,375.00     0.17%      1,718.61        7,929.37     0.18%      3,164.24
          -116.84     -0.02%         0.00    0.00%      -116.84         173.39     0.04%        -290.23    Painting and Decorating                    37.15    0.00%          0.00     0.00%         37.15          173.39     0.00%       -136.24
          -450.00     -0.07%         0.00    0.00%      -450.00           0.00     0.00%        -450.00    Pest Control                              240.00    0.00%          0.00     0.00%        240.00            0.00     0.00%        240.00
           581.12      0.09%       998.00    0.15%      -416.88         335.31     0.08%         245.81    Plumbing and Heating                    1,995.53    0.04%      8,436.00     0.15%     -6,440.47        9,154.65     0.21%     -7,159.12
           186.70      0.03%         0.00    0.00%       186.70           0.00     0.00%         186.70    Pool Chemicals                            186.70    0.00%          0.00     0.00%        186.70            0.00     0.00%        186.70
          -389.76     -0.06%       998.00    0.15%    -1,387.76         351.68     0.09%        -741.44    Pool Service- Contract                  6,632.61    0.13%      8,436.00     0.15%     -1,803.39        4,431.61     0.10%      2,201.00
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00    Travel                                      0.00    0.00%        300.00     0.01%       -300.00           29.87     0.00%        -29.87
             0.00      0.00%       200.00    0.03%      -200.00           0.00     0.00%           0.00    Uniforms                                    0.00    0.00%        800.00     0.01%       -800.00           61.61     0.00%        -61.61
             0.00      0.00%       250.00    0.04%      -250.00           0.00     0.00%           0.00    Vehicle Maintenance & Repairs               0.00    0.00%      1,000.00     0.02%     -1,000.00           72.93     0.00%        -72.93
         2,012.50      0.32%     2,375.00    0.35%      -362.50       2,305.66     0.56%        -293.16    Waste Removal                          28,092.50    0.57%     23,750.00     0.43%      4,342.50       25,804.03     0.58%      2,288.47
       12,617.15      2.00%    15,832.00    2.36%    -3,214.85       9,788.43     2.37%       2,828.72     Total R&M Other Expenses             118,691.77    2.40%    155,305.00     2.83%    -36,613.23      125,209.49     2.81%     -6,517.72

       19,965.89      3.17%    28,849.00    4.30%    -8,883.11      17,467.11     4.22%       2,498.78     Total R&M Expenses                   190,521.05    3.86%    274,381.00     5.01%    -83,859.95      223,052.89     5.00%    -32,531.84




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                                                                                       Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year   %             Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                           Utilities
         5,300.00      0.84%     5,547.00    0.83%      -247.00       5,827.98     1.41%         -527.98   Water                              48,909.68    0.99%     46,869.00     0.86%      2,040.68      45,590.11     1.02%     3,319.57
        13,876.30      2.20%    18,490.00    2.76%    -4,613.70      16,242.48     3.93%       -2,366.18   Electricity                       152,717.27    3.09%    184,503.00     3.37%    -31,785.73     161,332.83     3.62%    -8,615.56
         1,638.23      0.26%     3,200.00    0.48%    -1,561.77       2,214.24     0.54%         -576.01   Gas - Natural HLP                  23,874.22    0.48%     24,148.00     0.44%       -273.78      21,875.22     0.49%     1,999.00
       20,814.53      3.31%    27,237.00    4.06%    -6,422.47      24,284.70     5.87%       -3,470.17    Total Utilities                  225,501.17    4.56%    255,520.00     4.66%    -30,018.83     228,798.16     5.13%    -3,296.99




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                                                                                           Company: PHCA Associates LLC Property: Hyatt House Pleasant Hill
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget     %           Variance   PTD Last Year    %            Variance                                            YTD     %        YTD Budget %               Variance    YTD Last Year    %            Variance

                                                                                                              Fixed
        47,123.00      7.48%     71,011.00    10.59%    -23,888.00      71,011.00     17.17%     -23,888.00   Real Estate Taxes                  615,211.00    12.45%    710,110.00    12.96%    -94,899.00     1,200,369.04    26.92%    -585,158.04
             0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%           0.00   Other Business Taxes                    36.15     0.00%          0.00     0.00%          36.15            0.00     0.00%          36.15
       47,123.00      7.48%     71,011.00    10.59%    -23,888.00      71,011.00     17.17%     -23,888.00    Total Taxes                       615,247.15    12.45%    710,110.00    12.96%    -94,862.85     1,200,369.04    26.92%    -585,121.89
             0.00      0.00%        339.00     0.05%       -339.00         339.00      0.08%        -339.00   Insurance                            2,712.00     0.05%      3,390.00     0.06%        -678.00        3,390.00     0.08%        -678.00
           643.09      0.10%          0.00     0.00%        643.09           0.00      0.00%         643.09   Insurance - Automobile                 643.09     0.01%          0.00     0.00%         643.09            0.00     0.00%         643.09
           182.73      0.03%          0.00     0.00%        182.73           0.00      0.00%         182.73   Insurance - Employment                 182.73     0.00%          0.00     0.00%         182.73            0.00     0.00%         182.73
         5,417.82      0.86%      5,092.00     0.76%        325.82       5,092.01      1.23%         325.81   Insurance - General Liability       18,620.06     0.38%     50,920.00     0.93%    -32,299.94        38,590.96     0.87%     -19,970.90
        26,907.71      4.27%      8,853.00     1.32%     18,054.71       9,454.34      2.29%      17,453.37   Insurance - Property                84,763.01     1.72%     88,530.00     1.62%      -3,766.99       89,199.58     2.00%      -4,436.57
       33,151.35      5.26%     14,284.00     2.13%     18,867.35      14,885.35      3.60%      18,266.00    Total Insurance                   106,920.89     2.16%    142,840.00     2.61%    -35,919.11       131,180.54     2.94%     -24,259.65
       100,819.00     16.01%    100,819.00    15.04%          0.00      95,216.67     23.02%       5,602.33   Ground Lease Expense               985,461.60    19.95%    993,985.00    18.13%      -8,523.40      952,166.70    21.35%      33,294.90
      100,819.00     16.01%    100,819.00    15.04%           0.00     95,216.67     23.02%       5,602.33    Total Leases & Rent               985,461.60    19.95%    993,985.00    18.13%      -8,523.40      952,166.70    21.35%      33,294.90
        19,427.51      3.08%     20,091.00     3.00%       -663.49      12,407.24      3.00%       7,020.27   Management Fee - Base              149,285.09     3.02%    164,352.00     3.00%    -15,066.91       133,720.85     3.00%      15,564.24
       19,427.51      3.08%     20,091.00     3.00%       -663.49      12,407.24      3.00%       7,020.27    Total Management Fees             149,285.09     3.02%    164,352.00     3.00%    -15,066.91       133,720.85     3.00%      15,564.24
         4,518.80      0.72%          0.00     0.00%      4,518.80           0.00      0.00%       4,518.80   Capital Reserve                      4,518.80     0.09%          0.00     0.00%       4,518.80            0.00     0.00%       4,518.80
       136,919.66     21.74%          0.00     0.00%    136,919.66       1,500.00      0.36%     135,419.66   Prior Owner's Expense              205,348.06     4.16%          0.00     0.00%    205,348.06        17,967.96     0.40%     187,380.10
      141,438.46     22.46%           0.00    0.00%    141,438.46       1,500.00      0.36%     139,938.46    Total Other Non-Operating         209,866.86     4.25%           0.00    0.00%    209,866.86        17,967.96     0.40%     191,898.90




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                                                                                                 Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                                 P&L - Dual Summary Pages
                                                                                                                      As of 10/31/2021
             PTD      %        PTD Budget      %           Variance   PTD Last Year     %                Variance                                                         YTD     %           YTD Budget %                Variance    YTD Last Year     %           Variance

                                                                                                                    Statistics
           128.00                   128.00                     0.00         128.00                           0.00   # Rooms                                            128.00                     128.00                      0.00          128.00                     0.00
         3,968.00                 3,968.00                     0.00       3,968.00                           0.00   Available Rooms                                 38,912.00                  38,912.00                      0.00       39,040.00                  -128.00
         2,392.00                 3,016.00                  -624.00       1,550.00                         842.00   Room Nights Sold                                22,780.00                  24,545.00                 -1,765.00        5,988.00                16,792.00
          60.28%                   76.01%                  -15.73%         39.06%                         21.22%    Occupancy %                                       58.54%                     63.08%                    -4.54%          15.34%                   43.20%
           151.62                   190.38                   -38.76         152.49                          -0.87   ADR                                                142.46                     167.06                    -24.60          530.02                  -387.56
            91.40                   144.70                   -53.30          59.57                          31.83   RevPar                                              83.40                     105.38                    -21.98           81.30                     2.10

                                                                                                                    Summary V.11
                                                                                                                    Revenue
       362,669.91    98.53%     574,175.50    97.54%    -211,505.59     236,362.23     99.19%         126,307.68    Rooms                                        3,245,242.95     98.67%    4,100,455.75     97.31%    -855,212.80    3,173,784.98     97.68%      71,457.97
         3,555.25     0.97%       9,906.00     1.68%      -6,350.75           0.00      0.00%           3,555.25    F&B                                             23,194.89      0.71%       74,385.00      1.77%     -51,190.11       47,758.75      1.47%     -24,563.86
         1,857.23     0.50%       4,548.00     0.77%      -2,690.77       1,927.23      0.81%             -70.00    Other Departments                               20,537.32      0.62%       38,831.00      0.92%     -18,293.68       27,622.00      0.85%      -7,084.68

      368,082.39    100.00%    588,629.50    100.00%   -220,547.11     238,289.46     100.00%        129,792.93     Total Operating Revenue                     3,288,975.16     100.00%   4,213,671.75 100.00%       -924,696.59    3,249,165.73 100.00%         39,809.43

                                                                                                                    Departmental Expenses
        61,552.59    16.97%     120,944.00    21.06%     -59,391.41      70,233.78     29.71%           -8,681.19   Rooms                                          818,381.58     25.22%    1,037,667.00     25.31%    -219,285.42      790,524.25     24.91%      27,857.33
           823.02    23.15%       5,947.00    60.03%      -5,123.98          31.36      0.00%              791.66   F&B                                              5,949.38     25.65%       41,901.00     56.33%     -35,951.62       23,029.85     48.22%     -17,080.47
         1,796.72    96.74%       2,201.00    48.39%        -404.28         890.17     46.19%              906.55   Other Departments                               10,223.51     49.78%       18,099.00     46.61%      -7,875.49       12,008.74     43.48%      -1,785.23

       64,172.33     17.43%    129,092.00    21.93%     -64,919.67      71,155.31     29.86%           -6,982.98    Total Departmental Expenses                   834,554.47     25.37%    1,097,667.00    26.05%     -263,112.53      825,562.84     25.41%       8,991.63

      303,910.06     82.57%    459,537.50    78.07%    -155,627.44     167,134.15     70.14%         136,775.91     Total Departmental Profit                   2,454,420.69     74.63%    3,116,004.75    73.95%     -661,584.06    2,423,602.89     74.59%      30,817.80

                                                                                                                    Undistributed Operating Expenses
        29,393.86     7.99%      39,386.00     6.69%      -9,992.14      27,447.27     11.52%           1,946.59    A&G                                            278,005.58      8.45%      348,517.00     8.27%      -70,511.42      333,363.20     10.26%     -55,357.62
        14,769.56     4.01%       5,687.00     0.97%       9,082.56       5,833.67      2.45%           8,935.89    IT                                              81,779.31      2.49%       56,870.00     1.35%       24,909.31       62,025.73      1.91%      19,753.58
         9,106.43     2.47%      14,533.00     2.47%      -5,426.57       9,174.45      3.85%             -68.02    S&M                                             95,207.21      2.89%      133,343.00     3.16%      -38,135.79      113,559.12      3.50%     -18,351.91
        37,388.60    10.16%      53,954.00     9.17%     -16,565.40      18,852.31      7.91%          18,536.29    Franchise Fees                                 311,363.48      9.47%      386,842.00     9.18%      -75,478.52      273,864.41      8.43%      37,499.07
        16,666.03     4.53%      26,727.00     4.54%     -10,060.97      19,935.24      8.37%          -3,269.21    R&M                                            175,655.75      5.34%      233,935.00     5.55%      -58,279.25      185,100.32      5.70%      -9,444.57
        34,147.76     9.28%      19,604.00     3.33%      14,543.76      13,880.01      5.82%          20,267.75    Utilities                                      215,745.43      6.56%      155,518.00     3.69%       60,227.43      150,224.36      4.62%      65,521.07

      141,472.24     38.43%    159,891.00    27.16%     -18,418.76      95,122.95     39.92%           46,349.29    Total Undistributed Expenses                1,157,756.76     35.20%    1,315,025.00    31.21%     -157,268.24    1,118,137.14     34.41%      39,619.62

      162,437.82     44.13%    299,646.50    50.91%    -137,208.68      72,011.20     30.22%           90,426.62    Gross Operating Profit                   1,296,663.93        39.42%    1,800,979.75    42.74%     -504,315.82    1,305,465.75     40.18%      -8,801.82
        11,542.47      3.14%     17,646.00     3.00%      -6,103.53       7,148.69      3.00%            4,393.78   Management Fees                              99,669.25         3.03%      126,293.00     3.00%      -26,623.75       97,384.24      3.00%       2,285.01
      150,895.35     40.99%    282,000.50    47.91%    -131,105.15      64,862.51     27.22%           86,032.84    Income Before Non-Operating Income and Expenses
                                                                                                                                                             1,196,994.68        36.39%    1,674,686.75    39.74%     -477,692.07    1,208,081.51     37.18%     -11,086.83

                                                                                                                    Non-Operating Income and Expenses
        30,866.09      8.39%     15,443.00     2.62%      15,423.09      15,866.32      6.66%           14,999.77   Insurance                                      100,466.11      3.05%      154,430.00     3.66%     -53,963.89       141,692.75      4.36%    -41,226.64
       102,769.00     27.92%    102,769.00    17.46%           0.00      97,058.33     40.73%            5,710.67   Leases & Rent                                1,004,522.29     30.54%    1,013,210.00    24.05%      -8,687.71       970,583.30     29.87%     33,938.99
        66,253.90     18.00%          0.00     0.00%      66,253.90       1,500.00      0.63%           64,753.90   Other                                          159,309.55      4.84%            0.00     0.00%     159,309.55        17,967.96      0.55%    141,341.59
      199,888.99     54.31%    118,212.00    20.08%      81,676.99     114,424.65     48.02%           85,464.34    Total Non-Operating Income and Expenses     1,264,297.95     38.44%    1,167,640.00    27.71%      96,657.95     1,130,244.01     34.79%    134,053.94

      -48,993.64    -13.31%    163,788.50    27.83%    -212,782.14     -49,562.14     -20.80%             568.50    EBITDA                                         -67,303.27    -2.05%      507,046.75    12.03%     -574,350.02       77,837.50      2.40%    -145,140.77
             0.00      0.00%    120,170.00    20.42%    -120,170.00     117,850.30      49.46%        -117,850.30   Interest                                        942,802.40    28.67%    1,202,499.00    28.54%     -259,696.60    1,182,095.65     36.38%    -239,293.25
        47,123.00     12.80%     47,123.00     8.01%           0.00      47,229.00      19.82%            -106.00   Taxes                                           424,107.00    12.89%      471,230.00    11.18%      -47,123.00      493,002.84     15.17%     -68,895.84
       47,123.00     12.80%    167,293.00    28.42%    -120,170.00     165,079.30      69.28%        -117,956.30    Interest, Taxes, Depreciation and Amortization
                                                                                                                                                                1,366,909.40     41.56%    1,673,729.00    39.72%     -306,819.60    1,675,098.49     51.55%    -308,189.09

      -96,116.64    -26.11%     -3,504.50     -0.60%    -92,612.14    -214,641.44     -90.08%        118,524.80     Net Income                                 -1,434,212.67     -43.61%   -1,166,682.25 -27.69%      -267,530.42    -1,597,260.99    -49.16%   163,048.32




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                                                                                             Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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                                                                                                                  As of 10/31/2021
             PTD      %       PTD Budget    %           Variance   PTD Last Year    %               Variance                                            YTD     %         YTD Budget %               Variance   YTD Last Year     %         Variance

                                                                                                               Statistics
           128.00                 128.00                   0.00          128.00                        0.00    # Rooms                               128.00                   128.00                     0.00         128.00                    0.00
         3,968.00               3,968.00                   0.00        3,968.00                        0.00    Available Rooms                    38,912.00                38,912.00                     0.00      39,040.00                 -128.00
         2,392.00               3,016.00                -624.00        1,550.00                      842.00    Room Nights Sold                   22,780.00                24,545.00                -1,765.00       5,988.00               16,792.00
             0.60                   0.76                  -0.16            0.39                        0.21    Occupancy %                             0.59                     0.63                    -0.05           0.15                    0.43
           151.62                 190.38                 -38.76          152.49                       -0.87    ADR                                   142.46                   167.06                   -24.60         530.02                 -387.56
            91.40                 144.70                 -53.30           59.57                       31.83    RevPar                                 83.40                   105.38                   -21.98          81.30                    2.10

                                                                                                               Summary
                                                                                                               Revenue:
       362,669.91    98.53%   574,175.50   97.54%    -211,505.59     236,362.23    99.19%         126,307.68   Rooms                            3,245,242.95   98.67%    4,100,455.75    97.31%   -855,212.80   3,173,784.98    97.68%     71,457.97
           953.75     0.26%     3,267.00    0.56%      -2,313.25           0.00     0.00%             953.75   Food                                 2,673.44    0.08%       26,081.00     0.62%    -23,407.56      19,277.97     0.59%    -16,604.53
           251.50     0.07%     4,072.00    0.69%      -3,820.50           0.00     0.00%             251.50   Beverage                             5,629.73    0.17%       24,854.00     0.59%    -19,224.27       9,829.36     0.30%     -4,199.63
         2,350.00     0.64%     2,567.00    0.44%        -217.00           0.00     0.00%           2,350.00   Other F&B Revenue                   14,891.72    0.45%       23,450.00     0.56%     -8,558.28      18,651.42     0.57%     -3,759.70
             6.36     0.00%         0.00    0.00%           6.36           0.00     0.00%               6.36   Telephone                               23.16    0.00%            0.00     0.00%         23.16           0.00     0.00%         23.16
         1,850.87     0.50%     4,548.00    0.77%      -2,697.13       1,927.23     0.81%             -76.36   Other                               20,514.16    0.62%       38,831.00     0.92%    -18,316.84      27,622.00     0.85%     -7,107.84

       368,082.39   100.00%   588,629.50   100.00%   -220,547.11     238,289.46    100.00%        129,792.93   Total Revenue                    3,288,975.16   100.00%   4,213,671.75   100.00%   -924,696.59   3,249,165.73    100.00%    39,809.43



                                                                                                               Cost of Sales:
             0.00     0.00%     1,082.00   33.12%      -1,082.00           0.00     0.00%              0.00    Food                                1,639.53    61.33%       8,442.00     32.37%     -6,802.47       4,117.37    21.36%     -2,477.84
             0.00     0.00%     1,190.00   29.22%      -1,190.00           0.00     0.00%              0.00    Beverage                            1,215.61    21.59%       6,232.00     25.07%     -5,016.39       2,541.00    25.85%     -1,325.39
             0.00     0.00%       100.00    3.90%        -100.00           0.00     0.00%              0.00    Other F&B                               0.00     0.00%         920.00      3.92%       -920.00          52.82     0.28%        -52.82
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%              0.00    Telephone                               0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         1,796.72    96.74%     2,201.00   48.39%        -404.28         890.17    46.19%            906.55    Other                              10,223.51    49.78%      18,099.00     46.61%     -7,875.49      12,008.74    43.48%     -1,785.23

         1,796.72    96.74%     4,573.00   100.55%     -2,776.28         890.17    46.19%            906.55    Total Cost of Sales                13,078.65    63.68%      33,693.00     86.77%    -20,614.35      18,719.93    67.77%     -5,641.28



                                                                                                               Payroll:
        20,209.88     5.57%    57,223.00    9.97%     -37,013.12      39,892.79    16.88%         -19,682.91   Rooms                             435,016.38    13.40%     522,380.00     12.74%    -87,363.62     392,438.23    12.36%     42,578.15
           571.20    16.07%     3,095.00   31.24%      -2,523.80           0.00     0.00%             571.20   F&B                                 1,954.55     8.43%      21,988.00     29.56%    -20,033.45       8,765.90    18.35%     -6,811.35
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%               0.00   Other                                   0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         4,368.46     1.19%    10,914.00    1.85%      -6,545.54       9,835.97     4.13%          -5,467.51   A&G                                80,998.73     2.46%     107,352.00      2.55%    -26,353.27     116,283.25     3.58%    -35,284.52
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%               0.00   IT                                      0.00     0.00%           0.00      0.00%          0.00           0.00     0.00%          0.00
         4,945.09     1.34%     5,591.00    0.95%        -645.91       5,053.92     2.12%            -108.83   S&M                                33,625.59     1.02%      54,518.00      1.29%    -20,892.41      41,570.79     1.28%     -7,945.20
         5,357.14     1.46%     8,831.00    1.50%      -3,473.86       7,922.65     3.32%          -2,565.51   R&M                                63,839.46     1.94%      86,163.00      2.04%    -22,323.54      81,820.55     2.52%    -17,981.09
        35,451.77     9.63%    85,654.00   14.55%     -50,202.23      62,705.33    26.31%         -27,253.56   Total Salaries and Wages          615,434.71    18.71%     792,401.00     18.81%   -176,966.29     640,878.72    19.72%    -25,444.01

         5,128.56     1.39%    19,393.00    3.29%     -14,264.44      15,649.98     6.57%         -10,521.42   Total Taxes and Benefits          124,542.52     3.79%     195,824.00      4.65%    -71,281.48     187,769.66     5.78%    -63,227.14
        40,580.33    11.02%   105,047.00   17.85%     -64,466.67      78,355.31    32.88%         -37,774.98   Total Labor Costs                 739,977.23    22.50%     988,225.00     23.45%   -248,247.77     828,648.38    25.50%    -88,671.15



                                                                                                               Direct Expenses:
        38,423.66    10.59%    53,693.00    9.35%     -15,269.34      21,366.77     9.04%          17,056.89   Rooms                             309,516.49     9.54%     405,542.00     9.89%     -96,025.51     286,186.41     9.02%     23,330.08
             0.00     0.00%       140.00    1.41%        -140.00          31.36     0.00%             -31.36   F&B                                   535.81     2.31%       1,550.00     2.08%      -1,014.19         385.12     0.81%        150.69
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%               0.00   Telephone                               0.00     0.00%           0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%               0.00   Other                                   0.00     0.00%           0.00     0.00%           0.00           0.00     0.00%          0.00
        37,388.60    10.16%    53,954.00    9.17%     -16,565.40      18,852.31     7.91%          18,536.29   Franchise Fees                    311,363.48     9.47%     386,842.00     9.18%     -75,478.52     273,864.41     8.43%     37,499.07
        24,597.24     6.68%    25,130.00    4.27%        -532.76      15,254.32     6.40%           9,342.92   A&G                               173,288.58     5.27%     212,785.00     5.05%     -39,496.42     186,474.43     5.74%    -13,185.85
        14,769.56     4.01%     5,687.00    0.97%       9,082.56       5,833.67     2.45%           8,935.89   IT                                 81,779.31     2.49%      56,870.00     1.35%      24,909.31      62,025.73     1.91%     19,753.58
         3,339.73     0.91%     6,160.00    1.05%      -2,820.27       2,602.41     1.09%             737.32   S&M                                45,589.83     1.39%      55,190.00     1.31%      -9,600.17      52,598.25     1.62%     -7,008.42
        10,600.97     2.88%    14,995.00    2.55%      -4,394.03       9,211.93     3.87%           1,389.04   R&M                               101,436.42     3.08%     116,477.00     2.76%     -15,040.58      84,572.96     2.60%     16,863.46
        34,147.76     9.28%    19,604.00    3.33%      14,543.76      13,880.01     5.82%          20,267.75   Utilities                         215,745.43     6.56%     155,518.00     3.69%      60,227.43     150,224.36     4.62%     65,521.07

       163,267.52    44.36%   179,363.00   30.47%     -16,095.48      87,032.78    36.52%          76,234.74   Total Direct Expense             1,239,255.35   37.68%    1,390,774.00    33.01%   -151,518.65   1,096,331.67    33.74%    142,923.68

       162,437.82    44.13%   299,646.50   50.91%    -137,208.68      72,011.20    30.22%          90,426.62   Gross Operating Profit           1,296,663.93   39.42%    1,800,979.75    42.74%   -504,315.82   1,305,465.75    40.18%     -8,801.82

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                                                                                             Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget   %           Variance   PTD Last Year    %               Variance                                            YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance




                                                                                                               Fixed Costs
        47,123.00    12.80%     47,123.00    8.01%         0.00       47,229.00    19.82%            -106.00   Taxes                              424,107.00   12.89%      471,230.00     11.18%    -47,123.00     493,002.84    15.17%     -68,895.84
        30,866.09     8.39%     15,443.00    2.62%    15,423.09       15,866.32     6.66%          14,999.77   Insurance                          100,466.11    3.05%      154,430.00      3.66%    -53,963.89     141,692.75     4.36%     -41,226.64
       102,769.00    27.92%    102,769.00   17.46%         0.00       97,058.33    40.73%           5,710.67   Leases & Rent                    1,004,522.29   30.54%    1,013,210.00     24.05%     -8,687.71     970,583.30    29.87%      33,938.99
        11,542.47     3.14%     17,646.00    3.00%    -6,103.53        7,148.69     3.00%           4,393.78   Management Fees                     99,669.25    3.03%      126,293.00      3.00%    -26,623.75      97,384.24     3.00%       2,285.01

       192,300.56    52.24%    182,981.00   31.09%      9,319.56     167,302.34    70.21%          24,998.22   Total Fixed Expenses             1,628,764.65   49.52%    1,765,163.00     41.89%   -136,398.35   1,702,663.13    52.40%     -73,898.48

       -29,862.74     -8.11%   116,665.50   19.82%   -146,528.24     -95,291.14    -39.99%         65,428.40   Net Operating Profit             -332,100.72    -10.10%      35,816.75     0.85%    -367,917.47    -397,197.38    -12.22%    65,096.66



             0.00     0.00%     91,850.00   15.60%    -91,850.00      91,850.30    38.55%         -91,850.30   Interest - First Mortgage         734,802.40    22.34%      918,500.00     21.80%   -183,697.60     918,503.00    28.27%    -183,700.60
             0.00     0.00%     28,320.00    4.81%    -28,320.00      26,000.00    10.91%         -26,000.00   Interest - Notes Payable          208,000.00     6.32%      283,200.00      6.72%    -75,200.00     263,592.65     8.11%     -55,592.65
             0.00     0.00%          0.00    0.00%          0.00           0.00     0.00%               0.00   Interest Income                         0.00     0.00%          799.00      0.02%       -799.00           0.00     0.00%           0.00
        66,253.90    18.00%          0.00    0.00%     66,253.90       1,500.00     0.63%          64,753.90   Prior Owner's Expense             134,309.55     4.08%            0.00      0.00%    134,309.55      17,967.96     0.55%     116,341.59



       -96,116.64    -26.11%    -3,504.50   -0.60%    -92,612.14    -214,641.44    -90.08%        118,524.80   Net Operating Income            -1,409,212.67   -42.85%   -1,166,682.25   -27.69%   -242,530.42   -1,597,260.99   -49.16%   188,048.32

             0.00      0.00%         0.00   0.00%           0.00           0.00     0.00%               0.00   (Gain)/Loss-Insurance              25,000.00     0.76%            0.00     0.00%     25,000.00            0.00     0.00%     25,000.00

       -96,116.64    -26.11%    -3,504.50   -0.60%    -92,612.14    -214,641.44    -90.08%        118,524.80   Adjusted NOI                    -1,434,212.67   -43.61%   -1,166,682.25   -27.69%   -267,530.42   -1,597,260.99   -49.16%   163,048.32




       -96,116.64    -26.11%    -3,504.50   -0.60%    -92,612.14    -214,641.44    -90.08%        118,524.80   Net Profit/(Loss)               -1,434,212.67   -43.61%   -1,166,682.25   -27.69%   -267,530.42   -1,597,260.99   -49.16%   163,048.32




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                                                                                                Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget      %           Variance   PTD Last Year     %              Variance                                              YTD     %          YTD Budget %                Variance   YTD Last Year    %          Variance

                                                                                                                  Rooms
                                                                                                                  Room Revenue
                                                                                                                  Transient Room Revenue
        38,393.65    10.59%          0.00      0.00%     38,393.65        2,092.85      0.89%         36,300.80   Corporate Transient                   70,892.95     2.18%            0.00     0.00%     70,892.95      162,113.79     5.11%    -91,220.84
        22,715.17     6.26%          0.00      0.00%     22,715.17       55,661.18     23.55%        -32,946.01   Advanced Purchase                    370,856.04    11.43%            0.00     0.00%    370,856.04      388,402.91    12.24%    -17,546.87
        26,824.95     7.40%     96,957.00     16.89%    -70,132.05       41,853.95     17.71%        -15,029.00   AAA/AARP Transient                   598,069.89    18.43%      846,814.00    20.65%   -248,744.11      398,501.46    12.56%    199,568.43
             0.00     0.00%          0.00      0.00%          0.00            0.00      0.00%              0.00   FIT(Flexible Independent Travel)           0.00     0.00%            0.00     0.00%          0.00          156.75     0.00%       -156.75
           537.15     0.15%          0.00      0.00%        537.15        4,225.00      1.79%         -3,687.85   Consortia Transient                   16,815.84     0.52%            0.00     0.00%     16,815.84      100,422.14     3.16%    -83,606.30
           109.00     0.03%          0.00      0.00%        109.00            0.00      0.00%            109.00   Employee                               7,028.00     0.22%            0.00     0.00%      7,028.00        5,074.00     0.16%      1,954.00
         1,708.24     0.47%          0.00      0.00%      1,708.24            0.00      0.00%          1,708.24   Leisure Transient                      1,708.24     0.05%            0.00     0.00%      1,708.24            0.00     0.00%      1,708.24
             0.00     0.00%          0.00      0.00%          0.00            0.00      0.00%              0.00   Leisure Package Transient              6,358.50     0.20%            0.00     0.00%      6,358.50        3,685.75     0.12%      2,672.75
         3,529.36     0.97%          0.00      0.00%      3,529.36        1,889.47      0.80%          1,639.89   Member Reward Stay                    72,291.10     2.23%            0.00     0.00%     72,291.10       24,388.21     0.77%     47,902.89
        19,433.00     5.36%          0.00      0.00%     19,433.00            0.00      0.00%         19,433.00   Extended Stay Transient               41,037.92     1.26%            0.00     0.00%     41,037.92            0.00     0.00%     41,037.92
        97,783.16    26.96%    111,000.00     19.33%    -13,216.84       73,574.31     31.13%         24,208.85   Internet/E-Commerce                  721,232.70    22.22%      989,767.00    24.14%   -268,534.30      638,807.24    20.13%     82,425.46
             0.00     0.00%          0.00      0.00%          0.00            0.00      0.00%              0.00   E-Commerce Opaque                        280.86     0.01%            0.00     0.00%        280.86        1,047.54     0.03%       -766.68
         4,330.42     1.19%          0.00      0.00%      4,330.42            0.00      0.00%          4,330.42   Other Transient                        4,330.42     0.13%            0.00     0.00%      4,330.42            0.00     0.00%      4,330.42
         4,242.00     1.17%      4,125.00      0.72%        117.00        4,015.00      1.70%            227.00   Government Transient                  16,011.00     0.49%       81,336.00     1.98%    -65,325.00       49,717.00     1.57%    -33,706.00
        69,941.12    19.29%    142,935.00     24.89%    -72,993.88       21,876.88      9.26%         48,064.24   Rack Transient                       762,956.51    23.51%    1,013,200.00    24.71%   -250,243.49      400,745.88    12.63%    362,210.63
        32,415.91     8.94%    201,883.50     35.16%   -169,467.59       24,537.41     10.38%          7,878.50   Local Negotiated Transient           380,054.60    11.71%    1,064,908.75    25.97%   -684,854.15      877,633.48    27.65%   -497,578.88

      321,963.13     88.78%    556,900.50    96.99%    -234,937.37     229,726.05     97.19%         92,237.08    Total Transient Room Revenue       3,069,924.57   94.60%    3,996,025.75    97.45%    -926,101.18    3,050,696.15    96.12%   19,228.42

                                                                                                                  Group Room Revenue
             0.00      0.00%      7,400.00     1.29%     -7,400.00            0.00      0.00%              0.00   Corporate Group                       13,687.64     0.42%      27,195.00     0.66%      -13,507.36           0.00     0.00%    13,687.64
             0.00      0.00%          0.00     0.00%          0.00            0.00      0.00%              0.00   Government Group                         676.00     0.02%       2,780.00     0.07%       -2,104.00       7,605.00     0.24%    -6,929.00
             0.00      0.00%          0.00     0.00%          0.00            0.00      0.00%              0.00   Tour & Travel Group                    4,360.50     0.13%           0.00     0.00%        4,360.50           0.00     0.00%     4,360.50
        34,522.31      9.52%      4,950.00     0.86%     29,572.31        4,276.00      1.81%         30,246.31   SMERF Group                           99,860.05     3.08%      44,880.00     1.09%       54,980.05      49,899.82     1.57%    49,960.23
         3,785.00      1.04%      3,725.00     0.65%         60.00            0.00      0.00%          3,785.00   Sports Group                          18,563.00     0.57%      16,975.00     0.41%        1,588.00      18,843.00     0.59%      -280.00

       38,307.31     10.56%     16,075.00     2.80%     22,232.31        4,276.00      1.81%         34,031.31    Total Group Room Revenue            137,147.19     4.23%      91,830.00      2.24%     45,317.19       76,347.82     2.41%    60,799.37

                                                                                                                  Contract Room Revenue

             0.00     0.00%          0.00     0.00%           0.00            0.00     0.00%              0.00    Total Contract Room Revenue                0.00    0.00%            0.00     0.00%           0.00            0.00    0.00%          0.00

                                                                                                                  Other Room Revenue
         1,787.96      0.49%          0.00     0.00%      1,787.96        1,449.39      0.61%            338.57   No-Show Rooms                         20,058.07     0.62%           0.00     0.00%      20,058.07       18,109.67     0.57%      1,948.40
            99.00      0.03%          0.00     0.00%         99.00            0.00      0.00%             99.00   Early/Late Departure Fees              9,377.00     0.29%           0.00     0.00%       9,377.00       19,123.30     0.60%     -9,746.30
         1,000.00      0.28%      1,200.00     0.21%       -200.00        1,560.79      0.66%           -560.79   Pet/Smoking/Damage Fees               13,705.89     0.42%      12,600.00     0.31%       1,105.89       10,774.79     0.34%      2,931.10

        2,886.96      0.80%      1,200.00     0.21%       1,686.96       3,010.18      1.27%           -123.22    Total Other Room Revenue             43,140.96     1.33%      12,600.00      0.31%     30,540.96       48,007.76     1.51%     -4,866.80

          -487.49     -0.13%          0.00     0.00%       -487.49         -650.00     -0.28%           162.51    Less: Allowances                      -4,969.77    -0.15%            0.00    0.00%       -4,969.77      -1,266.75    -0.04%     -3,703.02

      362,669.91    100.00%    574,175.50    100.00%   -211,505.59     236,362.23     100.00%       126,307.68    Total Room Revenue                 3,245,242.95   100.00%   4,100,455.75 100.00%      -855,212.80    3,173,784.98 100.00%     71,457.97

                                                                                                                  Expenses
                                                                                                                  Payroll Expense
                                                                                                                  Salaries and Wages
         2,987.27      0.82%      6,255.00     1.09%      -3,267.73           0.00      0.00%          2,987.27   Front Office Management               18,206.41     0.56%      60,077.00      1.47%     -41,870.59           0.00     0.00%     18,206.41
         5,357.14      1.48%      8,629.00     1.50%      -3,271.86       5,250.00      2.22%            107.14   Housekeeping Management               51,250.00     1.58%      84,178.00      2.05%     -32,928.00      46,311.04     1.46%      4,938.96
        8,344.41      2.30%     14,884.00     2.59%      -6,539.59       5,250.00      2.22%          3,094.41    Total Rooms Management               69,456.41     2.14%     144,255.00      3.52%     -74,798.59      46,311.04     1.46%     23,145.37
         4,156.49      1.15%      6,159.00     1.07%      -2,002.51       4,354.72      1.84%           -198.23   Front Office Agents                   52,887.30     1.63%      58,443.00      1.43%      -5,555.70      40,806.67     1.29%     12,080.63
             0.00      0.00%          0.00     0.00%           0.00       5,136.52      2.17%         -5,136.52   Front Office Supervisors              39,057.83     1.20%           0.00      0.00%      39,057.83      48,589.88     1.53%     -9,532.05
         4,089.67      1.13%      4,385.00     0.76%        -295.33       4,464.82      1.89%           -375.15   Night Auditors                        39,491.85     1.22%      42,006.00      1.02%      -2,514.15      41,981.48     1.32%     -2,489.63
             0.00      0.00%      3,719.00     0.65%      -3,719.00           0.00      0.00%              0.00   Breakfast Attendant                        0.00     0.00%      37,202.00      0.91%     -37,202.00      22,675.89     0.71%    -22,675.89
        8,246.16      2.27%     14,263.00     2.48%      -6,016.84      13,956.06      5.90%         -5,709.90    Total Rooms Front Office            131,436.98     4.05%     137,651.00      3.36%      -6,214.02     154,053.92     4.85%    -22,616.94
         4,000.82      1.10%          0.00     0.00%       4,000.82       2,745.50      1.16%          1,255.32   Housekeeping Supervisors              23,088.60     0.71%           0.00      0.00%      23,088.60      24,975.55     0.79%     -1,886.95
          -381.51     -0.11%     22,513.00     3.92%     -22,894.51      17,652.18      7.47%        -18,033.69   Room Attendants                      208,275.60     6.42%     187,530.00      4.57%      20,745.60     147,827.08     4.66%     60,448.52
             0.00      0.00%      2,781.00     0.48%      -2,781.00           0.00      0.00%              0.00   Housepersons                               0.00     0.00%      26,562.00      0.65%     -26,562.00      13,405.96     0.42%    -13,405.96
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                                                                                              Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget     %           Variance   PTD Last Year    %               Variance                                                 YTD     %         YTD Budget %                Variance   YTD Last Year    %          Variance

            0.00       0.00%      2,782.00    0.48%      -2,782.00         289.05     0.12%            -289.05   Laundry Attendants                        2,758.79    0.09%      26,382.00      0.64%     -23,623.21       5,864.68     0.18%    -3,105.89
        3,619.31      1.00%     28,076.00    4.89%     -24,456.69      20,686.73     8.75%         -17,067.42    Total Rooms Housekeeping               234,122.99    7.21%     240,474.00      5.86%      -6,351.01     192,073.27     6.05%    42,049.72

       20,209.88      5.57%     57,223.00    9.97%     -37,013.12      39,892.79     16.88%        -19,682.91    Total Rooms Salary and Wages           435,016.38    13.40%    522,380.00    12.74%      -87,363.62     392,438.23     12.36%   42,578.15

                                                                                                                 PR Taxes and Benefits
         1,371.87      0.38%      3,739.00    0.65%      -2,367.13       2,424.23     1.03%          -1,052.36   FICA                                     21,772.09    0.67%      34,879.00      0.85%     -13,106.91      25,351.26     0.80%     -3,579.17
            52.07      0.01%         49.00    0.01%           3.07           6.21     0.00%              45.86   Federal Unemployment Tax                    839.76    0.03%       1,029.00      0.03%        -189.24         829.38     0.03%         10.38
           295.07      0.08%         49.00    0.01%         246.07          22.93     0.01%             272.14   State Unemployment Tax                    4,008.11    0.12%       5,283.00      0.13%      -1,274.89       4,440.32     0.14%       -432.21
        1,719.01      0.47%      3,837.00    0.67%      -2,117.99       2,453.37     1.04%            -734.36    Total Payroll Taxes                     26,619.96    0.82%      41,191.00      1.00%     -14,571.04      30,620.96     0.96%     -4,001.00
             0.00      0.00%          0.00    0.00%           0.00           0.00     0.00%               0.00   Holiday                                   4,255.37    0.13%       7,000.00      0.17%      -2,744.63       6,843.67     0.22%     -2,588.30
             0.00      0.00%        603.00    0.11%        -603.00       1,116.41     0.47%          -1,116.41   Vacation                                  9,942.73    0.31%       6,030.00      0.15%       3,912.73      12,453.84     0.39%     -2,511.11
             0.00     0.00%        603.00    0.11%        -603.00       1,116.41     0.47%          -1,116.41    Total Supplemental Pay                  14,198.10    0.44%      13,030.00      0.32%       1,168.10      19,297.51     0.61%     -5,099.41
         1,400.15      0.39%      1,399.00    0.24%           1.15       1,282.30     0.54%             117.85   Worker's Compensation                    14,333.40    0.44%      13,990.00      0.34%         343.40      13,186.96     0.42%      1,146.44
          -200.11     -0.06%      4,082.00    0.71%      -4,282.11       4,122.14     1.74%          -4,322.25   Group Insurance                          18,060.71    0.56%      40,807.00      1.00%     -22,746.29      48,281.43     1.52%    -30,220.72
             0.00      0.00%         57.00    0.01%         -57.00           0.00     0.00%               0.00   401k Contribution                           180.54    0.01%         227.00      0.01%         -46.46         512.75     0.02%       -332.21
             0.00      0.00%         50.00    0.01%         -50.00           0.00     0.00%               0.00   Bonus and Incentive Pay                       0.00    0.00%         500.00      0.01%        -500.00           0.00     0.00%          0.00
             0.00      0.00%          0.00    0.00%           0.00           0.00     0.00%               0.00   Other Benefits                              456.00    0.01%           0.00      0.00%         456.00           0.00     0.00%        456.00
        1,200.04      0.33%      5,588.00    0.97%      -4,387.96       5,404.44     2.29%          -4,204.40    Total Other Benefits                    33,030.65    1.02%      55,524.00      1.35%     -22,493.35      61,981.14     1.95%    -28,950.49

        2,919.05      0.80%     10,028.00    1.75%      -7,108.95       8,974.22     3.80%          -6,055.17    Total Rooms PR Taxes and Benefits       73,848.71    2.28%     109,745.00      2.68%     -35,896.29     111,899.61     3.53%    -38,050.90

       23,128.93      6.38%     67,251.00    11.71%    -44,122.07      48,867.01     20.67%        -25,738.08    Total Rooms Labor Costs                508,865.09    15.68%    632,125.00    15.42%     -123,259.91     504,337.84     15.89%     4,527.25

                                                                                                                 Other Expenses
         4,419.19      1.22%     9,048.00     1.58%      -4,628.81       2,445.39     1.03%          1,973.80    Breakfast /Comp Cost                     38,958.63    1.20%      66,391.00     1.62%      -27,432.37      40,295.55     1.27%    -1,336.92
           128.76      0.04%     1,206.00     0.21%      -1,077.24         464.28     0.20%           -335.52    Cleaning Supplies                         6,889.29    0.21%       9,817.00     0.24%       -2,927.71       5,809.86     0.18%     1,079.43
        24,393.52      6.73%         0.00     0.00%      24,393.52           0.00     0.00%         24,393.52    Contract Labor                           56,673.58    1.75%           0.00     0.00%       56,673.58           0.00     0.00%    56,673.58
           122.37      0.03%         0.00     0.00%         122.37           0.00     0.00%            122.37    Dues and Subscriptions                      122.37    0.00%           0.00     0.00%          122.37           0.00     0.00%       122.37
         2,919.77      0.81%     3,619.00     0.63%        -699.23       1,557.90     0.66%          1,361.87    Guest Supplies                           19,887.94    0.61%      26,366.00     0.64%       -6,478.06      17,884.97     0.56%     2,002.97
             0.00      0.00%       935.00     0.16%        -935.00         442.64     0.19%           -442.64    Laundry                                   3,965.58    0.12%       7,609.00     0.19%       -3,643.42       4,524.51     0.14%      -558.93
         1,008.41      0.28%     1,960.00     0.34%        -951.59        -769.41    -0.33%          1,777.82    Linen                                    18,032.74    0.56%      16,827.00     0.41%        1,205.74      10,707.56     0.34%     7,325.18
             0.00      0.00%     1,960.00     0.34%      -1,960.00         819.26     0.35%           -819.26    Operating Supplies                        6,833.76    0.21%      15,364.00     0.37%       -8,530.24       9,295.76     0.29%    -2,462.00
         1,742.25      0.48%    11,612.00     2.02%      -9,869.75       4,457.70     1.89%         -2,715.45    Reservation Expense                      48,973.17    1.51%      94,499.00     2.30%      -45,525.83      70,623.79     2.23%   -21,650.62
             0.00      0.00%       151.00     0.03%        -151.00           0.00     0.00%              0.00    Rooms Promotion                            -280.13   -0.01%       1,066.00     0.03%       -1,346.13         334.32     0.01%      -614.45
         1,927.87      0.53%     1,898.00     0.33%          29.87       1,897.27     0.80%             30.60    Television Cable                         20,516.36    0.63%      18,980.00     0.46%        1,536.36      18,450.60     0.58%     2,065.76
             0.00      0.00%       250.00     0.04%        -250.00           0.00     0.00%              0.00    Transportation                              105.27    0.00%       2,050.00     0.05%       -1,944.73         391.00     0.01%      -285.73
         1,108.64      0.31%         0.00     0.00%       1,108.64           0.00     0.00%          1,108.64    Travel Agent Comm - Group Rooms           5,224.48    0.16%           0.00     0.00%        5,224.48           0.00     0.00%     5,224.48
           652.88      0.18%    20,054.00     3.49%     -19,401.12      10,051.74     4.25%         -9,398.86    Travel Agent Comm - Transient Rooms      83,126.75    2.56%     143,073.00     3.49%      -59,946.25     105,165.51     3.31%   -22,038.76
             0.00      0.00%     1,000.00     0.17%      -1,000.00           0.00     0.00%              0.00    Uniforms                                    486.70    0.01%       3,500.00     0.09%       -3,013.30       2,702.98     0.09%    -2,216.28

       38,423.66     10.59%     53,693.00    9.35%     -15,269.34      21,366.77     9.04%         17,056.89     Total Rooms Other Expenses             309,516.49    9.54%     405,542.00      9.89%     -96,025.51     286,186.41     9.02%    23,330.08

       61,552.59     16.97%    120,944.00    21.06%    -59,391.41      70,233.78     29.71%         -8,681.19    Total Rooms Expenses                   818,381.58    25.22%   1,037,667.00   25.31%     -219,285.42     790,524.25     24.91%   27,857.33

      301,117.32     83.03%    453,231.50    78.94%   -152,114.18     166,128.45     70.29%       134,988.87     Total Rooms Profit (Loss)             2,426,861.37   74.78%   3,062,788.75   74.69%     -635,927.38    2,383,260.73    75.09%   43,600.64




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                                                                            Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                                      YTD    %   YTD Budget %     Variance   YTD Last Year   %     Variance

                                                                                               Room Sale Stats
                                                                                               Tranisent Rooms
           297.00                 0.00         297.00           5.00                 292.00    Room Stat - Corporate Transient                 459.00             0.00         459.00          57.00            402.00
           141.00                 0.00         141.00         380.00                -239.00    Room Stat - Advanced Purchase                 2,556.00             0.00       2,556.00       1,544.00          1,012.00
           167.00               513.00        -346.00          62.00                 105.00    Room Stat - AAA/AARP Transient                1,162.00         5,162.00      -4,000.00         300.00            862.00
             0.00                 0.00           0.00          25.00                 -25.00    Room Stat - Consortia Rate Transient            103.00             0.00         103.00          42.00             61.00
             1.00                 0.00           1.00           0.00                   1.00    Room Stat - Employee                             75.00             0.00          75.00           1.00             74.00
            17.00                 0.00          17.00           0.00                  17.00    Room Stat - Leisure Transient                    17.00             0.00          17.00           0.00             17.00
             0.00                 0.00           0.00           0.00                   0.00    Room Stat - Package Transient                    41.00             0.00          41.00           0.00             41.00
             0.00                 0.00           0.00           0.00                   0.00    Room Stat - Travel Agent/Friends & Family         3.00             0.00           3.00           0.00              3.00
            45.00                 0.00          45.00          20.00                  25.00    Room Stat - Member Reward Stay                  682.00             0.00         682.00          82.00            600.00
           147.00                 0.00         147.00         184.00                 -37.00    Room Stat - Extended Stay Transient           3,557.00             0.00       3,557.00         615.00          2,942.00
           617.00               600.00          17.00         480.00                 137.00    Room Stat - Internet                          4,928.00         6,225.00      -1,297.00       1,290.00          3,638.00
            30.00                 0.00          30.00          27.00                   3.00    Room Stat - Other Transient                     205.00             0.00         205.00          44.00            161.00
             0.00                 0.00           0.00           0.00                   0.00    Room Stat - E-Commerce Opaque                     2.00             0.00           2.00           0.00              2.00
            30.00                25.00           5.00          25.00                   5.00    Room Stat - Government Rate Transient           111.00           549.00        -438.00          78.00             33.00
           412.00               733.00        -321.00         122.00                 290.00    Room Stat - Rack Rate Transient               4,907.00         5,663.00        -756.00         305.00          4,602.00
           242.00             1,050.00        -808.00         174.00                  68.00    Room Stat - Local Negotiated Transient        2,868.00         6,326.00      -3,458.00       1,442.00          1,426.00
        2,146.00             2,921.00        -775.00       1,504.00                 642.00     Total Transient Rooms Sold                  21,676.00        23,925.00      -2,249.00       5,800.00         15,876.00

                                                                                               Group Rooms
             0.00               40.00         -40.00           12.00                 -12.00    Room Stat - Corporate Group Rooms               275.00           160.00        115.00          132.00            143.00
             0.00                0.00           0.00            0.00                   0.00    Room Stat - Government Group                      4.00            20.00        -16.00            0.00              4.00
             0.00                0.00           0.00            0.00                   0.00    Room Stat - Tour & Travel Group                  30.00             0.00         30.00            0.00             30.00
           223.00               30.00         193.00           34.00                 189.00    Room Stat - SMERF Group                         670.00           315.00        355.00           56.00            614.00
            23.00               25.00          -2.00            0.00                  23.00    Room Stat - Sports Group                        125.00           125.00          0.00            0.00            125.00
          246.00                95.00        151.00            46.00                200.00     Total Group Rooms Sold                       1,104.00           620.00        484.00          188.00            916.00

                                                                                               Contract Rooms
             0.00                0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                        0.00             0.00           0.00            0.00             0.00

        2,392.00             3,016.00        -624.00       1,550.00                 842.00     Total Rooms Sold                            22,780.00        24,545.00      -1,765.00       5,988.00         16,792.00
            23.00                0.00           23.00          0.00                   23.00    Room Stat-Comp Rooms                             37.00            0.00           37.00          0.00              37.00
        2,415.00             3,016.00        -601.00       1,550.00                 865.00     Total Rooms Occupied                        22,817.00        24,545.00      -1,728.00       5,988.00         16,829.00
           175.00                0.00          175.00          0.00                  175.00    Room Stat-Out of Order                          329.00            0.00          329.00          0.00             329.00

                                                                                               ADR
           129.27                 0.00        129.27          418.57                -289.30    Corporate Transient ADR                         154.45             0.00        154.45        2,844.10         -2,689.65
           161.10                 0.00        161.10          146.48                  14.62    Advanced Purchase ADR                           145.09             0.00        145.09          251.56           -106.46
           160.63               189.00         -28.37         675.06                -514.44    AAA/AARP ADR                                    514.69           164.05        350.64        1,328.34           -813.65
             0.00                 0.00           0.00           0.00                    0.00   FIT ADR                                           0.00             0.00           0.00           0.00              0.00
             0.00                 0.00           0.00         169.00                -169.00    Consortia ADR                                   163.26             0.00        163.26        2,391.00         -2,227.74
           109.00                 0.00        109.00            0.00                 109.00    Employee ADR                                     93.71             0.00          93.71       5,074.00         -4,980.29
           100.48                 0.00        100.48            0.00                 100.48    Leisure ADR                                     100.48             0.00        100.48            0.00            100.48
             0.00                 0.00           0.00           0.00                    0.00   Travel Agent/Friends & Family ADR                 0.00             0.00           0.00           0.00              0.00
             0.00                 0.00           0.00           0.00                    0.00   Leisure Package ADR                             374.03             0.00        374.03            0.00            374.03
            78.43                 0.00          78.43          94.47                 -16.04    Member Reward Stay ADR                          106.00             0.00        106.00          297.42           -191.42
             0.00                 0.00           0.00           0.00                    0.00   Golf Pkg ADR                                      0.00             0.00           0.00           0.00              0.00
           132.20                 0.00        132.20            0.00                 132.20    Extended Stay ADR                                11.54             0.00          11.54           0.00             11.54
           158.48               185.00         -26.52         153.28                    5.20   Internet ADR                                    146.35           159.00         -12.64         495.20           -348.85
             0.00                 0.00           0.00           0.00                    0.00   E-Commerce Opaque ADR                           140.43             0.00        140.43            0.00            140.43
           144.35                 0.00        144.35            0.00                 144.35    Other Transient ADR                              21.12             0.00          21.12           0.00             21.12
             0.00                 0.00           0.00           0.00                    0.00   Airline Distressed Passenger ADR                  0.00             0.00           0.00           0.00              0.00
           141.40               165.00         -23.60         160.60                 -19.20    Government ADR                                  144.24           148.15          -3.91         637.40           -493.15
           169.76               195.00         -25.24         179.32                   -9.56   Rack ADR                                        155.48           178.92         -23.43       1,313.92         -1,158.44
           133.95               192.27         -58.32         141.02                   -7.07   Local Negotiated ADR                            132.52           168.34         -35.82         608.62           -476.11
          150.03               190.65         -40.62         152.74                   -2.71    Total Transient ADR                            141.63           167.02         -25.40         525.98           -384.35

             0.00              185.00        -185.00            0.00                   0.00    Corporate Group ADR                             49.77           169.97        -120.20            0.00            49.77
             0.00                0.00           0.00            0.00                   0.00    Leisure Group ADR                                0.00             0.00           0.00            0.00             0.00
             0.00                0.00           0.00            0.00                   0.00    Government Group ADR                           169.00           139.00          30.00            0.00           169.00
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                                                                            Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                          YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                 0.00           0.00           0.00                  0.00    Tour & Travel Group ADR              145.35             0.00      145.35            0.00          145.35
             0.00                 0.00           0.00           0.00                  0.00    Association Group ADR                  0.00             0.00        0.00            0.00            0.00
             0.00                 0.00           0.00           0.00                  0.00    City Wide Group ADR                    0.00             0.00        0.00            0.00            0.00
           154.81               165.00         -10.19         125.76                 29.04    SMERF Group ADR                      149.04           142.48        6.57          891.07         -742.02
           164.57               149.00          15.57           0.00                164.57    Sports Group ADR                     148.50           135.80       12.70            0.00          148.50
             0.00                 0.00           0.00           0.00                  0.00    Other Group ADR                        0.00             0.00        0.00            0.00            0.00
          155.72               169.21         -13.49           92.96                 62.76    Total Group ADR                     124.23           148.11       -23.89         406.11         -281.88

             0.00                0.00           0.00            0.00                  0.00    Airline Crew ADR                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Other Contract ADR                    0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Contract ADR                    0.00             0.00         0.00            0.00           0.00

          151.62               190.38         -38.76         152.49                  -0.87    Total ADR                           142.46           167.06       -24.60         530.02         -387.56




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                                                                                             Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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                                                                                                                  As of 10/31/2021
             PTD      %        PTD Budget     %          Variance   PTD Last Year   %               Variance                                                 YTD      %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                               F&B Summary
                                                                                                               Revenue
             5.75      0.16%     1,267.00     12.79%    -1,261.25           0.00     0.00%              5.75   Outlet Food Revenue                        -170.56     -0.74%     7,381.00   9.92%        -7,551.56       3,799.99   7.96%        -3,970.55
           948.00     26.66%     2,000.00     20.19%    -1,052.00           0.00     0.00%            948.00   Banquet and Catering Food Revenue         2,844.00     12.26%    18,700.00  25.14%       -15,856.00      15,477.98  32.41%       -12,633.98
           251.50      7.07%     4,072.00     41.11%    -3,820.50           0.00     0.00%            251.50   Outlet Beverage Revenue                   5,629.73     24.27%    24,854.00  33.41%       -19,224.27       9,829.36  20.58%        -4,199.63
             0.00      0.00%         0.00      0.00%         0.00           0.00     0.00%              0.00   Banquet and Catering Beverage Revenue         0.00      0.00%         0.00   0.00%             0.00           0.00   0.00%             0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00     0.00%              0.00   Outlet Other Revenue                          0.00      0.00%         0.00   0.00%             0.00           0.00   0.00%             0.00
         2,350.00     66.10%     2,567.00     25.91%      -217.00           0.00     0.00%          2,350.00   Banquet and Catering Other Revenue       14,891.72     64.20%    23,450.00  31.53%        -8,558.28      18,651.42  39.05%        -3,759.70
        3,555.25    100.00%     9,906.00    100.00%    -6,350.75            0.00    0.00%          3,555.25    Total F&B Revenue                       23,194.89    100.00%    74,385.00 100.00%       -51,190.11      47,758.75 100.00%       -24,563.86

                                                                                                               Cost of Sales
             0.00      0.00%     1,082.00     10.92%    -1,082.00           0.00     0.00%             0.00    Food Purchases                            1,639.53      7.07%     8,442.00    11.35%      -6,802.47       4,117.37      8.62%     -2,477.84
             0.00      0.00%     1,190.00     12.01%    -1,190.00           0.00     0.00%             0.00    Beverage Purchases                        1,215.61      5.24%     6,232.00     8.38%      -5,016.39       2,541.00      5.32%     -1,325.39
             0.00      0.00%         0.00      0.00%         0.00           0.00     0.00%             0.00    Cedit Employee Meals                          0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00     0.00%             0.00    Credit House Charges                          0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00     0.00%             0.00    Credit In-House Promotions                    0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00     0.00%             0.00    Audio Visual Cost of Sales                    0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%          0.00
             0.00      0.00%       100.00      1.01%      -100.00           0.00     0.00%             0.00    Other Cost of Sales                           0.00      0.00%       920.00     1.24%        -920.00          52.82      0.11%        -52.82
             0.00     0.00%     2,372.00     23.95%    -2,372.00            0.00    0.00%              0.00    Total F&B Cost of Sales                  2,855.14     12.31%    15,594.00    20.96%     -12,738.86       6,711.19     14.05%     -3,856.05

        3,555.25    100.00%     7,534.00     76.05%    -3,978.75            0.00    0.00%          3,555.25    F&B Gross Profit                        20,339.75     87.69%    58,791.00    79.04%     -38,451.25      41,047.56     85.95%    -20,707.81

                                                                                                               Expenses
                                                                                                               Payroll
                                                                                                               Salaries and Wages
             0.00      0.00%         0.00      0.00%         0.00           0.00     0.00%              0.00   Management                                    0.00      0.00%         0.00     0.00%           0.00           0.00      0.00%          0.00
           571.20     16.07%     3,095.00     31.24%    -2,523.80           0.00     0.00%            571.20   Non-Management                            1,954.55      8.43%    21,988.00    29.56%     -20,033.45       8,765.90     18.35%     -6,811.35
          571.20     16.07%     3,095.00     31.24%    -2,523.80            0.00    0.00%            571.20    Total F&B Salaries and Wages             1,954.55      8.43%    21,988.00    29.56%     -20,033.45       8,765.90     18.35%     -6,811.35
                                                                                                               PR Taxes and Benefits
            70.18      1.97%       259.00      2.61%     -188.82            0.00     0.00%             70.18   Payroll Taxes                                70.18      0.30%     1,866.00      2.51%     -1,795.82         755.73      1.58%       -685.55
             0.00      0.00%        81.00      0.82%       -81.00           0.00     0.00%              0.00   Supplemental Pay                              0.00      0.00%       903.00      1.21%       -903.00         119.92      0.25%       -119.92
           181.64      5.11%         0.00      0.00%      181.64            0.00     0.00%            181.64   Other Benefits                              533.70      2.30%         0.00      0.00%        533.70       6,291.99     13.17%     -5,758.29
          251.82      7.08%       340.00      3.43%       -88.18            0.00    0.00%            251.82    Total F&B PR Taxes and Benefits            603.88      2.60%     2,769.00      3.72%     -2,165.12       7,167.64     15.01%     -6,563.76

          823.02     23.15%     3,435.00     34.68%    -2,611.98            0.00    0.00%            823.02    Total F&B Payroll                        2,558.43     11.03%    24,757.00    33.28%     -22,198.57      15,933.54     33.36%    -13,375.11

                                                                                                               Other Expenses
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Audio Visual Supplies                        0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Banquet Expense                              0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Bar Expense/Promos                           0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Bar Supplies                                 0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    China                                        0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Cleaning Supplies                            0.00      0.00%       200.00      0.27%       -200.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Communication Expense                        0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Contract Cleaning                            0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Contract Labor                               0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Decorations & Plants                         0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Dues and Subscriptions                       0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        40.00     0.40%       -40.00           31.36    0.00%            -31.36    Equipment Rental                           290.88      1.25%       400.00      0.54%       -109.12          341.60     0.72%        -50.72
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Food and Beverage Advertising                0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Glassware                                    0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Guest Loss/Damage                            0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Guest Supplies                             180.36      0.78%         0.00      0.00%        180.36            0.00     0.00%        180.36
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    In-House Entertainment                       0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Kitchen/Cooking Fuel                         0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Kitchen Equipment                            0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Laundry - Outside Expense                    0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Laundry Allocation                           0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Licenses/Permits                             0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Linen                                        0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Linen Rental                                 0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
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                                                                                          Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget    %        Variance   PTD Last Year   %               Variance                                          YTD     %       YTD Budget %               Variance   YTD Last Year    %         Variance

             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Maintenance Contracts                 0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Meals and Entertainment               0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Menus                                 0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Miscellaneous Expense                64.57     0.28%       550.00      0.74%       -485.43          0.00      0.00%        64.57
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Music and Entertainment               0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Office Equipment                      0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Office Supplies                       0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Operating Supplies                    0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Paper/Plastic Supplies                0.00     0.00%       100.00      0.13%       -100.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Printing and Stationery               0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Silverware                            0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Software Expense/Maintenance          0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Television Cable                      0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Training                              0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Travel                                0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%         0.00    0.00%        0.00           0.00     0.00%             0.00    Uniforms                              0.00     0.00%         0.00      0.00%          0.00          0.00      0.00%         0.00
             0.00      0.00%       100.00    1.01%     -100.00           0.00     0.00%             0.00    Utensils                              0.00     0.00%       300.00      0.40%       -300.00         43.52      0.09%       -43.52
             0.00     0.00%       140.00    1.41%     -140.00           31.36    0.00%            -31.36    Total F&B Other Expenses            535.81    2.31%     1,550.00      2.08%     -1,014.19         385.12     0.81%       150.69

          823.02     23.15%     3,575.00    36.09%   -2,751.98          31.36    0.00%            791.66    Total F&B Expenses                 3,094.24   13.34%   26,307.00    35.37%     -23,212.76      16,318.66     34.17%   -13,224.42

        2,732.23     76.85%     3,959.00    39.97%   -1,226.77         -31.36    0.00%          2,763.59    Total F&B Profit (Loss)           17,245.51   74.35%   32,484.00    43.67%     -15,238.49      24,728.90     51.78%    -7,483.39




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                                                                            Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                          YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
             0.00                0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Restaurant 1 Covers             0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Restaurant 1 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 2
             0.00                0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Restaurant 2 Covers             0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Restaurant 2 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Room Service
             0.00                0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Room Service Covers             0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Room Service Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Banquets
             0.00                0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Banquets Covers                 0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Banquets Avg Check                    0.00             0.00         0.00            0.00           0.00

                                                                                              Catering
             0.00                0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Catering Covers                 0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Catering Avg Check                    0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 3
             0.00                 0.00          0.00            0.00                  0.00    Breakfast Avg Check                    0.00             0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                  0.00    Lunch Avg Check                        0.00             0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                  0.00    Dinner Avg Check                       0.00             0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                  0.00    Brunch Avg Check                       0.00             0.00        0.00            0.00           0.00
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %          Variance                                          YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Restaurant 3 Covers             0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Restaurant 3 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 4
             0.00                0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Restaurant 4 Covers             0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Restaurant 4 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 5
             0.00                0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Restaurant 5 Covers             0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Restaurant 5 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Bar 1
             0.00                0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Bar 1 Covers                    0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Bar 1 Avg Check                       0.00             0.00         0.00            0.00           0.00

                                                                                              Bar 2
             0.00                0.00           0.00            0.00                  0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Total Bar 2 Covers                    0.00             0.00         0.00            0.00           0.00
             0.00                0.00           0.00            0.00                  0.00    Bar 2 Avg Check                       0.00             0.00         0.00            0.00           0.00

             0.00                0.00           0.00            0.00                  0.00    Total Covers                          0.00             0.00         0.00            0.00           0.00




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                                                                                           Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget    %        Variance    PTD Last Year   %               Variance                                                YTD     %       YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             Food Admin
                                                                                                             Cost of Sales
             0.00      0.00%     1,082.00   10.92%   -1,082.00            0.00    0.00%              0.00    Food Purchases                           1,639.53    7.07%     8,442.00     11.35%    -6,802.47        4,117.37     8.62%     -2,477.84
             0.00      0.00%     1,190.00   12.01%   -1,190.00            0.00    0.00%              0.00    Beverage Purchases                       1,215.61    5.24%     6,232.00      8.38%    -5,016.39        2,541.00     5.32%     -1,325.39
             0.00      0.00%       100.00    1.01%     -100.00            0.00    0.00%              0.00    Other Cost of Sales                          0.00    0.00%       920.00      1.24%      -920.00           52.82     0.11%        -52.82

             0.00     0.00%     2,372.00    23.95%   -2,372.00            0.00    0.00%              0.00    Total Food Admin Cost of Sales           2,855.14   12.31%   15,594.00    20.96%     -12,738.86       6,711.19     14.05%     -3,856.05

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00    0.00%        0.00             0.00    0.00%              0.00    Total Food Admin Management                  0.00   0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00             0.00    0.00%              0.00    Total Food Admin Non-Management              0.00   0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00

             0.00     0.00%         0.00    0.00%        0.00             0.00    0.00%              0.00    Total Food Admin Salaries and Wages          0.00   0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00

                                                                                                             PR Taxes and Benefits

             0.00      0.00%       243.00    2.45%     -243.00            0.00     0.00%             0.00    FICA                                         0.00    0.00%     1,751.00      2.35%     -1,751.00         554.56      1.16%       -554.56
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%             0.00    Federal Unemployment Tax                     0.00    0.00%         0.00      0.00%          0.00          43.50      0.09%        -43.50
             0.00      0.00%        16.00    0.16%       -16.00           0.00     0.00%             0.00    State Unemployment Tax                       0.00    0.00%       115.00      0.15%       -115.00         157.67      0.33%       -157.67
             0.00     0.00%       259.00    2.61%     -259.00             0.00    0.00%              0.00    Total Payroll Taxes                          0.00   0.00%     1,866.00      2.51%     -1,866.00         755.73      1.58%       -755.73
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%             0.00    Holiday                                      0.00    0.00%       336.00      0.45%       -336.00         112.00      0.23%       -112.00
             0.00      0.00%        81.00    0.82%       -81.00           0.00     0.00%             0.00    Vacation                                     0.00    0.00%       567.00      0.76%       -567.00           7.92      0.02%         -7.92
             0.00     0.00%         81.00   0.82%       -81.00            0.00    0.00%              0.00    Total Supplemental Pay                       0.00   0.00%       903.00      1.21%       -903.00         119.92      0.25%       -119.92
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%             0.00    Worker's Compensation                      352.06    1.52%         0.00      0.00%        352.06         239.48      0.50%        112.58
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%             0.00    Group Insurance                              0.00    0.00%         0.00      0.00%          0.00       6,052.51     12.67%     -6,052.51
             0.00     0.00%          0.00   0.00%          0.00           0.00    0.00%              0.00    Total Other Benefits                      352.06    1.52%          0.00     0.00%        352.06       6,291.99     13.17%     -5,939.93

             0.00     0.00%       340.00    3.43%     -340.00             0.00    0.00%              0.00    Total Food Admin PR Taxes and Benefits    352.06    1.52%     2,769.00      3.72%     -2,416.94       7,167.64     15.01%     -6,815.58

             0.00     0.00%       340.00    3.43%     -340.00             0.00    0.00%              0.00    Total Food Admin Payroll                  352.06    1.52%     2,769.00      3.72%     -2,416.94       7,167.64     15.01%     -6,815.58

                                                                                                             Other Expenses
             0.00      0.00%        0.00     0.00%        0.00            0.00    0.00%              0.00    Cleaning Supplies                            0.00    0.00%      200.00      0.27%       -200.00            0.00     0.00%          0.00
             0.00      0.00%       40.00     0.40%      -40.00           31.36    0.00%            -31.36    Equipment Rental                           290.88    1.25%      400.00      0.54%       -109.12          341.60     0.72%        -50.72
             0.00      0.00%        0.00     0.00%        0.00            0.00    0.00%              0.00    Guest Supplies                             180.36    0.78%        0.00      0.00%        180.36            0.00     0.00%        180.36
             0.00      0.00%        0.00     0.00%        0.00            0.00    0.00%              0.00    Miscellaneous Expense                       64.57    0.28%      550.00      0.74%       -485.43            0.00     0.00%         64.57
             0.00      0.00%        0.00     0.00%        0.00            0.00    0.00%              0.00    Paper/Plastic Supplies                       0.00    0.00%      100.00      0.13%       -100.00            0.00     0.00%          0.00
             0.00      0.00%      100.00     1.01%     -100.00            0.00    0.00%              0.00    Utensils                                     0.00    0.00%      300.00      0.40%       -300.00           43.52     0.09%        -43.52

             0.00     0.00%       140.00    1.41%     -140.00            31.36    0.00%            -31.36    Total Food Admin Other Expenses           535.81    2.31%     1,550.00      2.08%     -1,014.19         385.12      0.81%       150.69

             0.00     0.00%       480.00    4.85%     -480.00            31.36    0.00%            -31.36    Total Food Admin Expenses                 887.87    3.83%     4,319.00      5.81%     -3,431.13       7,552.76     15.81%     -6,664.89

             0.00     0.00%     2,852.00    28.79%   -2,852.00           31.36    0.00%            -31.36    Departmental Costs                       3,743.01   16.14%   19,913.00    26.77%     -16,169.99      14,263.95     29.87%    -10,520.94




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             PTD      %        PTD Budget   %       Variance   PTD Last Year   %              Variance                                          YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                         Beverage Admin
             0.00      0.00%         0.00   0.00%      0.00            0.00    0.00%             0.00    Less Adjustments                       0.00   0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Revenue          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Cost of Sales

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Cost of Sales    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                         Expenses
                                                                                                         Other Expenses

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Other Expenses   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%             0.00    Total Beverage Admin Expenses         0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%             0.00    Departmental Costs                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                            Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget     %         Variance   PTD Last Year   %               Variance                                                   YTD      %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Restaurant 1
                                                                                                              Food Revenue
             0.00      0.00%     1,267.00    23.73%   -1,267.00            0.00    0.00%              0.00    Food-Late Night                             -176.31      -3.39%     7,381.00     22.90%     -7,557.31       3,799.99    27.88%    -3,976.30

             0.00     0.00%     1,267.00    23.73%    -1,267.00            0.00    0.00%              0.00    Restaurant 1 Food Revenue                   -176.31     -3.39%     7,381.00    22.90%      -7,557.31       3,799.99     27.88%    -3,976.30
             0.00      0.00%        0.00      0.00%        0.00            0.00     0.00%             0.00    Less: Allowances                               0.00       0.00%        0.00      0.00%          0.00           0.00       0.00%        0.00

             0.00     0.00%     1,267.00    23.73%    -1,267.00            0.00    0.00%              0.00    Total Restaurant 1 Food Revenue             -176.31     -3.39%     7,381.00    22.90%      -7,557.31       3,799.99     27.88%    -3,976.30

                                                                                                              Beverage Revenue
             0.00      0.00%     1,659.00    31.07%   -1,659.00            0.00    0.00%              0.00    Liquor                                     4,098.50     78.79%     10,295.00     31.94%     -6,196.50       4,955.01    36.36%      -856.51
             0.00      0.00%     1,659.00    31.07%   -1,659.00            0.00    0.00%              0.00    Beer                                         725.00     13.94%      9,228.00     28.63%     -8,503.00       2,943.50    21.60%    -2,218.50
             0.00      0.00%       754.00    14.12%     -754.00            0.00    0.00%              0.00    Wine                                         481.00      9.25%      5,331.00     16.54%     -4,850.00       1,937.50    14.22%    -1,456.50

             0.00     0.00%     4,072.00    76.27%    -4,072.00            0.00    0.00%              0.00    Restaurant 1 Beverage Revenue              5,304.50    101.97%    24,854.00    77.10%     -19,549.50       9,836.01     72.17%    -4,531.51
             0.00      0.00%        0.00      0.00%        0.00            0.00     0.00%             0.00    Beverage-Adjustments-A&G                      73.73       1.42%        0.00      0.00%         73.73           -6.65     -0.05%       80.38
             0.00      0.00%        0.00      0.00%        0.00            0.00     0.00%             0.00    Less: Allowances                              73.73       1.42%        0.00      0.00%         73.73           -6.65     -0.05%       80.38

             0.00     0.00%     4,072.00    76.27%    -4,072.00            0.00    0.00%              0.00    Total Restaurant 1 Beverage Revenue        5,378.23    103.39%    24,854.00    77.10%     -19,475.77       9,829.36     72.12%    -4,451.13

             0.00     0.00%     5,339.00    100.00%   -5,339.00            0.00    0.00%              0.00    Total Restaurant 1 Revenue                 5,201.92    100.00%    32,235.00 100.00%       -27,033.08      13,629.35 100.00%       -8,427.43

                                                                                                              Cost of Sales

             0.00     0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Total Restaurant 1 Cost of Sales               0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

             0.00     0.00%     5,339.00    100.00%   -5,339.00            0.00    0.00%              0.00    Restaurant 1 Gross Profit                  5,201.92    100.00%    32,235.00 100.00%       -27,033.08      13,629.35 100.00%       -8,427.43

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
             0.00     0.00%          0.00    0.00%          0.00           0.00    0.00%              0.00    Total Restaurant 1 Management                   0.00     0.00%          0.00    0.00%            0.00           0.00     0.00%          0.00
             0.00      0.00%     2,682.00    50.23%    -2,682.00           0.00     0.00%             0.00    Servers                                     1,383.35     26.59%    18,130.00    56.24%     -16,746.65       5,741.40     42.13%    -4,358.05
             0.00     0.00%     2,682.00    50.23%    -2,682.00            0.00    0.00%              0.00    Total Restaurant 1 Non-Management          1,383.35     26.59%    18,130.00    56.24%     -16,746.65       5,741.40     42.13%    -4,358.05

             0.00     0.00%     2,682.00    50.23%    -2,682.00            0.00    0.00%              0.00    Total Restaurant 1 Salaries and Wages      1,383.35     26.59%    18,130.00    56.24%     -16,746.65       5,741.40     42.13%    -4,358.05

                                                                                                              PR Taxes and Benefits
             0.00     0.00%         0.00     0.00%         0.00            0.00    0.00%               0.00   Total Payroll Taxes                            0.00      0.00%         0.00      0.00%           0.00           0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%         0.00            0.00    0.00%               0.00   Total Supplemental Pay                         0.00      0.00%         0.00      0.00%           0.00           0.00     0.00%         0.00
           127.84      0.00%        0.00      0.00%      127.84            0.00     0.00%            127.84   Worker's Compensation                        127.84       2.46%        0.00       0.00%        127.84           0.00      0.00%      127.84
          127.84      0.00%         0.00     0.00%      127.84             0.00    0.00%            127.84    Total Other Benefits                        127.84       2.46%         0.00      0.00%        127.84            0.00     0.00%      127.84

          127.84      0.00%         0.00     0.00%      127.84             0.00    0.00%            127.84    Total Restaurant 1 PR Taxes and Benefits    127.84       2.46%         0.00      0.00%        127.84            0.00     0.00%      127.84

          127.84      0.00%     2,682.00    50.23%    -2,554.16            0.00    0.00%            127.84    Total Restaurant 1 Payroll                 1,511.19     29.05%    18,130.00    56.24%     -16,618.81       5,741.40     42.13%    -4,230.21

                                                                                                              Other Expenses
             0.00     0.00%         0.00     0.00%         0.00            0.00    0.00%              0.00    Total Restaurant 1 Other Expenses              0.00      0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

          127.84      0.00%     2,682.00    50.23%    -2,554.16            0.00    0.00%            127.84    Total Restaurant 1 Expenses                1,511.19     29.05%    18,130.00    56.24%     -16,618.81       5,741.40     42.13%    -4,230.21

         -127.84      0.00%     2,657.00    49.77%    -2,784.84            0.00    0.00%           -127.84    Total Restaurant 1 Profit (Loss)           3,690.73     70.95%    14,105.00    43.76%     -10,414.27       7,887.95     57.87%    -4,197.22




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revemue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Room Service
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget     %        Variance   PTD Last Year   %               Variance                                            YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                             Banquets
                                                                                                             Food Revenue
           612.00    18.56%      2,000.00    43.79%   -1,388.00           0.00    0.00%            612.00    Food-Lunch                           2,508.00    14.14%    18,700.00     44.37%   -16,192.00       15,464.00    45.31%    -12,956.00
           336.00    10.19%          0.00     0.00%      336.00           0.00    0.00%            336.00    Food-Breaks                            336.00     1.89%         0.00      0.00%       336.00            0.00     0.00%        336.00

          948.00     28.74%     2,000.00    43.79%    -1,052.00           0.00    0.00%            948.00    Banquets Food Revenue                2,844.00   16.04%    18,700.00    44.37%     -15,856.00      15,464.00     45.31%    -12,620.00
            0.00       0.00%        0.00      0.00%        0.00           0.00     0.00%             0.00    Food-Adjustments-A&G                     0.00     0.00%        0.00      0.00%          0.00          13.98       0.04%        -13.98
            0.00       0.00%        0.00      0.00%        0.00           0.00     0.00%             0.00    Less: Allowances                         0.00     0.00%        0.00      0.00%          0.00          13.98       0.04%        -13.98

          948.00     28.74%     2,000.00    43.79%    -1,052.00           0.00    0.00%            948.00    Total Banquets Food Revenue          2,844.00   16.04%    18,700.00    44.37%     -15,856.00      15,477.98     45.35%    -12,633.98

                                                                                                             Beverage Revenue

             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%              0.00    Banquets Beverage Revenue                0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%       0.00            0.00     0.00%             0.00    Less: Allowances                         0.00     0.00%        0.00       0.00%         0.00            0.00      0.00%         0.00

             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%              0.00    Total Banquets Beverage Revenue          0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00

                                                                                                             Other Revenue
           300.00     9.10%        116.00     2.54%      184.00           0.00    0.00%             300.00   Audio/Visual Income                  2,065.00    11.64%     1,885.00      4.47%       180.00        2,375.00     6.96%        -310.00
             0.00     0.00%          0.00     0.00%        0.00           0.00    0.00%               0.00   Other Revenue                          125.00     0.70%         0.00      0.00%       125.00            0.00     0.00%         125.00
             0.00     0.00%        751.00    16.44%     -751.00           0.00    0.00%               0.00   Setup Fee                            2,436.72    13.74%     7,015.00     16.64%    -4,578.28        6,151.42    18.02%      -3,714.70
         2,050.00    62.16%      1,700.00    37.22%      350.00           0.00    0.00%           2,050.00   Public Room Rental                  10,265.00    57.88%    14,550.00     34.52%    -4,285.00       10,125.00    29.67%         140.00

        2,350.00     71.26%     2,567.00    56.21%     -217.00            0.00    0.00%          2,350.00    Total Banquets Other Revenue        14,891.72   83.96%    23,450.00    55.63%      -8,558.28      18,651.42     54.65%     -3,759.70

        3,298.00    100.00%     4,567.00    100.00%   -1,269.00           0.00    0.00%          3,298.00    Total Banquets Revenue              17,735.72   100.00%   42,150.00 100.00%       -24,414.28      34,129.40 100.00%       -16,393.68

                                                                                                             Cost of Sales

             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%              0.00    Total Banquets Cost of Sales             0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00

        3,298.00    100.00%     4,567.00    100.00%   -1,269.00           0.00    0.00%          3,298.00    Gross Profit                        17,735.72   100.00%   42,150.00 100.00%       -24,414.28      34,129.40 100.00%       -16,393.68

                                                                                                             Expenses
                                                                                                             Payroll Expense
                                                                                                             Salaries and Wages
             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%              0.00    Total Banquets Management                0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00

             0.00      0.00%       413.00     9.04%     -413.00           0.00     0.00%             0.00    Servers                                  0.00     0.00%     3,858.00      9.15%     -3,858.00       3,024.50      8.86%     -3,024.50
             0.00     0.00%       413.00     9.04%     -413.00            0.00    0.00%              0.00    Total Banquets Non-Management            0.00    0.00%     3,858.00      9.15%     -3,858.00       3,024.50      8.86%     -3,024.50

             0.00                 413.00               -413.00            0.00                       0.00    Total Banquets Salaries and Wages        0.00              3,858.00                -3,858.00       3,024.50                -3,024.50

                                                                                                             PR Taxes and Benefits
             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%              0.00    Total Payroll Taxes                      0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%              0.00    Total Supplemental Pay                   0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%              0.00    Total Other Benefits                     0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00

             0.00                   0.00                  0.00            0.00                       0.00    Total Banquet Benefits                   0.00                  0.00                     0.00            0.00                    0.00

             0.00     0.00%       413.00     9.04%     -413.00            0.00    0.00%              0.00    Total Banquets Payroll                   0.00    0.00%     3,858.00      9.15%     -3,858.00       3,024.50      8.86%     -3,024.50

                                                                                                             Other Expenses
             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%              0.00    Total Banquets Other Expenses            0.00    0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00

             0.00     0.00%       413.00     9.04%     -413.00            0.00    0.00%              0.00    Total Banquets Expenses                  0.00    0.00%     3,858.00      9.15%     -3,858.00       3,024.50      8.86%     -3,024.50


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                                                                                      Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                      P&L - Dual Summary Pages
                                                                                                           As of 10/31/2021
             PTD      %      PTD Budget    %       Variance   PTD Last Year   %              Variance                                          YTD     %        YTD Budget %           Variance   YTD Last Year    %         Variance

        3,298.00   100.00%    4,154.00    90.96%   -856.00            0.00    0.00%         3,298.00    Total Banquets Profit (Loss)      17,735.72   100.00%   38,292.00   90.85%   -20,556.28     31,104.90     91.14%   -13,369.18




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                                                                                         Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Catering
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Catering Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Catering Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Catering Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Catering Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 3
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 4
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                         Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                                 YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Restaurant 5
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 5 Food Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Food Revenue               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 5 Beverage Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Allowances                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Beverage Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Cost of Sales              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Restaurant 5 Gross Profit                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%               0.00   Total Restaurant 5 Management                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
           571.20      0.00%        0.00     0.00%    571.20            0.00     0.00%            571.20   Cashiers                                    571.20    0.00%        0.00       0.00%    571.20            0.00     0.00%    571.20
          571.20      0.00%         0.00    0.00%    571.20             0.00    0.00%            571.20    Total Restaurant 5 Non-Management          571.20    0.00%         0.00      0.00%    571.20             0.00    0.00%    571.20

          571.20      0.00%         0.00    0.00%    571.20             0.00    0.00%            571.20    Total Restaurant 5 Salaries and Wages      571.20    0.00%         0.00      0.00%    571.20             0.00    0.00%    571.20

                                                                                                           PR Taxes and Benefits
           54.31       0.00%        0.00     0.00%     54.31            0.00     0.00%            54.31    FICA                                        54.31     0.00%        0.00       0.00%     54.31            0.00     0.00%     54.31
            2.37       0.00%        0.00     0.00%      2.37            0.00     0.00%             2.37    Federal Unemployment Tax                     2.37     0.00%        0.00       0.00%      2.37            0.00     0.00%      2.37
           13.50       0.00%        0.00     0.00%     13.50            0.00     0.00%            13.50    State Unemployment Tax                      13.50     0.00%        0.00       0.00%     13.50            0.00     0.00%     13.50
           70.18      0.00%         0.00    0.00%      70.18            0.00    0.00%             70.18    Total Payroll Taxes                         70.18    0.00%         0.00      0.00%      70.18            0.00    0.00%      70.18
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
           53.80       0.00%        0.00     0.00%     53.80            0.00     0.00%            53.80    Bonus and Incentive Pay                     53.80     0.00%        0.00       0.00%     53.80            0.00     0.00%     53.80
           53.80      0.00%         0.00    0.00%      53.80            0.00    0.00%             53.80    Total Other Benefits                        53.80    0.00%         0.00      0.00%      53.80            0.00    0.00%      53.80

          123.98      0.00%         0.00    0.00%    123.98             0.00    0.00%            123.98    Total Restaurant 5 PR Taxes and Benefits   123.98    0.00%         0.00      0.00%    123.98             0.00    0.00%    123.98

          695.18      0.00%         0.00    0.00%    695.18             0.00    0.00%            695.18    Total Restaurant 5 Payroll                 695.18    0.00%         0.00      0.00%    695.18             0.00    0.00%    695.18

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Restaurant 5 Other Expenses             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

          695.18      0.00%         0.00    0.00%    695.18             0.00    0.00%            695.18    Total Restaurant 5 Expenses                695.18    0.00%         0.00      0.00%    695.18             0.00    0.00%    695.18

         -695.18      0.00%         0.00    0.00%    -695.18            0.00    0.00%           -695.18    Total Restaurant 5 Profit (Loss)           -695.18   0.00%         0.00      0.00%    -695.18            0.00    0.00%    -695.18




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                          YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 1
                                                                                                           Food Revenue
             5.75      2.24%         0.00   0.00%       5.75            0.00    0.00%              5.75    Food-Late Night                        5.75     2.24%         0.00     0.00%       5.75            0.00    0.00%       5.75

             5.75     2.24%         0.00    0.00%       5.75            0.00    0.00%              5.75    Bar 1 Food Revenue                    5.75     2.24%         0.00      0.00%       5.75            0.00    0.00%       5.75
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                     0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             5.75     2.24%         0.00    0.00%       5.75            0.00    0.00%              5.75    Total Bar 1 Food Revenue              5.75     2.24%         0.00      0.00%       5.75            0.00    0.00%       5.75

                                                                                                           Beverage Revenue
           133.00    51.70%          0.00   0.00%     133.00            0.00    0.00%            133.00    Liquor                               133.00    51.70%         0.00     0.00%     133.00            0.00    0.00%     133.00
           110.00    42.76%          0.00   0.00%     110.00            0.00    0.00%            110.00    Beer                                 110.00    42.76%         0.00     0.00%     110.00            0.00    0.00%     110.00
             8.50     3.30%          0.00   0.00%       8.50            0.00    0.00%              8.50    Wine                                   8.50     3.30%         0.00     0.00%       8.50            0.00    0.00%       8.50

          251.50     97.76%         0.00    0.00%    251.50             0.00    0.00%            251.50    Bar 1 Beverage Revenue              251.50    97.76%         0.00      0.00%    251.50             0.00    0.00%    251.50
            0.00       0.00%        0.00     0.00%     0.00             0.00     0.00%             0.00    Less: Adjustments                     0.00      0.00%        0.00       0.00%     0.00             0.00     0.00%     0.00

          251.50     97.76%         0.00    0.00%    251.50             0.00    0.00%            251.50    Total Bar 1 Beverage Revenue        251.50    97.76%         0.00      0.00%    251.50             0.00    0.00%    251.50

                                                                                                           Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Other Revenue             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

          257.25    100.00%         0.00    0.00%    257.25             0.00    0.00%            257.25    Total Bar 1 Revenue                 257.25    100.00%        0.00      0.00%    257.25             0.00    0.00%    257.25

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Cost of Sales             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

          257.25    100.00%         0.00    0.00%    257.25             0.00    0.00%            257.25    Gross Profit                        257.25    100.00%        0.00      0.00%    257.25             0.00    0.00%    257.25

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Non-Management            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Salaries and Wages        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 PR Taxes and Benefits     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Payroll                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Other Expenses            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 1 Expenses                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

          257.25    100.00%         0.00    0.00%    257.25             0.00    0.00%            257.25    Total Bar 1 Profit (Loss)           257.25    100.00%        0.00      0.00%    257.25             0.00    0.00%    257.25




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Bar 2
                                                                                                           Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Bar 2 Food Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Food Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Bar 2 Beverage Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Beverage Revenue          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Other Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Cost of Sales             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Gross Profit                          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Expenses
                                                                                                           Payroll Expenses
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Non-Management            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Salaries and Wages        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Payroll Taxes                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Supplemental Pay                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Other Benefits                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 PR Taxes and Benefits     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Payroll                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Other Expenses            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Expenses                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Bar 2 Profit (Loss)             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %               Variance                                          YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                           Telephone
             6.36   100.00%          0.00   0.00%       6.36            0.00    0.00%              6.36    Local and Long Distance Revenue       23.16   100.00%          0.00     0.00%      23.16            0.00    0.00%      23.16

             6.36   100.00%         0.00    0.00%       6.36            0.00    0.00%              6.36    Telephone Revenue                    23.16    100.00%         0.00      0.00%      23.16            0.00    0.00%      23.16
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%             0.00    Less: Adjustments                     0.00       0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             6.36   100.00%         0.00    0.00%       6.36            0.00    0.00%              6.36    Total Telephone Revenue              23.16    100.00%         0.00      0.00%      23.16            0.00    0.00%      23.16

                                                                                                           Cost of Sales
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Telephone Cost of Sales         0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             6.36   100.00%         0.00    0.00%       6.36            0.00    0.00%              6.36    Gross Profit                         23.16    100.00%         0.00      0.00%      23.16            0.00    0.00%      23.16

                                                                                                           Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%              0.00    Total Telephone Other Expenses        0.00      0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             6.36   100.00%         0.00    0.00%       6.36            0.00    0.00%              6.36    Total Telephone Profit (Loss)        23.16    100.00%         0.00      0.00%      23.16            0.00    0.00%      23.16




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             PTD      %        PTD Budget     %          Variance   PTD Last Year     %               Variance                                              YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                                 Minor Operating
                                                                                                                 Income
           206.57     11.16%         0.00      0.00%       206.57           0.00       0.00%            206.57   Rental Income - Gift Shop                254.64     1.24%         0.00   0.00%          254.64           0.00   0.00%          254.64
          206.57     11.16%          0.00     0.00%       206.57            0.00      0.00%            206.57    Total Rental Income                     254.64     1.24%          0.00  0.00%          254.64            0.00  0.00%          254.64
             0.00     0.00%          0.00     0.00%          0.00           0.00      0.00%               0.00   Total Vending Commission Income            0.00    0.00%          0.00  0.00%             0.00           0.00  0.00%             0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%              0.00   Cancellation Fee - Rooms                 -20.14    -0.10%         0.00   0.00%          -20.14           0.00   0.00%          -20.14
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%              0.00   Cancellation Fee - Other                 142.00     0.69%         0.00   0.00%          142.00           0.00   0.00%          142.00
             0.00     0.00%          0.00     0.00%          0.00           0.00      0.00%               0.00   Total Cancellation Fee Income           121.86     0.59%          0.00  0.00%          121.86            0.00  0.00%          121.86
           202.00     10.91%       302.00      6.64%      -100.00           0.00       0.00%            202.00   Guest Laundry                            512.50     2.50%     1,914.00   4.93%       -1,401.50         264.30   0.96%          248.20
             0.00      0.00%         0.00      0.00%         0.00          12.01       0.62%            -12.01   Other Revenue 2                          134.29     0.65%         0.00   0.00%          134.29         153.98   0.56%          -19.69
             0.00      0.00%       325.00      7.15%      -325.00         307.00      15.93%           -307.00   Other Revenue 3                        2,842.28    13.86%     3,775.00   9.72%         -932.72       3,147.25  11.39%         -304.97
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%              0.00   Other Revenue 4                        1,186.15     5.78%         0.00   0.00%        1,186.15         371.36   1.34%          814.79
         1,442.30     77.93%     3,921.00     86.21%    -2,478.70       1,608.22      83.45%           -165.92   Gift Shop Sales                       15,462.44    75.37%    33,142.00  85.35%      -17,679.56      23,685.11  85.75%       -8,222.67
        1,644.30     88.84%     4,548.00    100.00%    -2,903.70       1,927.23     100.00%           -282.93    Total Other Income                   20,137.66    98.16%    38,831.00 100.00%      -18,693.34      27,622.00 100.00%       -7,484.34

        1,850.87    100.00%     4,548.00    100.00%    -2,697.13       1,927.23     100.00%            -76.36    Total Minor Operating Income         20,514.16    100.00%   38,831.00 100.00%      -18,316.84      27,622.00 100.00%       -7,107.84

                                                                                                                 Cost of Sales
             0.00      0.00%       241.00      5.30%     -241.00            0.00       0.00%              0.00   Cost of Sales - Guest Laundry              0.00     0.00%     1,529.00     3.94%     -1,529.00         285.89      1.04%      -285.89
         1,796.72     97.07%     1,960.00     43.10%     -163.28          890.17      46.19%            906.55   Cost of Sales - Gift Shop             10,223.51    49.84%    16,570.00    42.67%     -6,346.49      11,722.85     42.44%    -1,499.34
        1,796.72     97.07%     2,201.00     48.39%     -404.28          890.17      46.19%            906.55    Total Minor Operated Cost of Sales   10,223.51    49.84%    18,099.00    46.61%     -7,875.49      12,008.74     43.48%    -1,785.23

           54.15      2.93%     2,347.00     51.61%    -2,292.85       1,037.06      53.81%           -982.91    Total Minor Operated Profit (Loss)   10,290.65    50.16%    20,732.00    53.39%    -10,441.35      15,613.26     56.52%    -5,322.61




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                          YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Arcade
                                                                                                        Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Revenue                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Non-Management           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Salaries and Wages       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade PR Taxes and Benefits    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Payroll                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Other Expenses           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Expenses                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Arcade Profit (Loss)            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                      Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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                                                                                                           As of 10/31/2021
             PTD      %       PTD Budget   %       Variance   PTD Last Year   %              Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                        Waterpark
                                                                                                        Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                        Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%             0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                         Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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             PTD      %        PTD Budget   %         Variance   PTD Last Year   %              Variance                                                    YTD    %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                           Franchise Fees
        18,148.40      4.93%    28,649.00   4.87%   -10,500.60       8,044.46    3.38%         10,103.94   Franchise Fees - Royalty & Licenses        164,047.63   4.99%   204,393.00     4.85%   -40,345.37     133,839.15    4.12%   30,208.48
        14,860.50      4.04%    13,178.00   2.24%     1,682.50       5,551.68    2.33%          9,308.82   Franchise Fees - Frequent Guest             70,077.36   2.13%    94,019.00     2.23%   -23,941.64      70,285.33    2.16%     -207.97
         4,379.70      1.19%    12,127.00   2.06%    -7,747.30       5,256.17    2.21%           -876.47   Franchise Fees - Marketing Contributions    77,238.49   2.35%    88,430.00     2.10%   -11,191.51      69,739.93    2.15%    7,498.56

       37,388.60     10.16%    53,954.00    9.17%   -16,565.40     18,852.31     7.91%        18,536.29    Total Franchise Fees                       311,363.48   9.47%   386,842.00     9.18%   -75,478.52    273,864.41     8.43%   37,499.07




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                                                                                            Company: PLCA Associates LLC Property: Hyatt House Pleasanton
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                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year    %                Variance                                             YTD    %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                               A&G
                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
         4,368.46      1.19%    10,914.00    1.85%    -6,545.54       9,835.97      4.13%          -5,467.51   Management- A&G                      80,998.73    2.46%    107,352.00     2.55%    -26,353.27     114,136.69      3.51%    -33,137.96
        4,368.46      1.19%    10,914.00    1.85%    -6,545.54       9,835.97      4.13%          -5,467.51    Total A&G Management                80,998.73    2.46%    107,352.00     2.55%    -26,353.27     114,136.69      3.51%    -33,137.96
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Security Agents                           0.00    0.00%          0.00     0.00%          0.00       2,146.56      0.07%     -2,146.56
             0.00     0.00%          0.00   0.00%          0.00           0.00     0.00%                0.00   Total A&G Non-Management                  0.00   0.00%           0.00    0.00%           0.00      2,146.56      0.07%     -2,146.56
        4,368.46      1.19%    10,914.00    1.85%    -6,545.54       9,835.97      4.13%          -5,467.51    Total A&G Salaries and Wages        80,998.73    2.46%    107,352.00     2.55%    -26,353.27     116,283.25      3.58%    -35,284.52
                                                                                                               PR Taxes and Benefits
           315.58      0.09%       939.00    0.16%      -623.42         892.61      0.37%            -577.03   FICA                                  6,601.31    0.20%      8,888.00     0.21%     -2,286.69       9,190.57      0.28%     -2,589.26
            15.02      0.00%        12.00    0.00%         3.02           0.00      0.00%              15.02   Federal Unemployment Tax                127.71    0.00%        732.00     0.02%       -604.29          37.69      0.00%         90.02
            82.59      0.02%        12.00    0.00%        70.59         -25.60     -0.01%             108.19   State Unemployment Tax                  271.33    0.01%        446.00     0.01%       -174.67         157.41      0.00%        113.92
          413.19      0.11%       963.00    0.16%      -549.81         867.01      0.36%            -453.82    Total Payroll Taxes                  7,000.35    0.21%     10,066.00     0.24%     -3,065.65       9,385.67      0.29%     -2,385.32
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%               0.00   Holiday                               1,234.42    0.04%      2,000.00     0.05%       -765.58       2,168.36      0.07%       -933.94
             0.00      0.00%         0.00    0.00%         0.00         605.56      0.25%            -605.56   Vacation                              5,165.30    0.16%          0.00     0.00%      5,165.30       6,838.05      0.21%     -1,672.75
             0.00     0.00%          0.00   0.00%          0.00        605.56      0.25%            -605.56    Total Supplemental Pay               6,399.72    0.19%      2,000.00     0.05%      4,399.72       9,006.41      0.28%     -2,606.69
           200.05      0.05%       370.00    0.06%      -169.95         425.85      0.18%            -225.80   Worker's Compensation                 3,660.30    0.11%      3,700.00     0.09%        -39.70       4,997.13      0.15%     -1,336.83
          -185.08     -0.05%       538.00    0.09%      -723.08         458.56      0.19%            -643.64   Group Insurance                       3,634.22    0.11%      5,380.00     0.13%     -1,745.78       7,824.05      0.24%     -4,189.83
             0.00      0.00%       117.00    0.02%      -117.00           0.00      0.00%               0.00   401k Contribution                       107.68    0.00%        464.00     0.01%       -356.32         756.26      0.02%       -648.58
             0.00      0.00%     1,354.00    0.23%    -1,354.00           0.00      0.00%               0.00   Bonus and Incentive Pay               2,916.00    0.09%      6,770.00     0.16%     -3,854.00      -1,364.00     -0.04%      4,280.00
            14.97     0.00%     2,379.00    0.40%    -2,364.03         884.41      0.37%            -869.44    Total Other Benefits                10,318.20    0.31%     16,314.00     0.39%     -5,995.80      12,213.44      0.38%     -1,895.24
          428.16      0.12%     3,342.00    0.57%    -2,913.84       2,356.98      0.99%          -1,928.82    Total A&G PR Taxes and Benefits     23,718.27    0.72%     28,380.00     0.67%     -4,661.73      30,605.52      0.94%     -6,887.25
        4,796.62      1.30%    14,256.00    2.42%    -9,459.38      12,192.95      5.12%          -7,396.33    Total A&G Payroll                  104,717.00    3.18%    135,732.00     3.22%    -31,015.00     146,888.77      4.52%    -42,171.77
                                                                                                               Other Expenses
         1,000.00      0.27%         0.00    0.00%     1,000.00           0.00      0.00%          1,000.00    Accounting/Audit Fees                 2,000.00    0.06%          0.00     0.00%      2,000.00          74.27      0.00%      1,925.73
        -2,736.69     -0.74%         0.00    0.00%    -2,736.69       1,081.19      0.45%         -3,817.88    Bad Debt Provision                    4,334.49    0.13%          0.00     0.00%      4,334.49       9,937.02      0.31%     -5,602.53
         1,010.31      0.27%     1,215.00    0.21%      -204.69       1,052.16      0.44%            -41.85    Bank Charges                          8,838.00    0.27%     12,150.00     0.29%     -3,312.00      10,675.24      0.33%     -1,837.24
           206.75      0.06%         0.00    0.00%       206.75          80.89      0.03%            125.86    Cash Over/Short                        -232.91   -0.01%          0.00     0.00%       -232.91          36.77      0.00%       -269.68
             0.00      0.00%     3,401.00    0.58%    -3,401.00       3,353.67      1.41%         -3,353.67    Central Office - Accounting Fees     27,208.00    0.83%     34,010.00     0.81%     -6,802.00      33,536.70      1.03%     -6,328.70
           128.00      0.03%         0.00    0.00%       128.00           0.00      0.00%            128.00    Central Office - IT Fees              1,269.33    0.04%          0.00     0.00%      1,269.33           0.00      0.00%      1,269.33
         5,000.00      1.36%         0.00    0.00%     5,000.00           0.00      0.00%          5,000.00    Contract Labor                        5,000.00    0.15%          0.00     0.00%      5,000.00           0.00      0.00%      5,000.00
        10,141.60      2.76%    15,893.00    2.70%    -5,751.40       5,707.79      2.40%          4,433.81    Credit Card Commission               72,826.11    2.21%    113,770.00     2.70%    -40,943.89      85,853.68      2.64%    -13,027.57
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00    Donations                                 0.00    0.00%          0.00     0.00%          0.00         134.29      0.00%       -134.29
             0.00      0.00%     1,650.00    0.28%    -1,650.00       1,820.57      0.76%         -1,820.57    Dues and Subscriptions               15,324.57    0.47%     16,500.00     0.39%     -1,175.43      16,999.30      0.52%     -1,674.73
            26.39      0.01%       626.00    0.11%      -599.61         437.92      0.18%           -411.53    Employee Relations                    3,786.47    0.12%      7,410.00     0.18%     -3,623.53       6,468.17      0.20%     -2,681.70
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00    Equipment Rental                         92.84    0.00%          0.00     0.00%         92.84           0.00      0.00%         92.84
         2,308.25      0.63%       500.00    0.08%     1,808.25         594.30      0.25%          1,713.95    Licenses/Permits                      7,147.08    0.22%      7,895.00     0.19%       -747.92       8,569.84      0.26%     -1,422.76
           156.48      0.04%       100.00    0.02%        56.48          72.76      0.03%             83.72    Meals and Entertainment                 197.99    0.01%      1,300.00     0.03%     -1,102.01         134.02      0.00%         63.97
           -17.06      0.00%        75.00    0.01%       -92.06           0.00      0.00%            -17.06    Miscellaneous Expense                   -50.84    0.00%        750.00     0.02%       -800.84       1,512.73      0.05%     -1,563.57
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00    Office Supplies                         308.12    0.01%          0.00     0.00%        308.12           0.00      0.00%        308.12
            48.53      0.01%       600.00    0.10%      -551.47          68.87      0.03%            -20.34    Operating Supplies                    1,797.73    0.05%      2,550.00     0.06%       -752.27       1,820.15      0.06%        -22.42
           297.30      0.08%       450.00    0.08%      -152.70         450.00      0.19%           -152.70    Payroll Service Fees                  4,163.58    0.13%      4,500.00     0.11%       -336.42       4,500.00      0.14%       -336.42
            25.15      0.01%        70.00    0.01%       -44.85          21.80      0.01%              3.35    Postage                                 348.48    0.01%        700.00     0.02%       -351.52         329.42      0.01%         19.06
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00    Professional Fees - Legal                65.19    0.00%          0.00     0.00%         65.19           0.00      0.00%         65.19
         3,542.50      0.96%         0.00    0.00%     3,542.50           0.00      0.00%          3,542.50    Professional Fees - Other             4,157.23    0.13%          0.00     0.00%      4,157.23           0.00      0.00%      4,157.23
           830.00      0.23%         0.00    0.00%       830.00           0.00      0.00%            830.00    Recruitment Advertising               1,580.00    0.05%          0.00     0.00%      1,580.00           0.00      0.00%      1,580.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00    Recruitment - Other                     357.40    0.01%          0.00     0.00%        357.40           0.00      0.00%        357.40
             0.00      0.00%       400.00    0.07%      -400.00         512.40      0.22%           -512.40    Security - Outside                    4,733.72    0.14%      5,850.00     0.14%     -1,116.28       5,171.72      0.16%       -438.00
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00    Training                                  0.00    0.00%      3,000.00     0.07%     -3,000.00         362.66      0.01%       -362.66
         2,629.73      0.71%       150.00    0.03%     2,479.73           0.00      0.00%          2,629.73    Travel                                8,036.00    0.24%      2,400.00     0.06%      5,636.00         112.07      0.00%      7,923.93
             0.00      0.00%         0.00    0.00%         0.00           0.00      0.00%              0.00    Uniforms                                  0.00    0.00%          0.00     0.00%          0.00         246.38      0.01%       -246.38
       24,597.24      6.68%    25,130.00    4.27%      -532.76      15,254.32      6.40%          9,342.92     Total A&G Other Expenses           173,288.58    5.27%    212,785.00     5.05%    -39,496.42     186,474.43      5.74%    -13,185.85
       29,393.86      7.99%    39,386.00    6.69%    -9,992.14      27,447.27     11.52%          1,946.59     Total A&G Expenses                 278,005.58    8.45%    348,517.00     8.27%    -70,511.42     333,363.20     10.26%    -55,357.62




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             PTD      %        PTD Budget   %         Variance   PTD Last Year   %               Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                            IT
                                                                                                            Expenses
                                                                                                            Payroll Expense
                                                                                                            Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%              0.00    Total IT Management                    0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%              0.00    Total IT Non-Management                0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%              0.00    Total IT Salaries and Wages            0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%              0.00    Total Payroll Taxes                    0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%              0.00    Total Supplemental Pay                 0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%              0.00    Total Other Benefits                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%              0.00    Total IT PR Taxes and Benefits         0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%              0.00    Total IT Payroll                       0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                            Cost of Services
            50.00      0.01%        85.00    0.01%      -35.00          80.00     0.03%            -30.00   Cost of Cell Phones                 1,158.94    0.04%       850.00      0.02%       308.94       1,402.50     0.04%      -243.56
         2,699.98      0.73%     1,400.00    0.24%    1,299.98       1,399.99     0.59%          1,299.99   Cost of Internet Services          15,299.89    0.47%    14,000.00      0.33%     1,299.89      13,999.90     0.43%     1,299.99
         2,533.24      0.69%       815.00    0.14%    1,718.24         594.20     0.25%          1,939.04   Cost of Calls                       8,326.73    0.25%     8,150.00      0.19%       176.73       5,618.15     0.17%     2,708.58
        5,283.22      1.44%     2,300.00    0.39%    2,983.22       2,074.19     0.87%          3,209.03    Total IT Cost of Services         24,785.56    0.75%    23,000.00      0.55%     1,785.56      21,020.55     0.65%     3,765.01

                                                                                                            System Costs
         1,935.38      0.53%       308.00    0.05%    1,627.38         308.31     0.13%          1,627.07   Administrative & General            8,379.75    0.25%     3,080.00      0.07%     5,299.75       3,083.34     0.09%     5,296.41
             0.00      0.00%       302.00    0.05%     -302.00         302.25     0.13%           -302.25   Information Security                3,149.07    0.10%     3,020.00      0.07%       129.07       3,022.50     0.09%       126.57
            60.00      0.02%     1,252.00    0.21%   -1,192.00       1,245.18     0.52%         -1,185.18   Information Systems                12,133.96    0.37%    12,520.00      0.30%      -386.04      13,269.38     0.41%    -1,135.42
         6,434.49      1.75%     1,130.00    0.19%    5,304.49       1,219.28     0.51%          5,215.21   Rooms                              21,696.22    0.66%    11,300.00      0.27%    10,396.22      13,630.65     0.42%     8,065.57
           263.11      0.07%       265.00    0.05%       -1.89         255.44     0.11%              7.67   Sales & Marketing                   2,631.10    0.08%     2,650.00      0.06%       -18.90       2,554.48     0.08%        76.62
        8,692.98      2.36%     3,257.00    0.55%    5,435.98       3,330.46     1.40%          5,362.52    Total IT Systems                  47,990.10    1.46%    32,570.00      0.77%    15,420.10      35,560.35     1.09%    12,429.75

                                                                                                            Other Expenses
             0.00      0.00%       130.00    0.02%    -130.00          429.02     0.18%           -429.02   Contract Labor                      6,265.61    0.19%     1,300.00      0.03%     4,965.61       5,444.83     0.17%       820.78
           793.36      0.22%         0.00    0.00%     793.36            0.00     0.00%            793.36   Travel                              2,738.04    0.08%         0.00      0.00%     2,738.04           0.00     0.00%     2,738.04
          793.36      0.22%       130.00    0.02%     663.36          429.02     0.18%            364.34    Total IT Other Expenses            9,003.65    0.27%     1,300.00      0.03%     7,703.65       5,444.83     0.17%     3,558.82

       14,769.56      4.01%     5,687.00    0.97%    9,082.56       5,833.67     2.45%          8,935.89    Total IT Expenses                 81,779.31    2.49%    56,870.00      1.35%    24,909.31      62,025.73     1.91%    19,753.58




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                                                                                           Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year   %                Variance                                           YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                              S&M
                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
         4,945.09      1.34%     3,574.00    0.61%     1,371.09       3,198.44     1.34%           1,746.65   Division Management                 9,923.77    0.30%     35,152.00     0.83%    -25,228.23      14,627.99     0.45%     -4,704.22
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%               0.00   Sales Managers                     16,153.84    0.49%          0.00     0.00%     16,153.84           0.00     0.00%     16,153.84
        4,945.09      1.34%     3,574.00    0.61%     1,371.09       3,198.44     1.34%           1,746.65    Total S&M Management              26,077.61    0.79%     35,152.00     0.83%     -9,074.39      14,627.99     0.45%     11,449.62
             0.00      0.00%     2,017.00    0.34%    -2,017.00       1,855.48     0.78%          -1,855.48   Administrative Assistant            7,547.98    0.23%     19,366.00     0.46%    -11,818.02      26,942.80     0.83%    -19,394.82
             0.00     0.00%     2,017.00    0.34%    -2,017.00       1,855.48     0.78%          -1,855.48    Total S&M Non-Management           7,547.98    0.23%     19,366.00     0.46%    -11,818.02      26,942.80     0.83%    -19,394.82

        4,945.09      1.34%     5,591.00    0.95%     -645.91        5,053.92     2.12%           -108.83     Total S&M Salaries and Wages      33,625.59    1.02%     54,518.00     1.29%    -20,892.41      41,570.79     1.28%     -7,945.20

                                                                                                              PR Taxes and Benefits
           404.84      0.11%       503.00    0.09%       -98.16         359.71     0.15%             45.13    FICA                                2,608.87    0.08%      4,640.00     0.11%     -2,031.13       3,225.08     0.10%       -616.21
            17.71      0.00%         7.00    0.00%        10.71           0.00     0.00%             17.71    Federal Unemployment Tax               86.67    0.00%        348.00     0.01%       -261.33          80.25     0.00%          6.42
           100.37      0.03%         7.00    0.00%        93.37         -13.31    -0.01%            113.68    State Unemployment Tax                214.92    0.01%        287.00     0.01%        -72.08         277.89     0.01%        -62.97
          522.92      0.14%       517.00    0.09%          5.92        346.40     0.15%            176.52     Total Payroll Taxes                2,910.46    0.09%      5,275.00     0.13%     -2,364.54       3,583.22     0.11%       -672.76
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00    Holiday                               799.08    0.02%      1,320.00     0.03%       -520.92       1,543.00     0.05%       -743.92
             0.00      0.00%       150.00    0.03%      -150.00         263.22     0.11%           -263.22    Vacation                            2,692.91    0.08%      1,500.00     0.04%      1,192.91       3,472.27     0.11%       -779.36
             0.00     0.00%       150.00    0.03%      -150.00         263.22     0.11%           -263.22     Total Supplemental Pay             3,491.99    0.11%      2,820.00     0.07%        671.99       5,015.27     0.15%     -1,523.28
           362.83      0.10%       164.00    0.03%       198.83         182.14     0.08%            180.69    Worker's Compensation               1,558.75    0.05%      1,640.00     0.04%        -81.25       1,574.78     0.05%        -16.03
           -64.14     -0.02%     1,017.00    0.17%    -1,081.14         726.36     0.30%           -790.50    Group Insurance                     5,869.07    0.18%     10,170.00     0.24%     -4,300.93       8,734.98     0.27%     -2,865.91
             0.00      0.00%       101.00    0.02%      -101.00           0.00     0.00%              0.00    401k Contribution                     161.52    0.00%        398.00     0.01%       -236.48         481.83     0.01%       -320.31
             0.00      0.00%       833.00    0.14%      -833.00           0.00     0.00%              0.00    Bonus and Incentive Pay             2,000.00    0.06%      3,332.00     0.08%     -1,332.00           0.00     0.00%      2,000.00
          298.69      0.08%     2,115.00    0.36%    -1,816.31         908.50     0.38%           -609.81     Total Other Benefits               9,589.34    0.29%     15,540.00     0.37%     -5,950.66      10,791.59     0.33%     -1,202.25
          821.61      0.22%     2,782.00    0.47%    -1,960.39       1,518.12     0.64%           -696.51     Total S&M PR Taxes and Benefits   15,991.79    0.49%     23,635.00     0.56%     -7,643.21      19,390.08     0.60%     -3,398.29

        5,766.70      1.57%     8,373.00    1.42%    -2,606.30       6,572.04     2.76%           -805.34     Total S&M Payroll                 49,617.38    1.51%     78,153.00     1.85%    -28,535.62      60,960.87     1.88%    -11,343.49

                                                                                                              Other Expenses
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00    Advertising General                     0.00    0.00%          0.00     0.00%          0.00       1,394.00     0.04%     -1,394.00
           450.00      0.12%         7.00    0.00%       443.00         180.63     0.08%            269.37    Advertising-Web/Internet              515.28    0.02%         70.00     0.00%        445.28       2,622.68     0.08%     -2,107.40
         2,889.73      0.79%     4,953.00    0.84%    -2,063.27       2,421.78     1.02%            467.95    Dues and Subscriptions             44,485.97    1.35%     48,280.00     1.15%     -3,794.03      46,060.97     1.42%     -1,575.00
             0.00      0.00%       150.00    0.03%      -150.00           0.00     0.00%              0.00    Meals and Entertainment                 2.65    0.00%        450.00     0.01%       -447.35         253.73     0.01%       -251.08
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00    Office Equipment                        0.80    0.00%          0.00     0.00%          0.80           0.00     0.00%          0.80
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00    Printing and Stationery                 0.00    0.00%        240.00     0.01%       -240.00           0.00     0.00%          0.00
             0.00      0.00%       600.00    0.10%      -600.00           0.00     0.00%              0.00    Promotion - Outside                   537.44    0.02%      4,400.00     0.10%     -3,862.56       1,159.41     0.04%       -621.97
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00    Trade Shows                             0.00    0.00%          0.00     0.00%          0.00          83.90     0.00%        -83.90
             0.00      0.00%       450.00    0.08%      -450.00           0.00     0.00%              0.00    Travel                                 47.69    0.00%      1,750.00     0.04%     -1,702.31       1,023.56     0.03%       -975.87
        3,339.73      0.91%     6,160.00    1.05%    -2,820.27       2,602.41     1.09%            737.32     Total S&M Other Expenses          45,589.83    1.39%     55,190.00     1.31%     -9,600.17      52,598.25     1.62%     -7,008.42

        9,106.43      2.47%    14,533.00    2.47%    -5,426.57       9,174.45     3.85%             -68.02    Total S&M Expenses                95,207.21    2.89%    133,343.00     3.16%    -38,135.79     113,559.12     3.50%    -18,351.91




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                                                                                            Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget   %           Variance   PTD Last Year   %                Variance                                               YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                               R&M
                                                                                                               Expenses
                                                                                                               Payroll Expense
                                                                                                               Salaries and Wages
         5,357.14      1.46%     5,866.00    1.00%       -508.86       5,302.40     2.23%              54.74   Division Management                    46,734.88    1.42%     57,698.00     1.37%    -10,963.12      53,561.40     1.65%     -6,826.52
        5,357.14      1.46%     5,866.00    1.00%       -508.86       5,302.40     2.23%               54.74   Total R&M Management                  46,734.88    1.42%     57,698.00     1.37%    -10,963.12      53,561.40     1.65%     -6,826.52
             0.00      0.00%     2,965.00    0.50%     -2,965.00       2,620.25     1.10%          -2,620.25   Engineers 1                            17,104.58    0.52%     28,465.00     0.68%    -11,360.42      22,174.41     0.68%     -5,069.83
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%               0.00   Engineers 2                                 0.00    0.00%          0.00     0.00%          0.00       6,084.74     0.19%     -6,084.74
             0.00     0.00%     2,965.00    0.50%     -2,965.00       2,620.25     1.10%          -2,620.25    Total R&M Non-Management              17,104.58    0.52%     28,465.00     0.68%    -11,360.42      28,259.15     0.87%    -11,154.57

        5,357.14      1.46%     8,831.00    1.50%     -3,473.86       7,922.65     3.32%          -2,565.51    Total R&M Salaries and Wages          63,839.46    1.94%     86,163.00     2.04%    -22,323.54      81,820.55     2.52%    -17,981.09

                                                                                                               PR Taxes and Benefits
           438.58      0.12%       698.00    0.12%       -259.42         594.63     0.25%            -156.05   FICA                                    4,931.09    0.15%      6,932.00     0.16%     -2,000.91       5,976.79     0.18%     -1,045.70
            19.18      0.01%         9.00    0.00%         10.18           0.00     0.00%              19.18   Federal Unemployment Tax                  135.54    0.00%        680.00     0.02%       -544.46          55.46     0.00%         80.08
           108.71      0.03%        46.00    0.01%         62.71           0.00     0.00%             108.71   State Unemployment Tax                    801.54    0.02%        873.00     0.02%        -71.46         314.32     0.01%        487.22
          566.47      0.15%       753.00    0.13%       -186.53         594.63     0.25%              -28.16   Total Payroll Taxes                    5,868.17    0.18%      8,485.00     0.20%     -2,616.83       6,346.57     0.20%       -478.40
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%               0.00   Holiday                                   760.00    0.02%      1,580.00     0.04%       -820.00       1,580.48     0.05%       -820.48
             0.00      0.00%       291.00    0.05%       -291.00         290.72     0.12%            -290.72   Vacation                                  976.33    0.03%      2,842.00     0.07%     -1,865.67       3,154.46     0.10%     -2,178.13
             0.00     0.00%       291.00    0.05%       -291.00         290.72     0.12%            -290.72    Total Supplemental Pay                 1,736.33    0.05%      4,422.00     0.10%     -2,685.67       4,734.94     0.15%     -2,998.61
           141.45      0.04%       310.00    0.05%       -168.55         352.81     0.15%            -211.36   Worker's Compensation                   2,749.98    0.08%      3,100.00     0.07%       -350.02       3,219.00     0.10%       -469.02
             0.00      0.00%     1,517.00    0.26%     -1,517.00       1,562.50     0.66%          -1,562.50   Group Insurance                            25.39    0.00%     15,169.00     0.36%    -15,143.61       4,035.73     0.12%     -4,010.34
             0.00      0.00%        30.00    0.01%        -30.00           0.00     0.00%               0.00   401k Contribution                           0.00    0.00%        119.00     0.00%       -119.00         370.57     0.01%       -370.57
          141.45      0.04%     1,857.00    0.32%     -1,715.55       1,915.31     0.80%          -1,773.86    Total Other Benefits                   2,775.37    0.08%     18,388.00     0.44%    -15,612.63       7,625.30     0.23%     -4,849.93
          707.92      0.19%     2,901.00    0.49%     -2,193.08       2,800.66     1.18%          -2,092.74    Total R&M PR Taxes and Benefits       10,379.87    0.32%     31,295.00     0.74%    -20,915.13      18,706.81     0.58%     -8,326.94

        6,065.06      1.65%    11,732.00    1.99%     -5,666.94      10,723.31     4.50%          -4,658.25    Total R&M Payroll                     74,219.33    2.26%    117,458.00     2.79%    -43,238.67     100,527.36     3.09%    -26,308.03

                                                                                                               Other Expenses
         1,240.10      0.34%       754.00    0.13%        486.10       1,122.00     0.47%            118.10    Air Conditioning and Refrigeration      7,149.66    0.22%      7,193.00     0.17%        -43.34       3,723.93     0.11%     3,425.73
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%              0.00    Audio Visual Repair                       911.11    0.03%          0.00     0.00%        911.11           0.00     0.00%       911.11
             0.00      0.00%       100.00    0.02%       -100.00           0.00     0.00%              0.00    Building                                2,987.03    0.09%      1,000.00     0.02%      1,987.03       1,251.24     0.04%     1,735.79
             0.00      0.00%     1,063.00    0.18%     -1,063.00       1,062.67     0.45%         -1,062.67    Contract Labor                          8,501.36    0.26%     10,630.00     0.25%     -2,128.64      10,626.70     0.33%    -2,125.34
           313.75      0.09%         0.00    0.00%        313.75           0.00     0.00%            313.75    Electric Bulbs                          1,263.50    0.04%        750.00     0.02%        513.50          43.48     0.00%     1,220.02
             0.00      0.00%     2,000.00    0.34%     -2,000.00           0.00     0.00%              0.00    Elevator Maintenance Contracts          4,861.86    0.15%      8,200.00     0.19%     -3,338.14       2,677.40     0.08%     2,184.46
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%              0.00    Equipment Maintenance                     292.52    0.01%          0.00     0.00%        292.52           0.00     0.00%       292.52
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%              0.00    Equipment Rental                          104.88    0.00%          0.00     0.00%        104.88           0.00     0.00%       104.88
         1,434.35      0.39%     1,250.00    0.21%        184.35       1,134.64     0.48%            299.71    Fire Safety Equipment                  10,330.79    0.31%      8,450.00     0.20%      1,880.79       9,413.24     0.29%       917.55
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%              0.00    Floor and Carpet Maintenance               81.59    0.00%          0.00     0.00%         81.59           0.00     0.00%        81.59
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%              0.00    Furniture                                   0.00    0.00%        300.00     0.01%       -300.00           0.00     0.00%         0.00
         1,800.00      0.49%     1,200.00    0.20%        600.00       1,280.00     0.54%            520.00    Grounds and Landscaping                14,560.79    0.44%     13,950.00     0.33%        610.79      11,515.25     0.35%     3,045.54
             0.00      0.00%       603.00    0.10%       -603.00           0.00     0.00%              0.00    Kitchen Equipment Repairs                 504.29    0.02%      4,096.00     0.10%     -3,591.71         949.17     0.03%      -444.88
         1,455.00      0.40%     1,300.00    0.22%        155.00       1,200.00     0.50%            255.00    Laundry Equipment Repairs               2,358.95    0.07%      1,947.00     0.05%        411.95       1,449.71     0.04%       909.24
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%              0.00    Miscellaneous Expense                      22.11    0.00%          0.00     0.00%         22.11           0.00     0.00%        22.11
           168.42      0.05%       875.00    0.15%       -706.58         528.36     0.22%           -359.94    Operating Supplies                      4,442.98    0.14%      7,086.00     0.17%     -2,643.02       4,177.73     0.13%       265.25
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%              0.00    Painting and Decorating                     0.00    0.00%        150.00     0.00%       -150.00          88.86     0.00%       -88.86
           700.00      0.19%         0.00    0.00%        700.00           0.00     0.00%            700.00    Pest Control                            1,185.00    0.04%          0.00     0.00%      1,185.00           0.00     0.00%     1,185.00
             0.00      0.00%     1,000.00    0.17%     -1,000.00           0.00     0.00%              0.00    Plumbing and Heating                    6,073.05    0.18%      6,050.00     0.14%         23.05       5,388.10     0.17%       684.95
            34.97      0.01%         0.00    0.00%         34.97           0.00     0.00%             34.97    Pool Chemicals                             34.97    0.00%          0.00     0.00%         34.97           0.00     0.00%        34.97
         1,036.51      0.28%       575.00    0.10%        461.51         417.66     0.18%            618.85    Pool Service- Contract                  5,824.76    0.18%      6,000.00     0.14%       -175.24       4,391.63     0.14%     1,433.13
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%              0.00    Radio and Television Repair             1,089.00    0.03%          0.00     0.00%      1,089.00           0.00     0.00%     1,089.00
           167.87      0.05%         0.00    0.00%        167.87           0.00     0.00%            167.87    Tools                                     167.87    0.01%          0.00     0.00%        167.87           0.00     0.00%       167.87
             0.00      0.00%       100.00    0.02%       -100.00           0.00     0.00%              0.00    Travel                                     84.91    0.00%        300.00     0.01%       -215.09           7.49     0.00%        77.42
             0.00      0.00%       150.00    0.03%       -150.00           0.00     0.00%              0.00    Uniforms                                    0.00    0.00%        450.00     0.01%       -450.00         200.00     0.01%      -200.00
             0.00      0.00%        75.00    0.01%        -75.00           0.00     0.00%              0.00    Vehicle Maintenance & Repairs             151.16    0.00%        425.00     0.01%       -273.84           0.00     0.00%       151.16
         1,800.00      0.49%     3,950.00    0.67%     -2,150.00       2,466.60     1.04%           -666.60    Waste Removal                          28,002.28    0.85%     39,500.00     0.94%    -11,497.72      28,669.03     0.88%      -666.75
           450.00      0.12%         0.00    0.00%        450.00           0.00     0.00%            450.00    Water Treatment                           450.00    0.01%          0.00     0.00%        450.00           0.00     0.00%       450.00
       10,600.97      2.88%    14,995.00    2.55%     -4,394.03       9,211.93     3.87%          1,389.04     Total R&M Other Expenses             101,436.42    3.08%    116,477.00     2.76%    -15,040.58      84,572.96     2.60%    16,863.46

       16,666.03      4.53%    26,727.00    4.54%    -10,060.97      19,935.24     8.37%          -3,269.21    Total R&M Expenses                   175,655.75    5.34%    233,935.00     5.55%    -58,279.25     185,100.32     5.70%     -9,444.57

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                                                                                           Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year   %               Variance                                           YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                             Utilities
            90.00      0.02%     3,619.00    0.61%    -3,529.00       3,023.07     1.27%         -2,933.07   Water                              21,705.53    0.66%     29,455.00     0.70%    -7,749.47      25,612.73     0.79%    -3,907.20
        31,699.51      8.61%    13,572.00    2.31%    18,127.51       9,424.25     3.95%         22,275.26   Electricity                       172,386.02    5.24%    106,427.00     2.53%    65,959.02     108,880.83     3.35%    63,505.19
         2,358.25      0.64%     2,413.00    0.41%       -54.75       1,432.69     0.60%            925.56   Gas - Natural HLP                  19,942.78    0.61%     19,636.00     0.47%       306.78      15,730.80     0.48%     4,211.98
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%              0.00   Sewer                               1,711.10    0.05%          0.00     0.00%     1,711.10           0.00     0.00%     1,711.10
       34,147.76      9.28%    19,604.00    3.33%    14,543.76      13,880.01     5.82%         20,267.75    Total Utilities                  215,745.43    6.56%    155,518.00     3.69%    60,227.43     150,224.36     4.62%    65,521.07




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                                                                                              Company: PLCA Associates LLC Property: Hyatt House Pleasanton
                                                                                                              P&L - Dual Summary Pages
                                                                                                                   As of 10/31/2021
             PTD      %        PTD Budget     %          Variance   PTD Last Year    %               Variance                                            YTD     %          YTD Budget %               Variance    YTD Last Year    %           Variance

                                                                                                                Fixed
        47,123.00     12.80%     47,123.00     8.01%         0.00      47,229.00     19.82%           -106.00   Real Estate Taxes                  424,107.00    12.89%      471,230.00    11.18%    -47,123.00      493,002.84     15.17%    -68,895.84
       47,123.00     12.80%     47,123.00     8.01%          0.00     47,229.00     19.82%           -106.00    Total Taxes                       424,107.00    12.89%      471,230.00    11.18%    -47,123.00      493,002.84     15.17%    -68,895.84
             0.00      0.00%        305.00     0.05%      -305.00         305.00      0.13%           -305.00   Insurance                            2,440.00     0.07%        3,050.00     0.07%        -610.00       3,050.00      0.09%       -610.00
           643.09      0.17%          0.00     0.00%       643.09           0.00      0.00%            643.09   Insurance - Automobile                 643.09     0.02%            0.00     0.00%         643.09           0.00      0.00%        643.09
           182.73      0.05%          0.00     0.00%       182.73           0.00      0.00%            182.73   Insurance - Employment                 182.73     0.01%            0.00     0.00%         182.73           0.00      0.00%        182.73
         4,883.82      1.33%      4,803.00     0.82%        80.82       4,589.97      1.93%            293.85   Insurance - General Liability       16,742.48     0.51%       48,030.00     1.14%    -31,287.52       34,786.01      1.07%    -18,043.53
        25,156.45      6.83%     10,335.00     1.76%    14,821.45      10,971.35      4.60%         14,185.10   Insurance - Property                80,457.81     2.45%      103,350.00     2.45%    -22,892.19      103,856.74      3.20%    -23,398.93
       30,866.09      8.39%     15,443.00     2.62%    15,423.09      15,866.32      6.66%         14,999.77    Total Insurance                   100,466.11     3.05%      154,430.00     3.66%    -53,963.89      141,692.75      4.36%    -41,226.64
       102,769.00     27.92%    102,769.00    17.46%         0.00      97,058.33     40.73%          5,710.67   Ground Lease Expense             1,004,522.29    30.54%    1,013,210.00    24.05%      -8,687.71     970,583.30     29.87%     33,938.99
      102,769.00     27.92%    102,769.00    17.46%          0.00     97,058.33     40.73%          5,710.67    Total Leases & Rent             1,004,522.29    30.54%    1,013,210.00    24.05%      -8,687.71     970,583.30     29.87%     33,938.99
        11,542.47      3.14%     17,646.00     3.00%    -6,103.53       7,148.69      3.00%          4,393.78   Management Fee - Base               99,669.25     3.03%      126,293.00     3.00%    -26,623.75       97,384.24      3.00%      2,285.01
       11,542.47      3.14%     17,646.00     3.00%    -6,103.53       7,148.69      3.00%          4,393.78    Total Management Fees              99,669.25     3.03%      126,293.00     3.00%    -26,623.75       97,384.24      3.00%      2,285.01
             0.00      0.00%          0.00     0.00%         0.00           0.00      0.00%              0.00   (Gain)/Loss-Insurance               25,000.00     0.76%            0.00     0.00%      25,000.00           0.00      0.00%     25,000.00
        66,253.90     18.00%          0.00     0.00%    66,253.90       1,500.00      0.63%         64,753.90   Prior Owner's Expense              134,309.55     4.08%            0.00     0.00%    134,309.55       17,967.96      0.55%    116,341.59
       66,253.90     18.00%           0.00    0.00%    66,253.90       1,500.00      0.63%         64,753.90    Total Other Non-Operating         159,309.55     4.84%             0.00    0.00%    159,309.55       17,967.96      0.55%    141,341.59




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                                                                                        Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                             P&L - Dual Summary Pages
                                                                                                                  As of 10/31/2021
              PTD     %        PTD Budget      %           Variance   PTD Last Year     %           Variance                                                        YTD     %          YTD Budget %                Variance   YTD Last Year    %             Variance

                                                                                                               Statistics
           164.00                   164.00                    0.00          164.00                      0.00   # Rooms                                            164.00                    164.00                     0.00          164.00                     0.00
         5,084.00                 5,084.00                    0.00        5,084.00                      0.00   Available Rooms                                 49,856.00                 49,856.00                     0.00       50,020.00                  -164.00
         3,804.00                 3,355.00                  449.00        2,593.00                  1,211.00   Room Nights Sold                                30,854.00                 28,296.00                 2,558.00        5,972.00                24,882.00
          74.82%                   65.99%                   8.83%          51.00%                    23.82%    Occupancy %                                       61.89%                    56.76%                    5.13%          11.94%                   49.95%
           166.07                   155.48                   10.59          138.46                     27.60   ADR                                                164.98                    148.88                    16.10          622.18                  -457.20
           124.26                   102.60                   21.66           70.62                     53.64   RevPar                                             102.10                     84.50                    17.60           74.28                    27.82

                                                                                                               Summary V.11
                                                                                                               Revenue
       631,715.03     96.78%    521,620.00    96.19%    110,095.03      359,033.15     96.68%     272,681.88   Rooms                                        5,090,351.76    97.40%    4,212,810.56    96.19%    877,541.20     3,715,671.02   96.19%     1,374,680.74
         6,890.60      1.06%     14,534.00     2.68%     -7,643.40        6,675.85      1.80%         214.75   F&B                                             56,606.42     1.08%      115,048.00     2.63%    -58,441.58        97,285.29    2.52%       -40,678.87
        14,109.54      2.16%      6,152.00     1.13%      7,957.54        5,637.41      1.52%       8,472.13   Other Departments                               79,373.85     1.52%       52,009.00     1.19%     27,364.85        50,047.25    1.30%        29,326.60

      652,715.17    100.00%    542,306.00    100.00%   110,409.17      371,346.41     100.00%    281,368.76    Total Operating Revenue                     5,226,332.03    100.00%   4,379,867.56 100.00%      846,464.47     3,863,003.56 100.00%      1,363,328.47

                                                                                                               Departmental Expenses
       123,764.96     19.59%    109,943.00    21.08%     13,821.96       74,704.73     20.81%      49,060.23   Rooms                                        1,014,229.82    19.92%     915,118.00     21.72%      99,111.82     788,181.08    21.21%      226,048.74
          -719.72    -10.44%      4,460.00    30.69%     -5,179.72        1,302.42     19.51%      -2,022.14   F&B                                             12,259.99    21.66%      37,493.00     32.59%     -25,233.01      26,854.94    27.60%      -14,594.95
             0.00      0.00%      2,115.00    34.38%     -2,115.00        1,091.75     19.37%      -1,091.75   Other Departments                               24,108.26    30.37%      17,840.00     34.30%       6,268.26      14,729.14    29.43%        9,379.12

      123,045.24     18.85%    116,518.00    21.49%       6,527.24      77,098.90     20.76%      45,946.34    Total Departmental Expenses                 1,050,598.07    20.10%     970,451.00     22.16%      80,147.07     829,765.16     21.48%     220,832.91

      529,669.93     81.15%    425,788.00    78.51%    103,881.93      294,247.51     79.24%     235,422.42    Total Departmental Profit                   4,175,733.96    79.90%    3,409,416.56    77.84%    766,317.40     3,033,238.40    78.52%    1,142,495.56

                                                                                                               Undistributed Operating Expenses
        43,112.12      6.61%     43,320.00     7.99%       -207.88       33,287.78      8.96%       9,824.34   A&G                                           394,219.16      7.54%     384,858.00      8.79%       9,361.16     330,227.75     8.55%       63,991.41
        12,478.12      1.91%      7,324.00     1.35%      5,154.12        8,484.17      2.28%       3,993.95   IT                                             80,492.21      1.54%      74,869.00      1.71%       5,623.21      98,168.83     2.54%      -17,676.62
        15,561.07      2.38%     20,996.00     3.87%     -5,434.93        8,750.78      2.36%       6,810.29   S&M                                           123,095.70      2.36%     173,425.00      3.96%     -50,329.30     132,173.06     3.42%       -9,077.36
        45,792.99      7.02%     47,374.00     8.74%     -1,581.01       28,815.67      7.76%      16,977.32   Franchise Fees                                438,350.08      8.39%     383,369.00      8.75%      54,981.08     310,683.45     8.04%      127,666.63
        24,849.52      3.81%     23,541.00     4.34%      1,308.52       18,715.04      5.04%       6,134.48   R&M                                           221,128.55      4.23%     215,067.00      4.91%       6,061.55     171,923.27     4.45%       49,205.28
        41,695.99      6.39%     20,969.00     3.87%     20,726.99       23,452.81      6.32%      18,243.18   Utilities                                     241,729.57      4.63%     216,446.00      4.94%      25,283.57     195,002.02     5.05%       46,727.55

      183,489.81     28.11%    163,524.00    30.15%      19,965.81     121,506.25     32.72%      61,983.56    Total Undistributed Expenses                1,499,015.27    28.68%    1,448,034.00    33.06%      50,981.27    1,238,178.38    32.05%     260,836.89

      346,180.12     53.04%    262,264.00    48.36%      83,916.12     172,741.26     46.52%     173,438.86    Gross Operating Profit                   2,676,718.69       51.22%    1,961,382.56    44.78%    715,336.13     1,795,060.02    46.47%     881,658.67
        20,081.46      3.08%     16,269.00     3.00%       3,812.46      11,140.70      3.00%       8,940.76   Management Fees                             157,823.07        3.02%      131,396.00     3.00%     26,427.07       115,895.35     3.00%      41,927.72
      326,098.66     49.96%    245,995.00    45.36%      80,103.66     161,600.56     43.52%     164,498.10    Income Before Non-Operating Income and Expenses
                                                                                                                                                        2,518,895.62       48.20%    1,829,986.56    41.78%    688,909.06     1,679,164.67    43.47%     839,730.95

                                                                                                               Non-Operating Income and Expenses
        17,020.33      2.61%     12,587.00     2.32%       4,433.33      12,699.62      3.42%       4,320.71   Insurance                                      130,333.96     2.49%     125,870.00      2.87%       4,463.96     108,059.86      2.80%      22,274.10
        84,557.00     12.95%     84,557.00    15.59%           0.00      79,858.33     21.51%       4,698.67   Leases & Rent                                  836,858.55    16.01%     833,655.00     19.03%       3,203.55     798,583.30     20.67%      38,275.25
         4,282.37      0.66%          0.00     0.00%       4,282.37       1,500.00      0.40%       2,782.37   Other                                           72,341.05     1.38%           0.00      0.00%      72,341.05       5,478.87      0.14%      66,862.18
      105,859.70     16.22%     97,144.00    17.91%       8,715.70      94,057.95     25.33%      11,801.75    Total Non-Operating Income and Expenses     1,039,533.56    19.89%     959,525.00     21.91%      80,008.56     912,122.03     23.61%     127,411.53

      220,238.96     33.74%    148,851.00    27.45%      71,387.96      67,542.61     18.19%     152,696.35    EBITDA                                      1,479,362.06    28.31%      870,461.56    19.87%     608,900.50     767,042.64     19.86%     712,319.42
             0.00      0.00%     86,502.00    15.95%     -86,502.00      85,161.78     22.93%     -85,161.78   Interest                                       681,294.24    13.04%      865,020.00    19.75%    -183,725.76     853,662.40     22.10%    -172,368.16
         5,566.40      0.85%     29,903.00     5.51%     -24,336.60      20,831.10      5.61%     -15,264.70   Taxes                                          244,790.40     4.68%      299,030.00     6.83%     -54,239.60      81,094.67      2.10%     163,695.73
        5,566.40      0.85%    116,405.00    21.46%    -110,838.60     105,992.88     28.54%    -100,426.48    Interest, Taxes, Depreciation and Amortization926,084.64    17.72%    1,164,050.00    26.58%    -237,965.36     934,757.07     24.20%       -8,672.43

      214,672.56     32.89%     32,446.00     5.98%    182,226.56      -38,450.27     -10.35%    253,122.83    Net Income                                   553,277.42     10.59%     -293,588.44     -6.70%   846,865.86      -167,714.43    -4.34%     720,991.85




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                                                                                     Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget    %          Variance   PTD Last Year    %            Variance                                           YTD     %         YTD Budget %              Variance   YTD Last Year     %           Variance

                                                                                                            Statistics
           164.00                  164.00                  0.00          164.00                      0.00   # Rooms                              164.00                   164.00                    0.00         164.00                     0.00
         5,084.00                5,084.00                  0.00        5,084.00                      0.00   Available Rooms                   49,856.00                49,856.00                    0.00      50,020.00                  -164.00
         3,804.00                3,355.00                449.00        2,593.00                  1,211.00   Room Nights Sold                  30,854.00                28,296.00                2,558.00       5,972.00                24,882.00
             0.75                    0.66                  0.09            0.51                      0.24   Occupancy %                            0.62                     0.57                    0.05           0.12                     0.50
           166.07                  155.48                 10.59          138.46                     27.60   ADR                                  164.98                   148.88                   16.10         622.18                  -457.20
           124.26                  102.60                 21.66           70.62                     53.64   RevPar                               102.10                    84.50                   17.60          74.28                    27.82

                                                                                                            Summary
                                                                                                            Revenue:
       631,715.03     96.78%   521,620.00   96.19%    110,095.03     359,033.15    96.68%      272,681.88   Rooms                           5,090,351.76   97.40%    4,212,810.56    96.19%   877,541.20   3,715,671.02    96.19%    1,374,680.74
          -250.40     -0.04%     4,845.00    0.89%     -5,095.40       1,852.75     0.50%       -2,103.15   Food                               10,085.67    0.19%       30,100.00     0.69%   -20,014.33      27,261.90     0.71%      -17,176.23
         4,341.00      0.67%     6,711.00    1.24%     -2,370.00         109.25     0.03%        4,231.75   Beverage                           12,780.52    0.24%       63,593.00     1.45%   -50,812.48      30,126.74     0.78%      -17,346.22
         2,800.00      0.43%     2,978.00    0.55%       -178.00       4,713.85     1.27%       -1,913.85   Other F&B Revenue                  33,740.23    0.65%       21,355.00     0.49%    12,385.23      39,896.65     1.03%       -6,156.42
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Telephone                               0.00    0.00%            0.00     0.00%         0.00           0.00     0.00%            0.00
        14,109.54      2.16%     6,152.00    1.13%      7,957.54       5,637.41     1.52%        8,472.13   Other                              79,373.85    1.52%       52,009.00     1.19%    27,364.85      50,047.25     1.30%       29,326.60

       652,715.17   100.00%    542,306.00   100.00%   110,409.17     371,346.41    100.00%     281,368.76   Total Revenue                   5,226,332.03   100.00%   4,379,867.56   100.00%   846,464.47   3,863,003.56    100.00%   1,363,328.47



                                                                                                            Cost of Sales:
             0.00      0.00%       927.00   19.13%       -927.00           0.00     0.00%            0.00   Food                              -3,003.54    -29.78%      5,788.00     19.23%    -8,791.54       4,769.98    17.50%       -7,773.52
          -488.89    -11.26%     2,004.00   29.86%     -2,492.89           0.00     0.00%         -488.89   Beverage                           3,331.45     26.07%     18,935.00     29.78%   -15,603.55       8,240.78    27.35%       -4,909.33
             0.00      0.00%     1,380.00   46.34%     -1,380.00       1,302.42    27.63%       -1,302.42   Other F&B                          3,807.45     11.28%      7,176.00     33.60%    -3,368.55       9,996.65    25.06%       -6,189.20
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Telephone                              0.00      0.00%          0.00      0.00%         0.00           0.00     0.00%            0.00
             0.00      0.00%     2,115.00   34.38%     -2,115.00       1,091.75    19.37%       -1,091.75   Other                             24,108.26     30.37%     17,840.00     34.30%     6,268.26      14,729.14    29.43%        9,379.12

          -488.89     -3.46%     6,426.00   104.45%    -6,914.89       2,394.17    42.47%       -2,883.06   Total Cost of Sales               28,243.62    35.58%      49,739.00     95.64%   -21,495.38      37,736.55    75.40%       -9,492.93



                                                                                                            Payroll:
        23,803.96      3.77%    54,350.00   10.42%    -30,546.04      34,208.14     9.53%      -10,404.18   Rooms                            426,675.09     8.38%     425,722.00     10.11%       953.09     392,023.45    10.55%      34,651.64
            53.34      0.77%         0.00    0.00%         53.34           0.00     0.00%           53.34   F&B                                5,258.32     9.29%       4,176.00      3.63%     1,082.32       1,914.00     1.97%       3,344.32
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Other                                  0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
        11,230.77      1.72%    13,647.00    2.52%     -2,416.23      12,002.52     3.23%         -771.75   A&G                              121,540.30     2.33%     134,233.00      3.06%   -12,692.70     113,379.71     2.94%       8,160.59
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   IT                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
         7,585.30      1.16%    10,429.00    1.92%     -2,843.70       3,110.32     0.84%        4,474.98   S&M                               57,395.36     1.10%      83,836.00      1.91%   -26,440.64      55,478.75     1.44%       1,916.61
         9,072.53      1.39%    10,100.00    1.86%     -1,027.47       5,439.59     1.46%        3,632.94   R&M                               88,599.45     1.70%      98,650.00      2.25%   -10,050.55      70,581.79     1.83%      18,017.66
        51,745.90      7.93%    88,526.00   16.32%    -36,780.10      54,760.57    14.75%       -3,014.67   Total Salaries and Wages         699,468.52    13.38%     746,617.00     17.05%   -47,148.48     633,377.70    16.40%      66,090.82

         6,225.80      0.95%    17,300.00    3.19%    -11,074.20       8,590.55     2.31%       -2,364.75   Total Taxes and Benefits         108,670.49     2.08%     140,198.00      3.20%   -31,527.51      98,337.43     2.55%      10,333.06
        57,971.70      8.88%   105,826.00   19.51%    -47,854.30      63,351.12    17.06%       -5,379.42   Total Labor Costs                808,139.01    15.46%     886,815.00     20.25%   -78,675.99     731,715.13    18.94%      76,423.88



                                                                                                            Direct Expenses:
        96,604.29     15.29%    51,750.00    9.92%     44,854.29      37,567.50    10.46%       59,036.79   Rooms                            551,337.70    10.83%     448,470.00     10.65%   102,867.70     355,914.73     9.58%     195,422.97
             0.00      0.00%       149.00    1.03%       -149.00           0.00     0.00%            0.00   F&B                                1,653.92     2.92%         979.00      0.85%       674.92       1,575.85     1.62%          78.07
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Telephone                              0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
             0.00      0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Other                                  0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%           0.00
        45,792.99      7.02%    47,374.00    8.74%     -1,581.01      28,815.67     7.76%       16,977.32   Franchise Fees                   438,350.08     8.39%     383,369.00      8.75%    54,981.08     310,683.45     8.04%     127,666.63
        31,413.83      4.81%    22,784.00    4.20%      8,629.83      17,772.81     4.79%       13,641.02   A&G                              234,758.86     4.49%     202,650.00      4.63%    32,108.86     188,766.05     4.89%      45,992.81
        12,478.12      1.91%     7,324.00    1.35%      5,154.12       8,484.17     2.28%        3,993.95   IT                                80,492.21     1.54%      74,869.00      1.71%     5,623.21      98,168.83     2.54%     -17,676.62
         6,098.70      0.93%     6,179.00    1.14%        -80.30       4,596.36     1.24%        1,502.34   S&M                               47,922.83     0.92%      62,536.00      1.43%   -14,613.17      62,078.12     1.61%     -14,155.29
        14,968.32      2.29%    11,261.00    2.08%      3,707.32      12,170.54     3.28%        2,797.78   R&M                              116,985.54     2.24%      92,612.00      2.11%    24,373.54      86,302.81     2.23%      30,682.73
        41,695.99      6.39%    20,969.00    3.87%     20,726.99      23,452.81     6.32%       18,243.18   Utilities                        241,729.57     4.63%     216,446.00      4.94%    25,283.57     195,002.02     5.05%      46,727.55

       249,052.24     38.16%   167,790.00   30.94%     81,262.24     132,859.86    35.78%      116,192.38   Total Direct Expense            1,713,230.71   32.78%    1,481,931.00    33.84%   231,299.71   1,298,491.86    33.61%     414,738.85

       346,180.12     53.04%   262,264.00   48.36%     83,916.12     172,741.26    46.52%      173,438.86   Gross Operating Profit          2,676,718.69   51.22%    1,961,382.56    44.78%   715,336.13   1,795,060.02    46.47%     881,658.67

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                                                                                   Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                             As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year    %           Variance                                           YTD    %         YTD Budget %               Variance   YTD Last Year    %          Variance




                                                                                                          Fixed Costs
         5,566.40      0.85%    29,903.00    5.51%   -24,336.60      20,831.10     5.61%     -15,264.70   Taxes                            244,790.40     4.68%    299,030.00      6.83%    -54,239.60      81,094.67     2.10%   163,695.73
        17,020.33      2.61%    12,587.00    2.32%     4,433.33      12,699.62     3.42%       4,320.71   Insurance                        130,333.96     2.49%    125,870.00      2.87%      4,463.96     108,059.86     2.80%    22,274.10
        84,557.00     12.95%    84,557.00   15.59%         0.00      79,858.33    21.51%       4,698.67   Leases & Rent                    836,858.55    16.01%    833,655.00     19.03%      3,203.55     798,583.30    20.67%    38,275.25
        20,081.46      3.08%    16,269.00    3.00%     3,812.46      11,140.70     3.00%       8,940.76   Management Fees                  157,823.07     3.02%    131,396.00      3.00%     26,427.07     115,895.35     3.00%    41,927.72

       127,225.19     19.49%   143,316.00   26.43%   -16,090.81     124,529.75    33.53%       2,695.44   Total Fixed Expenses            1,369,805.98   26.21%   1,389,951.00    31.74%    -20,145.02   1,103,633.18    28.57%   266,172.80

       218,954.93     33.55%   118,948.00   21.93%   100,006.93      48,211.51    12.98%     170,743.42   Net Operating Profit            1,306,912.71   25.01%    571,431.56     13.05%   735,481.15      691,426.84    17.90%   615,485.87



             0.00      0.00%    66,162.00   12.20%   -66,162.00      66,161.78    17.82%     -66,161.78   Interest - First Mortgage        529,294.24    10.13%    661,620.00     15.11%   -132,325.76     661,617.80    17.13%   -132,323.56
             0.00      0.00%    20,340.00    3.75%   -20,340.00      19,000.00     5.12%     -19,000.00   Interest - Notes Payable         152,000.00     2.91%    203,400.00      4.64%    -51,400.00     192,044.60     4.97%    -40,044.60
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Extraordinary Expense                  0.00     0.00%          0.00      0.00%          0.00     -24,899.08    -0.64%     24,899.08
             0.00      0.00%         0.00    0.00%         0.00       1,500.00     0.40%      -1,500.00   Prior Owner's Expense             68,058.68     1.30%          0.00      0.00%     68,058.68       5,377.95     0.14%     62,680.73



       218,954.93     33.55%    32,446.00   5.98%    186,508.93     -38,450.27    -10.35%    257,405.20   Net Operating Income             557,559.79    10.67%   -293,588.44     -6.70%   851,148.23     -142,714.43    -3.69%   700,274.22

         4,282.37      0.66%         0.00   0.00%      4,282.37           0.00     0.00%       4,282.37   Capital Reserve                     4,282.37   0.08%            0.00    0.00%       4,282.37           0.00    0.00%       4,282.37
             0.00      0.00%         0.00   0.00%          0.00           0.00     0.00%           0.00   (Gain)/Loss-Insurance                   0.00   0.00%            0.00    0.00%           0.00      25,000.00    0.65%     -25,000.00

       214,672.56     32.89%    32,446.00   5.98%    182,226.56     -38,450.27    -10.35%    253,122.83   Adjusted NOI                     553,277.42    10.59%   -293,588.44     -6.70%   846,865.86     -167,714.43    -4.34%   720,991.85




       214,672.56     32.89%    32,446.00   5.98%    182,226.56     -38,450.27    -10.35%    253,122.83   Net Profit/(Loss)                553,277.42    10.59%   -293,588.44     -6.70%   846,865.86     -167,714.43    -4.34%   720,991.85




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                                                                                       Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget      %          Variance   PTD Last Year     %           Variance                                               YTD     %          YTD Budget %               Variance   YTD Last Year    %            Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
             0.00      0.00%         0.00      0.00%          0.00      27,414.65      7.64%     -27,414.65   Corporate Transient                   163,408.31     3.21%           0.00      0.00%    163,408.31     314,001.87     8.45%    -150,593.56
             0.00      0.00%         0.00      0.00%          0.00     104,529.37     29.11%    -104,529.37   Advanced Purchase                     460,657.15     9.05%           0.00      0.00%    460,657.15     416,632.84    11.21%      44,024.31
             0.00      0.00%    85,250.00     16.34%    -85,250.00      24,600.70      6.85%     -24,600.70   AAA/AARP Transient                    431,576.70     8.48%     742,035.00     17.61%   -310,458.30     379,997.37    10.23%      51,579.33
             0.00      0.00%    33,120.00      6.35%    -33,120.00      10,459.95      2.91%     -10,459.95   FIT(Flexible Independent Travel)      406,415.43     7.98%     430,005.00     10.21%    -23,589.57     321,396.74     8.65%      85,018.69
             0.00      0.00%         0.00      0.00%          0.00           0.00      0.00%           0.00   Consortia Transient                    14,972.76     0.29%           0.00      0.00%     14,972.76      35,036.75     0.94%     -20,063.99
             0.00      0.00%         0.00      0.00%          0.00         834.00      0.23%        -834.00   Employee                                9,321.47     0.18%           0.00      0.00%      9,321.47       8,394.50     0.23%         926.97
             0.00      0.00%         0.00      0.00%          0.00       2,071.00      0.58%      -2,071.00   Travel Agent/Friends & Family          17,785.00     0.35%           0.00      0.00%     17,785.00       5,537.00     0.15%      12,248.00
             0.00      0.00%         0.00      0.00%          0.00         452.90      0.13%        -452.90   Leisure Package Transient               1,041.60     0.02%           0.00      0.00%      1,041.60       1,860.77     0.05%        -819.17
         7,939.64      1.26%         0.00      0.00%      7,939.64       8,238.14      2.29%        -298.50   Member Reward Stay                    128,828.75     2.53%           0.00      0.00%    128,828.75     148,850.78     4.01%     -20,022.03
             0.00      0.00%         0.00      0.00%          0.00           0.00      0.00%           0.00   Extended Stay Transient                   219.25     0.00%           0.00      0.00%        219.25           0.00     0.00%         219.25
             0.00      0.00%   107,235.00     20.56%   -107,235.00      87,098.24     24.26%     -87,098.24   Internet/E-Commerce                   956,736.82    18.80%     871,263.96     20.68%     85,472.86     671,164.33    18.06%     285,572.49
             0.00      0.00%         0.00      0.00%          0.00           0.00      0.00%           0.00   E-Commerce Opaque                         279.24     0.01%           0.00      0.00%        279.24         556.92     0.01%        -277.68
             0.00      0.00%    14,345.00      2.75%    -14,345.00       1,160.00      0.32%      -1,160.00   Government Transient                   73,391.87     1.44%     107,921.60      2.56%    -34,529.73     104,361.34     2.81%     -30,969.47
       485,266.11     76.82%   116,900.00     22.41%    368,366.11      16,401.60      4.57%     468,864.51   Rack Transient                      1,351,304.66    26.55%     971,437.00     23.06%    379,867.66     450,782.41    12.13%     900,522.25
             0.00      0.00%    81,000.00     15.53%    -81,000.00      16,145.55      4.50%     -16,145.55   Local Negotiated Transient            542,021.52    10.65%     498,712.00     11.84%     43,309.52     539,952.18    14.53%       2,069.34

      493,205.75     78.07%    437,850.00    83.94%     55,355.75     299,406.10     83.39%     193,799.65    Total Transient Room Revenue       4,557,960.53    89.54%    3,621,374.56   85.96%     936,585.97    3,398,525.80    91.46%   1,159,434.73

                                                                                                              Group Room Revenue
       138,222.00     21.88%    11,625.00      2.23%   126,597.00            0.00      0.00%     138,222.00   Corporate Group                      172,377.85      3.39%     104,108.00     2.47%      68,269.85           0.00     0.00%     172,377.85
             0.00      0.00%     3,775.00      0.72%    -3,775.00            0.00      0.00%           0.00   Government Group                      26,514.00      0.52%      39,475.00     0.94%     -12,961.00      35,624.00     0.96%      -9,110.00
             0.00      0.00%     1,080.00      0.21%    -1,080.00            0.00      0.00%           0.00   Tour & Travel Group                        0.00      0.00%      15,912.00     0.38%     -15,912.00           0.00     0.00%           0.00
             0.00      0.00%         0.00      0.00%         0.00            0.00      0.00%           0.00   Association Group                          0.00      0.00%       5,160.00     0.12%      -5,160.00      12,352.00     0.33%     -12,352.00
             0.00      0.00%     5,565.00      1.07%    -5,565.00            0.00      0.00%           0.00   SMERF Group                           63,398.00      1.25%      28,927.50     0.69%      34,470.50      35,684.00     0.96%      27,714.00
             0.00      0.00%    60,200.00     11.54%   -60,200.00       53,156.73     14.81%     -53,156.73   Sports Group                         228,588.25      4.49%     381,903.50     9.07%    -153,315.25     174,512.23     4.70%      54,076.02

      138,222.00     21.88%     82,245.00    15.77%     55,977.00      53,156.73     14.81%      85,065.27    Total Group Room Revenue            490,878.10      9.64%     575,486.00    13.66%     -84,607.90     258,172.23     6.95%     232,705.87

                                                                                                              Contract Room Revenue
             0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%           0.00   Other Contract                              0.00     0.00%           0.00     0.00%           0.00         315.36     0.01%        -315.36

             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00    Total Contract Room Revenue                0.00     0.00%            0.00     0.00%          0.00         315.36     0.01%        -315.36

                                                                                                              Other Room Revenue
         1,492.34      0.24%          0.00     0.00%      1,492.34       3,287.11      0.92%      -1,794.77   No-Show Rooms                         22,872.86      0.45%           0.00     0.00%     22,872.86       16,056.18     0.43%       6,816.68
           235.00      0.04%          0.00     0.00%        235.00         636.50      0.18%        -401.50   Early/Late Departure Fees              6,855.94      0.13%           0.00     0.00%      6,855.94       15,815.67     0.43%      -8,959.73
         1,072.29      0.17%      1,525.00     0.29%       -452.71       1,421.71      0.40%        -349.42   Pet/Smoking/Damage Fees               16,991.61      0.33%      15,950.00     0.38%      1,041.61       16,601.11     0.45%         390.50

        2,799.63      0.44%      1,525.00     0.29%      1,274.63       5,345.32      1.49%      -2,545.69    Total Other Room Revenue             46,720.41      0.92%      15,950.00      0.38%     30,770.41      48,472.96     1.30%       -1,752.55

        -2,512.35     -0.40%          0.00     0.00%     -2,512.35       1,125.00      0.31%      -3,637.35   Less: Allowances                       -5,207.28    -0.10%           0.00     0.00%      -5,207.28      10,184.67     0.27%     -15,391.95

      631,715.03    100.00%    521,620.00    100.00%   110,095.03     359,033.15     100.00%    272,681.88    Total Room Revenue                 5,090,351.76    100.00%   4,212,810.56 100.00%      877,541.20    3,715,671.02 100.00%     1,374,680.74

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
           769.20      0.12%      3,147.00     0.60%     -2,377.80       2,988.46      0.83%      -2,219.26   Front Office Management               22,027.25      0.43%      30,953.00      0.73%     -8,925.75      28,603.84     0.77%      -6,576.59
         8,187.21      1.30%      3,561.00     0.68%      4,626.21       2,240.00      0.62%       5,947.21   Housekeeping Management               42,051.60      0.83%      35,029.00      0.83%      7,022.60      29,927.52     0.81%      12,124.08
        8,956.41      1.42%      6,708.00     1.29%      2,248.41       5,228.46      1.46%       3,727.95    Total Rooms Management               64,078.85      1.26%      65,982.00      1.57%     -1,903.15      58,531.36     1.58%       5,547.49
          -722.64     -0.11%      7,618.00     1.46%     -8,340.64       3,581.83      1.00%      -4,304.47   Front Office Agents                   47,190.20      0.93%      63,744.00      1.51%    -16,553.80      45,998.18     1.24%       1,192.02
         6,078.78      0.96%      3,601.00     0.69%      2,477.78       3,495.02      0.97%       2,583.76   Night Auditors                        37,908.31      0.74%      34,497.00      0.82%      3,411.31      32,587.73     0.88%       5,320.58
         3,208.64      0.51%      3,719.00     0.71%       -510.36       2,475.07      0.69%         733.57   Breakfast Attendant                   44,990.38      0.88%      29,354.00      0.70%     15,636.38      36,804.64     0.99%       8,185.74
        8,564.78      1.36%     14,938.00     2.86%     -6,373.22       9,551.92      2.66%        -987.14    Total Rooms Front Office            130,088.89      2.56%     127,595.00      3.03%      2,493.89     115,390.55     3.11%      14,698.34
          -162.91     -0.03%          0.00     0.00%       -162.91           0.00      0.00%        -162.91   Housekeeping Supervisors                 190.06      0.00%           0.00      0.00%        190.06      17,080.72     0.46%     -16,890.66
         3,523.50      0.56%     25,163.00     4.82%    -21,639.50      15,167.10      4.22%     -11,643.60   Room Attendants                      168,848.32      3.32%     168,513.00      4.00%        335.32     158,881.54     4.28%       9,966.78
             0.00      0.00%      7,541.00     1.45%     -7,541.00       4,260.66      1.19%      -4,260.66   Housepersons                          58,623.05      1.15%      63,632.00      1.51%     -5,008.95      42,139.28     1.13%      16,483.77
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                                                                                     Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget     %          Variance   PTD Last Year    %           Variance                                                 YTD     %         YTD Budget %               Variance   YTD Last Year    %            Variance

         2,922.18      0.46%         0.00     0.00%      2,922.18          0.00      0.00%       2,922.18   Laundry Attendants                        4,845.92    0.10%          0.00       0.00%     4,845.92           0.00      0.00%       4,845.92
        6,282.77      0.99%     32,704.00    6.27%    -26,421.23      19,427.76     5.41%     -13,144.99    Total Rooms Housekeeping               232,507.35    4.57%     232,145.00      5.51%       362.35      218,101.54     5.87%      14,405.81

       23,803.96      3.77%     54,350.00    10.42%   -30,546.04      34,208.14     9.53%     -10,404.18    Total Rooms Salary and Wages           426,675.09    8.38%     425,722.00    10.11%         953.09     392,023.45     10.55%     34,651.64

                                                                                                            PR Taxes and Benefits
         1,734.01      0.27%      1,372.00    0.26%        362.01         787.95     0.22%         946.06   FICA                                     11,598.33    0.23%      12,767.00      0.30%     -1,168.67      10,965.59     0.30%          632.74
            88.80      0.01%         18.00    0.00%         70.80          10.80     0.00%          78.00   Federal Unemployment Tax                    595.83    0.01%         426.00      0.01%        169.83         405.90     0.01%          189.93
           296.04      0.05%          0.00    0.00%        296.04           0.65     0.00%         295.39   State Unemployment Tax                      762.09    0.01%       1,119.00      0.03%       -356.91          27.42     0.00%          734.67
        2,118.85      0.34%      1,390.00    0.27%        728.85         799.40     0.22%       1,319.45    Total Payroll Taxes                     12,956.25    0.25%      14,312.00      0.34%     -1,355.75      11,398.91     0.31%        1,557.34
             0.00      0.00%          0.00    0.00%          0.00           0.00     0.00%           0.00   Holiday                                   1,727.75    0.03%       2,992.00      0.07%     -1,264.25       2,905.98     0.08%       -1,178.23
             0.00      0.00%        690.00    0.13%       -690.00         407.65     0.11%        -407.65   Vacation                                  3,827.61    0.08%       6,303.00      0.15%     -2,475.39       5,413.36     0.15%       -1,585.75
             0.00     0.00%        690.00    0.13%       -690.00         407.65     0.11%        -407.65    Total Supplemental Pay                   5,555.36    0.11%       9,295.00      0.22%     -3,739.64       8,319.34     0.22%       -2,763.98
         1,789.98      0.28%        560.00    0.11%      1,229.98         591.33     0.16%       1,198.65   Worker's Compensation                     7,380.07    0.14%       5,600.00      0.13%      1,780.07       6,139.84     0.17%        1,240.23
          -552.12     -0.09%      1,160.00    0.22%     -1,712.12       1,130.71     0.31%      -1,682.83   Group Insurance                           9,588.62    0.19%      11,576.00      0.27%     -1,987.38      12,884.71     0.35%       -3,296.09
             0.00      0.00%         43.00    0.01%        -43.00           0.00     0.00%           0.00   401k Contribution                            17.50    0.00%         143.00      0.00%       -125.50         365.10     0.01%         -347.60
             0.00      0.00%          0.00    0.00%          0.00           0.00     0.00%           0.00   Bonus and Incentive Pay                       0.00    0.00%           0.00      0.00%          0.00         975.00     0.03%         -975.00
             0.00      0.00%          0.00    0.00%          0.00           0.00     0.00%           0.00   Other Benefits                              719.23    0.01%           0.00      0.00%        719.23         160.00     0.00%          559.23
        1,237.86      0.20%      1,763.00    0.34%       -525.14       1,722.04     0.48%        -484.18    Total Other Benefits                    17,705.42    0.35%      17,319.00      0.41%        386.42      20,524.65     0.55%       -2,819.23

        3,356.71      0.53%      3,843.00    0.74%       -486.29       2,929.09     0.82%         427.62    Total Rooms PR Taxes and Benefits       36,217.03    0.71%      40,926.00      0.97%     -4,708.97      40,242.90     1.08%       -4,025.87

       27,160.67      4.30%     58,193.00    11.16%   -31,032.33      37,137.23     10.34%     -9,976.56    Total Rooms Labor Costs                462,892.12    9.09%     466,648.00    11.08%      -3,755.88     432,266.35     11.63%     30,625.77

                                                                                                            Other Expenses
        20,491.94      3.24%    10,904.00     2.09%     9,587.94        5,514.03     1.54%     14,977.91    Breakfast /Comp Cost                    105,364.79    2.07%      97,123.00     2.31%       8,241.79      77,432.47     2.08%      27,932.32
         2,540.09      0.40%       906.00     0.17%     1,634.09          760.01     0.21%      1,780.08    Cleaning Supplies                        12,623.43    0.25%       7,824.00     0.19%       4,799.43       5,569.06     0.15%       7,054.37
             0.00      0.00%       600.00     0.12%      -600.00            0.00     0.00%          0.00    Contract Cleaning                           933.23    0.02%       2,700.00     0.06%      -1,766.77           0.00     0.00%         933.23
        30,994.58      4.91%         0.00     0.00%    30,994.58            0.00     0.00%     30,994.58    Contract Labor                           64,987.87    1.28%           0.00     0.00%      64,987.87           0.00     0.00%      64,987.87
           122.77      0.02%         0.00     0.00%       122.77            0.00     0.00%        122.77    Dues and Subscriptions                      122.77    0.00%           0.00     0.00%         122.77           0.00     0.00%         122.77
         5,417.56      0.86%     3,020.00     0.58%     2,397.56        1,835.03     0.51%      3,582.53    Guest Supplies                           31,344.20    0.62%      25,315.00     0.60%       6,029.20      19,021.18     0.51%      12,323.02
         3,358.25      0.53%     1,342.00     0.26%     2,016.25        1,270.38     0.35%      2,087.87    Laundry                                  16,015.80    0.31%      10,570.00     0.25%       5,445.80       8,743.35     0.24%       7,272.45
         8,356.17      1.32%     2,852.00     0.55%     5,504.17        3,385.65     0.94%      4,970.52    Linen                                    31,345.04    0.62%      24,166.00     0.57%       7,179.04      16,484.15     0.44%      14,860.89
         2,207.64      0.35%     1,879.00     0.36%       328.64          429.60     0.12%      1,778.04    Operating Supplies                       16,103.60    0.32%      15,970.00     0.38%         133.60      11,458.15     0.31%       4,645.45
           955.68      0.15%    10,065.00     1.93%    -9,109.32        5,844.95     1.63%     -4,889.27    Reservation Expense                      74,627.44    1.47%      90,820.00     2.16%     -16,192.56      71,397.40     1.92%       3,230.04
             0.00      0.00%       554.00     0.11%      -554.00          363.01     0.10%       -363.01    Rooms Promotion                           2,002.40    0.04%       4,668.00     0.11%      -2,665.60       5,696.65     0.15%      -3,694.25
         2,777.08      0.44%     2,780.00     0.53%        -2.92        2,485.93     0.69%        291.15    Television Cable                         27,025.44    0.53%      27,800.00     0.66%        -774.56      27,352.72     0.74%        -327.28
             0.00      0.00%       101.00     0.02%      -101.00           20.00     0.01%        -20.00    Transportation                                9.00    0.00%         849.00     0.02%        -840.00         984.39     0.03%        -975.39
             0.00      0.00%         0.00     0.00%         0.00            0.00     0.00%          0.00    Travel                                       30.00    0.00%           0.00     0.00%          30.00           0.00     0.00%          30.00
         2,817.20      0.45%     2,600.00     0.50%       217.20        1,870.92     0.52%        946.28    Travel Agent Comm - Group Rooms          23,423.26    0.46%      25,912.00     0.62%      -2,488.74      14,893.45     0.40%       8,529.81
        14,490.05      2.29%    14,147.00     2.71%       343.05       12,816.47     3.57%      1,673.58    Travel Agent Comm - Transient Rooms     139,514.22    2.74%     114,153.00     2.71%      25,361.22      93,958.72     2.53%      45,555.50
           -98.36     -0.02%         0.00     0.00%       -98.36            0.00     0.00%        -98.36    Uniforms                                  2,139.05    0.04%         600.00     0.01%       1,539.05         202.58     0.01%       1,936.47
         2,173.64      0.34%         0.00     0.00%     2,173.64          971.52     0.27%      1,202.12    Walked Guests                             3,726.16    0.07%           0.00     0.00%       3,726.16       2,720.46     0.07%       1,005.70

       96,604.29     15.29%     51,750.00    9.92%    44,854.29       37,567.50     10.46%     59,036.79    Total Rooms Other Expenses             551,337.70    10.83%    448,470.00    10.65%     102,867.70     355,914.73     9.58%     195,422.97

      123,764.96     19.59%    109,943.00    21.08%   13,821.96       74,704.73     20.81%     49,060.23    Total Rooms Expenses                  1,014,229.82   19.92%    915,118.00    21.72%      99,111.82     788,181.08     21.21%    226,048.74

      507,950.07     80.41%    411,677.00    78.92%   96,273.07      284,328.42     79.19%    223,621.65    Total Rooms Profit (Loss)             4,076,121.94   80.08%   3,297,692.56   78.28%     778,429.38    2,927,489.94    78.79%   1,148,632.00




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                                                                       Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                 As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                                        YTD    %   YTD Budget %    Variance   YTD Last Year   %     Variance

                                                                                              Room Sale Stats
                                                                                              Tranisent Rooms
         1,923.00                0.00       1,923.00          69.00               1,854.00    Room Stat - Corporate Transient                  4,243.00             0.00      4,243.00         240.00          4,003.00
             0.00                0.00           0.00         762.00                -762.00    Room Stat - Advanced Purchase                    3,152.00             0.00      3,152.00       1,682.00          1,470.00
             0.00              550.00        -550.00          30.00                 -30.00    Room Stat - AAA/AARP Transient                     598.00         5,063.00     -4,465.00         125.00            473.00
             0.00              160.00        -160.00          56.00                 -56.00    Room Stat - FIT(Flexible Independent Travel)     1,956.00         2,475.00       -519.00         139.00          1,817.00
             0.00                0.00           0.00           0.00                   0.00    Room Stat - Consortia Rate Transient               111.00             0.00        111.00           2.00            109.00
             0.00                0.00           0.00          11.00                 -11.00    Room Stat - Employee                                85.00             0.00         85.00          39.00             46.00
             0.00                0.00           0.00           2.00                  -2.00    Room Stat - Package Transient                        4.00             0.00          4.00           2.00              2.00
             0.00                0.00           0.00          18.00                 -18.00    Room Stat - Travel Agent/Friends & Family          140.00             0.00        140.00          24.00            116.00
           152.00                0.00         152.00         119.00                  33.00    Room Stat - Member Reward Stay                   1,491.00             0.00      1,491.00         226.00          1,265.00
             0.00                0.00           0.00         114.00                -114.00    Room Stat - Extended Stay Transient              2,042.00             0.00      2,042.00         345.00          1,697.00
             0.00              750.00        -750.00         666.00                -666.00    Room Stat - Internet                             5,500.00         6,676.00     -1,176.00       1,737.00          3,763.00
             0.00                0.00           0.00          35.00                 -35.00    Room Stat - Other Transient                        217.00             0.00        217.00         103.00            114.00
             0.00                0.00           0.00           0.00                   0.00    Room Stat - E-Commerce Opaque                        2.00             0.00          2.00           0.00              2.00
             0.00               95.00         -95.00           8.00                  -8.00    Room Stat - Government Rate Transient              652.00           886.00       -234.00         145.00            507.00
           928.00              700.00         228.00          97.00                 831.00    Room Stat - Rack Rate Transient                  4,271.00         6,063.00     -1,792.00         202.00          4,069.00
             0.00              600.00        -600.00         134.00                -134.00    Room Stat - Local Negotiated Transient           3,367.00         3,813.00       -446.00         422.00          2,945.00
        3,003.00            2,855.00         148.00       2,121.00                 882.00     Total Transient Rooms Sold                     27,831.00        24,976.00      2,855.00       5,433.00         22,398.00

                                                                                              Group Rooms
           801.00               75.00        726.00          155.00                 646.00    Room Stat - Corporate Group Rooms                1,362.00           691.00        671.00         155.00          1,207.00
             0.00               25.00        -25.00            0.00                   0.00    Room Stat - Government Group                       259.00           198.00         61.00           0.00            259.00
             0.00               15.00        -15.00            0.00                   0.00    Room Stat - Tour & Travel Group                      0.00           221.00       -221.00           0.00              0.00
             0.00                0.00          0.00            0.00                   0.00    Room Stat - Association Group                        0.00            40.00        -40.00           0.00              0.00
             0.00               35.00        -35.00            0.00                   0.00    Room Stat - SMERF Group                            408.00           165.00        243.00           0.00            408.00
             0.00              350.00       -350.00          317.00                -317.00    Room Stat - Sports Group                           994.00         2,005.00     -1,011.00         384.00            610.00
          801.00              500.00        301.00          472.00                 329.00     Total Group Rooms Sold                          3,023.00         3,320.00       -297.00         539.00          2,484.00

                                                                                              Contract Rooms
             0.00               0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                           0.00             0.00          0.00            0.00             0.00

        3,804.00            3,355.00         449.00       2,593.00                1,211.00    Total Rooms Sold                               30,854.00        28,296.00      2,558.00       5,972.00         24,882.00
            11.00               0.00           11.00          0.00                    11.00   Room Stat-Comp Rooms                                26.00            0.00          26.00          0.00              26.00
        3,815.00            3,355.00         460.00       2,593.00                1,222.00    Total Rooms Occupied                           30,880.00        28,296.00      2,584.00       5,972.00         24,908.00
           178.00               0.00          178.00          0.00                   178.00   Room Stat-Out of Order                             516.00            0.00         516.00          0.00             516.00

                                                                                              ADR
             0.00                0.00          0.00          397.31                -397.31    Corporate Transient ADR                             38.51             0.00        38.51        1,308.34         -1,269.83
             0.00                0.00          0.00          137.18                -137.18    Advanced Purchase ADR                              146.15             0.00       146.15          247.70           -101.55
             0.00              155.00       -155.00          820.02                -820.02    AAA/AARP ADR                                       721.70           146.56       575.14        3,039.98         -2,318.28
             0.00              207.00       -207.00          186.78                -186.78    FIT ADR                                            207.78           173.74        34.04        2,312.21         -2,104.43
             0.00                0.00          0.00            0.00                   0.00    Consortia ADR                                      134.89             0.00       134.89       17,518.38        -17,383.49
             0.00                0.00          0.00           75.82                 -75.82    Employee ADR                                       109.66             0.00       109.66          215.24           -105.58
             0.00                0.00          0.00            0.00                   0.00    Leisure ADR                                          0.00             0.00          0.00           0.00              0.00
             0.00                0.00          0.00          115.06                -115.06    Travel Agent/Friends & Family ADR                  127.04             0.00       127.04          230.71           -103.67
             0.00                0.00          0.00            0.00                   0.00    Leisure Package ADR                                  0.00             0.00          0.00           0.00              0.00
            52.23                0.00         52.23           69.23                 -16.99    Member Reward Stay ADR                              86.40             0.00        86.40          658.63           -572.23
             0.00                0.00          0.00            0.00                   0.00    Golf Pkg ADR                                         0.00             0.00          0.00           0.00              0.00
             0.00                0.00          0.00            0.00                   0.00    Extended Stay ADR                                    0.11             0.00          0.11           0.00              0.11
             0.00              142.98       -142.98          130.78                -130.78    Internet ADR                                       173.95           130.51        43.45          386.39           -212.44
             0.00                0.00          0.00            0.00                   0.00    E-Commerce Opaque ADR                              139.62             0.00       139.62            0.00            139.62
             0.00                0.00          0.00            0.00                   0.00    Other Transient ADR                                  0.00             0.00          0.00           0.00              0.00
             0.00                0.00          0.00            0.00                   0.00    Airline Distressed Passenger ADR                     0.00             0.00          0.00           0.00              0.00
             0.00              151.00       -151.00          145.00                -145.00    Government ADR                                     112.56           121.81         -9.24         719.73           -607.17
           522.92              167.00        355.92          169.09                 353.83    Rack ADR                                           316.39           160.22       156.17        2,231.60         -1,915.21
             0.00              135.00       -135.00          120.49                -120.49    Local Negotiated ADR                               160.98           130.79        30.19        1,279.51         -1,118.53
          164.24              153.36          10.88         141.16                   23.07    Total Transient ADR                               163.77           144.99         18.78         625.53           -461.76

           172.56             155.00          17.56            0.00                 172.56    Corporate Group ADR                               126.56           150.66        -24.10            0.00           126.56
             0.00               0.00           0.00            0.00                   0.00    Leisure Group ADR                                   0.00             0.00          0.00            0.00             0.00
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              PTD     %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                          YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00               151.00       -151.00            0.00                   0.00    Government Group ADR                 102.37           199.37       -97.00           0.00          102.37
            0.00                72.00        -72.00            0.00                   0.00    Tour & Travel Group ADR                0.00            72.00       -72.00           0.00            0.00
            0.00                 0.00          0.00            0.00                   0.00    Association Group ADR                  0.00           129.00     -129.00            0.00            0.00
            0.00                 0.00          0.00            0.00                   0.00    City Wide Group ADR                    0.00             0.00         0.00           0.00            0.00
            0.00               159.00       -159.00            0.00                   0.00    SMERF Group ADR                      155.39           175.32       -19.93           0.00          155.39
            0.00               172.00       -172.00          167.69                -167.69    Sports Group ADR                     229.97           190.48        39.49         454.46         -224.49
            0.00                 0.00          0.00            0.00                   0.00    Other Group ADR                        0.00             0.00         0.00           0.00            0.00
          172.56              164.49           8.07         112.62                   59.94    Total Group ADR                     162.38           173.34       -10.96         478.98         -316.60

             0.00               0.00           0.00            0.00                   0.00    Airline Crew ADR                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Other Contract ADR                    0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Contract ADR                    0.00             0.00         0.00            0.00           0.00

          166.07              155.48          10.59         138.46                   27.60    Total ADR                           164.98           148.88        16.10         622.18         -457.20




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                                                                                       Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                                 As of 10/31/2021
              PTD     %        PTD Budget     %          Variance   PTD Last Year     %            Variance                                                 YTD      %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                              F&B Summary
                                                                                                              Revenue
            92.25      1.34%     1,845.00     12.69%    -1,752.75           0.00       0.00%          92.25   Outlet Food Revenue                         172.50      0.30%     14,500.00  12.60%      -14,327.50       6,157.79   6.33%        -5,985.29
          -342.65     -4.97%     3,000.00     20.64%    -3,342.65       1,852.75      27.75%      -2,195.40   Banquet and Catering Food Revenue         9,913.17     17.51%     15,600.00  13.56%       -5,686.83      21,104.11  21.69%       -11,190.94
         4,341.00     63.00%     6,711.00     46.17%    -2,370.00           0.00       0.00%       4,341.00   Outlet Beverage Revenue                  11,217.52     19.82%     59,993.00  52.15%      -48,775.48      27,963.49  28.74%       -16,745.97
             0.00      0.00%         0.00      0.00%         0.00         109.25       1.64%        -109.25   Banquet and Catering Beverage Revenue     1,563.00      2.76%      3,600.00   3.13%       -2,037.00       2,163.25   2.22%          -600.25
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Outlet Other Revenue                          0.00      0.00%          0.00   0.00%            0.00           0.00   0.00%             0.00
         2,800.00     40.64%     2,978.00     20.49%      -178.00       4,713.85      70.61%      -1,913.85   Banquet and Catering Other Revenue       33,740.23     59.60%     21,355.00  18.56%       12,385.23      39,896.65  41.01%        -6,156.42
        6,890.60    100.00%    14,534.00    100.00%    -7,643.40       6,675.85     100.00%         214.75    Total F&B Revenue                       56,606.42    100.00%    115,048.00 100.00%      -58,441.58      97,285.29 100.00%       -40,678.87

                                                                                                              Cost of Sales
             0.00      0.00%       927.00      6.38%      -927.00           0.00       0.00%           0.00   Food Purchases                           -3,003.54     -5.31%      5,788.00     5.03%     -8,791.54       4,769.98      4.90%     -7,773.52
          -488.89     -7.10%     2,004.00     13.79%    -2,492.89           0.00       0.00%        -488.89   Beverage Purchases                        3,331.45      5.89%     18,935.00    16.46%    -15,603.55       8,240.78      8.47%     -4,909.33
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Cedit Employee Meals                          0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Credit House Charges                          0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Credit In-House Promotions                    0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%         0.00      0.00%         0.00           0.00       0.00%           0.00   Audio Visual Cost of Sales                    0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00
             0.00      0.00%     1,380.00      9.49%    -1,380.00       1,302.42      19.51%      -1,302.42   Other Cost of Sales                       3,807.45      6.73%      7,176.00     6.24%     -3,368.55       9,996.65     10.28%     -6,189.20
         -488.89     -7.10%     4,311.00     29.66%    -4,799.89       1,302.42      19.51%      -1,791.31    Total F&B Cost of Sales                  4,135.36      7.31%     31,899.00    27.73%    -27,763.64      23,007.41     23.65%    -18,872.05

        7,379.49    107.10%    10,223.00     70.34%    -2,843.51       5,373.43      80.49%       2,006.06    F&B Gross Profit                        52,471.06     92.69%     83,149.00    72.27%    -30,677.94      74,277.88     76.35%    -21,806.82

                                                                                                              Expenses
                                                                                                              Payroll
                                                                                                              Salaries and Wages
            0.00       0.00%        0.00       0.00%        0.00            0.00       0.00%          0.00    Management                                    0.00      0.00%          0.00     0.00%          0.00           0.00      0.00%          0.00
           53.34       0.77%        0.00       0.00%       53.34            0.00       0.00%         53.34    Non-Management                            5,258.32      9.29%      4,176.00     3.63%      1,082.32       1,914.00      1.97%      3,344.32
           53.34      0.77%         0.00      0.00%        53.34            0.00      0.00%          53.34    Total F&B Salaries and Wages             5,258.32      9.29%      4,176.00     3.63%      1,082.32       1,914.00      1.97%      3,344.32
                                                                                                              PR Taxes and Benefits
            30.60      0.44%        0.00       0.00%       30.60            0.00       0.00%          30.60   Payroll Taxes                               623.95      1.10%        439.00     0.38%        184.95         285.78      0.29%        338.17
             0.00      0.00%        0.00       0.00%        0.00            0.00       0.00%           0.00   Supplemental Pay                              4.69      0.01%          0.00     0.00%          4.69           0.00      0.00%          4.69
          -314.77     -4.57%        0.00       0.00%     -314.77            0.00       0.00%        -314.77   Other Benefits                              583.75      1.03%          0.00     0.00%        583.75          71.90      0.07%        511.85
         -284.17     -4.12%         0.00      0.00%     -284.17             0.00      0.00%        -284.17    Total F&B PR Taxes and Benefits          1,212.39      2.14%        439.00     0.38%        773.39         357.68      0.37%        854.71

         -230.83     -3.35%         0.00      0.00%     -230.83             0.00      0.00%        -230.83    Total F&B Payroll                        6,470.71     11.43%      4,615.00     4.01%      1,855.71       2,271.68      2.34%      4,199.03

                                                                                                              Other Expenses
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Audio Visual Supplies                        0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Banquet Expense                              0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Bar Expense/Promos                           0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Bar Supplies                                 0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    China                                        0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%      149.00      1.03%      -149.00            0.00      0.00%           0.00    Cleaning Supplies                            0.00      0.00%        979.00     0.85%       -979.00        1,184.75     1.22%      -1,184.75
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Communication Expense                        0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Contract Cleaning                            0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Contract Labor                               0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Decorations & Plants                         0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Dues and Subscriptions                       0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Equipment Rental                           778.57      1.38%          0.00     0.00%        778.57            0.00     0.00%         778.57
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Food and Beverage Advertising                0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Glassware                                    0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Guest Loss/Damage                            0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Guest Supplies                               0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    In-House Entertainment                       0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Kitchen/Cooking Fuel                         0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Kitchen Equipment                            0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Laundry - Outside Expense                    0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Laundry Allocation                           0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Licenses/Permits                             0.00      0.00%          0.00     0.00%          0.00          175.00     0.18%        -175.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Linen                                        0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
             0.00      0.00%        0.00      0.00%         0.00            0.00      0.00%           0.00    Linen Rental                                 0.00      0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00
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                                                                                  Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                            As of 10/31/2021
              PTD     %        PTD Budget    %        Variance   PTD Last Year    %           Variance                                          YTD     %       YTD Budget %              Variance   YTD Last Year    %         Variance

             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Maintenance Contracts                  0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Meals and Entertainment                0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Menus                                  0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Miscellaneous Expense                853.77    1.51%        0.00       0.00%       853.77         216.10     0.22%       637.67
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Music and Entertainment                0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Office Equipment                       0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Office Supplies                        0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Operating Supplies                     0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Paper/Plastic Supplies                 0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Printing and Stationery                0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Silverware                             0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Software Expense/Maintenance           0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Television Cable                       0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Training                               0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Travel                                 0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Uniforms                               0.00    0.00%        0.00       0.00%         0.00           0.00     0.00%         0.00
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Utensils                              21.58    0.04%        0.00       0.00%        21.58           0.00     0.00%        21.58
             0.00     0.00%       149.00    1.03%     -149.00            0.00    0.00%           0.00    Total F&B Other Expenses          1,653.92    2.92%       979.00      0.85%       674.92       1,575.85     1.62%         78.07

         -230.83     -3.35%       149.00    1.03%     -379.83            0.00    0.00%       -230.83     Total F&B Expenses                8,124.63    14.35%    5,594.00      4.86%     2,530.63       3,847.53     3.95%     4,277.10

        7,610.32    110.44%    10,074.00    69.31%   -2,463.68      5,373.43     80.49%      2,236.89    Total F&B Profit (Loss)          44,346.43    78.34%   77,555.00   67.41%      -33,208.57     70,430.35     72.40%   -26,083.92




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                                                                       Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                            P&L - Dual Summary Pages
                                                                                                 As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                         YTD    %    YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                              F&B Stats
                                                                                              Restaurant 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers             0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers             0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Room Service
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Room Service Covers             0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Room Service Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Banquets
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Banquets Covers                 0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Banquets Avg Check                    0.00             0.00         0.00            0.00           0.00

                                                                                              Catering
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Catering Covers                 0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Catering Avg Check                    0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 3
             0.00                0.00          0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00        0.00            0.00           0.00
             0.00                0.00          0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00        0.00            0.00           0.00
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                                                                       Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                 As of 10/31/2021
              PTD     %    PTD Budget   %   Variance   PTD Last Year   %           Variance                                         YTD    %    YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers             0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 4
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers             0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Restaurant 5
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers             0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                              Bar 1
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 1 Covers                    0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 1 Avg Check                       0.00             0.00         0.00            0.00           0.00

                                                                                              Bar 2
             0.00               0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Total Bar 2 Covers                    0.00             0.00         0.00            0.00           0.00
             0.00               0.00           0.00            0.00                   0.00    Bar 2 Avg Check                       0.00             0.00         0.00            0.00           0.00

             0.00               0.00           0.00            0.00                   0.00    Total Covers                          0.00             0.00         0.00            0.00           0.00




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                                                                                  Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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              PTD     %        PTD Budget    %        Variance   PTD Last Year    %           Variance                                                 YTD     %       YTD Budget %              Variance   YTD Last Year    %         Variance

                                                                                                         Food Admin
                                                                                                         Cost of Sales
             0.00      0.00%       927.00    6.38%     -927.00           0.00     0.00%           0.00   Food Purchases                           -3,003.54   -5.31%     5,788.00      5.03%    -8,791.54       4,769.98     4.90%    -7,773.52
          -488.89     -7.10%     2,004.00   13.79%   -2,492.89           0.00     0.00%        -488.89   Beverage Purchases                        3,331.45    5.89%    18,935.00     16.46%   -15,603.55       8,240.78     8.47%    -4,909.33
             0.00      0.00%     1,380.00    9.49%   -1,380.00       1,302.42    19.51%      -1,302.42   Other Cost of Sales                       3,807.45    6.73%     7,176.00      6.24%    -3,368.55       9,996.65    10.28%    -6,189.20

         -488.89     -7.10%     4,311.00    29.66%   -4,799.89      1,302.42     19.51%     -1,791.31    Total Food Admin Cost of Sales           4,135.36    7.31%    31,899.00    27.73%     -27,763.64     23,007.41     23.65%   -18,872.05

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Food Admin Management                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Food Admin Non-Management              0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Food Admin Salaries and Wages          0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%         0.00

                                                                                                         PR Taxes and Benefits

             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    FICA                                       170.98     0.30%       319.00      0.28%      -148.02         269.66     0.28%       -98.68
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Federal Unemployment Tax                    12.81     0.02%        60.00      0.05%       -47.19          14.88     0.02%        -2.07
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    State Unemployment Tax                       1.78     0.00%        60.00      0.05%       -58.22           1.24     0.00%         0.54
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Payroll Taxes                       185.57     0.33%       439.00      0.38%      -253.43         285.78     0.29%      -100.21
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Vacation                                     4.69     0.01%         0.00      0.00%         4.69           0.00     0.00%         4.69
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Supplemental Pay                       4.69    0.01%          0.00     0.00%          4.69           0.00    0.00%          4.69
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Worker's Compensation                      208.69     0.37%         0.00      0.00%       208.69          69.10     0.07%       139.59
             0.00      0.00%        0.00     0.00%       0.00            0.00     0.00%          0.00    Group Insurance                              1.38     0.00%         0.00      0.00%         1.38           2.80     0.00%        -1.42
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Other Benefits                      210.07     0.37%          0.00     0.00%       210.07           71.90    0.07%       138.17

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Food Admin PR Taxes and Benefits    400.33     0.71%       439.00      0.38%        -38.67        357.68     0.37%        42.65

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%           0.00    Total Food Admin Payroll                  400.33     0.71%       439.00      0.38%        -38.67        357.68     0.37%        42.65

                                                                                                         Other Expenses
             0.00      0.00%      149.00     1.03%     -149.00           0.00     0.00%          0.00    Cleaning Supplies                            0.00     0.00%      979.00      0.85%       -979.00       1,184.75     1.22%    -1,184.75
             0.00      0.00%        0.00     0.00%        0.00           0.00     0.00%          0.00    Equipment Rental                           778.57     1.38%        0.00      0.00%        778.57           0.00     0.00%       778.57
             0.00      0.00%        0.00     0.00%        0.00           0.00     0.00%          0.00    Licenses/Permits                             0.00     0.00%        0.00      0.00%          0.00         175.00     0.18%      -175.00
             0.00      0.00%        0.00     0.00%        0.00           0.00     0.00%          0.00    Miscellaneous Expense                      853.77     1.51%        0.00      0.00%        853.77         216.10     0.22%       637.67
             0.00      0.00%        0.00     0.00%        0.00           0.00     0.00%          0.00    Utensils                                    21.58     0.04%        0.00      0.00%         21.58           0.00     0.00%        21.58

             0.00     0.00%       149.00    1.03%     -149.00            0.00    0.00%           0.00    Total Food Admin Other Expenses          1,653.92    2.92%       979.00      0.85%       674.92       1,575.85     1.62%        78.07

             0.00     0.00%       149.00    1.03%     -149.00            0.00    0.00%           0.00    Total Food Admin Expenses                2,054.25    3.63%     1,418.00      1.23%       636.25       1,933.53     1.99%       120.72

         -488.89     -7.10%     4,460.00    30.69%   -4,948.89      1,302.42     19.51%     -1,791.31    Departmental Costs                       6,189.61    10.93%   33,317.00    28.96%     -27,127.39     24,940.94     25.64%   -18,751.33




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              PTD     %        PTD Budget   %       Variance   PTD Last Year   %           Variance                                         YTD    %        YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                      Beverage Admin
             0.00      0.00%         0.00   0.00%      0.00            0.00    0.00%          0.00    Less Adjustments                      0.00    0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Revenue          0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Cost of Sales

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Cost of Sales    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                      Expenses
                                                                                                      Other Expenses

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Other Expenses   0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Expenses         0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%         0.00    0.00%      0.00            0.00    0.00%          0.00    Departmental Costs                    0.00   0.00%         0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget     %        Variance   PTD Last Year   %           Variance                                                   YTD     %        YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                         Restaurant 1
                                                                                                         Food Revenue
            38.25      1.27%         0.00     0.00%       38.25           0.00    0.00%         38.25    Food-Dinner                                   38.25      0.52%         0.00      0.00%        38.25            0.00     0.00%         38.25
             0.00      0.00%     1,845.00    21.56%   -1,845.00           0.00    0.00%          0.00    Food-Late Night                               31.75      0.43%    14,500.00     19.46%   -14,468.25        6,157.79    18.05%     -6,126.04

           38.25      1.27%     1,845.00    21.56%    -1,806.75           0.00    0.00%         38.25    Restaurant 1 Food Revenue                     70.00     0.95%    14,500.00    19.46%     -14,430.00       6,157.79     18.05%     -6,087.79
            0.00       0.00%        0.00      0.00%        0.00           0.00     0.00%         0.00    Less: Allowances                               0.00      0.00%        0.00      0.00%          0.00           0.00       0.00%         0.00

           38.25      1.27%     1,845.00    21.56%    -1,806.75           0.00    0.00%         38.25    Total Restaurant 1 Food Revenue               70.00     0.95%    14,500.00    19.46%     -14,430.00       6,157.79     18.05%     -6,087.79

                                                                                                         Beverage Revenue
         2,118.00     70.24%     3,523.00    41.18%   -1,405.00           0.00    0.00%      2,118.00    Liquor                                     5,054.02     68.49%    28,401.00     38.13%   -23,346.98       12,898.74    37.80%     -7,844.72
           628.00     20.83%     2,181.00    25.49%   -1,553.00           0.00    0.00%        628.00    Beer                                       1,693.00     22.94%    23,985.00     32.20%   -22,292.00       10,310.50    30.22%     -8,617.50
           231.00      7.66%     1,007.00    11.77%     -776.00           0.00    0.00%        231.00    Wine                                         561.75      7.61%     7,607.00     10.21%    -7,045.25        4,754.25    13.93%     -4,192.50

        2,977.00     98.73%     6,711.00    78.44%    -3,734.00           0.00    0.00%      2,977.00    Restaurant 1 Beverage Revenue              7,308.77    99.05%    59,993.00    80.54%     -52,684.23      27,963.49     81.95%    -20,654.72
            0.00       0.00%        0.00      0.00%        0.00           0.00     0.00%         0.00    Less: Allowances                               0.00      0.00%        0.00      0.00%          0.00           0.00       0.00%         0.00

        2,977.00     98.73%     6,711.00    78.44%    -3,734.00           0.00    0.00%      2,977.00    Total Restaurant 1 Beverage Revenue        7,308.77    99.05%    59,993.00    80.54%     -52,684.23      27,963.49     81.95%    -20,654.72

        3,015.25    100.00%     8,556.00    100.00%   -5,540.75           0.00    0.00%      3,015.25    Total Restaurant 1 Revenue                 7,378.77    100.00%   74,493.00 100.00%       -67,114.23      34,121.28 100.00%       -26,742.51

                                                                                                         Cost of Sales

             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%          0.00    Total Restaurant 1 Cost of Sales               0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

        3,015.25    100.00%     8,556.00    100.00%   -5,540.75           0.00    0.00%      3,015.25    Restaurant 1 Gross Profit                  7,378.77    100.00%   74,493.00 100.00%       -67,114.23      34,121.28 100.00%       -26,742.51

                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%          0.00    Total Restaurant 1 Management                   0.00    0.00%          0.00     0.00%           0.00           0.00     0.00%          0.00
             0.00      0.00%        0.00      0.00%       0.00            0.00     0.00%         0.00    Cashiers                                    1,813.50    24.58%     4,176.00      5.61%     -2,362.50       1,914.00      5.61%      -100.50
             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%          0.00    Total Restaurant 1 Non-Management          1,813.50    24.58%     4,176.00      5.61%     -2,362.50       1,914.00      5.61%      -100.50

             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%          0.00    Total Restaurant 1 Salaries and Wages      1,813.50    24.58%     4,176.00      5.61%     -2,362.50       1,914.00      5.61%      -100.50

                                                                                                         PR Taxes and Benefits
             0.00     0.00%         0.00     0.00%         0.00           0.00    0.00%          0.00    Total Payroll Taxes                            0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00     0.00%         0.00           0.00    0.00%          0.00    Total Supplemental Pay                         0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%          0.00
           290.94      9.65%        0.00      0.00%      290.94           0.00     0.00%       290.94    Worker's Compensation                        373.68      5.06%        0.00       0.00%       373.68            0.00      0.00%       373.68
          290.94      9.65%         0.00     0.00%      290.94            0.00    0.00%       290.94     Total Other Benefits                        373.68      5.06%         0.00      0.00%       373.68             0.00     0.00%       373.68

          290.94      9.65%         0.00     0.00%      290.94            0.00    0.00%       290.94     Total Restaurant 1 PR Taxes and Benefits    373.68      5.06%         0.00      0.00%       373.68             0.00     0.00%       373.68

          290.94      9.65%         0.00     0.00%      290.94            0.00    0.00%       290.94     Total Restaurant 1 Payroll                 2,187.18    29.64%     4,176.00      5.61%     -1,988.82       1,914.00      5.61%       273.18

                                                                                                         Other Expenses
             0.00     0.00%         0.00     0.00%        0.00            0.00    0.00%          0.00    Total Restaurant 1 Other Expenses              0.00     0.00%         0.00      0.00%          0.00            0.00     0.00%         0.00

          290.94      9.65%         0.00     0.00%      290.94            0.00    0.00%       290.94     Total Restaurant 1 Expenses                2,187.18    29.64%     4,176.00      5.61%     -1,988.82       1,914.00      5.61%       273.18

        2,724.31     90.35%     8,556.00    100.00%   -5,831.69           0.00    0.00%      2,724.31    Total Restaurant 1 Profit (Loss)           5,191.59    70.36%    70,317.00    94.39%     -65,125.41      32,207.28     94.39%    -27,015.69




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                                YTD      %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 2
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 2 Food Revenue                    0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                             0.00      0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Food Revenue              0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revemue
           131.50     39.14%         0.00   0.00%     131.50            0.00    0.00%        131.50    Liquor                                     131.50    39.14%          0.00     0.00%     131.50            0.00    0.00%     131.50
            94.50     28.13%         0.00   0.00%      94.50            0.00    0.00%         94.50    Beer                                        94.50    28.13%          0.00     0.00%      94.50            0.00    0.00%      94.50
           110.00     32.74%         0.00   0.00%     110.00            0.00    0.00%        110.00    Wine                                       110.00    32.74%          0.00     0.00%     110.00            0.00    0.00%     110.00

          336.00    100.00%         0.00    0.00%    336.00             0.00    0.00%       336.00     Restaurant 2 Beverage Revenue              336.00   100.00%         0.00      0.00%    336.00             0.00    0.00%    336.00
            0.00       0.00%        0.00     0.00%     0.00             0.00     0.00%        0.00     Less: Allowances                             0.00      0.00%        0.00       0.00%     0.00             0.00     0.00%     0.00

          336.00    100.00%         0.00    0.00%    336.00             0.00    0.00%       336.00     Total Restaurant 2 Beverage Revenue        336.00   100.00%         0.00      0.00%    336.00             0.00    0.00%    336.00

          336.00    100.00%         0.00    0.00%    336.00             0.00    0.00%       336.00     Total Restaurant 2 Revenue                 336.00   100.00%         0.00      0.00%    336.00             0.00    0.00%    336.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Cost of Sales             0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

          336.00    100.00%         0.00    0.00%    336.00             0.00    0.00%       336.00     Restaurant 2 Gross Profit                  336.00   100.00%         0.00      0.00%    336.00             0.00    0.00%    336.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Management                0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Non-Management            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Salaries and Wages        0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                          0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                       0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                         0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 PR Taxes and Benefits     0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Payroll                   0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Other Expenses            0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 2 Expenses                  0.00     0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

          336.00    100.00%         0.00    0.00%    336.00             0.00    0.00%       336.00     Total Restaurant 2 Profit (Loss)           336.00   100.00%         0.00      0.00%    336.00             0.00    0.00%    336.00




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                                                                                Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                          As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Room Service
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                    Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                              As of 10/31/2021
              PTD     %        PTD Budget     %        Variance   PTD Last Year     %           Variance                                            YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                           Banquets
                                                                                                           Food Revenue
           134.85      5.69%     3,000.00    50.18%   -2,865.15       1,852.75     27.75%      -1,717.90   Food-Lunch                           7,906.00    18.79%    15,600.00     38.47%    -7,694.00      21,104.11    33.41%    -13,198.11
          -116.00     -4.90%         0.00     0.00%     -116.00           0.00      0.00%        -116.00   Food-Breaks                             63.85     0.15%         0.00      0.00%        63.85           0.00     0.00%         63.85
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Food-Reception                         723.00     1.72%         0.00      0.00%       723.00           0.00     0.00%        723.00

           18.85      0.80%     3,000.00    50.18%    -2,981.15      1,852.75     27.75%      -1,833.90    Banquets Food Revenue                8,692.85   20.66%    15,600.00    38.47%     -6,907.15      21,104.11     33.41%    -12,411.26
            0.00       0.00%        0.00      0.00%        0.00          0.00       0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00      0.00%         0.00           0.00       0.00%         0.00

           18.85      0.80%     3,000.00    50.18%    -2,981.15      1,852.75     27.75%      -1,833.90    Total Banquets Food Revenue          8,692.85   20.66%    15,600.00    38.47%     -6,907.15      21,104.11     33.41%    -12,411.26

                                                                                                           Beverage Revenue
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%          0.00    Liquor                               1,472.00     3.50%     3,600.00     8.88%     -2,128.00       1,123.75     1.78%        348.25
             0.00      0.00%         0.00     0.00%        0.00         109.25      1.64%       -109.25    Beer                                    91.00     0.22%         0.00     0.00%         91.00         839.50     1.33%       -748.50
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%          0.00    Wine                                     0.00     0.00%         0.00     0.00%          0.00         200.00     0.32%       -200.00

             0.00     0.00%         0.00     0.00%        0.00         109.25      1.64%        -109.25    Banquets Beverage Revenue            1,563.00    3.72%     3,600.00      8.88%    -2,037.00       2,163.25      3.42%      -600.25
             0.00      0.00%        0.00      0.00%       0.00           0.00       0.00%          0.00    Less: Allowances                         0.00     0.00%        0.00       0.00%        0.00           0.00       0.00%        0.00

             0.00     0.00%         0.00     0.00%        0.00         109.25      1.64%        -109.25    Total Banquets Beverage Revenue      1,563.00    3.72%     3,600.00      8.88%    -2,037.00       2,163.25      3.42%      -600.25

                                                                                                           Other Revenue
             0.00      0.00%        50.00     0.84%      -50.00         360.00      5.39%        -360.00   Audio/Visual Income                  2,005.00     4.77%       690.00      1.70%    1,315.00        3,700.00     5.86%     -1,695.00
             0.00      0.00%         0.00     0.00%        0.00           0.00      0.00%           0.00   Other Revenue                        1,950.00     4.64%         0.00      0.00%    1,950.00            0.00     0.00%      1,950.00
             0.00      0.00%     1,078.00    18.03%   -1,078.00       1,203.85     18.03%      -1,203.85   Setup Fee                            6,375.21    15.15%     7,315.00     18.04%     -939.79       11,172.75    17.69%     -4,797.54
         2,350.00     99.20%     1,850.00    30.95%      500.00       3,150.00     47.19%        -800.00   Public Room Rental                  21,485.02    51.07%    13,350.00     32.92%    8,135.02       25,023.90    39.62%     -3,538.88

        2,350.00     99.20%     2,978.00    49.82%     -628.00       4,713.85     70.61%      -2,363.85    Total Banquets Other Revenue        31,815.23   75.62%    21,355.00    52.66%     10,460.23      39,896.65     63.16%     -8,081.42

        2,368.85    100.00%     5,978.00    100.00%   -3,609.15      6,675.85     100.00%     -4,307.00    Total Banquets Revenue              42,071.08   100.00%   40,555.00 100.00%        1,516.08      63,164.01 100.00%       -21,092.93

                                                                                                           Cost of Sales

             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Cost of Sales             0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

        2,368.85    100.00%     5,978.00    100.00%   -3,609.15      6,675.85     100.00%     -4,307.00    Gross Profit                        42,071.08   100.00%   40,555.00 100.00%        1,516.08      63,164.01 100.00%       -21,092.93

                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Management                0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Non-Management            0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

             0.00                   0.00                  0.00            0.00                     0.00    Total Banquets Salaries and Wages        0.00                  0.00                    0.00            0.00                   0.00

                                                                                                           PR Taxes and Benefits
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Payroll Taxes                      0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Supplemental Pay                   0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Other Benefits                     0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

             0.00                   0.00                  0.00            0.00                     0.00    Total Banquet Benefits                   0.00                  0.00                    0.00            0.00                   0.00

             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Payroll                   0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00

                                                                                                           Other Expenses
             0.00     0.00%         0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Other Expenses            0.00    0.00%         0.00      0.00%         0.00            0.00     0.00%         0.00


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              PTD     %       PTD Budget     %        Variance   PTD Last Year     %           Variance                                         YTD     %        YTD Budget %            Variance   YTD Last Year   %         Variance

             0.00     0.00%        0.00     0.00%        0.00            0.00     0.00%           0.00    Total Banquets Expenses               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%        0.00

        2,368.85    100.00%    5,978.00    100.00%   -3,609.15      6,675.85     100.00%     -4,307.00    Total Banquets Profit (Loss)     42,071.08   100.00%   40,555.00 100.00%      1,516.08      63,164.01 100.00%     -21,092.93




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                                                                                Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                          As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD      %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                       Catering
                                                                                                       Food Revenue
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%          0.00    Food-Lunch                             1,377.60     43.80%         0.00     0.00%    1,377.60            0.00    0.00%    1,377.60
             0.00      0.00%         0.00   0.00%       0.00            0.00    0.00%          0.00    Food-Breaks                              204.22      6.49%         0.00     0.00%      204.22            0.00    0.00%      204.22
          -361.50   -408.47%         0.00   0.00%    -361.50            0.00    0.00%       -361.50    Food-Reception                          -361.50    -11.49%         0.00     0.00%     -361.50            0.00    0.00%     -361.50

         -361.50 -408.47%           0.00    0.00%    -361.50            0.00    0.00%      -361.50     Catering Food Revenue                  1,220.32   38.80%          0.00      0.00%    1,220.32            0.00    0.00%    1,220.32
            0.00     0.00%          0.00     0.00%      0.00            0.00     0.00%        0.00     Less: Adjustments                          0.00     0.00%         0.00       0.00%       0.00            0.00     0.00%       0.00

         -361.50 -408.47%           0.00    0.00%    -361.50            0.00    0.00%      -361.50     Total Catering Food Revenue            1,220.32   38.80%          0.00      0.00%    1,220.32            0.00    0.00%    1,220.32

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Catering Beverage Revenue                  0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                          0.00      0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Beverage Revenue            0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                       Other Revenue
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%          0.00    Audio/Visual Revenue                     175.00     5.56%          0.00     0.00%      175.00            0.00    0.00%      175.00
           450.00   508.47%          0.00   0.00%     450.00            0.00    0.00%        450.00    Other Revenue                          1,750.00    55.64%          0.00     0.00%    1,750.00            0.00    0.00%    1,750.00

          450.00    508.47%         0.00    0.00%    450.00             0.00    0.00%       450.00     Total Catering Other Revenue           1,925.00   61.20%          0.00      0.00%    1,925.00            0.00    0.00%    1,925.00

           88.50    100.00%         0.00    0.00%      88.50            0.00    0.00%         88.50    Total Catering Revenue                 3,145.32   100.00%         0.00      0.00%    3,145.32            0.00    0.00%    3,145.32

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Cost of Sales               0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

           88.50    100.00%         0.00    0.00%      88.50            0.00    0.00%         88.50    Catering Gross Profit                  3,145.32   100.00%         0.00      0.00%    3,145.32            0.00    0.00%    3,145.32

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Management                  0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Non-Management              0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Salaries and Wages          0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering PR Taxes and Benefits       0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Payroll                     0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Other Expenses              0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Catering Expenses                    0.00     0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

           88.50    100.00%         0.00    0.00%      88.50            0.00    0.00%         88.50    Total Catering Profit (Loss)           3,145.32   100.00%         0.00      0.00%    3,145.32            0.00    0.00%    3,145.32




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                                                                                Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                          As of 10/31/2021
              PTD     %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 3
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Restaurant 4
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expense
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance    PTD Last Year   %           Variance                                                   YTD    %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                        Restaurant 5
                                                                                                        Food Revenue

             0.00     0.00%         0.00    0.00%       0.00             0.00    0.00%          0.00    Restaurant 5 Food Revenue                      0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00             0.00     0.00%         0.00    Less: Allowances                               0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00             0.00    0.00%          0.00    Total Restaurant 5 Food Revenue                0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
                                                                                                        Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00             0.00    0.00%          0.00    Restaurant 5 Beverage Revenue                  0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00      0.00%        0.00     0.00%      0.00             0.00     0.00%         0.00    Less: Allowances                               0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00             0.00    0.00%          0.00    Total Restaurant 5 Beverage Revenue            0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00             0.00    0.00%          0.00    Total Restaurant 5 Revenue                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00             0.00    0.00%          0.00    Total Restaurant 5 Cost of Sales               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%       0.00             0.00    0.00%          0.00    Restaurant 5 Gross Profit                      0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00             0.00    0.00%          0.00    Total Restaurant 5 Management                   0.00   0.00%         0.00      0.00%         0.00           0.00    0.00%         0.00
           988.21      0.00%        0.00     0.00%    988.21             0.00     0.00%       988.21    Cashiers                                    2,354.14    0.00%        0.00       0.00%    2,354.14           0.00     0.00%    2,354.14
          -934.87      0.00%        0.00     0.00%   -934.87             0.00     0.00%      -934.87    Servers                                     1,090.68    0.00%        0.00       0.00%    1,090.68           0.00     0.00%    1,090.68
            53.34     0.00%         0.00    0.00%      53.34             0.00    0.00%         53.34    Total Restaurant 5 Non-Management          3,444.82    0.00%         0.00      0.00%    3,444.82            0.00    0.00%    3,444.82

           53.34      0.00%         0.00    0.00%      53.34             0.00    0.00%         53.34    Total Restaurant 5 Salaries and Wages      3,444.82    0.00%         0.00      0.00%    3,444.82            0.00    0.00%    3,444.82

                                                                                                        PR Taxes and Benefits
            33.63      0.00%        0.00     0.00%      33.63            0.00     0.00%        33.63    FICA                                          337.97    0.00%        0.00       0.00%      337.97           0.00     0.00%      337.97
             -0.70     0.00%        0.00     0.00%       -0.70           0.00     0.00%         -0.70   Federal Unemployment Tax                       23.17    0.00%        0.00       0.00%       23.17           0.00     0.00%       23.17
             -2.33     0.00%        0.00     0.00%       -2.33           0.00     0.00%         -2.33   State Unemployment Tax                         77.24    0.00%        0.00       0.00%       77.24           0.00     0.00%       77.24
            30.60     0.00%         0.00    0.00%       30.60            0.00    0.00%         30.60    Total Payroll Taxes                          438.38    0.00%         0.00      0.00%      438.38            0.00    0.00%      438.38
              0.00    0.00%         0.00    0.00%         0.00           0.00    0.00%           0.00   Total Supplemental Pay                          0.00   0.00%         0.00      0.00%         0.00           0.00    0.00%         0.00
          -605.71      0.00%        0.00     0.00%    -605.71            0.00     0.00%      -605.71    Bonus and Incentive Pay                         0.00    0.00%        0.00       0.00%        0.00           0.00     0.00%        0.00
         -605.71      0.00%         0.00    0.00%    -605.71             0.00    0.00%      -605.71     Total Other Benefits                            0.00   0.00%         0.00      0.00%         0.00           0.00    0.00%         0.00

         -575.11      0.00%         0.00    0.00%    -575.11             0.00    0.00%      -575.11     Total Restaurant 5 PR Taxes and Benefits     438.38    0.00%         0.00      0.00%      438.38            0.00    0.00%      438.38

         -521.77      0.00%         0.00    0.00%    -521.77             0.00    0.00%      -521.77     Total Restaurant 5 Payroll                 3,883.20    0.00%         0.00      0.00%    3,883.20            0.00    0.00%    3,883.20

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%       0.00             0.00    0.00%          0.00    Total Restaurant 5 Other Expenses              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

         -521.77      0.00%         0.00    0.00%    -521.77             0.00    0.00%      -521.77     Total Restaurant 5 Expenses                3,883.20    0.00%         0.00      0.00%    3,883.20            0.00    0.00%    3,883.20

          521.77      0.00%         0.00    0.00%    521.77              0.00    0.00%       521.77     Total Restaurant 5 Profit (Loss)           -3,883.20   0.00%         0.00      0.00%    -3,883.20           0.00    0.00%    -3,883.20




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              PTD     %        PTD Budget   %         Variance   PTD Last Year   %           Variance                                           YTD     %        YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                        Bar 1
                                                                                                        Food Revenue
            54.00      4.99%         0.00   0.00%       54.00            0.00    0.00%         54.00    Food-Dinner                            98.25     2.67%         0.00     0.00%       98.25            0.00    0.00%       98.25
             0.00      0.00%         0.00   0.00%        0.00            0.00    0.00%          0.00    Food-Late Night                         4.25     0.12%         0.00     0.00%        4.25            0.00    0.00%        4.25

           54.00      4.99%         0.00    0.00%       54.00            0.00    0.00%         54.00    Bar 1 Food Revenue                   102.50     2.79%         0.00      0.00%     102.50             0.00    0.00%     102.50
            0.00       0.00%        0.00     0.00%       0.00            0.00     0.00%         0.00    Less: Adjustments                      0.00      0.00%        0.00       0.00%      0.00             0.00     0.00%      0.00

           54.00      4.99%         0.00    0.00%       54.00            0.00    0.00%         54.00    Total Bar 1 Food Revenue             102.50     2.79%         0.00      0.00%     102.50             0.00    0.00%     102.50

                                                                                                        Beverage Revenue
           558.75     51.64%         0.00   0.00%      558.75            0.00    0.00%        558.75    Liquor                              2,054.25    55.89%         0.00     0.00%    2,054.25            0.00    0.00%    2,054.25
           356.50     32.95%         0.00   0.00%      356.50            0.00    0.00%        356.50    Beer                                1,186.00    32.27%         0.00     0.00%    1,186.00            0.00    0.00%    1,186.00
           112.75     10.42%         0.00   0.00%      112.75            0.00    0.00%        112.75    Wine                                  332.50     9.05%         0.00     0.00%      332.50            0.00    0.00%      332.50

        1,028.00     95.01%         0.00    0.00%    1,028.00            0.00    0.00%      1,028.00    Bar 1 Beverage Revenue              3,572.75   97.21%         0.00      0.00%    3,572.75            0.00    0.00%    3,572.75
            0.00       0.00%        0.00     0.00%       0.00            0.00     0.00%         0.00    Less: Adjustments                       0.00     0.00%        0.00       0.00%       0.00            0.00     0.00%       0.00

        1,028.00     95.01%         0.00    0.00%    1,028.00            0.00    0.00%      1,028.00    Total Bar 1 Beverage Revenue        3,572.75   97.21%         0.00      0.00%    3,572.75            0.00    0.00%    3,572.75

                                                                                                        Other Revenue

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Bar 1 Other Revenue               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

        1,082.00    100.00%         0.00    0.00%    1,082.00            0.00    0.00%      1,082.00    Total Bar 1 Revenue                 3,675.25   100.00%        0.00      0.00%    3,675.25            0.00    0.00%    3,675.25

                                                                                                        Cost of Sales

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Bar 1 Cost of Sales               0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

        1,082.00    100.00%         0.00    0.00%    1,082.00            0.00    0.00%      1,082.00    Gross Profit                        3,675.25   100.00%        0.00      0.00%    3,675.25            0.00    0.00%    3,675.25

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Bar 1 Non-Management              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Bar 1 Salaries and Wages          0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Payroll Taxes                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Supplemental Pay                  0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Other Benefits                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Bar 1 PR Taxes and Benefits       0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Bar 1 Payroll                     0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

                                                                                                        Other Expenses
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Bar 1 Other Expenses              0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Bar 1 Expenses                    0.00    0.00%         0.00      0.00%        0.00            0.00    0.00%        0.00

        1,082.00    100.00%         0.00    0.00%    1,082.00            0.00    0.00%      1,082.00    Total Bar 1 Profit (Loss)           3,675.25   100.00%        0.00      0.00%    3,675.25            0.00    0.00%    3,675.25




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                         YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Bar 2
                                                                                                       Food Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 2 Food Revenue                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Food Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Beverage Revenue

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Bar 2 Beverage Revenue                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Beverage Revenue          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Revenue
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Other Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Cost of Sales             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Expenses
                                                                                                       Payroll Expenses
                                                                                                       Salaries and Wages
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Non-Management            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Salaries and Wages        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 PR Taxes and Benefits     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Payroll                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Other Expenses            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Expenses                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Bar 2 Profit (Loss)             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                         YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                       Telephone

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Telephone Revenue                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
             0.00      0.00%        0.00     0.00%      0.00            0.00     0.00%         0.00    Less: Adjustments                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Telephone Revenue               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Cost of Sales
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Telephone Cost of Sales         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Gross Profit                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                       Other Expenses
             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Telephone Other Expenses        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

             0.00     0.00%         0.00    0.00%       0.00            0.00    0.00%          0.00    Total Telephone Profit (Loss)         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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              PTD     %        PTD Budget     %         Variance   PTD Last Year     %           Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                            Minor Operating
                                                                                                            Income
             0.00     0.00%          0.00    0.00%          0.00           0.00     0.00%            0.00   Total Rental Income                               0.00    0.00%          0.00    0.00%          0.00           0.00     0.00%          0.00
             0.00      0.00%       368.00     5.98%      -368.00         234.50      4.16%        -234.50   Vending Commissions-Soda & Snack Machines     2,534.01     3.19%     3,106.00     5.97%      -571.99       2,445.39      4.89%        88.62
             0.00      0.00%        30.00     0.49%       -30.00           0.00      0.00%           0.00   Vending Commissions Other                        86.80     0.11%       255.00     0.49%      -168.20         116.00      0.23%       -29.20
             0.00     0.00%       398.00     6.47%      -398.00         234.50      4.16%        -234.50    Total Vending Commission Income              2,620.81     3.30%     3,361.00     6.46%      -740.19       2,561.39      5.12%         59.42
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Cancellation Fee - Other                      2,380.13     3.00%         0.00     0.00%     2,380.13       2,716.23      5.43%      -336.10
             0.00     0.00%          0.00    0.00%          0.00           0.00     0.00%            0.00   Total Cancellation Fee Income                2,380.13     3.00%          0.00    0.00%     2,380.13       2,716.23      5.43%      -336.10
           320.25      2.27%       386.00     6.27%       -65.75         212.00      3.76%         108.25   Guest Laundry                                 2,723.50     3.43%     3,253.00     6.25%      -529.50       3,403.08      6.80%      -679.58
             0.00      0.00%         0.00     0.00%         0.00          10.00      0.18%         -10.00   Other Revenue 3                                   0.00     0.00%         0.00     0.00%         0.00          10.00      0.02%       -10.00
             0.00      0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Other Revenue 4                               1,353.81     1.71%         0.00     0.00%     1,353.81         457.47      0.91%       896.34
         7,588.21     53.78%     5,368.00    87.26%     2,220.21       5,180.91     91.90%       2,407.30   Gift Shop Sales                              64,094.52    80.75%    45,395.00    87.28%    18,699.52      40,899.08     81.72%    23,195.44
         6,201.08     43.95%         0.00     0.00%     6,201.08           0.00      0.00%       6,201.08   Other Revenue 7                               6,201.08     7.81%         0.00     0.00%     6,201.08           0.00      0.00%     6,201.08
       14,109.54    100.00%     5,754.00    93.53%     8,355.54       5,402.91     95.84%       8,706.63    Total Other Income                          74,372.91    93.70%    48,648.00    93.54%    25,724.91      44,769.63     89.45%    29,603.28

       14,109.54    100.00%     6,152.00    100.00%    7,957.54       5,637.41     100.00%      8,472.13    Total Minor Operating Income                79,373.85    100.00%   52,009.00 100.00%      27,364.85      50,047.25 100.00%       29,326.60

                                                                                                            Cost of Sales
             0.00      0.00%       270.00     4.39%      -270.00         178.70      3.17%        -178.70   Cost of Sales - Guest Laundry                 1,879.40     2.37%     2,277.00     4.38%      -397.60       2,367.53      4.73%      -488.13
             0.00      0.00%     1,845.00    29.99%    -1,845.00         913.05     16.20%        -913.05   Cost of Sales - Gift Shop                    22,228.86    28.01%    15,563.00    29.92%     6,665.86      12,361.61     24.70%     9,867.25
             0.00     0.00%     2,115.00    34.38%    -2,115.00       1,091.75     19.37%      -1,091.75    Total Minor Operated Cost of Sales          24,108.26    30.37%    17,840.00    34.30%     6,268.26      14,729.14     29.43%     9,379.12

       14,109.54    100.00%     4,037.00    65.62%    10,072.54       4,545.66     80.63%       9,563.88    Total Minor Operated Profit (Loss)          55,265.59    69.63%    34,169.00    65.70%    21,096.59      35,318.11     70.57%    19,947.48




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              PTD     %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                         YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Arcade
                                                                                                     Revenue

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Revenue                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Non-Management           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Salaries and Wages       0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade PR Taxes and Benefits    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Payroll                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Other Expenses           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Expenses                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Profit (Loss)            0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Waterpark
                                                                                                     Revenue
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

             0.00     0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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              PTD     %        PTD Budget   %        Variance   PTD Last Year   %           Variance                                                    YTD    %       YTD Budget %             Variance   YTD Last Year   %          Variance

                                                                                                       Franchise Fees
        33,112.89      5.07%    26,005.00   4.80%    7,107.89      14,189.33    3.82%     18,923.56    Franchise Fees - Royalty & Licenses        260,752.80   4.99%   209,843.00     4.79%    50,909.80     153,214.55    3.97%   107,538.25
         2,295.93      0.35%    10,402.00   1.92%   -8,106.07       7,019.80    1.89%     -4,723.87    Franchise Fees - Frequent Guest             59,905.14   1.15%    83,938.00     1.92%   -24,032.86      78,043.40    2.02%   -18,138.26
        10,384.17      1.59%    10,967.00   2.02%     -582.83       7,606.54    2.05%      2,777.63    Franchise Fees - Marketing Contributions   117,692.14   2.25%    89,588.00     2.05%    28,104.14      79,425.50    2.06%    38,266.64

       45,792.99      7.02%    47,374.00    8.74%   -1,581.01     28,815.67     7.76%     16,977.32    Total Franchise Fees                       438,350.08   8.39%   383,369.00     8.75%   54,981.08     310,683.45     8.04%   127,666.63




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              PTD     %        PTD Budget   %          Variance   PTD Last Year   %           Variance                                             YTD    %        YTD Budget %               Variance   YTD Last Year   %          Variance

                                                                                                         A&G
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
        11,230.77      1.72%    13,647.00    2.52%    -2,416.23      12,002.52     3.23%       -771.75   Management- A&G                     121,540.30    2.33%    134,233.00     3.06%    -12,692.70     104,553.48     2.71%    16,986.82
       11,230.77      1.72%    13,647.00    2.52%    -2,416.23      12,002.52     3.23%       -771.75    Total A&G Management               121,540.30    2.33%    134,233.00     3.06%    -12,692.70     104,553.48     2.71%    16,986.82
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00   Security Agents                           0.00    0.00%          0.00     0.00%          0.00       8,826.23     0.23%    -8,826.23
             0.00     0.00%          0.00   0.00%          0.00           0.00    0.00%           0.00   Total A&G Non-Management                  0.00   0.00%           0.00    0.00%           0.00      8,826.23     0.23%    -8,826.23
       11,230.77      1.72%    13,647.00    2.52%    -2,416.23      12,002.52     3.23%       -771.75    Total A&G Salaries and Wages       121,540.30    2.33%    134,233.00     3.06%    -12,692.70     113,379.71     2.94%     8,160.59
                                                                                                         PR Taxes and Benefits
           817.99      0.13%     1,327.00    0.24%      -509.01         878.83     0.24%        -60.84   FICA                                 10,015.48    0.19%     11,589.00     0.26%     -1,573.52       8,181.62     0.21%     1,833.86
           -55.70     -0.01%         0.00    0.00%       -55.70           0.00     0.00%        -55.70   Federal Unemployment Tax                281.77    0.01%         84.00     0.00%        197.77          74.14     0.00%       207.63
           242.87      0.04%         0.00    0.00%       242.87           0.00     0.00%        242.87   State Unemployment Tax                  390.62    0.01%        872.00     0.02%       -481.38           2.29     0.00%       388.33
        1,005.16      0.15%     1,327.00    0.24%      -321.84         878.83     0.24%        126.33    Total Payroll Taxes                 10,687.87    0.20%     12,545.00     0.29%     -1,857.13       8,258.05     0.21%     2,429.82
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00   Holiday                               1,821.58    0.03%      2,464.00     0.06%       -642.42       2,171.93     0.06%      -350.35
             0.00      0.00%         0.00    0.00%         0.00         861.48     0.23%       -861.48   Vacation                              7,754.17    0.15%          0.00     0.00%      7,754.17       7,148.17     0.19%       606.00
             0.00     0.00%          0.00   0.00%          0.00        861.48     0.23%       -861.48    Total Supplemental Pay               9,575.75    0.18%      2,464.00     0.06%      7,111.75       9,320.10     0.24%       255.65
           875.06      0.13%       682.00    0.13%       193.06         662.98     0.18%        212.08   Worker's Compensation                 5,757.13    0.11%      6,820.00     0.16%     -1,062.87       6,128.69     0.16%      -371.56
        -1,412.70     -0.22%     1,106.00    0.20%    -2,518.70       1,109.16     0.30%     -2,521.86   Group Insurance                       5,223.25    0.10%     11,049.00     0.25%     -5,825.75      10,250.87     0.27%    -5,027.62
             0.00      0.00%        74.00    0.01%       -74.00           0.00     0.00%          0.00   401k Contribution                         0.00    0.00%        297.00     0.01%       -297.00         267.28     0.01%      -267.28
             0.00      0.00%     3,700.00    0.68%    -3,700.00           0.00     0.00%          0.00   Bonus and Incentive Pay               6,676.00    0.13%     14,800.00     0.34%     -8,124.00      -6,143.00    -0.16%    12,819.00
         -537.64     -0.08%     5,562.00    1.03%    -6,099.64       1,772.14     0.48%     -2,309.78    Total Other Benefits                17,656.38    0.34%     32,966.00     0.75%    -15,309.62      10,503.84     0.27%     7,152.54
          467.52      0.07%     6,889.00    1.27%    -6,421.48       3,512.45     0.95%     -3,044.93    Total A&G PR Taxes and Benefits     37,920.00    0.73%     47,975.00     1.10%    -10,055.00      28,081.99     0.73%     9,838.01
       11,698.29      1.79%    20,536.00    3.79%    -8,837.71      15,514.97     4.18%     -3,816.68    Total A&G Payroll                  159,460.30    3.05%    182,208.00     4.16%    -22,747.70     141,461.70     3.66%    17,998.60
                                                                                                         Other Expenses
         1,000.00      0.15%         0.00    0.00%    1,000.00            0.00     0.00%      1,000.00   Accounting/Audit Fees                 2,000.00    0.04%          0.00     0.00%     2,000.00           91.49     0.00%     1,908.51
          -295.33     -0.05%         0.00    0.00%     -295.33       -1,441.10    -0.39%      1,145.77   Bad Debt Provision                   16,518.13    0.32%          0.00     0.00%    16,518.13        6,587.29     0.17%     9,930.84
           924.84      0.14%     1,225.00    0.23%     -300.16        1,048.92     0.28%       -124.08   Bank Charges                          9,187.91    0.18%     12,250.00     0.28%    -3,062.09       10,982.57     0.28%    -1,794.66
           843.84      0.13%         0.00    0.00%      843.84            0.01     0.00%        843.83   Cash Over/Short                         903.52    0.02%          0.00     0.00%       903.52            8.77     0.00%       894.75
             0.00      0.00%     3,400.00    0.63%   -3,400.00        3,353.67     0.90%     -3,353.67   Central Office - Accounting Fees     27,200.00    0.52%     34,000.00     0.78%    -6,800.00       33,536.70     0.87%    -6,336.70
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Central Office - IT Fees              1,991.02    0.04%          0.00     0.00%     1,991.02            0.00     0.00%     1,991.02
         3,266.53      0.50%         0.00    0.00%    3,266.53            0.00     0.00%      3,266.53   Contract Labor                        3,266.53    0.06%          0.00     0.00%     3,266.53            0.00     0.00%     3,266.53
        17,841.95      2.73%    14,913.00    2.75%    2,928.95        8,885.67     2.39%      8,956.28   Credit Card Commission              121,397.63    2.32%    120,445.00     2.75%       952.63      105,716.43     2.74%    15,681.20
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Donations                               111.81    0.00%          0.00     0.00%       111.81          268.12     0.01%      -156.31
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Dues and Subscriptions                    0.00    0.00%          0.00     0.00%         0.00           25.00     0.00%       -25.00
           984.09      0.15%       411.00    0.08%      573.09          360.75     0.10%        623.34   Employee Relations                    5,325.05    0.10%      5,260.00     0.12%        65.05        5,469.69     0.14%      -144.64
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Equipment Rental                        657.93    0.01%          0.00     0.00%       657.93            0.00     0.00%       657.93
           110.00      0.02%       150.00    0.03%      -40.00          151.60     0.04%        -41.60   Licenses/Permits                      5,322.49    0.10%      4,505.00     0.10%       817.49        5,411.42     0.14%       -88.93
             0.00      0.00%         0.00    0.00%        0.00           72.76     0.02%        -72.76   Meals and Entertainment                   0.00    0.00%        200.00     0.00%      -200.00           90.93     0.00%       -90.93
            82.00      0.01%         0.00    0.00%       82.00         -255.00    -0.07%        337.00   Miscellaneous Expense                    19.94    0.00%          0.00     0.00%        19.94          228.05     0.01%      -208.11
           453.79      0.07%         0.00    0.00%      453.79            0.00     0.00%        453.79   Office Supplies                         622.85    0.01%          0.00     0.00%       622.85            0.00     0.00%       622.85
            88.88      0.01%         0.00    0.00%       88.88          105.64     0.03%        -16.76   Operating Supplies                    4,139.29    0.08%        600.00     0.01%     3,539.29        1,020.42     0.03%     3,118.87
           209.56      0.03%       360.00    0.07%     -150.44          360.00     0.10%       -150.44   Payroll Service Fees                  3,151.08    0.06%      3,600.00     0.08%      -448.92        3,600.00     0.09%      -448.92
           284.22      0.04%        45.00    0.01%      239.22           32.70     0.01%        251.52   Postage                                 803.16    0.02%        450.00     0.01%       353.16          503.45     0.01%       299.71
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Professional Fees - Legal             1,767.50    0.03%          0.00     0.00%     1,767.50            0.00     0.00%     1,767.50
         2,176.50      0.33%         0.00    0.00%    2,176.50            0.00     0.00%      2,176.50   Professional Fees - Other             2,977.26    0.06%          0.00     0.00%     2,977.26          318.00     0.01%     2,659.26
           830.00      0.13%         0.00    0.00%      830.00            0.00     0.00%        830.00   Recruitment Advertising               1,620.00    0.03%          0.00     0.00%     1,620.00            0.00     0.00%     1,620.00
            33.95      0.01%         0.00    0.00%       33.95            0.00     0.00%         33.95   Recruitment - Other                     468.20    0.01%          0.00     0.00%       468.20            0.00     0.00%       468.20
         1,536.00      0.24%     2,280.00    0.42%     -744.00        2,597.19     0.70%     -1,061.19   Security - Outside                   21,607.61    0.41%     20,640.00     0.47%       967.61       10,690.63     0.28%    10,916.98
             0.00      0.00%         0.00    0.00%        0.00        2,500.00     0.67%     -2,500.00   Training                                129.66    0.00%          0.00     0.00%       129.66        3,542.66     0.09%    -3,413.00
         1,043.01      0.16%         0.00    0.00%    1,043.01            0.00     0.00%      1,043.01   Travel                                3,570.29    0.07%        700.00     0.02%     2,870.29          639.43     0.02%     2,930.86
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Uniforms                                  0.00    0.00%          0.00     0.00%         0.00           35.00     0.00%       -35.00
       31,413.83      4.81%    22,784.00    4.20%    8,629.83       17,772.81     4.79%     13,641.02    Total A&G Other Expenses           234,758.86    4.49%    202,650.00     4.63%    32,108.86      188,766.05     4.89%    45,992.81
       43,112.12      6.61%    43,320.00    7.99%     -207.88       33,287.78     8.96%      9,824.34    Total A&G Expenses                 394,219.16    7.54%    384,858.00     8.79%     9,361.16      330,227.75     8.55%    63,991.41




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                                                                                 Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                      P&L - Dual Summary Pages
                                                                                                           As of 10/31/2021
              PTD     %        PTD Budget   %         Variance   PTD Last Year   %           Variance                                          YTD    %        YTD Budget %              Variance   YTD Last Year   %           Variance

                                                                                                        IT
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wags
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total IT Management                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total IT Non-Management               0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total IT Salaries and Wages           0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00

                                                                                                        PR Taxes and Benefits
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00
             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total IT PR Taxes and Benefits        0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00

             0.00     0.00%         0.00    0.00%        0.00            0.00    0.00%          0.00    Total IT Payroll                      0.00    0.00%         0.00      0.00%         0.00            0.00    0.00%          0.00

                                                                                                        Cost of Services
           170.00      0.03%       150.00    0.03%       20.00         120.00     0.03%         50.00   Cost of Cell Phones                1,375.00    0.03%     1,500.00      0.03%      -125.00       1,280.00     0.03%         95.00
         4,099.97      0.63%     2,000.00    0.37%    2,099.97       1,479.60     0.40%      2,620.37   Cost of Internet Services         16,493.81    0.32%    20,000.00      0.46%    -3,506.19      36,280.92     0.94%    -19,787.11
         3,125.07      0.48%     1,200.00    0.22%    1,925.07       1,756.83     0.47%      1,368.24   Cost of Calls                     12,550.31    0.24%    12,000.00      0.27%       550.31      17,569.74     0.45%     -5,019.43
        7,395.04      1.13%     3,350.00    0.62%    4,045.04       3,356.43     0.90%      4,038.61    Total IT Cost of Services        30,419.12    0.58%    33,500.00      0.76%    -3,080.88      55,130.66     1.43%    -24,711.54

                                                                                                        System Costs
         2,081.69      0.32%       308.00    0.06%    1,773.69         308.31     0.08%      1,773.38   Administrative & General           7,712.37    0.15%     3,080.00      0.07%    4,632.37        3,083.34     0.08%      4,629.03
             0.00      0.00%       286.00    0.05%     -286.00         285.83     0.08%       -285.83   Information Security               3,069.98    0.06%     2,860.00      0.07%      209.98        2,858.30     0.07%        211.68
           226.21      0.03%     1,419.00    0.26%   -1,192.79       1,276.09     0.34%     -1,049.88   Information Systems               12,139.03    0.23%    14,190.00      0.32%   -2,050.97       14,567.19     0.38%     -2,428.16
         2,349.39      0.36%     1,556.00    0.29%      793.39       1,555.60     0.42%        793.79   Rooms                             22,506.68    0.43%    15,560.00      0.36%    6,946.68       16,348.21     0.42%      6,158.47
           284.29      0.04%       290.00    0.05%       -5.71         650.16     0.18%       -365.87   Sales & Marketing                  2,842.90    0.05%     2,900.00      0.07%      -57.10        3,134.25     0.08%       -291.35
        4,941.58      0.76%     3,859.00    0.71%    1,082.58       4,075.99     1.10%        865.59    Total IT Systems                 48,270.96    0.92%    38,590.00      0.88%    9,680.96       39,991.29     1.04%      8,279.67

                                                                                                        Other Expenses
             0.00      0.00%       115.00    0.02%    -115.00        1,051.75     0.28%     -1,051.75   Contract Labor                     1,008.72    0.02%     2,779.00      0.06%   -1,770.28        3,046.88     0.08%     -2,038.16
             0.00      0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00   Contract Services                    122.77    0.00%         0.00      0.00%      122.77            0.00     0.00%        122.77
           141.50      0.02%         0.00    0.00%     141.50            0.00     0.00%        141.50   Dues & Subscriptions                 141.50    0.00%         0.00      0.00%      141.50            0.00     0.00%        141.50
             0.00      0.00%         0.00    0.00%       0.00            0.00     0.00%          0.00   Travel                               529.14    0.01%         0.00      0.00%      529.14            0.00     0.00%        529.14
          141.50      0.02%       115.00    0.02%       26.50       1,051.75     0.28%       -910.25    Total IT Other Expenses           1,802.13    0.03%     2,779.00      0.06%     -976.87        3,046.88     0.08%     -1,244.75

       12,478.12      1.91%     7,324.00    1.35%    5,154.12       8,484.17     2.28%      3,993.95    Total IT Expenses                80,492.21    1.54%    74,869.00      1.71%    5,623.21       98,168.83     2.54%    -17,676.62




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                                                                                  Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year   %           Variance                                            YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                         S&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         6,614.43      1.01%     6,381.00    1.18%       233.43           0.00     0.00%      6,614.43   Division Management                 49,472.01    0.95%     44,019.00     1.01%      5,453.01      16,153.86     0.42%    33,318.15
             0.00      0.00%     4,048.00    0.75%    -4,048.00       3,110.32     0.84%     -3,110.32   Sales Managers                       6,952.48    0.13%     39,817.00     0.91%    -32,864.52      36,328.76     0.94%   -29,376.28
        6,614.43      1.01%    10,429.00    1.92%    -3,814.57       3,110.32     0.84%      3,504.11    Total S&M Management               56,424.49    1.08%     83,836.00     1.91%    -27,411.51      52,482.62     1.36%     3,941.87
           970.87      0.15%         0.00    0.00%       970.87           0.00     0.00%        970.87   Administrative Assistant               970.87    0.02%          0.00     0.00%        970.87       2,996.13     0.08%    -2,025.26
          970.87      0.15%          0.00   0.00%       970.87            0.00    0.00%        970.87    Total S&M Non-Management              970.87    0.02%           0.00    0.00%        970.87       2,996.13     0.08%    -2,025.26

        7,585.30      1.16%    10,429.00    1.92%    -2,843.70       3,110.32     0.84%      4,474.98    Total S&M Salaries and Wages       57,395.36    1.10%     83,836.00     1.91%    -26,440.64      55,478.75     1.44%      1,916.61

                                                                                                         PR Taxes and Benefits
           552.76      0.08%     1,004.00    0.19%      -451.24         300.74     0.08%        252.02   FICA                                 5,006.32    0.10%      7,400.00     0.17%     -2,393.68       4,453.48     0.12%        552.84
            28.90      0.00%         0.00    0.00%        28.90           0.00     0.00%         28.90   Federal Unemployment Tax               150.07    0.00%         29.00     0.00%        121.07          67.26     0.00%         82.81
            96.33      0.01%         0.00    0.00%        96.33           0.00     0.00%         96.33   State Unemployment Tax                 225.88    0.00%        430.00     0.01%       -204.12           2.23     0.00%        223.65
          677.99      0.10%     1,004.00    0.19%      -326.01         300.74     0.08%        377.25    Total Payroll Taxes                 5,382.27    0.10%      7,859.00     0.18%     -2,476.73       4,522.97     0.12%        859.30
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00   Holiday                                759.88    0.01%      2,103.00     0.05%     -1,343.12       1,130.30     0.03%       -370.42
             0.00      0.00%         0.00    0.00%         0.00         169.06     0.05%       -169.06   Vacation                             1,737.43    0.03%          0.00     0.00%      1,737.43       2,286.58     0.06%       -549.15
             0.00     0.00%          0.00   0.00%          0.00        169.06     0.05%       -169.06    Total Supplemental Pay              2,497.31    0.05%      2,103.00     0.05%        394.31       3,416.88     0.09%       -919.57
         1,199.08      0.18%       225.00    0.04%       974.08         218.70     0.06%        980.38   Worker's Compensation                3,597.05    0.07%      2,250.00     0.05%      1,347.05       2,666.13     0.07%        930.92
             0.00      0.00%       370.00    0.07%      -370.00         355.60     0.10%       -355.60   Group Insurance                        900.88    0.02%      3,688.00     0.08%     -2,787.12       4,205.26     0.11%     -3,304.38
             0.00      0.00%        89.00    0.02%       -89.00           0.00     0.00%          0.00   401k Contribution                        0.00    0.00%        353.00     0.01%       -353.00         276.52     0.01%       -276.52
             0.00      0.00%     2,700.00    0.50%    -2,700.00           0.00     0.00%          0.00   Bonus and Incentive Pay              5,400.00    0.10%     10,800.00     0.25%     -5,400.00        -471.57    -0.01%      5,871.57
        1,199.08      0.18%     3,384.00    0.62%    -2,184.92         574.30     0.15%        624.78    Total Other Benefits                9,897.93    0.19%     17,091.00     0.39%     -7,193.07       6,676.34     0.17%      3,221.59
        1,877.07      0.29%     4,388.00    0.81%    -2,510.93       1,044.10     0.28%        832.97    Total S&M PR Taxes and Benefits    17,777.51    0.34%     27,053.00     0.62%     -9,275.49      14,616.19     0.38%      3,161.32

        9,462.37      1.45%    14,817.00    2.73%    -5,354.63       4,154.42     1.12%      5,307.95    Total S&M Payroll                  75,172.87    1.44%    110,889.00     2.53%    -35,716.13      70,094.94     1.81%      5,077.93

                                                                                                         Other Expenses
           166.25      0.03%       645.00    0.12%     -478.75          332.50     0.09%       -166.25   Advertising General                  4,864.50    0.09%      5,202.00     0.12%       -337.50       5,825.00     0.15%       -960.50
           450.00      0.07%         9.00    0.00%      441.00            7.21     0.00%        442.79   Advertising-Web/Internet               533.62    0.01%         90.00     0.00%        443.62       2,825.31     0.07%     -2,291.69
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00   Brochures                                0.00    0.00%        250.00     0.01%       -250.00           0.00     0.00%          0.00
         1,368.41      0.21%     4,850.00    0.89%   -3,481.59        4,256.65     1.15%     -2,888.24   Dues and Subscriptions              37,497.58    0.72%     48,556.00     1.11%    -11,058.42      52,162.06     1.35%    -14,664.48
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00   Meals and Entertainment                 18.13    0.00%        400.00     0.01%       -381.87          33.55     0.00%        -15.42
             0.00      0.00%        25.00    0.00%       -25.00           0.00     0.00%          0.00   Office Equipment                       398.14    0.01%        475.00     0.01%        -76.86         310.29     0.01%         87.85
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00   Postage                                  2.15    0.00%          0.00     0.00%          2.15           0.00     0.00%          2.15
             0.00      0.00%        50.00    0.01%       -50.00           0.00     0.00%          0.00   Printing and Stationery                208.70    0.00%        175.00     0.00%         33.70           0.00     0.00%        208.70
           124.04      0.02%         0.00    0.00%      124.04            0.00     0.00%        124.04   Promotions - In-house                  124.04    0.00%          0.00     0.00%        124.04           0.00     0.00%        124.04
         3,990.00      0.61%       575.00    0.11%    3,415.00            0.00     0.00%      3,990.00   Promotion - Outside                  4,275.97    0.08%      6,038.00     0.14%     -1,762.03         506.20     0.01%      3,769.77
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00   Trade Shows                              0.00    0.00%          0.00     0.00%          0.00         107.49     0.00%       -107.49
             0.00      0.00%        25.00    0.00%       -25.00           0.00     0.00%          0.00   Travel                                   0.00    0.00%      1,350.00     0.03%     -1,350.00         308.22     0.01%       -308.22
        6,098.70      0.93%     6,179.00    1.14%       -80.30       4,596.36     1.24%      1,502.34    Total S&M Other Expenses           47,922.83    0.92%     62,536.00     1.43%    -14,613.17      62,078.12     1.61%    -14,155.29

       15,561.07      2.38%    20,996.00    3.87%    -5,434.93       8,750.78     2.36%      6,810.29    Total S&M Expenses                123,095.70    2.36%    173,425.00     3.96%    -50,329.30     132,173.06     3.42%     -9,077.36




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                                                                                  Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year   %           Variance                                               YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                         R&M
                                                                                                         Expenses
                                                                                                         Payroll Expense
                                                                                                         Salaries and Wages
         5,193.71      0.80%     5,133.00    0.95%        60.71           0.00     0.00%      5,193.71   Division Management                    48,008.80    0.92%     50,489.00     1.15%     -2,480.20      12,496.09     0.32%     35,512.71
        5,193.71      0.80%     5,133.00    0.95%         60.71           0.00    0.00%      5,193.71    Total R&M Management                  48,008.80    0.92%     50,489.00     1.15%     -2,480.20      12,496.09     0.32%     35,512.71
         3,878.82      0.59%     4,967.00    0.92%    -1,088.18       5,439.59     1.46%     -1,560.77   Engineers 1                            40,590.65    0.78%     48,161.00     1.10%     -7,570.35      58,085.70     1.50%    -17,495.05
        3,878.82      0.59%     4,967.00    0.92%    -1,088.18       5,439.59     1.46%     -1,560.77    Total R&M Non-Management              40,590.65    0.78%     48,161.00     1.10%     -7,570.35      58,085.70     1.50%    -17,495.05

        9,072.53      1.39%    10,100.00    1.86%    -1,027.47       5,439.59     1.46%      3,632.94    Total R&M Salaries and Wages          88,599.45    1.70%     98,650.00     2.25%    -10,050.55      70,581.79     1.83%    18,017.66

                                                                                                         PR Taxes and Benefits
           660.57      0.10%       702.00    0.13%       -41.43         263.38     0.07%        397.19   FICA                                    5,531.28    0.11%      6,960.00     0.16%     -1,428.72       3,625.33     0.09%      1,905.95
            33.82      0.01%         0.00    0.00%        33.82           0.00     0.00%         33.82   Federal Unemployment Tax                  262.26    0.01%        138.00     0.00%        124.26          55.27     0.00%        206.99
           112.75      0.02%         0.00    0.00%       112.75           0.00     0.00%        112.75   State Unemployment Tax                    299.33    0.01%        604.00     0.01%       -304.67           2.25     0.00%        297.08
          807.14      0.12%       702.00    0.13%       105.14         263.38     0.07%        543.76    Total Payroll Taxes                    6,092.87    0.12%      7,702.00     0.18%     -1,609.13       3,682.85     0.10%      2,410.02
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%          0.00   Holiday                                   836.00    0.02%      1,624.00     0.04%       -788.00         891.23     0.02%        -55.23
             0.00      0.00%       210.00    0.04%      -210.00         193.36     0.05%       -193.36   Vacation                                  902.74    0.02%      2,100.00     0.05%     -1,197.26       2,758.55     0.07%     -1,855.81
             0.00     0.00%       210.00    0.04%      -210.00         193.36     0.05%       -193.36    Total Supplemental Pay                 1,738.74    0.03%      3,724.00     0.09%     -1,985.26       3,649.78     0.09%     -1,911.04
           543.03      0.08%       207.00    0.04%       336.03         200.82     0.05%        342.21   Worker's Compensation                   3,267.41    0.06%      2,070.00     0.05%      1,197.41       2,320.46     0.06%        946.95
          -541.50     -0.08%     1,011.00    0.19%    -1,552.50         447.35     0.12%       -988.85   Group Insurance                         4,444.54    0.09%     10,110.00     0.23%     -5,665.46       5,385.58     0.14%       -941.04
             0.00      0.00%        50.00    0.01%       -50.00           0.00     0.00%          0.00   401k Contribution                           0.00    0.00%        199.00     0.00%       -199.00           0.00     0.00%          0.00
             1.53     0.00%     1,268.00    0.23%    -1,266.47         648.17     0.17%       -646.64    Total Other Benefits                   7,711.95    0.15%     12,379.00     0.28%     -4,667.05       7,706.04     0.20%           5.91
          808.67      0.12%     2,180.00    0.40%    -1,371.33       1,104.91     0.30%       -296.24    Total R&M PR Taxes and Benefits       15,543.56    0.30%     23,805.00     0.54%     -8,261.44      15,038.67     0.39%        504.89

        9,881.20      1.51%    12,280.00    2.26%    -2,398.80       6,544.50     1.76%      3,336.70    Total R&M Payroll                    104,143.01    1.99%    122,455.00     2.80%    -18,311.99      85,620.46     2.22%    18,522.55

                                                                                                         Other Expenses
         5,978.76      0.92%     1,342.00    0.25%    4,636.76          403.18     0.11%      5,575.58   Air Conditioning and Refrigeration     18,699.80    0.36%      9,320.00     0.21%     9,379.80        4,427.22     0.11%    14,272.58
         1,236.83      0.19%       503.00    0.09%      733.83            0.00     0.00%      1,236.83   Building                                6,136.54    0.12%      4,291.00     0.10%     1,845.54        1,835.66     0.05%     4,300.88
           958.69      0.15%     1,390.00    0.26%     -431.31        1,390.08     0.37%       -431.39   Contract Labor                         12,079.33    0.23%     13,900.00     0.32%    -1,820.67       13,900.80     0.36%    -1,821.47
             0.00      0.00%       336.00    0.06%     -336.00            0.00     0.00%          0.00   Electric Bulbs                          3,320.02    0.06%      3,171.00     0.07%       149.02        1,943.33     0.05%     1,376.69
           235.47      0.04%        25.00    0.00%      210.47            0.00     0.00%        235.47   Electrical and Mechanical                 768.39    0.01%        212.00     0.00%       556.39           73.85     0.00%       694.54
             0.00      0.00%       460.00    0.08%     -460.00            0.00     0.00%          0.00   Elevator Maintenance Contracts          3,070.53    0.06%      4,600.00     0.11%    -1,529.47        4,324.79     0.11%    -1,254.26
             0.00      0.00%       200.00    0.04%     -200.00          759.50     0.20%       -759.50   Fire Safety Equipment                   4,517.47    0.09%      3,220.00     0.07%     1,297.47        3,453.50     0.09%     1,063.97
            24.62      0.00%         0.00    0.00%       24.62            0.00     0.00%         24.62   Floor and Carpet Maintenance               24.62    0.00%          0.00     0.00%        24.62            0.00     0.00%        24.62
            59.86      0.01%         0.00    0.00%       59.86            0.00     0.00%         59.86   Furniture                                  59.86    0.00%          0.00     0.00%        59.86          752.11     0.02%      -692.25
             0.00      0.00%     4,500.00    0.83%   -4,500.00        6,973.00     1.88%     -6,973.00   Grounds and Landscaping                28,715.28    0.55%     30,775.00     0.70%    -2,059.72       33,005.00     0.85%    -4,289.72
             0.00      0.00%       201.00    0.04%     -201.00          142.73     0.04%       -142.73   Kitchen Equipment Repairs               1,869.54    0.04%      1,698.00     0.04%       171.54        1,020.64     0.03%       848.90
             0.00      0.00%       181.00    0.03%     -181.00          110.00     0.03%       -110.00   Laundry Equipment Repairs               3,499.49    0.07%      1,527.00     0.03%     1,972.49        1,543.15     0.04%     1,956.34
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Miscellaneous Expense                       0.00    0.00%          0.00     0.00%         0.00           14.13     0.00%       -14.13
           316.72      0.05%       421.00    0.08%     -104.28          372.19     0.10%        -55.47   Operating Supplies                      4,988.73    0.10%      3,566.00     0.08%     1,422.73        3,634.46     0.09%     1,354.27
           147.87      0.02%       134.00    0.02%       13.87            0.00     0.00%        147.87   Painting and Decorating                   476.95    0.01%      1,131.00     0.03%      -654.05           64.03     0.00%       412.92
            14.10      0.00%         0.00    0.00%       14.10            0.00     0.00%         14.10   Pest Control                              364.10    0.01%          0.00     0.00%       364.10            0.00     0.00%       364.10
         2,144.09      0.33%       386.00    0.07%    1,758.09            0.00     0.00%      2,144.09   Plumbing and Heating                    9,167.31    0.18%      3,181.00     0.07%     5,986.31        3,572.34     0.09%     5,594.97
         1,540.86      0.24%       457.00    0.08%    1,083.86        1,277.15     0.34%        263.71   Pool Service- Contract                 10,624.55    0.20%      4,570.00     0.10%     6,054.55        5,345.41     0.14%     5,279.14
           404.56      0.06%         0.00    0.00%      404.56            0.00     0.00%        404.56   Tools                                     404.56    0.01%          0.00     0.00%       404.56            0.00     0.00%       404.56
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Travel                                      0.00    0.00%          0.00     0.00%         0.00          255.84     0.01%      -255.84
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00   Vehicle Maintenance & Repairs               0.00    0.00%        200.00     0.00%      -200.00            0.00     0.00%         0.00
         1,905.89      0.29%       725.00    0.13%    1,180.89          742.71     0.20%      1,163.18   Waste Removal                           8,198.47    0.16%      7,250.00     0.17%       948.47        7,136.55     0.18%     1,061.92
       14,968.32      2.29%    11,261.00    2.08%    3,707.32       12,170.54     3.28%      2,797.78    Total R&M Other Expenses             116,985.54    2.24%     92,612.00     2.11%    24,373.54       86,302.81     2.23%    30,682.73

       24,849.52      3.81%    23,541.00    4.34%    1,308.52       18,715.04     5.04%      6,134.48    Total R&M Expenses                   221,128.55    4.23%    215,067.00     4.91%     6,061.55      171,923.27     4.45%    49,205.28




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                                                                                  Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
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                                                                                                            As of 10/31/2021
              PTD     %        PTD Budget   %          Variance   PTD Last Year   %           Variance                                          YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                         Utilities
         9,637.42      1.48%     6,542.00    1.21%     3,095.42       7,822.02     2.11%      1,815.40   Water                             65,932.13    1.26%     55,177.00     1.26%    10,755.13      58,070.57     1.50%     7,861.56
        32,058.57      4.91%    11,743.00    2.17%    20,315.57      14,008.99     3.77%     18,049.58   Electricity                      151,020.77    2.89%    138,632.00     3.17%    12,388.77     118,362.63     3.06%    32,658.14
             0.00      0.00%     2,684.00    0.49%    -2,684.00       1,621.80     0.44%     -1,621.80   Gas - Natural HLP                 24,776.67    0.47%     22,637.00     0.52%     2,139.67      18,568.82     0.48%     6,207.85
       41,695.99      6.39%    20,969.00    3.87%    20,726.99      23,452.81     6.32%     18,243.18    Total Utilities                 241,729.57    4.63%    216,446.00     4.94%    25,283.57     195,002.02     5.05%    46,727.55




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                                                                                     Company: OTAZ Associates LLC Property: Hyatt House Scottsdale/Old Town
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
              PTD     %        PTD Budget    %           Variance   PTD Last Year    %           Variance                                          YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                            Fixed
           781.80      0.12%         0.00     0.00%        781.80           0.00      0.00%        781.80   Personal Property Taxes              781.80     0.01%          0.00     0.00%        781.80           0.00      0.00%        781.80
         4,784.60      0.73%    29,903.00     5.51%    -25,118.40      20,831.10      5.61%    -16,046.50   Real Estate Taxes                244,008.60     4.67%    299,030.00     6.83%    -55,021.40      81,094.67      2.10%    162,913.93
        5,566.40      0.85%    29,903.00     5.51%    -24,336.60      20,831.10      5.61%    -15,264.70    Total Taxes                     244,790.40     4.68%    299,030.00     6.83%    -54,239.60      81,094.67      2.10%    163,695.73
             0.00      0.00%       390.00     0.07%       -390.00         390.00      0.11%       -390.00   Insurance                          3,120.00     0.06%      3,900.00     0.09%       -780.00       3,900.00      0.10%       -780.00
           643.40      0.10%         0.00     0.00%        643.40           0.00      0.00%        643.40   Insurance - Automobile               643.40     0.01%          0.00     0.00%        643.40           0.00      0.00%        643.40
           284.20      0.04%         0.00     0.00%        284.20           0.00      0.00%        284.20   Insurance - Employment               284.20     0.01%          0.00     0.00%        284.20           0.00      0.00%        284.20
         6,257.40      0.96%     6,154.00     1.13%        103.40       5,880.92      1.58%        376.48   Insurance - General Liability     21,505.02     0.41%     61,540.00     1.41%    -40,034.98      44,569.87      1.15%    -23,064.85
         9,835.33      1.51%     6,043.00     1.11%      3,792.33       6,428.70      1.73%      3,406.63   Insurance - Property             104,781.34     2.00%     60,430.00     1.38%     44,351.34      59,589.99      1.54%     45,191.35
       17,020.33      2.61%    12,587.00     2.32%      4,433.33      12,699.62      3.42%      4,320.71    Total Insurance                 130,333.96     2.49%    125,870.00     2.87%      4,463.96     108,059.86      2.80%     22,274.10
        84,557.00     12.95%    84,557.00    15.59%          0.00      79,858.33     21.51%      4,698.67   Ground Lease Expense             836,858.55    16.01%    833,655.00    19.03%      3,203.55     798,583.30     20.67%     38,275.25
       84,557.00     12.95%    84,557.00    15.59%           0.00     79,858.33     21.51%      4,698.67    Total Leases & Rent             836,858.55    16.01%    833,655.00    19.03%      3,203.55     798,583.30     20.67%     38,275.25
        20,081.46      3.08%    16,269.00     3.00%      3,812.46      11,140.70      3.00%      8,940.76   Management Fee - Base            157,823.07     3.02%    131,396.00     3.00%     26,427.07     115,895.35      3.00%     41,927.72
       20,081.46      3.08%    16,269.00     3.00%      3,812.46      11,140.70      3.00%      8,940.76    Total Management Fees           157,823.07     3.02%    131,396.00     3.00%     26,427.07     115,895.35      3.00%     41,927.72
         4,282.37      0.66%         0.00     0.00%      4,282.37           0.00      0.00%      4,282.37   Capital Reserve                    4,282.37     0.08%          0.00     0.00%      4,282.37           0.00      0.00%      4,282.37
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00   (Gain)/Loss-Insurance                  0.00     0.00%          0.00     0.00%          0.00      25,000.00      0.65%    -25,000.00
             0.00      0.00%         0.00     0.00%          0.00           0.00      0.00%          0.00   Extraordinary Expense                  0.00     0.00%          0.00     0.00%          0.00     -24,899.08     -0.64%     24,899.08
             0.00      0.00%         0.00     0.00%          0.00       1,500.00      0.40%     -1,500.00   Prior Owner's Expense             68,058.68     1.30%          0.00     0.00%     68,058.68       5,377.95      0.14%     62,680.73
        4,282.37      0.66%          0.00    0.00%      4,282.37       1,500.00      0.40%      2,782.37    Total Other Non-Operating        72,341.05     1.38%           0.00    0.00%     72,341.05       5,478.87      0.14%     66,862.18




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                                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                            P&L - Dual Summary Pages
                                                                                                                 As of 10/31/2021
             PTD      %        PTD Budget      %           Variance   PTD Last Year     %           Variance                                                        YTD     %           YTD Budget %                Variance    YTD Last Year     %           Variance

                                                                                                               Statistics
           120.00                   120.00                     0.00         120.00                      0.00   # Rooms                                            120.00                    120.00                      0.00          120.00                     0.00
         3,720.00                 3,720.00                     0.00       3,720.00                      0.00   Available Rooms                                 36,480.00                 36,480.00                      0.00       36,600.00                  -120.00
         1,773.00                 2,617.00                  -844.00       2,239.00                   -466.00   Room Nights Sold                                21,672.00                 19,866.00                  1,806.00        6,374.00                15,298.00
          47.66%                   70.35%                  -22.69%         60.19%                   -12.53%    Occupancy %                                       59.41%                    54.46%                     4.95%          17.42%                   41.99%
           152.34                   150.59                     1.75         125.46                     26.88   ADR                                                130.01                    138.11                     -8.10          367.91                  -237.90
            72.60                   105.94                   -33.33          75.51                     -2.91   RevPar                                              77.24                     75.21                      2.03           64.07                    13.16

                                                                                                               Summary V.11
                                                                                                               Revenue
       270,090.17    99.12%     394,092.66    99.47%    -124,002.49     280,902.52     99.55%     -10,812.35   Rooms                                        2,817,582.37    99.40%    2,743,700.28     99.28%     73,882.09     2,345,065.96     99.26%    472,516.41
             0.00     0.00%           0.00     0.00%           0.00           0.00      0.00%           0.00   F&B                                                  0.00     0.00%            0.00      0.00%          0.00             0.00      0.00%          0.00
         2,386.00     0.88%       2,080.00     0.53%         306.00       1,263.77      0.45%       1,122.23   Other Departments                               17,026.25     0.60%       19,996.00      0.72%     -2,969.75        17,380.97      0.74%       -354.72

      272,476.17    100.00%    396,172.66    100.00%   -123,696.49     282,166.29     100.00%     -9,690.12    Total Operating Revenue                     2,834,608.62    100.00%   2,763,696.28 100.00%         70,912.34    2,362,446.93 100.00%       472,161.69

                                                                                                               Departmental Expenses
        74,502.54    27.58%      65,172.00    16.54%       9,330.54      43,141.77     15.36%      31,360.77   Rooms                                         569,786.63     20.22%      595,009.00     21.69%     -25,222.37      538,249.10     22.95%     31,537.53
             0.00     0.00%           0.00     0.00%           0.00           0.00      0.00%           0.00   F&B                                                 5.30      0.00%            0.00      0.00%           5.30            0.00      0.00%          5.30
            25.55     1.07%         406.00    19.52%        -380.45         480.75     38.04%        -455.20   Other Departments                               5,922.09     34.78%        4,078.00     20.39%       1,844.09        1,906.64     10.97%      4,015.45

       74,528.09    27.35%      65,578.00    16.55%       8,950.09      43,622.52     15.46%      30,905.57    Total Departmental Expenses                  575,714.02     20.31%      599,087.00    21.68%      -23,372.98      540,155.74     22.86%      35,558.28

      197,948.08    72.65%     330,594.66    83.45%    -132,646.58     238,543.77     84.54%     -40,595.69    Total Departmental Profit                   2,258,894.60    79.69%    2,164,609.28    78.32%       94,285.32    1,822,291.19     77.14%    436,603.41

                                                                                                               Undistributed Operating Expenses
        28,507.44    10.46%      31,012.00     7.83%     -2,504.56       31,613.97     11.20%      -3,106.53   A&G                                           330,975.66     11.68%      281,379.00     10.18%      49,596.66      285,497.72     12.08%      45,477.94
        10,123.20     3.72%       9,700.00     2.45%        423.20        5,306.91      1.88%       4,816.29   IT                                             54,196.50      1.91%       77,945.00      2.82%     -23,748.50       64,488.53      2.73%     -10,292.03
        13,593.02     4.99%      12,865.00     3.25%        728.02        9,561.91      3.39%       4,031.11   S&M                                           118,755.88      4.19%      122,501.00      4.43%      -3,745.12      108,527.83      4.59%      10,228.05
        59,522.34    21.84%      36,616.00     9.24%     22,906.34       34,821.72     12.34%      24,700.62   Franchise Fees                                306,250.91     10.80%      263,251.00      9.53%      42,999.91      228,259.54      9.66%      77,991.37
        13,528.94     4.97%      16,027.00     4.05%     -2,498.06       13,315.00      4.72%         213.94   R&M                                           115,087.97      4.06%      166,685.00      6.03%     -51,597.03      141,059.78      5.97%     -25,971.81
        14,991.21     5.50%      17,455.00     4.41%     -2,463.79       11,247.25      3.99%       3,743.96   Utilities                                     166,395.24      5.87%      134,625.00      4.87%      31,770.24      133,351.12      5.64%      33,044.12

      140,266.15    51.48%     123,675.00    31.22%      16,591.15     105,866.76     37.52%      34,399.39    Total Undistributed Expenses                1,091,662.16    38.51%    1,046,386.00    37.86%       45,276.16      961,184.52     40.69%    130,477.64

       57,681.93    21.17%     206,919.66    52.23%    -149,237.73     132,677.01     47.02%     -74,995.08    Gross Operating Profit                   1,167,232.44       41.18%    1,118,223.28    40.46%       49,009.16      861,106.67     36.45%    306,125.77
         8,674.29     3.18%      11,885.00     3.00%      -3,210.71       8,466.52      3.00%         207.77   Management Fees                              86,035.43        3.04%       82,910.00     3.00%        3,125.43       70,889.67      3.00%     15,145.76
       49,007.64    17.99%     195,034.66    49.23%    -146,027.02     124,210.49     44.02%     -75,202.85    Income Before Non-Operating Income and Expenses
                                                                                                                                                        1,081,197.01       38.14%    1,035,313.28    37.46%       45,883.73      790,217.00     33.45%    290,980.01

                                                                                                               Non-Operating Income and Expenses
         9,808.93     3.60%       8,408.00     2.12%       1,400.93       7,214.60      2.56%       2,594.33   Insurance                                       68,444.42     2.41%       84,080.00     3.04%     -15,635.58        64,047.90      2.71%      4,396.52
        86,604.00    31.78%      84,164.00    21.24%       2,440.00      73,057.71     25.89%      13,546.29   Leases & Rent                                  846,517.04    29.86%      841,640.00    30.45%       4,877.04       797,212.62     33.75%     49,304.42
             0.00     0.00%           0.00     0.00%           0.00         729.96      0.26%        -729.96   Other                                          160,559.61     5.66%            0.00     0.00%     160,559.61        41,749.22      1.77%    118,810.39
       96,412.93    35.38%      92,572.00    23.37%       3,840.93      81,002.27     28.71%      15,410.66    Total Non-Operating Income and Expenses     1,075,521.07    37.94%      925,720.00    33.50%     149,801.07       903,009.74     38.22%    172,511.33

      -47,405.29    -17.40%    102,462.66    25.86%    -149,867.95      43,208.22     15.31%     -90,613.51    EBITDA                                          5,675.94     0.20%      109,593.28     3.97%     -103,917.34     -112,792.74     -4.77%     118,468.68
             0.00      0.00%     86,095.00    21.73%     -86,095.00      85,052.93     30.14%     -85,052.93   Interest                                       680,423.44    24.00%      860,950.00    31.15%     -180,526.56      851,121.13     36.03%    -170,697.69
        98,052.00     35.99%     49,026.00    12.37%      49,026.00      52,000.00     18.43%      46,052.00   Taxes                                          514,052.00    18.13%      490,260.00    17.74%       23,792.00      478,846.01     20.27%      35,205.99
       98,052.00     35.99%    135,121.00    34.11%     -37,069.00     137,052.93     48.57%     -39,000.93    Interest, Taxes, Depreciation and Amortization
                                                                                                                                                           1,194,475.44    42.14%    1,351,210.00    48.89%     -156,734.56    1,329,967.14     56.30%    -135,491.70

     -145,457.29    -53.38%    -32,658.34     -8.24%   -112,798.95     -93,844.71     -33.26%    -51,612.58    Net Income                                 -1,188,799.50    -41.94%   -1,241,616.72 -44.93%        52,817.22    -1,442,759.88    -61.07%   253,960.38




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                                                                                         Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                         P&L - Dual Summary Pages
                                                                                                              As of 10/31/2021
             PTD      %       PTD Budget    %           Variance   PTD Last Year    %            Variance                                           YTD     %         YTD Budget %              Variance   YTD Last Year     %         Variance

                                                                                                            Statistics
           120.00                 120.00                   0.00          120.00                      0.00   # Rooms                              120.00                   120.00                   0.00          120.00                    0.00
         3,720.00               3,720.00                   0.00        3,720.00                      0.00   Available Rooms                   36,480.00                36,480.00                   0.00       36,600.00                 -120.00
         1,773.00               2,617.00                -844.00        2,239.00                   -466.00   Room Nights Sold                  21,672.00                19,866.00               1,806.00        6,374.00               15,298.00
             0.48                   0.70                  -0.23            0.60                     -0.13   Occupancy %                            0.59                     0.54                   0.05            0.17                    0.42
           152.34                 150.59                   1.75          125.46                     26.88   ADR                                  130.01                   138.11                  -8.10          367.91                 -237.90
            72.60                 105.94                 -33.33           75.51                     -2.91   RevPar                                77.24                    75.21                   2.03           64.07                   13.16

                                                                                                            Summary
                                                                                                            Revenue:
       270,090.17    99.12%   394,092.66   99.47%    -124,002.49     280,902.52    99.55%      -10,812.35   Rooms                           2,817,582.37   99.40%    2,743,700.28    99.28%   73,882.09    2,345,065.96    99.26%    472,516.41
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%            0.00   Food                                    0.00    0.00%            0.00     0.00%        0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%            0.00   Beverage                                0.00    0.00%            0.00     0.00%        0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%            0.00   Other F&B Revenue                       0.00    0.00%            0.00     0.00%        0.00            0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%            0.00   Telephone                               0.00    0.00%            0.00     0.00%        0.00            0.00     0.00%          0.00
         2,386.00     0.88%     2,080.00    0.53%         306.00       1,263.77     0.45%        1,122.23   Other                              17,026.25    0.60%       19,996.00     0.72%   -2,969.75       17,380.97     0.74%       -354.72

       272,476.17   100.00%   396,172.66   100.00%   -123,696.49     282,166.29    100.00%      -9,690.12   Total Revenue                   2,834,608.62   100.00%   2,763,696.28   100.00%   70,912.34    2,362,446.93    100.00%   472,161.69



                                                                                                            Cost of Sales:
             0.00     0.00%        0.00     0.00%          0.00            0.00     0.00%            0.00   Food                                    0.00    0.00%            0.00     0.00%        0.00            0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%          0.00            0.00     0.00%            0.00   Beverage                                0.00    0.00%            0.00     0.00%        0.00            0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%          0.00            0.00     0.00%            0.00   Other F&B                               0.00    0.00%            0.00     0.00%        0.00            0.00     0.00%          0.00
             0.00     0.00%        0.00     0.00%          0.00            0.00     0.00%            0.00   Telephone                               0.00    0.00%            0.00     0.00%        0.00            0.00     0.00%          0.00
            25.55     1.07%      406.00    19.52%       -380.45          480.75    38.04%         -455.20   Other                               5,682.09   33.37%        4,078.00    20.39%    1,604.09        1,906.64    10.97%      3,775.45

            25.55     1.07%      406.00    19.52%       -380.45          480.75    38.04%         -455.20   Total Cost of Sales                 5,682.09   33.37%        4,078.00    20.39%    1,604.09        1,906.64    10.97%      3,775.45



                                                                                                            Payroll:
        28,899.65    10.70%    34,291.00    8.70%      -5,391.35      27,027.32     9.62%        1,872.33   Rooms                            322,302.26    11.44%     348,258.00     12.69%   -25,955.74     303,355.46    12.94%     18,946.80
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%            0.00   F&B                                    0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%            0.00   Other                                  0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         8,175.83     3.00%     8,054.00    2.03%         121.83      10,819.45     3.83%       -2,643.62   A&G                               96,790.38     3.41%      70,640.00      2.56%    26,150.38      89,396.10     3.78%      7,394.28
             0.00     0.00%         0.00    0.00%           0.00           0.00     0.00%            0.00   IT                                     0.00     0.00%           0.00      0.00%         0.00           0.00     0.00%          0.00
         7,495.07     2.75%     6,526.00    1.65%         969.07       5,155.20     1.83%        2,339.87   S&M                               60,523.66     2.14%      61,535.00      2.23%    -1,011.34      55,351.44     2.34%      5,172.22
         8,036.55     2.95%     6,638.00    1.68%       1,398.55       3,855.47     1.37%        4,181.08   R&M                               44,898.68     1.58%      58,838.00      2.13%   -13,939.32      47,696.65     2.02%     -2,797.97
        52,607.10    19.31%    55,509.00   14.01%      -2,901.90      46,857.44    16.61%        5,749.66   Total Salaries and Wages         524,514.98    18.50%     539,271.00     19.51%   -14,756.02     495,799.65    20.99%     28,715.33

        15,524.59     5.70%     7,802.00    1.97%       7,722.59       5,902.37     2.09%        9,622.22   Total Taxes and Benefits          88,095.14     3.11%      88,574.00      3.20%      -478.86      70,453.33     2.98%     17,641.81
        68,131.69    25.00%    63,311.00   15.98%       4,820.69      52,759.81    18.70%       15,371.88   Total Labor Costs                612,610.12    21.61%     627,845.00     22.72%   -15,234.88     566,252.98    23.97%     46,357.14



                                                                                                            Direct Expenses:
        40,319.16    14.93%    28,866.00    7.32%     11,453.16       14,415.17     5.13%       25,903.99   Rooms                            214,895.47     7.63%     221,793.00     8.08%     -6,897.53     209,579.48     8.94%      5,315.99
             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%            0.00   F&B                                    5.30     0.00%           0.00     0.00%          5.30           0.00     0.00%          5.30
             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%            0.00   Telephone                            240.00     1.41%           0.00     0.00%        240.00           0.00     0.00%        240.00
             0.00     0.00%         0.00    0.00%          0.00            0.00     0.00%            0.00   Other                                  0.00     0.00%           0.00     0.00%          0.00           0.00     0.00%          0.00
        59,522.34    21.84%    36,616.00    9.24%     22,906.34       34,821.72    12.34%       24,700.62   Franchise Fees                   306,250.91    10.80%     263,251.00     9.53%     42,999.91     228,259.54     9.66%     77,991.37
        15,903.13     5.84%    20,330.00    5.13%     -4,426.87       18,451.65     6.54%       -2,548.52   A&G                              207,181.13     7.31%     178,401.00     6.46%     28,780.13     174,048.55     7.37%     33,132.58
        10,123.20     3.72%     9,700.00    2.45%        423.20        5,306.91     1.88%        4,816.29   IT                                54,196.50     1.91%      77,945.00     2.82%    -23,748.50      64,488.53     2.73%    -10,292.03
         2,038.00     0.75%     5,233.00    1.32%     -3,195.00        3,544.76     1.26%       -1,506.76   S&M                               43,109.57     1.52%      51,154.00     1.85%     -8,044.43      44,338.24     1.88%     -1,228.67
         3,739.96     1.37%     7,336.00    1.85%     -3,596.04        8,461.26     3.00%       -4,721.30   R&M                               56,809.85     2.00%      86,381.00     3.13%    -29,571.15      79,115.18     3.35%    -22,305.33
        14,991.21     5.50%    17,455.00    4.41%     -2,463.79       11,247.25     3.99%        3,743.96   Utilities                        166,395.24     5.87%     134,625.00     4.87%     31,770.24     133,351.12     5.64%     33,044.12

       146,637.00    53.82%   125,536.00   31.69%     21,101.00       96,248.72    34.11%       50,388.28   Total Direct Expense            1,049,083.97   37.01%    1,013,550.00    36.67%   35,533.97      933,180.64    39.50%    115,903.33

        57,681.93    21.17%   206,919.66   52.23%    -149,237.73     132,677.01    47.02%      -74,995.08   Gross Operating Profit          1,167,232.44   41.18%    1,118,223.28    40.46%   49,009.16      861,106.67    36.45%    306,125.77

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                                                                                        Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %       PTD Budget   %           Variance   PTD Last Year    %            Variance                                           YTD     %          YTD Budget %               Variance   YTD Last Year    %           Variance




                                                                                                           Fixed Costs
        98,052.00    35.99%    49,026.00   12.37%    49,026.00       52,000.00    18.43%       46,052.00   Taxes                            514,052.00    18.13%      490,260.00     17.74%     23,792.00     478,846.01    20.27%     35,205.99
         9,808.93     3.60%     8,408.00    2.12%     1,400.93        7,214.60     2.56%        2,594.33   Insurance                         68,444.42     2.41%       84,080.00      3.04%    -15,635.58      64,047.90     2.71%      4,396.52
        86,604.00    31.78%    84,164.00   21.24%     2,440.00       73,057.71    25.89%       13,546.29   Leases & Rent                    846,517.04    29.86%      841,640.00     30.45%      4,877.04     797,212.62    33.75%     49,304.42
         8,674.29     3.18%    11,885.00    3.00%    -3,210.71        8,466.52     3.00%          207.77   Management Fees                   86,035.43     3.04%       82,910.00      3.00%      3,125.43      70,889.67     3.00%     15,145.76

       203,139.22    74.55%   153,483.00   38.74%    49,656.22      140,738.83    49.88%       62,400.39   Total Fixed Expenses            1,515,048.89   53.45%    1,498,890.00     54.23%    16,158.89    1,410,996.20    59.73%    104,052.69

      -145,457.29   -53.38%    53,436.66   13.49%   -198,893.95      -8,061.82     -2.86%    -137,395.47   Net Operating Profit             -347,816.45   -12.27%    -380,666.72    -13.77%    32,850.27     -549,889.53    -23.28%   202,073.08



             0.00     0.00%    65,053.00   16.42%    -65,053.00      65,052.93    23.05%      -65,052.93   Interest - First Mortgage        520,423.44    18.36%      650,530.00     23.54%   -130,106.56     650,529.30    27.54%    -130,105.86
             0.00     0.00%    21,042.00    5.31%    -21,042.00      20,000.00     7.09%      -20,000.00   Interest - Notes Payable         160,000.00     5.64%      210,420.00      7.61%    -50,420.00     199,373.46     8.44%     -39,373.46
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Interest Expense - Other               0.00     0.00%            0.00      0.00%          0.00       1,218.37     0.05%      -1,218.37
             0.00     0.00%         0.00    0.00%          0.00           0.00     0.00%            0.00   Owner's Expense                   10,854.50     0.38%            0.00      0.00%     10,854.50           0.00     0.00%      10,854.50
             0.00     0.00%         0.00    0.00%          0.00         729.96     0.26%         -729.96   Prior Owner's Expense            147,654.09     5.21%            0.00      0.00%    147,654.09      16,749.22     0.71%     130,904.87



      -145,457.29   -53.38%   -32,658.34   -8.24%   -112,798.95     -93,844.71    -33.26%     -51,612.58   Net Operating Income           -1,186,748.48   -41.87%   -1,241,616.72   -44.93%    54,868.24    -1,417,759.88   -60.01%   231,011.40

             0.00     0.00%         0.00   0.00%           0.00           0.00     0.00%            0.00   Capital Reserve                     2,051.02    0.07%            0.00     0.00%       2,051.02           0.00     0.00%       2,051.02
             0.00     0.00%         0.00   0.00%           0.00           0.00     0.00%            0.00   (Gain)/Loss-Insurance                   0.00    0.00%            0.00     0.00%           0.00      25,000.00     1.06%     -25,000.00

      -145,457.29   -53.38%   -32,658.34   -8.24%   -112,798.95     -93,844.71    -33.26%     -51,612.58   Adjusted NOI                   -1,188,799.50   -41.94%   -1,241,616.72   -44.93%    52,817.22    -1,442,759.88   -61.07%   253,960.38




      -145,457.29   -53.38%   -32,658.34   -8.24%   -112,798.95     -93,844.71    -33.26%     -51,612.58   Net Profit/(Loss)              -1,188,799.50   -41.94%   -1,241,616.72   -44.93%    52,817.22    -1,442,759.88   -61.07%   253,960.38




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                                                                                           Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                           P&L - Dual Summary Pages
                                                                                                                As of 10/31/2021
             PTD     %        PTD Budget      %           Variance   PTD Last Year     %           Variance                                              YTD     %          YTD Budget %               Variance   YTD Last Year    %          Variance

                                                                                                              Rooms
                                                                                                              Room Revenue
                                                                                                              Transient Room Revenue
            0.00     0.00%          0.00      0.00%          0.00        2,420.00      0.86%      -2,420.00   Corporate Transient                   12,458.65     0.44%           0.00      0.00%     12,458.65      37,505.35     1.60%    -25,046.70
            0.00     0.00%          0.00      0.00%          0.00        6,455.20      2.30%      -6,455.20   Advanced Purchase                     59,940.50     2.13%           0.00      0.00%     59,940.50      37,718.45     1.61%     22,222.05
            0.00     0.00%     62,583.80     15.88%    -62,583.80       28,820.20     10.26%     -28,820.20   AAA/AARP Transient                   118,892.91     4.22%     560,686.60     20.44%   -441,793.69     180,927.42     7.72%    -62,034.51
            0.00     0.00%          0.00      0.00%          0.00        1,164.25      0.41%      -1,164.25   FIT(Flexible Independent Travel)       9,635.28     0.34%           0.00      0.00%      9,635.28       5,097.90     0.22%      4,537.38
            0.00     0.00%          0.00      0.00%          0.00            0.00      0.00%           0.00   Consortia Transient                    7,530.98     0.27%           0.00      0.00%      7,530.98           0.00     0.00%      7,530.98
            0.00     0.00%          0.00      0.00%          0.00       10,951.15      3.90%     -10,951.15   Employee                              49,622.65     1.76%           0.00      0.00%     49,622.65      88,546.69     3.78%    -38,924.04
            0.00     0.00%          0.00      0.00%          0.00        1,864.40      0.66%      -1,864.40   Travel Agent/Friends & Family         16,402.19     0.58%           0.00      0.00%     16,402.19      18,526.30     0.79%     -2,124.11
            0.00     0.00%          0.00      0.00%          0.00            0.00      0.00%           0.00   Leisure Package Transient              5,412.00     0.19%           0.00      0.00%      5,412.00           0.00     0.00%      5,412.00
            0.00     0.00%          0.00      0.00%          0.00        1,426.00      0.51%      -1,426.00   Member Reward Stay                    15,973.00     0.57%           0.00      0.00%     15,973.00      10,640.84     0.45%      5,332.16
            0.00     0.00%     16,500.00      4.19%    -16,500.00       10,098.72      3.60%     -10,098.72   Internet/E-Commerce                  169,674.27     6.02%     136,591.80      4.98%     33,082.47      76,290.59     3.25%     93,383.68
            0.00     0.00%          0.00      0.00%          0.00            0.00      0.00%           0.00   E-Commerce Opaque                      1,306.63     0.05%           0.00      0.00%      1,306.63       1,233.20     0.05%         73.43
            0.00     0.00%          0.00      0.00%          0.00       11,224.00      4.00%     -11,224.00   Government Transient                 216,885.37     7.70%           0.00      0.00%    216,885.37     357,737.41    15.25%   -140,852.04
      265,167.79    98.18%    117,573.84     29.83%    147,593.95       44,039.80     15.68%     221,127.99   Rack Transient                       884,925.35    31.41%     603,494.14     22.00%    281,431.21     408,746.83    17.43%    476,178.52
            0.00     0.00%    130,022.52     32.99%   -130,022.52       68,017.85     24.21%     -68,017.85   Local Negotiated Transient           859,175.81    30.49%     995,685.24     36.29%   -136,509.43     775,312.81    33.06%     83,863.00

     265,167.79    98.18%     326,680.16    82.89%     -61,512.37     186,481.57     66.39%      78,686.22    Total Transient Room Revenue       2,427,835.59   86.17%    2,296,457.78   83.70%     131,377.81    1,998,283.79    85.21%   429,551.80

                                                                                                              Group Room Revenue
            0.00     0.00%          0.00      0.00%           0.00           0.00      0.00%           0.00   Corporate Group                        2,459.00     0.09%           0.00      0.00%      2,459.00           0.00     0.00%     2,459.00
          654.00     0.24%          0.00      0.00%         654.00      91,619.00     32.62%     -90,965.00   Government Group                     372,808.00    13.23%           0.00      0.00%    372,808.00     334,636.00    14.27%    38,172.00
          -10.00     0.00%     66,412.50     16.85%     -66,422.50       4,050.00      1.44%      -4,060.00   SMERF Group                            1,904.00     0.07%     437,242.50     15.94%   -435,338.50      11,435.00     0.49%    -9,531.00
        3,631.00     1.34%          0.00      0.00%       3,631.00           0.00      0.00%       3,631.00   Sports Group                          10,210.00     0.36%           0.00      0.00%     10,210.00       1,654.00     0.07%     8,556.00

        4,275.00    1.58%      66,412.50    16.85%     -62,137.50      95,669.00     34.06%     -91,394.00    Total Group Room Revenue            387,381.00    13.75%     437,242.50    15.94%     -49,861.50     347,725.00     14.83%    39,656.00

                                                                                                              Contract Room Revenue

            0.00    0.00%           0.00     0.00%           0.00            0.00     0.00%           0.00    Total Contract Room Revenue                0.00    0.00%            0.00     0.00%          0.00            0.00    0.00%          0.00

                                                                                                              Other Room Revenue
            0.00     0.00%           0.00     0.00%          0.00            0.00      0.00%           0.00   No-Show Rooms                              0.00     0.00%           0.00     0.00%           0.00         400.00     0.02%      -400.00
          647.38     0.24%       1,000.00     0.25%       -352.62          922.93      0.33%        -275.55   Pet/Smoking/Damage Fees               11,619.01     0.41%      10,000.00     0.36%       1,619.01      11,612.96     0.50%         6.05

         647.38     0.24%       1,000.00     0.25%        -352.62         922.93      0.33%        -275.55    Total Other Room Revenue             11,619.01     0.41%      10,000.00      0.36%      1,619.01      12,012.96     0.51%       -393.95

            0.00     0.00%           0.00     0.00%          0.00       -2,170.98     -0.77%       2,170.98   Less: Allowances                      -9,253.23    -0.33%           0.00     0.00%      -9,253.23     -12,955.79    -0.55%      3,702.56

     270,090.17    100.00%    394,092.66    100.00%   -124,002.49     280,902.52     100.00%    -10,812.35    Total Room Revenue                 2,817,582.37   100.00%   2,743,700.28 100.00%       73,882.09    2,345,065.96 100.00%     472,516.41

                                                                                                              Expenses
                                                                                                              Payroll Expense
                                                                                                              Salaries and Wages
        4,258.25     1.58%       2,832.00     0.72%       1,426.25       3,638.44      1.30%         619.81   Front Office Management                8,269.28     0.29%      27,856.00      1.02%    -19,586.72      37,488.63     1.60%    -29,219.35
        4,854.40     1.80%           0.00     0.00%       4,854.40           0.00      0.00%       4,854.40   Housekeeping Management               18,472.96     0.66%           0.00      0.00%     18,472.96           0.00     0.00%     18,472.96
       9,112.65     3.37%       2,832.00     0.72%       6,280.65       3,638.44      1.30%       5,474.21    Total Rooms Management               26,742.24     0.95%      27,856.00      1.02%     -1,113.76      37,488.63     1.60%    -10,746.39
       16,678.85     6.18%           0.00     0.00%      16,678.85       3,013.44      1.07%      13,665.41   Front Office Agents                   56,180.37     1.99%      16,612.00      0.61%     39,568.37      36,958.63     1.58%     19,221.74
            0.00     0.00%           0.00     0.00%           0.00       3,029.76      1.08%      -3,029.76   Front Office Supervisors              19,323.76     0.69%           0.00      0.00%     19,323.76      21,026.04     0.90%     -1,702.28
            0.00     0.00%       3,844.00     0.98%      -3,844.00         178.70      0.06%        -178.70   Night Auditors                        32,544.51     1.16%      37,820.00      1.38%     -5,275.49       7,757.04     0.33%     24,787.47
            0.00     0.00%       5,524.00     1.40%      -5,524.00           0.00      0.00%           0.00   Breakfast Attendant                   12,675.00     0.45%      41,632.00      1.52%    -28,957.00      15,381.41     0.66%     -2,706.41
      16,678.85     6.18%       9,368.00     2.38%       7,310.85       6,221.90      2.21%      10,456.95    Total Rooms Front Office            120,723.64     4.28%      96,064.00      3.50%     24,659.64      81,123.12     3.46%     39,600.52
            0.00     0.00%       5,931.00     1.50%      -5,931.00       4,620.45      1.64%      -4,620.45   Housekeeping Supervisors              45,910.23     1.63%      67,914.00      2.48%    -22,003.77      56,606.50     2.41%    -10,696.27
        3,108.15     1.15%      10,769.00     2.73%      -7,660.85       4,935.60      1.76%      -1,827.45   Room Attendants                       58,041.20     2.06%     104,468.00      3.81%    -46,426.80      70,902.05     3.02%    -12,860.85
            0.00     0.00%       2,631.00     0.67%      -2,631.00       3,013.73      1.07%      -3,013.73   Housepersons                          28,200.98     1.00%      25,202.00      0.92%      2,998.98      27,398.03     1.17%        802.95
            0.00     0.00%       2,760.00     0.70%      -2,760.00       4,597.20      1.64%      -4,597.20   Laundry Attendants                    42,683.97     1.51%      26,754.00      0.98%     15,929.97      29,837.13     1.27%     12,846.84
       3,108.15     1.15%      22,091.00     5.61%     -18,982.85      17,166.98      6.11%     -14,058.83    Total Rooms Housekeeping            174,836.38     6.21%     224,338.00      8.18%    -49,501.62     184,743.71     7.88%     -9,907.33

       28,899.65     10.70%    34,291.00     8.70%      -5,391.35      27,027.32      9.62%       1,872.33    Total Rooms Salary and Wages        322,302.26    11.44%     348,258.00    12.69%     -25,955.74     303,355.46     12.94%    18,946.80
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                                                                                          Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                          P&L - Dual Summary Pages
                                                                                                               As of 10/31/2021
             PTD      %        PTD Budget     %           Variance   PTD Last Year    %           Variance                                                 YTD     %         YTD Budget %              Variance   YTD Last Year    %          Variance


                                                                                                             PR Taxes and Benefits
         2,176.12      0.81%        960.00    0.24%       1,216.12         868.18     0.31%       1,307.94   FICA                                     14,094.77    0.50%      10,000.00      0.36%     4,094.77      10,504.03     0.45%      3,590.74
           110.99      0.04%         14.00    0.00%          96.99           9.65     0.00%         101.34   Federal Unemployment Tax                    546.89    0.02%         284.00      0.01%       262.89         319.43     0.01%        227.46
           511.06      0.19%        201.00    0.05%         310.06          39.18     0.01%         471.88   State Unemployment Tax                    4,769.72    0.17%       3,004.00      0.11%     1,765.72       2,272.12     0.10%      2,497.60
        2,798.17      1.04%      1,175.00    0.30%       1,623.17         917.01     0.33%       1,881.16    Total Payroll Taxes                     19,411.38    0.69%      13,288.00      0.48%     6,123.38      13,095.58     0.56%      6,315.80
             0.00      0.00%          0.00    0.00%           0.00           0.00     0.00%           0.00   Holiday                                   1,822.90    0.06%       3,269.00      0.12%    -1,446.10       2,274.51     0.10%       -451.61
             0.00      0.00%        355.00    0.09%        -355.00         366.90     0.13%        -366.90   Vacation                                  4,658.80    0.17%       3,550.00      0.13%     1,108.80       4,128.34     0.18%        530.46
             0.00     0.00%        355.00    0.09%        -355.00         366.90     0.13%        -366.90    Total Supplemental Pay                   6,481.70    0.23%       6,819.00      0.25%      -337.30       6,402.85     0.27%          78.85
         2,485.56      0.92%        465.00    0.12%       2,020.56         376.76     0.13%       2,108.80   Worker's Compensation                     6,540.68    0.23%       4,650.00      0.17%     1,890.68       4,956.56     0.21%      1,584.12
             0.00      0.00%         20.00    0.01%         -20.00           8.61     0.00%          -8.61   Group Insurance                              85.14    0.00%         201.00      0.01%      -115.86         161.17     0.01%        -76.03
             0.00      0.00%          0.00    0.00%           0.00          30.00     0.01%         -30.00   Bonus and Incentive Pay                      70.00    0.00%           0.00      0.00%        70.00         450.00     0.02%       -380.00
             0.00      0.00%          0.00    0.00%           0.00           0.00     0.00%           0.00   Other Benefits                                0.00    0.00%           0.00      0.00%         0.00         248.00     0.01%       -248.00
        2,485.56      0.92%        485.00    0.12%       2,000.56         415.37     0.15%       2,070.19    Total Other Benefits                     6,695.82    0.24%       4,851.00      0.18%     1,844.82       5,815.73     0.25%        880.09

        5,283.73      1.96%      2,015.00    0.51%       3,268.73       1,699.28     0.60%       3,584.45    Total Rooms PR Taxes and Benefits       32,588.90    1.16%      24,958.00      0.91%     7,630.90      25,314.16     1.08%      7,274.74

       34,183.38    12.66%      36,306.00    9.21%      -2,122.62      28,726.60     10.23%      5,456.78    Total Rooms Labor Costs                354,891.16    12.60%    373,216.00    13.60%     -18,324.84    328,669.62     14.02%    26,221.54

                                                                                                             Other Expenses
         7,349.79     2.72%     12,457.00     3.16%     -5,107.21        1,208.79     0.43%       6,141.00   Breakfast /Comp Cost                     42,234.74    1.50%      85,148.00     3.10%    -42,913.26      41,077.27     1.75%      1,157.47
           325.49     0.12%        654.00     0.17%       -328.51          236.61     0.08%          88.88   Cleaning Supplies                         2,936.11    0.10%       4,967.00     0.18%     -2,030.89       3,483.26     0.15%       -547.15
        14,138.30     5.23%          0.00     0.00%     14,138.30            0.00     0.00%      14,138.30   Contract Labor                           29,693.90    1.05%           0.00     0.00%     29,693.90           0.00     0.00%     29,693.90
         4,486.19     1.66%      1,241.00     0.31%      3,245.19          799.94     0.28%       3,686.25   Guest Supplies                           15,368.06    0.55%      11,897.00     0.43%      3,471.06      11,861.64     0.51%      3,506.42
            60.67     0.02%        864.00     0.22%       -803.33            0.00     0.00%          60.67   Laundry                                  11,810.13    0.42%       6,557.00     0.24%      5,253.13       4,447.31     0.19%      7,362.82
         3,206.95     1.19%        793.00     0.20%      2,413.95            0.00     0.00%       3,206.95   Linen                                     8,337.61    0.30%       6,023.00     0.22%      2,314.61       5,339.04     0.23%      2,998.57
             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00   Meals and Entertainment                      74.17    0.00%           0.00     0.00%         74.17           0.00     0.00%         74.17
             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00   Miscellaneous Expense                         0.00    0.00%       1,000.00     0.04%     -1,000.00           0.00     0.00%          0.00
             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00   Office Equipment                            904.73    0.03%           0.00     0.00%        904.73           0.00     0.00%        904.73
             0.00     0.00%        695.00     0.18%       -695.00           63.46     0.02%         -63.46   Operating Supplies                        6,109.25    0.22%       6,900.00     0.25%       -790.75       6,775.12     0.29%       -665.87
             0.00     0.00%        341.00     0.09%       -341.00          350.55     0.12%        -350.55   Reservation Expense                       1,585.64    0.06%       2,692.00     0.10%     -1,106.36       2,180.25     0.09%       -594.61
             0.00     0.00%         65.00     0.02%        -65.00           18.33     0.01%         -18.33   Rooms Promotion                           1,276.68    0.05%         625.00     0.02%        651.68         779.06     0.03%        497.62
         3,912.40     1.45%      1,850.00     0.47%      2,062.40        1,785.00     0.64%       2,127.40   Television Cable                         22,339.40    0.79%      18,500.00     0.67%      3,839.40      16,852.35     0.72%      5,487.05
             0.00     0.00%          0.00     0.00%          0.00          207.60     0.07%        -207.60   Training                                    106.80    0.00%           0.00     0.00%        106.80       1,140.41     0.05%     -1,033.61
             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00   Transportation                                0.00    0.00%           0.00     0.00%          0.00          13.80     0.00%        -13.80
             0.00     0.00%      5,503.00     1.40%     -5,503.00        6,000.00     2.14%      -6,000.00   Travel Agent Comm - Group Rooms             318.46    0.01%      38,271.00     1.39%    -37,952.54      60,895.83     2.60%    -60,577.37
         6,839.37     2.53%      4,403.00     1.12%      2,436.37        3,744.89     1.33%       3,094.48   Travel Agent Comm - Transient Rooms      71,130.35    2.52%      39,213.00     1.43%     31,917.35      51,610.19     2.20%     19,520.16
             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00   Uniforms                                    669.44    0.02%           0.00     0.00%        669.44         373.33     0.02%        296.11
             0.00     0.00%          0.00     0.00%          0.00            0.00     0.00%           0.00   Walked Guests                                 0.00    0.00%           0.00     0.00%          0.00       2,750.62     0.12%     -2,750.62

       40,319.16    14.93%      28,866.00    7.32%     11,453.16       14,415.17     5.13%      25,903.99    Total Rooms Other Expenses             214,895.47    7.63%     221,793.00      8.08%     -6,897.53    209,579.48     8.94%      5,315.99

       74,502.54    27.58%      65,172.00    16.54%      9,330.54      43,141.77     15.36%     31,360.77    Total Rooms Expenses                   569,786.63    20.22%    595,009.00    21.69%     -25,222.37    538,249.10     22.95%    31,537.53

      195,587.63    72.42%     328,920.66    83.46%   -133,333.03     237,760.75     84.64%    -42,173.12    Total Rooms Profit (Loss)             2,247,795.74   79.78%   2,148,691.28   78.31%     99,104.46    1,806,816.86    77.05%   440,978.88




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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %           Variance                                                        YTD    %   YTD Budget %    Variance   YTD Last Year   %     Variance

                                                                                               Room Sale Stats
                                                                                               Tranisent Rooms
         1,738.00                 0.00       1,738.00          22.00                1,716.00   Room Stat - Corporate Transient                  3,095.00             0.00      3,095.00         210.00          2,885.00
             0.00                 0.00           0.00          54.00                  -54.00   Room Stat - Advanced Purchase                      550.00             0.00        550.00         231.00            319.00
             0.00               466.00        -466.00         158.00                 -158.00   Room Stat - AAA/AARP Transient                     702.00         4,468.00     -3,766.00         245.00            457.00
             0.00                 0.00           0.00          12.00                  -12.00   Room Stat - FIT(Flexible Independent Travel)        98.00             0.00         98.00          53.00             45.00
             0.00                 0.00           0.00           0.00                    0.00   Room Stat - Consortia Rate Transient                74.00             0.00         74.00           0.00             74.00
             0.00                 0.00           0.00         186.00                 -186.00   Room Stat - Employee                               860.00             0.00        860.00         606.00            254.00
             0.00                 0.00           0.00           0.00                    0.00   Room Stat - Package Transient                       33.00             0.00         33.00           0.00             33.00
             0.00                 0.00           0.00          17.00                  -17.00   Room Stat - Travel Agent/Friends & Family          163.00             0.00        163.00          94.00             69.00
             0.00                 0.00           0.00          31.00                  -31.00   Room Stat - Member Reward Stay                     337.00             0.00        337.00          84.00            253.00
             0.00                 0.00           0.00          32.00                  -32.00   Room Stat - Extended Stay Transient                123.00             0.00        123.00          56.00             67.00
             0.00               125.00        -125.00          83.00                  -83.00   Room Stat - Internet                             1,414.00         1,080.00        334.00         285.00          1,129.00
             0.00                 0.00           0.00          31.00                  -31.00   Room Stat - Other Transient                          9.00             0.00          9.00          97.00            -88.00
             0.00                 0.00           0.00           0.00                    0.00   Room Stat - E-Commerce Opaque                       15.00             0.00         15.00           2.00             13.00
             0.00                 0.00           0.00          81.00                  -81.00   Room Stat - Government Rate Transient            1,578.00             0.00      1,578.00         370.00          1,208.00
             0.00               732.00        -732.00         323.00                 -323.00   Room Stat - Rack Rate Transient                  2,776.00         4,033.00     -1,257.00         899.00          1,877.00
             0.00               769.00        -769.00         456.00                 -456.00   Room Stat - Local Negotiated Transient           6,405.00         6,835.00       -430.00       1,597.00          4,808.00
        1,738.00             2,092.00        -354.00       1,486.00                  252.00    Total Transient Rooms Sold                     18,232.00        16,416.00      1,816.00       4,829.00         13,403.00

                                                                                               Group Rooms
            51.00                 0.00          51.00           0.00                   51.00   Room Stat - Corporate Group Rooms                   87.00             0.00         87.00           0.00             87.00
             6.00                 0.00           6.00         711.00                 -705.00   Room Stat - Government Group                     3,292.00             0.00      3,292.00       1,503.00          1,789.00
           -16.00               525.00        -541.00          42.00                  -58.00   Room Stat - SMERF Group                             16.00         3,450.00     -3,434.00          42.00            -26.00
            -6.00                 0.00          -6.00           0.00                   -6.00   Room Stat - Sports Group                            45.00             0.00         45.00           0.00             45.00
           35.00               525.00        -490.00         753.00                 -718.00    Total Group Rooms Sold                          3,440.00         3,450.00         -10.00      1,545.00          1,895.00

                                                                                               Contract Rooms
            0.00                 0.00           0.00            0.00                   0.00    Total Contract Rooms Sold                           0.00             0.00          0.00            0.00             0.00

        1,773.00             2,617.00        -844.00       2,239.00                 -466.00    Total Rooms Sold                               21,672.00        19,866.00      1,806.00       6,374.00         15,298.00
            10.00                0.00           10.00          0.00                    10.00   Room Stat-Comp Rooms                                13.00            0.00          13.00          0.00              13.00
        1,783.00             2,617.00        -834.00       2,239.00                 -456.00    Total Rooms Occupied                           21,685.00        19,866.00      1,819.00       6,374.00         15,311.00
           886.00                0.00          886.00          0.00                   886.00   Room Stat-Out of Order                           1,206.00            0.00       1,206.00          0.00           1,206.00

                                                                                               ADR
            0.00                  0.00          0.00          110.00                -110.00    Corporate Transient ADR                              4.03             0.00          4.03         178.60           -174.57
            0.00                  0.00          0.00          119.54                -119.54    Advanced Purchase ADR                              108.98             0.00       108.98          163.28            -54.30
            0.00                134.30       -134.30          182.41                -182.41    AAA/AARP ADR                                       169.36           125.49        43.87          738.48           -569.12
            0.00                  0.00          0.00           97.02                 -97.02    FIT ADR                                             98.32             0.00        98.32           96.19              2.13
            0.00                  0.00          0.00            0.00                   0.00    Consortia ADR                                      101.77             0.00       101.77            0.00            101.77
            0.00                  0.00          0.00           58.88                 -58.88    Employee ADR                                        57.70             0.00        57.70          146.12            -88.42
            0.00                  0.00          0.00            0.00                   0.00    Leisure ADR                                          0.00             0.00          0.00           0.00              0.00
            0.00                  0.00          0.00          109.67                -109.67    Travel Agent/Friends & Family ADR                  100.63             0.00       100.63          197.09            -96.46
            0.00                  0.00          0.00            0.00                   0.00    Leisure Package ADR                                  0.00             0.00          0.00           0.00              0.00
            0.00                  0.00          0.00           46.00                 -46.00    Member Reward Stay ADR                              47.40             0.00        47.40          126.68            -79.28
            0.00                  0.00          0.00            0.00                   0.00    Golf Pkg ADR                                         0.00             0.00          0.00           0.00              0.00
            0.00                  0.00          0.00            0.00                   0.00    Extended Stay ADR                                    0.00             0.00          0.00           0.00              0.00
            0.00                132.00       -132.00          121.67                -121.67    Internet ADR                                       120.00           126.47         -6.48         267.69           -147.69
            0.00                  0.00          0.00            0.00                   0.00    E-Commerce Opaque ADR                               87.11             0.00        87.11          616.60           -529.49
            0.00                  0.00          0.00            0.00                   0.00    Other Transient ADR                                  0.00             0.00          0.00           0.00              0.00
            0.00                  0.00          0.00            0.00                   0.00    Airline Distressed Passenger ADR                     0.00             0.00          0.00           0.00              0.00
            0.00                  0.00          0.00          138.57                -138.57    Government ADR                                     137.44             0.00       137.44          966.86           -829.41
            0.00                160.62       -160.62          136.35                -136.35    Rack ADR                                           318.78           149.64       169.14          454.67           -135.89
            0.00                169.08       -169.08          149.16                -149.16    Local Negotiated ADR                               134.14           145.67       -11.53          485.48           -351.34
          152.57               156.16          -3.59         125.49                   27.08    Total Transient ADR                               133.16           139.89         -6.73         413.81           -280.65

             0.00                 0.00          0.00            0.00                    0.00   Corporate Group ADR                                28.26              0.00        28.26            0.00            28.26
             0.00                 0.00          0.00            0.00                    0.00   Leisure Group ADR                                   0.00              0.00         0.00            0.00             0.00
           109.00                 0.00        109.00          128.86                  -19.86   Government Group ADR                              113.25              0.00       113.25          222.65          -109.40
             0.00                 0.00          0.00            0.00                    0.00   Tour & Travel Group ADR                             0.00              0.00         0.00            0.00             0.00
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %           Variance                                          YTD    %   YTD Budget %   Variance   YTD Last Year   %   Variance

             0.00                 0.00          0.00           0.00                    0.00    Association Group ADR                  0.00             0.00         0.00           0.00            0.00
             0.00                 0.00          0.00           0.00                    0.00    City Wide Group ADR                    0.00             0.00         0.00           0.00            0.00
             0.63               126.50       -125.88          96.43                  -95.80    SMERF Group ADR                      119.00           126.74        -7.74         272.26         -153.26
          -605.17                 0.00       -605.17           0.00                 -605.17    Sports Group ADR                     226.89             0.00      226.89            0.00          226.89
             0.00                 0.00          0.00           0.00                    0.00    Other Group ADR                        0.00             0.00         0.00           0.00            0.00
          122.14               126.50          -4.36         127.05                   -4.91    Total Group ADR                     112.61           126.74       -14.13         225.06         -112.45

            0.00                 0.00           0.00            0.00                   0.00    Airline Crew ADR                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Other Contract ADR                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Contract ADR                    0.00             0.00         0.00            0.00           0.00

          152.34               150.59           1.75         125.46                   26.88    Total ADR                           130.01           138.11        -8.10         367.91         -237.90




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                           YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        F&B Summary
                                                                                                        Revenue
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Outlet Food Revenue                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Banquet and Catering Food Revenue       0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Outlet Beverage Revenue                 0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Banquet and Catering Beverage Revenue   0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Outlet Other Revenue                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Banquet and Catering Other Revenue      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Food Purchases                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Beverage Purchases                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Cedit Employee Meals                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Credit House Charges                    0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Credit In-House Promotions              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Audio Visual Cost of Sales              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Other Cost of Sales                     0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Cost of Sales                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    F&B Gross Profit                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll
                                                                                                        Salaries and Wages
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Management                              0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Non-Management                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Salaries and Wages            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                        PR Taxes and Benefits
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Payroll Taxes                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Supplemental Pay                        0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Other Benefits                          0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B PR Taxes and Benefits         0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Payroll                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Audio Visual Supplies                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Banquet Expense                         0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Bar Expense/Promos                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Bar Supplies                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    China                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Cleaning Supplies                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Communication Expense                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Contract Cleaning                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Contract Labor                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Decorations & Plants                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Dues and Subscriptions                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Equipment Rental                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Food and Beverage Advertising           0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Glassware                               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Guest Loss/Damage                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Guest Supplies                          0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    In-House Entertainment                  0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Kitchen/Cooking Fuel                    0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Kitchen Equipment                       0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Laundry - Outside Expense               0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Laundry Allocation                      0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Licenses/Permits                        0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Linen                                   0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
             0.00     0.00%          0.00   0.00%       0.00            0.00    0.00%           0.00    Linen Rental                            0.00   0.00%          0.00     0.00%       0.00            0.00    0.00%       0.00
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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                          As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                         YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Maintenance Contracts                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Meals and Entertainment               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Menus                                 0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Miscellaneous Expense                 5.30     0.00%        0.00       0.00%      5.30            0.00     0.00%      5.30
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Music and Entertainment               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Office Equipment                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Office Supplies                       0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Operating Supplies                    0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Paper/Plastic Supplies                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Printing and Stationery               0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Silverware                            0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Software Expense/Maintenance          0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Television Cable                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Training                              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Travel                                0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Uniforms                              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Utensils                              0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Other Expenses              5.30    0.00%         0.00      0.00%       5.30            0.00    0.00%       5.30

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Expenses                    5.30    0.00%         0.00      0.00%       5.30            0.00    0.00%       5.30

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total F&B Profit (Loss)              -5.30    0.00%         0.00      0.00%      -5.30            0.00    0.00%      -5.30




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                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %           Variance                                         YTD     %   YTD Budget %   Variance   YTD Last Year   %   Variance

                                                                                               F&B Stats
                                                                                               Restaurant 1
            0.00                 0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Restaurant 1 Covers             0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Restaurant 1 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                               Restaurant 2
            0.00                 0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Restaurant 2 Covers             0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Restaurant 2 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                               Room Service
            0.00                 0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Room Service Covers             0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Room Service Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                               Banquets
            0.00                 0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Banquets Covers                 0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Banquets Avg Check                    0.00             0.00         0.00            0.00           0.00

                                                                                               Catering
            0.00                 0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Catering Covers                 0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Catering Avg Check                    0.00             0.00         0.00            0.00           0.00

                                                                                               Restaurant 3
             0.00                 0.00          0.00            0.00                   0.00    Breakfast Avg Check                   0.00              0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                   0.00    Lunch Avg Check                       0.00              0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                   0.00    Dinner Avg Check                      0.00              0.00        0.00            0.00           0.00
             0.00                 0.00          0.00            0.00                   0.00    Brunch Avg Check                      0.00              0.00        0.00            0.00           0.00
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                                                                            Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %     PTD Budget   %   Variance   PTD Last Year   %           Variance                                         YTD     %   YTD Budget %   Variance   YTD Last Year   %   Variance

            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Restaurant 3 Covers             0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Restaurant 3 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                               Restaurant 4
            0.00                 0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Restaurant 4 Covers             0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Restaurant 4 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                               Restaurant 5
            0.00                 0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Restaurant 5 Covers             0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Restaurant 5 Avg Check                0.00             0.00         0.00            0.00           0.00

                                                                                               Bar 1
            0.00                 0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Bar 1 Covers                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Bar 1 Avg Check                       0.00             0.00         0.00            0.00           0.00

                                                                                               Bar 2
            0.00                 0.00           0.00            0.00                   0.00    Breakfast Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Lunch Avg Check                       0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Dinner Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Brunch Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Late Night Avg Check                  0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Breaks Avg Check                      0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Reception Avg Check                   0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Total Bar 2 Covers                    0.00             0.00         0.00            0.00           0.00
            0.00                 0.00           0.00            0.00                   0.00    Bar 2 Avg Check                       0.00             0.00         0.00            0.00           0.00

            0.00                 0.00           0.00            0.00                   0.00    Total Covers                          0.00             0.00         0.00            0.00           0.00




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                                                                                  Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                            YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Food Admin
                                                                                                     Cost of Sales

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Cost of Sales           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Management              0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Non-Management          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%          0.00    Miscellaneous Expense                    5.30   0.00%         0.00     0.00%      5.30            0.00    0.00%      5.30

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Other Expenses          5.30   0.00%        0.00      0.00%      5.30            0.00    0.00%      5.30

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Food Admin Expenses                5.30   0.00%        0.00      0.00%      5.30            0.00    0.00%      5.30

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Departmental Costs                       5.30   0.00%        0.00      0.00%      5.30            0.00    0.00%      5.30




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                                                                                  Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                         YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Beverage Admin
             0.00     0.00%         0.00   0.00%      0.00            0.00    0.00%          0.00    Less Adjustments                      0.00    0.00%         0.00     0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Revenue          0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Cost of Sales

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Cost of Sales    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Other Expenses

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Other Expenses   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Beverage Admin Expenses         0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Departmental Costs                    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                          As of 10/31/2021
             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 1
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 1 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 1 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 1 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 1 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 2
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 2 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revemue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 2 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 2 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 2 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Room Service
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Room Service Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Room Service Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Room Service Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Room Service Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                         YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Banquets
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Banquets Food Revenue                 0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Food Revenue           0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Banquets Beverage Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                      0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Beverage Revenue       0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Other Revenue          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Cost of Sales          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Gross Profit                          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Management             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Non-Management         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00                    0.00                0.00            0.00                    0.00    Total Banquets Salaries and Wages     0.00                  0.00                  0.00            0.00                0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00                    0.00                0.00            0.00                    0.00    Total Banquet Benefits                0.00                  0.00                  0.00            0.00                0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Payroll                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Other Expenses         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Expenses               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Banquets Profit (Loss)          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Catering
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Catering Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Catering Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                      0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Other Revenue           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Catering Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                    0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Catering Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                                   YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 3
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 3 Food Revenue                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                                0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Food Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 3 Beverage Revenue                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                               0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Beverage Revenue             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Revenue                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Cost of Sales                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 3 Gross Profit                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Management                   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Non-Management               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Salaries and Wages           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                             0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Payroll Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Payroll                      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Other Expenses               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Expenses                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 3 Profit (Loss)                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 4
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 4 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restauarnt 4 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Gross Profit                               0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 4 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                              YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Restaurant 5
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 5 Food Revenue                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Food Revenue            0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                        Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 5 Beverage Revenue              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Allowances                           0.00    0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Beverage Revenue        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Revenue                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Cost of Sales           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Restaurant 5 Gross Profit                  0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Management              0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Non-Management          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Salaries and Wages      0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                        0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                     0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                       0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 PR Taxes and Benefits   0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Payroll                 0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Other Expenses          0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Expenses                0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Restaurant 5 Profit (Loss)           0.00   0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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                                                                                     Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                         YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Bar 1
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Bar 1 Food Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Food Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Bar 1 Beverage Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Beverage Revenue          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Other Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Cost of Sales             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Gross Profit                          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expense
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Non-Management            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Salaries and Wages        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 PR Taxes and Benefits     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Payroll                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Other Expenses            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Expenses                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 1 Profit (Loss)             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                         YTD     %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Bar 2
                                                                                                        Food Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Bar 2 Food Revenue                    0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Food Revenue              0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Beverage Revenue

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Bar 2 Beverage Revenue                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Beverage Revenue          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Revenue
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Other Revenue             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Revenue                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Cost of Sales             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Gross Profit                          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Expenses
                                                                                                        Payroll Expenses
                                                                                                        Salaries and Wages
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Non-Management            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Salaries and Wages        0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Payroll Taxes                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Supplemental Pay                0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Other Benefits                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 PR Taxes and Benefits     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Payroll                   0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Other Expenses            0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Expenses                  0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Bar 2 Profit (Loss)             0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00




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             PTD      %        PTD Budget   %        Variance   PTD Last Year   %            Variance                                          YTD    %        YTD Budget %            Variance   YTD Last Year   %        Variance

                                                                                                        Telephone

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Telephone Revenue                     0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Less: Adjustments                     0.00     0.00%        0.00       0.00%      0.00            0.00     0.00%      0.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Telephone Revenue               0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Cost of Sales
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Telephone Cost of Sales         0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Gross Profit                          0.00    0.00%         0.00      0.00%       0.00            0.00    0.00%       0.00

                                                                                                        Other Expenses
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Internet/Web Expense                 150.00    0.00%        0.00       0.00%    150.00            0.00     0.00%    150.00
            0.00       0.00%        0.00     0.00%      0.00            0.00     0.00%          0.00    Telephone Equipment                   90.00    0.00%        0.00       0.00%     90.00            0.00     0.00%     90.00
            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Telephone Other Expenses      240.00    0.00%         0.00      0.00%    240.00             0.00    0.00%    240.00

            0.00      0.00%         0.00    0.00%       0.00            0.00    0.00%           0.00    Total Telephone Profit (Loss)      -240.00    0.00%         0.00      0.00%    -240.00            0.00    0.00%    -240.00




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             PTD      %        PTD Budget     %       Variance   PTD Last Year     %           Variance                                                     YTD     %        YTD Budget %             Variance   YTD Last Year    %          Variance

                                                                                                          Minor Operating
                                                                                                          Income
           200.00     8.38%          0.00     0.00%     200.00           0.00      0.00%         200.00   Rental Income - Lobby Space                     200.00     1.17%         0.00     0.00%       200.00           0.00      0.00%       200.00
           400.00    16.76%        875.00    42.07%    -475.00         300.00     23.74%         100.00   Rental Income - Other                         2,050.00    12.04%     5,833.00    29.17%    -3,783.00       6,420.00     36.94%    -4,370.00
          600.00    25.15%        875.00    42.07%    -275.00         300.00     23.74%         300.00    Total Rental Income                          2,250.00    13.21%     5,833.00    29.17%    -3,583.00       6,420.00     36.94%    -4,170.00
             0.00     0.00%        292.00    14.04%    -292.00         540.71     42.79%        -540.71   Vending Commissions-Soda & Snack Machines     3,814.64    22.40%     4,722.00    23.61%      -907.36       4,150.33     23.88%      -335.69
             9.30     0.39%          0.00     0.00%       9.30           0.00      0.00%           9.30   Vending Commissions Other                        81.35     0.48%       200.00     1.00%      -118.65          83.05      0.48%        -1.70
             9.30    0.39%        292.00    14.04%    -282.70         540.71     42.79%        -531.41    Total Vending Commission Income              3,895.99    22.88%     4,922.00    24.61%    -1,026.01       4,233.38     24.36%      -337.39
             0.00    0.00%           0.00    0.00%        0.00           0.00     0.00%            0.00   Total Cancellation Fee Income                     0.00    0.00%          0.00    0.00%          0.00           0.00     0.00%          0.00
            84.15     3.53%          0.00     0.00%      84.15          19.80      1.57%          64.35   Internet Access                               1,029.36     6.05%     1,329.00     6.65%      -299.64         207.90      1.20%       821.46
           -30.00    -1.26%          0.00     0.00%     -30.00           0.00      0.00%         -30.00   Other Revenue 2                                 -30.00    -0.18%         0.00     0.00%       -30.00           0.00      0.00%       -30.00
            20.00     0.84%          0.00     0.00%      20.00          46.41      3.67%         -26.41   Other Revenue 3                               3,124.83    18.35%         0.00     0.00%     3,124.83         104.14      0.60%     3,020.69
             0.00     0.00%          0.00     0.00%       0.00           0.00      0.00%           0.00   Other Revenue 4                                   0.00     0.00%         0.00     0.00%         0.00       1,330.75      7.66%    -1,330.75
           802.55    33.64%        913.00    43.89%    -110.45         356.85     28.24%         445.70   Gift Shop Sales                               5,456.07    32.05%     7,912.00    39.57%    -2,455.93       5,084.80     29.25%       371.27
           900.00    37.72%          0.00     0.00%     900.00           0.00      0.00%         900.00   Pet Fees                                      1,300.00     7.64%         0.00     0.00%     1,300.00           0.00      0.00%     1,300.00
        1,776.70    74.46%        913.00    43.89%     863.70         423.06     33.48%       1,353.64    Total Other Income                          10,880.26    63.90%     9,241.00    46.21%     1,639.26       6,727.59     38.71%     4,152.67

        2,386.00    100.00%     2,080.00    100.00%   306.00        1,263.77     100.00%      1,122.23    Total Minor Operating Income                17,026.25    100.00%   19,996.00 100.00%      -2,969.75      17,380.97 100.00%        -354.72

                                                                                                          Cost of Sales
            0.00       0.00%         0.00     0.00%       0.00           0.00      0.00%           0.00   Cost of Sales - Guest Laundry                     0.00     0.00%         0.00     0.00%        0.00          -50.00     -0.29%       50.00
           25.55       1.07%       406.00    19.52%    -380.45         480.75     38.04%        -455.20   Cost of Sales - Gift Shop                     5,682.09    33.37%     4,078.00    20.39%    1,604.09        1,956.64     11.26%    3,725.45
           25.55      1.07%       406.00    19.52%    -380.45         480.75     38.04%        -455.20    Total Minor Operated Cost of Sales           5,682.09    33.37%     4,078.00    20.39%    1,604.09        1,906.64     10.97%    3,775.45

        2,360.45    98.93%      1,674.00    80.48%    686.45          783.02     61.96%       1,577.43    Total Minor Operated Profit (Loss)          11,344.16    66.63%    15,918.00    79.61%    -4,573.84      15,474.33     89.03%    -4,130.17




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                         YTD     %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Arcade
                                                                                                     Revenue

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Revenue                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Non-Management           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Salaries and Wages       0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                   0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade PR Taxes and Benefits    0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Payroll                  0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Other Expenses           0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Expenses                 0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Arcade Profit (Loss)            0.00    0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %       Variance   PTD Last Year   %           Variance                                           YTD    %       YTD Budget %           Variance   YTD Last Year   %       Variance

                                                                                                     Waterpark
                                                                                                     Revenue
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Revenue                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Expenses
                                                                                                     Payroll Expense
                                                                                                     Salaries and Wages
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Management                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Waterpark Non-Management                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Salaries and Wages      0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     PR Taxes and Benefits
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Payroll Taxes                     0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Supplemental Pay                  0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Other Benefits                    0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark PR Taxes and Benefits   0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Payroll                 0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

                                                                                                     Other Expenses
            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Other Expenses          0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Expenses                0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00

            0.00      0.00%        0.00    0.00%      0.00            0.00    0.00%          0.00    Total Waterpark Profit (Loss)           0.00   0.00%        0.00      0.00%      0.00            0.00    0.00%      0.00




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             PTD      %       PTD Budget   %         Variance   PTD Last Year    %           Variance                                                    YTD     %       YTD Budget %             Variance   YTD Last Year   %         Variance

                                                                                                        Franchise Fees
           195.66     0.07%         0.00   0.00%      195.66            0.00     0.00%         195.66   Franchise Fees - IT Fees                       195.66    0.01%         0.00     0.00%      195.66            0.00    0.00%      195.66
        31,672.81    11.62%    23,586.00   5.95%    8,086.81       15,529.64     5.50%      16,143.17   Franchise Fees - Royalty & Licenses        182,405.05    6.43%   164,021.00     5.93%   18,384.05      139,135.05    5.89%   43,270.00
         5,220.46     1.92%         0.00   0.00%    5,220.46            0.00     0.00%       5,220.46   Franchise Fees - Other                       5,220.46    0.18%         0.00     0.00%    5,220.46            0.00    0.00%    5,220.46
         4,911.36     1.80%     2,752.00   0.69%    2,159.36        2,113.49     0.75%       2,797.87   Franchise Fees - Frequent Guest             33,185.63    1.17%    26,378.00     0.95%    6,807.63       16,523.57    0.70%   16,662.06
        17,522.05     6.43%    10,278.00   2.59%    7,244.05       17,178.59     6.09%         343.46   Franchise Fees - Marketing Contributions    85,244.11    3.01%    72,852.00     2.64%   12,392.11       72,600.92    3.07%   12,643.19

       59,522.34    21.84%    36,616.00    9.24%   22,906.34      34,821.72     12.34%     24,700.62    Total Franchise Fees                       306,250.91   10.80%   263,251.00     9.53%   42,999.91     228,259.54     9.66%   77,991.37




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                                                                                        Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year    %            Variance                                             YTD     %        YTD Budget %              Variance   YTD Last Year    %          Variance

                                                                                                           A&G
                                                                                                           Expenses
                                                                                                           Payroll Expense
                                                                                                           Salaries and Wages
         8,175.83      3.00%     8,054.00    2.03%      121.83        6,798.52      2.41%       1,377.31   Management- A&G                      69,748.43     2.46%     70,640.00     2.56%      -891.57      66,109.26      2.80%     3,639.17
        8,175.83      3.00%     8,054.00    2.03%      121.83        6,798.52      2.41%       1,377.31    Total A&G Management                69,748.43     2.46%     70,640.00     2.56%      -891.57      66,109.26      2.80%     3,639.17
             0.00      0.00%         0.00    0.00%        0.00        4,020.93      1.43%      -4,020.93   Security Agents                      27,041.95     0.95%          0.00     0.00%    27,041.95      23,286.84      0.99%     3,755.11
             0.00     0.00%          0.00   0.00%         0.00       4,020.93      1.43%      -4,020.93    Total A&G Non-Management            27,041.95     0.95%           0.00    0.00%    27,041.95      23,286.84      0.99%     3,755.11
        8,175.83      3.00%     8,054.00    2.03%      121.83       10,819.45      3.83%      -2,643.62    Total A&G Salaries and Wages        96,790.38     3.41%     70,640.00     2.56%    26,150.38      89,396.10      3.78%     7,394.28
                                                                                                           PR Taxes and Benefits
           615.60      0.23%       650.00    0.16%      -34.40          459.09      0.16%         156.51   FICA                                  5,647.18     0.20%      5,836.00     0.21%      -188.82       4,622.04      0.20%     1,025.14
            31.48      0.01%         5.00    0.00%       26.48            0.00      0.00%          31.48   Federal Unemployment Tax                118.43     0.00%        628.00     0.02%      -509.57          18.48      0.00%        99.95
           144.96      0.05%        21.00    0.01%      123.96            0.00      0.00%         144.96   State Unemployment Tax                  839.38     0.03%      5,203.00     0.19%    -4,363.62         195.10      0.01%       644.28
          792.04      0.29%       676.00    0.17%      116.04          459.09      0.16%         332.95    Total Payroll Taxes                  6,604.99     0.23%     11,667.00     0.42%    -5,062.01       4,835.62      0.20%     1,769.37
             0.00      0.00%         0.00    0.00%        0.00            0.00      0.00%           0.00   Holiday                               1,030.08     0.04%      1,342.00     0.05%      -311.92       1,270.42      0.05%      -240.34
             0.00      0.00%         0.00    0.00%        0.00          404.20      0.14%        -404.20   Vacation                              5,332.67     0.19%      2,547.00     0.09%     2,785.67       4,443.97      0.19%       888.70
             0.00     0.00%          0.00   0.00%         0.00         404.20      0.14%        -404.20    Total Supplemental Pay               6,362.75     0.22%      3,889.00     0.14%     2,473.75       5,714.39      0.24%       648.36
           987.80      0.36%       235.00    0.06%      752.80          428.43      0.15%         559.37   Worker's Compensation                 3,166.24     0.11%      2,350.00     0.09%       816.24       2,991.12      0.13%       175.12
        -1,131.36     -0.42%     1,267.00    0.32%   -2,398.36        1,051.15      0.37%      -2,182.51   Group Insurance                       6,190.17     0.22%     12,669.00     0.46%    -6,478.83       9,416.94      0.40%    -3,226.77
         3,780.00      1.39%       450.00    0.11%    3,330.00            0.00      0.00%       3,780.00   Bonus and Incentive Pay               4,680.00     0.17%      1,763.00     0.06%     2,917.00        -905.00     -0.04%     5,585.00
        3,636.44      1.33%     1,952.00    0.49%    1,684.44        1,479.58      0.52%       2,156.86    Total Other Benefits                14,036.41     0.50%     16,782.00     0.61%    -2,745.59      11,503.06      0.49%     2,533.35
        4,428.48      1.63%     2,628.00    0.66%    1,800.48        2,342.87      0.83%       2,085.61    Total A&G PR Taxes and Benefits     27,004.15     0.95%     32,338.00     1.17%    -5,333.85      22,053.07      0.93%     4,951.08
       12,604.31      4.63%    10,682.00    2.70%    1,922.31       13,162.32      4.66%        -558.01    Total A&G Payroll                  123,794.53     4.37%    102,978.00     3.73%    20,816.53     111,449.17      4.72%    12,345.36
                                                                                                           Other Expenses
         1,000.00     0.37%          0.00    0.00%     1,000.00           0.00      0.00%       1,000.00   Accounting/Audit Fees                 2,000.00     0.07%          0.00     0.00%     2,000.00           0.00      0.00%     2,000.00
             0.00     0.00%          0.00    0.00%         0.00         206.82      0.07%        -206.82   Bad Debt Provision                    3,826.84     0.14%          0.00     0.00%     3,826.84       4,226.49      0.18%      -399.65
           726.76     0.27%      1,300.00    0.33%      -573.24       1,178.15      0.42%        -451.39   Bank Charges                         10,044.86     0.35%     13,000.00     0.47%    -2,955.14      12,107.25      0.51%    -2,062.39
             1.01     0.00%          0.00    0.00%         1.01         -12.70      0.00%          13.71   Cash Over/Short                        -167.78    -0.01%          0.00     0.00%      -167.78         -21.82      0.00%      -145.96
           530.95     0.19%          0.00    0.00%       530.95           0.00      0.00%         530.95   Central Office - Travel Rebilled      1,327.39     0.05%          0.00     0.00%     1,327.39           0.00      0.00%     1,327.39
             0.00     0.00%      3,060.00    0.77%    -3,060.00       3,017.92      1.07%      -3,017.92   Central Office - Accounting Fees     24,480.00     0.86%     30,600.00     1.11%    -6,120.00      30,179.20      1.28%    -5,699.20
         1,500.00     0.55%          0.00    0.00%     1,500.00           0.00      0.00%       1,500.00   Central Office - IT Fees              5,773.33     0.20%          0.00     0.00%     5,773.33           0.00      0.00%     5,773.33
         1,037.36     0.38%      8,478.00    2.14%    -7,440.64       6,300.96      2.23%      -5,263.60   Credit Card Commission               68,821.47     2.43%     59,142.00     2.14%     9,679.47      55,295.82      2.34%    13,525.65
             0.00     0.00%          0.00    0.00%         0.00         -11.70      0.00%          11.70   Donations                                71.87     0.00%          0.00     0.00%        71.87          99.87      0.00%       -28.00
           552.24     0.20%          0.00    0.00%       552.24           0.00      0.00%         552.24   Dues and Subscriptions                  552.24     0.02%        360.00     0.01%       192.24         450.00      0.02%       102.24
             0.00     0.00%        420.00    0.11%      -420.00         290.17      0.10%        -290.17   Employee Relations                    2,319.21     0.08%      4,200.00     0.15%    -1,880.79       5,013.54      0.21%    -2,694.33
             0.00     0.00%        417.00    0.11%      -417.00       1,017.70      0.36%      -1,017.70   Licenses/Permits                      5,674.01     0.20%      8,399.00     0.30%    -2,724.99       8,313.65      0.35%    -2,639.64
             0.00     0.00%         50.00    0.01%       -50.00           0.00      0.00%           0.00   Meals and Entertainment                  41.80     0.00%        500.00     0.02%      -458.20         127.82      0.01%       -86.02
           132.73     0.05%          0.00    0.00%       132.73           8.66      0.00%         124.07   Miscellaneous Expense                   589.37     0.02%          0.00     0.00%       589.37       1,612.45      0.07%    -1,023.08
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%           0.00   Office Equipment                      1,500.00     0.05%          0.00     0.00%     1,500.00           0.00      0.00%     1,500.00
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%           0.00   Office Supplies                         221.22     0.01%          0.00     0.00%       221.22           0.00      0.00%       221.22
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%           0.00   Operating Supplies                      347.81     0.01%          0.00     0.00%       347.81       2,109.93      0.09%    -1,762.12
           238.94     0.09%        330.00    0.08%       -91.06         330.00      0.12%         -91.06   Payroll Service Fees                  2,936.52     0.10%      3,300.00     0.12%      -363.48       3,300.00      0.14%      -363.48
             0.00     0.00%         50.00    0.01%       -50.00          30.67      0.01%         -30.67   Postage                                 984.41     0.03%        500.00     0.02%       484.41         513.13      0.02%       471.28
           116.50     0.04%          0.00    0.00%       116.50           0.00      0.00%         116.50   Professional Fees - Legal             9,524.70     0.34%          0.00     0.00%     9,524.70           0.00      0.00%     9,524.70
         1,695.00     0.62%        350.00    0.09%     1,345.00           0.00      0.00%       1,695.00   Professional Fees - Other             2,242.77     0.08%        700.00     0.03%     1,542.77         266.15      0.01%     1,976.62
            28.95     0.01%          0.00    0.00%        28.95           0.00      0.00%          28.95   Recruitment Advertising                 624.70     0.02%          0.00     0.00%       624.70           0.00      0.00%       624.70
         5,425.00     1.99%      5,825.00    1.47%      -400.00       6,095.00      2.16%        -670.00   Security - Outside                   58,670.64     2.07%     57,200.00     2.07%     1,470.64      48,351.43      2.05%    10,319.21
         2,917.69     1.07%          0.00    0.00%     2,917.69           0.00      0.00%       2,917.69   Software Expense/Maintenance          3,735.38     0.13%          0.00     0.00%     3,735.38           0.00      0.00%     3,735.38
             0.00     0.00%          0.00    0.00%         0.00           0.00      0.00%           0.00   Training                                968.21     0.03%          0.00     0.00%       968.21       1,541.66      0.07%      -573.45
             0.00     0.00%         50.00    0.01%       -50.00           0.00      0.00%           0.00   Travel                                   70.16     0.00%        500.00     0.02%      -429.84         561.98      0.02%      -491.82
       15,903.13     5.84%     20,330.00    5.13%    -4,426.87      18,451.65      6.54%      -2,548.52    Total A&G Other Expenses           207,181.13     7.31%    178,401.00     6.46%    28,780.13     174,048.55      7.37%    33,132.58
       28,507.44    10.46%     31,012.00    7.83%    -2,504.56      31,613.97     11.20%      -3,106.53    Total A&G Expenses                 330,975.66    11.68%    281,379.00    10.18%    49,596.66     285,497.72     12.08%    45,477.94




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             PTD      %        PTD Budget   %          Variance   PTD Last Year   %            Variance                                          YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                          IT
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wags
            0.00      0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT Management                   0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00
            0.00      0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT Non-Management               0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00

            0.00      0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT Salaries and Wages           0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00

                                                                                                          PR Taxes and Benefits
            0.00      0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total Payroll Taxes                   0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00
            0.00      0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total Supplemental Pay                0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00
            0.00      0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total Other Benefits                  0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00
            0.00      0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT PR Taxes and Benefits        0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00

            0.00      0.00%         0.00    0.00%         0.00            0.00    0.00%           0.00    Total IT Payroll                      0.00    0.00%         0.00      0.00%          0.00            0.00    0.00%          0.00

                                                                                                          Cost of Services
             0.00      0.00%       100.00    0.03%     -100.00           85.00     0.03%         -85.00   Cost of Cell Phones                  680.00    0.02%     1,000.00      0.04%      -320.00          825.00     0.03%       -145.00
         4,604.97      1.69%     2,100.00    0.53%    2,504.97        1,399.99     0.50%       3,204.98   Cost of Internet Services         16,859.88    0.59%    24,860.00      0.90%    -8,000.12       15,412.40     0.65%      1,447.48
         5,518.23      2.03%     1,200.00    0.30%    4,318.23          270.70     0.10%       5,247.53   Cost of Calls                     15,731.08    0.55%     5,381.00      0.19%    10,350.08       10,341.87     0.44%      5,389.21
       10,123.20      3.72%     3,400.00    0.86%    6,723.20        1,755.69     0.62%       8,367.51    Total IT Cost of Services        33,270.96    1.17%    31,241.00      1.13%     2,029.96       26,579.27     1.13%      6,691.69

                                                                                                          System Costs
            0.00       0.00%       308.00    0.08%      -308.00         616.68     0.22%        -616.68   Administrative & General           2,466.66    0.09%     3,080.00      0.11%       -613.34       3,275.76     0.14%       -809.10
            0.00       0.00%       180.00    0.05%      -180.00         179.67     0.06%        -179.67   Information Security               1,489.76    0.05%     1,800.00      0.07%       -310.24       1,796.70     0.08%       -306.94
            0.00       0.00%       821.00    0.21%      -821.00         814.67     0.29%        -814.67   Information Systems                8,065.83    0.28%     9,718.00      0.35%     -1,652.17       9,022.21     0.38%       -956.38
            0.00       0.00%     2,686.00    0.68%    -2,686.00       1,649.75     0.58%      -1,649.75   Rooms                              8,568.10    0.30%    15,356.00      0.56%     -6,787.90      18,683.63     0.79%    -10,115.53
            0.00       0.00%     2,065.00    0.52%    -2,065.00         290.45     0.10%        -290.45   Sales & Marketing                    280.00    0.01%    14,350.00      0.52%    -14,070.00       4,970.89     0.21%     -4,690.89
            0.00      0.00%     6,060.00    1.53%    -6,060.00       3,551.22     1.26%      -3,551.22    Total IT Systems                 20,870.35    0.74%    44,304.00      1.60%    -23,433.65      37,749.19     1.60%    -16,878.84

                                                                                                          Other Expenses
            0.00       0.00%       240.00    0.06%     -240.00            0.00     0.00%          0.00    Contract Labor                       55.19     0.00%     2,400.00      0.09%     -2,344.81         138.17     0.01%        -82.98
            0.00       0.00%         0.00    0.00%        0.00            0.00     0.00%          0.00    Contract Services                     0.00     0.00%         0.00      0.00%          0.00          21.90     0.00%        -21.90
            0.00      0.00%       240.00    0.06%     -240.00             0.00    0.00%           0.00    Total IT Other Expenses              55.19    0.00%     2,400.00      0.09%     -2,344.81         160.07     0.01%       -104.88

       10,123.20      3.72%     9,700.00    2.45%      423.20        5,306.91     1.88%       4,816.29    Total IT Expenses                54,196.50    1.91%    77,945.00      2.82%    -23,748.50      64,488.53     2.73%    -10,292.03




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                                                                                       Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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             PTD      %        PTD Budget   %          Variance   PTD Last Year   %            Variance                                            YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          S&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
         7,495.07      2.75%     6,526.00    1.65%      969.07        5,155.20     1.83%       2,339.87   Division Management                 60,523.66    2.14%     61,535.00     2.23%    -1,011.34      55,351.44     2.34%     5,172.22
        7,495.07      2.75%     6,526.00    1.65%      969.07        5,155.20     1.83%       2,339.87    Total S&M Management               60,523.66    2.14%     61,535.00     2.23%    -1,011.34      55,351.44     2.34%     5,172.22
             0.00     0.00%          0.00   0.00%         0.00            0.00    0.00%            0.00   Total S&M Non-Management                 0.00   0.00%           0.00    0.00%          0.00           0.00    0.00%          0.00

        7,495.07      2.75%     6,526.00    1.65%      969.07        5,155.20     1.83%       2,339.87    Total S&M Salaries and Wages       60,523.66    2.14%     61,535.00     2.23%    -1,011.34      55,351.44     2.34%     5,172.22

                                                                                                          PR Taxes and Benefits
           564.34      0.21%       521.00    0.13%       43.34          436.63     0.15%         127.71   FICA                                 4,899.85    0.17%      4,879.00     0.18%       20.85        4,309.75     0.18%       590.10
            28.78      0.01%         3.00    0.00%       25.78            0.00     0.00%          28.78   Federal Unemployment Tax               107.76    0.00%         47.00     0.00%       60.76           21.82     0.00%        85.94
           132.68      0.05%        20.00    0.01%      112.68            0.00     0.00%         132.68   State Unemployment Tax                 796.06    0.03%        441.00     0.02%      355.06          212.19     0.01%       583.87
          725.80      0.27%       544.00    0.14%      181.80          436.63     0.15%         289.17    Total Payroll Taxes                 5,803.67    0.20%      5,367.00     0.19%      436.67        4,543.76     0.19%     1,259.91
             0.00      0.00%         0.00    0.00%        0.00            0.00     0.00%           0.00   Holiday                                859.20    0.03%      1,108.00     0.04%     -248.80        1,059.68     0.04%      -200.48
             0.00      0.00%         0.00    0.00%        0.00          198.48     0.07%        -198.48   Vacation                             2,426.21    0.09%          0.00     0.00%    2,426.21        2,209.37     0.09%       216.84
             0.00     0.00%          0.00   0.00%         0.00         198.48     0.07%        -198.48    Total Supplemental Pay              3,285.41    0.12%      1,108.00     0.04%    2,177.41        3,269.05     0.14%         16.36
           897.52      0.33%       177.00    0.04%      720.52          224.22     0.08%         673.30   Worker's Compensation                2,812.06    0.10%      1,770.00     0.06%    1,042.06        2,230.56     0.09%       581.50
          -128.37     -0.05%         3.00    0.00%     -131.37            2.62     0.00%        -130.99   Group Insurance                       -103.97    0.00%         30.00     0.00%     -133.97           36.99     0.00%      -140.96
             0.00      0.00%       102.00    0.03%     -102.00            0.00     0.00%           0.00   401k Contribution                      200.48    0.01%        417.00     0.02%     -216.52          396.79     0.02%      -196.31
         2,565.00      0.94%       280.00    0.07%    2,285.00            0.00     0.00%       2,565.00   Bonus and Incentive Pay              3,125.00    0.11%      1,120.00     0.04%    2,005.00       -1,639.00    -0.07%     4,764.00
        3,334.15      1.22%       562.00    0.14%    2,772.15          226.84     0.08%       3,107.31    Total Other Benefits                6,033.57    0.21%      3,337.00     0.12%    2,696.57        1,025.34     0.04%     5,008.23
        4,059.95      1.49%     1,106.00    0.28%    2,953.95          861.95     0.31%       3,198.00    Total S&M PR Taxes and Benefits    15,122.65    0.53%      9,812.00     0.36%    5,310.65        8,838.15     0.37%     6,284.50

       11,555.02      4.24%     7,632.00    1.93%    3,923.02        6,017.15     2.13%       5,537.87    Total S&M Payroll                  75,646.31    2.67%     71,347.00     2.58%    4,299.31       64,189.59     2.72%    11,456.72

                                                                                                          Other Expenses
           450.00      0.17%         0.00    0.00%       450.00           0.00     0.00%         450.00   Advertising General                  1,865.00    0.07%      1,444.00     0.05%       421.00         943.00     0.04%       922.00
             0.00      0.00%       706.00    0.18%      -706.00           5.28     0.00%          -5.28   Advertising-Web/Internet               461.20    0.02%      7,410.00     0.27%    -6,948.80       2,090.53     0.09%    -1,629.33
         1,310.40      0.48%     4,527.00    1.14%    -3,216.60       3,539.48     1.25%      -2,229.08   Dues and Subscriptions              34,751.41    1.23%     42,300.00     1.53%    -7,548.59      41,247.13     1.75%    -6,495.72
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Promotion - Outside                      2.56    0.00%          0.00     0.00%         2.56           0.00     0.00%         2.56
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Software Expense/Maintenance         5,751.80    0.20%          0.00     0.00%     5,751.80           0.00     0.00%     5,751.80
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Trade Shows                              0.00    0.00%          0.00     0.00%         0.00          22.38     0.00%       -22.38
           277.60      0.10%         0.00    0.00%       277.60           0.00     0.00%         277.60   Training                               277.60    0.01%          0.00     0.00%       277.60           0.00     0.00%       277.60
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Travel                                   0.00    0.00%          0.00     0.00%         0.00          35.20     0.00%       -35.20
        2,038.00      0.75%     5,233.00    1.32%    -3,195.00       3,544.76     1.26%      -1,506.76    Total S&M Other Expenses           43,109.57    1.52%     51,154.00     1.85%    -8,044.43      44,338.24     1.88%    -1,228.67

       13,593.02      4.99%    12,865.00    3.25%      728.02        9,561.91     3.39%       4,031.11    Total S&M Expenses                118,755.88    4.19%    122,501.00     4.43%    -3,745.12     108,527.83     4.59%    10,228.05




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                                                                                       Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                       P&L - Dual Summary Pages
                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year   %            Variance                                               YTD    %        YTD Budget %               Variance   YTD Last Year   %           Variance

                                                                                                          R&M
                                                                                                          Expenses
                                                                                                          Payroll Expense
                                                                                                          Salaries and Wages
         4,258.25      1.56%     3,983.00    1.01%      275.25        3,711.84     1.32%         546.41   Division Management                    35,770.64    1.26%     32,723.00     1.18%      3,047.64      34,258.00     1.45%      1,512.64
        4,258.25      1.56%     3,983.00    1.01%      275.25        3,711.84     1.32%         546.41    Total R&M Management                  35,770.64    1.26%     32,723.00     1.18%      3,047.64      34,258.00     1.45%      1,512.64
         3,778.30      1.39%     2,655.00    0.67%    1,123.30          143.63     0.05%       3,634.67   Engineers 1                             9,128.04    0.32%     26,115.00     0.94%    -16,986.96      13,438.65     0.57%     -4,310.61
        3,778.30      1.39%     2,655.00    0.67%    1,123.30          143.63     0.05%       3,634.67    Total R&M Non-Management               9,128.04    0.32%     26,115.00     0.94%    -16,986.96      13,438.65     0.57%     -4,310.61

        8,036.55      2.95%     6,638.00    1.68%    1,398.55        3,855.47     1.37%       4,181.08    Total R&M Salaries and Wages          44,898.68    1.58%     58,838.00     2.13%    -13,939.32      47,696.65     2.02%     -2,797.97

                                                                                                          PR Taxes and Benefits
           605.12      0.22%       515.00    0.13%        90.12         483.75     0.17%         121.37   FICA                                    5,144.24    0.18%      4,660.00     0.17%        484.24       5,020.59     0.21%        123.65
            30.52      0.01%         7.00    0.00%        23.52           0.00     0.00%          30.52   Federal Unemployment Tax                  156.64    0.01%        120.00     0.00%         36.64          85.21     0.00%         71.43
           141.51      0.05%        81.00    0.02%        60.51           0.00     0.00%         141.51   State Unemployment Tax                  1,318.01    0.05%      1,224.00     0.04%         94.01         656.14     0.03%        661.87
          777.15      0.29%       603.00    0.15%      174.15          483.75     0.17%         293.40    Total Payroll Taxes                    6,618.89    0.23%      6,004.00     0.22%        614.89       5,761.94     0.24%        856.95
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Holiday                                   866.16    0.03%      1,195.00     0.04%       -328.84       1,257.12     0.05%       -390.96
             0.00      0.00%        87.00    0.02%       -87.00         332.33     0.12%        -332.33   Vacation                                2,893.82    0.10%        870.00     0.03%      2,023.82       3,843.49     0.16%       -949.67
             0.00     0.00%         87.00   0.02%       -87.00         332.33     0.12%        -332.33    Total Supplemental Pay                 3,759.98    0.13%      2,065.00     0.07%      1,694.98       5,100.61     0.22%     -1,340.63
           975.28      0.36%       271.00    0.07%      704.28          178.07     0.06%         797.21   Worker's Compensation                   2,773.70    0.10%      2,710.00     0.10%         63.70       2,321.68     0.10%        452.02
             0.00      0.00%         9.00    0.00%        -9.00           4.12     0.00%          -4.12   Group Insurance                            41.92    0.00%         86.00     0.00%        -44.08         708.03     0.03%       -666.11
             0.00      0.00%        39.00    0.01%       -39.00           0.00     0.00%           0.00   401k Contribution                         184.95    0.01%        161.00     0.01%         23.95         340.69     0.01%       -155.74
             0.00      0.00%     1,044.00    0.26%   -1,044.00            0.00     0.00%           0.00   Bonus and Incentive Pay                     0.00    0.00%     10,440.00     0.38%    -10,440.00          15.00     0.00%        -15.00
          975.28      0.36%     1,363.00    0.34%     -387.72          182.19     0.06%         793.09    Total Other Benefits                   3,000.57    0.11%     13,397.00     0.48%    -10,396.43       3,385.40     0.14%       -384.83
        1,752.43      0.64%     2,053.00    0.52%     -300.57          998.27     0.35%         754.16    Total R&M PR Taxes and Benefits       13,379.44    0.47%     21,466.00     0.78%     -8,086.56      14,247.95     0.60%       -868.51

        9,788.98      3.59%     8,691.00    2.19%    1,097.98        4,853.74     1.72%       4,935.24    Total R&M Payroll                     58,278.12    2.06%     80,304.00     2.91%    -22,025.88      61,944.60     2.62%     -3,666.48

                                                                                                          Other Expenses
             0.00      0.00%       279.00    0.07%      -279.00           0.00     0.00%           0.00   Air Conditioning and Refrigeration        842.53    0.03%      2,119.00     0.08%     -1,276.47       1,617.50     0.07%       -774.97
             0.00      0.00%       879.00    0.22%      -879.00         686.69     0.24%        -686.69   Building                                8,029.81    0.28%      8,427.00     0.30%       -397.19      13,624.33     0.58%     -5,594.52
             0.00      0.00%         0.00    0.00%         0.00       1,044.25     0.37%      -1,044.25   Contract Labor                          8,354.00    0.29%          0.00     0.00%      8,354.00      10,442.50     0.44%     -2,088.50
           273.76      0.10%        77.00    0.02%       196.76           0.00     0.00%         273.76   Electric Bulbs                            920.67    0.03%        743.00     0.03%        177.67         133.23     0.01%        787.44
             0.00      0.00%       315.00    0.08%      -315.00           0.00     0.00%           0.00   Electrical and Mechanical               3,854.65    0.14%      2,392.00     0.09%      1,462.65       3,341.82     0.14%        512.83
             0.00      0.00%     1,000.00    0.25%    -1,000.00         475.00     0.17%        -475.00   Elevator Maintenance Contracts          6,146.66    0.22%     11,200.00     0.41%     -5,053.34      10,082.83     0.43%     -3,936.17
             0.00      0.00%     1,293.00    0.33%    -1,293.00       3,236.50     1.15%      -3,236.50   Fire Safety Equipment                   9,719.64    0.34%     12,394.00     0.45%     -2,674.36      18,117.06     0.77%     -8,397.42
         1,282.12      0.47%     2,007.00    0.51%      -724.88       1,938.00     0.69%        -655.88   Grounds and Landscaping                 6,521.48    0.23%     15,564.00     0.56%     -9,042.52      13,679.31     0.58%     -7,157.83
           227.00      0.08%       190.00    0.05%        37.00         569.75     0.20%        -342.75   Kitchen Equipment Repairs               3,508.46    0.12%      1,629.00     0.06%      1,879.46       2,023.43     0.09%      1,485.03
             0.00      0.00%        77.00    0.02%       -77.00           0.00     0.00%           0.00   Laundry Equipment Repairs                 304.00    0.01%        743.00     0.03%       -439.00           0.00     0.00%        304.00
             5.60      0.00%         0.00    0.00%         5.60           0.00     0.00%           5.60   Locks and Keys                              5.60    0.00%          0.00     0.00%          5.60           0.00     0.00%          5.60
            20.03      0.01%         0.00    0.00%        20.03           0.00     0.00%          20.03   Office Supplies                            20.03    0.00%          0.00     0.00%         20.03           0.00     0.00%         20.03
           392.16      0.14%       228.00    0.06%       164.16          23.29     0.01%         368.87   Operating Supplies                      1,620.82    0.06%      2,181.00     0.08%       -560.18       1,373.38     0.06%        247.44
             0.00      0.00%        77.00    0.02%       -77.00           0.00     0.00%           0.00   Painting and Decorating                    59.44    0.00%        743.00     0.03%       -683.56          56.56     0.00%          2.88
           175.00      0.06%         0.00    0.00%       175.00           0.00     0.00%         175.00   Pest Control                              175.00    0.01%          0.00     0.00%        175.00           0.00     0.00%        175.00
           163.29      0.06%       103.00    0.03%        60.29           0.00     0.00%         163.29   Plumbing and Heating                      954.99    0.03%        991.00     0.04%        -36.01         389.71     0.02%        565.28
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Pool Service- Contract                      0.00    0.00%     20,206.00     0.73%    -20,206.00      -1,522.50    -0.06%      1,522.50
           120.00      0.04%         0.00    0.00%       120.00           0.00     0.00%         120.00   Software Expense/Maintenance              240.00    0.01%          0.00     0.00%        240.00           0.00     0.00%        240.00
           103.60      0.04%         0.00    0.00%       103.60           0.00     0.00%         103.60   Tools                                     103.60    0.00%          0.00     0.00%        103.60           0.00     0.00%        103.60
             0.00      0.00%        26.00    0.01%       -26.00           0.00     0.00%           0.00   Travel                                     56.95    0.00%        248.00     0.01%       -191.05         229.18     0.01%       -172.23
             0.00      0.00%         0.00    0.00%         0.00           0.00     0.00%           0.00   Uniforms                                    0.00    0.00%         88.00     0.00%        -88.00         237.44     0.01%       -237.44
             0.00      0.00%       325.00    0.08%      -325.00           0.00     0.00%           0.00   Vehicle Maintenance & Repairs             413.36    0.01%      2,275.00     0.08%     -1,861.64         438.92     0.02%        -25.56
           977.40      0.36%       460.00    0.12%       517.40         487.78     0.17%         489.62   Waste Removal                           4,958.16    0.17%      4,438.00     0.16%        520.16       4,850.48     0.21%        107.68
        3,739.96      1.37%     7,336.00    1.85%    -3,596.04       8,461.26     3.00%      -4,721.30    Total R&M Other Expenses              56,809.85    2.00%     86,381.00     3.13%    -29,571.15      79,115.18     3.35%    -22,305.33

       13,528.94      4.97%    16,027.00    4.05%    -2,498.06      13,315.00     4.72%        213.94     Total R&M Expenses                   115,087.97    4.06%    166,685.00     6.03%    -51,597.03     141,059.78     5.97%    -25,971.81




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                                                                                       Company: GBMD Associates LLC Property: Residence Inn Greenbelt
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                                                                                                            As of 10/31/2021
             PTD      %        PTD Budget   %          Variance   PTD Last Year   %            Variance                                          YTD    %        YTD Budget %              Variance   YTD Last Year   %          Variance

                                                                                                          Utilities
         8,000.00      2.94%     7,785.00    1.97%       215.00       6,111.80     2.17%       1,888.20   Water                             71,975.52    2.54%     59,098.00     2.14%    12,877.52      61,947.94     2.62%    10,027.58
         6,401.03      2.35%     8,584.00    2.17%    -2,182.97       4,394.48     1.56%       2,006.55   Electricity                       84,472.80    2.98%     67,261.00     2.43%    17,211.80      63,649.41     2.69%    20,823.39
           590.18      0.22%     1,086.00    0.27%      -495.82         740.97     0.26%        -150.79   Gas - Natural HLP                  9,946.92    0.35%      8,266.00     0.30%     1,680.92       7,753.77     0.33%     2,193.15
       14,991.21      5.50%    17,455.00    4.41%    -2,463.79      11,247.25     3.99%       3,743.96    Total Utilities                 166,395.24    5.87%    134,625.00     4.87%    31,770.24     133,351.12     5.64%    33,044.12




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                                                                                        Company: GBMD Associates LLC Property: Residence Inn Greenbelt
                                                                                                        P&L - Dual Summary Pages
                                                                                                             As of 10/31/2021
             PTD      %       PTD Budget    %          Variance   PTD Last Year    %            Variance                                          YTD     %        YTD Budget %               Variance   YTD Last Year    %           Variance

                                                                                                           Fixed
        98,052.00    35.99%    49,026.00    12.37%    49,026.00      52,000.00     18.43%      46,052.00   Real Estate Taxes                514,052.00    18.13%    490,260.00    17.74%     23,792.00     478,846.01     20.27%     35,205.99
       98,052.00    35.99%    49,026.00    12.37%    49,026.00      52,000.00     18.43%      46,052.00    Total Taxes                     514,052.00    18.13%    490,260.00    17.74%     23,792.00     478,846.01     20.27%     35,205.99
             0.00     0.00%       285.00     0.07%      -285.00         285.33      0.10%        -285.33   Insurance                          2,282.64     0.08%      2,850.00     0.10%       -567.36       2,853.30      0.12%       -570.66
           643.64     0.24%         0.00     0.00%       643.64           0.00      0.00%         643.64   Insurance - Automobile               643.64     0.02%          0.00     0.00%        643.64           0.00      0.00%        643.64
           243.64     0.09%         0.00     0.00%       243.64           0.00      0.00%         243.64   Insurance - Employment               243.64     0.01%          0.00     0.00%        243.64           0.00      0.00%        243.64
         3,040.92     1.12%     4,503.00     1.14%    -1,462.08       4,303.11      1.53%      -1,262.19   Insurance - General Liability     13,040.48     0.46%     45,030.00     1.63%    -31,989.52      32,612.08      1.38%    -19,571.60
         5,880.73     2.16%     3,620.00     0.91%     2,260.73       2,626.16      0.93%       3,254.57   Insurance - Property              52,234.02     1.84%     36,200.00     1.31%     16,034.02      28,582.52      1.21%     23,651.50
        9,808.93     3.60%     8,408.00     2.12%     1,400.93       7,214.60      2.56%       2,594.33    Total Insurance                  68,444.42     2.41%     84,080.00     3.04%    -15,635.58      64,047.90      2.71%      4,396.52
        86,604.00    31.78%    84,164.00    21.24%     2,440.00      73,057.71     25.89%      13,546.29   Ground Lease Expense             846,517.04    29.86%    841,640.00    30.45%      4,877.04     797,212.62     33.75%     49,304.42
       86,604.00    31.78%    84,164.00    21.24%     2,440.00      73,057.71     25.89%      13,546.29    Total Leases & Rent             846,517.04    29.86%    841,640.00    30.45%      4,877.04     797,212.62     33.75%     49,304.42
         8,674.29     3.18%    11,885.00     3.00%    -3,210.71       8,466.52      3.00%         207.77   Management Fee - Base             86,035.43     3.04%     82,910.00     3.00%      3,125.43      70,889.67      3.00%     15,145.76
        8,674.29     3.18%    11,885.00     3.00%    -3,210.71       8,466.52      3.00%         207.77    Total Management Fees            86,035.43     3.04%     82,910.00     3.00%      3,125.43      70,889.67      3.00%     15,145.76
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Capital Reserve                    2,051.02     0.07%          0.00     0.00%      2,051.02           0.00      0.00%      2,051.02
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   (Gain)/Loss-Insurance                  0.00     0.00%          0.00     0.00%          0.00      25,000.00      1.06%    -25,000.00
             0.00     0.00%         0.00     0.00%         0.00           0.00      0.00%           0.00   Owner's Expense                   10,854.50     0.38%          0.00     0.00%     10,854.50           0.00      0.00%     10,854.50
             0.00     0.00%         0.00     0.00%         0.00         729.96      0.26%        -729.96   Prior Owner's Expense            147,654.09     5.21%          0.00     0.00%    147,654.09      16,749.22      0.71%    130,904.87
             0.00    0.00%          0.00    0.00%          0.00        729.96      0.26%        -729.96    Total Other Non-Operating       160,559.61     5.66%           0.00    0.00%    160,559.61      41,749.22      1.77%    118,810.39




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